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                            Vol. I of IV (Appx1-533)
                             Nos. 24-1324, 24-1409

                 UNITED STATES COURT OF APPEALS
                    FOR THE FEDERAL CIRCUIT

                                    NATERA, INC.,
                                                    Plaintiff-Appellee,
                                         v.

                      NEOGENOMICS LABORATORIES, INC.,
                                                    Defendant-Appellant.

  Appeals from the United States District Court for the Middle District of North
             Carolina, No. 1:23-cv-00629; Hon. Catherine C. Eagles

                 NON-CONFIDENTIAL JOINT APPENDIX

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NOTE: Documents filed under seal in the district court used both green and yellow
highlighting to indicate confidentiality. But the yellow highlighting at Appx7624,
Appx7926-7929, Appx10490-10492, and Appx12169-12170 has been unsealed in
the district court and does not indicate confidential information; at Appx7624 and
Appx7926-7929 only the green highlighting indicates confidentiality. The slides at
Appx21068-21319 also includes non-confidential markings; only the full-page
yellow rectangular markings indicate relevant confidentiality. The redaction
appearing at Appx20714 was part of the underlying document as originally filed in
the district court. Appx12169 of the non-confidential addendum contains a
paragraph number that is highlighted but not redacted; the highlighting does not
indicate confidentiality.
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                  CONFIDENTIAL MATERIAL OMITTED
The non-confidential version of this appendix redacts material filed under seal
pursuant to the protective order issued by the district court. As required by Federal
Circuit Rule 25.1(e)(1)(B), the table below notes the specific pages with redacted
material in the non-confidential appendix and the general nature of that material.
        Description of Redacted Material in Non-Confidential Appendix
 Document           Pages              Description
 Metzker            Appx7624           Natera’s confidential product
 Declaration                           information
 (Dkt. 17)
 Moshkevich         Appx7926-7929      Natera’s confidential product
 Declaration                           information
 (Dkt. 18)
 NeoGenomics’       Appx10480-         NeoGenomics’ confidential financial,
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 Moshkevich                            Appx10777 includes information
 Deposition                            relating to Natera’s internal business
 (Dkt. 108-6)                          structure. The material omitted from
                                       pages Appx10778-79 includes
                                       information relating to Natera’s internal
                                       market analyses and marketing strategy.
                                       The material omitted from pages
                                       Appx10780-83 and Appx10785
                                       includes information relating to
                                       Natera’s business development efforts
                                       and customer relationships. The
                                       material omitted from pages
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 144)                               a summary of a confidential
                                    communication regarding inventorship
                                    of the ’454 patent. The material omitted
                                    from pages Appx19200-19204 includes
                                    information relating to Natera’s
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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 NATERA, INC.,                  )
                                )
                     Plaintiff, )
                                )                            1:23-CV-629
     v.                         )
                                )
 NEOGENOMICS                    )
 LABORATORIES, INC.,            )
                                )
                     Defendant. )

                                         ORDER

        Natera, Inc. and NeoGenomics Laboratories, Inc. are research-focused healthcare

companies that operate in the oncology testing industry. Both companies have products

that can be used for earlier detection of cancer relapse. Natera seeks a preliminary

injunction, contending that NeoGenomics’ product, RaDaR, infringes two of Natera’s

patents. Because Natera has shown a likelihood of success on the merits that

NeoGenomics is infringing the ‘035 patent and the other requirements for injunctive

relief are met, the motion will be granted.

        For purposes of this Order, the Court makes the following findings of fact and

conclusions of law.

   I.      FACTS

        As relevant here, Natera holds two method patents. Patent No. 11,519,035 issued

on December 6, 2022, Doc. 1-2 at 2, and Patent No. 11,530,454 issued on December 20,

2022. Doc. 1-1 at 2. In simplified terms, the ‘035 patent provides methods and

compositions for amplifying targeted genetic material while reducing amplification of




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non-targeted genetic material. See Doc. 1-2 at 2, 89. The ‘454 patent provides methods,

systems, and computer readable medium for detecting variations in genetic material

indicative of disease or disease recurrence. See Doc. 1-1 at 2, 137.

       Natera uses the methods described in these two patents in a product marketed

under the brand name Signatera. See Doc. 9-18 at 2–3.1 NeoGenomics offers a

competing product under the brand name RaDaR. Doc. 94 at ¶ 10. RaDaR has been used

in clinical cancer research since April 2020.2 Id. at ¶ 11. It has been commercially

available since March 2023. Id. at ¶ 15.

       Signatera and RaDaR each work by identifying circulating DNA fragments from

cancer cells within the bloodstream. See Doc. 13 at ¶ 125; Doc. 94 at ¶ 10. The presence

of these tumor DNA fragments can indicate the efficacy of cancer treatment and the risk

of cancer recurrence. Doc. 7 at ¶ 23; Doc. 13 at ¶ 34.

       During a cell’s life cycle, it naturally sheds short fragments of DNA into the

bloodstream. Doc. 13 at ¶ 36. These DNA fragments are referred to as cell-free DNA

(cfDNA). Id.; Doc. 97 at ¶ 43. Both healthy cells and cancerous cells create cfDNA.

Doc. 13 at ¶ 36. The subset of cfDNA that comes from cancer cells is referred to as

circulating tumor DNA (ctDNA). Id.; Doc. 97 at ¶ 247.




       1
          Throughout this Order, the Court has cited some of the evidence in the record that
supports its factual findings but has made no attempt to cite all the evidence supporting its
findings.
       2
       RaDaR was initially offered by a company known as Inivata. Doc. 94 at ¶ 11.
NeoGenomics acquired Inivata in 2021. Id. at ¶ 12.

                                                 2



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       If a patient has a positive response to cancer treatment, the patient’s tumor

typically decreases in size, eventually becoming undetectable in radiographic imaging or

clinical examination. Doc 13 at ¶ 34. If tumor cells remain in a patient’s body after

treatment, there is the potential for cancer relapse, either locally or through metastases.

Id. Molecular residual disease (MRD) refers to the presence of small amounts of tumor

DNA molecules in the body after treatment. Id.; Doc. 7-38 at 2. Early detection of MRD

supports better patient outcomes. Doc. 13 at ¶ 34.

       MRD tests are either tumor informed or tumor naïve. Doc. 7 at ¶ 24. Tumor

informed tests are designed from a patient’s genetic information obtained from a tissue

biopsy of the patient’s tumor. Id. These bespoke tests are often preferred by doctors and

are seen as highly sensitive because they are personalized to the patient. Id. at ¶¶ 34–35;

Doc. 92-1 at 4, 17. Tumor naïve tests can provide faster results but are less favored by

doctors because they are perceived to be less accurate. Doc. 7 at ¶¶ 34–35.

       Signatera, Natera’s product, and RaDaR, NeoGenomics’ product, are tumor

informed MRD tests that work by detecting trace amounts of ctDNA in a patient’s

bloodstream. See Doc. 13 at ¶¶ 115, 125; Doc. 94 at ¶ 10. Patients known to have cancer

first provide tumor tissue samples. Doc. 13 at ¶ 118; Doc. 94 at ¶ 10. Next, the DNA

from those tissue samples is sequenced, and the DNA information is used to design liquid

biopsy MRD assays. Doc. 13 at ¶¶ 118–19; Doc. 94 at ¶¶ 9–10. After cancer treatment

ends, patients regularly provide blood samples for testing. Doc. 13 at ¶ 120; Doc. 94 at

¶ 10. Using tumor informed MRD assays, doctors and scientists can detect DNA from

cancer cells in the blood in the form of ctDNA. Doc. 13 at ¶¶ 120–22; Doc. 94 at ¶ 10.

                                              3



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         Natera is the leader in the MRD assay market. See Doc. 7 at ¶¶ 45, 73; Doc. 92-1

at 2; Doc. 11-9 at 42. According to one report, Natera has 74% of the total market share

for both tumor informed and tumor naïve tests. Doc. 92-1 at 12, 17. RaDaR is the only

other tumor informed MRD test available for clinical use and covered by private

insurance.3 See Doc. 7 at ¶ 48. Other companies, such as Guardant Health, compete in

the MRD space, but they offer tumor naïve products, not tumor informed products. See

id. at ¶ 53; Doc. 92-1 at 17. The MRD testing market is expected to grow substantially

over the next few years. Doc. 92-1 at 3–4.

         Additional findings of fact will be stated as they become relevant.

   II.        PRELIMINARY INJUNCTION STANDARD

         Courts have the power to grant preliminary injunctions in patent infringement

lawsuits. See High Tech Med. Instrumentation, Inc. v. New Image Indus. Inc., 49 F.3d

1551, 1554 (Fed. Cir. 1995); 35 U.S.C. § 283. To establish a preliminary injunction is

warranted, the patentee seeking an injunction must show: “(1) it is likely to succeed on

the merits, (2) it is likely to suffer irreparable harm in the absence of preliminary relief,

(3) the balance of equities tips in its favor, and (4) an injunction is in the public interest.”

BlephEx, LLC v. Myco Indus., Inc., 24 F.4th 1391, 1398 (Fed. Cir. 2022) (quoting Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)) (cleaned up).




         3
         Until recently, Invitae offered another tumor informed MRD test under the brand name
PCM. After a jury in the District of Delaware found that product infringed other patents held by
Natera, the court permanently enjoined Invitae from offering PCM for clinical use. See Doc.
164-1 (redacted permanent injunction entered in Natera, Inc. v. ArcherDX, Inc., No. 20-CV-125
(D. Del. Nov. 21, 2023)).
                                                4



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   III.     SUCCESS ON THE MERITS

         To show a likelihood of success on the merits, the moving party must demonstrate

“(1) it will likely prove infringement and (2) its infringement claim will likely withstand

challenges to the validity and enforceability of the patents.” See Purdue Pharma L.P. v.

Boehringer Ingelheim GMBH, 237 F.3d 1359, 1363 (Fed. Cir. 2001) (cleaned up). In

patent cases, the likelihood of success factor is governed by Federal Circuit law. See

ABC Corp. I v. P’ship and Unincorporated Ass’ns Identified on Schedule “A”, 52 F.4th

934, 941 (Fed. Cir. 2022). When evaluating the likelihood of success, courts consider all

the burdens and presumptions that would apply at trial. See Purdue, 237 F.3d at 1363.

         To assess the likelihood of infringement, courts first “determine the scope and

meaning of the patent claims asserted.” Oakley, Inc. v. Sunglass Hut. Int’l, 316 F.3d

1331, 1339 (Fed. Cir. 2003) (cleaned up); see also CommScope Techs. LLC v. Dali

Wireless Inc., 10 F.4th 1289, 1295 (Fed. Cir. 2021). Then “the properly construed claims

are compared to the allegedly infringing device.” Oakley, 316 F.3d at 1339 (cleaned up).

Infringement claims must also withstand any challenges to a patent’s validity and

enforceability. See Purdue, 237 F.3d at 1363.

   IV.      ‘035 PATENT – LIKELIHOOD OF SUCCESS ON THE MERITS

            A. Infringement

         For purposes of the preliminary injunction motion, Natera asserts that the RaDaR

product offered by NeoGenomics infringes claims 1, 12, and 13 of the ‘035 patent. Doc.

71-4 at 2. Claim 1 states:



                                               5



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          A method for amplifying and sequencing DNA, comprising:
          tagging isolated cell free DNA with one or more universal tail
          adaptors to generate tagged products, wherein the isolated cell-free
          DNA is isolated from a blood sample collected from a subject who is
          not a pregnant woman;
          amplifying the tagged products one or more times to generate final
          amplification products, wherein one of the amplification steps
          comprises targeted amplification of a plurality of single nucleotide
          polymorphism (SNP) loci in a single reaction volume, wherein one of
          the amplifying steps introduces a barcode and one or more sequencing
          tags; and
          sequencing the plurality of SNP loci on the cell free DNA by
          conducting massively parallel sequencing on the final amplification
          products, wherein the plurality of SNP loci comprises 25–2,000 loci
          associated with cancer.

Doc. 1-2 at 213. Amplification refers to increasing “the number of copies of a molecule,

such as a molecule of DNA.” Id. at 109.

       Natera has made a strong showing that the RaDaR test made and sold by

NeoGenomics uses the method claimed in the ‘035 patent and infringes the ‘035 patent.

It is likely to succeed on the merits of its infringement claim.

       NeoGenomics contends that the claims at issue require targeted amplification of

already tagged DNA and that RaDaR does not use targeted amplification on tagged

products. See Doc. 89 at 11–12; Doc. 97 at ¶¶ 89–93. But this ignores the fact that

RaDaR first tags the products with the CS1 adaptor sequence, then performs targeted

amplification to tag the products a second time with the CS2 sequence. See Doc. 13 at

¶¶ 44, 88 (explaining RaDaR uses teachings of Forshew); Doc. 145-1 at 57, 60

(discussing PCR amplification and CS1 and CS2 tagging in Forshew). Thus, RaDaR

amplifies “the tagged products one or more times to generate final amplification

products, wherein one of the amplification steps comprises targeted amplification.” Doc.

                                              6



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1-2 at 213. Natera has shown a likelihood of success on the merits on its claim that

NeoGenomics infringes Claim 1 of the ‘035 patent.

       NeoGenomics also contends that the dependent Claims 12 and 13 require that the

tagging referenced in Claim 1 occur over two rounds of polymerase chain reaction

(PCR)4 because Claims 12 and 13 refer to a first primer comprising a first universal tail

adaptor and a second primer comprising a second universal tail adaptor. See Doc. 89 at

12; Doc. 1-2 at 213. But an independent claim like Claim 1 is “broader than the claims

that depend from it,” Littlefuse, Inc. v. Mersen USA EP Corp., 29 F.4th 1376, 1380 (Fed.

Cir. 2022), and “each claim in a patent is presumptively different in scope.” Trs. of

Columbia Univ. in N.Y. v. Symantec Corp., 811 F.3d 1359, 1370 (Fed. Cir. 2016).

       When a limitation found in a dependent claim is the only meaningful difference

between the dependent and independent claim, “the independent claim is not restricted by

the added limitation in the dependent claim.” Id.; see also Acumed LLC v. Stryker Corp.,

483 F.3d 800, 806 (Fed. Cir. 2007) (holding that proposed claim readings should not

make the independent and dependent claims identical in scope). This argument does not

weaken Natera’s likelihood of success on the merits as to infringement of Claim 1.

             B. Validity

       To show a likelihood of success, the patent holder must demonstrate a patent is

likely to withstand any challenges to validity. See Purdue, 237 F.3d at 1363. A patent is

presumed valid. Id. at 1365; KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398, 412 (2007).



       4
           PCR is a common method of amplification. See Doc. 141-6 at 7.
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The party challenging the validity of a patent must come forward with evidence that

raises a substantial question of validity. Titan Tire Corp. v. Case New Holland, Inc., 566

F.3d 1372, 1376 (Fed. Cir. 2009). The patentee then has the “burden of responding with

contrary evidence.” Id. at 1377. If the patentee does not prove the validity question

“lacks substantial merit,” courts will deny the motion for a preliminary injunction.

Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1350–51 (Fed. Cir. 2001).

       NeoGenomics challenges the validity of the ‘035 patent on several grounds,

primarily contending that it is obvious. See Doc. 89 at 15–16. NeoGenomics also makes

shorthand or conclusory arguments that there are issues with the patent’s written

description, that Natera did not properly explain changes made to the named inventors,

and that the ‘035 patent covers patent-ineligible subject matter. See id. at 16–17, 19.

              1. Obviousness

       A patent cannot issue when “the differences between the claimed invention and the

prior art are such that the claimed invention as a whole would have been obvious . . . to a

person having ordinary skill in the art.” 35 U.S.C. § 103; see also Teleflex, 550 U.S. at

406–07. A party seeking to show a patent is invalid on obviousness grounds must show

that “a person of ordinary skill in the art would have been motivated to combine or

modify the teachings in the prior art and would have had a reasonable expectation of

success in doing so.” Regents of Univ. of Cal. v. Broad. Inst., 903 F.3d 1286, 1291 (Fed.

Cir. 2018).

       An invention is not automatically obvious just because a motivation to combine

may exist, see Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350,

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1359–60 (Fed. Cir. 2017), or “because all of the claimed limitations were known in the

prior art at the time of the invention.” Forest Lab’ys, LLC v. Sigmapharm Lab’ys, LLC,

918 F.3d 928, 934 (Fed. Cir. 2019). A challenger asserting obviousness must give “some

articulated reasoning with some rational underpinning to support the legal conclusion of

obviousness.” In re Kahn, 441 F.3d 977, 988 (Fed. Cir. 2006). Mere conclusory

statements tend to show hindsight bias, not that the invention is obvious. ActiveVideo

Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1327 (Fed. Cir. 2012).

       The priority date for the claims of the ‘035 patent is May 18, 2011, see Doc. 1-2 at

2; Doc. 138-2 at 7–8, so the prior art must be from before this date. NeoGenomics first

asserts that the Fluidigm Access Array System, discussed in the 2010 Kaper publication

renders the ‘035 patent obvious. See Doc. 89 at 15–16; Doc. 97-14 (abstract); Doc. 97-15

(poster). But Dr. Kaper used DNA samples from tumor tissue, not cfDNA, in discussing

Access Array. See Doc. 141 at ¶ 156.

       NeoGenomics contends that it would have been obvious to modify Access Array

for cfDNA because cfDNA was known at this time to be useful for cancer detection. See

Doc. 89 at 15; Doc. 97 at ¶¶ 240–41. But there were many well-known barriers to using

cfDNA. See Doc. 141 at ¶ 157 (Tumor tissue samples provide tumor-associated DNA in

greater quantity than the ctDNA found in cfDNA.); Doc. 141-2 at 2 (Cell-free DNA is

fragmented and exists in low yield within the body.); Doc. 13-7 at 2 (Circulating tumor

DNA is just a subset of cfDNA and exists in even lower yields.); Doc 141 at ¶ 16 (Even if

a cfDNA molecule has a SNP of interest, the cfDNA may be fragmented such that it

“does not contain sites for both primers of a primer pair to bind” and the SNP will not

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amplify “successfully when PCR is performed.”). These challenges associated with

cfDNA, and others, presented obstacles to successfully amplifying and sequencing

ctDNA with precision during the relevant time period, see Doc. 141-2 (published October

2016); Doc. 141 at ¶¶ 19–21, making it unlikely a person skilled in the art would have

been motivated to use cfDNA with Access Array and would have anticipated success in

doing so. See Forest Lab’ys, 918 F.3d at 934; Arctic Cat, 876 F.3d at 1359–60.5

NeoGenomics’ assertions about Access Array appear to show hindsight bias more than

they support a substantial question of obviousness. ActiveVideo, 694 F.3d at 1327.

       In passing, NeoGenomics also contends that something called “ARM-PCR”

renders the ‘035 patent obvious for “similar reasons.” Doc. 89 at 15. This conclusory

assertion does not raise a substantial question of validity.6

               2. Written Description

       Title 35 U.S.C. § 112 requires a patent specification to contain a written

description of the invention that “discloses and teaches” what is claimed. Ariad Pharms.,

Inc. v. Eli Lilly and Co., 598 F.3d 1336, 1347 (Fed. Cir. 2010); 35 U.S.C. § 112(a). There

is no required “particular form of disclosure,” and the written description need not use the




       5
         At oral argument, Natera’s counsel said that Natera had also invented ways to overcome
these barriers.
       6
          In support of this half-a-sentence argument, NeoGenomics provides a bulk citation to
some 68 paragraphs covering well over 10 pages in a declaration from one of its experts, see
Doc. 89 at 15, citing Doc. 97 at ¶¶ 235–303. Expert declarations are not substitutes for briefs
and implicit attempts to incorporate them by reference cannot be used to avoid the word limits
for briefing. See discussion infra at 13.
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exact words of the claims. See Ariad, 598 F.3d at 1352; Univ. of Rochester v. G.D. Searle

& Co., Inc., 358 F.3d 916, 922–23 (Fed. Cir. 2004).

       NeoGenomics contends that the specification for the ‘035 patent “lack[s] examples

of the claimed processes” and “[t]he claims are disassociated from the described

invention.” See Doc. 89 at 17. This argument, made in one paragraph, does not raise a

substantial question of validity.7

               3. Inventorship

       The named inventors in an issued patent are presumed correct. Eli Lilly and Co. v.

Aradigm Corp., 376 F.3d 1352, 1358 (Fed. Cir. 2004). A “party seeking correction of

inventorship must show by clear and convincing evidence that a joint inventor should

have been listed.” Blue Gentian, LLC v. Tristar Prods., Inc., 70 F.4th 1351, 1357 (Fed.

Cir. 2023) (citing Aradigm, 376 F.3d at 1358). While a patent must reflect true

inventorship, “a patent cannot be invalidated if inventorship can be corrected instead.”

Egenera, Inc. v. Cisco Sys., Inc., 972 F.3d 1367, 1376 (Fed. Cir. 2020).

       Correcting inventorship for an issued patent can be done either by petition to the

Director of the U.S. Patent and Trademark Office or by court order. See 35 U.S.C.



       7
          In support of its perfunctory “disassociation” argument, Natera again provides a bulk
citation to over 20 paragraphs of an expert’s declaration. See Doc. 89 at 17, citing Doc. 97 at
¶¶ 404–26. But most of those paragraphs are addressed to the ‘454 patent, and such bulk
citations do not direct the Court’s attention with any specificity to facts relevant to the ‘035
patent. See Doc. 27 at ¶ 1 (Order requiring that citations to a multi-page exhibit “must contain a
pin cite to the specific page” or “paragraph number”). The Court is not required to sift through
blocks of evidence itself to locate the truffles. See Hughes v. B/E Aerospace, Inc., No. 12-CV-
717, 2014 WL 906220, at *1 n.1 (M.D.N.C. Mar. 7, 2014) (“A party should not expect a court to
do the work that it elected not to do.”). As the Court has stated, see supra note 6, at 10 and
discussion infra at 13, expert declarations are not mechanisms to avoid word limits.
                                                11



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§§ 256(a), (b). Inventorship in a patent application can also be corrected, 35 U.S.C.

§ 116(c), and the patent office does not require an explanation for the correction. See 37

C.F.R. § 1.48 (setting out requirements for correction of inventorship in provisional and

nonprovisional patent applications).

       NeoGenomics does not show by clear and convincing evidence that an inventor is

missing from the ‘035 patent. See Blue Gentian, 70 F.4th at 1357. In fact, NeoGenomics

does not raise any issues with any specific inventor of the ‘035 patent, saying only that

the changes Natera made during the patent application process “appear dubious.” See

Doc. 89 at 19. This perfunctory assertion does not raise a substantial question of

invalidity for the ‘035 patent based on inventorship.

              4. Patent Ineligible Subject Matter

       In arguing that the ‘035 patent is not valid because of ineligible subject matter,

NeoGenomics purports to incorporate by reference an argument made in another brief.

Doc. 89 at 19 (referencing NeoGenomics’ motion to dismiss brief, Doc. 52). The Court

will disregard this argument for purposes of this motion.

       The Local Rules limit briefs in support of motions and responsive briefs to no

more than 6,250 words. See LR 7.3(d). Per this Court’s standard order, when a party

incorporates arguments made in other briefs, the incorporating brief’s word count is

“correspondingly decreased.” Doc. 27 at ¶ 1. The word count in the incorporated brief,

Doc. 52, is some 6,233 words. The word count in the incorporating brief, Doc. 89,

excluding the incorporated argument, is some 6,218 words. NeoGenomics has thus

attempted to surpass the word limit by thousands of words.

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       Word or page limits are common across courts of all stripes for obvious reasons;

among other things, such limits require parties to avoid rhetoric and to present their best

arguments, and they facilitate prompt, efficient resolution of cases. Efforts to circumvent

word limits by incorporating briefs by reference or dividing one motion into several

motions are improper. See, e.g., Basulto v. Netflix, Inc., No. 22-CV-21796, 2022 WL

17532279, at *2 (S.D. Fla. Dec. 8, 2022) (collecting cases); Monec Holding AG v.

Motorola Mobility, Inc., No. 11-CV-798, 2014 WL 4402825, at *2 (D. Del. Sept. 5, 2014)

(finding opposing party prejudiced if forced to respond to legal arguments in incorporated

exhibit); Aircraft Tech. Publishers v. Avantext, Inc., No. 7-CV-4154, 2009 WL 3833573,

*1 (N.D. Cal. Nov. 16, 2009) (striking summary judgment motions that were improperly

filed separately to avoid page limits).

       At the preliminary injunction hearing,8 NeoGenomics focused on the arguments it

made in its preliminary injunction opposition brief, not the incorporated brief about

patent ineligible subject matter. The Court declines to consider the subject matter

arguments in connection with the preliminary injunction motion.

            C. Conclusion

       Natera has demonstrated a likelihood of success on the merits for its ‘035 patent

infringement claim. RaDaR likely infringes Claim 1 of the ‘035 patent, and

NeoGenomics has not raised a substantial question of validity.



       8
         At the Court’s request, the deputy clerk had advised the parties several days before the
hearing of a number of matters the Court wanted addressed, one of which was the effort to avoid
the word limits by incorporating another brief.
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   V.       ‘454 PATENT – LIKELIHOOD OF SUCCESS ON THE MERITS

         In view of its findings and conclusions on the ‘035 patent, the Court need not

address whether Natera has shown a likelihood of success on its claim that the ‘454

patent is valid and infringed.

   VI.      IRREPARABLE HARM

            A. Likelihood of Irreparable Harm

         The plaintiff seeking preliminary injunctive relief must show a likelihood of

irreparable harm. BlephEx, 24 F.4th at 1398. A patentee suffers irreparable harm when

“forced to compete against products that incorporate and infringe its own patented

inventions.” Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345 (Fed.

Cir. 2013). Natera will likely suffer irreparable harm if NeoGenomics continues to offer

RaDaR in the marketplace.

         Evidence of head-to-head competition, lost market share, lost sales, and a decline

in reputation and brand distinction can support a showing of irreparable harm. See TEK

Glob., S.R.L. v. Sealant Sys. Int’l, Inc., 920 F.3d 777, 793 (Fed. Cir. 2019); Douglas

Dynamics, 717 F.3d at 1344. When two competitors directly compete “for the same

customers in the same markets,” irreparable harm is evident. See Presidio Components

Inc. v. Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363 (Fed. Cir. 2012).

         Natera and NeoGenomics are direct competitors in the tumor informed MRD

marketplace. See Doc. 7 at ¶ 131; Doc. 92-1 at 26. Indeed, NeoGenomics is Natera’s

only competitor in this market. See supra note 3, at 4. Analysts believe NeoGenomics’

RaDaR will see significant growth in the industry. Doc. 92-1 at 5, 20. For many of

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NeoGenomics’ sales, Natera will lose out on potential customers, profits, business

relationships, and clinical opportunities. See Douglas Dynamics, 717 F.3d at 1345

(holding infringer’s increase in market share more relevant than patentee’s ability to

maintain market share).

       In this industry, biopharmaceutical partnerships are important. Doc. 7 at ¶¶ 103–

04. By participating in clinical trials, companies can generate product data, gain

credibility in the marketplace, and contribute to published research. Id. at ¶¶ 79, 103.

Data from clinical trials also creates the support needed for insurance coverage

determinations and entry into the larger clinical marketplace. Id. at ¶¶ 77, 103. If forced

to compete against RaDaR for participation in future clinical studies, Natera could lose

out on partnerships that substantially impact Signatera’s future success, a loss that is

challenging to quantify. Id. at ¶ 105; see also Metalcraft of Mayville, Inc. v. The Toro

Co., 848 F.3d 1358, 1368 (Fed. Cir. 2017) (holding that “[w]here the injury cannot be

quantified” and “no amount of money damages is calculable,” the harm is irreparable).

       Natera has a first mover advantage as a pioneer in the tumor informed MRD

market. Doc. 7 at ¶ 134. This advantage includes a period of exclusivity, in which

Natera can establish brand recognition, customer loyalty, and business foundations. Id. at

¶ 136. Natera has never licensed the ‘035 patent, Doc. 14 at ¶ 16, and it has a right to

exclusivity as the patent holder. See Douglas Dynamics, 717 F.3d at 1345; Presidio, 702

F.3d at 1363 (finding unwillingness to license supported irreparable injury). Natera’s

position as first mover will be unfairly cut short if RaDaR remains on the market.



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       NeoGenomics contends that the larger MRD market is the relevant market, and

that Guardant Health is a bigger competitor for Natera than NeoGenomics. Doc. 89 at

23–24. While Guardant Health does operate in the MRD testing space, Doc. 92-1 at 26,

it offers a tumor naïve product. See Doc. 7 at ¶ 53. Market analysts have confirmed that

tumor informed tests are preferred by oncologists, Doc. 92-1 at 4, 17, making it highly

likely that for many oncologists, the only two products are Natera’s test and

NeoGenomics’ likely infringing test.

       Even viewed as part of the larger MRD market, there is still irreparable harm. As

the Federal Circuit has noted, “the existence of a two-player market” supports the

granting of an injunction “because it creates an inference that an infringing sale amounts

to a lost sale for the patentee,” but “the converse is not automatically true.” Robert Bosch

LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1151 (Fed. Cir. 2011) (cleaned up).

       NeoGenomics contends that Natera has not shown that it has lost any contracts to

NeoGenomics. But Natera has shown Moderna used RaDaR in at least one clinical study,

Doc. 14-7 at 2, 11, and that NeoGenomics’ representatives are promoting RaDaR to

Natera’s customers. Doc. 18-6. There is not abundant evidence of lost sales, but RaDaR

is relatively new to the market; it has only been commercially available since March,

Doc. 14-4, and it only received approval for Medicare coverage for use with certain

specified cancers in July. Doc. 1-30. Competition and potential lost sales from RaDaR

are likely to occur and cause harm.

       Finally, NeoGenomics contends that Natera unreasonably delayed in filing this

action. See Doc. 89 at 20–22. Natera received this patent in December 2022, Doc. 1-2 at

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2, NeoGenomics entered the clinical market in March 2023, Doc. 14-4, and this lawsuit

was filed in July 2023. Doc. 1. In the interim, Natera was already involved in ongoing

patent infringement litigation over related patents. See ArcherDX, Inc., No. 20-CV-125.

       This is not undue delay. A patentee is not required to “sue all infringers at once”

and suing four months after an infringer enters the market is relatively quick. Robert

Bosch, 659 F.3d at 1151. Moreover, “picking off one infringer at a time is not

inconsistent with being irreparably harmed.” Id. (citing Pfizer, Inc. v. Teva Pharms. USA,

Inc., 429 F.3d 1364, 1381 (Fed. Cir. 2005)).

       Natera has shown a likelihood of irreparable harm.

          B. Causal Nexus

       In addition to likely irreparable harm, the patentee must also demonstrate “that a

sufficiently strong causal nexus relates the alleged harm to the alleged infringement.”

Bio-Rad Lab’ys, Inc. v. 10X Genomics, Inc., 967 F.3d 1353, 1377–78 (Fed. Cir. 2020)

(cleaned up); Apple Inc. v. Samsung Elecs. Co., Ltd., 809 F.3d 633, 640 (Fed. Cir. 2015).

While the infringing feature does not have to be the sole reason a product is bought,

Apple, 809 F.3d at 641–42, a causal nexus exists if “the infringing feature drives

consumer demand for the accused product.” TEK Glob., 920 F.3d at 792 (quoting Apple

Inc. v. Samsung Elecs. Co., 695 F.3d 1370, 1375–76 (Fed. Cir. 2012)).

       There is a causal nexus between the likely infringement and harm. It appears

highly likely that NeoGenomics’ predecessor built RaDaR using the methods of the ‘035

patent as a foundation. As previously discussed supra, the likely infringement allows

NeoGenomics to offer RaDaR as a tumor informed MRD assay, doctors who order these

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tests often prefer tumor informed tests, and RaDaR’s ability to perform tumor informed

testing is what drives consumer demand for it.

          C. BALANCE OF EQUITIES

       The third factor requires the patentee show that “the balance of equities tips in its

favor.” BlephEx, 24 F.4th at 1398. When balancing equities, the court “weigh[s] the

harm to the moving party if the injunction is not granted against the harm to the non-

moving party if the injunction is granted.” Metalcraft, 848 F.3d at 1369 (citing Hybritech

Inc. v. Abbott Lab’ys, 849 F.2d 1446, 1457 (Fed. Cir. 1988)). The court “may consider

the parties’ sizes, products, and revenue sources” in its analysis, but the “expenses

incurred in creating the infringing products and the consequences of its infringement are

irrelevant.” Bio-Rad Lab’ys, 967 F.3d at 1378 (cleaned up).

       The balance of equities weighs in favor of granting a preliminary injunction. A

2020 analyst report identified Signatera as Natera’s “most valuable offering.” Doc. 7 at

¶ 158. In 2023, that same firm predicted that advances related to Signatera were key to

Natera’s future success. See Doc. 7-18 at 4 (section titled “Key catalysts for Natera’s

stock from here”).

       A May 2023 report predicts revenue from Signatera will increase from $130.4

million in 2022 to $432.4 million in 2025 and make up 52.1% of Natera’s total growth in

revenue. Doc. 7 at ¶¶ 156–57; Doc. 7-18 at 6. In the first quarter of 2023, the “vast

majority” of Natera’s revenue attributable to oncology products came from “clinical

Signatera volume growth.” Doc. 7-18 at 4 (section titled “More on Signatera in greater

detail”). Signatera is important to Natera’s economic success.

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       In contrast, NeoGenomics is not as dependent on RaDaR’s success. It has “the

broadest cancer diagnostic testing menu in the U.S.,” with over 600 tests related to cancer

diagnostics; NeoGenomics launches roughly 60 to 70 new test products each year. Doc.

7-19 at 3 (April 2023 report, section titled “Investment Thesis”).

       RaDaR also only recently became commercially available. See Doc. 14-4.

Although NeoGenomics spent a significant amount of money acquiring Inivata and the

RaDaR test, this expense does not tip the balance of equities in favor of NeoGenomics.

See Bio-Rad Lab’ys, 967 F.3d at 1378.

       The harm to Natera if a preliminary injunction is not granted outweighs the harm

to NeoGenomics in granting the injunction. See Metalcraft, 848 F.3d at 1369. Signatera

has been on the market longer and is predicted to be a major contributor to Natera’s

future success. In comparison, RaDaR is relatively new to the market and is not a major

product in NeoGenomics’ portfolio. Natera’s projected revenue streams and dependence

on Signatera tips the balance of equities in favor of granting the preliminary injunction.

See Bio-Rad Lab’ys, 967 F.3d at 1378.

          D. PUBLIC INTEREST

       It is in the public’s interest to uphold patent rights. See i4i Ltd. P’ship v. Microsoft

Corp., 598 F.3d 831, 863 (Fed. Cir. 2010); Douglas Dynamics, 717 F.3d at 1346 (stating

the public has a “general interest in the judicial protection of property rights in inventive

technology”). Before granting an injunction, courts must balance “protecting the

patentee’s rights” with any adverse effects on the public. i4i, 598 F.3d at 863; see also

Metalcraft, 848 F.3d at 1369 (“[T]he district court should focus on whether a critical

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public interest would be injured by the grant of injunctive relief.”). To reduce any

adverse effects on the public interest, an injunction can be crafted to exclude current users

of the enjoined product. See i4i, 598 F.3d at 863.

       The public interest in enforcing patent rights tips in favor of granting a preliminary

injunction. Anyone in need of a tumor informed MRD test will be able to get one from

Natera; Signatera is clinically validated for use with the same cancers as RaDaR. See

Doc. 10-39 at 2–3 (RaDaR cancer coverage); Doc. 10-5 at 2 (Signatera’s Medicare

coverage); Doc. 10-15 at 13 (listing Signatera’s published indications as of 2022). Natera

has the capacity to take on more customers. See, e.g., Doc. 10-13 at 7 (Form 10-K for

2021 discussing Natera’s “global network of over 100 laboratory and distribution

partners”); Doc. 10-17 at 17 (2022 presentation discussing Natera’s ability to scale up);

Doc. 14 at ¶ 14; see also Doc. 7 at ¶¶ 89–92. The injunction can be crafted in a way that

does not disrupt clinical trials and ongoing research and so that current patients can

continue to use RaDaR. See discussion infra.

       Consumer choice is important, as NeoGenomics points out. Doc. 89 at 30–31.

But competition from an infringing product does not benefit the public, and it impedes

innovation. See Douglas Dynamics, 717 F.3d at 1346 (so holding after verdict in favor of

patent holder). While this is not a final decision on the merits, Natera has made a strong

case for infringement and validity of the ‘035 patent. The need to protect consumer

choice does not weigh heavily in favor of denying an injunction, in light of other

evidence. See Shure, Inc. v. ClearOne, Inc., No. 17-CV-3078, 2019 WL 3555098, at *25

(N.D. Ill. Aug. 5, 2019).

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       As NeoGenomics points out, there are patients currently using RaDaR who would

be harmed if it were withdrawn from the market, and there are clinical trials and research

projects, which depend on the use of RaDaR, in process or approved to begin. See Doc.

89 at 31. The public interest does not support enjoining these uses, despite the potential

for infringement.

       The public generally benefits from clinical trials, which should be carried out if

they have been approved and completed if they are in process. The same is true for

research projects already in process. And, as Natera recognizes, current patients using

RaDaR, whether in clinical trials or otherwise, cannot at this point in their medical care

use Signatera as a substitute. See Doc. 5 at 31 (asking for an injunction that allows

patients currently using RaDaR to continue use); Doc. 139 at 19. The Court agrees that

avoiding disruption to ongoing treatment, research, and clinical studies is proper, and the

preliminary injunction will be crafted to protect those interests.

          E. CONCLUSION

       Natera has shown that it is likely to succeed on the merits, it is likely to suffer

irreparable harm in the absence of preliminary relief, the balance of equities tips in its

favor, and an injunction is in the public interest. A preliminary injunction is appropriate.

       It is ORDERED that Natera’s preliminary injunction motion, Doc. 5, is

GRANTED. The preliminary injunction will issue separately.

       This the 27th day of December, 2023.
                                                   ~tf7fj7
                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE

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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 NATERA, INC.,                               )
                                             )
                               Plaintiff,    )
                                             )
        v.                                   )                 1:23-CV-629
                                             )
 NEOGENOMICS LABORATORIES,                   )
 INC.,                                       )
                                             )
                               Defendant.    )

                              PRELIMINARY INJUNCTION

       Plaintiff Natera, Inc. moves for a preliminary injunction based on alleged

infringement of two of its patents by defendant NeoGenomics Laboratories Inc. On

consideration of the entire record, and as set forth in more detail in an order entered

concurrently, the Court finds and concludes that Natera has demonstrated that it is likely

to succeed on the merits of its claim. It is likely (1) NeoGenomics is infringing U.S.

Patent No. 11,519,035 by making and selling the RaDaR assay, and NeoGenomics has

not presented a substantial question of the validity of the asserted claims of the ‘035

patent; (2) Natera is substantially likely to suffer irreparable harm from NeoGenomics’

ongoing infringement of the ‘035 patent; and (3) the balance of equities and the public

interest favor protecting Natera and granting a preliminary injunction.

       IT IS HEREBY ORDERED:

       1. Natera’s Motion for a Preliminary Injunction, Doc. 5, is GRANTED.

       2. NeoGenomics and its privies, subsidiaries, affiliates, officers, agents, servants,

             employees, attorneys, and those acting or attempting to act in concert or




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    participation with them, are ENJOINED from (1) making, using, selling, or

    offering for sale in the United States the (a) the accused RaDaR assay (“the

    Accused Assay”) or (b) any assay or product not more than colorably different

    from the Accused Assay whose manufacture, use, importation, offer for sale, or

    sale would infringe any asserted claim of U.S. Patent No. 11,519,035; and (2)

    promoting, advertising, marketing, servicing, distributing, or supplying the

    above Accused Assay so as to induce others’ infringement.

 3. Notwithstanding the foregoing, NeoGenomics may continue to make, use, and

    sell the Accused Assay solely for continued use of the Accused Assay

       a. for those patients already using it before the entry of this injunction,

       b. in support of research and development with other persons or entities on

           projects or studies that began before the entry of this injunction, or

       c. for use in or in support of clinical trials in process or already approved

           by an agency of the United States.

 4. NeoGenomics SHALL, within 10 days from the date of issuance of this

    Preliminary Injunction, provide notice and a copy of this Preliminary

    Injunction to (1) each of its privies, subsidiaries, affiliates, officers, agents,

    servants, employees, and attorneys; and (2) any other person or entity acting or

    attempting to act in concert or participation with NeoGenomics with respect to

    any of the enjoined activities, such that above persons and entities are duly

    noticed and bound by this Order under Federal Rule of Civil Procedure

    65(d)(2). NeoGenomics shall further provide proof of each such notice to this

                                         2



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                                  Appx24




    Court by filing proof of service within 14 days from the date of issuance of this

    Preliminary Injunction.

 This the 27th day of December, 2023.



                                          _______________________________
                                          UNITED STATES DISTRICT JUDGE




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                    EXHIBIT 2




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                                                                                              US011519035B2


c12)   United States Patent                                                (IO) Patent No.:                 US 11,519,035 B2
       Rabinowitz et al.                                                   (45) Date of Patent:                         *Dec. 6, 2022

(54)   METHODS FOR SIMULTANEOUS                                               a continuation-in-part of application No. 13/300,235,
       AMPLIFICATION OF TARGET LOCI                                           filed on Nov. 18, 2011, now Pat. No. 10,017,812, and
                                                                              a continuation-in-part of application No. 13/110,685,
(71)   Applicant: Natera, Inc., San Carlos, CA (US)                           filed on May 18, 2011, now Pat. No. 8,825,412, said
                                                                                                (Continued)
(72)   Inventors: Matthew Rabinowitz, San Francisco,
                  CA (US); Matthew Micah Hill,
                  Belmont, CA (US); Bernhard                          (51)    Int. Cl.
                  Zimmermann, Manteca, CA (US);                               C12Q 1168               (2018.01)
                  Johan Barrer, San Francisco, CA (US);                       C12Q 116883             (2018.01)
                  George Gemelos, Portland, OR (US);                          C12Q 116811             (2018.01)
                  Milena Banjevic, Los Altos Hills, CA                        C12Q 116848             (2018.01)
                  (US); Allison Ryan, Belmont, CA (US);                       C12Q 116809             (2018.01)
                  Styrmir Sigurjonsson, San Jose, CA                          C12Q 116851             (2018.01)
                  (US); Zachary Demko, San Francisco,                         C12Q 116844             (2018.01)
                  CA (US)                                                     C12Q 116869             (2018.01)
                                                                              C12Q 116855             (2018.01)
(73)   Assignee: Natera, Inc., San Carlos, CA (US)                            C12Q 116874             (2018.01)
                                                                      (52)    U.S. Cl.
( *)   Notice:      Subject to any disclaimer, the term ofthis                CPC ......... C12Q 116883 (2013.01); C12Q 116809
                    patent is extended or adjusted under 35                              (2013.01); C12Q 116811 (2013.01); C12Q
                    U.S.C. 154(b) by O days.                                           116844 (2013.01); C12Q 116848 (2013.01);
                    This patent is subject to a terminal dis-                               C12Q 116851 (2013.01); C12Q 116855
                    claimer.                                                             (2013.01); C12Q 116869 (2013.01); C12Q
                                                                                     116874 (2013.01); Cl2Q 2600/156 (2013.01)
(21)   Appl. No.: 16/934,407                                          (58)    Field of Classification Search
                                                                              None
(22)   Filed:       Jul. 21, 2020                                             See application file for complete search history.
(65)                  Prior Publication Data
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       continuation of application No. 16/399,268, filed on
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       Apr. 30, 2019, now Pat. No. 10,538,814, which is a
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       No. 14/918,544, filed on Oct. 20, 2015, now Pat. No.                                         (Continued)
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       now abandoned, and a continuation-in-part of
       application No. 14/692,703, filed on Apr. 21, 2015,           US 8,501,409 B2, 08/2013, Simen et al. (withdrawn)
       now Pat. No. 10,179,937, and a continuation-in-part                                          (Continued)
       of application No. 14/538,982, filed on Nov. 24, 2014,
       now Pat. No. 9,677,118, said application No.
       14/877,925 is a continuation-in-part of application           Primary Examiner - Stephanie K Mummert
       No. 14/225,356, filed on Mar. 25, 2014, now
       abandoned, and a continuation-in-part of application           (57)                        ABSTRACT
       No. 13/780,022, filed on Feb. 28, 2013, now
       abandoned, and a continuation of application No.              The invention provides methods for simultaneously ampli-
       13/683,604, filed on Nov. 21, 2012, now abandoned,            fying multiple nucleic acid regions of interest in one reaction
       said application No. 14/225,356 is a continuation of          volume as well as methods for selecting a library of primers
       application No. PCT/US2012/058578, filed on Oct. 3,           for use in such amplification methods. The invention also
       2012, said application No. 13/780,022 is a                    provides library of primers with desirable characteristics,
       continuation-in-part of application No. 13/683,604,           such as minimal formation of amplified primer dimers or
       filed on Nov. 21, 2012, now abandoned, and a                  other non-target amplicons.
       continuation-in-part      of      application      No.
       PCT/US2012/058578, filed on Oct. 3, 2012, and a
                                                                                       15 Claims, 58 Drawing Sheets
       continuation-in-part of application No. 13/335,043,
       filed on Dec. 22, 2011, now Pat. No. 10,113,196, and                   Specification includes a Sequence Listing.




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           10'OOO-p!ex PCR                                                    Library Amplification
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                                   FIG. 11




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Appx68
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                                                                                 O.S     each SNP normalized against average DOR of SNP in the three 46XYu3 cells, then averaged per
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                                                      single_cell (T21, XX)

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Case 1:23-cv-00629-CCE-JLW Document 1-2 Filed 07/28/23 Page 55 of 214
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                                                                                                            FIG. 28D                                               FIG. 28E                     w
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         Case 1:23-cv-00629-CCE-JLW Document 1-2 Filed 07/28/23 Page 68 of 214
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                         Autosomal                                            Autosomal
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                                                                             Chromosome
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                                                          FIG. 32




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                    5' A           T        C       G    A        3'
                             ILiG1
                    3'   G         A        C       T        T    5'


                                   FIG. 33A




                5' A           T       C        G       A        3'
                                    ILiG2
                3' G           A        C       T       T        5'

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                                        •
                         l'.:iG :::: LiG1 +LiG2 + ... +LiGx


                                   FIG. 33B




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           5'       A      T       C      G      A        3'



           3'       G      A       C      T      T        5'



                                   j      SHIFT
                                       ALIGNMENT
                                           BY 1
                           To F!G. 33D


                             FIG. 33C




           5'       A       T      C       G     A        3'



                    3'      G      A       C         T    T        5'


                             FIG. 33D




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                5'      A     T     C      G        A        3'
                                  lllG1
                        3' G        A      C        T    T        5'



                                          l
                                  To FIG. 33F

                                  FIG. 33E




                5'       A     T     C        G      A       31
                                          It'.\G2
                         3'    G     A        C      T   T        5'


                                  FIG. 33F




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                                                                                  gMother           3,633,900   3,647,446         100%
                                                                                  gMother           3,567,685   3,578,549         100%
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                                                                                  gMother           3,733,706   3,747,692         100%    c
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                                                                                  gChild            3J25,554    3,737,742         100%   ~Cl's
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                                                                                  gChild            3,816,989   3,829,450         100%    0
                                                                                                                                          N
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                                                                                  gChild            3,524,956   3,536,569         100%
                                                                                  1 mother          3,467,493   7,564,869          46%
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                                                                                  1 mother          3,868,210   7,107,028          54%    ('D
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                                                                                  1 child             361,390   6,507,434           6%    ....
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                                                                                  1 child           1,885,864   6,496,348          29%
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                                                                                  1 child           2,789,647   6,259,288          45%
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                                                                                  Description         MAPPED READS TOTAL READS %Mapped Reads
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                                                                                  case 1 cell 1           4,340,613   8,248,598          53%   ~Cl's
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                                                                                  case 1 cell 2           5,480,580   8,230,870          67%    0
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                                                                                  case 1 eel! 3           4,664,577   7,846,040          59%
                                                                                  case 2 blastoceol          45,794   6,302,957           1%
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                                                          gDNA                       Single Cell
                                 Count                      75                          510
                                 Mean                     0.15 %                      0.51 %
                                 Median                   0.09 %                      0.33 %
                                  Max                     1.03 %                        10%
        Standard Deviation                                0.16%                       0.79 %
           95 th percentile                               0.43 %                       1.22 %
           90th percentile                                0.37 %                      0.92 %

                                                         FIG. 43


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Case 1:23-cv-00629-CCE-JLW Document 1-2 Filed 07/28/23 Page 85 of 214
                                                         Appx116
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                                                                                             Mapped        TOTAL       Jo           Dropout    Median                  Error                      ~
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                                                                                   DOE1      READS         READS       Mapped        Count     DORAII     NOR         Rate(%)                    =~

                                                                                  1xMM        1,112,007    1,262,558        80.0%        436      26.25   1,043,539      0.107%
                                                                                                                                                                                                          Case: 24-1324




                                                                                  2xMM        3,412,593    3,615,347        94.4%        105     147.75   3,206,478      0.141%
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                                                                                  FmA           449,074      635,571        70.6%       1379      9.625     421,228      0.077%                  ~
                                                                                                                                                                                                 ~Cl's
                                                                                  FmB         3,293,944    3,519,378        93.7%        105      142.5   3,106,520      0.072%                  N
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                                                                                  FmD                                                                                                            N
                                                                                              4,028,128    4,109,448        98.0%        122      142.5   3,796,213      0.064%                  N

                                                                                  FmJ         3,676,617    3,922,330        93.7%        102     159.25   3,461,304      0.079%
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Appx117
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                                                                                  FmA is: 25 mM Tris pH 7.8, 3 mM MgCl2, 0 mM KCI, 10 mM (NH4hS04, 50 U/ml Taq Gold               aka FmA Gold   Cl's
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                                                                                                                                                                                                 ....
                                                                                                                                                                                  aka FmB Gold   Ul
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                                                                                  FmB is: 75 mM Tris pH 7.8, 6 mM MgCl2, 0 mM KCI, 40 mM (NH4) 2SO4, 150 U/ml Taq Gold
                                                                                                                                                                                                          Page: 120




                                                                                  FmD is: 25 mM Tris pH 8.2, 3 mM MgCl2, 30 mM KCI, 40 mM (NH4)2 SO4, 150 U/mL Taq Gold
                                                                                  FmJ is: 75 mM Tris pH 7.8, 6 mM MgCl 2, 0 mM KCI, 40 mM (NH 4)2 SO 4, 150 U/ml Qiagen HS Taq aka FmB Qiagen
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Case 1:23-cv-00629-CCE-JLW Document 1-2 Filed 07/28/23 Page 88 of 214
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         Case: 24-1324                 Document: 42-1                  Page: 123             Filed: 03/18/2024




                                                   US 11,519,035 B2
                              1                                                                 2
         METHODS FOR SIMULTANEOUS                                 filed Dec. 22, 2011, now U.S. Pat. No. 10,113,196; a
        AMPLIFICATION OF TARGET LOCI                              continuation-in-part of U.S. Utility application Ser. No.
                                                                  13/300,235, filed Nov. 18, 2011, now U.S. Pat. No. 10,017,
           CROSS-REFERENCE TO RELATED                             812; and an continuation-in-part of U.S. Utility application
                      APPLICATIONS                              5 Ser. No. 13/110,685 (now U.S. Pat. No. 8,825,412), filed
                                                                  May 18, 2011, and also claims the benefit of U.S. Provi-
   This application is a continuation of U.S. Utility applica-    sional Application Ser. No. 61/634,431, filed Feb. 29, 2012.
tion Ser. No. 16/743,724, filed Jan. 15, 2020.                       U.S. Utility application Ser. No. 13/683,604 (now Aban-
   U.S. Utility application Ser. No. 16/743,724 is a continu-     doned), filed Nov. 21, 2012, is a continuation-in-part of U.S.
ation of U.S. Utility application Ser. No. 16/399,268 (now 10 Utility application Ser. No. 13/300,235 (now U.S. Pat. No.
U.S. Pat. No. 10,538,814), filed Apr. 30, 2019.                   10,017,812), filed Nov. 18, 2011; is a continuation-in-part of
   U.S. Utility application Ser. No. 16/399,268 (now U.S.         U.S. Utility application Ser. No. 13/110,685 (now U.S. Pat.
Pat. No. 10,538,814) is a continuation of U.S. Utility appli-     No. 8,825,412), filed May 18, 2011; and claims the benefit
cation Ser. No. 16/140,298, filed Sep. 24, 2018.                  of and priority to U.S. Provisional Application Ser. No.
   U.S. Utility application Ser. No. 16/140,298 is a continu- 15 61/675,020, filed Jul. 24, 2012.
ation of U.S. Utility application Ser. No. 14/918,544 (now           PCT Application No. PCT/US2012/058578, filed Oct. 3,
U.S. Pat. No. 10,316,362), filed Oct. 20, 2015.                   2012, is a continuation-in-part of U.S. Utility application
   U.S. Utility application Ser. No. 14/918,544 (now U.S.         Ser. No. 13/300,235 (now U.S. Pat. No. 10,017,812), filed
Pat. No. 10,316,362), filed Oct. 20, 2015, is a continuation-     Nov. 18, 2011; and claims the benefit of and priority to U.S.
in-part application of U.S. Utility application Ser. No. 20 Provisional Application Ser. No. 61/683,331, filed Aug. 15,
14/877,925, filed Oct. 7, 2015, now abandoned; a continu-         2012; and U.S. Provisional Application Ser. No. 61/542,508,
ation-in-part application of U.S. Utility application Ser. No.    filed Oct. 3, 2011.
14/692,703, filed Apr. 21, 2015, now U.S. Pat. No. 10,179,           U.S. Utility application Ser. No. 13/335,043, filed Dec.
937; a continuation-in-part application of U.S. Utility appli-    22, 2011, is a continuation-in-part of U.S. Utility application
cation Ser. No. 14/538,982, now U.S. Pat. No. 9,677,118, 25 Ser. No. 13/300,325 (now U.S. Pat. No. 10,017,812), filed
filed Nov. 24, 2014; and claims the benefit of and priority to    Nov. 18, 2011; a continuation-in-part of U.S. Utility appli-
U.S. Provisional Application Ser. No. 62/148,173, filed Apr.      cation Ser. No. 13/110,685 (now U.S. Pat. No. 8,825,412),
15, 2015; U.S. Provisional Application Ser. No. 62/147,377,       filed May 18, 2011; and claims the benefit of U.S. Provi-
filed Apr. 14, 2015; U.S. Provisional Application Ser. No.        sional Application Ser. No. 61/426,208, filed Dec. 22, 2010.
62/146,188, filedApr. 10, 2015; and U.S. Provisional Appli- 30       U.S. Utility application Ser. No. 13/300,235 (now U.S.
cation Ser. No. 62/066,514, filed Oct. 21, 2014.                  Pat. No. 10,017,812), filed Nov. 18, 2011 is a continuation-
   U.S. Utility application Ser. No. 14/877,925, filed Oct. 7,    in-part of U.S. Utility application Ser. No. 13/110,685 (now
2015, now abandoned, is a continuation-in-part of U.S.            U.S. Pat. No. 8,825,412), filed May 18, 2011 and claims the
Utility application Ser. No. 14/225,356 (now Abandoned),          benefit of U.S. Provisional Application Ser. No. 61/542,508,
filed Mar. 25, 2014; is a continuation-in-part of U.S. Utility 35 filed Oct. 3, 2011; and U.S. Provisional Application Ser. No.
application Ser. No. 13/780,022 (now Abandoned), filed            61/571,248, filed Jun. 23, 2011.
Feb. 28, 2013; and is a continuation of U.S. Utility appli-          U.S. Utility application Ser. No. 13/110,685 (now U.S.
cation Ser. No. 13/683,604 (now Abandoned), filed Nov. 21,        Pat. No. 8,825,412), filed May 18, 2011, claims the benefit
2012.                                                             of U.S. Provisional Application Ser. No. 61/516,996, filed
   U.S. Utility application Ser. No. 14/692,703, filedApr. 21, 40 Apr. 12, 2011; U.S. Provisional Application Ser. No. 61/448,
2015, now U.S. Pat. No. 10,179,937, claims the benefit of         547, filed Mar. 2, 2011; U.S. Provisional Application Ser.
and priority to U.S. Provisional Application Ser. No. 62/148,     No. 61/462,972, filed Feb. 9, 2011; U.S. Provisional Appli-
173, filed Apr. 15, 2015; U.S. Provisional Application Ser.       cation Ser. No. 61/398,159, filed Jun. 21, 2010; and U.S.
No. 62/147,377, filedApr. 14, 2015; U.S. Provisional Appli-       Provisional Application Ser. No. 61/395,850, filed May 18,
cation Ser. No. 62/146,188, filed Apr. 10, 2015; U.S. Pro- 45 2010.
visional Application Ser. No. 62/066,514, filed Oct. 21,             Each of these applications cited above is hereby incorpo-
2014; U.S. Provisional Application Ser. No. 61/994,791,           rated by reference in its entirety.
filed May 16, 2014; U.S. Provisional Application Ser. No.
61/987,407, filed May 1, 2014; and U.S. Provisional Appli-                            SEQUENCE LISTING
cation Ser. No. 61/982,245, filed Apr. 21, 2014.               50
   U.S. Utility application Ser. No. 14/538,982, now U.S.            The instant application contains a Sequence Listing which
Pat. No. 9,677,118, filed Nov. 24, 2014 claims the benefit of     has been submitted electronically in ASCII format and is
and priority to U.S. Provisional Application Ser. No. 62/066,     hereby incorporated by reference in its entirety. Said ASCII
514, filed Oct. 21, 2014; U.S. Provisional Application Ser.       copy, created on Jul. 8, 2020, is named N012US32_SL.txt
No. 61/994,791, filed May 16, 2014; U.S. Provisional Appli- 55 and is 8,726 kilo bytes in size.
cation Ser. No. 61/987,407, filed May 1, 2014; and U.S.
Provisional Application Ser. No. 61/982,245, filed Apr. 21,                       FIELD OF THE INVENTION
2014.
   U.S. Utility application Ser. No. 14/225,356 (now Aban-           The present invention generally relates to methods and
doned), filed Mar. 25, 2014 is a continuation of PCT 60 compositions for simultaneously amplifying multiple
Application PCT/US2012/58578, filed Oct. 3, 2012.                 nucleic acid regions of interest in one reaction volume.
   U.S. Utility application Ser. No. 13/780,022 (now Aban-
doned), filed Feb. 28, 2013, is a continuation-in-part of U.S.              BACKGROUND OF THE INVENTION
Utility application Ser. No. 13/683,604 (now Abandoned),
filed Nov. 21, 2012; a continuation-in-part of PCT Applica- 65       To increase assay throughput and allow more efficient use
tion No. PCT/US2012/58578, filed Oct. 3, 2012; a continu-         of nucleic acid samples, simultaneous amplification of many
ation-in-part of U.S. Utility application Ser. No. 13/335,043,    target nucleic acids in a sample of interest can be carried out




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                                                         Appx120
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                              3                                                                 4
by combining many oligonucleotide primers with the                the presence or absence of at least one target amplicon (such
sample and then subjecting the sample to polymerase chain         as at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of
reaction (PCR) conditions in a process known in the art as        the target amplicons). In some embodiments, the method
multiplex PCR. Use of multiplex PCR can significantly             also includes determining the sequence of at least one target
simplify experimental procedures and shorten the time             amplicon (such as at least 50, 60, 70, 80, 90, 95, 96, 97, 98,
required for nucleic acid analysis and detection. However,        99, or 99.5% of the target amplicons). In some embodi-
when multiple pairs are added to the same PCR reaction,           ments, the method involves multiplex PCR and sequencing
non-target amplification products may be generated, such as       (such as high throughput sequencing). In some embodi-
amplified primer dimers. The risk of generating such prod-        ments, the method includes selecting the test primers from
ucts increases as the number of primers increases. These 10 a library of candidate primers by removing one or more of
non-target amplicons significantly limit the use of the ampli-    the candidate primers based at least in part on the likelihood
fied products for further analysis and/or assays. Thus,           of dimer formation between candidate primers (such as li.G
improved methods are needed to reduce the formation of            values, undesirability scores, or interaction scores) prior to
non-target amplicons during multiplex PCR.                        contacting the nucleic acid sample with the library of test
   Improved multiplex PCR methods would be useful for a 15 primers.
variety of application, such as Non-Invasive Prenatal                In some embodiments, the method involves (i) contacting
Genetic Diagnosis (NPD). In particular, current methods of        a sample comprising target human loci with a library of at
prenatal diagnosis can alert physicians and parents to abnor-     least 50 (such as at least 75; 100; 300; 500; 750; 1,000;
malities in growing fetuses. Without prenatal diagnosis, one      2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
in 50 babies is born with serious physical or mental handi- 20 25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000;
cap, and as many as one in 30 will have some form of              100,000) non-immobilized, non-identical primers that
congenital malformation. Unfortunately, standard methods          simultaneously hybridize to at least 50 (such as at least 75;
have either poor accuracy, or involve an invasive procedure       100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
that carries a risk of miscarriage. Methods based on maternal     15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
blood hormone levels or ultrasound measurements are non- 25 40,000; 50,000; 75,000; 100,000) non-identical target
invasive, however, they also have low accuracies. Methods         human loci to produce a reaction mixture; wherein the
such as anmiocentesis, chorion villus biopsy and fetal blood      primers do not include molecular inversion probes (MIPs);
sampling have high accuracy, but are invasive and carry           (ii) subjecting the reaction mixture to primer extension
significant risks. Amniocentesis was performed in approxi-        reaction conditions to produce amplified products compris-
mately 3% of all pregnancies in the US, though its frequency 30 ing target amplicons; wherein the annealing temperature for
of use has been decreasing over the past decade and a half.       the reaction conditions is greater than a melting temperature
   Normal humans have two sets of 23 chromosomes in               (such as the empirically measured or calculated Tm) of at
every healthy, diploid cell, with one copy coming from each       least 50 (such as at least 75; 100; 300; 500; 750; 1,000;
parent. Aneuploidy, a condition in a nuclear cell where the       2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
cell contains too many and/or too few chromosomes is 35 25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000;
believed to be responsible for a large percentage of failed       100,000) of the non-identical primers and/or the length of
implantations, miscarriages, and genetic diseases. Detection      the annealing step of the reaction conditions is greater than
of chromosomal abnormalities can identify individuals or          5 minutes (such as at least 8, 10, 15, 20, 30, 45, 60, 75, 90,
embryos with conditions such as Down syndrome,                    120, 150, or 180 minutes; and wherein at least 50 (such as
Klinefelter's syndrome, and Turner syndrome, among oth- 40 at least 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
ers, in addition to increasing the chances of a successful        10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
pregnancy. Testing for chromosomal abnormalities is espe-         30,000; 40,000; 50,000; 75,000; 100,000) non-identical tar-
cially important as the mother's age: between the ages of35       get human loci are simultaneously amplified; and (iii)
and 40 it is estimated that at least 40% of the embryos are       detecting the amplified products such as by sequencing the
abnormal, and above the age of 40, more than half of the 45 amplified products or hybridizing the amplified products to
embryos are abnormal.                                             an array. In some embodiments, the method includes empiri-
   It has recently been discovered that cell-free fetal DNA       cally measuring or calculating (such as calculating with a
and intact fetal cells can enter maternal blood circulation.      computer) the melting temperature of at least 25, 50, 80, 90,
Consequently, analysis of this genetic material can allow         92, 94, 96, 98, 99, or 100% of the primers in the library and
early NPD. Improved methods are desired to improve the 50 selecting an annealing temperature that satisfies any of these
sensitivity and specificity and reduce the time and cost          embodiments for PCR amplification of target loci.
required for NPD.                                                    In some embodiments, the method involves (i) contacting
                                                                  a sample comprising target human loci with a library of at
             SUMMARY OF THE INVENTION                             least 2 (such as at least 5, 10, 25 50; 75; 100; 300; 500; 750;
                                                               55 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
   In one aspect, the invention features methods of ampli-        25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000;
fying target loci in a nucleic acid sample. In some embodi-       100,000) non-immobilized, non-identical primers that
ments, the method involves (i) contacting the nucleic acid        simultaneously hybridize to at least 2 (such as at least 5, 10,
sample with a library oftest primers (such as non-immobi-         25 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
lized primers) that simultaneously hybridize to at least 25; 60 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;           30,000; 40,000; 50,000; 75,000; 100,000) non-identical tar-
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;           get human loci to produce a reaction mixture; wherein the
30,000; 40,000; 50,000; 75,000; or 100,000 different target       primers do not include molecular inversion probes (MIPs);
loci to produce a reaction mixture; and (ii) subjecting the       (ii) subjecting the reaction mixture to primer extension
reaction mixture to primer extension reaction conditions to 65 reaction conditions to produce amplified products compris-
produce amplified products that include target amplicons. In      ing target amplicons; wherein at least 2 (such as at least 5,
some embodiments, the method also includes determining            10, 25 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;




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7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;                98, 99, or 100% of the primers in the library and selecting
28,000; 30,000; 40,000; 50,000; 75,000; 100,000) non-                 an annealing temperature that satisfies any of these embodi-
identical target human loci are simultaneously amplified;             ments for PCR amplification of target loci. In some embodi-
and (iii) detecting the amplified products such as by                 ments, a crowding agent, such as PEG or glycerol is
sequencing the amplified products or hybridizing the ampli-           included in the reaction mixture.
fied products to an array. In various embodiments, (i) the               In various embodiments of any of the aspects of the
annealing temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,      invention, the method includes non-specifically amplifying
11, 12, 13, or 15° C. greater than the melting temperature            nucleic acids in a sample comprising target human loci;
(such as the empirically measured or calculated Tm) of at             contacting the amplified nucleic acids with a library of
least 2, 5, 10, 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 10 non-identical primers (such as non-immobilized primers)
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;                 that simultaneously hybridize to at least 1,000 non-identical
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or           target human loci to produce a reaction mixture; wherein the
all of the non-identical primers; (ii) the annealing tempera-         primers do not include molecular inversion probes (MIPs);
ture is between 1 and 15° C. (such as between 1 to 10, 1 to           subjecting the reaction mixture to primer extension reaction
5, 1 to 3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15 conditions to produce amplified products comprising target
15° C., inclusive) greater than the melting temperature (such         amplicons; wherein at least 1,000 non-identical target
as the empirically measured or calculated Tm) of at least 2,          human loci are simultaneously amplified; and sequencing
5, 10, 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;           the amplified products. In some embodiments, the non-
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;                specific amplification comprises universal polymerase chain
28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or all of 20 reaction (PCR), whole genome application, ligation-medi-
the non-identical primers; (iii) the annealing temperature is         ated PCR, degenerate oligonucleotide primer PCR, or mul-
at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater tiple displacement amplification. In some embodiments, the
than the highest melting temperature (such as the empiri-             method includes contacting a sample comprising target
cally measured or calculated Tm) of the primers; (iv) the             human loci with a library of non-identical primers (such as
annealing temperature is between 1 and 15° C. (such as 25 non-immobilized primers) that simultaneously hybridize to
between 1 to 10, 1 to 5, 1 to 3, 3 to 5, 5 to 10, 5 to 8, 8 to        at least 1,000 non-identical target human loci to produce a
10, 10 to 12, or 12 to 15° C., inclusive) greater than the            reaction mixture; wherein the primers do not include
highest melting temperature (such as the empirically mea-             molecular inversion probes (MIPs); subjecting the reaction
sured or calculated Tm) of the primers; (v) the annealing             mixture to primer extension reaction conditions to produce
temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 30 amplified products comprising target amplicons; wherein
or 15° C. greater than the average melting temperature (such          the annealing temperature for the reaction conditions is
as the empirically measured or calculated Tm) of at least 2,          greater than the melting temperature of at least 1,000 of the
5, 10, 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;           non-identical primers; and wherein at least 1,000 non-
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;                identical target human loci are simultaneously amplified;
28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or all of 35 and sequencing the amplified products. In some embodi-
the non-identical primers; or (vi) the annealing temperature          ments, the method includes contacting a sample comprising
is between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1           target human loci with a library of non-identical primers
to 3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15°        (such as non-immobilized primers) that simultaneously
C., inclusive) greater than the average melting temperature           hybridize to at least 1,000 non-identical target human loci to
(such as the empirically measured or calculated Tm) of at 40 produce a reaction mixture in which the concentration of
least 2, 5, 10, 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;         each primer is less than 20 nM; wherein the primers do not
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;                 include molecular inversion probes (MIPs); subjecting the
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or           reaction mixture to primer extension reaction conditions to
all of the non-identical primers. In various embodiments, (i)         produce amplified products comprising target amplicons;
the length of the annealing step (per PCR cycle) is greater 45 wherein the length of the annealing step of the reaction
than 1, 3, 5, 8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150, or         conditions is greater than 10 minutes; and wherein at least
180 minutes or (ii) the length of the annealing step (per PCR         1,000 non-identical target human loci are simultaneously
cycle) is between 5 and 180 minutes, such as 5 to 60, 10 to           amplified; and sequencing the amplified products. In some
60, 5 to 30, or 10 to 30 minutes, inclusive. In various               embodiments, the method includes contacting a sample
embodiments, any of the embodiments for annealing tem- 50 comprising target human loci with a library of non-identical
perature are combined with any of the embodiments for                 primers (such as non-immobilized primers) that simultane-
annealing time. In various embodiments, the annealing                 ously hybridize to at least 1,000 non-identical target human
temperature is at least 3° C. greater than the melting tem-           loci to produce a reaction mixture; wherein the guanine-
perature of at least 50 of the non-identical primers, the             cytosine (GC) content of the primers is between 30% and
annealing temperature is at least 3° C. greater than the 55 80%, inclusive; wherein the range of melting temperatures
highest melting temperature of the primers, the annealing             of the primers is less than 5° C.; wherein the length of the
temperature is at least 8° C. greater than the highest melting        primers is between 15 to 75 nucleotides, inclusive; and
temperature of the primers, the annealing temperature is at           wherein the primers do not include molecular inversion
least 3° C. greater than the average melting temperature of           probes (MIPs); subjecting the reaction mixture to primer
the primers, the annealing temperature is at least 8° C. 60 extension reaction conditions to produce amplified products
greater than the average melting temperature of the primers,          comprising target amplicons; wherein at least 1,000 non-
the range of melting temperature of the primers is between            identical target human loci are simultaneously amplified;
1 to 5° C., inclusive, the range of melting temperatures of the       and sequencing the amplified products. In some embodi-
primers is less than 5° C., or any combination thereof. In            ments, the method does not comprise using a microarray. In
some embodiments, the method includes empirically mea- 65 some embodiments, the library includes a least 25; 50; 75;
suring or calculating (such as calculating with a computer)           100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
the melting temperature of at least 25, 50, 80, 90, 92, 94, 96,       15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;




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40,000; 50,000; 75,000; or 100,000 different primers. In         human loci in the sample using at least 1,000 non-identical
some embodiments, at least 25; 50; 75; 100; 300; 500; 750;       reverse primers and a universal forward primer to produce a
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;      first set of amplified products; and simultaneously PCR-
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or       amplifying at least 1,000 non-identical target human loci in
100,000 different target loci are amplified.                     the first set of amplified products using a universal reverse
   In various embodiments of any of the aspects of the           primer and at least 1,000 non-identical forward primers to
invention, the li.G values for each possible combination of      produce a second set of amplified products. In some embodi-
two primers in the library are all equal to or greater than -5   ments, at least 96% of the primer molecules are extended to
kcal/mo!. In some embodiments, the method simultaneously         form amplified products. In some embodiments, the anneal-
PCR-amplifying at least 1,000 non-identical target human 10 ing temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12,
loci in the sample using at least 1,000 non-identical primer     13, or 15° C. greater than the melting temperature of at least
pairs (such as non-immobilized primer pairs) to produce a        25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
first set of amplified products; wherein each primer pair        10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
includes a forward primer and a reverse primer that hybrid-      30,000; 40,000; 50,000; 75,000; 100,000; or all of the
ize to the same target human locus. In some embodiments, 15 non-identical primers. In some embodiments, the annealing
the method also includes simultaneously PCR-amplifying at        temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
least 1,000 non-identical target human loci in the first set of  or 15° C. greater than the highest melting temperature of the
amplified products using at least 1,000 non-identical primer     non-identical primers. In some embodiments, the annealing
pairs (such as non-immobilized primer pairs) to produce a        temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
second set of amplified products; wherein each primer pair 20 or 15° C. greater than the average melting temperature of at
includes a forward primer and a reverse primer that hybrid-      least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;
ize to the same target human locus. In some embodiments,         7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
the primer pairs used in the first and second round of PCR       28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or all of
are the same. In some embodiments, the primer pairs used in      the non-identical primers. In some embodiments, the range
the first and second round of PCR are different. In some 25 of melting temperature of at least 25; 50; 7 5; 100; 300; 500;
embodiments, the forward primers used in the first and           750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;
second round of PCR are the same, and the reverse primers        20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;
used in the first and second round of PCR are different. In      75,000; 100,000; or all of the non-identical primers is
some embodiments, the forward primers used in the first and      between 1 to 5° C., inclusive. In some embodiments, at least
second round of PCR are different, and the reverse primers 30 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
used in the first and second round of PCR are the same. In       10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
some embodiments, the method simultaneously PCR-ampli-           30,000; 40,000; 50,000; 75,000; 100,000; or all of the
fying at least 1,000 non-identical target human loci in the      non-identical primers have 2, 1, or 0 guanines or cytosines
sample using at least 1,000 non-identical primer pairs (such     in the last 5 bases at the 3' end of the primers. In some
as non-immobilized primer pairs) to produce a first set of 35 embodiments, the sample comprises maternal DNA from the
amplified products; wherein each primer pair includes an         pregnant mother of a fetus and fetal DNA, and wherein the
outer forward primer and an outer reverse primer that            method comprises determining the presence or absence of a
hybridize to the same target human locus; and simultane-         fetal chromosome abnormality from the sequencing data. In
ously PCR-amplifying at least 1,000 non-identical target         some embodiments, the sample is from an individual sus-
human loci in the first set of amplified products using a 40 pected of having cancer or an above normal risk for cancer;
universal reverse primer and at least 1,000 non-identical        and wherein one or more of the target human loci comprises
inner forward primers to produce a second set of amplified       a polymorphism or other mutation associated with an above
products; wherein each inner forward primer hybridizes to a      normal risk for cancer or associated with cancer.
region downstream from the corresponding outer forward              In various embodiments of any of the aspects of the
primer. In some embodiments, the method includes simul- 45 invention, at least 25; 50; 75; 100; 300; 500; 750; 1,000;
taneously PCR-amplifying at least 1,000 non-identical target     2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
human loci in the sample using at least 1,000 non-identical      25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
primer pairs to produce a first set of amplified products;       100,000 different target loci are amplified. In some embodi-
wherein each primer pair includes an outer forward primer        ments, at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;
and an outer reverse primer that hybridize to the same target 50 5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
human locus; and simultaneously PCR-amplifying at least          27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
1,000 non-identical target human loci in the first set of        different target loci are amplified at least 5, 10, 20, 40, 50,
amplified products using a universal forward primer and at       60, 80, 100, 120, 150, 200, 300, or 400-fold. In some
least 1,000 non-identical inner reverse primers to produce a     embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,
second set of amplified products; wherein each inner reverse 55 or 99.5% of the amplified products are target amplicons. In
primer hybridizes to a region upstream from the correspond-      some embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98,
ing outer reverse primer. In some embodiments, the method        99, or 99.5% of the target loci are amplified. In some
includes simultaneously PCR-amplifying at least 1,000 non-       embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,
identical target human loci in the sample using at least 1,000   or 99 .5% of the target loci are amplified at least 5, 10, 20,
non-identical forward primers and a universal reverse primer 60 40, 50, 60, 80, 100, 120, 150, 200, 300, or 400-fold. In
to produce a first set of amplified products; and simultane-     various embodiments, less than 60, 50, 40, 30, 20, 10, 5, 4,
ously PCR-amplifying at least 1,000 non-identical target         3, 2, 1, 0.5, 0.25, 0.1, or 0.05% of the amplified products are
human loci in the first set of amplified products using a        primer dimers. In some embodiments, the library of test
universal forward primer and at least 1,000 non-identical        primers includes at least 25; 50; 75; 100; 300; 500; 750;
reverse primers to produce a second set of amplified prod- 65 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
ucts. In some embodiments, the method includes simulta-          25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
neously PCR-amplifying at least 1,000 non-identical target       100,000 test primer pairs, wherein each pair of primers




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includes a forward test primer and a reverse test primer that       within the range of the average length of the amplicons±5%
hybridize to the same target locus. In some embodiments,            of the average length, average length±20%, average
the library of test primers includes at least 25; 50; 75; 100;      length±20%, average length±30%, or average length±50%.
300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;             In various embodiments of any of the aspects of the
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;             invention, the primer extension reaction conditions are poly-
50,000; 75,000; or 100,000 individual test primers that             merase chain reaction conditions (PCR). In various embodi-
hybridize to different target loci, wherein the individual          ments, the length of the annealing step is greater than 3, 5,
primers are not part of primer pairs.                               8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150, or 180 minutes.
   In various embodiments of any of the aspects of the              In various embodiments, the length of the extension step is
invention, the concentration of each test primer is less than 10 greater than 0.2, 0.5, 1, 3, 5, 8, 10, or 15 minutes.
100, 75, 50, 25, 10, 5, 2, 1, 0.5, 0.1, or 0.05 nM. In various         In various embodiments of any of the aspects of the
embodiments, the guanine-cytosine (GC) content of the test          invention, the test primers are used to simultaneously
primers is between 30 to 80%, such as between 20 to 70%,            amplify at least 300 different target loci in a sample that
40 to 70%, or 50 to 60%, inclusive. In some embodiments,            includes maternal DNA from the pregnant mother of a fetus
the range of GC content (e.g., the maximum GC content 15 and fetal DNA to determine the presence or absence of a
minus minimum GC content, such as 80%-60%=a range of                fetal chromosome abnormality. In various embodiments, the
20%) of the test primers is less than 30, 20, 10, or 5%. In         method includes ligating a universal primer binding site to
some embodiments, there are at least 2 (such as 3, 4, or 5)         the DNA molecules in the sample; amplifying the ligated
guanines or cytosines in the last 5 bases at the 3' end of the      DNA molecules using at least 300 specific primers and a
primers. In some embodiments, a maximum of 2 (such as 2, 20 universal primer to produce a first set of amplified products;
1, or 0) of the bases in the last 5 bases at the 3' end of the      and amplifying the first set of amplified products using at
primers are guanines or cytosines. In some embodiments,             least 300 pairs of specific primers to produce a second set of
there are at least 1 (such as 2 or 3) guanines or cytosines in      amplified products.
the last 3 bases at the 3' end of the primers. In some                 In various embodiments of any of the aspects of the
embodiments, the melting temperature (Tm) of the test 25 invention, the test primers are used to simultaneously
primers is between 40 to 80° C., such as 50 to 70° C., 55 to        amplify e.g. at least 100 (e.g., at least 300 or 1,000) different
65° C., 54 to 60.5° C., or 57 to 60.5° C., inclusive. In some       target loci in sample includes DNA from an alleged father of
embodiments, the range of melting temperatures of the test          a fetus and to simultaneously amplify the target loci in a
primers is less than 20, 15, 10, 5, 3, or 1° C. In some             sample that includes maternal DNA from the pregnant
embodiments, the length of the test primers is between 15 to 30 mother of the fetus and fetal DNA to establish whether the
100 nucleotides, such as between 15 to 7 5 nucleotides, 15 to       alleged father is the biological father of the fetus.
40 nucleotides, 17 to 35 nucleotides, 18 to 30 nucleotides, or         In various embodiments of any of the aspects of the
20 to 65 nucleotides, inclusive. In some embodiments, the           invention, the test primers are used to simultaneously
test primers include a tag that is not target specific, such as     amplify e.g. at least 100 (e.g., at least 300 or 1,000) different
a tag that forms an internal loop structure. In some embodi- 35 target loci in one cell or multiple cells from an embryo to
ments, the tag is between two DNA binding regions. In               determine the presence or absence of a chromosome abnor-
various embodiments, the test primers include a 5' region           mality. In various embodiments, cells from a set of two or
that is specific for a target locus, an internal region that is not more embryos are analyzed, and one embryo is selected for
specific for the target locus and forms a loop structure, and       in vitro fertilization.
a 3' region that is specific for the target locus. In various 40       In various embodiments of any of the aspects of the
embodiments, the length of the 3' region is at least 7              invention, the test primers are used to simultaneously
nucleotides. In some embodiments, the length of the 3'              amplify e.g. at least 100 (e.g., at least 300 or 1,000) different
region is between 7 and 20 nucleotides, such as between 7           target loci in a forensic nucleic acid sample. In various
to 15 nucleotides, or 7 to 10 nucleotides, inclusive. In            embodiments, the length of the annealing step is greater than
various embodiments, the test primers include a 5' region 45 3, 5, 8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150, or 180
that is not specific for a target locus (such as a tag or a         minutes
universal primer binding site) followed by a region that is            In various embodiments of any of the aspects of the
specific for a target locus, an internal region that is not         invention, the method involves using the test primers to
specific for the target locus and forms a loop structure, and       simultaneously amplify e.g. at least 100 (e.g., at least 300 or
a 3' region that is specific for the target locus. In some 50 1,000) different target loci in a control nucleic acid sample
embodiments, the range of the length of the test primers is         to produce a first set of target amplicons and to simultane-
less than 50, 40, 30, 20, 10, or 5 nucleotides. In some             ously amplify the target loci in a test nucleic acid sample to
embodiments, the length of the target amplicons is between          produce a second set of target amplicons; and comparing the
50 and 100 nucleotides, such as between 60 and 80 nucleo-           first and second sets of target amplicons to determine
tides, or 60 to 75 nucleotides, inclusive. In some embodi- 55 whether a target locus is present in one sample but absent in
ments, the length of the target amplicons is at least 100; 200;     the other, or whether a target locus is present at different
300; 400; 500; 600; 700; 800; 900; 1,000; 1,200; 1,500;             levels in the control sample and the test sample. In various
2,000; or 3,000 nucleotides. In some embodiments, the               embodiments, the test sample is from an individual sus-
length of the target amplicons is between 100 and 1,500             pected of having a disease or phenotype of interest (such as
nucleotides, such as between 100 to 1,000; 100 to 500, 500 60 cancer), or an increased risk (such as an above normal level
to 750, or 750 to 1,000 nucleotides, inclusive. In some             of risk) for a disease or phenotype of interest; and wherein
embodiments, the range of the length of the target amplicons        one or more of the target loci include a sequence (e.g., a
is less than 50, 25, 15, 10, or 5 nucleotides. In some              polymorphism or other mutation) associated with an
embodiments, at least 25; 50; 75; 100; 300; 500; 750; 1,000;        increased risk (such as an above normal level of risk) for the
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 65 disease or phenotype of interest, or associated with the
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or          disease or phenotype of interest. In various embodiments,
100,000 or all of the target amplicons have a length that falls     the method involves using the test primers to simultaneously




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amplify e.g. at least 100 (e.g., at least 300 or 1,000) different    In one aspect, the invention features methods of selecting
target loci in a control sample that includes RNA to produce      test primers from a library of candidate primers. In various
a first set of target amplicons and to simultaneously amplify     embodiments, the selection oftest primers are selected from
the target loci in a test sample that includes RNA to produce     a library of candidate primers involves (i) calculating on a
a second set of target amplicons; and comparing the first and     computer a score (such as an undesirability score) for most
second sets of target amplicons to determine the presence or      or all of the possible combinations of two candidate primers
absence of a difference in the RNA expression levels              from the library, wherein each score (such as an undesir-
between the control sample and the test sample. In various        ability score) is based at least in part on the likelihood of
embodiments, the RNA is mRNA. In various embodiments,             dimer formation between the two candidate primers; (ii)
the test sample is from an individual suspected of having a 10 removing from the library of candidate primers the candi-
disease or phenotype of interest (such as cancer) or an           date primer that is part of the greatest number of combina-
increased risk for the disease or phenotype of interest (such     tions of two candidate primers with a score (such as an
as cancer); and wherein one or more of the target loci            undesirability score) above a first minimum threshold; (iii)
includes a sequence (e.g., a polymorphism or other muta-          if the candidate primer removed in step (ii) is a member of
tion) associated with an increased risk for the disease or 15 a primer pair, then removing the other member of the primer
phenotype of interest or associated with the disease or           pair from the library of candidate primers; and (iv) option-
phenotype of interest. In some embodiments, the test sample       ally repeating steps (ii) and (iii), thereby selecting a library
is from an individual diagnosed with a disease or phenotype       oftest primers. In some embodiments, the selection method
of interest (such as cancer); and wherein a difference in the     is performed until the score (such as the undesirability score)
RNA expression level between the control sample and test 20 for the candidate primer combinations remaining in the
sample indicates a target locus includes a sequence (e.g., a      library are all equal to or below the first minimum threshold.
polymorphism or other mutation) associated with an                In some embodiments, the selection method is performed
increased or decreased risk for the disease or phenotype of       until the number of candidate primers remaining in the
interest.                                                         library is reduced to a desired number. In various embodi-
   In some embodiments of any of the aspects of the inven- 25 ments, a score (such as an undesirability score) is calculated
tion, the test primers are selected from a library of candidate   for at least 80, 90, 95, 98, 99, or 99.5% of the possible
primers based on one or more parameters, such as the              combinations of candidate primers in the library. In various
selection of primers using any of the methods of the inven-       embodiments, the candidate primers remaining in the library
tion. In some embodiments, the test primers are selected          are capable of simultaneously amplifying at least 25; 50; 7 5;
from a library of candidate primers based at least in part on 30 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
the ability of the candidate primers to form primer dimers.       15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
   In one aspect, the invention features methods of selecting     40,000; 50,000; 75,000; or 100,000 different target loci. In
test primers from a library of candidate primers. In various      various embodiments, the method also includes (v) contact-
embodiments, the selection involves (i) calculating on a          ing a nucleic acid sample that includes target loci with the
computer a score (such as an undesirability score) for most 35 candidate primers remaining in the library to produce a
or all of the possible combinations of two candidate primers      reaction mixture; and (vi) subjecting the reaction mixture to
from the library, wherein each score (such as an undesir-         primer extension reaction conditions to produce amplified
ability score) is based at least in part on the likelihood of     products that includes target amplicons.
dimer formation between the two candidate primers; (ii)              In various embodiments of any of the aspects of the
removing the candidate primer with the highest score (such 40 invention, the selection method involves further reducing
as an undesirability score) from the library of candidate         the number of candidate primers remaining in the library by
primers; and (iii) if the candidate primer removed in step (ii)   decreasing the first minimum threshold used in step (ii) to a
is a member of a primer pair, then removing the other             lower second minimum threshold and optionally repeating
member of the primer pair from the library of candidate           steps (ii) and (iii). In some embodiments, the selection
primers; and (iv) optionally repeating steps (ii) and (iii), 45 method involves increasing the first minimum threshold
thereby selecting a library oftest primers. In some embodi-       used in step (ii) to a higher second minimum threshold and
ments, the selection method is performed until the score          optionally repeating steps (ii) and (iii). In some embodi-
(such as the undesirability score) for the candidate primer       ments, the selection method is performed until the score
combinations remaining in the library are all equal to or         (such as the undesirability score) for the candidate primer
below a minimum threshold. In some embodiments, the 50 combinations remaining in the library are all equal to or
selection method is performed until the number of candidate       below the second minimum threshold, or until the number of
primers remaining in the library is reduced to a desired          candidate primers remaining in the library is reduced to a
number. In various embodiments, a score (such as an unde-         desired number.
sirability score) is calculated for at least 80, 90, 95, 98, 99,     In various embodiments of any of the aspects of the
or 99.5% of the possible combinations of candidate primers 55 invention, the method involves, prior to step (i), identifying
in the library. In various embodiments, the candidate primers     or selecting primers that hybridize to the target loci. In some
remaining in the library are capable of simultaneously            embodiments, multiple primers (or primer pairs) hybridize
amplifying at least 25; 50; 75; 100; 300; 500; 750; 1,000;        to the same target locus, and the selection method is used to
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;              select a one primer (or one primer pair) for this target locus
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 60 based on one or more parameters. In various embodiments,
100,000 different target loci. In various embodiments, the        the method involves, prior to step (ii), removing a primer
method also includes (v) contacting a nucleic acid sample         pair from the library that produces a target amplicon that
that includes target loci with the candidate primers remain-      overlaps with a target amplicon produced by another primer
ing in the library to produce a reaction mixture; and (vi)        pair. In various embodiments, a candidate primer is selected
subjecting the reaction mixture to primer extension reaction 65 out of a group of two or more candidate primers with equal
conditions to produce amplified products that includes target     scores (such as undesirability scores) for removal from the
amplicons.                                                        library of candidate primers based on one or more other




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parameters. In some embodiments, the candidate primers               based at least in part on the current coverage of the bases in
remaining in the library are used as a library of test primers       the target locus (such as the number of other primer pools
in any of the methods of the invention. In some embodi-              that have a primer or primer pair that amplifies a particular
ments, the resulting library of test primers includes any of         base in the target locus). In various embodiments, one or
the primer libraries of the invention.                               more of the pools are each capable of simultaneously
   In various embodiments of any of the aspects of the               amplifying at least 25; 50; 75; 100; 300; 500; 750; 1,000;
invention, the selection method selects candidate primers            2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
and divides them into different pools (e.g., 2, 3, 4, 5, 6, or       25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
more different pools). Each pool can be used to simultane-           100,000 different target loci. In various embodiments, the
ously amplify a large number of target loci (or a subset of 10 method also includes separately contacting a nucleic acid
target loci) in a single reaction volume. In some embodi-            sample that includes target loci with two or more of the
ments, a graph coloring algorithm is used to divide candidate        pools to produce separate reaction mixtures; and (vi) sub-
primers into different pools. If desired, this method can be         jecting the reaction mixtures to primer extension reaction
used to minimize the number of different pools needed to             conditions to produce amplified products that includes target
amplify most or all of the target loci.                           15 amplicons.
   In some embodiments, most or all of the target loci (such            In one aspect, the invention features methods of selecting
as at least 70, 80, 90, 92, 94, 96, 98, 99, or 100% of the target    test primers from a library of candidate primers to form 2 or
loci) are amplified by at least 2, 3, 4, 5, 6, or more different     more different primer pools. In various embodiments, the
pools. In some embodiments, most or all of the bases in the          selection of test primers are selected from a library of
target loci (such as at least 70, 80, 90, 92, 94, 96, 98, 99, or 20 candidate primers involves (i) calculating on a computer a
100% of the bases in the target loci) are amplified by at least      score (such as an undesirability score) for most or all of the
2,3, 4, 5, 6, or more different pools. In some embodiments,          possible combinations of two candidate primers from the
most or all of the bases in the target loci (such as at least 70,    library, wherein each score (such as an undesirability score)
80, 90, 92, 94, 96, 98, 99, or 100% of the bases in the target       is based at least in part on the likelihood of dimer formation
loci) are amplified by at least 2, 3, 4, 5, 6, or more different 25 between the two candidate primers; (ii) removing from the
primers or primer pairs in different pools. For example, a           library of candidate primers the candidate primer that is part
particular base in a target locus may be amplified by at least       of the greatest number of combinations of two candidate
2, 3, 4, 5, 6, or more different primers or primer pairs;            primers with a score (such as an undesirability score) above
wherein each different primer or primer pair is in a different       a first minimum threshold; (iii) if the candidate primer
pool. Using different primers or primer pairs to amplify each 30 removed in step (ii) is a member of a primer pair, then
base allows multiple independent measurements of the base            removing the other member of the primer pair from the
to be made, thereby increasing the accuracy of the method.           library of candidate primers; and (iv) optionally repeating
Dividing the different primers or primer pairs that amplify          steps (ii) and (iii), thereby selecting a first pool. In some
the same base into different pools prevents interference due         embodiments, the selection method is performed until the
to overlapping amplicons being formed by different primers 35 score (such as the undesirability score) for the candidate
or primer pairs.                                                     primer combinations remaining in the library are all equal to
   In one aspect, the invention features methods of selecting        or below the first minimum threshold for the first pool. In
test primers from a library of candidate primers to form 2 or        some embodiments, the selection method is performed until
more different primer pools. In various embodiments, the             the number of candidate primers remaining in the library is
selection involves (i) calculating on a computer a score 40 reduced to a desired number for the first pool. In various
(such as an undesirability score) for most or all of the             embodiments, the selection method involves further reduc-
possible combinations of two candidate primers from the              ing the number of candidate primers remaining in the library
library, wherein each score (such as an undesirability score)        by decreasing the first minimum threshold used in step (ii)
is based at least in part on the likelihood of dimer formation       to a lower second minimum threshold and optionally repeat-
between the two candidate primers; (ii) removing the can- 45 ing steps (ii) and (iii). In some embodiments, the selection
didate primer with the highest score (such as an undesir-            method involves increasing the first minimum threshold
ability score) from the library of candidate primers; and (iii)      used in step (ii) to a higher second minimum threshold and
if the candidate primer removed in step (ii) is a member of          optionally repeating steps (ii) and (iii). In some embodi-
a primer pair, then removing the other member of the primer          ments, the selection method is performed until the score
pair from the library of candidate primers; and (iv) option- 50 (such as the undesirability score) for the candidate primer
ally repeating steps (ii) and (iii), thereby selecting a first       combinations remaining in the library are all equal to or
pool. In some embodiments, the selection method is per-              below the second minimum threshold, or until the number of
formed until the score (such as the undesirability score) for        candidate primers remaining in the library is reduced to a
the candidate primer combinations remaining in the library           desired number for the first pool. In some embodiments,
are all equal to or below a minimum threshold for the first 55 after the first pool is selected those primers are removed
pool. In some embodiments, the selection method is per-              from further consideration and steps of the method (such as
formed until the number of candidate primers remaining in            steps (ii) and (iii)) are repeated with the remaining primers
the library is reduced to a desired number for the first pool.       to select a second pool. If desired, this method may be
In some embodiments, after the first pool is selected those          repeated to select the desired number of primer pools. In
primers are removed from further consideration and steps of 60 various embodiments, a score (such as an undesirability
the method (such as steps (ii) and (iii)) are repeated with the      score) is calculated for at least 80, 90, 95, 98, 99, or 99.5%
remaining primers to select a second pool. If desired, this          of the possible combinations of candidate primers in the
method may be repeated to select the desired number of               library. In some embodiments, the score is based at least in
primer pools. In various embodiments, a score (such as an            part on the current coverage of the bases in the target locus
undesirability score) is calculated for at least 80, 90, 95, 98, 65 (such as the number of other primer pools that have a primer
99, or 99.5% of the possible combinations of candidate               or primer pair that amplifies a particular base in the target
primers in the library. In some embodiments, the score is            locus). In various embodiments, one or more of the pools arc




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each capable of simultaneously amplifying at least 25; 50;           100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;          15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;              40,000; 50,000; 75,000; or 100,000 different target loci are
40,000; 50,000; 75,000; or 100,000 different target loci. In         amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,
various embodiments, the method also includes separately 5 200, 300, or 400-fold. In some embodiments, at least 50, 60,
contacting a nucleic acid sample that includes target loci           70, 80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of the target loci
with two or more of the pools to produce separate reaction           are amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,
mixtures; and (vi) subjecting the reaction mixtures to primer        200, 300, or 400-fold.
extension reaction conditions to produce amplified products             In various embodiments of any of the aspects of the
that includes target amplicons.                                   10 invention, the score (such as the undesirability score) are
   In some embodiments, at least 70, 80, 85, 90, 95, or 100%         based at least in part on one or more parameters selected
of the nucleotides in a region of interest (such as an exon)         from the group consisting ofheterozygosity rate of the target
are included in at least 1, 2, 3, or 4 different amplicons (i.e.,    locus, specificity of the candidate primer for the target locus;
amplicons with non-identical sequences that are formed by            size of the candidate primer, melting temperature of the
different primers or primer pairs). In some embodiments, at 15 candidate primer, melting temperature of the target ampli-
least 70, 80, 85, 90, 95, or 100% of the nucleotides in at least     con, GC content of the target amplicon, GC content of the
70, 80, 85, 90, 95, or 100% of the regions of interest are           3' end of the candidate primer, homopolymer length in the
amplified by at least 1, 2, 3, or 4 different amplicons. In some     candidate primer, amplification efficiency of the target
embodiments in which 2-fold coverage is desired, the prim-           amplicon, and size of the target amplicon; and the test
ers are divided into at least two different pools such the 20 primers are used to simultaneously amplify e.g. at least 100
amplicons in each pool do not overlap with each other                (e.g., at least 300 or 1,000) different target loci in sample
(which would cause interference during amplification).               includes DNA from an alleged father of a fetus and to
   In various embodiments of any of the aspects of the               simultaneously amplify the target loci in a sample that
invention, the score (such as the undesirability score) are          includes maternal DNA from the pregnant mother of a fetus
based at least in part on one or more parameters selected 25 and fetal DNA to establish whether the alleged father is the
from the group consisting ofheterozygosity rate of the target        biological father of the fetus. In various embodiments, at
locus, disease prevalence associated with a sequence (e.g., a        least 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
polymorphism) at the target locus, disease penetrance asso-          19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
ciated with a sequence (e.g., a polymorphism) at the target          50,000; 75,000; or 100,000 different target loci are ampli-
locus, specificity of the candidate primer for the target locus, 30 fied. In some embodiments, at least 25; 50; 75; 100; 300;
size of the candidate primer, melting temperature of the             500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
candidate primer, melting temperature of the target ampli-           19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
con, GC content of the target amplicon, GC content of the            50,000; 75,000; or 100,000 different target loci are amplified
3' end of the candidate primer, homopolymer length in the            at least 5, 10,20,40, 50, 60,80, 100,120, 150,200,300,or
candidate primer, amplification efficiency of the target 35 400-fold. In some embodiments, at least 50, 60, 70, 80, 90,
amplicon, and size of the target amplicon.                           95, 96, 97, 98, 99, 99.5, or 100% of the target loci are
   In various embodiments of any of the aspects of the               amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,
invention, the score (such as the undesirability score) are          200, 300, or 400-fold.
based at least in part on one or more parameters selected               In various embodiments of any of the aspects of the
from the group consisting ofheterozygosity rate of the target 40 invention, the score (such as the undesirability score) are
locus, specificity of the candidate primer for the target locus;     based at least in part on one or more parameters selected
size of the candidate primer, melting temperature of the             from the group consisting ofheterozygosity rate of the target
candidate primer, melting temperature of the target ampli-           locus, specificity of the candidate primer for the target locus;
con, GC content of the target amplicon, GC content of the            size of the candidate primer, melting temperature of the
3' end of the candidate primer, homopolymer length in the 45 candidate primer, melting temperature of the target ampli-
candidate primer, amplification efficiency of the target             con, GC content of the target amplicon, GC content of the
amplicon, and size of the target amplicon; and the test              3' end of the candidate primer, homopolymer length in the
primers are used to simultaneously amplify e.g. at least 100         candidate primer, amplification efficiency of the target
(e.g., at least 300 or 1,000) different target loci in a sample      amplicon, and size of the target amplicon; and the test
that includes maternal DNA from the pregnant mother of a 50 primers are used to simultaneously amplify e.g. at least 100
fetus and fetal DNA to determine the presence or absence of          (e.g., at least 300 or 1,000) different target loci in one cell or
a fetal chromosome abnormality. In various embodiments,              multiple cells from an embryo to determine the presence or
the method includes ligating a universal primer binding site         absence of a chromosome abnormality. In various embodi-
to the DNA molecules in the sample; amplifying the ligated           ments, cells from a set of two or more embryos are analyzed,
DNA molecules using e.g. at least 100 (e.g., at least 300 or 55 and one embryo is selected for in vitro fertilization. In
1,000) specific primers and a universal primer to produce a          various embodiments, at least 300, 500; 750; 1,000; 2,000;
first set of amplified products; and amplifying the first set of     5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
amplified products using e.g. at least 100 (e.g., at least 300       27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
or 1,000) pairs of specific primers to produce a second set of       different target loci are amplified. In some embodiments, at
amplified products. In various embodiments, at least 500; 60 least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;             7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;              28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
75,000; or 100,000 different primer pairs are used. In various       target loci are amplified at least 5, 10, 20, 40, 50, 60, 80, 100,
embodiments, at least 500; 750; 1,000; 2,000; 5,000; 7,500;          120, 150, 200, 300, or 400-fold. In some embodiments, at
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 65 least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of
30,000; 40,000; 50,000; 75,000; or 100,000 different target          the target loci are amplified at least 5, 10, 20, 40, 50, 60, 80,
loci arc amplified. In some embodiments, at least 25; 50; 75;        100, 120, 150, 200, 300, or 400-fold.




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   In various embodiments of any of the aspects of the             400-fold. In some embodiments, at least 50, 60, 70, 80, 90,
invention, the scores (such as the undesirability scores) are      95, 96, 97, 98, 99, 99.5, or 100% of the target loci are
based at least in part on one or more parameters selected          amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,
from the group consisting ofheterozygosity rate of the target      200, 300, or 400-fold.
locus, specificity of the candidate primer for the target locus; 5    In various embodiments of any of the aspects of the
size of the candidate primer, melting temperature of the           invention, the scores (such as the undesirability scores) are
candidate primer, melting temperature of the target ampli-         based at least in part on one or more parameters selected
con, GC content of the target amplicon, GC content of the          from the group consisting ofheterozygosity rate of the target
3' end of the candidate primer, homopolymer length in the          locus, disease prevalence associated with a sequence (e.g., a
candidate primer, amplification efficiency of the target 10 polymorphism) at the target locus, disease penetrance asso-
amplicon, and size of the target amplicon; and the test            ciated with a sequence (e.g., a polymorphism) at the target
primers are used to simultaneously amplify e.g. at least 100       locus, specificity of the candidate primer for the target locus,
(e.g., at least 300 or 1,000) different target loci in a forensic  size of the candidate primer, melting temperature of the
nucleic acid sample. In various embodiments, the length of         candidate primer, melting temperature of the target ampli-
the annealing step is greater than 3, 5, 8, 10, 15, 20, 30, 45, 15 con, GC content of the target amplicon, GC content of the
60, 75, 90, 120, 150, or 180 minutes. In various embodi-           3' end of the candidate primer, homopolymer length in the
ments, at least 300, 500; 750; 1,000; 2,000; 5,000; 7,500;         candidate primer, amplification efficiency of the target
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;            amplicon, and size of the target amplicon; and the method
30,000; 40,000; 50,000; 75,000; or 100,000 different target        involves using the test primers to simultaneously amplify
loci are amplified. In some embodiments, at least 25; 50; 75; 20 e.g. at least 100 (e.g., at least 300 or 1,000); different target
100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;            loci in a control sample that includes RNA to produce a first
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;            set of target amplicons and to simultaneously amplify the
40,000; 50,000; 75,000; or 100,000 different target loci are       target loci in a test sample that includes RNA to produce a
amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,       second set of target amplicons; and comparing the first and
200, 300, or 400-fold. In some embodiments, at least 50, 60, 25 second sets of target amplicons to determine the presence or
70, 80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of the target loci   absence of a difference in the RNA expression levels
are amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150,   between the control sample and the test sample. In various
200, 300, or 400-fold.                                             embodiments, the RNA is mRNA.
   In various embodiments of any of the aspects of the                In various embodiments, the test sample is from an
invention, the scores (such as the undesirability scores) are 30 individual suspected of having a disease or phenotype of
based at least in part on one or more parameters selected          interest (such as cancer) or an increased risk for the disease
from the group consisting ofheterozygosity rate of the target      or phenotype of interest (such as cancer); and wherein one
locus, disease prevalence associated with a sequence (e.g., a      or more of the target loci includes a sequence (e.g., a
polymorphism) at the target locus, disease penetrance asso-        polymorphism or other mutation) associated with an
ciated with a sequence (e.g., a polymorphism) at the target 35 increased risk for the disease or phenotype of interest or
locus, specificity of the candidate primer for the target locus,   associated with the disease or phenotype of interest. In some
size of the candidate primer, melting temperature of the           embodiments, the test sample is from an individual diag-
candidate primer, melting temperature of the target ampli-         nosed with a disease or phenotype of interest (such as
con, GC content of the target amplicon, GC content of the          cancer); and wherein a difference in the RNA expression
3' end of the candidate primer, homopolymer length in the 40 level between the control sample and test sample indicates
candidate primer, amplification efficiency of the target           a target locus includes a sequence (e.g., a polymorphism or
amplicon, and size of the target amplicon; and the method          other mutation) associated with an increased or decreased
involves using the test primers to simultaneously amplify          risk for the disease or phenotype of interest. In various
e.g. at least 100 (e.g., at least 300 or 1,000) different target   embodiments, at least 300, 500; 750; 1,000; 2000; 5,000;
loci in a control nucleic acid sample to produce a first set of 45 7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
target amplicons and to simultaneously amplify the target          28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
loci in a test nucleic acid sample to produce a second set of      target loci are amplified. In some embodiments, at least 25;
target amplicons; and comparing the first and second sets of       50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
target amplicons to determine whether a target locus is            10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
present in one sample but absent in the other, or whether a 50 30,000; 40,000; 50,000; 75,000; or 100,000 different target
target locus is present at different levels in the control         loci are amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120,
sample and the test sample. In various embodiments, the test       150, 200, 300, or 400-fold. In some embodiments, at least
sample is from an individual suspected of having a disease         50, 60, 70, 80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of the
or phenotype of interest, or an increased risk for a disease or    target loci are amplified at least 5, 10, 20, 40, 50, 60, 80, 100,
phenotype of interest; and wherein one or more of the target 55 120, 150, 200, 300, or 400-fold.
loci include a sequence (e.g., a polymorphism) at the target          In one aspect, the invention features libraries of primers
locus associated with an increased risk for the disease or         (such as non-immobilized primers). In some embodiments,
phenotype of interest, or associated with the disease or           the primers are selected from a library of candidate primers
phenotype of interest. In various embodiments, at least 300,       using any of the methods of the invention. In some embodi-
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 60 ments, the library includes primers that simultaneously
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;            hybridize to at least 25; 50; 75; 100; 300; 500; 750; 1,000;
50,000; 75,000; or 100,000 different target loci are ampli-        2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
fied. In some embodiments, at least 25; 50; 75; 100; 300;          25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;              100,000 different target loci. In some embodiments, the
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 65 library includes primers that simultaneously amplify at least
50,000; 75,000; or 100,000 different target loci are amplified     25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
atlcast5, 10,20,40, 50, 60, 80,100,120, 150,200,300,or             10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;




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30,000; 40,000; 50,000; 75,000; or 100,000 different target        content of the primers is less than 30, 20, 10, or 5%. In some
loci. In some embodiments, the library includes primers that       embodiments, there are at least 2 (such as 3, 4, or 5)
simultaneously amplify at least 25; 50; 75; 100; 300; 500;         guanines or cytosines in the last 5 bases at the 3' end of the
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;           primers. In some embodiments, there are at least 1 (such as
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 5 2 or 3) guanines or cytosines in the last 3 bases at the 3' end
75,000; or 100,000 different target loci such that less than       of the primers. In some embodiments, a maximum of2 (such
60, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or 0.05% of     as 2, 1, or 0) bases in the last 5 bases at the 3' end of the
the amplified products are primer dimers. In some embodi-          primers are guanines or cytosines. In some embodiments,
ments, the library includes primers that simultaneously            the melting temperature of the primers is between 40 to 80°
amplify at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 10 C., such as 50 to 70° C., 55 to 65° C., 54 to 60.5° C., or 57
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;              to 60.5° C., inclusive. In some embodiments, the range of
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000         melting temperature of the primers is less than 15, 10, 5, 3,
different target loci such that at least 50, 60, 70, 80, 90, 95,   or 1° C. In some embodiments, the length of the primers is
96, 97, 98, 99, or 99.5% of the amplified products are target      between 15 to 100 nucleotides, such as between 15 to 75
amplicons. In some embodiments, the library includes prim- 15 nucleotides, 15 to 40 nucleotides, 17 to 35 nucleotides, 18 to
ers that simultaneously amplify target loci such that at least     30 nucleotides, or 20 to 65 nucleotides, inclusive. In some
50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the target     embodiments, the primers include a tag that is not target
loci out of at least 25; 50; 75; 100; 300; 500; 750; 1,000;        specific, such as a tag that forms an internal loop structure.
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;               In some embodiments, the tag is between two DNA binding
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 20 regions. In various embodiments, the primers include a 5'
100,000 different target loci are amplified. In some embodi-       region that is specific for a target locus, an internal region
ments, at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;      that is not specific for the target locus and forms a loop
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;              structure, and a 3' region that is specific for the target locus.
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000         In various embodiments, the length of the 3' region is at least
different target loci are amplified at least 5, 10, 20, 40, 50, 25 7 nucleotides. In some embodiments, the length of the 3'
60, 80, 100, 120, 150, 200, 300, or 400-fold. In some              region is between 7 and 20 nucleotides, such as between 7
embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,      to 15 nucleotides, or 7 to 10 nucleotides, inclusive. In
99.5, or 100% of the target loci are amplified at least 5, 10,     various embodiments, the primers include a 5' region that is
20, 40, 50, 60, 80, 100, 120, 150, 200, 300, or 400-fold. In       not specific for a target locus (such as another tag or a
some embodiments, the library of primers includes at least 30 universal primer binding site) followed by a region that is
25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;        specific for a target locus, an internal region that is not
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;            specific for the target locus and forms a loop structure, and
30,000; 40,000; 50,000; 75,000; or 100,000 non-identical           a 3' region that is specific for the target locus. In some
primers or primer pairs. In some embodiments, the library of       embodiments, the range of the length of the primers is less
primers includes at least 25; 50; 75; 100; 300; 500; 750; 35 than 50, 40, 30, 20, 10, or 5 nucleotides. In some embodi-
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;        ments, the length of the target amplicons is between 50 and
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or         100 nucleotides, such as between 60 and 80 nucleotides, or
100,000 primer pairs, wherein each pair of primers includes        60 to 75 nucleotides, inclusive. In some embodiments, the
a forward test primer and a reverse test primer where each         range of the length of the target amplicons is less than 50, 25,
pair of test primers hybridize to a target locus. In some 40 15, 10, or 5 nucleotides. In some embodiments, the target
embodiments, the library of primers includes at least 25; 50;      loci are on two or more different chromosomes, such as two
75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;        or more of chromosomes 13, 18, 21, X and Y. In some
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;            embodiments, the target loci are target human loci. In some
40,000; 50,000; 75,000; or 100,000 individual primers that         embodiments, the target loci includes a sequence (e.g., a
each hybridize to a different target locus, wherein the 45 polymorphism or other mutation) associated with an
individual primers are not part of primer pairs. In some           increased risk for the disease or phenotype of interest (such
embodiments, the primers in the library are not immobilized        as cancer), or associated with the disease or phenotype of
(such as not immobilized to a solid support) or not part of a      interest (such as cancer). In some embodiments, the poly-
microarray. In some embodiments, the primers are dissolved         morphism or mutation is a driver mutation that has a
in solution (such as dissolved in the liquid phase). In some 50 causative role in the disease or phenotype of interest (such
embodiments, the library of primers consists essentially of,       as cancer). In some embodiments, the polymorphism or
or consists of primers.                                            mutation is not a causative mutation. For example, in some
   In some embodiments, li.G values for each possible com-         cancers, multiple mutations accumulate but some of them
bination of two primers (each possible primer dimer) in a          are not causative mutations. Polymorphisms or mutations
library are all equal to or greater than -20, -18, -16, -14, 55 (such as those that are present at a higher frequency in
-12, -10, -9, -8, -7, -6, -5, -4, -3, -2, or -1 kcal/mo!. In       subjects with a disease or phenotype of interest such as
some embodiments, li.G values for at least 80, 85, 90, 92, 94,     cancer than subjects without the disease or phenotype of
96, 98, 99, or 100% of the primers in the library for possible     interest such as cancer) that are not causative can still be
combinations of that primer with other primers in the library      useful for diagnosing the disease or phenotype. In some
are all equal to or greaterthan-20, -18, -16, -14, -12, -10, 60 embodiments, the polymorphisms or mutation is present at
-9, -8, - 7, -6, -5, -4, -3, -2, or -1 kcal/mo!.                   a higher frequency in subjects with a disease or disorder
   In various embodiments of any of the aspects of the             (such as cancer) than subjects (such as healthy or normal
invention, the concentration of each primer is less than 100,      subjects) without the disease or disorder (such as cancer). In
75, 50, 25, 10, 5, 2, 1, 0.5, 0.1, or 0.05 nM. In various          some embodiments, the polymorphisms or mutation is
embodiments, the GC content of the primers is between 30 65 indicative of cancer, such as a causative mutation. In some
to 80%, such as between 40 to 70%, 20 to 70%, or 50 to             embodiments, the polymorphism(s) or mutation(s) are
60%, inclusive. In some embodiments, the range of GC               directly    detected.     In    some      embodiments,        the




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polymorphism(s) or mutation(s) are indirectly detected by          25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
detection of one or more sequences (e.g., a polymorphic            100,000 non-identical primers or primer pairs) in one reac-
locus such as a SNP) that are linked to the polymorphism or        tion volume. In some embodiments, (i) less than 60% of the
mutation).                                                         amplified products are primer dimers and at least 40% of the
   In one aspect, the invention provides a composition that        amplified products are target amplicons, (ii) less than 40% of
includes any of the primer libraries of the invention (such as     the amplified products are primer dimers and at least 60% of
non-immobilized primers). In some embodiments, the com-            the amplified products are target amplicons, (iii) less than
position includes one or more free nucleotides (such as            20% of the amplified products are primer dimers and at least
deoxynucleotides, ATP, CTP, GTP, TTP, UTP, dATP, dCTP,             80% of the amplified products are target amplicons, (iv) less
dGTP, dTTP, dUTP an activated nucleotide or deoxynucle- 10 than 10% of the amplified products are primer dimers and at
otide, or a non-naturally occurring nucleotide or deoxy-           least 90% of the amplified products are target amplicons, or
nucleotide ). In some embodiments, the composition                 (v) less than 5% of the amplified products are primer dimers
includes at least one primer (e.g., at least 25; 50; 75; 100;      and at least 95% of the amplified products are target ampli-
300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;         cons. In some embodiments, the length of the target ampli-
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 15 cons is between 50 and 100 nucleotides, such as between 60
50,000; 75,000; or 100,000 non-identical primers) with a           and 80 nucleotides, or 60 and 75 nucleotides, inclusive. In
polynucleotide sequence of a human nucleic acid and at least       some embodiments, the range of the length of the target
one primer (e.g., at least 25; 50; 75; 100; 300; 500; 750;         amplicons is less than 50, 25, 15, 10, or 5 nucleotides. In
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;        some embodiments, the range of the length of the target
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 20 amplicons is between 5 to 50 nucleotides, such as 5 to 25
100,000 non-identical primers) with a polynucleotide               nucleotides, 5 to 15 nucleotides, or 5 to 10 nucleotides,
sequence that is not found in a human (such as a universal         inclusive. In some embodiments, the composition includes
primer, a primer that comprises a region or consists entirely      at least 1,000 different amplicons in solution in one reaction
of random nucleotides, or a primer with a region such as a         volume. In some embodiments, the amplicons are produced
tag or barcode of one or more nucleotides that are not found 25 from the simultaneous PCR amplification of at least 1,000
in a human or are not found in nature as part of the               different target human loci using at least 1,000 different
polynucleotide sequence of the primer). In some embodi-            primers in one reaction volume; wherein (i) less than 20% of
ments, the composition includes at least one primer (e.g., at      the amplicons are primer dimers, and (ii) at least 80% of the
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;         amplicons comprise one of the target human loci and are
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 30 between 50 and 100 nucleotides in length, inclusive. In some
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 non-            embodiments, the composition consists essentially of, or
identical primers) with the polynucleotide sequence of a           consists of one or more of the following: amplicons, primers
human nucleic acid and one or more non-human or non-               (such as any of the primers disclosed herein), free
naturally occurring enzymes (e.g., ligase or polymerase            nucleotide(s ), non-human or non-naturally occurring
from a species other than a human, such as a bacterial or 35 enzyme(s), buffer(s), or any combination thereof. In some
non-naturally-occurring ligase or polymerase). In some             embodiments, at least one amplicon or primer has a non-
embodiments, the composition includes at least one primer          human or non-naturally occurring sequence, nucleotide, or
(e.g., at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;      linkage between nucleotides.
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;                 In one aspect, the invention provides a composition
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 40 comprising at least 100 different primers or primer pairs
non-identical primers) with the polynucleotide sequence of         (e.g., at least 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
a human nucleic acid and a buffer or additive that is              10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
non-naturally-occurring or is not found in a human. In some        30,000; 40,000; 50,000; 75,000; or 100,000 non-identical
embodiments, the composition comprises, consists essen-            primers or primer pairs) and at least 100 different amplicons
tially of, or consists of one or more of the following: 45 (e.g., at least 300, 500; 750; 1,000; 2,000; 5,000; 7,500;
primer(s), amplicon(s) free nucleotide(s), non-human or            10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
non-naturally occurring enzyme(s), buffer(s), additive(s), or      30,000; 40,000; 50,000; 75,000; or 100,000 non-identical
any combination thereof. In some embodiments, the com-             amplicons) in solution in one reaction volume. In some
position comprises, consists essentially of, or consists of        embodiments, the amplicons are produced from the simul-
primers and one or more non-human or non-naturally occur- 50 taneous PCR amplification of at least 100 different target
ring enzymes. Exemplary non-naturally occurring enzymes            loci (e.g., at least 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
contain at least one sequence difference compared to natu-         10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
rally occurring (wild-type) enzymes.                               30,000; 40,000; 50,000; 75,000; or 100,000 non-identical
   In one aspect, the invention provides a composition             target loci) using the primers or primer pairs in one reaction
comprising at least 100 different amplicons (e.g., at least 55 volume. In some embodiments, (i) less than 60% of the
300, 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;         amplified products are primer dimers and at least 40% of the
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;            amplified products are target amplicons, (ii) less than 40% of
50,000; 75,000; or 100,000 non-identical amplicons) in             the amplified products are primer dimers and at least 60% of
solution in one reaction volume. In some embodiments, the          the amplified products are target amplicons, (iii) less than
amplicons are produced from the simultaneous PCR ampli- 60 20% of the amplified products are primer dimers and at least
fication of at least 100 different target loci (e.g., at least 25; 80% of the amplified products are target amplicons, (iv) less
50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;            than 10% of the amplified products are primer dimers and at
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;            least 90% of the amplified products are target amplicons, or
30,000; 40,000; 50,000; 75,000; or 100,000 non-identical           (v) less than 5% of the amplified products are primer dimers
target loci) using at least 100 different primers or primer 65 and at least 95% of the amplified products are target ampli-
pairs (e.g., at least 25; 50; 75; 100; 300; 500; 750; 1,000;       cons. In some embodiments, the length of the target ampli-
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;               cons is between 50 and 100 nucleotides, such as between 60




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and 80 nucleotides, or 60 and 75 nucleotides, inclusive. In       puter using the joint distribution model and the allele counts;
some embodiments, the range of the length of the target           and the ploidy state of the fetus is called by selecting the
amplicons is less than 50, 25, 15, 10, or 5 nucleotides. In       ploidy state corresponding to the hypothesis with the great-
some embodiments, the range of the length of the target           est probability.
amplicons is between 5 to 50 nucleotides, such as 5 to 25            In one aspect, the invention features methods for deter-
nucleotides, 5 to 15 nucleotides, or 5 to 10 nucleotides,         mining a ploidy status of a chromosome in a gestating fetus.
inclusive. In some embodiments, the composition compris-          In an embodiment a method for determining a ploidy status
ing at least 1,000 different primers and at least 1,000           of a chromosome in a gestating fetus includes obtaining a
different amplicons in solution in one reaction volume. In        first sample of DNA that comprises maternal DNA from the
some embodiments, the amplicons are produced from the 10 mother of the fetus and fetal DNA from the fetus, preparing
simultaneous PCR amplification of at least 1,000 different        the first sample by isolating the DNA so as to obtain a
target human loci with the primers in one reaction volume;        prepared sample, measuring the DNA in the prepared
wherein (i) less than 20% of the amplicons are primer             sample at a plurality of polymorphic loci on the chromo-
dimers, and (ii) at least 80% of the amplicons comprise one       some, calculating, on a computer, allele counts at the plu-
of the target loci and are between 50 and 100 nucleotides in 15 rality of polymorphic loci from the DNA measurements
length, inclusive. In some embodiments, the composition           made on the prepared sample, creating, on a computer, a
consists essentially of, or consists of one or more of the        plurality of ploidy hypotheses each pertaining to a different
following: amplicons, primers (such as any of the primers         possible ploidy state of the chromosome, building, on a
disclosed herein), free nucleotide(s), non-human or non-          computer, a joint distribution model for the expected allele
naturally occurring enzyme( s), buffer(s ), or any combination 20 counts at the plurality of polymorphic loci on the chromo-
thereof. In some embodiments, at least one amplicon or            some for each ploidy hypothesis, determining, on a com-
primer has a non-human or non-naturally occurring                 puter, a relative probability of each of the ploidy hypotheses
sequence, nucleotide, or linkage between nucleotides.             using the joint distribution model and the allele counts
   In one aspect, the invention provides kits that include any    measured on the prepared sample, and calling the ploidy
of the primer libraries or compositions of the invention for 25 state of the fetus by selecting the ploidy state corresponding
amplifying target loci in a nucleic acid sample. In some          to the hypothesis with the greatest probability.
embodiments, the kits consists essentially of, or consists of        In one aspect, the invention features methods of testing
primers, primers and instructions for using the primers, a        for an abnormal distribution of a chromosome in a sample
composition of the invention, or a composition of the             that includes a mixture of maternal and fetal DNA. In some
invention and instructions for using the composition. In 30 embodiments, the method involves (i) contacting the sample
some embodiments, the kit includes instructions for using         with a library of primers that simultaneously hybridize to at
the library to amplify the target loci.                           least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;
   In one aspect, the invention provides an apparatus, device,    7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
or composition that includes any of the primer libraries or       28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
compositions of the invention. In some embodiments, the 35 target loci to produce a reaction mixture; wherein the target
apparatus, device, or composition includes a physical struc-      loci are from a plurality of different chromosomes; and
ture (such as one or more reaction vessels, reaction cham-        wherein the plurality of different chromosomes include at
bers, or wells) that contains the primer library or composi-      least one first chromosome suspected of having an abnormal
tion of the invention (for example, the primers may be            distribution in the sample and at least one second chromo-
dissolved in a solution that is in the physical structure). In 40 some presumed to be normally distributed in the sample; (ii)
some embodiments, the physical structure is a non-naturally       subjecting the reaction mixture to primer extension reaction
occurring physical structure or a physical structure that does    conditions to produce amplified products; (iii) sequencing
not naturally contain a primer library or composition of the      the amplified products to obtain a plurality of sequence tags
invention (such as a physical structure that is not found in      aligning to the target loci; wherein the sequence tags are of
nature with nucleic acids in it).                              45 sufficient length to be assigned to a specific target locus; (iv)
   In one aspect, the invention features methods for deter-       assigning on a computer the plurality of sequence tags to
mining a ploidy status of chromosome in a gestating fetus.        their corresponding target loci; (v) determining on a com-
In some embodiments, the method involves contacting a             puter a number of sequence tags aligning to the target loci
nucleic acid sample with a library of primers that simulta-       of the first chromosome and a number of sequence tags
neously hybridize to at least 25; 50; 75; 100; 300; 500; 750; 50 aligning to the target loci of the second chromosome; and
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;       (vi) comparing on a computer the numbers from step (v) to
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or        determine the presence or absence of an abnormal distribu-
100,000 different polymorphic loci to produce a reaction          tion of the first chromosome.
mixture; wherein the nucleic acid sample includes maternal           In one aspect, the invention provides methods for detect-
DNA from the mother of the fetus and fetal DNA from the 55 ing the presence or absence of a fetal aneuploidy. In some
fetus. In some embodiments, the reaction mixture is sub-          embodiments, the method involves (i) contacting a sample
jected to primer extension reaction conditions to produce         that includes a mixture of maternal and fetal DNA with a
amplified products; the amplified products are measured           library of primers that simultaneously hybridize to at least
with a high throughput sequencer to produce sequencing            25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
data; allele counts at the polymorphic loci are calculated on 60 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
a computer based on the sequencing data; a plurality of           30,000; 40,000; 50,000; 75,000; or 100,000 different non-
ploidy hypotheses each pertaining to a different possible         polymorphic target loci to produce a reaction mixture;
ploidy state of the chromosome are created on a computer;         wherein the target loci are from a plurality of different
a joint distribution model for the expected allele counts at      chromosomes; (ii) subjecting the reaction mixture to primer
the polymorphic loci on the chromosome is built on a 65 extension reaction conditions to produce amplified products
computer for each ploidy hypothesis; a relative probability       that includes target amplicons; (iii) quantifying on a com-
of each of the ploidy hypotheses is determined on a com-          puter a relative frequency of the target amplicons from the




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first and second chromosomes of interest; (iv) comparing on       mating the maternal genotypic data from the DNA measure-
a computer the relative frequency of the target amplicons         ments made on the prepared sample.
from the first and second chromosomes of interest; and (v)           In one aspect, a diagnostic box is disclosed for helping to
identifying the presence or absence of an aneuploidy based        determine a ploidy status of a chromosome in a gestating
on the compared relative frequencies of the first and second      fetus where the diagnostic box is capable of executing the
chromosome of interest. In some embodiments, the first            preparing and measuring steps of any of the methods of the
chromosome is a chromosome suspected of being euploid.            invention.
In some embodiments, the second chromosome is a chro-                In various embodiments of any of the aspects of the
mosome suspected of being aneuploidy.                             invention, the allele counts are probabilistic rather than
                                                               10 binary. In some embodiments, measurements of the DNA in
   In one aspect, a method is disclosed for determining
                                                                  the prepared sample at the plurality of polymorphic loci are
presence or absence of fetal aneuploidy in a maternal tissue
                                                                  also used to determine whether or not the fetus has inherited
sample comprising fetal and maternal genomic DNA, the
                                                                  one or a plurality of disease linked haplotypes.
method including (a) obtaining a mixture of fetal and                In various embodiments of any of the aspects of the
maternal genomic DNA from said maternal tissue sample, 15 invention, building a joint distribution model for allele count
(b) conducting massively parallel DNA sequencing of DNA           probabilities is done by using data about the probability of
fragments randomly selected from the mixture of fetal and         chromosomes crossing over at different locations in a chro-
maternal genomic DNA of step (a) to determine the                 mosome to model dependence between polymorphic alleles
sequence of said DNA fragments, (c) identifying chromo-           on the chromosome. In some embodiments, building a joint
somes to which the sequences obtained in step (b) belong, 20 distribution model for allele counts and the step of deter-
(d) using the data of step (c) to determine an amount of at       mining the relative probability of each hypothesis are done
least one first chromosome in said mixture of maternal and        using a method that does not require the use of a reference
fetal genomic DNA, wherein said at least one first chromo-        chromosome.
some is presumed to be euploid in the fetus, (e) using the           In various embodiments of any of the aspects of the
data of step (c) to determine an amount of a second chro- 25 invention, determining the relative probability of each
mosome in said mixture of maternal and fetal genomic              hypothesis makes use of an estimated fraction of fetal DNA
DNA, wherein said second chromosome is suspected to be            in the prepared sample. In some embodiments, the DNA
aneuploid in the fetus, (f) calculating the fraction of fetal     measurements from the prepared sample used in calculating
DNA in the mixture of fetal and maternal DNA, (g) calcu-          allele count probabilities and determining the relative prob-
lating an expected distribution of the amount of the second 30 ability of each hypothesis comprise primary genetic data. In
target chromosome if the second target chromosome is              some embodiments, selecting the ploidy state corresponding
euploid, using the number in step (d), (h) calculating an         to the hypothesis with the greatest probability is carried out
expected distribution of the amount of the second target          using maximum likelihood estimates or maximum a poste-
chromosome if the second target chromosome is aneuploid,          riori estimates.
using the first number is step (d) and the calculated fraction 35    In various embodiments of any of the aspects of the
of fetal DNA in the mixture of fetal and maternal DNA in          invention, calling the ploidy state of the fetus also includes
step (f), and (i) using a maximum likelihood or maximum a         combining the relative probabilities of each of the ploidy
posteriori approach to determine whether the amount of the        hypotheses determined using the joint distribution model
second chromosome as determined in step (e) is more likely        and the allele count probabilities with relative probabilities
to be part of the distribution calculated in step (g) or the 40 of each of the ploidy hypotheses that are calculated using
distribution calculated in step (h); thereby indicating the       statistical techniques taken from a group consisting of a read
presence or absence of a fetal aneuploidy.                        count analysis, comparing heterozygosity rates, a statistic
   In various embodiments of any of the aspects of the            that is only available when parental genetic information is
invention, the target loci include one or more SNPs in the        used, the probability of normalized genotype signals for
homologous non-recombining region of chromosome X 45 certain parent contexts, a statistic that is calculated using an
and/or chromosome Y. In some embodiments, the method              estimated fetal fraction of the sample (e.g., the first sample)
includes determining the relative amount of chromosome X          or the prepared sample, and combinations thereof.
and chromosome Y. In some embodiments, the method                    In various embodiments of any of the aspects of the
includes determining the number of copies of chromosome           invention, a confidence estimate is calculated for the called
X and/or chromosome Y.                                         50 ploidy state. In some embodiments, the method also includes
   In some embodiments, the method also includes obtaining        taking a clinical action based on the called ploidy state of the
genotypic data from one or both parents of the fetus. In some     fetus, wherein the clinical action is selected from one of
embodiments, obtaining genotypic data from one or both            terminating the pregnancy or maintaining the pregnancy.
parents of the fetus includes preparing the DNA from the             In various embodiments of any of the aspects of the
parents where the preparing comprises preferentially enrich- 55 invention, the method may be performed for fetuses at
ing the DNA at the plurality of polymorphic loci to give          between 4 and 5 weeks gestation; between 5 and 6 weeks
prepared parental DNA, optionally amplifying the prepared         gestation; between 6 and 7 weeks gestation; between 7 and
parental DNA, and measuring the parental DNA in the               8 weeks gestation; between 8 and 9 weeks gestation;
prepared sample at the plurality of polymorphic loci.             between 9 and 10 weeks gestation; between 10 and 12 weeks
   In various embodiments of any of the aspects of the 60 gestation; between 12 and 14 weeks gestation; between 14
invention, building a joint distribution model for the            and 20 weeks gestation; between 20 and 40 weeks gestation;
expected allele count probabilities of the plurality of poly-     in the first trimester; in the second trimester; in the third
morphic loci on the chromosome is done using the obtained         trimester; or combinations thereof.
genetic data from the one or both parents.                           In various embodiments of any of the aspects of the
   In some embodiments, the sample (e.g., the first sample) 65 invention, a report displaying a determined ploidy status of
has been isolated from maternal plasma and where the              a chromosome in a gestating fetus generated using the
obtaining gcnotypic data from the mother is done by csti-         method. In some embodiments, a kit is disclosed for deter-




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mining a ploidy status of a target chromosome in a gestating     wherein the first standard locus and the first target locus have
fetus designed to be used with any of the methods of the         the same number of nucleotides but have a sequence that
invention, the kit including a plurality of inner forward        differs at one or more nucleotides; and wherein the second
primers and optionally the plurality of inner reverse primers,   standard locus and the second target locus have the same
where each of the primers is designed to hybridize to the        number of nucleotides but have a sequence that differs at one
region of DNA immediately upstream and/or downstream             or more nucleotides; (ii) sequencing the amplified products
from one of the polymorphic sites on the target chromo-          to determine a standard ratio that compares the relative
some, and optionally additional chromosomes, where the           amount of the amplified first standard locus compared to the
region of hybridization is separated from the polymorphic        amplified second standard locus; wherein the standard ratio
site by a small number of bases, where the small number is 10 indicates the difference in PCR efficiency for the amplifi-
selected from the group consisting of 1, 2, 3, 4, 5, 6 to 10,    cation of the first standard locus and the second standard
11 to 15, 16 to 20, 21 to 25, 26 to 30, 31 to 60, and            locus; (iii) determining a target ratio that compares the
combinations thereof.                                            relative amount of the amplified first target locus compared
   In one aspect, the invention features methods for estab-      to the amplified second target locus; and (iv) adjusting the
lishing whether an alleged father is the biological father of 15 target ratio from step (iii) based on the standard ratio from
a fetus that is gestating in a pregnant mother. In some          step (ii) to determine the relative amount of the first target
embodiments the method involves, (i) simultaneously              locus and the second target locus in the sample. In various
amplifying a plurality of polymorphic loci that includes at      embodiments, the method involves determining the absolute
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;       amount of the first target locus and the second target locus
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 20 in the sample. In various embodiments, the method further
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different     includes determining the presence or absence of a target
polymorphic loci on genetic material from the alleged father     locus (e.g, at least 25; 50; 75; 100; 300; 500; 750; 1,000;
to produce a first set of amplified products; (ii) simultane-    2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
ously amplifying the corresponding plurality of polymor-         25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
phic loci on a mixed sample of DNA originating from a 25 100,000 different target loci) in the sample. In various
blood sample from the pregnant mother to produce a second        embodiments, the method involves using any of the primer
set of amplified products; wherein the mixed sample of           libraries of the invention. In various embodiments, the
DNA includes fetal DNA and maternal DNA; (iii) determin-         method involves simultaneously amplifying at least 25; 50;
ing on a computer the probability that the alleged father is     75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
the biological father of the fetus using genotypic measure- 30 15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
ments based on the first and second sets of amplified            40,000; 50,000; 75,000; or 100,000 different target loci.
products; and (iv) establishing whether the alleged father is       In one aspect, the invention features methods of quanti-
the biological father of the fetus using the determined          tatively measuring a plurality of genetic targets in a sample
probability that the alleged father is the biological father of  for analysis. In some embodiments, the method includes (i)
the fetus. In various embodiments, the method further 35 mixing genetic material derived from the sample for analysis
includes simultaneously amplifying the corresponding plu-        with a plurality of target specific amplification reagents, and
rality of polymorphic loci on genetic material from the          a plurality of standard sequences corresponding to the target
mother to produce a third set of amplified products; wherein     specific amplification reagent targets; (ii) amplifying target
the probability that the alleged father is the biological father regions of the genetic material and the standard sequences to
of the fetus is determined using genotypic measurements 40 produce target amplicons and standard sequence amplicons;
based on the first, second, and third sets of amplified          and (iii) measuring the quantity of target amplicons and
products.                                                        standard sequence amplicons produced. In some embodi-
   In one aspect, the invention provides methods of estimat-     ments, the genetic material is present in a genetic library. In
ing relative likelihoods that each embryo from a set of          some embodiments, the genetic targets are polymorphic loci
embryos will develop as desired. In some embodiments, the 45 (such as SNPs). In some embodiments, the measuring of
method involves contacting a sample from each embryo             quantity is achieved by counting sequences. In some
with a library of primers that simultaneously hybridize to at    embodiments, the method further includes determining the
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;       estimated copy number of at least one chromosome in a
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;           sample from which the genetic library was derived, wherein
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different 50 the determination involves comparing the number of
target loci to produce a reaction mixture for each embryo,       sequence reads of a target amplicon with the number of
wherein the samples are each derived from one or more cells      sequence reads of a standard amplicon. In some embodi-
from an embryo. In some embodiments, each reaction               ments, the standard sequences and the genetic library
mixture is subjected to primer extension reaction conditions     include universal priming sites cable of being primed by the
to produce amplified products. In some embodiments, the 55 same primer. In some embodiments, the mixing step
method includes determining on a computer one or more            includes at least 10; 100, 500; 1,000; 2,000; 5,000; 7,500;
characteristics of at least one cell from each embryo based      10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
on the amplified products; and estimating on a computer the      30,000; 40,000; 50,000; 75,000; or 100,000 different target
relative likelihoods that each embryo will develop as            specific amplification reagents and at least 10; 100, 500;
desired, based on the one or more characteristics of the at 60 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
least one cell for each embryo.                                  25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
   In one aspect, the invention features methods of measur-      100,000 standard sequences. In various embodiments, the
ing the amount of two or more target loci in a nucleic acid      method involves using any of the primer libraries of the
sample. In some embodiments, the method involves (i) using       invention. In various embodiments, the method involves
PCR to amplify a nucleic acid sample that includes a first 65 simultaneously amplifying at least 25; 50; 75; 100; 300; 500;
standard locus, a second standard locus, a first target locus,   750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;
and a second target locus to form amplified products;            20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;




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75,000; or 100,000 different target regions. In some embodi-          In one aspect, the invention provides a set of genetic
ments, the relative amounts of each of the standard                standard sequences that have been calibrated according to
sequences are known. In some embodiments, the relative             any of the methods of the invention. In one aspect, the
amounts of each of the sequences is has been calibrated with       invention provides a set of genetic standard sequences that
respect to a reference genome. In some embodiments, the            may be calibrated either before, during or after the method
sample for analysis includes a mixture of fetal and maternal       is performed.
genomes. In some embodiments, the sample for analysis is              In one aspect, the invention features methods of measur-
derived from the blood of a pregnant woman or derived from         ing the number of copies of a gene of interest having at least
blood plasma. In some embodiments, the reference genome            one allele that has a deletion. In some embodiments, the
                                                                10 method includes (i) mixing genetic material derived from a
has at least one aneuploidy, such as an aneuploidy at
                                                                   sample for analysis with an amplification reagent specific for
chromosome 13, 18, 21, X, or Y. In some embodiments, the
                                                                   the gene of interest and not capable of significantly ampli-
reference genome is diploid.
                                                                   fying the deletion comprising allele of the gene of interest,
   In one aspect, the invention features a mixture that            a standard sequence corresponding to gene of interest, an
includes a plurality of genetic standard sequences, wherein 15 amplification reagent specific for a reference sequence, and
the relative amount of each genetic standard sequence in the       a standard sequence corresponding to the reference
mixture has been determined by calibration to a reference          sequence; (ii) amplifying the gene sequence of interest, the
genome. In various embodiments, the mixture includes at            standard sequence corresponding to the gene of interest, the
least 10; 100, 500; 1,000; 2,000; 5,000; 7,500; 10,000;            reference sequence, and the standard sequence correspond-
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 20 ing to the reference sequence to produce gene of interest
40,000; 50,000; 75,000; or 100,000 genetic standard                amplicons, reference sequence amplicons, and standard
sequences. In various embodiments, the genetic standard            sequence amplicons; and (iii) measuring the quantity of
sequences include a first universal priming site, a second         target amplicons and standard sequence amplicons pro-
universal priming site, a first target specific priming site, a    duced. In some embodiments, the measuring of quantity is
second target specific priming site, and a marker sequence 25 achieved by counting sequence reads. In some embodi-
located between the first and second target specific priming       ments, the method further includes determining the esti-
sites, wherein the first target specific site and the second       mated copy number of at least one chromosome in the
target specific priming site are located between the first and     sample from which the genetic library was derived, wherein
second universal priming sites. In various embodiments, the        the determination involves comparing the number of
calibration involves using any of the primer libraries of the 30 sequences of target amplicons with the number of sequences
invention. In various embodiments, the calibration involves        of a standard amplicons. In some embodiments, the standard
simultaneously amplifying at least 25; 50; 75; 100; 300; 500;      sequences and the genetic library include universal priming
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;           sites capable of being primed by the same primer. In some
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;            embodiments, the relative amounts of each of the sequences
75,000; or 100,000 different target regions. In some embodi- 35 have been calibrated with respect to reference genome. In
ments, the reference genome has at least one aneuploidy,           various embodiments, at least 10; 100, 500; 1,000; 2,000;
such as an aneuploidy at chromosome 13, 18, 21, X, or Y. In        5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
some embodiments, the reference genome is diploid.                 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
   In one aspect, the invention features methods of produc-        genetic standard sequences are used. In various embodi-
ing a set of calibrated genetic standard sequences. In some 40 ments, the method involves using any of the primer libraries
embodiments, the method includes (i) forming an amplifi-           of the invention. In various embodiments, the method
cation reaction mixture that includes a genetic library pre-       involves simultaneously amplifying at least 25; 50; 75; 100;
pared from a reference genome, a plurality of target-specific      300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
amplification primer reagent sets, and a plurality of genetic      19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
standard sequences corresponding to the target specific 45 50,000; 75,000; or 100,000 different target regions. In some
amplification reagent sets, (ii) amplifying the genetic library    embodiments, the reference genome is diploid. In some
and the genetic standard sequences to produce amplicons            embodiments, the sample for analysis is derived from blood.
from the target sequences and amplicons from the genetic              In some embodiments of any of the aspects of the inven-
standard sequences, (iii) measuring the quantity of the            tion, preferentially enriching the DNA in the sample (e.g.,
amplicons from the target sequences and amplicons from the 50 the first sample) at the target loci (e.g., the plurality of
genetic standard sequences, and (iv) determining the relative      polymorphic loci) includes obtaining a plurality of pre-
amount of each of genetic standard sequences with respect          circularized probes where each probe targets one of the loci
to each other, whereby the plurality of genetic standard           (e.g., polymorphic loci), where the 3' and 5' end of the
sequences is calibrated. In various embodiments, at least 10;      probes are preferably designed to hybridize to a region of
100, 500; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 55 DNA that is separated from the polymorphic site of the locus
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;            by a small number of bases, where the small number is 1, 2,
50,000; 75,000; or 100,000 genetic standard sequences are          3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20,
used. In various embodiments, the method involves using            21 to 25, 26 to 30, 31 to 60, or a combination thereof,
any of the primer libraries of the invention. In various           hybridizing the pre-circularized probes to DNA from the
embodiments, the method involves simultaneously ampli- 60 sample (e.g., the first sample), filling the gap between the
fying at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;       hybridized probe ends using DNA polymerase, circularizing
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;              the pre-circularized probe, and amplifying the circularized
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000         probe.
different sequences. In some embodiments, the reference               In some embodiments of any of the aspects of the inven-
genome has at least one aneuploidy, such as an aneuploidy 65 tion, the preferentially enriching the DNA at the target loci
at chromosome 13, 18, 21, X, or Y. In some embodiments,            (e.g., the plurality of polymorphic loci) includes obtaining a
the reference genome is diploid.                                   plurality of ligation-mediated PCR probes where each PCR




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probe targets one of the target loci (e.g., the polymorphic         outer reverse primers are designed to hybridize to the region
loci), and where the upstream and downstream PCR probes             of DNA immediately downstream from the inner reverse
are designed to hybridize to a region of DNA on one strand          primer, hybridizing the first primers to the DNA, and ampli-
of DNA that is preferably separated from the polymorphic            fying the DNA using the polymerase chain reaction.
site of the locus by a small number ofbases, where the small           In some embodiments of any of the aspects of the inven-
number is 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16,    tion, the method also includes obtaining a plurality of outer
17, 18, 19, 20, 21 to 25, 26 to 30, 31 to 60, or a combination      reverse primers where each primer targets one of the poly-
thereof, hybridizing the ligation-mediated PCR probes to the        morphic loci, and where the outer reverse primers are
DNA from the sample (e.g., the first sample), filling the gap       designed to hybridize to the region of DNA immediately
between the ligation-mediated PCR probe ends using DNA 10 downstream from the inner reverse primer, optionally
polymerase, ligating the ligation-mediated PCR probes, and          obtaining a plurality of outer forward primers where each
amplifying the ligated ligation-mediated PCR probes.                primer targets one of the target loci (e.g., the polymorphic
   In some embodiments of various aspects of the invention,         loci), and where the outer forward primers are designed to
preferentially enriching the DNA at the target loci (e.g.,          hybridize to the region of DNA upstream from the inner
plurality of polymorphic loci) includes obtaining a plurality 15 forward primer, hybridizing the first primers to the DNA,
of hybrid capture probes that target the loci (e.g., the            and amplifying the DNA using the polymerase chain reac-
polymorphic loci), hybridizing the hybrid capture probes to         tion.
the DNA in the sample (e.g., the first sample) and physically          In some embodiments of any of the aspects of the inven-
removing some or all of the unhybridized DNA from the               tion, preparing the sample (e.g., the first sample) further
sample (e.g., the first sample) of DNA.                          20 includes appending universal adapters to the DNA in the
   In some embodiments of any of the aspects of the inven-          sample (e.g., the first sample) and amplifying the DNA in the
tion, the hybrid capture probes are designed to hybridize to        sample (e.g., the first sample) using the polymerase chain
a region that is flanking but not overlapping the polymorphic       reaction. In some embodiments, at least a fraction of the
site. In some embodiments, the hybrid capture probes are            amplicons that are amplified are less than 100 bp, less than
designed to hybridize to a region that is flanking but not 25 90 bp, less than 80 bp, less than 70 bp, less than 65 bp, less
overlapping the polymorphic site, and where the length of           than 60 bp, less than 55 bp, less than 50 bp, or less than 45
the flanking capture probe may be selected from the group           bp, and where the fraction is 10%, 20%, 30%, 40%, 50%,
consisting of less than about 120 bases, less than about 110        60%, 70%, 80%, 90%, or 99%.
bases, less than about 100 bases, less than about 90 bases,            In some embodiments of any of the aspects of the inven-
less than about 80 bases, less than about 70 bases, less than 30 tion, amplifying the DNA is done in one or a plurality of
about 60 bases, less than about 50 bases, less than about 40        individual reaction volumes, and where each individual
bases, less than about 30 bases, and less than about 25 bases.      reaction volume contains more than 100 different forward
In some embodiments, the hybrid capture probes are                  and reverse primer pairs, more than 200 different forward
designed to hybridize to a region that overlaps the polymor-        and reverse primer pairs, more than 500 different forward
phic site, and where the plurality of hybrid capture probes 35 and reverse primer pairs, more than 1,000 different forward
comprise at least two hybrid capture probes for each poly-          and reverse primer pairs, more than 2,000 different forward
morphic loci, and where each hybrid capture probe is                and reverse primer pairs, more than 5,000 different forward
designed to be complementary to a different allele at that          and reverse primer pairs, more than 10,000 different forward
polymorphic locus.                                                  and reverse primer pairs, more than 20,000 different forward
   In some embodiments of any of the aspects of the inven- 40 and reverse primer pairs, more than 50,000 different forward
tion, preferentially enriching the DNA a plurality of poly-         and reverse primer pairs, or more than 100,000 different
morphic loci includes obtaining a plurality of inner forward        forward and reverse primer pairs. In various embodiments of
primers where each primer targets one of the polymorphic            any of the aspects of the invention, at least 25; 50; 75; 100;
loci, and where the 3' end of the inner forward primers are         300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
designed to hybridize to a region of DNA upstream from the 45 19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
polymorphic site, and separated from the polymorphic site           50,000; 75,000; or 100,000 different primer pairs are used.
by a small number of bases, where the small number is                  In some embodiments of any of the aspects of the inven-
selected from the group consisting of 1, 2, 3, 4, 5, 6 to 10,       tion, preparing the sample (e.g., the first sample) further
11 to 15, 16 to 20, 21 to 25, 26 to 30, or 31 to 60 base pairs,     comprises dividing the sample (e.g., the first sample) into a
optionally obtaining a plurality of inner reverse primers 50 plurality of portions, and where the DNA in each portion is
where each primer targets one of the polymorphic loci, and          preferentially enriched at a subset of the target loci (e.g.,
where the 3' end of the inner reverse primers are designed to       plurality of polymorphic loci). In some embodiments, the
hybridize to a region of DNA upstream from the polymor-             inner primers are selected by identifying primer pairs likely
phic site, and separated from the polymorphic site by a small       to form undesired primer duplexes and removing from the
number of bases, where the small number is selected from 55 plurality of primers at least one of the pair of primers
the group consisting of 1, 2, 3, 4, 5, 6 to 10, 11 to 15, 16 to     identified as being likely to form undesired primer duplexes.
20, 21 to 25, 26 to 30, or 31 to 60 base pairs, hybridizing the     In some embodiments, the inner primers contain a region
inner primers to the DNA, and amplifying the DNA using              that is designed to hybridize either upstream or downstream
the polymerase chain reaction to form amplicons.                    of the targeted locus (e.g., the polymorphic locus), and
   In some embodiments of any of the aspects of the inven- 60 optionally contain a universal priming sequence designed to
tion, the method also includes obtaining a plurality of outer       allow PCR amplification. In some embodiments, at least
forward primers where each primer targets one of the target         some of the primers additionally contain a random region
(e.g., polymorphic loci), and where the outer forward prim-         that differs for each individual primer molecule. In some
ers are designed to hybridize to the region of DNA upstream         embodiments, at least some of the primers additionally
from the inner forward primer, optionally obtaining a plu- 65 contain a molecular barcode.
rality of outer reverse primers where each primer targets one          In some embodiments of any of the aspects of the inven-
of the target loci (e.g., polymorphic loci), and where the          tion, preferential enrichment results in average degree of




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allelic bias between the prepared sample and the sample                 of loci is performed using a polymerase (e.g., a DNA
(e.g., the first sample) of a factor selected from the group            polymerase, RNA polymerase, or reverse transcriptase) with
consisting of no more than a factor of 2, no more than a                low 5'----;.3' exonuclease and/or low strand displacement
factor of 1.5, no more than a factor of 1.2, no more than a             activity. In some embodiments, a DNA polymerase is used
factor of 1.1, no more than a factor of 1.05, no more than a            produce DNA amplicons using DNA as a template. In some
factor of 1.02, no more than a factor of 1.01, no more than             embodiments, a RNA polymerase is used produce RNA
a factor of 1.005, no more than a factor of 1.002, no more              amplicons using DNA as a template. In some embodiments,
than a factor of 1.001 and no more than a factor of 1.0001.             a reverse transcriptase is used produce cDNA amplicons
In some embodiments, the plurality of polymorphic loci are              using RNA as a template.
SNPs. In some embodiments, measuring the DNA in the 10
                                                                           In various embodiments, the primer extension reaction or
prepared sample is done by sequencing.
                                                                        the polymerase chain reaction does not include ligation-
   In some embodiments, the nucleic acids in the sample are
                                                                        mediated PCR. In various embodiments, the primer exten-
non-specifically amplified prior to amplification of the target
loci (such as specific amplification of the target loci with a          sion reaction or the polymerase chain reaction does not
primer library of the invention). In some embodiments, the 15 include the joining of two primers by a ligase. In various
non-specific amplification includes whole genome applica-               embodiments, the primers do not include Linked Inverted
tion (WGA), such as ligation-mediated PCR (LM-PCR),                     Probes (LIPs), which can also be called pre-circularized
degenerate oligonucleotide primer PCR (DOP-PCR), or                     probes, pre-circularizing probes, circularizing probes, Pad-
multiple displacement amplification (MDA). In some                      lock Probes, or Molecular Inversion Probes (MIPs ). In some
embodiments, the non-specific amplification includes uni- 20 embodiments, the primers are not loopable primers. In some
versal PCR, such as adaptor-mediated universal PCR.                     embodiments, the primers do not form a loop structure, for
   In some embodiments of any of the aspects of the inven-              example, the primers do not comprise a 3' target specific
tion, the target loci are present on the same nucleic acid of           portion, a stem (comprising a first loop forming region and
interest (e.g, the same chromosome or the same region of a              a second loop forming region), and a loop portion. In various
chromosome). In some embodiments, at least some of the 25 embodiments, the primer library, composition, kit, or
target loci are present on different nucleic acids of interest          method does not include an array (such as a microarray) or
(e.g, different chromosomes). In some embodiments, the                  do no use an array (such as a microarray). In some embodi-
nucleic acid sample includes fragmented or digested nucleic             ments, multiplex PCR and/or sequencing is performed with-
acids. In some embodiments, the nucleic acid sample                     out use of an array (such as a microarray). In some embodi-
includes DNA, such as genomic DNA, cDNA, cell-free 30 ments, the primer library, composition, kit, or method
DNA (cfDNA), cell-free mitochondrial DNA (cf mDNA),                     comprises a microarray.
cell-free DNA that originated from nuclear DNA (cf nDNA),                  In some embodiments, the primers or the target loci do not
cellular DNA, or mitochondrial DNA. In some embodi-                     comprise an STR allele (for example, the target loci may be
ments, nucleic acid sample includes RNA, such as cfRNA,                 non-polymorphic loci or the loci may comprise a polymor-
cellular RNA, cytoplasmic RNA, coding cytoplasmic RNA, 35 phism other than an STR allele). In some embodiments,
non-coding cytoplasmic RNA, mRNA, miRNA, mitochon-                      some or all of the target loci comprise an STR allele.
drial RNA, rRNA, or tRNA. In some embodiments, the                         It is understood that all of the aspects and embodiments of
nucleic acid sample includes DNA from a single cell, 2 cells,           the invention described herein include "comprising," "con-
3 cells, 4 cells, 5 cells, 6 cells, 7 cells, 8 cells, 9 cell, 10 cells, sisting," and "consisting essentially of' aspects and embodi-
or more than 10 cells. In some embodiments, the nucleic 40 ments. It is understood that aspects and embodiments of the
acid sample is a blood or plasma sample that is substantially           invention described herein include combinations of any two
free of cells. In some embodiments, the nucleic acid sample             or more of the aspects or embodiments of the invention.
includes or is derived from blood, plasma, saliva, semen,
sperm, cell culture supernatant, mucus secretion, dental                                           Definitions
plaque, gastrointestinal tract tissue, stool, urine, hair, bone, 45
body fluids, tears, tissue, skin, fingernails, blastomeres,                Single Nucleotide Polymorphism (SNP) refers to a single
embryos, anmiotic fluid, chorionic villus samples, bile,                nucleotide that may differ between the genomes of two
lymph, cervical mucus, or a forensic sample. In some                    members of the same species. The usage of the term should
embodiments, the target loci are segments of human nucleic              not imply any limit on the frequency with which each variant
acids. In some embodiments, the target loci are segments of 50 occurs.
human nucleic acids found in the human genome. In some                     Sequence refers to a DNA sequence or a genetic sequence.
embodiments, the target loci comprise or consist of single              It may refer to the primary, physical structure of the DNA
nucleotide polymorphisms (SNPs). In some embodiments,                   molecule or strand in an individual. It may refer to the
the primers are DNA molecules.                                          sequence of nucleotides found in that DNA molecule, or the
   In some embodiments of any of the aspects of the inven- 55 complementary strand to the DNA molecule. It may refer to
tion, the DNA in the sample (e.g., the first sample) originates         the information contained in the DNA molecule as its
from maternal plasma. In some embodiments, preparing the                representation in silica.
sample (e.g., the first sample) further comprises amplifying               Locus refers to a particular region of interest on the DNA
the DNA. In some embodiments, preparing the sample (e.g.,               (or corresponding RNA) of an individual, which may refer
the first sample) further comprises preferentially enriching 60 to a SNP, the site of a possible insertion or deletion, or the
the DNA in the sample (e.g., the first sample) at the target            site of some other relevant genetic variation. Disease-linked
loci (e.g., a plurality of polymorphic loci).                           SNPs may also refer to disease-linked loci.
   In various embodiments, the primer extension reaction or                Polymorphic Allele, also "Polymorphic Locus," refers to
the polymerase chain reaction includes the addition of one or           an allele or locus where the genotype varies between indi-
more nucleotides by a polymerase. In some embodiments, 65 viduals within a given species. Some examples of polymor-
greater than or equal to 5, 10, 20, 30, 40, 50, or 60 cycles of         phic alleles include single nucleotide polymorphisms, short
PCR arc performed. In some embodiments, the amplification               tandem repeats, deletions, duplications, and inversions.




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   Polymorphic Site refers to the specific nucleotides found          The State of the Genetic Material or simply "Genetic
in a polymorphic region that vary between individuals.             State" may refer to the identity of a set of SNPs on the DNA,
   Allele refers to the alternative form or version of a gene      to the phased haplotypes of the genetic material, and to the
that occupies a particular locus. Genetic Data also "Geno-         sequence of the DNA, including insertions, deletions,
typic Data" refers to the data describing aspects of the           repeats and mutations. It may also refer to the ploidy state
genome of one or more individuals. It may refer to one or a        of one or more chromosomes, chromosomal segments, or set
set of loci, partial or entire sequences, partial or entire        of chromosomal segments.
chromosomes, or the entire genome. It may refer to the                Allelic Data refers to a set of genotypic data concerning
identity of one or a plurality of nucleotides; it may refer to     a set of one or more alleles. It may refer to the phased,
                                                                10 haplotypic data. It may refer to SNP identities, and it may
a set of sequential nucleotides, or nucleotides from different
                                                                   refer to the sequence data of the DNA, including insertions,
locations in the genome, or a combination thereof. Geno-
                                                                   deletions, repeats and mutations. It may include the parental
typic data is typically in silica, however, it is also possible
                                                                   origin of each allele.
to consider physical nucleotides in a sequence as chemically          Allelic State refers to the actual state of the genes in a set
encoded genetic data. Genotypic Data may be said to be 15 of one or more alleles. It may refer to the actual state of the
"on," "of," "at," "from" or "on" the individual(s ). Genotypic     genes described by the allelic data.
Data may refer to output measurements from a genotyping               Allelic Ratio or allele ratio, refers to the ratio between the
platform where those measurements are made on genetic              amount of each allele at a locus that is present in a sample
material.                                                          or in an individual. When the sample was measured by
   Genetic Material also "Genetic Sample" refers to physical 20 sequencing, the allelic ratio may refer to the ratio of
matter, such as tissue or blood, from one or more individuals      sequence reads that map to each allele at the locus. When the
comprising DNA or RNA                                              sample was measured by an intensity based measurement
   Noisy Genetic Data refers to genetic data with any of the       method, the allele ratio may refer to the ratio of the amounts
following: allele dropouts, uncertain base pair measure-           of each allele present at that locus as estimated by the
ments, incorrect base pair measurements, missing base pair 25 measurement method.
measurements, uncertain measurements of insertions or                 Allele Count refers to the number of sequences that map
deletions, uncertain measurements of chromosome segment            to a particular locus, and if that locus is polymorphic, it
copy numbers, spurious signals, missing measurements,              refers to the number of sequences that map to each of the
other errors, or combinations thereof.                             alleles. If each allele is counted in a binary fashion, then the
   Confidence refers to the statistical likelihood that the 30 allele count will be whole number. If the alleles are counted
called SNP, allele, set of alleles, ploidy call, or determined     probabilistically, then the allele count can be a fractional
number of chromosome segment copies correctly represents           number.
the real genetic state of the individual.                             Allele Count Probability refers to the number of
   Ploidy Calling, also "Chromosome Copy Number Call-              sequences that are likely to map to a particular locus or a set
ing," or "Copy Number Calling" (CNC), may refer to the act 35 of alleles at a polymorphic locus, combined with the prob-
of determining the quantity and/or chromosomal identity of         ability of the mapping. Note that allele counts are equivalent
one or more chromosomes present in a cell.                         to allele count probabilities where the probability of the
   Aneuploidy refers to the state where the wrong number of        mapping for each counted sequence is binary (zero or one).
chromosomes (e.g., the wrong number of full chromosomes            In some embodiments, the allele count probabilities may be
or the wrong number of chromosome segments, such as the 40 binary. In some embodiments, the allele count probabilities
presence of deletions or duplications of a chromosome              may be set to be equal to the DNA measurements.
segment) is present in a cell. In the case of a somatic human         Allelic Distribution, or 'allele count distribution' refers to
cell it may refer to the case where a cell does not contain 22     the relative amount of each allele that is present for each
pairs of autosomal chromosomes and one pair of sex chro-           locus in a set of loci. An allelic distribution can refer to an
mosomes. In the case of a human gamete, it may refer to the 45 individual, to a sample, or to a set of measurements made on
case where a cell does not contain one of each of the 23           a sample. In the context of sequencing, the allelic distribu-
chromosomes. In the case of a single chromosome type, it           tion refers to the number or probable number of reads that
may refer to the case where more or less than two homolo-          map to a particular allele for each allele in a set of poly-
gous but non-identical chromosome copies are present, or           morphic loci. The allele measurements may be treated
where there are two chromosome copies present that origi- 50 probabilistically, that is, the likelihood that a given allele is
nate from the same parent. In some embodiments, the                present for a give sequence read is a fraction between O and
deletion of a chromosome segment is a microdeletion.               1, or they may be treated in a binary fashion, that is, any
   Ploidy State refers to the quantity and/or chromosomal          given read is considered to be exactly zero or one copies of
identity of one or more chromosomes types in a cell.               a particular allele.
   Chromosome may refer to a single chromosome copy, 55               Allelic Distribution Pattern refers to a set of different
meaning a single molecule of DNA of which there are 46 in          allele distributions for different parental contexts. Certain
a normal somatic cell; an example is 'the maternally derived       allelic distribution patterns may be indicative of certain
chromosome 18'. Chromosome may also refer to a chromo-             ploidy states.
some type, of which there are 23 in a normal human somatic            Allelic Bias refers to the degree to which the measured
cell; an example is 'chromosome 18'.                            60 ratio of alleles at a heterozygous locus is different to the ratio
   Chromosomal Identity may refer to the referent chromo-          that was present in the original sample, such as a sample of
some number, i.e. the chromosome type. Normal humans               DNA. The degree of allelic bias at a particular locus is equal
have 22 types of numbered autosomal chromosome types,              to the observed allelic ratio at that locus, as measured,
and two types of sex chromosomes. It may also refer to the         divided by the ratio of alleles in the original DNA or RNA
parental origin of the chromosome. It may also refer to a 65 sample at that locus. Allelic bias may be defined to be greater
specific chromosome inherited from the parent. It may also         than one, such that if the calculation of the degree of allelic
refer to other identifying features of a chromosome.               bias returns a value, x, that is less than 1, then the degree of




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allelic bias may be restated as 1/x. Allelic bias maybe due to          Hybrid Capture Probe refers to any nucleic acid sequence,
amplification bias, purification bias, or some other phenom-         possibly modified, that is generated by various methods such
enon that affects different alleles differently.                     as PCR or direct synthesis and intended to be complemen-
   Allelic imbalance for aneuploidy determinations, such as          tary to one strand of a specific target DNA sequence in a
CNV determinations, refers to the difference between the             sample. The exogenous hybrid capture probes may be added
frequencies of the alleles for a locus. It is an estimate of the     to a prepared sample and hybridized through a denature-
difference in the copy of numbers of the homologs. Allelic           reannealing process to form duplexes of exogenous-endog-
imbalance can arise from the complete loss of an allele or           enous fragments. These duplexes may then be physically
from an increase in copy number of one allele relative to the        separated from the sample by various means.
other. Allelic imbalances can be detected by measuring the 10           Sequence Read refers to data representing a sequence of
proportion of one allele relative to the other in fluids or cells    nucleotide bases that were measured using a clonal sequenc-
from individuals that are constitutionally heterozygous at a         ing method. Clonal sequencing may produce sequence data
given locus. (Mei et al, Genome Res, 10:1126-37 (2000)).             representing single, or clones, or clusters of one original
For dimorphic SNPs that have alleles arbitrarily designated          DNA molecule. A sequence read may also have associated
'A' and 'B', the allele ratio of the A allele is nA/(nA+nB), 15 quality score at each base position of the sequence indicating
where nA and nB are the number of sequencing reads for               the probability that nucleotide has been called correctly.
alleles A and B, respectively. Allelic imbalance is the dif-            Mapping a sequence read is the process of determining a
ference between the allele ratios of A and B for loci that are       sequence read's location of origin in the genome sequence
heterozygous in the germline. This definition is analogous to        of a particular organism. The location of origin of sequence
that for SNVs, where the proportion of abnormal DNA is 20 reads is based on similarity of nucleotide sequence of the
typically measured using mutant allele frequency, or nm/             read and the genome sequence.
(nm+nr), where nm and nr are the number of sequencing reads             Matched Copy Error, also "Matching Chromosome Aneu-
for the mutant allele and the reference allele, respectively.        ploidy" (MCA), refers to a state of aneuploidy where one
   Accordingly, the proportion of abnormal DNA for a CNV             cell contains two identical or nearly identical chromosomes.
can be measured by the average allelic imbalance (AAI), 25 This type of aneuploidy may arise during the formation of
defined as l(Hl-H2)1/(Hl+H2), where Hi is the average                the gametes in meiosis, and may be referred to as a meiotic
number of copies of homo log i in the sample and Hi/(Hl +            non-disjunction error. This type of error may arise in mitosis.
H2) is the fractional abundance, or homolog ratio, of                Matching trisomy may refer to the case where three copies
homolog i. The maximum homolog ratio is the homolog                  of a given chromosome are present in an individual and two
ratio of the more abundant homolog.                               30 of the copies are identical.
   Primer, also "PCR probe" refers to a single DNA mol-                 Unmatched Copy Error, also "Unique Chromosome
ecule (a DNA oligomer) or a collection of DNA molecules              Aneuploidy" (UCA), refers to a state of aneuploidy where
(DNA oligomers) where the DNA molecules are identical, or            one cell contains two chromosomes that are from the same
nearly so, and where the primer contains a region that is            parent, and that may be homologous but not identical. This
designed to hybridize to a targeted locus (e.g, a targeted 35 type of aneuploidy may arise during meiosis, and may be
polymorphic locus or a nonpolymorphic locus), and may                referred to as a meiotic error. Unmatching trisomy may refer
contain a priming sequence designed to allow PCR ampli-              to the case where three copies of a given chromosome are
fication. A primer may also contain a molecular barcode. A           present in an individual and two of the copies are from the
primer may contain a random region that differs for each             same parent, and are homologous, but are not identical. Note
individual molecule. The terms "test primer" and "candidate 40 that unmatching trisomy may refer to the case where two
primer" are not meant to be limiting and may refer to any of         homologous chromosomes from one parent are present, and
the primers disclosed herein.                                        where some segments of the chromosomes are identical
   Library of primers refers to a population of two or more          while other segments are merely homologous.
primers. In various embodiments, the library includes at                Homologous Chromosomes refers to chromosome copies
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 45 that contain the same set of genes that normally pair up
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;               during meiosis.
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different            Identical Chromosomes refers to chromosome copies that
primers. In various embodiments, the library includes at             contain the same set of genes, and for each gene they have
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;           the same set of alleles that are identical, or nearly identical.
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 50               Allele Drop Out (ADO) refers to the situation where at
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different         least one of the base pairs in a set of base pairs from
primer pairs, wherein each pair of primers includes a for-           homologous chromosomes at a given allele is not detected.
ward test primer and a reverse test primer where each pair              Locus Drop Out (LDO) refers to the situation where both
oftest primers hybridize to a target locus. In some embodi-          base pairs in a set of base pairs from homologous chromo-
ments, the library of primers includes at least 25; 50; 75; 55 sames at a given allele are not detected.
100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;                 Homozygous refers to having similar alleles as corre-
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;              sponding chromosomal loci.
40,000; 50,000; 75,000; or 100,000 different individual                 Heterozygous refers to having dissimilar alleles as corre-
primers that each hybridize to a different target locus,             sponding chromosomal loci.
wherein the individual primers are not part of primer pairs. 60         Heterozygosity Rate refers to the rate of individuals in the
In some embodiments, the library has both (i) primer pairs           population having heterozygous alleles at a given locus. The
and (ii) individual primers (such as universal primers) that         heterozygosity rate may also refer to the expected or mea-
are not part of primer pairs.                                        sured ratio of alleles, at a given locus in an individual, or a
   Different primers refers to non-identical primers.                sample of DNA.
   Different pools refers to non-identical pools.                 65    Highly Informative Single Nucleotide Polymorphism
   Different target loci refers to non-identical target loci.        (HISNP) refers to a SNP where the fetus has an allele that
   Different amplicons refers to non-identical amplicons.            is not present in the mother's genotype.




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   Chromosomal Region refers to a segment of a chromo-             body, an embryo, a fetus, or a child. It may also refer to a
some, or a full chromosome.                                        sibling, parent or a grandparent.
   Segment of a Chromosome refers to a section of a                   Sibling refers to any individual whose genetic parents are
chromosome that can range in size from one base pair to the        the same as the individual in question. In some embodi-
entire chromosome.                                                 ments, it may refer to a born child, an embryo, or a fetus, or
   Chromosome refers to either a full chromosome, or a             one or more cells originating from a born child, an embryo,
segment or section of a chromosome.                                or a fetus. A sibling may also refer to a haploid individual
   Copies refers to the number of copies of a chromosome           that originates from one of the parents, such as a sperm, a
segment. It may refer to identical copies, or to non-identical,    polar body, or any other set ofhaplotypic genetic matter. An
homologous copies of a chromosome segment wherein the 10
                                                                   individual may be considered to be a sibling of itself.
different copies of the chromosome segment contain a
                                                                      Fetal refers to "of the fetus," or "of the region of the
substantially similar set ofloci, and where one or more of the
                                                                   placenta that is genetically similar to the fetus". In a preg-
alleles are different. Note that in some cases of aneuploidy,
such as the M2 copy error, it is possible to have some copies      nant woman, some portion of the placenta is genetically
of the given chromosome segment that are identical as well 15 similar to the fetus, and the free floating fetal DNA found in
as some copies of the same chromosome segment that are             maternal blood may have originated from the portion of the
not identical.                                                     placenta with a genotype that matches the fetus. Note that
   Haplotype refers to a combination of alleles at multiple        the genetic information in half of the chromosomes in a fetus
loci that are typically inherited together on the same chro-       is inherited from the mother of the fetus. In some embodi-
mosome. Haplotype may refer to as few as two loci or to an 20 ments, the DNA from these maternally inherited chromo-
entire chromosome depending on the number of recombi-              somes that came from a fetal cell is considered to be "of fetal
nation events that have occurred between a given set of loci.      origin," not "of maternal origin."
Haplotype can also refer to a set of single nucleotide                DNA of Fetal Origin refers to DNA that was originally
polymorphisms (SNPs) on a single chromatid that are sta-           part of a cell whose genotype was essentially equivalent to
tistically associated.                                          25 that of the fetus.
   Haplotypic Data, also "Phased Data" or "Ordered Genetic            DNA of Maternal Origin refers to DNA that was origi-
Data," refers to data from a single chromosome in a diploid        nally part of a cell whose genotype was essentially equiva-
or polyploid genome, i.e., either the segregated maternal or       lent to that of the mother.
paternal copy of a chromosome in a diploid genome.                    Child may refer to an embryo, a blastomere, or a fetus.
   Phasing refers to the act of determining the haplotypic 30 Note that in the presently disclosed embodiments, the con-
genetic data of an individual given unordered, diploid (or         cepts described apply equally well to individuals who are a
polyploidy) genetic data. It may refer to the act of deter-        born child, a fetus, an embryo or a set of cells therefrom. The
mining which of two genes at an allele, for a set of alleles       use of the term child may simply be meant to connote that
found on one chromosome, are associated with each of the           the individual referred to as the child is the genetic offspring
two homologous chromosomes in an individual.                    35 of the parents.
   Phased Data refers to genetic data where one or more               Parent refers to the genetic mother or father of an indi-
haplotypes have been determined.                                   vidual. An individual typically has two parents, a mother and
   Hypothesis refers to a possible ploidy state at a given set     a father, though this may not necessarily be the case such as
of chromosomes, or a set of possible allelic states at a given     in genetic or chromosomal chimerism. A parent may be
set ofloci. The set of possibilities may comprise one or more 40 considered to be an individual.
elements.                                                             Parental Context refers to the genetic state of a given SNP,
   Copy Number Hypothesis, also "Ploidy State Hypoth-              on each of the two relevant chromosomes for one or both of
esis," refers to a hypothesis concerning the number of copies      the two parents of the target.
of a chromosome in an individual. It may also refer to a              Develop As Desired, also "Develop Normally," refers to
hypothesis concerning the identity of each of the chroma- 45 a viable embryo implanting in a uterus and resulting in a
sames, including the parent of origin of each chromosome,          pregnancy, and/or to a pregnancy continuing and resulting in
and which of the parent's two chromosomes are present in           a live birth, and/or to a born child being free of chromosomal
the individual. It may also refer to a hypothesis concerning       abnormalities, and/or to a born child being free of other
which chromosomes, or chromosome segments, if any, from            undesired genetic conditions such as disease-linked genes.
a related individual correspond genetically to a given chro- 50 The term "develop as desired" is meant to encompass
mosome from an individual.                                         anything that may be desired by parents or healthcare
   Target Individual refers to the individual whose genetic        facilitators. In some cases, "develop as desired" may refer to
state is being determined. In some embodiments, only a             an unviable or viable embryo that is useful for medical
limited amount of DNA is available from the target indi-           research or other purposes.
vidual. In some embodiments, the target individual is a fetus. 55     Insertion into a Uterus refers to the process of transferring
In some embodiments, there may be more than one target             an embryo into the uterine cavity in the context of in vitro
individual. In some embodiments, each fetus that originated        fertilization.
from a pair of parents may be considered to be target                 Maternal Plasma refers to the plasma portion of the blood
individuals. In some embodiments, the genetic data that is         from a female who is pregnant.
being determined is one or a set of allele calls. In some 60          Clinical Decision refers to any decision to take or not take
embodiments, the genetic data that is being determined is a        an action that has an outcome that affects the health or
ploidy call.                                                       survival of an individual. In the context of prenatal diagno-
   Related Individual refers to any individual who is geneti-      sis, a clinical decision may refer to a decision to abort or not
cally related to, and thus shares haplotype blocks with, the       abort a fetus. A clinical decision may also refer to a decision
target individual. In one context, the related individual may 65 to conduct further testing, to take actions to mitigate an
be a genetic parent of the target individual, or any genetic       undesirable phenotype, or to take actions to prepare for the
material derived from a parent, such as a sperm, a polar           birth of a child with abnormalities.




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   Diagnostic Box refers to one or a combination of                out at a plurality ofloci, the degree of enrichment may refer
machines designed to perform one or a plurality of aspects         to the average degree of enrichment of all of the loci in the
of the methods disclosed herein. In an embodiment, the             set of loci.
diagnostic box may be placed at a point of patient care. In           Amplification refers to a method that increases the num-
an embodiment, the diagnostic box may perform targeted             ber of copies of a molecule, such as a molecule of DNA.
amplification followed by sequencing. In an embodiment the            Selective Amplification may refer to a method that
diagnostic box may function alone or with the help of a            increases the number of copies of a particular molecule of
technician.                                                        DNA. or molecules of DNA that correspond to a particular
   Informatics Based Method refers to a method that relies         region of DNA. It may also refer to a method that increases
heavily on statistics to make sense of a large amount of data. 10 the number of copies of a particular targeted molecule of
In the context of prenatal diagnosis, it refers to a method        DNA, or targeted region of DNA more than it increases
                                                                   non-targeted molecules or regions of DNA. Selective ampli-
designed to determine the ploidy state at one or more
                                                                   fication may be a method of preferential enrichment.
chromosomes or the allelic state at one or more alleles by
                                                                      Universal Priming Sequence refers to a DNA sequence
statistically inferring the most likely state, rather than by
                                                                15 that may be appended to a population of target DNA
directly physically measuring the state, given a large amount      molecules, for example by ligation, PCR, or ligation medi-
of genetic data, for example from a molecular array or             ated PCR. Once added to the population of target molecules,
sequencing. In an embodiment of the present disclosure, the        primers specific to the universal priming sequences can be
informatics based technique may be one disclosed in this           used to amplify the target population using a single pair of
patent. In an embodiment of the present disclosure it may be 20 amplification primers. Universal priming sequences are typi-
PARENTAL SUPPORT™.                                                 cally not related to the target sequences.
   Primary Genetic Data refers to the analog intensity signals        Universal Adapters, or 'ligation adaptors' or 'library tags'
that are output by a genotyping platform. In the context of        are DNA molecules containing a universal priming sequence
SNP arrays, primary genetic data refers to the intensity           that can be covalently linked to the 5-prime and 3-prime end
signals before any genotype calling has been done. In the 25 of a population of target double stranded DNA molecules.
context of sequencing, primary genetic data refers to the          The addition of the adapters provides universal priming
analog measurements, analogous to the chromatogram, that           sequences to the 5-prime and 3-prime end of the target
comes off the sequencer before the identity of any base pairs      population from which PCR amplification can take place,
have been determined, and before the sequence has been             amplifying all molecules from the target population, using a
mapped to the genome.                                           30 single pair of amplification primers.
   Secondary Genetic Data refers to processed genetic data            Targeting refers to a method used to selectively amplify or
that are output by a genotyping platform. In the context of        otherwise preferentially enrich those molecules of DNA that
a SNP array, the secondary genetic data refers to the allele       correspond to a set of loci, in a mixture of DNA.
calls made by software associated with the SNP array reader,          Joint Distribution Model refers to a model that defines the
wherein the software has made a call whether a given allele 35 probability of events defined in terms of multiple random
is present or not present in the sample. In the context of         variables, given a plurality of random variables defined on
sequencing, the secondary genetic data refers to the base pair     the same probability space, where the probabilities of the
identities of the sequences have been determined, and pos-         variable are linked. In some embodiments, the degenerate
sibly also where the sequences have been mapped to the             case where the probabilities of the variables are not linked
genome.                                                         40 may be used.
   Non-Invasive Prenatal Diagnosis (NPD), or also "Non-               Percent identity in reference to nucleic acid sequences
invasive Prenatal Screening" (NPS), refers to a method of          refers to the degree of sequence identity between nucleic
determining the genetic state of a fetus that is gestating in a    acid sequences.
mother using genetic material found in the mother's blood,
where the genetic material is obtained by drawing the 45                  BRIEF DESCRIPTION OF THE DRAWINGS
mother's intravenous blood.
   Preferential Enrichment of DNA that corresponds to a               The presently disclosed embodiments will be further
locus, or preferential enrichment of DNA at a locus, refers        explained with reference to the attached drawings, wherein
to any method that results in the percentage of molecules of       like structures are referred to by like numerals throughout
DNA in a post-enrichment DNA mixture that correspond to 50 the several views. The drawings shown are not necessarily
the locus being higher than the percentage of molecules of         to scale, with emphasis instead generally being placed upon
DNA in the pre-enrichment DNA mixture that correspond to           illustrating the principles of the presently disclosed embodi-
the locus. The method may involve selective amplification          ments.
of DNA molecules that correspond to a locus. The method               FIG. 1: Graphical representation of direct multiplexed
may involve removing DNA molecules that do not corre- 55 mini-PCR method.
spond to the locus. The method may involve a combination              FIG. 2: Graphical representation of semi-nested mini-
of methods. The degree of enrichment is defined as the             PCR method.
percentage of molecules of DNA in the post-enrichment                 FIG. 3: Graphical representation of fully nested mini-PCR
mixture that correspond to the locus divided by the percent-       method.
age of molecules of DNA in the pre-enrichment mixture that 60         FIG. 4: Graphical representation of hemi-nested mini-
correspond to the locus. Preferential enrichment may be            PCR method.
carried out at a plurality ofloci. In some embodiments of the         FIG. 5: Graphical representation of triply hemi-nested
present disclosure, the degree of enrichment is greater than       mini-PCR method.
20. In some embodiments of the present disclosure, the                FIG. 6: Graphical representation of one-sided nested
degree of enrichment is greater than 200. In some embodi- 65 mini-PCR method.
ments of the present disclosure, the degree of enrichment is          FIG. 7: Graphical representation of one-sided mini-PCR
greater than 2,000. When preferential enrichment is carried        method.




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   FIG. 8: Graphical representation of reverse semi-nested        is called as the ploidy state, reveals the fetal fraction, and
mini-PCR method.                                                  represents the sample-specific calculated accuracy.
   FIG. 9: Some possible workflows for semi-nested meth-             FIGS. 30, 30D-H: Typical graphical representations of
ods.                                                              euploidy (FIG. 30), monosomy (FIG. 30D), and trisomy
   FIG. 10: Graphical representation oflooped ligation adap- 5 (FIGS. 30E-30H). For all plots, the x-axis represents the
tors.                                                             linear position of the individual polymorphic loci along each
   FIG. 11: Graphical representation of internally tagged         chromosome (as indicated below the plots), and the y-axis
primers.                                                          represents the number of A allele reads as a fraction of the
   FIG. 12: An example of some primers with internal tags         total (A+B) allele reads. Maternal and fetal genotypes, as
                                                               10 well as the position on the y-axis around which the bands are
(SEQ ID NOs: 44,611-44,622, respectively in order of
                                                                  centered, are indicated to the right of the plots. If desired to
appearance).
                                                                  facilitate visualization, the plots may be color-coded accord-
   FIG. 13: Graphical representation of a method using
                                                                  ing to maternal genotype, such that red (filled circles as
primers with a ligation adaptor binding region.                   shown in FIGS. 30, 30D-H) indicates a maternal genotype of
   FIG. 14: Simulated ploidy call accuracies for counting 15 AA, blue (filled squares as shown in FIGS. 30, 30D-H)
method with two different analysis techniques.                    indicates a maternal genotype of BB, and green (open
   FIG. 15: Ratio of two alleles for a plurality of SNPs in a     triangles as shown in FIGS. 30, 30D-H) indicates a maternal
cell line in Example 4.                                           genotype of AB. If desired, maternal allele contributions
   FIG. 16: Ratio of two alleles for a plurality of SNPs in a     may be indicated in color in the "Fetal Genotype" colunm.
cell line in Example 4 sorted by chromosome.                   20 Allele contributions are indicated as maternal Ifetal, such that
   FIGS. 17A-17D: Ratio of two alleles for a plurality of         alleles for which the mother is AA and the fetus is AB are
SNPs in four pregnant women plasma samples, sorted by             indicated as AAIAB. FIG. 30, 0% FF plot: Generated plots
chromosome.                                                       when two chromosomes are present and the fetal cfDNA
   FIG. 18: Fraction of data that can be explained by             fraction is 0%. This plot is from a non-pregnant woman, and
binomial variance before and after data correction.            25 thus represents the pattern when the genotype is entirely
   FIG. 19: Graph showing relative enrichment of fetal DNA        maternal. Allele clusters are thus centered around 1 (AA
in samples following a short library preparation protocol.        alleles), 0.5 (AB alleles), and O (BB alleles). FIG. 30, 12%
   FIG. 20: Depth of read graph comparing direct PCR and          FF plot: Generated plot when two chromosomes are present
semi-nested methods.                                              and the fetal fraction is 12%. The contribution of fetal alleles
   FIG. 21: Comparison of depth of read for direct PCR of 30 to the fraction of A allele reads shifts the position of some
three genomic samples.                                            allele spots up or down along the y-axis, such that the bands
   FIG. 22: Comparison of depth of read for semi-nested           are centered around 1 (AAIAA alleles), 0.94 (AAIAB
mini-PCR of three samples.                                        alleles), 0.56 (ABIAA alleles), 0.50 (ABIAB alleles), 0.44
   FIG. 23: Comparison of depth ofread for 1,200-plex and         (ABIBB alleles), 0.06 (BBIAB alleles), and O (BBIBB
9,600-plex reactions.                                          35 alleles). FIG. 30, 26% FF Plot. Generated plot when two
   FIG. 24: Read count ratios for six cells at three chroma-      chromosomes are present and the fetal fraction is 26%. The
sames.                                                            pattern, including two filled circles and two filled square
   FIGS. 25A-25C: Allele ratios for two three-cell reactions      peripheral bands and a trio of central open triangle bands, is
(FIGS. 25B and 25C) and a third reaction run on 1 ng of           readily apparent. Bands are centered around 1 (AAIAA
genomic DNA at three chromosomes (FIG. 25A).                   40 alleles), 0.87 (AAIAB alleles), 0.63 (ABIAA alleles), 0.50
   FIGS. 26A and 26B: Allele ratios for two single-cell           (ABIAB alleles), 0.37 (ABIBB alleles), 0.13 (BBIAB
reactions (FIGS. 26A and 26B) at three chromosomes.               alleles), and O (BBIBB alleles). FIG. 30D: Generated plot
   FIG. 27: Comparison of two primer libraries showing the        when one chromosome is present and the fetal fraction is
number of loci with a particular minor allele frequency that      26%. The hallmark pattern of one external filled circles and
are targeted by each primer library.                           45 one external filled square peripheral band as well as two
   FIG. 28A: Graph of the electrophoresis of PCR products.        central open triangle bands indicated maternally-inherited
   FIGS. 28B-28M are electropherograms of lanes 1-12,             monosomy. Because the fetus only contributes a single allele
respectively, in FIG. 28A.                                        (A or B) to the allele reads, the internal peripheral filled
   FIG. 29: Cartoon depiction of a method of the invention        circles and filled square bands are not present, and the center
for the determination of a fetal aneuploidy (FIG. 29, step A). 50 trio of bands condenses into two bands. Bands that are
Maternal and paternal genotype data (from blood or buccal         centered around 1 (AAIA alleles), 0.57 (ABIA alleles), 0.43
swabs) and crossover frequency data from the Hap Map              (ABIB alleles), and O (BBIB alleles). FIG. 30E: Generated
database are utilized to generate (FIG. 29, step B) multiple      plot when three chromosomes are present and the fetal
independent hypotheses for each potential fetal ploidy state      fraction is 27%. This pattern of two filled circles and filled
in silica (FIG. 29, step C). Each of these hypotheses is 55 square peripheral bands as well as two central open triangle
expanded to include sub-hypotheses with take into consid-         bands indicates maternally-inherited meiotic trisomy. Bands
eration the different possible crossover points. The data         are centered around 1 (AAIAAA alleles), 0.88 (AAIAAB
model predicts what the sequencing data would look like           alleles), 0.56 (ABIAAB alleles), 0.44 (ABIABB alleles),
(the expected allele distributions) given each hypothetical       0.12 (BBIABB alleles), and O (BBIBBB alleles). FIG. 30F:
fetal genotype and at different fetal cfDNA fractions, and is 60 Generated plot when three chromosomes are present and the
compared to the actual sequencing data; the likelihood for        fetal fraction is 14%. This pattern of three filled circles and
each hypothesis is determined using Bayesian statistics. In       three filled square peripheral bands, as well as two central
this hypothetical example, the hypotheses with the highest        open triangle bands, indicates paternally-inherited meiotic
likelihoods (euploidy) are determined (FIG. 29, step D). The      trisomy. Bands are centered around 1 (AAIAAA alleles),
individual likelihoods from FIG. 29, step Care summed for 65 0.93 (AAIAAB alleles), 0.87 (AAIABB alleles), 0.60
each copy number hypothesis family (monosomy, disomy,             (ABIAAA alleles), 0.53 (ABIAAB alleles), 0.47 (ABIABB
or triploidy). The hypothesis with the maximum likelihood         alleles), 0.40 (ABIBBB alleles), 0.13 (BBIAAB alleles),




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0.07 (BBIABB alleles), and O (BBIBBB alleles). FIG. 30G:              one central band indicates the presence of a CNV. The x-axis
Generated plot when three chromosomes are present and the             represents the linear position of the SNPs, and the y-axis
fetal fraction is 35%. This pattern of two filled circles and         indicates the fraction of A allele reads out of the total reads.
two filled square peripheral bands and four central open                 FIGS. 41A and 41B are graphs of the analysis of genomic
triangle bands indicates maternally-inherited mitotic tri- 5 DNA (FIG. 41A) or DNA from a single cell (FIG. 418)
somy. Bands are centered around 1 (AA IAAA alleles), 0.85             using a library of approximately 3,000 primers designed to
(AAIAAB alleles), 0.72 (ABIAAA alleles), 0.57 (ABIAAB                 detect CNV s. The presence of two central bands instead of
alleles), 0.43 (ABIABB alleles), 0.28 (ABIBBB alleles),               one central band indicates the presence of a CNV. The x-axis
0.15 (BBIABB alleles), and O (BBIBBB alleles). FIG. 30H:              represents the linear position of the SNPs, and the y-axis
Generated plot when three chromosomes are present and the 10
                                                                      indicates the fraction of A allele reads out of the total reads.
fetal fraction is 25%. This pattern of two filled circles and
                                                                         FIG. 42 is a graph illustrating the uniformity in depth of
two filled square peripheral bands as well as four central
                                                                      read (DOR) for these -3,000 loci.
open triangle bands indicates paternally-inherited mitotic
trisomy. This pattern can be distinguished from that of                  FIG. 43 is a table comparing error call metrics for
maternally-inherited mitotic trisomy (as in FIG. 30G) by the 15 genomic DNA and DNA from a single cell.
position of the internal peripheral bands. Specifically, bands           FIG. 44 is a graph of error rates for transition mutations
are centered around 1 (AAIAAA alleles), 0.78 (AAIABB                  and transversion mutations.
alleles), 0.67 (ABIAAA alleles), 0.56 (ABIAAB alleles),                  FIG. 45 is a table of data (such as percent mapped reads
0.44 (ABIABB alleles), 0.33 (ABIBBB alleles), 0.22                    and error rate) from multiplex PCR with various buffers.
(BBIAAB alleles), and O (BBIBBB alleles).                          20    FIG. 46 is a graph illustrating the uniformity in DOR for
   FIGS. 31A-31G: Graphical representations of (FIG. 31A)             multiplex PCR with buffers from FIG. 45.
euploid, (FIG. 318) Tl3, (FIG. 31C) TIS, (FIG. 31D) T21,                 FIG. 47 is a graph illustrating the normalized depth of
(FIG. 31E) 45,X, (FIG. 31F) 47, XXY, and (FIG. 31G) 47,               read (DOR) for multiplex PCR with buffers from FIG. 45
XYY, test samples as indicated. Each chromosome is indi-              with the DOR normalized to that of buffer 2xMM.
cated at the top of the plot, fetal and maternal genotypes are 25        While the above-identified drawings set forth presently
indicated to the right of the plots, the x-axis represents the        disclosed embodiments, other embodiments are also con-
linear position of the SNPs along each chromosome, and the            templated, as noted in the discussion. This disclosure pres-
y-axis indicates the number of A allele reads as a fraction of        ents illustrative embodiments by way of representation and
the total reads. Note the altered cluster positioning based on        not limitation. Numerous other modifications and embodi-
fetal fraction, as described herein. Each spot represents a 30 ments can be devised by those skilled in the art which fall
single SNP locus. Fetal and maternal genotypes are indi-
                                                                      within the scope and spirit of the principles of the presently
cated to the right of the plot, and chromosome identities are
                                                                      disclosed embodiments.
indicated at the top of the plots.
   FIG. 32: The combined at-birth prevalence of sex chro-
                                                                                       DETAILED DESCRIPTION
mosome aneuploidies is greater than that of autosomal 35
aneuploidies.
                                                                         The present invention is based in part on the surprising
   FIGS. 33A-33F: Illustrations of the calculation of an
interaction score between primers in a primer library. FIG.           discovery that often only a relatively small number of
33A shows the first two bases (dinucleotide) of a primer that         primers in a library of primers are responsible for a sub-
align to the other primer for calculation of li.G. Iterate over 40 stantial amount of the amplified primer dimers that form
the remainder of the primer that aligns with the other primer         during multiplex PCR reactions. Methods have been devel-
by sliding the bases being observing one base to the right.           oped to select the most undesirable primers for removal
Continue until li.G has been calculated for all pairs of bases        from a library of candidate primers. By reducing the amount
that align (FIG. 33B). Shift the alignment of the two primers         of primer dimers to a negligible amount (-0.1 % of the PCR
(FIGS. 33C and 33D). Determine li.G for the new alignment 45 products), these methods allow the resulting primer libraries
(FIGS. 33E and 33F).                                                  to simultaneously amplify a large number of target loci in a
   FIG. 34: Table of the percentage of reads that map to              single multiplex PCR reaction. Because the primers hybrid-
target loci for genomic DNA samples and for samples of a              ize to the target loci and amplify them rather than hybrid-
single cell from a cell line for both mother and child                izing to other primers and forming amplified primer dimers,
samples.                                                           50 the number of different target loci that can be amplified is
   FIG. 35: Overlay of depth of read for a genomic and a              increased. It was also discovered that using lower primer
single cell sample for different SNPs.                                concentrations and much longer annealing times than nor-
   FIG. 36: Table of the percentage of reads that map to              mal increases the likelihood that the primers hybridize to the
target loci for blastoceol fluid and for a single blastocyst cell.    target loci instead of hybridizing to each other and forming
   FIG. 37. Graph of reference counts (counts of one allele, 55 primer dimers (see, e.g., U.S. Ser. No. 13/683,604, filed Nov.
such as the "A" allele) divided by total counts for that locus        21, 2012, which is hereby incorporated by reference in its
for a single blastocyst cell.                                         entirety). The methods can also be used to amplify a large
   FIG. 38 is a graph showing the limit of detection for single       number of target loci even if the primers have a relatively
nucleotide variants in a tumor biopsy using three different           large range of melting temperatures (in contrast to other
methods described in Example 23.                                   60 methods that require primers to have very similar melting
   FIG. 39 is a graph showing the limit of detection for single       temperatures to successfully amplify multiple loci simulta-
nucleotide variants in a plasma sample using three different          neously due to the need for the primers to be functional
methods described in Example 23.                                      under the same reaction conditions). Additionally, it was
   FIGS. 40A and 40B are graphs of the analysis of genomic            discovered that the annealing temperature can optionally be
DNA (FIG. 40A) or DNA from a single cell (FIG. 40B) 65 higher than the melting temperatures of the primers (in
using a library of approximately 28,000 primers designed to           contrast to other methods that use an annealing temperature
detect CNVs. The presence of two central bands instead of             below the melting temperatures of the primers). A higher




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annealing temperature improves the specificity of the PCR           mRNA, and detection and identification of infectious agents
amplification and reduces or prevents amplification of non-         (such as bacteria, parasite, and viruses). The multiplex PCR
target loci.                                                        methods can also be used for non-invasive prenatal testing,
   During the PCR amplification and sequencing of 19,488            such as paternity testing or the detection of fetal chromo-
target loci in a genomic sample, 99.4-99.7% of the sequenc-         some abnormalities.
ing reads mapped to the genome, of those, 99.99% of the             Exemplary Primer Design Methods
mapped to target loci. For plasma samples with 10 million              Highly multiplexed PCR can often result in the produc-
sequencing reads, typically at least 19,350 of the 19,488           tion of a very high proportion of product DNA that results
target loci (99.3%) were amplified and sequenced. This              from unproductive side reactions such as primer dimer
primer library has even been used to amplify the nucleic 10 formation. In an embodiment, the particular primers that are
acids in a single cell (FIGS. 34-37).                               most likely to cause unproductive side reactions may be
   During the PCR amplification and sequencing of -28,000           removed from the primer library to give a primer library that
target loci in a genomic sample, 99% of the sequencing reads        will result in a greater proportion of amplified DNA that
mapped to target loci. This primer library has also been used       maps to the genome. The step of removing problematic
to amplify nucleic acids in a single cell.                       15 primers, that is, those primers that are particularly likely to
   Being able to simultaneously an1plify such a large number        firm dimers has unexpectedly enabled extremely high PCR
of target loci at once greatly decreases the amount of time         multiplexing levels for subsequent analysis by sequencing.
and the amount of DNA required to analyze thousands of              In systems such as sequencing, where performance signifi-
target loci. For example, DNA from a single cell is sufficient      cantly degrades by primer dimers and/or other mischief
to simultaneously analyze thousands of target loci, which is 20 products, greater than 10, greater than 50, and greater than
important for applications in which the amount of DNA is            100 times higher multiplexing than other described multi-
low, such as genetic testing of a single cell from an embryo        plexing has been achieved. Note this is opposed to probe
prior to in vitro fertilization or genetic testing of a forensic    based detection methods, e.g. microarrays, TAQMAN, PCR
sample with little DNA. In addition, being able to analyze          etc. where an excess of primer dimers will not affect the
the target loci in one reaction volume (such as in one 25 outcome appreciably. Also note that the general belief in the
chamber, well, or vessel) rather than splitting the sample into     art is that multiplexing PCR for sequencing is limited to
multiple different reactions reduces variability that can occur     about 100 assays in the same well. Fluidigm and Rain Dance
between reactions. In addition, methods have been devel-            offer platforms to perform 48 or 1000 s of PCR assays in
oped to use reference standards to correct for amplification        parallel reactions for one sample.
bias that may occur between different target loci. For 30              There are a number of ways to choose primers for a
example, differences in amplification efficiency between            library where the amount of non-mapping primer dimer or
target loci due to factors such as GC content may cause             other primer mischief products are minimized. Empirical
differing amounts of PCR products to be produced for target         data indicate that a small number of 'bad' primers are
loci that are actually present in the same amount. The use of       responsible for a large amount of non-mapping primer dimer
reference standards similar to the target loci allows the 35 side reactions. Removing these 'bad' primers can increase
detection of such amplification bias so that it can be cor-         the percent of sequence reads that map to targeted loci. One
rected for during the quantitation of the target loci.              way to identify the 'bad' primers is to look at the sequencing
   During sequencing of PCR products, artifacts such as             data of DNA that was amplified by targeted amplification;
primer dimers are detected and thus inhibit the detection of        those primer dimers that are seen with greatest frequency
target amplicons. Because of this limitation, microarrays 40 can be removed to give a primer library that is significantly
with hybridization probes are often used for detection since        less likely to result in side product DNA that does not map
microarrays are less sensitive to interference from primer          to the genome. There are also publicly available programs
dimers (for example, microarrays can be used as a target            that can calculate the binding energy of various primer
specific detection that uses probes to hybridize to target          combinations, and removing those with the highest binding
amplicons but does not have probes to hybridize to unde- 45 energy will also give a primer library that is significantly less
sired primer dimers). The high level of multiplexing with           likely to result in side product DNA that does not map to the
minimal non-target amplicons that has now been achieved             genome.
allows PCR followed by sequencing to be used as an                     In some embodiments for selecting primers, an initial
alternative to microarrays. For example, the present multi-         library of candidate primers is created by designing one or
plex PCR methods can be used with a non-target specific 50 more primers or primer pairs to candidate target loci. A set
method of detection, such as sequencing that detects all            of candidate target loci (such as SNPs) can selected based on
amplified products (including both target amplicons and             publically available information about desired parameters
primer dimers, if any). The small amount of primer dimers           for the target loci, such as frequency of the SNPs within a
that are produced allows detection of target amplicons by           target population or the heterozygosity rate of the SNPs. In
methods that detect all amplicons. Thus, in some embodi- 55 one embodiment, the PCR primers may be designed using
ments, the method includes multiplex PCR followed by                the Primer3 program (the worldwide web at
sequencing without use of an array. In other embodiments,           primer3.sourceforge.net; libprimer3 release 2.2.3, which is
the method includes multiplex PCR followed by an array for          hereby incorporated by reference in its entirety). If desired,
detection of the amplified products.                                the primers can be designed to anneal within a particular
   The multiplex-PCR methods of the invention can be in a 60 annealing temperature range, have a particular range of GC
variety of applications, such as genotyping, detection of           contents, have a particular size range, produce target ampli-
chromosomal abnormalities (such as a fetal chromosome               cons in a particular size range, and/or have other parameter
aneuploidy), gene mutation and polymorphism (such as                characteristics. Starting with multiple primers or primer
single nucleotide polymorphisms, SNPs) analysis, gene               pairs per candidate target locus increases the likelihood that
deletion analysis, determination of paternity, analysis of 65 a primer or prime pair will remain in the library for most or
genetic differences among populations, forensic analysis,           all of the target loci. In one embodiment, the selection
measuring predisposition to disease, quantitative analysis of       criteria may require that at least one primer pair per target




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locus remains in the library. That way, most or all of the         weights based on their importance for the particular appli-
target loci will be amplified when using the final primer          cation that the primers will be used for. An exemplary score
library. This is desirable for applications such as screening      (such as an undesirability score) for a primer is shown below
for deletions or duplications at a large number of locations       in which the parameters are weighted by various factors.
in the genome or screening for a large number of sequences
                                                                          score~(l)(total number of targets-number of targets
(such as polymorphisms or other mutations) associated with                     covered)+(l00)(number of SNPs in GC clamp)+
a disease or an increased risk for a disease. If a primer pair                 (l0)(number of SNPs in primer binding site)+
from the library would produces a target amplicon that                         (l0)(number of similar primer pair designs)+
overlaps with a target amplicon produced by another primer                     (0.l)(distance of target base from amplicon
                                                                               end)+(0.l)(amplicon lengtb)+(l00)(interaction
pair, one of the primer pairs may be removed from the 10
                                                                               score)
library to prevent interference.
   In some embodiments, a score such as an "undesirability            where interaction score=max (-1 *li.G value) as described
score" (higher score representing least desirability) is cal-      herein
culated (such as calculation on a computer) for most or all           Another exemplary score for a primer is shown below.
of the possible combinations of two primers from a library 15
                                                                          score~(!00)(number of SNPs in GC clamp)+(l0)
of candidate primers. In various embodiments, a score (such                    (number of SNPs in primer binding site)+(0.1)
as an undesirability score) is calculated for at least 80, 90,                 (distance of target base from amplicon end)+
95, 98, 99, or 99.5% of the possible combinations of                           (0.l)(amplicon lengtb)+(l00)(interaction score)
candidate primers in the library. Each score (such as an              where interaction score=max (-1 *li.G value) as described
undesirability score) is based at least in part on the likeli- 20 herein
hood of dimer formation between the two candidate primers.            In some embodiments, the score for a primer pair is the
If desired, the score (such as the undesirability score) may       worse score out of the scores for the two primers in the pair.
also be based on one or more other parameters selected from        An exemplary score (such as an undesirability score or the
the group consisting of heterozygosity rate of the target          score in Example 20) for a pairs of designs (in which each
locus, disease prevalence associated with a sequence (e.g., a 25 design is one primer pair so that a pair of designs includes
polymorphism) at the target locus, disease penetrance asso-        two primer pairs with a total of 4 primers) is shown below.
ciated with a sequence (e.g., a polymorphism) at the target
locus, specificity of the candidate primer for the target locus,          score~(! 0000000)( arnplicon overlap )+(100)(distance
size of the candidate primer, melting temperature of the                       between designs)+(l)(total number of targets-
                                                                               number of targets covered)+(l00)(number of
candidate primer, melting temperature of the target ampli- 30                  SNPs in GC clamp )+(l0)(number of SNPs in
con, GC content of the target amplicon, GC content of the                      primer binding site)+(l0)(number of similar
3' end of the candidate primer, homopolymer length in the                      primer pair designs)+(0.l)(distance of target
candidate primer, amplification efficiency of the target                       base from amplicon end)+(0.l)(amplicon
                                                                               lengtb)+(l00)(interaction score)
amplicon, size of the target amplicon, number of SNPs
within the candidate primer, location of SNPs within the 35           where interaction score=max (-1 *li.G value) as described
candidate primer, distance from an end of the amplicon to          herein;
the target bases within the amplicon, and the number of               where amplicon overlap=overlap between the two ampli-
target loci in an amplicon. In some embodiments, the lower         cons formed by a pair of designs
the number of SNPs with the candidate primer (such as 2, 1            In some embodiments, the score for a pair of designs is the
or 0 SNPs) the better. In some embodiments, there are no 40 worse score out of the scores for the four primers in the pair
SNPs in the candidate primer. In some embodiments, SNPs            of designs.
(if any) are preferably not in the last 5 nucleotides in the 3'       In some embodiments, the primer with the highest score
end of the candidate primer. In some embodiments, the              (such as the undesirability score) or any score representing
target bases (the bases of interest in a target locus) are         least desirability is removed from the library. If the removed
preferably near an end (the 3' or 5' end) of the amplicon; this 45 primer is a member of a primer pair that hybridizes to one
may improve the quality of sequencing data (since bases            target locus, then the other member of the primer pair may
near the end of an amplicon are sequenced more accurately),        be removed from the library. The process of removing
and/or allow shorter sequencing reads to be performed. In          primers may be repeated as desired. In some embodiments,
some embodiments, a single amplicon includes 2 or more             the selection method is performed until the score (such as the
target loci (such as 2 or more nearby SNPs or variants). In 50 undesirability score) for the candidate primer combinations
some embodiments, the specificity of the candidate primer          remaining in the library are all equal to or below a minimum
for the target locus includes the likelihood that the candidate    threshold (such as any threshold for which the primers
primer will mis-prime by binding and amplifying a locus            remaining in the library all have at least that level of
other than the target locus it was designed to amplify. In         desirability). In some embodiments, the selection method is
some embodiments, one or more or all the candidate primers 55 performed until the number of candidate primers remaining
that mis-prime are removed from the library. In some               in the library is reduced to a desired number.
embodiments to increase the number of candidate primers to            In various embodiments, after the score (such as the
choose from, candidate primers that may mis-prime are not          undesirability score) are calculated, the candidate primer
removed from the library. In some embodiments, the optimal         that is part of the greatest number of combinations of two
melting temperature for selection of the candidate primers is 60 candidate primers with a score (such as an undesirability
57° C. In some embodiments, the optimal size for selection         score) above a first minimum threshold (such as any thresh-
of the candidate primers is a length of 24 nucleotides. In         old for which the primers remaining in the library all have
some embodiments, the optimal GC content for selection of          at least that level of desirability) is removed from the library.
the candidate primers is 50%. If multiple factors are con-         This step ignores interactions equal to or below the first
sidered, the score (such as the undesirability score) may be 65 minimum threshold since these interactions are less signifi-
calculated based on a weighted average of the various              cant. If the removed primer is a member of a primer pair that
parameters. The parameters may be assigned different               hybridizes to one target locus, then the other member of the




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primer pair may be removed from the library. The process of          selection involves (i) calculating on a computer a score
removing primers may be repeated as desired. In some                 (such as an undesirability score) for most or all of the
embodiments, the selection method is performed until the             possible combinations of two candidate primers from the
score (such as the undesirability score) for the candidate           library, wherein each score (such as an undesirability score)
primer combinations remaining in the library are all equal to        is based at least in part on the likelihood of dimer formation
or below the first minimum threshold. If the number of               between the two candidate primers; (ii) removing the can-
candidate primers remaining in the library is higher than            didate primer with the highest or worst score (such as an
desired, the number of primers may be reduced by decreas-            undesirability score) from the library of candidate primers;
ing the first minimum threshold to a lower second minimum            and (iii) if the candidate primer removed in step (ii) is a
threshold (such as any threshold with a stricter cutoff than 10 member of a primer pair, then removing the other member
the first minimum threshold so that some of the least                of the primer pair from the library of candidate primers; and
desirable primers are removed from the library) and repeat-          (iv) optionally repeating steps (ii) and (iii), thereby selecting
ing the process of removing primers. If the number of                a first pool. In some embodiments, the selection method is
candidate primers remaining in the library is lower than             performed until the score (such as the undesirability score)
desired, the method can be continued by increasing the first 15 for the candidate primer combinations remaining in the
minimum threshold to a higher second minimum threshold               library are all equal to or below a minimum threshold for the
(such as any threshold with a less strict cutoff than the first      first pool. In some embodiments, the selection method is
minimum threshold) and repeating the process of removing             performed until the number of candidate primers remaining
primers using the original candidate primer library, thereby         in the library is reduced to a desired number for the first
allowing more of the candidate primers to remain in the 20 pool. In some embodiments, after the first pool is selected
library. In some embodiments, the selection method is                those primers are removed from further consideration and
performed until the score (such as the undesirability score)         steps of the method (such as steps (ii) and (iii)) are repeated
for the candidate primer combinations remaining in the               with the remaining primers to select a second pool. If
library are all equal to or below the second minimum                 desired, this method may be repeated to select the desired
threshold, or until the number of candidate primers remain- 25 number of primer pools. In some embodiments, the score is
ing in the library is reduced to a desired number.                   based at least in part on the current coverage of the bases in
   If desired, primer pairs that produce a target amplicon that      the target locus (such as the number of other primer pools
overlaps with a target amplicon produced by another primer           that have a primer or primer pair that amplifies a particular
pair can be divided into separate amplification reactions.           base in the target locus).
Multiple PCR amplification reactions may be desirable for 30            In one aspect, the invention features methods of selecting
applications in which it is desirable to analyze all of the          test primers from a library of candidate primers to form 2 or
candidate target loci (instead of omitting candidate target          more different primer pools. In various embodiments, the
loci from the analysis due to overlapping target amplicons ).        selection of test primers are selected from a library of
   In various embodiments of any of the aspects of the               candidate primers involves (i) calculating on a computer a
invention, the selection method selects candidate primers 35 score (such as an undesirability score) for most or all of the
and divides them into different pools (e.g., 2, 3, 4, 5, 6, or       possible combinations of two candidate primers from the
more different pools). Each pool can be used to simultane-           library, wherein each score (such as an undesirability score)
ously amplify a large number of target loci (or a subset of          is based at least in part on the likelihood of dimer formation
target loci) in a single reaction volume. In some embodi-            between the two candidate primers; (ii) removing from the
ments, a graph coloring algorithm is used to divide candidate 40 library of candidate primers the candidate primer that is part
primers into different pools. If desired, this method can be         of the greatest number of combinations of two candidate
used to minimize the number of different pools needed to             primers with a score (such as an undesirability score) above
amplify most or all of the target loci.                              a first minimum threshold; (iii) if the candidate primer
   In some embodiments, most or all of the target loci (such         removed in step (ii) is a member of a primer pair, then
as at least 70, 80, 90, 92, 94, 96, 98, 99, or 100% of the target 45 removing the other member of the primer pair from the
loci) are amplified by at least 2, 3, 4, 5, 6, or more different     library of candidate primers; and (iv) optionally repeating
pools. In some embodiments, most or all of the bases in the          steps (ii) and (iii), thereby selecting a first pool. In some
target loci (such as at least 70, 80, 90, 92, 94, 96, 98, 99, or     embodiments, the selection method is performed until the
100% of the bases in the target loci) are amplified by at least      score (such as the undesirability score) for the candidate
2,3, 4, 5, 6, or more different pools. In some embodiments, 50 primer combinations remaining in the library are all equal to
most or all of the bases in the target loci (such as at least 70,    or below the first minimum threshold for the first pool. In
80, 90, 92, 94, 96, 98, 99, or 100% of the bases in the target       some embodiments, the selection method is performed until
loci) are amplified by at least 2, 3, 4, 5, 6, or more different     the number of candidate primers remaining in the library is
primers or primer pairs in different pools. For example, a           reduced to a desired number for the first pool. In various
particular base in a target locus may be amplified by at least 55 embodiments, the selection method involves further reduc-
2, 3, 4, 5, 6, or more different primers or primer pairs;            ing the number of candidate primers remaining in the library
wherein each different primer or primer pair is in a different       by decreasing the first minimum threshold used in step (ii)
pool. Using different primers or primer pairs to amplify each        to a lower second minimum threshold and optionally repeat-
base allows multiple independent measurements of the base            ing steps (ii) and (iii). In some embodiments, the selection
to be made, thereby increasing the accuracy of the method. 60 method involves increasing the first minimum threshold
Dividing the different primers or primer pairs that amplify          used in step (ii) to a higher second minimum threshold and
the same base into different pools prevents interference due         optionally repeating steps (ii) and (iii). In some embodi-
to overlapping amplicons being formed by different primers           ments, the selection method is performed until the score
or primer pairs.                                                     (such as the undesirability score) for the candidate primer
   In one aspect, the invention features methods of selecting 65 combinations remaining in the library are all equal to or
test primers from a library of candidate primers to form 2 or        below the second minimum threshold, or until the number of
more different primer pools. In various embodiments, the             candidate primers remaining in the library is reduced to a




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desired number for the first pool. In some embodiments,              desired level of coverage of target loci. The library of
after the first pool is selected those primers are removed           selected primers can then be used in any of the methods of
from further consideration and steps of the method (such as          the invention.
steps (ii) and (iii)) are repeated with the remaining primers           In some embodiments, the minimum threshold, the first
to select a second pool. If desired, this method may be              minimum threshold, or the second minimum threshold is an
repeated to select the desired number of primer pools. In            interaction score equal to or about 20, 18, 16, 14, 12, 10, 9,
some embodiments, the score is based at least in part on the         8, 7, 6, 5, 4, 3, 2, or 1 kcal/mo!. In some embodiments, the
current coverage of the bases in the target locus (such as the       interaction score is calculated as followed as described
number of other primer pools that have a primer or primer            further herein:
pair that amplifies a particular base in the target locus).       10
                                                                             Interaction score=max(-1 *!'1G value); or
   As discussed above, in some embodiments, a library is
formed by starting with a library of candidate primers and
                                                                             interaction_score~max(-deltaG_2,0. 8* (-deltaG_l))
removing primers until the primers remaining in the library
have the desired characteristics for use as a final primer              where
library.                                                          15    deltaG_2=Gibbs energy (energy required to break the
   In other embodiments, candidate primers are added to a            dimer) for a dimer that is extensible by PCR on both ends,
library (such as a library starting with no primers) to form a       i.e., the 3' end of each primer anneals to the other primer; and
library with the desired characteristics. In some embodi-               deltaG_l =Gibbs energy for a dimer that is extensible by
ments, the candidate primer or primer pair with the most             PCR on at least one end.
desirable score (such as the lowest undesirability score) is 20         These selection methods minimize the number of candi-
added to a library (such as a library starting with no primers).     date primers that have to be removed from the library to
The process of adding candidate primers may be repeated as           achieve the desired reduction in primer dimers. By removing
desired. In some embodiments, the selection method is                a smaller number of candidate primers from the library,
performed until the score (such as the undesirability score)         more (or all) of the target loci can be amplified using the
for the candidate primers that have not been added to the 25 resulting primer library.
library are all above a minimum threshold (such that all the            Multiplexing large numbers of primers imposes consid-
candidate primers that have not been chosen for the library          erable constraint on the assays that can be included. Assays
all have worse scores than the threshold). In some embodi-           that unintentionally interact result in spurious amplification
ments, the selection method is performed until the number            products. The size constraints of miniPCR may result in
of candidate primers that have been added to the library 30 further constraints. In an embodiment, it is possible to begin
reaches a desired number. The library of selected primers            with a very large number of potential SNP targets (between
can then be used in any of the methods of the invention.             about 500 to greater than 1 million) and attempt to design
   In some embodiments, most (such as at least 50, 60, 70,           primers to amplify each SNP. Where primers can be
80, 90, 95, 96, 97, 98, 99, or 99.5%) or all of the possible sets    designed it is possible to attempt to identify primer pairs
of two primer pairs (two primer pairs with a total of 4 35 likely to form spurious products by evaluating the likelihood
primers) are considered for inclusion in a library. In some          of spurious primer duplex formation between all possible
embodiments, the set of two different candidate primer pair          pairs of primers using published thermodynamic parameters
with the most desirable score (such as the lowest undesir-           for DNA duplex formation. Primer interactions may be
ability score) is added to a first pool (such as a first pool        ranked by a scoring function related to the interaction and
starting with no primers). In some embodiments, the set of 40 primers with the worst interaction scores are eliminated until
two different candidate primer pairs with the next most              the number of primers desired is met. In cases where SNPs
desirable score is added to the first pool if it is connected to     likely to be heterozygous are most useful, it is possible to
at most two sets of two different candidate primer pairs in          also rank the list of assays and select the most heterozygous
the first pool. By "connected" for purposes of this step is          compatible assays. Experiments have validated that primers
meant that a single candidate primer pair in one set of two 45 with high interaction scores are most likely to form primer
different candidate primer pairs is the same as a single             dimers. At high multiplexing it is not possible to eliminate
candidate primer pair in another set of two different candi-         all spurious interactions, but it is essential to remove the
date primer pairs. If the set of two different candidate primer      primers or pairs of primers with the highest interaction
pairs is connected to more than two sets, it may be added to         scores in silica as they can dominate an entire reaction,
a different pool than the first pool. The process of set of two 50 greatly limiting amplification from intended targets. We
different candidate primer pair to pool(s) may be repeated as        have performed this procedure to create multiplex primer
desired for the next set of two different candidate primer           sets of up to and in some cases more than 10,000 primers.
pairs with the next most desirable score. In some embodi-            The improvement due to this procedure is substantial,
ments, the selection method is performed until the score             enabling amplification of more than 80%, more than 90%,
(such as the undesirability score) for the candidate primers 55 more than 95%, more than 98%, and even more than 99% on
that have not been added to the pool(s) are all above a              target products as determined by sequencing of all PCR
minimum threshold (such that all the candidate primers that          products, as compared to 10% from a reaction in which the
have not been chosen for the pool(s) all have worse scores           worst primers were not removed. When combined with a
than the threshold). In some embodiments, the selection              partial semi-nested approach as previously described, more
method is performed until the number of candidate primers 60 than 90%, and even more than 95% of amplicons may map
that have been added to the pool(s) reaches a desired                to the targeted sequences.
number. In some embodiments, the method involves storing                Note that there are other methods for determining which
designs in N number of doubly linked list data structures            PCR probes are likely to form dimers. In an embodiment,
with the design pairs. N represents the current number of            analysis of a pool of DNA that has been amplified using a
different primer pools. Initially, N=l, since there is only one 65 non-optimized set of primers may be sufficient to determine
primer pool. In some embodiments, a second pool is only              problematic primers. For example, analysis may be done
created if necessary to include the desired target loci or the       using sequencing, and those dimers which arc present in the




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greatest number are determined to be those most likely to           or five cycles run with long annealing times, followed by
form dimers, and may be removed.                                    PCR cycles with more usual annealing times with tagged
   This method has a number of potential application, for           primers.
example to SNP genotyping, heterozygosity rate determina-               To select target locations, one may start with a pool of
tion, copy number measurement, and other targeted                   candidate primer pair designs and create a thermodynamic
sequencing applications. In an embodiment, the method of            model of potentially adverse interactions between primer
primer design may be used in combination with the mini-             pairs, and then use the model to eliminate designs that are
PCR method described elsewhere in this document. In some            incompatible with other the designs in the pool.
embodiments, the primer design method may be used as part               In an embodiment, the invention features a method of
of a massive multiplexed PCR method.                             10 decreasing the number of target loci (such as loci that may
   The use of tags on the primers may reduce amplification          contain a polymorphism or mutation associated with a
and sequencing of primer dimer products. In some embodi-            disease or disorder or an increased risk for a disease or
ments, the primer contains an internal region that forms a          disorder such as cancer) that need to be detected for a
loop structure with a tag. In particular embodiments, the           diagnosis and/or increasing the disease load that is detected
primers include a 5' region that is specific for a target locus, 15 ( e.g., increasing the number of polymorphisms or mutations
an internal region that is not specific for the target locus and    that are detected). In some embodiments, the method
forms a loop structure, and a 3' region that is specific for the    includes ranking (such as ranking from highest to lowest)
target locus. In some embodiments, the loop region may lie          loci by frequency or reoccurrence of a polymorphism or
between two binding regions where the two binding regions           mutation (such as a single nucleotide variation, insertion, or
are designed to bind to contiguous or neighboring regions of 20 deletion, or any of the other variations described herein) in
template DNA. In various embodiments, the length of the 3'          each locus among subjects with the disease or disorder such
region is at least 7 nucleotides. In some embodiments, the          as cancer. In some embodiments, PCR primers are designed
length of the 3' region is between 7 and 20 nucleotides, such       to some or all of the loci. During selection of PCR primers
as between 7 to 15 nucleotides, or 7 to 10 nucleotides,             for a library of primers, primers to loci that have a higher
inclusive. In various embodiments, the primers include a 5' 25 frequency or reoccurrence (higher ranking loci) are favored
region that is not specific for a target locus (such as a tag or    over those with a lower frequency or reoccurrence (lower
a universal primer binding site) followed by a region that is       ranking loci). In some embodiments, this parameter is
specific for a target locus, an internal region that is not         included as one of the parameters in the calculation of the
specific for the target locus and forms a loop structure, and       scores (such as the undesirability scores) described herein. If
a 3' region that is specific for the target locus. Tag-primers 30 desired, primers (such as primers to high ranking loci) that
can be used to shorten necessary target-specific sequences to       are incompatible with other designs in the library can be
below 20, below 15, below 12, and even below 10 base                included in a different PCR library/pool. In some embodi-
pairs. This can be serendipitous with standard primer design        ments, multiple libraries/pools (such as 2, 3, 4, 5 or more)
when the target sequence is fragmented within the primer            are used in separate PCR reactions to enable amplification of
binding site or, or it can be designed into the primer design. 35 all (or a majority) of the loci represented by all the libraries/
Advantages of this method include: it increases the number          pools. In some embodiment, this method is continued until
of assays that can be designed for a certain maximal ampli-         sufficient primers are included in one or more libraries/pools
con length, and it shortens the "non-informative" sequenc-          such that the primers, in aggregate, enable the desired
ing of primer sequence. It may also be used in combination          disease load to be captured for the disease or disorder (e.g.,
with internal tagging (see elsewhere in this document).          40 such as by detection of at least 80, 85, 90, 95, or 99% of the
   In an embodiment, the relative amount of nonproductive           disease load).
products in the multiplexed targeted PCR amplification can              In some embodiments, the library of candidate primers
be reduced by raising the annealing temperature. In cases           includes at least 25; 50; 75; 100; 300; 500; 750; 1,000;
where one is amplifying libraries with the same tag as the          2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
target specific primers, the annealing temperature can be 45 25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
increased in comparison to the genomic DNA as the tags will         100,000 different primers or different primer pairs. In some
contribute to the primer binding. In some embodiments we            embodiments, only a relatively small number of candidate
are using considerably lower primer concentrations than             primers need to be removed from the library to achieve the
previously reported along with using longer annealing times         desired reduction in primer dimers. In some embodiments,
than reported elsewhere. In some embodiments the anneal- 50 less than 30, 20, 15, 10, 5, or 2% of the candidate primers
ing times may be longer than 3 minutes, longer than 5               are removed from the library prior to use of the resulting
minutes, longer than 8 minutes, longer than 10 minutes,             library for multiplex PCR amplification of target loci. In
longer than 15 minutes, longer than 20 minutes, longer than         some embodiments, a relatively large number of candidate
30 minutes, longer than 60 minutes, longer than 120 min-            primers are removed from the library to achieve the desired
utes, longer than 240 minutes, longer than 480 minutes, and 55 characteristics for the resulting library. In some embodi-
even longer than 960 minutes. In an embodiment, longer              ments, at least 20, 30, 40, 50, 60, 70, 80, or 90% of the
annealing times are used than in previous reports, allowing         candidate primers are removed from the library prior to use
lower primer concentrations. In various embodiments, lon-           of the resulting library for multiplex PCR amplification of
ger than normal extension times are used, such as greater           target loci. In some embodiments, at least 25; 50; 75; 100;
than 3, 5, 8, 10, or 15 minutes. In some embodiments, the 60 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
primer concentrations are as low as 50 nM, 20 nM, 10 nM,            19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
5 nM, 1 nM, and lower than 1 uM. This surprisingly results          50,000; 75,000; or 100,000 different primers or different
in robust performance for highly multiplexed reactions, for         primer pairs remain in the library (after removal of some
example 1,000-plex reactions, 2,000-plex reactions, 5,000-          candidate primers from the library).
plex reactions, 10,000-plex reactions, 20,000-plex reactions, 65        After the selection process, the primers remaining in the
50,000-plex reactions, and even 100,000-plex reactions. In          library may be used in any of the methods of the invention.
an embodiment, the amplification uses one, two, three, four         Exemplary Methods for Determining Interaction Scores




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   Exemplary methods of determining a li.G value (such as         Step 3
the change in Gibbs free energy for primer dimer formation)          Repeat step 1 again for the new alignment (FIGS. 33E and
or an interaction score that indicates the likelihood of dimer    33F).
formation between candidate primers are described below.          Step 4
In some embodiments, a thermodynamic Nearest-Neighbors 5             After aligning all possible alignments between the two
approach is used to calculate the likelihood of dimer for-        primers, determine the final li.G value and the interaction
mation between any two primers (see, e.g., Rahmann and            score.
Grafe (2004), "Mean and variance of the Gibbs free energy            In some embodiments, the li.G value for a combination of
of oligonucleotides in the nearest neighbor model under           primers is the lowest li.G value (the lowest numerical value,
varying conditions" Bioinformatics 20, 2928-2933; Allawi, 10 which is indicative of the greatest likelihood of primer dimer
H. T. & SantaLucia, J., Jr. (1998), "Thermodynamics of            formation) out of the li.G values for all possible alignments
Internal C-T Mismatches in DNA", Nucleic Acids Res. 26,           between the two primers. For example, if one alignment has
2694-2701; Peyret, N., Seneviratne, P.A., Allawi, H. T. &         a li.G value of -12 kcal/mo! and another alignment has a li.G
SantaLucia, J., Jr. (1999), "Nearest-Neighbor Thermody-           value of -2 kcal/mo! then -12 kcal/mo! (worse value) is
namics and NMR of DNA Sequences with Internal A-A, 15 used as the li.G value for that combination of primers.
C-C, G-G, and T-T Mismatches", Biochemistry 38, 3468-                For algorithms such as the one in Example 16 in which it
3477; Allawi, H. T. & SantaLucia, J., Jr. (1998), "Nearest-       is easiest to rank primers based on assigning the worse
Neighbor Thermodynamics of Internal A-C Mismatches in             combination of primers (those with the greatest likelihood of
DNA: Sequence Dependence and pH Effects", Biochemistry            dimer formation) the highest interaction score, then the
37, 9435-9444.; Allawi, H. T. & SantaLucia, J., Jr. (1998), 20 interaction score can be calculated as follows.
"Nearest Neighbor Thermodynamic Parameters for Internal
                                                                          Interaction score~max(-1 *L\.G value)
G-A Mismatches in DNA", Biochemistry 37, 2170-2179;
and Allawi, H. T. & SantaLucia, J., Jr. (1997), "Thermody-           For example, if one alignment has a li.G value of -12
namics and NMR of Internal G-T Mismatches in DNA",                kcal/mo! and another alignment has a li.G value of -2
Biochemistry 36, 10581-10594; MultiPLX 2.1 (Kaplinski L, 25 kcal/mo!, then 12 kcal/mo! is used as the interaction score.
Andreson R, Puurand T, Remm M. MultiPLX: automatic                In this case, the interaction score with the largest numerical
grouping and evaluation of PCR primers. Bioinformatics.           positive number indicates the least desirable combination of
2005 Apr. 15; 21(8):1701-2, which are each hereby incor-          primers due to the greatest likelihood of primer dimer
porated by reference in its entirety).                            formation.
   In some embodiments, the following steps are performed. 30        In some embodiments, the interaction score is calculated
Step 1                                                            as follows (this score weights the li.G values depending on
   For each primer in a set of candidate primers, compare to      the number of ends that a dimer can be extended by PCR).
every other candidate primer in the following way. Imple-
                                                                          interaction_score~max(-deltaG_2,0. 8* (-deltaG_l))
ment an ungapped thermodynamic alignment between the
two primers, matching the 5' end of the first primer to the 3' 35    where
end of the second primer. Taking the first two bases (dinucle-       deltaG_2=Gibbs energy (energy required to break the
otide) that align to the other primer and vice versa, deter-      dimer) for a dimer that is extensible by PCR on both ends,
mine the li.H and li.S values for the dinucleotide in one         i.e., the 3' end of each primer anneals to the other primer; and
primer hybridizing to the dinucleotide in the other primer           deltaG_l =Gibbs energy for a dimer that is extensible by
(see the "AT" hybridizing to "GA" in FIG. 33A). li.H and li.S 40 PCR on at least one end.
values for various combinations of dinucleotides are known           In some embodiments, deltaG_2 is determined by per-
and can be determined, for example, using a thermodynamic         forming steps 1-4 above for all the alignments in which a
look up table (such as the Unified NN model parameters            dimer is extensible by PCR on both ends. The deltaG_2
according to Allawi and SantaLucia (1997) "Thermodynam-           value is the lowest li.G value (the lowest numerical value,
ics and NMR of internal G-T mismatches in DNA". Bio- 45 which is indicative of the greatest likelihood of primer dimer
chemistry, 36: 10581-10594, which is hereby incorporated          formation) for all the alignments in which a dimer is
by reference in its entirety). Use the li.H and li.S values to    extensible by PCR on both ends.
calculate li.G for that interaction as follows or as described       In some embodiments, deltaG_l is determined by per-
in any known equation for this.                                   forming steps 1-4 above for all the alignments in which a
                                                               50 dimer is extensible by PCR on at least one end (such as by
       L\.G~(l000.0*/l,Jl-(temperature*(M+0.368*(num-             PCR on one end or by PCR on both ends). The deltaG_l
           Phosphates/2)*log(saltConcentration))))/1000.0
                                                                  value is the lowest li.G value (the lowest numerical value,
   In some embodiments, one or more of the following              which is indicative of the greatest likelihood of primer dimer
conditions are assumed for this calculation: temperature: of      formation) for all the alignments in which a dimer is
60.0° C., primer concentration of 100 nM, or salt concen- 55 extensible by PCR on at least one end.
tration of 100 mM. In some embodiments, other conditions             In some embodiments, possible loop structures or gaps in
are assumed for this calculation, such as the conditions that     alignment between primers are also considered.
will be used for multiplex PCR with the pool. Iterate over the       In some embodiments, li.G values from step 4 for each
remainder of the primer that aligns with the other primer by      possible combination of two primers (each possible primer
sliding the bases being observing one base to the right. 60 dimer) in a library are all equal to or greater than -20, -18,
Continue until li.G has been calculated for all dinucleotides     -16, -14, -12, -10, -9, -8, -7, -6, -5, -4, -3, -2, or -1
that align (FIG. 33B). The li.G for that alignment of the         kcal/mo!. In some embodiments, li.G values from step 4 for
primer pair is the sum of the li.G values for the various         at least 80, 85, 90, 92, 94, 96, 98, 99, or 100% of the primers
dinucleotides.                                                    in the library for possible combinations of that primer with
Step 2                                                         65 other primers in the library are all equal to or greater than
   Shift the alignment of the two primers (FIGS. 33C and          -20,-18,-16,-14,-12,-10,-9,-8,-7,-6,-5,-4,-3,-2,
33D).                                                             or -1 kcal/mo!. In some embodiments, possible combina-




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tions of two primers in a library that have positive li.G values dimers is between 0.5 to 60%, such as between 0.1 to 40%,
are ignored since these values are indicative of no likelihood   0.1 to 20%, 0.25 to 20%, 0.25 to 10%, 0.5 to 20%, 0.5 to
to for primer dimers. In some embodiments for the possible       10%, 1 to 20%, or 1 to 10%, inclusive. In some embodi-
combination of two primers in a library that have negative       ments, the primers simultaneously amplify (or are capable of
li.G values, the li.G values are between -20 and 0 kcal/mo!, 5 simultaneously amplifying) the target loci in one reaction
such as between -15 and 0 kcal/mo!, -10 and 0 kcal/mo!, -8       volume such that at least 50, 60, 70, 80, 90, 95, 96, 97, 98,
and 0 kcal/mo!, - 7 and 0 kcal/mo!, -6 and 0 kcal/mo!, -5.5      99, or 99.5% of the amplified products are target amplicons.
and 0 kcal/mo!, -5 and 0 kcal/mo!, -4.5 and 0 kcal/mo!, -4       In various embodiments, the amount of amplified products
and 0 kcal/mo!, -3.5 and 0 kcal/mo!, -3 and 0 kcal/mo!, -2.5     that are target amplicons is between 50 to 99.5%, such as
and 0 kcal/mo!, -2 and 0 kcal/mo!, or -1.5 and 0 kcal/mo!, 10 between 60 to 99%, 70 to 98%, 80 to 98%, 90 to 99.5%, or
inclusive.                                                       95 to 99.5%, inclusive. In some embodiments, the primers
    In some embodiments, the interaction scores from step 4      simultaneously amplify (or are capable of simultaneously
for each possible combination of two primers in a library are    amplifying) the target loci in one reaction volume such that
all equal to or less than 20, 18, 16, 14, 12, 10, 9, 8, 7, 6, 5, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the
4, 3, 2, or 1 kcal/mo!. In some embodiments, the interaction 15 target loci are amplified. In various embodiments, the
scores from step 4 for at least 80, 85, 90, 92, 94, 96, 98, 99,  amount target loci that are amplified is between 50 to 99 .5%,
or 100% of the primers in the library for possible combi-        such as between 60 to 99%, 70 to 98%, 80 to 99%, 90 to
nations of that primer with other primers in the library are all 99.5%, 95 to 99.9%, or 98 to 99.99% inclusive. In some
equal to or less than 20, 18, 16, 14, 12, 10, 9, 8, 7, 6, 5, 4,  embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,
3, 2, or 1 kcal/mo!. In some embodiments, possible combi- 20 or 99 .5% of the target loci are amplified at least 5, 10, 20,
nation of two primers in a library that have negative inter-     40, 50, 60, 80, 100, 120, 150, 200, 300, or 400-fold. In some
action scores are ignored since these values are indicative of   embodiments, the library of primers includes at least 25; 50;
no likelihood to for primer dimers. In some embodiments for      75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
the possible combination of two primers in a library that        15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
have positive interaction scores, the interaction scores are 25 40,000; 50,000; 75,000; or 100,000 primer pairs, wherein
between 20 and 0 kcal/mo!, such as between 15 and 0              each pair of primers includes a forward test primer and a
kcal/mo!, 10 and 0 kcal/mo!, 8 and 0 kcal/mo!, 7 and 0           reverse test primer where each pair oftest primers hybridize
kcal/mo!, 6 and 0 kcal/mo!, 5.5 and 0 kcal/mo!, 5 and 0          to a target locus. In some embodiments, the library of
kcal/mo!, 4.5 and 0 kcal/mo!, 4 and 0 kcal/mo!, 3.5 and 0        primers includes at least 25; 50; 75; 100; 300; 500; 750;
kcal/mo!, 3 and 0 kcal/mo!, 2.5 and 0 kcal/mo!, 2 and 0 30 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
kcal/mo!, or 1.5 and 0 kcal/mo!, inclusive.                      25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
    In some embodiments, the score (such as the undesirabil-     100,000 individual primers that each hybridize to a different
ity score) for candidate primers is based at least in part on    target locus, wherein the individual primers are not part of
the li.G value or the interaction score that indicates the       primer pairs.
likelihood of dimer formation between candidate primers as 35       In some embodiments, the library includes primers (such
calculated using any of these methods.                           as at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;
Exemplary Primer Libraries                                       5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
    In one aspect, the invention features libraries of primers,  27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
such as primers selected from a library of candidate primers     different primers or different primer pairs) that simultane-
using any of the methods of the invention. In some embodi- 40 ously amplify (or are capable of simultaneously amplifying)
ments, the library includes primers that simultaneously          the target loci (such as at least 25; 50; 75; 100; 300; 500;
hybridize (or are capable of simultaneously hybridizing) to      750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;
or that simultaneously amplify (or are capable of simulta-       20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;
neously amplifying) at least 25; 50; 75; 100; 300; 500; 750;     75,000; or 100,000 different target loci) in one reaction
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 45 volume such that one or more of the following: (i) less than
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or       60, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or 0.5% of the
100,000 different target loci in one reaction volume. In         amplified products are primer dimers, (ii) at least 50, 60, 70,
various embodiments, the library includes primers that           80, 90, 95, 96, 97, 98, 99, or 99.5% of the amplified products
simultaneously amplify (or are capable of simultaneously         are target amplicons, (iii) at least 50, 60, 70, 80, 90, 95, 96,
amplifying) between 1,000 to 2,000; 2,000 to 5,000; 5,000 50 97, 98, 99, or 99.5% of the target loci are amplified, (iv) at
to 7,500; 7,500 to 10,000; 10,000 to 20,000; 20,000 to           least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the
25,000; 25,000 to 30,000; 30,000 to 40,000; 40,000 to            target loci are amplified at least 5, 10, 20, 40, 50, 60, 80, 100,
50,000; 50,000 to 75,000; or 75,000 to 100,000 different         120, 150, 200, 300, or 400-fold, (v) at least 60, 70, 80, 90,
target loci in one reaction volume, inclusive. In various        95, 96, 97, 98, 99, 99.5, or 100% of the amplified products
embodiments, the library includes primers that simultane- 55 map to the human genome, or (vi) any combination thereof.
ously amplify (or are capable of simultaneously amplifying)         In some embodiments, the library includes at least 1,000
between 1,000 to 100,000 different target loci in one reaction   different primers or different primer pairs (such as at least
volume, such as between 1,000 to 50,000; 1,000 to 30,000;        2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
1,000 to 20,000; 1,000 to 10,000; 2,000 to 30,000; 2,000 to      25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
20,000; 2,000 to 10,000; 5,000 to 30,000; 5,000 to 20,000; 60 100,000 different primers or different primer pairs) that
or 5,000 to 10,000 different target loci, inclusive. In some     simultaneously amplify (or are capable of simultaneously
embodiments, the library includes primers that simultane-        amplifying) at least 1,000 different target loci (such as at
ously amplify (or are capable of simultaneously amplifying)      least 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
the target loci in one reaction volume such that less than 60,   25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or 0.5% of the 65 100,000 different target loci) in one reaction volume such
amplified products are primer dimers. The various embodi-        that one or more of the following: (i) less than 60% of the
ments, the amount of amplified products that arc primer          amplified products arc primer dimers and at least 40% of the




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amplified products are target amplicons, (ii) less than 40% of    cons, or amplified target loci) is achieved after greater than
the amplified products are primer dimers and at least 60% of      or equal to 5, 10, 20, 30, 40, 50, or 60 cycles of PCR are
the amplified products are target amplicons, (iii) less than      performed. In some embodiments for a library that amplifies
20% of the amplified products are primer dimers and at least      human target loci, at least 60, 70, 80, 90, 95, 96, 97, 98, 99,
80% of the amplified products are target amplicons, (iv) less 5 99.5, or 100% of the amplified products map to the human
than 10% of the amplified products are primer dimers and at       genome.
least 90% of the amplified products are target amplicons, or         In various embodiments, the concentration of each primer
(v) less than 5% of the amplified products are primer dimers      is less than 100, 75, 50, 25, 20, 10, 5, 2, 1, 0.5, 0.1, or 0.05
and at least 95% of the amplified products are target ampli-      nM, or less than 500, 100, 10, or 1 uM. In various embodi-
cons. In some embodiments for the amplification of nucleic 10 ments, the concentration of each primer is between 1 uM to
acids (such as DNA or RNA) from a single cell (such as a          100 nM, such as between 1 uM to 1 nM, 1 to 75 nM, 1 to
fetal or embryonic cell), the library includes at least 1,000     20 nM, 1 to 10 nM, 2 to 50 nM or 5 to 50 nM, inclusive. In
different primers or different primer pairs (such as at least     some embodiments, the concentration of one or more uni-
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;              versal primers is between 0.2 to 3 µM, such as between 0.5
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 15 and 2.5 µM, 0.5 to 1 µM, or 1 to 2.5 µM per primer,
100,000 different primers or different primer pairs) that         inclusive, and the concentration of each primer except the
simultaneously amplify (or are capable of simultaneously          universal primer(s) is between 1 uM to 100 nM, such as
amplifying) at least 1,000 different target loci (such as at      between 1 uM to 1 nM, 1 to 75 nM, 1 to 20 nM, 1 to 10 nM,
least 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;        2 to 50 nM or 5 to 50 nM, inclusive. In various embodi-
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 20 ments, the GC content of the primers is between 30 to 80%,
100,000 different target loci) in one reaction volume such        such as between 20 to 70%, 40 to 70%, or 50 to 60%,
that one or more of the following: (i) less than 60% of the       inclusive. In some embodiments, the range of GC content of
amplified products are primer dimers and at least 10% of the      the primers is less than 30, 20, 10, or 5%. In some embodi-
amplified products are target amplicons, (ii) less than 40% of    ments, the range of GC content of the primers is between 5
the amplified products are primer dimers and at least 10% of 25 to 30%, such as 5 to 20% or 5 to 10%, inclusive. In some
the amplified products are target amplicons, (iii) less than      embodiments, there is a high GC content in the 3' end of the
20% of the amplified products are primer dimers and at least      primers. In some embodiments, there are at least 2 (such as
10% of the amplified products are target amplicons, (iv) less     3, 4, or 5) guanines or cytosines in the last 5 bases at the 3'
than 10% of the amplified products are primer dimers and at       end of the primers. In some embodiments, there are at least
least 10% of the amplified products are target amplicons, (v) 30 1 (such as 2 or 3) guanines or cytosines in the last 3 bases
less than 5% of the amplified products are primer dimers and      at the 3' end of the primers. In some embodiments, a
at least 15% of the amplified products are target amplicons;      maximum of 2 (such as 2, 1, or 0) bases in the last 5 bases
(vi) less than 60% of the amplified products are primer           at the 3' end of the primers are guanines or cytosines. In
dimers and at least 20% of the amplified products are target      some embodiments, a maximum of 1 (such as 1 or 0) base
amplicons, (vii) less than 40% of the amplified products are 35 in the last 5 bases at the 3' end of the primers is a guanine
primer dimers and at least 20% of the amplified products are      or cytosine. In some embodiments, the maximum length of
target amplicons, (viii) less than 20% of the amplified           a homopolymer (the same base in a row) in the primers is 12,
products are primer dimers and at least 20% of the amplified      10, 8, 6, 5, 4, 3, or 2 consecutive nucleotides. In some
products are target amplicons, (ix) less than 10% of the          embodiments, the melting temperature (Tm) of the test
amplified products are primer dimers and at least 20% of the 40 primers is between 40 to 80° C., such as 50 to 70° C., 55 to
amplified products are target amplicons, (x) less than 5% of      65° C., 54 to 60.5° C., or 57 to 60.5° C., inclusive. In some
the amplified products are primer dimers and at least 20% of      embodiments, the Tm is calculated using the Primer3 pro-
the amplified products are target amplicons; (xi) less than       gram (libprimer3 release 2.2.3) using the built-in SantaLucia
60% of the amplified products are primer dimers and at least      parameters       (the      World       Wide         Web        at
40% of the amplified products are target amplicons, (xii) less 45 primer3.sourceforge.net). In some embodiments, the range
than 40% of the amplified products are primer dimers and at       of melting temperature of the primers is less than 15, 10, 5,
least 40% of the amplified products are target amplicons,         3, or 1° C. In some embodiments, the range of melting
(xiii) less than 20% of the amplified products are primer         temperature of the primers is between 1 to 15° C., such as
dimers and at least 40% of the amplified products are target      between 1 to 10° C., 1 to 5° C., or 1 to 3° C., inclusive. In
amplicons, (xiv) less than 10% of the amplified products are 50 some embodiments, the range of melting temperatures of at
primer dimers and at least 40% of the amplified products are      least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;
target amplicons, (xv) less than 5% of the amplified products     7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
are primer dimers and at least 45% of the amplified products      28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or all of
are target amplicons; (xvi) less than 40% of the amplified        the primers is between 1 to 15° C., such as between 1 to 10°
products are primer dimers and at least 60% of the amplified 55 C., 1 to 5° C., 1 to 3° C., 2 to 5° C., 3 to 10° C., or 3 to 5°
products are target amplicons, (xvii) less than 20% of the        C., inclusive. In some embodiments, the length of the
amplified products are primer dimers and at least 80% of the      primers is between 15 to 100 nucleotides, such as between
amplified products are target amplicons, (xviii) less than        15 to 75 nucleotides, 15 to 40 nucleotides, 17 to 35 nucleo-
10% of the amplified products are primer dimers and at least      tides, 18 to 30 nucleotides, 20 to 65 nucleotides, inclusive.
90% of the amplified products are target amplicons, or 60 In some embodiments, the range of the length of the primers
(xviiii) less than 5% of the amplified products are primer        is less than 50, 40, 30, 20, 10, or 5 nucleotides. In some
dimers and at least 95% of the amplified products are target      embodiments, the range of the length of the primers is
amplicons. In some embodiments, at least 50, 60, 70, 80, 90,      between 5 to 50 nucleotides, such as 5 to 40 nucleotides, 5
95, 96, 97, 98, 99, or 99.5% of the target loci are amplified     to 20 nucleotides, or 5 to 10 nucleotides, inclusive. In some
at least 5, 10,20,40, 50, 60, 80,100,120, 150,200,300,or 65 embodiments, the length of the target amplicons is between
400-fold. In some embodiments, one or more of these               50 and 100 nucleotides, such as between 60 and 80 nucleo-
embodiments (e.g., percent of primer dimers, target amp Ii-       tides, or 60 to 75 nucleotides, inclusive. In some cmbodi-




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ments, the length of the target amplicons is between 30 and         27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
400 nucleotides, such as between 30 and 200 nucleotides, or         non-identical primers) with a polynucleotide sequence that
100 and 400 nucleotides, inclusive. In some embodiments,            is not found in a human (such as a universal primer, a primer
the length of the target amplicons is at least 100; 200; 300;       that comprises a region or consists entirely of random
400; 500; 600; 700; 800; 900; 1,000; 1,200; 1,500; 2,000; or        nucleotides, or a primer with a region such as a tag or
3,000 nucleotides. In some embodiments, the length of the           barcode of one or more nucleotides that are not found in a
target amplicons is between 100 and 1,500 nucleotides, such         human or are not found in nature as part of the polynucle-
as between 100 to 1,000; 100 to 500, 500 to 750, or 750 to          otide sequence of the primer). In some embodiments, at least
1,000 nucleotides, inclusive. Longer amplicons may be               one primer (e.g., at least 25; 50; 75; 100; 300; 500; 750;
desirable, e.g., for applications in which is it desirable to 10 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
screen for multiple potential mutations in one amplicon,            25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
such as carrier screening. In some embodiments, one round           100,000 non-identical primers) includes a region of one or
of PCR is performed to produce relatively long amplicons            more nucleotides that is not naturally part of the primer
(such as at least 250 or 500 nucleotides in length) and then        sequence (such as a region added to the 5' end of the target
a second round of PCR is performed to produce shorter 15 specific sequence in the primer or an internal region added
amplicons (to amplify regions within the amplicons ampli-           between the 5' and 3' ends of the primer). In some embodi-
fied in the first round of PCR, such as regions of less than        ments, the primer is free of the nucleic acids (such as genes)
200 or 100 nucleotides in length). In some embodiments, the         which, in the naturally-occurring genome of the organism
range of the length of the target amplicons is less than 50, 25,    from which the nucleic acid of the invention is derived, flank
15, 10, or 5 nucleotides. In some embodiments, the range of 20 the gene. In some embodiments, the primer has been sepa-
the length of the target amplicons is between 5 to 50               rated from one or more components that naturally accom-
nucleotides, such as 5 to 25 nucleotides, 5 to 15 nucleotides,      pany the corresponding sequence in nature (such as in the
or 5 to 10 nucleotides, inclusive. In some embodiments, at          genome of a human). Typically, each primer is at least 90,
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;          95, 98, 99, 99.9, or 100%, by weight, free from the mol-
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 25 ecules (such as proteins, nucleic acids, and naturally-occur-
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 or all of        ring organic molecules) that naturally accompany the cor-
the target amplicons have a length that falls within the range      responding sequence in nature (such as in the genome of a
of the average length of the amplicons±5% of the average            human). Purity can be assayed by any appropriate method,
length, average length±20%, average length±20%, or aver-            e.g., by electrophoresis or HPLC analysis.
age length±30%, or average length±50%.                           30     In some embodiments, the primers in the library are not
   In some embodiments, library includes at least at least 25;      immobilized (such as not immobilized to a solid support) or
50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;             not part of a microarray. In some embodiments, the primers
10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;             are dissolved in solution (such as dissolved in the liquid
30,000; 40,000; 50,000; 75,000; or 100,000 different prim-          phase). In some embodiments, the library comprises a
ers that each includes a target specific sequence, such as a 35 microarray. In some embodiments, the amplified products
sequence that binds a target locus but does not substantially       are detected using an array, such as an array with probes to
bind to other nucleic acids (such as non-target loci) in a          one or more chromosomes of interest (e.g., chromosome 13,
sample, e.g., a biological sample, which naturally includes         18, 21, X, Y, or any combination thereof).
other nucleic acids. In some embodiments, each primer                   In some embodiments, at least one of the primers (such as
binds and amplifies a target locus by at least 2, 4, 6, 8, 10, 40 at least 20, 40, 80, 90, 95, 98, 99, 99.5, or 100% of the
20, 50-fold or more than one or more (or all) other nucleic         primers) in a library are nucleic acid analogs that have a
acids (such as non-target loci) in a sample. In some embodi-        lower likelihood of primer dimerization compared to the
ments, the library includes at least 25; 50; 75; 100; 300; 500;     naturally-occurring nucleic acids (see, e.g., U.S. Pat. Nos.
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;            7,414,118 and 6,001,611; which are each hereby incorpo-
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 45 rated by reference in its entirety). Exemplary nucleic acid
75,000; or 100,000 different target specific primers (e.g.,         analogs have a modified pyrimidine nucleobase, or a purine
primers that are specific for a target locus). In some embodi-      or pyrimidine base that contains an exocyclic amine.
ments, part or all of the polynucleotide sequence is a                  In some embodiments, the primer library includes a small
non-random sequence for at least 25; 50; 75; 100; 300; 500;         number of primers (such as less than 5, 2, 1, or 0.5% of the
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 50 primers in the library) that do not have one or more of the
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;             properties described herein. In various embodiments, at least
75,000; or 100,000 different primers in the library. In some        80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of the primers in
embodiments, library also includes a universal primer, a            the library have one or more of the following properties: (i)
random primer, and a primer with a non-naturally occurring          li.G values for possible combinations of that primer with
polynucleotide sequence, or a primer with a polynucleotide 55 other primers in the library are all equal to or greater than
sequence not naturally found in a human in some embodi-             -20,-18,-16,-14,-12,-10,-9,-8,-7,-6,-5,-4,-3,-2,
ments, the universal or random primer has a non-naturally           or -1 kcal/mo!; (ii) li.G values for the possible combination
occurring polynucleotide sequence or a polynucleotide               of that primer with other primers in the library that have
sequence not naturally found in a human.                            negative li.G are between -20 and 0 kcal/mo!, such as
   In some embodiments, the composition includes at least 60 between -15 and 0 kcal/mo!, -10 and 0 kcal/mo!, -8 and 0
one primer (e.g., at least 25; 50; 75; 100; 300; 500; 750;          kcal/mo!, -7 and 0 kcal/mo!, -6 and 0 kcal/mo!, -5.5 and 0
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;         kcal/mo!, -5 and 0 kcal/mo!, -4.5 and 0 kcal/mo!, -4 and 0
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or          kcal/mo!, -3.5 and 0 kcal/mo!, -3 and 0 kcal/mo!, -2.5 and
100,000 non-identical primers) with a polynucleotide                0 kcal/mo!, -2 and 0 kcal/mo!, or -1.5 and 0 kcal/mo!,
sequence of a human nucleic acid and at least one primer 65 inclusive; (iii) the GC content is between 30 to 80%, such as
(e.g., at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;       between 20 to 70%, 40 to 70%, or 50 to 60%, inclusive; (iv)
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;               the range of GC content is less than 30, 20, 10, or 5% or the




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range of GC content of the primers is between 5 to 30%,            or 15° C. greater than the highest melting temperature of the
such as 5 to 20%, or 5 to 10%, inclusive; (v) a maximum of         primers; (xxxi) the annealing temperature is at least 1, 2, 3,
2 (such as 2, 1, or 0) bases in the last 5 bases at the 3' end     4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater than the
of the primers are guanines or cytosines; (vi) the melting         average melting temperature of the primers, (xxxii) the
temperature (Tm) of the primers is between 40 to 80° C., 5 annealing temperature is between 1 and 15° C. (such as
such as 50 to 70° C., 55 to 65° C., 54 to 60.5° C., or 57 to       between 1 to 10, 1 to 5, 1 to 3, 3 to 5, 5 to 10, 5 to 8, 8 to
60.5° C., inclusive; (vii) the range of melting temperature of     10, 10 to 12, or 12 to 15° C., inclusive) greater than the
the primers is less than 15, 10, 5, 3, or 1° C.; (viii) the range  average melting temperature of the primers; and (xxviii) any
of melting temperature of the primers is between 1 to 15° C.,      combination thereof. In various embodiments, at least 80,
such as between 1 to 10° C., 1 to 5° C., 1 to 3° C., 2 to 5° 10 90, 95, 96, 97, 98, 99, 99.5, or 100% of the primers in the
C., 3 to 10° C., or 3 to 5° C., inclusive; (ix) the length of the  library have one or more of the following properties: (i) llG
primers is between 15 to 100 nucleotides, such as between          values for possible combinations of that primer with other
15 to 75 nucleotides, 15 to 40 nucleotides, 17 to 35 nucleo-       primers in the library are all equal to or greater than -20,
tides, 18 to 30 nucleotides, or 20 to 65 nucleotides, inclu-       -18, -16, -14, -12, -10, -9, -8, -7, -6, -5, -4, -3, -2,or
sive; (x) the range of the length of the primers is less than 15 -1 kcal/mo!; (ii) llG values for the possible combination of
50, 40, 30, 20, 10, or 5 nucleotides; (xi) the range of the        that primer with other primers in the library that have
length of the primers is between 5 to 50 nucleotides, such as      negative llG are between -20 and 0 kcal/mo!, such as
5 to 40 nucleotides, 5 to 20 nucleotides, or 5 to 10 nucleo-       between -15 and 0 kcal/mo!, -10 and 0 kcal/mo!, -8 and 0
tides, (xii) the length of the target amplicons is between 50      kcal/mo!, -7 and 0 kcal/mo!, -6 and 0 kcal/mo!, -5.5 and 0
and 100 nucleotides, such as between 60 and 80 nucleotides, 20 kcal/mo!, -5 and 0 kcal/mo!, -4.5 and 0 kcal/mo!, -4 and 0
or 60 to 75 nucleotides; (xiii) the length of the target           kcal/mo!, -3.5 and 0 kcal/mo!, -3 and 0 kcal/mo!, -2.5 and
amplicons is between 30 and 400 nucleotides, such as               0 kcal/mo!, -2 and 0 kcal/mo!, or -1.5 and 0 kcal/mo!,
between 30 and 200 nucleotides, or 100 and 400 nucleotides;        inclusive; (iii) the melting temperature (Tm) of the primers
(xiv) the range of the length of the target amplicons is less      is between 40 to 80° C., such as 50 to 70° C., 55 to 65° C.,
than 50, 25, 15, 10, or 5 nucleotides; (xv) the range of the 25 54 to 60.5° C., or 57 to 60.5° C., inclusive; (iv) the range of
length of the target amplicons is between 5 to 50 nucleotides,     melting temperature of the primers is less than 15, 10, 5, 3,
such as 5 to 25 nucleotides, 5 to 15 nucleotides, or 5 to 10       or 1° C.; (v) the range of melting temperature of the primers
nucleotides; (xvi) the maximum length of a homopolymer in          is between 1 to 15° C., such as between 1 to 10° C., 1 to 5°
the primers is 12, 10, 8, 6, 5, 4, 3, or 2 consecutive             C., 1 to 3° C., 2 to 5° C., 3 to 10° C., or 3 to 5° C., inclusive;
nucleotides; (xvii) the concentration of each primer is less 30 (vi) the length of the target amplicons is between 50 and 100
than 100, 75, 50, 25, 20, 10, 5, 2, 1, 0.5, 0.1, or 0.05 nM, or    nucleotides, such as between 60 and 80 nucleotides, or 60 to
less than 500, 100, 10, or 1 uM; (xviii) the concentration of      75 nucleotides; (vii) the length of the target amplicons is
each primer is between 1 uM to 100 nM, such as between 1           between 30 and 400 nucleotides, such as between 30 and
uM to 1 nM, 1 to 75 nM, 1 to 20 nM, 1 to 10 nM, 2 to 50            200 nucleotides, or 100 and 400 nucleotides; (viii) the range
nM, or 5 to 50 nM, inclusive; (xix) at least 80, 90, 92, 94, 35 of the length of the target amplicons is less than 50, 25, 15,
96, 98, 99, or 100% of the molecules of that primer are            10, or 5 nucleotides; (ix) the range of the length of the target
extended to form amplified products; (xx) SNPs (if any) are        amplicons is between 5 to 50 nucleotides, such as 5 to 25
not in the last 5 nucleotides in the 3' end of the candidate       nucleotides, 5 to 15 nucleotides, or 5 to 10 nucleotides; (x)
primer; (xxi) the target bases (the bases of interest in a target  the concentration of each primer is less than 100, 75, 50, 25,
locus) are near an end (the 3' or 5' end) of the amplicon; 40 20, 10, 5, 2, 1, 0.5, 0.1, or 0.05 nM, or less than 500, 100,
(xxii) the region of hybridization is separated from the           10, or 1 uM; (xi) the concentration of each primer is between
polymorphic site by a small number of bases, where the             1 uM to 100 nM, such as between 1 uM to 1 nM, 1 to 7 5 nM,
small number is selected from the group consisting of 1, 2,        1 to 20 nM, 1 to 10 nM, 2 to 50 nM, or 5 to 50 nM, inclusive;
3, 4, 5, 6 to 10, 11 to 15, 16 to 20, 21 to 25, 26 to 30, and      (xii) the annealing temperature is at least 1, 2, 3, 4, 5, 6, 7,
31 to 60; (xxiii) the length of the annealing step is greater 45 8, 9, 10, 11, 12, 13, or 15° C. greater than the melting
than 1, 3, 5, 8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150, or      temperature (such as the empirically measured or calculated
180 minutes, (xxiv) the length of the annealing step (per          Tm) of the primers; (xiii) the annealing temperature is
PCR cycle) is between 5 and 180 minutes, such as 5 to 60,          between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1 to
10 to 60, 5 to 30, or 10 to 30 minutes, inclusive, (xxv) the       3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15° C.,
length of the annealing step is greater than 5 minutes (such 50 inclusive) greater than the melting temperature (such as the
greater than 10, or 15 minutes), and the concentration of          empirically measured or calculated Tm) of the primers; (xiv)
each primer is less than 20 nM, (xxvi) the length of the           the annealing temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9,
annealing step is greater than 5 minutes (such greater than        10, 11, 12, 13, or 15° C. greater than the highest melting
10, or 15 minutes), and the concentration of each primer is        temperature of the primers; (xv) the annealing temperature
between 1 to 20 nM, or 1 to 10 nM, inclusive; (xxvii) the 55 is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C.
length of the annealing step is greater than 20 minutes (such      greater than the average melting temperature of the primers,
as greater than 30, 45, 60, or 90 minutes), and the concen-        (xvi) the annealing temperature is between 1 and 15° C.
tration of each primer is less than 1 nM; (xxviii) the             (such as between 1 to 10, 1 to 5, 1 to 3, 3 to 5, 5 to 10, 5 to
annealing temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,   8, 8 to 10, 10 to 12, or 12 to 15° C., inclusive) greater than
11, 12, 13, or 15° C. greater than the melting temperature 60 the average melting temperature of the primers; and (xvii)
(such as the empirically measured or calculated Tm) of the         any combination thereof.
primers; (xxix) the annealing temperature is between 1 and            In various embodiments, at least 80, 90, 95, 96, 97, 98, 99,
15° C. (such as between 1 to 10, 1 to 5, 1 to 3, 3 to 5, 5 to      99.5, or 100% of the primers in the library have one or more
10, 5 to 8, 8 to 10, l0to 12, or 12 to 15° C., inclusive) greater  of the following properties: (i) llG values for possible
than the melting temperature (such as the empirically mea- 65 combinations of that primer with other primers in the library
sured or calculated Tm) of the primers; (xxx) the annealing        are all equal to or greater than -10 kcal/mo!, (ii) the range
temperature is at least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, ofmclting temperature of the primers is between 1 to 15° C.,




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(iii) the length of the target amplicons is between 50 and 100      than 10 minutes); and (vii) any combination thereof. In some
nucleotides, (iv) the concentration of each primer is less than     embodiments, the guanine-cytosine (GC) content of the
20 nM, (v) the length of the annealing step is greater than 5       primers is between 30% and 80%, inclusive; the range of
minutes (such as greater than 10 minutes), (vi) the length of       melting temperatures of the primers is less than 5° C.; and
the annealing step is greater than 5 minutes (such greater 5 the length of the primers is between 15 to 75 nucleotides,
than 10 minutes), and the concentration of each primer is           inclusive;
less than 20 nM, and (vii) any combination thereof. In                 In some embodiments, some (such as at least 80, 90, or
various embodiments, at least 80, 90, 95, 96, 97, 98, 99,           95%) or all of the adaptors or primers include one or more
99.5, or 100% of the primers in the library have the                linkages between adjacent nucleotides other than a natu-
following properties: (i) llG values for possible combina- 10 rally-occurring phosphodiester linkage. Examples of such
tions of that primer with other primers in the library are all      linkages include phosphoramide, phosphorothioate, and
equal to or greater than -10 kcal/mo! and (ii) the range of         phosphorodithioate linkages. In some embodiments, some
melting temperature of the primers is between 1 to 15° C. In        (such as at least 80, 90, or 95%) or all of the adaptors or
various embodiments, at least 80, 90, 95, 96, 97, 98, 99,           primers include a thiophosphate (such as a monothiophos-
99.5, or 100% of the primers in the library have the 15 phate) between the last 3' nucleotide and the second to last
following properties: (i) the length of the target amplicons is     3' nucleotide. In some embodiments, some (such as at least
between 50 and 100 nucleotides, and (ii) the concentration          80, 90, or 95%) or all of the adaptors or primers include a
of each primer is less than 20 nM. In various embodiments,          thiophosphate (such as a monothiophosphate) between the
at least 80, 90, 95, 96, 97, 98, 99, 99.5, or 100% of the           last 2, 3, 4, or 5 nucleotides at the 3' end. In some embodi-
primers in the library have the following properties: (i) the 20 ments, some (such as at least 80, 90, or 95%) or all of the
length of the target amp Ii cons is between 50 and 100              adaptors or primers include a thiophosphate (such as a
nucleotides and (ii) the length of the annealing step is greater    monothiophosphate) between at least 1, 2, 3, 4, or 5 nucleo-
than 5 minutes (such as greater than 10 minutes). In various        tides out of the last 10 nucleotides at the 3' end. In some
embodiments, at least 80, 90, 95, 96, 97, 98, 99, 99.5, or          embodiments, such primers are less likely to be cleaved or
100% of the primers in the library have the following 25 degraded, such primers may be desirable if a polymerase
properties: (i) the length of the target amplicons is between       with proof-reading ability is used (to reduce or prevent the
50 and 100 nucleotides, (ii) the length of the annealing step       polymerase from removing nucleotides from the primers). In
is greater than 5 minutes (such greater than 10 minutes), and       some embodiments, any of the embodiments involving
(iii) the concentration of each primer is less than 20 nM, and      primers with at least one linkage other than a naturally-
(vii) any combination thereof.                                   30 occurring phosphodiester linkage are used with a poly-
    In various embodiments, at least 80, 90, 95, 96, 97, 98, 99,    merase having proof-reader activity. In some embodiments,
99.5, or 100% of the primers in the library have one or more        the primers do not contain an enzyme cleavage site (such as
of the following properties: (i) the annealing temperature is       a protease cleavage site). In some embodiments, equal to or
at least 5° C. (such as at least 6, 8, or 10° C.) greater than      greater than 1, 10, 25; 50; 75; 100; 300; 500; 750; 1,000;
the melting temperature (such as the empirically measured 35 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
or calculated Tm) of the primers; (ii) the annealing tempera-       25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
ture is between 5 and 15° C., inclusive greater than the            100,000 primers in the library are non-naturally occurring
melting temperature of the primers; (iii) the annealing             nucleic acids (such nucleic acids with one or more linkages
temperature is at least 5° C. (such as at least 6, 8, or 10° C.)    between adjacent nucleotides other than a naturally-occur-
greater than the highest melting temperature of the primers; 40 ring phosphodiester linkage).
(iv) the annealing temperature is at least 5° C. (such as at           In some embodiments, the primers have any combination
least 6, 8, or 10° C.) greater than the average melting             of two or more of the aspects or embodiments disclosed
temperature of the primers, (v) the annealing temperature is        herein.
between 4 and 15° C. inclusive greater than the average                These primer libraries can be used in any of the methods
melting temperature of the primers; and (vi) any combina- 45 of the invention.
tion thereof. In various embodiments, at least 80, 90, 95, 96,         Exemplary Primers
97, 98, 99, 99.5, or 100% of the primers in the library have           The primer design methods of the invention have been
one or more of the following properties: (i) the annealing          used to generate several exemplary primer libraries to
temperature is at least 5° C. (such as at least 6, 8, or 10° C.)    human target loci. For example, the primer design methods
greater than the melting temperature (such as the empirically 50 of the invention were used to generate primer libraries. Each
measured or calculated Tm) of the primers and the length of         of these libraries is composed of three primers per target
the annealing step is greater than 5 minutes (such greater          locus for 1,200; 2,686; or 10,984 different target loci,
than 10 minutes); (ii) the annealing temperature is between         respectively. The methods of the invention can also be used
5 and 15° C., inclusive greater than the melting temperature        to generate libraries to non-human target loci.
of the primers and the length of the annealing step is greater 55      For an experiment using the 2,686-plex library for mul-
than 5 minutes (such greater than 10 minutes); (iii) the            tiplex PCR followed by sequencing, the percent of the
annealing temperature is at least 5° C. (such as at least 6, 8,     amplified products that were primer dimers was 11.13%, the
or 10° C.) greater than the highest melting temperature of the      median depth of read per target that was amplified was
primers and the length of the annealing step is greater than        799.5x coverage, the percent of amplified products that were
5 minutes (such greater than 10 minutes); (iv) the annealing 60 target amp Ii cons out of the amplified products that were not
temperature is at least 5° C. (such as at least 6, 8, or 10° C.)    primer dimers was 93.15% (this is the percent of on target
greater than the average melting temperature of the primers         reads when reads for amplified primer dimers are ignored);
and the length of the annealing step is greater than 5 minutes      the number of target loci that were not amplified (failed
(such greater than 10 minutes), (v) the annealing tempera-          assay count) was 246; the percent of target loci that were not
ture is between 4 and 15° C. inclusive greater than the 65 amplified (failed assay percentage) was 9.16%; the percent
average melting temperature of the primers and the length of        of target loci that were amplified was 90.84%; and the total
the annealing step is greater than 5 minutes (such greater          number of reads was 2,522,742. For this primer library, the




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li.G values for each possible combination of two primers           -5.46 to -5.96 kcal/mo!: 0
(each possible primer dimer) in the library are all equal to or    -5.96 to -6.46 kcal/mo!: 2
greater than -3.86 kcal/mo!. This -3.86 kcal/mo! value was         -6.46 to -6.95 kcal/mo!: 3
used as a threshold value to select candidate primers that all        The primer design methods of the invention were also
had a value equal to or greater than (more desirable than) 5 used to generate a library for -14,000 different target loci
this value from an initial library of candidate primers.           (such as amplify 13,392 different target human loci with
    For an experiment using the 10,984-plex library for            13,392 different primer pairs). For an experiment using this
multiplex PCR followed by sequencing, the percent of the           library for multiplex PCR followed by sequencing, the
amplified products that were primer dimers was 5.50%, the          percent of the amplified products that were primer dimers
median depth of read per target that was amplified was 10 was 0.56%, the median depth of read per target that was
1,286.5x coverage, the percent of amplified products that          amplified was 69.09x coverage, the percent of the amplified
were target amplicons out of the amplified products that           products that were target amplicons was 99.42%; the num-
were not primer dimers was 60.16% (this is the percent of          ber of target loci that were not amplified (failed assay count)
on target reads when reads for amplified primer dimers were        was 44; the percent of target loci that were not amplified
ignored); the number of target loci that were not amplified 15 (failed assay percentage) was 0.33%; the percent of target
(failed assay count) was 3,712; the percent of target loci that    loci that were amplified was 99.67%; and the total number
were not amplified (failed assay percentage) was 33.79%;           of reads was 7,772,454.
the percent of target loci that were amplified was 66.21 %;           The primer design methods of the invention were also
and the total number of reads was 25,372,858.                      used to generate a library composed of three primers per
    For an experiment using the 1,200-plex library for mu!- 20 target locus for 19,488 different target loci. Examples 15, 18,
tiplex PCR of a sample of only a single cell followed by           and 19 describe the use of this library. During the PCR
sequencing, the percent of the amplified products that were        amplification and sequencing of a genomic sample, 99.4-
primer dimers was 24.13%. This library has primers to              99.7% of the sequencing reads mapped to the genome, of
human target loci on chromosome 1, chromosome 21, and              those, 99.99% of the reads mapped to target loci. For plasma
the X chromosome. For chromosomes 1 and 21, the median 25 samples with 10 million sequencing reads, typically at least
depth of read per target that was amplified was 436x               19,350 of the 19,488 target loci (99.3%) were amplified and
coverage; the percent of target loci that were not amplified       sequenced. For another experiment, the percent of the ampli-
(failed assay percentage) was 32.69%; and the percent of           fied products that were primer dimers was 1.62%, the
target loci that were amplified was 67 .31 %. The total num-       median depth of read per target that was amplified was 30x
ber of reads was 808,106.                                       30 coverage; the percent of the amplified products that were
    The primer design methods of the invention were also           target amplicons was 98.15%; the number of target loci that
used to generate a library for 11,000 different target loci        were not amplified (failed assay count) was 736; the percent
(such as amplifying 10,732 different target human loci using       of target loci that were not amplified (failed assay percent-
10,732 different primer pairs). For an experiment using this       age) was 0.56%; the percent of target loci that were ampli-
library for multiplex PCR followed by sequencing, the 35 fied was 99.44%; and the total number of reads was 6,476,
percent of the amplified products that were primer dimers          975. For this 19,488-plex library, FIG. 34 is a table of the
was 14.75%, the median depth of read per target that was           percentage of reads that map to target loci for genomic DNA
amplified was 72.27x coverage, the percent of the amplified        samples and for samples of a single cell from a cell line for
products that were target amplicons was 84.32%; the num-           both mother and child samples using this primer library.
ber of target loci that were not amplified (failed assay count) 40 There was variability in the single cell data which may have
was 118; the percent of target loci that were not amplified        resulted from some dead cells being selected, which may
(failed assay percentage) was 1.10%; the percent of target         have had most of the DNA leaked out. FIG. 35 is an overlay
loci that were amplified was 98.9%; and the total number of        of depth of read for genomic and a single cell sample for
reads was 6,345,782. For this primer library, the li.G values      different SNPs. FIG. 36 is a table of the percentage ofreads
for each possible combination of two primers (each possible 45 that map to target loci for blastoceol fluid and for a single
primer dimer) in the library are all equal to or greater than      blastocyst cell. The blastoceol fluid produced no mapped
-4.28 kcal/mo!. This -4.28 kcal/mo! value was used as a            reads, possibly due to no DNA being detected. For a single
threshold value to select candidate primer that all had a value    blastocyst, 50-80% of the reads mapped to target loci. FIG.
equal to or greater than (more desirable than) this value from     37 is a graph of reference counts (counts of one allele, such
an initial library of candidate primers. For the initial candi- 50 as the "A" allele) divided by total counts for that locus for
date primers that were used to select primers for this library,    a single blastocyst cell. For this primer library, the li.G values
the following interaction cost histogram shows the number          for each possible combination of two primers (each possible
of candidate primers for each of the following ranges of li.G      primer dimer) in the library are all equal to or greater than
values. This illustrates how the values for the candidate          -3.86 kcal/mo!. This -3.86 kcal/mo! value was used as a
primers compares to the -4.28 kcal/mo! threshold value for 55 threshold value to select candidate primer that all had a value
the final library.                                                 equal to or greater than (more desirable than) this value from
0 to -0.497 kcal/mo!: 88357                                        an initial library of candidate primers.
-0.497 to -0.993 kcal/mo!: 30529                                      The primer design methods of the invention were used to
-0.993 to -1.49 kcal/mo!: 7862                                     generate a library for -28,000 different target loci (such as
-1.49 to -1.99 kcal/mo!: 2639                                   60 amplifying 27,744 different loci with 27,744 different primer
-1.99 to -2.48 kcal/mo!: 1086                                      pairs).
-2.48 to -2.98 kcal/mo!: 393                                          For multiplex PCR and sequencing of genomic DNA
-2.98 to -3.48 kcal/mo!: 148                                       samples, 99% of the sequencing reads mapped to target loci.
-3.48 to -3.97 kcal/mo!: 58                                        The number of different target human loci that were ampli-
-3.97 to -4.47 kcal/mo!: 18                                     65 fled was 23,776.
-4.47 to -4.97 kcal/mo!: 4                                            For an experiment using this library, the percent of the
-4.97 to -5.46 kcal/mo!: 3                                         amplified products that were primer dimers was 0.63%, the




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median depth of read per target that was amplified was 20x         1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 20,000; 25,000;
coverage, the percent of the amplified products that were          30,000; 40,000; or 50,000 different primers.
target amplicons was 99.33%; the number of target loci that           Percent identity in reference to nucleic acid sequences
were not amplified (failed assay count) was 3,968; the             refers to the degree of sequence identity between nucleic
percent of target loci that were not amplified (failed assay 5 acid sequences. Percent identity can be determined in vari-
percentage) was 14.29%; the percent of target loci that were       ous ways that are within the skill in the art, for instance,
amplified was 85.71%; and the total number of reads was            using publicly available computer software with the default
4,456,636. For a single cell from a cell line, between 2 and       parameters such as Smith Waterman Alignment (Smith and
8% of the reads mapped to target loci.                             Waterman J. Mo!. Biol. 147:195-7, 1981); "BestFit" (Smith
   The primer design methods of the invention were used to 10 and Waterman, Advances in Applied Mathematics, 482-489,
generate a library for -9,600 different target loci. As            1981); Basic Local Alignment Search Tool (BLAST, Alts-
described in Example 10, 7 .6 million (97%) ofreads mapped         chul, S. F., W. Gish, et al., J. Mo!. Biol. 215: 403-410, 1990;
to the genome, and 6.3 million (80%) of the reads mapped           available through the U.S. government's National Center for
to the targeted SNPs. The average depth of read was 751,           Biotechnology Information web site at the world wide web
and the median depth of read was 396. As described in 15 at ncbi.nlm.nih.gov), BLAST-2, BLAST-N, WU-BLAST,
Example 9, another experiment produced 3.7 million reads           WU-BLAST-2, ENTREZ (available through the National
mapping to the genome (94%), and of those, 2.9 million             Center for Biotechnology Information), CLUSTALW,
reads (74%) mapped to targeted SNPs with an average depth          CLUSTAL Omega, or Megalign (DNASTAR, Inc.
of read of 344 and a median depth of read of 255.                     Madison, Wis.) software. In addition, those skilled in the
   The primer design methods of the invention were used to 20 art can determine appropriate parameters for measuring
generate a library for -2,400 different target loci. As            alignment, including any algorithms needed to achieve
described in Example 12, when four portions were each              maximal alignment over the length of the sequences being
amplified with -2,400 primers, 4.5 million reads mapped to         compared. In general, the length of comparison will gener-
targeted SNPs, the average depth of read was 535 and the           ally be at least 20, 30, 40, 45, 50, or more nucleotides.
median depth of read was 412.                                   25    In some embodiments, percent identity is calculated by
   If desired, any of the results may be improved by increas-      determining the number of matched positions in aligned
ing the number of cells or the amount of nucleic acid              nucleic acid sequences, dividing the number of matched
template used for the analysis or by optimizing the condi-         positions by the total number of aligned nucleotides, and
tions. For example, if results from single cell samples are not    multiplying by 100. A matched position refers to a position
as good as desired for a particular application, a sample with 30 in which identical nucleotides occur at the same position in
more cells or more nucleic acids may be used instead (such         aligned nucleic acid sequences. The percent identity over a
as to decrease the percentage of primer dimers, increase the       particular length is determined by counting the number of
percentage of target amplicons, or increase the percentage of      matched positions over that length and dividing that number
target loci that are amplified). Samples with more nucleic         by the length followed by multiplying the resulting value by
acids have more template molecules for the primers to bind 35 100. For example, if (i) a 500-nucleotide nucleic acid target
(instead of primers binding each other and forming primer          sequence is compared to a subject nucleic acid sequence, (ii)
dimers).                                                           an alignment program presents 200 nucleotides from the
   These primer libraries or primer pools can be used in any       target sequence aligned with a region of the subject sequence
of the PCR methods of the invention. In some embodiments,          where the first and last nucleotides of that 200-nucleotide
primers from any of the primer pools are used in combina- 40 region are matches, and (iii) the number of matches over
tion with a universal primer to amplify the target loci. In        those 200 aligned nucleotides is 180, then the 500-nucleo-
some embodiments, multiple rounds of PCR are performed             tide nucleic acid target sequence contains a length of 200
in which each round of PCR uses primers from one of the            and a sequence identity over that length of 90% (i.e., 180,
primer pools and a universal primer. In some embodiments,          200x100=90).
primers from two of the primer pools are used to amplify the 45       Hybridization conditions resulting in a particular degree
target loci. In some embodiments, multiple rounds of PCR           of stringency will vary depending upon the nature of the
are performed. In some embodiments, primers from pools C           hybridization method and the composition and length of the
and B are used for the first round of PCR and then primers         hybridizing nucleic acid sequences. Generally, the tempera-
from pools A and C are used for the second of PCR. In some         ture of hybridization and the ionic strength (such as the Na+
embodiments, primers from pools C and B are used for the 50 concentration) of the hybridization buffer will determine the
first round of PCR and then primers from pools A and B are         stringency of hybridization. Calculations regarding hybrid-
used for the second of PCR.                                        ization conditions for attaining particular degrees of strin-
   In some embodiments, a region that is not specific for a        gency are discussed in Sambrook et al., (1989) Molecular
target locus (such as a tag, bar code, or universal binding        Cloning, second edition, Cold Spring Harbor Laboratory,
site) is added to one or more primers of the invention. In 55 Plainview, N.Y. (chapters 9 and 11); Nucleic Acid Hybrid-
various embodiments, the nonspecific region is added to the        ization, A Practical Approach, Ed. Hames, B. D. and Hig-
5' end of the primer, to the 3' end of the primer, or to an        gins, S. J., IRL Press, 1985; Ausubel et al. Current Protocols
internal region of the primer. In some embodiments, the            in Molecular Biology, Wiley, New York 1994; and U.S. Pat.
primers are fragments (such as fragments of at least 10, 20,       No. 8,357,488, filed May 16, 2008. In some embodiments,
30, 40, 50 or more contiguous nucleotides that are less than 60 very high stringency hybridization conditions includes an
full- length).                                                     overnight incubation at 42° C. in a solution comprising 50%
   In some embodiments, the invention provides a library of        formamide, 5xSSC (750 mM NaCl, 75 mM trisodium
primers that includes at least 10; 20; 50; 75; 100; 300; 500;      citrate), 50 mM sodium phosphate (pH 7.6), 5xDenhardt's
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 20,000;           solution, 10% dextran sulfate, and 20 µg/ml denatured,
25,000; 30,000; 40,000; or 50,000 different primers. In some 65 sheared salmon sperm DNA, followed by washing the filters
embodiments, the invention provides a library of primers           in 0.1 xSSC at about 65° C. The following is an exemplary
that includes at least 10; 20; 50; 75; 100; 300; 500; 750;         set of hybridization conditions and is not limiting:




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Very High Stringency (Detects Sequences that Share at             long read sequencing (such as sequencing using the
Least 90% Identity)                                               Moleculo Technology developed by Illumina to sequence up
   Hybridization: 5xSSC at 65° C. for 16 hours                    to 10 kb) or paired end sequencing is used to sequence part
   Wash twice: 2xSSC at room temperature for 15 minutes           or all of a recombination hotspot. Knowledge of whether or
each                                                              not a recombination event occurred can be used to determine
   Wash twice: 0.5xSSC at 65° C. for 20 minutes each              which haplotype blocks flank the hotspot. If desired, the
High Stringency (Detects Sequences that Share at Least 80%        presence of particular haplotype blocks can be confirmed
Identity)                                                         using primers specific to regions within the haplotype
   Hybridization: 5x-6xSSC at 65° C.-70° C. for 16-20             blocks. In some embodiments, it is assumed there are no
hours                                                          10 crossovers between known recombination hotspots. In some
   Wash twice: 2xSSC at room temperature for 5-20 minutes         embodiments, primers in the primer library are clustered at
each                                                              or near the ends of chromosomes. For example, such primers
   Wash twice: lxSSC at 55° C.-70° C. for 30 minutes each         can be used to determine whether or not a particular arm or
Low Stringency (Detects Sequences that Share at Least 50%         section at the end of a chromosome is present. In some
Identity)                                                      15 embodiments, primers in the primer library are clustered at
   Hybridization: 6xSSC at room temperature to 55° C. for         or near recombination hotspots and at or near the ends of
16-20 hours                                                       chromosomes.
   Wash at least twice: 2x-3xSSC at room temperature to 55°          In some embodiments, the primer library includes one or
C. for 20-30 minutes each                                         more primers (such as at least 5; 10; 50; 100; 200; 500; 750;
   These primers can be used in any of the primer libraries 20 1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
or methods of the invention.                                      40,000; or 50,000 different primers or different primer pairs)
Exemplary Primer Libraries for Detection of Recombination         that are specific for a recombination hotspot (such as a
   In some embodiments, primers in the primer library are         known human recombination hotspot) and/or are specific for
designed to determine whether or not recombination                a region near a recombination hotspot (such as within 10, 8,
occurred at one or more known recombination hotspots 25 5, 3, 2, 1, or 0.5 kb of the 5' or 3' end of a recombination
(such as crossovers between homologous human chromo-              hotspot). In some embodiments, at least 1, 5, 10, 20, 40, 60,
somes). Knowing what crossovers occurred between chro-            80, 100, or 150 different primer (or primer pairs) are specific
mosomes allows more accurate phased genetic data to be            for the same recombination hotspot, or are specific for the
determined for an individual. Recombination hotspots are          same recombination hotspot or a region near the recombi-
local regions of chromosomes in which recombination 30 nation hotspot. In some embodiments, at least 1, 5, 10, 20,
events tend to be concentrated. Often they are flanked by         40, 60, 80, 100, or 150 different primer (or primer pairs) are
"coldspots," regions of lower than average frequency of           specific for a region between recombination hotspots (such
recombination. Recombination hotspots tend to share a             as a region unlikely to have undergone recombination);
similar morphology and are approximately 1 to 2 kb in             these primers can be used to confirm the presence of
length. The hotspot distribution is positively correlated with 35 haplotype blocks (such as those that would be expected
GC content and repetitive element distribution. A partially       depending on whether or not recombination has occurred).
degenerated 13-mer motif CCNCCNTNNCCNC plays a                    In some embodiments, at least 10, 20, 30, 40, 50, 60, 70, 80,
role in some hotspot activity. It has been shown that the zinc    or 90% of the primers in the primer library are specific for
finger protein called PRDM9 binds to this motif and initiates     a recombination hotspot and/or are specific for a region near
recombination at its location. The average distance between 40 a recombination hotspot (such as within 10, 8, 5, 3, 2, 1, or
the centers of recombination hot spots is reported to be 80       0.5 kb of the 5' or 3' end of the recombination hotspot). In
kb. In some embodiments, the distance between the centers         some embodiments, the primer library is used to determine
of recombination hot spots ranges between 3 kb to 100 kb.         whether or not recombination has occurred at greater than or
Public databases include a large number of known human            equal to 5; 10; 50; 100; 200; 500; 750; 1,000; 2,000; 5,000;
recombination hotspots, such as the HUMHOT and Inter- 45 7,500; 10,000; 20,000; 25,000; 30,000; 40,000; or 50,000
national HapMap Project databases (see, for example,              different recombination hotspots (such as known human
Nishant et al., "HUMHOT: a database of human meiotic              recombination hotspots). In some embodiments, the regions
recombination hot spots," Nucleic Acids Research, 34: D25-        targeted by primers to a recombination hotspot or nearby
D28, 2006, Database issue; Mackiewicz et al., "Distribution       region are approximately evenly spread out along that
of Recombination Hotspots in the Human Genome-A 50 portion of the genome. In some embodiments, at least 1, 5,
Comparison of Computer Simulations with Real Data"                10, 20, 40, 60, 80, 100, or 150 different primer (or primer
PLoS      ONE       8(6):    e65272,      doi:10.1371/joumal.     pairs) are specific for the a region at or near the end of a
pone.0065272; and the world wide web at hapmap.ncbi.nlm-          chromosome (such as a region within 20, 10, 5, 1, 0.5, 0.1,
.nih.gov/downloads/index.html.en, which are each hereby           0.01, or 0.001 mb from the end of a chromosome). In some
incorporated by reference in its entirety).                    55 embodiments, at least 10, 20, 30, 40, 50, 60, 70, 80, or 90%
   In some embodiments, primers in the primer library are         of the primers in the primer library are specific for the a
clustered at or near recombination hotspots (such as known        region at or near the end of a chromosome (such as a region
human recombination hotspots). In some embodiments, the           within 20, 10, 5, 1, 0.5, 0.1, 0.01, or 0.001 mb from the end
corresponding amplicons are used to determine the sequence        of a chromosome). In some embodiments, at least 1, 5, 10,
within or near a recombination hotspot to determine whether 60 20, 40, 60, 80, 100, or 150 different primer (or primer pairs)
or not recombination occurred at that particular hotspot          are specific for a region within a potential microdeletion in
(such as whether the sequence of the amplicon is the              a chromosome. In some embodiments, at least 10, 20, 30, 40,
sequence expected if a recombination had occurred or the          50, 60, 70, 80, or 90% of the primers in the primer library
sequence expected if a recombination had not occurred). In        are specific for a region within a potential microdeletion in
some embodiments, primers are designed to amplify part or 65 a chromosome. In some embodiments, at least 10, 20, 30, 40,
all of a recombination hotspot (and optionally sequence           50, 60, 70, 80, or 90% of the primers in the primer library
flanking a recombination hotspot). In some embodiments,           arc specific for a recombination hotspot, a region near a




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recombination hotspot, a region at or near the end of a            known to include a chromosomal aneuoploidy is isolated,
chromosome, or a region within a potential microdeletion in        fragmented, purified and size selected.
a chromosome. In some embodiments, the primers have one               Accordingly, artificial cfDNA polynucleotide standards
or more of the properties described herein. Other embodi-          and/or controls can be made by spiking isolated polynucle-
ments are disclosed in U.S. Ser. No. 61/987,407, filed May         otide samples prepared as summarized above, into DNA
1, 2014 and 62/066,514, filed Oct. 21, 2014.                       samples known not to exhibit a chromosomal aneuploidy
Exemplary Kits                                                     and/or SNVs, at concentrations similar to those observed for
   In one aspect, the invention features a kit, such as a kit for  cfDNA in vivo, such as between, for example, 0.01 % and
amplifying target loci in a nucleic acid sample for detecting      20%, 0.1 and 15%, or 0.4 and 10% of DNA in that fluid.
deletions and/or duplications of chromosome segments or 10 These standards/controls can be used as controls for assay
entire chromosomes using any of the methods described              design, characterization, development, and/or validation,
herein). In some embodiments, the kit can include any of the       and as quality control standards during testing, such as
primer libraries of the invention. In an embodiment, the kit       cancer testing performed in a CLIA lab and/or as standards
comprises a plurality of inner forward primers and option-         included in research use only or diagnostic test kits.
ally a plurality of inner reverse primers, and optionally outer 15 Exemplary Amplicons
forward primers and outer reverse primers, where each of              In one aspect, the invention provides a composition
the primers is designed to hybridize to the region of DNA          comprising at least 100 different amplicons (e.g., at least
immediately upstream and/or downstream from one of the             300, 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
target sites (e.g., polymorphic sites) on the target chromo-       19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
some(s) or chromosome segment(s), and optionally addi- 20 50,000; 75,000; or 100,000 non-identical amplicons) in
tional chromosomes or chromosome segments. In some                 solution in one reaction volume. In some embodiments, the
embodiments, the kit includes instructions for using the           amplicons are produced from the simultaneous PCR ampli-
primer library to amplify the target loci, such as for detecting   fication of at least 100 different target loci (e.g., at least 300;
one or more deletions and/or duplications of one or more           500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
chromosome segments or entire chromosomes using any of 25 19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
the methods described herein.                                      50,000; 75,000; or 100,000 non-identical target loci) using at
   In certain embodiments, kits of the invention provide           least 100 different primers or primer pairs (e.g., at least 300;
primer pairs for detecting chromosomal aneuploidy and              500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
CNV determination, such as primer pairs for massively              19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
multiplex reactions for detecting chromosomal aneuploidy 30 50,000; 75,000; or 100,000 non-identical primers or primer
such as CNV (CoNVERGe) (Copy Number Variant Events                 pairs) in one reaction volume. In some embodiments, (i) less
Revealed Genotypically) and/or SNVs. In these embodi-              than 60% of the amplified products are primer dimers and at
ments, the kits can include between at least 100, 200, 250,        least 40% of the amplified products are target amplicons, (ii)
300, 500, 1000, 2000, 2500, 3000, 5000, 10,000, 20,000,            less than 40% of the amplified products are primer dimers
25,000, 28,000, 50,000, or 75,000 and at most 200, 250, 300, 35 and at least 60% of the amplified products are target ampli-
500, 1000, 2000, 2500, 3000, 5000, 10,000, 20,000, 25,000,         cons, (iii) less than 20% of the amplified products are primer
28,000, 50,000, 75,000, or 100,000 primer pairs that are           dimers and at least 80% of the amplified products are target
shipped together. The primer pairs can be contained in a           amplicons, (iv) less than 10% of the amplified products are
single vessel, such as a single tube or box, or multiple tubes     primer dimers and at least 90% of the amplified products are
or boxes. In certain embodiments, the primer pairs are 40 target amplicons, or (v) less than 5% of the amplified
pre-qualified by a commercial provider and sold together,          products are primer dimers and at least 95% of the amplified
and in other embodiments, a customer selects custom gene           products are target amplicons. In some embodiments, the
targets and/or primers and a commercial provider makes and         length of the target amplicons is between 50 and 100
ships the primer pool to the customer neither in one tube or       nucleotides, such as between 60 and 80 nucleotides, or 60 to
a plurality of tubes. In certain exemplary embodiments, the 45 75 nucleotides, inclusive. In some embodiments, the range
kits include primers for detecting both CNVs and SNVs,             of the length of the target amplicons is less than 50, 25, 15,
especially CNVs and SNVs known to be correlated to at              10, or 5 nucleotides. In some embodiments, the range of the
least one type of cancer.                                          length of the target amplicons is between 5 to 50 nucleotides,
   Kits for circulating DNA detection according to some            such as 5 to 25 nucleotides, 5 to 15 nucleotides, or 5 to 10
embodiments of the present invention, include standards 50 nucleotides, inclusive. In some embodiments, the composi-
and/or controls for circulating DNA detection. For example,        tion includes at least 1,000 different amplicons in solution in
in certain embodiments, the standards and/or controls are          one reaction volume; wherein the amplicons are produced
sold and optionally shipped and packaged together with             from the simultaneous PCR amplification of at least 1,000
primers used to perform the amplification reactions provided       different target human loci using at least 1,000 different
herein, such as primers for performing CoNVERGe. In 55 primers in one reaction volume; wherein (i) less than 20% of
certain embodiments, the controls include polynucleotides          the amplicons are primer dimers, and (ii) at least 80% of the
such as DNA, including isolated genomic DNA that exhibits          amplicons comprise one of the target human loci and are
one or more chromosomal aneuploidies such as CNV and/or            between 50 and 100 nucleotides in length, inclusive. In some
includes one or more SNVs. In certain embodiments, the             embodiments, the composition consists essentially of, or
standards and/or controls are called PlasmArt standards and 60 consists of one or more of the following: amplicons, primers
include polynucleotides having sequence identity to regions        (such as any of the primers disclosed herein), free
of the genome known to exhibit CNV, especially in certain          nucleotide(s ), non-human or non-naturally occurring
inherited diseases, and in certain disease states such as          enzyme(s), buffer(s), or any combination thereof.
cancer, as well as a size distribution that reflects that of          In some embodiments, a large percentage or substantially
cfDNA fragments naturally found in plasma. Exemplary 65 all of the primers used for the multiplex PCR method are
methods for making PlasmArt standards are provided in the          consumed during the PCR reaction or are removed from the
examples herein. In general, genomic DNA from a source             reaction volume after the PCR amplification. In some




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embodiments, at least 80, 90, 92, 94, 96, 98, 99, or 100% of      present at the polymorphic site) that were present in the
the primer molecules are extended to form amplified prod-         same amount (or substantially the same amount) in the
ucts. In some embodiments, for at least 80, 90, 92, 94, 96,       initial unamplified sample are also present in substantially
98, 99, or 100% of target loci, at least 80, 90, 92, 94, 96, 98,  the same amount in the PCR-amplified products. In some
99, or 100% of the primer molecules to that target loci are 5 embodiments, for at least 25; 50; 75; 100; 300; 500; 750;
extended to form amplified products. In some embodiments,         1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;
multiple cycles are performed until all or substantially all of   25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or
the primers are consumed. If desired, a higher percentage of      100,000 different targets, the target loci that is amplified the
the primers can be consumed by decreasing the initial primer      most out of these targets (which can be all of the targets or
concentration and/or increasing the number of PCR cycles 10 a subset of the targets for a library) is amplified less than
that are performed. In some embodiments, at least 80, 90,         2,000; 1,500; 1,000; 500, 400, 300, 200, 100%, 50, 20, 10,
95, 96, 97, 98, 99, or 100% of the nucleic acids in the           5, or 2% more than the target loci that is amplified the least
composition are amplicons (instead of unextended dimers).         out of these targets. In some embodiments, for at least 25;
   In one aspect, the invention provides a composition            50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
comprising at least 100 different primers or primer pairs 15 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
(e.g., at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;     30,000; 40,000; 50,000; 75,000; or 100,000 different target
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;             amplicons, the target amplicon in greatest abundance out of
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000        these target amplicons (which can be all of the target
non-identical primers or primer pairs) and at least 100           amplicons or a subset of the target amplicons produced by
different amplicons (e.g., at least 300, 500; 750; 1,000; 20 a library) is present in an amount that is less than 2,000;
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;              1,500; 1,000; 500,400,300,200, 100%, 50, 20, 10, 5, or 2%
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or        more than the target amplicon in least abundance out of
100,000 non-identical amplicons) in solution in one reaction      these target amplicons. In some embodiments, at least 25;
volume. In some embodiments, the amplicons are produced           50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
from the simultaneous PCR amplification of at least 100 25 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
different target loci (e.g., at least 25; 50; 75; 100; 300; 500;  30,000; 40,000; 50,000; 75,000; or 100,000 different target
750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;          amplicons are present in an amount that is at least 5, 10, 15,
20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;           20, 40, 50, 60, 70, 80, or 90% of the amount of the target
75,000; or 100,000 non-identical target loci) using the           amplicon in greatest abundance. In some embodiments, for
primers or primer pairs in one reaction volume. In some 30 at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;
embodiments, (i) less than 60% of the amplified products are      7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;
primer dimers and at least 40% of the amplified products are      28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
target amplicons, (ii) less than 40% of the amplified products    amplicons that are produced by multiplex PCR and then
are primer dimers and at least 60% of the amplified products      sequenced, at least 80, 90, 95, 96, 97, 98, 99, or 99.5% of the
are target amplicons, (iii) less than 20% of the amplified 35 target amplicons produce a number of sequencing reads
products are primer dimers and at least 80% of the amplified      within 20, 30, 50, or 80% above or below the mean number
products are target amplicons, (iv) less than 10% of the          of sequences for target amplicons. If desired, the uniformity
amplified products are primer dimers and at least 90% of the      can be increased by using primers with more similar primer
amplified products are target amplicons, or (v) less than 5%      lengths, target amplicon lengths, GC contents, melting tem-
of the amplified products are primer dimers and at least 95% 40 peratures, or any combination thereof. In some embodi-
of the amplified products are target amplicons. In some           ments, the uniformity can be increased by using TMAC in
embodiments, the length of the target amplicons is between        the reaction volume during amplification. In some embodi-
50 and 100 nucleotides, such as between 60 and 80 nucleo-         ments, having most or all the primers consumed in the PCR
tides, or 60 to 75 nucleotides, inclusive. In some embodi-        reaction increases the uniformity of amplification.
ments, the range of the length of the target amplicons is less 45    If desired, the uniformity in DOR can be measured using
than 50, 25, 15, 10, or 5 nucleotides. In some embodiments,       standard methods such as depth of read slope (DOR slope),
the range of the length of the target amplicons is between 5      normalized median depth of read (mnDOR), or breadth of
to 50 nucleotides, such as 5 to 25 nucleotides, 5 to 15           read (BOR). DOR slope represents the slope of the line in
nucleotides, or 5 to 10 nucleotides, inclusive. In some           the linear portion of a list of loci sorted in descending DOR
embodiments, the composition comprising at least 1,000 50 order. Closer to zero is better, as it represents a flat line. In
different primers and at least 1,000 different amplicons in       some embodiments, the uniformity in DOR can be measured
solution in one reaction volume; wherein the amplicons are        using the Percent of reads in the 90'-95 th Percentile. For this
produced from the simultaneous PCR amplification of at            measurement, the loci are sorted in descending DOR order.
least 1,000 different target human loci with the primers in       In the ideal DOR distribution, the 90-95 percentile should
one reaction volume; wherein (i) less than 20% of the 55 contain 5% of reads. The reads of all loci between the 90 th
amplicons are primer dimers, and (ii) at least 80% of the         Percentile and 95 th percentile are counted and divided by the
amplicons comprise one of the target loci and are between         total reads for all loci. In one experiment, the DOR slope
50 and 100 nucleotides in length, inclusive. In some embodi-      versus percent of reads in the 90 th -95 th percentile for all
ments, the composition consists essentially of, or consists of    samples had an R2 =0.81.
one or more of the following: amplicons, primers (such as 60         In some embodiments, the magnitude of the DOR slope is
any of the primers disclosed herein), free nucleotide(s),         less than 0.005, 0.001, 0.0005, 0.0001, 0.00005, 0.00001,
non-human or non-naturally occurring enzyme(s), buffer(s),        0.000005, or 0.000001. In some embodiments, the magni-
or any combination thereof.                                       tude of the DOR slope is between O and 0.005, such as
   In some embodiments, the amplification of different target     0.000001 to 0.005, such as between 0.000005 to 0.00001,
loci is substantially uniform. In some embodiments, target 65 0.00001 to 0.00005, 0.00005 to 0.0001, 0.0001 to 0.0005,
loci (such as nonpolymorphic target loci or polymorphic           0.0005 to 0.001, or 0.001 to 0.005, inclusive. In some
target loci that arc amplified regardless of what allele is       embodiments, the percent ofrcads in the 90 th -95 th percentile




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is between 0.2 and 9%, such as between 1 to 8%, 2 to 7%,               At high level of multiplexing, the solution may become
0.2 to 1.0%, 1 to 2%, 2 to 3%, 2 to 4%, 3 to 4%, 4 to 5%,           viscous due to the large amount of primers in solution. If the
5 to 6%, or 6 to 8%, or 7 to 9& inclusive. In some                  solution is too viscous, one can reduce the primer concen-
embodiments, the invention features a composition com-              tration to an amount that is still sufficient for the primers to
prising at least 100 different amplicons (e.g., at least 300, 5 bind the template DNA. In various embodiments, less than
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;               60,000 different primers are used and the concentration of
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;             each primer is less than 20 nM, such as less than 10 nM or
50,000; 75,000; or 100,000 non-identical amplicons) with            between 1 and 10 nM, inclusive. In various embodiments,
the magnitude of the DOR slope in any of these ranges or            more than 60,000 different primers (such as between 60,000
with a percent of reads in the 90 th -95 th percentile in any of 10
                                                                    and 120,000 different primers) are used and the concentra-
these ranges. In some embodiments, the amplification
                                                                    tion of each primer is less than 10 nM, such as less than 5
method produces at least 100 different amplicons (e.g., at
                                                                    nM or between 1 and 10 nM, inclusive.
least 300, 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;                It was discovered that the annealing temperature can
40,000; 50,000; 75,000; or 100,000 non-identical ampli- 15 optionally be higher than the melting temperatures of some
cons) with the magnitude of the DOR slope in any of these           or all of the primers (in contrast to other methods that use an
ranges or with a percent of reads in the 90th -95 th percentile     annealing temperature below the melting temperatures of the
in any of these ranges.                                             primers) (Example 25). The melting temperature (Tm) is the
Exemplary Multiplex PCR Methods                                     temperature at which one-half (50%) of a DNA duplex of an
   In one aspect, the invention features methods of ampli- 20 oligonucleotide (such as a primer) and its perfect comple-
fying target loci in a nucleic acid sample that involve (i)         ment dissociates and becomes single strand DNA. The
contacting the nucleic acid sample with a library of primers        annealing temperature (TA) is the temperature one runs the
that simultaneously hybridize to least 1,000; 2,000; 5,000;         PCR protocol at. For prior methods, it is usually 5° C. below
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;              the lowest Tm of the primers used, thus close to all possible
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different 25 duplexes are formed (such that essentially all the primer
target loci to produce a reaction mixture; and (ii) subjecting      molecules bind the template nucleic acid). While this is
the reaction mixture to primer extension reaction conditions        highly efficient, at lower temperatures there are more unspe-
(such as PCR conditions) to produce amplified products that         cific reactions bound to occur. One consequence of having
include target amplicons. In some embodiments, the method           too low a TA is that primers may amieal to sequences other
also includes determining the presence or absence of at least 30 than the true target, as internal single-base mismatches or
one target amplicon (such as at least 50, 60, 70, 80, 90, 95,       partial amiealing may be tolerated. In some embodiments of
96, 97, 98, 99, or 99 .5% of the target amplicons ). In some        the present inventions, the TA is higher than (Tm), where at
embodiments, the method also includes determining the               a given moment only a small fraction of the targets have a
sequence of at least one target amplicon (such as at least 50,      primer amiealed (such as only -1-5%). If these get extended,
60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the target 35 they are removed from the equilibrium of annealing and
amplicons ). In some embodiments, at least 50, 60, 70, 80,          dissociating primers and target (as extension increases Tm
90, 95, 96, 97, 98, 99, or 99.5% of the target loci are             quickly to above 70 C), and a new 1-5% of targets has
amplified. In some embodiments, at least 25; 50; 75; 100;           primers. Thus, by giving the reaction long time for anneal-
300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;          ing, one can get -100% of the targets copied per cycle. Thus,
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 40 the most stable molecule pairs (those with perfect DNA
50,000; 75,000; or 100,000 different target loci are amplified      pairing between the primer and the template DNA) are
at least 5, 10,20,40, 50, 60, 80,100,120, 150,200,300,or            preferentially extended to produce the correct target ampli-
400-fold. In some embodiments, at least 50, 60, 70, 80, 90,         cons. For example, the same experiment was performed with
95, 96, 97, 98, 99, 99.5, or 100% of the target loci are            57° C. as the annealing temperature and with 63° C. as the
amplified at least 5, 10, 20, 40, 50, 60, 80, 100, 120, 150, 45 annealing temperature with primers that had a melting
200, 300, or 400-fold. In various embodiments, less than 60,        temperature below 63° C. When the annealing temperature
50, 40, 30, 20, 10, 5, 4, 3, 2, 1, 0.5, 0.25, 0.1, or 0.05% of      was 57° C., the percent of mapped reads for the amplified
the amplified products are primer dimers.                           PCR products was as low as 50% (with 50% of the amplified
   In some embodiments, the method involves multiplex               products being primer-dimer). When the annealing tempera-
PCR and sequencing (such as high throughput sequencing). 50 ture was 63° C., the percentage of amplified products that
   In various embodiments, long amiealing times and/or low          were primer dimer dropped to -2%.
primer concentrations are used. In various embodiments, the            In various embodiments, the annealing temperature is at
length of the amiealing step is greater than 3, 5, 8, 10, 15, 20,   least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater
30, 45, 60, 75, 90, 120, 150, or 180 minutes. In various            than the melting temperature (such as the empirically mea-
embodiments, the length of the annealing step (per PCR 55 sured or calculated Tm) of at least 25; 50; 75; 100; 300; 500;
cycle) is between 5 and 180 minutes, such as 5 to 60, 10 to         750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000;
60, 5 to 30, or 10 to 30 minutes, inclusive. In various             20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 50,000;
embodiments, the length of the am1ealing step is greater than       75,000; 100,000; or all of the non-identical primers. In some
5 minutes (such greater than 10, or 15 minutes), and the            embodiments, the amiealing temperature is at least 1, 2, 3, 4,
concentration of each primer is less than 20 nM. In various 60 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater than the melting
embodiments, the length of the am1ealing step is greater than       temperature (such as the empirically measured or calculated
5 minutes (such greater than 10, or 15 minutes), and the            Tm) ofat least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;
concentration of each primer is between 1 to 20 nM, or 1 to         5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
10 nM, inclusive. In various embodiments, the length of the         27,000; 28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or
annealing step is greater than 20 minutes (such as greater 65 all of the non-identical primers, and the length of the
than 30, 45, 60, or 90 minutes), and the concentration of           annealing step (per PCR cycle) is greater than 1, 3, 5, 8, 10,
each primer is less than 1 nM.                                      15, 20, 30, 45, 60, 75, 90, 120, 150, or 180 minutes.




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   In various embodiments, the annealing temperature is              the non-identical primers. In some embodiments, the anneal-
between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1 to          ing temperature is between I and 15° C. (such as between 1
3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15° C.,      to 10, 1 to 5, 1 to 3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, !Oto 12,
inclusive) greater than the melting temperature (such as the         or 12 to 15° C., inclusive) greater than the average melting
empirically measured or calculated Tm) of at least 25; 50; 75; 5 temperature (such as the empirically measured or calculated
100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;              Tm) ofat least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;              5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;
40,000; 50,000; 75,000; 100,000; or all of the non-identical         27,000; 28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or
primers. In various embodiments, the annealing temperature           all of the non-identical primers, and the length of the
is between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1 10 annealing step (per PCR cycle) is between 5 and 180
to 3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15°       minutes, such as 5 to 60, IO to 60, 5 to 30, or 10 to 30
C., inclusive) greater than the melting temperature (such as         minutes, inclusive.
the empirically measured or calculated Tm) of at least 25; 50;          In some embodiments, the annealing temperature is
75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;          between 50 to 70° C., such as between 55 to 60, 60 to 65,
15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 15 or 65 to 70° C., inclusive. In some embodiments, the
40,000; 50,000; 75,000; 100,000; or all of the non-identical         annealing temperature is between 50 to 70° C., such as
primers, and the length of the annealing step (per PCR cycle)        between 55 to 60, 60 to 65, or 65 to 70° C., inclusive, and
is between 5 and 180 minutes, such as 5 to 60, 10 to 60, 5           either (i) the length of the annealing step (per PCR cycle) is
to 30, or 10 to 30 minutes, inclusive.                               greater than 3, 5, 8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150,
   In some embodiments, the annealing temperature is at 20 or 180 minutes or (ii) the length of the annealing step (per
least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater   PCR cycle) is between 5 and 180 minutes, such as 5 to 60,
than the highest melting temperature (such as the empiri-            10 to 60, 5 to 30, or 10 to 30 minutes, inclusive.
cally measured or calculated Tm) of the primers. In some                In some embodiments, one or more of the following
embodiments, the annealing temperature is at least 1, 2, 3, 4,       conditions are used for empirical measurement of Tm or are
5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater than the highest 25 assumed for calculation of Tm: temperature: of 60.0° C.,
melting temperature (such as the empirically measured or             primer concentration of 100 nM, and/or salt concentration of
calculated Tm) of the primers, and the length of the annealing       100 mM. In some embodiments, other conditions are used,
step (per PCR cycle) is greater than 1, 3, 5, 8, 10, 15, 20, 30,     such as the conditions that will be used for multiplex PCR
45, 60, 75, 90, 120, 150, or 180 minutes                             with the library. In some embodiments, 100 mM KC!, 50
   In some embodiments, the annealing temperature is 30 mM (NH4 ) 2 SO4 , 3 mM MgCl 2 , 7.5 nM of each primer, and
between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1 to          50 mM TMAC, at pH 8.1 is used. In some embodiments, the
3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15° C.,      Tm is calculated using the Primer3 program (libprimer3
inclusive) greater than the highest melting temperature (such        release 2.2.3) using the built-in SantaLucia parameters (the
as the empirically measured or calculated Tm) of the primers.        world wide web at primer3.sourceforge.net, which is hereby
In some embodiments, the annealing temperature is between 35 incorporated by reference in its entirety). For example, the
1 and 15° C. (such as between 1 to 10, 1 to 5, 1 to 3, 3 to          Tm values may be calculated using the method in Example
5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15° C., inclusive)   25. In some embodiments, the calculated melting tempera-
greater than the highest melting temperature (such as the            ture for a primer is the temperature at which half of the
empirically measured or calculated Tm) of the primers, and           primers molecules are expected to be annealed. As discussed
the length of the annealing step (per PCR cycle) is between 40 above, even at a temperature higher than the calculated
5 and 180 minutes, such as 5 to 60, 10 to 60, 5 to 30, or 10         melting temperature, a percentage of primers will be
to 30 minutes, inclusive.                                            annealed, and therefore PCR extension is possible. In some
   In some embodiments, the annealing temperature is at              embodiments, the empirically measured Tm (the actual Tm)
least 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater   is determined by using a thermostatted cell in a UV spec-
than the average melting temperature (such as the empiri- 45 trophotometer. In some embodiments, temperature is plotted
cally measured or calculated Tm) of at least 25; 50; 7 5; 100;       vs. absorbance, generating an S-shaped curve with two
300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;           plateaus. The absorbance reading halfway between the pla-
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;              teaus corresponds to Tm·
50,000; 75,000; 100,000; or all of the non-identical primers.           In some embodiments, the absorbance at 260 nm is
In some embodiments, the annealing temperature is at least 50 measured as a function of temperature on an ultrospec 2100
1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 15° C. greater than    pr UV/visible spectrophotometer (Amershambiosciences)
the average melting temperature (such as the empirically             (see, e.g., Takiya et al., "An empirical approach for thermal
measured or calculated Tm) of at least 25; 50; 75; 100; 300;         stability (Tm) prediction of PNA/DNA duplexes," Nucleic
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;                Acids Symp Ser (Oxf); (48):131-2, 2004, which is hereby
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 55 incorporated by reference in its entirety). In some embodi-
50,000; 75,000; 100,000; or all of the non-identical primers,        ments, absorbance at 260 nm is measured by decreasing the
and the length of the annealing step (per PCR cycle) is              temperature in steps of 2° C. per minute from 95 to 20° C.
greater than 1, 3, 5, 8, 10, 15, 20, 30, 45, 60, 75, 90, 120, 150,   In some embodiments, a primer and its perfect complement
or 180 minutes.                                                      (such as 2 uM of each paired oligomer) are mixed and then
   In some embodiments, the annealing temperature is 60 annealing is performed by heating the sample to 95° C.,
between 1 and 15° C. (such as between 1 to 10, 1 to 5, 1 to          keeping it there for 5 minutes, followed by cooling to room
3, 3 to 5, 5 to 10, 5 to 8, 8 to 10, 10 to 12, or 12 to 15° C.,      temperature during 30 minutes, and keeping the samples at
inclusive) greater than the average melting temperature              95° C. for at least 60 minutes.
(such as the empirically measured or calculated Tm) of at               In some embodiments, melting temperature is determined
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 65 by analyzing the data using SWIFT Tm software. In some
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;               embodiments of any of the methods of the invention, the
28,000; 30,000; 40,000; 50,000; 75,000; 100,000; or all of           method includes empirically measuring or calculating (such




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as calculating with a computer) the melting temperature for           greater than 96%, greater than 97%, greater than 98%,
at least 50, 80, 90, 92, 94, 96, 98, 99, or 100% of the primers       greater than 99%, or greater than 99 .5% DNA molecules that
in the library either before or after the primers are used for        map to targeted loci.
PCR amplification of target loci.                                        In some embodiments the detection of the target genetic
   In some embodiments, the library comprises a microarray.           material may be done in a multiplexed fashion. The number
In some embodiments, the library does not comprise a                  of genetic target sequences that may be run in parallel can
microarray.                                                           range from one to ten, ten to one hundred, one hundred to
   In some embodiments, most or all of the primers are                one thousand, one thousand to ten thousand, ten thousand to
extended to form amplified products. Having all the primers           one hundred thousand, one hundred thousand to one million,
consumed in the PCR reaction increases the uniformity of 10 or one million to ten million. Prior attempts to multiplex
amplification of the different target loci since the same or          more than 100 primers per pool have resulted in significant
similar number of primer molecules are converted to target            problems with unwanted side reactions such as primer-dimer
amplicons for each target loci. In some embodiment, at least          formation.
80, 90, 92, 94, 96, 98, 99, or 100% of the primer molecules           Targeted PCR
are extended to form amplified products. In some embodi- 15              In some embodiments, PCR can be used to target specific
ments, for at least 80, 90, 92, 94, 96, 98, 99, or 100% of            locations of the genome. In plasma samples, the original
target loci, at least 80, 90, 92, 94, 96, 98, 99, or 100% of the      DNA is highly fragmented (typically less than 500 bp, with
primer molecules to that target loci are extended to form             an average length less than 200 bp ). In PCR, both forward
amplified products. In some embodiments, multiple cycles              and reverse primers anneal to the same fragment to enable
are performed until this percentage of the primers are 20 amplification. Therefore, if the fragments are short, the PCR
consumed. In some embodiments, multiple cycles are per-               assays must amplify relatively short regions as well. Like
formed until all or substantially all of the primers are              MIPS, if the polymorphic positions are too close the poly-
consumed. If desired, a higher percentage of the primers can          merase binding site, it could result in biases in the ampli-
be consumed by decreasing the initial primer concentration            fication from different alleles.
and/or increasing the number of PCR cycles that are per- 25              Currently, PCR primers that target polymorphic regions,
formed.                                                               such as those containing SNPs, are typically designed such
   In some embodiments, the PCR methods may be per-                   that the 3' end of the primer will hybridize to the base
formed with micro liter reaction volumes, for which it can be         immediately adjacent to the polymorphic base or bases. In
harder to achieve specific PCR amplification (due to the              an embodiment of the present disclosure, the 3' ends of both
lower local concentration of the template nucleic acids) 30 the forward and reverse PCR primers are designed to
compared to nanoliter or picoliter reaction volumes used in           hybridize to bases that are one or a few positions away from
microfluidics applications. In some embodiments, the reac-            the variant positions (polymorphic sites) of the targeted
tion volume is between 1 and 60 uL, such as between 5 and             allele.
50 uL, 10 and 50 uL, 10 and 20 uL, 20 and 30 uL, 30 and                  The number of bases between the polymorphic site (SNP
40 uL, or 40 to 50 uL, inclusive.                                  35 or otherwise) and the base to which the 3' end of the primer
   In an embodiment, a method disclosed herein uses highly            is designed to hybridize may be one base, it may be two
efficient highly multiplexed targeted PCR to amplify DNA              bases, it may be three bases, it may be four bases, it may be
followed by high throughput sequencing to determine the               five bases, it may be six bases, it may be seven to ten bases,
allele frequencies at each target locus. The ability to multi-        it may be eleven to fifteen bases, or it may be sixteen to
plex more than about 50 or 100 PCR primers in one reaction 40 twenty bases. The forward and reverse primers may be
volume in a way that most of the resulting sequence reads             designed to hybridize a different number of bases away from
map to targeted loci is novel and non-obvious. One tech-              the polymorphic site.
nique that allows highly multiplexed targeted PCR to per-                PCR assay can be generated in large numbers, however,
form in a highly efficient manner involves designing primers          the interactions between different PCR assays makes it
that are unlikely to hybridize with one another. The PCR 45 difficult to multiplex them beyond about one hundred assays.
probes, typically referred to as primers, are selected by             Various complex molecular approaches can be used to
creating a thermodynamic model of potentially adverse                 increase the level of multiplexing, but it may still be limited
interactions between at least 300; at least 500; at least 750;        to fewer than 100, perhaps 200, or possibly 500 assays per
at least 1,000; at least 2,000; at least 5,000; at least 7,500; at    reaction. Samples with large quantities of DNA can be split
least 10,000; at least 20,000; at least 25,000; at least 30,000; 50 among multiple sub-reactions and then recombined before
at least 40,000; at least 50,000; at least 75,000; or at least        sequencing. For samples where either the overall sample or
100,000 potential primer pairs, or unintended interactions            some subpopulation of DNA molecules is limited, splitting
between primers and sample DNA, and then using the model              the sample would introduce statistical noise. In an embodi-
to eliminate designs that are incompatible with other the             ment, a small or limited quantity of DNA may refer to an
designs in the pool. Another technique that allows highly 55 amount below 10 µg, between 10 and 100 µg, between 100
multiplexed targeted PCR to perform in a highly efficient             µg and 1 ng, between 1 and 10 ng, or between 10 and 100
manner is using a partial or full nesting approach to the             ng. Note that while this method is particularly useful on
targeted PCR. Using one or a combination of these                     small amounts of DNA where other methods that involve
approaches allows multiplexing of at least 300, at least 800,         splitting into multiple pools can cause significant problems
at least 1,200, at least 4,000 or at least 10,000 primers in a 60 related to introduced stochastic noise, this method still
single pool with the resulting amplified DNA comprising a             provides the benefit of minimizing bias when it is run on
majority of DNA molecules that, when sequenced, will map              samples of any quantity of DNA. In these situations a
to targeted loci. Using one or a combination of these                 universal pre-amplification step may be used to increase the
approaches allows multiplexing of a large number of prim-             overall sample quantity. Ideally, this pre-amplification step
ers in a single pool with the resulting amplified DNA 65 should not appreciably alter the allelic distributions.
comprising greater than 50%, greater than 60%, greater than              In an embodiment, a method of the present disclosure can
67%, greater than 80%, greater than 90%, greater than 95%,            generate PCR products that arc specific to a large number of




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targeted loci, specifically 1,000 to 5,000 loci, 5,000 to           Highly Multiplexed PCR
10,000 loci or more than 10,000 loci, for genotyping by                Disclosed herein are methods that permit the targeted
sequencing or some other genotyping method, from limited            amplification of over a hundred to tens of thousands of target
samples such as single cells or DNA from body fluids.               sequences (e.g., SNP loci) from a nucleic acid sample such
Currently, performing multiplex PCR reactions of more than          as genomic DNA obtained from plasma. The amplified
                                                                    sample may be relatively free of primer dimer products and
5 to 10 targets presents a major challenge and is often
                                                                    have low allelic bias at target loci. If during or after
hindered by primer side products, such as primer dimers,            amplification the products are appended with sequencing
and other artifacts. When detecting target sequences using          compatible adaptors, analysis of these products can be
microarrays with hybridization probes, primer dimers and            performed by sequencing.
                                                                 10
other artifacts may be ignored, as these are not detected.             Performing a highly multiplexed PCR amplification using
However, when using sequencing as a method of detection,            methods known in the art results in the generation of primer
the vast majority of the sequencing reads would sequence            dimer products that are in excess of the desired amplification
such artifacts and not the desired target sequences in a            products and not suitable for sequencing. These can be
sample. Methods described in the prior art used to multiplex 15 reduced empirically by eliminating primers that form these
                                                                    products, or by performing in silica selection of primers.
more than 50 or 100 reactions in one reaction volume
                                                                    However, the larger the number of assays, the more difficult
followed by sequencing will typically result in more than           this problem becomes.
20%, and often more than 50%, in many cases more than                  One solution is to split the 5000-plex reaction into several
80% and in some cases more than 90% off-target sequence             lower-plexed amplifications, e.g. one hundred 50-plex or
reads.                                                           20 fifty 100-plex reactions, or to use microfluidics or even to
   In general, to perform targeted sequencing of multiple (n)       split the sample into individual PCR reactions. However, if
targets of a sample (greater than 50, greater than 100, greater     the sample DNA is limited, such as in non-invasive prenatal
than 500, or greater than 1,000), one can split the sample into     diagnostics from pregnancy plasma, dividing the sample
a number of parallel reactions that amplify one individual          between multiple reactions should be avoided as this will
target. This has been performed in PCR multiwell plates or 25 result in bottlenecking.
can be done in commercial platforms such as the FLU-                   Described herein are methods to first globally amplify the
IDIGM ACCESS ARRAY (48 reactions per sample in                      plasma DNA of a sample and then divide the sample up into
microfluidic chips) or DROPLET PCR by RAIN DANCE                    multiple multiplexed target enrichment reactions with more
TECHNOLOGY (100 s to a few thousands of targets).                   moderate numbers of target sequences per reaction. In an
Unfortunately, these split-and-pool methods are problematic 30 embodiment, a method of the present disclosure can be used
for samples with a limited amount of DNA, as there is often         for preferentially enriching a DNA mixture at a plurality of
not enough copies of the genome to ensure that there is one         loci, the method comprising one or more of the following
copy of each region of the genome in each well.                     steps: generating and amplifying a library from a mixture of
   This is an especially severe problem when polymorphic            DNA where the molecules in the library have adaptor
loci are targeted, and the relative proportions of the alleles 35 sequences ligated on both ends of the DNA fragments,
at the polymorphic loci are needed, as the stochastic noise         dividing the amplified library into multiple reactions, per-
introduced by the splitting and pooling will cause very             forming a first round of multiplex amplification of selected
poorly accurate measurements of the proportions of the              targets using one target specific "forward" primer per target
alleles that were present in the original sample of DNA.            and one or a plurality of adaptor specific universal "reverse"
Described here is a method to effectively and efficiently 40 primers. In an embodiment, a method of the present disclo-
amplify many PCR reactions that is applicable to cases              sure further includes performing a second amplification
where only a limited amount of DNA is available. In an              using "reverse" target specific primers and one or a plurality
embodiment, the method may be applied for analysis of               of primers specific to a universal tag that was introduced as
single cells, body fluids, mixtures of DNA such as the free         part of the target specific forward primers in the first round.
floating DNA found in maternal plasma, biopsies, environ- 45 In an embodiment, the method may involve a fully nested,
mental and/or forensic samples.                                     hemi-nested, semi-nested, one sided fully nested, one sided
   In an embodiment, the targeted sequencing may involve            hemi-nested, or one sided semi-nested PCR approach. In an
one, a plurality, or all of the following steps. a) Generate and    embodiment, a method of the present disclosure is used for
amplify a library with adaptor sequences on both ends of            preferentially enriching a DNA mixture at a plurality ofloci,
DNA fragments. b) Divide into multiple reactions after 50 the method comprising performing a multiplex preamplifi-
library amplification. c) Generate and optionally amplify a         cation of selected targets for a limited number of cycles,
library with adaptor sequences on both ends of DNA frag-            dividing the product into multiple aliquots and amplifying
ments. d) Perform 1000- to 10,000-plex amplification of             subpools of targets in individual reactions, and pooling
selected targets using one target specific "Forward" primer         products of parallel subpools reactions. Note that this
per target and one tag specific primer. e) Perform a second 55 approach could be used to perform targeted amplification in
amplification from this product using "Reverse" target spe-         a manner that would result in low levels of allelic bias for
cific primers and one (or more) primer specific to a universal      50-500 loci, for 500 to 5,000 loci, for 5,000 to 50,000 loci,
tag that was introduced as part of the target specific forward      or even for 50,000 to 500,000 loci. In an embodiment, the
primers in the first round. f) Perform a 1000-plex preampli-        primers carry partial or full length sequencing compatible
fication of selected target for a limited number of cycles. g) 60 tags.
Divide the product into multiple aliquots and amplify sub-             The workflow may entail (1) extracting DNA such as
pools of targets in individual reactions (for example, 50 to        plasma DNA, (2) preparing fragment library with universal
500-plex, though this can be used all the way down to               adaptors on both ends of fragments, (3) amplifying the
singleplex. h) Pool products of parallel subpools reactions.        library using universal primers specific to the adaptors, (4)
i) During these amplifications primers may carry sequencing 65 dividing the amplified sample "library" into multiple ali-
compatible tags (partial or full length) such that the products     quots, (5) performing multiplex (e.g. about 100-plex, 1,000,
can be sequenced.                                                   or 10,000-plcx with one target specific primer per target and




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a tag-specific primer) amplifications on aliquots, (6) pooling      lent of 500-1000 original molecules per target locus. There
aliquots of one sample, (7) barcoding the sample, (8) mixing        are a number of ways of increasing the number of distinct
the samples and adjusting the concentration, (9) sequencing         measurements, for example increasing the sample volume.
the sample. The workflow may comprise multiple sub-steps            Each manipulation applied to the sample also potentially
that contain one of the listed steps (e.g. step (2) of preparing    results in losses of material. It is essential to characterize
the library step could entail three enzymatic steps (blunt          losses incurred by various manipulations and avoid, or as
ending, dA tailing and adaptor ligation) and three purifica-        necessary improve yield of certain manipulations to avoid
tion steps). Steps of the workflow may be combined, divided         losses that could degrade performance of the test.
up or performed in different order (e.g. bar coding and                In an embodiment, it is possible to mitigate potential
pooling of samples).                                             10 losses in subsequent steps by amplifying all or a fraction of
   It is important to note that the amplification of a library      the original sample (e.g., cfDNA sample). Various methods
can be performed in such a way that it is biased to amplify         are available to amplify all of the genetic material in a
short fragments more efficiently. In this manner it is possible     sample, increasing the amount available for downstream
to preferentially amplify shorter sequences, e.g. mono-             procedures. In an embodiment, ligation mediated PCR (LM-
nucleosomal DNA fragments as the cell free fetal DNA (of 15 PCR) DNA fragments are amplified by PCR after ligation of
placental origin) found in the circulation of pregnant              either one distinct adaptors, two distinct adapters, or many
women. Note that PCR assays can have the tags, for example          distinct adaptors. In an embodiment, multiple displacement
sequencing tags, (usually a truncated form of 15-25 bases).         amplification (MDA) phi-29 polymerase is used to amplify
   After multiplexing, PCR multiplexes of a sample are              all DNA isothermally. In DOP-PCR and variations, random
pooled and then the tags are completed (including bar 20 priming is used to amplify the original material DNA. Each
coding) by a tag-specific PCR (could also be done by                method has certain characteristics such as uniformity of
ligation). Also, the full sequencing tags can be added in the       amplification across all represented regions of the genome,
same reaction as the multiplexing. In the first cycles targets      efficiency of capture and amplification of original DNA, and
may be amplified with the target specific primers, subse-           amplification performance as a function of the length of the
quently the tag-specific primers take over to complete the 25 fragment.
SQ-adaptor sequence. The PCR primers may carry no tags.                In an embodiment LM-PCR may be used with a single
The sequencing tags may be appended to the amplification            heteroduplexed adaptor having a 3-prime tyrosine. The
products by ligation.                                               heteroduplexed adaptor enables the use of a single adaptor
   In an embodiment, highly multiplex PCR followed by               molecule that may be converted to two distinct sequences on
evaluation of amplified material by clonal sequencing may 30 5-prime and 3-prime ends of the original DNA fragment
be used for various applications such as the detection of fetal     during the first round of PCR. In an embodiment, it is
aneuploidy. Whereas traditional multiplex PCRs evaluate up          possible to fractionate the amplified library by size separa-
to fifty loci simultaneously, the approach described herein         tions, or products such as AMPURE, TASS or other similar
may be used to enable simultaneous evaluation of more than          methods. Prior to ligation, sample DNA may be blunt ended,
50 loci simultaneously, more than 100 loci simultaneously, 35 and then a single adenosine base is added to the 3-prime end.
more than 500 loci simultaneously, more than 1,000 loci             Prior to ligation the DNA may be cleaved using a restriction
simultaneously, more than 5,000 loci simultaneously, more           enzyme or some other cleavage method. During ligation the
than 10,000 loci simultaneously, more than 50,000 loci              3-prime adenosine of the sample fragments and the comple-
simultaneously, and more than 100,000 loci simultaneously.          mentary 3-prime tyrosine overhang of adaptor can enhance
Experiments have shown that up to, including and more than 40 ligation efficiency. The extension step of the PCR amplifi-
10,000 distinct loci can be evaluated simultaneously, in a          cation may be limited from a time standpoint to reduce
single reaction, with sufficiently good efficiency and speci-       amplification from fragments longer than about 200 bp,
ficity to make non-invasive prenatal aneuploidy diagnoses           about 300 bp, about 400 bp, about 500 bp or about 1,000 bp.
and/or copy number calls with high accuracy. Assays may be          Since longer DNA found in the maternal plasma is nearly
combined in a single reaction with the entirety of a sample 45 exclusively maternal, this may result in the enrichment of
such as a cfDNA sample isolated from maternal plasma, a             fetal DNA by 10-50% and improvement of test performance.
fraction thereof, or a further processed derivative of the          A number of reactions were run using conditions as specified
cfDNA sample. The sample (e.g., cfDNA or derivative) may            by commercially available kits; the resulted in successful
also be split into multiple parallel multiplex reactions. The       ligation of fewer than 10% of sample DNA molecules. A
optimum sample splitting and multiplex is determined by 50 series of optimizations of the reaction conditions for this
trading off various performance specifications. Due to the          improved ligation to approximately 70%.
limited amount of material, splitting the sample into mul-          Mini-PCR
tiple fractions can introduce sampling noise, handling time,           The following Mini-PCR method is desirable for samples
and increase the possibility of error. Conversely, higher           containing short nucleic acids, digested nucleic acids, or
multiplexing can result in greater amounts of spurious 55 fragmented nucleic acids, such as cfDNA. Traditional PCR
amplification and greater inequalities in amplification both        assay design results in significant losses of distinct fetal
of which can reduce test performance.                               molecules, but losses can be greatly reduced by designing
   Two crucial related considerations in the application of         very short PCR assays, termed mini-PCR assays. Fetal
the methods described herein are the limited amount of              cfDNA in maternal serum is highly fragmented and the
original sample (e.g., plasma) and the number of original 60 fragment sizes are distributed in approximately a Gaussian
molecules in that material from which allele frequency or           fashion with a mean of 160 bp, a standard deviation of 15 bp,
other measurements are obtained. If the number of original          a minimum size of about 100 bp, and a maximum size of
molecules falls below a certain level, random sampling              about 220 bp. The distribution of fragment start and end
noise becomes significant, and can affect the accuracy of the       positions with respect to the targeted polymorphisms, while
test. Typically, data of sufficient quality for making non- 65 not necessarily random, vary widely among individual tar-
invasive prenatal aneuploidy diagnoses can be obtained if           gets and among all targets collectively and the polymorphic
measurements arc made on a sample comprising the cquiva-            site of one particular target locus may occupy any position




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from the start to the end among the various fragments              use a partial nesting approach where one or both of the
originating from that locus. Note that the term mini-PCR           second round primers overlap the first binding sites extend-
may equally well refer to normal PCR with no additional            ing internally some number of bases to achieve additional
restrictions or limitations.                                       specificity while minimally increasing in the total assay size.
   During PCR, amplification will only occur from template            In an embodiment, a multiplex pool of PCR assays are
DNA fragments comprising both forward and reverse primer           designed to amplify potentially heterozygous SNP or other
sites. Because fetal cfDNA fragments are short, the likeli-        polymorphic or non-polymorphic loci on one or more chro-
hood of both primer sites being present the likelihood of a        mosomes and these assays are used in a single reaction to
fetal fragment of length L comprising both the forward and         amplify DNA. The number of PCR assays may be between
reverse primers sites is ratio of the length of the amplicon to 10
                                                                   50 and 200 PCR assays, between 200 and 1,000 PCR assays,
the length of the fragment. Under ideal conditions, assays in
                                                                   between 1,000 and 5,000 PCR assays, or between 5,000 and
which the amplicon is 45, 50, 55, 60, 65, or 70 bp will
                                                                   20,000 PCR assays (50 to 200-plex, 200 to 1,000-plex, 1,000
successfully amplify from 72%, 69%, 66%, 63%, 59%, or
56%, respectively, of available template fragment mol-             to  5,000-plex, 5,000 to 20,000-plex, more than 20,000-plex
ecules. The amplicon length is the distance between the 15 respectively). In an embodiment, a multiplex pool of about
5-prime ends of the forward and reverse priming sites.             10,000 PCR assays (10,000-plex) are designed to amplify
Amplicon length that is shorter than typically used by those       potentially heterozygous SNP loci on chromosomes X, Y,
known in the art may result in more efficient measurements         13, 18, and 21 and 1 or 2 and these assays are used in a single
of the desired polymorphic loci by only requiring short            reaction to amplify cfDNA obtained from a material plasma
sequence reads. In an embodiment, a substantial fraction of 20 sample, chorion villus samples, amniocentesis samples,
the amplicons should be less than 100 bp, less than 90 bp,         single or a small number of cells, other bodily fluids or
less than 80 bp, less than 70 bp, less than 65 bp, less than 60    tissues, cancers, or other genetic matter. The SNP frequen-
bp, less than 55 bp, less than 50 bp, or less than 45 bp.          cies of each locus may be determined by clonal or some
   Note that in methods known in the prior art, short assays       other method of sequencing of the amplicons. Statistical
such as those described herein are usually avoided because 25 analysis of the allele frequency distributions or ratios of all
they are not required and they impose considerable con-            assays may be used to determine if the sample contains a
straint on primer design by limiting primer length, annealing      trisomy of one or more of the chromosomes included in the
characteristics, and the distance between the forward and          test. In another embodiment the original cfDNA samples is
reverse primer.                                                    split into two samples and parallel 5,000-plex assays are
   Also note that there is the potential for biased amplifica- 30 performed. In another embodiment the original cfDNA
tion if the 3-prime end of the either primer is within roughly     samples is split into n samples and parallel (-10,000/n)-plex
1-6 bases of the polymorphic site. This single base differ-        assays are performed where n is between 2 and 12, or
ence at the site of initial polymerase binding can result in       between 12 and 24, or between 24 and 48, or between 48 and
preferential amplification of one allele, which can alter          96. Data is collected and analyzed in a similar manner to that
observed allele frequencies and degrade performance. All of 35 already described. Note that this method is equally well
these constraints make it very challenging to identify prim-       applicable to detecting translocations, deletions, duplica-
ers that will amplify a particular locus successfully and          tions, and other chromosomal abnormalities.
furthermore, to design large sets of primers that are com-            In an embodiment, tails with no homology to the target
patible in the same multiplex reaction. In an embodiment,          genome may also be added to the 3-prime or 5-prime end of
the 3' end of the inner forward and reverse primers are 40 any of the primers. These tails facilitate subsequent manipu-
designed to hybridize to a region of DNA upstream from the         lations, procedures, or measurements. In an embodiment, the
polymorphic site, and separated from the polymorphic site          tail sequence can be the same for the forward and reverse
by a small number of bases. Ideally, the number of bases           target specific primers. In an embodiment, different tails
may be between 6 and 10 bases, but may equally well be             may be used for the forward and reverse target specific
between 4 and 15 bases, between three and 20 bases, 45 primers. In an embodiment, a plurality of different tails may
between two and 30 bases, or between 1 and 60 bases, and           be used for different loci or sets of loci. Certain tails may be
achieve substantially the same end.                                shared among all loci or among subsets ofloci. For example,
   Multiplex PCR may involve a single round of PCR in              using forward and reverse tails corresponding to forward
which all targets are amplified or it may involve one round        and reverse sequences required by any of the current
of PCR followed by one or more rounds of nested PCR or 50 sequencing platforms can enable direct sequencing follow-
some variant of nested PCR. Nested PCR consists of a               ing amplification. In an embodiment, the tails can be used as
subsequent round or rounds of PCR amplification using one          common priming sites among all amplified targets that can
or more new primers that bind internally, by at least one base     be used to add other useful sequences. In some embodi-
pair, to the primers used in a previous round. Nested PCR          ments, the inner primers may contain a region that is
reduces the number of spurious amplification targets by 55 designed to hybridize either upstream or downstream of the
amplifying, in subsequent reactions, only those amplifica-         targeted locus (e.g, a polymorphic locus). In some embodi-
tion products from the previous one that have the correct          ments, the primers may contain a molecular barcode. In
internal sequence. Reducing spurious amplification targets         some embodiments, the primer may contain a universal
improves the number of useful measurements that can be             priming sequence designed to allow PCR amplification.
obtained, especially in sequencing. Nested PCR typically 60           In an embodiment, a 10,000-plex PCR assay pool is
entails designing primers completely internal to the previous      created such that forward and reverse primers have tails
primer binding sites, necessarily increasing the minimum           corresponding to the required forward and reverse sequences
DNA segment size required for amplification. For samples           required by a high throughput sequencing instrument such as
such as maternal plasma cfDNA, in which the DNA is highly          the HISEQ, GAIIX, or MYSEQ available from ILLUMINA.
fragmented, the larger assay size reduces the number of 65 In addition, included 5-prime to the sequencing tails is an
distinct cfDNA molecules from which a measurement can be           additional sequence that can be used as a priming site in a
obtained. In an embodiment, to offset this effect, one may         subsequent PCR to add nucleotide barcodc sequences to the




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amplicons, enabling multiplex sequencing of multiple             or RNA, and the targeted regions may be SNPs, other
samples in a single lane of the high throughput sequencing       polymorphic regions, non-polymorphic regions, and com-
instrument.                                                      binations thereof.
   In an embodiment, a 10,000-plex PCR assay pool is                In some embodiments, ligation mediated universal-PCR
created such that reverse primers have tails corresponding to    amplification of fragmented DNA may be used. The ligation
the required reverse sequences required by a high through-       mediated universal-PCR amplification can be used to
put sequencing instrument. After amplification with the first    amplify plasma DNA, which can then be divided into
10,000-plex assay, a subsequent PCR amplification may be         multiple parallel reactions. It may also be used to preferen-
performed using a another 10,000-plex pool having partly         tially amplify short fragments, thereby enriching fetal frac-
nested forward primers (e.g. 6-bases nested) for all targets 10
                                                                 tion. In some embodiments the addition of tags to the
and a reverse primer corresponding to the reverse sequenc-
                                                                 fragments by ligation can enable detection of shorter frag-
ing tail included in the first round. This subsequent round of
                                                                 ments, use of shorter target sequence specific portions of the
partly nested amplification with just one target specific
primer and a universal primer limits the required size of the    primers and/or annealing at higher temperatures which
assay, reducing sampling noise, but greatly reduces the 15 reduces unspecific reactions.
number of spurious amplicons. The sequencing tags can be            The methods described herein may be used for a number
added to appended ligation adaptors and/or as part of PCR        of purposes where there is a target set of DNA that is mixed
probes, such that the tag is part of the final amplicon.         with an amount of contaminating DNA. In some embodi-
   Fetal fraction affects performance of the test. There are a   ments, the target DNA and the contaminating DNA may be
number of ways to enrich the fetal fraction of the DNA 20 from individuals who are genetically related. For example,
found in maternal plasma. Fetal fraction can be increased by     genetic abnormalities in a fetus (target) may be detected
the previously described LM-PCR method already discussed         from maternal plasma which contains fetal (target) DNA and
as well as by a targeted removal oflong maternal fragments.      also maternal (contaminating) DNA; the abnormalities
In an embodiment, prior to multiplex PCR amplification of        include whole chromosome abnormalities (e.g. aneuploidy)
the target loci, an additional multiplex PCR reaction may be 25 partial chromosome abnormalities (e.g. deletions, duplica-
carried out to selectively remove long and largely maternal      tions, inversions, and translocations ), polynucleotide poly-
fragments corresponding to the loci targeted in the subse-       morphisms (e.g. STRs), single nucleotide polymorphisms,
quent multiplex PCR. Additional primers are designed to          and/or other genetic abnormalities or differences. In some
anneal a site a greater distance from the polymorphism than      embodiments, the target and contaminating DNA may be
is expected to be present among cell free fetal DNA frag- 30 from the same individual, but where the target and contami-
ments. These primers may be used in a one cycle multiplex        nating DNA are different by one or more mutations, for
PCR reaction prior to multiplex PCR of the target polymor-       example in the case of cancer. (see e.g. H. Mamon et al.
phic loci. These distal primers are tagged with a molecule or    Preferential Amplification of Apoptotic DNA from Plasma:
moiety that can allow selective recognition of the tagged        Potential for Enhancing Detection of Minor DNA Altera-
pieces of DNA. In an embodiment, these molecules of DNA 35 tions in Circulating DNA. Clinical Chemistry 54:9 (2008).
may be covalently modified with a biotin molecule that           In some embodiments, the DNA may be found in cell culture
allows removal of newly formed double stranded DNA               (apoptotic) supernatant. In some embodiments, it is possible
comprising these primers after one cycle of PCR. Double          to induce apoptosis in biological samples (e.g., blood) for
stranded DNA formed during that first round is likely            subsequent library preparation, amplification and/or
maternal in origin. Removal of the hybrid material may be 40 sequencing. A number of enabling workflows and protocols
accomplish by the used of magnetic streptavidin beads.           to achieve this end are presented elsewhere in this disclo-
There are other methods of tagging that may work equally         sure.
well. In an embodiment, size selection methods may be used          In some embodiments, the target DNA may originate from
to enrich the sample for shorter strands of DNA; for example     single cells, from samples of DNA consisting of less than
those less than about 800 bp, less than about 500 bp, or less 45 one copy of the target genome, from low amounts of DNA,
than about 300 bp. Amplification of short fragments can then     from DNA from mixed origin (e.g. pregnancy plasma:
proceed as usual.                                                placental and maternal DNA; cancer patient plasma and
   The mini-PCR method described in this disclosure              tumors: mix between healthy and cancer DNA, transplan-
enables highly multiplexed amplification and analysis of         tation etc), from other body fluids, from cell cultures, from
hundreds to thousands or even millions of loci in a single 50 culture supernatants, from forensic samples of DNA, from
reaction, from a single sample. At the same, the detection of    ancient samples of DNA (e.g. insects trapped in amber),
the amplified DNA can be multiplexed; tens to hundreds of        from other samples of DNA, and combinations thereof.
samples can be multiplexed in one sequencing lane by using          In some embodiments, a short amplicon size may be used.
barcoding PCR. This multiplexed detection has been suc-          Short amplicon sizes are especially suited for fragmented
cessfully tested up to 49-plex, and a much higher degree of 55 DNA (see e.g. A. Sikora, et sl. Detection of increased
multiplexing is possible. In effect, this allows hundreds of     amounts of cell-free fetal DNA with short PCR amplicons.
samples to be genotyped at thousands of SNPs in a single         Clin Chem. 2010 January; 56(1):136-8.)
sequencing run. For these samples, the method allows                The use of short amplicon sizes may result in some
determination of genotype and heterozygosity rate and            significant benefits. Short amplicon sizes may result in
simultaneously determination of copy number, both of 60 optimized amplification efficiency. Short amplicon sizes
which may be used for the purpose of aneuploidy detection.       typically produce shorter products, therefore there is less
This method is particularly useful in detecting aneuploidy of    chance for nonspecific priming. Shorter products can be
a gestating fetus from the free floating DNA found in            clustered more densely on sequencing flow cell, as the
maternal plasma. This method may be used as part of a            clusters will be smaller. Note that the methods described
method for sexing a fetus, and/or predicting the paternity of 65 herein may work equally well for longer PCR amplicons.
the fetus. It may be used as part of a method for mutation       Amplicon length may be increased if necessary, for
dosage. This method may be used for any amount of DNA            example, when sequencing larger sequence stretches.




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   Experiments with 146-plex targeted amplification with           other modifications are known in the literature, and may be
assays of 100 bp to 200 bp length as first step in a               made without affecting the essence of the invention. One
nested-PCR protocol were run on single cells and on                particular generalized workflow is given below followed by
genomic DNA with positive results.                                 a number of possible variants. The variants typically refer to
   In some embodiments, the methods described herein may 5 possible secondary PCR reactions, for example different
be used to amplify and/or detect SNPs, copy number,                types of nesting that may be done (step 3). It is important to
nucleotide methylation, mRNA levels, other types of RNA            note that variants may be done at different times, or in
expression levels, other genetic and/or epigenetic features.       different orders than explicitly described herein. Examples
The mini-PCR methods described herein may be used along            that use polymorphic loci for illustration can be readily
with next-generation sequencing; it may be used with other 10
                                                                   adapted for the amplification of nonpolymorphic loci if
downstream methods such as microarrays, counting by
                                                                   desired.
digital PCR, real-time PCR, Mass-spectrometry analysis etc.
                                                                      The DNA in the sample may have ligation adapters, often
   In some embodiment, the mini-PCR amplification meth-
ods described herein may be used as part of a method for           referred   to as library tags or ligation adaptor tags (LTs),
accurate quantification of minority populations. It may be 15 appended, where the ligation adapters contain a universal
used for absolute quantification using spike calibrators. It       priming sequence, followed by a universal amplification. In
may be used for mutation/minor allele quantification               an embodiment, this may be done using a standard protocol
through very deep sequencing, and may be run in a highly           designed to create sequencing libraries after fragmentation.
multiplexed fashion. It may be used for standard paternity         In an embodiment, the DNA sample can be blunt ended, and
and identity testing of relatives or ancestors, in human, 20 then an A can be added at the 3' end. A Y-adaptor with a
animals, plants or other creatures. It may be used for forensic    T-overhang can be added and ligated. In some embodiments,
testing. It may be used for rapid genotyping and copy              other sticky ends can be used other than an A or T overhang.
number analysis (CN), on any kind of material, e.g. anmiotic       In some embodiments, other adaptors can be added, for
fluid and CVS, sperm, product of conception (POC). It may          example looped ligation adaptors. In some embodiments, the
be used for single cell analysis, such as genotyping on 25 adaptors may have tag designed for PCR amplification.
samples biopsied from embryos. It may be used for rapid               Specific Target Amplification (STA): Pre-amplification of
embryo analysis (within less than one, one, or two days of         hundreds to thousands to tens of thousands and even hun-
biopsy) by targeted sequencing using min-PCR.                      dreds of thousands of targets may be multiplexed in one
   In some embodiments, it may be used for tumor analysis:         reaction volume. STA is typically run from 10 to 30 cycles,
tumor biopsies are often a mixture of health and tumor cells. 30 though it may be run from 5 to 40 cycles, from 2 to 50
Targeted PCR allows deep sequencing ofSNPs and loci with           cycles, and even from 1 to 100 cycles. Primers may be tailed,
close to no background sequences. It may be used for copy          for example for a simpler workflow or to avoid sequencing
number and loss of heterozygosity analysis on tumor DNA.           of a large proportion of dimers. Note that typically, dimers
Said tumor DNA may be present in many different body               of both primers carrying the same tag will not be amplified
fluids or tissues of tumor patients. It may be used for 35 or sequenced efficiently. In some embodiments, between 1
detection of tumor recurrence, and/or tumor screening. It          and 10 cycles of PCR may be carried out; in some embodi-
may be used for quality control testing of seeds. It may be        ments between 10 and 20 cycles of PCR may be carried out;
used for breeding, or fishing purposes. Note that any of these     in some embodiments between 20 and 30 cycles of PCR may
methods could equally well be used targeting non-polymor-          be carried out; in some embodiments between 30 and 40
phic loci for the purpose of ploidy calling.                    40 cycles of PCR may be carried out; in some embodiments
   Some literature describing some of the fundamental meth-        more than 40 cycles of PCR may be carried out. The
ods that underlie the methods disclosed herein include: (1)        amplification may be a linear amplification. The number of
Wang H Y, Luo M, Tereshchenko I V, Frikker D M, Cui X,             PCR cycles may be optimized to result in an optimal depth
Li J Y, Hu G, Chu Y, Azaro MA, Lin Y, Shen L, Yang Q,              of read (DOR) profile. Different DOR profiles may be
Kambouris M E, Gao R, Shih W, Li H. Genome Res. 2005 45 desirable for different purposes. In some embodiments, a
February; 15(2):276-83. Department of Molecular Genetics,          more even distribution of reads between all assays is desir-
Microbiology and Immunology/The Cancer Institute of New            able; if the DOR is too small for some assays, the stochastic
Jersey, Robert Wood Johnson Medical School, New Bruns-             noise can be too high for the data to be too useful, while if
wick, N.J. 08903, USA. (2) High-throughput genotyping of           the depth of read is too high, the marginal usefulness of each
single nucleotide polymorphisms with high sensitivity. Li H, 50 additional read is relatively small.
Wang H Y, Cui X, Luo M, Hu G, Greenawalt D M,                         Primer tails may improve the detection of fragmented
Tereshchenko I V, Li J Y, Chu Y, Gao R. Methods Mo! Biol.          DNA from universally tagged libraries. If the library tag and
2007; 396-PubMed PMID: 18025699. (3) A method com-                 the primer-tails contain a homologous sequence, hybridiza-
prising multiplexing of an average of 9 assays for sequenc-        tion can be improved (for example, melting temperature
ing is described in: Nested Patch PCR enables highly 55 (TM) is lowered) and primers can be extended if only a
multiplexed mutation discovery in candidate genes. Varley          portion of the primer target sequence is in the sample DNA
K E, Mitra R D. Genome Res. 2008 November; 18(11):                 fragment. In some embodiments, 13 or more target specific
1844-50. Epub 2008 Oct. 10. Note that the methods dis-             base pairs may be used. In some embodiments, 10 to 12
closed herein allow multiplexing of orders of magnitude            target specific base pairs may be used. In some embodi-
more than in the above references.                              60 ments, 8 to 9 target specific base pairs may be used. In some
Targeted PCR Variants-Nesting                                      embodiments, 6 to 7 target specific base pairs may be used.
   There are many workflows that are possible when con-            In some embodiments, STA may be performed on pre-
ducting PCR; some workflows typical to the methods dis-            amplified DNA, e.g. MDA, RCA, other whole genome
closed herein are described. The steps outlined herein are not     amplifications, or adaptor-mediated universal PCR. In some
meant to exclude other possible steps nor does it imply that 65 embodiments, STA may be performed on samples that are
any of the steps described herein are required for the method      enriched or depleted of certain sequences and populations,
to work properly. A large number of parameter variations or        e.g. by size selection, target capture, directed degradation.




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   In some embodiments, it is possible to perform secondary       more than 5,000, more than 10,000, more than 20,000, more
multiplex PCRs or primer extension reactions to increase          than 50,000, more than 100,000 or more than 200,000
specificity and reduce undesirable products. For example,         targets. In a subsequent reaction, tag-specific primers
full nesting, semi-nesting, hemi-nesting, and/or subdividing      amplify all target sequences and lengthen the tags to include
into parallel reactions of smaller assay pools are all tech- 5 all necessary sequences for sequencing, including sample
niques that may be used to increase specificity. Experiments      indexes. In an embodiment primers may not be tagged or
have shown that splitting a sample into three 400-plex            only certain primers may be tagged. Sequencing adaptors
reactions resulted in product DNA with greater specificity        may be added by conventional adaptor ligation. In an
than one 1,200-plex reaction with exactly the same primers.       embodiment, the initial primers may carry the tags.
Similarly, experiments have shown that splitting a sample 10         In an embodiment, primers are designed so that the length
into four 2,400-plex reactions resulted in product DNA with       of DNA amplified is unexpectedly short. Prior art demon-
greater specificity than one 9,600-plex reaction with exactly     strates that ordinary people skilled in the art typically design
the same primers. In an embodiment, it is possible to use         100+ bp amplicons. In an embodiment, the amplicons may
target-specific and tag specific primers of the same and          be designed to be less than 80 bp. In an embodiment, the
opposing directionality.                                       15 amplicons may be designed to be less than 70 bp. In an
   In some embodiments, it is possible to amplify a DNA           embodiment, the amplicons may be designed to be less than
sample (dilution, purified or otherwise) produced by an STA       60 bp. In an embodiment, the amplicons may be designed to
reaction using tag-specific primers and "universal amplifi-       be less than 50 bp. In an embodiment, the amplicons may be
cation", i.e. to amplify many or all pre-amplified and tagged     designed to be less than 45 bp. In an embodiment, the
targets. Primers may contain additional functional 20 amplicons may be designed to be less than 40 bp. In an
sequences, e.g. barcodes, or a full adaptor sequence neces-       embodiment, the amplicons may be designed to be less than
sary for sequencing on a high throughput sequencing plat-         35 bp. In an embodiment, the amplicons may be designed to
form.                                                             be between 40 and 65 bp.
   These methods may be used for analysis of any sample of           An experiment was performed using this protocol using
DNA, and are especially useful when the sample of DNA is 25 1200-plex amplification. Both genomic DNA and pregnancy
particularly small, or when it is a sample of DNA where the       plasma were used; about 70% of sequence reads mapped to
DNA originates from more than one individual, such as in          targeted sequences. Details are given elsewhere in this
the case of maternal plasma. These methods may be used on         document. Sequencing of a 1042-plex without design and
DNA samples such as a single or small number of cells,            selection of assays resulted in >99% of sequences being
genomic DNA, plasma DNA, amplified plasma libraries, 30 primer dimer products.
amplified apoptotic supernatant libraries, or other samples of       Sequential PCR:
mixed DNA. In an embodiment, these methods may be used               After STAI multiple aliquots of the product may be
in the case where cells of different genetic constitution may     amplified in parallel with pools of reduced complexity with
be present in a single individual, such as with cancer or         the same primers. The first amplification can give enough
transplants. In an embodiment, some of the DNA is from the 35 material to split. This method is especially good for small
recipient of a transplant (such as recipient cell-free or         samples, for example those that are about 6-100 µg, about
cellular DNA) and some of the DNA is from the donor of the        100 µg to 1 ng, about 1 ng to 10 ng, or about 10 ng to 100
transplant (such as cell-free or cellular DNA from the            ng. The protocol was performed with 1200-plex into three
transplant). In an embodiment, the method is used to amplify      400-plexes. Mapping of sequencing reads increased from
one or more loci that differ between the recipient and the 40 around 60 to 70% in the 1200-plex alone to over 95%.
donor (such as loci for which a different combination of             Semi-Nested Mini-PCR:
alleles are present in the recipient compared to the donor).         (see FIG. 2) After STA 1 a second STA is performed
In some embodiments, the recipient is homozygous for a            comprising a multiplex set of internal nested Forward prim-
first allele (such as AA) and the donor is homozygous for a       ers (103 B, 105 b) and one (or few) tag-specific Reverse
second allele (such as BB) or is heterozygous with the first 45 primers (103 A). 101 denotes double stranded DNA with a
allele and a second allele (such as AB) at one or more loci.      polymorphic locus of interest at X. 102 denotes the double
In some embodiments, the method is used to measure the            stranded DNA with ligation adaptors added for universal
absolute or relative amount of DNA from the donor of the          amplification. 103 denotes the single stranded DNA that has
transplant (such as cell-free or cellular DNA from the            been universally amplified with Forward primer B and
transplant). In some embodiments, this method is used to 50 Reverse Primer A hybridized. 104 denotes the PCR product
prognose, diagnose, detect, or monitor a transplant status or     from 103. 105 denotes the product from 104 with nested
outcome, such as transplant rejection, tolerance, non-rejec-      Forward primer b hybridized, and Reverse tag A already part
tion based allograft injury, transplant function, transplant      of the molecule from the PCR that occurred between 103
survival, chronic transplant injury, or tittering of pharmaco-    and 104. 106 denotes the final PCR product. With this
logical immunosuppression.                                     55 workflow usually greater than 95% of sequences map to the
Protocol Variants (Variants and/or Additions to the Work-         intended targets. The nested primer may overlap with the
flow Above)                                                       outer Forward primer sequence but introduces additional
   Direct multiplexed mini-PCR: Specific target amplifica-        3'-end bases. In some embodiments it is possible to use
tion (STA) of a plurality of target sequences with tagged         between one and 20 extra 3' bases. Experiments have shown
primers is shown in FIG. 1. 101 denotes double stranded 60 that using 9 or more extra 3' bases in a 1200-plex designs
DNA with a polymorphic locus of interest at X. 102 denotes        works well. As readily apparent, the primers for the second
the double stranded DNA with ligation adaptors added for          STA can alternatively be considered a multiplex set of
universal amplification. 103 denotes the single stranded          internal nested Reverse primers and one (or a few) tag-
DNA that has been universally amplified with PCR primers          specific Forward primers.
hybridized. 104 denotes the final PCR product. In some 65            Fully Nested Mini-PCR:
embodiments, STA may be done on more than 100, more                  (see FIG. 3) After STA step 1, it is possible to perform a
than 200, more than 500, more than 1,000, more than 2,000,        second multiplex PCR (or parallel m.p. PCRs of reduced




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                             97                                                                 98
complexity) with two nested primers carrying tags (A, a, B,       to be an inner primer. The designation of reverse and
b ). 101 denotes double stranded DNA with a polymorphic           forward primers may be switched. In this workflow, target
locus of interest at X. 102 denotes the double stranded DNA       specific Forward and Reverse primers are used in separate
with ligation adaptors added for universal amplification. 103     reactions, thereby reducing the complexity of the reaction
denotes the single stranded DNA that has been universally 5 and preventing dimer formation of forward and reverse
amplified with Forward primer B and Reverse Primer A              primers. This method is a big improvement on direct PCR as
hybridized. 104 denotes the PCR product from 103. 105             it is as good as direct PCR, but it avoids primer dimers. After
denotes the product from 104 with nested Forward primer b         first round of hemi nested protocol one typically sees 99%
and nested Reverse primer a hybridized. 106 denotes the           non-targeted DNA, however, after second round there is
final PCR product. In some embodiments, it is possible to 10 typically a big improvement.
use two full sets of primers. Experiments using a fully nested        One-Sided Nested Mini-PCR:
mini-PCR protocol were used to perform 146-plex amplifi-              (see FIG. 6) It is possible to use target DNA that has an
cation on single and three cells without step 102 of append-      adaptor at the fragment ends. STA may also be performed
ing universal ligation adaptors and amplifying.                   with a multiplex set of nested Forward primers and using the
    Hemi-Nested Mini-PCR:                                      15 ligation adapter tag as the Reverse primer. A second STA
    (see FIG. 4) It is possible to use target DNA that has and    may then be performed using a set of nested Forward
adaptors at the fragment ends. STA is performed comprising        primers and a universal Reverse primer. 101 denotes double
a multiplex set of Forward primers (B) and one (or few)           stranded DNA with a polymorphic locus of interest at X. 102
tag-specific Reverse primers (A). A second STA can be             denotes the double stranded DNA with ligation adaptors
performed using a universal tag-specific Forward primer and 20 added for universal amplification. 103 denotes the single
target specific Reverse primer. 101 denotes double stranded       stranded DNA that has been universally amplified with
DNA with a polymorphic locus of interest at X. 102 denotes        Forward Primer A hybridized. 104 denotes the PCR product
the double stranded DNA with ligation adaptors added for          from 103 that was amplified using Forward primer A and
universal amplification. 103 denotes the single stranded          ligation adaptor tag Reverse primer LT. 105 denotes the
DNA that has been universally amplified with Reverse 25 product from 104 with nested Forward primer a hybridized.
Primer A hybridized. 104 denotes the PCR product from 103         106 denotes the final PCR product. This method can detect
that was amplified using Reverse primer A and ligation            shorter target sequences than standard PCR by using over-
adaptor tag primer LT. 105 denotes the product from 104           lapping primers in the first and second STAs. The method is
with Forward primer B hybridized. 106 denotes the final           typically performed off a sample of DNA that has already
PCR product. In this workflow, target specific Forward and 30 undergone STA step 1 above-appending of universal tags
Reverse primers are used in separate reactions, thereby           and amplification; the two nested primers are only on one
reducing the complexity of the reaction and preventing            side, other side uses the library tag. The method was
dimer formation of forward and reverse primers. Note that         performed on libraries of apoptotic supematants and preg-
in this example, primers A and B may be considered to be          nancy plasma. With this workflow around 60% of sequences
first primers, and primers 'a' and 'b' may be considered to 35 mapped to the intended targets. Note that reads that con-
be inner primers. This method is a big improvement on             tained the reverse adaptor sequence were not mapped, so this
direct PCR as it is as good as direct PCR, but it avoids          number is expected to be higher if those reads that contain
primer dimers. After first round ofhemi nested protocol one       the reverse adaptor sequence are mapped
typically sees 99% non-targeted DNA, however, after sec-              One-Sided Mini-PCR:
ond round there is typically a big improvement. As readily 40         It is possible to use target DNA that has an adaptor at the
apparent, the primers for the first STA can be considered a       fragment ends (see FIG. 7). STA may be performed with a
multiplex set of Reverse primers and one (or few) tag-            multiplex set of Forward primers and one (or few) tag-
specific Forward primers, and the primers for the second          specific Reverse primer. 101 denotes double stranded DNA
STA can be considered a universal tag-specific Reverse            with a polymorphic locus of interest at X. 102 denotes the
primer and target specific Forward primer(s).                  45 double stranded DNA with ligation adaptors added for
    Triply Hemi-Nested Mini-PCR:                                  universal amplification. 103 denotes the single stranded
    (see FIG. 5) It is possible to use target DNA that has and    DNA with Forward Primer A hybridized. 104 denotes the
adaptor at the fragment ends. STA is performed comprising         PCR product from 103 that was amplified using Forward
a multiplex set of Forward primers (B) and one (or few)           primer A and ligation adaptor tag Reverse primer LT, and
tag-specific Reverse primers (A) and (a). A second STA can 50 which is the final PCR product. This method can detect
be performed using a universal tag-specific Forward primer        shorter target sequences than standard PCR. However it may
and target specific Reverse primer. 101 denotes double            be relatively unspecific, as only one target specific primer is
stranded DNA with a polymorphic locus of interest at X. 102       used. This protocol is effectively half of the one sided nested
denotes the double stranded DNA with ligation adaptors            mini PCR
added for universal amplification. 103 denotes the single 55          Reverse Semi-Nested Mini-PCR:
stranded DNA that has been universally amplified with                 It is possible to use target DNA that has an adaptor at the
Reverse Primer A hybridized. 104 denotes the PCR product          fragment ends (see FIG. 8). STA may be performed with a
from 103 that was amplified using Reverse primer A and            multiplex set of Forward primers and one (or few) tag-
ligation adaptor tag primer LT. 105 denotes the product from      specific Reverse primer. 101 denotes double stranded DNA
104 with Forward primer B hybridized. 106 denotes the PCR 60 with a polymorphic locus of interest at X. 102 denotes the
product from 105 that was amplified using Reverse primer          double stranded DNA with ligation adaptors added for
A and Forward primer B. 107 denotes the product from 106          universal amplification. 103 denotes the single stranded
with Reverse primer 'a' hybridized. 108 denotes the final         DNA with Reverse Primer B hybridized. 104 denotes the
PCR product. Note that in this example, primers 'a' and B         PCR product from 103 that was amplified using Reverse
may be considered to be inner primers, and A may be 65 primer B and ligation adaptor tag Forward primer LT. 105
considered to be a first primer. Optionally, both A and B may     denotes the PCR product 104 with hybridized Forward
be considered to be first primers, and 'a' may be considered      Primer A, and inner Reverse primer 'b'. 106 denotes the




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                             99                                                                 100
PCR product that has been amplified from 105 using For-            Internally Tagged Primers
ward primer A and Reverse primer 'b', and which is the final          When using sequencing to determine the allele present at
PCR product. This method can detect shorter target                 a given polymorphic locus, the sequence read typically
sequences than standard PCR.                                       begins upstream of the primer binding site (a), and then to
   There also may be more variants that are simply iterations 5 the polymorphic site (X). Tags are typically configured as
                                                                   shown in FIG. 11, left. 101 refers to the single stranded
or combinations of the above methods such as doubly nested
                                                                   target DNA with polymorphic locus of interest 'X', and
PCR, where three sets of primers are used. Another variant         primer 'a' with appended tag 'b'. In order to avoid nonspe-
is one-and-a-half sided nested mini-PCR, where STA may             cific hybridization, the primer binding site (region of target
also be performed with a multiplex set of nested Forward           DNA complementary to 'a') is typically 18 to 30 bp in
                                                                10
primers and one (or few) tag-specific Reverse primer.              length. Sequence tag 'b' is typically about 20 bp; in theory
   Note that in all of these variants, the identity of the         these can be any length longer than about 15 bp, though
Forward primer and the Reverse primer may be inter-                many people use the primer sequences that are sold by the
changed. Note that in some embodiments, the nested variant         sequencing platform company. The distance 'd' between 'a'
can equally well be run without the initial library preparation 15 and 'X' may be at least 2 bp so as to avoid allele bias. When
                                                                   performing multiplexed PCR amplification using the meth-
that comprises appending the adapter tags, and a universal
                                                                   ods disclosed herein or other methods, where careful primer
amplification step. Note that in some embodiments, addi-           design is necessary to avoid excessive primer primer inter-
tional rounds of PCR may be included, with additional              action, the window of allowable distance 'd' between 'a' and
Forward and/or Reverse primers and amplification steps;            'X' may vary quite a bit: from 2 bp to 10 bp, from 2 bp to
these additional steps may be particularly useful if it is 20 20 bp, from 2 bp to 30 bp, or even from 2 bp to more than
desirable to further increase the percent of DNA molecules         30 bp. Therefore, when using the primer configuration
that correspond to the targeted loci.                              shown in FIG. 11, left, sequence reads must be a minimum
Nesting Workflows                                                  of 40 bp to obtain reads long enough to measure the
   There are many ways to perform the amplification, with          polymorphic locus, and depending on the lengths of 'a' and
different degrees of nesting, and with different degrees of 25 'd' the sequence reads may need to be up to 60 or 75 bp.
multiplexing. In FIG. 9, a flow chart is given with some of        Usually, the longer the sequence reads, the higher the cost
the possible workflows. Note that the use of 10,000-plex           and time of sequencing a given number of reads, therefore,
PCR is only meant to be an example; these flow charts              minimizing the necessary read length can save both time and
would work equally well for other degrees of multiplexing.         money. In addition, since, on average, bases read earlier on
Looped Ligation Adaptors                                        30 the read are read more accurately than those read later on the
   When adding universal tagged adaptors for example for           read, decreasing the necessary sequence read length can also
the purpose of making a library for sequencing, there are a        increase the accuracy of the measurements of the polymor-
number of ways to ligate adaptors. One way is to blunt end         phic region.
the sample DNA, perform A-tailing, and ligate with adaptors           In an embodiment, termed internally tagged primers, the
that have a T-overhang. There are a number of other ways to 35 primer binding site (a) is split in to a plurality of segments
ligate adaptors. There are also a number of adaptors that can      (a', a", a"' ... ), and the sequence tag (b) is on a segment of
be ligated. For example, a Y-adaptor can be used where the         DNA that is in the middle of two of the primer binding sites,
adaptor consists of two strands of DNA where one strand has        as shown in FIG. 11, 103. This configuration allows the
a double strand region, and a region specified by a forward        sequencer to make shorter sequence reads. In an embodi-
primer region, and where the other strand specified by a 40 ment, a'+a" should be at least about 18 bp, and can be as long
double strand region that is complementary to the double           as 30, 40, 50, 60, 80, 100 or more than 100 bp. In an
strand region on the first strand, and a region with a reverse     embodiment, a" should be at least about 6 bp, and in an
primer. The double stranded region, when annealed, may             embodiment is between about 8 and 16 bp. All other factors
contain a T-overhang for the purpose of ligating to double         being equal, using the internally tagged primers can cut the
stranded DNA with an A overhang.                                45 length of the sequence reads needed by at least 6 bp, as much
   In an embodiment, the adaptor can be a loop of DNA              as 8 bp, 10 bp, 12 bp, 15 bp, and even by as many as 20 or
where the terminal regions are complementary, and where            30 bp. This can result in a significant money, time and
the loop region contains a forward primer tagged region            accuracy advantage. An example of internally tagged prim-
(LFT), a reverse primer tagged region (LRT), and a cleavage        ers is given in FIG. 12.
site between the two (See FIG. 10). 101 refers to the double 50 Primers with Ligation Adaptor Binding Region
stranded, blunt ended target DNA. 102 refers to the A-tailed          One issue with fragmented DNA is that since it is short in
target DNA. 103 refers to the looped ligation adaptor with T       length, the chance that a polymorphism is close to the end
overhang 'T' and the cleavage site 'Z'. 104 refers to the          of a DNA strand is higher than for a long strand (e.g. 101,
target DNA with appended looped ligation adaptors. 105             FIG. 10). Since PCR capture of a polymorphism requires a
refers to the target DNA with the ligation adaptors appended 55 primer binding site of suitable length on both sides of the
cleaved at the cleavage site. LFT refers to the ligation           polymorphism, a significant number of strands of DNA with
adaptor Forward tag, and the LRT refers to the ligation            the targeted polymorphism will be missed due to insufficient
adaptor Reverse tag. The complementary region may end on           overlap between the primer and the targeted binding site. In
a T overhang, or other feature that may be used for ligation       an embodiment, the target DNA 101 can have ligation
to the target DNA. The cleavage site may be a series of 60 adaptors appended 102, and the target primer 103 can have
uracils for cleavage by UNG, or a sequence that may be             a region (er) that is complementary to the ligation adaptor
recognized and cleaved by a restriction enzyme or other            tag (It) appended upstream of the designed binding region
method of cleavage or just a basic amplification. These            (a) (see FIG. 13); thus in cases where the binding region
adaptors can be uses for any library preparation, for              (region of 101 that is complementary to a) is shorter than the
example, for sequencing. These adaptors can be used in 65 18 bp typically required for hybridization, the region (er) on
combination with any of the other methods described herein,        the primer than is complementary to the library tag is able
for example the mini-PCR amplification methods.                    to increase the binding energy to a point where the PCR can




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                                                    US 11,519,035 B2
                            101                                                                 102
proceed. Note that any specificity that is lost due to a shorter    simultaneous amplification in one reaction volume In some
binding region can be made up for by other PCR primers              embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,
with suitably long target binding regions. Note that this           or 99.5% of the amplified products are target amplicons. In
embodiment can be used in combination with direct PCR, or           various embodiments, the amount of amplified products that
any of the other methods described herein, such as nested           are target amplicons is between 50 to 99.5%, such as
PCR, semi nested PCR, hemi nested PCR, one sided nested             between 60 to 99%, 70 to 98%, 80 to 98%, 90 to 99.5%, or
or semi or hemi nested PCR, or other PCR protocols.                 95 to 99.5%, inclusive. In some embodiments, at least 50,
   When using the sequencing data to determine ploidy in            60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the target loci
combination with an analytical method that involves com-            are amplified (e.g, amplified at least 5, 10, 20, 30, 50, or
paring the observed allele data to the expected allele distri- 10
                                                                    100-fold compared to the amount prior to amplification),
butions for various hypotheses, each additional read from
                                                                    such as by the simultaneous amplification in one reaction
alleles with a low depth of read will yield more information
                                                                    volume. In various embodiments, the amount target loci that
than a read from an allele with a high depth of read.
Therefore, ideally, one would wish to see uniform depth of          are amplified (e.g, amplified at least 5, 10, 20, 30, 50, or
read (DOR) where each locus will have a similar number of 15 100-fold compared to the amount prior to amplification) is
representative sequence reads. Therefore, it is desirable to        between 50 to 99.5%, such as between 60 to 99%, 70 to
minimize the DOR variance. In an embodiment, it is pos-             98%, 80 to 99%, 90 to 99.5%, 95 to 99.9%, or 98 to 99.99%
sible to decrease the coefficient of variance of the DOR (this      inclusive. In some embodiments, fewer non-target ampli-
may be defined as the standard deviation of the DOR/the             cons are produced, such as fewer amplicons formed from a
average DOR) by increasing the annealing times. In some 20 forward primer from a first primer pair and a reverse primer
embodiments the annealing temperatures may be longer than           from a second primer pair. Such undesired non-target ampli-
2 minutes, longer than 4 minutes, longer than ten minutes,          cons can be produced using prior amplification methods if,
longer than 30 minutes, and longer than one hour, or even           e.g., the reverse primer from the first primer pair and/or the
longer. Since annealing is an equilibrium process, there is no      forward primer from the second primer pair are degraded
limit to the improvement of DOR variance with increasing 25 and/or displaced.
annealing times. In an embodiment, increasing the primer               In some embodiments, these methods allows longer
concentration may decrease the DOR variance.                        extension times to be used since the polymerase bound to a
Exemplary Amplification Methods                                     primer being extended is less likely to degrade and/or
   Improved PCR amplification methods have also been                displace a nearby primer (such as the next downstream
developed that minimize or prevent interference due to the 30 primer) given the low 5'----;.3' exonuclease and/or low strand
amplification of nearby or adjacent target loci in the same         displacement activity of the polymerase. In various embodi-
reaction volume (such as part of the sample multiplex PCR           ments, reaction conditions (such as the extension time and
reaction that simultaneously amplifies all the target loci)         temperature) are used such that the extension rate of the
(see, U.S. Ser. No. 61/982,245, filed Apr. 21, 2014; U.S. Ser.      polymerase allows the number of nucleotides that are added
No. 61/987,407, filed May 1, 2014, and U.S. Ser. No. 35 to a primer being extended to be equal to or greater than 80,
62/066,514, filed Oct. 21, 2014, which are each hereby              90, 95, 100, 110, 120, 130, 140, 150, 175, or 200% of the
incorporated by reference in its entirety). These methods can       number of nucleotides between the 3' end of the primer
be used to simultaneously amplify nearby or adjacent target         binding site and the 5'end of the next downstream primer
loci, which is faster and cheaper than having to separate           binding site on the same strand.
nearby target loci into different reaction volumes so that they 40     In some embodiments, a DNA polymerase is used pro-
can be amplified separately to avoid interference. In par-          duce DNA amplicons using DNA as a template. In some
ticular embodiments, these methods are used to tile a region        embodiments, a RNA polymerase is used produce RNA
such that the amplicons include all the nucleotides in the          amplicons using DNA as a template. In some embodiments,
region (such as an exon or all the exons of a gene such as          a reverse transcriptase is used produce cDNA amplicons
cystic fibrosis).                                                45 using RNA as a template.
   In some embodiments, the amplification of target loci is            In some embodiments, the low level of 5'----;.3' exonuclease
performed using a polymerase (e.g., a DNA polymerase,               of the polymerase is less than 80, 70, 60, 50, 40, 30, 20, 10,
RNA polymerase, or reverse transcriptase) with low 5'----;.3'       5, 1, or 0.1 % of the activity of the same amount of Thermus
exonuclease and/or low strand displacement activity. In             aquaticus polymerase ("Taq" polymerase, which is a com-
some embodiments, the low level of 5'----;.3' exonuclease 50 monly used DNA polymerase from a thermophilic bacte-
reduces or prevents the degradation of a nearby primer (e.g.,       rium, PDB lBGX, EC 2.7.7.7, Murali et al., "Crystal
an unextended primer or a primer that has had one or more           structure of Taq DNA polymerase in complex with an
nucleotides added to during primer extension). In some              inhibitory Fab: the Fab is directed against an intermediate in
embodiments, the low level of strand displacement activity          the helix-coil dynamics of the enzyme," Proc. Natl. Acad.
reduces or prevents the displacement of a nearby primer 55 Sci. USA 95:12562-12567, 1998, which is hereby incorpo-
(e.g., an unextended primer or a primer that has had one or         rated by reference in its entirety) under the same conditions.
more nucleotides added to it during primer extension). In           In some embodiments, the low level of strand displacement
some embodiments, target loci that are adjacent to each             activity of the polymerase is less than 80, 70, 60, 50, 40, 30,
other (e.g., no bases between the target loci) or nearby (e.g.,     20, 10, 5, 1, or 0.1 % of the activity of the same amount of
loci are within 50, 40, 30, 20, 15, 10, 9, 8, 7, 6, 5, 4, 3, 2, 60 Taq polymerase under the same conditions.
or 1 base) are amplified. In some embodiments, the 3' end of           In some embodiments, the polymerase is a PUSHION
one locus is within 50, 40, 30, 20, 15, 10, 9, 8, 7, 6, 5, 4, 3,    DNA polymerase, such as PHUSION High Fidelity DNA
2, or 1 base of the 5' end of next downstream locus.                polymerase (M0530S, New England BioLabs, Inc.) or PHU-
   In some embodiments, at least 100, 200, 500, 750, 1,000;         SION Hot Start Flex DNA polymerase (M0535S, New
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 65 England BioLabs, Inc.; Frey and Suppman BioChemica.
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or          2:34-35, 1995; Chester and Marshak Analytical Biochemis-
100,000 different target loci arc amplified, such as by the         try. 209:284-290, 1993, which arc each hereby incorporated




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                                                      US 11,519,035 B2
                              103                                                                 104
by reference in its entirety). The PHUSION DNA poly-                 nucleotides, such as between 150 and 450 nucleotides, 200
merase is a Pyrococcus-like enzyme fused with a proces-              and 400 nucleotides, 200 and 300 nucleotides, or 300 and
sivity-enhancing domain.                                             400 nucleotides, inclusive.
   PHUSION DNA polymerase possesses 5'----;.3' polymerase               In some embodiments, multiple target loci are simultane-
activity and 3'----;.5' exonuclease activity, and generates blunt-5 ously amplified using a primer pair that includes a forward
ended products. PHUSION DNA polymerase lacks 5'----;.3'              and reverse primer for each target locus to be amplified in
exonuclease activity and strand displacement activity.               that reaction volume. In some embodiments, one round of
   In some embodiments, the polymerase is a Q5® DNA                  PCR is performed with a single primer per target locus, and

~il:~r;,s~;;c~:~1~~®8:ta~:i~:~J              i~~! ;r:e;;;
                                                     0
                                                                  10
                                                                     then a second round of PCR is performed with a primer pair
                                                                     per target locus. For example, the first round of PCR may be
High-Fidelity DNA Polymerase (M0493S, New England                    performed with a single primer per target locus such that all
BioLabs, Inc.). Q5® High-Fidelity DNA polymerase is a                the primers bind the same strand (such as using a forward
high-fidelity, thermostable, DNA polymerase with 3'----;.5'          primer for each target locus). This allows the PCR to amplify
exonuclease activity, fused to a processivity-enhancing 15 in a linear manner and reduces or eliminates amplification
Sso7d domain. Q5® High-Fidelity DNA polymerase lacks                 bias between amplicons due to sequence or length differ-
5'----;.3' exonuclease activity and strand displacement activity.    ences. In some embodiments, the amplicons are then ampli-
    In some embodiments, the polymerase is a T4 DNA                  fied using a forward and reverse primer for each target locus.
polymerase (M0203S, New England BioLabs, Inc.; Tabor                 Exemplary Whole Genome Amplification Methods
and Struh. (1989). "DNA-Dependent DNA Polymerases," In 20               In some embodiments, a method of the present disclosure
Ausebel et al. (Ed.), Current Protocols in Molecular Biol-           may involve amplifying DNA, such as the use of whole
ogy. 3.5.10-3.5.12. New York: John Wiley & Sons, Inc.,               genome application to amplify a nucleic acid sample before
1989; Sambrook et al. Molecular Cloning: A Laboratory                amplifying just the target loci. Amplification of the DNA, a
Manual. (2nd ed.), 5.44-5.47. Cold Spring Harbor: Cold               process which transforms a small amount of genetic material
Spring Harbor Laboratory Press, 1989, which are each 25 to a larger amount of genetic material that comprises a
hereby incorporated by reference in its entirety). T4 DNA            similar set of genetic data, can be done by a wide variety of
Polymerase catalyzes the synthesis of DNA in the 5'----;.3'          methods, including, but not limited to polymerase chain
direction and requires the presence of template and primer.          reaction (PCR). One method of amplifying DNA is whole
This enzyme has a 3'----;.5' exonuclease activity which is           genome amplification (WGA). There are a number of meth-
much more active than that found in DNA Polymerase I. T4 30 ods available for WGA: ligation-mediated PCR (LM-PCR),
DNA polymerase lacks 5'----;.3' exonuclease activity and             degenerate oligonucleotide primer PCR (DOP-PCR), and
strand displacement activity.                                        multiple displacement amplification (MDA). In LM-PCR,
    In some embodiments, the polymerase is a Sulfolobus              short DNA sequences called adapters are ligated to blunt
DNA Polymerase IV (M0327S, New England Bio Labs, Inc.;               ends of DNA. These adapters contain universal amplifica-
(Boudsocq, et al. (2001). Nucleic Acids Res., 29:4607-4616, 35 tion sequences, which are used to amplify the DNA by PCR.
2001; McDonald, et al. (2006). Nucleic Acids Res., 34:1102-          In DOP-PCR, random primers that also contain universal
1111, 2006, which are each hereby incorporated by reference          amplification sequences are used in a first round of anneal-
in its entirety). Sulfolobus DNA Polymerase IV is a ther-            ing and PCR. Then, a second round of PCR is used to
mostable Y-family lesion-bypass DNA Polymerase that effi-            amplify the sequences further with the universal primer
ciently synthesizes DNA across a variety of DNA template 40 sequences. MDA uses the phi-29 polymerase, which is a
lesions McDonald, J. P. et al. (2006). Nucleic Acids Res., 34,       highly processive and non-specific enzyme that replicates
1102-1111, which is hereby incorporated by reference in its          DNA and has been used for single-cell analysis. The major
entirety). Sulfolobus DNA Polymerase IV lacks 5'----;.3' exo-        limitations to amplification of material from a single cell are
nuclease activity and strand displacement activity.                  (1) necessity of using extremely dilute DNA concentrations
    In some embodiments, if a primer binds a region with a 45 or extremely small volume of reaction mixture, and (2)
SNP, the primer may bind and amplify the different alleles           difficulty of reliably dissociating DNA from proteins across
with different efficiencies or may only bind and amplify one         the whole genome. Regardless, single-cell whole genome
allele. For subjects who are heterozygous, one of the alleles        amplification has been used successfully for a variety of
may not be amplified by the primer. In some embodiments,             applications for a number of years. There are other methods
a primer is designed for each allele. For example, ifthere are 50 of amplifying DNA from a sample of DNA. The DNA
two alleles (e.g., a biallelic SNP), then two primers can be         amplification transforms the initial sample of DNA into a
used to bind the same location of a target locus (e.g., a            sample of DNA that is similar in the set of sequences, but of
forward primer to bind the "A" allele and a forward primer           much greater quantity. In some cases, amplification may not
to bind the "B" allele). Standard methods, such as the dbSNP         be required.
database, can be used to determine the location of known 55             In some embodiments, DNA may be amplified using a
SNPs, such as SNP hot spots that have a high heterozygosity          universal amplification, such as WGA or MDA. In some
rate.                                                                embodiments, DNA may be amplified by targeted amplifi-
    In some embodiments, the amplicons are similar in size.          cation, for example using targeted PCR, or circularizing
In some embodiments, the range of the length of the target           probes. In some embodiments, the DNA may be preferen-
amplicons is less than 100, 75, 50, 25, 15, 10, or 5 nucleo- 60 tially enriched using a targeted amplification method, or a
tides. In some embodiments (such as the amplification of             method that results in the full or partial separation of desired
target loci in fragmented DNA or RNA), the length of the             from undesired DNA, such as capture by hybridization
target amplicons is between 50 and 100 nucleotides, such as          approaches. In some embodiments, DNA may be amplified
between 60 and 80 nucleotides, or 60 and 75 nucleotides,             by using a combination of a universal amplification method
inclusive. In some embodiments (such as the amplification 65 and a preferential enrichment method. A fuller description of
of multiple target loci throughout an exon or gene), the             some of these methods can be found elsewhere in this
length of the target amplicons is between 100 and 500                document.




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Exemplary Enrichment and Sequencing Methods                      sary reagents to allow the circularization of the probe. After
   In an embodiment, a method disclosed herein uses selec-       circularization, an exonuclease may be added to digest to
tive enrichment techniques that preserve the relative allele     non-circularized genetic material, followed by detection of
frequencies that are present in the original sample of DNA       the circularized probe. The DNA may be mixed with PCR
at each target loci (e.g., each polymorphic locus) from a set    primers that can hybridize with two neighboring regions of
of target loci (e.g., polymorphic loci). While enrichment is     the target sequence, one on either side. After hybridization,
particularly advantageous for methods for analyzing poly-        the ends of the probe may be connected by adding a
morphic loci, these enrichment methods can be readily            polymerase, a means for ligation, and any necessary
adapted for nonpolymorphic loci if desired. In some              reagents to complete PCR amplification. Amplified or unam-
embodiments the amplification and/or selective enrichment 10 plified DNA may be targeted by hybrid capture probes that
technique may involve PCR such as ligation mediated PCR,         target a set of loci; after hybridization, the probe may be
fragment capture by hybridization, Molecular Inversion           localized and separated from the mixture to provide a
Probes, or other circularizing probes. In some embodiments,      mixture of DNA that is enriched in target sequences.
methods for amplification or selective enrichment may               The use of a method to target certain loci followed by
involve using probes where, upon correct hybridization to 15 sequencing as part of a method for allele calling or ploidy
the target sequence, the 3-prime end or 5-prime end of a         calling may confer a number of unexpected advantages.
nucleotide probe is separated from the polymorphic site of       Some methods by which DNA may be targeted, or prefer-
the allele by a small number of nucleotides. This separation     entially enriched, include using circularizing probes, linked
reduces preferential amplification of one allele, termed allele  inverted probes (LIPs, MIPs ), capture by hybridization
bias. This is an improvement over methods that involve 20 methods such as SURESELECT, and targeted PCR or
using probes where the 3-prime end or 5-prime end of a           ligation-mediated PCR amplification strategies.
correctly hybridized probe are directly adjacent to or very         In some embodiments, a method of the present disclosure
near to the polymorphic site of an allele. In an embodiment,     involves measuring genetic data for use with an informatics
probes in which the hybridizing region may or certainly          based method, such as PARENTAL SUPPORT™ (PS),
contains a polymorphic site are excluded. Polymorphic sites 25 which is described further herein. PARENTAL SUPPORTTM
at the site of hybridization can cause unequal hybridization     is an informatics based approach to manipulating genetic
or inhibit hybridization altogether in some alleles, resulting   data, aspects of which are described herein. The ultimate
in preferential amplification of certain alleles. These          outcome of some of the embodiments is the actionable
embodiments are improvements over other methods that             genetic data of an embryo or a fetus followed by a clinical
involve targeted amplification and/or selective enrichment 30 decision based on the actionable data. The algorithms behind
in that they better preserve the original allele frequencies of  the PS method take the measured genetic data of the target
the sample at each polymorphic locus, whether the sample         individual, often an embryo or fetus, and the measured
is pure genomic sample from a single individual or mixture       genetic data from related individuals, and are able to
of individuals.                                                  increase the accuracy with which the genetic state of the
   The use of a technique to enrich a sample of DNA at a set 35 target individual is known. In an embodiment, the measured
of target loci followed by sequencing as part of a method for    genetic data is used in the context of making ploidy deter-
non-invasive prenatal allele calling or ploidy calling may       minations during prenatal genetic diagnosis. In an embodi-
confer a number of unexpected advantages. In some embodi-        ment, the measured genetic data is used in the context of
ments of the present disclosure, the method involves mea-        making ploidy determinations or allele calls on embryos
suring genetic data for use with an informatics based 40 during in vitro fertilization. There are many methods that
method, such as PARENTAL SUPPORT™ (PS). The ulti-                may be used to measure the genetic data of the individual
mate outcome of some of the embodiments is the actionable        and/or the related individuals in the aforementioned con-
genetic data of an embryo or a fetus. There are many             texts. The different methods comprise a number of steps,
methods that may be used to measure the genetic data of the      those steps often involving amplification of genetic material,
individual and/or the related individuals as part of embodied 45 addition of oligonucleotide probes, ligation of specified
methods. In an embodiment, a method for enriching the            DNA strands, isolation of sets of desired DNA, removal of
concentration of a set of targeted alleles is disclosed herein,  unwanted components of a reaction, detection of certain
the method comprising one or more of the following steps:        sequences of DNA by hybridization, detection of the
targeted amplification of genetic material, addition of loci     sequence of one or a plurality of strands of DNA by DNA
specific oligonucleotide probes, ligation of specified DNA 50 sequencing methods. In some cases the DNA strands may
strands, isolation of sets of desired DNA, removal of            refer to target genetic material, in some cases they may refer
unwanted components of a reaction, detection of certain          to primers, in some cases they may refer to synthesized
sequences of DNA by hybridization, and detection of the          sequences, or combinations thereof. These steps may be
sequence of one or a plurality of strands of DNA by DNA          carried out in a number of different orders.
sequencing methods. In some cases the DNA strands may 55            Note that in theory it is possible to target any number loci
refer to target genetic material, in some cases they may refer   in the genome, anywhere from one loci to well over one
to primers, in some cases they may refer to synthesized          million loci. If a sample of DNA is subjected to targeting,
sequences, or combinations thereof. These steps may be           and then sequenced, the percentage of the alleles that are
carried out in a number of different orders.                     read by the sequencer will be enriched with respect to their
   For example, a universal amplification step of the DNA 60 natural abundance in the sample. The degree of enrichment
prior to targeted amplification may confer several advan-        can be anywhere from one percent (or even less) to ten-fold,
tages, such as removing the risk of bottlenecking and            a hundred-fold, a thousand-fold or even many million-fold.
reducing allelic bias. The DNA may be mixed an oligo-            In the human genome there are roughly 3 billion base pairs,
nucleotide probe that can hybridize with two neighboring         and nucleotides, comprising approximately 75 million poly-
regions of the target sequence, one on either side. After 65 morphic loci. The more loci that are targeted, the smaller the
hybridization, the ends of the probe may be connected by         degree of enrichment is possible. The fewer the number of
adding a polymerase, a means for ligation, and any ncccs-        loci that arc targeted, the greater degree of enrichment is




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possible, and the greater depth of read may be achieved at     aneuploidy; this is not meant to exclude other methods of
those loci for a given number of sequence reads.               selective enrichment of targeted loci. Other methods may
   In an embodiment of the present disclosure, the targeting   equally well be used without changing the essence of the
or preferential may focus entirely on SNPs. In an embodi-      method. In each case the polymorphism assayed may
ment, the targeting or preferential may focus on any poly-     include single nucleotide polymorphisms (SNPs ), small
morphic site. A number of commercial targeting products are    indels, or STRs. A preferred method involves the use of
available to enrich exons. Surprisingly, targeting exclusively SNPs. Each approach produces allele frequency data; allele
SNPs, or exclusively polymorphic loci, is particularly         frequency data for each targeted locus and/or the joint allele
advantageous when using a method for NPD that relies on        frequency distributions from these loci may be analyzed to
allele distributions. There are also published methods for 10 determine the ploidy of the fetus. Each approach has its own
NPD using sequencing, for example U.S. Pat. No. 7,888,         considerations due to the limited source material and the fact
017, involving a read count analysis where the read counting   that maternal plasma consists of mixture of maternal and
focuses on counting the number of reads that map to a given    fetal DNA. This method may be combined with other
chromosome, where the analyzed sequence reads do not           approaches to provide a more accurate determination. In an
focused on regions of the genome that are polymorphic. 15 embodiment, this method may be combined with a sequence
Those types of methodology that do not focus on polymor-       counting approach such as that described in U.S. Pat. No.
phic alleles would not benefit as much from targeting or       7,888,017. The approaches described could also be used to
preferential enrichment of a set of alleles.                   detect fetal paternity noninvasively from maternal plasma
   In an embodiment of the present disclosure, it is possible  samples. In addition each approach may be applied to other
to use a targeting method that focuses on SNPs to enrich a 20 mixtures of DNA or pure DNA samples to detect the
genetic sample in polymorphic regions of the genome. In an     presence or absence of aneuploid chromosomes, to genotype
embodiment, it is possible to focus on a small number of       a large number of SNP from degraded DNA samples, to
SNPs, for example between 1 and 100 SNPs, or a larger          detect segmental copy number variations (CNVs), to detect
number, for example, between 100 and 1,000, between            other genotypic states of interest, or some combination
1,000 and 10,000, between 10,000 and 100,000 or more than 25 thereof.
100,000 SNPs. In an embodiment, it is possible to focus on     Accurately Measuring the Allelic Distributions in a Sample
one or a small number of chromosomes that are correlated          Current sequencing approaches can be used to estimate
with live trisomic births, for example chromosomes 13, 18,     the distribution of alleles in a sample. One such method
21, X and Y, or some combination thereof. In an embodi-        involves randomly sampling sequences from a pool DNA,
ment, it is possible to enrich the targeted SNPs by a small 30 termed shotgun sequencing. The proportion of a particular
factor, for example between 1.01 fold and 100 fold, or by a    allele in the sequencing data is typically very low and can be
larger factor, for example between 100 fold and 1,000,000      determined by simple statistics. The human genome con-
fold, or even by more than 1,000,000 fold. In an embodiment    tains approximately 3 billion base pairs. So, if the sequenc-
of the present disclosure, it is possible to use a targeting   ing method used make 100 bp reads, a particular allele will
method to create a sample of DNA that is preferentially 35 be measured about once in every 30 million sequence reads.
enriched in polymorphic regions of the genome. In an              In an embodiment, a method of the present disclosure is
embodiment, it is possible to use this method to create a      used to determine the presence or absence of two or more
mixture of DNA with any of these characteristics where the     different haplotypes that contain the same set of loci in a
mixture of DNA contains maternal DNA and also free             sample of DNA from the measured allele distributions of
floating fetal DNA. In an embodiment, it is possible to use 40 loci from that chromosome. The different haplotypes could
this method to create a mixture of DNA that has any            represent two different homologous chromosomes from one
combination of these factors. For example, the method          individual, three different homologous chromosomes from a
described herein may be used to produce a mixture of DNA       trisomic individual, three different homologous haplotypes
that comprises maternal DNA and fetal DNA, and that is         from a mother and a fetus where one of the haplotypes is
preferentially enriched in DNA that corresponds to 200 45 shared between the mother and the fetus, three or four
SNPs, all of which are located on either chromosome 18 or      haplotypes from a mother and fetus where one or two of the
21, and which are enriched an average of 1000 fold. In         haplotypes are shared between the mother and the fetus, or
another example, it is possible to use the method to create a  other combinations. Alleles that are polymorphic between
mixture of DNA that is preferentially enriched in 10,000       the haplotypes tend to be more informative, however any
SNPs that are all or mostly located on chromosomes 13, 18, 50 alleles where the mother and father are not both homozy-
21, X and Y, and the average enrichment per loci is greater    gous for the same allele will yield useful information
than 500 fold. Any of the targeting methods described herein   through measured allele distributions beyond the informa-
can be used to create mixtures of DNA that are preferentially  tion that is available from simple read count analysis.
enriched in certain loci.                                         Shotgun sequencing of such a sample, however, is
   In some embodiments, a method of the present disclosure 55 extremely inefficient as it results in many sequences for
further includes measuring the DNA in the mixed fraction       regions that are not polymorphic between the different
using a high throughput DNA sequencer, where the DNA in        haplotypes in the sample, or are for chromosomes that are
the mixed fraction contains a disproportionate number of       not of interest, and therefore reveal no information about the
sequences from one or more chromosomes, wherein the one        proportion of the target haplotypes. Described herein are
or more chromosomes are taken from the group comprising 60 methods that specifically target and/or preferentially enrich
chromosome 13, chromosome 18, chromosome 21, chromo-           segments of DNA in the sample that are more likely to be
some X, chromosome Y and combinations thereof.                 polymorphic in the genome to increase the yield of allelic
   Described herein are three methods: multiplex PCR,          information obtained by sequencing. Note that for the mea-
targeted capture by hybridization, and linked inverted         sured allele distributions in an enriched sample to be truly
probes (LIPs), which may be used to obtain and analyze 65 representative of the actual amounts present in the target
measurements from a sufficient number of polymorphic loci      individual, it is critical that there is little or no preferential
from a maternal plasma sample in order to detect fetal         enrichment of one allele as compared to the other allele at a




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given loci in the targeted segments. Current methods known        bases in length, but theoretically any allele shorter than the
in the art to target polymorphic alleles are designed to ensure   length of the sequencing read can be used. While allele
that at least some of any alleles present are detected.           variations come in all types, the examples provided herein
However, these methods were not designed for the purpose          focus on SNPs or variants contained of just a few neigh-
of measuring the unbiased allelic distributions of polymor-       boring base pairs. Larger variants such as segmental copy
phic alleles present in the original mixture. It is non-obvious   number variants can be detected by aggregations of these
that any particular method of target enrichment would be          smaller variations in many cases as whole collections of
able to produce an enriched sample wherein the measured           SNP internal to the segment are duplicated. Variants larger
allele distributions would accurately represent the allele        than a few bases, such as STRs require special consideration
distributions present in the original unamplified sample 10 and some targeting approaches work while others will not.
better than any other method. While many enrichment                  There are multiple targeting approaches that can be used
methods may be expected, in theory, to accomplish such an         to specifically isolate and enrich a one or a plurality of
aim, an ordinary person skilled in the art is well aware that     variant positions in the genome. Typically, these rely on
there is a great deal of stochastic or deterministic bias in      taking advantage of the invariant sequence flanking the
current amplification, targeting and other preferential 15 variant sequence. There are reports by others related to
enrichment methods. One embodiment of a method                    targeting in the context of sequencing where the substrate is
described herein allows a plurality of alleles found in a         maternal plasma (see, e.g., Liao et al., Clin. Chem. 2011;
mixture of DNA that correspond to a given locus in the            57(1 ): pp. 92-101 ). However, these approaches use targeting
genome to be amplified, or preferentially enriched in a way       probes that target exons, and do not focus on targeting
that the degree of enrichment of each of the alleles is nearly 20 polymorphic regions of the genome. In an embodiment, a
the same. Another way to say this is that the method allows       method of the present disclosure involves using targeting
the relative quantity of the alleles present in the mixture as    probes that focus exclusively or almost exclusively on
a whole to be increased, while the ratio between the alleles      polymorphic regions. In an embodiment, a method of the
that correspond to each locus remains essentially the same as     present disclosure involves using targeting probes that focus
they were in the original mixture of DNA. For some reported 25 exclusively or almost exclusively on SNPs. In some embodi-
methods, preferential enrichment of loci can result in allelic    ments of the present disclosure, the targeted polymorphic
biases of more than 1%, more than 2%, more than 5% and            sites consist of at least 10% SNPs, at least 20% SNPs, at
even more than 10%. This preferential enrichment may be           least 30% SNPs, at least 40% SNPs, at least 50% SNPs, at
due to capture bias when using a capture by hybridization         least 60% SNPs, at least 70% SNPs, at least 80% SNPs, at
approach, or amplification bias which may be small for each 30 least 90% SNPs, at least 95% SNPs, at least 98% SNPs, at
cycle, but can become large when compounded over 20, 30           least 99% SNPs, at least 99.9% SNPs, or exclusively SNPs.
or 40 cycles. For the purposes of this disclosure, for the ratio     In an embodiment, a method of the present disclosure can
to remain essentially the same means that the ratio of the        be used to determine genotypes (base composition of the
alleles in the original mixture divided by the ratio of the       DNA at specific loci) and relative proportions of those
alleles in the resulting mixture is between 0.95 and 1.05, 35 genotypes from a mixture of DNA molecules, where those
between 0.98 and 1.02, between 0.99 and 1.01, between             DNA molecules may have originated from one or a number
0.995 and 1.005, between 0.998 and 1.002, between 0.999           of genetically distinct individuals. In an embodiment, a
and 1.001, or between 0.9999 and 1.0001. Note that the            method of the present disclosure can be used to determine
calculation of the allele ratios presented here may not be        the genotypes at a set of polymorphic loci, and the relative
used in the determination of the ploidy state of the target 40 ratios of the amount of different alleles present at those loci.
individual, and may only a metric to be used to measure           In an embodiment the polymorphic loci may consist entirely
allelic bias.                                                     of SNPs. In an embodiment, the polymorphic loci can
   In an embodiment, once a mixture has been preferentially       comprise SNPs, single tandem repeats, and other polymor-
enriched at the set of target loci, it may be sequenced using     phisms. In an embodiment, a method of the present disclo-
any one of the previous, current, or next generation of 45 sure can be used to determine the relative distributions of
sequencing instruments that sequences a clonal sample (a          alleles at a set of polymorphic loci in a mixture of DNA,
sample generated from a single molecule; examples include         where the mixture of DNA comprises DNA that originates
ILLUMINA GAIIx, ILLUMINA HISEQ, LIFE TECH-                        from a mother, and DNA that originates from a fetus. In an
NOLOGIES SOLiD, 5500XL). The ratios can be evaluated              embodiment, the joint allele distributions can be determined
by sequencing through the specific alleles within the tar- 50 on a mixture of DNA isolated from blood from a pregnant
geted region. These sequencing reads can be analyzed and          woman. In an embodiment, the allele distributions at a set of
counted according the allele type and the rations of different    loci can be used to determine the ploidy state of one or more
alleles determined accordingly. For variations that are one to    chromosomes on a gestating fetus.
a few bases in length, detection of the alleles will be              In an embodiment, the mixture of DNA molecules could
performed by sequencing and it is essential that the sequenc- 55 be derived from DNA extracted from multiple cells of one
ing read span the allele in question in order to evaluate the     individual. In an embodiment, the original collection of cells
allelic composition of that captured molecule. The total          from which the DNA is derived may comprise a mixture of
number of captured molecules assayed for the genotype can         diploid or haploid cells of the same or of different genotypes,
be increased by increasing the length of the sequencing read.     if that individual is mosaic (germline or somatic). In an
Full sequencing of all molecules would guarantee collection 60 embodiment, the mixture of DNA molecules could also be
of the maximum amount of data available in the enriched           derived from DNA extracted from single cells. In an
pool. However, sequencing is currently expensive, and a           embodiment, the mixture of DNA molecules could also be
method that can measure allele distributions using a lower        derived from DNA extracted from mixture of two or more
number of sequence reads will have great value. In addition,      cells of the same individual, or of different individuals. In an
there are technical limitations to the maximum possible 65 embodiment, the mixture of DNA molecules could be
length of read as well as accuracy limitations as read lengths    derived from DNA isolated from biological material that has
increase. The alleles of greatest utility will be of one to a few already liberated from cells such as blood plasma, which is




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known to contain cell free DNA. In an embodiment, the this             In an embodiment of the present disclosure, this approach
biological material may be a mixture of DNA from one or             has been modified to be easily amenable to sequencing as a
more individuals, as is the case during pregnancy where it          means of interrogating the filled in sequence. In order to
has been shown that fetal DNA is present in the mixture. In         retain the original allelic proportions of the original sample
an embodiment, the biological material could be from a              at least one key consideration must be taken into account.
mixture of cells that were found in maternal blood, where           The variable positions among different alleles in the gap-fill
some of the cells are fetal in origin. In an embodiment, the        region must not be too close to the probe binding sites as
biological material could be cells from the blood of a              there can be initiation bias by the DNA polymerase resulting
pregnant which have been enriched in fetal cells.                   in differential of the variants. Another consideration is that
                                                                 10 additional variations may be present in the probe binding
Circularizing Probes
                                                                    sites that are correlated to the variants in the gap-fill region
    Some embodiments of the present disclosure involve the
                                                                    which can result unequal amplification from different
use of "Linked Inverted Probes" (LIPs), which have been
                                                                    alleles. In an embodiment of the present disclosure, the 3'
previously described in the literature, to amplify the target       ends and 5' ends of the pre-circularized probe are designed
loci before or after amplification using primers that are not 15 to hybridize to bases that are one or a few positions away
LIPs in the multiplex PCR methods of the invention. LIPs is         from the variant positions (polymorphic sites) of the targeted
a generic term meant to encompass technologies that involve         allele. The number of bases between the polymorphic site
the creation of a circular molecule of DNA, where the               (SNP or otherwise) and the base to which the 3' end and/or
probes are designed to hybridize to targeted region of DNA          5' of the pre-circularized probe is designed to hybridize may
on either side of a targeted allele, such that addition of 20 be one base, it may be two bases, it may be three bases, it
appropriate polymerases and/or ligases, and the appropriate         may be four bases, it may be five bases, it may be six bases,
conditions, buffers and other reagents, will complete the           it may be seven to ten bases, it may be eleven to fifteen
complementary, inverted region of DNA across the targeted           bases, or it may be sixteen to twenty bases, twenty to thirty
allele to create a circular loop of DNA that captures the           bases, or thirty to sixty bases. The forward and reverse
information found in the targeted allele. LIPs may also be 25 primers may be designed to hybridize a different number of
called pre-circularized probes, pre-circularizing probes, or        bases away from the polymorphic site. Circularizing probes
circularizing probes. The LIPs probe may be a linear DNA            can be generated in large numbers with current DNA syn-
molecule between 50 and 500 nucleotides in length, and in           thesis technology allowing very large numbers of probes to
an embodiment between 70 and 100 nucleotides in length; in          be generated and potentially pooled, enabling interrogation
some embodiments, it may be longer or shorter than 30 of many loci simultaneously. It has been reported to work
described herein. Others embodiments of the present dis-            with more than 300,000 probes. Two papers that discuss a
closure involve different incarnations, of the LIPs technol-        method involving circularizing probes that can be used to
ogy, such as Padlock Probes and Molecular Inversion Probes          measure the genomic data of the target individual include:
(MIPs).                                                             Porreca et al., Nature Methods, 2007 4(11), pp. 931-936.;
    One method to target specific locations for sequencing is 35 and also Turner et al., Nature Methods, 2009, 6(5), pp.
to synthesize probes in which the 3' and 5' ends of the probes      315-316. The methods described in these papers may be
anneal to target DNA at locations adjacent to and on either         used in combination with other methods described herein.
side of the targeted region, in an inverted marmer, such that       Certain steps of the method from these two papers may be
the addition of DNA polymerase and DNA ligase results in            used in combination with other steps from other methods
extension from the 3' end, adding bases to single stranded 40 described herein.
probe that are complementary to the target molecule (gap-              In some embodiments of the methods disclosed herein,
fill), followed by ligation of the new 3' end to the 5' end of      the genetic material of the target individual is optionally
the original probe resulting in a circular DNA molecule that        amplified, followed by hybridization of the pre-circularized
can be subsequently isolated from background DNA. The               probes, performing a gap fill to fill in the bases between the
probe ends are designed to flank the targeted region of 45 two ends of the hybridized probes, ligating the two ends to
interest. One aspect of this approach is commonly called            form a circularized probe, and amplifying the circularized
MIPS and has been used in conjunction with array tech-              probe, using, for example, rolling circle amplification. Once
nologies to determine the nature of the sequence filled in.         the desired target allelic genetic information is captured by
One drawback to the use of MIPs in the context of measur-           circularizing appropriately designed oligonucleotide probes,
ing allele ratios is that the hybridization, circularization and 50 such as in the LIPs system, the genetic sequence of the
amplification steps do not happed at equal rates for different      circularized probes may be being measured to give the
alleles at the same loci. This results in measured allele ratios    desired sequence data. In an embodiment, the appropriately
that are not representative of the actual allele ratios present     designed oligonucleotides probes may be circularized
in the original mixture.                                            directly on unamplified genetic material of the target indi-
    In an embodiment, the circularizing probes are con- 55 vidual, and amplified afterwards. Note that a number of
structed such that the region of the probe that is designed to      amplification procedures may be used to amplify the original
hybridize upstream of the targeted polymorphic locus and            genetic material, or the circularized LIPs, including rolling
the region of the probe that is designed to hybridize down-         circle amplification, MDA, or other amplification protocols.
stream of the targeted polymorphic locus are covalently             Different methods may be used to measure the genetic
connected through a non-nucleic acid backbone. This back- 60 information on the target genome, for example using high
bone can be any biocompatible molecule or combination of            throughput sequencing, Sanger sequencing, other sequenc-
biocompatible molecules. Some examples of possible bio-             ing methods, capture-by-hybridization, capture-by-circular-
compatible molecules are poly(ethylene glycol), polycar-            ization, multiplex PCR, other hybridization methods, and
bonates, polyurethanes, polyethylenes, polypropylenes,              combinations thereof.
sulfone polymers, silicone, cellulose, fluoropolymers, 65              Once the genetic material of the individual has been
acrylic compounds, styrene block copolymers, and other              measured using one or a combination of the above methods,
block copolymers.                                                   an informatics based method, such as the PARENTAL




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SUPPORT™ method, along with the appropriate genetic                 ization methods in addition to using multiplex PCR to
measurements, can then be used to determination the ploidy          amplify the target loci. Preferential enrichment of a specific
state of one or more chromosomes on the individual, and/or          set of sequences in a target genome can be accomplished in
the genetic state of one or a set of alleles, specifically those    a number of ways. Elsewhere in this document is a descrip-
alleles that are correlated with a disease or genetic state of      tion of how LIPs can be used to target a specific set of
interest. Note that the use of LIPs has been reported for           sequences, but in all of those applications, other targeting
multiplexed capture of genetic sequences, followed by geno-         and/or preferential enrichment methods can be used equally
typing with sequencing. However, the use of sequencing              well for the same ends. One example of another targeting
data resulting from a LIPs-based strategy for the amplifica-        method is the capture by hybridization approach. Some
tion of the genetic material found in a single cell, a small 10 examples of commercial capture by hybridization technolo-
number of cells, or extracellular DNA, has not been used for        gies include AGILENT's SURE SELECT and ILLUMI-
the purpose of determining the ploidy state of a target             NA's TRUSEQ. In capture by hybridization, a set of oligo-
individual.                                                         nucleotides that is complimentary or mostly complimentary
   Applying an informatics based method to determine the            to the desired targeted sequences is allowed to hybridize to
ploidy state of an individual from genetic data as measured 15 a mixture of DNA, and then physically separated from the
by hybridization arrays, such as the ILLUMINA INFINIUM              mixture. Once the desired sequences have hybridized to the
array, or the AFFYMETRIX gene chip has been described in            targeting oligonucleotides, the effect of physically removing
documents references elsewhere in this document. However,           the targeting oligonucleotides is to also remove the targeted
the method described herein shows improvements over                 sequences. Once the hybridized oligos are removed, they
methods described previously in the literature. For example, 20 can be heated to above their melting temperature and they
the LIPs based approach followed by high throughput                 can be amplified. Some ways to physically remove the
sequencing unexpectedly provides better genotypic data due          targeting oligonucleotides is by covalently bonding the
to the approach having better capacity for multiplexing,            targeting oligos to a solid support, for example a magnetic
better capture specificity, better uniformity, and low allelic      bead, or a chip. Another way to physically remove the
bias. Greater multiplexing allows more alleles to be targeted, 25 targeting oligonucleotides is by covalently bonding them to
giving more accurate results. Better uniformity results in          a molecular moiety with a strong affinity for another molecu-
more of the targeted alleles being measured, giving more            lar moiety. An example of such a molecular pair is biotin and
accurate results. Lower rates of allelic bias result in lower       streptavidin, such as is used in SURE SELECT. Thus that
rates of miscalls, giving more accurate results. More accu-         targeted sequences could be covalently attached to a biotin
rate results result in an improvement in clinical outcomes, 30 molecule, and after hybridization, a solid support with
and better medical care.                                            streptavidin affixed can be used to pull down the biotinylated
   It is important to note that LIPs may be used as a method        oligonucleotides, to which are hybridized to the targeted
for targeting specific loci in a sample of DNA for genotyping       sequences.
by methods other than sequencing. For example, LIPs may                Hybrid capture involves hybridizing probes that are
be used to target DNA for genotyping using SNP arrays or 35 complementary to the targets of interest to the target mol-
other DNA or RNA based microarrays.                                 ecules. Hybrid capture probes were originally developed to
Ligation-Mediated PCR                                               target and enrich large fractions of the genome with relative
   Ligation-mediated PCR may be used to amplify the target          uniformity between targets. In that application, it was impor-
loci before or after PCR amplification using primers that are       tant that all targets be amplified with enough uniformity that
not ligated. Ligation-mediated PCR is a method of PCR used 40 all regions could be detected by sequencing, however, no
to preferentially enrich a sample of DNA by amplifying one          regard was paid to retaining the proportion of alleles in
or a plurality of loci in a mixture of DNA, the method              original sample. Following capture, the alleles present in the
comprising: obtaining a set of primer pairs, where each             sample can be determined by direct sequencing of the
primer in the pair contains a target specific sequence and a        captured molecules. These sequencing reads can be ana-
non-target sequence, where the target specific sequence is 45 lyzed and counted according the allele type. However, using
preferably designed to anneal to a target region, one               the current technology, the measured allele distributions the
upstream and one downstream from the polymorphic site,              captured sequences are typically not representative of the
and which can be separated from the polymorphic site by 0,          original allele distributions.
1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11-20, 21-30, 31-40, 41-50,             In an embodiment, detection of the alleles is performed by
51-100, or more than 100; polymerization of the DNA from 50 sequencing. In order to capture the allele identity at the
the 3-prime end of upstream primer to the fill the single           polymorphic site, it is essential that the sequencing read span
strand region between it and the 5-prime end of the down-           the allele in question in order to evaluate the allelic com-
stream primer with nucleotides complementary to the target          position of that captured molecule. Since the capture mol-
molecule; ligation of the last polymerized base of the              ecules are often of variable lengths upon sequencing cannot
upstream primer to the adjacent 5-prime base of the down- 55 be guaranteed to overlap the variant positions unless the
stream primer; and amplification of only polymerized and            entire molecule is sequenced. However, cost considerations
ligated molecules using the non-target sequences contained          as well as technical limitations as to the maximum possible
at the 5-prime end of the upstream primer and the 3-prime           length and accuracy of sequencing reads make sequencing
end of the downstream primer. Pairs of primers to distinct          the entire molecule unfeasible. In an embodiment, the read
targets may be mixed in the same reaction. The non-target 60 length can be increased from about 30 to about 50 or about
sequences serve as universal sequences such that of all pairs       70 bases can greatly increase the number of reads that
of primers that have been successfully polymerized and              overlap the variant positions within the targeted sequences.
ligated may be amplified with a single pair of amplification           Another way to increase the number of reads that inter-
primers.                                                            rogate the position of interest is to decrease the length of the
Capture by Hybridization                                         65 probe, as long as it does not result in bias in the underlying
   In some embodiments, a method of the present disclosure          enriched alleles. The length of the synthesized probe should
may involve using any of the following capture by hybrid-           be long enough such that two probes designed to hybridize




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to two different alleles found at one locus will hybridize with   C., to about 45° C., to about 50° C., to about 55° C., to about
near equal affinity to the various alleles in the original        60° C., to about 65, or to about 70° C.
sample. Currently, methods known in the art describe probes          In an embodiment, the hybrid capture probes can be
that are typically longer than 120 bases. In a current embodi-    designed such that the region of the capture probe with DNA
ment, if the allele is one or a few bases then the capture        that is complementary to the DNA found in regions flanking
probes may be less than about 110 bases, less than about 100      the polymorphic allele is not immediately adjacent to the
bases, less than about 90 bases, less than about 80 bases, less   polymorphic site. Instead, the capture probe can be designed
than about 70 bases, less than about 60 bases, less than about    such that the region of the capture probe that is designed to
50 bases, less than about 40 bases, less than about 30 bases,     hybridize to the DNA flanking the polymorphic site of the
and less than about 25 bases, and this is sufficient to ensure 10 target is separated from the portion of the capture probe that
equal enrichment from all alleles. When the mixture of DNA        will be in van der Waals contact with the polymorphic site
that is to be enriched using the hybrid capture technology is     by a small distance that is equivalent in length to one or a
a mixture comprising free floating DNA isolated from blood,       small number of bases. In an embodiment, the hybrid
for example maternal blood, the average length of DNA is          capture probe is designed to hybridize to a region that is
quite short, typically less than 200 bases. The use of shorter 15 flanking the polymorphic allele but does not cross it; this
probes results in a greater chance that the hybrid capture        may be termed a flanking capture probe. The length of the
probes will capture desired DNA fragments. Larger varia-          flanking capture probe may be less than about 120 bases,
tions may require longer probes. In an embodiment, the            less than about 110 bases, less than about 100 bases, less
variations of interest are one (a SNP) to a few bases in          than about 90 bases, and can be less than about 80 bases, less
length. In an embodiment, targeted regions in the genome 20 than about 70 bases, less than about 60 bases, less than about
can be preferentially enriched using hybrid capture probes        50 bases, less than about 40 bases, less than about 30 bases,
wherein the hybrid capture probes are of a length below 90        or less than about 25 bases. The region of the genome that
bases, and can be less than 80 bases, less than 70 bases, less    is targeted by the flanking capture probe may be separated
than 60 bases, less than 50 bases, less than 40 bases, less       by the polymorphic locus by 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11-20,
than 30 bases, or less than 25 bases. In an embodiment, to 25 or more than 20 base pairs.
increase the chance that the desired allele is sequenced, the        Description of a targeted capture based disease screening
length of the probe that is designed to hybridize to the          test using targeted sequence capture. Custom targeted
regions flanking the polymorphic allele location can be           sequence capture, like those currently offered by AGILENT
decreased from above 90 bases, to about 80 bases, or to           (SURE SELECT), ROCHE-NIMBLEGEN, or ILLUMINA.
about 70 bases, or to about 60 bases, or to about 50 bases, 30 Capture probes could be custom designed to ensure capture
or to about 40 bases, or to about 30 bases, or to about 25        of various types of mutations. For point mutations, one or
bases.                                                            more probes that overlap the point mutation should be
   There is a minimum overlap between the synthesized             sufficient to capture and sequence the mutation.
probe and the target molecule in order to enable capture.            For small insertions or deletions, one or more probes that
This synthesized probe can be made as short as possible 35 overlap the mutation may be sufficient to capture and
while still being larger than this minimum required overlap.      sequence fragments comprising the mutation. Hybridization
The effect of using a shorter probe length to target a            may be less efficient between the probe-limiting capture
polymorphic region is that there will be more molecules that      efficiency, typically designed to the reference genome
overlap the target allele region. The state of fragmentation of   sequence. To ensure capture of fragments comprising the
the original DNA molecules also affects the number ofreads 40 mutation one could design two probes, one matching the
that will overlap the targeted alleles. Some DNA samples          normal allele and one matching the mutant allele. A longer
such as plasma samples are already fragmented due to              probe may enhance hybridization. Multiple overlapping
biological processes that take place in vivo. However,            probes may enhance capture. Finally, placing a probe imme-
samples with longer fragments by benefit from fragmenta-          diately adjacent to, but not overlapping, the mutation may
tion prior to sequencing library preparation and enrichment. 45 permit relatively similar capture efficiency of the normal and
When both pro bes and fragments are short (-60-80 bp)             mutant alleles.
maximum specificity may be achieved relatively few                   For Simple Tandem Repeats (STRs), a probe overlapping
sequence reads failing to overlap the critical region of          these highly variable sites is unlikely to capture the fragment
interest.                                                         well. To enhance capture a probe could be placed adjacent
   In an embodiment, the hybridization conditions can be 50 to, but not overlapping the variable site. The fragment could
adjusted to maximize uniformity in the capture of different       then be sequenced as normal to reveal the length and
alleles present in the original sample. In an embodiment,         composition of the STR.
hybridization temperatures are decreased to minimize dif-            For large deletions, a series of overlapping probes, a
ferences in hybridization bias between alleles. Methods           common approach currently used in exon capture systems
known in the art avoid using lower temperatures for hybrid- 55 may work. However, with this approach it may be difficult
ization because lowering the temperature has the effect of        to determine whether or not an individual is heterozygous.
increasing hybridization of probes to unintended targets.         Targeting and evaluating SNPs within the captured region
However, when the goal is to preserve allele ratios with          could potentially reveal loss of heterozygosity across the
maximum fidelity, the approach of using lower hybridization       region indicating that an individual is a carrier. In an
temperatures provides optimally accurate allele ratios, 60 embodiment, it is possible to place non-overlapping or
despite the fact that the current art teaches away from this      singleton probes across the potentially deleted region and
approach. Hybridization temperature can also be increased         use the number of fragments captured as a measure of
to require greater overlap between the target and the syn-        heterozygosity. In the case where an individual caries a large
thesized probe so that only targets with substantial overlap      deletion, one-half the number of fragments are expected to
of the targeted region are captured. In some embodiments of 65 be available for capture relative to a non-deleted (diploid)
the present disclosure, the hybridization temperature is low-     reference locus. Consequently, the number ofreads obtained
ered from the normal hybridization temperature to about 40°       from the deleted regions should be roughly half that




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obtained from a normal diploid locus. Aggregating and             can be used to determine the number of molecules repre-
averaging the sequencing read depth from multiple singleton       senting each allele in the original sample. This copy number
probes across the potentially deleted region may enhance the      method can be combined with the evaluation of SNPs or
signal and improve confidence of the diagnosis. The two           other sequence variations to determine the chromosome
approaches, targeting SNPs to identify loss of heterozygos-       copy number of born and unborn individuals; the discrimi-
ity and using multiple singleton probes to obtain a quanti-       nation and quantification of copies from loci which have
tative measure of the quantity of underlying fragments from       short sequence variations, but in which PCR may amplifies
that locus can also be combined. Either or both of these          from multiple target regions such as in carrier detection of
strategies may be combined with other strategies to better        Spinal Muscle Atrophy; determination of copy number of
obtain the same end.                                           10 different sources of molecules from samples consisting of
   If during testing cfDNA detection of a male fetus, as          mixtures of different individual such as in detection of fetal
indicated by the presence of the Y-chromosome fragments,          aneuploidy from free floating DNA obtained from maternal
captured and sequenced in the same test, and either an            plasma.
X-linked dominant mutation where mother and father are               In an embodiment, the method as it pertains to a single
unaffected, or a dominant mutation where mother is not 15 target locus may comprise one or more of the following
affected would indicated heighted risk to the fetus. Detection    steps: (1) Designing a standard pair of oligomers for PCR
of two mutant recessive alleles within the same gene in an        amplification of a specific locus. (2) Adding, during synthe-
unaffected mother would imply the fetus had inherited a           sis, a sequence of specified bases with no or minimal
mutant allele from father and potentially a second mutant         complementarity to the target locus or genome to the 5' end
allele from mother. In all cases, follow-up testing by anmio- 20 of the one of the target specific oligomer. This sequence,
centesis or chorionic villus sampling may be indicated.           termed the tail, is a known sequence, to be used for subse-
   A targeted capture based disease screening test could be       quent amplification, followed by a sequence of random
combined with a targeted capture based non-invasive pre-          nucleotides. These random nucleotides comprise the random
natal diagnostic test for aneuploidy.                             region. The random region comprises a randomly generated
   There are a number of ways to decrease depth of read 25 sequence of nucleic acids that probabilistically differ
(DOR) variability: for example, one could increase primer         between each probe molecule. Consequently, following syn-
concentrations, one could use longer targeted amplification       thesis, the tailed oligomer pool will consists of a collection
probes, or one could run more STA cycles (such as more            of oligomers beginning with a known sequence followed by
than 25, more than 30, more than 35, or even more than 40)        unknown sequence that differs between molecules, followed
Exemplary Methods of Determining the Number of DNA 30 by the target specific sequence. (3) Performing one round of
Molecules in a Sample.                                            amplification (denaturation, annealing, extension) using
   A method is described herein to determine the number of        only the tailed oligomer. (4) Adding exonuclease to the
DNA molecules in a sample by generating a uniquely                reaction, effectively stopping the PCR reaction, and incu-
identified molecule for each original DNA molecules in the        bating the reaction at the appropriate temperature to remove
sample during the first round of DNA amplification. 35 forward single stranded oligos that did not anneal to temple
Described here is a procedure to accomplish the above end         and extend to form a double stranded product. (5) Incubating
followed by a single molecule or clonal sequencing method.        the reaction at a high temperature to denature the exonu-
   The approach entails targeting one or more specific loci       clease and eliminate its activity. (6) Adding to the reaction
and generating a tagged copy of the original molecules such       a new oligonucleotide that is complementary to tail of the
manner that most or all of the tagged molecules from each 40 oligomer used in the first reaction along with the other target
targeted locus will have a unique tag and can be distin-          specific oligomer to enable PCR amplification of the product
guished from one another upon sequencing of this barcode          generated in the first round of PCR. (7) Continuing ampli-
using clonal or single molecule sequencing. Each unique           fication to generate enough product for downstream clonal
sequenced barcode represents a unique molecule in the             sequencing. (8) Measuring the amplified PCR product by a
original sample. Simultaneously, sequencing data is used to 45 multitude of methods, for example, clonal sequencing, to a
ascertain the locus from which the molecule originates.           sufficient number of bases to span the sequence.
Using this information one can determine the number of               In an embodiment, a method of the present disclosure
unique molecules in the original sample for each locus.           involves targeting multiple loci in parallel or otherwise.
   This method can be used for any application in which           Primers to different target loci can be generated indepen-
quantitative evaluation of the number of molecules in an 50 dently and mixed to create multiplex PCR pools. In an
original sample is required. Furthermore, the number of           embodiment, original samples can be divided into subpools
unique molecules of one or more targets can be related to the     and different loci can be targeted in each sub-pool before
number of unique molecules to one or more other targets to        being recombined and sequenced. In an embodiment, the
determine the relative copy number, allele distribution, or       tagging step and a number of amplification cycles may be
allele ratio. Alternatively, the number of copies detected 55 performed before the pool is subdivided to ensure efficient
from various targets can be modeled by a distribution in          targeting of all targets before splitting, and improving sub-
order to identify the mostly likely number of copies of the       sequent amplification by continuing amplification using
original targets. Applications include but are not limited to     smaller sets of primers in subdivided pools.
detection of insertions and deletions such as those found in         One example of an application where this technology
carriers of Duchenne Muscular Dystrophy; quantitation of 60 would be particularly useful is non-invasive prenatal aneu-
deletions or duplications segments of chromosomes such as         ploidy diagnosis where the ratio of alleles at a given locus
those observed in copy number variants; chromosome copy           or a distribution of alleles at a number of loci can be used to
number of samples from born individuals; chromosome               help determine the number of copies of a chromosome
copy number of samples from unborn individuals such as            present in a fetus. In this context, it is desirable to amplify
embryos or fetuses.                                            65 the DNA present in the initial sample while maintaining the
   The method can be combined with simultaneous evalua-           relative amounts of the various alleles. In some circum-
tion of variations contained in the targeted by sequence. This    stances, especially in cases where there is a very small




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amount of DNA, for example, fewer than 5,000 copies of the      In an embodiment, the DNA can be measured by a sequenc-
genome, fewer than 1,000 copies of the genome, fewer than       ing method, where the sequence data represents the
500 copies of the genome, and fewer than 100 copies of the      sequence of a single molecule. This can include methods in
genome, one can encounter a phenomenon called bottle-           which single molecules are sequenced directly or methods in
necking. This is where there are a small number of copies of    which single molecules are amplified to form clones detect-
any given allele in the initial sample, and amplification       able by the sequence instrument, but that still represent
biases can result in the amplified pool of DNA having           single molecules, herein called clonal sequencing.
significantly different ratios of those alleles than are in the Exemplary Methods and Reagents for Quantification of
initial mixture of DNA. By applying a unique or nearly          Amplification Products
unique set of barcodes to each strand of DNA before 10             Quantitation of specific nucleic acid sequences of interest
standard PCR amplification, it is possible to exclude n-1       is typically done by quantitative real-time PCR techniques
copies of DNA from a set of n identical molecules of            such as TAQMAN (LIFE TECHNOLOGIES), INVADER
sequenced DNA that originated from the same original            probes (THIRD WAVE TECHNOLOGIES), and the like.
molecule.                                                       Such techniques suffer from numerous shortcomings such as
   For example, imagine a heterozygous SNP in the genome 15 limited ability to achieve the simultaneous analysis of mul-
of an individual, and a mixture of DNA from the individual      tiple sequences in parallel (multiplexation) and the ability to
where ten molecules of each allele are present in the original  provide accurate quantitative data for only a narrow range of
sample of DNA. After amplification there may be 100,000         possible amplification cycles (e.g., when the logarithm of
molecules of DNA corresponding to that locus. Due to            PCR amplification production quantity versus the number of
stochastic processes, the ratio of DNA could be anywhere 20 cycles is in the linear range). DNA sequencing techniques,
from 1:2 to 2:1, however, since each of the original mol-       particularly high throughput next-generation sequencing
ecules was tagged with a unique tag, it would be possible to    techniques (often referred to as massively parallel sequenc-
determine that the DNA in the amplified pool originated         ing techniques) such as those employed in MYSEQ (ILLU-
from exactly 10 molecules of DNA from each allele. This         MINA), HISEQ (ILLUMINA), ION TORRENT (LIFE
method would therefore give a more accurate measure of the 25 TECHNOLOGIES), GENOME ANALYZER ILX (ILLU-
relative amounts of each allele than a method not using this    MINA), GS FLEX+(ROCHE 454) etc., can be used for by
approach. For methods where it is desirable for the relative    quantitative measurements of the number of copies of
amount of allele bias to be minimized, this method will         sequence of interest present in sample, thereby providing
provide more accurate data.                                     quantitative information about the starting materials, e.g.,
   Association of the sequenced fragment to the target locus 30 copy number or transcription levels. High throughput
can be achieved in a number of ways. In an embodiment, a        genetic sequencers are amenable to the use of bar coding
sequence of sufficient length is obtained from the targeted     (i.e., sample tagging with distinctive nucleic acid sequences)
fragment to span the molecule barcode as well a sufficient      so as to identify specific samples from individuals thereby
number of unique bases corresponding to the target              permitting the simultaneous analysis of multiple samples in
sequence to allow unambiguous identification of the target 35 a single run of the DNA sequencer. The number of times a
locus. In another embodiment, the molecular bar-coding          given region of the genome in a library preparation (or other
primer that contains the randomly generated molecular           nucleic preparation of interest) is sequenced (number of
barcode can also contain a locus specific barcode (locus        reads) will be proportional to the number of copies of that
barcode) that identifies the target to which it is to be        sequence in the genome of interest (or expression level in the
associated. This locus barcode would be identical among all 40 case of cDNA containing preparations). However, the prepa-
molecular bar-coding primers for each individual target and     ration and sequencing of genetic libraries (and similar
hence all resulting amplicons, but different from all other     genome derived preparations) can introduce numerous
targets. In an embodiment, the tagging method described         biases that interfere with obtaining an accurate quantitative
herein may be combined with a one-sided nesting protocol.       reading for the nucleic acid sequence of interest. For
   In an embodiment, the design and generation of molecular 45 example, different nucleic acid sequences can amplify with
barcoding primers may be reduced to practice as follows: the    different efficiencies during nucleic amplification steps that
molecular barcoding primers may consist of a sequence that      take place during the genetic library preparation or sample
is not complementary to the target sequence followed by         preparation.
random molecular barcode region followed by a target               The problem with differential amplification efficiencies
specific sequence. The sequence 5' of molecular barcode 50 can be mitigated by using certain embodiments of the
may be used for subsequence PCR amplification and may           subject invention. The subject invention includes various
comprise sequences useful in the conversion of the amplicon     methods and compositions that relate to the use of standards
to a library for sequencing. The random molecular barcode       for inclusion in amplification processes that can be used to
sequence could be generated in a multitude of ways. The         improve the accuracy of quantitation. The invention is of use
preferred method synthesize the molecule tagging primer in 55 in, among other areas, the detection of aneuploidy in a fetus
such a way as to include all four bases to the reaction during  by analyzing free floating fetal DNA in maternal blood, as
synthesis of the barcode region. All or various combinations    described herein and as described, among other places, U.S.
of bases may be specified using the IUPAC DNA ambiguity         Pat. Nos. 8,008,018; 7,332,277; PCT Published Application
codes. In this manner the synthesized collection of mol-        WO 2012/078792A2; and PCT Published Application WO
ecules will contain a random mixture of sequences in the 60 2011/146632 Al, which are each herein incorporated by
molecular barcode region. The length of the barcode region      reference in its entirety Embodiments of the invention are
will determine how many primers will contain unique bar-        also of use in the detection of aneuploidy in an in vitro
codes. The number of unique sequences is related to the         generated embryos. Commercially significant aneuploidies
length of the barcode region as NL where N is the number of     that may be detected include aneuploidy of the human
bases, typically 4, and L is the length of the barcode. A 65 chromosomes 13, 18, 21, X and Y.
barcode of five bases can yield up to 1024 unique sequences;       Embodiments of the invention may be used with either
a barcodc of eight bases can yield 65536 unique barcodcs.       human or non-human nucleic acids, and may be applied to




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both animal and plant derived nucleic acids. Embodiments             identical to the SNP excepting the nucleotide at the poly-
of the invention may also be used to detect and/or quantitate        morphic base, which may be chosen to be one of the four
alleles for other genetic disorders characterized by deletions       nucleotides that is not observed at that location in nature.
or insertions. The deletion containing alleles can be detected       The standard sequences can be used in a highly multiplexed
in suspected carriers of the allele of interest.                     analysis of multiple target loci (such as polymorphic loci).
   One embodiment of the subject invention includes stan-            Standard sequences can be added during the process of
dards that are present in a known quantity (relative or              library formation (prior to amplification) in known quanti-
absolute). For example, consider a genetic library made              ties (relative or absolute) so as to provide a standard metric
from a genetic source that is diploid for chromosome 8               for greater accuracy in determining the amount of target
(containing locus A) and triploid for chromosome 21 (con- 10 sequence of interest in the sample of analysis. The combi-
taining locus B). A genetic library can be produced from this        nation of knowledge of the known quantities of the standard
sample that will contain sequences in quantities that are a          sequences used in conjunction with the knowledge of the
function of the number of chromosomes present in the                 ploidy level formation of library for sequencing formed
sample, e.g., 200 copies of locus A and 300 copies of locus          from a genome of previously characterized ploidy level, e.g.,
B. However, if locus A amplifies much more efficiently than 15 known to be diploid for all autosomal chromosomes, can be
locus B, after PCR there may be 60,000 copies of the A               used to calibrate the amplification properties of each stan-
amplicon and 30,000 copies of the B amplicon, thus obscur-           dard sequence with respect to its corresponding target
ing the true chromosomal copy number of the initial                  sequence and account for variations between batches of
genomic sample when analysis by high throughput DNA                  mixtures comprising multiple standard sequences. Given
sequencing (or other quantitative nucleic acid detection 20 that it is often necessary to simultaneously analyze a large
techniques). To mitigate this problem a standard sequence            number of loci, it is useful to produce a mixture comprising
for locus A is employed, wherein the standard sequence               a large set standard sequences. Embodiments of the inven-
amplifies with essentially the same efficiency as locus A.           tion include mixtures comprising multiple standard
Similarly, a standard sequence for locus B is created,               sequences. Ideally the amount of each standard sequence in
wherein the standard sequence amplifies with the essentially 25 the mixture is known with high precision. However, it is
the same efficiency as locus B. A standard sequence oflocus          extremely difficult to achieve this ideal because as a practical
A and a standard sequence for locus B are added to the               matter there is a significant amount of variation in the
mixture prior to PCR (or other amplification techniques).            quantity of each standard sequence in the mixture, particu-
These standard sequences are present in known quantities,            larly for mixtures comprising a large number of different
either relative quantities or absolute quantities. Thus if a 1: 1 30 synthetic oligonucleotides. This variation has numerous
mixture of standard sequence A and standard sequence B               sources, e.g., variations in in vitro oligonucleotide synthesis
were added (prior to amplification) to the mixture in the            reaction efficiencies between batch, inaccuracies in volume
previous example, 3000 copies of the standard A amplicon             measurement, variations in pipetting, Furthermore, this
would be produced and 1000 copies of the standard B                  variation can occur between different batches of that theo-
amplicon would be produced, showing that locus A is 35 retically contain the exact same set of standard sequences in
amplified 3 times more efficiently than locus B, under the           the exact same amounts. Accordingly, it is of interest to
same set of conditions.                                              calibrate each batch of standard sequences independently.
   In various embodiments one or more selected regions of            Batches of standard sequences can be calibrated against
a genome containing a SNP (or other polymorphism) of                 reference genomes of known chromosomal composition.
interest can be specifically amplified and subsequently 40 Batched of standard sequences can be calibrated by sequenc-
sequenced. This target specific amplification can take place         ing the batch of standard sequences with minimal or no
during the formation of a genetic library for sequencing. The        amplifications steps included in the sequencing protocol.
library can contain numerous targeted regions for amplifi-           Embodiments of the invention include calibrated mixtures of
cation. In some embodiments at least 10; 100,300; 500; 750;          different standard sequences. Other embodiments of the
1,000; 2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 45 invention include methods of calibrating mixtures of differ-
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or           ent standard sequences and calibrated mixtures of different
100,000 regions of interest. Examples of such libraries are          standard sequences made by the subject methods.
described herein and can be found in U.S. Patent Application            Various embodiments of the subject mixtures of standard
No. 2012/0270212, filed Nov. 18, 2011, which is herein               sequences and methods for using them can comprise at least
incorporated by reference in its entirety.                        50 10; 100, 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
   Many high throughput DNA sequencing techniques                    15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
require the modification of the genetic starting material, e.g.,     40,000; 50,000; 75,000; or 100,000 or more standards
the litigation of universal priming sites and/or barcodes, so        sequences, as well as various intermediate amounts. The
as to form libraries to facilitate the clonal amplification of       number of the standard sequences can be the same as the
small nucleic acid fragments prior to performing subsequent 55 number of target sequences selected for analysis during the
sequencing reactions. In some embodiments, one or more               generation of a targeted library for DNA sequencing. How-
standard sequences are added during genetic library forma-           ever, in some embodiments, it may be advantageous to use
tion or added to a precursor component of a genetic library          a lower number of standard sequences than the number of
prior to amplification of the library. The standard sequences        targeted regions in the library being constructed. It may be
can be selected so as to mimic (yet be distinguishable based 60 advantageous to use the lower number so as avoid coming
on nucleotide base sequence) target genomic fragments to be          up against the limits of the sequencing capacity of the high
prepared for sequencing by a high throughput genetic                 throughput DNA sequencer being employed. The number of
sequencing technique. In one embodiment, the standard                standard sequences can be 50% or less than the number of
sequence can be identical to the target genomic fragment             targeted regions, 40% or less than the number of targeted
excepting one, two, three, four to ten, or eleven to twenty 65 regions, be 30% or less than the number of targeted regions,
nucleotides. In some embodiments, when the target genetic            20% or less than the number of targeted regions, be 10% or
sequence contains a SNP, the standard sequence can be                less than the number of targeted regions, 5% or less than the




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number of targeted regions, 1% or less than the number of         other embodiments, the standard sequences can have a
targeted regions, as well as various intermediate values. For     different primer sequence binding sites than the correspond-
example, if a genetic library is created using 15,000 pairs of    ing target sequences. In some embodiments, the standard
primers targeted to specific SNP containing loci, a suitable      sequences can be selected to produce amplicons that have
a mixture containing 1500 standard sequences correspond-          the same length as the length of amplicons produced from
ing to 1500 of the 15,000 targeted loci can be added prior to     the corresponding target sequences. In other embodiments,
the amplification step of library constructions.                  the standard sequences can be selected to produce amplicons
   The amount of standard sequences added during library          that have the slightly different lengths than the length of
construction can vary considerably among different embodi-        amplicons produced from the corresponding target
ments. In some embodiments, the amount of each standard 10 sequences.
sequence can be approximately the same as the predicted              After the amplification reactions have been completed,
amount of the target sequence present in the genomic              the library is sequenced on a high throughput DNA
material sample used for library preparation. In other            sequencer where individual molecule are clonally amplified
embodiments, the amount of each standard sequence can be          and sequenced. The number of sequence reads for each
greater or less than the predicted amount of the target 15 allele of the target sequence is counted, also counted are the
sequence present in the genomic material sample used for          number of sequence reads for the standard sequence corre-
library preparation. While the initial relative amounts of the    sponding to the target sequence. The process is also carried
target sequence and the standard sequence are not critical for    out for at least one other pair of target sequences and
the function of the invention, it is preferable that the amount   corresponding standard sequences. Consider for example,
be within the range 100 times greater to 100 times less than 20 locus A, XA 1 reads for allele 1 of locus A are produced; XA 2
the amount of the target sequence present in the genomic          reads for allele 2 oflocus A are produced, and XAc reads for
material sample used for library preparation. Excessive           standard sequence A are produced. The ratio of (XA 1 plus
amounts of standard may use too much sequencing capacity          XA 2 ) to XAc is determined for each locus of interest. As
of the DNA sequencer in a given run of the instrument.            discussed earlier, the process can be performed on a refer-
Using too low an amount of standard sequences will produce 25 ence genome, e.g., a genome that is known to be diploid for
insufficient data to aid in the analysis of variation in ampli-   all chromosomes. The process can be repeated many times
fication efficiency.                                              in order to provide a large number of read values so as to
   The standard sequences may be selected to be very similar      determine a mean number of reads and the standard devia-
in nucleotide base sequence to the amplified regions of           tion in the number of reads. The process is performed with
interest; preferably the standard sequence has the exact same 30 a mixture comprising a large number of different standard
primer-binding sites as the analyzed genomic region, i.e., the    sequences corresponding to different loci. By assuming that
"target sequence." The standard sequence must be distin-          (1) XA 1 plus XA 2 corresponds to the known number of
guishable from the corresponding target sequence at a given       chromosome, e.g., 2 for the normal human female genome
locus. For the sake of convenience, this distinguishable          and (2) the standard sequences have similar amplification
region of the standard sequence will be referred to as a 35 (and detectability) properties as their corresponding natural
"marker sequence." In some embodiments, the marker                loci, the relative amounts of the different standard sequences
sequence region of the target sequences contains the poly-        in the multiplex standard mixture can be determined. The
morphic region, e.g., a SNP, and can be flanked on both sides     calibrated multiplex standard sequence mixture can then be
by primer binding regions. The standard sequence may be           used to adjust for the variability in amplification efficiency
selected to closely match the GC content of the correspond- 40 between the different loci in a multiplex amplification reac-
ing target sequence. In some embodiments, the primer              tion.
binding regions of the standard sequence are flanked by              Other embodiments of the invention include methods and
universal priming sites. These universal priming sites are        compositions for measuring the copy number of specific
selected to match universal priming sites used in a genomic       genes of interest, including duplications and mutant genes
library for analysis. In other embodiments, the standard 45 characterized by large deletions that would interfere with
sequences do not have universal priming sites and the             quantitation by sequencing. Sequencing would have prob-
universal priming sites are added during the creation of a        lems detecting alleles having such deletions. Standard
library. Standard sequences are typically provided in single      sequences included the amplification process can be used to
stranded form. A standard sequence is defined with respect        reduce this problem.
to a corresponding target sequence and the sequence specific 50      In one embodiment of the invention the target sequence
reagents used to amplify the target sequence. In some             for analysis is a gene having a wild type (i.e. functional)
embodiments, the target sequence contains the polymor-            form and a mutant form characterized by a deletion. Exem-
phism of interest, e.g., a SNP, a deletion, or insertion, present plary of such genes is SMNl, an allele having deletion being
in the nucleic acid sample for analysis. The standard             responsible for the genetic disease spinal muscular atrophy
sequence is a synthetic polynucleotide that is similar in 55 (SMA). It is of interest to detect an individual carrying the
nucleotide base sequence to the target sequence, but is           mutant form of the gene by means of high throughput
nonetheless distinguishable from the target sequence by           genetic sequencing techniques. The application of such
virtue of at least one nucleotide base difference, thereby        techniques to the detection of deletion mutations can be
providing a mechanism for distinguishing amplicon                 problematic because, among other reasons, the lack of
sequences derived from the standard sequence form ampli- 60 sequences observed in sequencing (as opposed to detecting
con sequences derived from the target sequence. Standard          a simple point mutation or SNP). Such embodiments employ
sequences are selected so as to have essentially the same         (1) a pair of amplification primers specific for the gene of
amplification properties as the corresponding target              interest, where in the amplification primers will amplify the
sequence when amplified with the same set of amplification        gene of interest (or a portion thereof) and will not signifi-
reagents, e.g., PCR primers. In some embodiments, the 65 cantly amplify the mutant allele, (2) a standard sequence
standard sequences can have the same primer sequence              corresponding to the wild type allele of the gene of interest
binding sites than the corresponding target sequences. In         (i.e., a target sequence), but differing by at least one detect-




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able nucleotide base, (3) a pair of amplification primers            magnesium that is not bound by phosphate groups on
specific for a second target sequence that serves as a               dNTPs, primers, or nucleic acid templates, or carboxylic
reference sequence, and (4) a standard sequence correspond-          acid groups on magnetic or other beads, if present) is
ing to the reference sequence.                                       between 0.5 to 10 mM, such as between 1 and 8 mM, 1 and
   In one embodiment of the invention is provided a method           5m~1~3m~3~5m~3~6m~4~6m~
for measuring the number of copies of the gene of interest,          or 5 and 8 mM, inclusive. The large number of primers used
where in the gene of interest has one meaning allele that            for multiplex PCR of a large number of targets may chelate
comprises a deletion. The method can employ amplification            a lot of the magnesium (2 phosphates in the primers chelate
reagent specific for the gene of interest, e.g., PCR primers,        1 magnesium). For example, if enough primers are used
that are specific for the gene of interest by amplifying at least 10 such that the concentration of phosphate from the primers is
a portion of the gene of interest, or the entire gene of interest,   -9 mM, then the primers may reduce the effective magne-
or a region adjacent to the gene of interest, while not              sium concentration by -4.5 mM. In some embodiments,
amplifying the deletion comprising allele of the gene of             EDTA is used to decrease the amount of magnesium avail-
interest. Additionally the subject method employs a standard         able as a cofactor for the polymerase since high concentra-
sequence corresponding to the gene of interest, wherein the 15 tions of magnesium can result in PCR errors, such as
standard sequence differs by at least one nucleotide base            amplification of non-target loci. In some embodiments, the
from the gene of interest (so that the sequence of the               concentration of EDTA reduces the amount of available
standard sequence can be readily distinguished from the              magnesium to between 1 and 5 mM (such as between 3 and
naturally occurring gene of interest). Typically, the standard       5 mM).
sequence will contain the same primer binding sites as the 20           In some embodiments, the pH is between 7.5 and 8.5,
gene of interest so as to minimize any amplification dis-            such as between 7.5 and 8, 8 and 8.3, or 8.3 and 8.5,
crimination between the gene of interest and the standard            inclusive. In some embodiments, Tris is used at, for
sequence corresponding to the gene of interest. The reaction         example, a concentration of between 10 and 100 mM, such
will also comprises amplification reagents specific for a            as between 10 and 25 mM, 25 and 50 mM, 50 and 75 mM,
reference sequence. The reference sequence is a sequence of 25 or 25 and 75 mM, inclusive. In some embodiments, any of
known (or at least assumed to be known) copy number in the           these concentrations of Tris are used at a pH between 7.5 and
genome to be analyzed. The reaction further comprises a              8.5. In some embodiments, a combination of KC! and
standard sequence corresponding to the reference sequence.           (NH4 ) 2 S04 is used, such as between 50 and 150 mM KC!
Typically, the standard sequence corresponding to the ref-           and between 10 and 90 mM (NH4 ) 2 S04 , inclusive. In some
erence sequence will contain the same primer binding sites 30 embodiments, the concentration of KC! is between O and 30
as the reference sequence so as to minimize any amplifica-           mM, between 50 and 100 mM, or between 100 and 150 mM,
tion discrimination between the reference sequence and the           inclusive. In some embodiments, the concentration of
standard sequence corresponding to the reference sequence.           (NH4 ) 2 S04 is between 10 and 50 mM, 50 and 90 mM, 10
Exemplary PCR Conditions                                             and 20 mM, 20 and 40 mM, 40 mM and 60, or 60 mM and
   If desired, any of the PCR conditions disclosed herein or 35 80 mM (NH4 ) 2 S04 , inclusive. In some embodiments, the
any standard PCR conditions can be used to test a primer             ammonium [NH4 +] concentration is between O and 160 mM,
library to determine, e.g., the percent of primer dimers,            such as between O to 50, 50 to 100, or 100 to 160 mM,
percent of target amplicons, and percent of target loci that         inclusive. In some embodiments, the sum of the potassium
are amplified. If desired, standard methods can be used to           and anmionium concentration ([K+]+[NH4 +]) is between 0
optimize the reaction conditions to improve the performance 40 and 160 mM, such as between O to 25, 25 to 50, 50 to 150,
of a primer library. Any of these PCR conditions may also            50 to 75, 75 to 100, 100 to 125, or 125 to 160 mM, inclusive.
be used in any of the methods of the invention to amplify            An exemplary buffer with [K+ ]+[NH4 +]=120 mM is 20 mM
target loci. It was determined that high ionic strength solu-        KC! and 50 mM (NH4 ) 2 S04 . In some embodiments, the
tions can surprisingly be used for multiplex PCR. In some            buffer includes 25 to 75 mM Tris, pH 7.2 to 8, 0 to 50 mM
embodiments, monovalent cations are used to increase the 45 KCL, 10 to 80 mM anmionium sulfate, and 3 to 6 mM
ionic strength to, e.g., help the primers bind the template.         magnesium, inclusive. In some embodiments, the buffer
   In some embodiments, the reaction volume includes eth-            includes 25 to 75 mM Tris pH 7 to 8.5, 3 to 6 mM MgC 2 ,
ylenediaminetetraacetic acid (EDTA), magnesium, tetram-              10 to 50 mM KC!, and 20 to 80 mM (NH4 ) 2 S04 , inclusive.
ethyl ammonium chloride (TMAC), or any combination                   In some embodiments, 100 to 200 Units/mL of polymerase
thereof. In some embodiments, the concentration of TMAC 50 are used. In some embodiments, 100 mM KC!, 50 mM
is between 20 and 80 mM, such as between 25 and 70 mM,               (NH4 ) 2 S04 , 3 mM MgC 2 , 7.5 nM of each primer in the
30 and 60 mM, 30 and 40 mM, 40 and 50 mM, 50 and 60                  library, 50 mM TMAC, and 7 ul DNA template in a 20 ul
mM, or 60 and 70 mM, inclusive. While not meant to be                final volume at pH 8.1 is used.
bound to any particular theory, it is believed that TMAC                In some embodiments, a crowding agent is used, such as
binds to DNA, stabilizes duplexes, increases primer speci- 55 polyethylene glycol (PEG, such as PEG 8,000) or glycerol.
ficity, and/or equalizes the melting temperatures of different       In some embodiments, the amount of PEG (such as PEG
primers. In some embodiments, TMAC increases the uni-                8,000) is between 0.1 to 20%, such as between 0.5 to 15%,
formity in the amount of amplified products for the different        1 to 10%, 2 to 8%, or 4 to 8%, inclusive. In some embodi-
targets. In some embodiments, the concentration of magne-            ments, the amount of glycerol is between 0.1 to 20%, such
sium (such as magnesium from magnesium chloride) is 60 as between 0.5 to 15%, 1 to 10%, 2 to 8%, or 4 to 8%,
between 1 and 10 mM, such as between 1 and 8 mM, 1 and               inclusive. In some embodiments, a crowding agent allows
5 mM, 1 and 3 mM, 3 and 5 mM, 3 and 6 mM, or 5 and 8                 either a low polymerase concentration and/or a shorter
mM, inclusive.                                                       annealing time to be used. In some embodiments, a crowd-
   In some embodiments, the concentration of available               ing agent improves the uniformity of the DOR and/or
magnesium (the concentration of magnesium that is 65 reduces dropouts (undetected alleles). For example, at 8%
assumed to be available for binding the polymerase and not           PEG, and 50 U/mL polymerase, the uniformity was as good
bound to molecules other than the polymerase), such as the           as 150 U/mL polymerase and no PEG. If the error rate




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increases when PEG is included, a higher magnesium chlo-            merase (M0493S, New England BioLabs, Inc.). In some
ride concentration (such greater than or about 4, 5, 6, 7, 8,       embodiments, the polymerase is a T4 DNA polymerase
9, or 10 MgC 2 ) can be used to reduce or prevent the increase      (M0203S, New England BioLabs, Inc.; Tabor and Struh.
in error rate. Inclusion of 8% PEG 8,000 allowed successful         (1989). "DNA-Dependent DNA Polymerases," In Ausebel
multiplexing with an annealing time of only 1 minute at an 5 et al. (Ed.), Current Protocols in Molecular Biology. 3.5.10-
annealing temperature of 63° C.                                     3.5.12. New York: John Wiley & Sons, Inc., 1989; Sam-
   In some embodiments, a polymerase with proof-reading             brook et al. Molecular Cloning: A Laboratory Manual. (2nd
activity, a polymerase without (or with negligible) proof-          ed.), 5.44-5.47. Cold Spring Harbor: Cold Spring Harbor
reading activity, or a mixture of a polymerase with proof-          Laboratory Press, 1989, which are each hereby incorporated
reading activity and a polymerase without (or with negli- 10 by reference in its entirety).
gible) proof-reading activity is used. In some embodiments,            In some embodiment, between 5 and 600 Units/mL (Units
a hot start polymerase, a non-hot start polymerase, or a            per 1 mL of reaction volume) of polymerase is used, such as
mixture of a hot start polymerase and a non-hot start               between 5 to 100, 100 to 200, 200 to 300, 300 to 400, 400
polymerase is used. In some embodiments, a HotStarTaq               to 500, or 500 to 600 Units/mL, inclusive. One unit is
DNA polymerase is used (see, for example, QIAGEN cata- 15 commonly defined as the amount of enzyme that will
log No. 203203, see, e.g., information available at the World       incorporate 15 nmol of dNTP into acid-insoluble material in
Wide Web at giagen.com/us/products/catalog/assay-tech-              30 minutes at 75° C. Exemplary assay conditions for mea-
nologies/end-point-pcr-and-rt-pcr-reagents/hotstartaq-dna-          suring unit activity include lx THERMOPOL Reaction
polymerase/, which is hereby incorporated by reference in           Buffer, 200 µM dNTPs including [3 H]-dTTP and 200 µg/ml
its entirety). In some embodiments, AmpliTaq Gold® DNA 20 activated Calf Thymus DNA (see, e.g., information available
Polymerase is used; it is a chemically modified form of             at the world wide web at neb.com/products/m0267-taq-dna-
AmpliTaq® DNA Polymerase requiring thermal activation               polymerase-with-thermopol-buffer, which is hereby incor-
(see, for example, Applied Biosystems catalog                       porated by reference in its entirety). lx THERMOPOL®
No._N8080241 see, e.g., information available at the World          Reaction Buffer contains 20 mM Tris-HCI, 10 mM (NH4 ) 2
Wide Web at lifetechnoloies.com/order/catalog/product/ 25 SO4 , 10 mM KC!, 2 mM MgSO4 , and 0.1% TRITON®
N8080241, which is hereby incorporated by reference in its          X-100, pH 8.8.
entirety). In some embodiments, KAPA Taq DNA Poly-                     In some embodiments, hot-start PCR is used to reduce or
merase or KAPA Taq HotStart DNA Polymerase is used;                 prevent polymerization prior to PCR thermocycling. Exem-
they are based on the single-subunit, wild-type Taq DNA             plary hot-start PCR methods include initial inhibition of the
polymerase of the thermophilic bacterium Therm us aquati- 30 DNA polymerase, or physical separation of reaction com-
cus. KAPA Taq and KAPA Taq HotStart DNA Polymerase                  ponents reaction until the reaction mixture reaches the
have 5'-3' polymerase and 5'-3' exonuclease activities, but no      higher temperatures. In some embodiments, the enzyme is
3' to 5' exonuclease (proofreading) activity (see, for              spatially separated from the reaction mixture by wax that
example, KAPA BIOSYSTEMS catalog No._BKl000 see,                    melts when the reaction reaches high temperature. In some
e.g., information available at the World Wide Web at kapa- 35 embodiments, slow release of magnesium is used. DNA
biosystems.com/product-applications/products/pcr-2/kapa-            polymerase requires magnesium ions for activity, so the
taq-pcr-kits/, which is hereby incorporated by reference in         magnesium is chemically separated from the reaction by
its entirety). In some embodiments, Pfu DNA polymerase is           binding to a chemical compound, and is released into the
used; it is a highly thermostable DNA polymerase from the           solution only at high temperature. In some embodiments,
hyperthermophilic archaeum Pyrococcus furiosus. The 40 non-covalent binding of an inhibitor is used. In this method
enzyme catalyzes the template-dependent polymerization of           a peptide, antibody, or aptamer are non-covalently bound to
nucleotides into duplex DNA in the 5'-3' direction. Pfu DNA         the enzyme at low temperature and inhibit its activity. After
Polymerase also exhibits 3'-5' exonuclease (proofreading)           incubation at elevated temperature, the inhibitor is released
activity that enables the polymerase to correct nucleotide          and the reaction starts. In some embodiments, a cold-
incorporation errors. It has no 5'-3' exonuclease activity (see, 45 sensitive Taq polymerase is used, such as a modified DNA
for example, Thermo Scientific catalog No._EP0501 see,              polymerase with almost no activity at low temperature. In
e.g., information available at the World Wide Web at ther-          some embodiments, chemical modification is used. In this
moscientificbio.com/pcr-enzymes-master-mixes-and-re-                method, a molecule is covalently bound to the side chain of
agents/pfu-dna-polymerase/, which is hereby incorporated            an amino acid in the active site of the DNA polymerase. The
by reference in its entirety). In some embodiments Klentaql 50 molecule is released from the enzyme by incubation of the
is used; it is a Kienow-fragment analog of Taq DNA                  reaction mixture at elevated temperature. Once the molecule
polymerase, it has no exonuclease or endonuclease activity          is released, the enzyme is activated.
(see, for example, DNA POLYMERASE TECHNOLOGY,                          In some embodiments, the amount to template nucleic
Inc, St. Louis, Mo., catalog No._100 see, e.g., information         acids (such as an RNA or DNA sample) is between 20 and
available at the World Wide Web at klentaq.com/products/ 55 5,000 ng, such as between 20 to 200, 200 to 400, 400 to 600,
klentaq, which is hereby incorporated by reference in its           600 to 1,000; 1,000 to 1,500; or 2,000 to 3,000 ng, inclusive.
entirety). In some embodiments, the polymerase is a PUSH-              In some embodiments QIAGEN Multiplex PCR Kit is
ION DNA polymerase, such as PHUSION High Fidelity                   used (QIAGEN catalog No. 206143; see, e.g., information
DNA polymerase (M0530S, New England BioLabs, Inc.) or               available at the World Wide Web at giagen.com/products/
PHUSION Hot Start Flex DNA polymerase (M0535S, New 60 catalog/assay-technologies/end-point-pcr-and-rt-pcr-re-
England BioLabs, Inc.; Frey and Suppman BioChemica.                 agents/qiagen-multiplex-pcr-kit, which is hereby incorpo-
2:34-35, 1995; Chester and Marshak Analytical Biochemis-            rated by reference in its entirety). For 100x50 µI multiplex
try. 209:284-290, 1993, which are each hereby incorporated          PCR reactions, the kit includes 2x QIAGEN Multiplex PCR
by reference in its entirety). In some embodiments, the             Master Mix (providing a final concentration of 3 mM
polymerase is a Q5® DNA Polymerase, such as Q5® 65 MgCl 2 , 3x0.85 ml), 5x Q-Solution (lx2.0 ml), and RNase-
High-Fidelity DNA Polymerase (M0491S, New England                   Free Water (2xl .7 ml). The QIAGEN Multiplex PCR Master
BioLabs, Inc.) or Q5® Hot Start High-Fidelity DNA Poly-             Mix (MM) contains a combination of KC! and (NH4 ) 2 SO4




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as well as the PCR additive, Factor MP, which increases the        measuring the number of target loci for which there are
local concentration of primers at the template. Factor MP          sequencing reads that map to the target loci; the number of
stabilizes specifically bound primers, allowing efficient          copies of a particular amplified target loci can be determined
primer extension by HotStarTaq DNA Polymerase. HotStar-            based on the number of sequencing reads that map to that
Taq DNA Polymerase is a modified form of Taq DNA 5 target loci (such as by comparing the number of sequencing
polymerase and has no polymerase activity at ambient               reads compared to the sequences reads from a standard of
temperatures. In some embodiments, HotStarTaq DNA                  known concentration or amount).
Polymerase is activated by a 15-minute incubation at 95° C.           FIG. 45 contains data (such as percent mapped reads and
which can be incorporated into any existing thermal-cycler         error rate) from multiplex PCR with various buffers. In this
program.                                                        10 figure, "lxMM" denotes lx QIAGEN Master Mix (the
   In some embodiments, lx QIAGEN MM final concen-                 recommended concentration) discussed above, and
tration (the recommended concentration), 7.5 nM of each            "2xMM" denotes 2x QIAGEN Master Mix (twice the
primer in the library, 50 mM TMAC, and 7 ul DNA template           recommended concentration). FIG. 45 also lists the compo-
in a 20 ul final volume is used. In some embodiments, the          nents of buffer F-A (also called F-A Gold), F-B (also called
PCR thermocycling conditions include 95° C. for 10 min- 15 F-B Gold), F-D, andF-J (also calledF-B QiagenorF-B Qia)
utes (hot start); 20 cycles of 96° C. for 30 seconds; 65° C.       as well as the amount and type of polymerase used to
for 15 minutes; and 72° C. for 30 seconds; followed by 72°         generate the data. FIG. 46 is a graph illustrating the unifor-
C. for 2 minutes (final extension); and then a 4° C. hold.         mity in DOR for multiplex PCR with buffers from FIG. 45.
   In some embodiments, 2x QIAGEN MM final concen-                 FIG. 47 is a graph illustrating the normalized depth of read
tration (twice the recommended concentration), 2 nM of 20 (DOR) for multiplex PCR with buffers from FIG. 45 with
each primer in the library, 70 mM TMAC, and 7 ul DNA               the DOR normalized to that of buffer 2xMM.
template in a 20 ul total volume is used. In some embodi-          Limit of Detection
ments, up to 4 mM EDTA is also included. In some                      As demonstrated by experiments provided in the
embodiments, the PCR thermocycling conditions include              Examples section, methods provided herein are capable of
95° C. for 10 minutes (hot start); 25 cycles of 96° C. for 30 25 detecting an average allelic imbalance in a sample with a
seconds; 65° C. for 20 minutes; and 72° C. for 30 seconds);        limit of detection or sensitivity of 0.45% AAI, which is the
followed by 72° C. for 2 minutes (final extension); and then       limit of detection for aneuploidy of an illustrative method of
a 4° C. hold.                                                      the present invention. Similarly, in certain embodiments,
   Another exemplary set of PCR thermocyling conditions            methods provided herein are capable of detecting an average
includes 95° C. for 10 minutes, 15 cycles of 95° C. for 30 30 allelic imbalance in a sample of 0.45, 0.5, 0.6, 0.8, 0.8, 0.9,
seconds, 65° C. for 1 minute, 60° C. for 5 minutes, 65° C.         or 1.0%. That is, the test method is capable of detecting
for 5 minutes and 72° C. for 30 seconds; and then 72° C. for       chromosomal aneuploidy in a sample down to an AAI of
2 minutes. In some embodiments, this set of PCR thermo-            0.45, 0.5, 0.6, 0.8, 0.8, 0.9, or 1.0%. As demonstrated by
cyling conditions is used with the following reaction con-         experiments provided in the Examples section, methods
ditions: 100 mM KC!, 50 mM (NH4 ) 2 SO4 , 3 mM MgCl 2 , 7 .5 35 provided herein are capable of detecting the presence of an
nM of each primer in the library, 50 mM TMAC, and 7 ul             SNV in a sample for at least some SNVs, with a limit of
DNA template in a 20 ul final volume at pH 8.1.                    detection or sensitivity of 0.2%, which is the limit of
   Another exemplary set of conditions includes a semi-            detection for at least some SNVs in one illustrative embodi-
nested PCR approach. The first PCR reaction uses 20 ul a           ment. Similarly, in certain embodiments, the method is
reaction volume with 2x QIAGEN MM final concentration, 40 capable of detecting an SNV with a frequency or SNV AAI
1.875 nM of each primer in the library (outer forward and          of 0.2, 0.3, 0.4, 0.5, 0.6, 0.8, 0.8, 0.9, or 1.0%. That is, the
reverse primers), and DNA template.                                test method is capable of detecting an SNV in a sample
   Thermocycling parameters include 95° C. for 10 minutes;         down to a limit of detection of0.2, 0.3, 0.4, 0.5, 0.6, 0.8, 0.8,
25 cycles of 96° C. for 30 seconds, 65° C. for 1 minute, 58°       0.9, or 1.0% of the total allele counts at the chromosomal
C. for 6 minutes, 60° C. for 8 minutes, 65° C. for 4 minutes, 45 locus of the SNV.
and 72° C. for 30 seconds; and then 72° C. for 2 minutes, and         In some embodiments, a limit of detection of a mutation
then a 4° C. hold. Next, 2 ul of the resulting product, diluted    (such as an SNV or CNV) of a method of the invention is
1:200, is as input in a second PCR reaction. This reaction         less than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or
uses a 10 ul reaction volume with lx QIAGEN MM final               0.005%. In some embodiments, a limit of detection of a
concentration, 20 nM of each inner forward primer, and 1 50 mutation (such as an SNV or CNV) of a method of the
uM of reverse primer tag. Thermocycling parameters                 invention is between 15 to 0.005%, such as between 10 to
include 95° C. for 10 minutes; 15 cycles of 95° C. for 30          0.005%, 10 to 0.01 %, 10 to 0.1 %, 5 to 0.005%, 5 to 0.01 %,
seconds, 65° C. for 1 minute, 60° C. for 5 minutes, 65° C.         5 to 0.1%, 1 to 0.005%, I to 0.01%, 1 to 0.1%, 0.5 to
for 5 minutes, and 72° C. for 30 seconds; and then 72° C. for      0.005%, 0.5 to 0.01 %, 0.5 to 0.1 %, or 0.1 to 0.01, inclusive.
2 minutes, and then a 4 ° C. hold.                              55    In some embodiments, a limit of detection is such that a
   Any of the methods disclosed herein or any standard             mutation (such as an SNV or CNV) that is present in less
methods can be used to test a primer library to determine,         than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005%
e.g., the percent of primer dimers, percent of target ampli-       of the DNA or RNA molecules with that locus in a sample
cons, and percent of target loci that are amplified. In some       (such as a sample of cfDNA or cfRNA) is detected (or is
embodiments, the PCR products are sequenced as described 60 capable of being detected). For example, the mutation can be
in Example 15 or using standard sequencing methods. In             detected even if less than or equal to 10, 5, 2, 1, 0.5, 0.1,
some embodiments, the percentage of primer dimers can be           0.05, 0.01, or 0.005% of the DNA or RNA molecules that
determined by measuring the number of sequencing reads             have that locus have that mutation in the locus (instead of,
from primer dimers, the percentage of amplified products           for example, a wild-type or non-mutated version of the locus
that are target amplicons can be determined by measuring 65 or a different mutation at that locus). In some embodiments,
the number of sequencing reads that map to target loci; the        a limit of detection is such that a mutation (such as an SNV
percent of target loci that arc amplified can be determined by     or CNV) that is present in less than or equal to 10, 5, 2, 1,




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0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or RNA                   to determine ploidy state in combination with some of the
molecules in a sample (such as a sample of cfDNA or                 methods described herein, provided the methods are com-
cfRNA) is detected (or is capable of being detected). In            patible. In some embodiments, a method disclosed herein
some embodiments in which the CNV is a deletion, the                involves calculating, on a computer, allele ratios at the
deletion can be detected even if it is only present in less than    plurality of polymorphic loci from the DNA measurements
or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the     made on the processed samples. In some embodiments, a
DNA or RNA molecules that have a region of interest that            method disclosed herein involves calculating, on a com-
may or may not contain the deletion in a sample. In some            puter, allele ratios at the plurality of polymorphic loci from
embodiments in which the CNV is a deletion, the deletion            the DNA measurements made on the processed samples
can be detected even if it is only present in less than or equal 10
                                                                    along with any combination of other improvements
to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or
                                                                    described in this disclosure. Exemplary methods for isolat-
RNA molecules in a sample. In some embodiments in which
                                                                    ing fetal cells, such as a single fetal cell are disclosed in U.S.
the CNV is a duplication, the duplication can be detected
even if the extra duplicated DNA or RNA that is present is          Ser. No. 61/978,648, filed Apr. 11, 2014 and U.S. Ser. No.
less than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 15 61/984,546, filed Apr. 25, 2014. Fetal cells or fetal nucleic
0.005% of the DNA or RNA molecules that have a region of            acids can be isolated from a pregnant mother using invasive
interest that may or may not be duplicated in a sample in a         (such as CVS or amniocentesis) or noninvasive methods
sample. In some embodiments in which the CNV is a                   (such as from a maternal blood sample).
duplication, the duplication can be detected even if the extra         In some embodiments, this method may be used to
duplicated DNA or RNA that is present is less than or equal 20 genotype a single cell, a small number of cells, two to five
to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or       cells, six to ten cells, ten to twenty cells, twenty to fifty cells,
RNA molecules in a sample. Experiment 23 provides exem-             fifty to one hundred cells, one hundred to one thousand cells,
plary methods for calculating the limit of detection. In some       or a small amount of extracellular DNA, for example from
embodiments, the "LOD-zs5.0-mr5" method of Example 23               one to ten picograms, from ten to one hundred pictograms,
is used.                                                         25 from one hundred pictograms to one nanogram, from one to
Exemplary Nucleic Acid Samples                                      ten nanograms, from ten to one hundred nanograms, from 30
   In some embodiments, the genetic sample may be pre-              to 500 nanograms, or from one hundred nanograms to one
pared and/or purified. There are a number of standard               microgram. ln some embodiments, nucleic acids (such as
procedures known in the art to accomplish such an end. In           DNA and/or RNA) from less than 100, 75, 50, 40, 30, 20, 10,
some embodiments, the sample may be centrifuged to sepa- 30 8, 6, 4, 2, or 1 cell is amplified with any of the methods of
rate various layers. In some embodiments, the DNA may be
                                                                    the invention. In some embodiments, the nucleic acid
isolated using filtration. In some embodiments, the prepa-
                                                                    sample includes less than 80, 60, 40, 20, or 10% of the
ration of the DNA may involve amplification, separation,
                                                                    nucleic acids (such as DNA and/or RNA) from a single cell.
purification by chromatography, liquid separation, isolation,
preferential enrichment, preferential amplification, targeted 35 In some embodiments, in which a small number of cells
amplification, or any of a number of other techniques either        (such as one cell) or a small amount of nucleic acids is used,
known in the art or described herein.                               nested PCR such as hemi-nested or semi-nested PCR is used
   In some embodiments, a method disclosed herein could             and/or the number of PCR cycles is increased compare to
be used in situations where there is a very small amount of         that used for samples with a larger amount of cells or nucleic
DNA present, such as in in vitro fertilization, or in forensic 40 acids. In some embodiments, a large amount of cells or
situations, where one or a few cells are available (typically       nucleic acids are used (such as in cases in which a larger
less than ten cells, less than twenty cells or less than 40         amount is desired to improve performance of any of the
cells.) In these embodiments, a method disclosed herein             methods of the invention. In some embodiments, a sample
serves to make ploidy calls from a small amount of DNA              with at least 2, 5, 10, 15, 20, 30, 50, 100, or more cells (or
that is not contaminated by other DNA, but where the ploidy 45 DNA or RNA from such cells) is used in any of the methods
calling very difficult the small amount of DNA. In some             of the invention. In some embodiments, at least 0.5, 1, 10,
embodiments, a method disclosed herein could be used in             25, 50,100,500, 1,000; or 5,000 ng of DNA or RNA is used.
situations where the target DNA is contaminated with DNA               In some embodiments, the cells in the sample are lysed
of another individual, for example in maternal blood in the         prior to PCR. In some embodiments, the Arcturus PicoPure
context of prenatal diagnosis, paternity testing, or products 50 DNA extraction kit from Applied Biosystems is used. (Ap-
of conception testing. Some other situations where these            plied Biosystems cat. No. KIT0103, see, e.g., information
methods would be particularly advantageous would be in the          available at the World Wide Web at lifetechnologies.com/
case of cancer testing where only one or a small number of          order/catalog/product/KIT0 103 ?I CID=search-product,
cells were present among a larger amount of normal cells.           which is hereby incorporated by reference in its entirety).
The genetic measurements used as part of these methods 55 This kit contains Arcturus reconstitution buffer and Protease
could be made on any sample comprising DNA or RNA, for              K. In some embodiments, the following cell lysis thermo-
example but not limited to: blood, plasma, body fluids,             cycling protocol is used: 56° C. for 1 hour, 95° C. for 10
urine, hair, tears, saliva, tissue, skin, fingernails, blasto-      minutes, 25° C. for 15 minutes, and then a 4° C. hold.
meres, embryos, fetal cells, anmiotic fluid, chorionic villus          In some embodiments, the nucleic acids are processed
samples, feces, bile, lymph, cervical mucus, semen, or other 60 using the consecutive steps of end-repairing, dA-tailing, and
cells or materials comprising nucleic acids. In an embodi-          adaptor ligating the nucleic acids. The consecutive steps
ment, a method disclosed herein could be run with nucleic           exclude purifying the end-repaired products prior to the
acid detection methods such as sequencing, microarrays,             dA-tailing step and exclude purifying the dA-tailing prod-
qPCR, digital PCR, or other methods used to measure                 ucts prior to the adaptor ligating step. The resulting products
nucleic acids. If for some reason it were found to be 65 are amplified in any of the multiplex PCR methods of the
desirable, the ratios of the allele count probabilities at a        invention. In some embodiments, the amplified products are
locus could be calculated, and the allele ratios could be used      then sequenced.




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Exemplary Nucleic Acid Studies                                         during gene expression profiling experiments. For example,
   The multiplex PCR methods of the invention can be used              the expression levels of thousands of genes can be simul-
to increase the number of target loci that can be evaluated to         taneously monitored to determine whether a person has a
measure the amount of one or more specific nucleic acid                sequence (such as a polymorphism or other mutation) asso-
molecules of interest or of one or more types of nucleic               ciated with a disease (such as cancer) or an increased risk of
acids. In some embodiments, there is a change in the total             a disease. These methods can be used to identify sequences
amount or concentration of one or more types of DNA (such              (such as polymorphisms or other mutations) associated with
as cfDNA cf mDNA, cf nDNA, cellular DNA, or mitochon-                  an increased or decreased risk for a disease such as cancer
drial DNA) or RNA (cfRNA, cellular RNA, cytoplasmic                    by comparing gene expression (such as the expression of
RNA, coding cytoplasmic RNA, non-coding cytoplasmic 10 particular mRNA alleles) in samples from patients with and
RNA, mRNA, miRNA, mitochondrial RNA, rRNA, or                          without the disease. Additionally, the effect of particular
tRNA). In some embodiments, there is a change in the                   treatments, diseases, or developmental stages on gene
amount or concentration of one or more specific DNA (such              expression can be determined. Similarly, these methods can
as cfDNA cf mDNA, cf nDNA, cellular DNA, or mitochon-                  be used to identify genes whose expression is changed in
drial DNA) or RNA (cfRNA, cellular RNA, cytoplasmic 15 response to pathogens or other organisms by comparing
RNA, coding cytoplasmic RNA, non-coding cytoplasmic                    gene expression in infected and uninfected cells or tissues.
RNA, mRNA, miRNA, mitochondrial RNA, rRNA, or                          In these methods the number of sequencing reads can be
tRNA) molecules. In some embodiments, one allele is                    adjusted based on the frequency of the polymorphisms that
expressed more than another allele of a locus of interest.             are being analyzed such that sufficient reads are performed
Exemplary miRNAs are short 20-22 nucleotide RNA mo!- 20 for the polymorphisms to be detected if they are present. In
ecules that regulate the expression of a gene. In some                 some embodiments, the polymorphisms or mutation is pres-
embodiments, there is a change in the transcriptome, such as           ent at a higher frequency in subjects with a disease or
a change in the identity or amount of one or more RNA                  disorder (such as cancer) than subjects without the disease or
molecules.                                                             disorder (such as cancer). In some embodiments, the poly-
   In some embodiments, an increase in the total amount or 25 morphisms or mutation is indicative of cancer, such as a
concentration of cfDNA or cfRNA is associated with a                   causative mutation.
disease such as cancer, or an increased risk for a disease such           In some embodiments, a sample containing RNA (such as
as cancer. In some embodiments, the total concentration of             mRNA) is amplified using a reverse transcriptase (RT) and
a type ofDNA(suchas cfDNAcfmDNA, cfnDNA, cellular                      the resulting DNA (such as cDNA) is then amplified using
DNA, or mitochondrial DNA) or RNA (cfRNA, cellular 30 a DNA polymerase (PCR). The RT and PCR steps may be
RNA, cytoplasmic RNA, coding cytoplasmic RNA, non-                     carried out sequentially in the same reaction volume or
coding cytoplasmic RNA, mRNA, miRNA, mitochondrial                     separately. Any of the primer libraries of the invention can
RNA, rRNA, or tRNA) increases by at least 2, 3, 4, 5, 6, 7,            be used in this reverse transcription polymerase chain reac-
8, 9, 10-fold, or more compared to the total concentration of          tion (RT-PCR) method. In various embodiments, the reverse
that type of DNA or RNA in healthy (such as non-cancerous) 35 transcription is performed using oligo-dT, random primers,
subjects. In some embodiments, a total concentration of                a mixture of oligo-dT and random primers, or primers
cfDNA between 75 to 100 ng/mL, 100 to 150 ng/mL, 150 to                specific to the target loci. To avoid amplification of con-
200 ng/mL, 200 to 300 ng/mL, 300 to 400 ng/mgL, 400 to                 taminating genomic DNA, primers for RT-PCR can be
600 ng/mL, 600 to 800 ng/mL, 800 to 1,000 ng/mL, inclu-                designed so that part of one primer hybridizes to the 3' end
sive, or a total concentration of cfDNA of more than 100 ng, 40 of one exon and the other part of the primer hybridizes to the
mL, such as more than 200, 300, 400, 500, 600, 700, 800,               5' end of the adjacent exon. Such primers anneal to cDNA
900, or 1,000 ng/mL is indicative of cancer, an increased risk         synthesized from spliced mRNAs, but not to genomic DNA.
for cancer, an increased risk of a tumor being malignant               To detect amplification of contaminating DNA, RT-PCR
rather than benign, a decreased probably of the cancer going           primer pairs may be designed to flank a region that contains
into remission, or a worse prognosis for the cancer. In some 45 at least one intron. Products amplified from cDNA (no
embodiments, the amount of a type of DNA (such as cfDNA                intrans) are smaller than those amplified from genomic
cf mDNA, cf nDNA, cellular DNA, or mitochondrial DNA)                  DNA (containing intrans). Size difference in products is
or RNA (cfRNA, cellular RNA, cytoplasmic RNA, coding                   used to detect the presence of contaminating DNA. In some
cytoplasmic RNA, non-coding cytoplasmic RNA, mRNA,                     embodiments when only the mRNA sequence is known,
miRNA, mitochondrial RNA, rRNA, or tRNA) having one 50 primer annealing sites are chosen that are at least 300-400
or more polymorphisms/mutations (such as deletions or                  base pairs apart since it is likely that fragments of this size
duplications) associated with a disease such as cancer or an           from eukaryotic DNA contain splice junctions. Alterna-
increased risk for a disease such as cancer is at least 2, 3, 4,       tively, the sample can be treated with DNase to degrade
5, 6, 7, 8, 9, 10, 11, 12, 14, 16, 18, 20, or 25% of the total         contaminating DNA.
amount of that type of DNA or RNA. In some embodiments, 55 Exemplary Methods for Paternity Testing
at least 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 16, 18, 20, or 25%       The multiplex PCR methods of the invention can be used
of the total amount of a type of DNA (such as cfDNA cf                 to improve the accuracy of paternity testing since so many
mDNA, cf nDNA, cellular DNA, or mitochondrial DNA) or                  target loci can be analyzed at once (see, e.g, U.S. Publication
RNA (cfRNA, cellular RNA, cytoplasmic RNA, coding                      No. 2012/0122701, filed Dec. 22, 2011, is which is hereby
cytoplasmic RNA, non-coding cytoplasmic RNA, mRNA, 60 incorporated by reference in its entirety). For example, the
miRNA, mitochondrial RNA, rRNA, or tRNA) has a par-                    multiplex PCR method can allow thousands of polymorphic
ticular polymorphism or mutation (such as a deletion or                loci (such as SNPs) to be analyzed for use in the PAREN-
duplication) associated with a disease such as cancer or an            TAL SUPPORT algorithm described herein to determine
increased risk for a disease such as cancer.                           whether an alleged father in is the biological father of a
Exemplary RNA Expression Studies                                    65 fetus. In some embodiments the method involves (i) simul-
   The multiplex PCR methods of the invention can be used              taneously amplifying a plurality of polymorphic loci that
to increase the number of target loci that can be evaluated            includes at least 25; 50; 75; 100; 300; 500; 750; 1,000;




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2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;                thereof. The characteristic may be associated with a chro-
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or          mosome taken from the group consisting of chromosome
100,000 different polymorphic loci on genetic material from         one, chromosome two, chromosome three, chromosome
the alleged father to produce a first set of amplified products;    four, chromosome five, chromosome six, chromosome
(ii) simultaneously amplifying the corresponding plurality          seven, chromosome eight, chromosome nine, chromosome
of polymorphic loci on a mixed sample of DNA originating            ten, chromosome eleven, chromosome twelve, chromosome
from a blood sample from the pregnant mother to produce a           thirteen, chromosome fourteen, chromosome fifteen, chro-
second set of amplified products; wherein the mixed sample          mosome sixteen, chromosome seventeen, chromosome
of DNA comprises fetal DNA and maternal DNA; (iii)                  eighteen, chromosome nineteen, chromosome twenty, chro-
determining on a computer the probability that the alleged 10 mosome twenty-one, chromosome twenty-two, X chromo-
father is the biological father of the fetus using genotypic        some or Y chromosome, and combinations thereof.
measurements based on the first and second sets of amplified        Exemplary Prenatal Diagnostic Methods
products; and (iv) establishing whether the alleged father is          The multiplex PCR methods of the present invention can
the biological father of the fetus using the determined             be used to improve prenatal diagnostic methods, such as the
probability that the alleged father is the biological father of 15 determination of the ploidy status of fetal chromosomes.
the fetus. In various embodiments, the method further               Given that the large number of target loci that can be
includes simultaneously amplifying the corresponding plu-           simultaneously amplified, more accurate determinations can
rality of polymorphic loci on genetic material from the             be made.
mother to produce a third set of amplified products; wherein           In an embodiment, the present disclosure provides ex vivo
the probability that the alleged father is the biological father 20 methods for determining the ploidy status of a chromosome
of the fetus is determined using genotypic measurements             in a gestating fetus from genotypic data measured from a
based on the first, second, and third sets of amplified             mixed sample of DNA (i.e., DNA from the mother of the
products.                                                           fetus, and DNA from the fetus) and optionally from geno-
Exemplary Methods for Embryo Characterization and                   typic data measured from a sample of genetic material from
Selection                                                        25 the mother and possibly also from the father, wherein the
    The multiplex PCR methods of the invention can be used          determining is done by using a joint distribution model to
to improve the selection of embryos for in vitro fertilization      create a set of expected allele distributions for different
by allowing thousands of target loci to be analyzed at once         possible fetal ploidy states given the parental genotypic data,
(see, e.g, U.S. Pub. No. 2011/0092763, filed May 27, 2008,          and comparing the expected allelic distributions to the actual
filed Dec. 22, 2011, is which is hereby incorporated by 30 allelic distributions measured in the mixed sample, and
reference in its entirety). For example, the multiplex PCR          choosing the ploidy state whose expected allelic distribution
method can allow thousands of polymorphic loci (such as             pattern most closely matches the observed allelic distribu-
SNPs) to be analyzed for use in the PARENTAL SUPPORT                tion pattern. In an embodiment, the mixed sample is derived
algorithm described herein to select an embryo out of a set         from maternal blood, or maternal serum or plasma. In an
of embryos for in vitro fertilization                            35 embodiment, the mixed sample of DNA may be preferen-
    In some embodiments, the invention provides methods of          tially enriched at a target loci (e.g., plurality of polymorphic
estimating relative likelihoods that each embryo from a set         loci). In an embodiment, the preferential enrichment is done
of embryos will develop as desired. In some embodiments,            in a way that minimizes the allelic bias. In an embodiment,
the method involves contacting a sample from each embryo            the present disclosure relates to a composition of DNA that
with a library of primers that simultaneously hybridize to at 40 has been preferentially enriched at a plurality of loci such
least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;          that the allelic bias is low. In an embodiment, the allelic
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;              distribution(s) are measured by sequencing the DNA from
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different        the mixed sample. In an embodiment, the joint distribution
target loci to produce a reaction mixture for each embryo,          model assumes that the alleles will be distributed in a
wherein the samples are each derived from one or more cells 45 binomial fashion. In an embodiment, the set of expected
from an embryo. In some embodiments, each reaction                  joint allele distributions are created for genetically linked
mixture is subjected to primer extension reaction conditions        loci while considering the extant recombination frequencies
to produce amplified products. In some embodiments, the             from various sources, for example, using data from the
method includes determining on a computer one or more               International HapMap Consortium.
characteristics of at least one cell from each embryo based 50         In an embodiment, the present disclosure provides meth-
on the amplified products; and estimating on a computer the         ods for non-invasive prenatal diagnosis (NPD), specifically,
relative likelihoods that each embryo will develop as               determining the aneuploidy status of a fetus by observing
desired, based on the one or more characteristics of the at         allele measurements at a plurality of polymorphic loci in
least one cell for each embryo. In some embodiments, the            genotypic data measured on DNA mixtures, where certain
method includes using an informatics based method to 55 allele measurements are indicative of an aneuploid fetus,
determine the at least one characteristic, such as the PAREN-       while other allele measurements are indicative of a euploid
TAL SUPPORT algorithm described herein. In some                     fetus. In an embodiment, the genotypic data is measured by
embodiments, the characteristic includes a ploidy state. In         sequencing DNA mixtures that were derived from maternal
some embodiments, the characteristic is selected from the           plasma. In an embodiment, the DNA sample may be pref-
group consisting of aneuploid, euploid, mosaic, nullsomy, 60 erentially enriched in molecules of DNA that correspond to
monosomy, uniparental disomy, trisomy, tetrasomy, a type            the plurality of loci whose allele distributions are being
of aneuploidy, unmatched copy error trisomy, matched copy           calculated. In an embodiment a sample of DNA comprising
error trisomy, maternal origin of aneuploidy, paternal origin       only or almost only genetic material from the mother and
of aneuploidy, a presence or absence of a disease-linked            possibly also a sample of DNA comprising only or almost
gene, a chromosomal identity of any aneuploid chroma- 65 only genetic material from the father are measured. In an
some, an abnormal genetic condition, a deletion or duplica-         embodiment, the genetic measurements of one or both
tion, a likelihood of a characteristic, and combinations            parents along with the estimated fetal fraction arc used to




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create a plurality of expected allele distributions correspond-     as well as a plurality of allele frequency distributions that
ing to different possible underlying genetic states of the          may be expected in cases of trisomy resulting from nondis-
fetus; the expected allele distributions may be termed              junction during meiosis I, nondisjunction during meiosis II,
hypotheses. In an embodiment, the maternal genetic data is          and/or nondisjunction during mitosis early in fetal develop-
not determined by measuring genetic material that is exclu-         ment. To illustrate why this is important, imagine a case
sively or almost exclusively maternal in nature, rather, it is      where there were no crossovers: nondisjunction during
estimated from the genetic measurements made on maternal            meiosis I would result a trisomy in which two different
plasma that comprises a mixture of maternal and fetal DNA.          homologs were inherited from one parent; in contrast, non-
In some embodiments the hypotheses may comprise the                 disjunction during meiosis II or during mitosis early in fetal
ploidy of the fetus at one or more chromosomes, which 10 development would result in two copies of the same
segments of which chromosomes in the fetus were inherited           homolog from one parent. Each scenario would result in
from which parents, and combinations thereof. In some               different expected allele frequencies at each polymorphic
embodiments, the ploidy state of the fetus is determined by         locus and also at all loci considered jointly, due to genetic
comparing the observed allele measurements to the different         linkage. Crossovers, which result in the exchange of genetic
hypotheses where at least some of the hypotheses corre- 15 material between homologs, make the inheritance pattern
spond to different ploidy states, and selecting the ploidy state    more complex; in an embodiment, the instant method
that corresponds to the hypothesis that is most likely to be        accommodates for this by using recombination rate infor-
true given the observed allele measurements. In an embodi-          mation in addition to the physical distance between loci. In
ment, this method involves using allele measurement data            an embodiment, to enable improved distinction between
from some or all measured SNPs, regardless of whether the 20 meiosis I nondisjunction and meiosis II or mitotic nondis-
loci are homozygous or heterozygous, and therefore does             junction the instant method incorporate into the model an
not involve using alleles at loci that are only heterozygous.       increasing probability of crossover as the distance from the
This method may not be appropriate for situations where the         centromere increases. Meiosis II and mitotic nondisjunction
genetic data pertains to only one polymorphic locus. This           can distinguished by the fact that mitotic nondisjunction
method is particularly advantageous when the genetic data 25 typically results in identical or nearly identical copies of one
comprises data for more than ten polymorphic loci for a             homolog while the two homologs present following a meio-
target chromosome or more than twenty polymorphic loci.             sis II nondisjunction event often differ due to one or more
This method is especially advantageous when the genetic             crossovers during gametogenesis.
data comprises data for more than 50 polymorphic loci for              In some embodiments, a method disclosed herein
a target chromosome, more than 100 polymorphic loci or 30 involves comparing the observed allele measurements to
more than 200 polymorphic loci for a target chromosome. In          theoretical hypotheses corresponding to possible fetal
some embodiments, the genetic data may comprise data for            genetic aneuploidy, and does not involve a step of quanti-
more than 500 polymorphic loci for a target chromosome,             tating a ratio of alleles at a heterozygous locus. Where the
more than 1,000 polymorphic loci, more than 2,000 poly-             number of loci is lower than about 20, the ploidy determi-
morphic loci, or more than 5,000 polymorphic loci for a 35 nation made using a method comprising quantitating a ratio
target chromosome.                                                  of alleles at a heterozygous locus and a ploidy determination
   In an embodiment, a method disclosed herein yields a             made using a method comprising comparing the observed
quantitative measure of the number of independent obser-            allele measurements to theoretical allele distribution hypoth-
vations of each allele at a polymorphic locus. This is unlike       eses corresponding to possible fetal genetic states may give
most methods such as microarrays or qualitative PCR which 40 a similar result. However, where the number ofloci is above
provide information about the ratio of two alleles but do not       50 these two methods is likely to give significantly different
quantify the number of independent observations of either           results; where the number ofloci is above 400, above, 1,000
allele. With methods that provide quantitative information          or above 2,000 these two methods are very likely to give
regarding the number of independent observations, only the          results that are increasingly significantly different. These
ratio is utilized in ploidy calculations, while the quantitative 45 differences are due to the fact that a method that comprises
information by itself is not useful. To illustrate the impor-       quantitating a ratio of alleles at a heterozygous locus without
tance of retaining information about the number of indepen-         measuring the magnitude of each allele independently and
dent observations consider the sample locus with two                aggregating or averaging the ratios precludes the use of
alleles, A and B. In a first experiment twenty A alleles and        techniques including using a joint distribution model, per-
twenty B alleles are observed, in a second experiment 200 50 forming a linkage analysis, using a binomial distribution
A alleles and 200 B alleles are observed. In both experiments       model, and/or other advanced statistical techniques, whereas
the ratio (A/(A+B)) is equal to 0.5, however the second             using a method comprising comparing the observed allele
experiment conveys more information than the first about            measurements to theoretical allele distribution hypotheses
the certainty of the frequency of the A or B allele. Some           corresponding to possible fetal genetic states may use these
methods by others involve averaging or summing allele 55 techniques which can substantially increase the accuracy of
ratios (channel ratios) (i.e. x/y,) from individual allele and      the determination.
analyzes this ratio, either comparing it to a reference chro-          In an embodiment, a method disclosed herein involves
mosome or using a rule pertaining to how this ratio is              determining whether the distribution of observed allele
expected to behave in particular situations. No allele weight-      measurements is indicative of a euploid or an aneuploid
ing is implied in such methods, where it is assumed that one 60 fetus using a joint distribution model. The use of a joint
can ensure about the same amount of PCR product for each            distribution model is a different from and a significant
allele and that all the alleles should behave the same way.         improvement over methods that determine heterozygosity
Such a method has a number of disadvantages, and more               rates by treating polymorphic loci independently in that the
importantly, precludes the use a number of improvements             resultant determinations are of significantly higher accuracy.
that are described elsewhere in this disclosure.                 65 Without being bound by any particular theory, it is believed
   In an embodiment, a method disclosed herein explicitly           that one reason they are of higher accuracy is that the joint
models the allele frequency distributions expected in disomy        distribution model takes into account the linkage between




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SNPs, and likelihood of crossovers having occurred during            In an embodiment, a method disclosed herein involves
the meiosis that gave rise to the gametes that formed the         determining whether the distribution of observed allele
embryo that grew into the fetus. The purpose of using the         measurements is indicative of a euploid or an aneuploid
concept of linkage when creating the expected distribution        fetus without comparing any metrics to observed allele
of allele measurements for one or more hypotheses is that it      measurements on a reference chromosome that is expected
allows the creation of expected allele measurements distri-       to be disomic (termed the RC method). This is a significant
butions that correspond to reality considerably better than       improvement over methods, such as methods using shotgun
when linkage is not used. For example, imagine that there         sequencing which detect aneuploidy by evaluating the pro-
are two SNPs, 1 and 2 located nearby one another, and the         portion of randomly sequenced fragments from a suspect
mother is A at SNP 1 and A at SNP 2 on one homolog, and 10 chromosomes relative to one or more presumed disomic
Bat SNP 1 and Bat SNP 2 on homolog two. If the father is          reference chromosome. This RC method yields incorrect
A for both SNPs on both homologs, and a B is measured for         results if the presumed disomic reference chromosome is not
the fetus SNP 1, this indicates that homolog two has been         actually disomic. This can occur in cases where aneuploidy
inherited by the fetus, and therefore that there is a much        is more substantial than trisomy of a single chromosome or
higher likelihood of a B being present on the fetus at SNP 15 where the fetus is triploid and all autosomes are trisomic. In
2. Amodei that takes into account linkage would predict this,     the case of a female triploid (69, XXX) fetus there are in fact
while a model that does not take linkage into account would       no disomic chromosomes at all. The method described
not. Alternately, if a mother was AB at SNP 1 and AB at           herein does not require a reference chromosome and would
nearby SNP 2, then two hypotheses corresponding to mater-         be able to correctly identify trisomic chromosomes in a
nal trisomy at that location could be used-one involving a 20 female triploid fetus. For each chromosome, hypothesis,
matching copy error (nondisjunction in meiosis II or mitosis      child fraction and noise level, a joint distribution model may
in early fetal development), and one involving an unmatch-        be fit, without any of: reference chromosome data, an overall
ing copy error (nondisjunction in meiosis I). In the case of      child fraction estimate, or a fixed reference hypothesis.
a matching copy error trisomy, if the fetus inherited an AA          In an embodiment, a method disclosed herein demon-
from the mother at SNP 1, then the fetus is much more likely 25 strates how observing allele distributions at polymorphic
to inherit either an AA or BB from the mother at SNP 2, but       loci can be used to determine the ploidy state of a fetus with
not AB. In the case of an unmatching copy error, the fetus        greater accuracy than methods in the prior art. In an embodi-
would inherit an AB from the mother at both SNPs. The             ment, the method uses the targeted sequencing to obtain
allele distribution hypotheses made by a ploidy calling           mixed maternal-fetal genotypes and optionally mother and/
method that takes into account linkage would make these 30 or father genotypes at a plurality of SNPs to first establish
predictions, and therefore correspond to the actual allele        the various expected allele frequency distributions under the
measurements to a considerably greater extent than a ploidy       different hypotheses, and then observing the quantitative
calling method that did not take into account linkage. Note       allele information obtained on the maternal-fetal mixture
that a linkage approach is not possible when using a method       and evaluating which hypothesis fits the data best, where the
that relies on calculating allele ratios and aggregating those 35 genetic state corresponding to the hypothesis with the best fit
allele ratios.                                                    to the data is called as the correct genetic state. In an
   One reason that it is believed that ploidy determinations      embodiment, a method disclosed herein also uses the degree
that use a method that comprises comparing the observed           of fit to generate a confidence that the called genetic state is
allele measurements to theoretical hypotheses correspond-         the correct genetic state. In an embodiment, a method
ing to possible fetal genetic states are of higher accuracy is 40 disclosed herein involves using algorithms that analyze the
that when sequencing is used to measure the alleles, this         distribution of alleles found for loci that have different
method can glean more information from data from alleles          parental contexts, and comparing the observed allele distri-
where the total number of reads is low than other methods;        butions to the expected allele distributions for different
for example, a method that relies on calculating and aggre-       ploidy states for the different parental contexts (different
gating allele ratios would produce disproportionately 45 parental genotypic patterns). This is different from and an
weighted stochastic noise. For example, imagine a case that       improvement over methods that do not use methods that
involved measuring the alleles using sequencing, and where        enable the estimation of the number of independent
there was a set of loci where only five sequence reads were       instances of each allele at each locus in a mixed maternal-
detected for each locus. In an embodiment, for each of the        fetal sample. In an embodiment, a method disclosed herein
alleles, the data may be compared to the hypothesized allele 50 involves determining whether the distribution of observed
distribution, and weighted according to the number of             allele measurements is indicative of a euploid or an aneu-
sequence reads; therefore the data from these measurements        ploid fetus using observed allelic distributions measured at
would be appropriately weighted and incorporated into the         loci where the mother is heterozygous. This is different from
overall determination. This is in contrast to a method that       and an improvement over methods that do not use observed
involved quantitating a ratio of alleles at a heterozygous 55 allelic distributions at loci where the mother is heterozygous
locus, as this method could only calculate ratios of 0%, 20%,     because, in cases where the DNA is not preferentially
40%, 60%, 80% or 100% as the possible allele ratios; none         enriched or is preferentially enriched for loci that are not
of these may be close to expected allele ratios. In this latter   known to be highly informative for that particular target
case, the calculated allele rations would either have to be       individual, it allows the use of about twice as much genetic
discarded due to insufficient reads or else would have 60 measurement data from a set of sequence data in the ploidy
disproportionate weighting and introduce stochastic noise         determination, resulting in a more accurate determination.
into the determination, thereby decreasing the accuracy of           In an embodiment, a method disclosed herein uses a joint
the determination. In an embodiment, the individual allele        distribution model that assumes that the allele frequencies at
measurements may be treated as independent measurements,          each locus are multinomial (and thus binomial when SNPs
where the relationship between measurements made on 65 are biallelic) in nature. In some embodiments the joint
alleles at the same locus is no different from the relationship   distribution model uses beta-binomial distributions. When
between measurements made on alleles at different loci.           using a measuring technique, such as sequencing, provides




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a quantitative measure for each allele present at each locus,      In an embodiment, a method disclosed herein uses aspects
binomial model can be applied to each locus and the degree      of the present set of data to determine parameters for the
underlying allele frequencies and the confidence in that        estimated allele frequency distribution for that set of data.
frequency can be ascertained. With methods known in the art     This is an improvement over methods that utilize training set
that generate ploidy calls from allele ratios, or methods in    of data or prior sets of data to set parameters for the present
which quantitative allele information is discarded, the cer-    expected allele frequency distributions, or possibly expected
tainty in the observed ratio cannot be ascertained. The         allele ratios. This is because there are different sets of
instant method is different from and an improvement over        conditions involved in the collection and measurement of
methods that calculate allele ratios and aggregate those        every genetic sample, and thus a method that uses data from
ratios to make a ploidy call, since any method that involves 10 the instant set of data to determine the parameters for the
calculating an allele ratio at a particular locus, and then     joint distribution model that is to be used in the ploidy
aggregating those ratios, necessarily assumes that the mea-     determination for that sample will tend to be more accurate.
sured intensities or counts that are indicative of the amount      In an embodiment, a method disclosed herein involves
of DNA from any given allele or locus will be distributed in    determining whether the distribution of observed allele
a Gaussian fashion. The method disclosed herein does not 15 measurements is indicative of a euploid or an aneuploid
involve calculating allele ratios. In some embodiments, a       fetus using a maximum likelihood technique. The use of a
method disclosed herein may involve incorporating the           maximum likelihood technique is different from and a
number of observations of each allele at a plurality of loci    significant improvement over methods that use single
into a model. In some embodiments, a method disclosed           hypothesis rejection technique in that the resultant determi-
herein may involve calculating the expected distributions 20 nations will be made with significantly higher accuracy. One
themselves, allowing the use of a joint binomial distribution   reason is that single hypothesis rejection techniques set cut
model which may be more accurate than any model that            off thresholds based on only one measurement distribution
assumes a Gaussian distribution of allele measurements. The     rather than two, meaning that the thresholds are usually not
likelihood that the binomial distribution model is signifi-     optimal. Another reason is that the maximum likelihood
cantly more accurate than the Gaussian distribution 25 technique allows the optimization of the cut off threshold for
increases as the number of loci increases. For example,         each individual sample instead of determining a cut off
when fewer than 20 loci are interrogated, the likelihood that   threshold to be used for all samples regardless of the
the binomial distribution model is significantly better is low. particular characteristics of each individual sample. Another
However, when more than 100, or especially more than 400,       reason is that the use of a maximum likelihood technique
or especially more than 1,000, or especially more than 2,000 30 allows the calculation of a confidence for each ploidy call.
loci are used, the binomial distribution model will have a      The ability to make a confidence calculation for each call
very high likelihood of being significantly more accurate       allows a practitioner to know which calls are accurate, and
than the Gaussian distribution model, thereby resulting in a    which are more likely to be wrong. In some embodiments,
more accurate ploidy determination. The likelihood that the     a wide variety of methods may be combined with a maxi-
binomial distribution model is significantly more accurate 35 mum likelihood estimation technique to enhance the accu-
than the Gaussian distribution also increases as the number     racy of the ploidy calls. In an embodiment, the maximum
of observations at each locus increases. For example, when      likelihood technique may be used in combination with the
fewer than 10 distinct sequences are observed at each locus     method described in U.S. Pat. No. 7,888,017. In an embodi-
are observed, the likelihood that the binomial distribution     ment, the maximum likelihood technique may be used in
model is significantly better is low. However, when more 40 combination with the method of using targeted PCR ampli-
than 50 sequence reads, or especially more than 100             fication to amplify the DNA in the mixed sample followed
sequence reads, or especially more than 200 sequence reads,     by sequencing and analysis using a read counting method
or especially more than 300 sequence reads are used for each    such as used by TANDEM DIAGNOSTICS, as presented at
locus, the binomial distribution model will have a very high    the International Congress of Human Genetics 2011, in
likelihood of being significantly more accurate than the 45 Montreal in October 2011. In an embodiment, a method
Gaussian distribution model, thereby resulting in a more        disclosed herein involves estimating the fetal fraction of
accurate ploidy determination.                                  DNA in the mixed sample and using that estimation to
   In an embodiment, a method disclosed herein uses             calculate both the ploidy call and the confidence of the
sequencing to measure the number of instances of each           ploidy call. Note that this is both different and distinct from
allele at each locus in a DNA sample. Each sequencing read 50 methods that use estimated fetal fraction as a screen for
may be mapped to a specific locus and treated as a binary       sufficient fetal fraction, followed by a ploidy call made using
sequence read; alternately, the probability of the identity of  a single hypothesis rejection technique that does not take
the read and/or the mapping may be incorporated as part of      into account the fetal fraction nor does it produce a confi-
the sequence read, resulting in a probabilistic sequence read,  dence calculation for the call.
that is, the probable whole or fractional number of sequence 55    In an embodiment, a method disclosed herein takes into
reads that map to a given loci. Using the binary counts or      account the tendency for the data to be noisy and contain
probability of counts it is possible to use a binomial distri-  errors by attaching a probability to each measurement. The
bution for each set of measurements, allowing a confidence      use of maximum likelihood techniques to choose the correct
interval to be calculated around the number of counts. This     hypothesis from the set of hypotheses that were made using
ability to use the binomial distribution allows for more 60 the measurement data with attached probabilistic estimates
accurate ploidy estimations and more precise confidence         makes it more likely that the incorrect measurements will be
intervals to be calculated. This is different from and an       discounted, and the correct measurements will be used in the
improvement over methods that use intensities to measure        calculations that lead to the ploidy call. To be more precise,
the amount of an allele present, for example methods that       this method systematically reduces the influence of data that
use microarrays, or methods that make measurements using 65 is incorrectly measured on the ploidy determination. This is
fluorescence readers to measure the intensity of fluores-       an improvement over methods where all data is assumed to
ccntly tagged DNA in clcctrophorctic bands.                     be equally correct or methods where outlying data is arbi-




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trarily excluded from calculations leading to a ploidy call.        steps are described herein. At least some of the method steps
Existing methods using channel ratio measurements claim to          are not directly applied on the body. In an embodiment, the
extend the method to multiple SNPs by averaging individual          present disclosure relates to methods of treatment and diag-
SNP channel ratios. Not weighting individual SNPs by                nosis applied to tissue and other biological materials isolated
expected measurement variance based on the SNP quality              and separated from the body. At least some of the method
and observed depth of read reduces the accuracy of the              steps are executed on a computer.
resulting statistic, resulting in a reduction of the accuracy of       Some embodiments of the present disclosure allow a
the ploidy call significantly, especially in borderline cases.      clinician to determine the genetic state of a fetus that is
   In an embodiment, a method disclosed herein does not             gestating in a mother in a non-invasive manner such that the
presuppose the knowledge of which SNPs or other poly- 10 health of the baby is not put at risk by the collection of the
morphic loci are heterozygous on the fetus. This method             genetic material of the fetus, and that the mother is not
allows a ploidy call to be made in cases where paternal             required to undergo an invasive procedure. Moreover, in
genotypic information is not available. This is an improve-         certain aspects, the present disclosure allows the fetal
ment over methods where the knowledge of which SNPs are             genetic state to be determined with high accuracy, signifi-
heterozygous must be known ahead of time in order to 15 cantly greater accuracy than, for example, the non-invasive
appropriately select loci to target, or to interpret the genetic    maternal serum analyte based screens, such as the triple test,
measurements made on the mixed fetal/maternal DNA                   that are in wide use in prenatal care.
sample.                                                                The high accuracy of the methods disclosed herein is a
   The methods described herein are particularly advanta-           result of an informatics approach to analysis of the genotype
geous when used on samples where a small amount of DNA 20 data, as described herein. Modern technological advances
is available, or where the percent of fetal DNA is low. This        have resulted in the ability to measure large amounts of
is due to the correspondingly higher allele dropout rate that       genetic information from a genetic sample using such meth-
occurs when only a small amount of DNA is available and/or          ods as high throughput sequencing and genotyping arrays.
the correspondingly higher fetal allele dropout rate when the       The methods disclosed herein allow a clinician to take
percent of fetal DNA is low in a mixed sample of fetal and 25 greater advantage of the large amounts of data available, and
maternal DNA. A high allele dropout rate, meaning that a            make a more accurate diagnosis of the fetal genetic state.
large percentage of the alleles were not measured for the           The details of a number of embodiments are given below.
target individual, results in poorly accurate fetal fractions       Different embodiments may involve different combinations
calculations, and poorly accurate ploidy determinations.            of the aforementioned steps. Various combinations of the
Since methods disclosed herein may use a joint distribution 30 different embodiments of the different steps may be used
model that takes into account the linkage in inheritance            interchangeably.
patterns between SNPs, significantly more accurate ploidy              In an embodiment, a blood sample is taken from a
determinations may be made. The methods described herein            pregnant mother, and the free floating DNA in the plasma of
allow for an accurate ploidy determination to be made when          the mother's blood, which contains a mixture of both DNA
the percent of molecules of DNA that are fetal in the mixture 35 of maternal origin, and DNA of fetal origin, is isolated and
is less than 40%, less than 30%, less than 20%, less than           used to determine the ploidy status of the fetus. In an
10%, less than 8%, and even less than 6%.                           embodiment, a method disclosed herein involves preferen-
   In an embodiment, it is possible to determine the ploidy         tial enrichment of those DNA sequences in a mixture of
state of an individual based on measurements when that              DNA that correspond to polymorphic alleles in a way that
individual's DNA is mixed with DNA of a related indi- 40 the allele ratios and/or allele distributions remain mostly
vidual. In an embodiment, the mixture of DNA is the free            consistent upon enrichment. In an embodiment, a method
floating DNA found in maternal plasma, which may include            disclosed herein involves the highly efficient targeted PCR
DNA from the mother, with known karyotype and known                 based amplification such that a very high percentage of the
genotype, and which may be mixed with DNA of the fetus,             resulting molecules correspond to targeted loci. In an
with unknown karyotype and unknown genotype. It is 45 embodiment, a method disclosed herein involves sequencing
possible to use the known genotypic information from one            a mixture of DNA that contains both DNA of maternal
or both parents to predict a plurality of potential genetic         origin, and DNA of fetal origin. In an embodiment, a method
states of the DNA in the mixed sample for different ploidy          disclosed herein involves using measured allele distributions
states, different chromosome contributions from each parent         to determine the ploidy state of a fetus that is gestating in a
to the fetus, and optionally, different fetal DNA fractions in 50 mother. In an embodiment, a method disclosed herein
the mixture. Each potential composition may be referred to          involves reporting the determined ploidy state to a clinician.
as a hypothesis. The ploidy state of the fetus can then be          In an embodiment, a method disclosed herein involves
determined by looking at the actual measurements, and               taking a clinical action, for example, performing follow up
determining which potential compositions are most likely            invasive testing such as chorionic villus sampling or anmio-
given the observed data.                                         55 centesis, preparing for the birth of a trisomic individual or an
   Further discussion of the points above may be found              elective termination of a trisomic fetus.
elsewhere in this document.                                            This application makes reference to U.S. Utility applica-
Non-Invasive Prenatal Diagnosis (NPD)                               tion Ser. No. 11/603,406, filed Nov. 28, 2006 (US Publica-
   The process of non-invasive prenatal diagnosis involves a        tion No.: 20070184467); U.S. Utility application Ser. No.
number of steps. Some of the steps may include: (1) obtain- 60 12/076,348, filed Mar. 17, 2008 (US Publication No.:
ing the genetic material from the fetus; (2) enriching the          20080243398); PCT Application Serial No. PCT/US09/
genetic material of the fetus that may be in a mixed sample,        52730, filed Aug. 4, 2009 (PCT Publication No.: WO/2010/
ex vivo; (3) amplifying the genetic material, ex vivo; (4)          017214); PCT Application Serial No. PCT/USl0/050824,
preferentially enriching specific loci in the genetic material,     filed Sep. 30, 2010 (PCT Publication No.: WO/2011/
ex vivo; (5) measuring the genetic material, ex vivo; and (6) 65 041485), U.S. Utility application Ser. No. 13/110,685, filed
analyzing the genotypic data, on a computer, and ex vivo.           May 18, 2011, and PCT Application Serial No. PCT/12/
Methods to reduce to practice these six and other relevant          58578, filed Oct. 3, 2012, which arc each herein incorpo-




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rated by reference in its entirety. Some of the vocabulary         example, it can be used to determine the ploidy state at one
used in this filing may have its antecedents in these refer-       or more chromosomes, it can be used to determine the
ences. Some of the concepts described herein may be better         identity of one or a set of SNPs, including insertions,
understood in light of the concepts found in these references.     deletions, and translocations. It can be used to determine one
Screening Maternal Blood Comprising Free Floating Fetal 5 or more haplotypes, including the parent of origin of one or
DNA                                                                more genotypic features.
   The methods described herein may be used to help                   Note that this method will work with any nucleic acids
determine the genotype of a child, fetus, or other target          that can be used for any genotyping and/or sequencing
individual where the genetic material of the target is found       methods, such as the ILLUMINA INFINIUM ARRAY plat-
in the presence of a quantity of other genetic material. In 10 form, AFFYMETRIX GENECHIP, ILLUMINA GENOME
some embodiments the genotype may refer to the ploidy              ANALYZER, or LIFE TECHNOLGIES' SOLID SYSTEM.
state of one or a plurality of chromosomes, it may refer to        This includes extracted free-floating DNA from plasma or
one or a plurality of disease linked alleles, or some combi-       amplifications (e.g. whole genome amplification, PCR) of
nation thereof. In this disclosure, the discussion focuses on      the same; genomic DNA from other cell types (e.g. human
determining the genetic state of a fetus where the fetal DNA 15 lymphocytes from whole blood) or amplifications of the
is found in maternal blood, but this example is not meant to       same. For preparation of the DNA, any extraction or puri-
limit to possible contexts that this method may be applied to.     fication method that generates genomic DNA suitable for the
In addition, the method may be applicable in cases where the       one of these platforms will work as well. This method could
amount of target DNA is in any proportion with the non-            work equally well with samples of RNA. In an embodiment,
target DNA; for example, the target DNA could make up 20 storage of the samples may be done in a way that will
anywhere between 0.000001 and 99.999999% of the DNA                minimize degradation (e.g. below freezing, at about -20 C,
present. In addition, the non-target DNA does not necessar-        or at a lower temperature).
ily need to be from one individual, or even from a related         Parental Support
individual, as long as genetic data from some or all of the           Some embodiments may be used in combination with the
relevant non-target individual(s) is known. In an embodi- 25 PARENTAL SUPPORT™ (PS) method, embodiments of
ment, a method disclosed herein can be used to determine           which are described in U.S. application Ser. No. 11/603,406
genotypic data of a fetus from maternal blood that contains        (US Publication No.: 20070184467), U.S. application Ser.
fetal DNA. It may also be used in a case where there are           No. 12/076,348 (US Publication No.: 20080243398), U.S.
multiple fetuses in the uterus of a pregnant woman, or where       application Ser. No. 13/110,685, PCT Application PCT/
other contaminating DNA may be present in the sample, for 30 US09/52730 (PCT Publication No.: WO/2010/017214), and
example from other already born siblings.                          PCT Application No. PCT/USl0/050824 (PCT Publication
   This technique may make use of the phenomenon of fetal          No.: WO/2011/041485) which are incorporated herein by
blood cells gaining access to maternal circulation through         reference in their entirety. PARENTAL SUPPORTTM is an
the placental villi. Ordinarily, only a very small number of       informatics based approach that can be used to analyze
fetal cells enter the maternal circulation in this fashion (not 35 genetic data. In some embodiments, the methods disclosed
enough to produce a positive Kleihauer-Betke test for fetal-       herein may be considered as part of the PARENTAL SUP-
maternal hemorrhage). The fetal cells can be sorted out and        PORT™ method. In some embodiments, The PARENTAL
analyzed by a variety of techniques to look for particular         SUPPORT™ method is a collection of methods that may be
DNA sequences, but without the risks that invasive proce-          used to determine the genetic data of a target individual, with
dures inherently have. This technique may also make use of 40 high accuracy, of one or a small number of cells from that
the phenomenon of free floating fetal DNA gaining access to        individual, or of a mixture of DNA consisting of DNA from
maternal circulation by DNA release following apoptosis of         the target individual and DNA from one or a plurality of
placental tissue where the placental tissue in question con-       other individuals, specifically to determine disease-related
tains DNA of the same genotype as the fetus. The free              alleles, other alleles of interest, and/or the ploidy state of one
floating DNA found in maternal plasma has been shown to 45 or a plurality of chromosomes in the target individual.
contain fetal DNA in proportions as high as 30-40% fetal           PARENTAL SUPPORT™ may refer to any of these meth-
DNA.                                                               ods. PARENTAL SUPPORT™ is an example of an infor-
   In an embodiment, blood may be drawn from a pregnant            matics based method. Exemplary embodiments of the
woman. Research has shown that maternal blood may con-             PARENTAL SUPPORT™ method are illustrated in FIGS.
tain a small amount of free floating DNA from the fetus, in 50 29-31G and described in Example 19.
addition to free floating DNA of maternal origin. In addition,        The PARENTAL SUPPORT™ method makes use of
there also may be enucleated fetal blood cells comprising          known parental genetic data, i.e. haplotypic and/or diploid
DNA of fetal origin, in addition to many blood cells of            genetic data of the mother and/or the father, together with
maternal origin, which typically do not contain nuclear            the knowledge of the mechanism of meiosis and the imper-
DNA. There are many methods know in the art to isolate 55 fect measurement of the target DNA, and possibly of one or
fetal DNA, or create fractions enriched in fetal DNA. For          more related individuals, along with population based cross-
example, chromatography has been show to create certain            over frequencies, in order to reconstruct, in silica, the
fractions that are enriched in fetal DNA.                          genotype at a plurality of alleles, and/or the ploidy state of
   Once the sample of maternal blood, plasma, or other fluid,      an embryo or of any target cell(s ), and the target DNA at the
drawn in a relatively non-invasive manner, and that contains 60 location of key loci with a high degree of confidence. The
an amount of fetal DNA, either cellular or free floating,          PARENTAL SUPPORT™ method can reconstruct not only
either enriched in its proportion to the maternal DNA, or in       single nucleotide polymorphisms (SNPs) that were mea-
its original ratio, is in hand, one may genotype the DNA           sured poorly, but also insertions and deletions, and SNPs or
found in said sample. In some embodiments, the blood may           whole regions of DNA that were not measured at all.
be drawn using a needle to withdraw blood from a vein, for 65 Furthermore, the PARENTAL SUPPORT™ method can
example, the basilica vein. The method described herein can        both measure multiple disease-linked loci as well as screen
be used to determine gcnotypic data of the fetus. For              for ancuploidy, from a single cell. In some embodiments, the




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PARENTAL SUPPORT™ method may be used to charac-                         A "copy number hypothesis," also called a "ploidy
terize one or more cells from embryos biopsied during an            hypothesis," or a "ploidy state hypothesis," may refer to a
IVF cycle to determine the genetic condition of the one or          hypothesis concerning a possible ploidy state for a given
more cells.                                                         chromosome copy, chromosome type, or section of a chro-
   The PARENTAL SUPPORTTM method allows the clean-                  mosome, in the target individual. It may also refer to the
ing of noisy genetic data. This may be done by inferring the        ploidy state at more than one of the chromosome types in the
correct genetic alleles in the target genome (embryo) using         individual. A set of copy number hypotheses may refer to a
the genotype of related individuals (parents) as a reference.       set of hypotheses where each hypothesis corresponds to a
PARENTAL SUPPORT™ may be particularly relevant                      different possible ploidy state in an individual. A set of
where only a small quantity of genetic material is available 10 hypotheses may concern a set of possible ploidy states, a set
(e.g. PGD) and where direct measurements of the genotypes           of possible parental haplotypes contributions, a set of pos-
are inherently noisy due to the limited amounts of genetic          sible fetal DNA percentages in the mixed sample, or com-
material. PARENTAL SUPPORT™ may be particularly                     binations thereof. In some embodiments, the copy number
relevant where only a small fraction of the genetic material        hypotheses include all fetuses in a multiple pregnancy being
available is from the target individual (e.g. NPD) and where 15 euploid, all fetuses in a multiple pregnancy being aneuploid
direct measurements of the genotypes are inherently noisy           (such as any of the aneuploidies disclosed herein), and/or
due to the contaminating DNA signal from another indi-              one or more fetuses in a multiple pregnancy being euploid
vidual. The PARENTAL SUPPORT™ method is able to                     and one or more fetuses in a multiple pregnancy being
reconstruct highly accurate ordered diploid allele sequences        aneuploidy. In some embodiments, the copy number hypoth-
on the embryo, together with copy number of chromosomes 20 eses include identical twins (also referred to as monozygotic
segments, even though the conventional, unordered diploid           twins) or fraternal twins (also referred to as dizygotic twins).
measurements may be characterized by high rates of allele           In some embodiments, the copy number hypotheses include
dropouts, drop-ins, variable amplification biases and other         a molar pregnancy, such as a complete or partial molar
errors. The method may employ both an underlying genetic            pregnancy.
model and an underlying model of measurement error. The 25              A normal individual contains one of each chromosome
genetic model may determine both allele probabilities at            type from each parent. However, due to errors in meiosis and
each SNP and crossover probabilities between SNPs. Allele           mitosis, it is possible for an individual to have 0, 1, 2, or
probabilities may be modeled at each SNP based on data              more of a given chromosome type from each parent. In
obtained from the parents and model crossover probabilities         practice, it is rare to see more that two of a given chromo-
between SNPs based on data obtained from the HapMap 30 somes from a parent. In this disclosure, some embodiments
database, as developed by the International HapMap Project.         only consider the possible hypotheses where 0, 1, or 2 copies
Given the proper underlying genetic model and measure-              of a given chromosome come from a parent; it is a trivial
ment error model, maximum a posteriori (MAP) estimation             extension to consider more or less possible copies originat-
may be used, with modifications for computationally effi-           ing from a parent. In some embodiments, for a given
ciency, to estimate the correct, ordered allele values at each 35 chromosome, there are nine possible hypotheses: the three
SNP in the embryo.                                                  possible hypothesis concerning 0, 1, or 2 chromosomes of
   The techniques outlined above, in some cases, are able to        maternal origin, multiplied by the three possible hypotheses
determine the genotype of an individual given a very small          concerning 0, 1, or 2 chromosomes of paternal origin. Let
amount of DNA originating from that individual. This could          (m,f) refer to the hypothesis where m is the number of a
be the DNA from one or a small number of cells, or it could 40 given chromosome inherited from the mother, and f is the
be from the small amount of fetal DNA found in maternal             number of a given chromosome inherited from the father.
blood.                                                              Therefore, the nine hypotheses are (0,0), (0,1), (0,2), (1,0),
Hypotheses                                                          (1,1), (1,2), (2,0), (2,1), and (2,2). These may also be written
   In the context of this disclosure, a hypothesis refers to a      as H H H H H H H and H The different
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possible genetic state. It may refer to a possible ploidy state. 45 hypotheses correspond to different ploidy states. For
It may refer to a possible allelic state. A set of hypotheses       example, (1,1) refers to a normal disomic chromosome;
may refer to a set of possible genetic states, a set of possible    (2,1) refers to a maternal trisomy, and (0,1) refers to a
allelic states, a set of possible ploidy states, or combinations    paternal monosomy. In some embodiments, the case where
thereof. In some embodiments, a set of hypotheses may be            two chromosomes are inherited from one parent and one
designed such that one hypothesis from the set will corre- 50 chromosome is inherited from the other parent may be
spond to the actual genetic state of any given individual. In       further differentiated into two cases: one where the two
some embodiments, a set of hypotheses may be designed               chromosomes are identical (matched copy error), and one
such that every possible genetic state may be described by          where the two chromosomes are homologous but not iden-
at least one hypothesis from the set. In some embodiments           tical (unmatched copy error). In these embodiments, there
of the present disclosure, one aspect of a method is to 55 are sixteen possible hypotheses. It should be understood that
determine which hypothesis corresponds to the actual                it is possible to use other sets of hypotheses, and a different
genetic state of the individual in question.                        number of hypotheses.
   In another embodiment of the present disclosure, one step            In some embodiments of the present disclosure, the ploidy
involves creating a hypothesis. In some embodiments it may          hypothesis refers to a hypothesis concerning which chro-
be a copy number hypothesis. In some embodiments it may 60 mosome from other related individuals correspond to a
involve a hypothesis concerning which segments of a chro-           chromosome found in the target individual's genome. In
mosome from each of the related individuals correspond              some embodiments, a key to the method is the fact that
genetically to which segments, if any, of the other related         related individuals can be expected to share haplotype
individuals. Creating a hypothesis may refer to the act of          blocks, and using measured genetic data from related indi-
setting the limits of the variables such that the entire set of 65 viduals, along with a knowledge of which haplotype blocks
possible genetic states that are under consideration are            match between the target individual and the related indi-
encompassed by those variables.                                     vidual, it is possible to infer the correct genetic data for a




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target individual with higher confidence than using the target     embodiments the threshold may be between about 99% and
individual's genetic measurements alone. As such, in some          about 99.9%. In some embodiments the threshold may be
embodiments, the ploidy hypothesis may concern not only            above about 99.9%.
the number of chromosomes, but also which chromosomes              Parental Contexts
in related individuals are identical, or nearly identical, with        The parental context refers to the genetic state of a given
one or more chromosomes in the target individual.                  allele, on each of the two relevant chromosomes for one or
   Once the set of hypotheses have been defined, when the          both of the two parents of the target. Note that in an
algorithms operate on the input genetic data, they may             embodiment, the parental context does not refer to the allelic
output a determined statistical probability for each of the        state of the target, rather, it refers to the allelic state of the
                                                                10
hypotheses under consideration. The probabilities of the           parents. The parental context for a given SNP may consist of
various hypotheses may be determined by mathematically             four base pairs, two paternal and two maternal; they may be
calculating, for each of the various hypotheses, the value         the same or different from one another. It is typically written
that the probability equals, as stated by one or more of the       as "m 1 m 2 fJ2 ," where m 1 and m 2 are the genetic state of the
expert techniques, algorithms, and/or methods described 15 given SNP on the two maternal chromosomes, and f 1 and f 2
elsewhere in this disclosure, using the relevant genetic data      are the genetic state of the given SNP on the two paternal
as input.                                                          chromosomes. In some embodiments, the parental context
   Once the probabilities of the different hypotheses are          may be written as "f1 f 2 lm 1m2 ." Note that subscripts "1" and
estimated, as determined by a plurality of techniques, they        "2" refer to the genotype, at the given allele, of the first and
may be combined. This may entail, for each hypothesis, 20 second chromosome; also note that the choice of which
multiplying the probabilities as determined by each tech-          chromosome is labeled "1" and which is labeled "2" is
nique. The product of the probabilities of the hypotheses          arbitrary.
may be normalized. Note that one ploidy hypothesis refers              Note that in this disclosure, A and B are often used to
to one possible ploidy state for a chromosome.                     generically represent base pair identities; A or B could
   The process of "combining probabilities," also called 25 equally well represent C (cytosine), G (guanine), A (ad-
"combining hypotheses," or combining the results of expert         enine) or T (thymine). For example, if, at a given SNP based
techniques, is a concept that should be familiar to one skilled    allele, the mother's genotype was T at that SNP on one
in the art of linear algebra. One possible way to combine          chromosome, and G at that SNP on the homologous chro-
probabilities is as follows: When an expert technique is used      mosome, and the father's genotype at that allele is G at that
to evaluate a set of hypotheses given a set of genetic data, 30 SNP on both of the homologous chromosomes, one may say
the output of the method is a set of probabilities that are
                                                                   that the target individual's allele has the parental context of
associated, in a one-to-one fashion, with each hypothesis in
                                                                   ABIBB; it could also be said that the allele has the parental
the set of hypotheses. When a set of probabilities that were
                                                                   context of ABIAA. Note that, in theory, any of the four
determined by a first expert technique, each of which are
associated with one of the hypotheses in the set, are com- 35 possible nucleotides could occur at a given allele, and thus
bined with a set of probabilities that were determined by a        it is possible, for example, for the mother to have a genotype
second expert technique, each of which are associated with         of AT, and the father to have a genotype of GC at a given
the same set of hypotheses, then the two sets of probabilities     allele. However, empirical data indicate that in most cases
are multiplied. This means that, for each hypothesis in the        only two of the four possible base pairs are observed at a
set, the two probabilities that are associated with that 40 given allele. It is possible, for example when using single
hypothesis, as determined by the two expert methods, are           tandem repeats, to have more than two parental, more than
multiplied together, and the corresponding product is the          four and even more than ten contexts. In this disclosure the
output probability. This process may be expanded to any            discussion assumes that only two possible base pairs will be
number of expert techniques. If only one expert technique is       observed at a given allele, although the embodiments dis-
used, then the output probabilities are the same as the input 45 closed herein could be modified to take into account the
probabilities. If more than two expert techniques are used,        cases where this assumption does not hold.
then the relevant probabilities may be multiplied at the same          A "parental context" may refer to a set or subset of target
time. The products may be normalized so that the probabili-        SNPs that have the same parental context. For example, if
ties of the hypotheses in the set of hypotheses sum to 100%.       one were to measure 1000 alleles on a given chromosome on
   In some embodiments, if the combined probabilities for a 50 a target individual, then the context AAI BB could refer to the
given hypothesis are greater than the combined probabilities       set of all alleles in the group of 1,000 alleles where the
for any of the other hypotheses, then it may be considered         genotype of the mother of the target was homozygous, and
that that hypothesis is determined to be the most likely. In       the genotype of the father of the target is homozygous, but
some embodiments, a hypothesis may be determined to be             where the maternal genotype and the paternal genotype are
the most likely, and the ploidy state, or other genetic state, 55 dissimilar at that locus. If the parental data is not phased, and
may be called if the normalized probability is greater than a      thus AB=BA, then there are nine possible parental contexts:
threshold. In an embodiment, this may mean that the number         AAIAA, AAIAB, AAIBB, ABIAA, ABIAB, ABIBB,
and identity of the chromosomes that are associated with           BBIAA, BBIAB, and BBIBB. If the parental data is phased,
that hypothesis may be called as the ploidy state. In an           and thus AB BA, then there are sixteen different possible
embodiment, this may mean that the identity of the alleles 60 parental contexts: AAIAA, AAIAB, AAIBA, AAIBB,
that are associated with that hypothesis may be called as the      ABIAA, ABIAB, ABIBA, ABIBB, BAIAA, BAIAB,
allelic state. In some embodiments, the threshold may be           BAIBA, BAIBB, BBIAA, BBIAB, BBIBA, and BBIBB.
between about 50% and about 80"/c,. In some embodiments            Every SNP allele on a chromosome, excluding some SNPs
the threshold may be between about 80% and about 90%. In           on the sex chromosomes, has one of these parental contexts.
some embodiments the threshold may be between about 65 The set of SNPs wherein the parental context for one parent
90% and about 95%. In some embodiments the threshold               is heterozygous may be referred to as the heterozygous
may be between about 95% and about 99%. In some                    context.




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Use of Parental Contexts in NPD                                    Different Implementations of the Presently Disclosed
   Non-invasive prenatal diagnosis is an important teclmique       Embodiments
that can be used to determine the genetic state of a fetus from       Methods are disclosed herein for determining the ploidy
genetic material that is obtained in a non-invasive manner,        state of a target individual. The target individual may be a
for example from a blood draw on the pregnant mother. The          blastomere, an embryo, or a fetus. In some embodiments of
                                                                   the present disclosure, a method for determining the ploidy
blood could be separated and the plasma isolated, followed
                                                                   state of one or more chromosome in a target individual may
by isolation of the plasma DNA. Size selection could be            include any of the steps described in this document, and
used to isolate the DNA of the appropriate length. The DNA         combinations thereof:
may be preferentially enriched at a set ofloci. This DNA can          In some embodiments the source of the genetic material
                                                                10
then be measured by a number of means, such as by                  to be used in determining the genetic state of the fetus may
hybridizing to a genotyping array and measuring the fluo-          be fetal cells, such as nucleated fetal red blood cells, isolated
rescence, or by sequencing on a high throughput sequencer.         from the maternal blood. The method may involve obtaining
   When sequencing is used for ploidy calling of a fetus in        a blood sample from the pregnant mother. The method may
the context of non-invasive prenatal diagnosis, there are a 15 involve isolating a fetal red blood cell using visual tech-
                                                                   niques, based on the idea that a certain combination of colors
number of ways to use the sequence data. The most common
                                                                   are uniquely associated with nucleated red blood cell, and a
way one could use the sequence data is to simply count the         similar combination of colors is not associated with any
number of reads that map to a given chromosome. For                other present cell in the maternal blood. The combination of
example, imagine if you are trying to determine the ploidy         colors associated with the nucleated red blood cells may
state of chromosome 21 on the fetus. Further imagine that 20 include the red color of the hemoglobin around the nucleus,
the DNA in the sample is comprised of 10% DNA of fetal             which color may be made more distinct by staining, and the
origin, and 90% DNA of maternal origin. In this case, you          color of the nuclear material which can be stained, for
could look at the average number of reads on a chromosome          example, blue. By isolating the cells from maternal blood
which can be expected to be disomic, for example chromo-           and spreading them over a slide, and then identifying those
some 3, and compare that to the number of read on chro-         25 points  at which one sees both red (from the Hemoglobin)
                                                                   and blue (from the nuclear material) one may be able to
mosome 21, where the reads are adjusted for the number of
                                                                   identify the location of nucleated red blood cells. One may
base pairs on that chromosome that are part of a unique            then extract those nucleated red blood cells using a micro-
sequence. lf the fetus were euploid, one would expect the          manipulator, use genotyping and/or sequencing teclmiques
amount of DNA per unit of genome to be about equal at all          to measure aspects of the genotype of the genetic material in
locations (subject to stochastic variations). On the other 30 those cells.
hand, if the fetus were trisomic at chromosome 21, then one           In an embodiment, one may stain the nucleated red blood
would expect there to be more slightly more DNA per                cell with a die that only fluoresces in the presence of fetal
genetic unit from chromosome 21 than the other locations on        hemoglobin and not maternal hemoglobin, and so remove
the genome. Specifically one would expect there to be about 35 the ambiguity between whether a nucleated red blood cell is
                                                                   derived from the mother or the fetus. Some embodiments of
5% more DNA from chromosome 21 in the mixture. When
                                                                   the present disclosure may involve staining or otherwise
sequencing is used to measure the DNA, one would expect            marking nuclear material. Some embodiments of the present
about 5% more uniquely mappable reads from chromosome              disclosure may involve specifically marking fetal nuclear
21 per unique segment than from the other chromosomes.             material using fetal cell specific antibodies.
One could use the observation of an amount of DNA from 40             There are many other ways to isolate fetal cells from
a particular chromosome that is higher than a certain thresh-      maternal blood, or fetal DNA from maternal blood, or to
old, when adjusted for the number of sequences that are            enrich samples of fetal genetic material in the presence of
uniquely mappable to that chromosome, as the basis for an          maternal genetic material. Some of these methods are listed
aneuploidy diagnosis. Another method that may be used to           here, but this is not intended to be an exhaustive list. Some
detect aneuploidy is similar to that above, except that 45 appropriate teclmiques are listed here for convenience: using
parental contexts could be taken into account.                     fluorescently or otherwise tagged antibodies, size exclusion
   When considering which alleles to target, one may con-          chromatography, magnetically or otherwise labeled affinity
sider the likelihood that some parental contexts are likely to     tags, epigenetic differences, such as differential methylation
be more informative than others. For example, AAIBB and            between the maternal and fetal cells at specific alleles,
the symmetric context BBIAA are the most informative 50 density gradient centrifugation succeeded by CD45/14
contexts, because the fetus is known to carry an allele that       depletion and CD71-positive selection from CD45/14 nega-
is different from the mother. For reasons of symmetry, both        tive-cells, single or double Percoll gradients with different
AAIBB and BBIAA contexts may be referred to as AAIBB.              osmolalities, or galactose specific lectin method.
Another set of informative parental contexts are AAIAB and            In an embodiment of the present disclosure, the target
BBIAB, because in these cases the fetus has a 50% chance 55 individual is a fetus, and the different genotype measure-
of carrying an allele that the mother does not have. For           ments are made on a plurality of DNA samples from the
reasons of symmetry, both AA IAB and BBIAB contexts may            fetus. In some embodiments of the present disclosure, the
be referred to as AAIAB. A third set of informative parental       fetal DNA samples are from isolated fetal cells where the
contexts are ABIAA and ABIBB, because in these cases the           fetal cells may be mixed with maternal cells. In some
fetus is carrying a known paternal allele, and that allele is 60 embodiments of the present disclosure, the fetal DNA
also present in the maternal genome. For reasons of sym-           samples are from free floating fetal DNA, where the fetal
metry, both ABIAA and ABIBB contexts may be referred to            DNA may be mixed with free floating maternal DNA. In
as ABIAA. A fourth parental context is ABIAB where the             some embodiments, the fetal DNA samples may be derived
fetus has an unknown allelic state, and whatever the allelic       from maternal plasma or maternal blood that contains a
state, it is one in which the mother has the same alleles. The 65 mixture of maternal DNA and fetal DNA. In some embodi-
fifth parental context is AAIAA, where the mother and father       ments, the fetal DNA may be mixed with maternal DNA in
arc heterozygous.                                                  matcmal:fctal ratios ranging from 99.9:0.1 % to 99: 1%;




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99:1% to 90:10%; 90:10% to 80:20%; 80:20% to 70:30%;              example, multiple blood draws from the same pregnant
70:30% to 50:50%; 50:50%to 10:90%; or 10:90%to 1:99%;             mother. This may improve the accuracy of the model, as
1:99% to 0.1:99.9%.                                               multiple genetic measurements may provide more data with
   The genetic data of the target individual and/or of the        which the target genotype may be determined. In an embodi-
related individual can be transformed from a molecular state      ment, one set of target genetic data served as the primary
to an electronic state by measuring the appropriate genetic       data which was reported, and the other served as data to
material using tools and or techniques taken from a group         double-check the primary target genetic data. In an embodi-
including, but not limited to: genotyping microarrays, and        ment, a plurality of sets of genetic data, each measured from
high throughput sequencing. Some high throughput                  genetic material taken from the target individual, are con-
sequencing methods include Sanger DNA sequencing, pyro- 10
                                                                  sidered in parallel, and thus both sets of target genetic data
sequencing, the ILLUMINA SOLEXA platform, ILLUMI-
                                                                  serve to help determine which sections of parental genetic
NA's GENOME ANALYZER, or APPLIED BIOSYS-
                                                                  data, measured with high accuracy, composes the fetal
TEM's 454 sequencing platform, HELICOS's TRUE
SINGLE MOLECULE SEQUENCING platform, HAL-                         genome.
CYON MOLECULAR's electron microscope sequencing 15                   In an embodiment, the method may be used for the
method, or any other sequencing method.                           purpose of paternity testing. For example, given the SNP-
   All of these methods physically transform the genetic data     based genotypic information from the mother, and from a
stored in a sample of DNA into a set of genetic data that is      man who may or may not be the genetic father, and the
typically stored in a memory device in route to being             measured genotypic information from the mixed sample, it
processed.                                                     20 is possible to determine if the genotypic information of the
   A relevant individual's genetic data may be measured by        male indeed represents that actual genetic father of the
analyzing substances taken from a group including, but not        gestating fetus. A simple way to do this is to simply look at
limited to: the individual's bulk diploid tissue, one or more     the contexts where the mother is AA, and the possible father
diploid cells from the individual, one or more haploid cells      is AB or BB. In these cases, one may expect to see the father
from the individual, one or more blastomeres from the target 25 contribution half (AAIAB) or all (AAIBB) of the time,
individual, extra-cellular genetic material found on the indi-    respectively. Taking into account the expected ADO, it is
vidual, extra-cellular genetic material from the individual       straightforward to determine whether or not the fetal SNPs
found in maternal blood, cells from the individual found in       that are observed are correlated with those of the possible
maternal blood, one or more embryos created from (a)              father.
gamete(s) from the related individual, one or more blasto- 30        One embodiment of the present disclosure could be as
meres taken from such an embryo, extra-cellular genetic           follows: a pregnant woman wants to know if her fetus is
material found on the related individual, genetic material        afflicted with Down Syndrome, and/or if it will suffer from
known to have originated from the related individual, and         Cystic Fibrosis, and she does not wish to bear a child that is
combinations thereof.                                             afflicted with either of these conditions. A doctor takes her
   In some embodiments, a set of at least one ploidy state 35 blood, and stains the hemoglobin with one marker so that it
hypothesis may be created for each of the chromosomes             appears clearly red, and stains nuclear material with another
types of interest of the target individual. Each of the ploidy    marker so that it appears clearly blue. Knowing that mater-
state hypotheses may refer to one possible ploidy state of the    nal red blood cells are typically anuclear, while a high
chromosome or chromosome segment of the target indi-              proportion of fetal cells contain a nucleus, the doctor is able
vidual. The set of hypotheses may include some or all of the 40 to visually isolate a number of nucleated red blood cells by
possible ploidy states that the chromosome of the target          identifying those cells that show both a red and blue color.
individual may be expected to have. Some of the possible          The doctor picks up these cells off the slide with a micro-
ploidy states may include nullsomy, monosomy, disomy,             manipulator and sends them to a lab which amplifies and
uniparental disomy, euploidy, trisomy, matching trisomy,          genotypes ten individual cells. By using the genetic mea-
unmatching trisomy, maternal trisomy, paternal trisomy, 45 surements, the PARENTAL SUPPORT™ method is able to
tetrasomy, balanced (2:2) tetrasomy, unbalanced (3:1) tetra-      determine that six of the ten cells are maternal blood cells,
somy, pentasomy, hexasomy, other aneuploidy, and combi-           and four of the ten cells are fetal cells. If a child has already
nations thereof. Any of these aneuploidy states may be            been born to a pregnant mother, PARENTAL SUPPORTfM
mixed or partial aneuploidy such as unbalanced transloca-         can also be used to determine that the fetal cells are distinct
tions, balanced translocations, Robertsonian translocations, 50 from the cells of the born child by making reliable allele
recombinations, deletions, insertions, crossovers, and com-       calls on the fetal cells and showing that they are dissimilar
binations thereof.                                                to those of the born child. Note that this method is similar
   In some embodiments, the knowledge of the determined           in concept to the paternal testing embodiment of the present
ploidy state may be used to make a clinical decision. This        disclosure. The genetic data measured from the fetal cells
knowledge, typically stored as a physical arrangement of 55 may be of very poor quality, comprising many allele drop
matter in a memory device, may then be transformed into a         outs, due to the difficulty of genotyping single cells. The
report. The report may then be acted upon. For example, the       clinician is able to use the measured fetal DNA along with
clinical decision may be to terminate the pregnancy; alter-       the reliable DNA measurements of the parents to infer
nately, the clinical decision may be to continue the preg-        aspects of the genome of the fetus with high accuracy using
nancy. In some embodiments the clinical decision may 60 PARENTAL SUPPORT™, thereby transforming the genetic
involve an intervention designed to decrease the severity of      data contained on genetic material from the fetus into the
the phenotypic presentation of a genetic disorder, or a           predicted genetic state of the fetus, stored on a computer.
decision to take relevant steps to prepare for a special needs    The clinician is able to determine both the ploidy state of the
child.                                                            fetus, and the presence or absence of a plurality of disease-
   In an embodiment of the present disclosure, any of the 65 linked genes of interest. It turns out that the fetus is euploid,
methods described herein may be modified to allow for             and is not a carrier for cystic fibrosis, and the mother decides
multiple targets to come from same target individual, for         to continue the pregnancy.




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   In an embodiment of the present disclosure, a pregnant         tronically to the pregnant woman's obstetrician, who trans-
mother would like to determine if her fetus is afflicted with     mits the diagnosis to the woman. The woman, her husband,
any whole chromosomal abnormalities. She goes to her              and the doctor sit down and discuss their options. The couple
doctor, and gives a sample of her blood, and she and her          decides to terminate the pregnancy based on the knowledge
husband gives samples of their own DNA from cheek swabs. 5 that the fetus is afflicted with a trisomic condition.
A laboratory researcher genotypes the parental DNA using             In an embodiment, a company may decide to offer a
the MDA protocol to amplify the parental DNA, and ILLU-           diagnostic technology designed to detect aneuploidy in a
MINA INFINIUM arrays to measure the genetic data of the           gestating fetus from a maternal blood draw. Their product
parents at a large number ofSNPs. The researcher then spins       may involve a mother presenting to her obstetrician, who
down the blood, takes the plasma, and isolates a sample of 10 may draw her blood. The obstetrician may also collect a
free-floating DNA using size exclusion chromatography.            genetic sample from the father of the fetus. A clinician may
Alternately, the researcher uses one or more fluorescent          isolate the plasma from the maternal blood, and purify the
antibodies, such as one that is specific to fetal hemoglobin      DNA from the plasma. A clinician may also isolate the buffy
to isolate a nucleated fetal red blood cell. The researcher       coat layer from the maternal blood, and prepare the DNA
then takes the isolated or enriched fetal genetic material and 15 from the buffy coat. A clinician may also prepare the DNA
amplifies it using a library of 70-mer oligonucleotides           from the paternal genetic sample. The clinician may use
appropriately designed such that two ends of each oligo-          molecular biology techniques described in this disclosure to
nucleotide corresponded to the flanking sequences on either       append universal amplification tags to the DNA in the DNA
side of a target allele. Upon addition of a polymerase, ligase,   derived from the plasma sample. The clinician may amplify
and the appropriate reagents, the oligonucleotides under- 20 the universally tagged DNA. The clinician may preferen-
went gap-filling circularization, capturing the desired allele.   tially enrich the DNA by a number of techniques including
An exonuclease was added, heat-inactivated, and the prod-         capture by hybridization and targeted PCR. The targeted
ucts were used directly as a template for PCR amplification.      PCR may involve nesting, hemi-nesting or semi-nesting, or
The PCR products were sequenced on an ILLUMINA                    any other approach to result in efficient enrichment of the
GENOME ANALYZER. The sequence reads were used as 25 plasma derived DNA. The targeted PCR may be massively
input for the PARENTAL SUPPORT™ method, which then                multiplexed, for example with 10,000 primers in one reac-
predicted the ploidy state of the fetus.                          tion volume, where the primers target SNPs on chromo-
   In another embodiment, a couple-where the mother,              somes 13, 18, 21, X and those loci that are common to both
who is pregnant, and is of advanced maternal age-wants to         X and Y, and optionally other chromosomes as well. The
know whether the gestating fetus has Down syndrome, 30 selective enrichment and/or amplification may involve tag-
Turner Syndrome, Prader Willi syndrome, or some other             ging each individual molecule with different tags, molecular
whole chromosomal abnormality. The obstetrician takes a           barcodes, tags for amplification, and/or tags for sequencing.
blood draw from the mother and father. The blood is sent to       The clinician may then sequence the plasma sample, and
a laboratory, where a technician centrifuges the maternal         also possibly also the prepared maternal and/or paternal
sample to isolate the plasma and the buffy coat. The DNA in 35 DNA. The molecular biology steps may be executed either
the buffy coat and the paternal blood sample are transformed      wholly or partly by a diagnostic box. The sequence data may
through amplification and the genetic data encoded in the         be fed into a single computer, or to another type of com-
amplified genetic material is further transformed from            puting platform such as may be found in 'the cloud'. The
molecularly stored genetic data into electronically stored        computing platform may calculate allele counts at the tar-
genetic data by running the genetic material on a high 40 geted polymorphic loci from the measurements made by the
throughput sequencer to measure the parental genotypes.           sequencer. The computing platform may create a plurality of
The plasma sample is preferentially enriched at a set of loci     ploidy hypotheses pertaining to nullsomy, monosomy,
using a 5,000-plex hemi-nested targeted PCR method. The           disomy, matched trisomy, and unmatched trisomy for each
mixture of DNA fragments is prepared into a DNA library           of chromosomes 13, 18, 21, X and Y. The computing
suitable for sequencing. The DNA is then sequenced using 45 platform may build a joint distribution model for the
a high throughput sequencing method, for example, the             expected allele counts at the targeted loci on the chromo-
ILLUMINA GAIIx GENOME ANALYZER. The sequenc-                      some for each ploidy hypothesis for each of the five chro-
ing transforms the information that is encoded molecularly        mosomes being interrogated. The computing platform may
in the DNA into information that is encoded electronically in     determine a probability that each of the ploidy hypotheses is
computer hardware. An informatics based technique that 50 true using the joint distribution model and the allele counts
includes the presently disclosed embodiments, such as             measured on the preferentially enriched DNA derived from
PARENTAL SUPPORTfM, may be used to determine the                  the plasma sample. The computing platform may call the
ploidy state of the fetus. This may involve calculating, on a     ploidy state of the fetus, for each of chromosome 13, 18, 21,
computer, allele count probabilities at the plurality of poly-    X and Y by selecting the ploidy state corresponding to the
morphic loci from the DNA measurements made on the 55 germane hypothesis with the greatest probability. A report
prepared sample; creating, on a computer, a plurality of          may be generated comprising the called ploidy states, and it
ploidy hypotheses each pertaining to a different possible         may be sent to the obstetrician electronically, displayed on
ploidy state of the chromosome; building, on a computer, a        an output device, or a printed hard copy of the report may
joint distribution model for the expected allele counts at the    be delivered to the obstetrician. The obstetrician may inform
plurality of polymorphic loci on the chromosome for each 60 the patient and optionally the father of the fetus, and they
ploidy hypothesis; determining, on a computer, a relative         may decide which clinical options are open to them, and
probability of each of the ploidy hypotheses using the joint      which is most desirable.
distribution model and the allele counts measured on the             In another embodiment, a pregnant woman, hereafter
prepared sample; and calling the ploidy state of the fetus by     referred to as "the mother" may decide that she wants to
selecting the ploidy state corresponding to the hypothesis 65 know whether or not her fetus( es) are carrying any genetic
with the greatest probability. It is determined that the fetus    abnormalities or other conditions. She may want to ensure
has Down syndrome. A report is printed out, or sent clcc-         that there arc not any gross abnormalities before she is




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confident to continue the pregnancy. She may go to her              on the computer accessible by the health care practitioner; it
obstetrician, who may take a sample of her blood. He may            also may be displayed on a screen so that it may be read. In
also take a genetic sample, such as a buccal swab, from her         the case of a screen display, the data may be transformed to
cheek. He may also take a genetic sample from the father of         a readable format by causing the physical transformation of
the fetus, such as a buccal swab, a sperm sample, or a blood        pixels on the display device. The transformation may be
sample. He may send the samples to a clinician. The                 accomplished by way of physically firing electrons at a
clinician may enrich the fraction of free floating fetal DNA        phosphorescent screen, by way of altering an electric charge
in the maternal blood sample. The clinician may enrich the          that physically changes the transparency of a specific set of
fraction of enucleated fetal blood cells in the maternal blood      pixels on a screen that may lie in front of a substrate that
sample. The clinician may use various aspects of the meth- 10 emits or absorbs photons. This transformation may be
ods described herein to determine genetic data of the fetus.        accomplished by way of changing the nanoscale orientation
That genetic data may include the ploidy state of the fetus,        of the molecules in a liquid crystal, for example, from
and/or the identity of one or a number of disease linked            nematic to cholesteric or smectic phase, at a specific set of
alleles in the fetus. A report may be generated summarizing         pixels. This transformation may be accomplished by way of
the results of the prenatal diagnosis. The report may be 15 an electric current causing photons to be emitted from a
transmitted or mailed to the doctor, who may tell the mother        specific set of pixels made from a plurality of light emitting
the genetic state of the fetus. The mother may decide to            diodes arranged in a meaningful pattern. This transformation
discontinue the pregnancy based on the fact that the fetus has      may be accomplished by any other way used to display
one or more chromosomal, or genetic abnormalities, or               information, such as a computer screen, or some other
undesirable conditions. She may also decide to continue the 20 output device or way of transmitting information. The health
pregnancy based on the fact that the fetus does not have any        care practitioner may then act on the report, such that the
gross chromosomal or genetic abnormalities, or any genetic          data in the report is transformed into an action. The action
conditions of interest.                                             may be to continue or discontinue the pregnancy, in which
   Another example may involve a pregnant woman who has             case a gestating fetus with a genetic abnormality is trans-
been artificially inseminated by a sperm donor, and is 25 formed into non-living fetus. The transformations listed
pregnant. She wants to minimize the risk that the fetus she         herein may be aggregated, such that, for example, one may
is carrying has a genetic disease. She has blood drawn at a         transform the genetic material of a pregnant mother and the
phlebotomist, and techniques described in this disclosure are       father, through a number of steps outlined in this disclosure,
used to isolate three nucleated fetal red blood cells, and a        into a medical decision consisting of aborting a fetus with
tissue sample is also collected from the mother and genetic 30 genetic abnormalities, or consisting of continuing the preg-
father. The genetic material from the fetus and from the            nancy. Alternately, one may transform a set of genotypic
mother and father are amplified as appropriate and geno-            measurements into a report that helps a physician treat his
typed using the ILLUMINA INFINIUM BEADARRAY, and                    pregnant patient.
the methods described herein clean and phase the parental              In an embodiment of the present disclosure, the method
and fetal genotype with high accuracy, as well as to make 35 described herein can be used to determine the ploidy state of
ploidy calls for the fetus. The fetus is found to be euploid,       a fetus even when the host mother, i.e. the woman who is
and phenotypic susceptibilities are predicted from the recon-       pregnant, is not the biological mother of the fetus she is
structed fetal genotype, and a report is generated and sent to      carrying. In an embodiment of the present disclosure, the
the mother's physician so that they can decide what clinical        method described herein can be used to determine the ploidy
decisions may be best.                                           40 state of a fetus using only the maternal blood sample, and
   In an embodiment, the raw genetic material of the mother         without the need for a paternal genetic sample.
and the father is transformed by way of amplification to an            Some of the math in the presently disclosed embodiments
amount of DNA that is similar in sequence, but larger in            makes hypotheses concerning a limited number of states of
quantity. Then, by way of a genotyping method, the geno-            aneuploidy. In some cases, for example, only zero, one or
typic data that is encoded by nucleic acids is transformed 45 two chromosomes are expected to originate from each
into genetic measurements that may be stored physically             parent. In some embodiments of the present disclosure, the
and/or electronically on a memory device, such as those             mathematical derivations can be expanded to take into
described above. The relevant algorithms that makeup the            account other forms of aneuploidy, such as quadrosomy,
PARENTAL SUPPORT™ algorithm, relevant parts of                      where three chromosomes originate from one parent, pen-
which are discussed in detail herein, are translated into a 50 tasomy, hexasomy etc., without changing the fundamental
computer program, using a programming language. Then,               concepts of the present disclosure. At the same time, it is
through the execution of the computer program on the                possible to focus on a smaller number of ploidy states, for
computer hardware, instead of being physically encoded bits         example, only trisomy and disomy. Note that ploidy deter-
and bytes, arranged in a pattern that represents raw mea-           minations that indicate a non-whole number of chroma-
surement data, they become transformed into a pattern that 55 sames may indicate mosaicism in a sample of genetic
represents a high confidence determination of the ploidy            material.
state of the fetus. The details of this transformation will rely       In some embodiments, the genetic abnormality is a type
on the data itself and the computer language and hardware           of aneuploidy, such as Down syndrome (or trisomy 21),
system used to execute the method described herein. Then,           Edwards syndrome (trisomy 18), Patau syndrome (trisomy
the data that is physically configured to represent a high 60 13), Turner Syndrome (45X), Klinefelter's syndrome (a
quality ploidy determination of the fetus is transformed into       male with 2 X chromosomes), Prader-Willi syndrome, and
a report which may be sent to a health care practitioner. This      DiGeorge syndrome (UPD 15). Congenital disorders, such
transformation may be carried out using a printer or a              as those listed in the prior sentence, are commonly unde-
computer display. The report may be a printed copy, on              sirable, and the knowledge that a fetus is afflicted with one
paper or other suitable medium, or else it may be electronic. 65 or more phenotypic abnormalities may provide the basis for
In the case of an electronic report, it may be transmitted, it      a decision to terminate the pregnancy, to take necessary
may be physically stored on a memory device at a location           precautions to prepare for the birth of a special needs child,




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or to take some therapeutic approach meant to lessen the              The maximum likelihood estimation method uses the
severity of a chromosomal abnormality.                             distributions associated with each hypothesis to estimate the
    In some embodiments, the methods described herein can          likelihood of the data conditioned on each hypothesis. These
be used at a very early gestational age, for example as early      conditional probabilities can then be converted to a hypoth-
as four week, as early as five weeks, as early as six weeks,       esis call and confidence. Similarly, maximum a posteriori
as early as seven weeks, as early as eight weeks, as early as      estimation method uses the same conditional probabilities as
nine weeks, as early as ten weeks, as early as eleven weeks,       the maximum likelihood estimate, but also incorporates
and as early as twelve weeks.                                      population priors when choosing the best hypothesis and
    In some embodiments, a method disclosed herein is used         determining confidence.
in the context of pre-implantation genetic diagnosis (PGD) 10         Therefore, the use of a maximum likelihood estimate
for embryo selection during in vitro fertilization, where the      (MLE) technique, or the closely related maximum a poste-
target individual is an embryo, and the parental genotypic         riori (MAP) technique give two advantages, first it increases
data can be used to make ploidy determinations about the           the chance of a correct call, and it also allows a confidence
embryo from sequencing data from a single or two cell              to be calculated for each call. In an embodiment, selecting
biopsy from a day 3 embryo or a trophectoderm biopsy from 15 the ploidy state corresponding to the hypothesis with the
a day 5 or day 6 embryo. In a PGD setting, only the child          greatest probability is carried out using maximum likelihood
DNA is measured, and only a small number of cells are              estimates or maximum a posteriori estimates. In an embodi-
tested, generally one to five but as many as ten, twenty or        ment, a method is disclosed for determining the ploidy state
fifty. The total number of starting copies of the A and B          of a gestating fetus that involves taking any method cur-
alleles (at a SNP) are then trivially determined by the child 20 rently known in the art that uses a single hypothesis rejection
genotype and the number of cells. In NPD, the number of            technique and reformulating it such that it uses a MLE or
starting copies is very high and so the allele ratio after PCR     MAP technique. Some examples of methods that can be
is expected to accurately reflect the starting ratio. However,     significantly improved by applying these techniques can be
the small number of starting copies in PGD means that              found in U.S. Pat. Nos. 8,008,018, 7,888,017, or U.S. Pat.
contamination and imperfect PCR efficiency have a non- 25 No. 7,332,277.
trivial effect on the allele ratio following PCR. This effect         In an embodiment, a method is described for determining
may be more important than depth of read in predicting the         presence or absence of fetal aneuploidy in a maternal plasma
variance in the allele ratio measured after sequencing. The        sample comprising fetal and maternal genomic DNA, the
distribution of measured allele ratio given a known child          method comprising: obtaining a maternal plasma sample;
genotype may be created by Monte Carlo simulation of the 30 measuring the DNA fragments found in the plasma sample
PCR process based on the PCR probe efficiency and prob-            with a high throughput sequencer; mapping the sequences to
ability of contamination. Given an allele ratio distribution       the chromosome and determining the number of sequence
for each possible child genotype, the likelihoods of various       reads that map to each chromosome; calculating the fraction
hypotheses can be calculated as described for NIPD.                of fetal DNA in the plasma sample; calculating an expected
Maximum Likelihood Estimates                                    35 distribution of the amount of a target chromosome that
    Most methods known in the art for detecting the presence       would be expected to be present if that if the second target
or absence of biological phenomenon or medical condition           chromosome were euploid and one or a plurality of expected
involve the use of a single hypothesis rejection test, where       distributions that would be expected if that chromosome
a metric that is correlated with the condition is measured,        were aneuploid, using the fetal fraction and the number of
and if the metric is on one side of a given threshold, the 40 sequence reads that map to one or a plurality of reference
condition is present, while of the metric falls on the other       chromosomes expected to be euploid; and using a MLE or
side of the threshold, the condition is absent. A single-          MAP determine which of the distributions is most likely to
hypothesis rejection test only looks at the null distribution      be correct, thereby indicating the presence or absence of a
when deciding between the null and alternate hypotheses.           fetal aneuploidy. In an embodiment, the measuring the DNA
Without taking into account the alternate distribution, one 45 from the plasma may involve conducting massively parallel
cannot estimate the likelihood of each hypothesis given the        shotgun sequencing. In an embodiment, the measuring the
observed data and therefore cannot calculate a confidence on       DNA from the plasma sample may involve sequencing DNA
the call. Hence with a single-hypothesis rejection test, one       that has been preferentially enriched, for example through
gets a yes or no answer without a feeling for the confidence       targeted amplification, at a plurality of polymorphic or
associated with the specific case.                              50 non-polymorphic loci. The plurality ofloci may be designed
    In some embodiments, the method disclosed herein is able       to target one or a small number of suspected aneuploid
to detect the presence or absence of biological phenomenon         chromosomes and one or a small number of reference
or medical condition using a maximum likelihood method.            chromosomes. The purpose of the preferential enrichment is
This is a substantial improvement over a method using a            to increase the number of sequence reads that are informa-
single hypothesis rejection technique as the threshold for 55 tive for the ploidy determination.
calling absence or presence of the condition can be adjusted       Ploidy Calling Informatics Methods
as appropriate for each case. This is particularly relevant for       Described herein is a method for determining the ploidy
diagnostic techniques that aim to determine the presence or        state of a fetus given sequence data. In some embodiments,
absence of aneuploidy in a gestating fetus from genetic data       this sequence data may be measured on a high throughput
available from the mixture of fetal and maternal DNA 60 sequencer. In some embodiments, the sequence data may be
present in the free floating DNA found in maternal plasma.         measured on DNA that originated from free floating DNA
This is because as the fraction of fetal DNA in the plasma         isolated from maternal blood, wherein the free floating DNA
derived fraction changes, the optimal threshold for calling        comprises some DNA of maternal origin, and some DNA of
aneuploidy vs. euploidy changes. As the fetal fraction drops,      fetal/placental origin. This section will describe one embodi-
the distribution of data that is associated with an aneuploidy 65 ment of the present disclosure in which the ploidy state of
becomes increasingly similar to the distribution of data that      the fetus is determined assuming that fraction of fetal DNA
is associated with a cuploidy.                                     in the mixture that has been analyzed is not known and will




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be estimated from the data. It will also describe an embodi-         It is also possible to use priors to find the maximum a
ment in which the fraction of fetal DNA ("fetal fraction") or     posteriori estimate:
the percentage of fetal DNA in the mixture can be measured
by another method, and is assumed to be known in deter-
mining the ploidy state of the fetus. In some embodiments 5               HMA = argmax LIK(D I HJ
                                                                                   H
the fetal fraction can be calculated using only the genotyping
measurements made on the maternal blood sample itself,
which is a mixture of fetal and maternal DNA. In some                In an embodiment, the copy number hypotheses that may
embodiments the fraction may be calculated also using the         be considered are:
                                                               10
measured or otherwise known genotype of the mother and/or            Monosomy:
the measured or otherwise known genotype of the father. In           maternal HlO (one copy from mother)
another embodiment ploidy state of the fetus can be deter-           paternal HO! (one copy from father)
mined solely based on the calculated fraction of fetal DNA           Disomy: Hll (one copy each mother and father)
for the chromosome in question compared to the calculated 15         Simple trisomy, no crossovers considered:
fraction of fetal DNA for the reference chromosome                   Maternal: H21_matched (two identical copies from
assumed disomic.                                                  mother, one copy from father),
   In the preferred embodiment, suppose that, for a particular       H21_unmatched (BOTH copies from mother, one copy
chromosome, we observe and analyze N SNPs, for which we           from father)
have:                                                          20    Paternal: H12_matched (one copy from mother, two iden-
   Set of NR free floating DNA sequence measurements              tical copies from father),
S=(s 1, . . . , sNR). Since this method utilizes the SNP             H12_unmatched (one copy from mother, both copies from
measurements, all sequence data that corresponds to non-          father)
polymorphic loci can be disregarded. In a simplified version,        Composite trisomy, allowing for crossovers (using a joint
where we have (A,B) counts on each SNP, where A and B 25 distribution model):
correspond to the two alleles present at a given locus, S can        maternal H21 (two copies from mother, one from father),
be written as S=((a 1,b 1), ... , (aN, bN)), where a, is the A       paternal H12 (one copy from mother, two copies from
count on SNP i, b, is the B count on SNP i, and ~,~1c~a,+         father)
b,)=NR                                                               In other embodiments, other ploidy states, such as
   Parent data consisting of                                   30 nullsomy (HOO), uniparental disomy (H20 and H02), and
   Genotypes from a SNP microarray or other intensity             tetrasomy (H04, H13, H22, H31 and H40), may be consid-
based genotyping platform: mother M=(m 1, ... ,mN), father        ered.
F=(fi, ... , fN), where m,, f, E(AA, AB, BB).                        If there are no crossovers, each trisomy, whether the
   AND/OR sequence data measurements: NRM mother                  origin was mitosis, meiosis I, or meiosis II, would be one of
measurements SM=(smi, ... , smnrm), NRF father measure- 35 the matched or unmatched trisomies. Due to crossovers, true
ments SF=(sf1, ... , sfnrf). Similar to the above simplifica-     trisomy is usually a combination of the two. First, a method
tion, if we have (A,B) counts on each SNP SM=((am 1,              to derive hypothesis likelihoods for simple hypotheses is
bm 1), ... , (amN, bmN)), SF=((af1, bf1), ... , (afN, bfN))       described. Then a method to derive hypothesis likelihoods
   Collectively, the mother, father child data are denoted as     for composite hypotheses is described, combining individual
D=(M,F,SM,SF,S). Note that the parent data is desired and 40 SNP likelihood with crossovers.
increases the accuracy of the algorithm, but is NOT neces-        LIK(DIH) for a Simple Hypothesis
sary, especially the father data. This means that even in the        In an embodiment, LIK(DIH) may be determined for
absence of mother and/or father data, it is possible to get       simple hypotheses, as follows. For simple hypotheses H,
very accurate copy number results.                                LIK(H), the log likelihood of hypothesis H on a whole
   It is possible to derive the best copy number estimate (H*) 45 chromosome, may be calculated as the sum of log likeli-
by maximizing the data log likelihood LIK(DIH) over all           hoods of individual SNPs, assuming known or derived child
hypotheses (H) considered. In particular it is possible to        fraction cf. In an embodiment it is possible to derive cf from
determine the relative probability of each of the ploidy          the data.
hypotheses using the joint distribution model and the allele
counts measured on the prepared sample, and using those 50
relative probabilities to determine the hypothesis most likely            LIK(D I HJ=~ LIK(D I H, cf, iJ
to be correct as follows:


      W   = argmax LIK(D I HJ                                       This hypothesis does not assume any linkage between SNPs,
                                                               55
              H                                                     and therefore does not utilize a joint distribution model.
                                                                       In some embodiments, the Log Likelihood may be deter-
  Similarly the a posteriori hypothesis likelihood given the        mined on a per SNP basis. On a particular SNP i, assuming
data may be written as:                                             fetal ploidy hypothesis H and percent fetal DNA cf, log
                                                                    likelihood of observed data D is defined as:
                                                               60

      W   = argmax LIK(D I HJ* priorprob(HJ
              H                                                     LIK(D I H, iJ = log P(D I H, cf, iJ =

                                                                                  log/~ P(D Im, f, c, H, cf, iJP(c Im, f, HJP(m I iJP(f I iJ)
  Where priorprob(H) is the prior probability assigned to      65                    lm.J.c
each hypothesis H, based on model design and prior knowl-
edge.




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where m are possible true mother genotypes, fare possible       if no father genotype data F is available, one may just use
true father genotypes, where m,fE{AA,AB,BB}, and care           P(Flf, i)=l. If no father sequence data SF is available, one
possible child genotypes given the hypothesis H. In particu-    may just use P(SFlf,i)=l.
lar, for monosomy cE{ A, B}, for disomy cE{ AA, AB, BB},           In some embodiments, the method involves building a
for trisomy cE{ AAA, AAB, ABB, BBB}. Genotype prior          5 joint distribution model for the expected allele counts at a
frequency: p(mli) is the general prior probability of mother    plurality of polymorphic loci on the chromosome for each
genotype m on SNP i, based on the known population
frequency at SNP I, denoted pA,. In particular                  ploidy hypothesis; one method to accomplish such an end is
                                                                described here. Free fotal DNA data likelihood: P(Slm, c, H,
      p(AA lpA;)~(pA;) 2 ,p(AB lpA;)~2(pA;)* (1-pA;),p
          (BBlpA;)~(l-pA;) 2                                 10 cf, i) is the probability of free fetal DNA sequence data on

Father genotype probability, p(fli), may be determined in an    SNP i, given true mother genotype m, true child genotype c,
analogous fashion.                                              child copy number hypothesis H, and assuming child frac-
True child probability: p(clm, f, H) is the probability of      tion cf. It is in fact the probability of sequence data Son SNP
getting true child genotype=c, given parents m, f, and 15 I, given the true probability of A content on SNP i µ(m, c, cf,
assuming hypothesis H, which can be easily calculated. For      H)
example, for Hll, H21 matched and H21 unmatched, p(clm,
f,H) is given below.                                                   P(Slm,c,H,cfi)~P(Slµ(m,c,cfH),i)


                                            elm f H

                      H11                   H21 matched                 H21 unmatched

  ill     f     AA AB         BB     AAA AAB       ABB BBB AAA AAB ABB BBB
 AA      AA    1      0       0             0      0      0               0          0     0
 AB      AA    0.5    0.5     0      0.5    0      0.5    0       0                  0     0
 BB      AA    0              0      0      0             0       0       0                0
 AA      AB    0.5    0.5     0      0.5    0.5    0      0       0.5     0.5        0     0
 AB      AB    0.25   0.5     0.25   0.25   0.25   0.25   0.25    0       0.5        0.5   0
 BB      AB    0      0.5     0.5    0      0      0.5    0.5     0       0          0.5   0.5
 AA      BB    0              0      0             0      0       0                  0     0
 AB      BB    0      0.5     0.5    0      0.5    0      0.5     0       0                0
 BB      BB    0      0              0      0      0              0       0          0




Data likelihood: P(Dlm, f, c, H, i, cf) is the probability of    For counts, where S,=(a,,b,), with no extra noise or bias in
                                                              35
given data D on SNP i, given true mother genotype m, true        data involved,
father genotype f, true child genotype c, hypothesis H and             P(S11µ(m,c,cfH),i)~Px(a;)
child fraction cf. It can be broken down into the probability    where X-Binom(p(A), a,+b,) with p(A)=µ(m, c, cf, H). In a
of mother, father and child data as follows:                     more complex case where the exact alignment and (A,B)
                                                              40 counts per SNP are not known, P(Slµ(m, c, cf, H),i) is a
      P(DlmJ, c,H,cf i)~P(SMlm,i)P(Mlm,i)P(SFlf i)P(Flf i)       combination of integrated binomials.
          P(Slm,c,H,cfi)                                         True A content probability: p(m, c, cf, H), the true probabil-
Mother SNP array data likelihood: Probability of mother          ity of A content on SNP i in this mother/child mixture,
                                                                 assuming that true mother genotype=m, true child
SNP array genotype data m, at SNP i compared to true
                                                                 genotype=c, and overall child fraction=cf, is defined as
genotype m, assuming SNP array genotypes are correct, is      45
simply
                                                                                                                #A(m) * (l - cf)+ #A(c) *cf
                                                                                             µ(m, c, cf, H) =      nm* (1- cf)+ n, *cf

        P(M I m, i) = {   ~                                                     50
                                                                 where #A(g)=number of A's in genotype g, nm =2 is somy of
                                                                 mother and n, is ploidy of the child under hypothesis H (1
Mother sequence data likelihood: the probability of the          for monosomy, 2 for disomy, 3 for trisomy).
mother sequence data at SNP i, in the case of counts             Using a Joint Distribution Model: LIK(DIH) for a Compos-
S,=(am,,bm,), with no extra noise or bias involved, is the 55 ite Hypothesis
binomial probability defined as P(SMlm,i)=Px m(am,) where           In some embodiments, the method involves building a
                                                          1

                                                                 joint distribution model for the expected allele counts at the
Xlm-Binom(pm(A), am,+bm,) with Pm(A) defined as
                                                                 plurality of polymorphic loci on the chromosome for each
                                                                 ploidy hypothesis; one method to accomplish such an end is
                                                                 described here. In many cases, trisomy is usually not purely
    ill        AA      AB     BB      B      B      nocall    60
                                                                 matched or unmatched, due to crossovers, so in this section
    p(A)               0.5                            0.5        results for composite hypotheses H21 (maternal trisomy)
                                                                 and H12 (paternal trisomy) are derived, which combine
                                                                 matched and unmatched trisomy, accounting for possible
Father data likelihood: a similar equation applies for father    crossovers.
data likelihood.                                              65    In the case of trisomy, if there were no crossovers, trisomy
Note that it is possible to determine the child genotype         would be simply matched or unmatched trisomy. Matched
without the parent data, especially father data. For example     trisomy is where child inherits two copies of the identical




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chromosome segment from one parent. Unmatched trisomy                         The most likely child fraction (cf*) is derived as
is where child inherits one copy of each homologous chro-
mosome segment from the parent. Due to crossovers, some
segments of a chromosome may have matched trisomy, and                                cf = argmax LIK(cf).
                                                                                               cf
other parts may have unmatched trisomy. Described in this 5
section is how to build a joint distribution model for the
heterozygosity rates for a set of alleles; that is, for the                      It is possible to use any set of chromosomes. It is also
expected allele counts at a number of loci for one or more
                                                                              possible to derive child fraction without assuming euploidy
hypotheses.
                                                                              on the reference chromosomes. Using this method it is
    Suppose that on SNP i, LIK(DIHm,i) is the fit for matched 10
                                                                              possible to determine the child fraction for any of the
hypothesis Hm, and LIK(DIHu, i) is the fit for unmatched
hypothesis Hu, and pc(i) probability of crossover between                     following situations: (1) one has array data on the parents
SNPs i-1 and i. One may then calculate the full likelihood                    and shotgun sequencing data on the maternal plasma; (2)
as:                                                                           one has array data on the parents and targeted sequencing
                                                                           15 data on the maternal plasma; (3) one has targeted sequencing
                                                                              data on both the parents and maternal plasma; (4) one has
        LIK(D I HJ=~ LIK(D I£, l:N)
                                                                              targeted sequencing data on both the mother and the mater-
                      E                                                       nal plasma fraction; (5) one has targeted sequencing data on
                                                                              the maternal plasma fraction; (6) other combinations of
                                                                           20 parental and child fraction measurements.
where LIK(DIE, 1: N) is the likelihood of ending in hypoth-
                                                                                 In some embodiments the informatics method may incor-
esis E, for SNPs 1:N. E=hypothesis of the last SNP, EE(Hm,
                                                                              porate data dropouts; this may result in ploidy determina-
Hu). Recursively, one may calculate:
                                                                              tions of higher accuracy. Elsewhere in this disclosure it has
                                                                              been assumed that the probability of getting an A is a direct
                                                                           25 function of the true mother genotype, the true child geno-
 LIK(D I£, l:i) = LIK(D I£, i) + log(exp(LIK(D I£, l:i-1)) * (1 - pc(i)) +
                                                                              type, the fraction of the child in the mixture, and the child
                                         exp(LIK(D I ~ £, l:i-1))* pc(i))     copy number. It is also possible that mother or child alleles
                                                                              can drop out, for example instead of measuring true child
                                                                              AB in the mixture, it may be the case that only sequences
where -E is the hypothesis other than E (not E), where 30 mapping to allele A are measured. One may denote the
hypotheses considered are Hm and Hu. In particular, one may                   parent dropout rate for genomic Illumina data dpg' parent
calculate the likelihood of l:i SNPs, based on likelihood of                  dropout rate for sequence data dps and child dropout rate for
1 to (i-1) SNPs with either the same hypothesis and no                        sequence data des· In some embodiments, the mother drop-
crossover, or the opposite hypothesis and a crossover, mu!-                   out rate may be assumed to be zero, and child dropout rates
tiplied by the likelihood of the SNP i                                     35 are relatively low; in this case, the results are not severely
For SNP 1, i=l, LIK(DIE, 1:l)=LIK(DIE, 1).                                    affected by dropouts. In some embodiments the possibility
For SNP 2, i=2, LIK(DIE, 1:2)=LIK(DIE, 2)+log (exp(LIK                        of allele dropouts may be sufficiently large that they result
(DIE, 1))*(1-pc(2))+exp (LIK(DI-E, 1))*pc(2)), and so on                      in a significant effect of the predicted ploidy call. For such
for i=3:N.                                                                    a case, allele dropouts have been incorporated into the
    In some embodiments, the child fraction may be deter- 40 algorithm here:
mined. The child fraction may refer to the proportion of                         Parent SNP array data dropouts: For mother genomic data
sequences in a mixture of DNA that originate from the child.                  M, suppose that the genotype after the dropout is md, then
In the context of non-invasive prenatal diagnosis, the child
fraction may refer to the proportion of sequences in the
maternal plasma that originate from the fetus or the portion 45
                                                                                      P(M Im, i) = ~ P(M I md, i)P(md Im)
of the placenta with fetal genotype. It may refer to the child                                     md
fraction in a sample of DNA that has been prepared from the
maternal plasma, and may be enriched in fetal DNA. One
purpose of determining the child fraction in a sample of                      where
DNA is for use in an algorithm that can make ploidy calls on 50
the fetus, therefore, the child fraction could refer to whatever
sample of DNA was analyzed by sequencing for the purpose
of non-invasive prenatal diagnosis.
    Some of the algorithms presented in this disclosure that
are part of a method of non-invasive prenatal aneuploidy 55
diagnosis assume a known child fraction, which may not                        as before, and P(mdlm) is the likelihood of genotype md after
always the case. In an embodiment, it is possible to find the                 the possible dropout given the true genotype m, defined as
most likely child fraction by maximizing the likelihood for                   below, for dropout rate d
disomy on selected chromosomes, with or without the
presence of the parental data                                              60
                                                                                                                    md
    In particular, suppose that LIK(DIHll, cf, chr)=log like-
lihood as described above, for the disomy hypothesis, and                         ill     AA       AB      BB          A      B      nocall
for child fraction cf on chromosome chr. For selected
                                                                                 AA       (1 -       0      0        2d(l -   0       d'2
chromosomes in Cset (usually 1: 16), assumed to be euploid,                               dp                           d)
the full likelihood is:                                                    65    AB         0      (1 -     0        d(l -  d(l -     d'2
                                                                                            dp                 d)         d)
      LIK( cf)-LchrEcoe,Lik(DIHl l ,cf,chr)




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                             -continued                                      Xlq-Bin(q,D,),where q-Beta(a,~).Ifwe let E(q)=p,V(q)=s 2 ,
                                                                             and parameters a,~ can be derived as a=pN, ~=(1-p)N,
                                      md                                     where
   ill     AA       AB        BB           A         B         nocall

  BB        0         0       (1 -         0       2d(l -                            p(l -p)
                                                                                   N=-s-2--1.
                              df2                    d)


A similar equation applies for father SNP array data.         This is the definition of a beta-binomial distribution,
Parent sequence data dropouts: For mother sequence data 10 where one is sampling from a binomial distribution with
SM                                                         variable parameter q, where q follows a beta distribution
                                                           with mean p. So, in a setup with no bias, on SNP i, the parent
                                                           sequence data (SM) probability assuming true mother geno-
      P(SM Im, i) = ~ Px1md (am;)P(md Im)                  type (m), given mother sequence A count on SNP i (am,) and
                                                        15 mother sequence B count on SNP i (bm,) may be calculated
                    md
                                                           as:
                                                                     P(SMlm,i)~Pxim(am;) where Xlm-Binom(pm(A),am,+
where P(mdlm) is defined as in previous section and Pximd                bm;)
(am,) probability from a binomial distribution is defined as
                                                             20 Now, including random bias with standard deviation s, this
before in the parent data likelihood section. A similar
equation applies to the paternal sequence data.                 becomes:
  Free floating DNA sequence data dropout:                           Xlm-BetaBinom(pm(A),am,+bm,,s)
                                                                               In the case with no bias, the maternal plasma DNA
                                                                        25   sequence data (S) probability assuming true mother geno-
P(S Im, c, H, cf, i) = ~ P(S Iµ(md, cd, cf, H), i)P(md Im)P(cd Ic)           type (m), true child genotype (c), child fraction (cf), assum-
                    md,cd
                                                                             ing child hypothesis H, given free floating DNA sequence A
                                                                             count on SNP i (a,) and free floating sequence B count on
where P(Sl(md, cd, cf, H), i) is as defined in the section on                SNP i (b,) may be calculated as
free floating data likelihood.                                 30       P(Slm,c,cfH,i)~Px(a,)
   In an embodiment, p(mdlm) is the probability of observed       where X-Binom(p(A), a,+b,) with p(A)=µ(m, c, cf, H).
mother genotype m, given true mother genotype m, assum-              In an embodiment, including random bias with standard
ing dropout rate dP,, and p(cdlc) is the probability of           deviation s, this becomes X-BetaBinom(p(A),a,+b,,s),
observed child genotype ca, given true child genotype c,          where the amount of extra variation is specified by the
                                                               35
assuming dropout rate des· If nAr=number of A alleles in          deviation parameter s, or equivalently N. The smaller the
true genotype c, nAn=number of A alleles in observed              value of s (or the larger the value of N) the closer this
genotype cd, where nArsnAn, and similarly nBr=number of           distribution is to the regular binomial distribution. It is
B alleles in true genotype c, nBn=number of B alleles in          possible to estimate the amount of bias, i.e. estimate N
observed genotype cd, where nBT"'nBn and d=dropout rate, 40 above, from unambiguous contexts AAIAA, BBIBB,
then                                                              AAIBB, BBIAA and use estimated Nin the above probabil-
                                                                  ity. Depending on the behavior of the data, N may be made
                                                                  to be a constant irrespective of the depth of read a,+b,, or a
                                                                  function of a,+b,, making bias smaller for larger depths of
                                                               45
                                                                  read.
                                                                     In an embodiment, the informatics method may incorpo-
                                                                  rate consistent per-SNP bias. Due to artifacts of the sequenc-
   In an embodiment, the informatics method may incorpo-          ing process, some SNPs may have consistently lower or
rate random and consistent bias.                                  higher counts irrespective of the true amount of A content.
   In an ideal word there is no per SNP consistent sampling       Suppose that SNP i consistently adds a bias ofw, percent to
                                                               50
bias or random noise (in addition to the binomial distribution    the number of A counts. In some embodiments, this bias can
variation) in the number of sequence counts. In particular, on    be estimated from the set of training data derived under same
SNP i, for mother genotype m, true child genotype c and           conditions, and added back in to the parent sequence data
child fraction cf, and X=the number of A's in the set of          estimate as:
(A+B) reads on SNP i, X acts like a X-Binomial(p, A+B), 55
where p=µ(m, c, cf, H)=true probability of A content.
   In an embodiment, the informatics method may incorpo-             and with the free floating DNA sequence data probability
rate random bias. As is often the case, suppose that there is     estimate as:
a bias in the measurements, so that the probability of getting
an A on this SNP is equal to q, which is a bit different than 60        P(Slm,c,cfH,i)~Px(a;) where X-BetaBinom(p(A)+
p as defined above. How much different p is from q depends                   w,,a,+b,,s),
on the accuracy of the measurement process and number of           In some embodiments, the method may be written to
other factors and can be quantified by standard deviations of   specifically take into account additional noise, differential
q away from p. In an embodiment, it is possible to model q      sample quality, differential SNP quality, and random sam-
as having a beta distribution, with parameters a,~ depending 65 pling bias. An example of this is given here. This method has
on the mean of that distribution being centered at p, and       been shown to be particularly useful in the context of data
some specified standard deviation s. In particular, this gives  generated using the massively multiplexed mini-PCR pro-




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tocol, and was used in Examples 7 through 13. The method               In some embodiments, the method uses a Beta-Binomial
involves several steps that each introduce different kind of        distribution instead of a simple binomial distribution; this
noise and/or bias to the final model:                               takes care of the random sampling bias. Parameter N of the
   Suppose the first sample that comprises a mixture of             Beta-Binomial distribution is estimated on per sample basis
maternal and fetal DNA contains an original amount of 5 on an as needed basis. Using bias correction F(p,b), H(p,b),
DNA of size=N0 molecules, usually in the range 1,000-40,            instead of just p, takes care of the amplification bias.
000, where p=true % refs                                            Parameter b of the bias is estimated on per SNP basis from
   In the amplification using the universal ligation adaptors,      training data ahead of time.
assume that N 1 molecules are sampled; usually N 1 -N0 /2              In some embodiments the method uses leakage correction
molecules and random sampling bias is introduced due to 10 L(p,p"pg), instead of just p; this takes care of the leakage
sampling. The amplified sample may contain a number of              bias, i.e. varying SNP and sample quality. In some embodi-
molecules N 2 where N 2 >>N 1 . Let X 1 represent the amount        ments, parameters pg, p" p 0 are estimated on per SNP basis
of reference loci (on per SNP basis) out of N 1 sampled             from the training data ahead of time. In some embodiments,
molecules, with a variation in p 1 =X/N 1 that introduces           the parameters Pg, Pr, p 0 may be updated with the current
random sampling bias throughout the rest of protocol. This 15 sample on the go, to account for varying sample quality.
sampling bias is included in the model by using a Beta-                The model described herein is quite general and can
Binomial (BB) distribution instead of using a simple Bino-          account for both differential sample quality and differential
mial distribution model. Parameter N of the Beta-Binomial           SNP quality. Different samples and SNPs are treated differ-
distribution may be estimated later on per sample basis from        ently, as exemplified by the fact that some embodiments use
training data after adjusting for leakage and amplification 20 Beta-Binomial distributions whose mean and variance are a
bias, on SNPs with 0<p<l. Leakage is the tendency for a             function of the original amount of DNA, as well as sample
SNP to be read incorrectly.                                         and SNP quality.
   The amplification step will amplify any allelic bias, thus       Platform Modeling
amplification bias introduced due to possible uneven ampli-            Consider a single SNP where the expected allele ratio
fication. Suppose that one allele at a locus is amplified f 25 present in the plasma is r (based on the maternal and fetal
times another allele at that locus is amplified g times, where      genotypes). The expected allele ratio is defined as the
f=ge 6 , where b=0 indicates no bias. The bias parameter, b, is     expected fraction of A alleles in the combined maternal and
centered at 0, and indicates how much more or less the A            fetal DNA. For maternal genotype gm and child genotype gc,
allele get amplified as opposed to the B allele on a particular     the expected allele ratio is given by equation 1, assuming
SNP. The parameter b may differ from SNP to SNP. Bias 30 that the genotypes are represented as allele ratios as well.
parameter b may be estimated on per SNP basis, for example
from training data.
   The sequencing step involves sequencing a sample of                 The observation at the SNP consists of the number of
amplified molecules. In this step there may be leakage,             mapped reads with each allele present, n 0 and n 6 , which sum
where leakage is the situation where a SNP is read incor- 35 to the depth of read d. Assume that thresholds have already
rectly. Leakage may result from any number of problems,             been applied to the mapping probabilities and phred scores
and may result in a SNP being read not as the correct allele        such that the mappings and allele observations can be
A, but as another allele B found at that locus or as an allele      considered correct. A phred score is a numerical measure
C or D not typically found at that locus. Suppose the               that relates to the probability that a particular measurement
sequencing measures the sequence data of a number of DNA 40 at a particular base is wrong. In an embodiment, where the
molecules from an amplified sample of size N3, where                base has been measured by sequencing, the phred score may
N3<N2. In some embodiments, N3 may be in the range of               be calculated from the ratio of the dye intensity correspond-
20,000 to 100,000; 100,000 to 500,000; 500,000 to 4,000,            ing to the called base to the dye intensity of the other bases.
000; 4,000,000 to 20,000,000; or 20,000,000 to 100,000,             The simplest model for the observation likelihood is a
000. Each molecule sampled has a probability pg of being 45 binomial distribution which assumes that each of the dreads
read correctly, in which case it will show up correctly as          is drawn independently from a large pool that has allele ratio
allele A. The sample will be incorrectly read as an allele          r. Equation 2 describes this model.
unrelated to the original molecule with probability 1-pg, and
will look like allele A with probability pr, allele B with
probability Pm or allele C or allele D with probability p0 , 50                                                                  (2)
where Pr+Pm+p =l. Parameters Pg, p" Pm, p 0 are estimated
                0

on per SNP basis from the training data.
   Different protocols may involve similar steps with varia-
tions in the molecular biology steps resulting in different            The binomial model can be extended in a number of ways.
amounts of random sampling, different levels of amplifica- 55 When the maternal and fetal genotypes are either all A or all
tion and different leakage bias. The following model may be         B, the expected allele ratio in plasma will be 0 or 1, and the
equally well applied to each of these cases. The model for          binomial probability will not be well-defined. In practice,
the amount of DNA sampled, on per SNP basis, is given by:           unexpected alleles are sometimes observed in practice. In an
       Xr BetaBinomial(L(Fip,b ),ProPg),N*Hip,b))
                                                                    embodiment, it is possible to use a corrected allele ratio
                                                                 60 r=l/(n0 +n6) to allow a small number of the unexpected
where p=the true amount of reference DNA, b=per SNP                 allele. In an embodiment, it is possible to use training data
bias, and as described above, pg is the probability of a correct    to model the rate of the unexpected allele appearing on each
read, Pr is the probability of read being read incorrectly but      SNP, and use this model to correct the expected allele ratio.
serendipitously looking like the correct allele, in case of a       When the expected allele ratio is not 0 or 1, the observed
bad read, as described above, and:                               65 allele ratio may not converge with a sufficiently high depth
       F(p, b )~pebi(peb+(1-p )),Hip,b )~(ebp+(l -p) )2 /eh,        of read to the expected allele ratio due to amplification bias
             Lip,ProPg)~p *pg+Pr *(I-pg).                           or other phenomena. The allele ratio can then be modeled as




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a beta distribution centered at the expected allele ratio,               Another method would be to sum over the possible
leading to a beta-binomial distribution for P(na, n 6 1r) which       genotypes at each SNP, resulting in the following expression
has higher variance than the binomial.                                (7) for P(na, n 6 1f) for a SNP in S0 . The prior probability P(r)
   The platform model for the response at a single SNP will           could be assumed uniform over Ro(f), or could be based on
be defined as F(a, b, gc, gm, f) (3), or the probability of 5 population frequencies. The extension to group S 1 is trivial.
observing na =a and n 6 =b given the maternal and fetal                                                                              (7)
                                                                             P(na,nblf)<E.rERo!ff(na,nalr)P(r)
genotypes, which also depends on the fetal fraction through
equation 1. The functional form of F may be a binomial                   In some embodiments the probabilities may be derived as
distribution, beta-binomial distribution, or similar functions        follows. A confidence can be calculated from the data
as discussed above.                                                10 likelihoods of the two hypotheses Ht and Hf. The likelihood
                                                                      of each hypothesis is derived based on the response model,
       F( a, b,geogmj)~P(na ~a,nb ~b lgeogmj)~P(na ~a,nb ~b Ir        the estimated fetal fraction, the mother genotypes, allele
              (geogmj))                                        (3)
                                                                      population frequencies, and the plasma allele counts.
   In an embodiment, the child fraction may be determined             Define the following notation:
as follows. A maximum likelihood estimate of the fetal 15 Gm, Ge true maternal and child genotypes
fraction f for a prenatal test may be derived without the use         G af' Gtf true genotypes of alleged father and of true father
of paternal information. This may be relevant where the               G(gc, gm, gtf)=P(Gc=gclGm=gm,Gtf=gtf) inheritance prob-
paternal genetic data is not available, for example where the            abilities
father of record is not actually the genetic father of the fetus.     P(g)=P(Gtf=g) population frequency of genotype g at par-
The fetal fraction is estimated from the set of SNPs where 20            ticular SNP
the maternal genotype is 0 or 1, resulting in a set of only two          Assuming that the observation at each SNP is independent
possible fetal genotypes. Define S0 as the set of SNPs with           conditioned on the plasma allele ratio, the likelihood of a
maternal genotype 0 and S 1 as the set of SNPs with maternal          paternity hypothesis is the product of the likelihoods on the
genotype 1. The possible fetal genotypes on S0 are 0 and 0.5,         SNPs. The following equations derive the likelihood for a
resulting in a set of possible allele ratios Ro(f)={0,f/2}. 25 single SNP. Equation 8 is a general expression for the
Similarly, R 1 (f)={l-f/2, 1}. This method can be trivially           likelihood of any hypothesis h, which will then be broken
extended to include SNPs where maternal genotype is 0.5,              down into the specific cases of H, and Hf'
but these SNPs will be less informative due to the larger set
of possible allele ratios.
   Define Nao and N 60 as the vectors formed by nas and n6 s 30
for SNPs sin S and Na and N similarly for S The
                    0
                        ,
                                  1         61              1
                                                                .




maximum likelihood estimate f off is defined by equation 4.                                                                          (8)

                                                                         In the case of Ht, the alleged father is the true father and
      J~arg max./'(Nao,Nb01j)P(Na1,Nb11JJ                      (4)
                                                                      the fetal genotypes are inherited from the maternal geno-
   Assuming that the allele counts at each SNP are indepen- 35 types and alleged father genotypes according to equation 9.
dent conditioned on the SNP's plasma allele ratio, the
                                                                             P(na,nblH, Gm, G,t.lJ<E.&E(0,0,5,1/'"(na,nb lgeogmj)P
probabilities can be expressed as products over the SNPs in                       (Gc~g)Gm,Gy;H,)<E.gcE(0,0,5,!/'"(na,nb,geogmj)P
each set (5).                                                                     ~~~                                                ~

                                                                          40
                                                                                  In the case of Hfl the alleged father is not the true father.
                                                                               The best estimate of the true father genotypes are given by
      P(Nao,Nb11f~IT,55 1P(na,,nbolj)                               (5)        the population frequencies at each SNP. Thus, the probabili-
                                                                               ties of child genotypes are determined by the known mother
   The dependence on f is through the sets of possible allele                  genotypes and the population frequencies, as in equation 10.
ratios Ro(f) and R (f). The SNP probability P(na,, n )f) can
                            1                           6




be approximated by assuming the maximum likelihood 45
genotype conditioned on f. At reasonably high fetal fraction
and depth of read, the selection of the maximum likelihood                                                        ~
                                                                                                              KcE(0,0.5,1)
genotype will be high confidence. For example, at fetal
fraction of 10 percent and depth of read of 1000, consider a
SNP where the mother has genotype zero. The expected 50
allele ratios are 0 and 5 percent, which will be easily                                                           ~
                                                                                                              KcE(0,0.5,1)

distinguishable at sufficiently high depth of read. Substitu-
tion of the estimated child genotype into equation 5 results
in the complete equation (6) for the fetal fraction estimate.
                                                                          55                                      ~            ~
                                                                                                              KcE(0,0.5,l) Kif E(0,0.5,1)




                                                                          60                                      ~            ~            F(n0 ,
                                                                                                              KcE(0,0.5,l) Kif E(0,0.5,1)

   The fetal fraction must be in the range [0, 1] and so the
optimization can be easily implemented by a constrained
one-dimensional search.
   In the presence of low depth of read or high noise level, 65    The confidence CP on correct paternity is calculated from
it may be preferable not to assume the maximum likelihood       the product over SNPs of the two likelihoods using Bayes
genotype, which may result in artificially high confidences.    rule (11).




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                                                                      over the range of possible fetal fractions. In some embodi-
        Cp = TT,P(n llfo H,, Gm,, Gtf, f)
                  0 ,,       I                                  (11)  ments, the range of f2 is from O to fl because f2 is defined
             TT,P(n llfo H,, Gm,, Gtf, f) +
                 0 ,,    I                                            as the smaller fetal fraction. Given a pair (fl, f2), data
              TT,P(n llfo Hf, Gm,, G,r, f)
                  0 ,,       I
                                                                      likelihood is calculated from the allele ratios observed at a
                                                                      set ofloci such as SNP loci. In some embodiments, the data
                                                                      likelihood reflects the genotypes of the mother, the father if
Exemplary Methods for Identifying and Analyzing Multiple              available, population frequencies, and the resulting prob-
Pregnancies                                                           abilities of fetal genotypes. In some embodiments, SNPs are
   In some embodiments, any of the methods of the present             assumed independent. The estimated fetal fraction pair is the
invention are used to detect the presence of a multiple 10 one that produces the highest data likelihood. Iff2 is O then
pregnancy, such as a twin pregnancy, where at least one of            the data is best explained by only one set of fetal genotypes,
the fetuses is genetically different from at least one other          indicating identical twins, where fl is the combined fetal
fetus. In some embodiments, fraternal twins are identified            fraction. Otherwise fl and f2 are the estimates of the
based on the presence of two fetus with different allele,             individual twin fetal fractions. Having established the best
different allele ratios, or different allele distributions at some 15 estimate of (fl, f2), one can predict the overall fraction of B
(or all) of the tested loci. In some embodiments, fraternal           allele in the plasma for any combination of maternal and
twins are identified by determining the expected allele ratio         fetal genotypes, if desired. It is not necessary to assign
at each locus (such as SNP loci) for two fetuses that may             individual sequence reads to the individual fetuses. Ploidy
have the same or different fetal fractions in the sample (such        testing is performed using another maximum likelihood
as a plasma sample). In some embodiments, the likelihood 20 estimate which compares the data likelihood of two hypoth-
of a particular pair of fetal fractions (where fl is the fetal        eses. In some embodiments for identical twins, one consider
fraction for fetus 1, and f2 is the fetal fraction for fetus 2) is    the hypotheses (i) both twins are euploid, and (ii) both twins
calculated by considering some or all of the possible geno-           are trisomic. In some embodiments for fraternal twins, one
types of the two fetuses, conditioned on the mother's geno-           considers the hypotheses (i) both twins are euploid and (ii)
type and genotype population frequencies. The mixture of 25 at least one twin is trisomic. The trisomy hypotheses for
two fetal and one maternal genotype, combined with the                fraternal twins are based on the lower fetal fraction, since a
fetal fractions, determine the expected allele ratio at a SNP.        trisomy in the twin with a higher fetal fraction would also be
For example, if the mother is AA, fetus 1 is AA, and fetus            detected. Ploidy likelihoods are calculated using a method
2 is AB, the overall fraction ofB allele at the SNP is one-half       which predicts the expected number of reads at each targeted
of f2. The likelihood calculation asks how well all of the 30 genome locus conditioned on either the disomy or trisomy
SNPs together match the expected allele ratios based on all           hypothesis. There is no requirement for a disomy reference
of the possible combinations of fetal genotypes. The fetal            chromosome. The variance model for the expected number
fraction pair (fl, f2) that best matches the data is selected. It     of reads takes into account the performance of individual
is not necessary to calculated specific genotypes of the              target loci as well as the correlation between loci (see, for
fetuses; instead, one can, for example, considered all of the 35 example, U.S. Ser. No. 62/008,235, filed Jun. 5, 2014, and
possible genotypes in a statistical combination. In some              U.S. Ser. No. 62/032,785, filed Aug. 4, 2014, which are each
embodiments, if the method does not distinguish between               hereby incorporated by reference in its entirety). If the
singleton and identical twins, an ultrasound can be per-              smaller twin has fetal fraction fl, our ability to detect a
formed to determine whether there is a singleton or identical         trisomy in that twin is equivalent to our ability to detect a
twin pregnancy. If the ultrasound detects a twin pregnancy 40 trisomy in a singleton pregnancy at the same fetal fraction.
it can be assumed that the pregnancy is an identical twin             This is because the part of the method that detects the
pregnancy because a fraternal twin pregnancy would have               trisomy in some embodiments does not depend on genotypes
been detected based on the SNP analysis discussed above.              and does not distinguish between multiple or singleton
   In some embodiments, a pregnant mother is known to                 pregnancy. It simply looks for an increased number ofreads
have a multiple pregnancy (such as a twin pregnancy) based 45 in accordance with the determined fetal fraction.
on prior testing, such as an ultrasound. Any of the methods              In some embodiments, the method includes detecting the
of the present invention can be used to determine whether             presence of twins based on SNP loci (such as described
the multiple pregnancy includes identical or fraternal twins.         above). If twins are detected, SPNs are used to determine the
For example, the measured allele ratios can be compared to            fetal fraction of each fetus (fl, f2) such as described above.
what would be expected for identical twins (the same allele 50 In some embodiments, samples that have high confidence
ratios as a singleton pregnancy) or for fraternal twins (such         disomy calls are used to determine the amplification bias on
as the calculation of allele ratios as described above). Some         a per-SNP basis. In some embodiments, these samples with
identical twins are monochorionic twins, which have a risk            high confidence disomy calls are analyzed in the same run
of twin-to-twin transfusion syndrome. Thus, twins deter-              as one or more samples of interest. In some embodiments,
mined to be identical twins using a method of the invention 55 the amplification bias on a per-SNP basis is used to model
are desirably tested (such as by ultrasound) to determine if          the distribution of reads for one or more chromosomes or
they are monochorionic twins, and if so, these twins can be           chromosome segments of interest such as chromosome 21
monitored (such as bi-weekly ultrasounds from 16 weeks)               that are expected or the disomy hypothesis and the trisomy
for signs of win-to-twin transfusion syndrome.                        hypothesis given the lower of the two twin fetal fraction. The
   In some embodiments, any of the methods of the present 60 likelihood or probability of disomy or trisomy is calculated
invention are used to determine whether any of the fetuses            given the two models and the measured quantity of the
in a multiple pregnancy, such as a twin pregnancy, are                chromosome or chromosome segment of interest.
aneuploid. Aneuploidy testing for twins begins with the fetal            In some embodiments, the threshold for a positive aneu-
fraction estimate. In some embodiments, the fetal fraction            ploidy call (such as a trisomy call) is set based on the twin
pair (fl, f2) that best matches the data is selected as 65 with the lower fetal fraction. This way, if the other twin is
described above. In some embodiments, a maximum likeli-               positive, or if both are positive, the total chromosome
hood estimate is performed for the parameter pair (fl, f2)            representation is definitely above the threshold.




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Maximum Likelihood Model using Percent Fetal Fraction               ment, the fraction of fetal DNA may be calculated using
   Determining the ploidy status of a fetus by measuring the        population frequencies to adjust the model on the probability
free floating DNA contained in maternal serum, or by                on particular allele measurements.
measuring the genotypic material in any mixed sample, is a             In an embodiment of the present disclosure, a confidence
non-trivial exercise. There are a number of methods, for            may be calculated on the accuracy of the determination of
example, performing a read count analysis where the pre-            the ploidy state of the fetus. In an embodiment, the confi-
sumption is that if the fetus is trisomic at a particular           dence of the hypothesis of greatest likelihood (HmaJor) may
chromosome, then the overall amount of DNA from that                be calculated as (l-HmaJor)/I(all H). It is possible to deter-
chromosome found in the maternal blood will be elevated             mine the confidence of a hypothesis if the distributions of all
with respect to a reference chromosome. One way to detect 10 of the hypotheses are known. It is possible to determine the
trisomy in such fetuses is to normalize the amount of DNA           distribution of all of the hypotheses if the parental genotype
expected for each chromosome, for example, according to             information is known. It is possible to calculate a confidence
the number of SNPs in the analysis set that correspond to a         of the ploidy determination if the knowledge of the expected
given chromosome, or according to the number of uniquely            distribution of data for the euploid fetus and the expected
mappable portions of the chromosome. Once the measure- 15 distribution of data for the aneuploid fetus are known. It is
ments have been normalized, any chromosomes for which               possible to calculate these expected distributions if the
the amount of DNA measured exceeds a certain threshold              parental genotype data are known. In an embodiment one
are determined to be trisomic. This approach is described in        may use the knowledge of the distribution of a test statistic
Fan, et al. PNAS, 2008; 105(42); pp. 16266-16271, and also          around a normal hypothesis and around an abnormal hypoth-
in Chiu et al. BMJ 2011; 342:c7401. In the Chiu et al. paper, 20 esis to determine both the reliability of the call as well as
the normalization was accomplished by calculating a Z score         refine the threshold to make a more reliable call. This is
as follows:                                                         particularly useful when the amount and/or percent of fetal
       Z score for percentage chromosome 21 in test case=
                                                                    DNA in the mixture is low. It will help to avoid the situation
            ((percentage chromosome 21 in test case)-               where a fetus that is actually aneuploid is found to be
            (mean percentage chromosome 21 in reference          25 euploid because a test statistic, such as the Z statistic does
            controls))/(standard deviation of percentage            not exceed a threshold that is made based on a threshold that
            chromosome 21 in reference controls).
                                                                    is optimized for the case where there is a higher percent fetal
   These methods determine the ploidy status of the fetus           DNA.
using a single hypothesis rejection method. However, they              In an embodiment, a method disclosed herein can be used
suffer from some significant shortcomings. Since these 30 to determine a fetal aneuploidy by determining the number
methods for determining ploidy in the fetus are invariant           of copies of maternal and fetal target chromosomes in a
according to the percentage of fetal DNA in the sample, they        mixture of maternal and fetal genetic material. This method
use one cut off value; the result of this is that the accuracies    may entail obtaining maternal tissue comprising both mater-
of the determinations are not optimal, and those cases where        nal and fetal genetic material; in some embodiments this
the percentage of fetal DNA in the mixture are relatively low 35 maternal tissue may be maternal plasma or a tissue isolated
will suffer the worst accuracies.                                   from maternal blood. This method may also entail obtaining
   In an embodiment, a method of the present disclosure is          a mixture of maternal and fetal genetic material from said
used to determine the ploidy state of the fetus involves            maternal tissue by processing the aforementioned maternal
taking into account the fraction of fetal DNA in the sample.        tissue. This method may entail distributing the genetic
In another embodiment of the present disclosure, the method 40 material obtained into a plurality of reaction samples, to
involves the use of maximum likelihood estimations. In an           randomly provide individual reaction samples that comprise
embodiment, a method of the present disclosure involves             a target sequence from a target chromosome and individual
calculating the percent of DNA in a sample that is fetal or         reaction samples that do not comprise a target sequence from
placental in origin. In an embodiment, the threshold for            a target chromosome, for example, performing high
calling aneuploidy is adaptively adjusted based on the 45 throughput sequencing on the sample. This method may
calculated percent fetal DNA. In some embodiments, the              entail analyzing the target sequences of genetic material
method for estimating the percentage of DNA that is of fetal        present or absent in said individual reaction samples to
origin in a mixture of DNA, comprises obtaining a mixed             provide a first number of binary results representing pres-
sample that comprises genetic material from the mother, and         ence or absence of a presumably euploid fetal chromosome
genetic material from the fetus, obtaining a genetic sample 50 in the reaction samples and a second number of binary
from the father of the fetus, measuring the DNA in the mixed        results representing presence or absence of a possibly aneu-
sample, measuring the DNA in the father sample, and                 ploid fetal chromosome in the reaction samples. Either of the
calculating the percentage of DNA that is of fetal origin in        number of binary results may be calculated, for example, by
the mixed sample using the DNA measurements of the                  way of an informatics technique that counts sequence reads
mixed sample, and of the father sample.                          55 that map to a particular chromosome, to a particular region
   In an embodiment of the present disclosure, the fraction         of a chromosome, to a particular locus or set of loci. This
of fetal DNA, or the percentage of fetal DNA in the mixture         method may involve normalizing the number of binary
can be measured. In some embodiments the fraction can be            events based on the chromosome length, the length of the
calculated using only the genotyping measurements made on           region of the chromosome, or the number of loci in the set.
the maternal plasma sample itself, which is a mixture of fetal 60 This method may entail calculating an expected distribution
and maternal DNA. In some embodiments the fraction may              of the number of binary results for a presumably euploid
be calculated also using the measured or otherwise known            fetal chromosome in the reaction samples using the first
genotype of the mother and/or the measured or otherwise             number. This method may entail calculating an expected
known genotype of the father. In some embodiments the               distribution of the number of binary results for a presumably
percent fetal DNA may be calculated using the measure- 65 aneuploid fetal chromosome in the reaction samples using
ments made on the mixture of maternal and fetal DNA along           the first number and an estimated fraction of fetal DNA
with the knowledge of the parental contexts. In an cmbodi-          found in the mixture, for example, by multiplying the




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expected read count distribution of the number of binary              during meiosis II or during mitosis early in fetal develop-
results for a presumably euploid fetal chromosome by                  ment would result in two copies of the same homo log from
(l+n/2) where n is the estimated fetal fraction. In some              one parent. Each scenario results in different expected allele
embodiments, the sequence reads may be treated at proba-              frequencies at each polymorphic locus and also at all physi-
bilistic mappings rather than binary results; this method             cally linked loci (i.e. loci on the same chromosome) con-
would yield higher accuracies, but require more computing             sidered jointly. Crossovers, which result in the exchange of
power. The fetal fraction may be estimated by a plurality of          genetic material between homologs, make the inheritance
methods, some of which are described elsewhere in this                pattern more complex, but the instant method accommo-
disclosure. This method may involve using a maximum                   dates for this by using genetic linkage information, i.e.
likelihood approach to determine whether the second num- 10
                                                                      recombination rate information and the physical distance
ber corresponds to the possibly aneuploid fetal chromosome
                                                                      between loci. To better distinguish between meiosis I non-
being euploid or being aneuploid. This method may involve
                                                                      disjunction and meiosis II or mitotic nondisjunction the
calling the ploidy status of the fetus to be the ploidy state that
corresponds to the hypothesis with the maximum likelihood             instant method incorporates into the model an increasing
of being correct given the measured data.                          15
                                                                      probability of crossover as the distance from the centromere
   Note that the use of a maximum likelihood model may be             increases. Meiosis II and mitotic nondisjunction can distin-
used to increase the accuracy of any method that determines           guished by the fact that mitotic nondisjunction typically
the ploidy state of a fetus. Similarly, a confidence maybe            results in identical or nearly identical copies of one homolog
calculated for any method that determines the ploidy state of         while the two homologs present following a meiosis II
the fetus. The use of a maximum likelihood model would 20 nondisjunction event often differ due to one or more cross-
result in an improvement of the accuracy of any method                overs during gametogenesis.
where the ploidy determination is made using a single                    In an embodiment, a method of the present disclosure may
hypothesis rejection technique. A maximum likelihood                  not determine the haplotypes of the parents if disomy is
model may be used for any method where a likelihood                   assumed. In an embodiment, in case of trisomy, the instant
distribution can be calculated for both the normal and 25 method can make a determination about the haplotypes of
abnormal cases. The use of a maximum likelihood model                 one or both parents by using the fact that plasma takes two
implies the ability to calculate a confidence for a ploidy call.      copies from one parent, and parent phase information can be
   Further Discussion of the Method                                   determined by noting which two copies have been inherited
   In an embodiment, a method disclosed herein utilizes a             from the parent in question. In particular, a child can inherit
quantitative measure of the number of independent obser- 30 either two of the same copies of the parent (matched
vations of each allele at a polymorphic locus, where this             trisomy) or both copies of the parent (unmatched trisomy).
does not involve calculating the ratio of the alleles. This is        At each SNP one can calculate the likelihood of the matched
different from methods, such as some microarray based                 trisomy and of the unmatched trisomy. A ploidy calling
methods, which provide information about the ratio of two             method that does not use the linkage model accounting for
alleles at a locus but do not quantify the number of inde- 35 crossovers would calculate the overall likelihood of the
pendent observations of either allele. Some methods known             trisomy as a simple weighted average of the matched and
in the art can provide quantitative information regarding the         unmatched trisomies over all chromosomes. However, due
number of independent observations, but the calculations              to the biological mechanisms that result in disjunction error
leading to the ploidy determination utilize only the allele           and crossing over, trisomy can change from matched to
ratios, and do not utilize the quantitative information. To 40 unmatched (and vice versa) on a chromosome only if a
illustrate the importance of retaining information about the          crossover occurs. The instant method probabilistically takes
number of independent observations consider the sample                into account the likelihood of crossover, resulting in ploidy
locus with two alleles, A and B. In a first experiment twenty         calls that are of greater accuracy than those methods that do
A alleles and twenty B alleles are observed, in a second              not.
experiment 200 A alleles and 200 B alleles are observed. In 45           In an embodiment, a reference chromosome is used to
both experiments the ratio (A/(A+B)) is equal to 0.5, how-            determine the child fraction and noise level amount or
ever the second experiment conveys more information than              probability distribution. In an embodiment, the child frac-
the first about the certainty of the frequency of the A or B          tion, noise level, and/or probability distribution is deter-
allele. The instant method, rather than utilizing the allele          mined using only the genetic information available from the
ratios, uses the quantitative data to more accurately model 50 chromosome whose ploidy state is being determined. The
the most likely allele frequencies at each polymorphic locus.         instant method works without the reference chromosome, as
   In an embodiment, the instant methods build a genetic              well as without fixing the particular child fraction or noise
model for aggregating the measurements from multiple                  level. This is a significant improvement and point of differ-
polymorphic loci to better distinguish trisomy from disomy            entiation from methods known in the art where genetic data
and also to determine the type oftrisomy. Additionally, the 55 from a reference chromosome is necessary to calibrate the
instant method incorporates genetic linkage information to            child fraction and chromosome behavior.
enhance the accuracy of the method. This is in contrast to               In an embodiment where a reference chromosome is not
some methods known in the art where allele ratios are                 needed to determine the fetal fraction, determining the
averaged across all polymorphic loci on a chromosome. The             hypothesis is done as follows:
method disclosed herein explicitly models the allele fre- 60
quency distributions expected in disomy as well as and
trisomy resulting from nondisjunction during meiosis I,                       H' = argmax LIK(D I HJ* priorprob(H)
                                                                                      H
nondisjunction during meiosis II, and nondisjunction during
mitosis early in fetal development. To illustrate why this is
important, ifthere were no crossovers nondisjunction during 65           With the algorithm with reference chromosome, one
meiosis I would result a trisomy in which two different               typically assumes that the reference chromosome is a
homologs were inherited from one parent; nondisjunction               disomy, and then one may either (a) fix the most likely child




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fraction and random noise level N based on this assumption         channel noise and bias modeling. Noise on a particular SNP
and reference chromosome data:                                     is not a function of the ratio, i.e. noise(x,y) f(x,y) but is in
                                                                   fact a joint function of both charmels. For example, in the
                                                                   binomial model, noise of the measured ratio has a variance
        [cfr', N'] = argmax LIK(D(ref.chromJ I Hll, cfr, NJ        ofr(l-r)/(x+y) which is not a function purely ofr. In such
                       cfr,N
                                                                   a model, where any charmel bias or noise is included,
                                                                   suppose that on SNP i, the observed channel X value is
And then reduce                                                    x=a,X+b,, where X is the true channel value, b, is the extra
       LIK(DIH)~LIK(DIH,cfr* ,N*)

or (b) estimate the child fraction and noise level distribution
                                                                            1                         0           1
                                                                10 ; ~ : ; : d,~i;~/~ts::ct;:ti: !~:iy s;:i :7~c~1Z~:~;

                                                                   diet the true ratio X/Y or model the leftover noise, since
                                                                                                                                      ;~=~
based on this assumption and reference chromosome data. In         (aiX+bi)/(ciY+di) is not a function ofXN.
particular, one would not fix just one value for cfr and N, but        The method disclosed herein describes an effective way to
assign probability p(cfr, N) for the wider range of possible       model noise and bias using joint binomial distributions of all
cfr, N values:                                                  15
                                                                   of the measurement channels individually. Relevant equa-
      p(cfr,NJ~LIK(D(ref.chrom)Hll,cfr,NJ*priorprob(cfr,           tions may be found elsewhere in the document in sections
            N)                                                     which speaks of per SNP consistent bias, P(good) and
where priorprob( cfr, N) is the prior probability of particular    P(reflbad), P(mutlbad) which effectively adjust SNP behav-
child fraction and noise level, determined by prior knowl- 20 ior. In an embodiment, a method of the present disclosure
edge and experiments. If desired, just uniform over the range      uses a BetaBinomial distribution, which avoids the limiting
of cfr, N. One may then write:                                     practice of relying on the allele ratios only, but instead
                                                                   models the behavior based on both charmel counts.
                                                                       In an embodiment, a method disclosed herein can call the
        LIK(D I HJ= ~ LIK(D I H, cfr, NJ* p(cfr, NJ
                                                                   ploidy    of a gestating fetus from genetic data found in
                                                                25
                       cfr,N                                       maternal plasma by using all available measurements. In an
                                                                   embodiment, a method disclosed herein can call the ploidy
                                                                   of a gestating fetus from genetic data found in maternal
   Both methods above give good results.                           plasma by using the measurements from only a subset of
   Note that in some instances using a reference chromo-
some is not desirable, possible or feasible. In such a case, it 30
is possible to derive the best ploidy call for each chromo-
                                                                        ~:=:~:!l;::;l~·  !~::i:;~~~~~::~a~ !:~~e::: ~::
                                                                   AAIBB context, that is, where the parents are both homozy-
                                                                                                                                      ~~=
some separately. In particular:                                    gous at a given locus, but for a different allele. One problem
                                                                   with this method is that a small proportion of polymorphic
                                                                   loci are from theAAIBB context, typically less than 10%. In
                                                                35
        LIK(D I HJ= ~ LIK(D I H, cfr, NJ* p(cfr, NI HJ             an embodiment of a method disclosed herein, the method
                       cfr,N                                       does not use genetic measurements of the maternal plasma
                                                                   made at loci where the parental context is AAIBB. In an
                                                                   embodiment, the instant method uses plasma measurements
   p(cfr, NIH) may be determined as above, for each chro-          for only those polymorphic loci with the AAIAB, ABIAA,
mosome separately, assuming hypothesis H, not just for the 40 and ABIAB parental context.
reference chromosome assuming disomy. It is possible,                  Some methods known in the art involve averaging allele
using this method, to keep both noise and child fraction           ratios from SNPs in the AAIBB context, where both parent
parameters fixed, fix either of the parameters, or keep both       genotypes are present, and claim to determine the ploidy
parameters in probabilistic form for each chromosome and
each hypothesis.
   Measurements of DNA are noisy and/or error prone,
                                                                45
                                                                        :!~~ !
                                                                             0
                                                                          0 :ff:~: :~:a~~n:~~!/;~~:c~;a~~e~~es;;;~e!t%~
                                                                   SNP behavior. Note that this method assumes that have both
especially measurements where the amount of DNA is                 parent genotypes are known. In contrast, in some embodi-
small, or where the DNA is mixed with contaminating DNA.           ments, the instant method uses a joint charmel distribution
This noise results in less accurate genotypic data, and less       model that does not assume the presence of either of the
accurate ploidy calls. In some embodiments, platform mod- 50 parents, and does not assume the uniform SNP behavior. In
eling or some other method of noise modeling may be used           some embodiments, the instant method accounts for the
to counter the deleterious effects of noise on the ploidy          different SNP behavior/weighing. In some embodiments, the
determination. The instant method uses a joint model of both       instant method does not require the knowledge of one or
channels, which accounts for the random noise due to the           both parental genotypes. An example of how the instant
amount of input DNA, DNA quality, and/or protocol quality. 55 method may accomplish this follows:
   This is in contrast to some methods known in the art                In some embodiments, the log likelihood of a hypothesis
where the ploidy determinations are made using the ratio of        may be determined on a per SNP basis. On a particular SNP
allele intensities at a locus. This method precludes accurate      i, assuming fetal ploidy hypothesis H and percent fetal DNA
SNP noise modeling. In particular, errors in the measure-          cf, the log likelihood of observed data D is defined as:
ments typically do not specifically depend on the measured 60
channel intensity ratio, which reduces the model to using
one-dimensional information. Accurate modeling of noise,
                                                                    LIK(D H, iJ = log P(D H, cf, iJ =
                                                                               I              I
channel quality and charmel interaction requires a two-
dimensional joint model, which can not be modeled using                         log/~ P(D Im, f, c, H, cf, iJP(c Im, f, HJP(m I iJP(f I iJ)
allele ratios.                                                  65                 lm.J,c
   In particular, projecting two charmel information to the
ratio r where f(x,y) is r=x/y, docs not lend itself to accurate




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   where m are possible true mother genotypes, f are pos-      disclosure, it is possible to use previous knowledge in the
sible true father genotypes, where m,fE{AA,AB,BB}, and         form of empirical data, and construct prior distribution for
where c are possible child genotypes given the hypothesis H.   expected length of both mother(P(Xlmaternal)) and fetal
In particular, for monosomy c {A,B}, for disomy cE{AA,         DNA (P(Xlfetal)). Given new unidentified DNA sequence of
AB,BB}, for trisomy c E {AAA, AAB, ABB, BBB}. Note             length x, it is possible to assign a probability that a given
that including parental genotypic data typically results in    sequence of DNA is either maternal or fetal DNA, based on
more accurate ploidy determinations, however, parental         prior likelihood of x given either maternal or fetal. In
genotypic data is not necessary for the instant method to      particular if P(xlmaternal)>P(xlfetal), then the DNA
work well.
    Some methods known in the art involve averaging allele 10 ~~~~::~=r~:)~~Pc(:1::::n:~):;~:~;;~1;'.t~(~;;;:~:;~:
ratios from SNPs where the mother is homozygous but a
                                                               nal)<p(xlfetal), then the DNA sequence can be classified as
different allele is measured in the plasma (either AAIAB or
                                                               fetal, P(xlfetal)=P(xlfetal)/[(P(xlmaternal)+P(xlfetal)]. In an
AAIBB contexts), and claim to determine the ploidy calls
from the average allele ratio on these SNPs. This method is    embodiment     of the present disclosure, a distributions of
intended for cases where the paternal genotype is not 15 maternal and fetal sequence lengths can be determined that
available. Note that it is questionable how accurately one     is specific for that sample by considering the sequences that
can claim that plasma is heterozygous on a particular SNP      can be assigned as maternal or fetal with high probability,
without the presence of homozygous and opposite father         and then that sample specific distribution can be used as the
BB: for cases with low child fraction, what looks like         expected size distribution for that sample.
presence of B allele could be just presence of noise; addi- 20 Variable Read Depth to Minimize Sequencing Cost
tionally, what looks like no B present could be simple allele     In many clinical trials concerning a diagnostic, for
drop out of the fetal measurements. Even in a case where one   example, in Chiu et al. BMJ 2011; 342:c7401, a protocol
can actually determine heterozygosity of the plasma, this      with a number of parameters is set, and then the same
method will not be able to distinguish paternal trisomies. In  protocol is executed with the same parameters for each of
particular, for SNPs where mother is AA, and where some B 25 the patients in the trial. In the case of determining the ploidy
is measured in the plasma, if the father is GG, the resulting  status of a fetus gestating in a mother using sequencing as a
child genotype is li.GG, resulting in an average ratio of33%   method to measure genetic material one pertinent parameter
A (for child fraction=l00%). But in the case where the father  is the number of reads. The number of reads may refer to the
is li.G, the resulting child genotype could be li.GG for       number of actual reads, the number of intended reads,
matched trisomy, contributing to the 33% A ratio, or AAG 30 fractional lanes, full lanes, or full flow cells on a sequencer.
for umnatched trisomy, drawing the average ratio more          In these studies, the number of reads is typically set at a level
toward 66% A. Given that many trisomies are on chromo-         that will ensure that all or nearly all of the samples achieve
somes with crossovers, the overall chromosome can have         the desired level of accuracy. Sequencing is currently an
anywhere between no unmatched trisomy and all unmatched        expensive technology, a cost of roughly $200 per 5 map-
trisomy, this ratio can vary anywhere between 33-66%. For 35 pable million reads, and while the price is dropping, any
a plain disomy, the ratio should be around 50%. Without the    method which allows a sequencing based diagnostic to
use of a linkage model or an accurate error model of the       operate at a similar level of accuracy but with fewer reads
average, this method would miss many cases of paternal         will necessarily save a considerable amount of money.
trisomy. In contrast, the method disclosed herein assigns         The accuracy of a ploidy determination is typically depen-
parental genotype probabilities for each parental genotypic 40 dent on a number of factors, including the number of reads
candidate, based on available genotypic information and        and the fraction of fetal DNA in the mixture. The accuracy
population frequency, and does not explicitly require paren-   is typically higher when the fraction of fetal DNA in the
tal genotypes. Additionally, the method disclosed herein is    mixture is higher. At the same time, the accuracy is typically
able to detect trisomy even in the absence or presence of      higher if the number of reads is greater. It is possible to have
parent genotypic data, and can compensate by identifying 45 a situation with two cases where the ploidy state is deter-
the points of possible crossovers from matched to              mined with comparable accuracies wherein the first case has
unmatched trisomy using a linkage model.                       a lower fraction of fetal DNA in the mixture than the second,
    Some methods known in the art claim a method for           and more reads were sequenced in the first case than the
averaging allele ratios from SNPs where neither the mater-     second. It is possible to use the estimated fraction of fetal
nal or paternal genotype is known, and for determining the 50 DNA in the mixture as a guide in determining the number of
ploidy calls from average ratio on these SNPs. However, a      reads necessary to achieve a given level of accuracy.
method to accomplish these ends is not disclosed. The             In an embodiment of the present disclosure, a set of
method disclosed herein is able to make accurate ploidy        samples can be run where different samples in the set are
calls in such a situation, and the reduction to practice is    sequenced to different reads depths, wherein the number of
disclosed elsewhere in this document, using a joint prob- 55 reads run on each of the samples is chosen to achieve a given
ability maximum likelihood method and optionally utilizes      level of accuracy given the calculated fraction of fetal DNA
SNP noise and bias models, as well as a linkage model.         in each mixture. In an embodiment of the present disclosure,
    Some methods known in the art involve averaging allele     this may entail making a measurement of the mixed sample
ratios and claim to determine the ploidy calls from the        to determine the fraction of fetal DNA in the mixture; this
average allele ratio at one or a few SNPs. However, such 60 estimation of the fetal fraction may be done with sequenc-
methods do not utilize the concept of linkage. The methods     ing, it may be done with TAQMAN, it may be done with
disclosed herein do not suffer from these drawbacks.           qPCR, it may be done with SNP arrays, it may be done with
Using Sequence Length as a Prior to Determine the Origin       any method that can distinguish different alleles at a given
of DNA                                                         loci. The need for a fetal fraction estimate may be eliminated
   It has been reported that the distribution of length of 65 by including hypotheses that cover all or a selected set of
sequences differ for maternal and fetal DNA, with fetal        fetal fractions in the set of hypotheses that are considered
generally being shorter. In an embodiment of the present       when comparing to the actual measured data. After the




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fraction fetal DNA in the mixture has been determined, the          This method required six lanes of sequencing on a HISEQ
number of sequences to be read for each sample may be            machine to achieve 99 .9% accuracy over 100 samples. If the
determined.                                                      same number of runs had been required for every sample, to
   In an embodiment of the present disclosure, 100 pregnant      ensure that every ploidy determination was made with a
women visit their respective OB's, and their blood is drawn      99 .9% accuracy, it would have taken 25 lanes of sequencing,
into blood tubes with an anti-lysant and/or something to         and if a no-call rate or error rate of 4% was tolerated, it could
inactivate DNAase. They each take home a kit for the father      have been achieved with 14 lanes of sequencing.
of their gestating fetus who gives a saliva sample. Both sets    Using Raw Genotyping Data
of genetic materials for all 100 couples are sent back to the       There are a number of methods that can accomplish NPD
                                                              10 using fetal genetic information measured on fetal DNA
laboratory, where the mother blood is spun down and the
                                                                 found in maternal blood. Some of these methods involve
buffy coat is isolated, as well as the plasma. The plasma
                                                                 making measurements of the fetal DNA using SNP arrays,
comprises a mixture of maternal DNA as well as placentally
                                                                 some methods involve untargeted sequencing, and some
derived DNA. The maternal buffy coat and the paternal            methods involve targeted sequencing. The targeted sequenc-
blood is genotyped using a SNP array, and the DNA in the 15 ing may target SNPs, it may target STRs, it may target other
maternal plasma samples are targeted with SURESELECT             polymorphic loci, it may target non-polymorphic loci, or
hybridization probes. The DNA that was pulled down with          some combination thereof. Some of these methods may
the probes is used to generate 100 tagged libraries, one for     involve using a commercial or proprietary allele caller that
each of the maternal samples, where each sample is tagged        calls the identity of the alleles from the intensity data that
with a different tag. A fraction from each library is with- 20 comes from the sensors in the machine doing the measuring.
drawn, each of those fractions are mixed together and added      For example, the ILLUMINA INFINIUM system or the
to two lanes of a ILLUMINA HISEQ DNA sequencer in a              AFFYMETRIX GENECHIP microarray system involves
multiplexed fashion, wherein each lane resulted in approxi-      beads or microchips with attached DNA sequences that can
mately 50 million mappable reads, resulting in approxi-          hybridize to complementary segments of DNA; upon
mately 100 million mappable reads on the 100 multiplexed 25 hybridization, there is a change in the fluorescent properties
mixtures, or approximately 1 million reads per sample. The       of the sensor molecule that can be detected. There are also
sequence reads were used to determine the fraction of fetal      sequencing methods, for example the ILLUMINA SO LEXA
DNA in each mixture. 50 of the samples had more than 15%         GENOME SEQUENCER or the ABI SOLID GENOME
fetal DNA in the mixture, and the 1 million reads were           SEQUENCER, wherein the genetic sequence of fragments
sufficient to determine the ploidy status of the fetuses with 30 of DNA are sequenced; upon extension of the strand of DNA
a 99.9% confidence.                                              complementary to the strand being sequenced, the identity
   Of the remaining mixtures, 25 had between 10 and 15%          of the extended nucleotide is typically detected via a fluo-
fetal DNA; a fraction of each of the relevant libraries          rescent or radio tag appended to the complementary nucleo-
prepped from these mixtures were multiplexed and run             tide. In all of these methods the genotypic or sequencing
down one lane of the HISEQ generating an additional 2 35 data is typically determined on the basis of fluorescent or
million reads for each sample. The two sets of sequence data     other signals, or the lack thereof. These systems are typically
for each of the mixture with between 10 and 15% fetal DNA        combined with low level software packages that make
were added together, and the resulting 3 million reads per       specific allele calls (secondary genetic data) from the analog
sample which were sufficient to determine the ploidy state of    output of the fluorescent or other detection device (primary
those fetuses with 99.9% confidence.                          40 genetic data). For example, in the case of a given allele on
   Of the remaining mixtures, 13 had between 6 and 10%           a SNP array, the software will make a call, for example, that
fetal DNA; a fraction of each of the relevant libraries          a certain SNP is present or not present if the fluorescent
prepped from these mixtures were multiplexed and run             intensity is measure above or below a certain threshold.
down one lane of the HISEQ generating an additional 4            Similarly, the output of a sequencer is a chromatogram that
million reads for each sample. The two sets of sequence data 45 indicates the level of fluorescence detected for each of the
for each of the mixture with between 6 and 10% fetal DNA         dyes, and the software will make a call that a certain base
were added together, and the resulting 5 million total reads     pair is A or T or C or G. High throughput sequencers
per mixture which were sufficient to determine the ploidy        typically make a series of such measurements, called a read,
state of those fetuses with 99.9% confidence.                    that represents the most likely structure of the DNA
   Of the remaining mixtures, 8 had between 4 and 6% fetal 50 sequence that was sequenced. The direct analog output of
DNA; a fraction of each of the relevant libraries prepped        the chromatogram is defined here to be the primary genetic
from these mixtures were multiplexed and run down one            data, and the base pair/SNP calls made by the software are
lane of the HISEQ generating an additional 6 million reads       considered here to be the secondary genetic data. In an
for each sample. The two sets of sequence data for each of       embodiment, primary data refers to the raw intensity data
the mixture with between 4 and 6% fetal DNA were added 55 that is the unprocessed output of a genotyping platform,
together, and the resulting 7 million total reads per mixture    where the genotyping platform may refer to a SNP array, or
which were sufficient to determine the ploidy state of those     to a sequencing platform. The secondary genetic data refers
fetuses with 99.9% confidence.                                   to the processed genetic data, where an allele call has been
   Of the remaining four mixtures, all of them had between       made, or the sequence data has been assigned base pairs,
2 and 4% fetal DNA; a fraction of each of the relevant 60 and/or the sequence reads have been mapped to the genome.
libraries prepped from these mixtures were multiplexed and          Many higher level applications take advantage of these
run down one lane of the HI SEQ generating an additional 12      allele calls, SNP calls and sequence reads, that is, the
million reads for each sample. The two sets of sequence data     secondary genetic data, that the genotyping software pro-
for each of the mixture with between 2 and 4% fetal DNA          duces. For example, DNA NEXUS, ELAND or MAQ will
were added together, and the resulting 13 million total reads 65 take the sequencing reads and map them to the genome. For
per mixture which were sufficient to determine the ploidy        example, in the context of non-invasive prenatal diagnosis,
state of those fetuses with 99.9% confidence.                    complex informatics, such as PARENTAL SUPPORT™,




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may leverage a large number of SNP calls to determine the            sample used in calculating allele count probabilities and
genotype of an individual. Also, in the context of preim-            determining the relative probability of each hypothesis com-
plantation genetic diagnosis, it is possible to take a set of        prise primary genetic data.
sequence reads that are mapped to the genome, and by                    In some embodiments, the method can increase the accu-
taking a normalized count of the reads that are mapped to            racy of genetic data of a target individual which incorporates
each chromosome, or section of a chromosome, it may be               genetic data of at least one related individual, the method
possible to determine the ploidy state of an individual. In the      comprising obtaining primary genetic data specific to a
context of non-invasive prenatal diagnosis it may be pos-            target individual's genome and genetic data specific to the
sible to take a set of sequence reads that have been measured        genome(s) of the related individual(s), creating a set of one
                                                                  10 or more hypotheses concerning possibly which segments of
on DNA present in maternal plasma, and map them to the
                                                                     which chromosomes from the related individual(s) corre-
genome. One may then take a normalized count of the reads
                                                                     spond to those segments in the target individual's genome,
that are mapped to each chromosome, or section of a
                                                                     determining the probability of each of the hypotheses given
chromosome, and use that data to determine the ploidy state          the target individual's primary genetic data and the related
of an individual. For example, it may be possible to conclude 15 individual(s)'s genetic data, and using the probabilities
that those chromosomes that have a disproportionately large          associated with each hypothesis to determine the most likely
number of reads are trisomic in the fetus that is gestating in       state of the actual genetic material of the target individual.
the mother from which the blood was drawn.                           In some embodiments, the method can determining the
   However, in reality, the initial output of the measuring          number of copies of a segment of a chromosome in the
instrunients is an analog signal. When a certain base pair is 20 genome of a target individual, the method comprising cre-
called by the software that is associated with the sequencing        ating a set of copy number hypotheses about how many
software, for example the software may call the base pair a          copies of the chromosome segment are present in the
T, in reality the call is the call that the software believes to     genome of a target individual, incorporating primary genetic
be most likely. In some cases, however, the call may be of           data from the target individual and genetic information from
low confidence, for example, the analog signal may indicate 25 one or more related individuals into a data set, estimating the
that the particular base pair is only 90% likely to be a T, and      characteristics of the platform response associated with the
10% likely to be an A. In another example, the genotype              data set, where the platform response may vary from one
calling software that is associated with a SNP array reader          experiment to another, computing the conditional probabili-
may call a certain allele to be G. However, in reality, the          ties of each copy number hypothesis, given the data set and
underlying analog signal may indicate that it is only 70% 30 the platform response characteristics, and determining the
                                                                     copy number of the chromosome segment based on the most
likely that the allele is G, and 30% likely that the allele is T.
                                                                     probable copy number hypothesis. In an embodiment, a
In these cases, when the higher level applications use the
                                                                     method of the present disclosure can determine a ploidy
genotype calls and sequence calls made by the lower level
                                                                     state of at least one chromosome in a target individual, the
software, they are losing some information. That is, the 35 method comprising obtaining primary genetic data from the
primary genetic data, as measured directly by the genotyp-           target individual and from one or more related individuals,
ing platform, may be messier than the secondary genetic              creating a set of at least one ploidy state hypothesis for each
data that is determined by the attached software packages,           of the chromosomes of the target individual, using one or
but it contains more information. In mapping the secondary           more expert techniques to determine a statistical probability
genetic data sequences to the genome, many reads are 40 for each ploidy state hypothesis in the set, for each expert
thrown out because some bases are not read with enough               technique used, given the obtained genetic data, combining,
clarity and or mapping is not clear. When the primary                for each ploidy state hypothesis, the statistical probabilities
genetic data sequence reads are used, all or many of those           as determined by the one or more expert techniques, and
reads that may have been thrown out when first converted to          determining the ploidy state for each of the chromosomes in
secondary genetic data sequence read can be used by treat- 45 the target individual based on the combined statistical prob-
ing the reads in a probabilistic manner.                             abilities of each of the ploidy state hypotheses. In an
   In an embodiment of the present disclosure, the higher            embodiment, a method of the present disclosure can deter-
level software does not rely on the allele calls, SNP calls, or      mine an allelic state in a set of alleles, in a target individual,
sequence reads that are determined by the lower level                and from one or both parents of the target individual, and
software. Instead, the higher level software bases its calcu- 50 optionally from one or more related individuals, the method
lations on the analog signals directly measured from the             comprising obtaining primary genetic data from the target
genotyping platform. In an embodiment of the present                 individual, and from the one or both parents, and from any
disclosure, an informatics based method such as PAREN-               related individuals, creating a set of at least one allelic
TAL SUPPORT™ is modified so that its ability to recon-               hypothesis for the target individual, and for the one or both
struct the genetic data of the embryo/fetus/child is engi- 55 parents, and optionally for the one or more related individu-
neered to directly use the primary genetic data as measured          als, where the hypotheses describe possible allelic states in
by the genotyping platform. In an embodiment of the present          the set of alleles, determining a statistical probability for
disclosure, an informatics based method such as PAREN-               each allelic hypothesis in the set of hypotheses given the
TAL SUPPORT™ is able to make allele calls, and/or                    obtained genetic data, and determining the allelic state for
chromosome copy number calls using primary genetic data, 60 each of the alleles in the set of alleles for the target
and not using the secondary genetic data. In an embodiment           individual, and for the one or both parents, and optionally for
of the present disclosure, all genetic calls, SNPs calls,            the one or more related individuals, based on the statistical
sequence reads, sequence mapping is treated in a probabi-            probabilities of each of the allelic hypotheses.
listic manner by using the raw intensity data as measured               In some embodiments, the genetic data of the mixed
directly by the genotyping platform, rather than converting 65 sample may comprise sequence data wherein the sequence
the primary genetic data to secondary genetic calls. In an           data may not uniquely map to the human genome. In some
embodiment, the DNA measurements from the prepared                   embodiments, the genetic data of the mixed sample may




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comprise sequence data wherein the sequence data maps to           In some embodiments, the first chromosome is a chromo-
a plurality oflocations in the genome, wherein each possible       some suspected of being euploid. In some embodiments, the
mapping is associated with a probability that the given            second chromosome is a chromosome suspected of being
mapping is correct. In some embodiments, the sequence              aneuploidy
reads are not assumed to be associated with a particular           Combining Methods of Prenatal Diagnosis
position in the genome. In some embodiments, the sequence             There are many methods that may be used for prenatal
reads are associated with a plurality of positions in the          diagnosis or prenatal screening of aneuploidy or other
genome, and an associated probability belonging to that            genetic defects. Described elsewhere in this document, and
position.                                                          in U.S. Utility application Ser. No. 11/603,406, filed Nov.
Counting Method to Determine Chromosome Copy Number 10 28, 2006; U.S. Utility application Ser. No. 12/076,348, filed
    In one aspect, the invention features methods of testing       Mar. 17, 2008, and PCT Application Serial No. PCT/S09/
for an abnormal distribution of a fetal chromosome by              52730 is one such method that uses the genetic data of
comparing the number of sequence tags that align to differ-        related individuals to increase the accuracy with which
ent chromosomes (see, e.g., U.S. Pat. No. 8,296,076, filed         genetic data of a target individual, such as a fetus, is known,
Apr. 20, 2012, which is hereby incorporated by reference in 15 or estimated. Other methods used for prenatal diagnosis
its entirety). As is known in the art, the term "sequence tag"     involve measuring the levels of certain hormones in mater-
refers to a relatively short (e.g., 15-100) nucleic acid           nal blood, where those hormones are correlated with various
sequence that can be used to identify a certain larger             genetic abnormalities. An example of this is called the triple
sequence, e.g., be mapped to a chromosome or genomic               test, a test wherein the levels of several (commonly two,
region or gene. In some embodiments, the method involves 20 three, four or five) different hormones are measured in
(i) contacting a sample that includes a mixture of maternal        maternal blood. In a case where multiple methods are used
and fetal DNA with a library of primers that simultaneously        to determine the likelihood of a given outcome, where none
hybridize to at least 25; 50; 75; 100; 300; 500; 750; 1,000;       of the methods are definitive in and of themselves, it is
2,000; 5,000; 7,500; 10,000; 15,000; 19,000; 20,000;               possible to combine the information given by those methods
25,000; 27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 25 to make a prediction that is more accurate than any of the
100,000 different target loci to produce a reaction mixture;       individual methods. In the triple test, combining the infor-
wherein the target loci are from a plurality of different          mation given by the three different hormones can result in a
chromosomes; and wherein the plurality of different chro-          prediction of genetic abnormalities that is more accurate
mosomes comprise at least one first chromosome suspected           than the individual hormone levels may predict.
of having an abnormal distribution in the sample and at least 30      Disclosed herein is a method for making more accurate
one second chromosome presumed to be normally distrib-             predictions about the genetic state of a fetus, specifically the
uted in the sample; (ii) subjecting the reaction mixture to        possibility of genetic abnormalities in a fetus that comprises
primer extension reaction conditions to produce amplified          combining predictions of genetic abnormalities in a fetus
products; (iii) sequencing the amplified products to obtain a      where those predictions were made using a variety of
plurality of sequence tags aligning to the target loci; wherein 35 methods. A "more accurate" method may refer to a method
the sequence tags are of sufficient length to be assigned to a     for diagnosing an abnormality that has a lower false negative
specific target locus; (iv) assigning on a computer the            rate at a given false positive rate. In a favored embodiment
plurality of sequence tags to their corresponding target loci;     of the present disclosure, one or more of the predictions are
(v) determining on a computer a number of sequence tags            made based on the genetic data known about the fetus,
aligning to the target loci of the first chromosome and a 40 where the genetic knowledge was determined using the
number of sequence tags aligning to the target loci of the         PARENTAL SUPPORT™ method, that is, using genetic
second chromosome; and (vi) comparing the numbers from             data of individual related to the fetus to determine the
step (v) to determine the presence or absence of an abnormal       genetic data of the fetus with greater accuracy. In some
distribution of the first chromosome.                              embodiments the genetic data may include ploidy states of
    In one aspect, the invention provides methods for detect- 45 the fetus. In some embodiments, the genetic data may refer
ing the presence or absence of a fetal aneuploidy by com-          to a set of allele calls on the genome of the fetus. In some
paring the relative frequency of target amplicons between          embodiments some of the predictions may have been made
chromosomes (see, e.g., PCT Pub!. No. WO 2012/103031,              using the triple test. In some embodiments, some of the
filed Jan. 23, 2012, which is hereby incorporated by refer-        predictions may have been made using measurements of
ence in its entirety). In some embodiments, the method 50 other hormone levels in maternal blood. In some embodi-
involves (i) contacting a sample that includes a mixture of        ments, predictions made by methods considered diagnoses
maternal and fetal DNA with a library of primers that              may be combined with predictions made by methods con-
simultaneously hybridize to at least 25; 50; 75; 100; 300;         sidered screening. In some embodiments, the method
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;              involves measuring maternal blood levels of alpha-fetopro-
19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000; 55 tein (AFP). In some embodiments, the method involves
50,000; 75,000; or 100,000 different non-polymorphic target        measuring maternal blood levels of unconjugated estriol
loci to produce a reaction mixture; wherein the target loci are    (UE 3). In some embodiments, the method involves measur-
from a plurality of different chromosomes; (ii) subjecting the     ing maternal blood levels of beta human chorionic gonado-
reaction mixture to primer extension reaction conditions to        tropin (beta-hCG). In some embodiments, the method
produce amplified products that includes target amplicons; 60 involves measuring maternal blood levels of invasive tro-
(iii) quantifying on a computer a relative frequency of the        phoblast antigen (ITA). In some embodiments, the method
target amplicons from the first and second chromosomes of          involves measuring maternal blood levels of inhibin. In
interest; (iv) comparing on a computer the relative frequency      some embodiments, the method involves measuring mater-
of the target amplicons from the first and second chromo-          nal blood levels of pregnancy-associated plasma protein A
somes of interest; and (v) identifying the presence or 65 (PAPP-A). In some embodiments, the method involves
absence of an aneuploidy based on the compared relative            measuring maternal blood levels of other hormones or
frequencies of the first and second chromosome of interest.        maternal scrum markers. In some embodiments, some of the




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predictions may have been made using other methods. In                        DNA from Children from Previous Pregnancies in Maternal
some embodiments, some of the predictions may have been                       Blood
made using a fully integrated test such as one that combines                     One difficulty to non-invasive prenatal diagnosis is dif-
ultrasound and blood test at around 12 weeks of pregnancy                     ferentiating fetal cells from the current pregnancy from fetal
and a second blood test at around 16 weeks. In some                           cells from previous pregnancies. Some believe that genetic
embodiments, the method involves measuring the fetal                          matter from prior pregnancies will go away after some time,
nuchal translucency (NT). In some embodiments, the                            but conclusive evidence has not been shown. In an embodi-
method involves using the measured levels of the aforemen-                    ment   of the present disclosure, it is possible to determine
tioned hormones for making predictions. In some embodi-                       fetal DNA present in the maternal blood of paternal origin
                                                                           10 (that is, DNA that the fetus inherited from the father) using
ments the method involves a combination of the aforemen-
                                                                              the PARENTAL SUPPORT™ (PS) method, and the knowl-
tioned methods.
                                                                              edge of the paternal genome. This method may utilize
    There are many ways to combine the predictions, for
                                                                              phased parental genetic information. It is possible to phase
example, one could convert the hormone measurements into                      the parental genotype from unphased genotypic information
a multiple of the median (MoM) and then into likelihood 15 using grandparental genetic data (such as measured genetic
ratios (LR). Similarly, other measurements could be trans-                    data from a sperm from the grandfather), or genetic data
formed into LRs using the mixture model of NT distribu-                       from other born children, or a sample of a miscarriage. One
tions. The LRs for NT and the biochemical markers could be                    could also phase unphased genetic information by way of a
multiplied by the age and gestation-related risk to derive the                HapMap-based phasing, or a haplotyping of paternal cells.
risk for various conditions, such as trisomy 21. Detection 20 Successful haplotyping has been demonstrated by arresting
rates (DRs) and false-positive rates (FPRs) could be calcu-                   cells at phase of mitosis when chromosomes are tight
lated by taking the proportions with risks above a given risk                 bundles and using microfluidics to put separate chromo-
threshold.                                                                    somes in separate wells. In another embodiment it is pos-
    In an embodiment, a method to call the ploidy state                       sible to use the phased parental haplotypic data to detect the
involves combining the relative probabilities of each of the 25 presence of more than one homolog from the father, imply-
ploidy hypotheses determined using the joint distribution                     ing that the genetic material from more than one child is
model and the allele count probabilities with relative prob-                  present in the blood. By focusing on chromosomes that are
abilities of each of the ploidy hypotheses that are calculated                expected to be euploid in a fetus, one could rule out the
using statistical techniques taken from other methods that                    possibility that the fetus was afflicted with a trisomy. Also,
determine a risk score for a fetus being trisomic, including 30 it is possible to determine if the fetal DNA is not from the
but not limited to: a read count analysis, comparing het-                     current father, in which case one could use other methods
erozygosity rates, a statistic that is only available when                    such as the triple test to predict genetic abnormalities.
parental genetic information is used, the probability of                         There may be other sources of fetal genetic material
normalized genotype signals for certain parent contexts, a                    available via methods other than a blood draw. In the case
statistic that is calculated using an estimated fetal fraction of 35 of the fetal genetic material available in maternal blood,
the first sample or the prepared sample, and combinations                     there are two main categories: (1) whole fetal cells, for
thereof.                                                                      example, nucleated fetal red blood cells or erythroblats, and
    Another method could involve a situation with four                        (2) free floating fetal DNA. In the case of whole fetal cells,
measured hormone levels, where the probability distribution                   there is some evidence that fetal cells can persist in maternal
around those hormones is known: p(x, x 2 , x 3 , x 4 1e) for the 40 blood for an extended period of time such that it is possible
euploid case and p(x 1 , x2 , x3 , x 4 1a) for the aneuploid case.            to isolate a cell from a pregnant woman that contains the
Then one could measure the probability distribution for the                   DNA from a child or fetus from a prior pregnancy. There is
DNA measurements, g(yle) and g(yla) for the euploid and                       also evidence that the free floating fetal DNA is cleared from
aneuploid cases respectively. Assuming they are indepen-                      the system in a matter of weeks. One challenge is how to
dent given the assumption of euploid/aneuploid, one could 45 determine the identity of the individual whose genetic
combine as p(x 1 , x 2 , x 3 , x4 1a)g(yla) and p(x 1 , x 2 , x3 , x 4 1e)    material is contained in the cell, namely to ensure that the
g(yle) and then multiply each by the prior p(a) and p(e)                      measured genetic material is not from a fetus from a prior
given the maternal age. One could then choose the one that                    pregnancy. In an embodiment of the present disclosure, the
is highest.                                                                   knowledge of the maternal genetic material can be used to
    In an embodiment, it is possible to evoke central limit 50 ensure that the genetic material in question is not maternal
theorem to assume distribution on g(yla ore) is Gaussian,                     genetic material. There are a number of methods to accom-
and measure mean and standard deviation by looking at                         plish this end, including informatics based methods such as
multiple samples. In another embodiment, one could assume                     PARENTAL SUPPORT™, as described in this document or
they are not independent given the outcome and collect                        any of the patents referenced in this document.
enough samples to estimate the joint distribution p(x 1 , x 2 , x3 , 55          In an embodiment of the present disclosure, the blood
x 4 1a ore).                                                                  drawn from the pregnant mother may be separated into a
    In an embodiment, the ploidy state for the target indi-                   fraction comprising free floating fetal DNA, and a fraction
vidual is determined to be the ploidy state that is associated                comprising nucleated red blood cells. The free floating DNA
with the hypothesis whose probability is the greatest. In                     may optionally be enriched, and the genotypic information
some cases, one hypothesis will have a normalized, com- 60 of the DNA may be measured. From the measured genotypic
bined probability greater than 90%. Each hypothesis is                        information from the free floating DNA, the knowledge of
associated with one, or a set of, ploidy states, and the ploidy               the maternal genotype may be used to determine aspects of
state associated with the hypothesis whose normalized,                        the fetal genotype. These aspects may refer to ploidy state,
combined probability is greater than 90%, or some other                       and/or a set of allele identities. Then, individual nucleated
threshold value, such as 50%, 80%, 95%, 98%, 99%, or 65 red blood cells may be genotyped using methods described
99.9%, may be chosen as the threshold required for a                          elsewhere in this document, and other referent patents,
hypothesis to be called as the determined ploidy state.                       especially those mentioned in the first section of this docu-




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ment. The knowledge of the maternal genome would allow               mixture is F, and where the fraction of maternal DNA in the
one to determine whether or not any given single blood cell          mixture is M, such that F + M= 100%, we would expect to see
is genetically maternal. And the aspects of the fetal genotype       the following:
that were determined as described above would allow one to
determine if the single blood cell is genetically derived from
the fetus that is currently gestating. In essence, this aspect of                    DNA specific   DNA specific to X  DNA specific
the present disclosure allows one to use the genetic knowl-                             to X             and Y             toY
edge of the mother, and possibly the genetic information             Male             M+½F               M +F              ½F
from other related individuals, such as the father, along with       fetus (XY)
the measured genetic information from the free floating 10 Female                     M +F               M +F                0
                                                                     fetus (XX)
DNA found in maternal blood to determine whether an
isolated nucleated cell found in maternal blood is either (a)
genetically maternal, (b) genetically from the fetus currently           In the case where F and M are known, the expected ratios
gestating, or (c) genetically from a fetus from a prior              can be computed, and the observed data can be compared to
pregnancy.                                                        15 the expected data. In the case where Mand Fare not known,
Prenatal Sex Chromosome Aneuploidy Determination                     a threshold can be selected based on historical data. In both
   In methods known in the art, people attempting to deter-          cases, the measured amount of DNA at loci specific to both
mine the sex of a gestating fetus from the blood of the              X and Y can be used as a baseline, and the test for the sex
mother have used the fact that fetal free floating DNA               of the fetus can be based on the amount of DNA observed
(fffDNA) is present in the plasma of the mother. If one is 20 on loci specific to only the X chromosome. If that amount is
able to detect Y-specific loci in the maternal plasma, this          lower than the baseline by an amount roughly equal to ½ F,
implies that the gestating fetus is a male. However, the lack        or by an amount that causes it to fall below a predefined
of detection ofY-specific loci in the plasma does not always         threshold, the fetus is determined to be male, and if that
guarantee that the gestating fetus is a female when using            amount is about equal to the baseline, or if is not lower by
methods known in the art, as in some cases the amount of 25 an amount that causes it to fall below a predefined threshold,
fffDNA is too low to ensure that the Y-specific loci would be        the fetus is determined to be female.
detected in the case of a male fetus.                                    In another embodiment, one can look only at those loci
   Presented here is a novel method that does not require the        that are common to both the X and the Y chromosomes,
measurement of Y-specific nucleic acids, that is, DNA that           often termed the Z chromosome. A subset of the loci on the
is from loci that are exclusively paternally derived. The 30 Z chromosome are typically always A on the X chromo-
Parental Support method, disclosed previously, uses cross-           some, and B on the Y chromosome. If SNPs from the Z
over frequency data, parental genotypic data, and informat-          chromosome are found to have the B genotype, then the
ics techniques, to determine the ploidy state of a gestating         fetus is called a male; if the SNPs from the Z chromosome
fetus. The sex of a fetus is simply the ploidy state of the fetus    are found to only have A genotype, then the fetus is called
at the sex chromosomes. A child that is XX is female, and 35 a female. In another embodiment, one can look at the loci
XY is male. The method described herein is also able to              that are found only on the X chromosome. Contexts such as
determine the ploidy state of the fetus. Note that sexing is         AAIB are particularly informative as the presence of a B
effectively synonymous with ploidy determination of the sex          indicates that the fetus has an X chromosome from the
chromosomes; in the case of sexing, an assumption is often           father. Contexts such as ABIB are also informative, as we
made that the child is euploid, therefore there are fewer 40 expect to see B present only half as often in the case of a
possible hypotheses.                                                 female fetus as compared to a male fetus. In another
   The method disclosed herein involves looking at loci that         embodiment, one can look at the SNPs on the Z chromo-
are common to both the X and Y chromosome to create a                some where both A and B alleles are present on both the X
baseline in terms of expected amount of fetal DNA present            and the Y chromosome, and where the it is known which
for a fetus. Then, those regions that are specific only to the 45 SNPs are from the paternal Y chromosome, and which are
X chromosome can be interrogated to determine if the fetus           from the paternal X chromosome.
is female or male. In the case of a male, we expect to see less          In an embodiment, it is possible to amplify single nucleo-
fetal DNA from loci that are specific to the X chromosome            tide positions known to varying between the homologous
than from loci that are specific to both the X and the Y. In         non-recombining (HNR) region shared by chromosome Y
contrast, in female fetuses, we expect the amount of DNA 50 and chromosome X. The sequence within this HNR region
for each of these groups to be the same. The DNA in                  is largely identical between the X and Y chromosomes.
question can be measured by any technique that can quan-             Within this identical region are single nucleotide positions
titate the amount of DNA present on a sample, for example,           that, while invariant among X chromosomes and among Y
qPCR, SNP arrays, genotyping arrays, or sequencing. For              chromosomes in the population, are different between the X
DNA that is exclusively from an individual we would expect 55 and Y chromosomes. Each PCR assay could amplify a
to see the following:                                                sequence from loci that are present on both the X and Y
                                                                     chromosomes. Within each amplified sequence would be a
                                                                     single base that can be detected using sequencing or some
             DNA specific      DNA specific to X   DNA specific      other method (see, for example, U.S. Publication No. 2011/
                  to X              and Y              toY        60 0178719, filed Feb. 3, 2011, which is hereby incorporated by
Male                A                2A                  A           reference in its entirety).
(XY)                                                                     In an embodiment, the sex of the fetus could be deter-
Female             2A                2A                  0           mined from the fetal free floating DNA found in maternal
(XX)
                                                                     plasma, the method comprising some or all of the following
                                                                  65 steps: 1) Design PCR (either regular or mini-PCR, plus
   In the case of DNA from a fetus that is mixed with DNA            multiplexing if desired) primers amplify XN variant single
from the mother, and where the fraction of fetal DNA in the          nucleotide positions within HNR region, 2) obtain maternal




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plasma, 3) PCRAmplify targets from maternal plasma using            informative if the disease is dominant and carried by the
HNR XN PCR assays, 4) sequence the amplicons, 5)                    father, limiting the utility of the approach. In an embodi-
Examine sequence data for presence of Y-allele within one           ment, the method involves PCR or related amplification
or more of the amplified sequences. The presence of one or          approaches.
more would indicate a male fetus. Absence of all Y-alleles             In some embodiments, the method involves phasing the
from all amplicons indicates a female fetus.                        abnormal allele with surrounding very tightly linked SNPs
   In an embodiment, one could use targeted sequencing to           in the parents using information from first-degree relatives.
measure the DNA in the maternal plasma and/or the parental          Then Parental Support may be run on the targeted sequenc-
genotypes. In an embodiment, one could ignore all                   ing data obtained from these SNPs to determine which
sequences that clearly originate from paternally sourced 10 homologs, normal or abnormal, were inherited by the fetus
DNA. For example, in the context AAIAB, one could count             from both parents. As long as the SNPs are sufficiently
the number of A sequences and ignore all the B sequences.           linked, the inheritance of the genotype of the fetus can be
In order to determine a heterozygosity rate for the above           determined very reliably. In some embodiments, the method
algorithm, one could compare the number of observed A               comprises (a) adding a set of SNP loci to densely flank a
sequences to the expected number of total sequences for the 15 specified set of common diseases to our multiplex pool for
given probe. There are many ways one could calculate an             aneuploidy testing; (b) reliably phasing the alleles from
expected number of sequences for each probe on a per                these added SNPs with the normal and abnormal alleles
sample basis. In an embodiment, it is possible to use               based on genetic data from various relatives; and (c) recon-
historical data to determine what fraction of all sequence          structing the fetal haplotype, or set of phased SNP alleles on
reads belongs to each specific probe and then use this 20 the inherited maternal and paternal homologs in the region
empirical fraction, combined with the total number of               surrounding the disease locus to determine fetal genotype. In
sequence reads, to estimate the number of sequences at each         some embodiments additional probes that are closely linked
probe. Another approach could be to target some known               to a disease linked locus are added to the set of polymorphic
homozygous alleles and then use historical data to relate the       locus being used for aneuploidy testing.
number of reads at each probe with the number of reads at 25           Reconstructing fetal diplotype is challenging because the
the known homozygous alleles. For each sample, one could            sample is a mixture of maternal and fetal DNA. In some
then measure the number of reads at the homozygous alleles          embodiments, the method incorporates relative information
and then use this measurement, along with the empirically           to phase the SNPs and disease alleles, then take into account
derived relationships, to estimate the number of sequence           physical distance of the SNPs and recombination data from
reads at each probe.                                             30 location specific recombination likelihoods and the data
   In some embodiments, it is possible to determine the sex         observed from the genetic measurements of the maternal
of the fetus by combining the predictions made by a plurality       plasma to obtain the most likely genotype of the fetus.
of methods. In some embodiments the plurality of methods               In an embodiment, a number of additional probes per
are taken from methods described in this disclosure. In some        disease linked locus are included in the set of targeted
embodiments, at least one of the plurality of methods are 35 polymorphic loci; the number of additional probes per
taken from methods described in this disclosure.                    disease linked locus may be between 4 and 10, between 11
   In some embodiments the method described herein can be           and 20, between 21 and 40, between 41 and 60, between 61
used to determine the ploidy state of the gestating fetus. In       and 80, or combinations thereof.
an embodiment, the ploidy calling method uses loci that are            Phasing the diploid data from the parents can be chal-
specific to the X chromosome, or common to both the X and 40 lenging, and there are a number of ways this can be
Y chromosome, but does not make use of any Y-specific loci.         accomplished. Some are discussed in this disclosure, others
In an embodiment, the ploidy calling method uses one or             are described in greater detail in other disclosures (see, e.g.,
more of the following: loci that are specific to the X              PCT Pub!. No. WO2009105531, filed Feb. 9, 2009, and PCT
chromosome, loci that are common to both the X and Y                Pub!. No. WO2010017214, filed Aug. 4, 2009, which are
chromosome, and loci that are specific to the Y chromosome. 45 each hereby incorporated by reference in its entirety). In one
In an embodiment, where the ratios of sex chromosomes are           embodiment, a parent can be phased by inference by mea-
similar, for example 45,X (Turner Syndrome), 46,XX (nor-            suring tissue from the parent that is haploid, for example by
mal female) and 47,XXX (trisomy X), the differentiation can         measuring one or more sperm or eggs. In one embodiment
be accomplished by comparing the allele distributions to            the parent can be phased by inference using the measured
expected allele distributions according to the various 50 genotypic data of a first degree relative such as the parent's
hypotheses. In another embodiment, this can be accom-               parent(s) or siblings. In one embodiment, the parent can be
plished by comparing the relative number of sequence reads          phased by dilution where the DNA is diluted, in one or a
for the sex chromosomes to one or a plurality of reference          plurality of wells, to the point where there is expected to be
chromosomes that are assumed to be euploid. Also note that          no more than approximately one copy of each haplotype in
these methods can be expanded to include aneuploid cases. 55 each well, and then measuring the DNA in the one or more
Single Gene Disease Screening                                       wells. In one embodiment, the parent genotype can be
   In an embodiment, a method for determining the ploidy            phased by using computer programs that use population
state of the fetus may be extended to enable simultaneous           based haplotype frequencies to infer the most likely phase.
testing for single gene disorders. Single-gene disease diag-        In one embodiment, the parent can be phased if the phased
nosis leverages the same targeted approach used for aneu- 60 haplotypic data is known for the other parent, along with the
ploidy testing, and requires additional specific targets. In an     unphased genetic data of one or more genetic offspring of
embodiment, the single gene NPD diagnosis is through                the parents. In some embodiments, the genetic offspring of
linkage analysis. In many cases, direct testing of the cfDNA        the parents may be one or more embryos, fetuses, and/or
sample is not reliable, as the presence of maternal DNA             born children. Some of these methods and other methods for
makes it virtually impossible to determine if the fetus has 65 phasing one or both parents are disclosed in greater detail in,
inherited the mother's mutation. Detection of a unique              e.g., U.S. Pub!. No. 2011/0033862, filedAug. 19, 2010; U.S.
paternally-derived allele is less challenging, but is only fully    Pub!. No. 2011/0178719, filed Feb. 3, 2011; U.S. Pub!. No.




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2007/0184467, filed Nov. 22, 2006; U.S. Pub!. No. 2008/             27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000
0243398, filed Mar. 17, 2008, which are each hereby incor-          different polymorphic loci (such as SNPs) to produce a
porated by reference in its entirety.                               reaction mixture; and subjecting the reaction mixture to
Fetal Genome Reconstruction                                         primer extension reaction conditions to produce amplified
   In one aspect, the invention features methods for deter- 5 products that are measured with a high throughput sequencer
mining a haplotype of a fetus. In various embodiments, this         to produce sequencing data.
method allows one to determine which polymorphic loci                  In some embodiments, a haplotype of the mother is
(such as SNPs) were inherited by the fetus and to reconstruct       determined by any of the methods described herein using
which homologs (including recombination events) are pres-           data from a relative of the mother. In some embodiments, a
ent in the fetus (and thereby interpolate the sequence 10 haplotype of the father is determined by any of the methods
between the polymorphic loci). If desired, essentially the          described herein using data from a relative of the father. In
entire genome of the fetus can be reconstructed. If there is        some embodiments, a haplotype is determined for both the
some remaining ambiguity in the genome of the fetus (such           father and the mother. In some embodiments, a SNP array is
as in intervals with a crossover), this ambiguity can be            used to determine the presence of at least 25; 50; 75; 100;
minimized if desired by analyzing additional polymorphic 15 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 15,000;
loci. In various embodiments, the polymorphic loci are              19,000; 20,000; 25,000; 27,000; 28,000; 30,000; 40,000;
chosen to cover one or more of the chromosomes at a density         50,000; 75,000; or 100,000 different polymorphic loci in a
to reduce any ambiguity to a desired level. This method has         DNA sample from the mother (or father) and a relative of the
important applications for the detection of polymorphisms           mother (or father). In some embodiments, the method
or other mutations of interest in a fetus since it enables their 20 involves contacting a DNA sample from the mother (or
detection based on linkage (such as the presence of linked          father) and/or a relative of the mother (or father) with a
polymorphic loci in the fetal genome) rather than by direct-        library of primers that simultaneously hybridize to at least
ing detecting the polymorphism or other mutation of interest        25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
in the fetal genome. For example, if a parent is a carrier for      10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
a mutation associated with cystic fibrosis (CF), a nucleic 25 30,000; 40,000; 50,000; 75,000; or 100,000 different poly-
acid sample that includes maternal DNA from the mother of           morphic loci (such as SNPs) to produce a reaction mixture;
the fetus and fetal DNA from the fetus can be analyzed to           and subjecting the reaction mixture to primer extension
determine whether the fetal DNA include the haplotype               reaction conditions to produce amplified products that are
containing the CF mutation. In particular, polymorphic loci         measured with a high throughput sequencer to produce
can be analyzed to determine whether the fetal DNA 30 sequencing data. The parental haplotype may be determined
includes the haplotype containing the CF mutation without           based on the SNP array or sequencing data. In some embodi-
having to detect the CF mutation itself in the fetal DNA.           ments, parental data may be phased by methods described or
This is useful in screening for one or more mutations, such         referred to elsewhere in this document.
as disease-linked mutations, without having to directly                This parental haplotype data can be used to determine if
detect the mutations.                                            35 the fetus inherited the parental haplotype. In some embodi-
   In some embodiments, the method involves determining             ments, a nucleic acid sample that includes maternal DNA
a parental haplotype (e.g., a haplotype of the mother or            from the mother of the fetus and fetal DNA from the fetus
father of the fetus). In some embodiments, this determina-          is analyzed using a SNP array to detect at least 25; 50; 75;
tion is made without using data from a relative of the mother       100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
or father. In some embodiments, a parental haplotype is 40 15,000; 19,000; 20,000; 25,000; 27,000; 28,000; 30,000;
determined using a dilution approach followed by SNP                40,000; 50,000; 75,000; or 100,000 different polymorphic
genotyping or sequencing as described herein and elsewhere          loci.
(see, e.g., U.S. Pub!. No. 2011/0033862, filedAug. 19, 2010,           In some embodiments, a nucleic acid sample that includes
which is hereby incorporated by reference in its entirety).         maternal DNA from the mother of the fetus and fetal DNA
Because the DNA is diluted, it is unlikely that more than one 45 from the fetus is analyzed by contacting the sample with a
haplotype is in the same fraction (or tube). Thus, there may        library of primers that simultaneously hybridize to at least
be effectively a single molecule of DNA in the tube, which          25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000; 7,500;
allows the haplotype on a single DNA molecule to be                 10,000; 15,000; 19,000; 20,000; 25,000; 27,000; 28,000;
determined. In some embodiments, the method includes                30,000; 40,000; 50,000; 75,000; or 100,000 different poly-
dividing a DNA sample into a plurality of fractions such that 50 morphic loci (such as SNPs) to produce a reaction mixture.
at least one of the fractions includes one chromosome or one        In some embodiments, the reaction mixture is subjected to
chromosome segment from a pair of chromosomes, and                  primer extension reaction conditions to produce amplified
genotyping (e.g., determining the presence of two or more           products. In some embodiments, the amplified products are
polymorphic loci) the DNA sample in at least one of the             measured with a high throughput sequencer to produce
fractions, thereby determining a parental haplotype. In some 55 sequencing data. In various embodiments, the SNP array or
embodiments, the genotyping involves sequencing (such as            sequencing data is used to determine a parental haplotype by
shotgun sequencing). In some embodiments, the genotyping            using data about the probability of chromosomes crossing
involves use of a SNP array to detect polymorphic loci, such        over at different locations in a chromosome (such as by
as at least 25; 50; 75; 100; 300: 500; 750; 1,000; 2,000;           using recombination data such as may be found in the
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 60 HapMap database to create a recombination risk score for
27,000; 28,000; 30,000; 40,000; 50,000; 75,000; or 100,000          any interval) to model dependence between polymorphic
different polymorphic loci. In some embodiments, the geno-          alleles on the chromosome. In some embodiments, allele
typing involves the use of multiplex PCR. In some embodi-           counts at the polymorphic loci are calculated on a computer
ments, the method involves contacting the sample in a               based on the sequencing data. In some embodiments, a
fraction with a library of primers that simultaneously hybrid- 65 plurality of ploidy hypotheses each pertaining to a different
ize to at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000;       possible ploidy state of the chromosome are created on a
5,000; 7,500; 10,000; 15,000; 19,000; 20,000; 25,000;               computer; a model (such as a joint distribution model) for




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the expected allele counts at the polymorphic loci on the           to the DNA flanking the polymorphic site of the target is
chromosome is built on a computer for each ploidy hypoth-           separated from the polymorphic site by one or a small
esis; a relative probability of each of the ploidy hypotheses       number of bases.
is determined on a computer using the joint distribution               In the case where measured allele distributions at a set of
model and the allele counts; and the ploidy state of the fetus      polymorphic loci are used to determine the ploidy state of an
is called by selecting the ploidy state corresponding to the        individual, it is desirable to preserve the relative amounts of
hypothesis with the greatest probability. In some embodi-           alleles in a sample of DNA as it is prepared for genetic
ments, building a joint distribution model for allele counts        measurements. This preparation may involve WGA ampli-
and the step of determining the relative probability of each        fication, targeted amplification, selective enrichment tech-
                                                                 10 niques, hybrid capture techniques, circularizing probes or
hypothesis are done using a method that does not require the
                                                                    other methods meant to amplify the amount of DNA and/or
use of a reference chromosome.
                                                                    selectively enhance the presence of molecules of DNA that
   In some embodiments, a fetal haplotype is determined for
                                                                    correspond to certain alleles.
one or more chromosomes taken from the group consisting                In some embodiments of the present disclosure, there is a
of chromosomes 13, 18, 21, X, and Y. In some embodiments, 15 set of DNA probes designed to target loci where the loci
a fetal haplotype is determined for all of the fetal chromo-        have maximal minor allele frequencies. In some embodi-
somes. In various embodiments, the method determines                ments of the present disclosure, there is a set of probes that
essentially the entire genome of the fetus. In some embodi-         are designed to target where the loci have the maximum
ments, the haplotype is determined for at least 30, 40, 50, 60,     likelihood of the fetus having a highly informative SNP at
70, 80, 90, or 95% of the genome of the fetus.                   20 those loci. In some embodiments of the present disclosure,
   In some embodiments, the haplotype determination of the          there is a set of probes that are designed to target loci where
fetus includes information about which allele is present for        the probes are optimized for a given population subgroup. In
at least 25; 50; 75; 100; 300; 500; 750; 1,000; 2,000; 5,000;       some embodiments of the present disclosure, there is a set of
7,500; 10,000; 15,000; 19,000; 20,000; 25,000; 27,000;              probes that are designed to target loci where the probes are
28,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different 25 optimized for a given mix of population subgroups. In some
polymorphic loci.                                                   embodiments of the present disclosure, there is a set of
Compositions of DNA                                                 probes that are designed to target loci where the probes are
   When performing an informatics analysis on sequencing            optimized for a given pair of parents which are from
data measured on a mixture of fetal and maternal blood to           different population subgroups that have different minor
determine genomic information pertaining to the fetus, for 30 allele frequency profiles. In some embodiments of the pres-
example the ploidy state of the fetus, it may be advantageous       ent disclosure, there is a circularized strand of DNA that
to measure the allele distributions at a set of alleles. Unfor-     comprises at least one base pair that annealed to a piece of
tunately, in many cases, such as when attempting to deter-          DNA that is of fetal origin. In some embodiments of the
mine the ploidy state of a fetus from the DNA mixture found         present disclosure, there is a circularized strand of DNA that
in the plasma of a maternal blood sample, the amount of 35 comprises at least one base pair that annealed to a piece of
DNA available is not sufficient to directly measure the allele      DNA that is of placental origin. In some embodiments of the
distributions with good fidelity in the mixture. In these           present disclosure, there is a circularized strand of DNA that
cases, amplification of the DNA mixture will provide suf-           circularized while at least some of the nucleotides were
ficient numbers of DNA molecules that the desired allele            annealed to DNA that was of fetal origin. In some embodi-
distributions may be measured with good fidelity. However, 40 ments of the present disclosure, there is a circularized strand
current methods of amplification typically used in the ampli-       of DNA that circularized while at least some of the nucleo-
fication of DNA for sequencing are often very biased,               tides were annealed to DNA that was of placental origin. In
meaning that they do not amplify both alleles at a polymor-         some embodiments of the present disclosure, there is a set of
phic locus by the same amount. A biased amplification can           probes wherein some of the probes target single tandem
result in allele distributions that are quite different from the 45 repeats, and some of the probes target single nucleotide
allele distributions in the original mixture. For most pur-         polymorphisms. In some embodiments, the loci are selected
poses, highly accurate measurements of the relative amounts         for the purpose of non-invasive prenatal diagnosis. In some
of alleles present at polymorphic loci are not needed. In           embodiments, the probes are used for the purpose of non-
contrast, in an embodiment of the present disclosure, ampli-        invasive prenatal diagnosis. In some embodiments, the loci
fication or enrichment methods that specifically enrich poly- 50 are targeted using a method that could include circularizing
morphic alleles and preserve allelic ratios is advantageous.        probes, MIPs, capture by hybridization probes, probes on a
   A number of methods are described herein that may be             SNP array, or combinations thereof. In some embodiments,
used to preferentially enrich a sample of DNA at a plurality        the probes are used as circularizing probes, MIPs, capture by
of loci in a way that minimizes allelic bias. Some examples         hybridization probes, probes on a SNP array, or combina-
are using circularizing probes to target a plurality of loci 55 tions thereof. In some embodiments, the loci are sequenced
where the 3' ends and 5' ends of the pre-circularized probe         for the purpose of non-invasive prenatal diagnosis.
are designed to hybridize to bases that are one or a few               In the case where the relative informativeness of a
positions away from the polymorphic sites of the targeted           sequence is greater when combined with relevant parent
allele. Another is to use PCR probes where the 3' end PCR           contexts, it follows that maximizing the number of sequence
probe is designed to hybridize to bases that are one or a few 60 reads that contain a SNP for which the parental context is
positions away from the polymorphic sites of the targeted           known may maximize the informativeness of the set of
allele. Another is to use a split and pool approach to create       sequencing reads on the mixed sample. In an embodiment,
mixtures of DNA where the preferentially enriched loci are          the number of sequence reads that contain a SNP for which
enriched with low allelic bias without the drawbacks of             the parent contexts are known may be enhanced by using
direct multiplexing. Another is to use a hybrid capture 65 qPCR to preferentially amplify specific sequences. In an
approach where the capture probes are designed such that            embodiment, the number of sequence reads that contain a
the region of the capture probe that is designed to hybridize       SNP for which the parent contexts arc known may be




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enhanced by using circularizing probes (for example, MIPs)         example: G. J. W. Liao et al. Clinical Chemistry 2011; 57(1)
to preferentially amplify specific sequences. In an embodi-        pp. 92-101. These methods focus on thousands of locations
ment, the number of sequence reads that contain a SNP for          along each chromosome. The number of locations along a
which the parent contexts are known may be enhanced by             chromosome that may be targeted while still resulting in a
using a capture by hybridization method (for example               high accuracy ploidy determination on a fetus, for a given
SURESELECT) to preferentially amplify specific                     number of sequence reads, from a mixed sample of DNA is
sequences. Different methods may be used to enhance the            unexpectedly low. In an embodiment of the present disclo-
number of sequence reads that contain a SNP for which the          sure, an accurate ploidy determination may be made by
parent contexts are known. In an embodiment, the targeting         using targeted sequencing, using any method of targeting,
may be accomplished by extension ligation, ligation without 10 for example qPCR, ligand mediated PCR, other PCR meth-
extension, capture by hybridization, or PCR.                       ods, capture by hybridization, or circularizing probes,
   In a sample of fragmented genomic DNA, a fraction of the        wherein the number of loci along a chromosome that need
DNA sequences map uniquely to individual chromosomes;              to be targeted may be between 5,000 and 2,000 loci; it may
other DNA sequences may be found on different chromo-              be between 2,000 and 1,000 loci; it may be between 1,000
somes. Note that DNA found in plasma, whether maternal or 15 and 500 loci; it may be between 500 and 300 loci; it may be
fetal in origin is typically fragmented, often at lengths under    between 300 and 200 loci; it may be between 200 and 150
500 bp. In a typical genomic sample, roughly 3.3% of the           loci; it may be between 150 and 100 loci; it may be between
mappable sequences will map to chromosome 13; 2.2% of              100 and 50 loci; it may be between 50 and 20 loci; it may
the mappable sequences will map to chromosome 18; 1.35%            be between 20 and 10 loci. Optimally, it may be between 100
of the mappable sequences will map to chromosome 21; 20 and 500 loci. The high level of accuracy may be achieved by
4.5% of the mappable sequences will map to chromosome X            targeting a small number ofloci and executing an unexpect-
in a female; 2.25% of the mappable sequences will map to           edly small number of sequence reads. The number of reads
chromosome X (in a male); and 0.73% of the mappable                may be between 100 million and 50 million reads; the
sequences will map to chromosome Y (in a male). These are          number of reads may be between 50 million and 20 million
the chromosomes that are most likely to be aneuploid in a 25 reads; the number of reads may be between 20 million and
fetus. Also, among short sequences, approximately 1 in 20          10 million reads; the number of reads may be between 10
sequences will contain a SNP, using the SNPs contained on          million and 5 million reads; the number of reads may be
dbSNP. The proportion may well be higher given that there          between 5 million and 2 million reads; the number of reads
may be many SNPs that have not been discovered.                    may be between 2 million and 1 million; the number of reads
   In an embodiment of the present disclosure, targeting 30 may be between 1 million and 500,000; the number of reads
methods may be used to enhance the fraction of DNA in a            may be between 500,000 and 200,000; the number of reads
sample of DNA that map to a given chromosome such that             may be between 200,000 and 100,000; the number ofreads
the fraction significantly exceeds the percentages listed          may be between 100,000 and 50,000; the number of reads
above that are typical for genomic samples. In an embodi-          may be between 50,000 and 20,000; the number of reads
ment of the present disclosure, targeting methods may be 35 may be between 20,000 and 10,000; the number of reads
used to enhance the fraction of DNA in a sample of DNA             may be below 10,000. Fewer number of read are necessary
such that the percentage of sequences that contain a SNP are       for larger amounts of input DNA.
significantly greater than what may be found in typical for           In some embodiments, there is a composition comprising
genomic samples. In an embodiment of the present disclo-           a mixture of DNA of fetal origin, and DNA of maternal
sure, targeting methods may be used to target DNA from a 40 origin, wherein the percent of sequences that uniquely map
chromosome or from a set of SNPs in a mixture of maternal          to chromosome 13 is greater than 4%, greater than 5%,
and fetal DNA for the purposes of prenatal diagnosis.              greater than 6%, greater than 7%, greater than 8%, greater
   Note that a method has been reported (U.S. Pat. No.             than 9%, greater than 10%, greater than 12%, greater than
7,888,017) for determining fetal aneuploidy by counting the        15%, greater than 20%, greater than 25%, or greater than
number of reads that map to a suspect chromosome and 45 30%. In some embodiments of the present disclosure, there
comparing it to the number of reads that map to a reference        is a composition comprising a mixture of DNA of fetal
chromosome, and using the assumption that an overabun-             origin, and DNA of maternal origin, wherein the percent of
dance of reads on the suspect chromosome corresponds to a          sequences that uniquely map to chromosome 18 is greater
triploidy in the fetus at that chromosome. Those methods for       than 3%, greater than 4%, greater than 5%, greater than 6%,
prenatal diagnosis would not make use of targeting of any 50 greater than 7%, greater than 8%, greater than 9%, greater
sort, nor do they describe the use of targeting for prenatal       than 10%, greater than 12%, greater than 15%, greater than
diagnosis.                                                         20%, greater than 25%, or greater than 30%. In some
   By making use of targeting approaches in sequencing the         embodiments of the present disclosure, there is a composi-
mixed sample, it may be possible to achieve a certain level        tion comprising a mixture of DNA of fetal origin, and DNA
of accuracy with fewer sequence reads. The accuracy may 55 of maternal origin, wherein the percent of sequences that
refer to sensitivity, it may refer to specificity, or it may refer uniquely map to chromosome 21 is greater than 2%, greater
to some combination thereof. The desired level of accuracy         than 3%, greater than 4%, greater than 5%, greater than 6%,
may be between 90% and 95%; it may be between 95% and              greater than 7%, greater than 8%, greater than 9%, greater
98%; it may be between 98% and 99%; it may be between              than 10%, greater than 12%, greater than 15%, greater than
99% and 99.5%; it may be between 99.5% and 99.9%; it 60 20%, greater than 25%, or greater than 30%. In some
may be between 99.9% and 99.99%; it may be between                 embodiments of the present disclosure, there is a composi-
99.99% and 99.999%, it may be between 99.999% and                  tion comprising a mixture of DNA of fetal origin, and DNA
100%. Levels of accuracy above 95% may be referred to as           of maternal origin, wherein the percent of sequences that
high accuracy.                                                     uniquely map to chromosome X is greater than 6%, greater
   There are a number of published methods in the prior art 65 than 7%, greater than 8%, greater than 9%, greater than
that demonstrate how one may determine the ploidy state of         10%, greater than 12%, greater than 15%, greater than 20%,
a fetus from a mixed sample of maternal and fetal DNA, for         greater than 25%, or greater than 30%. In some cmbodi-




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ments of the present disclosure, there is a compos1t10n            1,000,000, and where the ratio of the alleles in the second
comprising a mixture of DNA of fetal origin, and DNA of            mixture of DNA at each locus differs from the ratio of the
maternal origin, wherein the percent of sequences that             alleles at that locus in the first mixture of DNA by a factor
uniquely map to chromosome Y is greater than 1%, greater           that is, on average, less than 1,000%, 500%, 200%, 100%,
than 2%, greater than 3%, greater than 4%, greater than 5%,        50%, 20%, 10%, 5%, 2%, 1%, 0.5%, 0.2%, 0.1%, 0.05%,
greater than 6%, greater than 7%, greater than 8%, greater         0.02%, or 0.01 %. In some embodiments, there is a compo-
than 9%, greater than 10%, greater than 12%, greater than          sition comprising a second mixture of DNA, where the
15%, greater than 20%, greater than 25%, or greater than           second mixture of DNA has been preferentially enriched at
30%.                                                               a plurality of polymorphic loci from a first mixture of DNA
   In some embodiments, a composition is described com- 10 where the per cycle allelic bias for the plurality of polymor-
prising a mixture of DNA of fetal origin, and DNA of               phic loci is, on average, less than 10%, 5%, 2%, 1%, 0.5%,
maternal origin, wherein the percent of sequences that             0.2%, 0.1 %, 0.05%, or 0.02%. In some embodiments, the
uniquely map to a chromosome, and that contains at least           plurality of polymorphic loci comprises at least 10 loci, at
one single nucleotide polymorphism is greater than 0.2%,           least 20 loci, at least 50 loci, at least 100 loci, at least 200
greater than 0.3%, greater than 0.4%, greater than 0.5%, 15 loci, at least 500 loci, at least 1,000 loci, at least 2,000 loci,
greater than 0.6%, greater than 0.7%, greater than 0.8%,           at least 5,000 loci, at least 10,000 loci, at least 20,000 loci,
greater than 0.9%, greater than 1%, greater than 1.2%,             or at least 50,000 loci.
greater than 1.4%, greater than 1.6%, greater than 1.8%,
greater than 2%, greater than 2.5%, greater than 3%, greater                            Some Embodiments
than 4%, greater than 5%, greater than 6%, greater than 7%, 20
greater than 8%, greater than 9%, greater than 10%, greater           In some embodiments, a method is disclosed herein for
than 12%, greater than 15%, or greater than 20%, and where         generating a report disclosing the determined ploidy status
the chromosome is taken from the group 13, 18, 21, X, or Y.        of a chromosome in a gestating fetus, the method compris-
In some embodiments of the present disclosure, there is a          ing: obtaining a first sample that contains DNA from the
composition comprising a mixture of DNA of fetal origin, 25 mother of the fetus and DNA from the fetus; obtaining
and DNA of maternal origin, wherein the percent of                 genotypic data from one or both parents of the fetus;
sequences that uniquely map to a chromosome and that               preparing the first sample by isolating the DNA so as to
contain at least one single nucleotide polymorphism from a         obtain a prepared sample; measuring the DNA in the pre-
set of single nucleotide polymorphisms is greater than             pared sample at a plurality of polymorphic loci; calculating,
0.15%, greater than 0.2%, greater than 0.3%, greater than 30 on a computer, allele counts or allele count probabilities at
0.4%, greater than 0.5%, greater than 0.6%, greater than           the plurality of polymorphic loci from the DNA measure-
0.7%, greater than 0.8%, greater than 0.9%, greater than 1%,       ments made on the prepared sample; creating, on a com-
greater than 1.2%, greater than 1.4%, greater than 1.6%,           puter, a plurality of ploidy hypotheses concerning expected
greater than 1.8%, greater than 2%, greater than 2.5%,             allele count probabilities at the plurality of polymorphic loci
greater than 3%, greater than 4%, greater than 5%, greater 35 on the chromosome for different possible ploidy states of the
than 6%, greater than 7%, greater than 8%, greater than 9%,        chromosome; building, on a computer, a joint distribution
greater than 10%, greater than 12%, greater than 15%, or           model for allele count probability of each polymorphic locus
greater than 20%, where the chromosome is taken from the           on the chromosome for each ploidy hypothesis using geno-
set of chromosome 13, 18, 21, X and Y, and where the               typic data from the one or both parents of the fetus;
number of single nucleotide polymorphisms in the set of 40 determining, on a computer, a relative probability of each of
single nucleotide polymorphisms is between 1 and 10,               the ploidy hypotheses using the joint distribution model and
between 10 and 20, between 20 and 50, between 50 and 100,          the allele count probabilities calculated for the prepared
between 100 and 200, between 200 and 500, between 500              sample; calling the ploidy state of the fetus by selecting the
and 1,000, between 1,000 and 2,000, between 2,000 and              ploidy state corresponding to the hypothesis with the great-
5,000, between 5,000 and 10,000, between 10,000 and 45 est probability; and generating a report disclosing the deter-
20,000, between 20,000 and 50,000, and between 50,000              mined ploidy status.
and 100,000.                                                          In some embodiments, the method is used to determine
   In theory, each cycle in the amplification doubles the          the ploidy state of a plurality of gestating fetuses in a
amount of DNA present; however, in reality, the degree of          plurality of respective mothers, the method further compris-
amplification is slightly lower than two. In theory, amplifi- 50 ing: determining the percent of DNA that is of fetal origin in
cation, including targeted amplification, will result in bias      each of the prepared samples; and wherein the step of
free amplification of a DNA mixture; in reality, however,          measuring the DNA in the prepared sample is done by
different alleles tend to be amplified to a different extent than  sequencing a number of DNA molecules in each of the
other alleles.                                                     prepared samples, where more molecules of DNA are
   When DNA is amplified, the degree of allelic bias typi- 55 sequenced from those prepared samples that have a smaller
cally increases with the number of amplification steps. In         fraction of fetal DNA than those prepared samples that have
some embodiments, the methods described herein involve             a larger fraction of fetal DNA.
amplifying DNA with a low level of allelic bias. Since the            In some embodiments, the method is used to determine
allelic bias compounds with each additional cycle, one can         the ploidy state of a plurality of gestating fetuses in a
determine the per cycle allelic bias by calculating the nth 60 plurality of respective mothers, and where the measuring the
root of the overall bias where n is the base 2 logarithm of        DNA in the prepared sample is done, for each of the fetuses,
degree of enrichment. In some embodiments, there is a              by sequencing a first fraction of the prepared sample of DNA
composition comprising a second mixture of DNA, where              to give a first set of measurements, the method further
the second mixture of DNA has been preferentially enriched         comprising: making a first relative probability determination
at a plurality of polymorphic loci from a first mixture of 65 for each of the ploidy hypotheses for each of the fetuses,
DNA where the degree of enrichment is at least 10, at least        given the first set of DNA measurements; resequencing a
100, at least 1,000, at least 10,000, at least 100,000 or at least second fraction of the prepared sample from those fetuses




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where the first relative probability determination for each of     Exemplary Cancer Diagnostic Methods
the ploidy hypotheses indicates that a ploidy hypothesis              Note that it has been demonstrated that DNA that origi-
corresponding to an aneuploid fetus has a significant but not      nated from cancer that is living in a host can be found in the
conclusive probability, to give a second set of measure-           blood of the host. In the same way that genetic diagnoses can
ments; making a second relative probability determination          be made from the measurement of mixed DNA found in
                                                                   maternal blood, genetic diagnoses can equally well be made
for ploidy hypotheses for the fetuses using the second set of
                                                                   from the measurement of mixed DNA found in host blood.
measurements and optionally also the first set of measure-         The genetic diagnoses may include aneuploidy states, or
ments; and calling the ploidy states of the fetuses whose          gene mutations. Any claim in the instant disclosure that
second sample was resequenced by selecting the ploidy state
corresponding to the hypothesis with the greatest probability
                                                                10
                                                                   } : : : i~:~~;::a:~r:1:!~~i:a~:~n°:~:;:!f          i:i~~  0
                                                                                                                              c~
as determined by the second relative probability determina-        equally well read on determining the ploidy state or genetic
tion.                                                              state of a cancer from the measurements on host blood.
    In some embodiments, a composition of matter is dis-              In some embodiments, a method of the present disclosure
closed, the composition of matter comprising: a sample of 15 allows one to determine the ploidy status of a cancer, the
                                                                   method including obtaining a mixed sample that contains
preferentially enriched DNA, wherein the sample of pref-
                                                                   genetic material from the host, and genetic material from the
erentially enriched DNA has been preferentially enriched at        cancer; measuring the DNA in the mixed sample; calculating
a plurality of polymorphic loci from a first sample of DNA,        the fraction of DNA that is of cancer origin in the mixed
wherein the first sample of DNA consisted of a mixture of          sample; and determining the ploidy status of the cancer
maternal DNA and fetal DNA derived from maternal 20 using the measurements made on the mixed sample and the
plasma, where the degree of enrichment is at least a factor        calculated fraction. In some embodiments, the method may
of 2, and wherein the allelic bias between the first sample        further include administering a cancer therapeutic based on
and the preferentially enriched sample is, on average,             the determination of the ploidy state of the cancer. In some
selected from the group consisting of less than 2%, less than      embodiments, the method may further include administering
1%, less than 0.5%, less than 0.2%, less than 0.1 %, less than 25 a cancer therapeutic based on the determination of the ploidy
0.05%, less than 0.02%, and less than 0.01 %. In some              state of the cancer, wherein the cancer therapeutic is taken
embodiments, a method is disclosed to create a sample of           from the group comprising a pharmaceutical, a biologic
such preferentially enriched DNA.                                  therapeutic, and antibody based therapy and combination
    In some embodiment, a method is disclosed for determin-        thereof.
                                                                30 Exemplary Clinical Actions
ing the presence or absence of a fetal aneuploidy in a
                                                                      In some embodiments, any of the methods include taking
maternal tissue sample comprising fetal and maternal
                                                                   a clinical action based on a result of a method of the
genomic DNA, wherein the method comprises: (a) obtaining
                                                                   invention (such as the determination of the presence or
a mixture of fetal and maternal genomic DNA from said
                                                                   absence of a polymorphism or mutation, ploidy state, or
maternal tissue sample; (b) selectively enriching the mixture 35 paternity). In some embodiments in which an embryo or
of fetal and maternal DNA at a plurality of polymorphic            fetus has one or more one or more polymorphisms or
alleles; (c) distributing selectively enriched fragments from      mutations of interest (such as a CNV) based on a result of
the mixture of fetal and maternal genomic DNA of step a to         a method of the invention, the clinical action includes
provide reaction samples comprising a single genomic DNA           performing additional testing (such as testing to confirm the
molecule or amplification products of a single genomic 40 presence of the polymorphism or mutation), not implanting
DNA molecule; (d) conducting massively parallel DNA                the embryo for IVF, implanting a different embryo for IVF,
sequencing of the selectively enriched fragments of genomic        terminating a pregnancy, preparing for a special needs child,
DNA in the reaction samples of step c) to determine the            or undergoing an intervention designed to decrease the
sequence of said selectively enriched fragments; (e) identi-       severity of the phenotypic presentation of a genetic disorder.
fying the chromosomes to which the sequences obtained in 45 In some embodiments, the clinical action is selected from
step d) belong; (f) analyzing the data of step d) to determine     the group consisting of performing an ultrasound, anmio-
i) the number of fragments of genomic DNA from step d)             centesis on the fetus, anmiocentesis on a subsequent fetus
that belong to at least one first target chromosome that is        that inherits genetic material from the mother and/or father,
presumed to be diploid in both the mother and the fetus, and       chorion villus biopsy on the fetus, chorion villus biopsy on
ii) the number of fragments of genomic DNA from step d) 50 a subsequent fetus that inherits genetic material from the
that belong to a second target chromosome, wherein said            mother and/or father, in vitro fertilization, preimplantation
second chromosome is suspected to be aneuploid in the              genetic diagnosis on one or more embryos that inherited
fetus; (g) calculating an expected distribution of the number      genetic material from the mother and/or father, karyotyping
of fragments of genomic DNA from step d) for the second            on the mother, karyotyping on the father, fetal echocardio-
target chromosome if the second target chromosome is 55 gram (such as an echocardiogram of a fetus with trisomy 21,
euploid, using the number determined in step f) part i); (h)       18, or 13, monosomy X, or a microdeletion), and combina-
calculating an expected distribution of the number of frag-        tions thereof. In some embodiments, the clinical action is
ments of genomic DNA from step d) for the second target            selected from the group consisting of administering growth
chromosome if the second target chromosome is aneuploid,           hormone to a born child with monosomy X (such as admin-
using the first number is step f) part i) and an estimated 60 istration starting at -9 months), administering calcium to a
fraction of fetal DNA found in the mixture of step b ); and (i)    born child with a 22q deletion (such as DiGeorge syn-
using a maximum likelihood or maximum a posteriori                 drome), administering an androgen such as testosterone to a
approach to determine whether the number of fragments of           born child with 47,XXY (such as one injection per month for
genomic DNA determined in step f) part ii) is more likely to       3 months of 25 mg testosterone enanthate to an infant or
be part of the distribution calculated in step g) or the 65 toddler), performing a test for cancer on a woman with a
distribution calculated in step h); thereby indicating the         complete or partial molar pregnancy (such as a triploid
presence or absence of a fetal ancuploidy.                         fetus), administering a therapy for cancer such as a chcmo-




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therapeutic agent to a woman with a complete or partial        absence of the polymorphism or mutation (such as a CNV),
molar pregnancy (such as a triploid fetus), screening a fetus  such as testing either a second fraction of the same sample
determined to be male (such as a fetus determined to be male   that was tested or a different sample from the same indi-
using a method of the invention) for one or more X-linked      vidual (such as the same pregnant mother, fetus, embryo, or
genetic disorders such as Duchenne muscular dystrophy          individual at increased risk for cancer). In some embodi-
(DMD), adrenoleukodystrophy, or hemophilia, performing         ments, the additional testing is performed for an individual
amniocentesis on a male fetus at risk for an X-linked          for whom the probability of a polymorphism or mutation
disorder, administering dexamethasone to a women with a        (such as a CNV) is above a threshold value. In some
female fetus at risk male (such as a fetus determined to be    embodiments, the additional testing is performed for an
female using a method of the invention) for congenital 10 individual for whom the confidence or z-score for the
adrenal hyperplasia, performing amniocentesis on a female      determination of a polymorphism or mutation (such as a
fetus at risk for congenital adrenal hyperplasia, administer-  CNV) is above a threshold value (such as additional testing
ing killed vaccines (instead of live vaccines) or not admin-   to confirm the presence of a likely polymorphism or muta-
istering certain vaccines to a born child who is (or is        tion). In some embodiments, the additional testing is per-
suspected of being) immune deficient from a 22qll.2 dele- 15 formed for an individual for whom the confidence or z-score
tion, performing occupational and/or physical therapy, per-    for the determination of a polymorphism or mutation (such
forming early intervention in education, delivering the baby   as a CNV) is between minimum and maximum threshold
at a tertiary care center with a NICU and/or having pediatric  values (such as additional testing to increase the confidence
specialists available at delivery, behavioral intervention for that the initial result is correct). In some embodiments, the
born child (such as a child with XXX, XXY, or XYY), and 20 additional testing is performed for an individual for whom
combinations thereof.                                          the confidence for the determination of the presence or
   In some embodiments, ultrasound or another screening        absence of a polymorphism or mutation (such as a CNV) is
test is performed on a women determined to have multiple       below a threshold value (such as a "no call" result due to not
pregnancies (such as twins) to determine whether or not two    being able to determine the presence or absence of the CNV
or more of the fetus are monochorionic. Monozygotic twins 25 with sufficient confidence). An exemplary Z core is calcu-
result from ovulation and fertilization of a single oocyte,    lated in Chiu et al. BMJ 2011; 342:c7401 (which is hereby
with subsequent division of the zygote; placentation may be    incorporated by reference in its entirety) in which chromo-
dichorionic or monochorionic. Dizygotic twins occur from       some 21 is used as an example and can be replaced with any
ovulation and fertilization of two oocytes, which usually      other chromosome or chromosome segment in the test
results in dichorionic placentation. Monochorionic twins 30 sample.
have a risk of twin-to-twin transfusion syndrome, which               Z score for percentage chromosome 21 in test case=
may cause unequal distribution of blood between fetuses                    ((percentage chromosome 21 in test case)-
that results in differences in their growth and development,               (mean percentage chromosome 21 in reference
sometimes resulting in stillbirth. Thus, twins determined to               controls))/(standard deviation of percentage
                                                                           chromosome 21 in reference controls).
be mono zygotic twins using a method of the invention are 35
desirably tested (such as by ultrasound) to determine if they     In some embodiments, the additional testing is performed
are monochorionic twins, and if so, these twins can be         for an individual for whom the initial sample did not meet
monitored (such as bi-weekly ultrasounds from 16 weeks)        quality control guidelines or had a fetal fraction or a tumor
for signs of win-to-twin transfusion syndrome.                 fraction below a threshold value. In some embodiments, the
   In some embodiments in which an embryo or fetus does 40 method includes selecting an individual for additional test-
not have one or more one or more polymorphisms or              ing based on the result of a method of the invention, the
mutations of interest (such as a CNV) based on a result of     probability of the result, the confidence of the result, or the
a method of the invention, the clinical action includes        z-score; and performing the additional testing on the indi-
implanting the embryo for IVF or continuing a pregnancy. In    vidual (such as on the same or a different sample). In some
some embodiments, the clinical action is additional testing 45 embodiments, a subject diagnosed with a disease or disorder
to confirm the absence of the polymorphism or mutation         (such as cancer) undergoes repeat testing using a method of
selected from the group consisting of performing an ultra-     the invention or known testing for the disease or disorder at
sound, amniocentesis, chorion villus biopsy, and combina-      multiple time points to monitor the progression of the
tions thereof.                                                 disease or disorder or the remission or reoccurrence of the
   In some embodiments in which an individual has one or 50 disease or disorder.
more polymorphisms or mutations (such as a polymorphism        Exemplary Implementation Methods
or mutation associated with a disease or disorder such as         Any of the embodiments disclosed herein may be imple-
cancer or an increased risk for a disease or disorder such as  mented in digital electronic circuitry, integrated circuitry,
cancer) based on a result of a method of the invention, the    specially designed ASICs (application-specific integrated
clinical action includes performing additional testing or 55 circuits), computer hardware, firmware, software, or in
administering one or more therapies for a disease or disorder  combinations thereof. Apparatus of the presently disclosed
(such as a therapy for cancer, a therapy for the specific type embodiments can be implemented in a computer program
of cancer or type of mutation the individual is diagnosed      product tangibly embodied in a machine-readable storage
with, or any of the therapies disclosed herein). In some       device for execution by a progrannnable processor; and
embodiments, the clinical action is additional testing to 60 method steps of the presently disclosed embodiments can be
confirm the presence or absence of a polymorphism or           performed by a progrannnable processor executing a pro-
mutation selected from the group consisting of biopsy,         gram of instructions to perform functions of the presently
surgery, medical imaging (such as a mammogram or an            disclosed embodiments by operating on input data and
ultrasound), and combinations thereof.                         generating output. The presently disclosed embodiments can
   In some embodiments, the additional testing includes 65 be implemented advantageously in one or more computer
performing the same or a different method (such as any of      programs that are executable and/or interpretable on a
the methods described herein) to confirm the presence or       programmable system including at least one programmable




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processor, which may be special or general purpose, coupled        execution of a clinical decision that results in a clinical
to receive data and instructions from, and to transmit data        treatment, or the execution of a clinical decision to make no
and instructions to, a storage system, at least one input          action.
device, and at least one output device. Each computer              Exemplary Diagnostic Boxes
program can be implemented in a high-level procedural or              In an embodiment, the present disclosure comprises a
object-oriented programming language or in assembly or             diagnostic box that is capable of partly or completely
machine language if desired; and in any case, the language         carrying out any of the methods described in this disclosure.
can be a compiled or interpreted language. A computer              In an embodiment, the diagnostic box may be located at a
program may be deployed in any form, including as a                physician's office, a hospital laboratory, or any suitable
                                                                10 location reasonably proximal to the point of patient care.
stand-alone program, or as a module, component, subrou-
tine, or other unit suitable for use in a computing environ-       The box may be able to run the entire method in a wholly
                                                                   automated fashion, or the box may require one or a number
ment. A computer program may be deployed to be executed
                                                                   of steps to be completed manually by a technician. In an
or interpreted on one computer or on multiple computers at
                                                                   embodiment, the box may be able to analyze at least the
one site, or distributed across multiple sites and intercon- 15
                                                                   genotypic data measured on the maternal plasma. In an
nected by a communication network.                                 embodiment, the box may be linked to means to transmit the
   Computer readable storage media, as used herein, refers         genotypic data measured on the diagnostic box to an exter-
to physical or tangible storage (as opposed to signals) and        nal computation facility which may then analyze the geno-
includes without limitation volatile and non-volatile, remov-      typic data, and possibly also generate a report. The diag-
able and non-removable media implemented in any method 20 nostic box may include a robotic unit that is capable of
or technology for the tangible storage of information such as      transferring aqueous or liquid samples from one container to
computer-readable instructions, data structures, program           another. It may comprise a number of reagents, both solid
modules or other data. Computer readable storage media             and liquid. It may comprise a high throughput sequencer. It
includes, but is not limited to, RAM, ROM, EPROM,                  may comprise a computer.
EEPROM, flash memory or other solid state memory tech- 25 Experimental Section
nology, CD-ROM, DVD, or other optical storage, magnetic               The presently disclosed embodiments are described in the
cassettes, magnetic tape, magnetic disk storage or other           following Examples, which are set forth to aid in the
magnetic storage devices, or any other physical or material        understanding of the disclosure, and should not be construed
medium which can be used to tangibly store the desired             to limit in any way the scope of the disclosure as defined in
information or data or instructions and which can be 30 the claims which follow thereafter. The following examples
accessed by a computer or processor.                               are put forth so as to provide those of ordinary skill in the
   In some embodiments, the invention features a computer          art with a complete disclosure and description of how to use
                                                                   the described embodiments, and are not intended to limit the
configured to accomplish one or more of the in vitro
                                                                   scope of the disclosure nor are they intended to represent
methods described herein. In some embodiments, the data is
                                                                35 that the Examples below are all or the only experiments
analyzed by the computer system as described herein. In
                                                                   performed. Efforts have been made to ensure accuracy with
some embodiments, genetic data (such as sequencing or              respect to numbers used (e.g. amounts, temperature, etc.) but
microarray data) from at least 100; 200; 500; 750; 1,000;          some experimental errors and deviations should be
2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;               accounted for. Unless indicated otherwise, parts are parts by
40,000; 50,000; 75,000; or 100,000 different loci is analyzed 40 volume, and temperature is in degrees Centigrade. It should
by the computer is less than 200, 100, 60, 30, 20, 10, 5, or       be understood that variations in the methods as described
1 minute, or in less than 30 or 10 seconds to detect the           may be made without changing the fundamental aspects that
present or absence of a mutation (such as a CNV or SNV)            the Examples are meant to illustrate.
at the loci.
   Any of the methods described herein may include the 45                                    Example 1
output of data in a physical format, such as on a computer
screen, or on a paper printout. In explanations of any                The objective was to show that a Bayesian maximum
embodiments elsewhere in this document, it should be               likelihood estimation (MLE) algorithm that uses parent
understood that the described methods may be combined              genotypes to calculate fetal fraction improves accuracy of
with the output of the actionable data in a format that can be 50 non-invasive prenatal trisomy diagnosis compared to pub-
acted upon by a physician. In addition, the described meth-        lished methods.
ods may be combined with the actual execution of a clinical           Simulated sequencing data for maternal cfDNA was cre-
decision that results in a clinical treatment, or the execution    ated by sampling reads obtained on trisomy-21 and respec-
of a clinical decision to make no action. Some of the              tive mother cell lines. The rate of correct disomy and trisomy
embodiments described in the document for determining 55 calls were determined from 500 simulations at various fetal
genetic data pertaining to a target individual may be com-         fractions for a published method (Chiu et al. BMJ 2011;
bined with the decision to select one or more embryos for          342:c7401) and our MLE-based algorithm. We validated the
transfer in the context of IVF, optionally combined with the       simulations by obtaining 5 million shotgun reads from four
process of transferring the embryo to the womb of the              pregnant mothers and respective fathers collected under an
prospective mother. Some of the embodiments described in 60 !RB-approved protocol. Parental genotypes were obtained
the document for determining genetic data pertaining to a          on a 290K SNP array. (See FIG. 14)
target individual may be combined with the notification of a          In simulations, the MLE-based approach achieved 99.0%
potential chromosomal abnormality, or lack thereof, with a         accuracy for fetal fractions as low as 9% and reported
medical professional, optionally combined with the decision        confidences that corresponded well to overall accuracy. We
to abort, or to not abort, a fetus in the context of prenatal 65 validated these results using four real samples wherein we
diagnosis. Some of the embodiments described herein may            obtained all correct calls with a computed confidence
be combined with the output of the actionable data, and the        exceeding 99%. In contrast, our implementation of the




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published algorithm for Chiu et al. required 18% fetal               20 mL of blood was drawn from a pregnant patient
fraction to achieve 99.0% accuracy, and achieved only             following abnormal ultrasound. After centrifugation, mater-
87 .8% accuracy at 9% fetal DNA.                                  nal DNA was extracted from the buffy coat (DNEASY,
   Fetal fraction determination from parental genotypes in        QIAGEN); cell-free DNA was extracted from plasma
conjunction with a MLE-based approach achieves greater            (QIAAMP QIAGEN). Targeted sequencing was applied to
accuracy than published algorithms at the fetal fractions         SNP loci on chromosomes 2, 21, and X in both DNA
expected during the 1st and early 2nd trimester. Further-         samples. Maximum-Likelihood Bayesian estimation
more, the method disclosed herein produces a confidence
                                                                  selected the most likely hypothesis from the set of all
metric that is crucial in determining the reliability of the
                                                                  possible ploidy states. The method determines fetal DNA
result, especially at low fetal fractions where ploidy detec-
                                                               10 fraction, ploidy state and explicit confidences in the ploidy
tion is more difficult. Published methods use a less accurate
threshold method for calling ploidy based on large sets of        determination. No assumptions are made about the ploidy of
disomy training data, an approach that predefines a false         a reference chromosome. The diagnostic uses a test statistic
positive rate. In addition, without a confidence metric,          that is independent of sequence read counts, which is the
published methods are at risk of reporting false negative         recent state of the art.
results when there is insufficient fetal cfDNA to make a call. 15    The instant method accurately diagnosed trisomy of chro-
   In some embodiments, a confidence estimate is calculated       mosomes 2 and 21. Child fraction was estimated at 11.9%
for the called ploidy state.                                      [CI 11.7-12.1]. The fetus was found to have one maternal
                                                                  and two paternal copies of chromosomes 2 and 21 with
                          Example 2                               confidence of effectively 1 (error probability<l0- 30 ). This
                                                               20 was achieved with 92,600 and 258,100 reads on chromo-
   The objective was to improve non-invasive detection of         somes 2 and 21 respectively.
fetal trisomy 18, 21, and X particularly in samples consisting       This is the first demonstration of non-invasive prenatal
oflow fetal fraction by using a targeted sequencing approach      diagnosis of trisomic chromosomes from maternal blood
combined with parent genotypes and Hapmap data in a               where the fetus was triploid, as confirmed by metaphase
Bayesian Maximum Likelihood Estimation (MLE) algo- 25 karyotype. Extant methods of non-invasive diagnosis would
rithm.                                                            not detect aneuploidy in this sample. Current methods rely
   Maternal samples from four euploid and two trisomy-            on a surplus of sequence reads on a trisomic chromosome
positive pregnancies and respective paternal samples were         relative to disomic reference chromosomes; but a triploid
obtained under an !RB-approved protocol from patients             fetus has no disomic reference. Furthermore, extant methods
where fetal karyotype was known. Maternal cfDNA was 30 would not achieve similarly high-confidence ploidy deter-
extracted from plasma and roughly 10 million sequence             mination with this fraction of fetal DNA and number of
reads were obtained following preferential enrichment that        sequence reads. It is straightforward to extend the approach
targeted specific SNPs. Parent samples were similarly             to all 24 chromosomes.
sequenced to obtain genotypes.
   The described algorithm correctly called chromosome 18 35                                Example 4
and 21 disomy for all euploid samples and normal chromo-
somes ofaneuploid samples. Trisomy 18 and 21 calls were              The following protocol was used for 800-plex amplifica-
correct, as were chromosome X copy numbers in male and            tion of DNA isolated from maternal plasma from a euploid
female fetuses. The confidence produced by the algorithm          pregnancy and also genomic DNA from a triploidy 21 cell
was in excess of 98% in all cases.                             40 line using standard PCR (meaning no nesting was used).
   The method described accurately reported the ploidy of         Library preparation and amplification involved single tube
all tested chromosomes from six samples, including samples        blunt ending followed by A-tailing. Adaptor ligation was run
comprised of less than 12% fetal DNA, which account for           using the ligation kit found in the AGILENT SURES ELECT
roughly 30% of l st and early 2"d-trimester samples. The          kit, and PCR was run for 7 cycles. Then, 15 cycles of STA
crucial difference between the instant MLE algorithm and 45 (95° C. for 30 s; 72° C. for 1 min; 60° C. for 4 min; 65° C.
published methods is that it leverages parent genotypes and       for 1 min; 72° C. for 30 s) using 800 different primer pairs
Hapmap data to improve accuracy and generate a confidence         targeting SNPs on chromosomes 2, 21 and X. The reaction
metric. At low fetal fractions, all methods become less           was run with 12.5 nM primer concentration. The DNA was
accurate; it is important to correctly identify samples with-     then sequenced with an ILLUMINA IIGAX sequencer. The
out sufficient fetal cfDNA to make a reliable call. Others 50 sequencer output 1.9 million reads, of which 92% mapped to
have used chromosome Y specific probes to estimate fetal          the genome; of those reads that mapped to the genome, more
fraction of male fetuses, but concurrent parental genotyping      than 99% mapped to one of the regions targeted by the
enables estimation of fetal fraction for both sexes. Another      targeted primers. The numbers were essentially the same for
inherent limitation of published methods using untargeted         both the plasma DNA and the genomic DNA. FIG. 15 shows
shotgun sequencing is that accuracy of ploidy calling varies 55 the ratio of the two alleles for the - 780 SNPs that were
among chromosomes due to differences in factors such as           detected by the sequencer in the genomic DNA that was
GC richness. The instant targeted sequencing approach is          taken from a cell line with known trisomy at chromosome
largely independent of such chromosome-scale variations           21. Note that the allele ratios are plotted here for ease of
and yields more consistent performance between chromo-            visualization, because the allele distributions are not
somes.                                                         60 straightforward to read visually. The circles represent SNPs
                                                                  on disomic chromosomes, while the stars represent SNPs on
                          Example 3                               a trisomic chromosome. FIG. 16 is another representation of
                                                                  the same data as in FIG. 15, where the Y-axis is the relative
   The objective was to determine if trisomy is detectable        number of A and B measured for each SNP, and where the
with high confidence on a triploid fetus, using novel infor- 65 X-axis is the SNP number where the SNPs are separated by
matics to analyze SNP loci of free floating fetal DNA in          chromosome. In FIG. 16, SNP 1 to 312 are found on
maternal plasma.                                                  chromosome 2, from SNP 313 to 605 arc found on chro-




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mosome 21 which is trisomic, and from SNP 606 to 800 are            using a 150-plex targeted amplification produced data that
on chromosome X. The data from chromosomes 2 and X                  fell very closely on the 1: 1 line after bias correction.
show a disomic chromosome, as the relative sequence
counts lie in three clusters: AA at the top of the graph, BB                                  Example 6
at the bottom of the graph, and AB in the middle of the 5
graph. The data from chromosome 21, which is trisomic,                 Universal amplification of DNA using ligated adaptors
shows four clusters: AAA at the top of the graph, AAB               with primers specific to the adaptor tags, where the primer
around the 0.65 line (2/3), ABB around the 0.35 line (1/3),         annealing and extension times are limited to a few minutes
and BBB at the bottom of the graph.                                 has the effect of enriching the proportion of shorter DNA
                                                                 10 strands. Most library protocols designed for creating DNA
   FIGS. 17A-D show data for the same 800-plex protocol,
but measured on DNA that was amplified from four plasma             libraries suitable for sequencing contain such a step, and
                                                                    example protocols are published and well known to those in
samples from pregnant women. For these four samples, we
                                                                    the art. In some embodiments of the invention, adaptors with
expect to see seven clusters of dots: (1) along the top of the
                                                                    a universal tag are ligated to the plasma DNA, and amplified
graph are those loci where both the mother and the fetus are 15
                                                                    using primers specific to the adaptor tag. In some embodi-
AA, (2) slightly below the top of the graph are those loci          ments, the universal tag can be the same tag as used for
where the mother is AA and the fetus is AB, (3) slightly            sequencing, it can be a universal tag only for PCR ampli-
above the 0.5 line are those loci where the mother is AB and        fication, or it can be a set of tags. Since the fetal DNA is
the fetus is AA, (4) along the 0.5 line are those loci where        typically short in nature, while the maternal DNA can be
the mother and the fetus are both AB, (5) slightly below the 20 both short and long in nature, this method has the effect of
0.5 line are those loci where the mother is AB and the fetus        enriching the proportion of fetal DNA in the mixture. The
is BB, (6) slightly above the bottom of the graph are those         free floating DNA, thought to be DNA from apoptotic cells,
loci where the mother is BB and the fetus is AB, (1) along          and which contains both fetal and maternal DNA, is short-
the bottom of the graph are those loci where both the mother        mostly under 200 bp. Cellular DNA released by cell lysis, a
and the fetus are BB. The smaller the fetal fraction, the less 25 common phenomenon after phlebotomy, is typically almost
the separation between clusters (1) and (2), between clusters       exclusively maternal, and is also quite long-mostly above
(3), (4) and (5), and between clusters (6) and (7). The             500 bp. Therefore, blood samples that have sat around for
separation is expected to be half of the fraction of DNA that       more than a few minutes will contain a mixture of short
is of fetal origin. For example if the DNA is 20% fetal, and        (fetal+maternal) and longer (maternal) DNA. Performing a
80% maternal, we expect (1) through (7) to be centered at 30 universal amplification with relatively short extension times
1.0, 0.9, 0.6, 0.5, 0.4, 0.1 and 0.0 respectively; see for          on maternal plasma followed by targeted amplification will
example FIG. 17D, POOL1_BC5_ref_rate. If, instead the               tend to increase the relative proportion of fetal DNA when
                                                                    compared to the plasma that has been amplified using
DNA is 8% fetal, and 92% maternal, we expect (1) through
                                                                    targeted amplification alone. This can be seen in FIG. 19
(7) to be centered at 1.00, 0.96, 0.54, 0.50, 0.46, 0.04 and 35
                                                                    which shows the measured fetal percent when the input is
0.00 respectively; see for example FIG. 17B,
                                                                    plasma DNA (vertical axis) vs. the measured fetal percent
POOL1_BC2_ref_rate. If there is not fetal DNA detected,
                                                                    when the input DNA is plasma DNA that has had a library
we do not expect to see (2), (3), (5), or (6); alternately we       prepared using the ILLUMINA GAIIx library preparation
could say that the separation is zero, and therefore (1) and        protocol. All the dots fall below the line, indicating that the
(2) are on top of each other, as are (3), (4) and (5), and also 40 library preparation step enriches the fraction of DNA that is
(6) and (7); see e.g. FIG. 17C, POOL1_BC7 _ref_rate. Note           of fetal origin. Two samples of plasma that were red,
that the fetal fraction for FIG. 17A, POOLl_BCl_ref_rate is         indicating hemolysis and therefore that there would be an
about 25%.                                                          increased amount of long maternal DNA present from cell
                                                                    lysis, show a particularly significant enrichment of fetal
                            Example 5                            45 fraction when the library preparation is performed prior to
                                                                    targeted amplification. The method disclosed herein is par-
   Most methods of DNA amplification and measurement                ticularly useful in cases where there is hemolysis or some
will produce some allele bias, wherein the two alleles that         other situation has occurred where cells comprising rela-
are typically found at a locus are detected with intensities or     tively long strands of contaminating DNA have lysed, con-
counts that are not representative of the actual amounts of 50 taminating the mixed sample of short DNA with the long
alleles in the sample of DNA. For example, for a single             DNA. Typically the relatively short annealing and extension
individual, at a heterozygous locus we expect to see a 1: 1         times are between 30 seconds and 2 minutes, though they
ratio of the two alleles, which is the theoretical ratio            could be as short as 5 or 10 seconds or less, or as long as 5
expected for a heterozygous locus; however due to allele            or 10 minutes.
bias, we may see 55:45, or even 60:40. Also note that in the 55
context of sequencing, if the depth of read is low, then                                      Example 7
simple stochastic noise could result in significant allele bias.
In an embodiment, it is possible to model the behavior of              The following protocol was used for 1,200-plex amplifi-
each SNP such that if a consistent bias is observed for             cation of DNA isolated from maternal plasma from a euploid
particular alleles, this bias can be corrected for. FIG. 18 60 pregnancy and also genomic DNA from a triploidy 21 cell
shows the fraction of data that can be explained by binomial        line using a direct PCR protocol, and also a semi-nested
variance, before and after bias correction. In FIG. 18, the         approach. Library preparation and amplification involved
stars represent the observed allele bias on raw sequence data       single tube blunt ending followed by A-tailing. Adaptor
for the 800-plex experiment; the circles represent the allele       ligation was run using a modification of the ligation kit
bias after correction. Note that if there were no allele bias at 65 found in the AGILENT SURESELECT kit, and PCR was
all, we would expect the data to fall along the x=y line. A         run for 7 cycles. In the targeted primer pool, there were 550
similar set of data that was produced by amplifying DNA             assays for SNPs from chromosome 21, and 325 assays for




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SNPs from each of chromosomes 1 and X. Both protocols                                           Example 9
involved 15 cycles of STA (95° C. for 30 s; 72° C. for 1 min;
60° C. for 4 min; 65° C. for 30 s; 72° C. for 30 s) using 16            In one experiment, four maternal plasma samples were
nM primer concentration. The semi-nested PCR protocol                prepared and amplified using a hemi-nested 9,600-plex
involved a second amplification of 15 cycles of STA (95° C. 5 protocol. The samples were prepared in the following way:
for 30 s; 72° C. for 1 min; 60° C. for 4 min; 65° C. for 30          Up to 40 mL of maternal blood were centrifuged to isolate
s; 72° C. for 30 s) using an inner forward tag concentration         the buffy coat and the plasma. The genomic DNA in the
of29 nM, and a reverse tag concentration of 1 uM or0.l uM.           maternal sample was prepared from the buffy coat and
The DNA was then sequenced with an ILLUMINA IIGAX                    paternal DNA was prepared from a blood sample or saliva
                                                                  10 sample. Cell-free DNA in the maternal plasma was isolated
sequencer. For the direct PCR protocol, 73% of the reads
                                                                     using the QIAGEN CIRCULATING NUCLEIC ACID kit
map to the genome; for the semi-nested protocol, 97.2% of
                                                                     and eluted in 45 uL TE buffer according to manufacturer's
the sequence reads map to the genome. Therefore, the
                                                                     instructions. Universal ligation adapters were appended to
semi-nested protocol result in approximately 30% more                the end of each molecule of 35 uL of purified plasma DNA
information, presumably mostly due to the elimination of 15 and libraries were amplified for 7 cycles using adaptor
primers that are most likely to cause primer dimers.                 specific primers. Libraries were purified with AGEN-
   The depth of read variability tends to be higher when             COURT AMPURE beads and eluted in 50 ul water.
using the semi-nested protocol than when the direct PCR                 3 ul of the DNA was amplified with 15 cycles ofSTA(95°
protocol is used (see FIG. 20) where the diamonds refer to           C. for 10 min for initial polymerase activation, then 15
the depth of read for loci run with the semi-nested protocol, 20 cycles of 95° C. for 30 s; 72° C. for 10 s; 65° C. for 1 min;
and the squares refer to the depth of read for loci run with         60° C. for 8 min; 65° C. for 3 min and 72° C. for 30 s; and
no nesting. The SNPs are arranged by depth of read for the           a final extension at 72° C. for 2 min) using 14.5 nM primer
diamonds, so the diamonds all fall on a curved line, while           concentration of 9600 target-specific tagged reverse primers
the squares appear to be loosely correlated; the arrangements        and one library adaptor specific forward primer at 500 nM.
of the SNPs is arbitrary, and it is the height of the dot that 25       The hemi-nested PCR protocol involved a second ampli-
denotes depth of read rather than its location left to right.        fication of a dilution of the first STAs product for 15 cycles
   In some embodiments, the methods described herein can             of STA (95° C. for 10 min for initial polymerase activation,
achieve excellent depth of read (DOR) variances. For                 then 15 cycles of 95° C. for 30 s; 65° C. for 1 min; 60° C.
example, in one version of this Example (FIG. 21) using a            for 5 min; 65° C. for 5 min and 72° C. for 30 s; and a final
1,200-plex direct PCR amplification of genomic DNA, of 30 extension at 72° C. for 2 min) using reverse tag concentra-
the 1,200 assays: 1186 assays had a DOR greater than 10;             tion of 1000 nM, and a concentration of 16.6 u nM for each
the average depth of read was 400; 1063 assays (88.6%) had           of 9600 target-specific forward primers.
a depth of read of between 200 and 800, and ideal window                An aliquot of the STA products was then amplified by
where the number of reads for each allele is high enough to          standard PCR for 10 cycles with 1 uM of tag-specific
give meaningful data, while the number of reads for each 35 forward and barcoded reverse primers to generate barcoded
allele is not so high that the marginal use of those reads was       sequencing libraries. An aliquot of each library was mixed
particularly small. Only 12 alleles had higher depth of read         with libraries of different barcodes and purified using a spin
with the highest at 1035 reads. The standard deviation of the        column.
DOR was 290, the average DOR was 453, the coefficient of                In this way, 9,600 primers were used in the single-well
variance of the DOR was 64%, there were 950,000 total 40 reactions; the primers were designed to target SNPs found
reads, and 63.1 % of the reads mapped to the genome. In              on chromosomes 1, 2, 13, 18, 21, X and Y. The amplicons
another experiment (FIG. 22) using a 1,200-plex semi-                were then sequenced using an ILLUMINA GAIIX
nested protocol, the DOR was higher. The standard devia-             sequencer. Per sample, approximately 3.9 million reads were
tion of the DOR was 583, the average DOR was 630, the                generated by the sequencer, with 3.7 million reads mapping
coefficient of variance of the DOR was 93%, there were 45 to the genome (94%), and of those, 2.9 million reads (74%)
870,000 total reads, and 96.3% of the reads mapped to the            mapped to targeted SNPs with an average depth of read of
genome. Note, in both these cases. the SNPs are arranged by          344 and a median depth ofread of 255. The fetal fraction for
the depth of read for the mother, so the curved line repre-          the four samples was found to be 9.9%, 18.9%, 16.3%, and
sents the maternal depth of read. The differentiation between        21.2%
child and father is not significant; it is only the trend that is 50    Relevant maternal and paternal genomic DNA samples
significant for the purpose of this explanation.                     amplified using a semi-nested 9600-plex protocol and
                                                                     sequenced. The semi-nested protocol is different in that it
                           Example 8                                 applies 9,600 outer forward primers and tagged reverse
                                                                     primers at 7.3 nM in the first STA. Thermocycling condi-
   In an experiment, the semi-nested 1,200-plex PCR pro- 55 tions and composition of the second STA, and the barcoding
tocol was used to amplify DNA from one cell and from three           PCR were the same as for the hemi-nested protocol.
cells. This experiment is relevant to prenatal aneuploidy               The sequencing data was analyzed using informatics
testing using fetal cells isolated from maternal blood, or for       methods disclosed herein and the ploidy state was called at
preimplantation genetic diagnosis using biopsied blasto-             six chromosomes for the fetuses whose DNA was present in
meres or trophectoderm samples. There were 3 replicates of 60 the 4 maternal plasma samples. The ploidy calls for all 28
1 and 3 cells from 2 individuals (46 XYand 47 XX+21) per             chromosomes in the set were called correctly with confi-
condition. Assays targeted chromosomes 1, 21 and X. Three            dences above 99.2% except for one chromosome that was
different lysis methods were used: ARCTURUS, MPERv2                  called correctly, but with a confidence of 83%.
and Alkaline lysis. Sequencing was run multiplexing 48                  FIG. 23 shows the depth of read of the 9,600-plex
samples in one sequencing lane. The algorithm returned 65 hemi-nesting approach along with the depth of read of the
correct ploidy calls for each of the three chromosomes, and          1,200-plex semi-nested approach described in Example 7,
for each of the replicates.                                          though the number of SNPs with a depth of read greater than




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100, greater than 200 and greater than 400 was significantly      cycles respectively. The ploidy calls for 27 of 28 chromo-
higher than in the 1,200-plex protocol. The number ofreads        somes in the set were called correctly with confidences
at the 90th percentile can be divided by the number ofreads       above 99.9%, except for one that was called correctly with
at the 10th percentile to give a dimensionless metric that is     94.6%, and one missed call with a confidence of 80.8%. 3.5
indicative of the uniformity of the depth ofread; the smaller 5 million reads mapped to targeted SNPs, the average depth of
the number, the more uniform (narrow) the depth of read.          read was 414 and the median depth of read was 249.
The average 90th percentile/I 0th percentile ratio is 11.5 for
the method run in Example 9, while it is 5.6 for the method                                 Example 14
run in Example 7. A narrower depth of read for a given
protocol plexity is better for sequencing efficiency, as fewer 10    In one Example 45 sets of cells were amplified using a
sequence reads are necessary to ensure that a certain per-        1,200-plex   semi-nested protocol, sequenced, and ploidy
centage of reads are above a read number threshold.               determinations were made at three chromosomes. Note that
                                                                  this experiment is meant to simulate the conditions of
                           Example 10                             performing pre-implantation genetic diagnosis on single-cell
                                                               15 biopsies from day 3 embryos, or trophectoderm biopsies
   In one experiment, four maternal plasma samples were           from day 5 embryos. 15 individual single cells and 30 sets
prepared and amplified using a semi-nested 9,600-plex             of three cells were placed in 45 individual reaction tubes for
protocol. Details of Example 10 were very similar to              a total of 45 reactions where each reaction contained cells
Example 9, the exception being the nesting protocol, and          from only one cell line, but the different reactions contained
including the identity of the four samples. The ploidy calls 20 cells from different cell lines. The cells were prepared into
for all 28 chromosomes in the set were called correctly with      5 ul washing buffer and lysed the by adding 5 ul ARCTU-
confidences above 99.7%. 7.6 million (97%) of reads               RUS PICOPURE lysis buffer (APPLIED BIOSYSTEMS)
mapped to the genome, and 6.3 million (80%) of the reads          and incubating at 56° C. for 20 min, 95° C. for 10 min ..
mapped to the targeted SNPs. The average depth of read was           The DNA of the single/three cells was amplified with 25
751, and the median depth ofread was 396.                      25 cycles of STA (95° C. for 10 min for initial polymerase
                                                                  activation, then 25 cycles of 95° C. for 30 s; 72° C. for 10
                           Example 11                             s; 65° C. for 1 min; 60° C. for 8 min; 65° C. for 3 min and
                                                                  72° C. for 30 s; and a final extension at 72° C. for 2 min)
   In one experiment, three maternal plasma samples were          using 50 nM primer concentration of 1200 target-specific
split into five equal portions, and each portion was amplified 30 forward and tagged reverse primers.
using either 2,400 multiplexed primers (four portions) or            The semi-nested PCR protocol involved three parallel
1,200 multiplexed primers (one portion) and amplified using       second amplification of a dilution of the first STAs product
a semi-nested protocol, for a total of 10,800 primers. After      for 20 cycles of STA (95° C. for 10 min for initial poly-
amplification, the portions were pooled together for              merase activation, then 15 cycles of 95° C. for 30 s; 65° C.
sequencing. Details of Example 11 were very similar to 35 for 1 min; 60° C. for 5 min; 65° C. for 5 min and 72° C. for
Example 9, the exception being the nesting protocol, and the      30 s; and a final extension at 72° C. for 2 min) using reverse
split and pool approach. The ploidy calls for all 21 chro-        tag specific primer concentration of 1000 nM, and a con-
mosomes in the set were called correctly with confidences         centration of 60 nM for each of 400 target-specific nested
above 99.7%, except for one missed call where the confi-          forward primers. In the three parallel 400-plex reactions the
dence was 83%. 3.4 million reads mapped to targeted SNPs, 40 total of 1200 targets amplified in the first STA were thus
the average depth of read was 404 and the median depth of         amplified.
read was 258.                                                        An aliquot of the STA products was then amplified by
                                                                  standard PCR for 15 cycles with 1 uM of tag-specific
                           Example 12                             forward and barcoded reverse primers to generate barcoded
                                                               45 sequencing libraries. An aliquot of each library was mixed
   In one experiment, four maternal plasma samples were           with libraries of different barcodes and purified using a spin
split into four equal portions, and each portion was amplified    column.
using 2,400 multiplexed primers and amplified using a                In this way, 1,200 primers were used in the single cell
semi-nested protocol, for a total of 9,600 primers. After         reactions; the primers were designed to target SNPs found
amplification, the portions were pooled together for 50 on chromosomes 1, 21 and X. The amplicons were then
sequencing. Details of Example 12 were very similar to            sequenced using an ILLUMINA GAIIX sequencer. Per
Example 9, the exception being the nesting protocol, and the      sample, approximately 3.9 million reads were generated by
split and pool approach. The ploidy calls for all 28 chro-        the sequencer, with 500,000 to 800,000 million reads map-
mosomes in the set were called correctly with confidences         ping to the genome (74% to 94% of all reads per sample).
above 97%, except for one missed call where the confidence 55        Relevant maternal and paternal genomic DNA samples
was 78%. 4.5 million reads mapped to targeted SNPs, the           from cell lines were analyzed using the same semi-nested
average depth of read was 535 and the median depth of read        1200-plex assay pool with a similar protocol with fewer
was 412.                                                          cycles and 1200-plex second STA, and sequenced.
                                                                     The sequencing data was analyzed using informatics
                           Example 13                          60 methods disclosed herein and the ploidy state was called at
                                                                  the three chromosomes for the samples.
   In one experiment, four maternal plasma samples were              FIG. 24 shows normalized depth of read ratios (vertical
prepared and amplified using a 9,600-plex triply hemi-            axis) for six samples at three chromosomes (1 =chrom 1;
nested protocol, for a total of 9,600 primers. Details of         2=chrom 21; 3=chrom X). The ratios were set to be equal to
Example 12 were very similar to Example 9, the exception 65 the number of reads mapping to that chromosome, normal-
being the nesting protocol which involved three rounds of         ized, and divided by the number of reads mapping to that
amplification; the three rounds involved 15, 10 and 15 STA        chromosome averaged over three wells each comprising




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three 46XY cells. The three sets of data points corresponding      primer concentration of 19,488 target-specific tagged
to the 46XY reactions are expected to have ratios of 1: 1. The     reverse primers and one library adaptor specific forward
three sets of data points corresponding to the 47XX+21 cells       primer at 500 nM.
are expected to have ratios of 1:1 for chromosome 1, 1.5:1            The hemi-nested PCR protocol involved a second ampli-
for chromosome 21, and 2:1 for chromosome X.                     5 fication of a dilution of the STAR 1 product for 15 cycles
   FIG. 25A-25C show allele ratios plotted for three chro-         (STAR 2) (95° C. for 10 min for initial polymerase activa-
mosomes (1, 21, X) for three reaction. The reaction in the         tion, then 15 cycles of 95° C. for 30 s; 65° C. for 1 min; 60°
lower left shows a reaction on three 46XY cells (FIG. 25B).        C. for 5 min; 65° C. for 5 min and 72° C. for 30 s; and a final
The left region are the allele ratios for chromosome 1, the        extension at 72° C. for 2 min) using reverse tag concentra-
                                                                10
middle region are the allele ratios for chromosome 21, and         tion of 1000 nM, and a concentration of 20 nM for each of
the right region are the allele ratios for chromosome X. For       19,488 target-specific forward primers.
the 46XY cells, for chromosome 1 we expect to see ratios of           An aliquot of the STAR 2 products was then amplified by
1, 0.5 and 0, corresponding to AA, AB and BB SNP                   standard PCR for 12 cycles with 1 uM of tag-specific
genotypes. For the 46XY cells, for chromosome 21 we 15 forward and barcoded reverse primers to generate barcoded
expect to see ratios of 1, 0.5 and 0, corresponding to AA, AB      sequencing libraries. An aliquot of each library was mixed
and BB SNP genotypes. For the 46XY cells, for chromo-              with libraries of different barcodes and purified using a spin
some X we expect to see ratios of 1 and 0, corresponding to        column.
A, and B SNP genotypes. The reaction in the lower right               In this way, 19,488 primers were used in the single-well
shows a reaction on three 47XX+21 cells (FIG. 25C). The 20 reactions; the primers were designed to target SNPs found
allele ratios are segregated by chromosome as in the lower         on chromosomes 1, 2, 13, 18, 21, X and Y. The amplicons
left graph. For the 47XX+21 cells, for chromosome 1 we             were then sequenced using an ILLUMINA GAIIX
expect to see ratios of 1, 0.5 and 0, corresponding to AA, AB      sequencer. For plasma samples, approximately 10 million
and BB SNP genotypes. For the 47XX+21 cells, for chro-             reads were generated by the sequencer, with 9.4-9.6 million
mosome 21 we expect to see ratios of 1, 0.67, 0.33 and 0, 25 reads mapping to the genome (94-96% ), and of those,
corresponding to AAA, AAB, ABB and BBB SNP geno-                   99.95% mapped to targeted SNPs with a mean depth ofread
types. For the 47XX+21 cells, for chromosome X we expect           of 460 and a median depth of read of 350. For comparison,
to see ratios of 1, 0.5 and 0, corresponding to AA, AB, and        a perfectly even distribution would be: l0M reads/19,488
BB SNP genotypes. The plot in the upper right was made on          targets=513 reads/target. For primer-dimers, 30,000 reads
a reaction comprising 1 ng of genomic DNA from the 30 were from sequenced primer-dimers (0.3% of the reads
47XX+21 cell line (FIG. 25A). FIGs. and 26B shows the              generated by the sequencer). For genomic samples, 99.4-
same graphs as in FIG. 25A-25C, but for reactions per-             99.7% of the reads mapped to the genome, of those, 99.99%
formed on only one cell. The left graph was a reaction that        of the mapped to targeted SNPs, and 0.1 % of the reads
contained a 47XX+21 cell (FIG. 26A), and the right graph           generated by the sequencer were primer-dimers.
was for a reaction that contained a 46XX cell (FIG. 26B). 35          For plasma samples with 10 million sequencing reads,
   From the graphs shown in FIGS. 25A-25C and FIGS. 26A            typically at least 19,350 of the 19,488 targeted SNPs
and 26B, it is visually apparent that there are two clusters of    (99.3%) are amplified and sequenced. For DNA samples
dots for chromosomes where we expect to see ratios of 1 and        with 2M sequencing reads, typically at least 19,000 targeted
0; three clusters of dots for chromosomes where we expect          SNPs (97 .5%) are amplified and sequenced. The lower
to see ratios of 1, 0.5, and 0, and four clusters of dots for 40 number may be due to sampling noise since the number of
chromosomes where we expect to see ratios of 1, 0.67, 0.33         reads is lower and the sequencer misses some of the ampli-
and 0. The parental support algorithm was able to make             fied products. If desired, the number of sequencing reads can
correct calls on all of the three chromosomes for all of the       be increased to increase the number of targeted SNPs that
45 reactions.                                                      are amplified and sequenced.
                                                                45    Relevant maternal and paternal genomic DNA samples
                          Example 15                               amplified using a semi-nested 19,488 outer forward primers
                                                                   and tagged reverse primers at 7.5 nM in the STAR 1.
   In one experiment, maternal plasma samples were pre-            Thermocycling conditions and composition of STAR 2, and
pared and amplified using a hemi-nested 19,488-plex pro-           the barcoding PCR were the same as for the hemi-nested
tocol. The samples were prepared in the following way: up 50 protocol.
to 20 mL of maternal blood were centrifuged to isolate the            The average fetal fraction for 407 samples was found to
buffy coat and the plasma. The genomic DNA in the mater-           be 14.8%. The sequencing data was analyzed using infor-
nal sample was prepared from the buffy coat and paternal           matics methods disclosed herein and the ploidy state was
DNA was prepared from a blood sample or saliva sample.             called at four chromosomes (13, 18, 21, Y) for the fetuses
Cell-free DNA in the maternal plasma was isolated using the 55 whose DNA was present in 378 of the 407 maternal plasma
QIAGEN CIRCULATING NUCLEIC ACID kit and eluted                     samples, and at chromosome X in 375 of the 407 maternal
in 50 uL TE buffer according to manufacturer's instructions.       plasma samples. The ploidy calls for all 1,887 chromosomes
Universal ligation adapters were appended to the end of each       in the set were called correctly with confidences above 90%.
molecule of 40 uL of purified plasma DNA and libraries             1882 of the 1887 calls were above 95%; and 1,862 of the
were amplified for 9 cycles using adaptor specific primers. 60 1,887 calls were called with confidences above 99%.
Libraries were purified with AGENCOURT AMPURE                         A similar control experiment was performed using water
beads and eluted in 50 ul DNA suspension buffer.                   instead of DNA extracted from plasma in the plasma PCR
   6 ul of the DNA was amplified with 15 cycles of STAR            protocol. Based on six such trials of an experiment, 5-6% of
1 (95° C. for 10 min for initial polymerase activation, then       the sequenced reads were primer-dimers. Other sequenced
15 cycles of 96° C. for 30 s; 65° C. for 1 min; 58° C. for 6 65 reads were due to background noise. This experiment dem-
min; 60° C. for 8 min; 65° C. for 4 min and 72° C. for 30          onstrates that even in the absence of a nucleic acid sample
s; and a final extension at 72° C. for 2 min) using 7.5 nM         with target loci for the primers to hybridize to (rather than




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hybridizing to other primers and forming amplified primer             H. T. & SantaLucia, J., Jr. (1997), "Thermodynamics and
dimers) few primer dimers are formed.                                 NMR of Internal G-T Mismatches in DNA", Biochemistry
                                                                      36, 10581-10594; MultiPLX 2.1 (Kaplinski L, Andreson R,
                          Example 16                                  Puurand T, Remm M. MultiPLX: automatic grouping and
                                                                      evaluation of PCR primers. Bioinformatics. 2005 Apr. 15;
   The following Example illustrates an exemplary method              21(8):1701-2, which are each hereby incorporated by refer-
for designing and selecting a library of primers that can be          ence in its entirety). This step resulted in a 2D matrix of
used in any of the multiplexed PCR methods of the inven-              interaction scores. The interaction score predicted the like-
tion. The goal is to select primers from an initial library of        lihood of primer-dimers involving the two interacting prim-
candidate primers that can be used to simultaneously 10 ers. The score was calculated as follows:
amplify a large number of target loci (or a subset of target
loci) in a single reaction. For an initial set of candidate target            interaction_score~max(-deltaG_2,0. 8* (-deltaG_l))
loci, primers did not have to be designed or selected for each           where
target locus. Preferably, primers are designed and selected              deltaG_2=Gibbs energy (energy required to break the
for a large portion of the most desirable target loci.             15 dimer) for a dimer that is extensible by PCR on both ends,
Step 1                                                                i.e., the 3' end of each primer anneals to the other primer; and
   A set of candidate target loci (such as SNPs) were selected           deltaG_l =Gibbs energy for a dimer that is extensible by
based on publically available information about desired               PCR on at least one end.
parameters for the target loci, such as frequency of the SNPs         Step 3:
within a target population or heterozygosity rate of the SNPs 20         For each target locus, if there was more than one primer-
(worldwide web at ncbi.nlm.nih.gov/projects/SNP/; Sherry              pair design, then one design was selected using the follow-
S T, Ward M H, Kholodov M, et al. dbSNP: the NCBI                     ing method:
database of genetic variation. Nucleic Acids Res. 2001 Jan.              For each primer-pair design for the locus, find the worst-
1; 29(1 ):308-11, which are each incorporated by reference in         case (highest) interaction score for the two primers in that
its entirety). For each candidate locus, one or more PCR 25 design and all primers from all designs for all other target
primer pairs were designed using the Primer3 program (the             loci.
worldwide web at primer3.sourceforge.net; libprimer3                     Pick the design with the best (lowest) worst-case inter-
release 2.2.3, which is hereby incorporated by reference in           action score.
its entirety). If there were no feasible designs for PCR              Step 4
primers for a particular target locus, then that target locus 30         A graph was built such that each node represented one
was eliminated from further consideration. If desired, a              locus and its associated primer-pair design (e.g., a Maximal
"target locus score" (higher score representing higher desir-         Clique problem). One edge was created between every pair
ability) can be calculated for most or all of the target loci,        of nodes. A weight was assigned to each edge equal to the
such as a target locus score calculated based on a weighted           worst-case (highest) interaction score between the primers
average of various desired parameters for the target loci. The 35 associated with the two nodes connected by the edge.
parameters may be assigned different weights based on their           Step 5
importance for the particular application that the primers               If desired, for every pair of designs for two different target
will be used for. Exemplary parameters include the heterozy-          loci where one of the primers from one design and one of the
gosity rate of the target locus, the disease prevalence asso-         primers from the other design would anneal to overlapping
ciated with a sequence (e.g., a polymorphism) at the target 40 target regions, an additional edge was added between the
locus, the disease penetrance associated with a sequence              nodes for the two design. The weight of these edges was set
(e.g., a polymorphism) at the target locus, the specificity of        equal to the highest weight assigned in Step 4. Thus, Step 5
the candidate primer(s) used to amplify the target locus, the         prevents the library from having primers that would anneal
size of the candidate primer(s) used to amply the target              to overlapping target regions, and thus interfere with each
locus, and the size of the target amplicon. In some embodi- 45 other during a multiplex PCR reaction.
ments, the specificity of the candidate primer for the target         Step 6
locus includes the likelihood that the candidate primer will             An initial interaction score threshold was calculated as
mis-prime by binding and amplifying a locus other than the            follows:
target locus it was designed to amplify. In some embodi-
ments, one or more or all the candidate primers that mis- 50                  weight_threshold~max(edge_weight)-0.05*(max
prime are removed from the library.                                                (edge_weight)-min( edge_weight))
Step 2                                                                   where
   A thermodynamic interaction score was calculated                      max(edge_weight) is the maximum edge weight in the
between each primer and all primers for all other target loci         graph; and
from Step 1 (see, e.g., Allawi, H. T. & SantaLucia, J., Jr. 55           min(edge_weight) is the minimum edge weight in the
(1998), "Thermodynamics of Internal C-T Mismatches in                 graph.
DNA", Nucleic Acids Res. 26, 2694-2701; Peyret, N., Sen-
                                                                         The initial bounds for the threshold were set as follows:
eviratne, P. A., Allawi, H. T. & SantaLucia, J., Jr. (1999),
"Nearest-Neighbor Thermodynamics and NMR of DNA                               max_weight_threshold~max(edge_weight)
Sequences with Internal A-A, C-C, G-G, and T-T Mis- 60
matches", Biochemistry 38, 3468-3477; Allawi, H. T. &
                                                                              min_weight_threshold~min(edge_weight)
SantaLucia, J., Jr. (1998), "Nearest-Neighbor Thermody-
namics of Internal A-C Mismatches in DNA: Sequence                    Step 7
Dependence and pH Effects", Biochemistry 37, 9435-9444.;                 A new graph was constructed consisting of the same set
Allawi, H. T. & SantaLucia, J., Jr. (1998), "Nearest Neigh- 65 of nodes as the graph from Step 5, only including edges with
bor Thermodynamic Parameters for Internal G-A Mis-                    weights that exceed weight_threshold. Thus, step ignores
matches in DNA", Biochemistry 37, 2170-2179; andAllawi,               interactions with scores equal to or below wcight_thrcshold.




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Step 8                                                            maternal genomic DNA was isolated from the buffy coat
   Nodes (and all of the edges connected to the removed           obtained following the first centrifugation, and pure paternal
nodes) were removed from the graph of Step 7 until there          genomic DNA was prepared similarly from a blood, saliva
were no edges left. Nodes were removed by applying the            or buccal sample.
following procedure repeatedly:                                      Maternal cfDNA, maternal genomic DNA, and paternal
   Find the node with the highest degree (highest number of       genomic DNA samples were pre-amplified for 15 cycles
edges). If there is more than one then pick one arbitrarily.      using 11,000 target-specific assays and an aliquot was trans-
   Define the set of nodes consisting of the node picked          ferred to a second PCR reaction of 15 cycles using nested
above and all of the nodes connected to it, but excluding any     primers. Finally, samples were prepared for sequencing by
nodes that have degree less than the node picked above.        10
                                                                  adding barcoded tags in a third 12-cycle round of PCR.
   Choose the node from the set that has the lowest target
                                                                  Thus, 11,000 targets were amplified in a single reaction; the
locus score (lower score representing lower desirability)
                                                                  targets included SNPs found on chromosomes 13, 18, 21, X,
from Step 1. Remove that node from the graph.
Step 9                                                            and Y. The amplicons were then sequenced using an ILLU-
   If the number of nodes remaining in the graph satisfies the 15 MINA GAIIx or HISEQ sequencer. Parental genotypes were
required number of target loci for the multiplexed PCR pool       sequenced at a lower read depth (-20% of cfDNA read
(within an acceptable tolerance), then the method was con-        depth) than the fetal genotypes.
tinued at Step 10.
   If there were too many or too few nodes remaining in the                               Example 18
graph, then a binary search was performed to determine 20
what threshold values would result in the desired number of           If desired, the size and quantity of the PCR products can
nodes remaining in the graphs. If there were too many nodes        be analyzed using standard methods, such as the use of the
in the graph then, the weight threshold bounds were adjusted       Agilent Technologies 2100 Bioanalyzer (FIG. 28A-M). For
as follows:                                                        example, direct PCR methods described herein without
                                                                25 nesting were used in 2,400-plex (FIGS. 28B-28G) and
       max_weight_threshold~weight_threshold
                                                                   19,488-plex experiments (FIGS. 28H to 28M). The amount
   Otherwise (if there are two few nodes in the graph), then       of primer was 10 nM for FIGS. 28B-28D and 28H to 281.
the weight threshold bounds were adjusted as follows:              The amount of primer was 1 nM for FIGS. 28E-28G and
                                                                   28K to 28M. The amount of input DNA was 24 ng for FIGS.
       min_weight_threshold~weight_threshold                    30 28B, 28E, 28H, and 28K; 80 ng for FIGS. 28C, 28F, 28, and
   Then, the weight threshold was adjusted follows:                28L; and 250 ng for FIGS. 28D, 28G, 281, and 28M. More
                                                                   input DNA resulted in a greater proportion of the desired 180
       weight_threshold~(max_weight_threshold+min_
           weight_threshold)/2                                     base pair product. The peak at 140 base pairs is a primer
                                                                   dimer product.
   Steps 7-9 were repeated.                                     35
Step 10                                                                                      Example 19
   The primer-pair designs associated with the nodes
remaining in the graph were selected for the library of               A proof-of-principle study demonstrated the detection of
primers. This primer library can be used in any of the
                                                                   Tl3, TIS, T21, 45,X, and 47,XXY with equally high accu-
methods of the invention.                                       40
                                                                   racies across all chromosomes.
   If desired, this method of designing and selecting primers
                                                                   Patients
can be performed for primer libraries in which only one
primer (instead of a primer pair) is used for amplification of        Pregnant couples were enrolled at specific prenatal care
a target locus. In this case, a node presents one primer per       centers under protocols approved by an Institutional Review
target locus (rather than a primer pair).                       45 Board pursuant to local laws. Inclusion criteria were at least
                                                                   18 years of age, gestational age of at least nine weeks,
                            Example 17                             singleton pregnancies, and signed informed consent. Blood
                                                                   samples were drawn from pregnant mothers, and a blood or
   FIG. 27 is a graph comparing two primer libraries               buccal sample was collected from the father. Samples from
designed using the methods of the invention. This graph 50 2 pregnancies with Tl3 (Patau Syndrome), 2 with TIS
shows the number of loci with a particular minor allele            (Edwards Syndrome), 2 with T21 (Down's Syndrome), 2
frequency that are targeted by each primer library. During         with 45,X, 2 with 47,XXY, and 90 normal pregnancies were
the selection of the "new pool" library, more primers were         selected prior to testing from a cohort of -500 women to test
retained. This library enables the amplification of more           which chromosomal abnormalities the method detects. Nor-
target loci, especially target loci with relatively large minor 55 ma! fetal karyotype was confirmed by molecular karyotyp-
allele frequencies (which are the more informative alleles         ing for the samples where post-birth child tissue was avail-
for some method of the invention, such as for detecting fetal      able. Euploid sample were drawn prior to invasive testing
chromosomal abnormalities).                                        from low-risk women. Aneuploid samples were drawn at
   These primer libraries were used in the following multi-        least 7 days after invasive testing and aneuploidy was
plex PCR method. Blood (20-40 mL) was collected from 60 confirmed via cytogenetic karyotyping or fluorescence in
each subject into two to four CELL-FREE™ DNA tubes                 situ hybridization at independent laboratories.
(Streck). Plasma (a minimum of 7 mL) was isolated from             Sample Preparation and Multiplex PCR
each sample via a double centrifugation protocol of 2,000 g           For the data in FIGS. 30, 30D, 30E, 30G, and 30H, and
for 20 min, followed by 3,220 g for 30 min, with supernatant       31A-31G, sample preparation and 19,488-plex-PCR were
transfer following the first spin. cfDNA was isolated from 65 performed as described in Example 15. For the data in FIG.
7-20 mL plasma using the QIAGEN QIAamp Circulating                 30F, sample preparation and 11,000-plex-PCR were per-
Nucleic Acid kit and eluted in 45 uL TE buffer. Pure               formed as described in Example 17.




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Methodology and Data Analysis                                       and the majority of trisomies are maternally-inherited; this
   The algoritlnn considers parental genotypes and crossover        assists in visualizing ploidy states. Specifically, SNPs for
frequency data (such as data from the HapMap database) to           which the maternal genotype is AA may be indicated in red,
calculate expected allele distributions for 19,488 polymor-         those for which the maternal genotype is AB may be
phic loci for a very large number possible fetal ploidy states, 5 indicated in green, and those for which the maternal geno-
and at various fetal cfDNA fractions. (FIG. 29). Unlike allele      type is BB may be indicated in blue.
ratio based-methods, it also takes into account linkage                In all cases, SNPs that are homozygous for the A allele
disequilibrium, and uses non-Gaussian data models to                (AA) in both the mother and the fetus are found tightly
describe the expected distribution of allele measurements at        associated with the upper limit of the plots, as the fraction
a SNP given observed platform characteristics and amplifi- 10 of A allele reads is high because there should be no B alleles
cation biases. It then compares the various predicted allele        present. Conversely, SNPs that are homozygous for the B
distributions to the actual allelic distributions as measured in    allele in both the mother and the fetus are found tightly
the cfDNA sample (FIG. 29 step C), and calculates the               associated with the lower limit of the plots, as the fraction
likelihood of each hypothesis (monosomy, disomy, or tri-            of A allele reads is low because there should be only B
somy, for which there are numerous hypotheses based on the 15 alleles. The spots that are not tightly associated with the
various potential crossovers) based on the sequencing data.         upper and lower limits of the plots represent SNPs for which
The algoritlnn sums the likelihoods of each individual              the mother, the fetus, or both are heterozygous; these spots
monosomy, disomy, or trisomy hypotheses (FIG. 29 step D),           are useful for identifying fetal ploidy, but can also be
and calls the ploidy state with the maximum overall likeli-         informative for determining paternal versus maternal inheri-
hood as the copy number and fetal fraction (FIG. 29 step E). 20 tance. These spots segregate based on both maternal and
Although laboratory researchers were not blinded to sample          fetal genotypes and fetal fraction, and as such the precise
karyotype, the algoritlnn called the ploidy states without          position of each individual spot along the y-axis depends on
human intervention and was blind to the truth.                      both stoichiometry and fetal fraction. For example, loci
Data Interpretation                                                 where the mother is AA and the fetus is AB are expected to
Graphical Representations of the Generated Data                  25 have a different fraction of A allele reads, and thus different
   To determine the ploidy state of a chromosome of interest,       positioning along the y-axis, depending on the fetal fraction.
the algoritlnn considers the distribution of sequence counts        Two Chromosomes Present
from each of two possible alleles at 3,000 to 4,000 SNPs per           FIG. 30 depict data that indicate the presence of two
chromosome. It is important to note that the algoritlnn             chromosomes when the sample is entirely maternal (no fetal
makes ploidy calls using an approach that does not lend 30 cfDNA present, FIG. 30 (0% FF plot)), contains a moderate
itself to visualization. Thus, for the purposes of illustration,    fetal cfDNA fraction (FIG. 30 (12% FF plot)), or contains a
the data is displayed here in a simplified fashion as ratios of     high fetal cfDNA fraction (FIG. 30 (26% FF plot)).
the two most likely alleles, labeled as A and B, so that the           FIG. 30, 0% FF plot, shows data obtained from cfDNA
relevant trends can be more readily visualized. This simpli-        isolated from the blood of a non-pregnant woman. When
fied illustration does not take into account some of the 35 there is no fetal cfDNA present and the sample contains only
features of the algoritlnn. For example, two important              maternal cfDNA, the plots represent purely the euploid
aspects of the algoritlnn that are not possible to illustrate       maternal genotype; the hallmark pattern includes "clusters"
with a method of visualization that displays allele ratios are:     of spots: a filled circle cluster tightly associated with the top
1) the ability to leverage linkage disequilibrium, i.e. the         of the plot (SNPs where the maternal genotype is AA), a
influence that a measurement at one SNP has on the likely 40 filled square cluster tightly associated with the bottom of the
identity of a neighboring SNP, and 2) the use of non-               plot (SNPs where the maternal genotype is BB), and a
Gaussian data models that describe the expected distribution        single, centered open triangle cluster (SNPs where the
of allele measurements at a SNP given platform character-           maternal genotype is AB).
istics and amplification biases. Also note that the algoritlnn         When fetal cfDNA is present, the location of the spots
only considers the two most common alleles at each SNP, 45 shifts such that the clusters segregate into discrete "bands".
ignoring other possible alleles.                                    Note that for samples with a fetal fraction of 0%, the
   The graphical representations in FIGS. 30, 30D-30H               groupings of spots are referred to as "clusters" (as in FIG.
include samples for which two, one, or three fetal chromo-          30, 0% FF plot), and for all samples with a fetal fraction of
somes are present. Generally, these indicate euploidy (FIG.         >0%, the groupings of spots are referred to as "bands" (as in
30) monosomy (FIG. 30D), and trisomy (FIGS. 30E-30H), 50 FIG. 30 (12% FF plot), 30 (26% FF plot), 30D-30J). If the
respectively. In all plots, each spot represents a single SNP,      fetal fraction is high enough, these discrete bands will be
where the targeted SNPs are plotted sequentially from left to       readily visible. Specifically, FIG. 30 12% and 26% FF plots
right for one chromosome along the horizontal axes. The             demonstrate the characteristic pattern associated with two
vertical axes indicate the number of reads for the A allele as      fetal chromosomes present at moderate and high fetal frac-
a fraction of the total number of reads for both the A and B 55 tions, respectively. This pattern includes three central open
alleles for that SNP. Note that the measurements are made on        triangle bands that correspond to SNPs that are heterozygous
total cfDNA isolated from maternal blood, and the cfDNA             in the mother, and two "peripheral" bands each at both the
includes both maternal and fetal cfDNA; thus, each spot             top (filled circles) and bottom (filled square) of the plots that
represents the combination of the fetal and maternal DNA            correspond to SNPs that are homozygous in the mother.
contribution for that SNP. Therefore, increasing the propor- 60        FIG. 30, 12% FF plot, shows data obtained from cfDNA
tion of maternal cfDNA from 0% to 100% will gradually               isolated from a plasma sample from a woman carrying a
shift some spots up or down within the plots, depending on          euploid fetus and with a 12% fetal cfDNA fraction. Here, the
the maternal and fetal genotype. This is described in more          clusters of spots tightly associated with the top and bottom
detail below with the corresponding plots.                          of the plot segregate into two discrete bands each: one filled
   If desired to facilitate visualization, the spots may be 65 circles and one filled square external peripheral band that
color-coded according to maternal genotype, as maternal             remains tightly associated with the upper or lower limit of
genotype contributes more to the localization of each spot          the plots, and one filled circle and one filled square internal




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peripheral band that has separated from the limits of the            the limits of the plots) are closer to the center in paternally-
plots. These internal peripheral bands, centered around 0.92         inherited mitotic trisomy. This is due to the paternal contri-
and 0.08, represent SNPs for which the maternal genotype is          bution of identical chromosomes. Note that our previous
AA and the fetal genotype is AB (indicated in filled circles),       results indicate that at the blastomere stage, 66.7% of
and SNPs for which the maternal genotype is BB and the               maternally-inherited trisomies are meiotic, and that only
fetal genotype is AB (indicated in filled square), respec-           10.2% of trisomies are paternally-inherited.
tively. The center cluster of open triangle spots broadens, but         For the Y chromosome, the PS method considers a
at this fetal fraction the segregation into distinct bands is not    different set of hypotheses: zero, one, or two chromosomes
readily visible.                                                     present. As there is no maternal contribution to the sequence
    At a high fetal cfDNA fraction, the typical pattern that 10 reads at each locus and because heterozygous loci are not
indicates the presence of two chromosomes (a trio of open            possible (cases of two Y chromosomes necessarily involve
triangle bands as well as two filled circles and two filled          two identical chromosomes), the bands remain tightly asso-
square peripheral bands) is readily apparent. FIG. 30, 26%           ciated with the top (A alleles) or the bottom (B alleles) of the
FF plot, displays data obtained from a plasma sample from            plot (data not shown), and analysis is greatly simplified,
a woman carrying a euploid fetus at a fetal cfDNA fraction 15 relying on quantitative allele count data. Note that since the
of 26%. Here, the peripheral bands have separated such that          method interrogates SNPs, it uses homologous non-recom-
the internal band has shifted towards the center of the plot         binant SNPs from the Y chromosome, thus obtaining data on
due to the altered levels of B alleles from the increased fetal      both X and Y for one probe pair.
cfDNA fraction. Significantly, at higher fetal fractions, the        Identifying Aneuploidies
separation of the center open triangle cluster into three 20            Identification of autosomal aneuploidies using this plot-
distinct bands is now readily apparent. This central trio of         based visualization method is straightforward given a suf-
bands, in this case clustering around 0.37, 0.50 and 0.63,           ficient fetal fraction, and requires only identifying plots for
corresponds to those SNPs where the maternal genotype is             which there are an abnormal number of chromosomes
AB, and the fetal genotype is AA (top), AB (middle) and BB           present, as described above. Combining the knowledge of
(bottom).                                                         25 copy number of the X and Y chromosomes identifies
    These hallmark patterns, namely three open triangle              whether sex chromosome aneuploidies are present. Specifi-
bands and four peripheral bands (two filled circles and two          cally, plots representing a fetus with a 47,XXX genotype
filled square), indicate the presence of two chromosomes, as         will have a typical "three-chromosome" pattern, and plots
in autosomal euploidy or for the X chromosome in a female            representing a fetus with a 47,XXY genotype will have the
(XX) fetus.                                                       30 typical "two-chromosome" pattern for the X chromosome,
One Chromosome Present                                               but will also have allele reads indicating the presence of one
    When the fetus only inherits a single chromosome, and            Y chromosome. The method is similarly able to call
thus only inherits a single allele, heterozygosity of the fetus      47,XYY, where a "one chromosome" pattern indicates the
is not possible. As such, the only possible fetal SNP iden-          presence of a single X chromosome, and allele reads indicate
tities are A or B. Thus, maternally-inherited monosomic 35 the presence of two Y chromosomes. A fetus with a 45,X
chromosomes have a characteristic pattern of two central             genotype will have the typical "one-chromosome" pattern
open triangle bands that represent SNPs for which the                for the X chromosome, and data indicating zero Y chroma-
mother is heterozygous, and only have single peripheral              sames.
filled circles and filled square bands that represent SNPs for       Effects of Fetal Fraction
which the mother is homozygous, and which remain tightly 40             As discussed above, the number of sequence reads from
associated with the upper and lower limits of the plots (1 and       the fetus contributes to the precise location of each spot
0), respectively (FIG. 30D). Note the absence of internal            along the y-axis in the plots. As fetal fraction will affect the
peripheral bands. This pattern indicates the presence of one         proportion of reads that originate from the fetus and the
chromosome, as in maternally-inherited autosomal mono-               mother, it will also affect the positioning of each spot. At a
somy, or for the X chromosome in a male (XY) fetus.               45 high fraction of fetal cfDNA (generally above -20% ), as in
Three Chromosomes Present                                            FIGS. 30 (26% FF plot), 30D, 30E, 30G, and 30H, it is
    Trisomic chromosomes have three characteristic patterns.         readily apparent that although the spots cluster based mainly
The first pattern indicates maternally-inherited meiotic tri-        on maternal genotype, the presence of fetal DNA from
somy, a meiotic error where the fetus inherited two homolo-          alleles whose genotype is distinct from the maternal geno-
gous, non-identical chromosomes from the mother (FIG. 50 type shift the clusters into multiple, distinct bands. However,
30E); this pattern includes two central open triangle bands          as the fetal fraction decreases (as in FIGS. 30 (12% FF plot)
with two each of the peripheral filled circles and filled square     and 30F), the spots regress towards the poles and center of
bands. The second pattern indicates paternally-inherited             the plot, resulting in tighter clusters. Specifically, the set of
meiotic trisomy, where the fetus inherited two homologous,           peripheral filled circles bands, where the maternal genotype
non-identical chromosomes from the father (FIG. 30F); this 55 is AA, regress towards the top of the plot; the set of
pattern includes four central open triangle bands and three          peripheral filled square bands, where the maternal genotype
each of the peripheral filled circles and filled square bands.       is BB, regress towards the bottom; the set of central open
The third pattern indicates either maternally-(FIG. 30G) or          triangle bands, where the mother is heterozygous, condense
paternally-inherited (FIG. 30H) mitotic trisomy, a mitotic           into a single cluster at the center of the plot (compare FIG.
error where the fetus inherited two identical chromosomes 60 30, 12% and 26% FF plots). Although aneuploidy is not
from either the mother or the father; this pattern includes          readily apparent by eye using this visualization technique for
four central open triangle bands with two each of the                low fetal fraction cases, the algorithm is able to identify
peripheral filled circles and filled square bands. Maternally-       ploidy states with a very low fetal fraction, such as 3% fetal
and paternally-inherited mitotic trisomies can be distin-            fraction. It is able to do this because the statistical technique
guished by the placement of the flanking filled circles and 65 compares the observed data to very precise data models that
filled square bands, such that the filled circles and filled         predict the allele distributions for a given sample parameter
square internal peripheral bands (those not associated with          set (including copy number, parental genotypes, and fetal




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fraction, for example). Data model precision is critical in        Increased Clinical Coverage
low fetal fraction cases, as the differences between the allele       This method offers approximately a two-fold increase in
distributions for different ploidy states are proportional to      aneuploidy coverage compared to clinically available NIPT
the fetal fraction. In addition, the algorithm is able to          methodologies, given its ability to accurately detect auto-
determine when a data set does not contain enough data to          somal trisomies and sex chromosome aneuploidies. The
                                                                   method presented here is the only noninvasive test that calls
make a confident fetal ploidy determination.
                                                                   ploidy at the sex chromosomes with high accuracy. Prior
Results                                                            DNA mixing experiments and separate plasma samples
   Sequencing reads that mapped to targeted SNPs were              analyzed in our experimental assays suggest that this method
deemed to be informative and were used by the algorithm.           will detect a larger cohort of sex chromosome anomalies,
                                                                10
More than 95% of targeted loci were observed in the                including 47,XXX. The method presented here also detects
sequencing results. The plots for visualizing key ploidy calls     aneuploidies at chromosomes 13, 18, and 21 with high
are depicted in FIG. 31A-31G. FIG. 31A indicates a euploid         sensitivities and specificities, and with appropriate primer
sample. Here, chromosomes 13, 18, and 21 have the typical          design is expected to be able to detect copy number at the
"two chromosome" pattern (as described herein). This 15 remaining chromosomes as well.
                                                                   Sample-Specific Calculated Accuracies
includes a trio of center open triangle bands, and two filled
                                                                      Significantly, this method calculates a sample-specific
circles and two filled square peripheral bands. This, together     accuracy for ploidy calls on each chromosome in each
with the two center open triangle bands for the X chromo-          sample. Accuracies calculated by this method are expected
some and the presence of Y chromosome bands along the              to significantly lower the rate of incorrect calls by identify-
plots' peripheries, indicate a euploid XY genotype.             20 ing and flagging individual samples that have poor quality
   The most prevalent autosomal trisomies, Tl3, TIS, and           DNA or low fetal fractions that are likely to result in a poor
T21, are indicated by the plots in FIGS. 318, 31C, and 31D,        accuracy test result. By contrast, massively parallel shotgun
respectively. Specifically, FIG. 31B depicts a Tl3 sample.         sequencing (MPSS)-based methods produce a positive or
Here, chromosomes 18 and 21 display the typical "two               negative call using a single-hypothesis rejection test, and
chromosome" pattern, chromosome X displays the typical 25 their accuracy estimate is based on a published study cohort
"one chromosome" pattern, and there are reads from the Y           rather than on the characteristics of the individual sample,
chromosome. Together, this indicates disomy at chromo-             which are assumed to have the same accuracy as the cohort.
somes 18 and 21, and identifies a fetal XY genotype.               However, individual accuracies for samples with parameters
However, chromosome 13 depicts a typical "three chromo-            in the tail of the cohort distribution may differ significantly.
some" pattern-specifically. Similarly, FIG. 31C depicts a 30 This is exacerbated at low fetal fractions, as in early gesta-
                                                                   tional age, or for samples with low DNA quality. These
TIS sample, and FIG. 31D depicts a T21 sample.
                                                                   samples are generally not identified and flagged for follow-
   The method is also able to detect sex chromosome aneu-
                                                                   up, which can result in missed calls. The present method,
ploidies, including 45,X (FIG. 31E), 47,XXY (FIG. 31F),
                                                                   however, takes into account many parameters, including
and 47,XYY (FIG. 31G). Note that the method is calling 35 fetal fraction and a number of DNA quality metrics, to make
copy number at chromosomes 13, 18, 21, X, and Y; the               each chromosome copy number call, calculating a sample-
overall chromosome number is reported assuming disomy at           specific accuracy for that call. This allows the method to
the remaining chromosomes. The X chromosome regions of             identify individual samples with low accuracy and flag them
the plot depicting a 45,X sample reveals the presence of a         for follow-up. This is expected to nearly eliminate missed
single chromosome. However, the lack of reads from the Y 40 calls, especially at the early stages of pregnancy when fetal
chromosome, coupled with the "two chromosome" pattern              fractions are typically low. The presumption is that a no call
for chromosomes 13, 18, and 21, indicate a 45,X genotype.          is much preferred to a missed call, since a no call simply
Conversely, the 47,XxY samples generate a plot revealing           requires a redraw and reanalysis.
the presence of two X chromosomes. The data also revealed          Converting Calculated Accuracies to Traditional Risk
reads for alleles from the Y chromosome. Together with the 45 Scores
presence of two copies of chromosomes 13, 18, and 21, this            This method can offer an adjusted risk of aneuploidy for
indicates a 47,XXY genotype. A 47,XYY genotype is indi-            high-risk pregnant women, where the adjusted risk takes
cated by the presence of a "one chromosome" pattern for the        into account an a priori risk (Benn P, Cuckle H, Pergament
X chromosome, and reads indicating the presence of two Y           E. Non-invasive prenatal diagnosis for Down syndrome: the
chromosomes.                                                    50 paradigm will shift, but slowly. Ultrasound Obstet Gynecol
Discussion                                                         2012; 39:127-130, which is hereby incorporated by refer-
   This method detected Tl3, TIS, T21, 45,X, 47,XXY, and           ence in its entirety). Although the present method offers each
47,XYY non-invasively from maternal blood. This method             patient a customized calculated accuracy, for clinical use
interrogates cfDNA from maternal plasma by targeted mul-           these accuracies can be converted to traditional risk scores,
tiplex PCR amplification and high-throughput sequencing of 55 which also denote the risk of an aneuploid pregnancy but are
19,488 SNPs. This, coupled with the method's sophisticated         expressed as fractions. Traditional risk scores take into
informatics analyses that take into account parental geno-         account various parameters, including maternal age-related
typic information and numerous sample parameters, includ-          risk and serum levels of biochemical markers, to offer a risk
ing fetal fraction and DNA quality, more robustly detects the      score above which a mother is considered high-risk and for
fetal signal and makes highly accurate ploidy calls at all of 60 whom follow-up invasive diagnostic procedures are recom-
the five chromosomes implicated in the seven most common           mended. This method significantly refines this risk score,
types ofat-birthaneuploidy (T13, TIS, T21, 45,X, 47,XXX,           thus reducing both the false positive and false negative rates,
47,XXY, and 47,XYY). This method offers a number of                and offering a more accurate assessment of individual mater-
clinical advantages over previous methods, including and           nal risk. A calculated accuracy as used here is the likelihood
most significantly greater clinical coverage and sample- 65 that the ploidy call is correct, and is expressed as a percent-
specific calculated accuracies (analogous to a personalized        age, but the calculated accuracies used in Experiment 19 do
risk score).                                                       not include an age-related risk. Because calculation of a risk




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score typically includes an age-related risk, the calculated        chromosome aneuploidies. This method offers the first
accuracies and traditional risk scores are not interchange-         approach with the potential to serve as a routine screen for
able; they must be combined to convert into a traditional risk      sex chromosome anomalies.
score. The formula to combine the age-related risk with the
calculated accuracy is:                                                                      Example 20

                                                                      The following experiment illustrates an exemplary
                                                                   method for designing and selecting primers that can be used
                                                                   in any of the multiplexed PCR methods of the invention. In
                                                                10 some embodiments, primers from an initial library of can-
                                                                   didate primers are selected so that they can be used to
where R 1 is the risk score as calculated by the present           simultaneously amplify a large number of target loci (or a
method and R2 is the risk score as calculated by first             subset of target loci) in a single reaction. In some embodi-
trimester screening.                                               ments, primers from an initial library of candidate primers
SNP-Based Methods Negate Issues with Amplification 15 are selected to form multiple primer pools such that each
Variation                                                          pool can be used to simultaneously amplify a subset of target
   An inherent drawback to the counting methods used by            loci in a single reaction. Preferably, primers are designed and
some other methods is that they determine fetal ploidy state       selected for a large portion or all of the most desirable target
by measuring the ratio of the number of reads mapping to the       loci. Preferably, the minimum number of pools needed to
chromosome of interest (e.g., chromosome 21) to those 20 amplify the target loci are created.
mapping to a reference chromosome. Chromosomes with                Step 1
high or low GC content, including chromosomes 13, X, and              Calculate a first score for each primer pair design using
Y, amplify with high variability. This can result in signal        one or more of the following parameters: number of SNPs
variation that is comparable in magnitude to the fetal cfDNA       within the primers, location of SNPs within the primers,
signal, which can confound copy number calls by altering 25 distance from an end of the amplicon to the target bases
the ratio of allele reads from the chromosome-of-interest to       within the amplicon, number of target loci in an amplicon,
those from the reference chromosome. This can result in low        heterozygosity    rate of the target locus, disease prevalence
                                                                   associated with a sequence (e.g., a polymorphism) at the
accuracy for chromosomes 13, X, and Y. Significantly, this
                                                                   target locus, disease penetrance associated with a sequence
problem is exacerbated at low fetal cfDNA fractions, as
                                                                30 (e.g., a polymorphism) at the target locus, specificity of the
tends to be the case at early gestational ages.
                                                                   candidate primer for the target locus, size of the candidate
   In contrast, SNP-based methods do not rely on consistent        primer, melting temperature of the candidate primer, melting
amplification levels between chromosomes, and are thus             temperature of the target amplicon, GC content of the target
expected to provide results that are equally accurate across       amplicon, GC content of the 3' end of the candidate primer,
all chromosomes. Because the present method looks, in part, 35 homopolymer length in the candidate primer, amplification
at relative counts of different alleles at polymorphic loci,       efficiency of the target amplicon, and size of the target
which by definition differ only by a single nucleotide, it does    amplicon.
not require the use of reference chromosomes, and this             Step 2
obviates the problems with chromosome-to-chromosome                   Compare each primer pair to every other primer pair, and
amplification variation that are inherent to methods that rely 40 calculate a second score for the pair using one or more of the
on quantitating read counts. Unlike quantitative methods           following parameters: likelihood of dimer formation, ampli-
that require reference chromosomes that are euploid, the           con overlap, number of primer designs for a particular target
present method is expected to be able to detect triploidy as       locus, and distance between amplicons. In some embodi-
well as copy-number neutral anomalies like uniparental             ments, the score is infinite if amplicons overlap so that two
disomy.                                                         45 different primer pairs that generate overlapping amplicons
The Importance of Early Detection                                  are not included in the same primer pool.
   Significantly, the combined at-birth prevalence of sex          Step 3
chromosome aneuploidies is higher than that of the most               Aggregate the first score and the second score together
common autosomal aneuploidies (FIG. 32). However, there            (such as by using a weighted average of the scores).
are currently no routine non-invasive screening methods that 50 Step 4
reliably detect sex chromosome abnormalities. Thus, sex               If desired, order all target loci into one contiguous list
chromosome anomalies are generally detected prenatally as          based upon their genomic location in ascending order.
a side-effect of routine testing for Down syndrome or other        Step 5
autosomal aneuploidies; a large proportion of cases are               Build a minimum priority queue data structure that pri-
missed entirely. Early and accurate detection is crucial for 55 oritizes the pairs of designs (in which each design is one
many of these disorders where early therapeutic intervention       primer pair so that a pair of designs includes two primer
improves clinical outcomes. For example, Turner syndrome           pairs with a total of 4 primers) based on their score (such as
is often not diagnosed until adolescence, although its overall     the aggregate score from step 3). In some embodiments, the
at-birth prevalence is 1 in 2,500 females. Growth hormone          score for a pair of designs is the worse score (such as the
therapy is known to prevent short stature that results from 60 worse aggregate score from step 3) out of the scores for all
the disorder, but treatments are significantly more effective      4 primers in the pair of designs. The pair of designs with the
when initiated prior to the age of 4. Additionally, estrogen       best (most desirable) score is first in the queue, and the pair
replacement therapy can stimulate secondary sexual char-           of designs with the worst (least desirable) score is last in the
acteristics in patients with Turner syndrome, but again            queue. If desired, pairs of designs with a score above a
therapy must be initiated in the pre-teen years, before the 65 threshold (least desirable) are removed from the library of
syndrome is usually detected. Together, this underscores the       candidate primers such that they are not included in the final
importance of early, routine, and safe detection of sex            pool(s) (for example, these primers may be omitted from the




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queue). In some embodiments, pairs of design with an                  are used to target a pair of breakpoints at the boundaries of
interaction score above (worse than) 20, 18, 16, 14, 12, 10,          the indel. In this case, the two primer pairs are designed such
9, 8, 7, 6, 5, 4, 3, 2, or 1 kcal/mo! are removed from the            that when the deletion is present there is a PCR product and
library of candidate primers. In some embodiments, pairs of           the two primer pairs are selected together for inclusion in the
design with a llG value below (worse than) -20, -18, -16,             same pool (the four primers are treated by the algorithm as
-14, -12, -10, -9, -8, -7, -6, -5, -4, -3, -2, or -1 kcal/mo!         a single assay rather than two assays). In some embodiments
are removed from the library of candidate primers.                    for target loci that are exons, a set of primers pairs are
   Each design pair can be stored as a node of a doubly               designed to tile the full exon.
linked list with initial "next" and "previous" pointers set to           For each candidate locus, one or more PCR primer pairs
NULL.                                                              10 are designed using the Primer3 program (available at the
Step 6                                                                worldwide web at primer3.sourceforge.net; libprimer3
   Begin forming all pools simultaneously by doing the                release 2.2.3, which is hereby incorporated by reference in
following steps. Take the design pair with the best (most             its entirety). If there are no feasible designs for PCR primers
desirable) score from the priority queue and add it to "the           for a particular target locus, then that target locus is elimi-
potential pools." Begin storing designs in N number of 15 nated from further consideration. In some embodiments,
doubly linked list data structures with the design pairs. N           each target base is covered by at least two independent PCR
represents the current number of different primer pools.              assays (such as two independent primer pairs that will
Initially, N=l, since there is only one primer pool. In some          amplify the target base) and preferably by four assays,
embodiments, a second pool is only created if necessary to            although not all of the available assays for a target must be
include the desired target loci or the desired level of cov- 20 used. In some embodiments, no targets are omitted. Desir-
erage of target loci. Check to see if the design pair removed         ably, the algorithm produces as few pools as possible but
from the queue is "connected" to any other existing design            may produce more than one pool. In some embodiments,
pair. By "connected" for purposes of this step is meant that          two different primer pairs that are in close proximity in the
a single design in one pair is the same as a single design in         genome (such as within 2 kbases or 1 kbase) and whose
another pair. If two pairs are connected, then assign the 25 forward primers are on the same strand are not be assigned
appropriate next and previous pointers to one another. If two         to the same pool. This constraint avoids primer interference
pairs are not connected, then add them to the "potential              in the extension-and-ligation amplification method In some
pools" In some embodiments, a design pair is only placed in           embodiments in which the PCR will be performed using a
a particular pool if it would be connected to at most two             polymerase with low 5'----;.3' exonuclease and/or low strand
other design pairs in that pool (otherwise it can be assigned 30 displacement activity, different primer pairs that are in close
to a different pool).                                                 proximity in the genome and whose forward primers are on
   Check to see if (i) any linked list spans from the first target    the same strand can be assigned to the same pool since the
to the last target (such that all the desired target loci are         with low 5'----;.3' exonuclease and/or low strand displacement
included) or (ii) if a pool meets the cutoff for the desired          activity of the polymerase will reduce or prevent primer
minimum pool level. If it does, that list now forms a pool and 35 interference and allow nearby or adjacent amplicons to be
can be added to the "final pools" list.                               produced.
Step 7                                                                Step 1
   If desired, check to see if the desired level of coverage             Build an interaction graph. Each node represents one
(such as all the bases in the target loci being included in           assay (such as one primer pair). Each edge represents a
amplicons from 4 different primer pairs) that is desired for 40 conflict between two assays. There are three types. Interac-
each location. Repeat step 6 until achieving the desired level        tion edges represent a potential primer dimer and have a
of coverage.                                                          score indicating the interaction strength. Proximity edges
   The resulting primer pool(s) can be used in any of the             represent physical proximity of the primer binding sites
methods of the invention.                                             which may result in interference. Target edges represent
                                                                   45 redundant designs associated with the same target (a special
                           Example 21                                 case of a proximity edge).
                                                                      Step 2
   The following Example illustrates an exemplary method                 Select an initial value for the maximum interaction score
for designing and selecting primers that can be used in any           (e.g., 95% of the maximum score).
of the multiplexed PCR methods of the invention. In some 50 Step 3
embodiments, the primers are divided into different pools                Compute a score such as a utility score for each assay as
(e.g., 2, 3, 4, 5, 6, or more different pools) such that each         follows using steps 3A and 3B.
pool is used to amplify target loci in a different reaction           Step 3A
volume. Each pool is used to simultaneously amplify a large              Calculate a score for each assay based on one or more of
number of target loci (or a subset of target loci) in a single 55 its intrinsic characteristics. For example, favor assays with
reaction volume. Preferably, primers are designed and                 amplicons close to the optimal length (such as 300 bp ); favor
selected for a large portion of the most desirable target loci        assays with a shorter distance from the beginning of the
or for all of the target loci. A set of candidate target loci can     amplicon to the target; and/or penalize assays with primers
be selected as described in Examples 16 or 20 based on the            overlapping known SNPs. Any other parameter, such as the
particular polymorphisms or mutations of interest. In some 60 parameters disclosed herein can also be included.
embodiments, one or more of the following type of target              Step 3B
loci are included: SNPs, short indels, long indels, exons, and           Multiply the score for each assay by a factor that varies
combinations thereof. In some embodiments for target loci             from Oto 1 according to the current coverage of the assay's
that are short indels, the PCR primer or primer pair targets          target bases. This factor gives lower weight to targets that
a sequence of adjacent base pairs; and the indel is com- 65 are already covered by assays. At the beginning of the
pletely covered by one sequencing read. In some embodi-               algorithm this factor is 1 for all assays because none have
ments for target loci that arc large indcls, two primer pairs         been covered. Calculate the factor as follows. For each base




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in the target, compute a coverage score as 1/(2'c) where c is          After the primers are divided into different pools, the
the number of previously-selected assays (in other pools)           pools may be used in any of the methods of the invention.
that cover that base. For instance, if three assays cover the
base then the coverage score is 1/(2A3)=0.125. The factor for                                 Example 23
the target is the maximum value of the coverage score for all
bases in the target. For instance, if the target contains 10           This example illustrates there exemplary methods for
bases, 3 bases are covered by 1 target, and 7 bases are             calculating the limit of detection for any of the methods of
covered by 3 targets, then the factor is MAX(l/(2Al),               the invention. These methods were used to calculate the
1/(2A3))=0.5. The score in step 3A is then multiplied by this       limit of detection for single nucleotide variants (SNV s) in a
                                                                 10 tumor biopsy (FIG. 38) and a plasma sample (FIG. 39).
factor.
Step 4                                                                 The first method (denoted "LOD-mr5" in FIGS. 38 and
                                                                    39) calculates the limit of detection based on a minimum of
   Use a single iteration of the algorithm in Example 16 to
                                                                    5 reads being chosen as the minimum number of times a
design a pool given the current maximum interaction score:
                                                                    SNV is observed in the sequencing data to have sufficient
Construct a new graph with the assays that have not been 15
                                                                    confidence the SNV is actually present. The limit of detec-
assigned to a pool yet and with the edges that have weights         tion is based on whether the observed the depth of read
exceeding the maximum interaction score. Remove nodes               (DOR) is above this minimum of 5. The thin lines (LOD-
(assays) according to the algorithm in Example 16 until             z5.0) in FIGS. 38 and 39 indicate SNVs for which the limit
there are no edges left. The assay utility scores come from         of detection is limited by the DOR. In these cases, not
step 3 in this Example rather than the calculation used for 20 enough reads were measured to reach the error limit of the
Example 16.                                                         assay. If desired, the limit of detection can be improved
Step 5                                                              (resulting in a lower numerical value) for these SNVs by
   Save the assays selected in step 4 as a new pool and             increasing the DOR.
remove them from consideration. Then repeat steps 3 and 4              The second method (denoted "LOD-zs5.0" in FIGS. 38
with the remaining assays, and iterate until all targets have 25 and 39) calculates the limit of detection based on the z-score.
sufficient coverage.                                                The Z-score is the number of standard deviations an
Step 6                                                              observed error percentage is away from the background
   If desired, evaluate the result. If the total number of pools    mean error. If desired, outliers can be removed and the
meets the design goal then reduce the maximum interaction           z-score can be recalculated and this process can be repeated.
score; otherwise increase the maximum interaction score. 30 The final weighted mean and the standard deviation of the
Then go back to step 3. Iterate, using a binary search strategy     error rate are used to calculate the z-score. The mean is
to find the lowest maximum interaction score that produces          weighted by the DOR since the accuracy is higher when the
the desired number of pools.                                        DOR is higher.
Step 7                                                                 For the exemplary z-score calculation used for this
   Output the pools from the final iteration. After the selec- 35 example, the background mean error and standard deviation
tion process, the primers remaining in the pools may be used        were calculated from all the other samples of the same
in any of the methods of the invention.                             sequencing run weighted by their depth of read, for each
                                                                    genomic loci and substitution type. Samples were not con-
                          Example 22                                sidered in the background distribution if they were 5 stan-
                                                                 40 dard deviations away from the background mean. The
   The following Example illustrates an exemplary method            dashed lines in FIGS. 38 and 39 indicate SNVs for which the
for designing and selecting primers that can be used in any         limit of detection is limited by the error rate. For these
of the multiplexed PCR methods of the invention. In some            SNV's enough reads were taken to reach the 5 read mini-
embodiments, the primers are divided into different pools           mum, and the limit of detection was limited by the error rate.
(e.g., 2, 3, 4, 5, 6, or more different pools) such that each 45 If desired, the limit of detection can be improved by opti-
pool is used to amplify target loci in a different reaction         mizing the assay to reduce the error rate.
volume. Any of the embodiments listed in Example 21 can                The third method (denoted "LOD-zs5.0-mr5" in FIGS. 38
be used for this Example as well.                                   and 39) calculates the limit of detection based on the
   This method uses a graph coloring algorithm.                     maximum value of the above two metrics.
Step 1                                                           50    For the analysis of a tumor sample shown in FIG. 38, the
   Select 2, 3 or 4 of the best assays (such as primer pairs)       mean limit of detection was 0.36%, and the median limit of
for each target locus from all of the available assays.             detection was 0.28%. The number of DOR limited (thin
Step 2                                                              lines) SNVs was 934. The number of error rate limited
   Select an initial maximum interaction score.                     (dashed lines) SNVs was 738.
Step 3                                                           55    For the analysis of cDNA in a plasma sample shown in
   Build an interaction graph containing only edges that            FIG. 39, the mean limit of detection was 0.24%, and the
exceed the maximum interaction score.                               median limit of detection was 0.09%. The number of DOR
Step 4                                                              limited (thin lines) SNVs was 732. The number of error rate
   Color the graph such that no adjacent nodes have the same        limited (dashed lines) SNVs was 921.
color (this is a standard problem with many heuristic solu- 60
tions ). Each color represents a different pool.                                              Example 24
Step 5
   Go back to step 3 and iterate, refining the maximum                 This example illustrates the detection of CNV s and SNVs
interaction score until the desired number of pools is              from the same single cell. The following primer libraries
achieved. In some embodiments, after the primers are 65 were used a library of -28,000 primers for detecting CNVs,
selected in step 1, the algorithm assumes all assays must be        a library of -3,000 primers for detecting CNVs, and library
included in a pool.                                                 of primers for detecting SNVs. For analysis of a single cell,




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cells were serial diluted until there were 3 or 4 cells per        percent of mapped reads was 98.2%, 98.2%, and 97.9%,
droplet. An individual cell was pipetted and placed into a         respectively. For two samples of genomic DNA the percent
PCR tube. The cell was lysed using Protease K, salt, and           of mapped reads was 98.8% for each sample. FIG. 42
DTT using the following thermocycling conditions: 56° C.           illustrates the uniformity in DOR for these -3,000 loci.
for 20 minutes, 95° C. for 10 minutes, and then a 4° C. hold. 5       For calling SNVs, the call percent for true positive
For analysis of genomic DNA, DNA from the same cell line           mutations was similar for DNA from a single cell and
as the analyzed single cell was either purchased or obtained       genomic DNA. A graph of call percent for true positive
by growing the cells and extracting the DNA.                       mutations for single cells on the y-axis versus that for
    For amplification with the library of -28,000 primers, the     genomic DNA on the x-axis yielded a curve fit of
following PCR conditions were used a 40 uL reaction 10 y=l.0076x-0.3088 with R 2 =0.9834. FIG. 43 shows similar
volume, 7.5 nM of each primer, and 2x master mix (MM).             error call metrics for genomic DNA and DNA from a single
In some embodiments QIAGEN Multiplex PCR Kit is used               cell. FIG. 44 shows that the error rate for detecting transition
for the master mix (QIAGEN catalog No. 206143; see, e.g.,          mutations was greater than for detecting transversion muta-
information available at the world wide web at giagen.com/         tions, indicating it may be desirable to select transversion
products/catalog/assay-technologies/end-point-per-and-rt-       15 mutations for detection rather than transition mutations
pcr-reagents/qiagen-multiplex-pcr-kit, is which is hereby          when possible. In some embodiments, at least 50, 60, 70, 80,
incorporated by reference in its entirety). The kit includes 2x    90, 95, 96, 98, 99, or 100% of the SNVs tested for are
QIAGEN Multiplex PCR Master Mix (providing a final                 transversion mutations rather than transition mutations.
concentration of 3 mM MgCl 2 , 3x0.85 ml), 5x Q-Solution
(lx2.0 ml), and RNase-Free Water (2xl.7 ml). The QIA- 20                                       Example 25
GEN Multiplex PCR Master Mix (MM) contains a combi-
nation of KC! and (NH4 ) 2 SO4 as well as the PCR additive,           The following is an example of multiplex PCR conditions
Factor MP, which increases the local concentration of prim-        in which the annealing temperature is significantly higher
ers at the template. Factor MP stabilizes specifically bound       than the average or maximum melting (Tm) of the primers in
primers, allowing efficient primer extension by, e.g., Hot- 25 the library. A 3,168-plex reaction was performed with 3,168
StarTaq DNA Polymerase. HotStarTaq DNA Polymerase is               primer pairs to 3,168 different target loci. For the PCR
a modified form of Taq DNA polymerase and has no                   amplification a 20 ul total volume was used with 2 nM of
polymerase activity at ambient temperatures. The following         each primer (3,168 pairs of forward and reverse primers), 70
thermocycling conditions were used for the first round of          mM TMAC (tetra-methyl ammonium chloride), and 7 ul
PCR: 95° C. for 10 minutes; 25 cycles of 96° C. for 30 30 library DNA or genomic DNA. The following thermocy-
seconds, 65° C. for 29 minutes, and 72° C. for 30 seconds;         cling conditions were used: 95° C. for 10 minutes and then
and then 72° C. for 2 minutes, and a 4° C. hold. For the           25 cycles of 96° C. for 30 seconds, 65° C. for 20 minutes
second round of PCR a 10 ul reaction volume, 1xMM, and             (this armealing temperature is higher than the Tm of the
5 nM of each primer was used. The following thermocycling          primers, listed above), and 72° C. for 30 seconds. Then, 72°
conditions were used: 95° C. for 15 minutes; 25 cycles of 35 C. for 2 minutes and a 4 ° C. hold were used.
94° C. for 30 seconds, 65° C. for 1 minute, 60° C. for 5              The minimum Tm (the lowest numerical value for the Tm
minutes, 65° C. for 5 minutes, and 72° C. for 30 seconds;          for any of the primers) for this primer library is 54.0° C. The
and then 72° C. for 2 minutes, and a 4° C. hold.                   maximum Tm (the highest numerical value for the Tm for any
    For the library of -3,000 primers, exemplary reaction          of the primers) for this primer library is 60.36° C. The
conditions include a 10 ul reaction volume, 2x MM, 70 mM 40 average Tm (average value of the Tm values of the primers)
TMAC, and 2 nM primer of each primer. For the library of           for this primer library is 55.25° C. These Tm values were
primers for detecting SNVs, exemplary reaction conditions          calculated using the following exemplary method for cal-
include a 10 ul reaction volume, 2x MM, 4 mM EDTA, and             culating Tm values. This method is used by the Primer3
7 .5 nM primer of each primer. Exemplary thermocycling             program (the worldwide web at primer3.sourceforge.net,
conditions include 95° C. for 15 minutes, 20 cycles of 94° 45 which is hereby incorporated by reference in its entirety) to
C. for 30 seconds, 65° C. for 15 minutes, and 72° C. for 30        calculate Tm values. In some embodiments, one or more of
seconds; and then 72° C. for 2 minutes, and a 4° C. hold.          the following conditions are assumed for this calculation:
    The amplified products were barcoded. One run of               temperature: of 60.0° C., primer concentration of 100 nM,
sequencing was performed with an approximately equal               and/or salt concentration of 100 mM. In some embodiments,
number of reads per sample.                                     50 other conditions are assumed for this calculation, such as the
    FIGS. 40A and 40B show results from analysis of                conditions that will be used for multiplex PCR with the
genomic DNA (FIG. 40A) or DNA from a single cell (FIG.             library.
40B) using a library of approximately 28,000 primers
                                                                          Tm~deltaH/(deltaS+R*ln(C/4))
designed to detect CNVs. Approximately 4 million reads
were measured per sample. The presence of two central 55              Below is documentation from the Primer3 program for its
bands instead of one central band indicates the presence of        Tm calculations; PRIMER_TM_FORMULA (int; default 0)
a CNV. For three samples of DNA from a single cell, the            specifies details of melting temperature calculation. This is
percent of mapped reads was 89.9%, 94.0%, and 93.4%,               new in version 1.1.0, and added by Maida Remm and Triinu
respectively. For two samples of genomic DNA the percent           Koressaar (the world wide web at primer3.ut.ee/
of mapped reads was 99.1 % for each sample.                     60 primer3web_help.htm #PRIMER_TM_FORMULA, which
    FIGS. 41A and 41B show results from analysis of                is hereby incorporated by reference in its entirety). A value
genomic DNA (FIG. 41A) or DNA from a single cell (FIG.             of O directs primer3 to a backward compatible calculation
41B) using a library of approximately 3,000 primers                (in other words, the only calculation available in previous
designed to detect CNVs. Approximately 1.2 million reads           version of primer3). This backward compatible calculation
were measured per sample. The presence of two central 65 uses the table of thermodynamic parameters in the paper
bands instead of one central band indicates the presence of        (Breslauer K Jet al. (1986) "Predicting DNA duplex stabil-
a CNV. For three samples of DNA from a single cell, the            ity from the base sequence'' Proc Natl Acad Sci 83:4746-50,




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dx.doi.org/10.1073/pnas.83.11.3746, which is hereby incor-                  identifying ploidy state for the sex chromosomes suggests
porated by reference in its entirety), and the method in the                that they will also encounter variable amplification problems
paper (Rychlik W, Spencer W J and Rhoads R E (1990)                         on smaller chromosomal segments.
"Optimization of the annealing temperature for DNA ampli-                      Similarly, SNP based methods can detect UPD disorders,
fication in vitro", Nucleic Acids Res 18:6409-12, dx.doi.org/ 5 which are copy number-neutral anomalies that will not be
10.1093/nar/18.21.6409, which is hereby incorporated by                     detected by either the current noninvasive methods that rely
reference in its entirety).                                                 on counting or the traditional invasive methods like anmio-
   A value of 1 (which is recommended) directs primer3 to                   centesis and CVS that rely on cytogenetic karyotyping
use the table of thermodynamic values and the method for                    and/or fluorescence in situ hybridization. This is because
melting temperature calculation suggested in the following 10 SNP-based methods are uniquely able to distinguish indi-
paper (SantaLucia JR (1998) "A unified view of polymer,                     vidual haplotypes, whereas the clinically available MPSS-
dumbbell and oligonucleotide DNA nearest-neighbor ther-                     based and targeted methods amplify non-polymorphic loci
modynamics", Proc Natl Acad Sci 95:1460-65, dx.doi.org/                     and are thus unable to determine, for example, whether the
10.1073/pnas.95.4.1460, which is hereby incorporated by                     chromosomes-of-interest originate from the same parent.
reference in its entirety). The tag PRIMER_SALT_COR- 15 This means that these microdeletion/microduplication and
RECTIONS can be used to specify the salt correction                         UPD syndromes, including Prader-Willi, Angelman, and
method for melting temperature calculation.                                 Beckwith-Wiedemann syndromes, are generally not diag-
   The following is an example of calculating the melting                   nosed prenatally, and are often initially misdiagnosed post-
temperature of an oligo with PRIMER_TM_FORMULA=l                            natally. This significantly delays therapeutic intervention.
and PRIMER_SALT_CORRECTIONS=l recommended 20 Additionally, because this method targets SNPs, this method
values for primer=CGTGACGTGACGGACT.                                         will also facilitate parental haplotype reconstruction, allow-
   Using default salt and DNA concentrations gives                          ing for detection of fetal inheritance of individual disease-
                                                                            linked loci (Kitzman J 0, Snyder M W, Ventura M, et al.
       Tm ~deltaH/(deltaS+R*ln( C/4))
                                                                            Noninvasive whole-genome sequencing of a human fetus.
   where R is the gas constant (1.987 cal/K mo!) and C is the 25 Sci Transl Med 2012; 4:137ra76, which is hereby incorpo-
DNA concentration.                                                          rated by reference in its entirety).
                                                                               The results presented here confirm the expanded scope of
                                                                            this method for identifying prenatal aneuploidy. Specifically,
 deltaH(predicted) = dH(CG) + dH(GT) + dH(TG) + ... + dH(CT) +              by amplifying and sequencing 19,488 SNPs, this method is
                                                                         30 able to determine copy number at chromosomes 13, 18, 21,
                      dH(init.w.tenn.GC) + dH(init.w.term.AT)
                                                                            X, and Y, and is uniquely expected to detect other chromo-
                      -10.6 + (-8.4) + (-8.5) + ... + (-7.8) + 0.1 + 2.3    somal abnormalities, such as triploidy and UPD, that are not
                                                                            detected by any other clinically available non-invasive
                      -128.8 kcal/mo!
                                                                            method. The increased clinical coverage and powerful
                                                                         35 sample-specific calculated accuracies suggest that this
where 'init.w.term GC' and 'init.w.term AT' are two initia-                 method may offer a viable adjunct to invasive testing for
tion parameters for duplex formation: 'initiation with ter-                 detecting fetal chromosomal aneuploidies.
minal GC' and 'initiation with terminal AT.'
                                                                                                      Example 26
                                                                   40
                                                                         This example describes an exemplary method for detec-
 deltaS(predicted) = dS(CG) + dS(GT) + dS(TG) + ... + dS(CT) +
                                                                      tion of copy number variations in breast cancer samples
                       dS(init.w.tenn.GC) + dS(init.w.term.AT)
                                                                      using SNP-targeted massively multiplexed PCR. Evaluation
                       -27.2+ (-22.4) + (-22.7) + .;. +(-21.0) +
                                                                      of CNV in tumor tissues typically involves SNP microarray
                       (-2.8) +4.1                                 45 or aCGH. These methods have high whole-genome resolu-
                       -345.2 cal/k•mol                               tion, but require large amounts of input material, have high
                                                                      fixed costs, and do not work well on formaldehyde fixed-
 deltaS(sa!t corrected)= deltaS(predicted) + 0.368 * 15(NN pairs)*    paraffin embedded (FFPE) samples. For this example,
                           ln(0.05M monovalent cations)               28,000-plex SNP-targeted PCR with next generation
                           -361.736                                50 sequencing (NGS) was used to target ip, lq, 2p, 2q, 4p16,
                                                                      5p15, 7qll, 15q, 17p, 2211, 2213 and chromosomes 13, 18,
 Tm= -128.800/(-361.736 + 1.987 dn((5 ,!0A(-8))/4)) = 323.704 K       21 and X for detection of CNVs in breast cancer samples.
        Tm(C) = 323.704- 273.15 = 50.554 C                            Accuracy was validated on 96 samples with aneuploidies or
                                                                      microdeletions. Single-molecule sensitivity was established
                                                                   55 by analyzing single cells. Of 17 breast cancer samples (15
Additional Applications                                               fresh frozen and 2 FFPE tumor tissues, 5 pairs of matched
   Because this method utilizes targeted amplification, it is         tumor and normal cell lines) analyzed, 16 (including both
uniquely poised to detect submicroscopic anomalies, such as           FFPEs) were observed with full or partial CNVs in one to 15
microdeletions and microduplications. Although non-tar-               targets (average: 7.8); evidence of tumor heterogeneity was
geted methods like MPSS have been shown to detect the 60 observed. The three tissues with one CNV all had a lq
DiGeorge microdeletion syndrome, this required a suffi-               duplication, the most frequent cytogenetic abnormality in
ciently high level of genomic coverage so as to make the              breast carcinoma. The most frequent regions with CNVs
approach unfeasible. This is because non-targeted amplifi-            were lq, 7p, and 221. Only one tumor tissue (with 9 CNVs)
cation will be several orders of magnitude less efficient on          had a region with LOH; this LOH was also detected in
submicroscopic regions, as very small fraction of the 65 adjacent putatively normal tissue that lacked the other 8
sequencing reads will be informative. Additionally, the fact          CNVs. By contrast, 5 or more regions with LOH and a high
that the currently available methods have trouble accurately          total CNV incidence (average: 12.8) was detected in cell




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lines. Thus, massively multiplexed PCR offers an economi-           To model ctDNA at different concentrations, different
cal high-throughput approach to investigate CNVs in a            fractions of PlasmArts from HCC1954 andHCC2218 cancer
targeted manner, and is applicable to difficult-to-analyze       cells were mixed with those from the corresponding
samples, such as FFPE tissues.                                   matched normal cell line (HCC1954BL and HCC2218BL,
                                                               5 respectively). Three samples at each concentration were
                         Example 27                              analyzed. Similarly, to model allelic imbalances in plasma
                                                                 DNA in a focal 3 .5 Mb region, we generated PlasmArts from
    This example further validates a massively multiplexed       DNA mixtures containing different ratios of DNA from a
PCR methodology for chromosomal aneuploidy and CNV               child with a maternal 2211.2 deletion and DNA from the
determination disclosed herein, sometimes referred to as 10 father. Samples containing only the father's DNA were used
CoNVERGe (Copy Number Variant Events Revealed Geno-              as negative controls. Eight samples at each concentration
typically), in cancer diagnostics, and further illustrates the   were analyzed.
development and use of "PlasmArt" standards for PCR of           Massively Multiplexed PCR and DNA Sequencing
ctDNA samples. PlasmArt standards include polynucle-                Massively multiplex PCR and DNA sequencing methods
otides having sequence identity to regions of the genome 15 below were used to determine allele counts at a plurality of
known to exhibit CNV and a size distribution that reflects       polymorphic loci with 3-6 million (M) reads/sample for cell
that of cfDNA fragments naturally found in plasma.               lines, 1.5-7 M reads/sample for tumour tissues, 18 M reads/
Sample Collection                                                sample for FFPE-LCM samples, 6-7 M reads/sample for
    Human breast cancer cell lines (HCC38, HCC1143,              germline controls, and 18-25 M reads/sample for plasma.
HCC1395, HCC1937, HCC1954, and HCC2218) and 20 For two representative exemplary runs using the 3,168 SNP
matched normal cell lines (HCC38BL, HCC1143BL,                   primer pair pool, an average of 20 million reads were used
HCC1395BL,         HCC1937BL,         HCC1954BL,          and    to obtain allele counts for plasma DNA libraries and 6
HCC2218BL) were obtained from the American Type Cul-             million reads were used to obtain allele counts for genomic
ture Collection (ATCC). Trisomy 21 B-lymphocyte                  DNA libraries from fresh-frozen human tumors. The percent
(li.G 16777) and paired father/child Di George Syndrome 25 of mapped reads (i.e. mapped to the human genome) on
(DGS) cell lines (GM10383 and GM10382, respectively)             these two exemplary runs were 98% and 95%, respectively.
were from the Coriell Cell Repository (Camden, N.J.).            The fraction of sequencing reads at a given locus with a
GM10382 cells only have the paternal 2211.2 region.              particular allele (allele fraction) was the fractional abun-
    We procured tumour tissues from 16 breast cancer             dance of the allele in a sample. These counts provided
patients, including 11 fresh frozen (FF) samples from 30 observed allele frequencies that were used by the data
Geneticist (Glendale, Calif.) and five formalin-fixed paraf-     analysis methods provided immediately below in this
fin-embedded (FFPE) samples from North Shore-LIJ (Man-           Example to determine the ploidy state of a chromosome or
hasset, N.Y.). We acquired matched huffy coat samples for        chromosome segment of interest and/or to determine the
eight patients and matched plasma samples for nine patients.     average allelic imbalance of the sample.
FF tumour tissues and matched huffy coat and plasma 35              Libraries were generated from the samples above. Adapt-
samples from five ovarian cancer patients were from North        ers were ligated to DNA fragments and the fragments were
Shore-LIJ. For eight breast tumour FF samples, tissue sub-       amplified using the following protocol: 95° C., 2 min;
sections were resected for analysis. Institutional review        15x[95° C., 20 sec, 55° C., 20 sec, 68° C., 20 sec], 68° C.
board approvals from Northshore/LIJ IRB and Kharkiv              2 min, 4 ° C. hold.
National Medical University Ethics Committee were 40                Multiplexed PCR allows simultaneous amplification of
obtained for sample collection and informed consent was          many targets in a single reaction. In this study, we targeted
obtained from all subjects.                                      3,168 SNPs, which were distributed across five chromosome
    Blood samples were collected into EDTA tubes. Circu-         arms as follows: 646 on lp, 602 on lq, 541 on 2p, 707 on
lating cell free DNA (containing ctDNA) was isolated from        2q, and 672 on the 2211.2 focal region. These genomic
1 mL plasma using the QIAamp Circulating Nucleic Acid 45 regions were selected for convenience from SNP panels
Kit (Qiagen, Valencia, Calif.). Genomic DNA (gDNA) from          available in our laboratory. Target SNPs had at least 10%
FF tumor tissues, blood, and buccal samples was extracted        population minor allele frequency (1000 Genomes Project
using the DNeasy Blood and Tissue Kit (Qiagen).                  data; Apr. 30, 2012 release) to ensure that a sufficient
    To make the PlasmArt standards according to one exem-        fraction would be heterozygous in any given patient. For
plary method, first, 9xl0 6 cells were lysed with hypotonic 50 each SNP, multiple primers were designed to have a maxi-
lysis buffer (20 mM Tris-Cl (pH 7.5), 10 mM NaCl, and 3          mum amplicon length of 75 hp and a melting temperature
mM MgC1 2) for 15 min on ice. Then, 10% IGEPAL CA-630            between 54.0-60.5° C. To minimize the likelihood of primer
(Sigma, St. Louis, Mo.) was added to a final concentration       dimer product formation, primer interaction scores for all
of0.5%. After centrifugation at 3,000 g for 10 min at 4° C.,     possible combinations of primers were calculated, and prim-
pelleted nuclei were resuspended in 1x micrococcal nucle- 55 ers with high scores were eliminated. The 3,186 SNPprimer
ase (MNase) Buffer (New England BioLabs, Ipswich,                pair pool all had li.G values greater than -4Kcal/mol. Can-
Mass.) before adding 1000 U of MNase (New England                didate PCR assays were ranked and 3,168 assays were
BioLabs), and then incubated for 5 min at 37° C. Reactions       selected on the basis of target SNP minor-allele frequency,
were stopped by adding EDTA to a final concentration of 15       observed heterozygosity rate (from dbSNP), presence in
mM. Undigested chromatin was removed by centrifugation 60 HapMap, and amplicon length.
at 2,000 g for 1 min. Fragmented DNA was purified with the          For PCR amplifications, 3,168 SNPs were amplified in a
DNA Clean & Concentrator™_500 kit (Zymo Research,                multiplex PCR reaction using one primer pair for each SNP,
Irvine, Calif.). Mononucleosomal DNA produced by MNase           during 25 cycles, and sequencing barcodes were added in 12
digestion was also purified and size-selected using AMPure       additional cycles. Prior to sequencing, the bare oded products
XP magnetic beads (Beckman Coulter, Brea, Calif.). DNA 65 were pooled, purified with the QIAquick PCR Purification
fragments were sized and quantified with a Bioanalyzer           Kit (Qiagen), and quantified using the Qubit™ dsDNA BR
DNA 1000 chip (Agilent, Santa Clara, Calif.).                    Assay Kit (Life Technologies). Amplicons were sequenced




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using an Illumina HiSeq 2500 sequencer with 1.5-7 M                  This algorithm also calculates the confidence of each
reads/sample for tumor tissue DNA and 18-25 M reads/              CNV call by comparing the likelihoods of different hypoth-
sample for plasma cfDNA.                                          eses. A confidence threshold of 99.9% was used in plasma
   For the 3,168 SNP multiplex PCR reaction, approxi-             samples to minimize false positive results.
mately 7 ul (approx. 1200 ng) oflibrary DNA, such as DNA 5           For dimorphic SNPs that have alleles arbitrarily desig-
from a DNA library generated from plasma of a target              nated 'A' and 'B', the allele ratio of the A allele is nA/(nA+
individual, was used. The master mix included the follow-         nB), where nA and nB are the number of sequencing reads for
ing: 2x (twice manufacturer's recommended concentration)          alleles A and B, respectively. Allelic imbalance is the dif-
Qiagen master mix, 70 mM TMAC (tetramethylammonium                ference between the allele ratios of A and B for loci that are
chloride, Sigma), 2 nM each primer, and 7 ul nucleic acid 10 heterozygous in the germline. This definition is analogous to
library (-1200 ng total library input) (20 ul total volume).      that for SNVs, where the proportion of abnormal DNA is
   The cycling conditions for the 3,168 SNP multiplex PCR         typically measured using mutant allele frequency, or nm/
reaction were as follows: 95° C., 15 min; 25x[96° C., 30 sec;     (nm+nr), where nm and nr are the number of sequencing reads
65° C., 20 min; 72° C., 30 sec]; 72° C., 2 min; 4° C. hold.       for the mutant allele and the reference allele, respectively.
   For the barcoding reaction, a 1x master mix was prepared 15       Allele frequency data was corrected for errors before it
that included the following: 1 uM forward primer (contain-        was used to generate individual probabilities. Errors that
ing Illumina sequencing tag), 1 uM reverse primer (contain-       were corrected included allele amplification bias, ambient
ing Illumina sequencing tag as well as internally-designed        contamination, genotype contamination, and sequencing
sequencing barcode ), 1 ul of mmPCR product, diluted              error. Ambient contamination refers to the contamination
1:2,000, and 1x Qiagen master mix. Barcoding cycling 20 error across all SNPs in addition to sequencing errors, and
conditions were as follows: 95° C., 10 min; 12x[95° C., 30        genotype contamination refers to the additional contamina-
sec; 70° C., 10 sec, 60° C., 30 sec; 65° C., 15 sec, 72° C.,      tion at some SNPs due to contamination from another
15 sec]; 72° C., 2 min; 4° C. hold.                               sample. Ambient contamination and genotype contamina-
Data Analysis of Tumor Tissue Genomic DNA                         tion were determined on the same run as the on-test sample
   For tumor tissue samples, CNVs were delineated by 25 analysis by analyzing homozygous alleles in the sample. The
transitions between allele frequency distributions. Regions       ploidy status of a chromosomal segment was estimated
with at least 100 SNPs that had an allele ratio statistically     using heterozygous loci for a test individual.
different from 0.50 were considered to be of interest. More          Best hypothesis was defined to be the one with the highest
specifically, the analysis focused on regions with average        likelihood across all polymorphic loci. Likelihood at each
allele ratios of <0.45 or >0.55 for loci that are heterozygous 30 locus was calculated using a beta binomial model of
in the germline. A segmentation algorithm was used to             observed allele frequencies at each of the polymorphic loci,
exhaustively search DNA sequences in five chromosome              and the likelihood across a set of polymorphic loci was
arms as follows: 646 on lp, 602 on lq, 541 on 2p, 707 on          computed using the phase information deduced from the
2q, and 672 on the 2211.2 for such regions, and iteratively       corresponding tumor sample.
selected them starting from the longest one until a region of 35     A linear regression model was used to compare either
100 SNPs was reached. Once a 2:100 SNP region was                 expected AAI or tumor input DNA percentage and observed
determined to contain a CNV, it was further segmented by          AAI determined by the CNV detection algorithm. P<0.05
average allelic ratios with a minimum segment size of 50          was considered statistically significant. SigmaPlot 12.5
SNPs if needed.                                                   (Systat Software, San Jose, Calif.) and Matlab 7.12.0
   Fresh frozen tissue samples from three patients with 40 R2011.a (MathWorks, Natick, Mass.) were used.
breast cancer were also analyzed using Illumina CytoSNP-             Accordingly, to evaluate the sensitivity and reproducibil-
12 microarrays as previously described (Levy, B. et al.           ity of CoNVERGe, especially when the proportion of abnor-
Genomic imbalance in products of conception: single-              mal DNA for a CNV, or average allelic imbalance (AAI), is
nucleotide polymorphism chromosomal microarray analy-             low, we used it to detect CNVs in DNA mixtures comprised
sis. Obstetrics and gynecology 124, 202-209 (2014)).           45 of a previously characterized abnormal sample titrated into
   Data Analysis of Circulating Tumor DNA                         a matched normal sample. The mixtures consisted of artifi-
   CNVs were identified by a maximum likelihood algo-             cial cfDNA, termed "PlasmArt", with fragment size distri-
rithm that searched for plasma CNVs in regions where the          bution approximating natural cfDNA (see above). In the first
tumor sample from the same individual also had CNVs,              pair, a son's tumor DNA sample having a 3 Mb Focal CNV
using haplotype information deduced from the tumor 50 deletion of the 2211.2 region was titrated into a matched
sample. This algorithm modeled expected allelic frequencies       normal sample from the father at between 0-1.5% total
across a set of average allelic imbalances at 0.025% intervals    cfDNA. CoNVERGe reproducibly identified CNVs corre-
for three sets of hypotheses: (1) all cells are normal (no        sponding to the known abnormality with estimated AAI of
allelic imbalance), (2) some/all cells have a homolog 1           >0.35% in mixtures of >0.5%+/-0.2% AAI, failed to detect
deletion or homolog 2 amplification, or (3) some/all cells 55 the CNV in 6/8 replicates at 0.25% abnormal DNA, and
have a homolog 2 deletion or homolog 1 amplification. For         reported a value of <0.05% for all eight negative control
at least some of the analysis, modeling was performed up to       samples. The AAI values estimated by CoNVERGe showed
15% average allelic imbalance, although for the vast major-       high linearity (R2=0.940) and reproducibility (error vari-
ity of samples AAI was less than or equal to 5%.The               ance=0.087). The assay was sensitive to different levels of
likelihood of each hypothesis was determined at each SNP 60 amplification within the same sample. Based on these data
using a Bayesian classifier based on a beta binomial model        a conservative detection threshold of 0.45% AAI could be
of expected and observed allele frequencies at all heterozy-      used for subsequent analyses.
gous SNPs, and then the joint likelihood across multiple             Two additional PlasmArt titrations, prepared from pairs of
SNPs was calculated taking linkage of the SNP loci into           matched tumor and normal cell line samples and having
consideration. The maximum likelihood hypothesis from the 65 CNVs on chromosome 1 or chromosome 2, were also
comparison of expected to observed allele frequencies was         evaluated. Among negative controls, all values were
then selected.                                                    <0.45%, and high linearity (R2=0.952 for HCC1954 lp,




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R2=0.993 for HCC1954 lq, R2=0.977 for HCC2218 2p,                  Application of CoNVERGe to Plasma Samples
R2=0.967 for HCC2218 2q) and reproducibility (error vari-             To investigate the ability ofCoNVERGe to detect CNVs
ance=0.190 for HCC1954 lp, 0.029 for HCC1954 lq, 0.250             in real plasma samples, we applied our approach to cfDNA
for HCC2218 2p, and 0.350 for HCC2218 2q) were                     paired with a matched tumour biopsy from each of two stage
observed between the known input DNA amount and that 5 II breast cancer patients and five late-stage ovarian cancer.
calculated by CoNVERGe. The difference in the slopes of            In all seven patients, CNVs were detected in both FF tumour
the regressions for regions lp and lq of one sample pair           tissues and in the corresponding plasma samples. A total of
correlates with the relative difference in copy number             32 CNVs, at a level of >0.45% AAI, were detected in the
observed in the B-allelic frequencies (BAFs) of regions p          seven plasma samples (range: 0.48-12.99% AAI) over the
and lq of the same sample, demonstrating the relative 10
                                                                   five regions assayed, which represent about 20% of the
precision of the AAI estimate calculated by CoNVERGe.
                                                                   genome. Note that the presence of CNVs in plasma cannot
   CoNVERGe has application to a variety of sample
                                                                   be confirmed due to the lack of alternative orthogonal
sources including FFPE, Fresh Frozen, Single Cell, Germ-
line control and cfDNA. We applied CoNVERGe to six                 methods.
human breast cancer cell lines and matched normal cell lines 15       Although AAI estimates may appear correlated with
to assess whether it can detect somatic CNVs. Arm-level and        BAFs in tumour, direct proportionality should not necessar-
focal CNVs were present in all six tumour cell lines, but          ily be expected due to tumour heterogeneity. For example, in
were absent from their matched normal cell lines, with the         sample BC5, regions that have BAFs compatible with N=ll
exception of chromosome 2 in HCC1143 in which the                  were detecting; combining this with the AAI calculation
normal cell line exhibits a deviation from the 1: 1 homolog 20 from the plasma sample leads to estimates for c of 2.33%
ratio. To validate these results on a different platform, we       and 2.67% for the two regions. Estimating c using the other
performed CytoSNP-12 microarray analyses, which pro-               regions in the sample give values between 4.46% and
duced consistent results for all samples. Moreover, the            9.53%, which clearly demonstrates the presence of tumor
maximum homolog ratios for CNVs identified by CoN-                 heterogeneity.
VERGe and CytoSNP-12 microarrays exhibited a strong 25                Further CNV analyses of tumor tissue samples
linear correlation (R2=0.987, P<0.001).                               We applied our mmPCR-NGS method described herein to
   We next applied CoNVERGe to fresh-frozen (FF) and               plasma samples from four stage II breast cancer patients
formalin-fixed, paraffin-embedded (FFPE) breast tumour             (BC1-BC4), and analyzed the concordance between CNVs
tissue samples. In both sample types, several arm-level and        detected in plasma and those detected in multiple tumor
focal CNVs were present; however, no CNVs were detected 30 samples from each corresponding patient. Thus, we ana-
in DNA from matched buffy coat samples. CoNVERGe
                                                                   lyzed 4-6 tissue subsections from a tumor from each of four
results were highly correlated with those from microarray
                                                                   patients with breast cancer using mmPCR-NGS. All subsec-
analyses of the same samples (R2=0.909, P<0.001 for
                                                                   tions for each patient had a CNV detected in at least one of
CytoSNP-12 on FF; R2=0.992, P<0.001 for OncoScan on
FFPE). CoNVERGe also produces consistent results on 35 the five targeted genomic regions (lp, lq, 2p, 2q, and
small quantities of DNA extracted from laser capture micro-        2211.2). A CNV was identified in at least one tumor sub-
dissection (LCM) samples, for which microarray methods             section in 18/20 (90%) genomic regions. Among these 18
are not suitable.                                                  CNV-positive regions, 11 (61 %) had a CNV detected in that
Detection of CNVs in Single Cells with CoNVERGe                    particular region in all subsections.
   To test the limits of the applicability of this mmPCR 40           Interestingly, different patterns of AAis across these five
approach, we isolated single cells from the six aforemen-          chromosomal regions were observed among different tumor
tioned cancer cell lines and from a B-lymphocyte cell line         subsections. In patient BCl, for instance, a similar pattern of
that had no CNVs in the target regions. The CNV profiles           CNVs was observed for regions 2p, 2q, and 2211.2 in all
from these single-cell experiments were consistent between         four subsections, suggesting that these CNVs are clonal
three replicates and with those from genomic DNA (gDNA) 45 mutations. In contrast, only two of the four subsections had
extracted from a bulk sample of about 20,000 cells. On the         CNVs observed in the lp region, and three of the four
basis of the number of SNPs with no sequencing reads, the          subsections had CNVs observed in the 1q region, suggesting
average assay drop-out rate for bulk samples was 0.48%             that those CNVs were subclonal mutations. Similar patterns
(range: 0.41-0.60% ), which is attributable to either synthesis    of possible clonal and subclonal CNVs were observed in
or assay design failure. For single cells, the additional 50 patients BC3 and BC4, whereas BC2 appeared to be more
average assay drop-out rate observed was 0.39% (range:             homogenous.
0.19-0.67%). For single cell assays that did not fail (i.e. no        In addition, even when a CNV was detected in all
assay drop-out occurred), the average single ADO rate              subsections for a particular patient, such as in the lq region
calculated using heterozygous SNPs only was 0.05% (range:          for patient BC3, the AAI often varied between subsections.
0.00-0.43% ). Additionally, the percentage of SNPs with high 55 Overall AAI patterns also differed between patients. Taken
confidence genotypes (i.e. SNP genotypes determined with           together, these findings suggest that mmPCR-NGS can be
at least 98% confidence) was similar for both single cell and      used to elucidate both intra- and inter-tumor clonal hetero-
bulk samples and the genotype in the single cell samples           geneity.
matched those in the bulk sample (average 99.52%, range:           Concordance of CNVs in Tumors and Plasma cfDNA
92.63-100.00% ).                                                60    To quantify the amount of overlap between CNVs
   In single cells, allele frequencies are expected to directly    detected in plasma cfDNA and those detected in tumor tissue
reflect chromosome copy numbers, unlike in tumour                  gDNA, we used mmPCR-NGS to interrogate CNVs in
samples where this may be confounded by TH and non-                tumor tissue samples and matching plasma samples from
tumour cell contamination. BAFs of 1/n and (n-1 )/n indicate       patients BC1-BC4. Seven of the 18 (39%) CNV-positive
n chromosome copies in a region. Chromosome copy num- 65 genomic regions identified in tumor subsections were also
bers are indicated on the allele frequency plots for both          detected in the plasma (0.77%-5.80% AAI). Considering
single cells and matched gDNA samples.                             only the 11 clonal CNVs-thosc that were detected in all




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tumor subsections-a CNV was detected in four (36%) of the         amplified in a 40 uL reaction volume containing Qiagen
patient-matched plasma samples (estimated AAI: 0.77%-             mp-PCR master mix (2xMM final cone), 7.5 nM primer
5.80%).                                                           cone. for 28K primer pairs having hemi-nested Rev primers
   Among the seven subclonal CNVs-those that were not             under the following conditions: 95 C 10 min, 25x[96 C 30
observed in all subsections-we detected a CNV in 3/7 (43%) 5 sec, 65 C 29 min, 72 C 30 sec], 72 C 2 min, 4 C hold. The
of the regions (estimated AA: 1.24%-3.36%) in the corre-          amplification product was diluted 1:200 in water and 2 ul
sponding cfDNA. Of note, in these three regions (BC!,             added to STAR 2 (10 ul reaction volume) lxMM, 5 nM
chromosome lp; BC!, chromosome lq; and BC4, chromo-               primer cone. and PCR was performed using hemi-nested
some 2p ), a CNV was detected in 10/14 (71 % ) of the             inner Fwd primer and tag specific Rev primer: 95 C 15 min,
matched tumor subsections. In contrast, in the other four 10 25x[94 C 30 sec, 65 C 1 min, 60 C 5 min, 65 C 5 min, 72
genomic regions that did not have a CNV detected in the           C 30 sec], 72 C 2 min, 4 C hold.
corresponding plasma samples (BC3, chromosomal regions               Full sequence tags and barcodes were attached to the
p, 2p, 2q, and 2211.2), we only detected a CNV in 7/24            amplification products and amplified for 9 cycles using
(29%) of the tissue subsections. These data suggest that the      adaptor specific primers. Prior to sequencing, the barcoded
more prevalent a subclonal CNV is within a tumor, the more 15 library product were pooled, purified with the QIAquick
likely it is to be observed in cfDNA.                             PCR Purification Kit (Qiagen), and quantified using the
   In the 150 genomic regions assayed in 30 negative              Qubit□dsDNA BR Assay Kit (Life Technologies). Ampli-
controls, there were no CNVs with AAis >0.45% and                 cons were sequenced using an Illumina HiSeq 2500
confidence >99.9%, which suggests that mmPCR-NGS has              sequencer.
a low false-positive rate.                                     20 Extraction of DNA from a Blood/Plasma Sample
   These data demonstrate that CNVs can be detected in               Blood samples were collected into EDTA tubes. The
plasma in a substantial fraction of samples, and suggest that     whole blood sample was centrifuged and separated into
the more prevalent a CNV is within a tumour, the more             three layers: the upper layer, 55% of the blood sample, was
likely it is to be observed in cfDNA. Furthermore, CoN-           plasma and contains cell-free DNA (cfDNA); the buffy coat
VERGe detected CNVs from a liquid biopsy that may have 25 middle layer contained leucocytes having DNA, <l % of
otherwise gone unobserved in a traditional tumour biopsy.         total; and the bottom layer, 45% of the collected blood
                                                                  sample, contained erythrocytes, no DNA was present in this
                         Example 28                               fraction as erythrocytes are enucleated. Circulating tumor
                                                                  DNA was isolated from at least 1 mL plasma using the
   This example provides details regarding certain exem- 30 QIAamp Circulating Nucleic Acid Kit, Qia-Amp (Qiagen,
plary sample preparation methods used for analysis of             Valencia, Calif.), according to the manufacture' s protocol. In
different types of samples. The sample preparation methods        certain experiments genomic DNA (gDNA) from FF tumor
disclosed in this example, were used in other Examples            tissues, blood, and buccal samples was extracted using the
provided herein, to generate nucleic acid templates spanning      DNeasy Blood and Tissue Kit (Qiagen).
a plurality of SNP sites for next generation sequencing 35 Plasma CNV Protocol for 3,168-Plex for Chromosomes lp,
reactions. From these NGS reactions, allele counts were           lq, 2p, 2q, and 22qll
generated at a plurality of polymorphic loci. These counts           Plasma DNA libraries were prepared and amplified using
were then used by the analytical methods provided herein, to      a mmPCR 3,168-plex protocol. The samples were prepared
determine the ploidy state of a chromosome or chromosome          in the following way: Up to 20 mL of blood was centrifuged
segment of interest and/or to determine the average allelic 40 to isolate the buffy coat and the plasma. Plasma extraction
imbalance of a sample.                                            of cfDNA and library preparation was performed. DNA was
Single Cell CNV Protocol for 28,000-Plex PCR                      eluted in 50 uL TE buffer. The input for mmPCR was 6.7 uL
   Multiplexed PCR allows simultaneous amplification of           of amplified and purified Natera plasma library at an input
many targets in a single reaction. Target SNPs were identi-       amount of approximately 1200 ng. The plasma DNA was
fied in each genomic region with 10% minimum population 45 amplified in a 20 uL reaction volume containing Qiagen
minor allele frequency (1000 Genomes Project data; Apr. 30,       mp-PCR master mix (2xMM final cone), 2 nM tagged
2012 release). For each SNP, multiple primers, semi-nested,       primer cone. (total 12.7 uM) in 3,168-plex primer pools and
were designed to have an amplicon length of a maximum             PCR amplified: 95 C 10 min, 25x[96 C 30 sec, 65 C 20 min,
length of75 bp and a melting temperature between 54-60.5°         72 C 30 sec], 72 C 2 min, 4 C hold. The amplification
C. Primer interaction scores for all possible combinations of 50 product was diluted 1:2,000 in water and 1 ul added to the
primers were calculated; primers with high scores were            Barcoding-PCR in a 10 uL reaction volume. The barcodes
eliminated to reduce the likelihood of primer dimer product       were attached to the amplification products via PCR ampli-
formation. Candidate PCR assays were ranked and selected          fication for 12 cycles using tag specific primers. Products of
on the basis of target SNP minor allele frequency, observed       multiple samples were pooled and then purified with QIA-
heterozygosity rate (from dbSNP), presence in HapMap, and 55 quick PCR Purification Kit (Qiagen) and eluted in 50 ul
amplicon length.                                                  DNA suspension buffer. Samples were sequenced by NGS as
   In certain experiments, single cell samples were prepared      described for the Single Cell CNV Protocol for 28,000-plex
and amplified using a mmPCR 28,000-plex protocol. The             PCR.
samples were prepared in the following way: For analysis of       Breast Cancer Feasibility SNV Panel from Plasma
a single cell, cells were serial diluted until there were 3 or 60    cfDNA from breast cancer patient blood samples was
4 cells per droplet. An individual cell was pipetted and          prepared and amplified using 336 primer pairs that were
placed into a PCR tube. The cell was lysed using Protease K,      distributed into four 84-plex pools. Natera plasma libraries
salt, and DTT using the following conditions: 56° C. for 20       were prepared as described for Plasma CNV Protocol for
minutes, 95° C. for 10 minutes, and then a 4° C. hold. For        3,168-plex for Chromosomes lp, lq, 2p, 2q, and 22qll.
analysis of genomic DNA, DNA from the same cell line as 65 DNA was eluted in 50 uL TE buffer. The input for mPCR
the analyzed single cell was either purchased or obtained by      was 2.5 uL of amplified and purified Natera plasma library
growing the cells and extracting the DNA. The DNA was             at an input amount of approximately 600 ng. SNPs were




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selected from the 1000 Genomes map for Humans, Group 19                  tion volume, 10 ul)x6* 10"423 (number of molecules per
and dbSNP to pick targets, but only SNPs from the 1000                   mole, Avogadro's number)=12* 10A9
Genomes were used to screen for minor allele frequencies.             calculate the amplification fold needed to consume all
The plasma DNA was amplified in four parallel reactions of               primers: 12*10'9 (number of primer molecules)/10'5
84-plex primer pools, a 10 uL reaction volume containing                 (number of copies of each target)=12*10'4
Qiagen mp-PCR master mix (2xMM final cone.), 4 mM                     calculate the number of cycles needed to achieve this
EDTA, 7.5 nM primer concentration (total 1.26 uM) and                    amplification fold, assuming 100% efficiency at each
PCR amplified: 95 C 15 min, 25x[94 C 30 sec, 65 C 15 min,                cycle: log 2(12*10'4)=17 cycles. (this is log 2 because
72 C 30 sec], 72 C 2 min, 4 C hold. The amplification                    at each cycle, the number of copies doubles).
                                                                10    So for these conditions (100 k copies input, 2 nM primers,
product of the 4 subpools were each diluted 1:200 in water
                                                                   10 ul reaction volume, assuming 100% PCR efficiency at
and 1 ul added to the Barcoding-PCR reaction in a 10 uL
                                                                   each cycle), the primers would be consumed after 17 PCR
reaction volume containing Q5 HS HF master mix (1 x final),
                                                                   cycles.
and 1 uM each barcoding primer and each of the pools were             However, the key assumption is that some of the products
amplified in the following reaction: 98 C 1 min, 25x[98 C 15 DO NOT have 100% efficiency, so without measuring their
10 sec, 70 C 10 sec, 60 C 30 sec, 65 C 15 sec, 72 C 15 sec],       efficiencies (which is only practicable for a small number of
72 C 2 min, 4 C hold. Libraries were purified with QIAquick        them anyway), it would take more than 17 cycles to con-
PCR Purification Kit (Qiagen) and eluted in 50 ul DNA              sume them.
suspension buffer. Samples were sequenced by paired end               For each of four 84-plex SNV PCR primer pools we
sequencing.                                                     20 observed improved DOR efficiency with increasing cycles
                                                                   from 15 to 20 to 25. Similar results were obtained for
                          Example 29                               experiments using the 3,168-plex panel. The limit of detec-
                                                                   tion decreased (i.e. SNV sensitivity increased) with increas-
   This example demonstrates that by using low primer              ing depth of read. Furthermore, the sensitivity was consis-
concentrations such that primer amount is the limiting 25 tently better when detecting transversion mutations than
reactant in multiplex PCR in a workflow that is followed by        transition mutations. It is likely that additional increases in
next generation sequencing, uniformity of density of reads,        DOR efficiency can be obtained with additional cycles when
and therefore limits of detection, across a pool of amplifi-       using primer-limiting multiplex PCR before multi-read
cation reactions is improved. Some experiments were car-           sequencing.
ried out for plasma CNV using the 3,168-plex panel accord- 30         Accordingly, in one aspect provided herein is a method of
ing to Example 28 above except that the total reaction             amplifying a plurality of target loci in a nucleic acid sample
volume was 10 uL instead of 20 uL. Furthermore, PCR was            that includes (i) contacting the nucleic acid sample with a
carried out for 15, 20, or 25 cycles. Other experiments were       library of primers and other primer extension reaction com-
carried out using the four 84-plex pools on breast cancer          ponents to provide a reaction mixture, wherein the relative
samples according to the protocol of Example 28 except that 35 amount of each primer in the reaction mixture compared to
primer concentrations were 2 nM and PCR amplification              the other primer extension reaction components creates a
was carried out for 15, 20, or 25 cycles.                          reaction wherein the primers are present at a limiting con-
   Not to be limited by theory, it is believed that primer         centration, and wherein the primers hybridize to a plurality
limited multiplex PCR provides improved depth of read              of different target loci; and (ii) subjecting the reaction
uniformity for multiplex PCR before multi-read sequencing, 40 mixture to primer extension reaction conditions for sufficient
such as high throughput or massively parallel sequencing,          number of cycles to consume or exhaust the primers in the
such as sequencing on an Illumina HiSeq or MiSeq system            library of primers, to produce amplified products that
or an Ion Torrent PGM or Proton system, based on the               include target amplicons. For example, the plurality of
following considerations: If some of the amplifications in a       different target loci can include at least 2, 3, 5, 10, 25, 50,
multiplex PCR have lower efficiencies than others, then with 45 100, 200, 250, 500, 1,000; 2,000; 5,000; 7,500; 10,000;
normal multiplex PCR we will end up with a wide range of           20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or 100,000
depth of read ("DOR") values. However, if the amount of            different target loci, and at most, 50, 100, 200, 250, 500,
primer is limited, and the multiplex PCR is cycled more            1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
times than what it takes to exhaust the primers, then the more     40,000; 50,000; 75,000; 100,000, 200,000, 250,000, 500,
efficient amplifications will stop doubling (because they 50 000, and 1,000,000 different target loci to produce a reaction
have no more primers to use) and the less efficient ones will      mixture.
continue to double; this will result in a more similar amount         The method in illustrative embodiments, includes deter-
of amplification product for all of the amplification products.    mining an amount of primer that will be a rate limiting
This will translate into a much more uniform distribution of       amount. This calculation typically includes estimating and/
the DOR.                                                        55 or determining the number of target molecules and involves
   The following calculations are used to determine the            analyzing and/or determining the number of amplification
number of cycles that would exact a given amount of primer         cycles performed. For example, in illustrative embodiments,
and starting nucleic acid template:                                the concentration of each primer is less than 100, 75, 50, 25,
   assume a given starting DNA input level: 100 k copies of        10, 5, 2, 1, 0.5, 0.25, 0.2 or 0.1 nM. In various embodiments,
      each target (10'5; this is easily achieved with using 60 the GC content of the primers is between 30 to 80%, such
      amplified library)                                           as between 40 to 70% or 50 to 60%, inclusive. In some
   assume we use 2 nM of each primer as an exemplary               embodiments, the range of GC content (e.g., the maximum
      concentration, although other concentrations such as,        GC content minus minimum GC content, such as 80%-
      for example, 0.2, 0.5, 1, 1.5, 2, 2.5, 5, or 10 nM could     60%=a range of 20%) of the primers is less than 30, 20, 10,
      work too.                                                 65 or 5%. In some embodiments, the melting temperature (Tm)
   calculate the number of primer molecules for each primer:       of the primers is between 40 to 80° C., such as 50 to 70° C.,
      2* 10A-9 (molar concentration, 2 nM)x10*10"4-6 (rcac-        55 to 65° C., or 57 to 60.5° C., inclusive. In some cmbodi-




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ments, the range of melting temperatures of the primers is            In various embodiments of any of the aspects of the
less than 20, 15, 10, 5, 3, or 1° C. In some embodiments, the      invention, the primer extension reaction conditions are poly-
length of the primers is between 15 to 100 nucleotides, such       merase chain reaction conditions (PCR). In various embodi-
as between 15 to 75 nucleotides, 15 to 40 nucleotides, 17 to       ments, the length of the annealing step is greater than 3, 5,
35 nucleotides, 18 to 30 nucleotides, 20 to 65 nucleotides,        8, 10, or 15 minutes but less than 240, 120, 60, or 30
inclusive. In some embodiments, the primers include a tag
                                                                   minutes. In various embodiments, the length of the exten-
that is not target specific, such as a tag that forms an internal
loop structure. In some embodiments, the tag is between two        sion step is greater than 3, 5, 8, 10, or 15 minutes but less
DNA binding regions. In various embodiments, the primers           than 240, 120, 60 or 30 minutes.
include a 5' region that is specific for a target locus, an 10        All patents, patent applications, and published references
internal region that is not specific for the target locus and      cited herein are hereby incorporated by reference in their
forms a loop structure, and a 3' region that is specific for the   entirety. While the methods of the present disclosure have
target locus. In various embodiments, the length of the 3'         been described in connection with the specific embodiments
region is at least 7 nucleotides. In some embodiments, the         thereof, it will be understood that it is capable of further
length of the 3' region is between 7 and 20 nucleotides, such 15 modification. Furthermore, this application is intended to
as between 7 to 15 nucleotides, or 7 to 10 nucleotides,            cover any variations, uses, or adaptations of the methods of
inclusive. In various embodiments, the test primers include        the present disclosure, including such departures from the
a 5' region that is not specific for a target locus (such as a tag present disclosure as come within known or customary
or a universal primer binding site) followed by a region that      practice in the art to which the methods of the present
is specific for a target locus, an internal region that is not 20 disclosure pertain, and as fall within the scope of the
specific for the target locus and forms a loop structure, and      appended claims. For example, any of the methods disclosed
a 3' region that is specific for the target locus. In some         herein for DNA can be readily adapted for RNA by including
embodiments, the range of the length of the primers is less        a reverse transcription step to convert the RNA into DNA.
than 50, 40, 30, 20, 10, or 5 nucleotides. In some embodi-         Examples that use polymorphic loci for illustration can be
ments, the length of the target amplicons is between 50 and 25 readily adapted for the amplification of nonpolymorphic loci
100 nucleotides, such as between 60 and 80 nucleotides, or         if desired. Any of the methods disclosed herein can be used
60 to 75 nucleotides, inclusive. In some embodiments, the          with a low level of multiplexing if desired (such as with less
range of the length of the target amp Ii cons is less than 100,    than 1,000, 750, 500, 250, 100, 75, 50, 25, or 10 different
75, 50, 25, 15, 10, or 5 nucleotides.                              primers or different primer pairs to different target loci).




                                                    SEQUENCE LISTING

The patent contains a lengthy "Sequence Listing" section. A copy of the "Sequence Listing" is available in
electronic form from the USPTO web site (https://seqdata.uspto.gov/?pageRequest=docDetail&DocID=USl 1519035B2).
An electronic copy of the "Sequence Listing" will also be available from the USPTO upon request and payment of the
fee set forth in 37 CFR 1.19(b)(3).




   What is claimed is:                                          second strand, wherein a first end of each of the universal tail
   1. A method for amplifying and sequencing DNA, com-          adaptors comprises a double-stranded section comprising
                                                             45 the 5' portion of the first strand and the 3' portion of the
prising:
   tagging isolated cell free DNA with one or more universal    second strand, wherein the first end is ligated to the cell free
      tail adaptors to generate tagged products, wherein the    DNA.
                                                                   4. The method of claim 3, wherein amplifying the tagged
      isolated cell-free DNA is isolated from a blood sample
                                                                products comprises a first amplifying step and a second
      collected from a subject who is not a pregnant women; 50 amplifying step, wherein the first amplifying step comprises
   amplifying the tagged products one or more times to          using a first target-specific primer that specifically anneals to
      generate final amplification products, wherein one of     a target sequence and a first adaptor primer having a
      the amplification steps comprises targeted amplifica-     nucleotide sequence identical to a first portion of the first
      tion of a plurality of single nucleotide polymorphism     strand to generate a first amplification product.
      (SNP) loci in a single reaction volume, wherein one of 55    5. The method of claim 4, wherein the second amplifying
      the amplifying steps introduces a barcode and one or      step comprises using a second target-specific primer that
      more sequencing tags; and                                 specifically anneals to the first amplification product and a
   sequencing the plurality of SNP loci on the cell free DNA    second adaptor primer having a nucleotide sequence iden-
      by conducting massively parallel sequencing on the        tical to a second portion of the first strand to generate the
      final amplification products, wherein the plurality of 60 final amplification product.
      SNP loci comprises 25-2,000 loci associated with can-        6. The method of claim 5, wherein the second adaptor
      cer.                                                      primer is nested relative to the first adaptor primer.
   2. The method of claim 1, wherein tagging the cell free         7. The method of claim 6, wherein the second target-
DNA comprises ligating the one or more universal tail           specific primer comprises an index tag.
adaptors to the cell free DNA.                               65    8. The method of claim 7, wherein the second amplifying
   3. The method of claim 2, wherein the one or more            step further comprises using an index primer comprising a
universal tail adaptors each comprise a first strand and a      sequence complementary to the index tag.




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                                                   US 11,519,035 B2
                              251                                                 252
  9. The method of claim 8, wherein the index primer
comprises the barcode and a first sequencing tag.
   10. The method of claim 1, wherein the one or more
universal tail adaptors comprise a second barcode.
   11. The method of claim 1, wherein the one or more
universal tail adaptors comprise a second sequencing tag.
   12. The method of claim 1, wherein the one or more
universal tail adaptors comprise a first universal tail adaptor
and a second universal tail adaptor.
   13. The method of claim 12, wherein tagging the cell free 10
DNA comprises amplifying the cell free DNA with a first
primer comprising the first universal tail adaptor and a
second primer comprising the second universal tail adaptor.
   14. The method of claim 12, wherein amplifying the
tagged products comprises a single amplifying step.             15
   15. The method of claim 14, wherein amplifying the
tagged products comprises using a third primer and a fourth
primer, wherein the third primer comprises a first sequenc-
ing tag and wherein the fourth primer comprises a second
sequencing tag.                                                 20

                      *   *    *    *   *




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                                            U.S. District Court
                                   North Carolina Middle District (NCMD)
                            CIVIL DOCKET FOR CASE #: 1:23-cv-00629-CCE-JLW


 NATERA, INC. v. NEOGENOMICS LABORATORIES, INC.                                      Date Filed: 07/28/2023
 Assigned to: CHIEF JUDGE CATHERINE C. EAGLES                                        Jury Demand: Both
 Referred to: MAG/JUDGE JOE L. WEBSTER                                               Nature of Suit: 830 Patent
 Cause: 35:271 Patent Infringement                                                   Jurisdiction: Federal Question
 Plaintiff
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  Date Filed             #     Docket Text
  07/28/2023              1 COMPLAINT against Neogenomics Laboratories, Inc. ( Filing fee $ 402 receipt number
                            ANCMDC-3618904.), filed by Natera, Inc. (Attachments: # 1 Exhibit 1. US 11530454, #
                            2 Exhibit 2. US 11519035, # 3 Exhibit 3. 454 Patent Claim Chart, # 4 Exhibit 4. 035
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                                                                          257 Filed: 03/18/2024
                           Patent Claim Chart, # 5 Exhibit 5. RaDaR Residual Disease and Recurrence, # 6 Exhibit
                           6. Heider AACR Virtual Poster, # 7 Exhibit 7. AACR 2020, # 8 Exhibit 8. Lipsyc Sharf, #
                           9 Exhibit 9. Gale, # 10 Exhibit 10. Flach, # 11 Exhibit 11. AACR 2020 Poster 3097, # 12
                           Exhibit 12. Cutts AACR 2021, # 13 Exhibit 13. Gale Pub, # 14 Exhibit 14. AACR 2021
                           Pubs, # 15 Exhibit 15. TAm-Seq Poster, # 16 Exhibit 16. Forshew, # 17 Exhibit 17.
                           NeoGenomics Labs, # 18 Exhibit 18. CAP Certificate, # 19 Exhibit 19. CLIA Certificate,
                           # 20 Exhibit 20. Sebastian, # 21 Exhibit 21. NeoGenomics Annual Report, # 22 Exhibit
                           22. RaDaR Discussion Guide, # 23 Exhibit 23. RaDaR Commercial Avail Announcement,
                           # 24 Exhibit 24. MoIDX-DEX Diagnostics, # 25 Exhibit 25. RaDaR Assay Request
                           Form, # 26 Exhibit 26. NeoGenomics Global Conf. Takeaways, # 27 Exhibit 27. Top Ten
                           Article, # 28 Exhibit 28. Signatera - Innovation Award, # 29 Exhibit 29. MedTech
                           Breakthrough winners, # 30 Exhibit 30. RaDaR Medicare Coverage Article, # 31 Civil
                           Cover Sheet)(VAN ARNAM, ROBERT) (Entered: 07/28/2023)
  07/28/2023              2 NOTICE of Attorney Appearance by attorney ROBERT VAN ARNAM on behalf of
                            Plaintiff Natera, Inc (VAN ARNAM, ROBERT) (Entered: 07/28/2023)
  07/28/2023              3 NOTICE of Attorney Appearance by attorney ANDREW R. SHORES on behalf of
                            Plaintiff Natera, Inc (SHORES, ANDREW) (Entered: 07/28/2023)
  07/28/2023              4 Corporate Disclosure Statement. (SHORES, ANDREW) (Main Document 4 replaced on
                            8/1/2023 with flattened image.) (Hicks, Samantha) (Entered: 07/28/2023)
  07/31/2023              5 MOTION for Preliminary Injunction by Natera, Inc. Response to Motion due by
                            8/21/2023 (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT)
                            (Entered: 07/31/2023)
  07/31/2023              6 MEMORANDUM filed by Plaintiff Natera, Inc re 5 MOTION for Preliminary Injunction
                            filed by Natera, Inc. (Attachments: # 1 Exhibit 1 - NeoGenomics Gets Medicare
                            Coverage, # 2 Exhibit 2 - Motion to Dismiss for Failure to State a Claim, # 3 Exhibit 3 -
                            Opposition Brief to Inivata MTD, # 4 Exhibit 4 - Reply Brief re MTD, # 5 Exhibit 5 -
                            2022 NeoGenomics Laboratories Annual Report, # 6 Exhibit 6 - Strategic Collaboration
                            and Investment from NeoGenomics, # 7 Exhibit 7 - MolDX - DEX Diagnostics
                            Exchange, # 8 Exhibit 8 - RaDaR Assay Request Form, # 9 Exhibit 9 - Medicare Extends
                            Coverage of Natera Signatera MRD Test, # 10 Exhibit 10 - Neo Q1 2023 Earnings call, #
                            11 Exhibit 11 - BTIG - Natera, # 12 Exhibit 12 - SVB Securities, # 13 Exhibit 13 - MRD
                            The Unlocking of Billions in TAM, # 14 Exhibit 14 - Seeking Alpha - Natera, Inc., # 15
                            Exhibit 15 - Significant Ramp Ahead in Cancer Liquid Biopsy, # 16 Exhibit 16 - Refinitiv
                            StreetEvents)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023              7 DECLARATION of Anup Malani, Ph.D. filed by Plaintiff Natera, Inc re 5 MOTION for
                            Preliminary Injunction filed by Natera, Inc. (Attachments: # 1 Exhibit 1 - 35 USC 283, #
                            2 Exhibit 2 - Phylogenetic ctDNA analysis, # 3 Exhibit 3 - Abbott Laboratories v. Sandoz,
                            Inc., # 4 Exhibit 4 - Understanding clonoSEQ, # 5 Exhibit 5 - Altana & Wyeth v Teva, # 6
                            Exhibit 6 - Amazon.com, Inc. v. Barnesandnoble.com, # 7 Exhibit 7 - Explaining
                            Molecular Residual Disease, # 8 Exhibit 8 - Apple v. Samsung, # 9 Exhibit 9 - Apple v.
                            Samsung, # 10 Exhibit 10 - How a Simple Blood Test Could Reduce Cancer Deaths, # 11
                            Exhibit 11 - Automobile Prices in Market Equilibrium, # 12 Exhibit 12 - Understanding
                            MRD in Clinical Trials, # 13 Exhibit 13 - Broadcom Corp. v. Emulex Corp, # 14 Exhibit
                            14 - Compelling data sets at AACR, # 15 Exhibit 15 - Key Takeaways from our MRD, #
                            16 Exhibit 16 - BTIG - Natera, # 17 Exhibit 17 - BTIG - Natera, # 18 Exhibit 18 - BTIG -
                            Natera, # 19 Exhibit 19 - BTIG - NeoGenomics, Inc., # 20 Exhibit 20 - NEOs operational
                            turnaround, # 21 Exhibit 21 - OncoCyte Corporation, # 22 Exhibit 22 - We remain
                            positive on MRD testing, # 23 Exhibit 23 - NTRA is a Pillar, # 24 Exhibit 24 - Diagnostic
                            Value of Liquid Biopsy in the Era of Precision, # 25 Exhibit 25 - Celsis in Vitro, Inc. v.
                            CellzDirect, Inc.,, # 26 Exhibit 26 - Local Coverage Determination, # 27 Exhibit 27 -

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                           LDT and CLIA FAQs, # 28 Exhibit 28 - Medicare Program Integrity Manual, # 29
                           Exhibit 29 - MolDx Minimal Residual Disease Testing, # 30 Exhibit 30 - Proprietary
                           Gross Margin Analysis, # 31 Exhibit 31 - Liquid Biopsy Report, # 32 Exhibit 32 - Natera,
                           Inc. Q4 Upside, # 33 Exhibit 33 - Diaceutics, # 34 Exhibit 34 - Douglas Dynamics, LLC
                           v. Buyers Products Co., # 35 Exhibit 35 - E.I. du Pont de Nemours v. Polaroid Grap, # 36
                           Exhibit 36 - eBay Inc. v. MercExchange LLC, # 37 Exhibit 37 - Economic Forecasting, #
                           38 Exhibit 38 - Molecular Residual Disease, # 39 Exhibit 39 - FDA Website, # 40 Exhibit
                           40 - Distribution of IVD Products)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023              8 NOTICE by Natera, Inc re 7 Declaration. (Attachments: # 1 Exhibit 41 - Principles for
                            Codevelopment, # 2 Exhibit 42 - Foundation Medicine, # 3 Exhibit 43 - Preemption,
                            Leapfrogging, and Competition in Patent Races, # 4 Exhibit 44 - Inivata Expects New
                            Minimal Residual Disease, # 5 Exhibit 45 - NeoGenomics Gets Medicare Coverage for
                            Radar, # 6 Exhibit 46 - Detection of Circulating Tumor DNA, # 7 Exhibit 47 - Preemtive
                            Patenting, # 8 Exhibit 48 - Biopharma Solutions, # 9 Exhibit 49 - Tests for Patients, # 10
                            Exhibit 50 - Hsieh, Mishra, Gobeli (2003), # 11 Exhibit 51 - Hypbritech v. Abbott, # 12
                            Exhibit 52 - Hypbritech v. Abbott, # 13 Exhibit 53 - Invitate's PCM Assay, # 14 Exhibit
                            54 - Probabilistic Patents, # 15 Exhibit 55 - First-Mover Advantages, # 16 Exhibit 56 -
                            Lighter Capital, # 17 Exhibit 57 - Regulatory approval pathways, # 18 Exhibit 58 -
                            Principles of Economics)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023              9 NOTICE by Natera, Inc re 7 Declaration. (Attachments: # 1 Exhibit 58 - Con't, # 2
                            Exhibit 59 - Mayo Clinic, # 3 Exhibit 60 - MedTech Breakthrough Website, # 4 Exhibit
                            61 - Patent 11,530,454, # 5 Exhibit 62 - Patent 11,519,035, # 6 Exhibit 63 - Natera Inc
                            1Q23, # 7 Exhibit 64 - Key Takeaways, # 8 Exhibit 65 - Morgan Stanley - Natera, # 9
                            Exhibit 66 - FDA Grants Breakthrough Device, # 10 Exhibit 67 - FDA Grants
                            Breakthrough Device, # 11 Exhibit 68 - Foundation Medicine, # 12 Exhibit 69 - Natera
                            Press Release, # 13 Exhibit 70 - Medicare Extends Coverage, # 14 Exhibit 71 - Natera
                            Announces Publication, # 15 Exhibit 72 - Natera Announces Use of Signatera, # 16
                            Exhibit 73 - Natera Awarded Advanced Diagnostic, # 17 Exhibit 74 - Natera Press
                            Release, # 18 Exhibit 75 - Nateras Signatera Test)(VAN ARNAM, ROBERT) (Entered:
                            07/31/2023)
  07/31/2023             10 NOTICE by Natera, Inc re 7 Declaration. (Attachments: # 1 Exhibit 76 - Natera Press
                            Release, # 2 Exhibit 77 - Natera - About us, # 3 Exhibit 78 - Pioneers in Individualized
                            Genetic Testing, # 4 Exhibit 79 - Natera Website, # 5 Exhibit 80 - Natera Website, # 6
                            Exhibit 81 - Signatera Overview, # 7 Exhibit 82 - Natera Website, # 8 Exhibit 83 - A
                            personalized tumor informed approach, # 9 Exhibit 84 - Company Fact Sheet, # 10
                            Exhibit 85 - Natera - Form 10-K (2015), # 11 Exhibit 86 - Natera - Form 10-K (2017), #
                            12 Exhibit 87 - Natera - Form 10-K (2020), # 13 Exhibit 88 - Natera - Form 10-K (2022),
                            # 14 Exhibit 89 - Natera - Q1 2023, # 15 Exhibit 90 - Natera - Q4 22, # 16 Exhibit 91 -
                            JPM HC Conf Presentation, # 17 Exhibit 92 - Natera - Q3 22, # 18 Exhibit 93 - National
                            Cancer Institute, # 19 Exhibit 94 - National Cancer Institute, # 20 Exhibit 95 - National
                            Cancer Institute, # 21 Exhibit 96 - NCCN Website - About, # 22 Exhibit 97 -
                            NeoGenomics Press Release, # 23 Exhibit 98 - NeoGenomics - About, # 24 Exhibit 99 -
                            NeoGenomics Website, # 25 Exhibit 100 - NeoGenomics Website, # 26 Exhibit 101 -
                            NeoGenomics Website, # 27 Exhibit 102 - NeoGenomics Website, # 28 Exhibit 103 -
                            NeoGenomics Website, # 29 Exhibit 104 - NeoGenomics Website, # 30 Exhibit 105 -
                            NeoGenomics Website, # 31 Exhibit 106 - NeoGenomics Website, # 32 Exhibit 107 -
                            NeoGenomics Website, # 33 Supplement 108 - NeoGenomics Website, # 34 Exhibit 109 -
                            NeoGenomics Website, # 35 Exhibit 110 - NeoGenomics Website, # 36 Exhibit 111 -
                            NeoGenomics - NGS, # 37 Exhibit 112 - NeoGenomics Website, # 38 Exhibit 113 -
                            NeoGenomics Website, # 39 Exhibit 114 - NeoGenomics Website, # 40 Exhibit 115 -
                            2023 Investor Day Presentation)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)


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                                                                         CM/ECF 259    Filed: 03/18/2024
  07/31/2023             11 NOTICE by Natera, Inc re 7 Declaration. (Attachments: # 1 Exhibit 116 - NeoGenomics -
                            Form 8-K, # 2 Exhibit 117 - Neogenomics - Form 10-K, # 3 Exhibit 118 - Neogenomics -
                            Form 10-K, # 4 Exhibit 119 - Neogenomics - Form 10-K, # 5 Exhibit 120 - Neogenomics
                            - Form 10-K, # 6 Exhibit 121 - Neogenomics - Form 10-K, # 7 Exhibit 122 -
                            Obuchowski, Zhou, # 8 Exhibit 123 - Orthopedic Design, # 9 Exhibit 124 - MRD The
                            Unlocking of Billions in TAM, # 10 Exhibit 125 - Hot Off The Press, # 11 Exhibit 126 -
                            Presidio Components v. American Technical Ceramics, # 12 Exhibit 127 - Study designs
                            Part 1, # 13 Exhibit 128 - Refinitiv StreetEvents, # 14 Exhibit 129 - Refinitiv
                            StreetEvents, # 15 Exhibit 130 - Refinitiv StreetEvents)(VAN ARNAM, ROBERT)
                            (Entered: 07/31/2023)
  07/31/2023             12 NOTICE by Natera, Inc re 7 Declaration. (Attachments: # 1 Exhibit 131 - Refinitiv
                            StreetEvents, # 2 Exhibit 132 - Refinitiv StreetEvents, # 3 Exhibit 133 - Refinitiv
                            StreetEvents, # 4 Exhibit 134 - Refinitiv StreetEvents, # 5 Exhibit 135 - Refinitiv
                            StreetEvents, # 6 Exhibit 136 - Refinitiv StreetEvents, # 7 Exhibit 137 - Refinitiv
                            StreetEvents, # 8 Exhibit 138 - Refinitiv StreetEvents, # 9 Exhibit 139 - Refinitiv
                            StreetEvents, # 10 Exhibit 140 - First-Mover Advantages, # 11 Exhibit 141 - Natera, Inc.
                            (NTRA) Q1 2023, # 12 Exhibit 142 - Natera, Inc. (NTRA) Q4 2022, # 13 Exhibit 143 -
                            State Indus., Inc. v. Mor-Flo Indus, # 14 Exhibit 144 - SVB Leerink, # 15 Exhibit 145 -
                            SVB Leerink, # 16 Exhibit 146 - SVB Leerink, # 17 Exhibit 147 - SVB Leerink, # 18
                            Exhibit 148 - SVB Leerink, # 19 Exhibit 149 - SVB Securities, # 20 Exhibit 150 - SVB
                            Securities, # 21 Exhibit 151 - SVB Securities, # 22 Exhibit 152 - SVB Securities, # 23
                            Exhibit 153 - Going Deeper On MRD, # 24 Exhibit 154 - Testing.com, # 25 Exhibit 155 -
                            Thomson Reuters Streetevents, # 26 Exhibit 156 - Thomson Reuters Streetevents, # 27
                            Exhibit 157 - Initiate Coverage of NTRA with a Buy, # 28 Exhibit 158 - Veeco
                            Instruments v. SGL Carbon, # 29 Exhibit 159 - Wall Street Journal, # 30 Exhibit 160 -
                            Winter v. Natural Resources Defense Council, Inc., # 31 Exhibit 161 - Introductory
                            Econometrics)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023             13 DECLARATION filed by Plaintiff Natera, Inc re 5 MOTION for Preliminary Injunction
                            DR. MICHAEL L. METZKER (Redacted) filed by Natera, Inc. (Attachments: # 1 Exhibit
                            1 - CV, # 2 Exhibit 2 - Kirkizlar et al, # 3 Exhibit 3 - Leon1997Paper, # 4 Exhibit 4 -
                            RaDaR Technology, # 5 Exhibit 5 - Gale, # 6 Exhibit 6 - Analytical-performance, # 7
                            Exhibit 7 - Forshew, # 8 Exhibit 8 - Heider AACR, # 9 Exhibit 9 - Lipsyc Sharf 2022, #
                            10 Exhibit 10 - Flach + Supp Methods, # 11 Exhibit 11 - Marsico AACR_2020, # 12
                            Exhibit 12 - 536-Cutts-AACR-2021, # 13 Exhibit 13 - Plagnol2018Paper, # 14 Exhibit 14
                            - AACR_2023_Evaluation, # 15 Exhibit 15 - RaDaR_PatientDiscussionGuide, # 16
                            Exhibit 16 - RaDaR Assay Request Form, # 17 Exhibit 17 - Oncology-Clinical, # 18
                            Exhibit 18 - jamaoncology, # 19 Exhibit 19 - Coombes2019Paper, # 20 Exhibit 20 -
                            Abbosh2017Paper, # 21 Exhibit 21 - Christensen2019Paper, # 22 Exhibit 22 -
                            Kotani2023Paper)(VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023             14 DECLARATION of SOLOMON MOSHKEVICH filed by Plaintiff Natera, Inc re 5
                            MOTION for Preliminary Injunction Redacted filed by Natera, Inc. (Attachments: # 1
                            Exhibit A - Natera Receives Final Medicare Coverage, # 2 Exhibit B - Natera
                            Announcement, # 3 Exhibit C - 2022 10-K Natera, # 4 Exhibit D - NeoGenomics
                            Announces Commercial Availability of the RaDaR, # 5 Exhibit E - Neogenomics Investor
                            Day Presentation, # 6 Exhibit F - Email (under seal), # 7 Exhibit G - Power Point, # 8
                            Exhibit H - Refinitiv StreetEvents, # 9 Exhibit I - Refinitiv StreetEvents, # 10 Exhibit J -
                            Russell - AACR 2023, # 11 Exhibit K - 2023_Validation, # 12 Exhibit L - Abbosh 2017, #
                            13 Exhibit M - Lebow 2022, # 14 Exhibit N - NSCLC clinical data)(VAN ARNAM,
                            ROBERT) (Entered: 07/31/2023)
  07/31/2023             15 MOTION to Seal unredacted versions of the Declaration of Dr. Michael L. Metzker, the
                            Declaration of Solomon Moshkevich, and the entirety of Exhibit F attached to the

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                                                                          260 Filed: 03/18/2024
                           Moshkevich Declaration [If the party filing this motion is not the party claiming
                           confidentiality, the party claiming confidentiality must file a response within 14 days that
                           includes the materials required by L.R. 5.4(c)(3).] by Natera, Inc. Response to Motion
                           due by 8/14/2023 (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT)
                           (Entered: 07/31/2023)
  07/31/2023             16 MEMORANDUM filed by Plaintiff Natera, Inc re 15 MOTION to Seal unredacted
                            versions of the Declaration of Dr. Michael L. Metzker, the Declaration of Solomon
                            Moshkevich, and the entirety of Exhibit F attached to the Moshkevich Declaration [If the
                            party filing this motion is not the party claiming confidentiality, the party claiming
                            confidentiality must file a response within 14 days that includes the materials required by
                            L.R. 5.4(c)(3).] filed by Natera, Inc. (VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023             17 SEALED UNREDACTED DOCUMENTS filed by Plaintiff Natera, Inc, Defendant
                            Neogenomics Laboratories, Inc. re 13 Declaration, 15 Motion to Seal. (Attachments: # 1
                            Exhibit 1 - CV, # 2 Exhibit 2 - Kirkizlar et al, # 3 Exhibit 3 - Leon1997Paper, # 4 Exhibit
                            4 - RaDaR Technology, # 5 Exhibit 5 - Gale, # 6 Exhibit 6 - Analytical-performance, # 7
                            Exhibit 7 - Forshew, # 8 Exhibit 8 - Heider AACR, # 9 Exhibit 9 - Lipsyc Sharf 2022, #
                            10 Exhibit 10 - Flach + Supp Methods, # 11 Exhibit 11 - Marsico AACR_2020, # 12
                            Exhibit 12 - 536-Cutts-AACR-2021, # 13 Exhibit 13 - Plagnol2018Paper, # 14 Exhibit 14
                            - AACR_2023_Evaluation, # 15 Exhibit 15 - RaDaR_PatientDiscussionGuide, # 16
                            Exhibit 16 - RaDaR Assay Request Form, # 17 Exhibit 17 - Oncology-Clinical, # 18
                            Exhibit 18 - jamaoncology, # 19 Exhibit 19 - Coombes2019Paper, # 20 Exhibit 20 -
                            Abbosh2017Paper, # 21 Exhibit 21 - Christensen2019Paper, # 22 Exhibit 22 -
                            Kotani2023Paper) (VAN ARNAM, ROBERT) (Entered: 07/31/2023)
  07/31/2023             18 SEALED UNREDACTED DOCUMENTS filed by Plaintiff Natera, Inc, Defendant
                            Neogenomics Laboratories, Inc. re 15 Motion to Seal, 14 Declaration. (Attachments: # 1
                            Exhibit A - Natera Receives Final Medicare Coverage, # 2 Exhibit B - Natera
                            Announcement, # 3 Exhibit C - 2022 10-K Natera, # 4 Exhibit D - NeoGenomics
                            Announces Commercial Availability of the RaDaR, # 5 Exhibit E - Neogenomics Investor
                            Day Presentation, # 6 Exhibit F - Email (full document), # 7 Exhibit G - Power Point, # 8
                            Exhibit H - Refinitiv StreetEvents, # 9 Exhibit I - Refinitiv StreetEvents, # 10 Exhibit J -
                            Russell - AACR 2023, # 11 Exhibit K - 2023_Validation, # 12 Exhibit L - Abbosh 2017, #
                            13 Exhibit M - Lebow 2022, # 14 Exhibit N - NSCLC clinical data) (VAN ARNAM,
                            ROBERT) (Entered: 07/31/2023)
  07/31/2023                   Case ASSIGNED to CHIEF JUDGE CATHERINE C. EAGLES and MAG/JUDGE JOE
                               L. WEBSTER. (Bowers, Alexis) (Entered: 08/02/2023)
  08/01/2023             19 MOTION for Discovery in advance of Preliminary Injunction Hearing by NATERA,
                            INC.. Response to Motion due by 8/15/2023 (Attachments: # 1 Text of Proposed Order)
                            (VAN ARNAM, ROBERT) (Entered: 08/01/2023)
  08/01/2023             20 MEMORANDUM re 19 MOTION for Discovery in advance of Preliminary Injunction
                            Hearing by Plaintiff NATERA, INC.. (Attachments: # 1 Exhibit 1. Requests for
                            Production, # 2 Exhibit 2. Interrogatories, # 3 Exhibit 3. 30(b)(6) Depo Notice)(VAN
                            ARNAM, ROBERT) (Entered: 08/01/2023)
  08/02/2023                   CASE REFERRED to Mediation pursuant to Local Rule 83.9b of the Rules of Practice
                               and Procedure of this Court. Please go to our website under Attorney Information for a
                               list of mediators which must be served on all parties. (Bowers, Alexis) (Entered:
                               08/02/2023)
  08/02/2023             21 Summons Issued as to NEOGENOMICS LABORATORIES, INC.. (Bowers, Alexis)
                            (Entered: 08/02/2023)


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  08/02/2023             22 Notice of Right to Consent. Counsel shall serve the attached form on all parties.
                            (Attachments: # 1 Consent Form) (Bowers, Alexis) (Entered: 08/02/2023)
  08/03/2023             24 NOTICE of Attorney Appearance by attorney JOHN F. MORROW, JR on behalf of
                            Defendant NEOGENOMICS LABORATORIES, INC. (MORROW, JOHN) (Entered:
                            08/03/2023)
  08/03/2023             25 Corporate Disclosure Statement identifying Corporate Parent NeoGenomics, Inc. for
                            NEOGENOMICS LABORATORIES, INC... (MORROW, JOHN) (Entered: 08/03/2023)
  08/03/2023             26 NOTICE by NEOGENOMICS LABORATORIES, INC. re 19 MOTION for Discovery in
                            advance of Preliminary Injunction Hearing [NOTICE OF INTENT TO RESPOND]
                            (MORROW, JOHN) (Entered: 08/03/2023)
  08/03/2023             27 STANDARD ORDER for civil cases proceeding before CHIEF JUDGE CATHERINE
                            C. EAGLES.(Winchester, Robin) (Entered: 08/03/2023)
  08/04/2023             28 ORDER signed by CHIEF JUDGE CATHERINE C. EAGLES on 08/04/2023. This
                            matter is set for status conference and hearing on the plaintiff's motion for expedited
                            discovery on Wednesday, August 16, 2023, at 11:00 a.m. in the Preyer Courthouse,
                            Courtroom 3, Greensboro, North Carolina. Counsel shall immediately meet and confer
                            about expedited discovery, sealing, scheduling, and any other case management issues
                            that will facilitate prompt, fair, and efficient resolution of pending motions and the case.
                            If the parties reach agreement, they may submit a joint motion and proposed order.
                            (Taylor, Abby) (Entered: 08/04/2023)
  08/04/2023                   Set Status Conference for 8/16/2023 11:00 AM in Greensboro Courtroom #3 before
                               CHIEF JUDGE CATHERINE C. EAGLES. (Taylor, Abby) (Entered: 08/04/2023)
  08/09/2023             29 NOTICE of Special Appearance by attorney EDWARD R. REINES on behalf of
                            Defendant NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number
                            ANCMDC-3627082.) (REINES, EDWARD) (Entered: 08/09/2023)
  08/10/2023             30 NOTICE of Attorney Appearance by attorney CARMELLE F. ALIPIO on behalf of
                            Plaintiff NATERA, INC. (ALIPIO, CARMELLE) (Entered: 08/10/2023)
  08/10/2023             31 SUMMONS Returned Executed by NATERA, INC. as to NEOGENOMICS
                            LABORATORIES, INC. served on 8/2/2023, answer due 8/23/2023. (VAN ARNAM,
                            ROBERT) (Entered: 08/10/2023)
  08/14/2023             32 RESPONSE re 28 Order Setting Hearing on Motion,, 19 MOTION for Discovery in
                            advance of Preliminary Injunction Hearing [Response to Plaintiff Natera's Motion for
                            Expedited Discovery and The Court's August 4, 2023 Order] filed by NEOGENOMICS
                            LABORATORIES, INC.. Replies due by 8/28/2023 (Attachments: # 1 Exhibit A. - E-mail
                            Reines to Haberny 8.11.2023, # 2 Exhibit B - NeoGenomics Discovery Responses, # 3
                            Exhibit C - Natera Discovery Responses, # 4 Exhibit D - E-mail Reines to Haberny
                            8.14.2023)(MORROW, JOHN) (Entered: 08/14/2023)
  08/15/2023             33 NOTICE of Special Appearance by attorney SANDRA HABERNY on behalf of Plaintiff
                            NATERA, INC. ( Filing fee $ 25 receipt number ANCMDC-3630760.) (HABERNY,
                            SANDRA) (Entered: 08/15/2023)
  08/15/2023             34 NOTICE of Special Appearance by attorney VICTORIA MAROULIS on behalf of
                            Plaintiff NATERA, INC. ( Filing fee $ 25 receipt number ANCMDC-3631102.)
                            (MAROULIS, VICTORIA) (Entered: 08/15/2023)
  08/15/2023             35 NOTICE of Special Appearance by attorney DEREK WALTER on behalf of Defendant
                            NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number ANCMDC-

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                           3631351.) (WALTER, DEREK) (Entered: 08/15/2023)
  08/15/2023             36 REPLY, filed by Plaintiff NATERA, INC., to Response to 19 MOTION for Discovery in
                            advance of Preliminary Injunction Hearing filed by NATERA, INC.. (VAN ARNAM,
                            ROBERT) (Entered: 08/15/2023)
  08/16/2023                   Minute Entry for proceedings held before CHIEF JUDGE CATHERINE C. EAGLES:
                               Scheduling Conference held on 8/16/2023. Attorneys Victoria Moroulis, Sandra Haberny,
                               Andrew Shores and Robert Arnman present as counsel for the plaintiff. Attorneys Lisa
                               Ryan, Ed Reines and John Morrow present as counsel for the defendant. Hearing on
                               Motion for Preliminary Injunction set for 11/9/2023 at 9:30 a.m., last brief to be filed on
                               11/1/2023. The parties are to meet and confer and submit a scheduling order by
                               8/21/2023. If the parties cannot agree they shall submit a Joint Submission. Any
                               discovery disputes the parties are unable to resolve must be submitted by Joint
                               Submission. (Court Reporter Joseph Armstrong.) (Winchester, Robin) (Entered:
                               08/16/2023)
  08/16/2023                   TEXT ORDER issued by CHIEF JUDGE CATHERINE C. EAGLES on 8/16/2023. The
                               parties shall consult regarding Mediator and advise the case manager by 9/25/2023 who
                               they have selected as Mediator.(Winchester, Robin) (Entered: 08/16/2023)
  08/16/2023             37 NOTICE of Special Appearance by attorney PATRICK ROBERT LYONS on behalf of
                            Defendant NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number
                            ANCMDC-3632368.) (LYONS, PATRICK) (Entered: 08/16/2023)
  08/17/2023                   Set Hearing: Hearing on Motion for Preliminary Injunction set for 11/9/2023 09:30 AM in
                               Greensboro Courtroom #3 before CHIEF JUDGE CATHERINE C. EAGLES.
                               (Winchester, Robin) (Entered: 08/17/2023)
  08/17/2023             38 NOTICE of Special Appearance by attorney ELIZABETH RYAN on behalf of Defendant
                            NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number ANCMDC-
                            3633465.) (RYAN, ELIZABETH) (Entered: 08/17/2023)
  08/18/2023             40 L.R. 5.5 Report-Joint filed by all parties by NATERA, INC.. (VAN ARNAM, ROBERT)
                            (Entered: 08/18/2023)
  08/21/2023             41 Joint MOTION for Protective Order by NATERA, INC.. Response to Motion due by
                            9/5/2023 (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT) (Entered:
                            08/21/2023)
  08/21/2023             42 NOTICE of Special Appearance by attorney JOHN J NOLAN on behalf of Defendant
                            NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number ANCMDC-
                            3635411.) (NOLAN, JOHN) (Entered: 08/21/2023)
  08/21/2023             43 JOINT STIPULATION & Proposed Order Regarding Briefing and Discovery Schedule
                            filed by all parties. Est. Trial Days: n/a. (VAN ARNAM, ROBERT) (Entered: 08/21/2023)
  08/22/2023                   Motions Submitted: 41 Joint MOTION for Protective Order and case referred re: 43 Joint
                               Stipulation to CHIEF JUDGE CATHERINE C. EAGLES (Winchester, Robin) (Entered:
                               08/22/2023)
  08/22/2023             44 MOTION for Extension of Time to File Answer re 1 Complaint by NEOGENOMICS
                            LABORATORIES, INC. (Attachments: # 1 Text of Proposed Order) (MORROW, JOHN)
                            (Entered: 08/22/2023)
  08/23/2023             45 RESPONSE in Opposition re 44 MOTION for Extension of Time to File Answer re 1
                            Complaint filed by NEOGENOMICS LABORATORIES, INC. filed by NATERA, INC.
                            (Attachments: # 1 Exhibit 1 - August 21-22, 2023 emails) (VAN ARNAM, ROBERT)
                            (Entered: 08/23/2023)
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  08/23/2023                   Motions Submitted: 44 MOTION for Extension of Time to File Answer re 1 Complaint to
                               CHIEF JUDGE CATHERINE C. EAGLES- (Winchester, Robin) (Entered: 08/23/2023)
  08/23/2023             46 JOINT STIPULATION AND ORDER REGARDING BRIEFING AND
                            DISCOVERY SCHEDULE signed by CHIEF JUDGE CATHERINE C. EAGLES on
                            08/23/2023, as set out herein.(Taylor, Abby) (Entered: 08/23/2023)
  08/23/2023             47 STIPULATED PROTECTIVE ORDER signed by CHIEF JUDGE CATHERINE C.
                            EAGLES on 08/23/2023, as set out herein. (Taylor, Abby) (Entered: 08/23/2023)
  08/23/2023             48 ORDER signed by CHIEF JUDGE CATHERINE C. EAGLES on 08/23/2023, that the
                            motion, Doc 44 is GRANTED in part as follows: Any response to the complaint
                            consisting of a motion to dismiss pursuant to Rule 12 of the Rules of Civil Procedure
                            SHALL be filed, along with the required briefing, no later than September 5, 2023.
                            Subject to 1(c), no answer need be filed until the motion to dismiss is resolved, though
                            the defendant may also file answer if it wishes. Any brief in opposition SHALL be filed
                            no later than October 12, 2023, and any reply brief in support SHALL be filed no later
                            than 9 a.m. on October 30, 2023. If the defendant does not file a motion to dismiss, it
                            SHALL file answer no later than September 11, 2023.(Taylor, Abby) (Entered:
                            08/23/2023)
  08/24/2023                   TEXT ORDER adopting 46 Local Rule 5.5 Report. Issued by CHIEF JUDGE
                               CATHERINE C. EAGLES on 8/24/23. (Winchester, Robin) (Entered: 08/24/2023)
  08/24/2023             49 Transcript of Scheduling Conference held on 08/16/2023 before Judge Catherine C.
                            Eagles.

                               Court Reporter J. Armstrong. Phone: 336-332-6034. Email:
                               joseph_armstrong@ncmd.uscourts.gov. Transcript may be viewed at the court public
                               terminal or purchased through the Court Reporter before the deadline for Release of
                               Transcript Restriction. After that date it may be obtained through PACER.

                               NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have 5 business days
                               to file a Notice of Intent to Request Redaction and 21 calendar days to file a
                               Redaction Request. If no notice is filed, this transcript will be made electronically
                               available to the public without redaction after 90 calendar days. Transcript may be
                               viewed at the court public terminal or purchased through the court reporter before
                               the 90 day deadline. After that date it may be obtained through PACER.

                               Redaction Request due 9/18/2023. Redacted Transcript Deadline set for 9/28/2023.
                               Release of Transcript Restriction set for 11/27/2023. (Armstrong, Joe) (Entered:
                               08/24/2023)
  08/31/2023             50 NOTICE of Special Appearance by attorney KEVIN PB JOHNSON on behalf of Plaintiff
                            NATERA, INC. ( Filing fee $ 25 receipt number ANCMDC-3643405.) (JOHNSON,
                            KEVIN) (Entered: 08/31/2023)
  09/05/2023             51 MOTION to Dismiss by NEOGENOMICS LABORATORIES, INC.. Response to Motion
                            due by 10/12/2023 (MORROW, JOHN) Modified on 9/12/2023 to correct response
                            deadline see Doc. 48 (Winchester, Robin). (Entered: 09/05/2023)
  09/05/2023             52 Opening BRIEF re 51 MOTION to Dismiss by Defendant NEOGENOMICS
                            LABORATORIES, INC. filed by NEOGENOMICS LABORATORIES, INC..
                            (Attachments: # 1 Exhibit 1 - US Patent 11,530,454, # 2 Exhibit 2 -Excerpt from the File
                            History of U.S. Patent No. 11,530,454, # 3 Exhibit 3 - Excerpt from the File History of
                            U.S. Patent No. 11,519,035, # 4 Exhibit 4 - US Patent 11,519,035, # 5 Exhibit 5 - Article
                            By Katherine Elena Varley and Robi David Mitra, # 6 Exhibit 6 - Article By Hui-Yun
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                                                                          264 Filed: 03/18/2024
                           Wang, et al., # 7 Exhibit 7 - Declaration of Professor John Quackenbush, Ph.D., # 8
                           Exhibit 8 - U.S. Patent Application No. 13 300,235, # 9 Exhibit 9 - Brief of Appellee
                           Natera, Inc. from CareDx, Inc. v. Natera, Inc.)(MORROW, JOHN) (Entered: 09/05/2023)
  09/05/2023             53 Additional Attachments to Main Document re 52 Brief,,, . (Attachments: # 1 Exhibit 10 -
                            Excerpt from the File History of U.S. Patent No. 11,519,035, # 2 Exhibit 11 - Excerpt
                            from the File History of U.S Patent No. 11,519,035, # 3 Exhibit 12 - Excerpt from the
                            File History of U.S. Patent Application No. 16 818,842, # 4 Exhibit 13 - Excerpt from the
                            File History of U.S. Patent Application No. 17 164,599, # 5 Exhibit 14 - Declarations
                            Filed During the Prosecution of U.S. Patent Application No. 17164,599, # 6 Exhibit 15 -
                            Article by Honghua Li et al. as published in Comparative Genomics, Vol. 2, edited by
                            Nicholas H. Bergman, in Methods in Molecular Biology (2007 Humana Press Inc.))
                            (MORROW, JOHN) (Entered: 09/05/2023)
  09/05/2023             54 DECLARATION filed by Defendant NEOGENOMICS LABORATORIES, INC. re 52
                            Brief,,, 53 Additional Attachments to Main Document,, 51 MOTION to Dismiss
                            [DECLARATION OF DEREK C. WALTER] filed by NEOGENOMICS
                            LABORATORIES, INC.. (MORROW, JOHN) (Entered: 09/05/2023)
  09/05/2023             55 Joint MOTION to Compel Discovery by Natera (ROGs 3-6) and by NeoGenomics (ROGs
                            1 & 5) by NATERA, INC.. Response to Motion due by 9/19/2023 (Attachments: # 1
                            Exhibit 1. Aug 28 Emails, # 2 Exhibit 2. NeoGenomics First RFPs, # 3 Exhibit 3.
                            NeoGenomics First ROGs, # 4 Exhibit 4. Natera ROGs 4-7, # 5 Exhibit 5. K. Leicht Aug.
                            30 Emails, # 6 Exhibit 6. K. Leicht Aug. 31 Emails, # 7 Exhibit 7. Natera ROG
                            Responses, # 8 Exhibit 8. Jamal-Hanjani Thesis, # 9 Exhibit 9. K. Leicht Sept. 5 Emails)
                            (VAN ARNAM, ROBERT) (Entered: 09/05/2023)
  09/06/2023             56 Additional Attachments to Main Document re 51 MOTION to Dismiss . (Attachments: #
                            1 Text of Proposed Order)(MORROW, JOHN) (Entered: 09/06/2023)
  09/06/2023             57 NOTICE by NEOGENOMICS LABORATORIES, INC. re 55 Joint MOTION to Compel
                            Discovery by Natera (ROGs 3-6) and by NeoGenomics (ROGs 1 & 5) [NOTICE OF
                            ADDITIONAL DISCOVERY SERVED BY PLAINTIFF AFTER PARTIES' JOINT
                            MOTION TO COMPEL] (Attachments: # 1 Exhibit A - Additional Discovery)
                            (MORROW, JOHN) (Entered: 09/06/2023)
  09/08/2023                   Motions Submitted: 55 Joint MOTION to Compel Discovery by Natera (ROGs 3-6) and
                               by NeoGenomics (ROGs 1 & 5) to CHIEF DISTRICT JUDGE CATHERINE C.
                               EAGLES- (Winchester, Robin) (Entered: 09/08/2023)
  09/11/2023             58 ANSWER to 1 Complaint, with Jury Demand , Counterclaim to Plaintiff Natera, Inc.
                            against by NEOGENOMICS LABORATORIES, INC.. (Attachments: # 1 Exhibit 1 - US
                            Amendment, # 2 Exhibit 2 - European Patent)(MORROW, JOHN) (Entered: 09/11/2023)
  09/14/2023             59 MOTION to Compel Discovery seeking responses to Natera's Second and Third Sets of
                            Interrogatories and Requests for Production by NATERA, INC.. Response to Motion due
                            by 9/28/2023 (Attachments: # 1 Exhibit 1. NeoGenomics Objections to Natera 1st RFPs,
                            # 2 Exhibit 2. Neogenomics Objections to Natera First ROGs, # 3 Exhibit 3. Natera
                            Second Set of RFPs, # 4 Exhibit 4. Natera Third set of RFPs, # 5 Exhibit 5. Natera Third
                            Set of ROGs, # 6 Exhibit 6. Natera Corrected Second Set of RFPs, # 7 Exhibit 7. Natera
                            Corrected Second Set of ROGs, # 8 Exhibit 8. Natera Corrected Third Set of RFPs, # 9
                            Exhibit 9. Natera Corrected Third Set of ROGs, # 10 Exhibit 10. Correspondence
                            between counsel proposing Sept. 19 deadline)(VAN ARNAM, ROBERT) Modified on
                            9/15/2023 to correct response deadline. (Taylor, Abby). (Entered: 09/14/2023)
  09/17/2023                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               9/17/23. If the parties do not resolve the motion to compel, Doc. 59 , Defendant shall

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                                                                      265 Filed: 03/18/2024
                           respond by September 19, 2023.(Winchester, Robin) (Entered: 09/17/2023)
  09/18/2023             60 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                            09/18/2023, that Natera's Motion to Compel NeoGenomics to supplement and
                            substantively respond to Natera's Interrogatories No. 3- 6 is GRANTED in part and
                            NeoGenomics shall respond to those Interrogatories to the extent stated here by
                            September 22, 2023. If NeoGenomics intends to raise an issue during preliminary
                            injunction briefing, Natera is entitled to have some inkling of that during the expedited
                            discovery process. NeoGenomics must give Natera some idea of the reasons it already
                            knows it will put forth in opposition to the preliminary injunction motion, based on its
                            own evidence, subject to prompt supplementation as discovery from Natera and
                            additional investigation proceed. The Court does not expect NeoGenomics to provide a
                            comprehensive answer good for all time, but it cannot hide its defenses or arguments
                            against the preliminary injunction based on evidence it already has within its own
                            possession. NeoGenomics's Motion to Compel Natera to supplement its responses to
                            NeoGenomics's Interrogatories No. 1 and No. 5 is GRANTED, and Natera shall respond
                            comprehensively to those Interrogatories by September 25, 2023. Natara has not shown
                            that the discovery sought is not proportional to the needs of the case, and the information
                            sought is likely to be relevant. NeoGenomics does not have to prove relevance beyond a
                            reasonable doubt to obtain discovery. (Taylor, Abby) (Entered: 09/18/2023)
  09/18/2023             61 NOTICE of Special Appearance by attorney KEVIN ALEXANDER SMITH on behalf of
                            Plaintiff NATERA, INC., Counter Defendant NATERA, INC. ( Filing fee $ 25 receipt
                            number ANCMDC-3654484.) (SMITH, KEVIN) (Entered: 09/18/2023)
  09/19/2023             62 WITHDRAWAL of Motion by Plaintiff NATERA, INC. re 59 MOTION to Compel
                            Discovery seeking responses to Natera's Second and Third Sets of Interrogatories and
                            Requests for Production filed by NATERA, INC. NeoGenomics to respond to the
                            Interrogatories and produce responsive, non-privileged documents by Friday, Sept. 22,
                            2023. (SHORES, ANDREW) (Entered: 09/19/2023)
  09/22/2023             63 NOTICE of Special Appearance by attorney TARA SRINIVASAN on behalf of Plaintiff
                            NATERA, INC. ( Filing fee $ 25 receipt number ANCMDC-3657713.) (SRINIVASAN,
                            TARA) (Entered: 09/22/2023)
  09/25/2023             64 Joint MOTION for Extension of Time to Select Mediator by NATERA, INC..
                            (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT) (Entered:
                            09/25/2023)
  09/26/2023                   Motions Submitted: 64 Joint MOTION for Extension of Time to Select Mediator to
                               CHIEF DISTRICT JUDGE CATHERINE C. EAGLES- (Winchester, Robin) (Entered:
                               09/26/2023)
  09/26/2023             65 ORDER granting 64 Motion for Extension of Time. The Parties shall have until October
                            2, 2023, to file a Notice of Selection of Mediator. In the absence of an agreement, the
                            Court will appoint a mediator. Signed by CHIEF DISTRICT JUDGE CATHERINE C.
                            EAGLES on 09/26/2023. (Taylor, Abby) (Entered: 09/26/2023)
  09/28/2023             66 MOTION for Extension of Time Neogenomics' Time-Sensitive Motion to Briefly Extend
                            Preliminary Injunction Schedule Due to Plaintiff's Failure to Narrow Asserted Claims
                            and Provide Discovery by NEOGENOMICS LABORATORIES, INC.. (MORROW,
                            JOHN) (Entered: 09/28/2023)
  09/28/2023             67 Additional Attachments to Main Document re 66 MOTION for Extension of Time
                            Neogenomics' Time-Sensitive Motion to Briefly Extend Preliminary Injunction Schedule
                            Due to Plaintiff's Failure to Narrow Asserted Claims and Provide Discovery Exhibit A -
                            2023-09-25 Natera's 1st Supp Resps & Objs to NeoGenomics Rogs Nos 1 and 5.

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                                                                      266 Filed: 03/18/2024
                           (Attachments: # 1 Exhibit B - 2023-08-14 Natera's Resps & Objs to NeoGenomics 1st Set
                           of Rogs (Nos. 1-5))(MORROW, JOHN) (Entered: 09/28/2023)
  09/28/2023             68 Amended MOTION for Extension of Time Neogenomics' Time-Sensitive Motion to
                            Briefly Extend Preliminary Injunction Schedule Due to Plaintiff's Failure to Narrow
                            Asserted Claims and Provide Discovery by NEOGENOMICS LABORATORIES, INC..
                            (MORROW, JOHN) (Entered: 09/28/2023)
  09/29/2023             69 Additional Attachments to Main Document re 68 Amended MOTION for Extension of
                            Time Neogenomics' Time-Sensitive Motion to Briefly Extend Preliminary Injunction
                            Schedule Due to Plaintiff's Failure to Narrow Asserted Claims and Provide Discovery .
                            (Attachments: # 1 Text of Proposed Order)(MORROW, JOHN) (Entered: 09/29/2023)
  09/29/2023                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               9/29/23 Natera shall file a response to Doc. 68 no later than 9:00 a.m. October 2, 2023.
                               (Winchester, Robin) (Entered: 09/29/2023)
  09/29/2023                   Set/Response Deadline re 68 Amended MOTION for Extension of Time Neogenomics'
                               Time-Sensitive Motion to Briefly Extend Preliminary Injunction Schedule Due to
                               Plaintiff's Failure to Narrow Asserted Claims and Provide Discovery : Response to
                               Motion due by 10/2/2023. (Taylor, Abby) (Entered: 09/29/2023)
  09/30/2023             70 Joint MOTION for Extension of Time to File Answer re 58 Answer to Complaint,
                            Counterclaim and Affirmative Defenses by NATERA, INC.. (Attachments: # 1 Text of
                            Proposed Order)(SHORES, ANDREW) (Entered: 09/30/2023)
  10/01/2023             71 RESPONSE in Opposition re 66 MOTION for Extension of Time Neogenomics' Time-
                            Sensitive Motion to Briefly Extend Preliminary Injunction Schedule Due to Plaintiff's
                            Failure to Narrow Asserted Claims and Provide Discovery filed by NEOGENOMICS
                            LABORATORIES, INC., 68 Amended MOTION for Extension of Time Neogenomics'
                            Time-Sensitive Motion to Briefly Extend Preliminary Injunction Schedule Due to
                            Plaintiff's Failure to Narrow Asserted Claims and Provide Discovery filed by
                            NEOGENOMICS LABORATORIES, INC. filed by NATERA, INC.. Replies due by
                            10/16/2023 (Attachments: # 1 Exhibit 1. 9.28 Emails, # 2 Exhibit 2. 9.26 Emails, # 3
                            Exhibit 3. Supp. Response to ROG. 2 (Filed Under Seal), # 4 Exhibit 4. 10.1 Email
                            serving Supp Response to Rog. 2, # 5 Exhibit 5. Supp Response to ROG. 5)(VAN
                            ARNAM, ROBERT) (Entered: 10/01/2023)
  10/01/2023             72 MOTION to Seal Ex. 3 - Supp. Response to ROG 2 filed in support of Opp. to Motion to
                            Extend PI Schedule [If the party filing this motion is not the party claiming
                            confidentiality, the party claiming confidentiality must file a response within 14 days that
                            includes the materials required by L.R. 5.4(c)(3).] by NATERA, INC.. Response to
                            Motion due by 10/16/2023 (Attachments: # 1 Text of Proposed Order)(VAN ARNAM,
                            ROBERT) (Entered: 10/01/2023)
  10/01/2023             73 MEMORANDUM filed by Plaintiff NATERA, INC. re 72 MOTION to Seal Ex. 3 - Supp.
                            Response to ROG 2 filed in support of Opp. to Motion to Extend PI Schedule [If the party
                            filing this motion is not the party claiming confidentiality, the party claiming
                            confidentiality must file a response within 14 days that includes the materials required by
                            L.R. 5.4(c)(3).] filed by NATERA, INC. (VAN ARNAM, ROBERT) (Entered:
                            10/01/2023)
  10/01/2023             74 SEALED UNREDACTED DOCUMENTS Ex. 3 to Natera's Opp to Motion to Extend PI
                            Schedule - Supp Response to ROG 2 filed by Plaintiff NATERA, INC., Defendant
                            NEOGENOMICS LABORATORIES, INC. re 71 Response in Opposition to Motion.
                            (VAN ARNAM, ROBERT) (Entered: 10/01/2023)


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                                                                         CM/ECF 267    Filed: 03/18/2024
  10/02/2023                   Motions Submitted: 70 Joint MOTION for Extension of Time to File Answer re 58
                               Answer to Complaint, Counterclaim and Affirmative Defenses to CHIEF DISTRICT
                               JUDGE CATHERINE C. EAGLES- (Winchester, Robin) (Entered: 10/02/2023)
  10/02/2023             75 REPLY, filed by Defendant NEOGENOMICS LABORATORIES, INC., to Response to
                            66 MOTION for Extension of Time Neogenomics' Time-Sensitive Motion to Briefly
                            Extend Preliminary Injunction Schedule Due to Plaintiff's Failure to Narrow Asserted
                            Claims and Provide Discovery, 68 Amended MOTION for Extension of Time
                            Neogenomics' Time-Sensitive Motion to Briefly Extend Preliminary Injunction Schedule
                            Due to Plaintiff's Failure to Narrow Asserted Claims and Provide Discovery filed by
                            NEOGENOMICS LABORATORIES, INC.. (Attachments: # 1 Exhibit 1 - (10.01.23
                            Email), # 2 Exhibit 2 - (09.26.23 Email), # 3 Exhibit 3 - (10.01.23 - Natera Second Supp
                            Resp and Obj to Rog. 5))(MORROW, JOHN) (Entered: 10/02/2023)
  10/02/2023             76 MOTION for Leave to File Sur-Reply to Defendant's Motion for Extension of Time (Docs.
                            66, 68) by NATERA, INC.. Response to Motion due by 10/23/2023 (Attachments: # 1
                            Text of Proposed Order)(VAN ARNAM, ROBERT) (Entered: 10/02/2023)
  10/02/2023             77 PLAINTIFF NATERAS SUR-REPLY filed by Plaintiff NATERA, INC. re 69 Amended
                            MOTION for Extension of Time re 76 MOTION for Leave to File Sur-Reply to
                            Defendant's Motion for Extension of Time (Docs. 66, 68) filed by NATERA, INC. (VAN
                            ARNAM, ROBERT) Modified on 10/10/2023 to add text to title of document. (Taylor,
                            Abby). (Entered: 10/02/2023)
  10/02/2023             78 ORDER ON JOINT MOTION FOR EXTENSION OF TIME FOR NATERA, TO
                            ANSWER OR RESPOND TO NEOGENOMICS' AFFIRMATIVE DEFENSES
                            COUNTERCLAIMS Doc. 70 , signed by CHIEF DISTRICT JUDGE CATHERINE C.
                            EAGLES on 10/02/2023, that Natera shall have until October 16, 2023, to file answer or
                            other responsive pleading, including a motion pursuant to Fed. R. Civ. P. 12, to
                            NeoGenomics' Affirmative Defenses and Counterclaims. (Taylor, Abby) (Entered:
                            10/02/2023)
  10/02/2023             79 NOTICE OF SELECTION OF MEDIATOR. (SHORES, ANDREW) (Entered:
                            10/02/2023)
  10/03/2023                   Motions Submitted: 68 Amended MOTION for Extension of Time Neogenomics' Time-
                               Sensitive Motion to Briefly Extend Preliminary Injunction Schedule Due to Plaintiff's
                               Failure to Narrow Asserted Claims and Provide Discovery 72 MOTION to Seal Ex. 3 -
                               Supp. Response to ROG 2 filed in support of Opp. to Motion to Extend PI Schedule and
                               76 MOTION for Leave to File Sur-Reply to Defendant's Motion for Extension of Time
                               (Docs. 66, 68), to CHIEF DISTRICT JUDGE CATHERINE C. EAGLES. (Winchester,
                               Robin) (Entered: 10/03/2023)
  10/05/2023             80 ORDER Appointing MARK LEHOCKY, as the Mediator pursuant to LR 83.9d(a).
                            Signed by John S. Brubaker, Clerk of Court. (Bond, Melisa) (Entered: 10/05/2023)
  10/05/2023                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               10/5/23. The motion to compel, Doc. 68 , remains under advisement. The motion to
                               extend deadlines, Doc. 68 , is GRANTED as follows: 1) The hearing on November 9 will
                               begin at 2 pm and the parties shall present a non-argumentative tutorial to assist the Court
                               in understanding background scientific and technical matters in preparation for the
                               preliminary injunction hearing. 2) The preliminary injunction hearing is continued to
                               November 27, 2023, at 9:30 a.m. 3) NeoGenomics deadline to respond to Nateras motion
                               for preliminary injunction is extended to 10 a.m. on October 19, 2023. 4) Nateras
                               deadline to file its reply brief is extended to 9.a.m. on November 6, 2023. Written order to
                               follow as time permits. (Winchester, Robin) Modified on 10/5/2023 to correct the tutorial
                               hearing date, which is November 9 at 2 pm (Winchester, Robin). (Entered: 10/05/2023)
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                                                                         CM/ECF 268    Filed: 03/18/2024
  10/06/2023                   Set Hearings: Tutorial Hearing set for 11/9/2023 02:00 PM in Greensboro Courtroom #3
                               before CHIEF DISTRICT JUDGE CATHERINE C. EAGLES. Motion for Preliminary
                               Injunction Hearing set for 11/27/2023 09:30 AM in Greensboro Courtroom #3 before
                               CHIEF DISTRICT JUDGE CATHERINE C. EAGLES. See 10/5/23 Text Order
                               (Winchester, Robin) (Entered: 10/06/2023)
  10/06/2023                   Set Response and Reply deadlines to Doc. 5 MOTION for Preliminary Injunction
                               pursuant to 10/6/2023 Text Order. Response to Motion due by 10 a.m. on 10/19/2023;
                               Replies due by 9:00 a.m. on 11/6/2023. (Winchester, Robin) (Entered: 10/06/2023)
  10/06/2023             81 Defendant's First Amended ANSWER to 1 Complaint, with Jury Demand , Counterclaim
                            and Affirmative Defenses against by NEOGENOMICS LABORATORIES, INC.
                            (REINES, EDWARD) Modified on 10/10/2023 to modify text. (Taylor, Abby). (Entered:
                            10/06/2023)
  10/10/2023             82 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                            10/10/2023, that the defendant's motion, Doc. 68 , is GRANTED in part and DENIED in
                            part as follows: 1. The hearing on November 9 will begin at 2 p.m., and the parties shall
                            present a tutorial to assist the Court in understanding background and context for
                            scientific and technical issues relevant to the preliminary injunction hearing. 2. The
                            preliminary injunction hearing is continued to November 27, 2023, at 9:30 a.m. 3.
                            NeoGenomics's deadline to respond to Natera's motion for a preliminary injunction is
                            extended to 10 a.m. on October 19, 2023. Natera's deadline to file its reply brief is
                            extended to 9 a.m. on November 6, 2023. 4. Natera's motion for leave to file sur-reply,
                            Doc. 76 , is GRANTED, and the Clerk shall correct the docket to reflect that the brief at
                            Doc. 77 is a sur-reply directed to the motion at Doc. 68 . (Taylor, Abby) (Entered:
                            10/10/2023)
  10/11/2023             83 Consent MOTION for Extension of Time to File Response/Reply as to 51 MOTION to
                            Dismiss by NATERA, INC.. (Attachments: # 1 Text of Proposed Order)(SHORES,
                            ANDREW) (Entered: 10/11/2023)
  10/11/2023                   Motions Submitted: 83 Consent MOTION for Extension of Time to File Response/Reply
                               as to 51 MOTION to Dismiss to CHIEF DISTRICT JUDGE CATHERINE C. EAGLES-
                               (Winchester, Robin) (Entered: 10/11/2023)
  10/12/2023             84 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                            10/12/2023, that the Motion, Doc. 83 , is GRANTED, and it is ORDERED that the
                            Natera has until October 15, 2023, to file a response to Defendant's Motion to Dismiss,
                            and NeoGenomics has until November 2, 2023 to file a reply in support of its Motion to
                            Dismiss. (Taylor, Abby) (Entered: 10/12/2023)
  10/14/2023             85 Consent MOTION for Extension of Time for Extension of Briefing Schedule to Respond
                            to Defendant NeoGenomics Laboratories, Inc.'s Second Amended Answer, Affirmative
                            Defenses and Counterclaims by NEOGENOMICS LABORATORIES, INC..
                            (Attachments: # 1 Text of Proposed Order)(MORROW, JOHN) (Entered: 10/14/2023)
  10/15/2023             86 RESPONSE in Opposition re 51 MOTION to Dismiss filed by NEOGENOMICS
                            LABORATORIES, INC., filed by NATERA, INC. Replies due by 11/2/2023.
                            (Attachments: # 1 Exhibit 1 US10538814, # 2 Exhibit 2 9580751 FH, # 3 Exhibit 3
                            14692703 FH) (SRINIVASAN, TARA) (Entered: 10/15/2023)
  10/16/2023                   Motions Submitted: 85 Consent MOTION for Extension of Time for Extension of
                               Briefing Schedule to Respond to Defendant NeoGenomics Laboratories, Inc.'s Second
                               Amended Answer, Affirmative Defenses and Counterclaims to CHIEF DISTRICT JUDGE
                               CATHERINE C. EAGLES- (Winchester, Robin) (Entered: 10/16/2023)


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                                                                         CM/ECF 269    Filed: 03/18/2024
  10/16/2023             87 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                            10/16/2023, that: 1. The Motion, Doc. 85 , is GRANTED, 2. NeoGenomics shall file its
                            Second Amended Answer, Affirmative Defenses, and Counterclaims by October 20,
                            2023; 3. Natera shall file a responsive pleading, including a motion pursuant to Fed. R.
                            Civ. P. 12, to Defendant's Second Amended Answer, Affirmative Defenses, and
                            Counterclaims by October 27, 2023; 4. NeoGenomics shall file its Opposition to Natera's
                            responsive pleading by November 6, 2023, and 5. Natera shall file its Reply to
                            NeoGenomics' Opposition by November 13, 2023. (Garland, Leah) (Entered: 10/17/2023)
  10/18/2023             88 NOTICE of Attorney Appearance by attorney JOHN D. WOOTEN, IV on behalf of
                            Defendant NEOGENOMICS LABORATORIES, INC. (WOOTEN, JOHN) (Entered:
                            10/18/2023)
  10/19/2023             89 RESPONSE in Opposition re 5 MOTION for Preliminary Injunction filed by
                            NEOGENOMICS LABORATORIES, INC.. Replies due by 11/2/2023 (MORROW,
                            JOHN) Modified on 10/19/2023 to reflect correct filer of document (Winchester, Robin).
                            (Entered: 10/19/2023)
  10/19/2023             90 DECLARATION of Derek Walter re 89 Response in Opposition to Motion by Defendant
                            NEOGENOMICS LABORATORIES, INC. (Attachments: # 1 Exhibit 1 -
                            NEOGEN00058925, # 2 Exhibit 2 - 008 NF Rejection, # 3 Exhibit 3 - 008 Amended
                            Claims, # 4 Exhibit 4 - 008 Applicant Argument, # 5 Exhibit 5 - 5-22-2020 008 Interview
                            Summary, # 6 Exhibit 6 - FILED UNDER SEAL SLIPSHEET, # 7 Exhibit 7 - FILED
                            UNDER SEAL SLIPSHEET, # 8 Exhibit 8 - 454 Applicant Remarks Amendment, # 9
                            Exhibit 9 - (Metzker Tr.) Excerpted, # 10 Exhibit 10 - FILED UNDER SEAL
                            SLIPSHEET, # 11 Exhibit 11 - FILED UNDER SEAL SLIPSHEET, # 12 Exhibit 12 -
                            FILED UNDER SEAL SLIPSHEET, # 13 Exhibit 13 - Natera 1st Supp to Rogs 1, 5, # 14
                            Exhibit 14 - NAT-NEO-00002768-2801) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             91 Additional Attachments to Main Document re 90 Declaration (Attachments: # 1 Exhibit
                            15 - Natera 2nd Supp Rog 5, # 2 Exhibit 16 - Natera 3rd Supp Rog 5), # 3 Exhibit 17 -
                            Inivata Compl., # 4 Exhibit 18 - Natera's R&Os to Rogs 3-4, # 5 Exhibit 19 - FILED
                            UNDER SEAL SLIPSHEET) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             92 Additional Attachments to Main Document re 90 Declaration. (Attachments: # 1 Exhibit
                            20 - (NEOGEN00004200) - TD Cowen 07.19.23) (MORROW, JOHN) Modified on
                            10/19/2023 to link to correct pleading. (Sheets, Jamie) (Entered: 10/19/2023)
  10/19/2023             93 Additional Attachments to Main Document re 90 Declaration. (Attachments: # 1 Exhibit
                            21 - NEOGEN00018316, # 2 Exhibit 22 - FILED UNDER SEAL SLIPSHEET, # 3
                            Exhibit 23 - FILED UNDER SEAL SLIPSHEET, # 4 Exhibit 24 - (NEOGEN00062739) -
                            09.12.2023 Baird Global Healthcare Conference, # 5 Exhibit 25 - (2023-05-08 Archer
                            Tr.)-Excerpted, # 6 Exhibit 26 - (2023-05-09 Archer Tr.)-Excerpted, # 7 Exhibit 27 -
                            (NEOGEN00059551) - Goldman Sachs 6.13.23 Global HC Conf Trans-Natera, # 8
                            Exhibit 28 - FILED UNDER SEAL SLIPSHEET) (MORROW, JOHN) (Entered:
                            10/19/2023)
  10/19/2023             94 DECLARATION of Vishal Sikri re 89 Response in Opposition to Motion by Defendant
                            NEOGENOMICS LABORATORIES, INC. (Attachments: # 1 Exhibit 1 -
                            (NEOGEN00014489) - AACR_2020, # 2 Exhibit 2 - (AACR Abstract 3097 re Neo
                            RaDaR Poster) NEOGEN00062633, # 3 Exhibit 3 - 5.5.2021 Neo PR re Inivata
                            Acquisition_NEOGEN00059530, # 4 Exhibit 4 - (NEOGEN00062662) 2021-06-
                            18_NeoGenomics_Completes_Inivata_Acquisition_18, # 5 Exhibit 5 - Inivata 5.25.21
                            PR_NEOGEN00059564, # 6 Exhibit 6 - NEOGEN00008319, # 7 Exhibit 7 - FILED
                            UNDER SEAL SLIPSHEET, # 8 Exhibit 8 - FDA Breakthrough Devices
                            Program_NEOGEN00059537, # 9 Exhibit 9 - (NeoGenomics 3.16.2023

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                           PR)_NEOGEN00004604, # 10 Exhibit 10 - (NEOGEN00004200) - TD Cowen 07.19.23)
                           (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             95 Additional Attachments to Main Document re 94 Declaration. (Attachments: # 1 Exhibit
                            11 - Piper Sandler 09.25.23_NEOGEN00059645, # 2 Exhibit 12 - Goldman Sachs
                            6.13.23 Global HC Conf Trans-Natera_NEOGEN00059551, # 3 Exhibit 13 -
                            (NEOGEN00018316) - MS HC Conf. 09.12.23, # 4 Exhibit 14 - (NEOGEN00062648)
                            9.12.23 Morgan Stanley Report, # 5 Exhibit 15 - Leelink Partners
                            7.24.23_NEOGEN00059567) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             96 Additional Attachments to Main Document re 94 Declaration. (Attachments: # 1 Exhibit
                            16 - Flach, Liquid BIOpsy for MiNimal RESidual DiSease Detection-
                            NEOGEN00001018, # 2 Exhibit 17 - (NEOGEN00004586) - 4.5.23 SVB Securities
                            Report, # 3 Exhibit 18 - FILED UNDER SEAL SLIPSHEET, # 4 Exhibit 19 -
                            NEOGEN00009106, # 5 Exhibit 20 - (NEOGEN00001032) - Gale D, et al. Ann Oncol.
                            2022 500, # 6 Exhibit 21 - (NEOGEN00000991) - Lipsyc-Sharf-et-al-2022-circulating-
                            tumor, # 7 Exhibit 22 - Elliot_NEOGEN00059699, # 8 Exhibit 23 -
                            Cutts_NEOGEN00059698, # 9 Exhibit 24 - (NEOGEN00011154) - Dasari A, et al. Nat
                            Rev Clin Oncol. 2020 17 757-770, # 10 Exhibit 25 - Rebuzzi_NEOGEN00059710, # 11
                            Exhibit 26 - Tie_Circulating Tumor_NEOGEN00059740, # 12 Exhibit 27 - Tie
                            2_NEOGEN00059675, # 13 Exhibit 28 - Taieb_NEOGEN00059722, # 14 Exhibit 29 -
                            (NEOGEN00014540) - Tie J, et al. JAMA Oncol. 2019;5(12)1710-1717, # 15 Exhibit 30
                            - Chen_NEOGEN00059687, # 16 Exhibit 31 - Natera Oncology_NEOGEN00059701, #
                            17 Exhibit 32 - FILED UNDER SEAL SLIPSHEET, # 18 Exhibit 33 -
                            NEOGEN00003924) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             97 DECLARATION of Brian Van Ness re 89 Response in Opposition to Motion by
                            Defendant NEOGENOMICS LABORATORIES, INC. (Attachments: # 1 Exhibit 1 - Van
                            Ness CV 1-6-2022, # 2 Exhibit 2 - 5952170 Stroun, # 3 Exhibit 3 - US20100041048A1, #
                            4 Exhibit 4 - 6156504 Gocke, # 5 Exhibit 5 - 008 NF Rejection, # 6 Exhibit 6 - 2023-09-
                            26 Metzker, Michael_Mini, # 7 Exhibit 7 - Quackenbush Personalis, # 8 Exhibit 8 - 008
                            Claims, # 9 Exhibit 9 - 008 Applicant Argument, # 10 Exhibit 10 - [DI101] Natera's
                            Opening Brief ISO MSJ, # 11 Exhibit 11 - MSJ Section 101 Hearing - Full, # 12 Exhibit
                            12 - Metzker Illumina, # 13 Exhibit 13 - US20100120038A1 Fluidigm Mir, # 14 Exhibit
                            14 - Kaper Abstract, # 15 Exhibit 15 - Kaper Abstract, # 16 Exhibit 16 - Han, # 17 Exhibit
                            17 - Cantor, # 18 Exhibit 18 - Ehrich, # 19 Exhibit 19 - Lo, # 20 Exhibit 20 -
                            Quackenbush CareDx, # 21 Exhibit 21 - Broude) (MORROW, JOHN) (Entered:
                            10/19/2023)
  10/19/2023             98 Additional Attachments to Main Document re 97 Declaration. (Attachments: # 1 Exhibit
                            22 - Lyamichev, # 2 Exhibit 23 - Shoemaker, # 3 Exhibit 24 - Wang, # 4 Exhibit 25 -
                            Marsh, # 5 Exhibit 26 - Ahmadian, # 6 Exhibit 27 - Nordstrom(1), # 7 Exhibit 28 -
                            Ronaghi, # 8 Exhibit 29- 2022-11-09 [DI076] Joint Claim Construction Brief, # 9 Exhibit
                            30 - Jarvie, # 10 Exhibit 31 - Harismendy and Frazer, # 11 Exhibit 32 - Mardis, # 12
                            Exhibit 33 - Margulies(1), # 13 Exhibit 34 - Natera MTD Illumina(1), # 14 Exhibit 35 -
                            FILED UNDER SEAL SLIPSHEET, # 15 Exhibit 36 - Metzker Qiagen Trial Testimony, #
                            16 Exhibit 37 - Metzker Qiagen Trial DemonstrativesDDX-003, # 17 Exhibit 38 - Jamal-
                            Hanjani Thesis, # 18 Exhibit 39 - Shendure, # 19 Exhibit 40 - US4683195, # 20 Exhibit
                            41 - US20100285478A1) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023             99 Additional Attachments to Main Document re 97 Declaration. (Attachments: # 1 Exhibit
                            42 - US9206475, # 2 Exhibit 43 - Chan, # 3 Exhibit 44 - Leary, # 4 Exhibit 45 - 5-22-
                            2020 008 Interview Summary, # 5 Exhibit 46 - Bentley, # 6 Exhibit 47 - 454 Applicant
                            Remarks Amendment, # 7 Exhibit 48 - 454 NOA, # 8 Exhibit 49 - 454 7-7-2020 Non
                            Final Rejection, # 9 Exhibit 50 - 454 Original Claims, # 10 Exhibit 51 - Bashashati and
                            Supp, # 11 Exhibit 52 - Bashashati S2, # 12 Exhibit 53 - Marzese, # 13 Exhibit 54 -
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                           Bashashati Supplemental Material listing) pathsojournals.onlinelibrary.wiley.com, # 14
                           Exhibit 55 - (008 Patent), # 15 Exhibit 59 - coi190019supp1_prod - Reinert) (MORROW,
                           JOHN) (Entered: 10/19/2023)
  10/19/2023           100 DECLARATION of James E. Malackowski re 89 Response in Opposition to Motion by
                           Defendant NEOGENOMICS LABORATORIES, INC. (Attachments: # 1 Exhibit 1 -
                           Piper Sandler 2023-09-25 Oncologist Survey (Box-ActiveProjects-2023, # 2 Exhibit 2 -
                           Piper Sandler 2023-09-25 Oncologist Survey (Box-ActiveProjects-2023, # 3 Exhibit 3 -
                           FILED UNDER SEAL SLIPSHEET, # 4 Exhibit 4 - FILED UNDER SEAL SLIPSHEET,
                           # 5 Exhibit 5 - Order Denying PI_19-cv-03161-YGR) (MORROW, JOHN) (Entered:
                           10/19/2023)
  10/19/2023           101 Additional Attachments to Main Document re 100 Declaration. (Attachments: # 1 Exhibit
                           6 - S&P Capital IQ - NeoGenomics, Inc. Public Company Profile, # 2 Exhibit 7 - S&P
                           Capital IQ - NeoGenomics Laboratories, Inc. Private Company Profile, # 3 Exhibit 8 -
                           One Lab Vital Answers - NeoGenomics, # 4 Exhibit 9 - Investor Relations -
                           NeoGenomics_, # 5 Exhibit 10 - Test Menu - NeoGenomics, # 6 Exhibit 11 -
                           NeoGenomics Laboratories LinkedIn, # 7 Exhibit 12 - (NEOGEN00014489) -
                           AACR_2020, # 8 Exhibit 13 - 2021-05-05 NeoGenomics to Acquire Inivata, # 9 Exhibit
                           14 - 2021-06-18 NeoGenomics Completes Inivata Acquisition, # 10 Exhibit 15 -
                           15_2021-05-25 Inivata Announces Collaboration with F-star, # 11 Exhibit 16 -
                           NeoGenomics RaDaR Minimal Residual Disease (MRD), # 12 Exhibit 17 - 2023-07-27
                           NeoGenomics Announces Medicare Coverage for RaDaR, # 13 Exhibit 18 - 2023-08-08
                           LabPulse - NeoGenomics secures Medicare coverage for breast cancer blood test, # 14
                           Exhibit 19 - MolDX Program (Administered by Palmetto GBA), # 15 Exhibit 20 - S&P
                           Capital IQ - Natera, Inc. Public Company Profile, # 16 Exhibit 21 - Corporate Overview -
                           Natera, # 17 Exhibit 22 - Natera - Our Technology, # 18 Exhibit 23 - Natera - Oncology, #
                           19 Exhibit 24 - Natera - Hereditary Genetic Testing for Cancer Empower, # 20 Exhibit 25
                           - Natera - Comprehensive Genomic Profiling (CGP) - Altera) MORROW, JOHN)
                           (Entered: 10/19/2023)
  10/19/2023           102 Additional Attachments to Main Document re 100 Declaration. (Attachments: # 1 Exhibit
                           26 - Natera - Signatera Circulating Tumor DNA Blood Test, # 2 Exhibit 27 - FILED
                           UNDER SEAL SLIPSHEET, # 3 Exhibit 28 - FILED UNDER SEAL SLIPSHEET, # 4
                           Exhibit 29 - FILED UNDER SEAL SLIPSHEET, # 5 Exhibit 30 - FILED UNDER SEAL
                           SLIPSHEET, # 6 Exhibit 31 - FILED UNDER SEAL SLIPSHEET, # 7 Exhibit 32 - 2021-
                           11-18 - Frontiers in Oncology - Circulating Tumor DNA and Minimal Residual Disease, #
                           8 Exhibit 33 - Springer Nature - Leading Advances in Precision Oncology, # 9 Exhibit 34
                           - Personalized Cancer Monitoring - Invitae, # 10 Exhibit 35 - Definition of MRD - NCI
                           Dictionary of Cancer Terms - NCI, # 11 Exhibit 36 - 2020-07-15 - MD Anderson Cancer
                           Center - What is minimal residual disease, # 12 Exhibit 37 - Colorectal Cancer Minimal
                           Residual Disease, # 13 Exhibit 38 - 2022-05 - FDA - Use of Circulating Tumor DNA for
                           EarlyStage Solid Tumor Drug Development - Draft Guidance for Industry, # 14 Exhibit
                           39 - _DeciBio - Industry Snapshot The nascent ctDNA MRD space continues to see rapid
                           growth, # 15 Exhibit 40 - DeciBio - ctDNA MRD and Monitoring Front and Center at
                           ASCO 2022, # 16 Exhibit 41 - Barrons - How Natera Is Defending Its Lead in a $15B
                           Cancer-Testing Market, # 17 Exhibit 42 - 2023-06-13 - FactSet CallStreet - Natera, Inc. -
                           Goldman Sachs Global Healthcare Conference, # 18 Exhibit 43 - _Guardant Reveal -
                           First Liquid-Only Test for MRD Detection, # 19 Exhibit 44 - FILED UNDER SEAL
                           SLIPSHEET) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023           103 Additional Attachments to Main Document re 100 Declaration. (Attachments: # 1 Exhibit
                           45 - Google Patents - US11530454B2, # 2 Exhibit 46 - Google Patents - US11519035B2,
                           # 3 Exhibit 2023-05-08 - Trial Transcript Volume A - Natera v. ArcherD, # 4 Exhibit 48 -
                           FILED UNDER SEAL SLIPSHEET, # 5 Exhibit 49 - FILED UNDER SEAL
                           SLIPSHEET, # 6 Exhibit 50 - 2023-09-15 NeoGenomics Suppl Resps & Objs to Natera's
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                                                                         272 Filed: 03/18/2024
                           1st Set of Rogs (Nos. 1-3, # 7 Exhibit 51 - 2022-01-11 NeoGenomics Announces RaDaR
                           Assay Receives CE Mark, # 8 Exhibit 52 - FILED UNDER SEAL SLIPSHEET, # 9
                           Exhibit 53 - 2015-07-01 Natera Form S-1_Public, # 10 Exhibit 54 - 2015-07-01 Natera
                           Form S-1_Public, # 11 Exhibit 55 - 2020-01-14 - PRNewswire - ArcherDX Personalized
                           Cancer Monitoring) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023           104 Additional Attachments to Main Document re 100 Declaration. (Attachments: # 1 Exhibit
                           56 - Law360 - Natera Nets $19M Verdict In Cancer Test Patent Case, # 2 Exhibit 57 -
                           Natera, Inc. v. Inivata, Inc - Complaint, # 3 Exhibit 58 - 2022-05-31 - Natera to Present
                           New Signatera Clinical Data Across Multiple Cancer Types - 2022 ASCO Meeting, # 4
                           Exhibit 59 - Natera Submits First PMA Module to the FDA for Signatera, # 5 Exhibit 60 -
                           GenomeWeb - About Us, # 6 Exhibit 61 - 2023-09-12 - AlphaSense - Baird Global
                           Healthcare Conference, # 7 Exhibit 62 - FILED UNDER SEAL SLIPSHEET, # 8 Exhibit
                           63 - Natera 2022 Annual Report and Form 10-K) (MORROW, JOHN) (Entered:
                           10/19/2023)
  10/19/2023           105 MOTION to Seal [confidential portions of NeoGenomicss Opposition to Nateras Motion
                           for Preliminary Injunction (Opposition), as well as the accompanying Declarations of
                           Vishal Sikri, with attached Exhibits 7, 18, and 32, and James Malackowski, with attached
                           Exhibits 3 and 62, as well as Exhibits 12 and 28 of the Declaration of Derek Walter] [If
                           the party filing this motion is not the party claiming confidentiality, the party claiming
                           confidentiality must file a response within 14 days that includes the materials required by
                           L.R. 5.4(c)(3).] by NEOGENOMICS LABORATORIES, INC.. Response to Motion due
                           by 11/2/2023 (Attachments: # 1 Text of Proposed Order)(MORROW, JOHN) (Entered:
                           10/19/2023)
  10/19/2023           106 MEMORANDUM filed by Defendant NEOGENOMICS LABORATORIES, INC. re 105
                           MOTION to Seal [confidential portions of NeoGenomicss Opposition to Nateras Motion
                           for Preliminary Injunction (Opposition), as well as the accompanying Declarations of
                           Vishal Sikri, with attached Exhibits 7, 18, and 32, and James Malackowski, with attached
                           Exhibits 3 and 62, as well as Exhibits 12 and 28 of the Declaration of Derek Walter] filed
                           by NEOGENOMICS LABORATORIES, INC. (Attachments: # 1 Affidavit - Declaration
                           of Alicia Olivo) (MORROW, JOHN) (Entered: 10/19/2023)
  10/19/2023           107 SEALED UNREDACTED DOCUMENTS [NeoGenomics' Opp to Natera's Motion for
                           PI] filed by Defendant NEOGENOMICS LABORATORIES, INC.. (MORROW, JOHN)
                           Modified on 10/19/2023 to reflect correct filer of document (Winchester, Robin).
                           (Entered: 10/19/2023)
  10/19/2023           108 SEALED UNREDACTED DOCUMENTS filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 107 SEALED Unredacted Documents (LR 5.4).
                           (Attachments: # 1 Exhibit 1 - NEOGEN00058925, # 2 Exhibit 2 - 008 NF Rejection, # 3
                           Exhibit 3 - 008 Amended Claims, # 4 Exhibit 4 - 008 Applicant Argument, # 5 Exhibit 5 -
                           5-22-2020 008 Interview Summary, # 6 Exhibit 6 - (SEALED) (Moshkevich Tr.)-
                           Excerpted, # 7 Exhibit 7 - (SEALED) Malani Tr. - Excerpted, # 8 Exhibit 8 - (454
                           Applicant Remarks Amendment), # 9 Exhibit 9 - (Metzker Tr.) Excerpted, # 10 Exhibit 10
                           - (SEALED) (Zimmermann Tr.)_Excerpted, # 11 Exhibit 11 - (SEALED) (NAT-NEO-
                           00888159, # 12 Exhibit 12 - (SEALED) (9-22-2023 email)_HC-AEO, # 13 Exhibit 13 -
                           Natera 1st Supp to Rogs 1, 5), # 14 Exhibit 14 - NAT-NEO-00002768-2801), # 15 Exhibit
                           15 - Natera 2nd Supp Rog 5)(WOOTEN, JOHN) Modified on 10/19/2023 to reflect
                           correct filer of document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           109 SEALED UNREDACTED DOCUMENTS Declaration of Derek Walter (Additional
                           Exhibits) filed by Defendant NEOGENOMICS LABORATORIES, INC. re 108 SEALED
                           Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 16 - Natera 3rd Supp Rog, #
                           2 Exhibit 17 - Inivata Compl, # 3 Exhibit 18 - Natera's R&Os to Rogs 3-4, # 4 Exhibit 19

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                           - (SEALED) (Natera R&Os to Rog 2)_HC-AEO)(WOOTEN, JOHN) Modified on
                           10/19/2023 to reflect correct filer of document (Winchester, Robin). (Entered:
                           10/19/2023)
  10/19/2023           110 SEALED UNREDACTED DOCUMENTS Declaration of Derek Walter (Additional
                           Exhibits) filed by Defendant NEOGENOMICS LABORATORIES, INC. re 108 SEALED
                           Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 20 - (NEOGEN00004200) -
                           TD Cowen 07.19.23)(WOOTEN, JOHN) Modified on 10/19/2023 to reflect correct filer
                           of document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           111 SEALED UNREDACTED DOCUMENTS Declaration of Derek Walter (Additional
                           Exhibits) filed by Defendant NEOGENOMICS LABORATORIES, INC. re 108 SEALED
                           Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 21 - NEOGEN00018316, # 2
                           Exhibit 22 - (SEALED) (NAT-NEO-00729487), # 3 Exhibit 23 - (SEALED) (NAT-NEO-
                           00864963), # 4 Exhibit 24 - (NEOGEN00062739) - 09.12.2023 Baird Global Healthcare
                           Conference, # 5 Exhibit 25 - (2023-05-08 Archer Tr.)-Excerpted, # 6 Exhibit 26 - (2023-
                           05-09 Archer Tr.)-Excerpted, # 7 Exhibit 27 - (NEOGEN00059551) - Goldman Sachs
                           6.13.23 Global HC Conf Trans-Natera, # 8 Exhibit 28 - (SEALED) Beitsch 10.16.2023
                           Letter)(WOOTEN, JOHN) Modified on 10/19/2023 to reflect correct filer of document
                           (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           112 SEALED UNREDACTED DOCUMENTS [DECLARATION OF VISHAL SIKRI] filed
                           by Defendant NEOGENOMICS LABORATORIES, INC. re 107 SEALED Unredacted
                           Documents (LR 5.4). (Attachments: # 1 Exhibit (NEOGEN00014489) - AACR_2020, # 2
                           Exhibit 2 - (AACR Abstract 3097 re Neo RaDaR Poster) NEOGEN00062633, # 3 Exhibit
                           3 - 5.5.2021 Neo PR re Inivata Acquisition_NEOGEN00059530, # 4 Exhibit 4 -
                           (NEOGEN00062662) 2021-06-18_NeoGenomics_Completes_Inivata_Acquisition_180,
                           # 5 Exhibit 5 - Inivata 5.25.21 PR_NEOGEN00059564, # 6 Exhibit 6 -
                           (NEOGEN00008319), # 7 Exhibit 7 - (SEALED) (NEOGEN00059530) (2.26.2021 FDA
                           Letter Granting Breakthrough Device Designation for RaDaR), # 8 Exhibit 8 - FDA
                           Breakthrough Devices Program_NEOGEN00059537, # 9 Exhibit 9 - (NeoGenomics
                           3.16.2023 PR)_NEOGEN00004604, # 10 Exhibit 10 (NEOGEN00004200) - TD Cowen
                           07.19.23)(MORROW, JOHN) Modified on 10/19/2023 to correct filer of document
                           (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           113 SEALED UNREDACTED DOCUMENTS [DECLARATION OF VISHAL SIKRI
                           (additional documents)] filed by Defendant NEOGENOMICS LABORATORIES, INC.
                           re 112 SEALED Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 11 - Piper
                           Sandler 09.25.23_NEOGEN00059645, # 2 Exhibit 12 - Goldman Sachs 6.13.23 Global
                           HC Conf Trans-Natera_NEOGEN00059551, # 3 Exhibit 13 - (NEOGEN00018316) - MS
                           HC Conf. 09.12.23, # 4 Exhibit 14 - (NEOGEN00062648) 9.12.23 Morgan Stanley
                           Report, # 5 Exhibit 15 - Leelink Partners 7.24.23_NEOGEN00059567, # 6 Exhibit 16 -
                           Flach, Liquid Biopsy for Minimal Residual Disease Detection-NEOGEN00001018, # 7
                           Exhibit 17 - (NEOGEN00004586) - 4.5.23 SVB Securities Report, # 8 Exhibit 18 -
                           (SEALED) (NEOGEN00005623) - 5.2023 Neo Peer Group Financial Results, # 9 Exhibit
                           19 - (NEOGEN00009106), # 10 Exhibit 20 - (NEOGEN00001032) - Gale D, et al. Ann
                           Oncol. 2022)(MORROW, JOHN) Modified on 10/19/2023 to reflect correct filer of
                           document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           114 DUPLICATE OF DOC 113 SEALED UNREDACTED DOCUMENTS
                           [DECLARATION OF VISHAL SIKRI (additional documents)] filed by Defendant
                           NEOGENOMICS LABORATORIES, INC. re 112 SEALED Unredacted Documents (LR
                           5.4). (Attachments: # 1 Exhibit 11 - Piper Sandler 09.25.23_NEOGEN00059645, # 2
                           Exhibit 12 - Goldman Sachs 6.13.23 Global HC Conf Trans-Natera_NEOGEN00059551,
                           # 3 Exhibit 13 - (NEOGEN00018316) - MS HC Conf. 09.12.23, # 4 Exhibit 14 -
                           (NEOGEN00018316) - MS HC Conf. 09.12.23, # 5 Exhibit 15 - Leelink Partners
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                           7.24.23_NEOGEN00059567, # 6 Exhibit 16 - Leelink Partners
                           7.24.23_NEOGEN00059567, # 7 Exhibit 17 - (NEOGEN00004586) - 4.5.23 SVB
                           Securities Report, # 8 Exhibit 18 - (SEALED) (NEOGEN00005623) - 5.2023 Neo Peer
                           Group Financial Results, # 9 Exhibit 19 - (NEOGEN00009106), # 10 Exhibit 20 -
                           (NEOGEN00001032) - Gale D, et al. Ann Oncol. 2022)(MORROW, JOHN) Modified on
                           10/19/2023 to reflect correct filer of document (Winchester, Robin). Modified on
                           10/20/2023 (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           115 SEALED UNREDACTED DOCUMENTS [DECLARATION OF VISHAL SIKRI
                           (additional documents)] filed by Defendant NEOGENOMICS LABORATORIES, INC.
                           re 112 SEALED Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 21 -
                           (NEOGEN00000991) - Lipsyc-Sharf-et-al-2022-circulating-tumor, # 2 Exhibit 22 -
                           Elliot_NEOGEN00059699, # 3 Exhibit 23 - Cutts_NEOGEN00059698, # 4 Exhibit 24 -
                           24 (NEOGEN00011154) - Dasari A, et al. Nat Rev Clin Oncol. 2020 17 757-770, # 5
                           Exhibit 25 - Rebuzzi_NEOGEN00059710, # 6 Exhibit 26 - Tie_Circulating
                           Tumor_NEOGEN000597406 -, # 7 Exhibit 27 - Tie 2_NEOGEN00059675, # 8 Exhibit
                           28 - aieb_NEOGEN00059722, # 9 Exhibit 29 - (NEOGEN00014540) - Tie J, et al. JAMA
                           Oncol. 2019;5(12)1710-1717, # 10 Exhibit 30 - Chen_NEOGEN00059687, # 11 Exhibit
                           31 - Natera Oncology_NEOGEN00059701, # 12 Exhibit 32 - (SEALED) Beitsch
                           10.16.2023 Letter, # 13 Exhibit 33 - (NEOGEN00003924))(MORROW, JOHN) Modified
                           on 10/19/2023 to reflect correct filer of document (Winchester, Robin). (Entered:
                           10/19/2023)
  10/19/2023           116 SEALED UNREDACTED DOCUMENTS Declaration of Dr. Brian Van Ness filed by
                           Defendant NEOGENOMICS LABORATORIES, INC. re 107 SEALED Unredacted
                           Documents (LR 5.4). (Attachments: # 1 Exhibit 1 - Van Ness CV 1-6-2022, # 2 Exhibit 2
                           - 5952170 Stroun., # 3 Exhibit 3 - US20100041048A1, # 4 Exhibit 4 - 6156504 Gocke, #
                           5 Exhibit 5 - 008 NF Rejection, # 6 Exhibit 6 - 2023-09-26 Metzker, Michael_Mini, # 7
                           Exhibit 7 - Quackenbush Personalis, # 8 Exhibit 8 - 008 Claims, # 9 Exhibit 9 - 008
                           Applicant Argument, # 10 Exhibit 10 - [DI101] Natera's Opening Brief ISO MSJ, # 11
                           Exhibit 11 - MSJ Section 101 Hearing, # 12 Exhibit 12 - Metzker Illumina, # 13 Exhibit
                           13 - US20100120038A1 Fluidigm Mir, # 14 Exhibit 14 - Kaper Abstract, # 15 Exhibit 15
                           - Kaper, # 16 Exhibit 16 - Han, # 17 Exhibit 17 - Cantor, # 18 Exhibit 18 - Ehrich, # 19
                           Exhibit 19 - Lo, # 20 Exhibit 20 - Quackenbush CareDx)(WOOTEN, JOHN) Modified on
                           10/19/2023 to reflect correct filer of document (Winchester, Robin). (Entered:
                           10/19/2023)
  10/19/2023           117 SEALED UNREDACTED DOCUMENTS Declaration of Dr. Brian Van Ness
                           (Additional Exhibits) filed by Defendant NEOGENOMICS LABORATORIES, INC. re
                           116 SEALED Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 21 - Broude, #
                           2 Exhibit 22 - Lyamichev, # 3 Exhibit 23- Shoemaker, # 4 Exhibit 24 - Wang, # 5 Exhibit
                           25 - Marsh, # 6 Exhibit 26 - Ahmadian, # 7 Exhibit 27 - Nordstrom, # 8 Exhibit 28 -
                           Ronaghi, # 9 Exhibit 29 - 2022-11-09 [DI076] Joint Claim Construction Brief, # 10
                           Exhibit 30 - Jarvie, # 11 Exhibit 31 - Harismendy and Frazer, # 12 Exhibit 32 - Mardis, #
                           13 Exhibit 33 - Margulies, # 14 Exhibit 34 - Natera MTD Illumina, # 15 Exhibit 35 -
                           (SEALED) 2023-10-04 Zimmermann, Bernhard_Mini, # 16 Exhibit 36 - Metzker Qiagen
                           Trial Testimony, # 17 Exhibit 37 - Metzker Qiagen Trial DemonstrativesDDX-003)
                           (WOOTEN, JOHN) Modified on 10/19/2023 to reflect correct filer of document
                           (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           118 SEALED UNREDACTED DOCUMENTS Declaration of Dr. Brian Van Ness
                           (Additional Exhibits) filed by Defendant NEOGENOMICS LABORATORIES, INC. re
                           116 SEALED Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 38 - Jamal-
                           Hanjani Thesis, # 2 Exhibit 39 - Shendure, # 3 Exhibit 40 - US4683195-1, # 4 Exhibit 41
                           - US20100285478A1, # 5 Exhibit 42 - 42 US9206475., # 6 Exhibit 43 - Chan, # 7 Exhibit
                           44 - Leary, # 8 Exhibit 45 - 5-22-2020 008 Interview Summary, # 9 Exhibit 46 - Bentley,
https://ecf.ncmd.uscourts.gov/cgi-bin/DktRpt.pl?95168680207441-L_1_0-1                                            26/39


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                                                                        275 Filed: 03/18/2024
                           # 10 Exhibit 47 - 454 Applicant Remarks Amendment, # 11 Exhibit 48 - 454 NOA, # 12
                           Exhibit 49 - 454 7-7-2020 Non Final Rejection, # 13 Exhibit 50 - 454 Original Claims, #
                           14 Exhibit 51 - Bashashati and Supp, # 15 Exhibit 52 - Bashashati S2, # 16 Exhibit 53 -
                           Marzese, # 17 Exhibit 54 - (Bashashati Supplemental Material listing)
                           pathsojournals.onlinelibrary.wiley.com, # 18 Exhibit 55 - 008 Patent, # 19 Exhibit 59 -
                           coi190019supp1_prod - Reinert)(WOOTEN, JOHN) Modified on 10/19/2023 to reflect
                           correct filer of document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           119 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI] filed by Defendant NEOGENOMICS LABORATORIES, INC. re 107
                           SEALED Unredacted Documents (LR 5.4). (Attachments: # 1 Exhibit 1 - Piper Sandler
                           2023-09-25 Oncologist Survey (Box-ActiveProjects-2023, # 2 Exhibit 2 -
                           (NEOGEN00018316) - MS HC Conf. 09.12.23, # 3 Exhibit 3 - (SEALED)
                           _AEO_NeoGenomics - Supp. Resp to Rogs 3 & 6, # 4 Exhibit 4 - (SEALED)
                           _AEO_NAT-NEO-00584060, # 5 Exhibit 5 - Order Denying PI_19-cv-03161-YGR, # 6
                           Exhibit 6 - S&P Capital IQ - NeoGenomics, Inc. Public Company Profile, # 7 Exhibit 7 -
                           S&P Capital IQ - NeoGenomics Laboratories, Inc. Private Company Profile_, # 8 Exhibit
                           8 - One Lab Vital Answers - NeoGenomics, # 9 Exhibit 9 - Investor Relations -
                           NeoGenomics_, # 10 Exhibit 10 - Test Menu - NeoGenomics, # 11 Exhibit 11 -
                           _NeoGenomics Laboratories LinkedIn, # 12 Exhibit 12 - (NEOGEN00014489) -
                           AACR_2020, # 13 Exhibit 13 - 2021-05-05 NeoGenomics to Acquire Inivata, # 14
                           Exhibit 14 - 2021-06-18 NeoGenomics Completes Inivata Acquisition, # 15 Exhibit 15 -
                           2021-05-25 Inivata Announces Collaboration with F-star, # 16 Exhibit 16 - NeoGenomics
                           RaDaR Minimal Residual Disease (MRD), # 17 Exhibit 17 - 2023-07-27 NeoGenomics
                           Announces Medicare Coverage for RaDaR, # 18 Exhibit 18 - 2023-08-08 LabPulse -
                           NeoGenomics secures Medicare coverage for breast cancer blood test, # 19 Exhibit 19 -
                           MolDX Program (Administered by Palmetto GBA), # 20 Exhibit 20 - S&P Capital IQ -
                           Natera, Inc. Public Company Profile_)(MORROW, JOHN) Modified on 10/19/2023 to
                           reflect correct filer of document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           120 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI (additional documents)] filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 119 SEALED Unredacted Documents (LR 5.4).
                           (Attachments: # 1 Exhibit 21 - Corporate Overview - Natera, # 2 Exhibit 22 - Natera -
                           Our Technology, # 3 Exhibit 23 - Natera - Oncology, # 4 Exhibit 24 - Hereditary Genetic
                           Testing for Cancer Empower, # 5 Exhibit 25 - Natera - Comprehensive Genomic
                           Profiling, # 6 Exhibit 26 - Natera - Signatera Circulating Tumor DNA Blood Test, # 7
                           Exhibit 27 - (SEALED) AEO_NAT-NEO-00612643, # 8 Exhibit 28 - (SEALED)
                           AEO_NAT-NEO-00660081, # 9 Exhibit 29 - (SEALED) AEO_NAT-NEO-00587463, #
                           10 Exhibit 30 - (SEALED) AEO_NAT-NEO-00590295, # 11 Exhibit 31 - (SEALED)
                           AEO_Moshkevich 2023-09-22, # 12 Exhibit 32 - 2021-11-18 - Frontiers in Oncology -
                           Circulating Tumor DNA and Minimal Residual Disease, # 13 Exhibit 33 - Springer
                           Nature - Leading Advances in Precision Oncology, # 14 Exhibit 34 - Personalized Cancer
                           Monitoring - Invitae, # 15 Exhibit 35 - Definition of MRD - NCI Dictionary of Cancer
                           Terms - NCI, # 16 Exhibit 36 - 2020-07-15 - MD Anderson Cancer Center - What is
                           minimal residual disease, # 17 Exhibit 37 - Colorectal Cancer Minimal Residual
                           Disease_, # 18 Exhibit 38 - 2022-05 - FDA - Use of Circulating Tumor DNA for Early
                           Stage Solid Tumor Drug Development - Draft Guidance for Industry, # 19 Exhibit 39 -
                           DeciBio - Industry Snapshot The nascent ctDNA MRD space continues to see rapid
                           growth)(MORROW, JOHN) Modified on 10/19/2023 to reflect correct filer of document
                           (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           121 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI (additional documents)] filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 119 SEALED Unredacted Documents (LR 5.4).

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                                                                          276 Filed: 03/18/2024
                           (Attachments: # 1 Exhibit 40 - DeciBio - ctDNA MRD and Monitoring Front and Center
                           at ASCO 2022, # 2 Exhibit 41 - Barrons - How Natera Is Defending Its Lead in a $15B
                           Cancer-Testing Market, # 3 Exhibit 42 - 2023-06-13 - FactSet CallStreet - Natera, Inc. -
                           Goldman Sachs Global Healthcare Conference_Public, # 4 Exhibit 43 - DeciBio - ctDNA
                           MRD and Monitoring Front and Center at ASCO 2022)(MORROW, JOHN) Modified on
                           10/19/2023 to reflect correct filer of document (Winchester, Robin). (Entered:
                           10/19/2023)
  10/19/2023           122 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI (additional documents)] filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 119 SEALED Unredacted Documents (LR 5.4).
                           (Attachments: # 1 Exhibit 44 - _(SEALED) AEO_Malani 2023-10-02 Mini Depo, # 2
                           Exhibit 45 - Google Patents - US11530454B2)(MORROW, JOHN) Modified on
                           10/19/2023 to reflect correct filer of document (Winchester, Robin). (Entered:
                           10/19/2023)
  10/19/2023           123 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI (additional documents)] filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 119 SEALED Unredacted Documents (LR 5.4).
                           (Attachments: # 1 Exhibit 46 - Google Patents - US11519035B2, # 2 Exhibit 47 - 023-05-
                           08 - Trial Transcript Volume A - Natera v. ArcherDX_, # 3 Exhibit 48 - (SEALED)
                           AEO_Moshkevich 2023-09-22 Ex. 4-, # 4 Exhibit 49 - (SEALED) AEO_Moshkevich
                           2023-09-22 Ex. 3, # 5 Exhibit 50 - 2023-09-15 NeoGenomics Suppl Resps & Objs to
                           Natera's 1st Set of Rogs (Nos. 1-3), # 6 Exhibit 51 - 2022-01-11 NeoGenomics
                           Announces RaDaR Assay Receives CE Mark, # 7 Exhibit 52 - (SEALED) AEO_NAT-
                           NEO-00729334, # 8 Exhibit 53 - 2015-07-01 Natera Form S-1, # 9 Exhibit 54 - Natera,
                           Inc. v. ArcherDX, Inc Verdict Form, # 10 Exhibit 55 - 020-01-14 - PRNewswire -
                           ArcherDX Personalized Cancer Monitoring)(MORROW, JOHN) Modified on 10/19/2023
                           to reflect correct filer of document (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           124 SEALED UNREDACTED DOCUMENTS [DECLARATION OF JAMES E.
                           MALACKOWSKI (additional documents)] filed by Defendant NEOGENOMICS
                           LABORATORIES, INC. re 119 SEALED Unredacted Documents (LR 5.4).
                           (Attachments: # 1 Exhibit 56 - Law360 - Natera Nets $19M Verdict In Cancer Test Patent
                           Case_, # 2 Exhibit 57 - Natera, Inc. v. Inivata, Inc - Complaint, # 3 Exhibit 58 - 2022-05-
                           31 - Natera to Present New Signatera Clinical Data Across Multiple Cancer Types - 2022
                           ASCO Meeting, # 4 Exhibit 59 - _2023-10-02 - Natera Submits First PMA Module to the
                           FDA for Signatera, # 5 Exhibit 60 - GenomeWeb - About Us, # 6 Exhibit 61 - 2023-09-12
                           - AlphaSense - Baird Global Healthcare Conference, # 7 Exhibit 62 - (SEALED)
                           AEO_2023-10-16 Beitsch Letter, # 8 Exhibit 63 - Natera 2022 Annual Report and Form
                           10-K)(MORROW, JOHN) Modified on 10/19/2023 to reflect correct filer of document
                           (Winchester, Robin). (Entered: 10/19/2023)
  10/19/2023           125 NOTICE of Special Appearance by attorney JOSHUA HIRAM HARRIS on behalf of
                           Plaintiff NATERA, INC. ( Filing fee $ 25 receipt number BNCMDC-3677497.)
                           (HARRIS, JOSHUA) (Entered: 10/19/2023)
  10/20/2023           126 REDACTED SECOND AMENDED ANSWER to 1 Complaint with Jury Demand ,
                           Counterclaim against by NEOGENOMICS LABORATORIES, INC. (REINES,
                           EDWARD) Modified on 10/23/2023 to clean up text. (Taylor, Abby). (Entered:
                           10/20/2023)
  10/20/2023           127 MOTION to Seal Second Amended Answer, Affirmative Defenses & Counterclaims [If the
                           party filing this motion is not the party claiming confidentiality, the party claiming
                           confidentiality must file a response within 14 days that includes the materials required by
                           L.R. 5.4(c)(3).] by NEOGENOMICS LABORATORIES, INC.. Response to Motion due

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                                                                      277 Filed: 03/18/2024
                           by 11/3/2023 (Attachments: # 1 Proposed Order)(REINES, EDWARD) (Entered:
                           10/20/2023)
  10/20/2023           128 Second Amended Answer, Affirmative Defenses & Counterclaims filed by Counter
                           Defendants NATERA, INC., NATERA, INC., NATERA, INC., Plaintiff NATERA, INC.,
                           Defendant NEOGENOMICS LABORATORIES, INC., Counter Claimants
                           NEOGENOMICS LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC.,
                           NEOGENOMICS LABORATORIES, INC. re 126 Answer to Complaint, Counterclaim.
                           (REINES, EDWARD) Modified on 1/16/2024 to unseal document, see 198 Order. (at).
                           (Entered: 10/20/2023)
  10/24/2023           129 NOTICE of Special Appearance by attorney AUGUST MELCHER on behalf of
                           Defendant NEOGENOMICS LABORATORIES, INC., Counter Claimants
                           NEOGENOMICS LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC.,
                           NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number ANCMDC-
                           3681508.) (MELCHER, AUGUST) (Entered: 10/24/2023)
  10/27/2023           130 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM and Motion to Strike
                           Affirmative Defenses by NATERA, INC.. Response to Motion due by 11/6/2023
                           (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT) (Entered:
                           10/27/2023)
  10/27/2023           131 MEMORANDUM filed by Counter Defendant NATERA, INC. re 130 MOTION TO
                           DISMISS FOR FAILURE TO STATE A CLAIM and Motion to Strike Affirmative
                           Defenses REDACTED filed by NATERA, INC.. (VAN ARNAM, ROBERT) (Entered:
                           10/27/2023)
  10/27/2023           132 MOTION to Seal Unredacted Memorandum in Support of Motion to Dismiss Fifth
                           Counterclaim and Strike Affirmative Defenses 10 & 11 [If the party filing this motion is
                           not the party claiming confidentiality, the party claiming confidentiality must file a
                           response within 14 days that includes the materials required by L.R. 5.4(c)(3).] by
                           NATERA, INC.. (Attachments: # 1 Text of Proposed Order)(VAN ARNAM, ROBERT)
                           (Entered: 10/27/2023)
  10/27/2023           133 MEMORANDUM filed by Counter Defendant NATERA, INC. re 127 MOTION to Seal
                           Second Amended Answer, Affirmative Defenses & Counterclaims [If the party filing this
                           motion is not the party claiming confidentiality, the party claiming confidentiality must
                           file a response within 14 days that includes the materials required by L.R. 5.4(c)(3).], 132
                           MOTION to Seal Unredacted Memorandum in Support of Motion to Dismiss Fifth
                           Counterclaim and Strike Affirmative Defenses 10 & 11 [If the party filing this motion is
                           not the party claiming confidentiality, the party claiming confidentiality must file a
                           response within 14 days that includes the materials required by L.R. 5.4(c)(3).], filed by
                           NATERA, INC. (VAN ARNAM, ROBERT) (Entered: 10/27/2023)
  10/27/2023           134 Unredacted Memo in Support of Motion to Dismiss Fifth Counterclaim and Motion to
                           Strike Tenth and Eleventh Affirmative Defenses filed by Counter Defendant NATERA,
                           INC., Plaintiff NATERA, INC., Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimant NEOGENOMICS LABORATORIES, INC. re 131 Memorandum.
                           (VAN ARNAM, ROBERT) Modified on 1/16/2024 to unseal document, see 198 Order.
                           (at). (Entered: 10/27/2023)
  11/02/2023           135 REPLY in Support re 51 MOTION to Dismiss filed by NEOGENOMICS
                           LABORATORIES, INC.. Replies due by 11/16/2023 (MORROW, JOHN) Modified on
                           11/3/2023 to correct title of document (Winchester, Robin). (Entered: 11/02/2023)
  11/02/2023           136 Unopposed Motion for Lead Counsel to Remotely Attend Tutorial Hearing by
                           NEOGENOMICS LABORATORIES, INC. (MORROW, JOHN) (Entered: 11/02/2023)

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  11/03/2023                   Motions Submitted: 136 Unopposed Motion for Lead Counsel to Remotely Attend
                               Tutorial Hearing to CHIEF DISTRICT JUDGE CATHERINE C. EAGLES (Winchester,
                               Robin) (Entered: 11/03/2023)
  11/03/2023                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               11/3/23. The motion, Doc. 136 , is GRANTED to this extent: The Clerk will make
                               arrangements for Mr. Reines to attend the hearing remotely, with such audio and video
                               access as the Clerk can easily arrange. But the Court will only hear from counsel who are
                               present in person, which works better logistically and substantively than mixed in-
                               person/remote hearings. There are plenty of capable attorneys for the defendant and this
                               hearing date has been set aside for weeks. (Winchester, Robin) (Entered: 11/03/2023)
  11/03/2023                   Motions Submitted: 5 MOTION for Preliminary Injunction; 15 MOTION to Seal
                               unredacted versions of the Declaration of Dr. Michael L. Metzker, the Declaration of
                               Solomon Moshkevich, and the entirety of Exhibit F attached to the Moshkevich
                               Declaration; 51 MOTION to Dismiss; 72 MOTION to Seal Ex. 3 - Supp. Response to
                               ROG 2 filed in support of Opp. to Motion to Extend PI Schedule; 105 Motion to Seal
                               [confidential portions of NeoGenomicss Opposition to Nateras Motion for Preliminary
                               Injunction (Opposition), as well as the accompanying Declarations of Vishal Sikri, with
                               attached Exhibits 7, 18, and 32, and James Malackowski to CHIEF DISTRICT JUDGE
                               CATHERINE C. EAGLES- (Winchester, Robin) (Entered: 11/03/2023)
  11/03/2023           137 MOTION to Bind Natera to its Asserted Conception Date in its Court-Ordered Discovery
                           Response by NEOGENOMICS LABORATORIES, INC. Response to Motion due by
                           11/24/2023 (Attachments: # 1 Text of Proposed Order Proposed Order)(MORROW,
                           JOHN) (Entered: 11/03/2023)
  11/03/2023           138 MEMORANDUM filed by Defendant NEOGENOMICS LABORATORIES, INC. re 137
                           MOTION to Bind Natera to its Asserted Conception Date in its Court-Ordered Discovery
                           Response filed by NEOGENOMICS LABORATORIES, INC.. (Attachments: # 1 Exhibit
                           1- (2023-09-25) Natera's 1st Supp Resps &Objs to NeoGenomics Rogs Nos. 1 and 5, # 2
                           Exhibit 2 - (2023-10-26) Natera's 2nd Supp Resp & Objs to Rog No. 1, # 3 Exhibit 3 -
                           (2023-09-15) NAT-NEO-00534995-NAT-NEO-00883917, # 4 Exhibit 4 - (2023-09-21)
                           NAT-NEO-00884055-NAT-NEO-00887706)(MORROW, JOHN) (Entered: 11/03/2023)
  11/06/2023           139 REPLY, filed by Counter Defendants NATERA, INC., NATERA, INC., NATERA, INC.,
                           Plaintiff NATERA, INC., to Response to 5 MOTION for Preliminary Injunction Redacted
                           filed by NATERA, INC.. (Attachments: # 1 Exhibit 1 - FILED UNDER SEAL, # 2
                           Exhibit 2 - FILED UNDER SEAL, # 3 Exhibit 3 - FILED UNDER SEAL, # 4 Exhibit 4 -
                           FILED UNDER SEAL - Zimmermann Depo Tr, # 5 Exhibit 5 - FILED UNDER SEAL -
                           Malackowski Depo Tr, # 6 Exhibit 6 - FILED UNDER SEAL - Discovery Responses, # 7
                           Exhibit 7 - FILED UNDER SEAL - Sikri Depo Tr, # 8 Exhibit 8 - FILED UNDER SEAL
                           - Email)(VAN ARNAM, ROBERT) (Entered: 11/06/2023)
  11/06/2023           140 DECLARATION filed by Counter Defendants NATERA, INC., NATERA, INC.,
                           NATERA, INC., Plaintiff NATERA, INC. re 139 Reply to Response to Motion,, of Robert
                           L. Stoll filed by NATERA, INC.. (Attachments: # 1 Exhibit A - CV, # 2 Exhibit B -
                           Supplemental Application Data Sheet)(VAN ARNAM, ROBERT) (Entered: 11/06/2023)
  11/06/2023           141 DECLARATION filed by Counter Defendants NATERA, INC., NATERA, INC.,
                           NATERA, INC., Plaintiff NATERA, INC. re 139 Reply to Response to Motion,, OF DR.
                           MICHAEL METZKER filed by NATERA, INC.. (Attachments: # 1 Exhibit 1 - FILED
                           UNDER SEAL - Transcript of BrianVanNess, # 2 Exhibit 2 - Cell-free DNA challenges, #
                           3 Exhibit 3 - Field guide to next-generation DNA sequencers, # 4 Exhibit 4 - Detection of
                           ultra-rare mutations by next-generation sequencing, # 5 Exhibit 5 - Kinde2011Paper, # 6
                           Exhibit 6 - Metzker2006PCRChapter, # 7 Exhibit 7 - Gilles2011Paper, # 8 Exhibit 8 -

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                           Metzker2010Review, # 9 Exhibit 9 - Kuleshov2014Paper, # 10 Exhibit 10 - GenomeWeb,
                           # 11 Exhibit 11 - Protocol, # 12 Exhibit 12 -
                           NeoGenomics_Announces_Medicare_Coverage)(VAN ARNAM, ROBERT) (Entered:
                           11/06/2023)
  11/06/2023           142 MOTION to Seal Reply in Support of its Motion for Preliminary Injunction Exhibits 1-8
                           attached to Nateras Reply, portions of the Reply Declaration of Dr. Michael L. Metzker,
                           Ph.D, and Exhibit 1 attached to the Metzker Declaration [If the party filing this motion is
                           not the party claiming confidentiality, the party claiming confidentiality must file a
                           response within 14 days that includes the materials required by L.R. 5.4(c)(3).] by
                           NATERA, INC.. Response to Motion due by 11/20/2023 (Attachments: # 1 Text of
                           Proposed Order)(VAN ARNAM, ROBERT) (Entered: 11/06/2023)
  11/06/2023           143 MEMORANDUM filed by Counter Defendants NATERA, INC., NATERA, INC.,
                           NATERA, INC., Plaintiff NATERA, INC. re 142 MOTION to Seal Reply in Support of its
                           Motion for Preliminary Injunction Exhibits 1-8 attached to Nateras Reply, portions of the
                           Reply Declaration of Dr. Michael L. Metzker, Ph.D, and Exhibit 1 attached to the Metzker
                           Declaration filed by NATERA, INC.. (VAN ARNAM, ROBERT) (Entered: 11/06/2023)
  11/06/2023           144 SEALED UNREDACTED DOCUMENTS filed by Plaintiff NATERA, INC., Defendant
                           NEOGENOMICS LABORATORIES, INC. re 139 Reply to Response to Motion.
                           (Attachments: # 1 Exhibit 1 - NAT-NEO-00884440, # 2 Exhibit 2 - NAT-NEO-00574046,
                           # 3 Exhibit 3 - NAT-NEO-00774804, # 4 Exhibit 4 - Zimmermann Depo Tr, # 5 Exhibit 5
                           - Malackowski Depo Tr, # 6 Exhibit 6 - Discovery Responses, # 7 Exhibit 7 - Sikri Depo
                           Tr, # 8 Exhibit 8 - Email) (VAN ARNAM, ROBERT) Modified on 1/16/2024 to useal
                           Exhibit 8, see 198 Order. (at). (Entered: 11/06/2023)
  11/06/2023           145 SEALED UNREDACTED DOCUMENTS filed by Plaintiff NATERA, INC., Defendant
                           NEOGENOMICS LABORATORIES, INC. re 141 Declaration. (Attachments: # 1 Exhibit
                           1 - Transcript of BrianVanNess) (VAN ARNAM, ROBERT) (Entered: 11/06/2023)
  11/06/2023           146 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           11/06/2023. To assist the Court in evaluating the pending motions to seal and in locating
                           evidence easily, the parties SHALL work together cooperatively to prepare and the
                           plaintiff SHALL file on the public docket, no later than November 30, 2023, a Joint
                           Submission in aid of the pending motions to seal. The Joint Submission SHALL contain
                           the following information in chart form, organized by the substantive motion at issue and
                           listing each document subject to a pending motion to seal: The name of the document or
                           summary identification of document (i.e., Brief in opposition to motion for preliminary
                           injunction, or 10/16/23 Beitsch Letter); the location of the public redacted version or slip
                           sheet (i.e., Doc. 103-5), the location of the temporarily-sealed unredacted version (i.e.,
                           Doc. 111-3); and the docket number of the motion to seal applicable to the document. For
                           a somewhat similar example, see Seaman v. Duke, 15cv462, at Doc. 169. If the parties
                           prefer, they can organize these charts by motion to seal, so long as the chart makes it clear
                           what substantive motion(s) the documents and briefs relate to. If the parties have a better
                           idea on how to present this information, the Court is open to suggestion. (Taylor, Abby)
                           (Entered: 11/06/2023)
  11/06/2023           147 RESPONSE in Opposition re 130 MOTION TO DISMISS FOR FAILURE TO STATE A
                           CLAIM and Motion to Strike Affirmative Defenses filed by NATERA, INC. filed by
                           NEOGENOMICS LABORATORIES, INC.. Replies due by 11/20/2023 (REINES,
                           EDWARD) (Entered: 11/06/2023)
  11/09/2023                   Minute Entry for proceedings held before CHIEF DISTRICT JUDGE CATHERINE C.
                               EAGLES: Tutorial Hearing held on 11/9/2023. Attorneys Sandara Haberny, Tara
                               Srinivasan, Robert Van Arnman and In House Counsel Sean Boyle present as counsel for
                               plaintiff. Attorneys Elizabeth Ryan, John Morrow appeared in person, Attorney Edward
https://ecf.ncmd.uscourts.gov/cgi-bin/DktRpt.pl?95168680207441-L_1_0-1                                                31/39


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                           Reienes appeaed via VTC as counsel for defendant. Plaintiff shall file response to Doc.
                           137 on 11/17/2023, no reply allowed. (Court Reporter Briana Chesnut.) (Winchester,
                           Robin) (Entered: 11/09/2023)
  11/13/2023           148 REPLY, filed by Counter Defendants NATERA, INC., NATERA, INC., NATERA, INC.,
                           Plaintiff NATERA, INC., to Response to 130 MOTION TO DISMISS FOR FAILURE
                           TO STATE A CLAIM and Motion to Strike Affirmative Defenses filed by NATERA,
                           INC.. (VAN ARNAM, ROBERT) (Entered: 11/13/2023)
  11/13/2023           149 Reply Brief in Support of Motion to Dismiss and Strike Affirmative Defenses filed by
                           Counter Defendants NATERA, INC., NATERA, INC., NATERA, INC., Plaintiff
                           NATERA, INC., Counter Claimant NEOGENOMICS LABORATORIES, INC. re 132
                           Motion to Seal, 130 Motion to Dismiss for Failure to State a Claim. (VAN ARNAM,
                           ROBERT) Modified on 1/16/2024 to unseal document, see 198 Order. (at). (Entered:
                           11/13/2023)
  11/14/2023                   Motions Submitted: 130 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                               and Motion to Strike Affirmative Defenses, 132 MOTION to Seal Unredacted
                               Memorandum in Support of Motion to Dismiss Fifth Counterclaim and Strike Affirmative
                               Defenses 10 & 11 [If the party filing this motion is not the party claiming confidentiality,
                               the party claiming conf to CHIEF DISTRICT JUDGE CATHERINE C. EAGLES- (rw)
                               (Entered: 11/14/2023)
  11/14/2023           150 NOTICE by NATERA, INC. regarding witnesses it may call during PI Hearing
                           (SHORES, ANDREW) (Entered: 11/14/2023)
  11/16/2023                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               11/16/23. To assist the Court, each party SHALL file proposed findings of fact and
                               conclusions of law by 8:00 a.m. on December 1, 2023, directed to the likelihood of
                               success on the merits element of a preliminary injunction. They may address the other
                               factors, but that is not required. Each statement of fact should be followed by citation(s)
                               to the docket supporting the finding, using the CM/ECF docket numbering and pagination
                               in the following format: Doc. [ENTRY #] at [PAGE #] or Doc. [Entry #] at paragraph [#],
                               i.e., Doc. 4 at 6 or Doc. 7 at paragraph 8. To the extent a party relies on testimony at the
                               hearing, no cite to a transcript is required but the party SHALL identify the witness and
                               SHALL also cite the place in the record where other factual support is found. Each party
                               SHALL provide a copy in Word format to the case manager. (rw) Modified on 11/16/2023
                               to reflect the correct date, which is December 1, 2023. (rw). (Entered: 11/16/2023)
  11/17/2023           151 NOTICE by NEOGENOMICS LABORATORIES, INC. regarding witnesses it may call
                           during PI Hearing (REINES, EDWARD) (Entered: 11/17/2023)
  11/17/2023           152 See 155 for corrected Brief RESPONSE in Opposition re 137 MOTION NeoGenomics'
                           Motion to Bind Natera to its Asserted Conception Date in its Court-Ordered Discovery
                           Response filed by NEOGENOMICS LABORATORIES, INC. filed by NATERA, INC..
                           Replies due by 11/17/2023 (Attachments: # 1 Exhibit 1. FILED UNDER SEAL, # 2
                           Exhibit 2. NeoGenomics' 30(b)(6) Depo Notice, # 3 Exhibit 3. 30(b)(6) Witness
                           Designations, # 4 Exhibit 4. Natera Doc Prod Emails, # 5 Exhibit 5. 9.28 Reines Email, #
                           6 Exhibit 6. 10.16 Harris Email, # 7 Exhibit 7. Zimmermann Decl. (11.17.2023), # 8
                           Exhibit 8. Srinivasan Email, # 9 Exhibit 9. FILED UNDER SEAL, # 10 Exhibit 10.
                           Srinivasan Decl.)(VAN ARNAM, ROBERT) Modified on 11/20/2023 to reflect corrected
                           brief filed at 155 Response. (km) (Entered: 11/17/2023)
  11/17/2023           153 SEALED UNREDACTED DOCUMENTS Unredacted Opp. to Neo FRCP 37 Motion to
                           Bind Natera to An Incorrect Conception Date, and Unredacted Exhibits 1 and 9 thereto
                           filed by Plaintiff NATERA, INC. re 132 Motion to Seal, 152 Response in Opposition to
                           Motion,, 142 Motion to Seal,,. (Attachments: # 1 Exhibit 1. FILED UNDER SEAL, # 2
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                                                                          281 Filed: 03/18/2024
                           Exhibit 2. NeoGenomics' 30(b)(6) Depo Notice, # 3 Exhibit 3. 30(b)(6) Witness
                           Designations, # 4 Exhibit 4. Natera Doc Prod Emails, # 5 Exhibit 5. 9.28 Reines Email, #
                           6 Exhibit 6. 10.16 Harris Email, # 7 Exhibit 7. Zimmermann Decl. (11.17.2023), # 8
                           Exhibit 8. Srinivasan Email, # 9 Exhibit 9. FILED UNDER SEAL, # 10 Exhibit 10.
                           Srinivasan Decl.)(VAN ARNAM, ROBERT) Modified on 1/16/2024 to unseal exhibit 1
                           and exhibit 9, see 198 Order (at). (Entered: 11/17/2023)
  11/18/2023           154 Transcript of Proceedings held on 11/9/2023, before Judge Catherine C. Eagles. Court
                           Reporter Briana L. Chesnut, Telephone number 336-734-2514. Email:
                           brinesbit@gmail.com. Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter before the deadline for Release of Transcript Restriction.
                           After that date it may be obtained through PACER.

                               NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have 5 business days
                               to file a Notice of Intent to Request Redaction and 21 calendar days to file a
                               Redaction Request. If no notice is filed, this transcript will be made electronically
                               available to the public without redaction after 90 calendar days. Transcript may be
                               viewed at the court public terminal or purchased through the court reporter before
                               the 90 day deadline. After that date it may be obtained through PACER.

                               Redaction Request due 12/14/2023. Redacted Transcript Deadline set for 12/22/2023.
                               Release of Transcript Restriction set for 2/20/2024. (bc) (Entered: 11/18/2023)
  11/20/2023                   Motions Submitted: 137 MOTION NeoGenomics' Motion to Bind Natera to its Asserted
                               Conception Date in its Court-Ordered Discovery Response to CHIEF DISTRICT JUDGE
                               CATHERINE C. EAGLES- (rw) (Entered: 11/20/2023)
  11/20/2023           155 Corrected document re 152 Response in Opposition to Motion. (VAN ARNAM,
                           ROBERT) (Entered: 11/20/2023)
  11/21/2023           156 NOTICE of Special Appearance by attorney ANDREW J BRAMHALL on behalf of
                           Plaintiff NATERA, INC., Counter Defendants NATERA, INC., NATERA, INC. ( Filing
                           fee $ 25 receipt number ANCMDC-3704976.) (BRAMHALL, ANDREW) (Entered:
                           11/21/2023)
  11/22/2023           157 Suggestion of Subsequently Decided Authority re 5 MOTION for Preliminary Injunction
                           by Plaintiff NATERA, INC.. (SHORES, ANDREW) (Entered: 11/22/2023)
  11/22/2023           158 NOTICE by NATERA, INC. JOINT Notice regarding anticipated witnesses at PI
                           Hearing (SHORES, ANDREW) (Entered: 11/22/2023)
  11/27/2023           159 Minute Entry for proceedings held before CHIEF DISTRICT JUDGE CATHERINE C.
                           EAGLES. Attorneys Kevin Johnson, Victoria Maroulis, Andrew Bramhall, Sandra
                           Haberny, Tara Srinivasan and Robert Van Arnam present as counsel for plaintiff.
                           Attorneys John Morrow, Jr., Derek Walter, and Edward Reines present as counsel for the
                           defendant. Motion Hearing held on 11/27/2023 re 5 MOTION for Preliminary Injunction
                           filed by NATERA, INC. Evidence presented see exhibit list. Matter taken under
                           advisement. (Court Reporter Joseph Armstrong.) (rw) (Entered: 11/27/2023)
  11/29/2023           160 RESPONSE in Support re 105 MOTION to Seal [confidential portions of NeoGenomicss
                           Opposition to Nateras Motion for Preliminary Injunction (Opposition), as well as the
                           accompanying Declarations of Vishal Sikri, with attached Exhibits 7, 18, and 32, and
                           James Malackowski, with filed by NATERA, INC.. Replies due by 12/13/2023 (VAN
                           ARNAM, ROBERT) (Entered: 11/29/2023)
  11/30/2023           161 JOINT STATUS REPORT regarding Locations of Sealed and Public Documents
                           (pursuant to Order at Doc. 146) filed by all parties. Est. Trial Days: TBD. (VAN

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                           ARNAM, ROBERT) (Entered: 11/30/2023)
  12/01/2023           162 Statement of Material Facts re 5 MOTION for Preliminary Injunction [NEOGENOMICS'
                           PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF ITS
                           OPPOSITION TO NATERA'S MOTION FOR A PRELIMINARY INJUNCTION] filed by
                           NEOGENOMICS LABORATORIES, INC.. (Attachments: # 1 Exhibit Ex. 1 - 2023.11.14
                           Metzker Dep. mini, # 2 Exhibit Ex. 2 - 2023.11.09 Hearing Transcript, # 3 Exhibit Ex. 3 -
                           2023.11.27 Hearing)(MORROW, JOHN) (Entered: 12/01/2023)
  12/01/2023           163 Proposed Findings of Fact and Conclusions of Law by NATERA, INC.. (Attachments: #
                           1 Exhibit 1. Metzker Depo. Tr., # 2 Exhibit 2. Stoll Depo. Tr.)(VAN ARNAM, ROBERT)
                           (Entered: 12/01/2023)
  12/01/2023           164 Suggestion of Subsequently Decided Authority re 157 Suggestion of Subsequently
                           Decided Authority Supplement with Redacted Order by Plaintiff NATERA, INC..
                           (Attachments: # 1 Exhibit 1. Redacted Injunction Order)(SHORES, ANDREW) (Entered:
                           12/01/2023)
  12/08/2023           165 RESPONSE re 164 Suggestion of Subsequently Decided Authority filed by
                           NEOGENOMICS LABORATORIES, INC.. Replies due by 12/22/2023 (Attachments: #
                           1 Exhibit 1 - 2023-11-15 [DI675] Defs' Ntc of Sub Develop re Natera's PI Motion -
                           Redacted)(MORROW, JOHN) (Entered: 12/08/2023)
  12/11/2023           166 NOTICE NOTICE OF FULL WITHDRAWAL OF NATERA'S MOTION TO SEAL
                           (DOC. 132 ) AND PARTIAL WITHDRAWAL OF NATERA'S MOTION TO SEAL
                           (DOC. 142 )by NATERA, INC. re 160 Response in Support of Motion, 132 MOTION to
                           Seal Unredacted Memorandum in Support of Motion to Dismiss Fifth Counterclaim and
                           Strike Affirmative Defenses 10 & 11 [If the party filing this motion is not the party
                           claiming confidentiality, the party claiming confidentiality must file a response within 14
                           days that includes the materials required by L.R. 5.4(c)(3).], 142 MOTION to Seal Reply
                           in Support of its Motion for Preliminary Injunction Exhibits 1-8 attached to Nateras
                           Reply, portions of the Reply Declaration of Dr. Michael L. Metzker, Ph.D, and Exhibit 1
                           attached to the Metzker Declaration. (SHORES, ANDREW) Modified on 12/12/2023 to
                           add text to title of document. (at). (Entered: 12/11/2023)
  12/12/2023           167 WITHDRAWAL of Motion by Defendant NEOGENOMICS LABORATORIES, INC. re
                           127 MOTION to Seal Second Amended Answer, Affirmative Defenses & Counterclaims
                           [If the party filing this motion is not the party claiming confidentiality, the party claiming
                           confidentiality must file a response within 14 days that includes the materials required by
                           L.R. 5.4(c)(3).] filed by NEOGENOMICS LABORATORIES, INC. (MORROW, JOHN)
                           (Entered: 12/12/2023)
  12/13/2023           168 RESPONSE in Support re 142 MOTION to Seal Reply in Support of its Motion for
                           Preliminary Injunction Exhibits 1-8 attached to Nateras Reply, portions of the Reply
                           Declaration of Dr. Michael L. Metzker, Ph.D, and Exhibit 1 attached to the Metzker
                           Declaration 144 SEALED Unredacted Documents (LR 5.4), filed by NEOGENOMICS
                           LABORATORIES, INC.. Replies due by 12/27/2023 (Attachments: # 1 Affidavit
                           Declaration of Alicia Olivo)(MORROW, JOHN) (Entered: 12/13/2023)
  12/27/2023           169 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           12/27/2023; that Natera's preliminary injunction motion, Doc. 5 , is GRANTED. The
                           preliminary injunction will issue separately. (sh) (Entered: 12/27/2023)
  12/27/2023           170 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           12/27/2023, that the defendant's motion for sanctions, entitled "Motion to Bind Natera to
                           its Asserted Conception Date," Doc. 137 , is DENIED. (lg) (Entered: 12/27/2023)


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  12/27/2023           171 PRELIMINARY INJUNCTION signed by CHIEF DISTRICT JUDGE CATHERINE
                           C. EAGLES on 12/27/2023; as set out herein. (sh) (Entered: 12/27/2023)
  12/27/2023           172 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           12/27/2023, that the defendant's motion to dismiss, Doc. 51 , is DENIED without
                           prejudice to a motion for summary judgment. (lg) (Entered: 12/27/2023)
  12/27/2023           173 NOTICE OF APPEAL as to 171 Preliminary Injunction by NEOGENOMICS
                           LABORATORIES, INC.. Filing fee $ 605, receipt number BNCMDC-3729252.
                           (REINES, EDWARD) (Entered: 12/27/2023)
  12/29/2023           176 MOTION to Stay Preliminary Injunction by NEOGENOMICS LABORATORIES, INC..
                           Response to Motion due by 1/19/2024 (Attachments: # 1 Text of Proposed Order)
                           (REINES, EDWARD) (Entered: 12/29/2023)
  12/29/2023           177 MEMORANDUM filed by Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC. re 176 MOTION to
                           Stay Preliminary Injunction filed by NEOGENOMICS LABORATORIES, INC..
                           (REINES, EDWARD) (Entered: 12/29/2023)
  12/29/2023           178 MOTION to Modify 171 Preliminary Injunction by NEOGENOMICS
                           LABORATORIES, INC.. Response to Motion due by 1/19/2024 (Attachments: # 1 Text
                           of Proposed Order)(REINES, EDWARD) (Entered: 12/29/2023)
  12/29/2023           179 MEMORANDUM filed by Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC. re 178 MOTION to
                           Modify 171 Preliminary Injunction filed by NEOGENOMICS LABORATORIES, INC..
                           (Attachments: # 1 Declaration of Sikri in Support)(REINES, EDWARD) (Entered:
                           12/29/2023)
  12/29/2023           180 MOTION to Seal Memorandums In Support of Motion to Stay and Motion to Modify [If
                           the party filing this motion is not the party claiming confidentiality, the party claiming
                           confidentiality must file a response within 14 days that includes the materials required by
                           L.R. 5.4(c)(3).] by NEOGENOMICS LABORATORIES, INC.. Response to Motion due
                           by 1/12/2024 (Attachments: # 1 Text of Proposed Order)(REINES, EDWARD) (Entered:
                           12/29/2023)
  12/29/2023           181 MEMORANDUM filed by Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC. re 180 MOTION to
                           Seal Memorandums In Support of Motion to Stay and Motion to Modify [If the party filing
                           this motion is not the party claiming confidentiality, the party claiming confidentiality
                           must file a response within 14 days that includes the materials required by L.R. 5.4(c)(3).]
                           filed by NEOGENOMICS LABORATORIES, INC.. (Attachments: # 1 Declaration of
                           Olivo in Support) (REINES, EDWARD) (Entered: 12/29/2023)
  12/29/2023           182 SEALED UNREDACTED DOCUMENTS filed by Defendant NEOGENOMICS
                           LABORATORIES, INC., Counter Claimants NEOGENOMICS LABORATORIES, INC.,
                           NEOGENOMICS LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC.
                           re 176 Motion to Stay. (REINES, EDWARD) (Entered: 12/29/2023)
  12/29/2023           183 SEALED UNREDACTED DOCUMENTS filed by Defendant NEOGENOMICS
                           LABORATORIES, INC., Counter Claimants NEOGENOMICS LABORATORIES, INC.,
                           NEOGENOMICS LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC.


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                           re 181 Memorandum. (Attachments: # 1 Declaration of Sikri in Support) (REINES,
                           EDWARD) (Entered: 12/29/2023)
  01/01/2024           184 NOTICE by NEOGENOMICS LABORATORIES, INC. re 177 Memorandum, 179
                           Memorandum, 182 SEALED Unredacted Documents (LR 5.4), 183 SEALED Unredacted
                           Documents (LR 5.4), of Corrected Citations (REINES, EDWARD) (Entered: 01/01/2024)
  01/02/2024                   TEXT ORDER issued by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                               1/2/24. No later than 9 am January 4, 2024, NeoGenomics SHALL file a supplement to
                               the Motion to Modify, Doc. 178 , in the form of proposed modifications to the language
                               to Paragraph 3 of the preliminary injunction, that solves the clarity problems it identifies
                               in the brief in support of the Motion to Modify, Doc. 179 at 8-10, (ECF pagination) and
                               shall submit a copy in Word format to the case manager. No additional briefing,
                               commentary, or explanation is authorized. Natera SHALL respond to the Motion to
                               Modify, Doc. 178 , and the proposed modification language, as quickly as possible so that
                               the Court may promptly address the amount of the bond as required by Rule 65(c) and in
                               any event no later than 5 pm January 5, 2024. Any reply shall be filed at the
                               corresponding time on the next business day, but no later than 9 am January 8, 2024. (rw)
                               Modified on 1/2/2024 to correct Doc. No. to Doc. 178 (rw). (Entered: 01/02/2024)
  01/03/2024                   TEXT ORDER in light of the proposed order at Doc. [178-1], Neogenomics does not
                               have to file the supplement and Natera shall direct its response brief to the language
                               proposed in Doc. [178-1] issued by CHIEF DISTRICT JUDGE CATHERINE C.
                               EAGLES on 1/3/24. (rw) (Entered: 01/03/2024)
  01/04/2024           185 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           01/04/2024, that the motion to modify, Doc. 178 , is GRANTED to this limited extent:
                           The Preliminary Injunction, Doc. 171 at 2 4, is not in effect and its requirements are held
                           in abeyance, pending a decision on security under Rule 65(c) and the posting of any
                           security required. The motion to modify, Doc. 178 , otherwise remains under advisement.
                           The defendant's request for expedited briefing on the motion to stay is GRANTED.
                           Natera shall file its response no later than January 8, 2024, and NeoGenomics may file a
                           reply brief no later than January 11, 2024. The motion for stay, Doc. 176 , otherwise
                           remains under advisement. (at) (Entered: 01/04/2024)
  01/04/2024                   Set/Response Deadline re 176 MOTION to Stay Preliminary Injunction : Response to
                               Motion due by 1/8/2024. Replies due by 1/11/2024. (at) (Entered: 01/04/2024)
  01/04/2024           186 RESPONSE in Opposition re 178 MOTION to Modify 171 Preliminary Injunction filed
                           by NEOGENOMICS LABORATORIES, INC. REDACTED filed by NATERA, INC..
                           Replies due by 1/5/2024 (Attachments: # 1 Exhibit 1. TD Cowen Estimate Changes, # 2
                           Exhibit 2. BTIG article re PI)(VAN ARNAM, ROBERT) (Entered: 01/04/2024)
  01/04/2024           187 MOTION to Seal Natera's Redacted Opp. to Motion to Modify [If the party filing this
                           motion is not the party claiming confidentiality, the party claiming confidentiality must
                           file a response within 14 days that includes the materials required by L.R. 5.4(c)(3).] by
                           NATERA, INC.. Response to Motion due by 1/18/2024 (Attachments: # 1 Text of
                           Proposed Order)(VAN ARNAM, ROBERT) (Entered: 01/04/2024)
  01/04/2024           188 SEALED UNREDACTED DOCUMENTS Natera's Opp. to Motion to Modify
                           (highlighted) filed by Counter Defendants NATERA, INC., NATERA, INC., NATERA,
                           INC., Plaintiff NATERA, INC., Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC. re 187 Motion to
                           Seal, 186 Response in Opposition to Motion,. (Attachments: # 1 Exhibit 1. TD Cowen
                           Estimate Changes, # 2 Exhibit 2. BTIG article re PI)(VAN ARNAM, ROBERT) (Entered:
                           01/04/2024)
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  01/05/2024           189 REPLY, filed by Defendant NEOGENOMICS LABORATORIES, INC., to Response to
                           178 MOTION to Modify 171 Preliminary Injunction filed by NEOGENOMICS
                           LABORATORIES, INC.. (REINES, EDWARD) (Entered: 01/05/2024)
  01/08/2024                   Motions Submitted: 105 MOTION to Seal confidential portions of NeoGenomicss
                               Opposition to Nateras Motion for Preliminary Injunction (Opposition), as well as the
                               accompanying Declarations of Vishal Sikri, with attached Exhibits 7, 18, and 32, and
                               James Malackowski, 142 MOTION to Seal Reply in Support of its Motion for
                               Preliminary Injunction Exhibits 1-8 attached to Nateras Reply, portions of the Reply
                               Declaration of Dr. Michael L. Metzker, Ph.D, and Exhibit 1 attached to the Metzker
                               Declaration, 178 MOTION to Modify 171 Preliminary Injunction, 180 MOTION to Seal
                               Memorandums In Support of Motion to Stay and Motion to Modify and 187 MOTION to
                               Seal Natera's Redacted Opp. to Motion to Modify to CHIEF DISTRICT JUDGE
                               CATHERINE C. EAGLES- (rw) (Entered: 01/08/2024)
  01/08/2024           190 RESPONSE in Opposition re 176 MOTION to Stay Preliminary Injunction filed by
                           NEOGENOMICS LABORATORIES, INC. REDACTED filed by NATERA, INC..
                           Replies due by 1/11/2024 (VAN ARNAM, ROBERT) (Entered: 01/08/2024)
  01/08/2024           191 MOTION to Seal Opp. to Motion to Stay PI (Doc. 190) [If the party filing this motion is
                           not the party claiming confidentiality, the party claiming confidentiality must file a
                           response within 14 days that includes the materials required by L.R. 5.4(c)(3).] by
                           NATERA, INC.. Response to Motion due by 1/22/2024 (Attachments: # 1 Text of
                           Proposed Order)(VAN ARNAM, ROBERT) (Entered: 01/08/2024)
  01/08/2024           192 SEALED UNREDACTED DOCUMENTS Unredacted Opp. to Motion to Stay PI filed
                           by Counter Defendants NATERA, INC., NATERA, INC., NATERA, INC., Plaintiff
                           NATERA, INC., Defendant NEOGENOMICS LABORATORIES, INC., Counter
                           Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC. re 190 Response in
                           Opposition to Motion, 191 Motion to Seal,. (VAN ARNAM, ROBERT) (Entered:
                           01/08/2024)
  01/10/2024           193 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           01/10/2024, that Security for the preliminary injunction, Doc. 171 , is set at $10,000,000,
                           subject to future modification upon motion and additional evidence. Once Natera posts
                           this security, the preliminary injunction, Doc. 171 , will go into effect. The Court clarifies
                           the preliminary injunction as follows: a. NeoGenomics may perform RaDaR tests on
                           patient blood samples taken before security is posted and on samples taken thereafter for
                           those same patients as authorized under 3(a) of the preliminary injunction, Doc. 171 . b.
                           NeoGenomics may also offer RaDaR for use in the three trials for which it already has
                           signed contracts. c. Otherwise, the motion to modify, Doc. 178 , remains under
                           advisement. The motion to stay, Doc. 176 , remains under advisement. The parties should
                           immediately meet and confer about a proposed scheduling order that will allow for trial in
                           late winter or spring of 2025, and the Court will soon schedule an initial pretrial
                           conference. In the meantime, after meeting and conferring the parties may immediately
                           proceed with further discovery. (at) (Entered: 01/10/2024)
  01/11/2024           194 REPLY, filed by Defendant NEOGENOMICS LABORATORIES, INC., Counter
                           Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC., to Response to 176
                           MOTION to Stay Preliminary Injunction filed by NEOGENOMICS LABORATORIES,
                           INC.. (REINES, EDWARD) (Entered: 01/11/2024)
  01/11/2024           195 MOTION to Seal NeoGenomics's Redacted Reply to Its Motion to Stay PI [If the party
                           filing this motion is not the party claiming confidentiality, the party claiming

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                           confidentiality must file a response within 14 days that includes the materials required by
                           L.R. 5.4(c)(3).] by NEOGENOMICS LABORATORIES, INC.. Response to Motion due
                           by 1/25/2024 (Attachments: # 1 Text of Proposed Order)(REINES, EDWARD) (Entered:
                           01/11/2024)
  01/11/2024           196 SEALED REPLY, filed by Defendant NEOGENOMICS LABORATORIES, INC.,
                           Counter Claimants NEOGENOMICS LABORATORIES, INC., NEOGENOMICS
                           LABORATORIES, INC., NEOGENOMICS LABORATORIES, INC., to Response to 176
                           MOTION to Stay Preliminary Injunction filed by NEOGENOMICS LABORATORIES,
                           INC.. (REINES, EDWARD) (Entered: 01/11/2024)
  01/12/2024                   Motions Submitted: 176 MOTION to Stay Preliminary Injunction, 180 MOTION to Seal
                               Memorandums In Support, 191 MOTION to Seal Opp. to Motion to Stay PI and 195
                               MOTION to Seal NeoGenomics's Redacted Reply to Its Motion to Stay PI to CHIEF
                               DISTRICT JUDGE CATHERINE C. EAGLES. (rw) (Entered: 01/12/2024)
  01/12/2024           197 Preliminary Injunction BOND in the amount of $10,000,000.00,Bond No. 1001160971,
                           posted by NATERA, INC., signed by Judge CHIEF DISTRICT JUDGE CATHERINE C.
                           EAGLES.. (Attachments: # 1 Exhibit A. Preliminary Injunction Bond)(VAN ARNAM,
                           ROBERT) (Entered: 01/12/2024)
  01/16/2024           198 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           01/16/2024. Natera has withdrawn its motion to seal certain briefs and exhibits,
                           withdrawing its claim that information about its interactions with Dr. Mariam Jamal-
                           Hanjani is confidential. See Doc. 166 . Consistent with that withdrawal and without
                           objection, the Clerk SHALL unseal the following: Doc. 134 , Doc. 144 -8, Doc. 149 ,
                           Doc. 153 -1, Doc. 153 -9. NeoGenomics also withdraws it motion to seal at Doc. 127 ,
                           which sought to seal parts of NeoGenomics Second Amended Answer and Counterclaims
                           containing allegations about Natera's interactions with Dr. Jamal-Hanjani. See Doc. 167 .
                           To that end, and without objection, the Clerk SHALL unseal Doc. 128 . (at) (Entered:
                           01/16/2024)
  01/17/2024           199 NOTICE of Special Appearance by attorney MATTHEW I KREEGER on behalf of
                           Defendant NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number
                           ANCMDC-3742815.) (KREEGER, MATTHEW) (Entered: 01/17/2024)
  01/17/2024           200 NOTICE of Special Appearance by attorney DARALYN J. DURIE on behalf of
                           Defendant NEOGENOMICS LABORATORIES, INC. ( Filing fee $ 25 receipt number
                           ANCMDC-3742817.) (DURIE, DARALYN) (Entered: 01/17/2024)
  01/26/2024           201 Subsequent NOTICE OF APPEAL as to 171 Preliminary Injunction, 169 Order on
                           Motion for Preliminary Injunction, 193 Order, 172 Order on Motion to Dismiss by
                           NEOGENOMICS LABORATORIES, INC. . Filing fee $ 605, receipt number ANCMDC-
                           3750096. Appeal Record due by 2/2/2024. (DURIE, DARALYN) (Entered: 01/26/2024)
  01/29/2024           203 JOINT MOTION for Entry of Scheduling Order by NATERA, INC. (Attachments: # 1
                           Text of Proposed Order)(SHORES, ANDREW) (Entered: 01/29/2024)
  01/30/2024                   Motions Submitted: 203 JOINT MOTION1for Entry of Scheduling Order to CHIEF
                               DISTRICT JUDGE CATHERINE C. EAGLES- (rw) (Entered: 01/30/2024)
  01/31/2024           204 DEFENDANT'S PROOF OF SERVICE OF NOTICE OF PRELIMINARY
                           INJUNCTION by NEOGENOMICS LABORATORIES, INC. re 169 Order on Motion
                           for Preliminary Injunction, 193 Order, [DEFENDANT'S PROOF OF SERVICE OF
                           NOTICE OF PRELIMINARY INJUNCTION] (Attachments: # 1 Exhibit A - Notice of
                           Preliminary Injunction to Its Employees, # 2 Exhibit B - Notice of Preliminary Injunction
                           to its Clinical Sales Team, # 3 Exhibit C - Notice of Preliminary Injunction to its External
                           Clients, # 4 Exhibit D - Notice of Preliminary Injunction to its Employees Clarifying the
https://ecf.ncmd.uscourts.gov/cgi-bin/DktRpt.pl?95168680207441-L_1_0-1                                               38/39


                                                                   Appx283
2/7/24, 12:10 PM       Case: 24-1324       Document: 42-1 CM/ECFPage:- ncmd
                                                                       287 Filed: 03/18/2024
                           Scope of the Injunction)(MORROW, JOHN) Modified text of title of document on
                           2/1/2024 (at). (Entered: 01/31/2024)
  02/02/2024           205 USCA FOR THE FEDERAL CIRCUIT - NOTICE OF DOCKETING. 24-1409 re
                           173 Notice of Appeal filed by NEOGENOMICS LABORATORIES, INC., 201
                           Subsequent Notice of Appeal, filed by NEOGENOMICS LABORATORIES, INC. (at)
                           (Entered: 02/02/2024)
  02/02/2024           206 ORDER signed by CHIEF DISTRICT JUDGE CATHERINE C. EAGLES on
                           02/02/2024, that the Court clarifies the preliminary injunction as follows: a.
                           NeoGenomics may offer RaDaR for use in the clinical trial identified in Doc. 179 -1 at 4
                           under the contract that was finalized and awaiting signature at the time the motion for
                           preliminary injunction was granted, once that contract is signed. b. NeoGenomics may
                           offer RaDaR for use in the two clinical trials identified in Doc. 179 -1 at 4 that were
                           approved by the ethics and review boards of the sponsoring institutions and that had
                           finalized protocols in place when the motion for preliminary injunction was granted, upon
                           the signing of contracts consistent with the terms approved and finalized at the time the
                           motion for preliminary injunction was granted. c. NeoGenomics may not offer RaDaR for
                           use in the fourth clinical trial identified in Doc. 179 -1 at 4 as it is still in the design
                           phase. The motion to modify, Doc. 178 , remains under advisement as to NeoGenomics'
                           overbreadth contentions. (at) (Entered: 02/02/2024)
  02/05/2024           207 MOTION to Withdraw 125 Notice of Special Appearance Joshua Harris by NATERA,
                           INC.. (Attachments: # 1 Text of Proposed Order)(SHORES, ANDREW) (Entered:
                           02/05/2024)
  02/06/2024                   Motions Submitted: 207 MOTION to Withdraw 125 Notice of Special Appearance
                               Joshua Harris to CHIEF DISTRICT JUDGE CATHERINE C. EAGLES- (rw) (Entered:
                               02/06/2024)



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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 NATERA, INC.,                               )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )   C.A. No. 1:23-cv-629
                                             )
 NEOGENOMICS LABORATORIES,                   )   JURY TRIAL DEMANDED
 INC,                                        )
                                             )
                       Defendant.

                     COMPLAINT FOR PATENT INFRINGEMENT

      Natera, Inc. (“Natera”) submits this Complaint against Defendant NeoGenomics

Laboratories, Inc. (“NeoGenomics Laboratories”), and alleges as follows:

                             OVERVIEW OF THE ACTION

      1.     This action arises under the patent laws of the United States, 35 U.S.C. §§ 1,

et seq., from Defendant’s infringement of Natera’s U.S. Patent Nos. 11,530,454 (the “’454

Patent”) and 11,519,035 (the “’035 Patent”) (collectively, “Asserted Patents”).

                                    THE PARTIES

      2.     Plaintiff Natera is a corporation organized and existing under the laws of the

state of Delaware.

      3.     Founded in 2004, Natera (f.k.a. Gene Security Network) is a pioneering

genetics and bioinformatics company with industry-leading healthcare products. Natera is

dedicated to improving disease management for oncology, reproductive health, and organ

transplantation. For well over a decade, Natera has been researching and developing non-




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invasive methods for analyzing DNA in order to help patients and doctors manage diseases.

These ongoing efforts have given rise to a number of novel and proprietary genetic testing

services to assist with life-saving health management.

       4.      Natera’s pioneering and ongoing innovation is especially evident in the area

of cell-free DNA (“cfDNA”)-based testing. In the cfDNA field, Natera has developed

unique and highly optimized cfDNA-based processes that can be used to test non-

invasively for a range of conditions. Natera created an industry-leading cfDNA test,

Panorama, which showcases Natera’s mastery of cfDNA in the field of non-invasive

prenatal testing. Natera has also applied its cfDNA testing platform to the challenge of

assessing cancer. Natera has developed its cfDNA technology for approval in the clinical

setting in order to provide patients with tools for early, clinically meaningful cancer

assessment. Natera was awarded approval for coverage by Medicare for multiple

indications.

       5.      In detecting and monitoring cancer, the use of non-invasive, blood-based

tests offers significant advantages over older methods, such as invasive tumor biopsy. But

the significant technological challenge is that such blood-based testing requires the

measurement of very small amounts of relevant genetic material—circulating-tumor DNA

(“ctDNA”)—within a much larger blood sample. Natera’s approach combines proprietary

molecular biology and computational techniques to measure genomic variations in tiny

amounts of DNA, representing a fundamental advance in molecular biology.




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       6.     Natera’s cfDNA platform is the product of well over a decade of hard work

and investment of, on average, more than fifty million dollars per year in research and

development. Natera has expended substantial resources researching and developing its

technologies and establishing its reputation among physicians, insurers, and regulators as

a company committed to sound science and consistently accurate, reliable results. This

research, and the technological innovations resulting therefrom, are protected by a

substantial patent portfolio, with over 330 patents issued or pending worldwide, including

greater than 60 in the field of oncology.

       7.     Among these patented inventions include the ’454 Patent and the ’035 Patent,

each of which Defendant infringes.          Defendant has used Natera’s patented cfDNA

technology without permission and in violation of the patent laws.

       8.     Defendant NeoGenomics Laboratories, Inc. is a corporation organized and

existing under the laws of the State of Florida. Upon information and belief, NeoGenomics

Laboratories, Inc. operates laboratories throughout the United States, including in Durham,

North Carolina.

       9.     Upon information and belief, Defendant NeoGenomics Laboratories, Inc. is

a corporate affiliate of both Inivata, Inc. and Inivata Ltd. (collectively, “Inivata”).

Defendant NeoGenomics Laboratories, Inivata Inc., and Inivata Ltd. are each wholly-

owned subsidiaries of parent corporation NeoGenomics, Inc.

       10.    Defendant operates under and identifies with the trade name “NeoGenomics”

and “NeoGenomics Laboratories.” Upon information and belief, Defendant directly or



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indirectly makes, uses, offers to sell and/or sells in the United States an assay that infringes

at least one valid claim of each of the Asserted Patents, including in the State of North

Carolina and in this District, and otherwise purposefully directs activities to the same.

       11.    Instead of developing its own science for its cancer detection and monitoring

products, Defendant has unlawfully used Natera’s patented technology, including in

connection with the RaDaRTM Minimum Residual Disease Assay and any other products

or assays that use the same or similar technology (collectively, “RaDaR” or “Accused

Assay”).

                              JURISDICTION AND VENUE

       12.    This Court has subject matter jurisdiction over the matters asserted herein

under 28 U.S.C. §§ 1331 and 1338(a).

       13.    NeoGenomics Laboratories is subject to this Court’s personal jurisdiction at

least because it directs the operations of a CAP/CLIA-certified laboratory located in

Durham, North Carolina. In addition, NeoGenomics Laboratories is subject to this Court’s

personal jurisdiction because, on information and belief, Defendant, directly or indirectly,

designs, develops, makes, uses, offers for sale, and/or sells the Accused Assay throughout

the United States and within this District. Defendant has infringed and continues to

infringe Natera’s patents in this District by, among other things, engaging in infringing

conduct within and directed at or from this District and purposely and voluntarily placing

its infringing assay into the stream of commerce with the expectation that the infringing

assay will be used in this District.



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       14.    Upon information and belief, venue is proper in this District pursuant to

28 U.S.C. §§ 1391 and 1400(b) because, among other things, NeoGenomics Laboratories

has a regular and established place of business in this District at its CAP/CLIA-certified

laboratory located in Durham, North Carolina and has committed acts of infringement at

this same location.

                                     BACKGROUND

       15.    Since 2004, Natera has been a global leader in genetic testing, including

cfDNA testing. Natera’s mission is to improve the management of disease worldwide, and

it focuses on reproductive health, oncology, and organ transplantation. To improve the

management of these conditions, Natera has developed novel technologies to make

significant and accurate clinical assessments from the miniscule amounts of cfDNA present

in a single blood sample. These technologies include methods to manipulate cfDNA in

nonconventional ways in order to capture information about genetic variations in cfDNA

and usefully transform that information for noninvasive testing. Natera develops and

commercializes innovative, non-traditional methods for manipulating and analyzing

cfDNA, and offers a host of proprietary cfDNA genetic testing services to the public to

assist patients and doctors in evaluating and tracking critical health concerns.

       16.    Since its founding, Natera has researched, developed, and released ten

molecular tests with applications in prenatal, cancer, and organ transplants, many of which

are available through major health plans, or covered by Medicare or Medicaid, and

therefore available to most patients in need of those tests. Natera’s tests have helped more



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than four million individuals to date. Natera’s robust laboratory now processes over

130,000 tests per month in the United States and internationally, improving the ability of

physicians to monitor and manage crucial health issues and patients to prosper around the

world.

         17.   Building on these innovations, in 2017, Natera launched its cfDNA test to

detect and monitor cancer, called Signatera®.          Signatera is a personalized ctDNA

surveillance tool that detects molecular residual disease (“MRD”) when assessing disease

recurrence or treatment response in solid tumors. Signatera is designed to screen for

multiple tumor-derived targets with each assay. It is optimized to detect extremely low

quantities of ctDNA and provides early knowledge of disease recurrence with a >99.5%

clinical test specificity.

         18.   MRD assessment has become a standard of care in the management of

patients with hematological malignancies, but until recently it has not been possible in solid

cancers due to technical limitations. Accurate MRD testing and molecular monitoring

offers the potential for physicians to change or escalate treatment in patients who are MRD-

positive, and to de-escalate or avoid unnecessary treatment in patients who are MRD-

negative. It also holds potential as a surrogate endpoint in clinical trials.

         19.   Natera’s technology has been validated in multiple clinical studies. In

Cancer Research UK/University College London’s Tracking Cancer Evolution through

Therapy (“TRACERx”), Natera’s technology was used for the multi-year monitoring of

patient-specific single-nucleotide variants (SNVs) in plasma, to understand the evolution



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of cancer mutations over time, and to monitor patients for disease recurrence. Results from

the first 100 early-stage lung cancer patients analyzed as part of the study were featured on

the cover of the May 2017 issue of Nature and showed that an early prototype version of

Signatera identified 43% more ctDNA-positive early-stage lung cancer cases than a generic

lung cancer panel and demonstrated its potential to detect residual disease, measure

treatment response, and identify recurrence up to 11 months earlier than the standard of

care, with a sensitivity of 93% at time of relapse.

       20.    The U.S. Food and Drug Administration (“FDA”) recognized the importance

of Natera’s Signatera and has granted it three “Breakthrough Device” designations

(“BDDs”) for multiple cancer types. The first BDD was awarded on May 6, 2019 to help

accelerate FDA assessment and review of Signatera as an in vitro companion diagnostic to

a certain cancer therapy. In 2021, the FDA granted two additional BDDs covering new

intended uses of the Signatera test to support its development through Phase III clinical

trials as a companion diagnostic to different cancer therapies.

       21.    Natera not only developed the pivotal technology for personalized MRD

testing, but has also invested considerable time and resources into developing the

personalized cancer monitoring market.         It has lobbied and convinced physicians,

researchers, regulatory authorities and private payors on the feasibility of this new

personalized cancer monitoring technology through extensive studies, which led Medicare

to issue a draft Local Coverage Determination (“LCD”) for Signatera in March 2019. In

its draft LCD, Medicare determined that “[t]he analytical validity and clinical validity of



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minimal residual disease testing using cell-free DNA, and Signatera in particular, appears

to be well established based on available information for the test.”

       22.    In addition, Signatera® achieved its first commercial policy coverage by Blue

Cross and Blue Shield of Louisiana, effective January 1, 2023, which covers Signatera

testing for plan members diagnosed with colorectal and muscle invasive bladder cancer

and for pan-cancer immunotherapy monitoring. Additionally, effective March 1, 2023,

Blue Shield of California, allows tumor-informed ctDNA testing with Signatera for

patients with stage I-IV cancer to provide information for performing targeted therapy

and/or monitoring for relapse or progression.

       23.    The clinical significance of Signatera has been acknowledged in over 40

peer-reviewed publications, including validation across multiple cancer types to detect

recurrence earlier compared to standard diagnostic tools.1 At the American Society of

Clinical Oncology (ASCO) Annual Meeting held from June 2–6, 2023, Natera announced

its new data on Signatera across a wide variety of cancers, including colorectal (CRC),

lung, bladder, esophageal, pancreatic, melanoma, sarcoma and cholangiocarcinoma. The

results highlight the signficance of Signatera among the oncology commnity as a platform

to effectively use ctDNA to predict patient outcomes and assess treatment response for

both common and rare cancers.



1
   Reinert T, et al. Analysis of plasma cell-free DNA by ultradeep sequencing in patients
with stages I to III colorectal cancer. JAMA Oncol. 2019;5(8):1124–1131; Coombes RC,
et al. Personalized detection of circulating tumor DNA antedates breast cancer
metastatic recurrence. Clin Cancer Res. 2019;25(14):4255-4263.

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       24.    Natera continues to be a global leader in cell-free DNA testing and was

recognized among the top 10 most innovative health companies of 2022 for its

development of Signatera.2 Signatera was also a finalist of the Fierce Life Science

Innovation Awards for Medical Device Innovation in 2021.3 Signatera also won the 2021

MedTech Breakthrough Award for “Best New Technology Solution – Biopsy” in the

medical device catetory.4

       25.    The Asserted Patents resulted from Natera’s years-long research in

developing innovative new methods for amplifying and sequencing cell-free DNA.

                         General Background of the Inventions

       A.     The ’454 Patent

       26.    The ’454 Patent, attached hereto as Exhibit 1, is entitled “Detecting

Mutations and Ploidy in Chromosomal Segments” and issued from the USPTO on

December 20, 2022. Natera owns the ’454 Patent, including the right to enforce it and seek

damages for infringement.

       27.    The ’454 Patent claims methods for preparing plasma samples to detect

ploidy of chromosome segments and single nucleotide variant (“SNV”) mutations. The

claimed methods perform whole genome sequencing of tumor samples and multiplex

amplication of cfDNA isolated from plasma samples in order to detect SNV mutations.

Independent claim 1 of the ’454 Patent recites:


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  See Exhibit 27 at 2.
3
  See Exhibit 28 at 2.
4
  See Exhibit 29 at 5.

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              A method for preparing a plasma sample of a subject having cancer or
                   suspected of having cancer or useful for detecting one or more single
                   nucleotide variant (SNV) mutations in the plasma sample, the method
                   comprising:

              performing whole exome sequencing or whole genome sequencing on a
                    tumor sample of the subject to identify a plurality of tumor-specific
                    SNV mutations;

              performing targeted multiplex amplification to amplify 10 to 500 target loci
                    each encompassing a different tumor-specific SNV mutation from
                    cell-free DNA isolated from a plasma sample of the subject or DNA
                    derived therefrom to obtain amplicons having a length of 50-150
                    bases, wherein the target loci are amplified together in the same
                    reaction volume; and

              sequencing the amplicons to obtain sequence reads, and detecting one or
                    more of the tumor-specific SNV mutations present in the cell-free
                    DNA from the sequence reads, wherein the sequencing has a depth of
                    read of at least 50,000 per target locus.

       28.    The claims of the ’454 Patent are not directed to an abstract idea, natural law,

or natural phenomenon. Rather, they are directed to an innovative method of sample

preparation comprising both sequencing a tumor sample and amplifying nucleic acid

samples obtained from blood plasma using synthetic primers and amplification products to

provide a novel, innovative, and personalized solution to issues peculiar to the particular

problem of detecting ploidy of chromosome segments and SNVs in patients with cancer.

The claims of the ’454 Patent cover methods of preparation of an unnatural preparation.

       29.    The ’454 Patent claims are directed to specific, nonconventional, non-routine

methods for overcoming previously unresolved problems in this area. For example, as of

the date of the invention, it would not have been routine or conventional to perform the

claimed techniques either individually or in combination, including: performing whole


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exome sequencing or whole genome sequencing on a turmor sample to identify a plurality

of tumor-specific SNV mutations, performing targeted multiplex amplication to amplify

10 to 500 target loci each encompassing a different tumor-specific SNV mutation from

cfDNA to obtain amplicons having a length of 50-150 bases, wherein the target loci are

amplified together in the same reaction, and sequencing the amplicons to obtain sequence

reads, wherein the sequencing has a depth of read of at least 50,000 per target locus.

       B.       The ’035 Patent

       30.      The ’035 Patent, attached hereto as Exhibit 2, is entitled “Methods for

Simultaneous Amplification of Target Loci” and issued from the USPTO on December 6,

2022. Natera owns the ’035 Patent, including the right to enforce it and seek damages for

infringement.

       31.      The ’035 Patent claims methods for amplifying and sequencing multiple

nucleic acid regions of interest in one reaction volume. The claimed methods include

targeted amplification of a plurality of single nucleotide polymorphism (SNP) loci

associated with cancer on cell-free DNA in a single reaction volume and sequencing the

plurality of SNP loci by conducting massively parallel sequencing. Independent claim 1

of the ’035 Patent recites:

                A method for amplifying and sequencing DNA, comprising:
                tagging isolated cell free DNA with one or more universal tail adaptors to
                       generate tagged products, wherein the isolated cell-free DNA is
                       isolated from a blood sample collected from a subject who is not a
                       pregnant women;




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             amplifying the tagged products one or more times to generate final
                   amplification products, wherein one of the amplification steps
                   comprises targeted amplification of a plurality of single nucleotide
                   polymorphism (SNP) loci in a single reaction volume, wherein one of
                   the amplifying steps introduces a barcode and one or more sequencing
                   tags; and
             sequencing the plurality of SNP loci on the cell free DNA by conducting
                   massively parallel sequencing on the final amplification products,
                   wherein the plurality of SNP loci comprises 25-2,000 loci associated
                   with cancer.
      32.    The claims of the ’035 Patent are not directed to an abstract idea, natural law,

or natural phenomenon. Rather, they are directed to a novel and innovative laboratory

method comprising tagging cfDNA with universal tail adaptors, amplifying the tagged

cfDNA including targeted amplification of 25-2,000 SNP loci associated with cancer in a

single reaction volume, and sequencing the plurality of SNP loci by conducting massively

parallel sequencing.

      33.    The ’035 Patent claims are directed to specific, nonconventional, non-routine

methods for overcoming previously unresolved problems in this area. For example, as of

the date of the invention, it would not have been routine or conventional to perform the

claimed techniques either individually or in combination, including: tagging isolated

cfDNA with one or more universal tail adaptors to generate tagged products; amplifying

the tagged products one or more times to generate final amplification products, wherein

one of the amplification steps comprises targeted amplification of a plurality of SNP loci

in a single reaction volume, wherein one of the amplifying steps introduces a barcode and

one or more sequencing tags; and sequencing the plurality of SNP loci on the cfDNA by




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conducting massively parallel sequencing on the final amplification products, wherein the

plurality of SNP loci comprises 25-2,000 loci associated with cancer.

                        DEFENDANT’S INFRINGING ACTS

       34.    The allegations provided below are exemplary and without prejudice to

Natera’s infringement contentions. In providing these allegations, Natera does not convey

or imply any particular claim constructions or the precise scope of the claims. Natera’s

claim construction contentions regarding the meaning and scope of the claim terms will be

provided under the Court’s scheduling order and local rules.

       35.    The infringing products include, but are not limited to, RaDaR, and any other

infringing method, product, device, or test developed by Defendant that apply Natera’s

patented methods for preparing, amplifying, sequencing, and analyzing cfDNA to detect

and monitor genes and genetic mutations associated with a patient’s cancer.

       36.    As provided in more detail below, each element of at least one claim of

the ’454 Patent is literally present in RaDaR or is literally practiced by the processes

through which RaDaR is practiced. To the extent that any element is not literally present

or practiced, each such element is present or practiced under the doctrine of equivalents.

       37.    As provided in more detail below, each element of at least one claim of

the ’035 Patent is literally present in RaDaR or is literally practiced by the processes

through which RaDaR is practiced. To the extent that any element is not literally present

or practiced, each such element is present or practiced under the doctrine of equivalents.




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        38.     Attached as Exhibits 3-4 are preliminary and exemplary claim charts

describing infringement of claim 1 of the ’454 Patent and claim 1 of the ’035 Patent,

respectively.    Exhibits 5-16 are documents referenced in Exhibits 3 and 4, which

demonstrate examples of infringement. The claim charts are not intended to limit Natera’s

right to modify the charts or allege that other products or activities of Defendant infringe

the identified claims or any other claims of the Asserted Patents or any other patents.

Defendant infringes more than one claim of the ’454 Patent and infringes more than one

claim of the ’035 Patent.

        39.     Exhibits 3-4 are hereby incorporated by reference in their entirety. Each

claim element in Exhibit 3 that is mapped to the Accused Assay shall be considered an

allegation within the meaning of the Federal Rules of Civil Procedure, and therefore a

response to each claim element is required. Each claim element in Exhibit 4 that is mapped

to the Accused Assay shall be considered an allegation within the meaning of the Federal

Rules of Civil Procedure, and therefore a response to each claim element is required.

        40.     Upon information and belief, NeoGenomics Laboratories designs, develops,

makes and uses, or directs or controls the design, development, make and use of, the

RaDaR assay by purposefully directing the activities at its CAP/CLIA-certified laboratory

in the Research Triangle Park (RTP) located at 8 Davis Drive, Durham, North Carolina.5

According to the CAP and CLIA certificates (attached hereto as Exhibits 18-19,

respectively), this laboratory is registered to Inivata, Inc., a corporate affiliate of


5
    See Exhibit 17 at 2.

                                            14


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                                        Appx298
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NeoGenomics Laboratories, and the director of this laboratory is Dr. Siby Sebastian, Ph.D.6

On its website, NeoGenomics Laboratoris acknowledges that Dr. Siby Sebastian is also

“the Director of the NeoGenomics CAP/CLIA Clinical Laboratory at the Research Triangle

Park (RTP), North Carolina.”7       Moreover, according to its 2022 Annual Report to

shareholders (attached hereto as Exhibit 21), NeoGenomics Laboratories stated that “[w]e

have a renewed focus on next-generation sequencing (NGS), minimal residual disease

(MRD) technology such as RaDaR . . . By centralizing the R&D function and integrating

Inivata, we believe we are now well-positioned to capitalize on the innovation of Inivata

while enhancing the development process for new product.”8

       41.    Upon information and belief, NeoGenomics Laboratories performs, or

directs or controls the performance of, the RaDaR assay. In its published guide for patients,

NeoGenomics Laboratories states that RaDaR testing is “conducted on [a] blood sample in

our lab.”9

       42.    Upon information and belief, NeoGenomics Laboratories also offers for sale

and sells, or directs or controls the offer for sale and sale of, the Accused Assay. On March

16, 2023, NeoGenomics began selling and offering to sell RaDaR in the United States.10

In its 2022 Annual Report to shareholders, NeoGenomics Laboratories stated that “[w]e




6
   See Exhibits 18-19.
7
   See Exhibit 20.
8
   See Exhibit 21 at 7.
9
   See Exhibit 22 at 2.
10
   See Exhibit 23 at 1.

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                                         Appx299
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believe NeoGenomics is well-positioned to gain market share with our . . . RaDaR® assay

liquid biopsy test for MRD.”11

       43.    Upon information and belief, NeoGenomics Laboratories induces Inivata to

perform any RaDaR tests that NeoGenomics is not performing itself. While RaDaR is

ordered through NeoGenomics Laboratories, its insurance reimbursement certifications

and approvals, including MolDX, list Inivata as authorized to perform RaDaR tests. 12 In

addition, the request forms for the RaDaR test report that RaDaR may be performed by

Inivata.13

       44.    NeoGenomics Laboratories is a direct competitor of Natera in the market for

personalized, tumor-informed recurrence monitoring specifically.       In promoting its

infringing RaDaR assay, NeoGenomics Laboratories repeatedly undermined Signatera and

Natera to investors, including at the Goldman Sachs 44th Annual Global Healthcare

Conference held on June 13, 2023. NeoGenomics Laboratories touted its infringing and

competing RaDaR assay to investors as being “about 10x more sensitive than the other

product that’s really commercially available in the market,”14 which is Signatera, even

though there is no clinical evidence or head-to-head study to substantiate this claim. On

information and belief, representatives of NeoGenomics Laboratories have repeated




11
   See Exhibit 21 at 9.
12
   See Exhibit 24.
13
   See Exhibit 25 at 2.
14
   See Exhibit 26 at 1.

                                           16


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                                       Appx300
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similar misleading claims to potential customers, including current Signatera customers, in

promoting the infringing RaDaR assay.

       45.    On July 27, 2023, NeoGenomics Laboratories announced that RaDaR

obtained Medicare coverage for cancer recurrence detection and monitoring in patients

with breast cancer.15

       46.    NeoGenomics Laboratories has actual knowledge of the ’454 Patent since at

least as early as December 20, 2022, when Natera filed an infringement lawsuit in the

District of Delware asserting the ’454 Patent against two corporate affiliates of

NeoGenomics Laboratories: Inivata, Inc., and Inivata, Ltd.16

       47.    NeoGenomics Laboratories has actual knowledge of the ’035 Patent since at

least as early as the date of this Complaint.

       48.    NeoGenomics Laboratories has thus made extensive unauthorized use of

Natera’s patented technology, including the technology described and claimed in the

Asserted Patents, causing Natera to suffer immediate and irreparable harm. Natera brings

this action to enforce its patents rights. Natera thus requests that this Court award it

damages sufficient to compensate for NeoGenomics Laboratories’ infringement of the

Asserted Patents, find this case exceptional, award Natera its attorneys’ fees and costs, and



15
   See Exhibit 30 at 1.
16
   See Natera, Inc. v. Inivata, Inc. et al, Case No. 1:22-cv-01609-UNA, Dkt. No. 1 (D.
Del. Dec. 20, 2022); see also Exhibit 12 at 115 (In its 2022 Annual Report,
NeoGenomics Laboratories acknowledged that Natera “filed a second patent
infringement complaint on December 20, 2022 against Inivata Limited and Inivata Inc.
alleging that RaDaR® minimal residual disease test infringes one patent.”)

                                                17


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                                         Appx301
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grant an injunction against NeoGenomics Laboratories to prevent any further infringement

of the Asserted Patents.

      COUNT I: DIRECT INFRINGEMENT OF U.S. PATENT NO. 11,530,454

       49.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.

       50.     Natera is the owner of the ’454 Patent, which was duly and legally issued by

the USPTO on December 20, 2022.

       51.     Defendant has infringed and continues to infringe at least one claim of

the ’454 Patent pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents,

by performing, or directing or controlling the performance of, the Accused Assay within

the United States and without authority.

       52.     Defendant’s infringement has damaged and will continue to damage Natera,

which is entitled to recover the damages resulting from Defendant’s wrongful acts in an

amount to be determined at trial, and in any event no less than a reasonable royalty.

       53.     Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

Defendant, including its corporate affiliates and subsidiaries, is enjoined from any and all

activities that would infringe the claims of the ’454 Patent.

     COUNT II: DIRECT INFRINGEMENT OF U.S. PATENT NO. 11,519,035

       54.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.



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                                         Appx302
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       55.     Natera is the owner of the ’035 Patent, which was duly and legally issued by

the USPTO on December 6, 2022.

       56.     Defendant has infringed and continues to infringe at least one claim of

the ’035 Patent pursuant to 35 U.S.C. § 271(a), literally or under the doctrine of equivalents,

by performing, or directing or controlling the performance of, the Accused Assay within

the United States and without authority.

       57.     Defendant’s infringement has damaged and will continue to damage Natera,

which is entitled to recover the damages resulting from Defendant’s wrongful acts in an

amount to be determined at trial, and in any event no less than a reasonable royalty.

       58.     Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

Defendant, including its corporate affiliates and subsidiaries, is enjoined from any and all

activities that would infringe the claims of the ’035 Patent.

   COUNT III: INDIRECT INFRINGEMENT OF U.S. PATENT NO. 11,530,454

       59.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.

       60.     NeoGenomics Laboratories has indirectly infringed and continues to

indirectly infringe at least one claim of the ’454 Patent pursuant to 35 U.S.C. § 271(b),

literally or under the doctrine of equivalents, by inducing its corporate affiliate Inivata to

perform the Accused Assay within the United States without authority. NeoGenomics

Laboratories engaged in such inducement having knowledge of the ’454 Patent at least as



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                                         Appx303
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of December 20, 2022 when Natera filed a lawsuit alleging infringement of the ’454 Patent

by Inivata in the District of Delaware.17 Furthermore, NeoGenomics Laboratories knew or

should have known that its actions of selling or offering to sell the Accused Assay would

induce direct infringement by Inivata and intended that its actions would induce direct

infringement by Inivata. NeoGenomics Laboratories offers for sale the Accused Assay via

its website specifically intending that Inivata perform the Accused Assay in NeoGenomics

Laboratories’ CAP/CLIA-certified laboratory in Durham, NC upon purchase by a

customer.

       61.    As a direct and proximate result of NeoGenomics Laboratories’ indirect

infringement by inducement of the ’454 Patent, Natera has been and continues to be

damaged. Thus, Natera is entitled to recover the damages resulting from NeoGenomics

Laboratories’ wrongful acts in an amount to be determined at trial, and in any event no less

than a reasonable royalty.

       62.    Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

NeoGenomics Laboratories is enjoined from any and all activities that would infringe the

claims of the ’454 Patent.




17
   Natera, Inc. v. Inivata, Inc. et al., Case No. 22-cv-1609-GBW, Dkt. No. 1 (D. Del.
Dec. 20, 2022).

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                                        Appx304
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   COUNT IV: INDIRECT INFRINGEMENT OF U.S. PATENT NO. 11,519,035

       63.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.

       64.     NeoGenomics Laboratories has indirectly infringed and continues to

indirectly infringe at least one claim of the ’035 Patent pursuant to 35 U.S.C. § 271(b),

literally or under the doctrine of equivalents, by inducing its corporate affiliate Inivata to

perform the Accused Assay within the United States without authority. NeoGenomics

Laboratories engaged in such inducement having knowledge of the ’035 Patent, at least as

of the service of the present Complaint. Furthermore, NeoGenomics Laboratories knew or

should have known that its actions of selling or offering to sell the Accused Assay would

induce direct infringement by Inivata and intended that its actions would induce direct

infringement by Inivata. NeoGenomics Laboratories offers for sale the Accused Assay via

its website specifically intending that Inivata perform the Accused Assay in NeoGenomics

Laboratories’ CAP/CLIA-certified laboratory in Durham, NC upon purchase by a

customer.

       65.     As a direct and proximate result of NeoGenomics Laboratories’ indirect

infringement by inducement of the ’035 Patent, Natera has been and continues to be

damaged. Thus, Natera is entitled to recover the damages resulting from NeoGenomics

Laboratories’ wrongful acts in an amount to be determined at trial, and in any event no less

than a reasonable royalty.




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                                         Appx305
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       66.     Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

NeoGenomics Laboratories is enjoined from any and all activities that would infringe the

claims of the ’035 Patent.

     COUNT V: WILLFUL INFRINGEMENT OF U.S. PATENT NO. 11,530,454

       67.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.

       68.     NeoGenomics Laboratories has acted willfully and egregiously in

performing the acts of infringement identified in this Complaint. NeoGenomics

Laboratories’ infringement of the ’454 Patent has been and is deliberate and willful and

constitutes egregious misconduct. NeoGenomics Laboratories engaged in such conduct

having knowledge of the ’454 Patent at least as of December 20, 2022 when Natera filed a

lawsuit alleging infringement of the ’454 Patent by Inivata in the District of Delaware.18

Furthermore, NeoGenomics Laboratories knew or should have known that its actions of

selling or offering to sell the Accused Assay would induce direct infringement by Inivata

and intended that its actions would induce direct infringement by Inivata. NeoGenomics

Laboratories offers for sale the Accused Assay via its website specifically intending that

Inivata perform the Accused Assay in NeoGenomics Laboratories’ CAP/CLIA-certified

laboratory in Durham, NC upon purchase by a customer. In performing the acts of



18
   Natera, Inc. v. Inivata, Inc. et al., Case No. 22-cv-1609-GBW, Dkt. No. 1 (D. Del.
Dec. 20, 2022).

                                            22


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                                        Appx306
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infringement identified in this Complaint, NeoGenomics Laboratories has been willfully

blind to its ongoing infringement.

       69.     As a direct and proximate result of NeoGenomics Laboratories’ willful

infringement, Natera has been and continues to be damaged. Thus, Natera is entitled to

recover the damages resulting from NeoGenomics Laboratories’ wrongful acts in an

amount to be determined at trial. Natera deserves treble damages and the reimbursement

of its fees and costs as set forth in 35 U.S.C. §§ 284 and 285.

       70.     Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

NeoGenomics Laboratories is enjoined from any and all activities that would infringe the

claims of the ’454 Patent.

   COUNT VI: WILLFUL INFRINGEMENT OF U.S. PATENT NO. 11,519,035

       71.     Natera incorporates by reference and re-alleges the foregoing paragraphs as

if fully set forth herein.

       72.     NeoGenomics Laboratories has acted willfully and egregiously in

performing the acts of infringement identified in this Complaint. NeoGenomics

Laboratories’ infringement of the ’035 Patent has been and is deliberate and willful and

constitutes egregious misconduct. NeoGenomics Laboratories engaged in such conduct

having knowledge of the ’035 Patent, at least as of the service of the present Complaint.

Furthermore, NeoGenomics Laboratories knew or should have known that its actions of

selling or offering to sell the Accused Assay would induce direct infringement by Inivata



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                                         Appx307
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and intended that its actions would induce direct infringement by Inivata. NeoGenomics

Laboratories offers for sale the Accused Assay via its website specifically intending that

Inivata perform the Accused Assay in NeoGenomics Laboratories’ CAP/CLIA-certified

laboratory in Durham, NC upon purchase by a customer. In performing the acts of

infringement identified in this Complaint, NeoGenomics Laboratories has been willfully

blind to its ongoing infringement.

       73.    As a direct and proximate result of NeoGenomics Laboratories’ willful

infringement, Natera has been and continues to be damaged. Thus, Natera is entitled to

recover the damages resulting from NeoGenomics Laboratories’ wrongful acts in an

amount to be determined at trial. Natera deserves treble damages and the reimbursement

of its fees and costs as set forth in 35 U.S.C. §§ 284 and 285.

       74.    Moreover, Defendant’s infringement has caused, and will continue to cause,

irreparable injury to Natera, for which damages are an inadequate remedy, unless

NeoGenomics Laboratories is enjoined from any and all activities that would infringe the

claims of the ’035 Patent.



                                 PRAYER FOR RELIEF

       WHEREFORE, Natera respectfully requests the following relief:

       1.     A judgment that Defendant has infringed the ’454 Patent and the’035 Patent

literally or under the doctrine of equivalents;




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       2.     An order enjoining Defendant and their respective officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others

acting on behalf of or in active concert or participation therewith, from further infringement

of the ’454 Patent and the’035 Patent;

       3.     An award of damages sufficient to compensate Natera for Defendant’s

infringement under 35 U.S.C. § 284;

       4.     A declaration that Defendant’s infringement of ’454 Patent and the’035

Patent has been willful and deliberate, and an increase to the award of damages of three

times the amount found or assessed by the Court, in accordance with 35 U.S.C. § 284;

       5.     A determination that this is an exceptional case under 35 U.S.C. § 285 and

that Natera be awarded attorneys’ fees;

       6.     Costs and expenses in this action;

       7.     An award of prejudgment and post-judgment interest; and

       8.     Such other and further relief as the Court may deem just and proper.

                              DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Natera respectfully

demands a trial by jury on all triable issues.

Dated: July 28, 2023                         Resepctfully Submitted,

                                            WILLIAMS MULLEN

                                             By: /s/ Robert C. Van Arnam
                                             Robert C. Van Arnam (NC #28838)
                                             Andrew R. Shores (NC #46600)
                                             301 Fayetteville Street, Suite 1700

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                                          Appx309
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                    EXHIBIT 1




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                             Appx311
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                                                                 I 1111111111111111 1111111111 11111 1111111111 111111111111111 IIIIII IIII IIII IIII
                                                                                               US011530454B2


c12)   United States Patent                                                (IO) Patent No.:                   US 11,530,454 B2
       Babiarz et al.                                                      (45) Date of Patent:                          *Dec. 20, 2022

(54)   DETECTING MUTATIONS AND PLOIDY IN                                      G16H 50/20               (2018.01)
       CHROMOSOMAL SEGMENTS                                                   G06N 7100                (2006.01)
                                                                              G16H 10140               (2018.01)
(71)   Applicant: Natera, Inc., San Carlos, CA (US)                           G16B 25120               (2019.01)
                                                                      (52)    U.S. Cl.
(72)   Inventors: Joshua Babiarz, Castro Valley, CA                           CPC ......... C12Q 116886 (2013.01); C12Q 116869
                  (US); Tudor Pompiliu Constantin,                                         (2013.01); G06N 71005 (2013.01); G06N
                  Berkeley, CA (US); Lane A. Eubank,                                        20100 (2019.01); G16B 15100 (2019.02);
                  San Carlos, CA (US); George Gemelos,                                          G16B 20100 (2019.02); G16B 20110
                  Portland, OR (US); Matthew Micah                                         (2019.02); G16B 20120 (2019.02); G16B
                  Hill, Belmont, CA (US); Huseyin Eser                                      25100 (2019.02); G16B 40100 (2019.02);
                  Kirkizlar, Los Angeles, CA (US);                                              G16B 40120 (2019.02); G16H 10140
                  Matthew Rabinowitz, San Francisco,                                       (2018.01); G16H 50/20 (2018.01); G16Z
                  CA (US); Onur Sakarya, Redwood                                        99/00 (2019.02); Cl2Q 2539/10 (2013.01);
                  City, CA (US); Styrmir Sigurjonsson,                                 Cl2Q 2600/156 (2013.01); Cl2Q 2600/158
                                                                                       (2013.01); Cl2Q 2600/16 (2013.01); Cl2Q
                  San Jose, CA (US); Bernhard
                                                                                       2600/172 (2013.01); Gl6B 25/20 (2019.02)
                  Zimmermann, Manteca, CA (US)
                                                                      (58)    Field of Classification Search
(73)   Assignee: Natera, Inc., San Carlos, CA (US)                            None
                                                                              See application file for complete search history.
( *)   Notice:      Subject to any disclaimer, the term ofthis
                                                                      (56)                       References Cited
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by O days.                                             U.S. PATENT DOCUMENTS
                    This patent is subject to a terminal dis-
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(21)   Appl. No.: 17/738,354                                                 4,942,124 A           7/1990    Church et al.
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(22)   Filed:       May 6, 2022                                              5,635,366 A           6/ 1997   Cooke et al.
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(65)                  Prior Publication Data                                 5,736,033 A           4/1998    Coleman et al.
       US 2022/0282335 Al          Sep. 8, 2022                              5,753,467 A           5/1998    Jensen et al.
                                                                                                     (Continued)
                Related U.S. Application Data
                                                                                     FOREIGN PATENT DOCUMENTS
(63)   Continuation of application No. 17/692,469, filed on
       Mar. 11, 2022, which is a continuation of application          CN                   1650032 A            8/2005
       No. 15/898,145, filed on Feb. 15, 2018, now Pat. No.           CN                   1674028 A            9/2005
       11,319,595, which is a continuation of application                                            (Continued)
       No. 14/692,703, filed on Apr. 21, 2015, now Pat. No.
       10,179,937.                                                                         OTHER PUBLICATIONS

(60)   Provisional application No. 62/148,173, filed on Apr.          US 8,501,409 B2, 08/2013, Simen et al. (withdrawn)
       15, 2015, provisional application No. 62/147,377,              Forshew et al. Noninvasive Identification and Monitoring of Cancer
       filed on Apr. 14, 2015, provisional application No.            Mutations by Targeted Deep Sequencing of Plasma DNA Science
                                                                      Translational Medicine vol. 4 article 136ra68 and Supplementary
       62/146,188, filed on Apr. 10, 2015, provisional                Material (Year: 2012). *
       application No. 62/066,514, filed on Oct. 21, 2014,            Benesova et al. Mutation-based detection and monitoring of cell-
       provisional application No. 61/994,791, filed on May           free tumor DNA in peripheral blood of cancer patients Analytical
       16, 2014, provisional application No. 61/987,407,              Biochemistry vol. 433, pp. 227-234 (Year: 2013).*
       filed on May 1, 2014, provisional application No.                                             (Continued)
       61/982,245, filed on Apr. 21, 2014.
                                                                      Primary Examiner - John S Brusca
(51)   Int. Cl.
       C12Q 116886             (2018.01)                              (57)                          ABSTRACT
       G06N 20100              (2019.01)                              The invention provides methods, systems, and computer
       G16B 15100              (2019.01)                              readable medium for detecting ploidy of chromosome seg-
       G16B 25100              (2019.01)                              ments or entire chromosomes, for detecting single nucleo-
       G16B 40100              (2019.01)                              tide variants and for detecting both ploidy of chromosome
       C12Q 116869             (2018.01)                              segments and single nucleotide variants. In some aspects,
       G16B 40120              (2019.01)                              the invention provides methods, systems, and computer
       G16B 20110              (2019.01)                              readable medium for detecting cancer or a chromosomal
       G16B 20100              (2019.01)                              abnormality in a gestating fetus.
       G16B 20120              (2019.01)
       G16Z 99/00              (2019.01)                                               28 Claims, 105 Drawing Sheets




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                                                          Page 2


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with Sequencing Gel Electrophoresis Analysis", PLOS One, vol. 7,           Patients as a Screening Method of Rejection", Prostagl311dins, vol.
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Fetal DNA from Maternal Plasma by Multiplex Polymerase Chain
                                                                       chromosomes 13, 18, 21, X, and Y, using targeted sequencing of
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                                                                       polymorphic loci, Supplemental Information", Prenatal Diagnosis,
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fetal Rhesus D status and sex by multiplex real-time PCR using cell    Zimmermann, B. et al., "Novel Real-Time Quantitative PCR Test
free fetal DNA in maternal plasma", Swiss Medical Weekly, vol.         for Trisomy 21", Clinical Chemistry, vol. 48, No. 2, 2002, 362-363.
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Zhong, Xiao Y. et al., "Cell-free DNA In Urine: A Marker for           Measurement of Male Fetal DNA in Maternal Plasma", Clinical
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Reductase and Dihydropteroate Synthetase Genes of Plasmodiym           Reaction for the Detection of Fetal Aneuploidies", Methods in
Falciparum", Journal of Clinical Microbiology, vol. 44, No. 11,        Molecular Biology, vol. 336, Feb. 2006, 83-100.
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                              Tumor Fraction: 1%, Number of SNPs: 100
                                      Total Seq Reads: 5e+04
            0.09
                                        ;                                                   -Disomy
            0.08               ------··-:-
                                                                                                µ: 0.518-FPR: 56%
                                                                                            -Hom1 de!
            0.07      ••••••••••••••
                                                                                                µ: 0.562-FNR: 25%
            0.06      •••••••••••••••                                                 ......... --Hom2del
   ....,
      >,
                                                                                                 µ: 0.438-FNR: 20%
   ..0
       0.05                                                                           ··········· -Hom 1 dup
      ro                                                                                        µ: 0.438-FNR: 20%
   ..0
      0
      '-
         0.04         ··•·••········
                                                                                            --Hom2dup
   CL
                                                                                                µ: 0.562-FNR: 25%
            0.03      ••••••••••••••


            0.02      ··········-·-··



            0.01

                00                      0.2         0.4       0.6                   0.8         1
                                                  Test Statistic SIT
                                                            FIG. 1A
                             Tumor Fraction: 1%, Number of SNPs: 333
           0. 045 ~-~--To_t_al~S_e_q_R_ea_d_s:_2_e_+0_5___.---_-:::.._ _ _ ____,
                                         I              ! A       A A
                                                                                            -Disomv
            0.04 1-·················:····················>· - ---- - • •                        µ: 0.518-FPR: 30%
           0.035 -· · · · .. · · ,... · · · · ·                                             -Hom1 de!
                                                                                                µ: 0.562-FNR: 19%
            0.03 -· · · ...... · ·:·······
                                  .
                                           · · ·····:. .... .                         ........ --Hom 2 de!
                                                                                                  µ: 0.438-FNR: 6.4%
  ..0
           0.025                                                                               -Hom 1 dup
  ro                                                                                            µ: 0.438-FNR: 6.6%
  ..0
  0
  "-
            0.02                                                                            --Hom2dup
  CL
                                         :                                                      µ: 0.562-FNR: 20%
           0.015
            0.01                                        :


           0.005
                                         i
                00                      0.2         0.4       0.6                   0.8         1
                                                  Test Statistic SIT
                                                            FIG.18



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                             Tumor Fraction: 1%, Number of SNPs: 667
                                     Total Seq Reads: 3e+05
           0.035 .----..----......----.-,-----.,--
                                                 .....-_--._.__ _ _ ____,
                                                                                                             -Disomy
                                                                                                                 µ: 0.518-FPR: 14%
                                                                                                             -Hom 1del
                                                                                                                 µ: 0.562-FNR: 13%
           0.025 -· · · ..... .
                                                                                                             --Hom 2del
                                                                                                                 µ: 0.438-FNR: 1.9%
            0.02 1-····•· .. ·· .. ···; .................. H.•· ... ... --+, ................. , ........ -!
  ..0                                                                                                        -Hom 1dup
  rn                                                                                                             µ: 0.438-FNR: 2%
  ..0
  2        0.015 -· ....... .                                                                    •·•··•·••• --Hom2dup
  n..
                                                                                                                 µ: 0.562-FNR: 13%



           0.005 -· · ........ · ........... ..... .. .. ...... ... ........... ...        · · · ········-

                                                                                       i
                                   0.2            0.4       0.6                       0.8
                                                Test Statistic S/T
                                                        FIG.1C
                           Tumor Fraction: 1%, Number of SNPs: 1000
                                    Total Seq Reads: 5e+05
            0.03                                                           I           I
                                                                                       ;
                                                                                                       -Disomy
                                                                         ;                   ;
                                                                                                           µ: 0.518-FPR: 9%
           0.025                                        .. . ..... ...
                                                                                             :         -Hom 1del
                                                                         :
                                                                                             :
                                                                                             :             µ: 0.562-FNR: 7.2%
                                                                         ;                   :
            0.02                                             ·-··                                      --Hom 2del
   >-
  ....,                                                                  ;                   :
                                                                                                           µ: 0.438-FNR: 0.56%
                                                                         :                   :
                                                                         :                   :
  ..0                                                                                        :         -Hom 1dup
  ro
  ..0
           0.015                                         .. ... ... . .
                                                                                             ;             µ: 0.438-FNR: 0.6%
                                                                         ;
  0
  .....                                                                  :                   :         --Hom 2 dup
  CL                                                                     :                   :
                                                                         ;                   :             µ: 0.562-FNR: 7.6%
            O.oi -                                       ... .. . .. ... -:---··········-··•:----·····
                                                                                       :
                                                                           :           :

                                                                           ;           :
           0.005                                        ···-·· ...

                                                                           :           :
                                                                           :           :
                                                    j        )\.   )   \   1-..        I

                                   0.2            0.4       0.6                       0.8
                                                Test Statistic S/T
                                                        FIG.1D



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                                  Tumor Fraction: 2%, Number of SNPs: 100
                                          Total Seq Reads: 5e+04
               0.09 ,----.----.----..----..---,_-_--.
                                                    _ _ _ _ ____,
                                                                                                                             -Disomy
               0.08                                                                                                              µ: 0.518-FPR: 28%
               0~07 ··········•----•·'···············                                                                        -Hom 1de!
                                                                                                                                 µ: 0.607-FNR: 20%
               0.06                                                                                           ............. --Hom2de!
     »
   ........                                                                                                                      µ: 0.393-FNR: 10%
   ..o         0.05                                                                                                ········· -Hom1 dup
      co                                                                                                                         µ: 0.395-FNR: 11%
   -g.... 0.04                                                                                                               - - Hom 2 dup
   0..
                                                                                                                                 µ: 0.605-FNR: 20%
               0.03
               0.02



                                           0.2                0.4       0.6                                    0.8
                                                            Test Statistic S/T
                                                                       FIG. 2A
                                  Tumor Fraction: 2%, Number of SNPs: 333
                                          Total Seq Reads: 2e+05
              0.045                         l                      I
                                                                                   r.
                                                                                                 ~

                                                                                                                                 -Disomy
               0.04 -                                                  ·····-·-          .....
                                                                                                                                     µ: 0.518-FPR: 6%
                                                                                                                                 -Hom1      de!
              0.035 -······· .....              •••••••••••••••        .........        .....        •••••••••••••••• ••••••••••
                                                                                                                                     µ: 0.607-FNR: 5.2%
               0.03 ....................                                ··---· ... ...                •••••••••••••      ··•---  --Hom 2de!
  -
                                                ······•··•--•-•·


  >-.                                                                                                                                µ: 0.393-FNR: 1.1%
  .Cl
              0.025 -                       ;                            ---- .....
                                                                                                                                 -Hom 1dup
  cu                                                                                                                                 µ: 0.395-FNR: 1.3%
  .a
  0
  '--
               0.02                                                      .... •••••
                                                                                                                                 - - Hom 2 dup
  0..
                                            :                                                                                        µ: 0.605-FNR: 5.9%
              0.015                                                            -······


               0.01 -                                                     ..   •••••••

                                            :
              0.005                                         I



                                            i
                                                         ) i /~--)-\                            \
                                           0.2                0.4                           0.6   0.8
                                                            Test Statistic S/T
                                                                       FIG. 2B



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                            Tumor Fraction: 2%, Number of SNPs: 667
                                    Total Seq Reads: 3e+05
          0.035 ,----..-,.-----.-!- - - - - . - ! - - - - - - . , -.-...-_--._.__ _ _ ____,
                                                                                                -rnsomy
           0.03 1-······------·······--·----······H--······· --·--· ··----·--······--········       µ: 0.518-FPR: 1.3%
                                                                                                -Hom 1de!
                                                                                                    µ: 0.607-FNR: 0.87%
                                                                                                --Hom 2del
                                                                                                    µ: 0.393-FNR: 0.045%
                                                    ......... •--J,·+············· ·,········-1
  .0                                                                                            -Hom 1 dup
   <tl
  ..0
                                                                                                    µ: 0.395-FNR: 0.063%
  2       0.015 ..... · · ...... .                                                              --Hom2dup
  0..
                                                                                                    µ: 0.605-FNR: 1.1%


          0.005 ................ ; ............ ·

                                  i          )        \)       j                             i
                                0.2           0.4       0.6                               0.8
                                            Test Statistic S/T
                                                     FIG.2C
                            Tumor Fraction: 2%, Number of SNPs: 1000
                                     Total Seq Reads: 5e+05
           0.03 , - - - - - , - - ~ - - ~ ! - - - - - - . , - -
                                                              ....-_- - , ~ - - - - - - - .
                                                                                                 -rnsomy
                                                                                                     µ: 0.518-FPR: 0.29%
          0.025 ,.. .....
                                                                                                 -Hom1del
                                                                                                     µ: 0.607-FNR: 0.18%
           0.02 ......... •········>······•·-'•·     ............................... ,.......... - - Hom 2 de!
  z:-,                                                                                               µ: 0.393-FNR: 0.0032%
  ..0                             :
                                                                                                 -Hom 1 dup
  ro
  .0
          0.015                                       ······· ······ · ···············•········      µ: 0.395-FNR: 0.0051%
  0
  '-                                                                                                             --Hom2dup
  0..
           0.01                                                          . -. -... - . - . -. -. - . -. - .
                                                                             ~               ,'
                                                                                                                  _______
                                                                                                              ......... µ: 0.605-FNR: 0.26% ......

                                  :
          0.005

                                  i              )    \   J        )     \                   I
               00               0.2           0.4       0.6                               0.8
                                            Test Statistic S/T
                                                     FIG. 2D



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                                  Tumor Fraction: 3%, Number of SNPs: 100
                                          Total Seq Reads: 5e+04
               0.09 , - - - - . . - - - - - . - - - - - . - - - - . . . . . - - - ; : : : . = = - - - - - - - ,
                                                                                                                                                          -Disomy
               0.08                                                                                                                                           µ: 0.518-FPR: 14%
                                                                                                                                                          -Hom 1de!
               0.07                                         i \                                                                                               µ: 0.65-FNR: 8.8%
                                                            l                                                                             ............. --Hom2del
               0.06
     »                                                                                                                                                        µ: 0.35-FNR: 3.9%
   ........                                                                    i:
   ..o         0.05                                     /
                                               ........ .............. ··········
                                                                                                                                               ·········· -Hom1 dup
      co                                                                                                                                                      µ: 0.354-FNR: 4.6%
   -g.... 0.04                                 ····1········y···········                                                         . .\ .....
                                                                                                                                                          - - Hom 2 dup
   0..
               0.03
                                                    /                           :                                         . - .- . .      . ..
                                                                                                                                         ..
                                                                                                                                                              µ: 0.646-FNR: 10%

               0.02                                                                                                          •.•..•.                  ·-   ··········-·-···


               O.Oi

                                         0.2                      0.4       0.6                                                                       0.8
                                                                Test Statistic S/T
                                                                                    FIG. 3A
                                 Tumor Fraction: 3%, Number of SNPs: 333
                                         Total Seq Reads: 2e+05
               0.05                       l

                                                                                                                            ,.                                      -Disomy
              0.045                       ;
                                                                      I                                                      I
                                                                                                                                                                        µ: 0.518-FPR: 0.87%
                                                                       '!                        f                           l
                                                                                                                              I
                                                                                                                                                           •••••••• -Hom1 de!
                                                                                                                                 I
               0.04   ~--·······--·-··        --·-·-······              '\           .........        ..            ..
                                                                                                                            ··1 ·-·-······
                                                                                                                                                                        µ: 0.65-FNR: 0.63%
              0.035                       :                          .. \                        ..                        .. \
                                          :                                                                                                                         --Hom 2del
  -
                                                                I
  >-.                                                                      I
                                                                                    ·-·-· ..... ...
                                                                                                                                     '
                                                                                                                          ... I · - • - • - - · • ·                     µ: 0.35-FNR: 0.077%
  -            0.03 --·--•-······              ·····-•--•
                                                                I
                                                                    •-••


                                                                                                                     I'
  .Cl
                                          :
                                                                           I                                                         I                              -Hom1 dup
   cu
  .a
              0.025                                                 -···                                                  ....
                                                                                                                                                                        µ: 0.354-FNR: 0.13%
  0
  '--
               0.02                                                 ....                     .....                        ....                                      - - Hom 2 dup
  0..
                                                                                                                                         I                              µ: 0.646-FNR: 0.93%
                                               ........ I .....                                                                          '\·· ••• ······•-········-
              0.015   .,_ ............                                              ..... •••••            ..        . .....


               0.01                                             ·····- ••••• ··-·-·- --                              ·-·-·-
                                                                                                                                              I
                                          ;             !
                                                                                                                /
                                                                                          ···-···j
                                                        I
              0.005
                                          i
                                         0.2
                                                   j
                                                                  0.4       0.6
                                                                                YJ
                                                                Test Statistic S/T
                                                                                                                                                  '
                                                                                                                                                  \
                                                                                                                                                      0.8


                                                                                    FIG. 3B



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                            Tumor Fraction: 3%, Number of SNPs: 667
                                    Total Seq Reads: 3e+05
           0.035

            0.03

           0.025 -·······-·······
   »
 ......,
            0.02
 .0
  co
 ..0
  0
  ,_       0.015 ---·· .......... -
 0..

            0,01 -

           0.005 ---••···········


                                  0.2                          0.6
                                                                0.4                                                   0.8
                                                   Test Statistic SIT
                                                                     FIG. 3C
                           Tumor Fraction: 3%, Number of SNPs: 1000
                                    Total Seq Reads: 5e+05
            0.03                      I                          I                                                      !
                                                                                                                                     -Disomy
                                                                                                                        ;
                                                                                                                        ;                µ: 0.518-FPR: 0.0015%
           0.025                                                                     --                    ............ ,. .......
                                                                                                                                     -Hom 1 dei
                                                       ;
                                                                                                       I                ;                µ: 0.65-FNR: 0.00065%
                                                                                                   i
            0,02                                                                                    . ·······-----1.-------          --Hom 2dei
 c                                                                                                     I
                                                                                                                        :

                                                                                                                        ;
                                                                                                                                         µ: 0.35-FNR: 1.?e-06%
 ..0                                                     I                                                              :            -Hom 1 dup
 n
  cu       0.015                                       --        --                  --             -1                  :                µ: 0.354-FNR: 6.8e-06%
                                                                                               l
  ....
  0                                                                                            !
                                                                                                                        :            --Hom2dup
 CL                                                i        I
                                                            I
                                                                                                                                         µ: 0.646-FNR: 0.002%
            0.01 -                                                                                                      :
                                                                                                           I
                                                       --                  ---        --           ---
                                                            I                                  I
                                                                                               I                        ;
                                                                                                                        ;

                                                             I

           0.005                                   -·-·          --       ..... ,. ...             ....
                                                                                           I

                                                                                                                        ;


                                              .J                      )          \                             \.       i
                                  0.2                          0.6
                                                                0.4                                                   0.8
                                                   Test Statistic SIT
                                                                     FIG. 3D



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                                   Tumor Fraction: 4%, Number of SNPs: 100
                                                              Total Seq Reads: 5e+04
               0.09 ,----..----......----.----.....---;:::.==~-------,
                                                                                                                               -Disomy
               0.08             -----------:- -----              ·•·····'··················.····••h- • ••• •• ••                   µ: 0.518-FPR: 6%
                                                                                                   j         ;
                                                                                                             1
                                                  .... l/ .....                                   /                            -Hom1 de!
               0.07                                                                             •• 1•• i ••• •• •••• •• •• •      µ: 0.692-FNR: 3.2%
                                                      I I :
               0.06 ...                            ··/ .. l .. ; ....... .                      J . . L ........... --Hom2del
       >,
      ....,                                           1              \   :                                 \                    µ: 0.308-FNR: 1.2%
                                                      '              l   :
    ..0
               0.05                ·····················\··(··········                          ./ ...... , ....          ·· -Hom i dup
      ro                                 : I          l :
                                                                                                i           I                   µ:0.314-FNR:1.7%
    ..0                                  : i           I •
     0
       '-
          0.04           ··············'.····1·········\··f •••.••.•.•.                            . ....... J .... ········
                                                                                                             ,               --Hom2 dup
    0..
                                                                                                                                µ: 0.686-FNR: 4.3%
               0.03      ·······-·····


               0.02
               0.01

                    00                      0.2                     0.4       0.6                                    0.8
                                                                  Test Statistic SIT
                                                                             FIG. 4A
                                  Tumor Fraction: 4%, Number of SNPs: 333
                                          Total Seq Reads: 2e+05
               0.05
                                              ·                          ·                  ·                                  -Disomy
              0.045      ••••••••••••••• 1········1/ \······ ·~················~······1' l                                         µ: 0.518-FPR: 0.075%
                          ···············
                                              : .... 11
                                                     . \ ···:······
                                                            i             i
                                                                    ..... , .. ./.
                                                                                   \                                       .. -Hom1del
               0.04
              0.035
                                              :               ! I        :                  :      I     I                             µ: 0.692-FNR: 0.039%
                         ···············:·······1--\ ····r······ •• ····-;--···/ ·1•······--········• -                            -   Hom 2 de!
    >-,
  .......      0.03      ...............            ... 1 .. ~ ...       i............ ;....1... 1....                                 µ: 0.308-FNR: 0.0026%
  -
  ..0                                                     I l            :             I ! !                                   -       Hom 1 dup
                                                                                                  1
   cu0.025                            •••••••••••••••
                                                          0
                                                              •····H1····+······ ••••••••• ; •••••, ···\                               µ: 0.314-FNR: 0.0076%
  .0
   0
                                     :                     .                 :            \
   ,_               ............... :  .... .J ... .1, ..................... L ... 1.... .'                                    - - Hom 2 dup
  0..          0.02
                                    :: II lI                                 :: Ii I                                               µ: 0.686-FNR: 0.094%
              0.015        • • • · · · · · · · · : · . "f •••       t· ...... ········(·i ·····\ .... .
                                             I -- ..\,...........
               0.01 ....................... ,,---   \             . -- ---- -- :··
                                                                               : ..I - --              ---


                                                                     \                      : I                  l
              0.005

                    00                                                                    0.6                        0.8
                                                                  Test Statistic SIT
                                                                             FIG.4B



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                                                                                    Appx348
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                             Tumor Fraction: 4%, Number of SNPs: 667
                                     Total Seq Reads: 3e+05
         0.035                     !
                                   :         I                                             -DisomyI
                                   :         1·                                                µ: 0518-FPR: 0,00044%
                                                                                                   'l
          0.03    --·--·-·-····-··;- .. --.-- j
                                        ;              !\             I                    -Hom'i del
                                                       iI           Ii
                                                                                               µ: 0.692-FNR: 6.4e-05%
         0.025 --- -- - -- -- -- - - - -~ -- -- - -- -I! I           .l
                                                         I             I                   --Hom2del
  >..
 __.                                                  ! i           I \                        µ: 0.308-FNR: 5.1e-07%
          0.02 - .. ··- ·--· ..... _j ...... .lI _j         ...      ..I
 .0                                                       i             \                  -Hom1 dup
  ct'!
 ..0
                                                     i I           i I                         µ: 0.314-FNR: 4.1e-06%
  ....
  0      0.015 -···············j__··_I· . \ ..... ••••••• ---· . -.I. . ••••••• •••••••••• --Hom2dup
                                                                             ...

 CL                                     :           i I            i i
                                        I I \                      I \                         µ: 0.686-FNR: 0.00037%
          0.01    - · · ................ j ......   f-· . j ...    --·-··----- -··----      . J .. j -----·            -----··- -----·-

                                               i                        I !l
                                          I I                           I I
         0.005 -·· ......... -.. : ..... j' .. -i-. ...... ••••• .. .. /. . - 'l .... ••••••••• ····--
                                         I      \                      i '\
                                 i )             \_     )             )            \
                                                                                  ..                         \
                               0.2                 0.4            0.6                0.8
                                                           Test Statistic S/T
                                                                   FIG.4C
                            Tumor Fraction: 4%, Number of SNPs: 1000
                                     Total Seq Reads: 5e+05
          0.03
                                                                                                                               -Disomy
                                                      I .......                                   I ........ .......               µ: 0.518-FPR: 2.6e-06%
         0.025 ----············             •• -    · /            •••••••••    •••••••   - . ·j
                                                                                                                               -Hom 1 del
                                                      l
                                                      !,                                          11
                                                     Ii                                           Il                               µ: 0.692-FNR: t6e-07%
                                                       I                                          •I
          0.02                                                                                     ·1                          --Hom2del
 ....,
  ~                                                  Il                                        I                                   µ: 0.308-FNR: 9.?e-11%
                                                     ,I                                        Ii
                                                     I •
 ..0                                                 I I                                       I I                             -Hom i dup
  ro
 .0
         0.015    m••••••••••••••••••
                                            ---··--1-     -1- - ,-·-··- -----· ------       ··1 -I------           ------·
                                                                                                                                   µ: 0.314-FNR: 2.1e-09%
  ....
  0                                   I I                                                     I l                              --Hom2dup
 CL                                   ! I                                                     i i
                                                                                                                                   µ: 0,686-FNR: 2.1e-06%
          0.01                          ---il             ---
                                                                                                  __ J
                                      I                                                       I \
                                      I I                                                     i l
                                     I       i                                               I \ --·-···
         0.005 -·-········-······ ···r · l · - ········-·· ·····-·                           I
                                                                                               . ·I                    ·-·-·····-·····-


                                     I i                                                     I'         \
                                                                                                         !
                                              I                                             I
                                                j            ~           )         \       J)
                                                                                                         I
                                                                                                            t
                                      0.2                    0.4       0.6                                       0.8
                                                           Test Statistic S/T
                                                                   FIG.40



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                     Tumor Fraction: 5%, Number of SNPs: 100
                             Total Seq Reads: 5e+04
             0.09
             0.08
             0.07
             0.06
      >..
     __.

     .0
             0.05
      co
     ..0
      0
      .._    0.04
     CL
             0.03
             0.02
             0.01

                00      0.2          0.4       0.6        0.8
                                   Test Statistic SIT
                                       FIG. 5A
                     Tumor Fraction: 5%, Number of SNPs: 333
                             Total Seq Reads: 2e+05
             0.05
            0.045
             0.04
            0.035
  >,
 .,..,
 -           0.03
 .0
  co
 .0
            0.025
  0
  '-
 CL          0.02
            0.015
             0.01
            0.005

                00      0.2          0.4       0.6        0.8
                                   Test Statistic SIT
                                       FIG. 58



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                               Tumor Fraction: 5%, Number of SNPs: 667
                                       Total Seq Reads: 3e+05
         0.035                                !          I                                                     I

                                              ! I                                                 -Disomy      i
          0.03     ______________ J                ___   j~                                           µ: 0518-FPR: 15e-06%
                                      : lI                                                        -Hom'i del
                                      : I.                                           I
                                      :     I I                                                       µ: 0.732-FNR: 7.ie-08%
                                            r~                                       !
         0.025     ________________ i             ____



                                                                                     I
                                      : Il                                                        --Hom2del
  >..
 __.
                                      : I I                                       I \                 µ: 0268-FNR: 1e-10%
                                      : i i                                   .. .i __I
          0.02 - -· --- .. -- -· -... ; ---·- --~               ·-·
                                                                                 I !              -Hom1 dup
 .0                                   : I I
  ct'!
 ..0
                                      : I i                                      l I                  µ: 0.277-FNR: 4.8e-09%
  ....
  0      0.015     .....   -   -··-   -   -J -I - - - - ••••••• ·-· ---· _____ !_[ ·-· •••••••••• --Hom2dup
                                              j _ __



 CL                                   ! l l                                     I i
                                      I i l                                     ; I
                                                                                :                     µ: 0.723-FNR: 2e-06%
          0.01 .... - - - .. - - - .; .. J - ·\· - - - ..                  --·-··----- -··----     -.. _j - ··\I ·-               -----··- -----·-

                                              : !             I                                         I
                                                                                                           I        I
                                                    I         I                                         !           I

         0.005 ---·-···········'··' .. ·) - .... ...... ••••• .. .....l • ·1I
                                              ;     I
                                                                   .                                                          ••••••••• ····--
                               :I                              I      I
                                           u
                                          0.2
                                                               I
                                                                  \\
                                                                         0.4
                                                                                )
                                                                                   0.6
                                                                                           \         i1
                                                                                                       I                \
                                                                                                                        \\
                                                                                                                            0.8
                                                                       Test Statistic S/T
                                                                           FIG. 5C
                               Tumor Fraction: 5%, Number of SNPs: 1000
                                        Total Seq Reads: 5e+05
          0.03
                                                         !                                                     f.
                                                                                                                                          -Disomy
                                                         I
                                                                                                               l
                                                                                                               ;                              µ: 0.518-FPR: 8.5e-10%
         0.025 ----············ .. -1                         ..........
                                                                               - ······1 ----- .......
                                                                           •••••••••    •••••••
                                                                                                                                          -Hom 1 del
                                         I.                                                I!                                                 µ: 0.732-FNR: 4e-12%
                                         II
                                         I1                                               II                                              --Hom2del
          0.02
 ....,
  ~                                     Ii                                                Ii                                                  µ: 0.268-FNR: 3.8e-16%
                                        II                                                I II
 ..0                                    iT  ! -- ---- -- ,-·-··- -----· ------            I -!: ... ------·                               -Hom i dup
  ro
 .0
         0.015                     ·-i
                   m••••••••••••••••••
                                                                                 -----r                                                       µ: 0.277-FNR: 1.2e-13%
  ....
  0                                    l I                                               I I                                              --Hom2dup
                                                                                         l i
 CL                                    I i
                                       I                                                I' I                                                  µ: 0}23-FNR: 5.7e-10%
          0.01                            --1                        ---                    --(
                                      I \                                              I
                                      I I                                              l
                                                                                       1
                                                                                               I
                                             \                                         I ,I
         0.005 -·-········-······ ···r . ··r·······- ········-·· ·····-· ·-. f .. -l -... ·-·-·····-·····-
                                      I


                                                                                                           I        !
                                                    i         \                                            !        '
                                                    I          \
                                                   J)          ·:...             )         \          j~            \\


                                          0.2                            0.4       0.6                                      0.8
                                                                       Test Statistic S/T
                                                                           FIG. 50



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                        Tumor Fraction: 6%, Number of SNPs: 100
                                Total Seq Reads: 5e+04
          0. i
         0.09
         0.08
         0.07
  £ 0.06
  .0
   co
  ..0
         0.05
   .._
   0
  CL     0.04
         0.03
         0.02
         0.01
             00                 0.2                0.4      0.6                          0.8
                                                Test Statistic SIT
                                                         FIG. 6A
                        Tumor Fraction: 6%, Number of SNPs: 333
                                Total Seq Reads: 2e+05
         0.06
                                                                                               -Disomy
                                      '\             :              :                              µ: 0.518-FPR: 0.00017%
         0.05 ·············• ·r ·············:·················:··········'I·                  -Hom 1 del
                                  :I 1               •              •               Ii
                             :/ ,          :            :         /\ :                             µ: 0.769-FNR: 12e-05%
         0.04     .......... :/..\ ........:........... : ....... / .! •                       - - Hom 2 del
  >,
 .,..,                            } \                :              :           ! \ ,              µ: 0.231-FNR: 2.1e-07%
                                  :I I                                          il:
 .0                               i 1                               .          / \:            -   Hom 1 dup
 co
 .0
         0.03     ·-·············1 --·\·•·············--·   ••• ··--;·········--r --1 :            µ: 0.243-FNR: 55e-06%
  0
 '-                               l        I                                   '         1•        - - Hom 2 dup
 CL                               f        l         :              :          /         l                                      o
         0.02 ·········•····f ···i··········..:.······ ........ ( ......... / ....i ........              µ: 0.757-FNR: 0.000211/o
                              I: \                :                 :           I \
                             i: \                 :                 .          / \:
         0.01 ............. TI ·····;I ··········:·····
                                                  :                 :
                                                        ........ ··:···-·····1 !
                                                                                 ......\f ............. .
                            I: '                  •                           I         \
                                                                             /          :\
             00                 0.2               0.4       0.6                          0.8
                                                Test Statistic SIT
                                                         FIG. 68



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                                                             Appx352
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                             Tumor Fraction: 6%, Number of SNPs: 667
                                     Total Seq Reads: 3e+05
          0.04 - - - ~ ! - - ~ ! - - - , - - - - - ~ - - - ~ - - - - - -
                                                                                                    -Disomy
         0.035 ----------------i-1 -------------:------------------:-------------fH-,--------•          µ: 0518-FPR: 25e-09%
                              :: II               :j              :j            /1I                 -   Hom 1. del
       0.03 ---------------+r ~ ----------+-------- -----+----------1 \•-•--------•                     µ: 0.769-FNR: Ue-11%
                                     1
                               :: II I                                             1
                                                  .:              ::           I
                                                                               l I
                                                                                                    - - Hom 2 del
 2::- 0.025 ---- - -·----·---1-;- 1-·- ----·---·-:-- - -·- - -·--:--·-·--·'fl                           µ: 0.231-FNR: 4.Se-15%
                               :/ I               :               :           ' \                   -   Hom 1 dup
 ~ 0.02 ----------------!1. .JI ------------~-----------
 ..o                                              .          ----{----------1--r
                                                                   .                ,1 •--------- 1     µ: O.243•FNR
                                                                                                                   ' : 2-8e- 12°:o1
  0
  ._                            :I:i 1•           ::              :j         lI I1                  - - Hom 2 du·p
 a., 0.015 -------------·--:( --r -----------:------- --- ----r---------i --\•'--------•                µ: 0.757-FNR: 3.4e-09%
                                ::1• 1!          ::              ::         1· 'I
          0.01 ---- ----- - --~ -- ----- - -<- - ---- - ---<- ---- - -1- ---\ ---- - ------ -
                                      I \                  :                     :
                                                                               I I
                                      l        !           :       :           I '
         0.005 ----------------r: ----r ---------)------ ----- ----:----------1 ----\ ----------------
                                    ;~·         \~         ;    )          \ ;              !~               t,
                                    0.2                0.4       0.6                                     0.8
                                                     Test Statistic S/T
                                                               FIG. 6C
                         Tumor Fraction: 6%, Number of SNPs: 1000
                                  Total Seq Reads: 5e+05
          0.03                        !n                                                             I
                                       : I'                                                          I            -Disomy
                                       :I                                                            I                µ: 0.518-FPR: 5.3e-14%
         0.025 -----------·-··--i-1' ------ ....... •••••••••          ······-       - - --- - -1 -· .......
                                                                                                                  -Hom i del
                                 i     j                                                             l
                               : II                                                                  Il               µ: 0.769-FNR: t3e-17%
          0.02 ______________ )! l                                                                   I I
                                                                                                       j          --Hom2del
 ....,
  ~                            : ! II                                                                Il               µ: 0.231-FNR: t8e-22%
                               jI I                                                                  II
 ..0                           :I I                                                                  II           -Hom i dup
 ro
 _a
         0.015    m•••••••
                             ---------:-1-
                                       ;;     1- -----·--- ,-·-··-------· ------ ----- - -i- + ------·                µ: 0.243-FNR: 2.5e-18%
 ....
 0                                     j! I                                                      l l              --Hom2dup
 CL                                    :I I                                                      I I
                                                                                                 I - _l               µ: 0}57-FNR: 5.6e-14%
          0.01 ----------------i; _J                                 ---
                               :i I                                                              I I
                             :i I:                                                               I i
                             :/ I                                                                l       I
         0.005    -----------T - 1- -- - - - - ········-·· ·····-·                      ---- -i' -- i ·-·-·····-·····-
                                       l I'    I
                                                                                              I I
                                           I                                                 I \\\
                                     /1         I\               )         \                J)

                                    0.2                0.4       0.6                                     0.8
                                                     Test Statistic S/T
                                                               FIG. 60



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                   Tumor Fraction: 0.5%, Number of SNPs: 100
                            Total Seq Reads: 1e+05
          0.08 - - - ~ - - - - ~ - - - - - - . - - - - = - - - - - - - - - - ,
                                                                                                                                                                                                                                     -Disomy
          0.07                                                                                                                                                                                                                           µ: 0.513-FPR: 69%
                                                                                                                                                                                                                                     -Hom 1 del
          0.06 ··· ·· ···· ·· ·· ·· ·· · · ··· ·· · · ··· ·· ·                                                                                                                                                                           µ: 0.544-FNR: 23%
                                                                                                                                                                                                                                     --Hom2del
  2::- 0.05 l-···············i················••:j                                                                                                                                                                                       µ: 0.456-FNR: 20%
  .0                                                                                                                                                                                                                                 -Hom 1 dup
   co     0.04 ·· ·· ·· · ·· ·· ·- ·· ·· ·· · ·· ·· ·· ···· , ·· · · · ·· ····· ·· ·· · ·· ·· ·· ···· ··                                                                                                                  · ·· ·· ·-     µ: 0.456-FNR: 20%
  ..0
   .._
   0
                                                                                                               .                                                                                                  .                               --Hom2dup
  CL      0.03 --------------- --------------- -.--- ·- ---- ---- ~-----------------,--------                                                                                                                                                         µ: 0~544~FNR: 23~/o

          0.02

          0.01

               00                                       0.2                                                   0.4                                          0.6                                                0.8
                                                                                              Test Statistic SIT
                                                                                                                    FIG. 7A
                                   Tumor Fraction: 0.5%, Number of SNPs: 333
                                            Total Seq Reads: 3e+05
         0.045
                                                                                                                                                                                                                                                  -Disomy
          0.04        ···············\················-:····· ••• • • ••• :·················>·····                                                                                                                                                    µ: 0.513-FPR: 46%
                                                                •                                                                                                  •                            -Hom 1 del
         0.035        ··············+················:··· •••••••••                                                                                                j................. :········    µ: 0.544-FNR: 25%
                                                                ..                                             ..                    ............................ - - Hom 2 del
          0.03        ----         -----------;----                              ------------<---                       ---       ---      -       -




 .,..,
  >,
                                                                                                                                                                          µ: 0.456-FNR: 14%
 .0
         0.025                                                                                                       ···· ·· - ·· ·········--······--•·····--· -          Hom 1 dup
 co                                                                                                                                                                       µ: 0.456-FNR: 14%
 .0
 0
 '-
          0.02                                                                                                      ....... ······  .................... •......... .
                                                                                                                                                               .;

                                                                                                                                                                      --Hom2dup
 CL
                                                                                                                                                                          µ: 0.544-FNR: 25%
         0.015
          0.01
         0.005        -   -   . . . . .
                               -    -   -   -   -   -   -   -   ~
                                                                '   -   -   . . . . .
                                                                             -    -   -   -   -   -   -   -   . . . .
                                                                                                               -    -         -    -   .   -   -   -   .   -   -    -   . . . .
                                                                                                                                                                         -   -   -   -   -   -   -   . . •. . . .
                                                                                                                                                                                                      -   -   -

                                                                                                                                                                                                                  '
                                                                                                                                                                                                                      -   -   -   -   -   -   -   .   -   -   -   -




                                                        0.2                                     0.4       0.6                                                                                                 0.8
                                                                                              Test Statistic SIT
                                                                                                                    FIG. 78



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                           Tumor Fraction: 0.5%, Number of SNPs: 667
                                    Total Seq Reads: 7e+05
           0.035
                                                                                                                                  -Disomy
                                                                                                                                      µ: 0513-FPR: 28%
            0.03    m•••••••   -----·---    ---·-- -----·---     '-·-··        ...        .. ....     ------·-------    ------·-

                                                                                                                                  -Hom'i del
                                                                                                                                      µ: 0.544-FNR: 21%
           0.025    -·                                                    ..    ----
                                                                                                                                  --Hom2del
  >..
 __.                                                                                                                                  µ: OA56-FNR: 6.5%
            0.02                                                          ..         ..    ..
 .0                                                                                                                               -Hom1 dup
  ct'!
 ..0
                                                                                                                                      µ: 0.456-FNR: 6.6%
                                                                                                       -----·--------· ----- -··-
  ....
  0    0.015        -----·--------··-      ----·-··------·----    --·---- .. ...
                                                                                                                                  --Hom2dup
 CL
                                                                                                                                      µ: 0.544-FNR: 21%
            0.01                                                      ---- ..               ..




           0.005                                                    ----              ... ..

                                                                          )1 ~\
                                      0.2                      0.4 0.6                                         0.8
                                                       Test Statistic S/T
                                                                  FIG. 7C
                  Tumor Fraction: 0.5%, Number of SNPs: 1000
                           Total Seq Reads: 1e+05
            0.03 ~ - - - - - - - - ~ - - ~ -.....--~~-------,
                                                                                                    -Disomy
                                                                                                        µ: 0.513-FPR: 20%
                                                                                                    -Hom i del
                                                                                                        µ: 0.544-FNR: 16%
            0.02 .................. ,.................,.....    .... ,.................. ,......... - - Hom 2 del
 ....,
  ~
                                                                                                        µ: 0.456-FNR: 3.5%
 ..0                                                                                                -Hom i dup
  ro       0.015 -· · · · ··· · · · · · ··· ·· · · · · · ·· · · ··· ·                                   µ: 0.456-FNR: 3.5%
 .0
  0
  ......                                                                                            --Hom2dup
 CL
            0.01 ....................,..................,....                                           µ: 0.544-FNR: 16%


           0.005 -··· · .... · · .................. .


                                      0.2                0.4       0.6                                         0.8
                                                       Test Statistic S/T
                                                                  FIG. 70



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                     Tumor Fraction: 1%, Number of SNPs: 100
                             Total Seq Reads: 1e+05
            0.09 - - - ~ - - - - - - - - - - - . - - - - = - - - - - - - - - - ,
                                                                                                                                -Disomy
            0.08                                                                                      --------,--------             µ: 0.513-FPR: 43%
                                                                                                                    -Hom 1 del
            0.07      ------·-··-----
                                                                                                                        µ: 0.576-FNR: 25%
            0.06                                                                                 ________ ,________ - - Hom 2 del
    >..
   ___.                                                                                                                 µ: 0.424-FNR: 20%
   .0
            0.05                                                                      . ---------------~-------- -      Hom 1 dup
     co                                                                               •                   '             µ: 0.425-FNR: 20%
   ..0
     .._
     0      0.04     ..............                                                       ·······-···············
                                                                                                                    --Hom2dup
   CL
                                                                                                                        µ: 0.575-FNR: 26%
            0.03     ..............


            0.02
            0.01

                00                      0.2                 0.4   0.6                                        0.8
                                                      Test Statistic SIT
                                                                FIG. 8A
                             Tumor Fraction: 1%, Number of SNPs: 333
                                     Total Seq Reads: 3e+05
           0.045
                                                                                                     -Disomy
            0.04                                                 - - ---- -• - • - ..... -- - ---- ---- • - ----.. - ---- --•
                                                                                                         µ: 0.513-FPR: 18%
                                                                                                                ~




                                                                                                     -Hom 1 del
           0.035      ---------------:-----------------: -- ---- -- - ---;-----------------:--------     µ: 0.576-FNR: 13%

            0.03 _______________ ,_________________________________________________________ , - - Hom 2 del
  >,
 _,_.,                                                                                                                   µ: 0.424-FNR: 4.7%
 ..0
     0.025                                                    ·---- -- ---- ---- -------------------------- -            Hom 1 dup
 co                                                                                                                      µ: 0.425-FNR: 4,9%
 .0
 0
  '-
            0.02                          ···········-········'·····             .... ·······-···················-··
                                                                                      ;

                                                                                                                     --Hom2dup
 CL
                                                                                                                         µ: 0.575-FNR: 13%
           0.015
            0.01
           0.005 ---------------:-------------- --:--                                          ------------'.---------------

                0o                      0.2             0.4       0.6                                        0.8
                                                      Test Statistic SIT
                                                               FIG. 88



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                               Tumor Fraction: 1%, Number of SNPs: 667
                                       Total Seq Reads: 7e+05
           0.035
                                                                                                        -Disomy
                                                                                                            µ: 0513-FPR: 6J%
            0.03           -----·--- ---·--------·---
                    m•••••••                            --- ---    ---       ------·-------   ------·-

                                                                                                        -Hom'i del
                                                                                                            µ: 0.576-FNR: 4.7%
           0.025 --                                          --------
                                                                                                        --Hom2del
  >..
 __.                                                                                                        µ: OA24-FNR: 1.1%
            0.02                                            --- --
                                                                                                        -Hom1 dup
 .0
  ct'!
 ..0
                                                                                                            µ: 0.425-FNR: 1.2%
  ....
  0        0.015 -----·--------··- ----·-··------·---- --·- ------·- --- --·----- ---------· ----- -··- --Hom2dup
 CL
                                                                                                            µ: 0.575-FNR: 5%
            0.01                                     ------ ---- ----



           0.005                                           -----

                                               ) j )~ ~
                                  0.2           0.4       0.6                      0.8
                                              Test Statistic S/T
                                                     FIG. BC
                  Tumor Fraction: 1%, Number of SNPs: 1000
                           Total Seq Reads: 1e+06
            0.03 ~ - - - - - - - - ~ - - ~ -.....--~~-------,
                                                                                                          -Disomy
                                                                                                              µ: 0.513-FPR: 2.8%
                                                                                                          -Hom i del
                                                                                                              µ: 0.576-FNR: 2%
            0.02 ,.. _______________ ,_________________ ,_,_ ----- - -- _,, __________________ ,_______ , -- Hom 2 del
 ....,
  ~
                                                                                                              µ: 0.424-FNR: 0.25%
 ..0                                                                                                      -Hom i dup
  ro       0.015 --- - - ---- - - -- ------ - - - ------ - --                                                 µ: 0.425-FNR: 0.28%
 .o
  0
  ......                                                                                                  --Hom2dup
 CL
            0.01 t----------------i------------------:<--- --- --- ---,------------------,------- ➔           µ: 0.575-FNR: 2.2%
                                                                                             ~-..------~

           0.005 ---- ----- -- ------------------- ---- --- -- ----- -- ---- --- -- -- --


                                  0.2           0.4       0.6                      0.8
                                              Test Statistic S/T
                                                     FIG. 80



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                      Tumor Fraction: 2%, Number of SNPs: 100
                              Total Seq Reads: 1e+05
              0.09 ------~-----~-;:::=--_.__ _ _ ____,
                                                                                                                                                                    -Disomy
              0.08                                                                                                                                                      µ: 0.513-FPR: 17%
                                                                                                                                                                    -Hom 1 del
              0.07         ---- - ----                                                                                                                                  µ: 0.637-FNR: 9,9%
              0.06                                                                                                                                                  -- Hom 2 del
   2::-                                                                                                                                              µ: 0.363-FNR: 6.8%
   .0         0.05 1----------------,---------H                                                                              ---------~-------- -    Hom 1 dup
      co                                                                                                                              '              µ: 0.365-FNR: 75%
   ..0                                                                            '.

      .._
      0       0.04        ..............               ....... ·····-·····. ········-·                                 •·•••• ··-···············
                                                                                                                                                 --Hom2dup
   CL
                                                                                                                                                     µ: 0.635-FNR: 11%
              0.03
              0.02 1----------------,------R
              0.01 ,_ _______________ ,_____,,

                   00                          0.2                       0.4       0.6                                                       0.8
                                                                       Test Statistic SIT
                                                                                      FIG. 9A
                                   Tumor Fraction: 2%, Number of SNPs: 333
                                           Total Seq Reads: 3e+05
              0.05
                                                                                  ,                              .                               ,                  -Disomy
            0.045 ,..._ -- ·-- --- -- -----,- -- ----- -- -- -"··:·· .. --- ... ---... -~-- .... -.-..... -~ --- ... --                                                 µ: 0.513,.F PR: 1.4%
                                                                                  .                               .                              '

              0.04        --- - - ---- - --- - - ---- - )_ - - ---                                      - ---i              ---- - ---- :_ - ----                   -Hom 1 del
                                                                                  '                              :                               '                     µ: 0.637-FNR: 0.97%
            0.035                                                                                  -- --<- -- ------------(------- - -                                Hom 2 del
 .,..,
  >,
              0.03                                                                      ------·-·: --·•···----·-···.-----····•                                              µ: 0.363-FNR: 0.27%
 .0                                                                            ,                  .                 ,          -                                            Hom 1 dup
  co
 .0
            0.025                                                         ---- :··----- ···· ----~ ---- ···········~----·-··                                                µ: 0.365ftFNR: 0,35%
  0
  '-
              0.02          ........... _ ... , . . . . . . . . . . ,,. . . . . ,:. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . r . . . . . . .   -   -   Hom 2 dup
 CL
                                                                                                                                                                            µ: 0.635-FNR: 1.2%
            0.G15
              0.01
            0.005

                   00                          0.2                       0.4       0.6                                                       0.8
                                                                       Test Statistic SIT
                                                                                      FIG. 98



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                             Tumor Fraction: 2% Number of SNPs: 667          1

                                     Total Seq Reads: 7e+05
         0.035
                                                                                                            -Disomy
                                                                                                                µ: 0513-FPR: 0,069%
          0.03           -----·--- ---·-- -----·-,
                  m•••••••                               '---·-----    -------       -----·------- ------·-

                                                                                                            -Hom'idel
                                                     \                             \                            µ: 0.637-FNR: 0.046%
         0.025 --
                                                  ; I                               I                       --Hom2del
  >..
 __.                                                                                                            µ: OJ63-FNR: 0.0029%
          0.02                                     --               --           --
                                                                                                            -Hom 1 dup
 .0
  ct'!
 ..0                                            j                              l
                                                                                                                µ: 0.365-FNR: 0.0049%
  ....
  0      0.015 -----·--------··- ----·-··---------- --·------- -·---- -- ---------· ----- -··- --Hom2dup
 CL                                                    I                              !
                                                                                      I                         µ: 0.635-FNR: 0.072%
          0.01                                           ----                ----            ----


                                                                '
         0.005                                         -·---- ----- ------ --- ·-----

                                                  ) ll) V;              \.
                                    0.2                         0.40.6                                         0.8
                                                       Test Statistic S/T
                                                                    FIG. 9C
                           Tumor Fraction: 2%, Number of SNPs: 1000
                                    Total Seq Reads: 1e+06
          0.03
                                                                                                                               -Disomy
                                                                                                                                   µ: 0.513-FPR: 0.0045%
         0.025 ----············          •••••••••••••••            •••••••••    •••••••           ..............   .......
                                                                                                                               -Homi del
                                                                                                                                   µ: 0.637-FNR: 0.0022%
          0.02                                                                                                                 --Hom2del
 ....,
  ~
                                                                                                                                   µ: 0.363-FNR: 5.9e-05%
 ..0                                                                                                                           -Homi dup
  ro
 .0
         0.015     m•••••••••••••••••-    ---·--------     --    ,---·----- --- ------        -- ----·-------        -------
                                                                                                                                   µ: 0.365-FNR: 0.00013%
  ....
  0
                                                                                                                               --Hom2dup
 CL
                                                                                                                                   µ: 0,635-FNR: 0.0043%
          0.01                                             ·-                                 -·




         0.005 -·-········-······ ·-········-··          ----       ........ .....           ..... ...... -·-···      ·-·-····--·-···-




                                                   j                ~    )           \   J          \
                                    0.2                  0.4       0.6                                         0.8
                                                       Test Statistic S/T
                                                                    FIG. 90



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                             Tumor Fraction: 3%, Number of SNPs: 100
                                     Total Seq Reads: 1e+05
            0.09
            0.08
            0.07
            0.06
   >..
  __.

  .0
            0.05
     co
  ..0
     .._
     0      0.04
  CL
            0.03
            0.02
            0.01

                00                   0.2                           0.4     0.6                                    0.8
                                                               Test Statistic SIT
                                                                    FIG. 10A
                             Tumor Fraction: 3%, Number of SNPs: 333
                                     Total Seq Reads: 3e+05
            0.05
                                        :                           :                :                             :             -Disomy
           0.045     ···············;·······f, ······-:--···············:······: ········:········                                   µ: 0.513-FPR: 0.04%
                                        ,              I   l        •                 ,              \             .

            0.04 ............... ;....... ,.., ......;................ ;........1....... :......... -Hom 1del
                                        :              / \          :                :              ! I            :                       µ: 0.696-FNR: 0.02%
           0.035 ···············/·······1 ··\······(····· •• ··<·····1 ··.--··· . (······· -- Hom 2 del
 .,..,
  >,
       0.03          ···············L·····!···~•·····.·······<·········;·····l...1•······.····--···•                                       µ: 0.304-FNR: 0.0033%
                                        :              1       !    :  I I           :        -                                            Hom 1 dup
 .0
  co 0.025 ···············i······l ···_l1· ·····i·· ....... ····;· ·--j ····, ······:········                                              µ: 0.309-FNR: 0.0077%
 .0
 0                                      :          I                ;                 ;         l         \        '.

                     ···----·······t····f .... ~ ···+···· ........... i····/ .... i ..... ; ........ - -
                                                               O
 '-
 CL         0.02                                                                                                          H?m 2 dup . 4 a,
                                                                          ......... L... 1......\ ..... ~ ............... µ. 0.691-FNR. 0.0 .310
           0,015 ............... L; .. J..... I :                                    :      I
                                        :      I                         .......... '. ... l .......~ .................... ...,
            0.01     ............... '._, .... ] ...... \,
                                                                                     : .                      \    :
           0.005                                                                                                   - • ~ •••••• - ••••••




                00                   0.2                         0.4       0.6                                    0.8
                                                               Test Statistic SIT
                                                                   FIG. 10B



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                           Tumor Fraction: 3%, Number of SNPs: 667
                                   Total Seq Reads: 7e+05
         0.035 - - - ~ ! - - ~ ! - - - , - - - - - ~ - - - ~ - - - - - -
                                                                                                  -Disomy
          0.03 -·· · ·                  ........ ········:.········· ..... ,..... ll                  µ: 0513-FPR: 8.6e-05%
                                                1                                                 -Hom'idel


 ~
 ~
         O::: :
                                .
                                I
                                  1I     1
                                         I \ :
                                                1.
                                                                   ! i '
                                                                         1
                                                                          :11
                                                                                   1
                                                                                                  --
                                                                                            -Hom 1 dup
                                                                                                       ~o;~;::: :::::::
                                                                                                      µ: 0.309-FNR: 2.?e-06%
 £       0.015 -···········i····/···1 ····J·············"!···/··1 ······· ····· ···· --Hom2dup
                                I l                i               i  !                               µ: 0.691-FNR: 0.00012%
          o.01 -··············r····1 ····1 ···+····· •••• ····i--···1 ···•
                                : I                :               : I
         0.005 -............... j. .... J ·····i ··+·· .. ······ ··+··L ......................... ...
                                        ;)             \. ; )         ~; )
                                   0.2                 0.4       0.6                        0.8
                                                     Test Statistic S/T
                                                               FIG. 10C
                          Tumor Fraction: 3%, Number of SNPs: 1000
                                   Total Seq Reads: 1e+06
          0.03
                                                                                                       -Disomy
                                                1
                                                 '                                 I                           µ: 0.513-FPR: 2.7e-07%
         0.025 ----············ ••••••••• ....... ••••••••• ••••••• .... I .... ....... -Hom i del
                                                I

                                              II                                   ii
                                             I.                                    ,I                          µ: 0.696-FNR: 3.?e-08%
                                                                                   Ii
          0.02                               I 1
                                                                                                       --Hom2del
 ....,
  ~
                                             :!                                   I ·1.                        µ: 0.304-FNR: t2e-10%
                                             II                                   Il
 ..a                                        I                                         I                -Hom          i dup
 ro
 _a
         0.015                     ·······1·· i ··--- ,-·-··- .. --· ·------ ···j· .. ------ ------·
                  m••••••••••••••••••


                                                                                                               µ: 0.309-FNR: 1.4e-09%
 ....
 0                                          i I                                   I I                  --Hom2dup
 CL                                         I l                                   I I
                                                                                       i                       µ: 0,691-FNR: 3.2e-07%
          0.01                                ··1
                                           I i                                   I
                                           I I
                                           ' l                                  I \
                                           I 1                                  I       I
         0.005 -·-········-······ ........ l ........ .....
                                                .... 1 .....
                                                                                ' .. \ . .... ···············-
                                                                               '
                                          I l                                 I I
                                         I I                                  l          \
                                           Jj         \.     )        \       J)        \
                                   0.2                 0.4       0.6                        0.8
                                                     Test Statistic S/T
                                                               FIG. 10D



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                                           Test Statistic SIT
                                                 FIG. 11A
                        Tumor Fraction: 4%, Number of SNPs: 333
                                Total Seq Reads: 3e+05
         0.06
                                                                                  -Disomy
                                                                                      µ: 0.513-FPR: 0.00062%
         0.05 ···············i···t············:·················;···········1i    -Horn 1 del
                              : I\             :                 I           I\       µ: 0.751-FNR: 7Je-05%
                              i I\                               .           I\
         0.04 ······-········:+·\ ·····:·····---·-1· ·-·---'.·-·----·--l -1•--   0
                                                                                      Hom 2 del
                                                                                     -------   - -

  >,
 .,..,                        i! \                                          I I       µ: 0.249-FNR: 6.?e-06%
                                    i          :                 :          /   1 -   Horn 1 dup
 .0
  co
 .0
         0.03 .. - - - -.. - · -\ - - · - - - - - - · - · - - - -, -- - -.. -         µ: 0.257-FNR: 4Ae-05%
  0
                                      \                                   I
  '-
                                        1                             :          /                   - - Hom 2 dup
 CL                                                  1
         0.02 ·-·-·----·-·---H     .... \  -·-·----·:-·-·-- -·-·- --·-'··----·-·  ....                      µ: 0.743-FNR: 0.00042%
                              ';./ iI                :                :         I
                                                                                I      I:
                                                                                         .

                              :I         l                            .         I      l:


         0.01 ..........    J     ....   1 .....   J.                 :         •      I: ............... .
                              1                      •


             00               0.2            0.4       0.6                     0.8
                                           Test Statistic SIT
                                                FIG. 11 B



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                                   0.2                        0.4       0.6                    0.8
                                                            Test Statistic S/T
                                                                 FIG. 11C
                  Tumor Fraction: 4%, Number of SNPs: 1000
                           Total Seq Reads: 1e+06
          0.03 ~ - - ~ - - ~ - - - - - - - - ; : : . = = - - ~ - - - - - - ,
                                              ~
                                 I                                                           !            -Disomy
                                 I                                                           I                µ: 0.513-FPR: 1.1e-12%
         0.025 - -- · · ·· · · ··I,                         ······· ········· ···---- ······I ··· ·······
                                 ii                                                         .l            -Hom i del
                                   I                                                       l/                 µ: 0.751-FNR: 5.5e-15%
          0.02 .................. ,... ,.: j                                              1·I•···'·······•   - - Hom 2 del
 ....,
  ~
                                              i I                                      /I                        µ: 0.249-FNR: 4.4e-18%
 ..a                                      II                                           !\                    -   Hom i dup
 ~       0.015 --· · · ---·--···· -1 1 ---·-···· ·• • ·--- ·-- ·-·--·- ----· ·1 -'                ----·--        µ: 0.257-FNR: 1.1e-15%
 o                                        I\                                           11
 ct                                   I I                                              1\                    - - Hom 2 dup
          0•01 ....................,.,.i .. l                                          1 ·i                      µ: 0}43-FNR: 7.9e-13%
                                      I I                                               I ·
                                          I       I                                   •    I
                                       I \                                              i i
         o.oos ---· · ··-· · · r·1·--· · · - ·-···-·· ·-··-                       --· ·/ --1
                                      I             \                                  I \
                                     v~               \I\            )     \         J\\
                                   0.2                        0.4       0.6                    0.8
                                                            Test Statistic S/T
                                                                 FIG. 11D



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                   Tumor Fraction: 0.5%, Number of SNPs: 100
                             Total Seq Reads: 3e+05
          0.09 - - - - - - - - - - - - ~ - ; : : : = - - _ . __ _ _ ____,
                                                                                                                                                       -Disomy
          0.08                                                                                                                                             µ: 0.507-FPR: 55%
                                                                                                                                                       -Hom 1 del
          0.07                                                                                                                                             µ: 0.562-FNR: 25%
          0.06                                                                                                                                          -- Hom 2 del
  2::-                                                                                                                       µ: 0.438-FNR: 20%
                                                                           '
  .0
          0.05       .............                       ··············· ·(·    · · -- ·· ·--: · · .... · ·--·:·' · .... -Hom 1 dup
   co                                                                      '                 •                '              µ: 0.438-FNR: 20%
  ..0
   .._
   0      0.04                                               ·····---····-·----                   ....
                                                                                                                         --Hom2dup
  CL
                                                                                                                             µ: 0.562-FNR: 25%
          0.03
          0.02
          0.01

              00                                0.2                                0.4 0.6                                             0.8
                                                                           Test Statistic SIT
                                                                                       FIG. 12A
                               Tumor Fraction: 0.5%, Number of SNPs: 333
                                        Total Seq Reads: 1e+06
         0.045 - - - - - - - ! : ,-f-f-/1-~'.- - ~ ,. ----_-::::::_ _ _ _ _~
                                                                                                               1                                       -Disomy
          0.04 ...... · · .... · ... · · .... · --:-- · ··· · · ... , · · .... · .... :· · ....                                                            µ: 0.507-FPR: 28%
                                                                                                       -Hom 1 del
         0.035   . . . . . . . . . . . . . . . . . . , . . . . . . . . . . . . . . . . . •,•<••   ••     •••   ••   •d•••••••••••••••••,-••••••••


                                                                                                                     •
                                                                                                           µ: 0.562-FNR: 14%              •
        0.03                                      ·: . . . . . . . g ...... ,.........                 - - Hom 2 del
 .,..,
  >,
                                                                            ,                              µ: 0.438-FNR: 10%
 ..0
       0.025 ...................   ... ·· --··  · ··--··   ··--·      ···   (  ··  --  · · ·--·>· -- · -Hom      1 dup
  co
 .0                              :
                                                                            •                  •           µ: 0.438-FNR: 10%
                                                             --- - ---
  0
  '-
        0.02 ,- .........................................
                                 '
                                                                                                       - - Hom 2 dup
 CL
       0.015                     :                                                                         µ: 0.562-FNR: 15%

                                                                                                         .. -- ............. -- ...... --~--- .... -- ...... ··-
          0.01   1--··············                      ............ -- .... ,. .. .               .



                                                    :
         0.005

                                                0.2                          0.4       0.6                                             0.8
                                                                           Test Statistic SIT
                                                                                      FIG. 12B



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                            Tumor Fraction: 0.5%, Number of SNPs: 667
                                     Total Seq Reads: 2e+06
           0.035
                                                                                                                         -Disomy
                                                                                                                             µ: 0507-FPR: 12%
            0.03                                               ..   ----- ...
                                                                                                                         -Hom'i del
                                                                                                                             µ: 0.562-FNR: 7.8%
           0.025     ----··--------··-   ----·-··----·-··--·                   ··----         ---·-··- ----·· -------··-

                                                                                                                         --Hom2del
  >..
 __.                                                                                                                         µ: OA38-FNR: 3.5%
            0.02 --···········-··          ··········-····            ·····-     ..         ······-········· ······-··
                                                                                                                         -Hom1 dup
 .0
  ct'!
 ..0
                                                                                                                             µ: 0.438-FNR: 3.6%
  ....0    0.015                                                ...      ...     ...
                                                                                                                         --Hom2dup
 CL
                                                                                                                             µ: 0.562-FNR: 8%
            0.01                                               ---- ---- ----



           0.005                                               -----    ...      ----


                                                          Ji        J \)         \ 1\
                                     0.2                   0.4                        0.6                0.8
                                                     Test Statistic S/T
                                                               FIG. 12C
                  Tumor Fraction: 0.5%, Number of SNPs: 1000
                           Total Seq Reads: 3e+06
            0.03 ~ - - - - - - - - ~ - - ~ -.....--~~-------,
                                                                                                        -Disomy
                                                                                                            µ: 0.507-FPR: 5.6%
                                                                                                        -Hom i del
                                                                                                            µ: 0.562-FNR: 4.1%
            0.02 ................... ,...................,.. ,........ ,., .................. ,........ - - Hom 2 del
 ....,
  ~
                                                                                                            µ: 0.438-FNR: 1.5%
 ..0                                                                                                    -Hom i dup
  (IJ      0,015 -·. . . ... ....... .. .... .. .. .... .. .... .. . ... .         ··I·
                                                                                                            µ: 0.438-FNR: 1.5%
 .0
  0
  ......                                                                                                --Hom2dup
 CL
            0.01 t-················i········•·······••:••··· • ••• ···>•:••···•···········,······· ➔        µ: 0,562-FNR: 4.3%
                                                                                                                      ~-..------~

           0.005 -·· · · ·.. · · · .......................... · .... · ·                     .. .. .... .. .. ... .. · · · ·· · -

                                                                       \ J\
                                     0.2               0.4       0.6                                     0.8
                                                     Test Statistic S/T
                                                               FIG. 12D



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                      Tumor Fraction: 1%, Number of SNPs: 100
                               Total Seq Reads: 3e+05
            0.09 - - - - - - - - - - - - ~ - ; : : : = - - _ . __ _ _ ____,
                                                                                                   -Disomy
            0.08                                                                                       µ: 0.507-FPR: 23%
                                                                                                   -Hom 1 del
       0.07                                                                                            µ: 0.615-FNR: 15%
       0.06 ,_ _______________ ,____________ , _____ ,__________ -- -,----,------------,           - - Hom 2 del
  2::-                                                                                                 µ: 0.385-FNR: 11 %
  .o 0.05                                                          - .  ----------------:--------- -Hom      1 dup
   co                                                                •                  '              µ: 0.386-FNR: 11 %
  ..0
     .._
     0      0.04                                                                                  -·- -----·-··----·-··-
                                                                                                                                --Hom 2 dup
  CL
                                                                                                                                          µ: 0.614-FNR: 15%
            0.03
            0.02 ,_ ________________________ ,

            0.011----------------'-------r


                00                     0.2                   0.4   0.6                                           0.8
                                                       Test Statistic SIT
                                                                 FIG. 13A
                            Tumor Fraction: 1%, Number of SNPs: 333
                                    Total Seq Reads: 1e+06
           0.045 - - - - - - f i - !--f--ft--~!----_-::::::_ _ _ _ _~
                                                                                                                                -Disomy
            0.04 . ,. ___ ------ - --- ------ -- -- ---· - --- · ----- - ---- ------                                                µ: 0.507-FPR: 3.9%
                                                                                                                            -Hom 1 del
           0.035   1----------------,-------------+-- ------ --- ----- -- --------------.---------
                                                                                    '                             •             µ: 0~615~FNR: 1.9°/a
            0.03                                                   ------ --- ---- ,__                    ---------'------- - - Hom 2 del
 .,..,
  >,
                                                                                    ,                                           µ: 0.385-FNR: 1.1%
 ..0
           0.025   1----···········
                                            -- - - - - - - - \      - - - --             - - (    - - - - - - - -- r - - - -    -         H?m 1 dup   .   o1,
 co                                                                                                                                                 µ. 0.386-FNR. t2 ,O
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            0.02                        .
                   1----------------,-------------•----·- ---- ----- -- _., ________________ ._ _______ _
                                                                                                                                               --Hom2dup
 CL
           0.015                        :                                                                                       .                   µ: 0.614-FNR: 2.1 %
                                                          - - . -:- - -- - - . - - - - . - . ~- - - .. - - ---- - - - - - - .- - - - - - - - ,.____________,
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           0.005                        :


                                       0.2               0.4       0.6                                           0.8
                                                       Test Statistic SIT
                                                                 FIG. 13B



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                                                                                   Appx366
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                             Tumor Fraction: 1%, Number of SNPs: 667
                                     Total Seq Reads: 2e+06
           0.035
                                                                                                                     -Disomy
                                                                   ----- . ..                                            µ: 0507-FPR: 0,33%
            0.03                                              ..

                                                                                                                     -Hom'i del
                                                                                                                         µ: 0.615-FNR: 0.22%
           0.025    ----··--------··-   ----·-··----·-··--·                   ··----      ---·-··- ----·· -------··-

                                                                                                                     --Hom2del
  >..
 __.                                                                                                                     µ: 0,385-FNR: 0.06%
            0.02 --···········-··         ··········-····            ·····-     ..      ······-········· ······-··
                                                                                                                     -Hom1 dup
 .0
  ct'!
 ..0
                                                                                                                         µ: 0.386-FNR: 0.073%
  ....0 0.015
 CL
                                                               ...      ...     ...
                                                                                                                     --Hom2dup
                                                                                                                         µ: 0.614-FNR: 0.26%
            0.01                                              ---- ---- ----



           0.005                                              ----- . . .       ----


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                                    0.2               0.4       0.6                               0.8
                                                    Test Statistic S/T
                                                              FIG. 13C
                    Tumor Fraction: 1%, Number of SNPs: 1000
                             Total Seq Reads: 3e+06
            0.03 ~ - - ~ - - ~ - - - - - - - - ; : : . = = - - ~ - - - - - - ,
                                                                                                         -Disomy
                                                                                                             µ: 0.507-FPR: 0.034%
                                                                                                         -Hom i del
                                                                                                             µ: 0.615-FNR: 0.025%
            0.02 ....................,.................,....      ....... ,................... ,.......• - - Hom 2 del
 ....,
  ~
                                                                                                             µ: 0.385-FNR: 0.0043%
 ..0                                                                                                     -Hom i dup
  ro       0.015 -·· · · ·········· ··············· ·· ········ ··· ····· ··· ··············                 µ: 0.386-FNR: 0.0056%
 .0
  0
  ......                                                                                                 --Hom2dup
 CL
            0.01 t-···············i·········•····+                  ·····>:··+···············,······· ➔
                                                          ·•:i•····· •••
                                                                                                             µ: 0,614-FNR: 0.032%
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                                    0.2               0.4       0.6                               0.8
                                                    Test Statistic S/T
                                                              FIG. 13D



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          Syndrome                        Sensitivity                    Specificity

                                    97 .8% (45/46)                   99 .2% (392/395)
 22q 11.2 Deletion/ Di George
                                    [CI: 885 - 99.95%)]              [CI: 97 .8 - 99 .8%]

 Angelman                           100% (21/21)                     100% (418/418)
                                    [CI: 83.9-100%]                  [CI: 99.l - 100%]
 Cri du chat                        100% (24/24)                     99.8%) (415/416)
                                    [CI: 85.7 - 100%]                [Cl: 98.7 - 99.99%]
 Monosomy 1p36                      100% (1/1)                       100% (438/438)
                                    [CI: 2.5 - 100%]                 [Cl: 99.2- 100%]
 Prader- Willi                      1O<Y?to ( 15/15)                 100% (424/424)
                                    [CI: 78.2 - 100%]                [CJ: 99.1 - l00%J
 Wolf-Hirschhorn                    100% (2/2)                       99.8% (437/438)
                                    [CI, . .•. 1,..
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                                                            - /0 ]   [CJ: 98.7 - 100%]



                                    FIG.14




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                                                                                                                   Allele Frequency Plots: Visualizing Data                                                             .e
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                                                                                                                                                                                                    Fetal    Maternal   .
                                                                                                        0%FF                       ~                12°/o FF                     26% FF         Gen,Z;p}e
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                                                                     Appx371
                                                                                            Paternally Inherited Wolf .. Hirschhorn Syndrome                                                                                                                                                                                                                                                                                                                                                                                               .e
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                         False positive rate with hap!otypes
             50
             45                                          -o-1QOSNPs
                                                         ·••····~······· 200 SNPs
             40                                          -o-300SNPs
                                                         ---<>-- 400 SNPs
      (1)    35                                          ~500SNPs
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      (1)
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             20
             15
             10
             5
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             1000   1500 2000    2500 3000 3500 4000 4500                           5000
                                    DOR per SNP
                                 With Haplotypes
                                     FIG. 20A

                       False positive rate without haplotypes
            40
            35

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             1000 1500 2000 2500 3000 3500 4000 4500 5000
                                         DOR per SNP
                                 Without Haplotypes
                                     FIG. 20B



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                     False negative rate with haplotypes & p= 1%
            20
            18                                               ---o---100 SNPs
                                                             ---v-- 200 SNPs
           16                                                ---a-- 300 SNPs
                                                             ·····-¢-······ 400 SNPs
      (1)  14                                                -➔.-500SNPs
      0,

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      ro 12
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      ,__
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             8 .
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             2
             0
             1000   1500    2000    2500    3000   3500      4000       4500           5000
                                       DOR per SNP
                                    With Haplotypes
                                       FIG. 21A

                  False negative rate without haplotypes & p=1 %
            65 .-----,.---,---..----.---.--....-------.
                                                             ---o---100 SNPs
            60                                               ---v-- 200 SNPs
                                                             ---a-- 300 SNPs
            55                                               ---<r······ 400 SNPs
                                                             -➔.- 500 SNPs
      (1)

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            25 ,.______._ __.__ ____.__ ___.___ __.__ _ ___,__ _,
             1000   1500    2000    2500    3000   3500      4000       4500           5000
                                       DOR per SNP
                                   Without Haplotypes
                                       FIG. 21B



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                   False negative rate with haplotypes & p=1.5%
              5 ------------....---......--.......----,
         4.5                                                         --o--100 SNPs
                                                                     ~ 200 SNPs
           4                                                         ~o-- 300 SNPs
                                                                     ······<>······ 400 SNPs
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               1000 1500 2000              2500 3000 3500 4000 4500                            5000
                                              DOR per SNP
                                           With Haplotypes
                                                FIG. 22A

                           False negative rate without haplotypes & p= 1.5%
             50
             45
             40
      <D     35
      en




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              0 .....__....______......_____....______._ ____,_ _ ______._ _____.,
               1000 1500 2000             2500 3000 3500 4000 4500                             5000
                                             DOR per SNP
                                         Without Haplotypes
                                               FIG. 22B



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                    False negative rate with haplotypes & p=2%
            0.7 ------------....---......--.......----,
                                                         --o--100 SNPs
            0.6                                          ~ 200 SNPs
                                                         ~o-- 300 SNPs
      <D    0.5                                          ······<>······ 400 SNPs
      en                                                 -ifi-500SNPs
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            0.2
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                                  2500 3000 3500 4000 4500                         5000
                                     DOR per SNP
                                  With Haplotypes
                                     FIG. 23A

                   False negative rate without haplotypes & p=2%

                                                         --o--100 SNPs
                                                         ~2oOSNPs
                                                         ~o-- 300 SNPs
                                                         ······<>····-400 SNPs
                                                         -,IE-500SNPs




            10

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                          2000    2500 3000 3500 4000 4500                         5000
                                     DOR per SNP
                                 Without Haplotypes
                                     FIG. 23B



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                                     Appx380
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                              False negative rate with haplotypes & p=2.5%
                   0.06 \
                                                                         -----o- 100 SNPs

                   0.05                                                  ---v-- 200 SNPs
                                                                         -o-300SNPs


                            \
                                                                         ---◊- 400 SNPs
     Cl)
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                      1000    1500    2000      2500     3000   3500     4000             4500      5000
                                                   DOR per SNP
                                                With Haplotypes
                                                   FIG. 24A

                             False negative rate without haplotypes & p=2.5%
                    25
                                                                         •···••o••-···   100 SNPs
                                                                         -----'7--       200 SNPs
                    20                                                   -o-300SNPs
                                                                         --o--- 400 SNPs
             Cl)
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                      0
                      1000    1500    2000      2500     3000   3500     4000             4500      5000
                                                 DOR per SNP
                                             Without Haplotypes
                                                   FIG. 24B


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                                 False negative rate with haplotypes & p=3%
                1                        '     I
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            0.8 -                                                        ---o---100 SNPs -
                                                                         ---,;;---200 SNPs
            0.6                                                          - o - - 300 SNPs -
                                                                         ···•--o-•-···· 400 SNPs
     (1)    0.4                                                          ~soosNPs -
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              -0.6                                                                               -
              -0.8                                                                               -
               -1
                 1000 1500 2000               2500 3000 3500 4000 4500                          5000
                                                 DOR per SNP
                                              With Haplotypes
                                                   FIG. 25A

                             False negative rate without haplotypes & p=3%
               12


                     \
                                                                               0     100 SNPs
               10                                                              'v    200 SNPs
                                                                               0     300 SNPs
                         \                                                     (';   400 SNPs

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                1000 1500 2000 2500 3000 3500 4000 4500 5000
                                        DOR per SNP
                                   Without Haplotypes
                                                   FIG. 25B



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                                                                                        n                   H S=1000,D=1000    II S=500,O=1000    II S=1000,D=500    11 S=500,D=500     II       ~
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                                                                                             With Phase            1.50%               8.80%              10.20%              22.30%             ~

                                                                                            Without Phase          10.60%              10.80%             17,90%              20,80%             =~
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                                                                                                                                       FIG. 26                                                    c
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                                                                                        p =1%,WithPhase                0.00%               0.10%              3.00%              9.70%
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                                                                                      p =1 %,WithoutPhase              74.20%             73.70%             74.60%              76.00%          ('D
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                                                                                      p =2%,WithoutPhase               13.90%             14.80%             41.00%              42.70%          0
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                                                                                        P =3%,WithPhase                0.00%               0.00%              0.00%              0.00%           0
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                                                                                      p =3%,WithoutPhase               0.00%               0.00%              5.70%              5.00%
                                                                                        p =4%,WithPhase                0.00%               0.00%              0.00%              0.00%
                                                                                      p =4%,WithoutPhase               0.00%               0.00%              0.00%              0.00%
                                                                                        p =5%,WithPhase                0.00%               0.00%              0.00%              0.00%           d
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                      Alogorithm results for large tumor fraction
                   x 10 82         Odds Ratio Plot
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                                             ~ Maximum likelihood
                 3                                 estimate of tumor
                                                   fraction
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                                       Tumor Fraction
                                         FIG. 31A

                      Alogorithm results for smalle tumor fraction
                                        Odds Ratio Plot
                50
                45     ~ Maximum likelihood
                40          estimate of tumor
                            fraction
                35
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                                       Tumor Fraction
                                         FIG. 31 B



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                                                       Odds Ratio Plot
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             -100
                             ◊ High Tumor Fraction
             -150            • Low Tumor Fraction

             ~200----~-------~--~
              0 0.01 0.02 0.03 0.04 0.05 0.06 0.07 0.08 0.09 0.1
                               Tumor Fraction
                                                        FIG. 32A



             2000


             1500


             1000


             500


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                  0.004 0.006 0.008 0.01 0.012 0.014 0.016 0.018 0.02 0.022
                                                        FIG. 328



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                                          Odds Ratio Plot

           0.5      ◊◊◊◊◊◊o◊
                                          ◊◊◊
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    '"O
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    0
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           m2,5

            ~3
                  0.004   0.006     0.008       0.01        0.012        0.014           0.016

                                          Tumor Fraction

                                            FIG. 33




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                                                                                                                   FIG. 34                                     UI
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          Case 1:23-cv-00629-CCE-JLW Document 1-1 Filed 07/28/23 Page 82 of 223
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                                                               gDNA                         Single Cell
                                     Count                       75                            510
                                     Mean                      0.15 %                        0.51 %
                                     Median                    0.09 %                        0.33 %
                                      Max                      1.03%                           10%
             Standard Deviation                                0.16%                         0.79 %
                95 th percentile                               0.43 %                         1.22 %
                90th percentile                                0.37 %                        0.92 %

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                                    Turner DNA input (%)
                                               FIG. 41C


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                                     FIG. 42A




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                                     FIG. 42B




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                                               SNVs Only                                 Combined SNVs & CNVs
                                                                                                                   Expected Diagnostic
         Cancer        Total# of                                         Detected w/ low
          Type         Positives         Detected              %         Depth of Read                   %        Load Based on TCGA
                                                                                                                  and COMSIC Datasets

         Breast            41                 29              71%                  34                  83%                      >97%

         Lung              24                 17              71%                  22                  92%                      >98%


                                                                    FIG. 46A

                                  Cumulative Patient Coverage (TCGA)


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                                                                   FIG. 46B




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                        Cumulative Patient Coverage (TCGA)
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                                           FIG. 46C
                        Cumulative Patient Coverage (TCGA)
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                                       Breast Amplifications
                                           FIG. 46D



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                                         Breast Tumor Stage
                                                  FIG. 47A



                                          Positive
                        Stage                                Detected, N     % Detected
                                         Samples, N

                             I               10                   6                60%

                            I!               25                  22                88%

                            Ill              6                    6                100%

                                    LOQ for SNVs= 0.2% ctDNA
                                    LOQ for CNVs= 0.45% ctDNA

                                                 FIG. 47B




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                                              Breast Tumor Stage
                                                           FIG. 48A

                                       Positive
                Stage                                                 Detected, N              % Detected
                                      Samples, N
                  I                            10                             6                    60%

                  II                           5                              5                    100%

                 IIA                           10                             9                    90%

                 11B                           10                             8                    80%

                 111                           3                              3                    100%

                 IIIA                          2                              2                    100%

                 111B                          1                              1                    100%

                                   LOQ for SNVs= 0.2% ctDNA
                                   LOQ for CNVs= 0.45% ctDNA
                                                           FIG. 48B



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                                           Lung Tumor Stage
                                                    FIG. 49A



                                           Positive
                            Stage                             Detected, N     % Detected
                                          Samples, N

                              I                17                  15                88%

                              II               5                   5                 100%

                             Ill               2                   2                 100%


                                     LOQ for SNVs= 0.2% ctDNA
                                     LOQ for CNVs= 0.45% ctDNA

                                                    FIG. 498




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                                             Lung Tumor Stage
                                                     FIG. 50A


                                             Positive
                         Stage                                  Detected, N     % Detected
                                            Samples, N

                             IA                 6                    6                 100%

                             18                 11                   9                 82%

                             11B                5                    5                 100%

                             IIIA               2                    2                 100%

                                         LOQ for SNVs= 0.2% ctDNA
                                         LOQ for CNVs= 0.45% ctDNA

                                                     FIG. 50B




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                                                           Smoker
       Histology   Stage       Age      Dia (mm)     (Pack Years)

L12      SSC          IB        69          40             Yes(?)
                                                                        G9
L13      SSC          IA        68          30         Yes {100)
                                                                        ~
L15      SSC          IB        68          50             Yes (50)
                                                                        ~
L17     Adeno         IIB       61          20             Yes (48)     @9
                                      FIG. 51A




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Samole      Gene        Chr       ChrStart         VAF R1         VAF R2       VAF R3
 L12        BRIPl      chr17
 L12        CARS       chr11
 L12        CIC        chr19            42797381             0             0 ...... / >\<   7
 L12        CYFIPl     chr15            22940733             0 >> / /      6                0
 L12        FATl       chr4
 L12        KDM6A      chrX
 L12        MLLT4      chr6
 L12        NFE2L2     chr2
 L12        RASA1      chr5
 L12        TP53       chr17
 L12        TP53       chr17

 L13        EGFR        chr7
 L13        EGFR        chr7
 L13        HERC4       chr10
 L13        JAK2        chr9
 L13        KMT2C       chr7           151947008             0             0 .• .   >       4
 L13        MSH2        chr2
 L13        MTOR        chr1
 L13        PLCG2       chr16
 L13        TP53        chr17

LlS         ALK     chr2
L15         GABRGl chr4                 46060315 } )    )    13            0
L15         KDM6A chrX
LlS         MLL2    chr12               49443815 \      . > 5              0
L15         ROSl    chr6
L15         SLC39A4 chr8               145638322 /> >..... /14             0
L15         TP53    chr17
L15         ZFHX4   chr8
L15         ZMYM4 chrl


 L17        BRCA2      chr13
 L17        KRAS       chr12
 L17        NF1        chr17
 L17        NF1        chr17            29528088             0             01 / / \ 20
 L17        PAX8       chr2
 L17        TP53       chr17             7577610             0             0 />         \ 16
 L17        TP53       chr17
 L17        TRIM67     chr1            231299607             OI> / >so                      0
 L17        TR!Pll     chr14

                                       FIG. 51B



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 Sample     Gene        Chrom          ChromStart                 Swanton
                                                    VAF R1        VAF R2      VAF R3
 L12        BRIP1   chr17
 L12        CARS    chr11
 L12        CIC     chr19
 L12        CYF!Pl  chr15
 L12        FAT1    chr4
 L12        KDM6A   chrX
 L12        MLLT4   chr6
 L12        NFE2L2  chr2
 L12        RASA1   chrS
 L12        TP53    chr17
 L12        TP53    chr17
 L13        EGFR    chr7
 L13        EGFR    chr7
 L13        HERC4   chr10
 L13        JAK2    chr9
 L13        KMT2C   chr7                151947008             0           0)> \<   ? 4
 L13        MSH2    chr2
 L13        MTOR    chrl
 L13        PLCG2   chr16
 L13        TP53    chr17
 L15        ALK     chr2
 L15        GABRG1 chr4
 L15        KDM6A chrX
 us         MLL2    chr12
 L15        ROS1    chr6
 L15        SLC39A4 chr8                145638322 /\< <\14                0
 L15        TP53    chr17
 LlS        ZFHX4   chr8
 L15        ZMYM4 chrl
 L17        BRCA2   chr13
 L17        KRAS    chr12
 L17        NF1     chr17
 L17        NF1     chr17                29528088             o           o > , <2d
 L17        PAX8    chr2                113984793 >       \ 9             0            0
 L17        TP53    chr17
 L17        TP53    chr17
 L17        TR!M67 chrl
 L17        TR!Pll  chr14
~ =Ampliseq
                                       FIG. 53A



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 Sample Gene       Chrom ChromStart                                          Natera
                                                     \/AF R1            VAF R2 VAF R3
                                                                   VAF Plasma
 l12      BRIP1   chr17                           (7.74•
                              59924572 (.2i6••. . . . . . . >10.07 ><  (3.71
 l12      CARS    chr11       3062181 )22.3Q <10At r1s.2J. .... . . {5.02
 l12      CIC     chr19      42797381                 0                       0 <{8.ii ::..... >. . ::•••
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 L12      CYFIP1 chr15       22940733                 0.            ·•··~~    0             0                               0
 L12      FATl    chr4      187519147              <<
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                                                                                                •· ·•·-·•· ·• 0.57
 l12      KDM6A chrX         44921898 •<.6,3t .///_j,54.                                    0 ><>/:\< 0.28
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 l12      MLLT4 chr6        168347475 . . (>9.04 ><4.26   . . . . . ----.
                                                                                   ~0.73 /:::- >/<0,95                 ..••.••.
 L12      NFE2L2 chr2       178098801 )73:12 •<?39.92• \s3:94 < /«23.25
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 L12      RASAl chr5         86642517 ·.· < 7.37                              0 ~~0.35                                      0
 l12      TP53    chr17       7578406 {22.93                         <>9.ii {16.97 /•>> (4.89
 L12      TP53    chr17       7578190 )21As•• >>/8:61• ii,OQ                                            ($'7i
 L13      EGFR    chr7       55241708 < <27,06 .......... /23.14 <6()~79 -: >< 1.16                            ..   . ..             . .

 l13      EGFR    chr7       55242511 ·:• 23,93. .-:?18.01    :-. : _.· ·- ..- ... :
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 l13      HERC4 chrl0        69793756 ~0.16' <)J,92••·· \S.72,                                                              0
 L13      JAK2    chr9        5022084 so.21~                                <
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 L13      KMT2C chr7        151947008                 0                       0         6.69                                0
 l13      MSH2    chr2       47693816 ><s:o4 >~~3.33                                :
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 L13      MTOR    chrl       11292495 <> I .L ~~1.38 <J~.()J,                                                               0
 L13      PLCG2 chr16        81942036 \ ~ ' .l ~s1.1 )6.89                                                                  0
 l13      TP53    chr17       7579509                >
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 l15      ALK     chr2       29940530 /J.i< >1.39                                                                           0
 l15      GABRG1 chr4        46060315 /11.84: ~~2.04                                                                        0
 l15      KDM6A chrX         44922755 /)6.54·• ?> 0.9:l                                          > > . ?a.ii
 LlS      MLL2    chr12      49443815 >\ 12.41                                0
 llS      ROS1    chr6      117687379  ·••>10.s2·••      :··r>·.·······.
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 L15      SLC39A4 chr8      145638322 1s~s9:•      >                          0                                             0
 l15      TP53    chr17       7578254 <ii6 } {{2 s.                                                                         0
 l15      ZFHX4 chr8         77776735 . . . :.:10.26 (?,3                                                                   0
 l15      ZMYM4 chrl         35827319              <
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 L17      BRCA2 chr13        32914959 : }$,b3 ·•···             (<          27                                              0
 L17      KRAS    chr12      25398284 <>i4:22•• / /23.79<                                                                   0
 L17      NFl     chr17      29653134                 >
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 L17      NFl     chr17      29528088                 0                       0 {17.79                  >}0:37
 L17      PAX8    chr2      113984793 :r<r·-6.6·•                             0                                             0
 l17      TP53    chr17       7577610                 0                       0 /18.97                                      0
 l17      TP53    chr17       7577079 }JS.36 }33)                                                                           0
 l17      TRIM67 chrl       231299607 \: 18.~8: •>•••30.95                                      <:- • }. 0.57
 l17      RIP11   chr14      92471631              <
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f§§>§§j = mmPCR-NGS                    FIG. 53B



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                              % VAF in Primary Tumor


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          Natera                                                                 A




     Arnpliseq                                                                       ••

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                                              FIG. 54A


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                                              FIG. 54B




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                                       Appx417
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                                        Appx418
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                                        Appx419
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                                        Appx420
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              Massively multiplexed PCR {mmPCR) targeting SNPs

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                                                          1111111111 HIii 11 Hi I 111111

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                                                                        111 HW !PU 11111111111111


                             -¾mmm-+                                      -¾mmm-+
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                                 Next-generation sequencing



                                          Detection of CNVs



                                              FIG. 63A



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                       (I)
                                         '
                                         L
              0       -(I)
                                             '
              (J
                      <
                              0                                      · · · BB
                                  Chromosome position
                                                  FIG. 63B


                       Matched normal cell line
                                    1p           1q     2p     2q 22q 11 .2

                              1                                            AA

                       >-
                       0
              (l)      C
                       (I)
              C)       :::,
              ~        O'"
              w        (I)

              >
              z        <l)

              0        (I)
              (J


                              0                        ··           ... ··•· BB
                                  Chromosome position
                                                  FIG. 63C



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                                   Tumor cell line
                                  1p   1q     2p     2q 22q 11 .2




              N
              ~
                 I
              0..
              z
              u,
              ....,0
               ~
              0



                                 Chromosome position

                                        FIG. 63D

                          Matched normal cell line
                                  1p   1q     2p     2q 22q11.2

                                                               AA

                          >.
                          0
              N           C
              ~           (I)
                 I        :::i
              0..         O"' •
              z           (I)
                          s...
              u,         '+-

              ....,0      (I)

               ~          (I)

              0

                                                               BB
                                 Chromosome position
                                        FIG. 63E



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                 0.9


                 0.8                                       ,0
         N
         ~
             I                                     o---
         CL
         z       0.7
                                                 .-d
         (/)                               61'
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         0       0.6             od

                 0.5 -----,-----,-----,-------,
                     0.5   0.6    0.7   0.8   0.9
                                       CoNVERGe


                                        FIG. 63F




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                                                   FF(BC1)
                                      1p      1q     2p      2q   22q11.2
           0
           ,._            ~1                                                AA
          .....,   (!)     C
           C               (!)
           0       C)      :::i
          u        ~       O"'
           (!)
                   w       (!)

           C       >
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                          LL
                   0       Cl)
           E
           ,._     0      -(l)
           ©
         (9               <(      0                                         BB
                                           Chromosome Position

                                                   FIG. 64A
                                               FFPE (BC4)
                                      1p      1q     2p      2q   22q11.2
           ,._
           0              ~1                                                AA
          +-'      (l)     C
           C:              ©
           0       (.9     ~
          0        ~       0-
           Cl)
                   w       ©
           C:      >
                   z
                           '-
                          LL
                   0       a)
           E
           ,._            -Cl)
           Cl)
                   u
         (9               <(      0                                         88
                                           Chromosome Position

                                                   FIG. 648
                                                   FF(BC1)
                                      1p      1q     2p      2q   22q11.2

           Cl)
                          ~1                                                AA
                   (l)     C
           ~
                           (l)
           (/')    (.9    :::i
           (/')
                   ~      O"'
          i=       w       (l)
           '-
           0
                   >
                   z
                           '-
                          LL
           E       0       a)
                          -©
           ::J
          I-
                   u
                          <(      0                                         BB
                                           Chromosome Position

                                                   FIG. 64C



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                                            Appx429
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                                                                                     FFPE (BC4)
                                                           1p                    1q             2p                   2q                    22q11.2
                              >,       1 ,------"-y
                                                 .
                              <.)
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          ::::)      ©
          U)        (9        ©
                              ::::)
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                             <(        0
                                                                Chromosome Position

                                                                                      FIG. 64D
                                                                                      FF(BC1)
                                                            1p                       1q                2p                       2q               22q11.2
                              G1.                                                                                                                                    AA
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                                                                Chromosome Position

                                                                                      FIG. 64E
                                                                                     FFPE (BC4)
                                                            1p                       1q                2p                        2q              22q11.2
                                                                                      A                  A                             A


                              >
                              <.)
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                                                                Chromosome Position

                                                                                      FIG. 64F



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                   0.5
                         0.5              0.6       0.7                                    0.8
                                             CoNVERGe
                                             FIG. 64G



                     1

                   0.9
          C
          ro       0,8
          (.)
         Cf)
          0
          (.)
          C
                   0.7
         0
                   0.6
                   0.5
                         0.5       0.6        0.7  0.8                        0.9
                                             CoNVERGe

                                             FIG. 64H




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                                                                                     Cell 1
                                     1p                           1q                        2p                             2q                      22q11.2
                         ~..,......,-·......--,.,,_.,-~..........__-------                                                                   .....,,.....--......._
                     1 .                  ·..                                                                                                                                           AA
                         ...................................................................................................................., CN-10
                         f·····················•··················•• ❖ ••···············•························•······················I CN-6
                         lw w            :WW    :,w• w w: t:·t{{:::>:•:·w:;•t:''.•"~t::t·•r•,;;t·,.·.w.·.•····w w 1CN-4
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                         l>•••w•.·•••w••••••·•,.•••·••••••w·•• .........., .........                                                           CN•3
                                                                                                                                                ;i•.···••w••••·•••••wwl




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                                                Chromosome Position

                                                                              FIG. 65A


                                                                                     Cell 2
                                     1p                           1q                        2p                             2q                      22q11.2
                     1    :•:•   ..::-~ .• .,                                                                                                                                           AA
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                                                Chromosome Position

                                                                              FIG. 658




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                                                                                        Appx432
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                                                                                    Cell 3
                                       1p                          1q                       2p                          2q                   22q112
                        1 = ~ ~ - ~ ~ ~ = ~ ~ - , " " " " 1 ·.AA
                                                                                                                                                                      CN~ 10
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               C:                                                                                                                                                     CN~4
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                                              Chromosome Position

                                                                          FIG. 65C


                                                                                       Bulk
                                       1p                          1q                       2p                       2q                      22q11.2
                        1
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               >,
               0
                                                                                                                                                                             CN-6
               C:                                                                                                                                                            CN-4
               <D                                                                                                                                                            CN-3
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                        o.                                                                                                                                                   BB
                                              Chromosome Position

                                                                          FIG. 65D




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                                                                                      Appx433
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                                            Appx434
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                         1p                            1q                    2p                2q                          22q11.2
                                                                                                                   ...........
                                                                                                                      .................
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       OV1                                                                                                         . ., ....... .
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       OV2     ............................ ..............................

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                                                                                        .,   ••••       0   •••




       OV3

       OV4

       OV5

                                                            CNV in tissue and
                                                            matched plasma

                                                            CNV in tumor tissue only

                                                            No CNV detected


                                                         FIG. 66C




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 Chr No.:Position_Mutation     Chr No.:Position_Mutation      Chr No.:Position_Mutation

 9: 163985-163985_T>C          9:5050714-5050714_T>C          17:7577587-7577587_A>T
 1:17275337-17275337_C>T       9:21971111-21971111_C> T       17:7577590-7577590_A>T
 1:23689289-23689289_T>G       9:32632175-32632175_C>T        17:7577592-7577592_C>A
 1:26774085-26774085_G>A       9: 108097968-108097968_G>A     17:7577598-7577598_A>G
 1:36226206-36226206_A>G       9:130931780-130931780_C>T      17:7577599-7577599_G>C
 1:43032078-43032078_C>T       9:141071078-141071078_A>G      17:7577604-7577604_8>T
 1:43912067-43912067_G>A       10:37486216-37486216_C>G       17:7578177-7578177_G>C
 1:64515405-64515405_C>T       10:46254776-46254776_A>C       17:7578183-7578183_8>T
 1:99771528-99771528_G>A       10:47207813-4 7207813_A>G      17:7578188-7578188_8>T
 1:110173662-110173662_G>A 10:50678650-50678650_A>T           17:7578190-7578190_A>G
 1:115256528-115256528_A>C 10:51853633-51853633_C>T           17:7578191-7578191_T>C

 1:115256529-115256529_A>G 10:72358324-72358324_C>T           17:7578196-7578196_T>A
 1:120458147-12045814 7_C>T 10:81058322-81058322_C>G          17:7578202-7578202_T>A
 1:145323656-145323656_A> T 10:89624275-89624275_C>T          17:7578203-7578203_G>T

 1:148343792-148343792_G>T 10:89624305-89624305_T>G           17:7578204-7578204_T>G
 1:151149263-151149263_A>G 10:89692790-89692790_G>A           17:7578206-7578206_A>G
 1:152186837-152186837_G>A 10:89692794-89692794_A>T           17:7578207-7578207_T>C

 1:152189016-152189016_C>T 10:89692835-89692835_G>A           17:7578208-7578208_A>G
 1:152328936-152328936_C>G 10:89692839-89692839_T>G           17:7578212-7578212_C>T
 1:157805906-157805906_G>A 10:89692883-89692883_C>G           17:7578215-7578215_T>A

 1:158609792-158609792_A>T 10:89692893-89692893_C>A           17:7578216-7578216_T>C
 1:186276240-186276240_T>C     10:89692900-89692900_G>C       17:7578224-7578224_A>T
 1: 198675866-198675866_A>C 10:89692905-89692905_G>A          17:7578225-7578225_C>A
 1:202699028-202699028_A>G 10:89692923-89692923_G>A           17:7578235-7578235_A>G
 1:225306960-225306960_T>G 10:89692980-89692980_A>G           17:7578236-7578236_T>G

 1:227288919-227288919_C>T 10:89692998-89692998_G> T          17:7578239-7578239_G>T

                                        FIG. 67A



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation      Chr No.:Position_Mutation

 1:228560700-228560700_T>C     10: 123258034-123258034_T>A 17:7578244-7578244_G>C
 1:235884036-235884036_A>G 10: 127548395-127548395_C>G 17:7578245-7578245_C>A

 1:247614573-247614573_C>T 11 :534288-534288_G>A              17:7578253-7578253_G>T

 1:248402566-248402566_T>A 11:1093430-1093430_C>A             17:7578254-7578254_G>A
 2:32820108-32820108_A>C       11 :1643049-1643049_T>G        17:7578257-7578257_G> T
 2:61719472-61719472_G>A       11 :1651157-1651157_A>G        17:7578259-7578259_T>G
 2: 107049425-107049425_T>G 11 :48171648-48171648_A>T         17:7578260-7578260_G>T
 2: 107460402-107460402_G>A 11 :49854989-49854989_G>A         17:7578262-7578262_G>C
 2:118715997-118715997_C>G 11 :55541605-55541605_G>A          17:7578263-7578263_C>T

 2:119752091-119752091_G>A 11 :55861593-55861593_G>A          17:7578265-7578265_T>C
 2:129075877-129075877_C>A 11 :60666746-60666746_A>C          17:7578266-7578266_A>T
 2: 165986535-165986535_A>G 11 :64544046-64544046_A>G         17:7578268-7578268_T>C
 2: 178098803-178098803_G>A 11 :66335548-66335548_T>C         17:7578269-7578269_C>T
 2:179434772-179434772_C>T 11:71932638-71932638_C>T           17:7578271-7578271_A>G

 2: 179635206-179635206_C>G 11 :94204875-94204875_T>G         17:7578272-7578272_C>T
 2:197641324-197641324_C>G 11:103182692-103182692_G>A 17:7578275-7578275_C>T
 2: 198266834-198266834_A>G 11:108117798-108117798_C>T 17:7578280-7578280_C>T
 2: 198363501-198363501 _G>A 11: 108175462-108175462_G>A 17:7578281-7578281_C>T
 2:209113113-209113113_C>T 11: 108200961-108200961 _G>A 17:7578284-7578284_G>T
 2:238672328-238672328_C>T 12:4627253-4627253_G>A             17:7578371-7578371 _G>A

 3:1269641-1269641 A>G         12:9453702-9453702 C>T         17:7578374-7578374 G>C
 3: 19924193-19924193_G>A      12:9574020-9574020_A>G         17:7578375-7578375_C>G
 3:25832827-25832827_T>A       12:9583286-9583286_T>C         17:7578380-7578380_G>A
 3:38104250-38104250_C>G       12:12630318-12630318_C>T       17:7578382-7578382_C>T

 3:41266100-41266100_T>A       12:21953991-21953991_G>A       17:7578388-7578388_G>C
 3:41266101-41266101_C>G       12:22677465-22677465_G>A       17:7578389-7578389_C>T

                                       FIG. 67B



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation      Chr No.:Position_Mutation

 3:41266104-41266104_G> T      12:25380275-25380275_A>T       17:7578392-7578392_G>C
 3:41266113-41266113_C>A       12:25380276-25380276_A>T       17:7578393-7578393_T>A
 3:41266124-41266124_A>G       12:25380277-25380277_C>A       17:7578394-7578394_A>G
 3:44612650-44612650_G>T       12:25398281-25398281_G>A       17:7578395-7578395_C>A
 3:58191274-58191274_G>C       12:25398282-25398282_G>T       17:7578400-7578400_C>G
 3: 108788596-108788596_C> T 12:25398284-25398284_G>A         17:7578402-7578402_C>A

 3:138022433-138022433_C>T 12:25398285-25398285_G>C           17:7578403-7578403_G>A
 3: 149245633-149245633_T>G 12:30888067-30888067_G>A          17:7578404-7578404_T>A
 3: 172533490-172533490_A>C 12:31231425-31231425_T>G          17:7578406-7578406_G>A
 3: 178916854-178916854_G>A 12:31242869-31242869_G>A          17:7578407-7578407_C>A
 3:178916876-178916876_G>A 12:50745677-50745677_A> T          17:7578409-7578409_G>A
 3:178916936-178916936_G>A 12:50746243-50746243_A>C           17:7578410-7578410_A>T

 3:178916941-178916941_G>A 12 :52385715-52385715_C>T          17:7578413-7578413_G>T
 3:178916944-178916944_A>G 12:56482341-56482341_G> T          17:7578415-7578415_T>A
 3:178916946-178916946_G>C 12:91502039-91502039_G>A           17:7578416-7578416_G>A

 3:178917478-178917478_G>A 12: 101745882-101745882_A>T 17:7578419-7578419_G>A
 3:178921548-178921548_G>A 13:28919595-28919595_G>A           17:7578420-7578420_G>A
 3:178921552-178921552_A>T 13:32968854-32968854_C> A          17:7578423-7578423_G>A

 3:178921553-178921553_T>A 13:36700097-36700097_C>T           17:7578428-7578428_C>T
 3: 178927974-178927974_G>A 13:48953760-48953760_C>T          17:7578431-7578431_C>T
 3: 178927980-178927980_T>C 13:49033955-49033955_A>T          17:7578433-7578433_C>G
 3:178928079-178928079_G>A 14:20215706-20215706_G> T          17:7578437-7578437_C> T
 3: 178936050-178936050_T>C 14:21873400-21873400_G>A          17:7578440-7578440_A>G
 3:178936074-178936074_C>G 14:44973867-44973867_C> T          17:7578442-7578442_A>C
 3:178936082-178936082_G>A 14:63784405-63784405_C>T           17:7578443-7578443_T>A
 3: 178936083-178936083_A> T 14: 102323093-102323093_T>C 17:7578448-7578448_C>A

                                       FIG. 67C



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation      Chr No.:Position_Mutation

 3:178936091 -178936091_G>A 14:105246551· 105246551_G>A 17:7578449-7578449_G>A
 3: 178936092-178936092_A>C 15:22743235-22743235_A>G          17: 7578452-7578452_A>G
 3: 178936093-178936093_G>C 15:33954810-33954810_G>A          17:7578454-7578454_C>T
 3: 178936094-178936094_C>A 15:66774131-66774131_G>A          17:7578455-7578455_G>C
 3:178936095-178936095_A>G 15:75047325-75047325_G>A           17:7578457-7578457_G>A
 3:178936097-178936097 _G>A 15:83014132-83014132_G>C          17:7578460-7578460_T>G

 3:178937019-178937019_A>G 15:84909434-84909434_G>A           17:7578461-7578461_G>T
 3: 178938860-178938860_A>C 15:102516424-102516424_G>T 17:7578463-7578463_G>C
 3:178938934-178938934_G>A 16: 1004605-1004605_T>C            17:7578464-7578464_C>G
 3: 178947827-17894 7827 _G> T 16:2049640-2049640_T>C         17:7578466-7578466_C>T
 3:178951957-178951957_G>A 16:3820773-3820773_C>T             17:7578467-7578467_A>C

 3:178951964-178951964_G>C 16:4432029-4432029_A>C             17:7578469-7578469_G>A
 3: 178952004-178952004_C> T 16:28507445-28507445_G>C         17:7578471-7578471_C>T
 3: 178952013-178952013_G> T 16:29110458-29110458_T>C         17:7578472-7578472_C>T
 3:178952018-178952018_A>K 16:56782199-56782199_G>A           17:7578475-7578475_C>T

 3:178952019-178952019_C>T 16:68772218-68772218_C>T           17:7578476-7578476_C>T
 3: 178952020-178952020_C>T 16:68844139-68844139_G>A          17:7578478-7578478_C>A
 3: 178952030-178952030_G>C 17:7573982-7573982_G>T            17:7578479-7578479_C>T
 3: 178952072-178952072_A>G 17:7574002-7574002_G>C            17:7578490-7578490_T>A

 3: 178952074-178952074_G>C 17:7574003-7574003_C>T            17:7578492-7578492_G>A
 3: 178952075-178952075_A> T 17:7574012-7574012_ G>T          17:7578493-7578493_G>A
 3: 178952077-178952077_T>A    17:7574017-7574017_G> T        17:7578496-7578496_T>A
 3:178952081-178952081_G>A 17:7574018-7574018_C>T             17:7578498-7578498_8>T
 3: 178952082-178952082_C>T 17:7576855-7576855_C>T            17:7578499-7578499_A>C
 3: 178952084-178952084_C>T 17:7576857-7576857_T>G            17:7578500-7578500_C>T

 3: 178952085-178952085_A>G 17:7576883-7576883_A>G            17:7578502-7578502_T>C

                                       FIG. 67D



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation      Chr No.:Position_Mutation

 3: 178952088-178952088_A>G 17:7576897-7576897_C>T            17:7578506-7578506_C>A
 3: 178952090-178952090_G>C 17:7577022-7577022_C>T            17:7578507-7578507_C>A
 3: 178952091-178952091 _G>C 17:7577036-7577036_C>A           17:7578508-7578508_G>A
 3: 178952100-1789521 OO_C>A 17:7577046-7577046_G> T          17:7578509-7578509_T>C
 3: 192516720-192516720_C>G 17:7577052-7577052_C>A            17:7578513-7578513_8>A

 3: 195452649-195452649_C> T 17:7577058-7577058_8>T           17:7578514-7578514_A>8
 3: 195505836-195505836_C>G 17:7577069-7577069_G>A            17:7578517-7578517_C>T
 3:195506597-195506597 _C> T 17:7577079-7577079_G>T           17:7578518-7578518_8>A
 3:195506940-195506940_C>8 17:7577081-7577081_A>C             17:7578524-7578524_C>T
 3:195511945-195511945_C>T 17:7577082-7577082_8>C             17:7578525-7578525_C>8

 4:11400898-11400898_G>A       17:7577085-7577085_G>A         17:7578526-7578526_8>A
 4: 15443812-15443812_C>A      17:7577088-7577088_A>C         17:7578527-7578527_T>8
 4:40356408-40356408_C>A       17:7577090-7577090_8>C         17:7578528-7578528_T>8
 4:46930361-46930361_A>C       17:7577091-7577091_C>T         17:7578529-7578529_T>G
 4:48597671-48597671_8>A       17:7577093-7577093_8>A         17:7578530-7578530_T>C
 4:55593613-55593613 _T>A      17:7577094-7577094_C>T         17:7578532-7578532_T>A
 4:55593661-55593661 _T>C      17:7577095-7577095_C>A         17:7578534-7578534_8> T

 4:55594212-55594212_T>C       17:7577096-7577096_A>G         17 :7578535-7578535_A>8
 4:55594221-55594221_A>G       17:7577097-7577097_G>A         17:7578536-7578536_A>8
 4:55599320-55599320_G>C       17:7577099-7577099_G>A         17:7578541-7578541_T>G
 4: 71469002-71469002_C>G      17:7577100-7577100_A>T         17:7578542-7578542_C>T
 4:83778206-83778206_C>T       17:7577102-7577102_G>A         17:7578548-7578548_C>T
 4:88537243-88537243_C>A       17:7577105-7577105_C>8         17:7578550-7578550_C>8
 4:88537249-88537249_T>C       17:7577106-7577106_C>A         17:7578551-7578551_T>A
 4:107845202-107845202_G>A 17:7577107-7577107_T>8             17:7578553-7578553_A>G
 4: 144336805-144336805_A>8 17:7577108-7577108_8>T            17:7578554-7578554_T>G

                                       FIG. 67E



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation   Chr No.:Position_Mutation
 4: 153245446-153245446_C>T 17:7577111-7577111_C>T         17:7579312-7579312_8>C
 4: 153247168-153247168_A>8 17:7577112-7577112_8>C         17:7579313-7579313_C>8

 4:153247288-153247288_8>H 17:7577113-7577113_T>8          17:7579329-7579329_A>G
 4:153247366-153247366_8>T 17:7577114-7577114_8>T          17:7579349-7579349_T>8
 4: 153249456-153249456_8> T 17:7577115-7577115_T>8        17:7579355-7579355_T>C
 4: 164507069-164507069_C> T 17:7577117-7577117_T>C        17:7579358-7579358_8>C
 4:170321765-170321765_C> T 17:7577118-7577118_8>T         17:7579366-7579366_C>8
 4:175896768-175896768_C> T 17:7577120-7577120_G>A         17:7579377-7579377_C>T
 5: 13762932-13762932_G>A      17:7577121-7577121_C>T      17:7579378-7579378_C>A

 5:26906161-26906161_G>A       17:7577123-7577123_T>C      17:7579414-7579414_8>A
 5:67591128-67591128_8>C       17:7577124-7577124_8>T      17:7579503-7579503_8>T
 5:112173917-112173917_C>T     17:7577127-7577127_G>T      17:7579521-7579521_8>A
 5:112175118-112175118_C> T 17:7577129-7577129_T>8         17:7579547-7579547_C>T
 5:112175219-112175219_A>T 17:7577130-7577130_T>C          17:7579882-7579882_G>C
 5:112175681-112175681_8>T 17:7577138-7577138_8>A          17: 11554600-11554600_8>T
 5:112175786-112175786_8>T     17:7577141-7577141_G>A      17:11998898-11998898_C>T

 5:112176020-112176020_8> T 17:7577142-7577142_8>T         17:12011144-12011144_C>T
 5:126791225-126791225_C>T     17:7577144-7577144_T>C      17:37868208-37868208_C>T
 5:129030517-129030517_C> T 17:7577148-7577148_C>G         17:37880220-37880220_T>C
 5:131931452-131931452_A> T 17:7577501-7577501_C>T         17:37880261-37880261_G>T
 5:135394826-135394826_8>A 17:7577505-7577505_A>T          17:37881000-37881000_8>C
 5: 140683389-140683389_C>T 17:7577506-7577506_8>T         17:37881332-37881332_G>A

 5: 170239186-170239186_A>G 17:7577508-7577508_A>8         17:39240627-39240627_T>C
 5: 180335598-180335598_T>8    17:7577509-7577509_8>A      17:39274087-39274087 _C>8
 6:10756728-10756728_C>T       17:7577511-7577511_T>A      17:39274157-39274157_C>T

 6:26032069-26032069_8>A       17:7577517-7577517_T>C      17:39305800-39305800_A> T

                                       FIG. 67F



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation   Chr No.:Position_Mutation

 6:28497279-28497279_G>A       17:7577518-7577518_A>T      17:39595484-39595484_C>T
 6:29910622-29910622_C> T      17:7577520-7577520_T>C      17:39673185-39673185_G>A

 6:93956553-93956553_C>G       17:7577521-7577521_A>G      17:41245274-41245274_G>C
 6:112452259-112452259_G>A 17:7577524-7577524_A>C          17:45219311-45219311_A>G

 6:130497111-130497111_C> T 17:7577526-7577526_T>C         17:48777241-48777241_T>A
 6: 150001395-150001395_C> T 17:7577529-7577529_T>A        17:58288421-58288421 _G>A
 6:170871013-170871013_A>G 17:7577532-7577532_C>A          17:61958402-61958402_C>T
 7:2577781-2577781 _A>G        17:7577533-7577533_C>G      18:29470816-29470816_G>A

 7:6426892-6426892_C>T         17:7577534-7577534_G>A      18:45368211-45368211_C>G
 7:27832791-27832791_A>G       17:7577535-7577535_G>C      18:48575671-48575671_C>G
 7:43591930-43591930_G>A       17:7577536-7577536_A>T      18:48604754-48604754_8>T
 7:55259482-55259482_C>A       17:7577538-7577538_G>A      19:1223125-1223125_C>G
 7:55259515-55259515_T>G       17:7577539-7577539_C>T      19:22836805-22836805_G>A
 7:77379331-77379331_T>G       17:7577541-7577541_A>T      19:40383905-40383905_C>T
 7: 100643088-100643088_A>G 17:7577543-7577543_G>A         19:49926533-49926533_C>G

 7: 100677279-100677279_G>C 17:7577544-7577544_T>G         19:51274851-51274851_A>C
 7: 138268672-138268672_C>T 17:7577545-7577545_A>G         19:56369444-56369444_G>A
 7:140453136-140453136_T>A     17:7577547-7577547_G>T      20:3209652-3209652_T>G
 7:140453137-140453137_G>A 17:7577548-7577548_G>A          20:6751034-6751034_A>G
 7:140481411-140481411_8>T 17:7577549-7577549_C>G          20:29623210-29623210_C>T
 7:140481412-140481412_G>C 17:7577550-7577550_G>T          20:29623224-29623224_C>A
 7:140481417-140481417 _G>T    17:7577551-7577551_G>C      20:29628236-29628236_G>C

 7:140500165-140500165_T>C     17:7577552-7577552_G>C      20:29628263-29628263_A>G
 7: 151970859-151970859_G>A 17:7577554-7577554_A>T         20:29632643-29632643_T>C
 7:151970951-151970951_G>A 17:7577555-7577555_C>A          20:31671497-31671497_C> T

 8:2796250-2796250_C> T        17:7577556-7577556_G>A      20:34242060-34242060_G>A

                                       FIG. 67G



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 Chr No.:Position_Mutation     Chr No.:Position_Mutation   Chr No.:Position_Mutation

 8:2855562-2855562_A>G         17:7577557-7577557_T>A      20:57484420-57484420_C> T
 8:3009020-3009020 _C>G        17:7577559-7577559_C>A      20:57484421-57484421 _G>A
 8:3205603-3205603_G>A         17:7577565-7577565_A>C      21:10951281-10951281_G>A
 8:3245034-3245034_G>T         17:7577566-7577566_A>G      21:32127654-32127654_G>A

 8:10467948-10467948_C> T      17:7577568-7577568_G>A      22: 16449539-16449539_T>C
 8: 77768353-77768353_C>T      17:7577569-7577569_T>A      22:22899234-22899234_T>C
 8:89086854-89086854_G>A       17:7577570-7577570_G>A      22:29092948-29092948_C>T

 8:101083610-10108361 O_T>C    17:7577571-7577571_T>A      22:30398972-30398972_G>C
 8:109796543-109796543_G>A 17:7577574-7577574_A>G          23:15821891-15821891_C>G
 8: 116426722-116426722_G> T 17:7577575-7577575_T>A        23:66765161-66765161_A>T

 8:121344960-121344960_G>A     17:7577577-7577577_A>G      23:78011285-78011285_G>A
 8:144940290-144940290_G>C     17:7577580-7577580_A>G      23:105153675-105153675_C>A
 8:144940331-144940331_G>A     17:7577581-7577581_T>A      17:7577586-7577586_T>G

                                       FIG. 67H




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                                                               major allele freq

0.9
0.8                                                                                                                                                     AV

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                                                                                     SOURCE                                                                                 d
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                                                                                                          COMMUNICATION                        MEMORY CONTROLLER         i--Y75
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                                                                                                                                  BUS         MEMORY                          Y40
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                                                                                                                                                 REMOVABLE                    REMOVABLE
                                                                                          Y90                                                     STORAGE                      STORAGE
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    DETECTING MUTATIONS AND PLOIDY IN                             be more important in neurocogmtlve diseases than other
         CHROMOSOMAL SEGMENTS                                     forms of inherited mutations, including single nucleotide
                                                                  substitutions.
           CROSS-REFERENCE TO RELATED                                Gene copy number can be altered in cancer cells. For
                      APPLICATIONS                                instance, duplication of Chrl p is common in breast cancer,
                                                                  and the EGFR copy number can be higher than normal in
   This application is a continuation of U.S. Utility applica-    non-small cell lung cancer. Cancer is one of the leading
tion Ser. No. 17/692,469, filed Mar. 11, 2022. U.S. Utility       causes of death; thus, early diagnosis and treatment of
application Ser. No. 17/692,469 is a continuation of U.S.         cancer is important, since it can improve the patient's
Utility application Ser. No. 15/898,145, filed Feb. 15, 2018 10 outcome (such as by increasing the probability of remission
(now U.S. Pat. No. 11,319,595). U.S. Utility application Ser.     and the duration of remission). Early diagnosis can also
                                                                  allow the patient to undergo fewer or less drastic treatment
No. 15/898,145 is a continuation of U.S. Utility application
                                                                  alternatives. Many of the current treatments that destroy
Ser. No. 14/692,703, filed Apr. 21, 2015 (now U.S. Pat. No.
                                                                  cancerous cells also affect normal cells, resulting in a variety
10,179,937), which claims the benefit of and priority to U.S.
                                                               15 of possible side-effects, such as nausea, vomiting, low blood
Provisional Application Ser. No. 61/982,245, filed Apr. 21,       cell counts, increased risk of infection, hair loss, and ulcers
2014; U.S. Provisional Application Ser. No. 61/987,407,           in mucous membranes. Thus, early detection of cancer is
filed May 1, 2014; U.S. Provisional Application Ser. No.          desirable since it can reduce the amount and/or number of
62/066,514, filed Oct. 21, 2014; U.S. Provisional Applica-        treatments (such as chemotherapeutic agents or radiation)
tion Ser. No. 62/146,188, filed Apr. 10, 2015; U.S. Provi- 20 needed to eliminate the cancer.
sional Application Ser. No. 62/147,377, filed Apr. 14, 2015;         Copy number variation has also been associated with
U.S. Provisional Application Ser. No. 62/148,173, filed Apr.      severe mental and physical handicaps, and idiopathic learn-
15, 2015, the entirety of these applications are hereby           ing disability. Non-invasive prenatal testing (NIPT) using
incorporated herein by reference for the teachings therein.       cell-free DNA (cfDNA) can be used to detect abnormalities,
                                                               25 such as fetal trisomies 13, 18, and 21, triploidy, and sex
               FIELD OF THE INVENTION                             chromosome aneuploidies. Subchromosomal microdele-
                                                                  tions, which can also result in severe mental and physical
   The present invention generally relates to methods and         handicaps, are more challenging to detect due to their
systems for detecting ploidy of a chromosome segment, and         smaller size. Eight of the microdeletion syndromes have an
methods and systems for detecting a single nucleotide 30 aggregate incidence of more than 1 in 1000, making them
variant.                                                          nearly as common as fetal autosomal trisomies.
                                                                     In addition, a higher copy number of CCL3Ll has been
          BACKGROUND OF THE INVENTION                             associated with lower susceptibility to HIV infection, and a
                                                                  low copy number of FCGR3B (the CD16 cell surface
   Copy number variation (CNV) has been identified as a 35 immunoglobulin receptor) can increase susceptibility to
major cause of structural variation in the genome, involving      systemic lupus erythematosus and similar inflammatory
both duplications and deletions of sequences that typically       autoimmune disorders.
range in length from 1,000 base pairs (1 kb) to 20 megabases         Thus, improved methods are needed to detect deletions
(mb). Deletions and duplications of chromosome segments           and duplications of chromosome segments or entire chro-
or entire chromosomes are associated with a variety of 40 mosomes. Preferably, these methods can be used to more
conditions, such as susceptibility or resistance to disease.      accurately diagnose disease or an increased risk of disease,
   CNVs are often assigned to one of two main categories,         such as cancer or CNVs in a gestating fetus.
based on the length of the affected sequence. The first
category includes copy number polymorphisms (CNPs),                             SUMMARY OF THE INVENTION
which are common in the general population, occurring with 45
an overall frequency of greater than 1%. CNPs are typically          In illustrative embodiments, provided herein is a method
small (most are less than 10 kilobases in length), and they       for determining ploidy of a chromosomal segment in a
are often enriched for genes that encode proteins important       sample of an individual. The method includes the following
in drug detoxification and immunity. A subset of these CNPs       steps:
is highly variable with respect to copy number. As a result, 50      a. receiving allele frequency data comprising the amount
different human chromosomes can have a wide range of                    of each allele present in the sample at each loci in a set
copy numbers (e.g., 2, 3, 4, 5, etc.) for a particular set of           of polymorphic loci on the chromosomal segment;
genes. CNPs associated with immune response genes have               b. generating phased allelic information for the set of
recently been associated with susceptibility to complex                 polymorphic loci by estimating the phase of the allele
genetic diseases, including psoriasis, Crohn's disease, and 55          frequency data;
glomerulonephritis.                                                  c. generating individual probabilities of allele frequencies
   The second class of CNVs includes relatively rare vari-              for the polymorphic loci for different ploidy states
ants that are much longer than CNPs, ranging in size from               using the allele frequency data;
hundreds of thousands of base pairs to over 1 million base           d. generating joint probabilities for the set of polymorphic
pairs in length. In some cases, these CNVs may have arisen 60           loci using the individual probabilities and the phased
during production of the sperm or egg that gave rise to a               allelic information; and
particular individual, or they may have been passed down             e. selecting, based on the joint probabilities, a best fit
for only a few generations within a family. These large and             model indicative of chromosomal ploidy, thereby deter-
rare structural variants have been observed disproportion-              mining ploidy of the chromosomal segment.
ately in subjects with mental retardation, developmental 65          In one illustrative embodiment of the method for deter-
delay, schizophrenia, and autism. Their appearance in such        mining ploidy, the data is generated using nucleic acid
subjects has led to speculation that large and rare CNV s may     sequence data, especially high throughput nucleic acid




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sequence data. In certain illustrative examples of the method       further comprises an error correction unit configured to
for determining ploidy, the allele frequency data is corrected      correct for errors in the allele frequency data, wherein the
for errors before it is used to generate individual probabili-      corrected allele frequency data is used by the modeler for to
ties. In specific illustrative embodiments, the errors that are     generate individual probabilities. In certain embodiments
corrected include allele amplification efficiency bias. In          the error correction unit corrects for allele amplification
other embodiments, the errors that are corrected include            efficiency bias. In certain embodiments, the modeler gener-
ambient contamination and genotype contamination. In                ates the individual probabilities using a set of models of both
some embodiments, errors that are corrected include allele          different ploidy states and allelic imbalance fractions for the
amplification bias, ambient contamination and genotype              set of polymorphic loci. The modeler, in certain exemplary
contamination.                                                   10
                                                                    embodiments generates the joint probabilities by consider-
   In certain embodiments of the method for determining
                                                                    ing the linkage between polymorphic loci on the chromo-
ploidy, the individual probabilities are generated using a set
                                                                    some segment.
of models of both different ploidy states and allelic imbal-
ance fractions for the set of polymorphic loci. In these               In one illustrative embodiment, provided herein is a
embodiments, and other embodiments, the joint probabili- 15 system for detecting chromosomal ploidy in a sample of an
ties are generated by considering the linkage between poly-         individual, that includes the following:
morphic loci on the chromosome segment.                                a. an input processor configured to receive nucleic acid
   Accordingly, in one illustrative embodiment that com-                  sequence data for alleles at a set of polymorphic loci on
bines some of these embodiments, provided herein is a                     a chromosome segment in the individual and detect
method for detecting chromosomal ploidy in a sample of an 20              allele frequencies at the set of loci using the nucleic
individual, that includes the following steps:                            acid sequence data;
   a. receiving nucleic acid sequence data for alleles at a set        b. an error correction unit configured to correct for errors
      of polymorphic loci on a chromosome segment in the                  in the detected allele frequencies and generate cor-
      individual;                                                         rected allele frequencies for the set of polymorphic
   b. detecting allele frequencies at the set of loci using the 25        loci;
      nucleic acid sequence data;                                      c. a modeler configured to:
   c. correcting for allele amplification efficiency bias in the          i. generate phased allelic information for the set of
      detected allele frequencies to generate corrected allele                polymorphic loci by estimating the phase of the
      frequencies for the set of polymorphic loci;                            nucleic acid sequence data;
   d. generating phased allelic information for the set of 30             ii. generate individual probabilities of allele frequen-
      polymorphic loci by estimating the phase of the nucleic
                                                                              cies for the polymorphic loci for different ploidy
      acid sequence data;
                                                                              states by comparing the phased allelic information to
   e. generating individual probabilities of allele frequencies
                                                                              a set of models of different ploidy states and allelic
      for the polymorphic loci for different ploidy states by
      comparing the corrected allele frequencies to a set of 35               imbalance fractions of the set of polymorphic loci;
      models of different ploidy states and allelic imbalance                 and
      fractions of the set of polymorphic loci;                           iii. generate joint probabilities for the set of polymor-
   f. generating joint probabilities for the set of polymorphic               phic loci by combining the individual probabilities
      loci by combining the individual probabilities consid-                  considering the relative distance between polymor-
      ering the linkage between polymorphic loci on the 40                    phic loci on the chromosome segment; and
      chromosome segment; and                                          d. a hypothesis manager configured to select, based on the
   g. selecting, based on the joint probabilities, the best fit           joint probabilities, a best fit model indicative of chro-
      model indicative of chromosomal aneuploidy.                         mosomal aneuploidy.
   In another aspect, provided herein is a system for detect-          In certain aspects, the present invention provides a
ing chromosomal ploidy in a sample of an individual, the 45 method for determining whether circulating tumor nucleic
system comprising:                                                  acids are present in a sample in an individual, comprising
   a. an input processor configured to receive allelic fre-            a. analyzing the sample to determine a ploidy at a set of
      quency data comprising the amount of each allele                    polymorphic loci on a chromosome segment in the
      present in the sample at each loci in a set of polymor-             individual; and
      phic loci on the chromosomal segment;                      50    b. determining the level of allelic imbalance present at the
   b. a modeler configured to:                                            polymorphic loci based on the ploidy determination,
      i. generate phased allelic information for the set of               wherein an allelic imbalance equal to or greater than
          polymorphic loci by estimating the phase of the                 0.4%, 0.45%, or 0.5% is indicative of the presence of
          allele frequency data; and                                      circulating tumor nucleic acids in the sample.
      ii. generate individual probabilities of allele frequen- 55      In certain embodiments the method for determining
          cies for the polymorphic loci for different ploidy        whether circulating tumor nucleic acids are present, further
          states using the allele frequency data; and               comprises detecting a single nucleotide variant at a single
      iii. generate joint probabilities for the set of polymor-     nucleotide variance site in a set of single nucleotide variance
          phic loci using the individual probabilities and the      locations, wherein detecting either an allelic imbalance
          phased allelic information; and                        60 equal to or greater than 45% or detecting the single nucleo-
   c. a hypothesis manager configured to select, based on the       tide variant, or both, is indicative of the presence of circu-
      joint probabilities, a best fit model indicative of chro-     lating tumor nucleic acids in the sample.
      mosomal ploidy, thereby determining ploidy of the                In certain embodiments analyzing step in the method for
      chromosomal segment.                                          determining whether circulating tumor nucleic acids are
   In certain embodiments of this system embodiment, the 65 present, includes analyzing a set of chromosome segments
allele frequency data is data generated by a nucleic acid           known to exhibit aneuploidy in cancer. In certain embodi-
sequencing system. In certain embodiments, the system               ments analyzing step in the method for determining whether




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circulating tumor nucleic acids are present, includes analyz-          In certain embodiments of this method for detecting one
ing between 1,000 and 50,000 or between 100 and 1000,               or more SNVs the sample is a plasma sample, the control
polymorphic loci for ploidy.                                        samples are plasma samples, and the detected one or more
   In certain aspects, provided herein are methods for detect-      single nucleotide variants detected is present in circulating
ing single nucleotide variants in a sample. Accordingly,            tumor DNA of the sample. In certain embodiments of this
provided herein is a method for determining whether a               method for detecting one or more SNVs the plurality of
single nucleotide variant is present at a set of genomic            control samples comprises at least 25 samples. In certain
positions in a sample from an individual, the method com-           embodiments of this method for detecting one or more
prising:                                                            SNVs, outliers are removed from the data generated in the
   a. for each genomic position, generating an estimate of 10 high throughput sequencing run to calculate the observed
      efficiency and a per cycle error rate for an amplicon         depth of read weighted mean and observed variance are
      spanning that genomic position, using a training data         determined. In certain embodiments of this method for
      set;                                                          detecting one or more SNVs the depth of read for each single
   b. receiving observed nucleotide identity information for        nucleotide variant position for the test sample is at least 100
      each genomic position in the sample;                       15 reads.
   c. determining a set of probabilities of single nucleotide          In certain embodiments of this method for detecting one
      variant percentage resulting from one or more real            or more SNVs the sequencing run comprises a multiplex
      mutations at each genomic position, by comparing the          amplification reaction performed under limited primer reac-
      observed nucleotide identity information at each              tion conditions. In certain embodiments of this method for
      genomic position to a model of different variant per- 20 detecting one or more SNVs the limit of detection is 0.015%,
      centages using the estimated amplification efficiency         0.017%, or 0.02%.
      and the per cycle error rate for each genomic position           In one aspect, the invention features a method of deter-
      independently; and                                            mining if there is an overrepresentation of the number of
   d. determining the most-likely real variant percentage and       copies of a first homologous chromosome segment as com-
      confidence from the set of probabilities for each 25 pared to a second homologous chromosome segment in the
      genomic position.                                             genome of one or more cells from an individual. In some
   In illustrative embodiments of the method for determining        embodiments, the method includes obtaining phased genetic
whether a single nucleotide variant is present, the estimate        data for the first homologous chromosome segment com-
of efficiency and the per cycle error rate is generated for a       prising, the identity of the allele present at that locus on the
set of amplicons that span the genomic position. For 30 first homologous chromosome segment for each locus in a
example, 2, 3, 4, 5, 10, 15, 20, 25, 50, 100 or more amplicons      set of polymorphic loci on the first homologous chromo-
can be included that span the genomic position. In certain          some segment, obtaining phased genetic data for the second
embodiments of this method for detecting one or more                homologous chromosome segment comprising the identity
SNVs the limit of detection is 0.015%, 0.017%, or 0.02%.            of the allele present at that locus on the second homologous
   In illustrative embodiments of the method for determining 35 chromosome segment for each locus in the set of polymor-
whether a single nucleotide variant is present, the observed        phic loci on the second homologous chromosome segment,
nucleotide identity information comprises an observed num-          and obtaining measured genetic allelic data comprising the
ber of total reads for each genomic position and an observed        amount of each allele present in a sample of DNA or RNA
number of variant allele reads for each genomic position.           from one or more cells from the individual, for each of the
   In illustrative embodiments of the method for determining 40 alleles at each of the loci in the set of polymorphic loci. In
whether a single nucleotide variant is present, the sample is       some embodiments, the method includes enumerating a set
a plasma sample and the single nucleotide variant is present        of one or more hypotheses specifying the degree of over-
in circulating tumor DNA of the sample.                             representation of the first homologous chromosome segment
   In another embodiment, provided herein is a method for           in the genome of one or more cells from the individual,
detecting one or more single nucleotide variants in a test 45 calculating (such as calculating on a computer) a likelihood
sample from an individual. The method according to this             of one or more of the hypotheses based on the obtained
embodiment, includes the following steps:                           genetic data of the sample and the obtained phased genetic
   a. determining a median variant allele frequency for a           data, and selecting the hypothesis with the greatest likeli-
      plurality of control samples from each of a plurality of      hood, thereby determining the degree of overrepresentation
      normal individuals, for each single nucleotide variant 50 of the number of copies of the first homologous chromo-
      position in a set of single nucleotide variance positions     some segment in the genome of one or more cells from the
      based on results generated in a sequencing run, to            individual. In some embodiments, the phased data includes
      identify selected single nucleotide variant positions         inferred phased data using population based haplotype fre-
      having variant median allele frequencies in normal            quencies and/or measured phased data (e.g., phased data
      samples below a threshold value and to determine 55 obtained by measuring a sample containing DNA or RNA
      background error for each of the single nucleotide            from the individual or a relative of the individual).
      variant positions after removing outlier samples for             In one aspect, the invention provides a method for deter-
      each of the single nucleotide variant positions;              mining if there is an overrepresentation of the number of
   b. determining an observed depth of read weighted mean           copies of a first homologous chromosome segment as com-
      and variance for the selected single nucleotide variant 60 pared to a second homologous chromosome segment in the
      positions for the test sample based on data generated in      genome of one or more cells from an individual. In some
      the sequencing run for the test sample; and                   embodiments, the method includes obtaining phased genetic
   c. identifying using a computer, one or more single              data for the first homologous chromosome segment com-
      nucleotide variant positions with a statistically signifi-    prising the identity of the allele present at that locus on the
      cant depth of read weighted mean compared to the 65 first homologous chromosome segment for each locus in a
      background error for that position, thereby detecting         set of polymorphic loci on the first homologous chromo-
      the one or more single nucleotide variants.                   some segment, obtaining phased genetic data for the second




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homologous chromosome segment comprising the identity              prising the identity of the allele present at that locus on the
of the allele present at that locus on the second homologous       first homologous chromosome segment for each locus in a
chromosome segment for each locus in the set of polymor-           set of polymorphic loci on the first homologous chromo-
phic loci on the second homologous chromosome segment,             some segment, obtaining phased genetic data for the second
and obtaining measured genetic allelic data comprising the         homologous chromosome segment comprising the identity
amount of each allele present in a sample of DNA or RNA            of the allele present at that locus on the second homologous
from one or more cells from the individual for each of the         chromosome segment for each locus in the set of polymor-
alleles at each of the loci in the set of polymorphic loci. In     phic loci on the second homologous chromosome segment,
some embodiments, the method includes enumerating a set            and obtaining measured genetic allelic data comprising the
of one or more hypotheses specifying the degree of over- 10 amount of each allele present in a sample of DNA or RNA
representation of the first homologous chromosome seg-             from one or more target cells and one or more non-target
ment; calculating, for each of the hypotheses, expected            cells from the individual for each of the alleles at each of the
genetic data for the plurality of loci in the sample from the      loci in the set of polymorphic loci. In some embodiments,
obtained phased genetic data; calculating (such as calculat-       the method includes enumerating a set of one or more
ing on a computer) the data fit between the obtained genetic 15 hypotheses specifying the degree of overrepresentation of
data of the sample and the expected genetic data for the           the first homologous chromosome segment; calculating
sample; ranking one or more of the hypotheses according to         (such as calculating on a computer), for each of the hypoth-
the data fit; and selecting the hypothesis that is ranked the      eses, expected genetic data for the plurality of loci in the
highest, thereby determining the degree of overrepresenta-         sample from the obtained phased genetic data for one or
tion of the number of copies of the first homologous chro- 20 more possible ratios of DNA or RNA from the one or more
mosome segment in the genome of one or more cells from             target cells to the total DNA or RNA in the sample; calcu-
the individual.                                                    lating (such as calculating on a computer) for each locus in
   In one aspect, the invention features a method for deter-       the plurality ofloci, each possible ratio of DNA or RNA, and
mining if there is an overrepresentation of the number of          each hypothesis, the likelihood that the hypothesis is correct
copies of a first homologous chromosome segment as com- 25 by comparing the obtained genetic data of the sample for
pared to a second homologous chromosome segment in the             that locus and the expected genetic data for that locus for
genome of one or more cells from an individual. In some            that possible ratio of DNA or RNA and for that hypothesis;
embodiments, the method includes obtaining phased genetic          determining the combined probability for each hypothesis
data for the first homologous chromosome segment com-              by combining the probabilities of that hypothesis for each
prising the identity of the allele present at that locus on the 30 locus and each possible ratio; and selecting the hypothesis
first homologous chromosome segment for each locus in a            with the greatest combined probability, thereby determining
set of polymorphic loci on the first homologous chromo-            the degree of overrepresentation of the number of copies of
some segment, obtaining phased genetic data for the second         the first homologous chromosome segment. In some
homologous chromosome segment comprising the identity              embodiments, all of the loci are considered at once to
of the allele present at that locus on the second homologous 35 calculate the probability of a particular hypothesis, and the
chromosome segment for each locus in the set of polymor-           hypothesis with the greatest probability is selected.
phic loci on the second homologous chromosome segment,                In one aspect, the invention features a method for deter-
and obtaining measured genetic allelic data comprising, for        mining a number of copies of a chromosome segment of
each of the alleles at each of the loci in the set of polymor-     interest in the genome of a fetus. In some embodiments, the
phic loci, the amount of each allele present in a sample of 40 method includes obtaining phased genetic data for at least
DNA or RNA from one or more target cells and one or more           one biological parent of the fetus, wherein the phased
non-target cells from the individual. In some embodiments,         genetic data comprises the identity of the allele present for
the method includes enumerating a set of one or more               each locus in a set of polymorphic loci on a first homologous
hypotheses specifying the degree of overrepresentation of          chromosome segment and a second homologous chromo-
the first homologous chromosome segment; calculating 45 some segment in a pair of homologous chromosome seg-
(such as calculating on a computer), for each of the hypoth-       ments that comprises the chromosome segment of interest.
eses, expected genetic data for the plurality of loci in the       In some embodiments, the method includes obtaining
sample from the obtained phased genetic data for one or            genetic data at the set of polymorphic loci on the chromo-
more possible ratios of DNA or RNA from the one or more            some segment of interest in a mixed sample of DNA or RNA
target cells to the total DNA or RNA in the sample; calcu- 50 comprising fetal DNA or RNA and maternal DNA or RNA
lating (such as calculating on a computer) for each possible       from the mother of the fetus by measuring the quantity of
ratio of DNA or RNA and for each hypothesis, the data fit          each allele at each locus. In some embodiments, the method
between the obtained genetic data of the sample and the            includes enumerating a set of one or more hypotheses
expected genetic data for the sample for that possible ratio       specifying the number of copies of the chromosome segment
of DNA or RNA and for that hypothesis; ranking one or 55 of interest present in the genome of the fetus. In some
more of the hypotheses according to the data fit; and              embodiments, the method includes enumerating a set of one
selecting the hypothesis that is ranked the highest, thereby       or more hypotheses specifying, for one or both parents, the
determining the degree of overrepresentation of the number         number of copies of the first homologous chromosome
of copies of the first homologous chromosome segment in            segment or portion thereof from the parent in the genome of
the genome of one or more cells from the individual.            60 the fetus, the number of copies of the second homologous
   In one aspect, the invention features a method for deter-       chromosome segment or portion thereof from the parent in
mining if there is an overrepresentation of the number of          the genome of the fetus, and the total number of copies of
copies of a first homologous chromosome segment as com-            the chromosome segment of interest present in the genome
pared to a second homologous chromosome segment in the             of the fetus. In some embodiments, the method includes
genome of one or more cells from an individual. In some 65 calculating (such as calculating on a computer), for each of
embodiments, the method includes obtaining phased genetic          the hypotheses, expected genetic data for the plurality ofloci
data for the first homologous chromosome segment com-              in the mixed sample from the obtained phased genetic data




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from the parent(s); calculating (such as calculating on a         amount of one or more of the alleles for that locus in the
computer) the data fit between the obtained genetic data of       maternal DNA or RNA in the mixed sample using the
the mixed sample and the expected genetic data for the            identity of the allele( s) present at that locus in the obtained
mixed sample; ranking one or more of the hypotheses               phased genetic data of the mother and the fraction of
according to the data fit; and selecting the hypothesis that is   maternal DNA or RNA in the mixed sample. In some
ranked the highest, thereby determining the number of             embodiments, the method includes calculating (such as
copies of the chromosome segment of interest in the genome        calculating on a computer), for each locus in the plurality of
of the fetus.                                                     loci for each hypothesis, the expected amount of one or more
   In one aspect, the invention features a method for deter-      of the alleles for that locus in the fetal DNA or RNA
mining a number of copies of a chromosome or chromosome 10 inherited from the mother in the mixed sample using the
segment of interest in the genome of a fetus. In some             identity of the allele present at that locus in the first or
embodiments, the method includes obtaining phased genetic         second homologous chromosome segment from the mother
data for at least one biological parent of the fetus, wherein     that is specified by the hypothesis to have been inherited by
the phased genetic data comprises the identity of the allele      the fetus, the number of copies of the first or second
present for each locus in a set of polymorphic loci on a first 15 homologous chromosome segment from the mother that is
homologous chromosome segment and a second homolo-                specified by the hypothesis to have been inherited by the
gous chromosome segment in the parent. In some embodi-            fetus, and the fraction of fetal DNA or RNA in the mixed
ments, the method includes obtaining genetic data at the set      sample.
of polymorphic loci on the chromosome or chromosome                  In some embodiments, the expected genetic data for each
segment in a mixed sample of DNA or RNA comprising fetal 20 of the hypotheses comprises the identity and an amount of
DNA or RNA and maternal DNA or RNA from the mother                one or more alleles at each locus in the plurality of loci from
of the fetus by measuring the quantity of each allele at each     the maternal DNA or RNA and fetal DNA or RNA in the
locus. In some embodiments, the method includes enumer-           mixed sample. In some embodiments, the method includes
ating a set of one or more hypotheses specifying the number       calculating expected genetic data by determining a fraction
of copies of the chromosome or chromosome segment of 25 of fetal DNA or RNA and a fraction of maternal DNA or
interest present in the genome of the fetus. In some embodi-      RNA in the mixed sample. In some embodiments, the
ments, the method includes creating (such as creating on a        method includes calculating (such as calculating on a com-
computer) for each of the hypotheses, a probability distri-       puter), for each locus in the plurality of loci, the expected
bution of the expected quantity of each allele at each of the     amount of one or more of the alleles for that locus in the
plurality of loci in mixed sample from the (i) the obtained 30 maternal DNA or RNA in the mixed sample using the
phased genetic data from the parent(s) and (ii) optionally the    identity of the allele( s) present at that locus in the obtained
probability of one or more crossovers that may have               phased genetic data of the mother and the fraction of
occurred during the formation of a gamete that contributed        maternal DNA or RNA in the mixed sample. In some
a copy of the chromosome or chromosome segment of                 embodiments, the method includes calculating (such as
interest to the fetus; calculating (such as calculating on a 35 calculating on a computer), for each locus in the plurality of
computer) a fit, for each of the hypotheses, between (1) the      loci for each hypothesis, the expected amount of one or more
obtained genetic data of the mixed sample and (2) the             of the alleles for that locus in the fetal DNA or RNA
probability distribution of the expected quantity of each         inherited from the mother in the mixed sample using the
allele at each of the plurality of loci in mixed sample for that  identity of the allele present at that locus in the first or
hypothesis; ranking one or more of the hypotheses according 40 second homologous chromosome segment from the mother
to the data fit; and selecting the hypothesis that is ranked the  that is specified by the hypothesis to have been inherited by
highest, thereby determining the number of copies of the          the fetus, the number of copies of the first or second
chromosome segment of interest in the genome of the fetus.        homologous chromosome segment from the mother that is
   In some embodiments, the method includes obtaining             specified by the hypothesis to have been inherited by the
phased genetic data for the mother of the fetus. In some 45 fetus, the identity of one or more possible alleles at that locus
embodiments, the method includes enumerating a set of one         in the first or second homologous chromosome segment
or more hypotheses specifying the number of copies of the         from the father that is specified by the hypothesis to have
first homologous chromosome segment or portion thereof            been inherited by the fetus, the number of copies of the first
from the mother in the genome of the fetus, the number of         or second homologous chromosome segment from the father
copies of the second homologous chromosome segment or 50 that is specified by the hypothesis to have been inherited by
portion thereof from the mother in the genome of the fetus,       the fetus, and the fraction of fetal DNA or RNA in the mixed
and the total number of copies of the chromosome segment          sample. In some embodiments, population frequencies are
of interest present in the genome of the fetus. In some           used to predict the identity of the alleles in the first or second
embodiments, the method includes calculating, for each of         homologous chromosome segment from the father. In some
the hypotheses, expected genetic data for the plurality ofloci 55 embodiments, the probability for each of the possible alleles
in the mixed sample from the obtained phased genetic data         at each locus in the first or second homologous chromosome
from the mother.                                                  segment from the father are considered to be the same.
   In some embodiments, the expected genetic data for each           In some embodiments, the method includes obtaining
of the hypotheses comprises the identity and an amount of         phased genetic data for both the mother and father of the
one or more alleles at each locus in the plurality ofloci from 60 fetus. In some embodiments, the method includes enumer-
the maternal DNA or RNA and fetal DNA or RNA in the               ating a set of one or more hypotheses specifying the number
mixed sample. In some embodiments, the method includes            of copies of the first homologous chromosome segment or
calculating (such as calculating on a computer) expected          portion thereof from the mother in the genome of the fetus,
genetic data by determining a fraction of fetal DNA or RNA        the number of copies of the second homologous chromo-
and a fraction of maternal DNA or RNA in the mixed 65 some segment or portion thereof from the mother in the
sample. In some embodiments, the method includes calcu-           genome of the fetus, the number of copies of the first
lating, for each locus in the plurality of loci, the expected     homologous chromosome segment or portion thereof from




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the father in the genome of the fetus, the number of copies            or decreasing the probability in the probability distribution
of the second homologous chromosome segment or portion                 of an a particular allele being present at a second locus in the
thereof from the father in the genome of the fetus, and the            mixed sample if that particular allele is present in the second
total number of copies of the chromosome segment of                    homologous segment in the parent and an allele at a nearby
interest present in the genome of the fetus. In some embodi-           locus in the second homologous segment in the parent is not
ments, the method includes calculating (such as calculating            observed in the obtained genetic data of the mixed sample.
on a computer), for each of the hypotheses, expected genetic              In some embodiments, the method includes obtaining
data for the plurality of loci in the mixed sample from the            phased genetic data for both the mother and father of the
obtained phased genetic data from the mother and obtained              fetus. In some embodiments, the method includes enumer-
phased genetic data from the father.
                                                                    lO ating a set of one or more hypotheses specifying the number
   In some embodiments, the expected genetic data for each
                                                                       of copies of the first homologous chromosome segment or
of the hypotheses comprises the identity and an amount of
                                                                       portion thereof from the mother in the genome of the fetus,
one or more alleles at each locus in the plurality ofloci from
the maternal DNA or RNA and fetal DNA or RNA in the                    the number of copies of the second homologous chromo-
mixed sample. In some embodiments, the method includes 15 some segment or portion thereof from the mother in the
calculating expected genetic data by determining a fraction            genome of the fetus, the number of copies of the first
of fetal DNA or RNA and a fraction of maternal DNA or                  homologous chromosome segment or portion thereof from
RNA in the mixed sample. In some embodiments, the                      the father in the genome of the fetus, the number of copies
method includes calculating (such as calculating on a com-             of the second homologous chromosome segment or portion
puter), for each locus in the plurality of loci, the expected 20 thereof from the father in the genome of the fetus, and the
amount of one or more of the alleles for that locus in the             total number of copies of the chromosome segment of
maternal DNA or RNA in the mixed sample using the                      interest present in the genome of the fetus. In some embodi-
identity of the allele(s) present at that locus in the obtained        ments, the method includes calculating (such as calculating
phased genetic data of the mother and the fraction of                  on a computer), for each of the hypotheses, a probability
maternal DNA or RNA in the mixed sample. In some 25 distribution of expected genetic data for the plurality of loci
embodiments, the method includes calculating (such as                  in the mixed sample from the obtained phased genetic data
calculating on a computer), for each locus in the plurality of         from the mother and father. In some embodiments, the
loci for each hypothesis, the expected amount of one or more           method includes increasing the probability in the probability
of the alleles for that locus in the fetal DNA or RNA in the           distribution of an a particular allele being present at a first
mixed sample using the identity of the allele present at that 30 locus in the mixed sample if that particular allele is present
locus in the first or second homologous chromosome seg-                in the first homologous segment in the mother or father and
ment from the mother that is specified by the hypothesis to            an allele at a nearby locus in the first homologous segment
have been inherited by the fetus, the number of copies of the          in that parent is observed in the obtained genetic data of the
first or second homologous chromosome segment from the                 mixed sample; or decreasing the probability in the probabil-
mother that is specified by the hypothesis to have been 35 ity distribution of an a particular allele being present at a first
inherited by the fetus, the identity of the allele present at that     locus in the mixed sample if that particular allele is present
locus in the first or second homologous chromosome seg-                in the first homologous segment in the mother or father and
ment from the father that is specified by the hypothesis to            an allele at a nearby locus in the first homologous segment
have been inherited by the fetus, the number of copies of the          in that parent is not observed in the obtained genetic data of
first or second homologous chromosome segment from the 40 the mixed sample. In some embodiments, the method
father that is specified by the hypothesis to have been                includes increasing the probability in the probability distri-
inherited by the fetus, and the fraction of fetal DNA or RNA           bution of an a particular allele being present at a second
in the mixed sample.                                                   locus in the mixed sample if that particular allele is present
   In some embodiments, the method includes calculating                in the second homologous segment in the mother or father
(such as calculating on a computer), for each of the hypoth- 45 and an allele at a nearby locus in the second homologous
eses, a probability distribution of expected genetic data for          segment in that parent is observed in the obtained genetic
the plurality of loci in the mixed sample from the obtained            data of the mixed sample; or decreasing the probability in
phased genetic data from the parent(s). In some embodi-                the probability distribution of an a particular allele being
ments, the method includes increasing the probability in the           present at a second locus in the mixed sample if that
probability distribution of an a particular allele being present 50 particular allele is present in the second homologous seg-
at a first locus in the mixed sample if that particular allele is      ment in the mother or father and an allele at a nearby locus
present in the first homologous segment in the parent and an           in the second homologous segment in that parent is not
allele at a nearby locus in the first homologous segment in            observed in the obtained genetic data of the mixed sample.
the parent is observed in the obtained genetic data of the                In some embodiments, the first locus and the locus that is
mixed sample; or decreasing the probability in the probabil- 55 nearby to the first locus co-segregate. In some embodiments,
ity distribution of an a particular allele being present at a first    the second locus and the locus that is nearby to the second
locus in the mixed sample if that particular allele is present         locus co-segregate. In some embodiments, no crossovers are
in the first homologous segment in the parent and an allele            expected to occur between the first locus and the locus that
at a nearby locus in the first homologous segment in the               is nearby to the first locus. In some embodiments, no
parent is not observed in the obtained genetic data of the 60 crossovers are expected to occur between the second locus
mixed sample. In some embodiments, the method includes                 and the locus that is nearby to the second locus. In some
increasing the probability in the probability distribution of          embodiments, the distance between the first locus and the
an a particular allele being present at a second locus in the          locus that is nearby to the first locus is less than 5 mb, 1 mb,
mixed sample if that particular allele is present in the second        100 kb, 10 kb, 1 kb, 0.1 kb, or 0.01 kb. In some embodi-
homologous segment in the parent and an allele at a nearby 65 ments, the distance between the second locus and the locus
locus in the second homologous segment in the parent is                that is nearby to the second locus is less than 5 mb, 1 mb,
observed in the obtained genetic data of the mixed sample;             100 kb, 10 kb, 1 kb, 0.1 kb, or 0.01 kb.




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   In some embodiments, one or more crossovers occurs               segment, and (iii) obtaining measured genetic allelic data
during the formation of a gamete that contributed a copy of         comprising the amount of each allele at each of the loci in
the chromosome segment of interest to the fetus; and the            the set of polymorphic loci in a mixed sample of DNA or
crossover produces a chromosome segment of interest in the          RNA from the mother of the fetus that includes fetal DNA
genome of the fetus that comprises a portion of the first           or RNA and maternal DNA or RNA (such as a mixed sample
homologous segment and a portion of the second homolo-              of cell-free DNA or RNA originating from a blood sample
gous segment from the parent. In some embodiments, the set          from the mother that includes fetal cell-free DNA or RNA
of hypothesis comprises one or more hypotheses specifying           and maternal cell-free DNA or RNA). In some embodi-
the number of copies of the chromosome segment of interest          ments, the method involves calculating allele ratios for one
in the genome of the fetus that comprises a portion of the 10 or more loci in the set of polymorphic loci that are het-
first homologous segment and a portion of the second                erozygous in the fetus and/or heterozygous in the mother. In
homologous segment from the parent.                                 some embodiments, the calculated allele ratio for a particu-
   In some embodiments, the expected genetic data of the            lar locus is the measured quantity of one of the alleles
mixed sample comprises the expected amount of one or                divided by the total measured quantity of all the alleles for
more of the alleles at each locus in the plurality ofloci in the 15 the locus. In some embodiments, the method involves deter-
mixed sample for each of the hypotheses.                            mining if there is an overrepresentation of the number of
   In one aspect, the invention features a method of deter-         copies of the first homologous chromosome segment by
mining if there is an overrepresentation of the number of           comparing one or more calculated allele ratios for a locus to
copies of a first homologous chromosome segment as com-             an expected allele ratio, such as a ratio that is expected for
pared to a second homologous chromosome segment in the 20 that locus if the first and second homologous chromosome
genome of an individual (such as in the genome of one or            segments are present in equal proportions.
more cells, cfDNA, cfRNA, an individual suspected of                   In some embodiments, a calculated allele ratio is indica-
having cancer, a fetus, or an embryo) using phased genetic          tive of an overrepresentation of the number of copies of the
data. In some embodiments, the method involves simulta-             first homologous chromosome segment if either (i) the allele
neously or sequentially in any order (i) obtaining phased 25 ratio for the measured quantity of the allele present at that
genetic data for the first homologous chromosome segment            locus on the first homologous chromosome divided by the
comprising the identity of the allele present at that locus on      total measured quantity of all the alleles for the locus is
the first homologous chromosome segment for each locus in           greater than the expected allele ratio for that locus, or (ii) the
a set of polymorphic loci on the first homologous chromo-           allele ratio for the measured quantity of the allele present at
some segment, (ii) obtaining phased genetic data for the 30 that locus on the second homologous chromosome divided
second homologous chromosome segment comprising the                 by the total measured quantity of all the alleles for the locus
identity of the allele present at that locus on the second          is less than the expected allele ratio for that locus. In some
homologous chromosome segment for each locus in the set             embodiments, a calculated allele ratio is indicative of no
of polymorphic loci on the second homologous chromosome             overrepresentation of the number of copies of the first
segment, and (iii) obtaining measured genetic allelic data 35 homologous chromosome segment if either (i) the allele
comprising the amount of each allele at each of the loci in         ratio for the measured quantity of the allele present at that
the set of polymorphic loci in a sample of DNA or RNA from          locus on the first homologous chromosome divided by the
one or more cells from the individual or in a mixed sample          total measured quantity of all the alleles for the locus is less
of cell-free DNA or RNA from two or more genetically                than or equal to the expected allele ratio for that locus, or (ii)
different cells from the individual. In some embodiments, 40 the allele ratio for the measured quantity of the allele present
the method involves calculating allele ratios for one or more       at that locus on the second homologous chromosome
loci in the set of polymorphic loci that are heterozygous in        divided by the total measured quantity of all the alleles for
at least one cell from which the sample was derived. In some        the locus is greater than or equal to the expected allele ratio
embodiments, the calculated allele ratio for a particular           for that locus.
locus is the measured quantity of one of the alleles divided 45        In some embodiments, determining if there is an over-
by the total measured quantity of all the alleles for the locus.    representation of the number of copies of the first homolo-
In some embodiments, the method involves determining if             gous chromosome segment includes enumerating a set of
there is an overrepresentation of the number of copies of the       one or more hypotheses specifying the degree of overrep-
first homologous chromosome segment by comparing one or             resentation of the first homologous chromosome segment. In
more calculated allele ratios for a locus to an expected allele 50 some embodiments, predicted allele ratios for the loci that
ratio, such as a ratio that is expected for that locus if the first are heterozygous in at least one cell (such as the loci that are
and second homologous chromosome segments are present               heterozygous in the fetus and/ or heterozygous in the mother)
in equal proportions. In some embodiments, the expected             are estimated for each hypothesis given the degree of
ratio is 0.5 for biallelic loci.                                    overrepresentation specified by that hypothesis. In some
   In some embodiments for prenatal testing, the method 55 embodiments, the likelihood that the hypothesis is correct is
involves simultaneously or sequentially in any order (i)            calculated by comparing the calculated allele ratios to the
obtaining phased genetic data for the first homologous              predicted allele ratios, and the hypothesis with the greatest
chromosome segment in the genome of a fetus (such as a              likelihood is selected. In some embodiments, an expected
fetus gestating in a pregnant mother) comprising the identity       distribution of a test statistic is calculated using the predicted
of the allele present at that locus on the first homologous 60 allele ratios for each hypothesis. In some embodiments, the
chromosome segment for each locus in a set of polymorphic           likelihood that the hypothesis is correct is calculated by
loci on the first homologous chromosome segment, (ii)               comparing a test statistic that is calculated using the calcu-
obtaining phased genetic data for the second homologous             lated allele ratios to the expected distribution of the test
chromosome segment in the genome of the fetus comprising            statistic that is calculated using the predicted allele ratios,
the identity of the allele present at that locus on the second 65 and the hypothesis with the greatest likelihood is selected. In
homologous chromosome segment for each locus in the set             some embodiments, predicted allele ratios for the loci that
of polymorphic loci on the second homologous chromosome             arc heterozygous in at least one cell (such as the loci that arc




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heterozygous in the fetus and/or heterozygous in the mother)          calculating the data fit, ranking the hypotheses, or selecting
are estimated given the phased genetic data for the first             the hypothesis that is ranked the highest. In some embodi-
homologous chromosome segment, the phased genetic data                ments, the data fit is a fit to a beta-binomial distribution or
for the second homologous chromosome segment, and the                 a fit to a binomial distribution. In some embodiments, the
degree of overrepresentation specified by that hypothesis. In 5 technique or algorithm is selected from the group consisting
some embodiments, the likelihood that the hypothesis is               of maximum likelihood estimation, maximum a-posteriori
correct is calculated by comparing the calculated allele              estimation, Bayesian estimation, dynamic estimation (such
ratios to the predicted allele ratios; and the hypothesis with        as dynamic Bayesian estimation), and expectation-maximi-
the greatest likelihood is selected.                                  zation estimation. In some embodiments, the method
   In some embodiments, the ratio of DNA (or RNA) from 10 includes applying the technique or algorithm to the obtained
one or more target cells to the total DNA (or RNA) in the             genetic data and the expected genetic data.
sample is calculated. An exemplary ratio is the ratio of fetal           In some embodiments, the method includes creating a
DNA (or RNA) to the total DNA (or RNA) in the sample. In              partition of possible ratios (such as ratios of fetal DNA or
some embodiments, the ratio of fetal DNA to total DNA in              RNA to the total DNA or RNA in the sample) that range
the sample is determined by measuring the amount of an 15 from a lower limit to an upper limit for the ratio of DNA or
allele at one or more loci in which the fetus has the allele and      RNA from the one or more target cells to the total DNA or
the mother does not have the allele. In some embodiments,             RNA in the sample. In some embodiments, a set of one or
the ratio of fetal DNA to total DNA in the sample is                  more hypotheses specifying the degree of overrepresenta-
determined by measuring the difference in methylation                 tion of the first homologous chromosome segment are
between one or more maternal and fetal alleles. In some 20 enumerated. In some embodiments, the method includes
embodiments, a set of one or more hypotheses specifying the           estimating, for each of the possible ratios of DNA or RNA
degree of overrepresentation of the first homologous chro-            in the partition and for each hypothesis, either (i) predicted
mosome segment are enumerated. In some embodiments,                   allele ratios for the loci that are heterozygous in at least one
predicted allele ratios for the loci that are heterozygous in at      cell (such as the loci that are heterozygous in the fetus and/or
least one cell (such as the loci that are heterozygous in the 25 heterozygous in the mother) given the possible ratio of DNA
fetus and/or heterozygous in the mother) are estimated given          or RNA and the degree of overrepresentation specified by
the calculated ratio of DNA or RNA and the degree of                  that hypothesis or (ii) an expected distribution of a test
overrepresentation specified by that hypothesis are esti-             statistic calculated using the predicted allele ratios and the
mated for each hypothesis. In some embodiments, the like-             possible ratio of DNA or RNA. In some embodiments, the
lihood that the hypothesis is correct is calculated by com- 30 method includes calculating, for each of the possible ratios
paring the calculated allele ratios to the predicted allele           of DNA or RNA in the partition and for each hypothesis, the
ratios, and the hypothesis with the greatest likelihood is            likelihood that the hypothesis is correct by comparing either
selected. In some embodiments, an expected distribution of            (i) the calculated allele ratios to the predicted allele ratios, or
a test statistic calculated using the predicted allele ratios and     (ii) a test statistic calculated using the calculated allele ratios
the calculated ratio of DNA or RNA is estimated for each 35 and the possible ratio of DNA or RNA to the expected
hypothesis. In some embodiments, the likelihood that the              distribution of the test statistic calculated using the predicted
hypothesis is correct is determined by comparing a test               allele ratios and the possible ratio of DNA or RNA. In some
statistic calculated using the calculated allele ratios and the       embodiments, the combined probability for each hypothesis
calculated ratio of DNA or RNA to the expected distribution           is determined by combining the probabilities of that hypoth-
of the test statistic calculated using the predicted allele ratios 40 esis for each of the possible ratios in the partition; and the
and the calculated ratio of DNA or RNA, and the hypothesis            hypothesis with the greatest combined probability is
with the greatest likelihood is selected.                             selected. In some embodiments, the combined probability
   In some embodiments, the method includes enumerating               for each hypothesis is determining by weighting the prob-
a set of one or more hypotheses specifying the degree of              ability of a hypothesis for a particular possible ratio based on
overrepresentation of the first homologous chromosome 45 the likelihood that the possible ratio is the correct ratio.
segment. In some embodiments, the method includes esti-                  In one aspect, the invention features a method for deter-
mating, for each hypothesis, either (i) predicted allele ratios       mining a number of copies of a chromosome or chromosome
for the loci that are heterozygous in at least one cell (such as      segment in the genome of one or more cells from an
the loci that are heterozygous in the fetus and/or heterozy-          individual using phased or unphased genetic data. In some
gous in the mother) given the degree of overrepresentation 50 embodiments, the method involves obtaining genetic data at
specified by that hypothesis or (ii) for one or more possible         a set of polymorphic loci on the chromosome or chromo-
ratios of DNA or RNA (such as ratios of fetal DNA or RNA              some segment in a sample by measuring the quantity of each
to the total DNA or RNA in the sample), an expected                   allele at each locus. In some embodiments, the sample is a
distribution of a test statistic calculated using the predicted       sample of DNA or RNA from one or more cells from the
allele ratios and the possible ratio of DNA or RNA from the 55 individual or a mixed sample of cell-free DNA from the
one or more target cells (such as fetal cells) to the total DNA       individual that includes cell-free DNA from two or more
or RNA in the sample. In some embodiments, a data fit is              genetically different cells. In some embodiments, allele
calculated by comparing either (i) the calculated allele ratios       ratios are calculated for the loci that are heterozygous in at
to the predicted allele ratios, or (ii) a test statistic calculated   least one cell from which the sample was derived. In some
using the calculated allele ratios and the possible ratio of 60 embodiments, the calculated allele ratio for a particular
DNA or RNA to the expected distribution of the test statistic         locus is the measured quantity of one of the alleles divided
calculated using the predicted allele ratios and the possible         by the total measured quantity of all the alleles for the locus.
ratio of DNA or RNA. In some embodiments, one or more                 In some embodiments, the calculated allele ratio for a
of the hypotheses are ranked according to the data fit, and the       particular locus is the measured quantity of one of the alleles
hypothesis that is ranked the highest is selected. In some 65 (such as the allele on the first homologous chromosome
embodiments, a technique or algorithm, such as a search               segment) divided by the measured quantity of one or more
algorithm, is used for one or more of the following steps:            other alleles (such as the allele on the second homologous




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chromosome segment) for the locus. In some embodiments,               segment or a deletion of the second homologous chromo-
a set of one or more hypotheses specifying the number of              some segment. In some embodiments, the first and second
copies of the chromosome or chromosome segment in the                 homologous chromosome segments are determined to be
genome of one or more of the cells are enumerated. In some            present in equal proportions if there is not an overrepresen-
embodiments, the hypothesis that is most likely based on the          tation of the number of copies of the first homologous
test statistic is selected, thereby determining the number of         chromosome segment, and there is not an overrepresentation
copies of the chromosome or chromosome segment in the                 of the second homologous chromosome segment (such as in
genome of one or more of the cells.                                   the genome of the cells, cfDNA, cfRNA, individual, fetus,
   In one aspect, the invention features a method for deter-          or embryo).
mining a number of copies of a chromosome or chromosome 10               In some embodiments, the ratio of DNA from the one or
segment in the genome of a fetus (such as a fetus that is             more target cells to the total DNA in the sample is deter-
gestating in a pregnant mother) using phased or unphased              mined based on the total or relative amount of one or more
genetic data. In some embodiments, the method involves                alleles at one or more loci for which the genotype of the
obtaining genetic data at a set of polymorphic loci on the            target cells differs from the genotype of the non-target cells
chromosome or chromosome segment in a sample by mea- 15 and for which the target cells and non-target cells are
suring the quantity of each allele at each locus. In some             expected to be disomic. In some embodiments, this ratio is
embodiments, the sample is a mixed sample of DNA com-                 used to determine whether the overrepresentation of the
prising fetal DNA or RNA and maternal DNA or RNA from                 number of copies of the first homologous chromosome
the mother of the fetus (such as a mixed sample of cell-free          segment is due to a duplication of the first homologous
DNA or RNA originating from a blood sample from the 20 chromosome segment or a deletion of the second homolo-
mother that includes fetal cell-free DNA or RNA and                   gous chromosome segment. In some embodiments, the ratio
maternal cell-free DNA or RNA). In some embodiments,                  is used to determine the number of extra copies of a
allele ratios are calculated for the loci that are heterozygous       chromosome segment or chromosome that is duplicated. In
in the fetus and/or heterozygous in the mother. In some               some embodiments, the phased genetic data includes proba-
embodiments, the calculated allele ratio for a particular 25 bilistic data. In some embodiments, obtaining the phased
locus is the measured quantity of one of the alleles divided          genetic data for the first homologous chromosome segment
by the total measured quantity of all the alleles for the locus.      and/or the second homologous chromosome segment in the
In some embodiments, the calculated allele ratio for a                genome of the fetus includes obtaining phased genetic data
particular locus is the measured quantity of one of the alleles       for the first homologous chromosome segment and/or the
(such as the allele on the first homologous chromosome 30 second homologous chromosome segment in the genome of
segment) divided by the measured quantity of one or more              one or both biological parents of the fetus, and inferring
other alleles (such as the allele on the second homologous            which homologous chromosome segment the fetus inherited
chromosome segment) for the locus. In some embodiments,               from one or both biological parents. In some embodiments,
a set of one or more hypotheses specifying the number of              the probability of one or more crossovers (such as 1, 2, 3, or
copies of the chromosome or chromosome segment in the 35 4 crossovers) that may have occurred during the formation
genome of fetus are enumerated. In some embodiments, the              of a gamete that contributed a copy of the first homologous
hypothesis that is most likely based on the test statistic is         chromosome segment or the second homologous chromo-
selected, thereby determining the number of copies of the             some segment to the fetus individual is used to infer which
chromosome or chromosome segment in the genome of the                 homologous chromosome segment(s) the fetus inherited
fetus.                                                             40 from one or both biological parents. In some embodiments,
   In some embodiments, a hypotheses is selected if the               phased genetic data for the mother and/or father of the fetus
probability that the test statistic belongs to a distribution of      is obtained using a technique selected from the group
the test statistic for that hypothesis is above an upper              consisting of digital PCR, inferring a haplotype using popu-
threshold; one or more of the hypotheses is rejected if the           lation based haplotype frequencies, haplotyping using a
probability that the test statistic belongs to the distribution of 45 haploid cell such as a sperm or egg, haplotyping using
the test statistic for that hypothesis is below an lower              genetic data from one or more first degree relatives, and
threshold; or a hypothesis is neither selected nor rejected if        combinations thereof. In some embodiments, the phased
the probability that the test statistic belongs to the distribu-      genetic data for the individual is obtained by phasing a
tion of the test statistic for that hypothesis is between the         portion or all of region corresponding to a deletion or
lower threshold and the upper threshold, or if the probability 50 duplication in a sample from the individual. In some
is not determined with sufficiently high confidence. In some          embodiments, the phased genetic data for a fetus is obtained
embodiments, the overrepresentation of the number of cop-             by phasing a portion or all of region corresponding to a
ies of the first homologous chromosome segment is due to              deletion or duplication in a sample from the fetus or the
a duplication of the first homologous chromosome segment              mother of the fetus. In some embodiments, obtaining phased
or a deletion of the second homologous chromosome seg- 55 genetic data for the first and second homologous chromo-
ment. In some embodiments, the total measured quantity of             some segments includes determining the identity of alleles
all the alleles for one or more of the loci is compared to a          present in one of the chromosome segments and determining
reference amount to determine whether the overrepresenta-             the identity of alleles present in the other chromosome
tion of the number of copies of the first homologous chro-            segment by inference. In some embodiments, alleles from
mosome segment is due to a duplication of the first homolo- 60 unphased genetic data that are not present in the first
gous chromosome segment or a deletion of the second                   homologous chromosome segment are assigned to the sec-
homologous chromosome segment. In some embodiments,                   ond homologous chromosome segment. For example, if the
the magnitude of the difference between the calculated allele         genotype of the individual is (AB, AB) and the phased data
ratio and the expected allele ratio for one or more loci is used      for the individual indicates that the first haplotype is (A,A);
to determine whether the overrepresentation of the number 65 then, the other haplotype can be inferred to be (B,B). In
of copies of the first homologous chromosome segment is               some embodiments, if only one allele is measured at a locus
due to a duplication of the first homologous chromosome               then that allele is determined to be part of both the first and




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second homologous chromosome segments (e.g., if the                RNA polymerase, or reverse transcriptase) with low 5'----;.3'
genotype is AA at a locus than both haplotypes have the A          exonuclease and/or low strand displacement activity. In
allele). In some embodiments, the phased genetic data for          some embodiments, the measured genetic allelic data is
the individual comprises determining whether or not one or         obtained by (i) sequencing the DNA or RNA in the sample,
more possible chromosome crossovers occurred, such as by           (ii) amplifying DNA or RNA in the sample and then
determining the sequence of a recombination hotspot and            sequencing the amplified DNA, or (ii) amplifying the DNA
optionally of a region flanking a recombination hotspot. In        or RNA in the sample, ligating PCR products, and then
some embodiments, any of the primer libraries of the               sequencing the ligated products. In some embodiments,
invention are used to detect a recombination event to deter-       measured genetic allelic data is obtained by dividing the
mine what haplotype blocks are present in the genome of an 10 DNA or RNA from the sample into a plurality of fractions,
individual.                                                        adding a different barcode to the DNA or RNA in each
   In some embodiments, the method includes using a joint          fraction (e.g., such that all the DNA or RNA in a particular
distribution model (such as a joint distribution model that        fraction has the same barcode ), optionally amplifying the
takes into account the linkage between loci), performing a         barcoded DNA or RNA, combining the fractions, and then
linkage analysis, using a binomial distribution model, using 15 sequencing the barcoded DNA or RNA in the combined
a beta-binomial distribution model, and/or using the likeli-       fractions. In some embodiments, alleles of the polymorphic
hood of crossovers having occurred during the meiosis that         loci (such as SNPs) are identified using one or more of the
gave rise to the gametes that formed the embryo that grew          following methods: sequencing (such as nanopore sequenc-
into the fetus (such as using the probability of chromosomes       ing or Halcyon Molecular sequencing), SNP array, real time
crossing over at different locations in a chromosome to 20 PCR, TaqMan, Nanostring nCounter® Analysis System,
model dependence between polymorphic alleles on the                Illumina GoldenGate Genotyping Assay that uses a discrimi-
chromosome or chromosome segment of interest).                     natory DNA polymerase and ligase, ligation-mediated PCR,
   In some embodiments, one or more of the calculated allele       or Linked Inverted Probes (LIPs; which can also be called
ratios for the cfDNA or cfRNA are indicative of the corre-         pre-circularized probes, pre-circularizing probes, circulariz-
sponding allele ratios for DNA or RNA in the cells from 25 ing probes, Padlock Probes, or Molecular Inversion Probes
which the cfDNA or cfRNA was derived. In some embodi-              (MIPs)). In some embodiments, two or more (such as 3 or
ments, one or more of the calculated allele ratios for the         4) target amplicons are ligated together and then the ligated
cfDNA or cfRNA are indicative of the corresponding allele          products are sequenced. In some embodiments, measure-
ratios in the genome of the individual. In some embodi-            ments for different alleles for the same locus are adjusted for
ments, an allele ratio is only calculated or is only compared 30 differences in metabolism, apoptosis, histones, inactivation,
to an expected allele ratio if the measured genetic data           and/or amplification between the alleles (such as differences
indicate that more than one different allele is present for that   in amplification efficiency between different alleles of the
locus in the sample (such as in a cfDNA or cfRNA sample).          same locus). In some embodiments, this adjustment is
In some embodiments, an allele ratio is only calculated or is      performed prior to calculating allele ratios for the obtained
only compared to an expected allele ratio if the locus is 35 genetic data or prior to comparing the measured genetic data
heterozygous in at least one of the cells from which the           to the expected genetic data.
sample was derived (such as a locus that is heterozygous in           In some embodiments, the method also includes deter-
the fetus and/or heterozygous in the mother). In some              mining the presence or absence of one or more risk factors
embodiments, an allele ratio is only calculated or is only         for a disease or disorder. In some embodiments, the method
compared to an expected allele ratio if the locus is heterozy- 40 also includes determining the presence or absence of one or
gous in the fetus. In some embodiments, an allele ratio is         more polymorphisms or mutations associated with the dis-
calculated and compared to an expected allele ratio for a          ease or disorder or an increased risk for a disease or disorder.
homozygous locus. For example, allele ratios for loci that         In some embodiments, the method also includes determining
are predicted to be homozygous for a particular individual         the total level of cfDNA cf mDNA, cf nDNA, cfRNA,
being tested (or for both a fetus and pregnant mother) may 45 miRNA, or any combination thereof. In some embodiments,
be analyzed to determine the level of noise or error in the        the method includes determining the level of one or more
system.                                                            cfDNA cf mDNA, cf nDNA, cfRNA, and/or miRNA mol-
   In some embodiments, at least 10; 50; 100; 200; 300; 500;       ecules of interest, such as molecules with a polymorphism or
750; 1,000; 2,000; 3,000; 4,000, or more loci (such as SNPs)       mutation associated with a disease or disorder or an
are analyzed for a chromosome or chromosome segment of 50 increased risk for a disease or disorder. In some embodi-
interest. In some embodiments, the average number of loci          ments, the fraction of tumor DNA out of total DNA (such as
(such as SNPs) per mb in a chromosome or chromosome                the fraction of tumor cfDNA out of total cfDNA or the
segment of interest is at least 1; 10; 25; 50; 100; 150; 200;      fraction of tumor cfDNA with a particular mutation out of
300; 500; 750; 1,000; or more loci per mb. In some embodi-         total cfDNA) is determined. In some embodiments, this
ments, the average number ofloci (such as SNPs) per mb in 55 tumor fraction is used to determine the stage of a cancer
a chromosome or chromosome segment of interest is                  (since higher tumor fractions can be associated with more
between 1 and 500 loci per mb, such as between 1 and 50,           advanced stages of cancer). In some embodiments, the
50 and 100, 100 and 200, 200 and 400, 200 and 300, or 300          method also includes determining the total level of DNA or
and 400 loci per mb, inclusive. In some embodiments, loci          RNA level. In some embodiments, the method includes
in multiple portions of a potential deletion or duplication are 60 determining the methylation level of one or more DNA or
analyzed to increase the sensitivity and/or specificity of the     RNA molecules of interest, such as molecules with a poly-
CNV determination compared to only analyzing 1 loci or             morphism or mutation associated with a disease or disorder
only analyzing a few loci that are near each other. In some        or an increased risk for a disease or disorder. In some
embodiments, only the two most common alleles at each              embodiments, the method includes determining the presence
locus are measured or are used to determine the calculated 65 or absence of a change in DNA integrity. In some embodi-
allele ratio. In some embodiments, the amplification of loci       ments, the method also includes determining the total level
is performed using a polymerase (e.g., a DNA polymerase,           of mRNA splicing. In some embodiments, the method




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includes determining the level of mRNA splicing or detect-          200, or even 500% greater than (i) the average amount of
ing alternative mRNA splicing for one or RNA molecules of           time an untreated subject survives or (ii) the average amount
interest, such as molecules with a polymorphism or mutation         of time a subject treated with another therapy survives.
associated with a disease or disorder or an increased risk for         In some embodiments, treating, stabilizing, or preventing
a disease or disorder.                                              cancer includes reducing or stabilizing the size of a tumor
   In some embodiments, the invention features a method for         (e.g., a benign or malignant tumor), slowing or preventing
detecting a cancer phenotype in an individual, wherein the          an increase in the size of a tumor, reducing or stabilizing the
cancer phenotype is defined by the presence of at least one         number of tumor cells, increasing the disease-free survival
of a set of mutations. In some embodiments, the method              time between the disappearance of a tumor and its reappear-
includes obtaining DNA or RNA measurements for a sample 10 ance, preventing an initial or subsequent occurrence of a
of DNA or RNA from one or more cells from the individual,           tumor, or reducing or stabilizing an adverse symptom asso-
wherein one or more of the cells is suspected of having the         ciated with a tumor. In one embodiment, the number of
cancer phenotype; and analyzing the DNA or RNA mea-                 cancerous cells surviving the treatment is at least 10, 20, 40,
surements to determine, for each of the mutations in the set        60, 80, or 100% lower than the initial number of cancerous
of mutations, the likelihood that at least one of the cells has 15 cells, as measured using any standard assay. In some
that mutation. In some embodiments, the method includes             embodiments, the decrease in the number of cancerous cells
determining that the individual has the cancer phenotype if         induced by administration of a therapy of the invention is at
either (i) for at least one of the mutations, the likelihood that   least 2, 5, 10, 20, or 50-fold greater than the decrease in the
at least one of the cells contains that mutations is greater        number of non-cancerous cells. In some embodiments, the
than a threshold, or (ii) for at least one of the mutations, the 20 number of cancerous cells present after administration of a
likelihood that at least one of the cells has that mutations is     therapy is at least 2, 5, 10, 20, or 50-fold lower than the
less than the threshold, and for a plurality of the mutations,      number of cancerous cells present after administration of a
the combined likelihood that at least one of the cells has at       control (such as administration of saline or a buffer). In some
least one of the mutations is greater than the threshold. In        embodiments, the methods of the present invention result in
some embodiments, one or more cells have a subset or all of 25 a decrease of 10, 20, 40, 60, 80, or 100% in the size of a
the mutations in the set of mutations. In some embodiments,         tumor as determined using standard methods. In some
the subset of mutations is associated with cancer or an             embodiments, at least 10, 20, 40, 60, 80, 90, or 95% of the
increased risk for cancer. In some embodiments, the sample          treated subjects have a complete remission in which there
includes cell-free DNA or RNA. In some embodiments, the             are no detectable cancerous cells. In some embodiments, the
DNA or RNA measurements include measurements (such as 30 cancer does not reappear, or reappears after at least 2, 5, 10,
the quantity of each allele at each locus) at a set of              15, or 20 years. In some embodiments, the length of time a
polymorphic loci on one or more chromosomes or chromo-              subject survives after being diagnosed with cancer and
some segments of interest.                                          treated with a therapy of the invention is at least 10, 20, 40,
   In one aspect, the invention features methods for selecting      60, 80, 100, 200, or even 500% greater than (i) the average
a therapy for the treatment, stabilization, or prevention of a 35 amount of time an untreated subject survives or (ii) the
disease or disorder in a mammal. In some embodiments, the           average amount of time a subject treated with another
method includes determining if there is an overrepresenta-          therapy survives.
tion of the number of copies of a first homologous chromo-             In one aspect, the invention features methods for strati-
some segment as compared to a second homologous chro-               fication of subjects involved in a clinical trial for the
mosome segment using any of the methods described herein. 40 treatment, stabilization, or prevention of a disease or disor-
In some embodiments, a therapy is selected for the manimal          der in a mammal. In some embodiments, the method
(such as a therapy for a disease or disorder associated with        includes determining if there is an overrepresentation of the
the overrepresentation of the first homologous chromosome           number of copies of a first homologous chromosome seg-
segment).                                                           ment as compared to a second homologous chromosome
   In one aspect, the invention features methods for prevent- 45 segment using any of the methods described herein before,
ing, delaying, stabilizing, or treating a disease or disorder in    during, or after the clinical trial. In some embodiments, the
a mammal. In some embodiments, the method includes                  presence or absence of the overrepresentation of the first
determining if there is an overrepresentation of the number         homologous chromosome segment in the genome of the
of copies of a first homologous chromosome segment as               subject places the subject into a subgroup for the clinical
compared to a second homologous chromosome segment 50 trial.
using any of the methods described herein. In some embodi-             In some embodiments, the disease or disorder is selected
ments, a therapy is selected for the mammal (such as a              from the group consisting of cancer, mental handicap, learn-
therapy for a disease or disorder associated with the over-         ing disability (e.g., idiopathic learning disability), mental
representation of the first homologous chromosome seg-              retardation, developmental delay, autism, neurodegenerative
ment) and then the therapy is administered to the mammal. 55 disease or disorder, schizophrenia, physical handicap, auto-
   In some embodiments, treating, stabilizing, or preventing        immune disease or disorder, systemic lupus erythematosus,
a disease or disorder includes preventing or delaying an            psoriasis, Crohn's disease, glomerulonephritis, HIV infec-
initial or subsequent occurrence of a disease or disorder,          tion, AIDS, and combinations thereof. In some embodi-
increasing the disease-free survival time between the disap-        ments, the disease or disorder is selected from the group
pearance of a condition and its reoccurrence, stabilizing or 60 consisting of DiGeorge syndrome, DiGeorge 2 syndrome,
reducing an adverse symptom associated with a condition,            DiGeorgeNCFS syndrome, Prader-Willi syndrome, Angel-
or inhibiting or stabilizing the progression of a condition. In     man syndrome, Beckwith-Wiedemann syndrome, lp36
some embodiments, at least 20, 40, 60, 80, 90, or 95% of the        deletion syndrome, 2q37 deletion syndrome, 3q29 deletion
treated subjects have a complete remission in which all             syndrome, 9q34 deletion syndrome, 17q21.31 deletion syn-
evidence of the condition disappears. In some embodiments, 65 drome, Cri-du-chat syndrome, Jacobsen syndrome, Miller
the length of time a subject survives after being diagnosed         Dieker syndrome, Phelan-McDermid syndrome, Smith-Ma-
with a condition and treated is at least 20, 40, 60, 80, 100,       gcnis syndrome, WAGR syndrome, Wolf-Hirschhorn syn-




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drome, Williams syndrome, Williams-Beuren syndrome,                 kb to 40 mb, such as between 1 kb to 100 kb, 100 kb to 1
Miller-Dieker syndrome, Phelan-McDermid syndrome,                   mb, 1 to 5 mb, 5 to 10 mb, 10 to 15 mb, 15 to 20 mb, 20 to
Smith-Magenis syndrome, Down syndrome, Edward syn-                  25 mb, 25 to 30 mb, or 30 to 40 mb, inclusive. In some
drome, Patau syndrome, Klinefelter syndrome, Turner syn-            embodiments, the chromosome segment is duplicated one
drome, 47,XXX syndrome, 47,XYY syndrome, Sotos syn-                 time. In some embodiments, the chromosome segment is
drome, and combinations thereof. In some embodiments, the           duplicated more than one time, such as 2, 3, 4, or 5 times.
method determines the presence or absence of one or more            In some embodiments, an entire chromosome is duplicated.
of the following chromosomal abnormalities: null somy,              In some embodiments, a region in a first homologous
monosomy, uniparental di somy, trisomy, matched trisomy,            segment is deleted, and the same region or another region in
unmatched trisomy, maternal trisomy, paternal trisomy, trip- 10 the second homologous segment is duplicated. In some
loidy, mosaicism tetrasomy, matched tetrasomy, unmatched            embodiments, at least 50, 60, 70, 80, 90, 95, 96, 98, 99, or
tetrasomy, other aneuploidies, unbalanced translocations,           100% of the SNVs tested for are transversion mutations
balanced translocations, insertions, deletions, recombina-          rather than transition mutations.
tions, and combinations thereof. In some embodiments, the              In some embodiments, the sample comprises DNA and/or
chromosomal abnormality is any deviation in the copy 15 RNA from (i) one or more target cells or (ii) one or more
number of a specific chromosome or chromosome segment               non-target cells. In some embodiments, the sample is a
from the most common number of copies of that segment or            mixed sample with DNA and/or RNA from one or more
chromosome, for example in a human somatic cell, any                target cells and one or more non-target cells. In some
deviation from 2 copies can be regarded as a chromosomal            embodiments, the target cells are cells that have a CNV, such
abnormality. In some embodiments, the method determines 20 as a deletion or duplication of interest, and the non-target
the presence or absence of a euploidy. In some embodi-              cells are cells that do not have the copy number variation of
ments, the copy number hypotheses include one or more               interest. In some embodiments in which the one or more
copy number hypotheses for a singleton pregnancy. In some           target cells are cancer cell(s) and the one or more non-target
embodiments, the copy number hypotheses include one or              cells are non-cancerous cell(s), the method includes deter-
more copy number hypotheses for a multiple pregnancy, 25 mining if there is an overrepresentation of the number of
such as a twin pregnancy (e.g., identical or fraternal twins or     copies of the first homologous chromosome segment in the
a vanishing twin). In some embodiments, the copy number             genome of one or more of the cancer cells. In some
hypotheses include all fetuses in a multiple pregnancy being        embodiments in which the one or more target cells are
euploid, all fetuses in a multiple pregnancy being aneuploid        genetically identical cancer cell(s) and the one or more
(such as any of the aneuploidies disclosed herein), and/or 30 non-target cells are non-cancerous cell(s), the method
one or more fetuses in a multiple pregnancy being euploid           includes determining if there is an overrepresentation of the
and one or more fetuses in a multiple pregnancy being               number of copies of the first homologous chromosome
aneuploidy. In some embodiments, the copy number hypoth-            segment in the genome of the cancer cell(s). In some
eses include identical twins (also referred to as monozygotic       embodiments in which the one or more target cells are
twins) or fraternal twins (also referred to as dizygotic twins). 35 genetically non-identical cancer cell(s) and the one or more
In some embodiments, the copy number hypotheses include             non-target cells are non-cancerous cell(s), the method
a molar pregnancy, such as a complete or partial molar              includes determining if there is an overrepresentation of the
pregnancy. In some embodiments, the chromosome segment              number of copies of the first homologous chromosome
of interest is an entire chromosome. In some embodiments,           segment in the genome of one or more of the genetically
the chromosome or chromosome segment is selected from 40 non-identical cancer cells. In some embodiments in which
the group consisting of chromosome 13, chromosome 18,               the sample comprises cell-free DNA from a mixture of one
chromosome 21, the X chromosome, the Y chromosome,                  or more cancer cells and one or more non-cancerous cells,
segments thereof, and combinations thereof. In some                 the method includes determining if there is an overrepre-
embodiments, the first homologous chromosome segment                sentation of the number of copies of the first homologous
and second homologous chromosome segment are a pair of 45 chromosome segment in the genome of one or more of the
homologous chromosome segments that comprises the chro-             cancer cells. In some embodiments in which the one or more
mosome segment of interest. In some embodiments, the first          target cells are genetically identical fetal cell( s) and the one
homologous chromosome segment and second homologous                 or more non-target cells are maternal cell(s), the method
chromosome segment are a pair of homologous chromo-                 includes determining if there is an overrepresentation of the
somes of interest. In some embodiments, a confidence is 50 number of copies of the first homologous chromosome
computed for the CNV determination or the diagnosis of the          segment in the genome of the fetal cell(s). In some embodi-
disease or disorder.                                                ments in which the one or more target cells are genetically
   In some embodiments, the deletion is a deletion of at least      non-identical fetal cell(s) and the one or more non-target
0.01 kb, 0.1 kb, 1 kb, 10 kb, 100 kb, 1 mb, 2 mb, 3 mb, 5           cells are maternal cell(s), the method includes determining
mb, 10 mb, 15 mb, 20 mb, 30 mb, or 40 mb. In some 55 if there is an overrepresentation of the number of copies of
embodiments, the deletion is a deletion of between 1 kb to          the first homologous chromosome segment in the genome of
40 mb, such as between 1 kb to 100 kb, 100 kb to 1 mb, 1            one or more of the genetically non-identical fetal cells. As
to 5 mb, 5 to 10 mb, 10 to 15 mb, 15 to 20 mb, 20 to 25 mb,         the cells of most individuals contain a nearly identical set of
25 to 30 mb, or 30 to 40 mb, inclusive. In some embodi-             nuclear DNA, the term "target cell" may be used inter-
ments, one copy of the chromosome segment is deleted and 60 changeably with the term "individual" in some embodi-
one copy is present. In some embodiments, two copies of the         ments. Cancerous cells have genotypes that are distinct from
chromosome segment are deleted. In some embodiments, an             the host individual. In this case, the cancer itself may be
entire chromosome is deleted.                                       considered an individual. Moreover, many cancers are het-
   In some embodiments, the duplication is a duplication of         erogeneous meaning that different cells in a tumor are
at least 0.01 kb, 0.1 kb, 1 kb, 10 kb, 100 kb, 1 mb, 2 mb, 3 65 genetically distinct from other cells in the same tumor. In
mb, 5 mb, 10 mb, 15 mb, 20 mb, 30 mb, or 40 mb. In some             this case, the different genetically identical regions can be
embodiments, the duplication is a duplication of between 1          considered different individuals. Altcrnatcly, the cancer may




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be considered a single individual with a mixture of cells with   complete or partial molar pregnancy (such as a triploid
distinct genomes. Typically, non-target cells are euploid,       fetus), administering a therapy for cancer such as a chemo-
though this is not necessarily the case.                         therapeutic agent to a woman with a complete or partial
   In some embodiments, the sample is obtained from a            molar pregnancy (such as a triploid fetus), screening a fetus
maternal whole blood sample or fraction thereof, cells           determined to be male (such as a fetus determined to be male
isolated from a maternal blood sample, an anmiocentesis          using a method of the invention) for one or more X-linked
sample, a products of conception sample, a placental tissue      genetic disorders such as Duchenne muscular dystrophy
sample, a chorionic villus sample, a placental membrane          (DMD), adrenoleukodystrophy, or hemophilia, performing
sample, a cervical mucus sample, or a sample from a fetus.       amniocentesis on a male fetus at risk for an X-linked
In some embodiments, the sample comprises cell-free DNA 10
                                                                 disorder, administering dexamethasone to a women with a
obtained from a blood sample or fraction thereof from the
                                                                 female fetus (such as a fetus determined to be female using
mother. In some embodiments, the sample comprises
                                                                 a method of the invention) at risk for congenital adrenal
nuclear DNA obtained from a mixture of fetal cells and
maternal cells. In some embodiments, the sample is obtained      hyperplasia,  performing anmiocentesis on a female fetus at
from a fraction of maternal blood containing nucleated cells 15 risk for congenital adrenal hyperplasia, administering killed
that has been enriched for fetal cells. In some embodiments,     vaccines (instead of live vaccines) or not administering
a sample is divided into multiple fractions (such as 2, 3, 4 5,  certain vaccines to a born child that is (or is suspected of
or more fractions) that are each analyzed using a method of      being) immune deficient from a 22qll.2 deletion, perform-
the invention. If each fraction produces the same results        ing occupational and/or physical therapy, performing early
(such as the presence or absence of one or more CNVs of 20 intervention in education, delivering the baby at a tertiary
interest), the confidence in the results increases. In different care center with a NICU and/or having pediatric specialists
fractions produce different results, the sample could be         available at delivery, behavioral intervention for born child
re-analyzed or another sample could be collected from the        (such as a child with XXX, XXY, or XYY), and combina-
same subject and analyzed.                                       tions thereof.
   Exemplary subjects include mammals, such as humans 25            In some embodiments, ultrasound or another screening
and mammals of veterinary interest. In some embodiments,         test is performed on a women determined to have multiple
the mammal is a primate (e.g., a human, a monkey, a gorilla,     pregnancies (such as twins) to determine whether or not two
an ape, a lemur, etc.), a bovine, an equine, a porcine, a        or more of the fetus are monochorionic. Monozygotic twins
canine, or a feline.                                             result from ovulation and fertilization of a single oocyte,
   In some embodiments, any of the methods include gen- 30 with subsequent division of the zygote; placentation may be
erating a report (such as a written or electronic report)        dichorionic or monochorionic. Dizygotic twins occur from
disclosing a result of the method of the invention (such as      ovulation and fertilization of two oocytes, which usually
the presence or absence of a deletion or duplication).           results in dichorionic placentation. Monochorionic twins
   In some embodiments, any of the methods include taking        have a risk of twin-to-twin transfusion syndrome, which
a clinical action based on a result of a method of the 35 may cause unequal distribution of blood between fetuses
invention (such as the presence or absence of a deletion or      that results in differences in their growth and development,
duplication). In some embodiments in which an embryo or          sometimes resulting in stillbirth. Thus, twins determined to
fetus has one or more polymorphisms or mutations of              be monozygotic twins using a method of the invention are
interest (such as a CNV) based on a result of a method of the    desirably tested (such as by ultrasound) to determine if they
invention, the clinical action includes performing additional 40 are monochorionic twins, and if so, these twins can be
testing (such as testing to confirm the presence of the          monitored (such as bi-weekly ultrasounds from 16 weeks)
polymorphism or mutation), not implanting the embryo for         for signs of win-to-twin transfusion syndrome.
IVF, implanting a different embryo for IVF, terminating a           In some embodiments in which an embryo or fetus does
pregnancy, preparing for a special needs child, or undergo-      not have one or more one or more polymorphisms or
ing an intervention designed to decrease the severity of the 45 mutations of interest (such as a CNV) based on a result of
phenotypic presentation of a genetic disorder. In some           a method of the invention, the clinical action includes
embodiments, the clinical action is selected from the group      implanting the embryo for IVF or continuing a pregnancy. In
consisting of performing an ultrasound, anmiocentesis on         some embodiments, the clinical action is additional testing
the fetus, anmiocentesis on a subsequent fetus that inherits     to confirm the absence of the polymorphism or mutation
genetic material from the mother and/or father, chorion 50 selected from the group consisting of performing an ultra-
villus biopsy on the fetus, chorion villus biopsy on a           sound, amniocentesis, chorion villus biopsy, and combina-
subsequent fetus that inherits genetic material from the         tions thereof.
mother and/or father, in vitro fertilization, preimplantation       In some embodiments in which an individual has one or
genetic diagnosis on one or more embryos that inherited          more one or more polymorphisms or mutations (such as a
genetic material from the mother and/or father, karyotyping 55 polymorphism or mutation associated with a disease or
on the mother, karyotyping on the father, fetal echocardio-      disorder such as cancer or an increased risk for a disease or
gram (such as an echocardiogram ofa fetus with trisomy 21,       disorder such as cancer) based on a result of a method of the
18, or 13, monosomy X, or a microdeletion) and combina-          invention, the clinical action includes performing additional
tions thereof. In some embodiments, the clinical action is       testing or administering one or more therapies for a disease
selected from the group consisting of administering growth 60 or disorder (such as a therapy for cancer, a therapy for the
hormone to a born child with monosomy X (such as admin-          specific type of cancer or type of mutation the individual is
istration starting at -9 months), administering calcium to a     diagnosed with, or any of the therapies disclosed herein). In
born child with a 22q deletion (such as DiGeorge syn-            some embodiments, the clinical action is additional testing
drome), administering an androgen such as testosterone to a      to confirm the presence or absence of a polymorphism or
born child with 47,XXY (such as one injection per month for 65 mutation selected from the group consisting of biopsy,
3 months of 25 mg testosterone enanthate to an infant or         surgery, medical imaging (such as a mammogram or an
toddler), performing a test for cancer on a woman with a         ultrasound), and combinations thereof.




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   In some embodiments, the additional testing includes              extension reaction or the polymerase chain reaction does not
performing the same or a different method (such as any of            include the joining of two primers by a ligase. In various
the methods described herein) to confirm the presence or             embodiments, the primers do not include Linked Inverted
absence of the polymorphism or mutation (such as a CNV),             Probes (LIPs), which can also be called pre-circularized
such as testing either a second fraction of the same sample          probes, pre-circularizing probes, circularizing probes, Pad-
that was tested or a different sample from the same indi-            lock Probes, or Molecular Inversion Probes (MIPs).
vidual (such as the same pregnant mother, fetus, embryo, or             It is understood that aspects and embodiments of the
individual at increased risk for cancer). In some embodi-            invention described herein include combinations of any two
ments, the additional testing is performed for an individual         or more of the aspects or embodiments of the invention.
for whom the probability of a polymorphism or mutation 10
(such as a CNV) is above a threshold value (such as                                            Definitions
additional testing to confirm the presence of a likely poly-
morphism or mutation). In some embodiments, the addi-
                                                                        Single Nucleotide Polymorphism (SNP) refers to a single
tional testing is performed for an individual for whom the
                                                                     nucleotide that may differ between the genomes of two
confidence or z-score for the determination of a polymor- 15
                                                                     members of the same species. The usage of the term should
phism or mutation (such as a CNV) is above a threshold
value (such as additional testing to confirm the presence of         not  imply any limit on the frequency with which each variant
a likely polymorphism or mutation). In some embodiments,             occurs.
the additional testing is performed for an individual for               Sequence refers to a DNA sequence or a genetic sequence.
whom the confidence or z-score for the determination of a 20 It may refer to the primary, physical structure of the DNA
polymorphism or mutation (such as a CNV) is between                  molecule or strand in an individual. It may refer to the
minimum and maximum threshold values (such as addi-                  sequence of nucleotides found in that DNA molecule, or the
tional testing to increase the confidence that the initial result    complementary strand to the DNA molecule. It may refer to
is correct). In some embodiments, the additional testing is          the information contained in the DNA molecule as its
performed for an individual for whom the confidence for the 25 representation in silica.
determination of the presence or absence of a polymorphism              Locus refers to a particular region of interest on the DNA
or mutation (such as a CNV) is below a threshold value               of an individual, which may refer to a SNP, the site of a
(such as a "no call" result due to not being able to determine       possible insertion or deletion, or the site of some other
the presence or absence of the CNV with sufficient confi-            relevant genetic variation. Disease-linked SNPs may also
dence). An exemplary Z core is calculated in Chiu et al. BMJ 30 refer to disease-linked loci.
2011; 342:c7401 (which is hereby incorporated by reference              Polymorphic Allele, also "Polymorphic Locus," refers to
in its entirety) in which chromosome 21 is used as an                an allele or locus where the genotype varies between indi-
example and can be replaced with any other chromosome or             viduals within a given species. Some examples of polymor-
chromosome segment in the test sample.                               phic alleles include single nucleotide polymorphisms, short
                                                                  35 tandem repeats, deletions, duplications, and inversions.
       Z score for percentage chromosome 21 in test case=
            ((percentage chromosome 21 in test case)-                   Polymorphic Site refers to the specific nucleotides found
            (mean percentage chromosome 21 in reference              in a polymorphic region that vary between individuals.
            controls))/(standard deviation of percentage                Mutation refers to an alteration in a naturally-occurring or
            chromosome 21 in reference controls).
                                                                     reference nucleic acid sequence, such as an insertion, dele-
   In some embodiments, the additional testing is performed 40 tion, duplication, translocation, substitution, frameshift
for an individual for whom the initial sample did not meet           mutation, silent mutation, nonsense mutation, missense
quality control guidelines or had a fetal fraction or a tumor        mutation, point mutation, transition mutation, transversion
fraction below a threshold value. In some embodiments, the           mutation, reverse mutation, or microsatellite alteration. In
method includes selecting an individual for additional test-         some embodiments, the amino acid sequence encoded by the
ing based on the result of a method of the invention, the 45 nucleic acid sequence has at least one amino acid alteration
probability of the result, the confidence of the result, or the      from a naturally-occurring sequence.
z-score; and performing the additional testing on the indi-             Allele refers to the genes that occupy a particular locus.
vidual (such as on the same or a different sample). In some             Genetic Data also "Genotypic Data" refers to the data
embodiments, a subject diagnosed with a disease or disorder          describing aspects of the genome of one or more individuals.
(such as cancer) undergoes repeat testing using a method of 50 It may refer to one or a set ofloci, partial or entire sequences,
the invention or known testing for the disease or disorder at        partial or entire chromosomes, or the entire genome. It may
multiple time points to monitor the progression of the               refer to the identity of one or a plurality of nucleotides; it
disease or disorder or the remission or reoccurrence of the          may refer to a set of sequential nucleotides, or nucleotides
disease or disorder.                                                 from different locations in the genome, or a combination
   In one aspect, the invention features a report (such as a 55 thereof. Genotypic data is typically in silica, however, it is
written or electronic report) with a result from a method of         also possible to consider physical nucleotides in a sequence
the invention (such as the presence or absence of a deletion         as chemically encoded genetic data. Genotypic Data may be
or duplication).                                                     said to be "on," "of," "at," "from" or "on" the individual(s).
   In various embodiments, the primer extension reaction or          Genotypic Data may refer to output measurements from a
the polymerase chain reaction includes the addition of one or 60 genotyping platform where those measurements are made on
more nucleotides by a polymerase. In some embodiments,               genetic material.
the primers are in solution. In some embodiments, the                   Genetic Material also "Genetic Sample" refers to physical
primers are in solution and are not immobilized on a solid           matter, such as tissue or blood, from one or more individuals
support. In some embodiments, the primers are not part of a          comprising DNA or RNA.
microarray. In various embodiments, the primer extension 65             Confidence refers to the statistical likelihood that the
reaction or the polymerase chain reaction does not include           called SNP, allele, set of alleles, determined number of
ligation-mediated PCR. In various embodiments, the primer            copies of a chromosome or chromosome segment, or diag-




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nosis of the presence or absence of a disease correctly              a sample. In the context of digital allele measurements such
represents the real genetic state of the individual.                 as sequencing, the allelic distribution refers to the number or
   Ploidy Calling, also "Chromosome Copy Number Call-                probable number of reads that map to a particular allele for
ing," or "Copy Number Calling" (CNC), may refer to the act           each allele in a set of polymorphic loci. In the context of
of determining the quantity and/or chromosomal identity of           analog allele measurements such as SNP arrays, the allelic
one or more chromosomes or chromosome segments present               distribution refers to allele intensities and/or allele ratios.
in a cell.                                                           The allele measurements may be treated probabilistically,
   Aneuploidy refers to the state where the wrong number of          that is, the likelihood that a given allele is present for a give
chromosomes (e.g., the wrong number of full chromosomes              sequence read is a fraction between O and 1, or they may be
or the wrong number of chromosome segments, such as the 10 treated in a binary fashion, that is, any given read is
presence of deletions or duplications of a chromosome                considered to be exactly zero or one copies of a particular
segment) is present in a cell. In the case of a somatic human        allele.
cell it may refer to the case where a cell does not contain 22          Allelic Distribution Pattern refers to a set of different
pairs of autosomal chromosomes and one pair of sex chro-             allele distributions for different contexts, such as different
mosomes. In the case of a human gamete, it may refer to the 15 parental contexts. Certain allelic distribution patterns may
case where a cell does not contain one of each of the 23             be indicative of certain ploidy states.
chromosomes. In the case of a single chromosome type, it                Allelic Bias refers to the degree to which the measured
may refer to the case where more or less than two homolo-            ratio of alleles at a heterozygous locus is different to the ratio
gous but non-identical chromosome copies are present, or             that was present in the original sample of DNA or RNA. The
where there are two chromosome copies present that origi- 20 degree of allelic bias at a particular locus is equal to the
nate from the same parent. In some embodiments, the                  observed allelic ratio at that locus, as measured, divided by
deletion of a chromosome segment is a microdeletion.                 the ratio of alleles in the original DNA or RNA sample at that
   Ploidy State refers to the quantity and/or chromosomal            locus. Allelic bias maybe due to amplification bias, purifi-
identity of one or more chromosomes or chromosome seg-               cation bias, or some other phenomenon that affects different
ments in a cell.                                                  25 alleles differently.
   Chromosome may refer to a single chromosome copy,                    Allelic imbalance refers for SNVs, to the proportion of
meaning a single molecule of DNA of which there are 46 in            abnormal DNA is typically measured using mutant allele
a normal somatic cell; an example is 'the maternally derived         frequency (number of mutant alleles at a locus/total number
chromosome 18'. Chromosome may also refer to a chromo-               of alleles at that locus). Since the difference between the
some type, of which there are 23 in a normal human somatic 30 amounts of two homologs in tumours is analogous, we
cell; an example is 'chromosome 18'.                                 measure the proportion of abnormal DNA for a CNV by the
   Chromosomal Identity may refer to the referent chromo-            average allelic imbalance (AAI), defined as I(Hl-H2)1/(Hl +
some number, i.e. the chromosome type. Normal humans                 H2), where Hi is the average number of copies of homolog
have 22 types of numbered autosomal chromosome types,                i in the sample and Hi/(Hl+H2) is the fractional abundance,
and two types of sex chromosomes. It may also refer to the 35 or homolog ratio, of homolog i. The maximum homolog
parental origin of the chromosome. It may also refer to a            ratio is the homolog ratio of the more abundant homolog.
specific chromosome inherited from the parent. It may also              Assay drop-out rate is the percentage of SNPs with no
refer to other identifying features of a chromosome.                 reads, estimated using all SNPs.
   Allelic Data refers to a set of genotypic data concerning            Single allele drop-out (ADO) rate is the percentage of
a set of one or more alleles. It may refer to the phased, 40 SNPs with only one allele present, estimated using only
haplotypic data. It may refer to SNP identities, and it may          heterozygous SNPs.
refer to the sequence data of the DNA, including insertions,            Primer, also "PCR probe" refers to a single nucleic acid
deletions, repeats and mutations. It may include the parental        molecule (such as a DNA molecule or a DNA oligomer) or
origin of each allele.                                               a collection of nucleic acid molecules (such as DNA mol-
   Allelic State refers to the actual state of the genes in a set 45 ecules or DNA oligomers) where the molecules are identical,
of one or more alleles. It may refer to the actual state of the      or nearly so, and wherein the primer contains a region that
genes described by the allelic data.                                 is designed to hybridize to a targeted locus (e.g., a targeted
   Allele Count refers to the number of sequences that map           polymorphic locus or a non-polymorphic locus) or to a
to a particular locus, and if that locus is polymorphic, it          universal priming sequence, and may contain a priming
refers to the number of sequences that map to each of the 50 sequence designed to allow PCR amplification. A primer
alleles. If each allele is counted in a binary fashion, then the     may also contain a molecular barcode. A primer may contain
allele count will be whole number. If the alleles are counted        a random region that differs for each individual molecule.
probabilistically, then the allele count can be a fractional            Library of primers refers to a population of two or more
number.                                                              primers. In various embodiments, the library includes at
   Allele Count Probability refers to the number of 55 least 100; 200; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000;
sequences that are likely to map to a particular locus or a set      20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or 100,000
of alleles at a polymorphic locus, combined with the prob-           different primers. In various embodiments, the library
ability of the mapping. Note that allele counts are equivalent       includes at least 100; 200; 500; 750; 1,000; 2,000; 5,000;
to allele count probabilities where the probability of the           7,500; 10,000; 20,000; 25,000; 30,000; 40,000; 50,000;
mapping for each counted sequence is binary (zero or one). 60 75,000; or 100,000 different primer pairs, wherein each pair
In some embodiments, the allele count probabilities may be           of primers includes a forward test primer and a reverse test
binary. In some embodiments, the allele count probabilities          primer where each pair of test primers hybridize to a target
may be set to be equal to the DNA measurements.                      locus. In some embodiments, the library of primers includes
   Allelic Distribution, or "allele count distribution" refers to    at least 100; 200; 500; 750; 1,000; 2,000; 5,000; 7,500;
the relative amount of each allele that is present for each 65 10,000; 20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or
locus in a set of loci. An allelic distribution can refer to an      100,000 different individual primers that each hybridize to a
individual, to a sample, or to a set of measurements made on         different target locus, wherein the individual primers arc not




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part of primer pairs. In some embodiments, the library has             Heterozygosity Rate refers to the rate of individuals in the
both (i) primer pairs and (ii) individual primers (such as          population having heterozygous alleles at a given locus. The
universal primers) that are not part of primer pairs.               heterozygosity rate may also refer to the expected or mea-
   Different primers refers to non-identical primers.               sured ratio of alleles, at a given locus in an individual, or a
   Different pools refers to non-identical pools.                   sample of DNA or RNA.
   Different target loci refers to non-identical target loci.          Chromosomal Region refers to a segment of a chromo-
   Different amplicons refers to non-identical amplicons.           some, or a full chromosome.
   Hybrid Capture Probe refers to any nucleic acid sequence,           Segment of a Chromosome refers to a section of a
possibly modified, that is generated by various methods such        chromosome that can range in size from one base pair to the
as PCR or direct synthesis and intended to be complemen- 10 entire chromosome.
tary to one strand of a specific target DNA sequence in a              Chromosome refers to either a full chromosome, or a
sample. The exogenous hybrid capture probes may be added            segment or section of a chromosome.
to a prepared sample and hybridized through a denature-                Copies refers to the number of copies of a chromosome
reannealing process to form duplexes of exogenous-endog-            segment. It may refer to identical copies, or to non-identical,
enous fragments. These duplexes may then be physically 15 homologous copies of a chromosome segment wherein the
separated from the sample by various means.                         different copies of the chromosome segment contain a
   Sequence Read refers to data representing a sequence of          substantially similar set ofloci, and where one or more of the
nucleotide bases that were measured, e.g., using a clonal           alleles are different. Note that in some cases of aneuploidy,
sequencing method. Clonal sequencing may produce                    such as the M2 copy error, it is possible to have some copies
sequence data representing single, or clones, or clusters of 20 of the given chromosome segment that are identical as well
one original DNA molecule. A sequence read may also have            as some copies of the same chromosome segment that are
associated quality score at each base position of the               not identical.
sequence indicating the probability that nucleotide has been           Haplotype refers to a combination of alleles at multiple
called correctly.                                                   loci that are typically inherited together on the same chro-
   Mapping a sequence read is the process of determining a 25 mosome. Haplotype may refer to as few as two loci or to an
sequence read's location of origin in the genome sequence           entire chromosome depending on the number of recombi-
of a particular organism. The location of origin of sequence        nation events that have occurred between a given set of loci.
reads is based on similarity of nucleotide sequence of the          Haplotype can also refer to a set of SNPs on a single
read and the genome sequence.                                       chromatid that are statistically associated.
   Matched Copy Error, also "Matching Chromosome Aneu- 30              Haplotypic Data, also "Phased Data" or "Ordered Genetic
ploidy" (MCA), refers to a state of aneuploidy where one            Data," refers to data from a single chromosome or chromo-
cell contains two identical or nearly identical chromosomes.        some segment in a diploid or polyploid genome, e.g., either
This type of aneuploidy may arise during the formation of           the segregated maternal or paternal copy of a chromosome
the gametes in meiosis, and may be referred to as a meiotic         in a diploid genome.
non-disjunction error. This type of error may arise in mitosis. 35     Phasing refers to the act of determining the haplotypic
Matching trisomy may refer to the case where three copies           genetic data of an individual given unordered, diploid (or
of a given chromosome are present in an individual and two          polyploidy) genetic data. It may refer to the act of deter-
of the copies are identical.                                        mining which of two genes at an allele, for a set of alleles
   Unmatched Copy Error, also "Unique Chromosome                    found on one chromosome, are associated with each of the
Aneuploidy" (UCA), refers to a state of aneuploidy where 40 two homologous chromosomes in an individual.
one cell contains two chromosomes that are from the same               Phased Data refers to genetic data where one or more
parent, and that may be homologous but not identical. This          haplotypes have been determined.
type of aneuploidy may arise during meiosis, and may be                Hypothesis refers to a possible state, such as a possible
referred to as a meiotic error. Unmatching trisomy may refer        degree of overrepresentation of the number of copies of a
to the case where three copies of a given chromosome are 45 first homologous chromosome or chromosome segment as
present in an individual and two of the copies are from the         compared to a second homologous chromosome or chromo-
same parent, and are homologous, but are not identical. Note        some segment, a possible deletion, a possible duplication, a
that unmatching trisomy may refer to the case where two             possible ploidy state at a given set of one or more chromo-
homologous chromosomes from one parent are present, and             somes or chromosome segments, a possible allelic state at a
where some segments of the chromosomes are identical 50 given set of one or more loci, a possible paternity relation-
while other segments are merely homologous.                         ship, or a possible DNA, RNA, fetal fraction at a given set
   Homologous Chromosomes refers to chromosome copies               of one or more chromosomes or chromosome segment, or a
that contain the same set of genes that normally pair up            set of quantities of genetic material from a set of loci. The
during meiosis.                                                     genetic states can optionally be linked with probabilities
   Identical Chromosomes refers to chromosome copies that 55 indicating the relative likelihood of each of the elements in
contain the same set of genes, and for each gene they have          the hypothesis being true in relation to other elements in the
the same set of alleles that are identical, or nearly identical.    hypothesis, or the relative likelihood of the hypothesis as a
   Allele Drop Out (ADO) refers to the situation where at           whole being true. The set of possibilities may comprise one
least one of the base pairs in a set of base pairs from             or more elements.
homologous chromosomes at a given allele is not detected. 60           Copy Number Hypothesis, also "Ploidy State Hypoth-
   Locus Drop Out (LDO) refers to the situation where both          esis," refers to a hypothesis concerning the number of copies
base pairs in a set of base pairs from homologous chromo-           of a chromosome or chromosome segment in an individual.
somes at a given allele are not detected.                           It may also refer to a hypothesis concerning the identity of
   Homozygous refers to having similar alleles as corre-            each of the chromosomes, including the parent of origin of
sponding chromosomal loci.                                       65 each chromosome, and which of the parent's two chromo-
   Heterozygous refers to having dissimilar alleles as corre-       somes are present in the individual. It may also refer to a
sponding chromosomal loci.                                          hypothesis concerning which chromosomes, or chromosome




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segments, if any, from a related individual correspond             In the context of prenatal diagnosis, it refers to a method
genetically to a given chromosome from an individual.              designed to determine the ploidy state at one or more
   Related Individual refers to any individual who is geneti-      chromosomes or chromosome segments, the allelic state at
cally related to, and thus shares haplotype blocks with, the       one or more alleles, or paternity by statistically inferring the
target individual. In one context, the related individual may      most likely state, rather than by directly physically measur-
be a genetic parent of the target individual, or any genetic       ing the state, given a large amount of genetic data, for
material derived from a parent, such as a sperm, a polar           example from a molecular array or sequencing. In an
body, an embryo, a fetus, or a child. It may also refer to a       embodiment of the present disclosure, the informatics based
sibling, parent, or grandparent.                                   technique may be one disclosed in this patent application. In
   Sibling refers to any individual whose genetic parents are 10 an embodiment of the present disclosure it may be PAREN-
the same as the individual in question. In some embodi-            TAL SUPPORT.
ments, it may refer to a born child, an embryo, or a fetus, or        Primary Genetic Data refers to the analog intensity signals
one or more cells originating from a born child, an embryo,        that are output by a genotyping platform. In the context of
or a fetus. A sibling may also refer to a haploid individual       SNP arrays, primary genetic data refers to the intensity
that originates from one of the parents, such as a sperm, a 15 signals before any genotype calling has been done. In the
polar body, or any other set of haplotypic genetic matter. An      context of sequencing, primary genetic data refers to the
individual may be considered to be a sibling of itself.            analog measurements, analogous to the chromatogram, that
   Child may refer to an embryo, a blastomere, or a fetus.         comes off the sequencer before the identity of any base pairs
Note that in the presently disclosed embodiments, the con-         have been determined, and before the sequence has been
cepts described apply equally well to individuals who are a 20 mapped to the genome.
born child, a fetus, an embryo, or a set of cells therefrom.          Secondary Genetic Data refers to processed genetic data
The use of the term child may simply be meant to connote           that are output by a genotyping platform. In the context of
that the individual referred to as the child is the genetic        a SNP array, the secondary genetic data refers to the allele
offspring of the parents.                                          calls made by software associated with the SNP array reader,
   Fetal refers to "of the fetus," or "of the region of the 25 wherein the software has made a call whether a given allele
placenta that is genetically similar to the fetus". In a preg-     is present or not present in the sample. In the context of
nant woman, some portion of the placenta is genetically            sequencing, the secondary genetic data refers to the base pair
similar to the fetus, and the free floating fetal DNA found in     identities of the sequences have been determined, and pos-
maternal blood may have originated from the portion of the         sibly also where the sequences have been mapped to the
placenta with a genotype that matches the fetus. Note that 30 genome.
the genetic information in half of the chromosomes in a fetus         Preferential Enrichment of DNA that corresponds to a
is inherited from the mother of the fetus. In some embodi-         locus, or preferential enrichment of DNA at a locus, refers
ments, the DNA from these maternally inherited chromo-             to any method that results in the percentage of molecules of
somes that came from a fetal cell is considered to be "of fetal    DNA in a post-enrichment DNA mixture that correspond to
origin," not "of maternal origin."                              35 the locus being higher than the percentage of molecules of
   DNA of Fetal Origin refers to DNA that was originally           DNA in the pre-enrichment DNA mixture that correspond to
part of a cell whose genotype was essentially equivalent to        the locus. The method may involve selective amplification
that of the fetus.                                                 of DNA molecules that correspond to a locus. The method
   DNA of Maternal Origin refers to DNA that was origi-            may involve removing DNA molecules that do not corre-
nally part of a cell whose genotype was essentially equiva- 40 spond to the locus. The method may involve a combination
lent to that of the mother.                                        of methods. The degree of enrichment is defined as the
   Parent refers to the genetic mother or father of an indi-       percentage of molecules of DNA in the post-enrichment
vidual. An individual typically has two parents, a mother and      mixture that correspond to the locus divided by the percent-
a father, though this may not necessarily be the case such as      age of molecules of DNA in the pre-enrichment mixture that
in genetic or chromosomal chimerism. A parent may be 45 correspond to the locus. Preferential enrichment may be
considered to be an individual.                                    carried out at a plurality ofloci. In some embodiments of the
   Parental Context refers to the genetic state of a given SNP,    present disclosure, the degree of enrichment is greater than
on each of the two relevant chromosomes for one or both of         20, 200, or 2,000. When preferential enrichment is carried
the two parents of the target.                                     out at a plurality ofloci, the degree of enrichment may refer
   Maternal Plasma refers to the plasma portion of the blood 50 to the average degree of enrichment of all of the loci in the
from a female who is pregnant.                                     set of loci.
   Clinical Decision refers to any decision to take or not take       Amplification refers to a method that increases the num-
an action that has an outcome that affects the health or           ber of copies of a molecule of DNA or RNA.
survival of an individual. A clinical decision may also refer         Selective Amplification may refer to a method that
to a decision to conduct further testing, to abort or maintain 55 increases the number of copies of a particular molecule of
a pregnancy, to take actions to mitigate an undesirable            DNA (or RNA), or molecules of DNA (or RNA) that
phenotype, or to take actions to prepare for a phenotype.          correspond to a particular region of DNA (or RNA). It may
   Diagnostic Box refers to one or a combination of                also refer to a method that increases the number of copies of
machines designed to perform one or a plurality of aspects         a particular targeted molecule of DNA (or RNA), or targeted
of the methods disclosed herein. In an embodiment, the 60 region of DNA (or RNA) more than it increases non-targeted
diagnostic box may be placed at a point of patient care. In        molecules or regions of DNA (or RNA). Selective amplifi-
an embodiment, the diagnostic box may perform targeted             cation may be a method of preferential enrichment.
amplification followed by sequencing. In an embodiment the            Universal Priming Sequence refers to a DNA (or RNA)
diagnostic box may function alone or with the help of a            sequence that may be appended to a population of target
technician.                                                     65 DNA (or RNA) molecules, for example by ligation, PCR, or
   Informatics Based Method refers to a method that relies         ligation mediated PCR. Once added to the population of
heavily on statistics to make sense of a large amount of data.     target molecules, primers specific to the universal priming




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sequences can be used to amplify the target population using    embodiments, the level of mRNA is determined by standard
a single pair of amplification primers. Universal priming       Northern blot analysis, and the level of protein is determined
sequences are typically not related to the target sequences.    by standard Western blot analysis, such as the analyses
   Universal Adapters, or "ligation adaptors" or "library       described herein or those described by, for example, Ausubel
tags" are nucleic acid molecules containing a universal         et al. (Current Protocols in Molecular Biology, John Wiley
priming sequence that can be covalently linked to the           & Sons, New York, Jul. 11, 2013, which is hereby incorpo-
5-prime and 3-prime end of a population of target double        rated by reference in its entirety). In one embodiment, the
stranded nucleic acid molecules. The addition of the adapt-     level of a protein is determined by measuring the level of
ers provides universal priming sequences to the 5-prime and     enzymatic activity, using standard methods. In another pre-
3-prime end of the target population from which PCR 10 ferred embodiment, the level of mRNA, protein, or enzy-
amplification can take place, amplifying all molecules from     matic activity is equal to or less than 20, 10, 5, or 2-fold
the target population, using a single pair of amplification     above the corresponding level in control cells that do not
primers.                                                        express a functional form of the protein, such as cells
   Targeting refers to a method used to selectively amplify or  homozygous for a nonsense mutation. In yet another
otherwise preferentially enrich those molecules of DNA (or 15 embodiment, the level of mRNA, protein, or enzymatic
RNA) that correspond to a set ofloci in a mixture of DNA        activity is equal to or less than 20, 10, 5, or 2-fold above the
(or RNA).                                                       corresponding basal level in control cells, such as non-
   Joint Distribution Model refers to a model that defines the  cancerous cells, cells that have not been exposed to condi-
probability of events defined in terms of multiple random       tions that induce abnormal cell proliferation or that inhibit
variables, given a plurality of random variables defined on 20 apoptosis, or cells from a subject without the disease or
the same probability space, where the probabilities of the      disorder of interest.
variable are linked. In some embodiments, the degenerate           Dosage sufficient to modulate mRNA or protein expres-
case where the probabilities of the variables are not linked    sion or activity refers to an amount of a therapy that
may be used.                                                    increases or decreases mRNA or protein expression or
   Cancer-related gene refers to a gene associated with an 25 activity when administered to a subject. In some embodi-
altered risk for a cancer or an altered prognosis for a cancer. ments, for a compound that decreases expression or activity,
Exemplary cancer-related genes that promote cancer include      the modulation is a decrease in expression or activity that is
oncogenes; genes that enhance cell proliferation, invasion,     at least 10%, 30%, 40%, 50%, 75%, or 90% lower in a
or metastasis; genes that inhibit apoptosis; and pro-angio-     treated subject than in the same subject prior to the admin-
genesis genes. Cancer-related genes that inhibit cancer 30 istration of the inhibitor or than in an untreated, control
include, but are not limited to, tumor suppressor genes;        subject. In addition, In some embodiments, for a compound
genes that inhibit cell proliferation, invasion, or metastasis; that increases expression or activity, the amount of expres-
genes that promote apoptosis; and anti-angiogenesis genes.      sion or activity of the mRNA or protein is at least 1.5-, 2-,
   Estrogen-related cancer refers to a cancer that is modu-     3-, 5-, 10-, or 20-fold greater in a treated subject than in the
lated by estrogen. Examples of estrogen-related cancers 35 same subject prior to the administration of the modulator or
include, without limitation, breast cancer and ovarian can-     than in an untreated, control subject.
cer. Her2 is overexpressed in many estrogen-related cancers        In some embodiments, compounds may directly or indi-
(U.S. Pat. No. 6,165,464, which is hereby incorporated by       rectly modulate the expression or activity of the mRNA or
reference in its entirety).                                     protein. For example, a compound may indirectly modulate
   Androgen-related cancer refers to a cancer that is modu- 40 the expression or activity of an mRNA or protein of interest
lated by androgen. An example of androgen-related cancers       by modulating the expression or activity of a molecule (e.g.,
is prostate cancer.                                             a nucleic acid, protein, signaling molecule, growth factor,
   Higher than normal expression level refers to expression     cytokine, or chemokine) that directly or indirectly affects the
of an mRNA or protein at a level that is higher than the        expression or activity of the mRNA or protein of interest. In
average expression level of the corresponding molecule in 45 some embodiments, the compounds inhibit cell division or
control subjects (such as subjects without a disease or         induce apoptosis. These compounds in the therapy may
disorder such as cancer). In various embodiments, the           include, for example, unpurified or purified proteins, anti-
expression level is at least 20, 40, 50, 75, 90, 100, 200, 500, bodies, synthetic organic molecules, naturally-occurring
or even 1000% higher than the level in control subjects.        organic molecules, nucleic acid molecules, and components
   Lower than normal expression level refers to expression 50 thereof. The compounds in a combination therapy may be
of an mRNA or protein at a level that is lower than the         administered simultaneously or sequentially. Exemplary
average expression level of the corresponding molecule in       compounds include signal transduction inhibitors.
control subjects (such as subjects without a disease or            Purified refers to being separated from other components
disorder such as cancer). In various embodiments, the           that naturally accompany it. Typically, a factor is substan-
expression level is at least 20, 40, 50, 75, 90, 95, or 100% 55 tially pure when it is at least 50%, by weight, free from
lower than the level in control subjects. In some embodi-       proteins, antibodies, and naturally-occurring organic mol-
ments, the expression of the mRNA or protein is not             ecules with which it is naturally associated. In some embodi-
detectable.                                                     ments, the factor is at least 75%, 90%, or 99%, by weight,
   Modulate expression or activity refers to either increasing  pure. A substantially pure factor may be obtained by chemi-
or decreasing expression or activity, for example, of a 60 cal synthesis, separation of the factor from natural sources,
protein or nucleic acid sequence, relative to control condi-    or production of the factor in a recombinant host cell that
tions. In some embodiments, the modulation in expression        does not naturally produce the factor. Proteins and small
or activity is an increase or decrease of at least 10, 20, 40,  molecules may be purified by one skilled in the art using
50, 75, 90, 100, 200, 500, or even 1000%. In various            standard techniques such as those described by Ausubel et
embodiments, transcription, translation, mRNA or protein 65 al. (Current Protocols in Molecular Biology, John Wiley &
stability, or the binding of the mRNA or protein to other       Sons, New York, Jul. 11, 2013, which is hereby incorporated
molecules in vivo is modulated by the therapy. In some          by reference in its entirety). In some embodiments the factor




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is at least 2, 5, or 10 times as pure as the starting material,       FIGS. 9A-9D are graphs showing the distribution of S/T
as measured using polyacrylamide gel electrophoresis, col-         for various copy number hypotheses for a DOR of 1000 and
unm chromatography, optical density, HPLC analysis, or             tumor fraction of 2% for an increasing number of SNPs.
western analysis (Ausubel et al., supra). Exemplary methods        FIG. 9A: 100 SNPs, FIG. 9B: 333 SNPs, FIG. 9C: 667
of purification include immunoprecipitation, colunm chro- 5 SNPs, FIG. 9D: 1000 SNPs.
matography such as immunoaffinity chromatography, mag-                FIGS. lOA-lOD are graphs showing the distribution of
netic bead immunoaffinity purification, and panning with a         S/T for various copy number hypotheses for a DOR of 1000
plate-bound antibody.                                              and tumor fraction of 3% for an increasing number of SNPs.
   Other features and advantages of the invention will be          FIG. lOA: 100 SNPs, FIG. lOB: 333 SNPs, FIG. lOC: 667
                                                                10
apparent from the following detailed description and from          SNPs, FIG. lOD: 1000 SNPs.
the claims.                                                           FIGS. llA-llD are graphs showing the distribution of
                                                                   S/T for various copy number hypotheses for a DOR of 1000
       BRIEF DESCRIPTION OF THE DRAWINGS                           and tumor fraction of 4% for an increasing number of SNPs.
                                                                15
                                                                   FIG. llA: 100 SNPs, FIG. llB: 333 SNPs, FIG. llC: 667
   The patent or application file contains at least one drawing    SNPs, FIG. llD: 1000 SNPs.
executed in color. Copies of this patent or patent application        FIGS. 12A-12D are graphs showing the distribution of
publication with color drawing(s) will be provided by the          S/T for various copy number hypotheses for a DOR of3000
Office upon request and payment of the necessary fee.              and tumor fraction of 0.5% for an increasing number of
   The presently disclosed embodiments will be further 20 SNPs. FIG. 12A: 100 SNPs, FIG. 12B: 333 SNPs, FIG. 12C:
explained with reference to the attached drawings, wherein         667 SNPs, FIG. 12D: 1000 SNPs.
like structures are referred to by like numerals throughout           FIGS. 13A-13D are graphs showing the distribution of
the several views. The drawings shown are not necessarily          S/T for various copy number hypotheses for a DOR of3000
to scale, with emphasis instead generally being placed upon        and tumor fraction of 1% for an increasing number of SNPs.
illustrating the principles of the presently disclosed embodi- 25 FIG. 13A: 100 SNPs, FIG. 13B: 333 SNPs, FIG. 13C: 667
ments.                                                             SNPs, FIG. 13D: 1000 SNPs.
   FIGS. lA-lD are graphs showing the distribution of the             FIG. 14 is a table indicating the sensitivity and specificity
test statistic S divided by T (the number ofSNPs) ("S/T") for      for detecting six microdeletion syndromes.
various copy number hypotheses for a depth of read (DOR)              FIG. 15 is a graphical representation of euploidy. The
of 500 and a tumor fraction of 1% for an increasing number 30 x-axis represents the linear position of the individual poly-
ofSNPs. FIG. lA: 100 SNPs, FIG. 18: 333 SNPs, FIG. lC:
                                                                   morphic loci along the chromosome, and the y-axis repre-
667 SNPs, FIG. lD: 1000 SNPs.
                                                                   sents the number of A allele reads as a fraction of the total
   FIGS. 2A-2D are graphs showing the distribution of S/T
                                                                   (A+B) allele reads. Maternal and fetal genotypes are indi-
for various copy number hypotheses for a DOR of 500 and
tumor fraction of 2% for an increasing number of SNPs. 35 cated to the right of the plots. The plots are symbol-coded
FIG. 2A: 100 SNPs, FIG. 2B: 333 SNPs, FIG. 2C: 667                 according to maternal genotype, such that solid circles
SNPs, FIG. 2D: 1000 SNPs.                                          indicate a maternal genotype of AA, solid squares indicate
   FIGS. 3A-3D are graphs showing the distribution of S/T          a maternal genotype of BB, and open triangles indicate a
for various copy number hypotheses for a DOR of 500 and            maternal genotype of AB. The left plot is a plot of when two
tumor fraction of 3% for an increasing number of SNPs. 40 chromosomes are present, and the fetal cfDNA fraction is
FIG. 3A: 100 SNPs, FIG. 3B: 333 SNPs, FIG. 3C: 667                 0%. This plot is from a non-pregnant woman, and thus
SNPs, FIG. 3D: 1000 SNPs.                                          represents the pattern when the genotype is entirely mater-
   FIGS. 4A-4D are graphs showing the distribution of S/T          nal. Allele clusters are thus centered around 1 (AA alleles),
for various copy number hypotheses for a DOR of 500 and            0.5 (AB alleles), and O (BB alleles). The center plot is a plot
tumor fraction of 4% for an increasing number of SNPs. 45 of when two chromosomes are present, and the fetal fraction
FIG. 4A: 100 SNPs, FIG. 4B: 333 SNPs, FIG. 4C: 667                 is 12%. The contribution of fetal alleles to the fraction of A
SNPs, FIG. 4D: 1000 SNPs.                                          allele reads shifts the position of some allele spots up or
   FIGS. SA-SD are graphs showing the distribution of S/T          down along the y-axis. The right plot is a plot of when two
for various copy number hypotheses for a DOR of 500 and            chromosomes are present, and the fetal fraction is 26%. The
tumor fraction of 5% for an increasing number of SNPs. 50 pattern, including two solid circle and two solid square
FIG. SA: 100 SNPs, FIG. SB: 333 SNPs, FIG. SC: 667                 peripheral bands and a trio of central open triangles, is
SNPs, FIG. SD: 1000 SNPs.                                          readily apparent.
   FIGS. 6A-6D are graphs showing the distribution of S/T             FIGS. 16A and 16B are graphical representations of
for various copy number hypotheses for a DOR of 500 and            22qll.2 deletion syndrome. FIG. 16A is for maternal
tumor fraction of 6% for an increasing number of SNPs. 55 22qll.2 deletion carrier (as indicated by the absence of the
FIG. 6A: 100 SNPs, FIG. 6B: 333 SNPs, FIG. 6C: 667                 open triangles indicating AB SNPs). FIG. 16B is for a
SNPs, FIG. 6D: 1000 SNPs.                                          paternally inherited 22qll deletion in a fetus (as indicated
   FIGS. 7A-7D are graphs showing the distribution of S/T          by the presence of solid circle and solid square peripheral
for various copy number hypotheses for a DOR of 1000 and           bands). The x-axis represents the linear position of the SNPs,
tumor fraction of 0.5% for an increasing number of SNPs. 60 and the y-axis indicates the fraction of A allele reads out of
FIG. 7A: 100 SNPs, FIG. 7B: 333 SNPs, FIG. 7C: 667                 the total reads. Each individual circle, triangle or square
SNPs, FIG. 7D: 1000 SNPs.                                          represents a single SNP locus.
   FIGS. SA-SD are graphs showing the distribution of S/T             FIG. 17 is a graphical representation of maternally inher-
for various copy number hypotheses for a DOR of 1000 and           ited Cri-du-Chat deletion syndrome (as indicated by the
tumor fraction of 1% for an increasing number of SNPs. 65 presence of two central open triangle shape bands instead of
FIG. SA: 100 SNPs, FIG. SB: 333 SNPs, FIG. SC: 667                 three open triangle shape bands). The x-axis represents the
SNPs, FIG. SD: 1000 SNPs.                                          linear position of the SNPs, and the y-axis indicates the




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fraction of A allele reads out of the total reads. Each             circles and squares represents a region in which a CNV is
individual circle, triangle or square represents a single SNP       present but there is no clearly visible separation of the
locus.                                                              measured allele ratios from the expected allele ratio of 0.5.
   FIG. 18 is a graphical representation of paternally inher-       For this analysis, 86 heterozygous SNPs were analyzed in
ited Wolf-Hirschhorn deletion syndrome (as indicated by the 5 the region of the CNV.
presence of solid circle and solid square peripheral bands).           FIGS. 31A and 31B are graphs showing the maximum
The x-axis represents the linear position of the SNPs, and the      likelihood estimation of the tumor fraction. The maximum
y-axis indicates the fraction of A allele reads out of the total    likelihood estimate is indicated by the peak of the graph and
reads. Each individual circle, triangle or square represents a      is 4.33% for FIG. 31A and 0.58% for FIG. 318.
single SNP locus.                                                10    FIG. 32A is a comparison of the graphs of the log of the
   FIGS. 19A-19D are graphical representations of X chro-           odds ratio for various possible tumor fractions for the high
mosome spike-in experiments to represent an extra copy of           tumor fraction sample (4.33%) and the low tumor fraction
a chromosome or chromosome segment. The plots show                  sample (0.58%). If the log odds ratio is less than 0, the
different amounts of DNA from a father mixed with DNA               euploid hypothesis is more likely. If the log odds ratio is
from the daughter: 16% father DNA (FIG. 19A), 10% father 15 greater than 0, the presence of a CNV is more likely.
DNA (FIG. 19B), 1% father DNA (FIG. 19C), and 0.1 %                    FIG. 32B is a graph of small tumor results plotted in
father DNA (FIG. 19D). The x-axis represents the linear             probability space. The graph depicts the probability of a
position of the SNPs on the X chromosome, and the y-axis            deletion divided by the probability of no deletion for various
indicates the fraction of M allele reads out of the total reads     possible tumor fractions for the low tumor fraction sample
(M+R). Each individual criss-cross, circle, triangle or square 20 (0.58%).
represents a single SNP locus with allele M or R.                      FIG. 33 is a graph of the log of the odds ratio for various
   FIGS. 20A and 20B are graphs of the false negative rate          possible tumor fractions for the low tumor fraction sample
using haplotype data (FIG. 20A) and without haplotype data          (0.58%). FIG. 33 is an enlarged version of the graph in FIG.
(FIG. 20B).                                                         32A for the low tumor fraction sample.
   FIGS. 21A and 21B are graphs of the false positive rate 25          FIG. 34 is a graph showing the limit of detection for single
for p=l % using haplotype data (FIG. 21A) and without               nucleotide variants in a tumor biopsy using three different
haplotype data (FIG. 218).                                          methods described in Example 6.
   FIGS. 22A and 22B are graphs of the false positive rate             FIG. 35 is a graph showing the limit of detection for single
for p=l.5% using haplotype data (FIG. 22A) and without              nucleotide variants in a plasma sample using three different
haplotype data (FIG. 22B).                                       30 methods described in Example 6.
   FIGS. 23A and 23B are graphs of the false positive rate             FIGS. 36A and 36B are graphs of the analysis of genomic
for p=2% using haplotype data (FIG. 23A) and without                DNA (FIG. 36A) or DNA from a single cell (FIG. 36B)
haplotype data (FIG. 23B).                                          using a library of approximately 28,000 primers designed to
   FIGS. 24A and 24B are graphs of the false positive rate          detect CNV s. The presence of two central bands instead of
for p=2.5% using haplotype data (FIG. 24A) and without 35 one central band indicates the presence of a CNV. The x-axis
haplotype data (FIG. 24B).                                          represents the linear position of the SNPs, and the y-axis
   FIGS. 25A and 25B are graphs of the false positive rate          indicates the fraction of A allele reads out of the total reads.
for p=3% using haplotype data (FIG. 25A) and without                   FIGS. 37Aand 37B are graphs of the analysis of genomic
haplotype data (FIG. 25B).                                          DNA (FIG. 37A) or DNA from a single cell (FIG. 37B)
   FIG. 26 is a table of false positive rates for the first 40 using a library of approximately 3,000 primers designed to
simulation.                                                         detect CNV s. The presence of two central bands instead of
   FIG. 27 is a table of false negative rates for the first         one central band indicates the presence of a CNV. The x-axis
simulation.                                                         represents the linear position of the SNPs, and the y-axis
   FIG. 28 contains a graph of reference counts (counts of          indicates the fraction of A allele reads out of the total reads.
one allele, such as the "A" allele) divided by total counts for 45     FIG. 38 is a graph illustrating the uniformity in DOR for
that locus for a normal (noncancerous) cell line, a graph of        these -3,000 loci.
reference counts divided by total counts for a cancer cell line        FIG. 39 is a table comparing error call metrics for
with a deletion and a graph of reference counts divided by          genomic DNA and DNA from a single cell.
total counts for a mixture of DNA from the normal cell line            FIG. 40 is a graph of error rates for transition mutations
(95%) and the cancer cell line (5%).                             50 and transversion mutations.
   FIG. 29 is a graph of reference counts divided by total             FIGS. 41A-D are graphs of Sensitivity of CoNVERGe
counts for a plasma sample from a patient with stage Ila            determined with PlasmArts. FIG. 41A: Correlation between
breast cancer with a tumor fraction estimated to be 4.33% (in       CoNVERGe-calculated AAI and actual input fraction in
which 4.33% of the DNA is from tumor cells). The diamond            PlasmArt samples with DNA from a 22q 11.2 deletion and
portion of the graph represents a region in which no CNV is 55 matched normal cell lines. FIG. 41B: Correlation between
present. The portion of the graph with solid circles and            calculated AAI and actual tumour DNA input in PlasmArt
squares represents a region in which a CNV is present and           samples with DNA from HCC2218 breast cancer cells with
there is a visible separation of the measured allele ratios         chromosome 2p and 2q CNV s and matched normal
from the expected allele ratio of 0.5. The solid square             HCC2218BL cells, containing 0-9.09% tumour DNA frac-
indicates one haplotype, and the solid circle indicates the 60 tions. FIG. 41C: Correlation between calculated AAI and
other haplotype. Approximately 636 heterozygous SNPs                actual tumour DNA input in PlasmArt samples with DNA
were analyzed in the region of the CNV.                             from HCC! 954 breast cancer cells with chromosome 1p and
   FIG. 30 is a graph of reference counts divided by total          lq CNVs and matched normal HCC1954BL cells, contain-
counts for a plasma sample from a patient with stage Ilb            ing 0-5.66% tumour DNA fractions. FIG. 41D: Allele fre-
breast cancer with a tumor fraction estimated to be 0.58%. 65 quency plot for HCC1954 cells used in FIG. C. In FIGS.
The open diamonds of the graph represents a region in which         41A-C, data points and error bars indicate the mean and
no CNV is present. The portion of the graph with solid              standard deviation (SD), respectively, of 3-8 replicates.




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    FIGS. 42A-B provide a model system for validation.           primary tumor indicate that SNVs were missed by AmpliSeq
Plasmart samples were made from cell lines with similar          and SNV mutations were identified in ctDNA from plasma
size profiles to plasma. FIG. 42A illustrates a son's plasma     with mmPCR-NGS.
with a 22qll deletion spiked into the father's plasma. Focal        FIG. 54Ais a plot of% VAF in Primary Lung Tumor. FIG.
CNV: 3 1\4B. FIG. 42B illustrates Chromosomes 1 and 2: 5 54B is a linear regression plot of AmpliSeq VAF vs. Natera
cancer cell lines into normal cell line of same individual.      VAF.
CNVs on chromosome arms lp, lq, 2p, 2q. FIGS. 42A and               FIG. 55 is a graph of Pool 1/4 of an 84-plex SNV PCR
42B are graphs showing fragment size distributions of an         primer reaction when primer concentration is limited.
exemplary Plasmart standard.                                        FIG. 56 is a graph of Pool 2/4 of an 84-plex SNV PCR
                                                              10 primer reaction when primer concentration is limited.
    FIG. 43A, FIG. 43B, FIG. 43C, and FIG. 43D provide
                                                                    FIG. 57 is a graph of Pool 3/4 of an 84-plex SNV PCR
results from a dilution curve of Plasmart synthetic ctDNA
                                                                 primer reaction when primer concentration is limited.
standards for validation of microdeletion and cancer panels.
                                                                    FIG. 58 is a graph of Pool 4/4 of an 84-plex SNV PCR
FIG. 43A is a graph showing the maximum likelihood of            primer reaction when primer concentration is limited.
tumor. FIG. 43B is an estimate of DNA fraction results as an 15     FIG. 59 illustrates a plot of Limit of Detection (LOD) vs.
odds ratio plot. FIG. 43C is a plot for the detection of         Depth of Read (DOR) for detection of SNV Transition and
transversion events. FIG. 43D is a plot for the detection of     Transversion mutations in a 84-plex PCR reaction at 15 PCR
Transition events.                                               cycles.
    FIG. 44 is a plot showing CNVs for various chromosomal          FIG. 60 illustrates a plot of Limit of Detection (LOD) vs.
regions as indicated for various samples at different % 20 Depth of Read (DOR) for detection of SNV Transition and
ctDNAs. The plot depicts plasma from 21 breast cancer            Transversion mutations in a 84-plex PCR reaction at 20 PCR
patients (stage 1-IIIB) and demonstrated that CNVs could be      cycles.
detected in ctDNA with anAAh:0.45% and required as few              FIG. 61 illustrates a plot of Limit of Detection (LOD) vs.
as 62 heterozygous SNPs.                                         Depth of Read (DOR) for detection of SNV Transition and
    FIG. 45 is a plot showing CNVs for various chromosomal 25 Transversion mutations in a 84-plex PCR reaction at 25 PCR
regions for various ovarian cancer samples with different %      cycles.
ctDNA levels. The plot indicates 100% detection rate at a           FIG. 62A is a plot illustrating sensitivity of detection of
9 .45% cutoff.                                                   SNVs in tumor cell genomic DNA. FIG. 62B illustrates
    FIG. 46A is a table showing the percent of breast or lung    sensitivity of detection ofSNVs in 1/3 single cells. FIG. 62C
cancer patients with an SNV or a combined SNV and/or 30 illustrates sensitivity of detection of SNVs in 2/3 single
CNV in ctDNA. The analysis was on ctDNA (plasma) from            cells. FIG. 62D illustrates sensitivity of detection of SNVs
Stage I-III cancer patients and indicates that the ability to    in 3/3 single cells. Comparable sensitivities are seen
detect CNV in plasma dramatically improves detection rate        between tumor and single cell genomic DNA.
vs. testing SNVs alone. FIG. 46B plots cumulative propor-           FIG. 63Aillustrates the workflow for analysis ofCNVs in
tion TCGA breast cancer patients covered vs. genes with 35 a variety of cancer sample types in a massively multiplexed
breast SNVs. FIG. 46C plots cumulative COSMIC patient            PCR (mmPCR) assay targeting SNPs. FIG. 63B illustrates
capture vs. cumulative patient coverage (TCGA) for breast        detection of somatic CNVs in human breast cancer cell lines
deletions. FIG. 46D plots cumulative COSMIC patient cap-         and matched normal cell lines (FIG. 63C) on the CoN-
ture vs. cumulative patient coverage (TCGA) for breast           VERGe platform. FIG. 63D illustrates detection of somatic
amplifications.                                               40 CNV s in human breast cancer cell lines and matched normal
    FIG. 47A is a graph of% samples at different breast          cell lines (FIG. 63E) on the CytoSNP-12 microarray plat-
cancer stages with tumor-specific SNVs and/or CNVs in            form. FIG. 63F is a plot of the maximum homolog ratios for
plasma. FIG. 47B is a table of percent detection of breast       CNVs identified by CoNVERG3e or CytoSNP-12 showing
CNVs and SNVs by stage.                                          a strong linear correlation of identified CNVs by either
    FIG. 48A is a graph of % samples at different breast 45 method.
cancer substages with tumor-specific SNVs and/or CNVs in            FIGS. 64A-H provide a comparison of Fresh Frozen (FF)
plasma. FIG. 48B is a table of percent detection of breast       and FFPE (formalin-fixed paraffin embedded) breast cancer
CNVs and SNVs by tumor substage.                                 samples to matched buffy coat gDNA control samples. FIG.
    FIG. 49A is a graph of% samples at different lung cancer     64A is a FF breast tissue control sample analyzed by
stages with tumor-specific SNVs and/or CNVs in plasma. 50 CoNVERGe. FIG. 64B is a FFPE breast tissue control
FIG. 49B is a table of lung plasma detection rate of lung        sample analyzed by CoNVERGe. FIG. 64C is a FF breast
SNVs and/or CNVs.                                                tumour tissue sample analyzed by CoNVERGe. FIG. 64D is
    FIG. SOA is a graph of% samples at different lung cancer     a FFPE breast tumour tissue sample analyzed by CoN-
substages with tumor-specific SNVs and/or CNVs in                VERGe. FIG. 64E is a FF breast tumour tissue sample
plasma. FIG. SOB is a table of lung plasma detection rate of 55 analyzed by CytoSNP-12. FIG. 64F is a FFPE breast tumour
lung SNVs and/or CNVs by tumor substage.                         tissue sample analyzed by CytoSNP-12. FIG. 64G compares
    FIG. 51A represents the histological finding/history for     the CoNVERGe assay to a microarray assay on breast
primary lung tumors analyzed for clonal and subclonal            cancer cell lines and FIG. 64H compares the CoNVERGe
tumor heterogeneity. FIG. 51B is a table of the VAF iden-        assay to the OneScan assay on breast cancer cell lines.
tities of the biopsied lung tumors by whole genome sequenc- 60      FIGS. 65A-D illustrate Allele frequency plots to reflect
ing and assaying by AmpliSEQ.                                    chromosome copy number using the CoNVERGe assay to
    FIG. 52 illustrates the use of ctDNA from plasma to          detect CNVs in single cells. FIG. 65A is the analysis of 1/3
identify both clonal and subclonal SNV mutations to over-        breast cancer single cell replicates. FIG. 65B is the analysis
come tumor heterogeneity.                                        of 2/3 breast cancer single cell replicates. FIG. 65C is the
    FIG. 53A is a table comparing VAF calls by AmpliSeq. 65 analysis of3/3 breast cancer single cell replicates. FIG. 65D
FIG. 53B is a table comparing VAF calls by mmPCR-NGS.            is the analysis ofa B-lymphocyte cell line lacking CNVs in
A comparison of the two tables for detection of SNVs in          the target regions.




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   FIGS. 66A-C illustrate Allele frequency plots to reflect         disease or disorder enable improved methods for diagnos-
chromosome copy number using the CoNVERGe assay to                  ing, prognosticating, preventing, delaying, stabilizing, or
detect CNVs in real plasma samples. FIG. 66A is a stage II          treating the disease or disorder. Several deletions or dupli-
breast cancer plasma cfDNA sample and its matched tumor             cations are known to be associated with cancer or with
biopsy gDNA. FIG. 66B is a late stage ovarian cancer                severe mental or physical handicaps.
plasma cfDNA sample and its matched tumor biopsy gDNA.                 In another aspect, the present invention generally relates,
FIG. 66C is a chart illustrating tumor heterogeneity as             at least in part, to improved methods of detecting single
determined by CNV detection in five late stage ovarian              nucleotide variations (SNVs). These improved methods
cancer plasma and matched tissue samples.                           include improved analytical methods, improved bioassay
   FIGS. 67A-H lists the chromosome positions, SNVs and 10 methods, and improved methods that use a combination of
mutation change in breast cancer.                                   improved analytical and bioassay methods. The methods in
   FIGS. 68A-B illustrate the major (FIG. 68A) and minor            certain illustrative embodiments are used to detect, diag-
allele (FIG. 68B) frequencies of SNPs used in a 3168                nose, monitor, or stage cancer, for example in samples where
mmPCR reaction.                                                     the SNV is present at very low concentrations, for example
   FIG. 69 shows an example system architecture XOO useful 15 less than 10%, 5%, 4%, 3%, 2.5%, 2%, 1%, 0.5%, 0.25%,
for performing embodiments of the present invention. Sys-           or 0.1 % relative to the total number of normal copies of the
tem architecture XOO includes an analysis platform XOS and          SNV locus, such as circulating free DNA samples. That is,
a laboratory information systems ("LISs") X04. X04 can be           these methods in certain illustrative embodiments are par-
connected to Genetic Data Source XlO. XOS may be con-               ticularly well suited for samples where there is a relatively
nected to LIS X04 over a network X02. Analysis platform 20 low percentage of a mutation or variant relative to the
XOS may alternatively or additionally be connected directly         normal polymorphic alleles present for that genetic loci.
to LIS X06. LIS X06 can be connected to Genetic Data                Finally, provided herein are methods that combine the
Source XlO. Analysis platform XOS includes one or more of           improved methods for detecting copy number variations
an input processor X12, a hypothesis manager X14, a                 with the improved methods for detecting single nucleotide
modeler X16, an error correction unit X18, a machine 25 variations.
learning unit X20, and an output processor X22.                        Successful treatment of a disease such as cancer often
   FIG. 70 illustrates an example computer system YOO for           relies on early diagnosis, correct staging of the disease,
performing embodiments of the present invention. System             selection of an effective therapeutic regimen, and close
architecture YOO includes one or more processors YlO, a             monitoring to prevent or detect relapse. For cancer diagno-
BUS Y20, a main memory Y30, a memory controller Y75, 30 sis, histological evaluation of tumor material obtained from
a communications and network interface YSO, a communi-              tissue biopsy is often considered the most reliable method.
cation path Y85, an input/output/display devices Y90, and           However, the invasive nature of biopsy-based sampling has
may also include a secondary memory Y40. Y40 may                    rendered it impractical for mass screening and regular
include a hard disk drive YSO and a removable storage drive         follow up. Therefore, the present methods have the advan-
Y60. Y60 can write to a removable storage unit Y70.              35 tage of being able to be performed non-invasively if desired
   While the above-identified drawings set forth presently          for relatively low cost with fast turnaround time. The
disclosed embodiments, other embodiments are also con-              targeted sequencing that may be used by the methods of the
templated, as noted in the discussion. This disclosure pres-        invention requires less reads than shotgun sequencing, such
ents illustrative embodiments by way of representation and          as a few million reads instead of 40 million reads, thereby
not limitation. Numerous other modifications and embodi- 40 decreasing cost. The multiplex PCR and next generation
ments can be devised by those skilled in the art which fall         sequencing that may be used increase throughput and
within the scope and spirit of the principles of the presently      reduces costs.
disclosed embodiments.                                                 In some embodiments, the methods are used to detect a
                                                                    deletion, duplication, or single nucleotide variant in an
            DETAILED DESCRIPTION OF THE                          45 individual. A sample from the individual that contains cells
                         INVENTION                                  or nucleic acids suspected of having a deletion, duplication,
                                                                    or single nucleotide variant may be analyzed. In some
   In one aspect, the present invention generally relates, at       embodiments, the sample is from a tissue or organ suspected
least in part, to improved methods of determining the               of having a deletion, duplication, or single nucleotide vari-
presence or absence of copy number variations, such as 50 ant, such as cells or a mass suspected of being cancerous.
deletions or duplications of chromosome segments or entire          The methods of the invention can be used to detect deletion,
chromosomes. The methods are particularly useful for                duplication, or single nucleotide variant that are only present
detecting small deletions or duplications, which can be             in one cell or a small number of cells in a mixture containing
difficult to detect with high specificity and sensitivity using     cells with the deletion, duplication, or single nucleotide
prior methods due to the small amount of data available from 55 variant and cells without the deletion, duplication, or single
the relevant chromosome segment. The methods include                nucleotide variant. In some embodiments, cfDNA or cfRNA
improved analytical methods, improved bioassay methods,             from a blood sample from the individual is analyzed. In
and combinations of improved analytical and bioassay meth-          some embodiments, cfDNA or cfRNA is secreted by cells,
ods. Methods of the invention can also be used to detect            such as cancer cells. In some embodiments, cfDNA or
deletions or duplications that are only present in a small 60 cfRNA is released by cells undergoing necrosis or apoptosis,
percentage of the cells or nucleic acid molecules that are          such as cancer cells. The methods of the invention can be
tested. This allows deletions or duplications to be detected        used to detect deletion, duplication, or single nucleotide
prior to the occurrence of disease (such as at a precancerous       variant that are only present in a small percentage of the
stage) or in the early stages of disease, such as before a large    cfDNA or cfRNA. In some embodiments, one or more cells
number of diseased cells (such as cancer cells) with the 65 from an embryo are tested.
deletion or duplication accumulate. The more accurate                  In some embodiments, the methods are used for non-
detection of deletions or duplications associated with a            invasive or invasive prenatal testing of a fetus. These




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methods can be used to determine the presence or absence            (rather than random noise). In contrast, if the differences
of deletions or duplications of a chromosome segment or an          between measured and expected allele ratios are only due to
entire chromosome, such as deletions or duplications known          noise (such as experimental error), then in some embodi-
to be associated severe mental or physical handicaps, learn-        ments, about half the time the first haplotype appears to be
ing disabilities, or cancer. In some embodiments for non-           overrepresented and about the other half of the time, the
invasive prenatal testing (NIPT), cells, cfDNA or cfRNA             second haplotype appears to be overrepresented.
from a blood sample from the pregnant mother is tested. The            Accuracy can be increased by taking into account the
methods allow the detection of a deletion or duplication in         linkage between SNPs, and the likelihood of crossovers
the cells, cfDNA, or cfRNA from the fetus despite the large         having occurred during the meiosis that gave rise to the
amount of cells, cfDNA, or cfRNA from the mother that is 10 gametes that formed the embryo that grew into the fetus.
also present. In some embodiments for invasive prenatal             Using linkage when creating the expected distribution of
testing, DNA or RNA from a sample from the fetus is tested          allele measurements for one or more hypotheses allows the
(such as a CVS or amniocentesis sample). Even if the                creation of expected allele measurements distributions that
sample is contaminated with DNA or RNA from the preg-               correspond to reality considerably better than when linkage
nant mother, the methods can be used to detect a deletion or 15 is not used. For example, imagine that there are two SNPs,
duplication in the fetal DNA or RNA.                                1 and 2 located nearby one another, and the mother is A at
   In addition to determining the presence or absence of            SNP 1 and A at SNP 2 on one homo log, and B at SNP 1 and
copy number variation, one or more other factors can be             Bat SNP 2 on homolog two. If the father is A for both SNPs
analyzed if desired. These factors can be used to increase the      on both homologs, and a B is measured for the fetus SNP 1,
accuracy of the diagnosis (such as determining the presence 20 this indicates that homolog two has been inherited by the
or absence of cancer or an increased risk for cancer, clas-         fetus, and therefore that there is a much higher likelihood of
sifying the cancer, or staging the cancer) or prognosis. These      a B being present in the fetus at SNP 2. A model that takes
factors can also be used to select a particular therapy or          into account linkage can predict this, while a model that does
treatment regimen that is likely to be effective in the subject.    not take linkage into account cannot. Alternately, if a mother
Exemplary factors include the presence or absence of poly- 25 is AB at SNP 1 and AB at nearby SNP 2, then two
morphisms or mutation; altered (increased or decreased)             hypotheses corresponding to maternal trisomy at that loca-
levels of total or particular cfDNA, cfRNA, microRNA                tion can be used-one involving a matching copy error
(miRNA); altered (increased or decreased) tumor fraction;           (nondisjunction in meiosis II or mitosis in early fetal devel-
altered (increased or decreased) methylation levels, altered        opment), and one involving an unmatching copy error
(increased or decreased) DNA integrity, altered (increased or 30 (nondisjunction in meiosis I). In the case of a matching copy
decreased) or alternative mRNA splicing.                            error trisomy, if the fetus inherited an AA from the mother
   The following sections describe methods for detecting            at SNP 1, then the fetus is much more likely to inherit either
deletions or duplications using phased data (such as inferred       an AA or BB from the mother at SNP 2, but not AB. In the
or measured phased data) or unphased data; samples that can         case of an unmatching copy error, the fetus inherits an AB
be tested; methods for sample preparation, amplification, 35 from the mother at both SNPs. The allele distribution
and quantification; methods for phasing genetic data; poly-         hypotheses made by a CNV calling method that takes into
morphisms, mutations, nucleic acid alterations, mRNA                account linkage can make these predictions, and therefore
splicing alterations, and changes in nucleic acid levels that       correspond to the actual allele measurements to a consider-
can be detected; databases with results from the methods,           ably greater extent than a CNV calling method that does not
other risk factors and screening methods; cancers that can be 40 take into account linkage.
diagnosed or treated; cancer treatments; cancer models for             In some embodiments, phased genetic data is used to
testing treatments; and methods for formulating and admin-          determine if there is an overrepresentation of the number of
istering treatments.                                                copies of a first homologous chromosome segment as com-
Exemplary Methods for Determining Ploidy Using Phased               pared to a second homologous chromosome segment in the
Data                                                             45 genome of an individual (such as in the genome of one or
   Some of the methods of the invention are based in part on        more cells or in cfDNA or cfRNA). Exemplary overrepre-
the discovery that using phased data for detecting CNVs             sentations include the duplication of the first homologous
decreases the false negative and false positive rates com-          chromosome segment or the deletion of the second homolo-
pared to using unphased data (FIGS. 20A-27). This                   gous chromosome segment. In some embodiments, there is
improvement is greatest for samples with CNVs present in 50 not an overrepresentation since the first and homologous
low levels. Thus, phase data increases the accuracy of CNV          chromosome segments are present in equal proportions
detection compared to using unphased data (such as methods          (such as one copy of each segment in a diploid sample). In
that calculate allele ratios at one or more loci or aggregate       some embodiments, calculated allele ratios in a nucleic acid
allele ratios to give an aggregated value (such as an average       sample are compared to expected allele ratios to determine
value) over a chromosome or chromosome segment without 55 if there is an overrepresentation as described further below.
considering whether the allele ratios at different loci indicate    In this specification the phrase "a first homologous chromo-
that the same or different haplotypes appear to be present in       some segment as compared to a second homologous chro-
an abnormal amount). Using phased data allows a more                mosome segment" means a first homolog of a chromosome
accurate determination to be made of whether differences            segment and a second homolog of the chromosome segment.
between measured and expected allele ratios are due to noise 60        In some embodiments, the method includes obtaining
or due to the presence of a CNV. For example, if the                phased genetic data for the first homologous chromosome
differences between measured and expected allele ratios at          segment comprising the identity of the allele present at that
most or all of the loci in a region indicate that the same          locus on the first homologous chromosome segment for each
haplotype is overrepresented, then a CNV is more likely to          locus in a set of polymorphic loci on the first homologous
be present. Using linkage between alleles in a haplotype 65 chromosome segment, obtaining phased genetic data for the
allows one to determine whether the measured genetic data           second homologous chromosome segment comprising the
is consistent with the same haplotypc being overrepresented         identity of the allele present at that locus on the second




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homologous chromosome segment for each locus in the set             segment for each locus in a set of polymorphic loci on the
of polymorphic loci on the second homologous chromosome             first homologous chromosome segment, (ii) obtaining
segment, and obtaining measured genetic allelic data com-           phased genetic data for the second homologous chromosome
prising, for each of the alleles at each of the loci in the set     segment comprising the identity of the allele present at that
of polymorphic loci, the amount of each allele present in a         locus on the second homologous chromosome segment for
sample of DNA or RNA from one or more target cells and              each locus in the set of polymorphic loci on the second
one or more non-target cells from the individual. In some           homologous chromosome segment, and (iii) obtaining mea-
embodiments, the method includes enumerating a set of one           sured genetic allelic data comprising the amount of each
or more hypotheses specifying the degree of overrepresen-           allele at each of the loci in the set of polymorphic loci in a
tation of the first homologous chromosome segment; calcu- 10 sample of DNA from one or more cells from the individual.
lating, for each of the hypotheses, expected genetic data for          In some embodiments, the method involves calculating
the plurality of loci in the sample from the obtained phased        allele ratios for one or more loci in the set of polymorphic
genetic data for one or more possible ratios of DNA or RNA          loci that are heterozygous in at least one cell from which the
from the one or more target cells to the total DNA or RNA           sample was derived (such as the loci that are heterozygous
in the sample; calculating (such as calculating on a com- 15 in the fetus and/or heterozygous in the mother). In some
puter) for each possible ratio of DNA or RNA and for each           embodiments, the calculated allele ratio for a particular
hypothesis, the data fit between the obtained genetic data of       locus is the measured quantity of one of the alleles divided
the sample and the expected genetic data for the sample for         by the total measured quantity of all the alleles for the locus.
that possible ratio of DNA or RNA and for that hypothesis;          In some embodiments, the calculated allele ratio for a
ranking one or more of the hypotheses according to the data 20 particular locus is the measured quantity of one of the alleles
fit; and selecting the hypothesis that is ranked the highest,       (such as the allele on the first homologous chromosome
thereby determining the degree of overrepresentation of the         segment) divided by the measured quantity of one or more
number of copies of the first homologous chromosome                 other alleles (such as the allele on the second homologous
segment in the genome of one or more cells from the                 chromosome segment) for the locus. The calculated allele
individual.                                                      25 ratios may be calculated using any of the methods described
    In one aspect, the invention features a method for deter-       herein or any standard method (such as any mathematical
mining a number of copies of a chromosome or chromosome             transformation of the calculated allele ratios described
segment of interest in the genome of a fetus. In some               herein).
embodiments, the method includes obtaining phased genetic              In some embodiments, the method involves determining
data for at least one biological parent of the fetus, wherein 30 if there is an overrepresentation of the number of copies of
the phased genetic data comprises the identity of the allele        the first homologous chromosome segment by comparing
present for each locus in a set of polymorphic loci on a first      one or more calculated allele ratios for a locus to an allele
homologous chromosome segment and a second homolo-                  ratio that is expected for that locus if the first and second
gous chromosome segment in the parent. In some embodi-              homologous chromosome segments are present in equal
ments, the method includes obtaining genetic data at the set 35 proportions. In some embodiments, the expected allele ratio
of polymorphic loci on the chromosome or chromosome                 assumes the possible alleles for a locus have an equal
segment in a mixed sample of DNA or RNA comprising fetal            likelihood of being present. In some embodiments in which
DNA or RNA and maternal DNA or RNA from the mother                  the calculated allele ratio for a particular locus is the
of the fetus by measuring the quantity of each allele at each       measured quantity of one of the alleles divided by the total
locus. In some embodiments, the method includes enumer- 40 measured quantity of all the alleles for the locus, the
ating a set of one or more hypotheses specifying the number         corresponding expected allele ratio is 0.5 for a biallelic
of copies of the chromosome or chromosome segment of                locus, or 1/3 for a triallelic locus. In some embodiments, the
interest present in the genome of the fetus. In some embodi-        expected allele ratio is the same for all the loci, such as 0.5
ments, the method includes creating (such as creating on a          for all loci. In some embodiments, the expected allele ratio
computer) for each of the hypotheses, a probability distri- 45 assumes that the possible alleles for a locus can have a
bution of the expected quantity of each allele at each of the       different likelihood of being present, such as the likelihood
plurality of loci in mixed sample from the (i) the obtained         based on the frequency of each of the alleles in a particular
phased genetic data from the parent(s) and optionally (ii) the      population that the subject belongs in, such as a population
probability of one or more crossovers that may have                 based on the ancestry of the subject. Such allele frequencies
occurred during the formation of a gamete that contributed 50 are publicly available (see, e.g., HapMap Project; Perlegen
a copy of the chromosome or chromosome segment of                   Human Haplotype Project; web at ncbi.nlm.nih.gov/proj-
interest to the fetus; calculating (such as calculating on a        ects/SNP/; Sherry S T, Ward M H, Kholodov M, et al.
computer) a fit, for each of the hypotheses, between (1) the        dbSNP: the NCBI database of genetic variation. Nucleic
obtained genetic data of the mixed sample and (2) the               Acids Res. 2001 Jan. 1; 29(1):308-11, which are each
probability distribution of the expected quantity of each 55 incorporated by reference in its entirety). In some embodi-
allele at each of the plurality of loci in mixed sample for that    ments, the expected allele ratio is the allele ratio that is
hypothesis; ranking one or more of the hypotheses according         expected for the particular individual being tested for a
to the data fit; and selecting the hypothesis that is ranked the    particular hypothesis specifying the degree of overrepresen-
highest, thereby determining the number of copies of the            tation of the first homologous chromosome segment. For
chromosome segment of interest in the genome of the fetus. 60 example, the expected allele ratio for a particular individual
    In some embodiments, the method involves obtaining              may be determined based on phased or unphased genetic
phased genetic data using any of the methods described              data from the individual (such as from a sample from the
herein or any known method. In some embodiments, the                individual that is unlikely to have a deletion or duplication
method involves simultaneously or sequentially in any order         such as a noncancerous sample) or data from one or more
(i) obtaining phased genetic data for the first homologous 65 relatives from the individual. In some embodiments for
chromosome segment comprising the identity of the allele            prenatal testing, the expected allele ratio is the allele ratio
present at that locus on the first homologous chromosome            that is expected for a mixed sample that includes DNA or




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RNA from the pregnant mother and the fetus (such as a              a particular locus. In some embodiments, one determines
maternal plasma or serum sample that includes cfDNA from           whether the average or weighted average value of the
the mother and cfDNA from the fetus) for a particular              calculated allele ratios is above or below the average or
hypothesis specifying the degree of overrepresentation of          weighted average value of the expected allele ratios irre-
the first homologous chromosome segment. For example,              spective of the magnitude of the difference. In some embodi-
the expected allele ratio for the mixed sample may be              ments, one determines the magnitude of the difference
determined based on genetic data from the mother and               between the average or weighted average value of the
predicted genetic data for the fetus (such as predictions for      calculated allele ratios and the average or weighted average
alleles that the fetus may have inherited from the mother          value of the expected allele ratios irrespective of whether the
and/or father). In some embodiments, phased or unphased 10 average or weighted average of the calculated allele ratio is
genetic data from a sample of DNA or RNA from only the             above or below the average or weighted average value of the
mother (such as the buffy coat from a maternal blood               expected allele ratio. In some embodiments, one determines
sample) is to determine the alleles from the maternal DNA          whether the average or weighted average value of the
or RNA in the mixed sample as well as alleles that the fetus       calculated allele ratios is above or below the average or
may have been inherited from the mother (and thus may be 15 weighted average value of the expected allele ratios and the
present in the fetal DNA or RNA in the mixed sample). In           magnitude of the difference. In some embodiments, one
some embodiments, phased or unphased genetic data from a           determines an average or weighted average value of the
sample of DNA or RNA from only the father is used to               magnitude of the difference between the calculated allele
determine the alleles that the fetus may have been inherited       ratios and the expected allele ratios.
from the father (and thus may be present in the fetal DNA 20          In some embodiments, the magnitude of the difference
or RNA in the mixed sample). The expected allele ratios may        between the calculated allele ratio and the expected allele
be calculated using any of the methods described herein or         ratio for one or more loci is used to determine whether the
any standard method (such as any mathematical transfor-            overrepresentation of the number of copies of the first
mation of the expected allele ratios described herein) (U.S.       homologous chromosome segment is due to a duplication of
Publication No 2012/0270212, filed Nov. 18, 2011, which is 25 the first homologous chromosome segment or a deletion of
hereby incorporated by reference in its entirety).                 the second homologous chromosome segment in the
   In some embodiments, a calculated allele ratio is indica-       genome of one or more of the cells.
tive of an overrepresentation of the number of copies of the          In some embodiments, an overrepresentation of the num-
first homologous chromosome segment if either (i) the allele       ber of copies of the first homologous chromosome segment
ratio for the measured quantity of the allele present at that 30 is determined to be present if one or more of following
locus on the first homologous chromosome divided by the            conditions is met. In some embodiments, the number of
total measured quantity of all the alleles for the locus is        calculated allele ratios that are indicative of an overrepre-
greater than the expected allele ratio for that locus, or (ii) the sentation of the number of copies of the first homologous
allele ratio for the measured quantity of the allele present at    chromosome segment is above a threshold value. In some
that locus on the second homologous chromosome divided 35 embodiments, the number of calculated allele ratios that are
by the total measured quantity of all the alleles for the locus    indicative of no overrepresentation of the number of copies
is less than the expected allele ratio for that locus. In some     of the first homologous chromosome segment is below a
embodiments, a calculated allele ratio is only considered          threshold value. In some embodiments, the magnitude of the
indicative of overrepresentation if it is significantly greater    difference between the calculated allele ratios that are
or lower than the expected ratio for that locus. In some 40 indicative of an overrepresentation of the number of copies
embodiments, a calculated allele ratio is indicative of no         of the first homologous chromosome segment and the cor-
overrepresentation of the number of copies of the first            responding expected allele ratios is above a threshold value.
homologous chromosome segment if either (i) the allele             In some embodiments, for all calculated allele ratios that are
ratio for the measured quantity of the allele present at that      indicative of overrepresentation, the sum of the magnitude
locus on the first homologous chromosome divided by the 45 of the difference between a calculated allele ratio and the
total measured quantity of all the alleles for the locus is less   corresponding expected allele ratio is above a threshold
than or equal to the expected allele ratio for that locus, or (ii) value. In some embodiments, the magnitude of the differ-
the allele ratio for the measured quantity of the allele present   ence between the calculated allele ratios that are indicative
at that locus on the second homologous chromosome                  of no overrepresentation of the number of copies of the first
divided by the total measured quantity of all the alleles for 50 homologous chromosome segment and the corresponding
the locus is greater than or equal to the expected allele ratio    expected allele ratios is below a threshold value. In some
for that locus. In some embodiments, calculated ratios equal       embodiments, the average or weighted average value of the
to the corresponding expected ratio are ignored (since they        calculated allele ratios for the measured quantity of the allele
are indicative of no overrepresentation).                          present on the first homologous chromosome divided by the
   In various embodiments, one or more of the following 55 total measured quantity of all the alleles for the locus is
methods is used to compare one or more of the calculated           greater than the average or weighted average value of the
allele ratios to the corresponding expected allele ratio(s). In    expected allele ratios by at least a threshold value. In some
some embodiments, one determines whether the calculated            embodiments, the average or weighted average value of the
allele ratio is above or below the expected allele ratio for a     calculated allele ratios for the measured quantity of the allele
particular locus irrespective of the magnitude of the differ- 60 present on the second homologous chromosome divided by
ence. In some embodiments, one determines the magnitude            the total measured quantity of all the alleles for the locus is
of the difference between the calculated allele ratio and the      less than the average or weighted average value of the
expected allele ratio for a particular locus irrespective of       expected allele ratios by at least a threshold value. In some
whether the calculated allele ratio is above or below the          embodiments, the data fit between the calculated allele ratios
expected allele ratio. In some embodiments, one determines 65 and allele ratios that are predicted for an overrepresentation
whether the calculated allele ratio is above or below the          of the number of copies of the first homologous chromo-
expected allele ratio and the magnitude of the difference for      some segment is below a threshold value (indicative of a




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good data fit). In some embodiments, the data fit between the     heterozygous in the mother) are estimated for each hypoth-
calculated allele ratios and allele ratios that are predicted for esis given the degree of overrepresentation specified by that
no overrepresentation of the number of copies of the first        hypothesis. In some embodiments, the likelihood that the
homologous chromosome segment is above a threshold                hypothesis is correct is calculated by comparing the calcu-
value (indicative of a poor data fit).                            lated allele ratios to the predicted allele ratios, and the
    In some embodiments, an overrepresentation of the num-        hypothesis with the greatest likelihood is selected.
ber of copies of the first homologous chromosome segment             In some embodiments, an expected distribution of a test
is determined to be absent if one or more of following            statistic is calculated using the predicted allele ratios for
conditions is met. In some embodiments, the number of             each hypothesis. In some embodiments, the likelihood that
calculated allele ratios that are indicative of an overrepre- 10 the hypothesis is correct is calculated by comparing a test
sentation of the number of copies of the first homologous         statistic that is calculated using the calculated allele ratios to
chromosome segment is below a threshold value. In some            the expected distribution of the test statistic that is calculated
embodiments, the number of calculated allele ratios that are      using the predicted allele ratios, and the hypothesis with the
indicative of no overrepresentation of the number of copies       greatest likelihood is selected.
of the first homologous chromosome segment is above a 15             In some embodiments, predicted allele ratios for the loci
threshold value. In some embodiments, the magnitude of the        that are heterozygous in at least one cell (such as the loci that
difference between the calculated allele ratios that are          are heterozygous in the fetus and/or heterozygous in the
indicative of an overrepresentation of the number of copies       mother) are estimated given the phased genetic data for the
of the first homologous chromosome segment and the cor-           first homologous chromosome segment, the phased genetic
responding expected allele ratios is below a threshold value. 20 data for the second homologous chromosome segment, and
In some embodiments, the magnitude of the difference              the degree of overrepresentation specified by that hypoth-
between the calculated allele ratios that are indicative of no    esis. In some embodiments, the likelihood that the hypoth-
overrepresentation of the number of copies of the first           esis is correct is calculated by comparing the calculated
homologous chromosome segment and the corresponding               allele ratios to the predicted allele ratios; and the hypothesis
expected allele ratios is above a threshold value. In some 25 with the greatest likelihood is selected.
embodiments, the average or weighted average value of the         Use of Mixed Samples
calculated allele ratios for the measured quantity of the allele     It will be understood that for many embodiments, the
present on the first homologous chromosome divided by the         sample is a mixed sample with DNA or RNA from one or
total measured quantity of all the alleles for the locus minus    more target cells and one or more non-target cells. In some
the average or weighted average value of the expected allele 30 embodiments, the target cells are cells that have a CNV, such
ratios is less than a threshold value. In some embodiments,       as a deletion or duplication of interest, and the non-target
the average or weighted average value of the expected allele      cells are cells that do not have the copy number variation of
ratios minus the average or weighted average value of the         interest (such as a mixture of cells with the deletion or
calculated allele ratios for the measured quantity of the allele  duplication of interest and cells without any of the deletions
present on the second homologous chromosome divided by 35 or duplications being tested). In some embodiments, the
the total measured quantity of all the alleles for the locus is   target cells are cells that are associated with a disease or
less than a threshold value. In some embodiments, the data        disorder or an increased risk for disease or disorder (such as
fit between the calculated allele ratios and allele ratios that   cancer cells), and the non-target cells are cells that are not
are predicted for an overrepresentation of the number of          associated with a disease or disorder or an increased risk for
copies of the first homologous chromosome segment is 40 disease or disorder (such as noncancerous cells). In some
above a threshold value. In some embodiments, the data fit        embodiments, the target cells all have the same CNV. In
between the calculated allele ratios and allele ratios that are   some embodiments, two or more target cells have different
predicted for no overrepresentation of the number of copies       CNV s. In some embodiments, one or more of the target cells
of the first homologous chromosome segment is below a             has a CNV, polymorphism, or mutation associated with the
threshold value. In some embodiments, the threshold is 45 disease or disorder or an increased risk for disease or
determined from empirical testing of samples known to have        disorder that is not found it at least one other target cell. In
a CNV of interest and/or samples known to lack the CNV.           some such embodiments, the fraction of the cells that are
    In some embodiments, determining if there is an over-         associated with the disease or disorder or an increased risk
representation of the number of copies of the first homolo-       for disease or disorder out of the total cells from a sample is
gous chromosome segment includes enumerating a set of 50 assumed to be greater than or equal to the fraction of the
one or more hypotheses specifying the degree of overrep-          most frequent of these CNVs, polymorphisms, or mutations
resentation of the first homologous chromosome segment.           in the sample. For example if 6% of the cells have a K-ras
On exemplary hypothesis is the absence of an overrepre-           mutation, and 8% of the cells have a BRAF mutation, at least
sentation since the first and homologous chromosome seg-          8% of the cells are assumed to be cancerous.
ments are present in equal proportions (such as one copy of 55       In some embodiments, the ratio of DNA (or RNA) from
each segment in a diploid sample). Other exemplary hypoth-        the one or more target cells to the total DNA (or RNA) in the
eses include the first homologous chromosome segment              sample is calculated. In some embodiments, a set of one or
being duplicated one or more times (such as 1, 2, 3, 4, 5, or     more hypotheses specifying the degree of overrepresenta-
more extra copies of the first homologous chromosome              tion of the first homologous chromosome segment are
compared to the number of copies of the second homologous 60 enumerated. In some embodiments, predicted allele ratios
chromosome segment). Another exemplary hypothesis                 for the loci that are heterozygous in at least one cell (such as
includes the deletion of the second homologous chromo-            the loci that are heterozygous in the fetus and/or heterozy-
some segment. Yet another exemplary hypothesis is the             gous in the mother) are estimated given the calculated ratio
deletion of both the first and the second homologous chro-        of DNA or RNA and the degree of overrepresentation
mosome segments. In some embodiments, predicted allele 65 specified by that hypothesis are estimated for each hypoth-
ratios for the loci that are heterozygous in at least one cell    esis. In some embodiments, the likelihood that the hypoth-
(such as the loci that arc heterozygous in the fetus and/or       esis is correct is calculated by comparing the calculated




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allele ratios to the predicted allele ratios, and the hypothesis      lated allele ratios to the predicted allele ratios, or (ii) a test
with the greatest likelihood is selected.                             statistic calculated using the calculated allele ratios and the
    In some embodiments, an expected distribution of a test           possible ratio of DNA or RNA to the expected distribution
statistic calculated using the predicted allele ratios and the        of the test statistic calculated using the predicted allele ratios
calculated ratio of DNA or RNA is estimated for each                  and the possible ratio of DNA or RNA. In some embodi-
hypothesis. In some embodiments, the likelihood that the              ments, the combined probability for each hypothesis is
hypothesis is correct is determined by comparing a test               determined by combining the probabilities of that hypothesis
statistic calculated using the calculated allele ratios and the       for each of the possible ratios in the partition; and the
calculated ratio of DNA or RNA to the expected distribution           hypothesis with the greatest combined probability is
of the test statistic calculated using the predicted allele ratios 10 selected. In some embodiments, the combined probability
and the calculated ratio of DNA or RNA, and the hypothesis            for each hypothesis is determining by weighting the prob-
with the greatest likelihood is selected.                             ability of a hypothesis for a particular possible ratio based on
    In some embodiments, the method includes enumerating              the likelihood that the possible ratio is the correct ratio.
a set of one or more hypotheses specifying the degree of                 In some embodiments, a technique selected from the
overrepresentation of the first homologous chromosome 15 group consisting of maximum likelihood estimation, maxi-
segment. In some embodiments, the method includes esti-               mum a-posteriori estimation, Bayesian estimation, dynamic
mating, for each hypothesis, either (i) predicted allele ratios       estimation (such as dynamic Bayesian estimation), and
for the loci that are heterozygous in at least one cell (such as      expectation-maximization estimation is used to estimate the
the loci that are heterozygous in the fetus and/or heterozy-          ratio of DNA or RNA from the one or more target cells to
gous in the mother) given the degree of overrepresentation 20 the total DNA or RNA in the sample. In some embodiments,
specified by that hypothesis or (ii) for one or more possible         the ratio of DNA or RNA from the one or more target cells
ratios of DNA or RNA, an expected distribution of a test              to the total DNA or RNA in the sample is assumed to be the
statistic calculated using the predicted allele ratios and the        same for two or more (or all) of the CNVs of interest. In
possible ratio of DNA or RNA from the one or more target              some embodiments, the ratio of DNA or RNA from the one
cells to the total DNA or RNA in the sample. In some 25 or more target cells to the total DNA or RNA in the sample
embodiments, a data fit is calculated by comparing either (i)         is calculated for each CNV of interest.
the calculated allele ratios to the predicted allele ratios, or       Exemplary Methods for Using Imperfectly Phased Data
(ii) a test statistic calculated using the calculated allele ratios      It will be understood that for many embodiments, imper-
and the possible ratio of DNA or RNA to the expected                  fectly phased data is used. For example, it may not be known
distribution of the test statistic calculated using the predicted 30 with 100% certainty which allele is present for one or more
allele ratios and the possible ratio of DNA or RNA. In some           of the loci on the first and/or second homologous chromo-
embodiments, one or more of the hypotheses are ranked                 some segment. In some embodiments, the priors for possible
according to the data fit, and the hypothesis that is ranked the      haplotypes of the individual (such as haplotypes based on
highest is selected. In some embodiments, a technique or              population based haplotype frequencies) are used in calcu-
algorithm, such as a search algorithm, is used for one or 35 lating the probability of each hypothesis. In some embodi-
more of the following steps: calculating the data fit, ranking        ments, the priors for possible haplotypes are adjusted by
the hypotheses, or selecting the hypothesis that is ranked the        either using another method to phase the genetic data or by
highest. In some embodiments, the data fit is a fit to a              using phased data from other subjects (such as prior sub-
beta-binomial distribution or a fit to a binomial distribution.       jects) to refine population data used for informatics based
In some embodiments, the technique or algorithm is selected 40 phasing of the individual.
from the group consisting of maximum likelihood estima-                  In some embodiments, the phased genetic data comprises
tion, maximum a-posteriori estimation, Bayesian estimation,           probabilistic data for two or more possible sets of phased
dynamic estimation (such as dynamic Bayesian estimation),             genetic data, wherein each possible set of phased data
and expectation-maximization estimation. In some embodi-              comprises a possible identity of the allele present at each
ments, the method includes applying the technique or algo- 45 locus in the set of polymorphic loci on the first homologous
rithm to the obtained genetic data and the expected genetic           chromosome segment and a possible identity of the allele
data.                                                                 present at each locus in the set of polymorphic loci on the
    In some embodiments, the method includes creating a               second homologous chromosome segment. In some embodi-
partition of possible ratios that range from a lower limit to         ments, the probability for at least one of the hypotheses is
an upper limit for the ratio of DNA or RNA from the one or 50 determined for each of the possible sets of phased genetic
more target cells to the total DNA or RNA in the sample. In           data. In some embodiments, the combined probability for
some embodiments, a set of one or more hypotheses speci-              the hypothesis is determined by combining the probabilities
fying the degree of overrepresentation of the first homolo-           of the hypothesis for each of the possible sets of phased
gous chromosome segment are enumerated. In some                       genetic data; and the hypothesis with the greatest combined
embodiments, the method includes estimating, for each of 55 probability is selected.
the possible ratios of DNA or RNA in the partition and for               Any of the methods disclosed herein or any known
each hypothesis, either (i) predicted allele ratios for the loci      method may be used to generate imperfectly phased data
that are heterozygous in at least one cell (such as the loci that     (such as using population based haplotype frequencies to
are heterozygous in the fetus and/or heterozygous in the              infer the most likely phase) for use in the claimed methods.
mother) given the possible ratio of DNA or RNA and the 60 In some embodiments, phased data is obtained by probabi-
degree of overrepresentation specified by that hypothesis or          listically combining haplotypes of smaller segments. For
(ii) an expected distribution of a test statistic calculated          example, possible haplotypes can be determined based on
using the predicted allele ratios and the possible ratio of           possible combinations of one haplotype from a first region
DNA or RNA. In some embodiments, the method includes                  with another haplotype from another region from the same
calculating, for each of the possible ratios of DNA or RNA 65 chromosome. The probability that particular haplotypes
in the partition and for each hypothesis, the likelihood that         from different regions are part of the same, larger haplotype
the hypothesis is correct by comparing either (i) the calcu-          block on the same chromosome can be determined using,




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e.g., population based haplotype frequencies and/or known            method for detecting chromosomal ploidy in a sample of an
recombination rates between the different regions.                   individual, that includes the following steps:
   In some embodiments, a single hypothesis rejection test is           a. receiving nucleic acid sequence data for alleles at a set
used for the null hypothesis of disomy. In some embodi-                    of polymorphic loci on a chromosome segment in the
ments, the probability of the disomy hypothesis is calcu-                  individual;
lated, and the hypothesis of disomy is rejected if the prob-            b. detecting allele frequencies at the set of loci using the
ability is below a given threshold value (such as less than 1              nucleic acid sequence data;
in 1,000). If the null hypothesis is rejected, this could be due        c. correcting for allele amplification efficiency bias in the
to errors in the imperfectly phased data or due to the                     detected allele frequencies to generate corrected allele
presence of a CNV. In some embodiments, more accurate 10                   frequencies for the set of polymorphic loci;
phased data is obtained (such as phased data from any of the            d. generating phased allelic information for the set of
molecular phasing methods disclosed herein to obtain actual                polymorphic loci by estimating the phase of the nucleic
phased data rather than bioinformatics-based inferred                      acid sequence data;
phased data). In some embodiments, the probability of the               e. generating individual probabilities of allele frequencies
disomy hypothesis is recalculated using the more accurate 15               for the polymorphic loci for different ploidy states by
phased data to determine if the disomy hypothesis should                   comparing the corrected allele frequencies to a set of
still be rejected. Rejection of this hypothesis indicates that a           models of different ploidy states and allelic imbalance
duplication or deletion of the chromosome segment is pres-                 fractions of the set of polymorphic loci;
ent. If desired, the false positive rate can be altered by              f. generating joint probabilities for the set of polymorphic
adjusting the threshold value.                                    20       loci by combining the individual probabilities consid-
                                                                           ering the linkage between polymorphic loci on the
      Further Exemplary Embodiments for Determining                        chromosome segment; and
                    Ploidy Using Phased Data                            g. selecting, based on the joint probabilities, the best fit
                                                                           model indicative of chromosomal aneuploidy.
   In illustrative embodiments, provided herein is a method 25          As disclosed herein, the individual probabilities can be
for determining ploidy of a chromosomal segment in a                 generated using a set of models or hypothesis of both
sample of an individual. The method includes the following           different ploidy states and average allelic imbalance frac-
steps:                                                               tions for the set of polymorphic loci. For example, in a
   a. receiving allele frequency data comprising the amount          particularly illustrative example, individual probabilities are
       of each allele present in the sample at each loci in a set 30 generated by modeling ploidy states of a first homo log of the
       of polymorphic loci on the chromosomal segment;               chromosome segment and a second homolog of the chro-
   b. generating phased allelic information for the set of           mosome segment. The ploidy states that are modeled include
      polymorphic loci by estimating the phase of the allele         the following:
       frequency data;                                                  (1) all cells have no deletion or amplification of the first
   c. generating individual probabilities of allele frequencies 35 homolog or the second homolog of the chromosome seg-
       for the polymorphic loci for different ploidy states          ment;
      using the allele frequency data;                                  (2) at least some cells have a deletion of the first homolog
   d. generating joint probabilities for the set of polymorphic      or an amplification of the second homolog of the chromo-
       loci using the individual probabilities and the phased        some segment; and
       allelic information; and                                   40    (3) at least some cells have a deletion of the second
   e. selecting, based on the joint probabilities, a best fit        homolog or an amplification of the first homolog of the
      model indicative of chromosomal ploidy, thereby deter-         chromosome segment.
      mining ploidy of the chromosomal segment.                         It will be understood that the above models can also be
   As disclosed herein, the allele frequency data (also              referred to as hypothesis that are used to constrain a model.
referred to herein as measured genetic allelic data) can be 45 Therefore, demonstrated above are 3 hypothesis that can be
generated by methods known in the art. For example, the              used.
data can be generated using qPCR or microarrays. In one                 The average allelic imbalance fractions modeled can
illustrative embodiment, the data is generated using nucleic         include any range of average allelic imbalance that includes
acid sequence data, especially high throughput nucleic acid          the actual average allelic imbalance of the chromosomal
sequence data.                                                    50 segment. For example, in certain illustrative embodiments,
   In certain illustrative examples, the allele frequency data       the range of average allelic imbalance that is modeled can be
is corrected for errors before it is used to generate individual     between 0, 0.1, 0.2, 0.25, 0.3, 0.4, 0.5, 0.6, 0.75, 1, 2, 2.5,
probabilities. In specific illustrative embodiments, the errors      3, 4, and 5% on the low end, and 1, 2, 2.5, 3, 4, 5, 10, 15,
that are corrected include allele amplification efficiency bias.     20, 25, 30, 40, 50, 60, 70 80 90, 95, and 99% on the high end.
In other embodiments, the errors that are corrected include 55 The intervals for the modeling with the range can be any
ambient contamination and genotype contamination. In                 interval depending on the computing power used and the
some embodiments, errors that are corrected include allele           time allowed for the analysis. For example, 0.01, 0.05, 0.02,
amplification bias, ambient contamination and genotype               or 0.1 intervals can be modeled.
contamination.                                                          In certain illustrative embodiments, the sample has an
   In certain embodiments, the individual probabilities are 60 average allelic imbalance for the chromosomal segment of
generated using a set of models of both different ploidy             between 0.4% and 5%. In certain embodiments, the average
states and allelic imbalance fractions for the set of polymor-       allelic imbalance is low. In these embodiments, average
phic loci. In these embodiments, and other embodiments, the          allelic imbalance is typically less than 10%. In certain
joint probabilities are generated by considering the linkage         illustrative embodiments, the allelic imbalance is between
between polymorphic loci on the chromosome segment.               65 0.25, 0.3, 0.4, 0.5, 0.6, 0.75, 1, 2, 2.5, 3, 4, and 5% on the
   Accordingly, in one illustrative embodiment that com-             low end, and 1, 2, 2.5, 3, 4, and 5% on the high end. In other
bines some of these embodiments, provided herein is a                exemplary embodiments, the average allelic imbalance is




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between 0.4, 0.45, 0.5, 0.6, 0.7, 0.8, 0.9, or 1.0? on the low       corrected include ambient contamination and genotype con-
end and 0.5, 0.6, 0.7, 0.8, 0.9, 1.0, 1.5, 2.0, 3.0, 4.0, or 5.0?    tamination. In some embodiments, errors that are corrected
on the high end. For example, the average allelic imbalance          include allele amplification bias, ambient contamination and
of the sample in an illustrative example is between 0.45 and         genotype contamination.
2.5%. In another example, the average allelic imbalance is 5            It will be understood that allele amplification efficiency
detected with a sensitivity of 0.45, 0.5, 0.6, 0.8, 0.8, 0.9, or     bias can be determined for an allele as part of an experiment
1.0. In An exemplary sample with low allelic imbalance in            or laboratory determination that includes an on test sample,
methods of the present invention include plasma samples              or it can be determined at a different time using a set of
from individuals with cancer having circulating tumor DNA            samples that include the allele whose efficiency is being
                                                                  10 calculated. Ambient contamination and genotype contami-
or plasma samples from pregnant females having circulating
                                                                     nation are typically determined on the same run as the
fetal DNA.
                                                                     on-test sample analysis.
   It will be understood that for SNVs, the proportion of
                                                                        In certain embodiments, ambient contamination and
abnormal DNA is typically measured using mutant allele               genotype contamination are determined for homozygous
frequency (number of mutant alleles at a locus/total number 15 alleles in the sample. It will be understood that for any given
of alleles at that locus). Since the difference between the          sample from an individual some loci in the sample, will be
amounts of two homologs in tumours is analogous, we                  heterozygous and others will be homozygous, even if a locus
measure the proportion of abnormal DNA for a CNV by the              is selected for analysis because it has a relatively high
average allelic imbalance (AAI), defined as I(Hl-H2)1/(Hl +          heterozygosity in the population. It is advantageous in some
H2), where Hi is the average number of copies of homolog 20 embodiments, although ploidy of a chromosomal segment
i in the sample and Hi/(Hl+H2) is the fractional abundance,          may be determined using heterozygous loci for an indi-
or homolog ratio, of homolog i. The maximum homolog                  vidual, homozygous loci can be used to calculate ambient
ratio is the homolog ratio of the more abundant homolog.             and genotype contamination.
   Assay drop-out rate is the percentage of SNPs with no                In certain illustrative examples, the selecting is performed
reads, estimated using all SNPs. Single allele drop-out 25 by analyzing a magnitude of a difference between the phased
(ADO) rate is the percentage of SNPs with only one allele            allelic information and estimated allelic frequencies gener-
present, estimated using only heterozygous SNPs. Genotype            ated for the models.
confidence can be determined by fitting a binomial distri-              In illustrative examples, the individual probabilities of
bution to the number of reads at each SNP that were B-allele         allele frequencies are generated based on a beta binomial
reads, and using the ploidy status of the focal region of the 30 model of expected and observed allele frequencies at the set
SNP to estimate the probability of each genotype.                    of polymorphic loci. In illustrative examples, the individual
   For tumor tissue samples, chromosomal aneuploidy (ex-             probabilities are generated using a Bayesian classifier.
emplified in this paragraph by CNVs) can be delineated by               In certain illustrative embodiments, the nucleic acid
transitions between allele frequency distributions. In plasma        sequence data is generated by performing high throughput
samples, CNVs can be identified by a maximum likelihood 35 DNA sequencing of a plurality of copies of a series of
algorithm that searches for plasma CNVs in regions where             amplicons generated using a multiplex amplification reac-
the tumor sample from the same individual also has CNVs,             tion, wherein each amplicon of the series of amplicons spans
using haplotype information deduced from the tumor                   at least one polymorphic loci of the set of polymorphic loci
sample. This algorithm can model expected allelic frequen-           and wherein each of the polymeric loci of the set is ampli-
cies across all allelic imbalance ratios at 0.025% intervals 40 fled. In certain embodiments, the multiplex amplification
for three sets of hypotheses: (1) all cells are normal (no           reaction is performed under limiting primer conditions for at
allelic imbalance), (2) some/all cells have a homolog 1              least ½ of the reactions. In some embodiments, limiting
deletion or homolog 2 amplification, or (3) some/all cells           primer concentrations are used in 1/10, 1/s, ¼, 1/3, ½, or all of
have a homolog 2 deletion or homolog 1 amplification. The            the reactions of the multiplex reaction. Provided herein are
likelihood of each hypothesis can be determined at each 45 factors to consider to achieve limiting primer conditions in
SNP using a Bayesian classifier based on a beta binomial             an amplification reaction such as PCR.
model of expected and observed allele frequencies at all                In certain embodiments, methods provided herein detect
heterozygous SNPs, and then the joint likelihood across              ploidy for multiple chromosomal segments across multiple
multiple SNPs can be calculated, in certain illustrative             chromosomes. Accordingly, the chromosomal ploidy in
embodiments taking linkage of the SNP loci into consider- 50 these embodiments is determined for a set of chromosome
ation, as exemplified herein. The maximum likelihood                 segments in the sample. For these embodiments, higher
hypothesis can then be selected.                                     multiplex amplification reactions are needed. Accordingly,
   Consider a chromosomal region with an average of N                for these embodiments the multiplex amplification reaction
copies in the tumor, and let c denote the fraction of DNA in         can include, for example, between 2,500 and 50,000 multi-
plasma derived from the mixture of normal and tumour cells 55 plex reactions. In certain embodiments, the following ranges
in a disomic region. AAI is calculated as:                           of multiplex reactions are performed: between 100, 200,
                                                                     250, 500, 1000, 2500, 5000, 10,000, 20,000, 25000, 50000
                                                                     on the low end of the range and between 200, 250, 500,
       AAI = _cl_N_-_2_1_                                            1000, 2500, 5000, 10,000, 20,000, 25000, 50000, and 100,
             2+c(N-2)
                                                                  60 000 on the high end of the range.
                                                                        In illustrative embodiments, the set of polymorphic loci is
   In certain illustrative examples, the allele frequency data       a set of loci that are known to exhibit high heterozygosity.
is corrected for errors before it is used to generate individual     However, it is expected that for any given individual, some
probabilities. Different types of error and/or bias correction       of those loci will be homozygous. In certain illustrative
are disclosed herein. In specific illustrative embodiments, 65 embodiments, methods of the invention utilize nucleic acid
the errors that are corrected are allele amplification effi-         sequence information for both homozygous and heterozy-
ciency bias. In other embodiments, the errors that are               gous loci for an individual. The homozygous loci of an




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individual are used, for example, for error correction,              erate the set of models of different ploidy states and allelic
whereas heterozygous loci are used for the determination of          imbalance fractions of the set of polymorphic loci.
allelic imbalance of the sample. In certain embodiments, at             As disclosed herein, certain embodiments of the methods
least 10% of the polymorphic loci are heterozygous loci for          of determining ploidy can further include removing outliers
the individual.                                                      from the initial or corrected allele frequency data before
   As disclosed herein, preference is given for analyzing            comparing the initial or the corrected allele frequencies to
target SNP loci that are known to be heterozygous in the             the set of models. For example, in certain embodiments, loci
population. Accordingly, in certain embodiments, polymor-            allele frequencies that are at least 2 or 3 standard deviations
phic loci are chosen wherein at least 10, 20, 25, 50, 75, 80,        above or below the mean value for other loci on the
90, 95, 99, or 100% of the polymorphic loci are known to be 10
                                                                     chromosome segment, are removed from the data before
heterozygous in the population.
                                                                     being used for the modeling.
   As disclosed herein, in certain embodiments the sample is
                                                                        As mentioned herein, it will be understood that for many
a plasma sample from a pregnant female.
   In some examples, the method further comprises perform-           of  the embodiments provided herein, including those for
ing the method on a control sample with a known average 15 determining ploidy of a chromosomal segment, imperfectly
allelic imbalance ratio. The control can have an average             or perfectly phased data is preferably used. It will also be
allelic imbalance ratio for a particular allelic state indicative    understood, that provided herein are a number of features
of aneuploidy of the chromosome segment, of between 0.4              that provide improvements over prior methods for detecting
and 10% to mimic an average allelic imbalance of an allele           ploidy, and that many different combinations of these fea-
in a sample that is present in low concentrations, such as 20 tures could be used.
would be expected for a circulating free DNA from a fetus               In certain embodiments, as illustrated in FIGS. 69-70,
or from a tumor.                                                     provided herein are computer systems and computer read-
   In some embodiments, PlasmArt controls, as disclosed              able media to perform any methods of the present invention.
herein, are used as the controls. Accordingly, in certain            These include systems and computer readable media for
aspects the is a sample generated by a method comprising 25 performing methods of determining ploidy. Accordingly,
fragmenting a nucleic acid sample known to exhibit a                 and as non-limiting examples of system embodiments, to
chromosomal aneuploidy into fragments that mimic the size            demonstrate that any of the methods provided herein can be
of fragments of DNA circulating in plasma of the individual.         performed using a system and a computer readable medium
In certain aspects a control is used that has no aneuploidy for      using the disclosure herein, in another aspect, provided
the chromosome segment.                                           30 herein is a system for detecting chromosomal ploidy in a
   In illustrative embodiments, data from one or more con-           sample of an individual, the system comprising:
trols can be analyzed in the method along with a test sample.           a. an input processor configured to receive allelic fre-
The controls for example, can include a different sample                   quency data comprising the amount of each allele
from the individual that is not suspected of containing                    present in the sample at each loci in a set of polymor-
Chromosomal aneuploidy, or a sample that is suspected of 35                phic loci on the chromosomal segment;
containing CNV or a chromosomal aneuploidy. For                         b. a modeler configured to:
example, where a test sample is a plasma sample suspected                  i. generate phased allelic information for the set of
of containing circulating free tumor DNA, the method can                       polymorphic loci by estimating the phase of the
be also be performed for a control sample from a tumor from                    allele frequency data; and
the subject along with the plasma sample. As disclosed 40                  ii. generate individual probabilities of allele frequen-
herein, the control sample can be prepared by fragmenting                      cies for the polymorphic loci for different ploidy
a DNA sample known to exhibit a chromosomal aneuploidy.                        states using the allele frequency data; and
Such fragmenting can result in a DNA sample that mimics                    iii. generate joint probabilities for the set of polymor-
the DNA composition of an apoptotic cell, especially when                      phic loci using the individual probabilities and the
the sample is from an individual afflicted with cancer. Data 45                phased allelic information; and
from the control sample will increase the confidence of the             c. a hypothesis manager configured to select, based on the
detection of Chromosomal aneuploidy.                                       joint probabilities, a best fit model indicative of chro-
   In certain embodiments of the methods of determining                    mosomal ploidy, thereby determining ploidy of the
ploidy, the sample is a plasma sample from an individual                   chromosomal segment.
suspected of having cancer. In these embodiments, the 50                In certain embodiments of this system embodiment, the
method further comprises determining based on the select-            allele frequency data is data generated by a nucleic acid
ing whether copy number variation is present in cells of a           sequencing system. In certain embodiments, the system
tumor of the individual. For these embodiments, the sample           further comprises an error correction unit configured to
can be a plasma sample from an individual. For these                 correct for errors in the allele frequency data, wherein the
embodiments, the method can further include determining, 55 corrected allele frequency data is used by the modeler for to
based on the selecting, whether cancer is present in the             generate individual probabilities. In certain embodiments
individual.                                                          the error correction unit corrects for allele amplification
   These embodiments for determining ploidy of a chromo-             efficiency bias. In certain embodiments, the modeler gener-
somal segment, can further include detecting a single                ates the individual probabilities using a set of models of both
nucleotide variant at a single nucleotide variance location in 60 different ploidy states and allelic imbalance fractions for the
a set of single nucleotide variance locations, wherein detect-       set of polymorphic loci. The modeler, in certain exemplary
ing either a chromosomal aneuploidy or the single nucleo-            embodiments generates the joint probabilities by consider-
tide variant or both, indicates the presence of circulating          ing the linkage between polymorphic loci on the chromo-
tumor nucleic acids in the sample.                                   some segment.
   These embodiments can further include receiving haplo- 65            In one illustrative embodiment, provided herein is a
type information of the chromosome segment for a tumor of            system for detecting chromosomal ploidy in a sample of an
the individual and using the haplotypc information to gen-           individual, that includes the following:




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   a. an input processor configured to receive nucleic acid            In certain exemplary system embodiments provided
      sequence data for alleles at a set of polymorphic loci on     herein the nucleic acid sequence data is generated by per-
      a chromosome segment in the individual and detect             forming high throughput DNA sequencing of a plurality of
      allele frequencies at the set of loci using the nucleic       copies of a series of amplicons generated using a multiplex
      acid sequence data;                                           amplification reaction, wherein each amplicon of the series
   b. an error correction unit configured to correct for errors     of amplicons spans at least one polymorphic loci of the set
      in the detected allele frequencies and generate cor-          of polymorphic loci and wherein each of the polymeric loci
      rected allele frequencies for the set of polymorphic          of the set is amplified. In certain exemplary system embodi-
      loci;                                                         ments provided herein, wherein the multiplex amplification
   c. a modeler configured to:                                   10 reaction is performed under limiting primer conditions for at
      i. generate phased allelic information for the set of         least ½ of the reactions. In certain exemplary system
          polymorphic loci by estimating the phase of the           embodiments provided herein, wherein the sample has an
          nucleic acid sequence data;                               average allelic imbalance of between 0.4% and 5%.
      ii. generate individual probabilities of allele frequen-         In certain exemplary system embodiments provided
          cies for the polymorphic loci for different ploidy 15 herein, the sample is a plasma sample from an individual
          states by comparing the phased allelic information to     suspected of having cancer, and the hypothesis manager is
          a set of models of different ploidy states and allelic    further configured to determine, based on the best fit model,
          imbalance fractions of the set of polymorphic loci;       whether copy number variation is present in cells of a tumor
          and                                                       of the individual.
      iii. generate joint probabilities for the set of polymor- 20     In certain exemplary system embodiments provided
          phic loci by combining the individual probabilities       herein the sample is a plasma sample from an individual and
          considering the relative distance between polymor-        the hypothesis manager is further configured to determine,
          phic loci on the chromosome segment; and                  based on the best fit model, that cancer is present in the
   d. a hypothesis manager configured to select, based on the       individual. In these embodiments, the hypothesis manager
      joint probabilities, a best fit model indicative of chro- 25 can be further configured to detect a single nucleotide
      mosomal aneuploidy.                                           variant at a single nucleotide variance location in a set of
   In certain exemplary system embodiments provided                 single nucleotide variance locations, wherein detecting
herein the set of polymorphic loci comprises between 1000           either a chromosomal aneuploidy or the single nucleotide
and 50,000 polymorphic loci. In certain exemplary system            variant or both, indicates the presence of circulating tumor
embodiments provided herein the set of polymorphic loci 30 nucleic acids in the sample.
comprises 100 known heterozygosity hot spot loci. In cer-              In certain exemplary system embodiments provided
tain exemplary system embodiments provided herein the set           herein, the input processor is further configured to receiving
of polymorphic loci comprise 100 loci that are at or within         haplotype information of the chromosome segment for a
0.5 kb of a recombination hot spot.                                 tumor of the individual, and the modeler is configured to use
   In certain exemplary system embodiments provided 35 the haplotype information to generate the set of models of
herein the best fit model analyzes the following ploidy states      different ploidy states and allelic imbalance fractions of the
of a first homolog of the chromosome segment and a second           set of polymorphic loci.
homolog of the chromosome segment:                                     In certain exemplary system embodiments provided
   (1) all cells have no deletion or amplification of the first     herein, the modeler generates the models over allelic imbal-
homolog or the second homolog of the chromosome seg- 40 ance fractions ranging from 0% to 25%.
ment;                                                                  It will be understood that any of the methods provided
   (2) some or all cells have a deletion of the first homolog       herein can be executed by computer readable code that is
or an amplification of the second homolog of the chromo-            stored on nontransitory computer readable medium. Accord-
some segment; and                                                   ingly, provided herein in one embodiment, is a nontransitory
   (3) some or all cells have a deletion of the second 45 computer readable medium for detecting chromosomal
homolog or an amplification of the first homolog of the             ploidy in a sample of an individual, comprising computer
chromosome segment.                                                 readable code that, when executed by a processing device,
   In certain exemplary system embodiments provided                 causes the processing device to:
herein the errors that are corrected comprise allelic ampli-           a. receive allele frequency data comprising the amount of
fication efficiency bias, contamination, and/or sequencing 50             each allele present in the sample at each loci in a set of
errors. In certain exemplary system embodiments provided                  polymorphic loci on the chromosomal segment;
herein the contamination comprises ambient contamination               b. generate phased allelic information for the set of
and genotype contamination. In certain exemplary system                   polymorphic loci by estimating the phase of the allele
embodiments provided herein the ambient contamination                     frequency data;
and genotype contamination is determined for homozygous 55             c. generate individual probabilities of allele frequencies
alleles.                                                                  for the polymorphic loci for different ploidy states
   In certain exemplary system embodiments provided                       using the allele frequency data;
herein the hypothesis manager is configured to analyze a               d. generate joint probabilities for the set of polymorphic
magnitude of a difference between the phased allelic infor-               loci using the individual probabilities and the phased
mation and estimated allelic frequencies generated for the 60             allelic information; and
models. In certain exemplary system embodiments provided               e. select, based on the joint probabilities, a best fit model
herein the modeler generates individual probabilities of                  indicative of chromosomal ploidy, thereby determining
allele frequencies based on a beta binomial model of                      ploidy of the chromosomal segment.
expected and observed allele frequencies at the set of                 In certain computer readable medium embodiments, the
polymorphic loci. In certain exemplary system embodiments 65 allele frequency data is generated from nucleic acid
provided herein the modeler generates individual probabili-         sequence data. certain computer readable medium embodi-
ties using a Bayesian classifier.                                   ments further comprise correcting for errors in the allele




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frequency data and using the corrected allele frequency data        acids are present in a sample in an individual, and a
for the generating individual probabilities step. In certain        nontransitory computer readable medium comprising com-
computer readable medium embodiments the errors that are            puter readable code that, when executed by a processing
corrected are allele amplification efficiency bias. In certain      device, causes the processing device to carry out the method.
computer readable medium embodiments the individual                 The method includes the following steps:
probabilities are generated using a set of models of both              c. analyzing the sample to determine a ploidy at a set of
different ploidy states and allelic imbalance fractions for the           polymorphic loci on a chromosome segment in the
set of polymorphic loci. In certain computer readable                     individual; and
medium embodiments the joint probabilities are generated               d. determining the level of average allelic imbalance
by considering the linkage between polymorphic loci on the 10             present at the polymorphic loci based on the ploidy
chromosome segment.                                                       determination, wherein an average allelic imbalance
   In one particular embodiment, provided herein is a non-                equal to or greater than 0.4%, 0.45%, 0.5%, 0.6%,
transitory computer readable medium for detecting chromo-                 0.7%, 0.75%, 0.8%, 0.9%, or 1% is indicative of the
somal ploidy in a sample of an individual, comprising                     presence of circulating tumor nucleic acids, such as
computer readable code that, when executed by a processing 15             ctDNA, in the sample.
device, causes the processing device to:                               In certain illustrative examples, an average allelic imbal-
   a. receive nucleic acid sequence data for alleles at a set of    ance greater than 0.4, 0.45, or 0.5% is indicative the pres-
      polymorphic loci on a chromosome segment in the               ence of ctDNA. In certain embodiments the method for
      individual;                                                   determining whether circulating tumor nucleic acids are
   b. detect allele frequencies at the set of loci using the 20 present, further comprises detecting a single nucleotide
      nucleic acid sequence data;                                   variant at a single nucleotide variance site in a set of single
   c. correcting for allele amplification efficiency bias in the    nucleotide variance locations, wherein detecting either an
      detected allele frequencies to generate corrected allele      allelic imbalance equal to or greater than 0.5% or detecting
      frequencies for the set of polymorphic loci;                  the single nucleotide variant, or both, is indicative of the
   d. generate phased allelic information for the set of 25 presence of circulating tumor nucleic acids in the sample. It
      polymorphic loci by estimating the phase of the nucleic       will be understood that any of the methods provided for
      acid sequence data;                                           detecting chromosomal ploidy or CNV can be used to
   e. generate individual probabilities of allele frequencies       determine the level of allelic imbalance, typically expressed
      for the polymorphic loci for different ploidy states by       as average allelic imbalance. It will be understood that any
      comparing the corrected allele frequencies to a set of 30 of the methods provided herein for detecting an SNV can be
      models of different ploidy states and allelic imbalance       used to detect the single nucleotide for this aspect of the
      fractions of the set of polymorphic loci;                     present invention.
   f. generate joint probabilities for the set of polymorphic          In certain embodiments the method for determining
      loci by combining the individual probabilities consid-        whether circulating tumor nucleic acids are present, further
      ering the linkage between polymorphic loci on the 35 comprises performing the method on a control sample with
      chromosome segment; and                                       a known average allelic imbalance ratio. The control, for
   g. select, based on the joint probabilities, the best fit        example, can be a sample from the tumor of the individual.
      model indicative of chromosomal aneuploidy.                   In some embodiments, the control has an average allelic
   In certain illustrative computer readable medium embodi-         imbalance expected for the sample under analysis. For
ments, the selecting is performed by analyzing a magnitude 40 example, anAAI between 0.5% and 5% or an average allelic
of a difference between the phased allelic information and          imbalance ratio of 0.5%.
estimated allelic frequencies generated for the models.                In certain embodiments analyzing step in the method for
   In certain illustrative computer readable medium embodi-         determining whether circulating tumor nucleic acids are
ments the individual probabilities of allele frequencies are        present, includes analyzing a set of chromosome segments
generated based on a beta binomial model of expected and 45 known to exhibit aneuploidy in cancer. In certain embodi-
observed allele frequencies at the set of polymorphic loci.         ments analyzing step in the method for determining whether
   It will be understood that any of the method embodiments         circulating tumor nucleic acids are present, includes analyz-
provided herein can be performed by executing code stored           ing between 1,000 and 50,000 or between 100 and 1000,
on nontransitory computer readable medium.                          polymorphic loci for ploidy. In certain embodiments ana-
                                                                 50 lyzing step in the method for determining whether circulat-
       Exemplary Embodiments for Detecting Cancer                   ing tumor nucleic acids are present, includes analyzing
                                                                    between 100 and 1000 single nucleotide variant sites. For
   In certain aspects, the present invention provides a             example, in these embodiments the analyzing step can
method for detecting cancer. The sample, it will be under-          include performing a multiplex PCR to amplify amplicons
stood can be a tumor sample or a liquid sample, such as 55 across the 1000 to 50,000 polymeric loci and the 100 to 1000
plasma, from an individual suspected of having cancer. The          single nucleotide variant sites. This multiplex reaction can
methods are especially effective at detecting genetic muta-         be set up as a single reaction or as pools of different subset
tions such as single nucleotide alterations such as SNVs, or        multiplex reactions. The multiplex reaction methods pro-
copy number alterations, such as CNVs in samples with low           vided herein, such as the massive multiplex PCR disclosed
levels of these genetic alterations as a fraction of the total 60 herein provide an exemplary process for carrying out the
DNA in a sample. Thus the sensitivity for detecting DNA or          amplification reaction to help attain improved multiplexing
RNA from a cancer in samples is exceptional. The methods            and therefore, sensitivity levels.
can combine any or all of the improvements provided herein             In certain embodiments, the multiplex PCR reaction is
for detecting CNV and SNV to achieve this exceptional               carried out under limiting primer conditions for at least 10%,
sensitivity.                                                     65 20%, 25%, 50%, 75%, 90%, 95%, 98%, 99%, or 100% of
   Accordingly, in certain embodiments provided herein, is          the reactions. Improved conditions for performing the mas-
a method for determining whether circulating tumor nucleic          sive multiplex reaction provided herein can be used.




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   In certain aspects, the above method for determining           a plasma sample and the single nucleotide variant is present
whether circulating tumor nucleic acids are present in a          in circulating tumor DNA of the sample.
sample in an individual, and all embodiments thereof, can be         In another embodiment provided herein is a method for
carried out with a system. The disclosure provides teachings      estimating the percent of single nucleotide variants that are
regarding specific functional and structural features to carry    present in a sample from an individual. The method includes
out the methods. As a non-limiting example, the system            the following steps:
includes the following:                                              a. at a set of genomic positions, generating an estimate of
   a. An input processor configured to analyze data from the            efficiency and a per cycle error rate for one or more
      sample to determine a ploidy at a set of polymorphic              amplicon spanning those genomic positions, using a
                                                               10       training data set;
      loci on a chromosome segment in the individual; and
                                                                     b. receiving observed nucleotide identity information for
   b. A modeler configured to determine the level of allelic
                                                                        each genomic position in the sample;
      imbalance present at the polymorphic loci based on the
                                                                     c. generating an estimated mean and variance for the total
      ploidy determination, wherein an allelic imbalance                number of molecules, background error molecules and
      equal to or greater than 0.5% is indicative of the 15             real mutation molecules for a search space comprising
      presence of circulating.                                          an initial percentage of real mutation molecules using
                                                                         the amplification efficiency and the per cycle error rate
      Exemplary Embodiments for Detecting Single                         of the amplicons; and
                 Nucleotide Variants                                  d. determining the percentage of single nucleotide vari-
                                                                20       ants present in the sample resulting from real mutations
   In certain aspects, provided herein are methods for detect-           by determining a most-likely real single nucleotide
ing single nucleotide variants in a sample. The improved                 variant percentage by fitting a distribution using the
methods provided herein can achieve limits of detection of               estimated means and variances to an observed nucleo-
0.015, 0.017, 0.02, 0.05, 0.1, 0.2, 0.3, 0.4 or 0.5 percent SNV          tide identity information in the sample.
in a sample. All the embodiments for detecting SNVs can be 25         In illustrative examples of this method for estimating the
carried out with a system. The disclosure provides teachings       percent of single nucleotide variants that are present in a
regarding specific functional and structural features to carry     sample, the sample is a plasma sample and the single
out the methods. Furthermore, provided herein are embodi-          nucleotide variant is present in circulating tumor DNA of the
ments comprising a nontransitory computer readable                 sample.
medium comprising computer readable code that, when 30                The training data set for this embodiment of the invention
executed by a processing device, causes the processing             typically includes samples from one or preferably a group of
device to carry out the methods for detecting SNVs provided        healthy individuals. In certain illustrative embodiments, the
herein.                                                            training data set is analyzed on the same day or even on the
   Accordingly, provided herein in one embodiment, is a            same run as one or more on-test samples. For example,
method for determining whether a single nucleotide variant 35 samples from a group of 2, 3, 4, 5, 10, 15, 20, 25, 30, 36, 48,
is present at a set of genomic positions in a sample from an       96, 100, 192, 200, 250, 500, 1000 or more healthy individu-
individual, the method comprising:                                 als can be used to generate the training data set. Where data
   a. for each genomic position, generating an estimate of         is available for larger number of healthy individuals, e.g. 96
      efficiency and a per cycle error rate for an amplicon        or more, confidence increases for amplification efficiency
      spanning that genomic position, using a training data 40 estimates even if runs are performed in advance of perform-
      set;                                                         ing the method for on-test samples. The PCR error rate can
   b. receiving observed nucleotide identity information for       use nucleic acid sequence information generated not only for
      each genomic position in the sample;                         the SNV base location, but for the entire amplified region
   c. determining a set of probabilities of single nucleotide      around the SNV, since the error rate is per amplicon. For
      variant percentage resulting from one or more real 45 example, using samples from 50 individuals and sequencing
      mutations at each genomic position, by comparing the         a 20 base pair amplicon around the SNV, error frequency
      observed nucleotide identity information at each             data from 1000 base reads can be used to determine error
      genomic position to a model of different variant per-        frequency rate.
      centages using the estimated amplification efficiency           Typically the amplification efficiency is estimating by
      and the per cycle error rate for each genomic position 50 estimating a mean and standard deviation for amplification
      independently; and                                           efficiency for an amplified segment and then fitting that to a
   d. determining the most-likely real variant percentage and      distribution model, such as a binomial distribution or a beta
      confidence from the set of probabilities for each            binomial distribution. Error rates are determined for a PCR
      genomic position.                                            reaction with a known number of cycles and then a per cycle
   In illustrative embodiments of the method for determining 55 error rate is estimated.
whether a single nucleotide variant is present, the estimate          In certain illustrative embodiments, estimating the start-
of efficiency and the per cycle error rate is generated for a      ing molecules of the test data set further includes updating
set of amplicons that span the genomic position. For               the estimate of the efficiency for the testing data set using the
example, 2, 3, 4, 5, 10, 15, 20, 25, 50, 100 or more amplicons     starting number of molecules estimated in step (b) if the
can be included that span the genomic position.                 60 observed number of reads is significantly different than the
   In illustrative embodiments of the method for determining       estimated number of reads. Then the estimate can be updated
whether a single nucleotide variant is present, the observed       for a new efficiency and/or starting molecules.
nucleotide identity information comprises an observed num-            The search space used for estimating the total number of
ber of total reads for each genomic position and an observed       molecules, background error molecules and real mutation
number of variant allele reads for each genomic position. 65 molecules can include a search space from 0.1 %, 0.2%,
   In illustrative embodiments of the method for determining       0.25%, 0.5%, 1%, 2.5%, 5%, 10%, 15%, 20%, or 25% on the
whether a single nucleotide variant is present, the sample is      low end and 1%, 2%, 2.5%, 5%, 10%, 12.5%, 15%, 20%,




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25%, 50%, 75%, 90%, or 95% on the high end copies of a                 In certain embodiments of this method for detecting one
base at an SNV position being the SNV base. Lower ranges,           or more SNVs, outliers are removed from the data generated
0.1 %, 0.2%, 0.25%, 0.5%, or 1% on the low end and 1%,              in the high throughput sequencing run to calculate the
2%, 2.5%, 5%, 10%, 12.5%, or 15% on the high end can be             observed depth of read weighted mean and observed vari-
used in illustrative examples for plasma samples where the          ance are determined. In certain embodiments of this method
method is detecting circulating tumor DNA. Higher ranges            for detecting one or more SNVs the depth of read for each
are used for tumor samples.                                         single nucleotide variant position for the test sample is at
   A distribution is fit to the number of total error molecules     least 100 reads.
(background error and real mutation) in the total molecules            In certain embodiments of this method for detecting one
                                                                 10 or more SNVs the sequencing run comprises a multiplex
to calculate the likelihood or probability for each possible
                                                                    amplification reaction performed under limited primer reac-
real mutation in the search space. This distribution could be
                                                                    tion conditions. Improved methods for performing multiplex
a binomial distribution or a beta binomial distribution.
                                                                    amplification reactions provided herein, are used to perform
   The most likely real mutation is determined by determin-         these embodiments in illustrative examples.
ing the most likely real mutation percentage and calculating 15        Not to be limited by theory, methods of the present
the confidence using the data from fitting the distribution. As     embodiment utilize a background error model using normal
an illustrative example and not intended to limit the clinical      plasma samples, that are sequenced on the same sequencing
interpretation of the methods provided herein, if the mean          run as an on-test sample, to account for run-specific artifacts.
mutation rate is high then the percent confidence needed to         Noisy positions with normal median variant allele frequen-
make a positive determination of an SNV is lower. For 20 cies above a threshold, for example >0.1 %, 0.2%, 0.25%,
example, if the mean mutation rate for an SNV in a sample           0.5% 0.75%, and 1.0%, are removed.
using the most likely hypothesis is 5% and the percent                 Outlier samples are iteratively removed from the model to
confidence is 99%, then a positive SNV call would be made.          account for noise and contamination. For each base substi-
On the other hand for this illustrative example, if the mean        tution of every genomic loci, the depth of read weighted
mutation rate for an SNV in a sample using the most likely 25 mean and standard deviation of the error are calculated. In
hypothesis is 1% and the percent confidence is 50%, then in         certain illustrative embodiments, samples, such as tumor or
certain situations a positive SNV call would not be made. It        cell-free plasma samples, with single nucleotide variant
will be understood that clinical interpretation of the data         positions with at least a threshold number of reads, for
would be a function of sensitivity, specificity, prevalence         example, at least 2, 3, 4, 5, 6, 7, 8, 9, 10, 15, 20, 25, 50, 100,
rate, and alternative product availability.                      30 250, 500, or 1000 variant reads and al Z-score greater than
   In one illustrative embodiment, the sample is a circulating      2.5, 5, 7.5 or 10 against the background error model in
DNA sample, such as a circulating tumor DNA sample.                 certain embodiments, are counted as a candidate mutation.
   In another embodiment, provided herein is a method for              In certain embodiments, a depth of read of greater than
detecting one or more single nucleotide variants in a test          100, 250, 500, 1,000, 2000, 2500, 5000, 10,000, 20,000,
sample from an individual. The method according to this 35 25,000, 50,000, or 100,000 on the low end of the range and
embodiment, includes the following steps:                           2000, 2500, 5,000, 7,500, 10,000, 25,000, 50,000, 100,000,
   d. determining a median variant allele frequency for a           250,000 or 500,000 reads on the high end, is attained in the
      plurality of control samples from each of a plurality of      sequencing run for each single nucleotide variant position in
      normal individuals, for each single nucleotide variant        the set of single nucleotide variant positions. Typically, the
      position in a set of single nucleotide variance positions 40 sequencing run is a high throughput sequencing run. The
      based on results generated in a sequencing run, to            mean or median values generated for the on-test samples, in
      identify selected single nucleotide variant positions         illustrative embodiments are weighted by depth of reads.
      having variant median allele frequencies in normal            Therefore, the likelihood that a variant allele determination
      samples below a threshold value and to determine              is real in a sample with 1 variant allele detected in 1000
      background error for each of the single nucleotide 45 reads is weighed higher than a sample with 1 variant allele
      variant positions after removing outlier samples for          detected in 10,000 reads. Since determinations of a variant
      each of the single nucleotide variant positions;              allele (i.e. mutation) are not made with 100% confidence, the
   e. determining an observed depth of read weighted mean           identified single nucleotide variant can be considered a
      and variance for the selected single nucleotide variant       candidate variant or a candidate mutations.
      positions for the test sample based on data generated in 50 Exemplary Test Statistic for Analysis of Phased Data
      the sequencing run for the test sample; and                      An exemplary test statistic is described below for analysis
   f. identifying using a computer, one or more single              of phased data from a sample known or suspected of being
      nucleotide variant positions with a statistically signifi-    a mixed sample containing DNA or RNA that originated
      cant depth of read weighted mean compared to the              from two or more cells that are not genetically identical. Let
      background error for that position, thereby detecting 55 f denote the fraction of DNA or RNA of interest, for example
      the one or more single nucleotide variants.                   the fraction of DNA or RNA with a CNV of interest, or the
   In certain embodiments of this method for detecting one          fraction of DNA or RNA from cells of interest, such as
or more SNVs the sample is a plasma sample, the control             cancer cells. In some embodiments for prenatal testing, f
samples are plasma samples, and the detected one or more            denotes the fraction of fetal DNA, RNA, or cells in a mixture
single nucleotide variants detected is present in circulating 60 of fetal and maternal DNA, RNA, or cells. Note that this
tumor DNA of the sample. In certain embodiments of this             refers to the fraction of DNA from cells of interest assuming
method for detecting one or more SNVs the plurality of              two copies of DNA are given by each cell of interest. This
control samples comprises at least 25 samples. In certain           differs from the DNA fraction from cells of interest at a
illustrative embodiments, the plurality of control samples is       segment that is deleted or duplicated.
at least 5, 10, 15, 20, 25, 50, 75, 100, 200, or 250 samples 65        The possible allelic values of each SNP are denoted A and
on the low end and 10, 15, 20, 25, 50, 75, 100, 200, 250, 500,      B. AA, AB, BA, and BB are used to denote all possible
and 1000 samples on the high end.                                   ordered allele pairs. In some embodiments, SNPs with




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ordered alleles AB or BA are analyzed. Let N; denote the
number of sequence reads of the ith SNP, and A; and B;                       1
                                                                           1---
denote the number of reads of the ith SNP that indicate allele                   2-f
A and B, respectively. It is assumed:
                                                                 5
                                                                      and T for AB SNPs, and
      N;=A;+B;.

The allele ratio R; is defined:
                                                                             1
                                                                           2-f
                                                                 IO

                                                                      and T for BA SNPs. Therefore,

Let T denote the number of SNPs targeted.
   Without loss of generality, some embodiments focus on a 15                  wp 1-pL~f'N;)
single chromosome segment. As a matter of further clarity,
                                                                                        1
in this specification the phrase "a first homologous chromo-                    w p p ( - ,N;)
                                                                                      2-f
some segment as compared to a second homologous chro-
mosome segment" means a first homolog of a chromosome
segment and a second homolog of the chromosome segment. 20 If we assume a constant depth of read N, this gives a
In some such embodiments, all of the target SNPs are            Binomial distribution S with parameters
contained in the segment chromosome of interest. In other
embodiments, multiple chromosome segments are analyzed
                                                                           1
for possible copy number variations.                                   p ( --, N) and T.
                                                             25          2-f
MAP Estimation
   This method leverages the knowledge of phasing via
ordered alleles to detect the deletion or duplication of the       Under the hypothesis that the second homolog is deleted
target segment. For each SNP i, define                          (i.e., an AB SNP becomes A, and a BA SNP becomes B),
                                                             30
                                                                then R; has a Binomial distribution with parameter

                l R; < 0.5 and SNP i AB
         ~
      X; =
             l  0 R; e: 0.5 and SNP i AB
                0 R; < 0.5 and SNP iBA
                1 R; e: 0.5 and SNP iBA
                                                                 35
                                                                             1
                                                                           2-f


                                                                      and T for AM SNPs, and
  Then define

                                                                             1
                                                                           1---
      s~       IX;.                                              40              2-f
             All SNPs


                                                                      and T for BA SNPs. Therefore,
The distributions of the X; and S under various copy number
hypotheses (such as hypotheses for disomy, deletion of the
                                                               45                             1
first or second homolog, or duplication of the first or second                          w p p ( - ,N;)
homolog) are described below.                                                                2-f
Disomy Hypothesis                                                                      wp 1-pL~f'N;)
   Under the hypothesis that the target segment is not deleted
or duplicated,
                                                                 50
                                                                      If we assume a constant depth of read N, this gives a
                                                                      Binomial distribution S with parameters
                Owpl-pG,N;)
      X; =                             where

              ! 1       wp {
                               1
                               2,N;)                             55
                                                                                   1
                                                                           1 - p ( -- , N) and T.
                                                                                  2-f
      p(b, n) ~ Pr{x ~ Bino(b, n) e: ~ }-
                                                              Duplication Hypotheses
  If we assume a constant depth of read N, this gives us a 60    Under the hypothesis that the first homolog is duplicated
Binomial distribution S with parameters                       (i.e., an AB SNP becomes AAB, and a BA SNP becomes
                                                              BBA), then R; has a Binomial distribution with parameters
     p(½,N) and T.

Deletion Hypotheses                                                                                  l+f
  Under the hypothesis that the first homolog is deleted (i.e., 65                                   2+f
an AB SNP becomes B, and a BA SNP becomes A), then R;
has a Binomial distribution with parameters




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and T for AB SNPs, and                                                 hypothesis given the measured data can be calculated. In
                                                                       some embodiments, the hypothesis with the greatest prob-
                                                                       ability is selected. If desired, the distribution on S can be
                             l+f                                       simplified by either approximating each N; with a constant
                            1---
                               2+!                                5    depth of reach N or by truncating the depth of reads to a
                                                                       constant N. This simplification gives
and T for BA SNPs. Therefore,


                                   1+ f    )
                                                                                       Bino(pG,        N), r)          given disomy
                             wpp ( 2 +f'N'                        IO

                                  1+f     )
                                                                                                r) homolog 1 deletion
                                                                                     Bino(p( 2 ~ f'N),
                           wpl-p( 2 +f'N'
                                                                              S~ Bino(1-p( ~ ,N), r) homolog 2 deletion
                                                                                          2 1
If we assume a constant depth of read N, this gives us a
Binomial distribution S with parameters                           15               Bina( 1 - p ( ~ :   j, N) ,T)   homolog 1 duplication

                                                                                     Bino(p ( ~:   j •N), T)       homolog 2 duplication

                           1-
                      1-p( - +,
                              f N) and T.
                           2+f                                          The value for f can be estimate by selecting the most
                                                                 20
                                                                     likely value off given the measured data, such as the value
   Under the hypothesis that the second homolog is dupli-            off that generates the best data fit using an algorithm (e.g.,
cated (i.e., an AB SNP becomes ABB, and a BA SNP
                                                                     a search algorithm) such as maximum likelihood estimation,
becomes BAA), then R; has a Binomial distribution with               maximum a-posteriori estimation, or Bayesian estimation.
parameters                                                           In some embodiments, multiple chromosome segments are
                                                                  25 analyzed and a value for f is estimated based on the data for
                                                                     each segment. If all the target cells have these duplications
                                      l+f                            or deletions, the estimated values for f based on data for
                               1---
                                      2+!                            these different segments are similar. In some embodiments,
                                                                     f is experimentally measured such as by determining the
and T for AB SNPs, and                                            30 fraction of DNA or RNA from cancer cells based on meth-
                                                                     ylation differences (hypomethylation or hypermethylation)
                                                                     between cancer and non-cancerous DNA or RNA .
                                  .'...!..£                             In some embodiments for mixed samples of fetal and
                                  2+f                                maternal nucleic acids, the value off is the fetal fraction, that
                                                                  35 is the fraction of fetal DNA (or RNA) out of the total amount
and T for BA SNPs. Therefore,                                        of DNA (or RNA) in the sample. In some embodiments, the
                                                                     fetal fraction is determined by obtaining genotypic data from
                                                                     a maternal blood sample (or fraction thereof) for a set of
                                                                     polymorphic loci on at least one chromosome that is
                                                                  40 expected to be disomic in both the mother and the fetus;
                                                                     creating a plurality of hypotheses each corresponding to
                                                                     different possible fetal fractions at the chromosome; build-
If we assume a constant depth of read N, this gives a                ing a model for the expected allele measurements in the
Binomial distribution S with parameters                              blood sample at the set of polymorphic loci on the chromo-
                                                                  45 some for possible fetal fractions; calculating a relative
                                                                     probability of each of the fetal fractions hypotheses using
                            1 + f         )                          the model and the allele measurements from the blood
                        p ( - - , N and T.
                            2+f                                      sample or fraction thereof; and determining the fetal fraction
                                                                     in the blood sample by selecting the fetal fraction corre-
Classification                                                    50 sponding to the hypothesis with the greatest probability. In
   As demonstrated in the sections above, X; is a binary             some embodiments, the fetal fraction is determined by
random variable with                                                 identifying those polymorphic loci where the mother is
                                                                     homozygous for a first allele at the polymorphic locus, and
                                                                     the father is (i) heterozygous for the first allele and a second
                                                                  55 allele or (ii) homozygous for a second allele at the poly-
                        PG,N,)                 given disomy
                                                                     morphic locus; and using the amount of the second allele
                      p(  2 ~  J'    N,)     homolog 1 deletion      detected in the blood sample for each of the identified
                                                                     polymorphic loci to determine the fetal fraction in the blood
         Pr{X, = 1) = 1-pL~ f,N,)            homolog 2 deletion      sample (see, e.g., US Puhl. No. 2012/0185176, filed Mar. 29,
                                                                  60 2012, and US Pub. No. 2014/0065621, filed Mar. 13, 2013

                      1-pG:j,N,) homolog 1 duplication               which are each incorporated herein by reference in their
                                                                     entirety).
                      p(~: j• N,)           homolog 2 duplication       Another method for determining fetal fraction includes
                                                                     using a high throughput DNA sequencer to count alleles at
                                                                  65 a large number of polymorphic (such as SNP) genetic loci
   This allows one to calculate the probability of the test          and modeling the likely fetal fraction (see, for example, US
statistic S under each hypothesis. The probability of each           Puhl. No. 2012/0264121, which is incorporated herein by




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reference in its entirety). Another method for calculating          cells (or the fraction of DNA or RNA from the target cells),
fetal fraction can be found in Sparks et al.," Noninvasive          the expected allele ratio for heterozygous (AB or BA) SNPs
prenatal detection and selective analysis of cell-free DNA          can be found as follows:
obtained from maternal blood: evaluation for trisomy 21 and
trisomy 18," Am J Obstet Gynecol 2012; 206:319.el-9, 5
which is incorporated herein by reference in its entirety. In                      r(AB, Hu)= r(BA, Hu)= 0.5,               Equation (1)

some embodiments, fetal fraction is determined using a                                                          1
methylation assay (see, e.g., U.S. Pat. Nos. 7,754,428;                          r(AB, H10) = r(BA, Ho1) = _ J'
                                                                                                           2
7,901,884; and 8,166,382, which are each incorporated
                                                                 10
herein by reference in their entirety) that assumes certain                      r(AB, Hoi) = r(BA, H10) = ~ .
                                                                                                           2-f
loci are methylated or preferentially methylated in the fetus,
and those same loci are unmethylated or preferentially                           r(AB, H21) = r(BA, H12) = .'.....!..£,
                                                                                                           2+f
unmethylated in the mother.
   FIGS. 1A-13D are graphs showing the distribution of the 15                                                    1
                                                                                 r(AB, H12) = r(BA, H21) = + J"
test statistic S divided by T (the number of SNPs) ("S/T") for                                              2
various copy number hypotheses for various depth of reads
and tumor fractions (where f is the fraction of tumor DNA           Bias, Contamination, and Sequencing Error Correction:
out of total DNA) for an increasing number of SNPs.                    The observation Ds at the SNP consists of the number of
                                                                 20 original mapped reads with each allele present, nA and n 8 °.
                                                                                                                            O
Single Hypothesis Rejection
   The distribution of S for the disomy hypothesis does not         Then, we can find the corrected reads nA and n 8 using the
depend on f. Thus, the probability of the measured data can         expected bias in the amplification of A and B alleles.
be calculated for the disomy hypothesis without calculating            Let ca to denote the ambient contamination (such as
f. A single hypothesis rejection test can be used for the null      contamination from DNA in the air or environment) and
hypothesis of disomy. In some embodiments, the probability 25 r(ca) to denote the allele ratio for the ambient contaminant
of S under the disomy hypothesis is calculated, and the             (which is taken to be 0.5 initially). Moreover, cg denotes the
hypothesis of disomy is rejected if the probability is below        genotyped contamination rate (such as the contamination
a given threshold value (such as less than 1 in 1,000). This        from another sample), and r(cg) is the allele ratio for the
indicates that a duplication or deletion of the chromosome          contaminant. Let s,(A,B) and s,(B,A) denote the sequencing
                                                                    errors for calling one allele a different allele ( such as by
segment is present. If desired, the false positive rate can be 30
                                                                    erroneously detecting an A allele when a B allele is present).
altered by adjusting the threshold value.
                                                                       One can find the observed allele ratio q(r, ca, r(ca), cg,
Exemplary Methods for Analysis of Phased Data
                                                                    r(cg), s,(A,B), s,(B,A)) for a given expected allele ratio r by
   Exemplary methods are described below for analysis of
                                                                    correcting for ambient contamination, genotyped contami-
data from a sample known or suspected of being a mixed 35 nation, and sequencing error.
sample containing DNA or RNA that originated from two or               Since the contaminant genotypes are unknown, popula-
more cells that are not genetically identical. In some              tion frequencies can be used to find P(r(cg)). More specifi-
embodiments, phased data is used. In some embodiments,              cally, let p be the population frequency for one of the alleles
the method involves determining, for each calculated allele         (which may be referred to as a reference allele). Then, we
ratio, whether the calculated allele ratio is above or below 40 have P(r(cg)=0)=(1-p)2, P(r(cg)=0)=2p(l-p), and P(r(cg)=
the expected allele ratio and the magnitude of the difference       0)=p 2 . The conditional expectation over r(cg) can be used to
for a particular locus. In some embodiments, a likelihood           determine the E[q(r, ca, r(ca), cg, r(cg), se(A,B), se(B,A))].
distribution is determined for the allele ratio at a locus for a    Note that the ambient and genotyped contamination are
particular hypothesis and the closer the calculated allele          determined using the homozygous SNPs, hence they are not
ratio is to the center of the likelihood distribution, the more 45 affected by the absence or presence of deletions or duplica-
likely the hypothesis is correct. In some embodiments, the          tions. Moreover, it is possible to measure the ambient and
method involves determining the likelihood that a hypoth-           genotyped contamination using a reference chromosome if
esis is correct for each locus. In some embodiments, the            desired.
method involves determining the likelihood that a hypoth-           Likelihood at Each SNP:
esis is correct for each locus, and combining the probabili- 50        The equation below gives the probability of observing nA
ties of that hypothesis for each locus, and the hypothesis          and n8 given an allele ratio r:
with the greatest combined probability is selected. In some
embodiments, the method involves determining the likeli-
hood that a hypothesis is correct for each locus and for each                                                               Equation (2)
possible ratio of DNA or RNA from the one or more target 55
cells to the total DNA or RNA in the sample. In some
embodiments, a combined probability for each hypothesis is             Let Ds denote the data for SNP s. For each hypothesis
determined by combining the probabilities of that hypothesis        hE{H 11 , H 01 , H 10 , Hw H 12 }, one can let r=r(AB,h) or
for each locus and each possible ratio, and the hypothesis          r=r(BA,h) in the equation (1) and find the conditional
with the greatest combined probability is selected.              60 expectation over r(cg) to determine the observed allele ratio
   In one embodiment, the following hypotheses are con-             E[q(r, ca, r(ca), cg, r(cg))]. Then, letting r=E[q(r, ca, r(ca), cg,
sidered: H 11 (all cells are normal), H 10 (presence of cells       r(cg), s,(A,B), s,(B,A))] in equation (2) one can determine
with only homolog 1, hence homolog 2 deletion), H 01                P(Dslh,f).
(presence of cells with only homolog 2, hence homolog 1             Search Algorithm:
deletion), H 21 (presence of cells with homolog 1 duplica- 65          In some embodiments, SNPs with allele ratios that seem
tion), H 12 (presence of cells with homolog 2 duplication).         to be outliers are ignored (such as by ignoring or eliminating
For a fraction f of target cells such as cancer cells or mosaic     SNPs with allele ratios that are at least 2 or 3 standard




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deviations above or below the mean value). Note that an          setting. The false positive rate (in the case of p=0%) and
advantage identified for this approach is that in the presence   false negative rate (in the case of p>0%) were determined
of higher mosaicism percentage, the variability in the allele    both with or without phase information. The false negative
ratios may be high, hence this ensures that SNPs will not be     rate is below 10% for D:2'.3000 and N:2:200 using haplotype
trimmed due to mosaicism.                                      5 information, whereas the same performance is reached for
   Let F= {f1, ... , fN} denote the search space for the         D=5000 and N:2:400 (FIGS. 20A and 20B). The difference
mosaicism percentage (such as the tumor fraction). One can       between the false negative rate was particularly stark for
determine P(D)h,f) at each SNP sand fEF, and combine the         small mosaicism percentages (FIGS. 21A-25B). For
likelihood over all SNPs.                                        example, when p=l %, a less than 20% false negative rate is
   The algorithm goes over each f for each hypothesis. Using 10 never reached without haplotype data, whereas it is close to
a search method, one concludes that mosaicism exists if          0% for N:2:300 and D:2'.3000. For p=3%, a 0% false negative
there is a range F* of f where the confidence of the deletion    rate is observed with haplotype data, while N:2:300 and
or duplication hypothesis is higher than the confidence of the   D:2'.3000 is needed to reach the same performance without
no deletion and no duplication hypotheses. In some embodi-       haplotype data.
ments, the maximum likelihood estimate for P(D)h,f) in F* 15 Exemplary Methods for Detecting Deletions and Duplica-
is determined. If desired, the conditional expectation over      tions without Phased Data
fEF* may be determined. If desired, the confidence for each         In some embodiments, unphased genetic data is used to
hypothesis can be determined.                                    determine if there is an overrepresentation of the number of
                                                                   copies of a first homologous chromosome segment as com-
                  Additional Embodiments                         20
                                                                   pared to a second homologous chromosome segment in the
                                                                   genome of an individual (such as in the genome of one or
   In some embodiments, a beta binomial distribution is used       more cells or in cfDNA or cfRNA). In some embodiments,
instead of binomial distribution. In some embodiments, a
                                                                   phased genetic data is used but the phasing is ignored. In
reference chromosome or chromosome segment is used to              some embodiments, the sample of DNA or RNA is a mixed
determine the sample specific parameters of beta binomial. 25 sample of cfDNA or cfRNA from the individual that
Theoretical Performance Using Simulations:                         includes cfDNA or cfRNA from lwu or more genetically
   If desired, one can evaluate the theoretical performance of     different cells. In some embodiments, the method utilizes the
the algorithm by randomly assigning number of reference            magnitude of the difference between the calculated allele
reads to a SNP with given depth of read (DOR). For the             ratio and the expected allele ratio for each of the loci.
normal case, use p=0.5 for the binomial probability param- 30         In some embodiments, the method involves obtaining
eter, and for deletions or duplications, p is revised accord-      genetic data at a set of polymorphic loci on the chromosome
ingly. Exemplary input parameters for each simulation are as       or chromosome segment in a sample of DNA or RNA from
follows: (1) number of SNPs S (2) constant DOR D per SNP,          one or more cells from the individual by measuring the
(3) p, and (4) number of experiments.                              quantity of each allele at each locus. In some embodiments,
First Simulation Experiment:                                    35
                                                                   allele ratios are calculated for the loci that are heterozygous
   This experiment focused on SE{500, 1000}, DE{500,               in at least one cell from which the sample was derived (such
1000} and pE{0%, 1%, 2%, 3%, 4%, 5%}. We performed                 as the loci that are heterozygous in the fetus and/or het-
1,000 simulation experiments in each setting (hence 24,000         erozygous in the mother). In some embodiments, the calcu-
experiments with phase, and 24,000 without phase). We              lated allele ratio for a particular locus is the measured
simulated the number of reads from a binomial distribution 40 quantity of one of the alleles divided by the total measure_d
(if desired, other distributions can be used). The false           quantity of all the alleles for the locus. In some embodi-
positive rate (in the case of p=0%) and false negative rate (in    ments, the calculated allele ratio for a particular locus is the
the case of p>0%) were determined both with or without             measured quantity of one of the alleles (such as the allele on
phase information. False positive rates are listed in FIG. 26.     the first homologous chromosome segment) divided by the
Note that phase information is very helpful, especially for 45 measured quantity of one or more other alleles (such as the
S=lO00, D=lO00. Although for S=500, D=500, the algo-               allele on the second homologous chromosome segment) for
rithm has the highest false positive rates with or without         the locus. The calculated allele ratios and expected allele
phase out of the conditions tested. False negative rates are       ratios may be calculated using any of the methods described
listed in FIG. 27.                                                 herein or any standard method (such as any mathematical
   Phase information is particularly useful for low mosa- 50 transformation of the calculated allele ratios or expected
icism percentages (:s;3% ). Without phase information, a high      allele ratios described herein).
level of false negatives were observed for p=l % because the          In some embodiments, a test statistic is calculated based
confidence on deletion is determined by assigning equal            on the magnitude of the difference between the calculated
chance to H10 and H0 i, and a small deviation in favor of one      allele ratio and the expected allele ratio for each of the loci.
hypothesis is not sufficient to compensate for the low 55 In some embodiments, the test statistic fl is calculated using
likelihood from the other hypothesis. This applies to dupli-       the following formula
cations as well. Note also that the algorithm seems to be
more sensitive to depth of read compared to number of
SNPs. For the results with phase information, we assume
that perfect phase information is available for a high number 60
of consecutive heterozygous SNPs. If desired, haplotype
information can be obtained by probabilistically combining
haplotypes on smaller segments.                                       wherein 8 is the magnitude of the difference between the
Second Simulation Experiment:                                      calculated aliele ratio and the expected allele ratio for the ith
   This experiment focused on SE{lO0, 200,300,400, 500}, 65 loci;
DE{lO00, 2000, 3000, 4000, 5000} and pE{0%, 1%, 1.5%,                 wherein µ; is the mean value of 8;; and
2%, 2.5%, 3%} and 10000 random experiments at each                    wherein cr/ is the standard deviation of 8;.




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  For example, we can define Ii, as follows when the               algorithm, is used for one or more of the following steps:
expected allele ratio is 0.5:                                      calculating the data fit, ranking the hypotheses, or selecting
                                                                   the hypothesis that is ranked the highest. In some embodi-
                                                                   ments, the data fit is a fit to a beta-binomial distribution or
Values for µ, and a, can be computed using the fact that R,        a fit to a binomial distribution. In some embodiments, the
is a Binomial random variable. In some embodiments, the            technique or algorithm is selected from the group consisting
standard deviation is assumed to be the same for all the loci.     of maximum likelihood estimation, maximum a-posteriori
In some embodiments, the average or weighted average               estimation, Bayesian estimation, dynamic estimation (such
value of the standard deviation or an estimate of the standard     as dynamic Bayesian estimation), and expectation-maximi-
deviation is used for the value of a,2. In some embodiments, 10 zation estimation. In some embodiments, the method
the test statistic is assumed to have a normal distribution. For   includes applying the technique or algorithm to the obtained
example, the central limit theorem implies that the distribu-      genetic data and the expected genetic data.
tion of ti. converges to a standard normal as the number of           In some embodiments, the method involves enumerating
loci (such as the number of SNPs T) grows large.                   (i) a plurality of hypotheses specifying the number of copies
   In some embodiments, a set of one or more hypotheses 15 of the chromosome or chromosome segment that are present
specifying the number of copies of the chromosome or               in the genome of one or more cells (such as cancer cells) of
chromosome segment in the genome of one or more of the             the individual or (ii) a plurality of hypotheses specifying the
cells are enumerated. In some embodiments, the hypothesis          degree of overrepresentation of the number of copies of a
that is most likely based on the test statistic is selected,       first homologous chromosome segment as compared to a
thereby determining the number of copies of the chromo- 20 second homologous chromosome segment in the genome of
some or chromosome segment in the genome of one or more            one or more cells of the individual. In some embodiments,
of the cells. In some embodiments, a hypotheses is selected        the method involves obtaining genetic data from the indi-
if the probability that the test statistic belongs to a distribu-  vidual at a plurality of polymorphic loci (such as SNP loci)
tion of the test statistic for that hypothesis is above an upper   on the chromosome or chromosome segment. In some
threshold; one or more of the hypotheses is rejected if the 25 embodiments, the genetic data includes allele counts for the
probability that the test statistic belongs to the distribution of plurality of polymorphic loci. In some embodiments, a joint
the test statistic for that hypothesis is below an lower           distribution model is created for the expected allele counts
threshold; or a hypothesis is neither selected nor rejected if     at the plurality of polymorphic loci on the chromosome or
the probability that the test statistic belongs to the distribu-   chromosome segment for each hypothesis. In some embodi-
tion of the test statistic for that hypothesis is between the 30 ments, a relative probability for one or more of the hypoth-
lower threshold and the upper threshold, or if the probability     eses is determined using the joint distribution model and the
is not determined with sufficiently high confidence. In some       allele counts measured on the sample, and the hypothesis
embodiments, an upper and/or lower threshold is determined         with the greatest probability is selected.
from an empirical distribution, such as a distribution from           In some embodiments, the distribution or pattern of
training data (such as samples with a known copy number, 35 alleles (such as the pattern of calculated allele ratios) is used
such as diploid samples or samples known to have a par-            to determine the presence or absence of a CNV, such as a
ticular deletion or duplication). Such an empirical distribu-      deletion or duplication. If desired the parental origin of the
tion can be used to select a threshold for a single hypothesis     CNV can be determined based on this pattern. A maternally
rejection test.                                                    inherited duplication is an extra copy of a chromosome
   Note that the test statistic ti. is independent of S and 40 segment from the mother, and maternally inherited deletion
therefore both can be used independently, if desired.              is the absence of the copy of a chromosome segment from
Exemplary Methods for Detecting Deletions and Duplica-             the mother such that the only copy of the chromosome
tions Using Allele Distributions or Patterns                       segment that is present is from the father. Exemplary pat-
   This section includes methods for determining if there is       terns are illustrated in FIGS. 15A-19D and are described
an overrepresentation of the number of copies of a first 45 further below.
homologous chromosome segment as compared to a second                 To determine the presence or absence of a deletion of a
homologous chromosome segment. In some embodiments,                chromosome segment of interest, the algorithm considers
the method involves enumerating (i) a plurality of hypoth-         the distribution of sequence counts from each of two pos-
eses specifying the number of copies of the chromosome or          sible alleles at large number of SNPs per chromosome. It is
chromosome segment that are present in the genome of one 50 important to note that some embodiments of the algorithm
or more cells (such as cancer cells) of the individual or (ii)     use an approach that does not lend itself to visualization.
a plurality of hypotheses specifying the degree of overrep-        Thus, for the purposes of illustration, the data is displayed in
resentation of the number of copies of a first homologous          FIGS. lSA-18 in a simplified fashion as ratios of the two
chromosome segment as compared to a second homologous              most likely alleles, labeled as A and B, so that the relevant
chromosome segment in the genome of one or more cells of 55 trends can be more readily visualized. This simplified illus-
the individual. In some embodiments, the method involves           tration does not take into account some of the possible
obtaining genetic data from the individual at a plurality of       features of the algorithm. For example, two embodiments
polymorphic loci (such as SNP loci) on the chromosome or           for the algorithm that are not possible to illustrate with a
chromosome segment. In some embodiments, a probability             method of visualization that displays allele ratios are: 1) the
distribution of the expected genotypes of the individual for 60 ability to leverage linkage disequilibrium, i.e. the influence
each of the hypotheses is created. In some embodiments, a          that a measurement at one SNP has on the likely identity of
data fit between the obtained genetic data of the individual       a neighboring SNP, and 2) the use of non-Gaussian data
and the probability distribution of the expected genotypes of      models that describe the expected distribution of allele
the individual is calculated. In some embodiments, one or          measurements at a SNP given platform characteristics and
more hypotheses are ranked according to the data fit, and the 65 amplification biases. Also note that a simplified version of
hypothesis that is ranked the highest is selected. In some         the algorithm only considers the two most common alleles
embodiments, a technique or algorithm, such as a search            at each SNP, ignoring other possible alleles.




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   Deletions of interest were detected in genomic and mater-       "peripheral" bands each at both the top (red) and bottom
nal blood samples. In some embodiments, the genomic and            (blue) of the plots correspond to SNPs that are homozygous
maternal plasma samples are analyzed using the multiplex-          in the mother.
PCR and sequencing method of Example 1. The genomic                   Analysis of a 22q 11.2 deletion carrier (a mother with this
DNA syndrome samples tested lacked heterozygous SNPs in 5 deletion) is shown in FIG. 16A. The deletion carrier does not
the targeted regions, confirming the ability of the assays to      have heterozygous SNPs in this region since the carrier only
distinguish monosomy (affected) from disomy (unaffected).          has one copy of this region. Thus, this deletion is indicated
Analysis of cfDNA from a maternal blood sample was able            by the absence of the green AB SNPs. The analysis of a
to detect 22qll.2 deletion syndrome, Cri-du-Chat deletion          paternally inherited 22q 11 deletion in a fetus is shown in
                                                                10 FIG. 16B. When the fetus only inherits a single copy of a
syndrome, and Wolf-Hirschhorn deletion syndrome, as well
                                                                   chromosome segment (in the case of a paternally inherited
as the other deletion syndromes in FIG. 14 in the fetus.
                                                                   deletion, the copy present in the fetus comes from the
   FIGS. 15A-15C depict data that indicate the presence of
                                                                   mother), and thus only inherits a single allele for each locus
two chromosomes when the sample is entirely maternal (no           in this segment, heterozygosity of the fetus is not possible.
fetal cfDNA present, FIG. 15A), contains a moderate fetal 15 As such, the only possible fetal SNP identities are A or B.
cfDNA fraction of 12% (FIG. 15B), or contains a high fetal         Note the absence of internal peripheral bands. For a pater-
cfDNA fraction of 26% (FIG. 15C). The x-axis represents            nally inherited deletion, the characteristic pattern includes
the linear position of the individual polymorphic loci along       two central green bands that represent SNPs for which the
the chromosome, and the y-axis represents the number of A          mother is heterozygous, and only has single peripheral red
allele reads as a fraction of the total (A+B) allele reads. 20 and blue bands that represent SNPs for which the mother is
Maternal and fetal genotypes are indicated to the right of the     homozygous, and which remain tightly associated with the
plots. The plots are color-coded according to maternal             upper and lower limits of the plots (1 and 0), respectively.
genotype, such that red indicates a maternal genotype of AA,          Analysis of a maternally inherited Cri-du-Chat deletion
blue indicates a maternal genotype of BB, and green indi-          syndrome is shown in FIG. 17. There are two central green
cates a maternal genotype of AB. Note that the measure- 25 bands instead of three green bands, and there are two red and
ments are made on total cfDNA isolated from maternal               two blue peripheral bands. A maternally inherited deletion
blood, and the cfDNA includes both maternal and fetal              (such as a maternal carrier of Duchenne's muscular dystro-
cfDNA; thus, each spot represents the combination of the           phy) can also be detected based on the small amount of
fetal and maternal DNA contribution for that SNP. There-           signal in that region of the deletion in a mixed sample of
fore, increasing the proportion of maternal cfDNA from 0% 30 maternal and fetal DNA (such as a plasma sample) due to
to 100% will gradually shift some spots up or down within          both the mother and the fetus having the deletion.
the plots, depending on the maternal and fetal genotype.              FIG. 18 is a plot of a paternally inherited Wolf-Hirschhorn
   In all cases, SNPs that are homozygous for the A allele         deletion syndrome, as indicated by the presence of one red
(AA) in both the mother and the fetus are found tightly            and one blue peripheral band.
associated with the upper limit of the plots, as the fraction 35      If desired, similar plots can be generated for a sample
of A allele reads is high because there should be no B alleles     from an individual suspected of having a deletion or dupli-
present. Conversely, SNPs that are homozygous for the B            cation, such as a CNV associated with cancer. In such plots,
allele in both the mother and the fetus are found tightly          the following color coding can be used based on the geno-
associated with the lower limit of the plots, as the fraction      type of cells without the CNV: red indicates a genotype of
of A allele reads is low because there should be only B 40 AA, blue indicates a genotype of BB, and green indicates a
alleles. The spots that are not tightly associated with the        genotype of AB. In some embodiments for a deletion, the
upper and lower limits of the plots represent SNPs for which       pattern includes two central green bands that represent SNPs
the mother, the fetus, or both are heterozygous; these spots       for which the individual is heterozygous (top green band
are useful for identifying fetal deletions or duplications, but    represents AB from cells without the deletion and A from
can also be informative for determining paternal versus 45 cells with the deletion, and bottom green band represents AB
maternal inheritance. These spots segregate based on both          from cells without the deletion and B from cells with the
maternal and fetal genotypes and fetal fraction, and as such       deletion), and only has single peripheral red and blue bands
the precise position of each individual spot along the y-axis      that represent SNPs for which the individual is homozygous,
depends on both stoichiometry and fetal fraction. For              and which remain tightly associated with the upper and
example, loci where the mother is AA and the fetus is AB are 50 lower limits of the plots (1 and 0), respectively. In some
expected to have a different fraction of A allele reads, and       embodiments, the separation of the two green bands
thus different positioning along the y-axis, depending on the      increases as the fraction of cells, DNA, or RNA with the
fetal fraction.                                                    deletion increases.
   FIG. 15A has data for a non-pregnant woman, and thus            Exemplary Methods for Identifying and Analyzing Multiple
represents the pattern when the genotype is entirely mater- 55 Pregnancies
nal. This pattern includes "clusters" of spots: a red cluster         In some embodiments, any of the methods of the present
tightly associated with the top of the plot (SNPs where the        invention are used to detect the presence of a multiple
maternal genotype is AA), a blue cluster tightly associated        pregnancy, such as a twin pregnancy, where at least one of
with the bottom of the plot (SNPs where the maternal               the fetuses is genetically different from at least one other
genotype is BB), and a single, centered green cluster (SNPs 60 fetus. In some embodiments, fraternal twins are identified
where the maternal genotype is AB). For FIG. 15B, the              based on the presence of two fetus with different allele,
contribution of fetal alleles to the fraction of A allele reads    different allele ratios, or different allele distributions at some
shifts the position of some allele spots up or down along the      (or all) of the tested loci. In some embodiments, fraternal
y-axis. For FIG. 15C, the pattern, including two red and two       twins are identified by determining the expected allele ratio
blue peripheral bands and a trio of central green bands, is 65 at each locus (such as SNP loci) for two fetuses that may
readily apparent. The three central green bands correspond         have the same or different fetal fractions in the sample (such
to SNPs that arc heterozygous in the mother, and two               as a plasma sample). In some embodiments, the likelihood




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of a particular pair of fetal fractions (where fl is the fetal     eses. In some embodiments for identical twins, one consider
fraction for fetus 1, and f2 is the fetal fraction for fetus 2) is the hypotheses (i) both twins are euploid, and (ii) both twins
calculated by considering some or all of the possible geno-        are trisomic. In some embodiments for fraternal twins, one
types of the two fetuses, conditioned on the mother's geno-        considers the hypotheses (i) both twins are euploid and (ii)
type and genotype population frequencies. The mixture of           at least one twin is trisomic. The trisomy hypotheses for
two fetal and one maternal genotype, combined with the             fraternal twins are based on the lower fetal fraction, since a
fetal fractions, determine the expected allele ratio at a SNP.     trisomy in the twin with a higher fetal fraction would also be
For example, if the mother is AA, fetus 1 is AA, and fetus         detected. Ploidy likelihoods are calculated using a method
2 is AB, the overall fraction ofB allele at the SNP is one-half    which predicts the expected number of reads at each targeted
of f2. The likelihood calculation asks how well all of the 10 genome locus conditioned on either the disomy or trisomy
SNPs together match the expected allele ratios based on all        hypothesis. There is no requirement for a disomy reference
of the possible combinations of fetal genotypes. The fetal         chromosome. The variance model for the expected number
fraction pair (fl, f2) that best matches the data is selected. It  of reads takes into account the performance of individual
is not necessary to calculated specific genotypes of the           target loci as well as the correlation between loci (see, for
fetuses; instead, one can, for example, considered all of the 15 example, U.S. Ser. No. 62/008,235, filed Jun. 5, 2014, and
possible genotypes in a statistical combination. In some           U.S. Ser. No. 62/032,785, filed Aug. 4, 2014, which are each
embodiments, if the method does not distinguish between            hereby incorporated by reference in its entirety). If the
singleton and identical twins, an ultrasound can be per-           smaller twin has fetal fraction fl, our ability to detect a
formed to determine whether there is a singleton or identical      trisomy in that twin is equivalent to our ability to detect a
twin pregnancy. If the ultrasound detects a twin pregnancy 20 trisomy in a singleton pregnancy at the same fetal fraction.
it can be assumed that the pregnancy is an identical twin          This is because the part of the method that detects the
pregnancy because a fraternal twin pregnancy would have            trisomy in some embodiments does not depend on genotypes
been detected based on the SNP analysis discussed above.           and does not distinguish between multiple or singleton
   In some embodiments, a pregnant mother is known to              pregnancy. It simply looks for an increased number ofreads
have a multiple pregnancy (such as a twin pregnancy) based 25 in accordance with the determined fetal fraction.
on prior testing, such as an ultrasound. Any of the methods           In some embodiments, the method includes detecting the
of the present invention can be used to determine whether          presence of twins based on SNP loci (such as described
the multiple pregnancy includes identical or fraternal twins.      above). If twins are detected, SPNs are used to determine the
For example, the measured allele ratios can be compared to         fetal fraction of each fetus (fl, f2) such as described above.
what would be expected for identical twins (the same allele 30 In some embodiments, samples that have high confidence
ratios as a singleton pregnancy) or for fraternal twins (such      disomy calls are used to determine the amplification bias on
as the calculation of allele ratios as described above). Some      a per-SNP basis. In some embodiments, these samples with
identical twins are monochorionic twins, which have a risk         high confidence disomy calls are analyzed in the same run
of twin-to-twin transfusion syndrome. Thus, twins deter-           as one or more samples of interest. In some embodiments,
mined to be identical twins using a method of the invention 35 the amplification bias on a per-SNP basis is used to model
are desirably tested (such as by ultrasound) to determine if       the distribution of reads for one or more chromosomes or
they are monochorionic twins, and if so, these twins can be        chromosome segments of interest such as chromosome 21
monitored (such as bi-weekly ultrasounds from 16 weeks)            that are expected or the disomy hypothesis and the trisomy
for signs of win-to-twin transfusion syndrome.                     hypothesis given the lower of the two twin fetal fraction. The
   In some embodiments, any of the methods of the present 40 likelihood or probability of disomy or trisomy is calculated
invention are used to determine whether any of the fetuses         given the two models and the measured quantity of the
in a multiple pregnancy, such as a twin pregnancy, are             chromosome or chromosome segment of interest.
aneuploid. Aneuploidy testing for twins begins with the fetal         In some embodiments, the threshold for a positive aneu-
fraction estimate. In some embodiments, the fetal fraction         ploidy call (such as a trisomy call) is set based on the twin
pair (fl, f2) that best matches the data is selected as 45 with the lower fetal fraction. This way, if the other twin is
described above. In some embodiments, a maximum likeli-            positive, or if both are positive, the total chromosome
hood estimate is performed for the parameter pair (fl, f2)         representation is definitely above the threshold.
over the range of possible fetal fractions. In some embodi-        Exemplary Counting Methods/Quantitative Methods
ments, the range of f2 is from O to fl because f2 is defined          In some embodiments, one or more counting methods
as the smaller fetal fraction. Given a pair (fl, f2), data 50 (also referred to as quantitative methods) are used to detect
likelihood is calculated from the allele ratios observed at a      one or more CNS, such as deletions or duplications of
set ofloci such as SNP loci. In some embodiments, the data         chromosome segments or entire chromosomes. In some
likelihood reflects the genotypes of the mother, the father if     embodiments, one or more counting methods are used to
available, population frequencies, and the resulting prob-         determine whether the overrepresentation of the number of
abilities of fetal genotypes. In some embodiments, SNPs are 55 copies of the first homologous chromosome segment is due
assumed independent. The estimated fetal fraction pair is the      to a duplication of the first homologous chromosome seg-
one that produces the highest data likelihood. If f2 is O then     ment or a deletion of the second homologous chromosome
the data is best explained by only one set of fetal genotypes,     segment. In some embodiments, one or more counting
indicating identical twins, where fl is the combined fetal         methods are used to determine the number of extra copies of
fraction. Otherwise fl and f2 are the estimates of the 60 a chromosome segment or chromosome that is duplicated
individual twin fetal fractions. Having established the best       (such as whether there are 1, 2, 3, 4, or more extra copies).
estimate of (fl, f2), one can predict the overall fraction of B    In some embodiments, one or more counting methods are
allele in the plasma for any combination of maternal and           used to differentiate a sample has many duplications and a
fetal genotypes, if desired. It is not necessary to assign         smaller tumor fraction from a sample with fewer duplica-
individual sequence reads to the individual fetuses. Ploidy 65 tions and a larger tumor fraction. For example, one or more
testing is performed using another maximum likelihood              counting methods may be used to differentiate a sample with
estimate which compares the data likelihood of two hypoth-         four extra chromosome copies and a tumor fraction of 10%




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from a sample with two extra chromosome copies and a               mine the presence or absence of an abnormal distribution
tumor fraction of 20%. Exemplary methods are disclosed,            (such as a deletion or duplication) of the first chromosome
e.g. U.S. Publication Nos. 2007/0184467; 2013/0172211;             or chromosome segment.
and 2012/0003637; U.S. Pat. Nos. 8,467,976; 7,888,017;                In some embodiments, the value off (such as the fetal
8,008,018; 8,296,076; and 8,195,415; U.S. Ser. No. 62/008,         fraction or tumor fraction) is used in the CNV determination,
235, filed Jun. 5, 2014, and U.S. Ser. No. 62/032,785, filed       such as to compare the observed difference between the
Aug. 4, 2014, which are each hereby incorporated by                amount of two chromosomes or chromosome segments to
reference in its entirety.                                         the difference that would be expected for a particular type of
   In some embodiment, the counting method includes                CNV given the value off (see, e.g., US Publication No
                                                                10 2012/0190020; US Publication No 2012/0190021; US Pub-
counting the number of DNA sequence-based reads that map
                                                                   lication No 2012/0190557; US Publication No 2012/
to one or more given chromosomes or chromosome seg-
                                                                   0191358, which are each hereby incorporated by reference
ments. Some such methods involve creation of a reference
                                                                   in its entirety). For example, the difference in the amount of
value (cut-off value) for the number of DNA sequence reads         a chromosome segment that is duplicated in a fetus com-
mapping to a specific chromosome or chromosome segment, 15 pared to a disomic reference chromosome segment in a
wherein a number of reads in excess of the value is indica-        blood sample from a mother carrying the fetus increases as
tive of a specific genetic abnormality.                            the fetal fraction increases. Additionally, the difference in
   In some embodiments, the total measured quantity of all         the amount of a chromosome segment that is duplicated in
the alleles for one or more loci (such as the total amount of      a tumor compared to a disomic reference chromosome
a polymorphic or non-polymorphic locus) is compared to a 20 segment increases as the tumor fraction increases. In some
reference amount. In some embodiments, the reference               embodiments, the method includes comparing the relative
amount is (i) a threshold value or (ii) an expected amount for     frequency of a chromosome or chromosome segment of
a particular copy number hypothesis. In some embodiments,          interest to a reference chromosomes or chromosome seg-
the reference amount (for the absence of a CNV) is the total       ment (such as a chromosome or chromosome segment
measured quantity of all the alleles for one or more loci for 25 expected or known to be disomic) to the value of f to
one or more chromosomes or chromosomes segments                    determine the likelihood of the CNV. For example, the
known or expected to not have a deletion or duplication. In        difference in amounts between the first chromosomes or
some embodiments, the reference amount (for the presence           chromosome segment to the reference chromosome or chro-
of a CNV) is the total measured quantity of all the alleles for    mosome segment can be compared to what would be
                                                                30 expected given the value off for various possible CNVs
one or more loci for one or more chromosomes or chroma-
                                                                   (such as one or two extra copies of a chromosome segment
sames segments known or expected to have a deletion or
                                                                   of interest).
duplication. In some embodiments, the reference amount is
                                                                      The following prophetic examples illustrate the use of a
the total measured quantity of all the alleles for one or more
                                                                   counting method/quantitative method to differentiate
loci for one or more reference chromosomes or chromosome 35 between a duplication of the first homologous chromosome
segments. In some embodiments, the reference amount is the         segment and a deletion of the second homologous chromo-
mean or median of the values determined for two or more            some segment. If one considers the normal disomic genome
different chromosomes, chromosome segments, or different           of the host to be the baseline, then analysis of a mixture of
samples. In some embodiments, random (e.g., massively              normal and cancer cells yields the average difference
parallel shotgun sequencing) or targeted sequencing is used 40 between the baseline and the cancer DNA in the mixture. For
to determine the amount of one or more polymorphic or              example, imagine a case where 10% of the DNA in the
non-polymorphic loci.                                              sample originated from cells with a deletion over a region of
   In some embodiments utilizing a reference amount, the           a chromosome that is targeted by the assay. In some embodi-
method includes (a) measuring the amount of genetic mate-          ments, a quantitative approach shows that the quantity of
rial on a chromosome or chromosome segment of interest; 45 reads corresponding to that region is expected to be 95% of
(b) comparing the amount from step (a) to a reference              what is expected for a normal sample. This is because one
amount; and (c) identifying the presence or absence of a           of the two target chromosomal regions in each of the tumor
deletion or duplication based on the comparison.                   cells with a deletion of the targeted region is missing, and
   In some embodiments utilizing a reference chromosome            thus the total amount of DNA mapping to that region is 90%
or chromosome segment, the method includes sequencing 50 (for the normal cells) plus ½x10% (for the tumor cells)
DNA or RNA from a sample to obtain a plurality of                  =95%. Alternately in some embodiments, an allelic
sequence tags aligning to target loci. In some embodiments,        approach shows that the ratio of alleles at heterozygous loci
the sequence tags are of sufficient length to be assigned to a     averaged 19:20. Now imagine a case where 10% of the DNA
specific target locus (e.g., 15-100 nucleotides in length); the    in the sample originated from cells with a five-fold focal
target loci are from a plurality of different chromosomes or 55 amplification of a region of a chromosome that is targeted by
chromosome segments that include at least one first chro-          the assay. In some embodiments, a quantitative approach
mosome or chromosome segment suspected of having an                shows that the quantity of reads corresponding to that region
abnormal distribution in the sample and at least one second        is expected to be 125% of what is expected for a normal
chromosome or chromosome segment presumed to be nor-               sample. This is because one of the two target chromosomal
mally distributed in the sample. In some embodiments, the 60 regions in each of the tumor cells with a five-fold focal
plurality of sequence tags are assigned to their correspond-       amplification is copied an extra five times over the targeted
ing target loci. In some embodiments, the number of                region, and thus the total amount of DNA mapping to that
sequence tags aligning to the target loci of the first chro-       region is 90% (for the normal cells) plus (2+5)x10%/2 (for
mosome or chromosome segment and the number of                     the tumor cells)=125%. Alternately in some embodiments,
sequence tags aligning to the target loci of the second 65 an allelic approach shows that the ratio of alleles at het-
chromosome or chromosome segment are determined. In                erozygous loci averaged 25:20. Note that when using an
some embodiments, these numbers arc compared to deter-             allelic approach alone, a focal amplification of five-fold over




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a chromosomal region in a sample with 10% cfDNA may            eses, for each of the samples of unknown ploidy. The ploidy
appear the same as a deletion over the same region in a        state associated with the hypothesis with the highest calcu-
sample with 40% cfDNA; in these two cases, the haplotype       lated likelihood can be selected as the correct ploidy state.
that is under-represented in the case of the deletion appears     In some embodiments, a subset of the samples with a
to be the haplotype without a CNV in the case with the focal   sufficiently low likelihood of having cancer may be selected
duplication, and the haplotype without a CNV in the case of    to act as a control set of samples. The subset can be a fixed
the deletion appears to be the over-represented haplotype in   number, or it can be a variable number that is based on
the case with the focal duplication. Combining the likeli-     choosing only those samples that fall below a threshold. The
hoods produced by this allelic approach with likelihoods       quantitative data from the subset of samples may be com-
produced by a quantitative approach differentiates between 10 bined, averaged, or combined using a weighted average
the two possibilities.                                         where the weighting is based on the likelihood of the sample
Exemplary Counting Methods/Quantitative Methods Using          being normal. The quantitative data may be used to deter-
Reference Samples                                              mine the per-locus bias for the amplification the sequencing
   An exemplary quantitative method that uses one or more      of samples in the instant batch of control samples. The
reference samples is described in U.S. Ser. No. 62/008,235, 15 per-locus bias may also include data from other batches of
filed Jun. 5, 2014 and U.S. Ser. No. 62/032,785, filed Aug.    samples. The per-locus bias may indicate the relative over-
4, 2014, which is hereby incorporated by reference in its      or under-amplification that is observed for that locus com-
entirety. In some embodiments, one or more reference           pared to other loci, making the assumption that the subset of
samples most likely to not have any CNVs on one or more        samples do not contain any CNVs, and that any observed
chromosomes or chromosomes of interest (e.g., a normal 20 over or under-amplification is due to amplification and/or
sample) are identified by selecting the samples with the       sequencing or other bias. The per-locus bias may take into
highest fraction of tumor DNA, selecting the samples with      account the GC content of the amplicon. The loci may be
the z-score closest to zero, selecting the samples where the   grouped into groups of loci for the purpose of calculating a
data fits the hypothesis corresponding to no CNVs with the     per-locus bias. Once the per-locus bias has been calculated
highest confidence or likelihood, selecting the samples 25 for each locus in the plurality ofloci, the sequencing data for
known to be normal, selecting the samples from individuals     one or more of the samples that are not in the subset of the
with the lowest likelihood of having cancer (e.g., having a    samples, and optionally one or more of the samples that are
low age, being a male when screening for breast cancer,        in the subset of samples, may be corrected by adjusting the
having no family history, etc.), selecting the samples with    quantitative measurements for each locus to remove the
the highest input amount of DNA, selecting the samples with 30 effect of the bias at that locus. For example, if SNP 1 was
the highest signal to noise ratio, selecting samples based on  observed, in the subset of patients, to have a depth of read
other criteria believed to be correlated to the likelihood of  that is twice as great as the average, the adjustment may
having cancer, or selecting samples using some combination     involve replacing the number of reads corresponding from
of criteria. Once the reference set is chosen, one can make    SNP 1 with a number that is half as great. If the locus in
the assumption that these cases are disomic, and then 35 question is a SNP, the adjustment may involve cutting the
estimate the per-SNP bias, that is, the experiment-specific    number of reads corresponding to each of the alleles at that
amplification and other processing bias for each locus. Then,  locus in half. Once the sequencing data for each of the loci
one can use this experiment-specific bias estimate to correct  in one or more samples has been adjusted, it may be
the bias in the measurements of the chromosome of interest,    analyzed using a method for the purpose of detecting the
such as chromosome 21 loci, and for the other chromosome 40 presence of a CNV at one or more chromosomal regions.
loci as appropriate, for the samples that are not part of the     In an example, sample A is a mixture of amplified DNA
subset where disomy is assumed for chromosome 21. Once         originating from a mixture of normal and cancerous cells
the biases have been corrected for in these samples of         that is analyzed using a quantitative method. The following
unknown ploidy, the data for these samples can then be         illustrates exemplary possible data. A region of the q arm on
analyzed a second time using the same or a different method 45 chromosome 22 is found to only have 90% as much DNA
to determine whether the individuals (such as fetuses) are     mapping to that region as expected; a focal region corre-
afflicted with trisomy 21. For example, a quantitative         sponding to the HER2 gene is found to have 150% as much
method can be used on the remaining samples of unknown         DNA mapping to that region as expected; and the p-arm of
ploidy, and a z-score can be calculated using the corrected    chromosome 5 is found to have 105% as much DNA
measured genetic data on chromosome 21. Alternately, as 50 mapping to it as expected. A clinician may infer that the
part of the preliminary estimate of the ploidy state of        sample has a deletion of a region on the q arm on chromo-
chromosome 21, a fetal fraction (or tumor fraction for         some 22, and a duplication of the HER2 gene. The clinician
samples from an individual suspected of having cancer) can     may infer that since the 22q deletions are common in breast
be calculated. The proportion of corrected reads that are      cancer, and that since cells with a deletion of the 22q region
expected in the case of a disomy (the disomy hypothesis), 55 on both chromosomes usually do not survive, that approxi-
and the proportion of corrected reads that are expected in the mately 20% of the DNA in the sample came from cells with
case of a trisomy (the trisomy hypothesis) can be calculated   a 22q deletion on one of the two chromosomes. The clinician
for a case with that fetal fraction. Alternately, if the fetal may also infer that if the DNA from the mixed sample that
fraction was not measured previously, a set of disomy and      originated from tumor cells originated from a set of geneti-
trisomy hypotheses can be generated for different fetal 60 cally tumor cells whose HER2 region and 22q regions were
fractions. For each case, an expected distribution of the      homogenous, then the cells contained a five-fold duplication
proportion of corrected reads can be calculated given          of the HER2 region.
expected statistical variation in the selection and measure-      In an example, Sample A is also analyzed using an allelic
ment of the various DNA loci. The observed corrected           method. The following illustrates exemplary possible data.
proportion of reads can be compared to the distribution of 65 The two haplotypes on same region on the q arm on
the expected proportion of corrected reads, and a likelihood   chromosome 22 are present in a ratio of 4:5; the two
ratio can be calculated for the disomy and trisomy hypoth-     haplotypcs in a focal region corresponding to the HER2




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gene are present in ratios of 1:2; and the two haplotypes in     the calculated and expected allele ratios for a potential CNV
the p-arm of chromosome 5 are present in ratios of 20:21. All    is less than (such as significantly less) than the correspond-
other assayed regions of the genome have no statistically        ing magnitude for the reference for the CNV, thereby
significant excess of either haplotype. A clinician may infer    confirming the absence of a CNV. In some embodiments,
that the sample contains DNA from a tumor with a CNV in          one or more loci for which the genotype of a cancer cell (or
the 22q region, the HER2 region, and the Sp arm. Based on        DNA or RNA from a cancer cell such as cfDNA or cfRNA)
the knowledge that 22q deletions are very common in breast       differs from the genotype of a noncancerous cell (or DNA or
cancer, and/or the quantitative analysis showing an under-       RNA from a noncancerous cell such as cfDNA or cfRNA) is
representation of the amount of DNA mapping to the 22q           used to determine the tumor fraction. The tumor fraction can
region of the genome, the clinician may infer the existence 10 be used to determine whether the overrepresentation of the
of a tumor with a 22q deletion. Based on the knowledge that      number of copies of the first homologous chromosome
HER2 amplifications are very common in breast cancer,            segment is due to a duplication of the first homologous
and/or the quantitative analysis showing an over-represen-       chromosome segment or a deletion of the second homolo-
tation of the amount of DNA mapping to the HER2 region           gous chromosome segment. The tumor fraction can also be
of the genome, the clinician may infer the existence of a 15 used to determine the number of extra copies of a chromo-
tumor with a HER2 amplification.                                 some segment or chromosome that is duplicated (such as
Exemplary Reference Chromosomes or Chromosome Seg-               whether there are 1, 2, 3, 4, or more extra copies), such as
ments                                                            to differentiate a sample with four extra chromosome copies
   In some embodiments, any of the methods described             and a tumor fraction of 10% from a sample with two extra
herein are also performed on one or more reference chro- 20 chromosome copies and a tumor fraction of 20%. The tumor
mosomes or chromosomes segments and the results are              fraction can also be used to determine how well the observed
compared to those for one or more chromosomes or chro-           data fits the expected data for possible CNVs. In some
mosome segments of interest.                                     embodiments, the degree of overrepresentation of a CNV is
   In some embodiments, the reference chromosome or              used to select a particular therapy or therapeutic regimen for
chromosome segment is used as a control for what would be 25 the individual. For example, some therapeutic agents are
expected for the absence of a CNV. In some embodiments,          only effective for at least four, six, or more copies of a
the reference is the same chromosome or chromosome               chromosome segment.
segment from one or more different samples known or                 In some embodiments, the one or more loci used to
expected to not have a deletion or duplication in that           determine the tumor fraction are on a reference chromosome
chromosome or chromosome segment. In some embodi- 30 or chromosomes segment, such as a chromosome or chro-
ments, the reference is a different chromosome or chromo-        mosome segment known or expected to be disomic, a
some segment from the sample being tested that is expected       chromosome or chromosome segment that is rarely dupli-
to be disomic. In some embodiments, the reference is a           cated or deleted in cancer cells in general or in a particular
different segment from one of the chromosomes of interest        type of cancer that an individual is known to have or is at
in the same sample that is being tested. For example, the 35 increased risk of having, or a chromosome or chromosome
reference may be one or more segments outside of the region      segment that is unlikely to be aneuploid (such segment that
of a potential deletion or duplication. Having a reference on    is expected to lead to cell death if deleted or duplicated). In
the same chromosome that is being tested avoids variability      some embodiments, any of the methods of the invention are
between different chromosomes, such as differences in            used to confirm that the reference chromosome or chromo-
metabolism, apoptosis, histones, inactivation, and/or ampli- 40 some segment is disomic in both the cancer cells and
fication between chromosomes. Analyzing segments with-           noncancerous cells. In some embodiments, one or more
out a CNV on the same chromosome as the one being tested         chromosomes or chromosomes segments for which the
can also be used to determine differences in metabolism,         confidence for a disomy call is high are used.
apoptosis, hi stones, inactivation, and/or amplification            Exemplary loci that can be used to determine the tumor
between homologs, allowing the level of variability between 45 fraction include polymorphisms or mutations (such as SNPs)
homologs in the absence of a CNV to be determined for            in a cancer cell (or DNA or RNA such as cfDNA or cfRNA
comparison to the results from a potential CNV. In some          from a cancer cell) that aren't present in a noncancerous cell
embodiments, the magnitude of the difference between the         (or DNA or RNA from a noncancerous cell) in the indi-
calculated and expected allele ratios for a potential CNV is     vidual. In some embodiments, the tumor fraction is deter-
greater than the corresponding magnitude for the reference, 50 mined by identifying those polymorphic loci where a cancer
thereby confirming the presence of a CNV.                        cell (or DNA or RNA from a cancer cell) has an allele that
   In some embodiments, the reference chromosome or              is absent in noncancerous cells (or DNA or RNA from a
chromosome segment is used as a control for what would be        noncancerous cell) in a sample (such as a plasma sample or
expected for the presence of a CNV, such as a particular         tumor biopsy) from an individual; and using the amount of
deletion or duplication of interest. In some embodiments, the 55 the allele unique to the cancer cell at one or more of the
reference is the same chromosome or chromosome segment           identified polymorphic loci to determine the tumor fraction
from one or more different samples known or expected to          in the sample. In some embodiments, a noncancerous cell is
have a deletion or duplication in that chromosome or chro-       homozygous for a first allele at the polymorphic locus, and
mosome segment. In some embodiments, the reference is a          a cancer cell is (i) heterozygous for the first allele and a
different chromosome or chromosome segment from the 60 second allele or (ii) homozygous for a second allele at the
sample being tested that is known or expected to have a          polymorphic locus. In some embodiments, a noncancerous
CNV. In some embodiments, the magnitude of the difference        cell is heterozygous for a first allele and a second allele at the
between the calculated and expected allele ratios for a          polymorphic locus, and a cancer cell is (i) has one or two
potential CNV is similar to (such as not significantly dif-      copies of a third allele at the polymorphic locus. In some
ferent) than the corresponding magnitude for the reference 65 embodiments, the cancer cells are assumed or known to only
for the CNV, thereby confirming the presence of a CNV. In        have one copy of the allele that is not present in the
some embodiments, the magnitude of the difference between        noncancerous cells. For example, if the genotype of the




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noncancerous cells is AA and the cancer cells is AB and 5%          4, 5, 8, 10, 12, 15, or more) increases the sensitivity and/or
of the signal at that locus in a sample is from the B allele and    specificity of the determination of the presence or absence of
95% is from the A allele, then the tumor fraction of the            a disease or disorder such as cancer, or an increased risk for
sample is 10%. In some embodiments, the cancer cells are            with a disease or disorder such as cancer. In some embodi-
assumed or known to have two copies of the allele that is not       ments, the correlation between events across multiple chro-
present in the noncancerous cells. For example, if the              mosomes is used to more powerfully look at a signal
genotype of the noncancerous cells is AA and the cancer             compared to looking at each of them individually. The
cells is BB and 5% of the signal at that locus in a sample is       design of the method itself can be optimized to best catego-
from the B allele and 95% is from the A allele, the tumor           rize tumors. This may be incredibly useful for early detec-
fraction of the sample is 5%. In some embodiments, multiple 10 tion and screening-vis-a-vis recurrence where sensitivity
loci for which the cancer cells have an allele not in the           to one particular mutation/CNV may be paramount. In some
noncancerous cells are analyzed to determine which of the           embodiments, the events are not always correlated but have
loci in the cancer cells are heterozygous and which are             a probability of being correlated. In some embodiments, a
homozygous. For example for loci in which the noncancer-            matrix estimation formulation with a noise covariance
ous cells are AA, if the signal from the B allele is -5% at 15 matrix that has off diagonal terms is used.
some loci and -10% at some loci, then the cancer cells are             In some embodiments, the invention features a method for
assumed to be heterozygous at loci with -5% B allele, and           detecting a phenotype (such as a cancer phenotype) in an
homozygous at loci with -10% B allele (indicating the               individual, wherein the phenotype is defined by the presence
tumor fraction is -10%).                                            of at least one of a set of mutations. In some embodiments,
   Exemplary loci that can be used to determine the tumor 20 the method includes obtaining DNA or RNA measurements
fraction include loci for which a cancer cell and noncancer-        for a sample of DNA or RNA from one or more cells from
ous cell have one allele in common (such as loci in which the       the individual, wherein one or more of the cells is suspected
cancer cell is AB and the noncancerous cell is BB, or the           of having the phenotype; and analyzing the DNA or RNA
cancer cell is BB and the noncancerous cell is AB). The             measurements to determine, for each of the mutations in the
amount of A signal, the amount of B signal, or the ratio of 25 set of mutations, the likelihood that at least one of the cells
A to B signal in a mixed sample (containing DNA or RNA              has that mutation. In some embodiments, the method
from a cancer cell and a noncancerous cell) is compared to          includes determining that the individual has the phenotype if
the corresponding value for (i) a sample containing DNA or          either (i) for at least one of the mutations, the likelihood that
RNA from only cancer cells or (ii) a sample containing DNA          at least one of the cells contains that mutations is greater
or RNA from only noncancerous cells. The difference in 30 than a threshold, or (ii) for at least one of the mutations, the
values is used to determine the tumor fraction of the mixed         likelihood that at least one of the cells has that mutations is
sample.                                                             less than the threshold, and for a plurality of the mutations,
   In some embodiments, loci that can be used to determine          the combined likelihood that at least one of the cells has at
the tumor fraction are selected based on the genotype of (i)        least one of the mutations is greater than the threshold. In
a sample containing DNA or RNA from only cancer cells, 35 some embodiments, one or more cells have a subset or all of
and/or (ii) a sample containing DNA or RNA from only                the mutations in the set of mutations. In some embodiments,
noncancerous cells. In some embodiments, the loci are               the subset of mutations is associated with cancer or an
selected based on analysis of the mixed sample, such as loci        increased risk for cancer. In some embodiments, the set of
for which the absolute or relative amounts of each allele           mutations includes a subset or all of the mutations in the M
differs from what would be expected if both the cancer and 40 class of cancer mutations (Ciriello, Nat Genet. 45(10): 1127-
noncancerous cells have the same genotype at a particular           1133, 2013, doi: 10.1038/ng.2762, which is hereby incor-
locus. For example, if the cancer and noncancerous cells            porated by reference in its entirety). In some embodiments,
have the same genotype, the loci would be expected to               the set of mutations includes a subset or all of the mutations
produce 0% B signal if all the cells are AA, 50% B signal           in the C class of cancer mutations (Ciriello, supra). In some
if all the cells are AB, or 100% B signal if all the cells are 45 embodiments, the sample includes cell-free DNA or RNA.
BB. Other values for the B signal indicate that the genotype        In some embodiments, the DNA or RNA measurements
of the cancer and noncancerous cells are different at that          include measurements (such as the quantity of each allele at
locus and thus that locus can be used to determine the tumor        each locus) at a set of polymorphic loci on one or more
fraction.                                                           chromosomes or chromosome segments of interest.
   In some embodiments, the tumor fraction calculated 50 Exemplary Methods for Paternity Testing or Genetic Relat-
based on the alleles at one or more loci is compared to the         edness Testing
tumor fraction calculated using one or more of the counting            The methods of the invention can be used to improve the
methods disclosed herein.                                           accuracy of paternity testing or other genetic relatedness
Exemplary Methods for Detecting a Phenotype or Analyzing            testing (see, e.g., U.S. Publication No. 2012/0122701, filed
Multiple Mutations                                               55 Dec. 22, 2011, which is hereby incorporated by reference in
   In some embodiments, the method includes analyzing a             its entirety). For example, the multiplex PCR method can
sample for a set of mutations associated with a disease or          allow thousands of polymorphic loci (such as SNPs) to be
disorder (such as cancer) or an increased risk for a disease        analyzed for use in the PARENTAL SUPPORT algorithm
or disorder. There are strong correlations between events           described herein to determine whether an alleged father in is
within classes (such as Mor C cancer classes) which can be 60 the biological father of a fetus. In some embodiments, the
used to improve the signal to noise ratio of a method and           invention features a method for establishing whether an
classify tumors into distinct clinical subsets. For example,        alleged father is the biological father of a fetus that is
borderline results for a few mutations (such as a few CNVs)         gestating in a pregnant mother. In some embodiments, the
on one or more chromosomes or chromosomes segments                  method involves obtaining phased genetic data for the
considered jointly may be a very strong signal. In some 65 alleged father (such as by using another of the methods
embodiments, determining the presence or absence of mul-            described herein for phasing genetic data), wherein the
tiple polymorphisms or mutations of interest (such as 2, 3,         phased genetic data comprises the identity of the allele




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present for each locus in a set of polymorphic loci on a first    father; and establishing whether the alleged father is the
homologous chromosome segment and a second homolo-                biological father of the fetus using the determined probabil-
gous chromosome segment in the alleged father. In some            ity that the alleged father is the biological father of the fetus.
embodiments, the method involves obtaining genetic data at           In some embodiments, a method described above for
the set of polymorphic loci on the chromosome or chroma- 5 determining whether an alleged father is the biological
some segment in a mixed sample of DNA comprising fetal            father of the fetus is used to determine if an alleged relative
DNA and maternal DNA from the mother of the fetus by              (such as a grandparent, sibling, aunt, or uncle) of a fetus is
measuring the quantity of each allele at each locus. In some      an actual biological relative of the fetus (such as by using
embodiments, the method involves calculating, on a com-           genetic data of the alleged relative instead of genetic data of
puter, expected genetic data for the mixed sample of DNA 10 the alleged father).
from the phased genetic data for the alleged father; deter-       Exemplary Combinations of Methods
mining, on a computer, the probability that the alleged father       To increase the accuracy of the results, two or more
is the biological father of the fetus by comparing the            methods (such as any of the methods of the invention or any
obtaining genetic data made on the mixed sample of DNA            known method) for detecting the presence or absence of a
to the expected genetic data for the mixed sample of DNA; 15 CNV are performed. In some embodiments, one or more
and establishing whether the alleged father is the biological     methods for analyzing a factor (such as any of the method
father of the fetus using the determined probability that the     described herein or any known method) indicative of the
alleged father is the biological father of the fetus. In some     presence or absence of a disease or disorder or an increased
embodiments, the method involves obtaining phased genetic         risk for a disease or disorder are performed.
data for the biological mother of the fetus (such as by using 20     In some embodiments, standard mathematical techniques
another of the methods described herein for phasing genetic       are used to calculate the covariance and/or correlation
data), wherein the phased genetic data comprises the identity     between two or more methods. Standard mathematical tech-
of the allele present for each locus in a set of polymorphic      niques may also be used to determine the combined prob-
loci on a first homologous chromosome segment and a               ability of a particular hypothesis based on two or more tests.
second homologous chromosome segment in the mother. In 25 Exemplary techniques include meta-analysis, Fisher's com-
some embodiments, the method involves obtaining phased            bined probability test for independent tests, Brown's method
genetic data for the fetus (such as by using another of the       for combining dependent p-values with known covariance,
methods described herein for phasing genetic data), wherein       and Kost's method for combining dependent p-values with
the phased genetic data comprises the identity of the allele      unknown covariance. In cases where the likelihoods are
present for each locus in a set of polymorphic loci on a first 30 determined by a first method in a way that is orthogonal, or
homologous chromosome segment and a second homolo-                unrelated, to the way in which a likelihood is determined for
gous chromosome segment in the fetus. In some embodi-             a second method, combining the likelihoods is straightfor-
ments, the method involves calculating, on a computer,            ward and can be done by multiplication and normalization,
expected genetic data for the mixed sample of DNA using           or by using a formula such as:
the phased genetic data for the alleged father and using the 35
phased genetic data for the mother and/or the phased genetic
data for the fetus.                                               Rcomb is the combined likelihood, and R 1 and R 2 are the
   In some embodiments, the invention features a method for       individual likelihoods. For example, if the likelihood of
establishing whether an alleged father is the biological father   trisomy from method 1 is 90%, and the likelihood of trisomy
of a fetus that is gestating in a pregnant mother. In some 40 from method 2 is 95%, then combining the outputs from the
embodiments, the method involves obtaining phased genetic         two methods allows the clinician to conclude that the fetus
data for the alleged father (such as by using another of the      is trisomic with a likelihood of (0.90)(0.95)/[(0.90)(0.95)+
methods described herein for phasing genetic data), wherein       (1-0.90)(1-0.95)]=99.42%. In cases where the first and the
the phased genetic data comprises the identity of the allele      second methods are not orthogonal, that is, where there is a
present for each locus in a set of polymorphic loci on a first 45 correlation between the two methods, the likelihoods can
homologous chromosome segment and a second homolo-                still be combined.
gous chromosome segment in the alleged father. In some               Exemplary methods of analyzing multiple factors or vari-
embodiments, the method involves obtaining genetic data at        ables are disclosed in U.S. Pat. No. 8,024,128 issued on Sep.
the set of polymorphic loci on the chromosome or chromo-          20, 2011; U.S. Publication No. 2007/0027636, filed Jul. 31,
some segment in a mixed sample of DNA comprising fetal 50 2006; and U.S. Publication No. 2007/0178501, filed Dec. 6,
DNA and maternal DNA from the mother of the fetus by              2006, which are each hereby incorporated by reference in its
measuring the quantity of each allele at each locus. In some      entirety).
embodiments, the method involves identifying (i) alleles             In various embodiments, the combined probability of a
that are present in the fetal DNA but are absent in the           particular hypothesis or diagnosis is greater than 80, 85, 90,
maternal DNA at polymorphic loci, and/or identifying (i) 55 92, 94, 96, 98, 99, or 99.9%, or is greater than some other
alleles that are absent in the fetal DNA and the maternal         threshold value.
DNA at polymorphic loci. In some embodiments, the                 Limit of Detection
method involves determining, on a computer, the probability          In some embodiments, a limit of detection of a mutation
that the alleged father is the biological father of the fetus;    (such as an SNV or CNV) of a method of the invention is
wherein the determination comprises: (1) comparing (i) the 60 less than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or
alleles that are present in the fetal DNA but are absent in the   0.005%. In some embodiments, a limit of detection of a
maternal DNA at polymorphic loci to (ii) the alleles at the       mutation (such as an SNV or CNV) of a method of the
corresponding polymorphic loci in the genetic material from       invention is between 15 to 0.005%, such as between 10 to
the alleged father, and/or (2) comparing (i) the alleles that     0.005%, 10 to 0.01 %, 10 to 0.1 %, 5 to 0.005%, 5 to 0.01 %,
are absent in the fetal DNA and the maternal DNA at 65 5 to 0.1%, 1 to 0.005%, 1 to 0.01%, 1 to 0.1%, 0.5 to
polymorphic loci to (ii) the alleles at the corresponding         0.005%, 0.5 to 0.01 %, 0.5 to 0.1 %, or 0.1 to 0.01, inclusive.
polymorphic loci in the genetic material from the alleged         In some embodiments, a limit of detection is such that a




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mutation (such as an SNV or CNV) that is present in less               cfDNA is comprised of DNA derived from both fetal and
than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005%          maternal cells. In some cases, the cfDNA is isolated from
of the DNA or RNA molecules with that locus in a sample                plasma that has been isolated from whole blood that has
(such as a sample of cfDNA or cfRNA) is detected (or is                been centrifuged to remove cellular material. The cfDNA
capable of being detected). For example, the mutation can be 5 may be a mixture of DNA derived from target cells (such as
detected even if less than or equal to 10, 5, 2, 1, 0.5, 0.1,          cancer cells) and non-target cells (such as non-cancer cells).
0.05, 0.01, or 0.005% of the DNA or RNA molecules that                    In some embodiments, the sample contains or is suspected
have that locus have that mutation in the locus (instead of,           to contain a mixture of DNA (or RNA), such as mixture of
for example, a wild-type or non-mutated version of the locus           cancer DNA (or RNA) and noncancerous DNA (or RNA). In
or a different mutation at that locus). In some embodiments, 10 some embodiments, at least 0.5, 1, 3, 5, 7, 10, 15, 20, 30, 40,
a limit of detection is such that a mutation (such as an SNV           50, 60, 70, 80, 90, 92, 94, 95, 96, 98, 99, or 100% of the cells
or CNV) that is present in less than or equal to 10, 5, 2, 1,          in the sample are cancer cells. In some embodiments, at least
0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or RNA                      0.5, 1, 3, 5, 7, 10, 15, 20, 30, 40, 50, 60, 70, 80, 90, 92, 94,
molecules in a sample (such as a sample of cfDNA or                    95, 96, 98, 99, or 100% of the DNA (such as cfDNA) or
cfRNA) is detected (or is capable of being detected). In 15 RNA (such as cfRNA) in the sample is from cancer cell(s).
some embodiments in which the CNV is a deletion, the                   In various embodiments, the percent of cells in the sample
deletion can be detected even if it is only present in less than       that are cancerous cells is between 0.5 to 99%, such as
or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the        between 1 to 95%, 5 to 95%, 10 to 90%, 5 to 70%, 10 to
DNA or RNA molecules that have a region of interest that               70%, 20 to 90%, or 20 to 70%, inclusive. In some embodi-
may or may not contain the deletion in a sample. In some 20 ments, the sample is enriched for cancer cells or for DNA or
embodiments in which the CNV is a deletion, the deletion               RNA from cancer cells. In some embodiments in which the
can be detected even if it is only present in less than or equal       sample is enriched for cancer cells, at least 0.5, 1, 2, 3, 4, 5,
to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or          6, 7, 10, 15,20,30,40,50,60, 70,80,90,92,94,95, 96,98,
RNA molecules in a sample. In some embodiments in which                99, or 100% of the cells in the enriched sample are cancer
the CNV is a duplication, the duplication can be detected 25 cells. In some embodiments in which the sample is enriched
even if the extra duplicated DNA or RNA that is present is             for DNA or RNA from cancer cells, at least 0.5, 1, 2, 3, 4,
less than or equal to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or            5, 6, 7, 10, 15,20,30, 40, 50, 60, 70, 80, 90, 92, 94, 95, 96,
0.005% of the DNA or RNA molecules that have a region of               98, 99, or 100% of the DNA or RNA in the enriched sample
interest that may or may not be duplicated in a sample in a            is from cancer cell(s). In some embodiments, cell sorting
sample. In some embodiments in which the CNV is a 30 (such as Fluorescent Activated Cell Sorting (FACS)) is used
duplication, the duplication can be detected even if the extra         to enrich for cancer cells (Barteneva et. al., Biochim Bio-
duplicated DNA or RNA that is present is less than or equal            phys Acta., 1836(1):105-22, August 2013. doi: 10.1016/
to 10, 5, 2, 1, 0.5, 0.1, 0.05, 0.01, or 0.005% of the DNA or          j.bbcan.2013.02.004. Epub 2013 Feb. 24, and Ibrahim et al.,
RNA molecules in a sample. Example 6 provides exemplary                Adv Biochem Eng Biotechnol. 106:19-39, 2007, which are
methods for calculating the limit of detection. In some 35 each hereby incorporated by reference in its entirety).
embodiments, the "LOD-zs5.0-mr5" method of Example 6                      In some embodiments of any of the aspects of the inven-
is used.                                                               tion, the sample comprises any tissue suspected of being at
Exemplary Samples                                                      least partially of fetal origin. In some embodiments, the
   In some embodiments of any of the aspects of the inven-             sample includes cellular and/or extracellular genetic mate-
tion, the sample includes cellular and/or extracellular 40 rial from the fetus, contaminating cellular and/or extracel-
genetic material from cells suspected of having a deletion or          lular genetic material (such as genetic material from the
duplication, such as cells suspected of being cancerous. In            mother of the fetus), or combinations thereof. In some
some embodiments, the sample comprises any tissue or                   embodiments, the sample comprises cellular genetic mate-
bodily fluid suspected of containing cells, DNA, or RNA                rial from the fetus, contaminating cellular genetic material,
having a deletion or duplication, such as cancer cells, DNA, 45 or combinations thereof.
or RNA. The genetic measurements used as part of these                    In some embodiments, the sample is from a gestating
methods can be made on any sample comprising DNA or                    fetus. In some embodiments, the sample is from a non-
RNA, for example but not limited to, tissue, blood, serum,             gestating fetus, such as a products of conception sample or
plasma, urine, hair, tears, saliva, skin, fingernails, feces, bile,    a sample from any fetal tissue after fetal demise. In some
lymph, cervical mucus, semen, or other cells or materials 50 embodiments, the sample is a maternal whole blood sample,
comprising nucleic acids. Samples may include any cell type            cells isolated from a maternal blood sample, maternal
or DNA or RNA from any cell type may be used (such as                  plasma sample, maternal serum sample, anmiocentesis
cells from any organ or tissue suspected of being cancerous,           sample, placental tissue sample (e.g., chorionic villus,
or neurons). In some embodiments, the sample includes                  decidua, or placental membrane), cervical mucus sample, or
nuclear and/or mitochondrial DNA. In some embodiments, 55 other sample from a fetus. In some embodiments, at least 3,
the sample is from any of the target individuals disclosed             5, 7, 10, 15,20,30,40,50,60, 70,80,90,92,94,95, 96,98,
herein. In some embodiments, the target individual is a born           99, or 100% of the cells in the sample are maternal cells. In
individual, a gestating fetus, a non-gestating fetus such as a         various embodiments, the percent of cells in the sample that
products of conception sample, an embryo, or any other                 are maternal cells is between 5 to 99%, such as between 10
individual.                                                         60 to 95%, 20 to 95%, 30 to 90%, 30 to 70%, 40 to 90%, 40 to
   Exemplary samples include those containing cfDNA or                 70%, 50 to 90%, or 50 to 80%, inclusive.
cfRNA. In some embodiments, cfDNA is available for                        In some embodiments, the sample is enriched for fetal
analysis without requiring the step of lysing cells. Cell-free         cells. In some embodiments in which the sample is enriched
DNA may be obtained from a variety of tissues, such as                 for fetal cells, at least 0.5, L 2, 3, 4, 5, 6, 7% or more of the
tissues that are in liquid form, e.g., blood, plasma, lymph, 65 cells in the enriched sample are fetal cells. In some embodi-
ascites fluid, or cerebral spinal fluid. In some cases, cfDNA          ments, the percent of cells in the sample that are fetal cells
is comprised of DNA derived from fetal cells. In some cases,           is between 0.5 to 100%, such as between 1 to 99%, 5 to 95%,




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10 to 95%, 10 to 95%, 20 to 90%, or 30 to 70%, inclusive.             J. Neurochem. 122:641-649, 2012, which is hereby incor-
In some embodiments, the sample is enriched for fetal DNA.            porated by reference in its entirety). In some embodiments,
In some embodiments in which the sample is enriched for               TRIZOL or RNAlater (Ambion) is used to stabilize RNA
fetal DNA, at least 0.5, 1, 2, 3, 4, 5, 6, 7% or more of the          during storage.
DNA in the enriched sample is fetal DNA. In some embodi-                 In some embodiments, universal tagged adaptors are
ments, the percent of DNA in the sample that is fetal DNA             added to make a library. Prior to ligation, sample DNA may
is between 0.5 to 100%, such as between 1 to 99%, 5 to 95%,           be blunt ended, and then a single adenosine base is added to
10 to 95%, 10 to 95%, 20 to 90%, or 30 to 70%, inclusive.             the 3-prime end. Prior to ligation the DNA may be cleaved
   In some embodiments, the sample includes a single cell or          using a restriction enzyme or some other cleavage method.
includes DNA and/or RNA from a single cell. In some 10 During ligation the 3-prime adenosine of the sample frag-
embodiments, multiple individual cells (e.g., at least 5, 10,         ments and the complementary 3-prime tyrosine overhang of
20, 30, 40, or 50 cells from the same subject or from                 adaptor can enhance ligation efficiency. In some embodi-
different subjects) are analyzed in parallel. In some embodi-         ments, adaptor ligation is performed using the ligation kit
ments, cells from multiple samples from the same individual           found in the AGILENT SURES ELECT kit. In some embodi-
are combined, which reduces the amount of work compared 15 ments, the library is amplified using universal primers. In an
to analyzing the samples separately. Combining multiple               embodiment, the amplified library is fractionated by size
samples can also allow multiple tissues to be tested for              separation or by using products such as AGENCOURT
cancer simultaneously (which can be used to provide or                AMPURE beads or other similar methods. In some embodi-
more thorough screening for cancer or to determine whether            ments, PCR amplification is used to amplify target loci. In
cancer may have metastasized to other tissues).                    20 some embodiments, the amplified DNA is sequenced (such
   In some embodiments, the sample contains a single cell or          as sequencing using an ILLUMINA IIGAX or HiSeq
a small number of cells, such as 2, 3, 5, 6, 7, 8, 9, or 10 cells.    sequencer). In some embodiments, the amplified DNA is
In some embodiments, the sample has between 1 to 100, 100             sequenced from each end of the amplified DNA to reduce
to 500, or 500 to 1,000 cells, inclusive. In some embodi-             sequencing errors. If there is a sequence error in a particular
ments, the sample contains 1 to 10 picograms, 10 to 100 25 base when sequencing from one end of the amplified DNA,
picograms, 100 picograms to 1 nanogram, 1 to 10 nano-                 there is less likely to be a sequence error in the comple-
grams, 10 to 100 nano grams, or 100 nano grams to 1 micro-            mentary base when sequencing from the other side of the
gram of RNA and/or DNA, inclusive.                                    amplified DNA (compared to sequencing multiple times
   In some embodiments, the sample is embedded in para-               from the same end of the amplified DNA).
film. In some embodiments, the sample is preserved with a 30             In some embodiments, whole genome application (WGA)
preservative such as formaldehyde and optionally encased in           is used to amplify a nucleic acid sample. There are a number
paraffin, which may cause cross-linking of the DNA such               of methods available for WGA: ligation-mediated PCR
that less of it is available for PCR. In some embodiments, the        (LM-PCR), degenerate oligonucleotide primer PCR (DOP-
sample is a formaldehyde fixed-paraffin embedded (FFPE)               PCR), and multiple displacement amplification (MDA). In
sample. In some embodiments, the sample is a fresh sample 35 LM-PCR, short DNA sequences called adapters are ligated
(such as a sample obtained with 1 or 2 days of analysis). In          to blunt ends of DNA. These adapters contain universal
some embodiments, the sample is frozen prior to analysis. In          amplification sequences, which are used to amplify the DNA
some embodiments, the sample is a historical sample.                  by PCR. In DOP-PCR, random primers that also contain
   These samples can be used in any of the methods of the             universal amplification sequences are used in a first round of
invention.                                                         40 annealing and PCR. Then, a second round of PCR is used to
Exemplary Sample Preparation Methods                                  amplify the sequences further with the universal primer
   In some embodiments, the method includes isolating or              sequences. MDA uses the phi-29 polymerase, which is a
purifying the DNA and/or RNA. There are a number of                   highly processive and non-specific enzyme that replicates
standard procedures known in the art to accomplish such an            DNA and has been used for single-cell analysis. In some
end. In some embodiments, the sample may be centrifuged 45 embodiments, WGA is not performed.
to separate various layers. In some embodiments, the DNA                 In some embodiments, selective amplification or enrich-
or RNA may be isolated using filtration. In some embodi-              ment are used to amplify or enrich target loci. In some
ments, the preparation of the DNA or RNA may involve                  embodiments, the amplification and/or selective enrichment
amplification, separation, purification by chromatography,            technique may involve PCR such as ligation mediated PCR,
liquid liquid separation, isolation, preferential enrichment, 50 fragment capture by hybridization, Molecular Inversion
preferential amplification, targeted amplification, or any of a       Probes, or other circularizing probes. In some embodiments,
number of other techniques either known in the art or                 real-time quantitative PCR (RT-qPCR), digital PCR, or
described herein. In some embodiments for the isolation of            emulsion PCR, single allele base extension reaction fol-
DNA, RNase is used to degrade RNA. In some embodi-                    lowed by mass spectrometry are used (Hung et al., J Clin
ments for the isolation of RNA, DNase (such as DNase I 55 Pathol 62:308-313, 2009, which is hereby incorporated by
from Invitrogen, Carlsbad, Calif., USA) is used to degrade            reference in its entirety). In some embodiments, capture by
DNA. In some embodiments, an RNeasy mini kit (Qiagen),                hybridization with hybrid capture probes is used to prefer-
is used to isolate RNA according to the manufacturer's                entially enrich the DNA. In some embodiments, methods for
protocol. In some embodiments, small RNA molecules are                amplification or selective enrichment may involve using
isolated using the mirVana PARIS kit (Ambion, Austin, Tex., 60 probes where, upon correct hybridization to the target
USA) according to the manufacturer's protocol (Gu et al., J.          sequence, the 3-prime end or 5-prime end of a nucleotide
Neurochem. 122:641-649, 2012, which is hereby incorpo-                probe is separated from the polymorphic site of a polymor-
rated by reference in its entirety). The concentration and            phic allele by a small number of nucleotides. This separation
purity of RNA may optionally be determined using Nanovue              reduces preferential amplification of one allele, termed allele
(GE Healthcare, Piscataway, N.J., USA), and RNA integrity 65 bias. This is an improvement over methods that involve
may optionally be measured by use of the 2100 Bioanalyzer             using probes where the 3-prime end or 5-prime end of a
(Agilent Technologies, Santa Clara, Calif., USA) (Gu ct al.,          correctly hybridized probe arc directly adjacent to or very




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near to the polymorphic site of an allele. In an embodiment,       tion from fragments longer than 200 nucleotides, 300
probes in which the hybridizing region may or certainly            nucleotides, 400 nucleotides, 500 nucleotides or 1,000
contains a polymorphic site are excluded. Polymorphic sites        nucleotides. This may result in the enrichment of fragmented
at the site of hybridization can cause unequal hybridization       or shorter DNA (such as fetal DNA or DNA from cancer
or inhibit hybridization altogether in some alleles, resulting 5 cells that have undergone apoptosis or necrosis) and
in preferential amplification of certain alleles. These            improvement of test performance.
embodiments are improvements over other methods that                  In some embodiments, multiplex PCR is used. In some
involve targeted amplification and/or selective enrichment         embodiments, the method of amplifying target loci in a
in that they better preserve the original allele frequencies of    nucleic acid sample involves (i) contacting the nucleic acid
the sample at each polymorphic locus, whether the sample 10 sample with a library of primers that simultaneously hybrid-
is pure genomic sample from a single individual or mixture         ize to least 100; 200; 500; 750; 1,000; 2,000; 5,000; 7,500;
of individuals                                                     10,000; 20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or
   In some embodiments, PCR (referred to as mini-PCR) is           100,000 different target loci to produce a reaction mixture;
used to generate very short amplicons (U.S. application Ser.       and (ii) subjecting the reaction mixture to primer extension
No. 13/683,604, filed Nov. 21, 2012, U.S. Publication No. 15 reaction conditions (such as PCR conditions) to produce
2013/0123120, U.S. application Ser. No. 13/300,235, filed          amplified products that include target amplicons. In some
Nov. 18, 2011, U.S. Publication No 2012/0270212, filed             embodiments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99,
Nov. 18, 2011, and U.S. Ser. No. 61/994,791, filed May 16,         or 99.5% of the targeted loci are amplified. In various
2014, which are each hereby incorporated by reference in its       embodiments, less than 60, 50, 40, 30, 20, 10, 5, 4, 3, 2, 1,
entirety). cfDNA (such as fetal cfDNA in maternal serum or 20 0.5, 0.25, 0.1, or 0.05% of the amplified products are primer
necroptically- or apoptotically-released cancer cfDNA) is          dimers. In some embodiments, the primers are in solution
highly fragmented. For fetal cfDNA, the fragment sizes are         (such as being dissolved in the liquid phase rather than in a
distributed in approximately a Gaussian fashion with a mean        solid phase). In some embodiments, the primers are in
of 160 bp, a standard deviation of 15 bp, a minimum size of        solution and are not immobilized on a solid support. In some
about 100 bp, and a maximum size of about 220 bp. The 25 embodiments, the primers are not part of a microarray. In
polymorphic site of one particular target locus may occupy         some embodiments, the primers do not include molecular
any position from the start to the end among the various           inversion probes (MIPs).
fragments originating from that locus. Because cfDNA                  In some embodiments, two or more (such as 3 or 4) target
fragments are short, the likelihood of both primer sites being     amplicons (such as amplicons from the miniPCR method
present the likelihood of a fragment of length L comprising 30 disclosed herein) are ligated together and then the ligated
both the forward and reverse primers sites is the ratio of the     products are sequenced. Combining multiple amplicons into
length of the amplicon to the length of the fragment. Under        a single ligation product increases the efficiency of the
ideal conditions, assays in which the amplicon is 45, 50, 55,      subsequent sequencing step. In some embodiments, the
60, 65, or 70 bp will successfully amplify from 72%, 69%,          target amplicons are less than 150, 100, 90, 75, or 50 base
66%, 63%, 59%, or 56%, respectively, of available template 35 pairs in length before they are ligated. The selective enrich-
fragment molecules. In certain embodiments that relate most        ment and/or amplification may involve tagging each indi-
preferably to cfDNA from samples of individuals suspected          vidual molecule with different tags, molecular barcodes, tags
of having cancer, the cfDNA is amplified using primers that        for amplification, and/or tags for sequencing. In some
yield a maximum amplicon length of 85, 80, 7 5 or 70 bp, and       embodiments, the amplified products are analyzed by
in certain preferred embodiments 75 bp, and that have a 40 sequencing (such as by high throughput sequencing) or by
melting temperature between 50 and 65° C., and in certain          hybridization to an array, such as a SNP array, the ILLU-
preferred embodiments, between 54-60.5° C. The amplicon            MINA INFINIUM array, or the AFFYMETRIX gene chip.
length is the distance between the 5-prime ends of the             In some embodiments, nanopore sequencing is used, such as
forward and reverse priming sites. Amplicon length that is         the nanopore sequencing technology developed by Genia
shorter than typically used by those known in the art may 45 (see, for example, the world wide web at geniachip.com/
result in more efficient measurements of the desired poly-         technology, which is hereby incorporated by reference in its
morphic loci by only requiring short sequence reads. In an         entirety). In some embodiments, duplex sequencing is used
embodiment, a substantial fraction of the amplicons are less       (Schmitt et al., "Detection of ultra-rare mutations by next-
than 100 bp, less than 90 bp, less than 80 bp, less than 70 bp,    generation sequencing," Proc Natl Acad Sci USA. 109(36):
less than 65 bp, less than 60 bp, less than 55 bp, less than 50 50 14508-14513, 2012, which is hereby incorporated by refer-
bp, or less than 45 bp.                                            ence in its entirety). This approach greatly reduces errors by
   In some embodiments, amplification is performed using           independently tagging and sequencing each of the two
direct multiplexed PCR, sequential PCR, nested PCR, dou-           strands of a DNA duplex. As the two strands are comple-
bly nested PCR, one-and-a-half sided nested PCR, fully             mentary, true mutations are found at the same position in
nested PCR, one sided fully nested PCR, one-sided nested 55 both strands. In contrast, PCR or sequencing errors result in
PCR, hemi-nested PCR, hemi-nested PCR, triply hemi-                mutations in only one strand and can thus be discounted as
nested PCR, semi-nested PCR, one sided semi-nested PCR,            technical error. In some embodiments, the method entails
reverse semi-nested PCR method, or one-sided PCR, which            tagging both strands of duplex DNA with a random, yet
are described in U.S. application Ser. No. 13/683,604, filed       complementary double-stranded nucleotide sequence,
Nov. 21, 2012, U.S. Publication No. 2013/0123120, U.S. 60 referred to as a Duplex Tag. Double-stranded tag sequences
application Ser. No. 13/300,235, filed Nov. 18, 2011, U.S.         are incorporated into standard sequencing adapters by first
Publication No 2012/0270212, and U.S. Ser. No. 61/994,             introducing a single-stranded randomized nucleotide
791, filed May 16, 2014, which are hereby incorporated by          sequence into one adapter strand and then extending the
reference in their entirety. If desired, any of these methods      opposite strand with a DNA polymerase to yield a comple-
can be used for mini-PCR.                                       65 mentary, double-stranded tag. Following ligation of tagged
   If desired, the extension step of the PCR amplification         adapters to sheared DNA, the individually labeled strands
may be limited from a time standpoint to reduce amplifica-         arc PCR amplified from asymmetric primer sites on the




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adapter tails and subjected to paired-end sequencing. In            locus. The depth of read may be normalized over the total
some embodiments, a sample (such as a DNA or RNA                    number of reads. In some embodiments for depth of read of
sample) is divided into multiple fractions, such as different       a sample, the depth of read is the average depth of read over
wells (e.g., wells of a WaferGen SmartChip). Dividing the           the targeted loci. In some embodiments for the depth of read
sample into different fractions (such as at least 5, 10, 20, 50,    of a locus, the depth of read is the number of reads measured
75, 100, 150, 200, or 300 fractions) can increase the sensi-        by the sequencer mapping to that locus. In general, the
tivity of the analysis since the percent of molecules with a        greater the depth of read of a locus, the closer the ratio of
mutation are higher in some of the wells than in the overall        alleles at the locus tend to be to the ratio of alleles in the
sample. In some embodiments, each fraction has less than            original sample of DNA. Depth of read can be expressed in
500, 400, 200, 100, 50, 20, 10, 5, 2, or 1 DNA or RNA 10 variety of different ways, including but not limited to the
molecules. In some embodiments, the molecules in each               percentage or proportion. Thus, for example in a highly
fraction are sequenced separately. In some embodiments, the         parallel DNA sequencer such as an Illumina HISEQ, which,
same barcode (such as a random or non-human sequence) is            e.g., produces a sequence of 1 million clones, the sequencing
added to all the molecules in the same fraction (such as by         of one locus 3,000 times results in a depth of read of 3,000
amplification with a primer containing the barcode or by 15 reads at that locus. The proportion of reads at that locus is
ligation of a barcode ), and different barcodes are added to        3,000 divided by 1 million total reads, or 0.3% of the total
molecules in different fractions. The barcoded molecules can        reads.
be pooled and sequenced together. In some embodiments,                 In some embodiments, allelic data is obtained, wherein
the molecules are amplified before they are pooled and              the allelic data includes quantitative measurement(s) indica-
sequenced, such as by using nested PCR. In some embodi- 20 tive of the number of copies of a specific allele of a
ments, one forward and two reverse primers, or two forward          polymorphic locus. In some embodiments, the allelic data
and one reverse primers are used.                                   includes quantitative measurement(s) indicative of the num-
   In some embodiments, a mutation (such as an SNV or               ber of copies of each of the alleles observed at a polymor-
CNV) that is present in less than 10, 5, 2, 1, 0.5, 0.1, 0.05,      phic locus. Typically, quantitative measurements are
0.01, or 0.005% of the DNA or RNA molecules in a sample 25 obtained for all possible alleles of the polymorphic locus of
(such as a sample of cfDNA or cfRNA) is detected (or is             interest. For example, any of the methods discussed in the
capable of being detected). In some embodiments, a muta-            preceding paragraphs for determining the allele for a SNP or
tion (such as an SNV or CNV) that is present in less than           SNV locus, such as for example, microarrays, qPCR, DNA
1,000, 500, 100, 50, 20, 10, 5, 4, 3, or 2 original DNA or          sequencing, such as high throughput DNA sequencing, can
RNA molecules (before amplification) in a sample (such as 30 be used to generate quantitative measurements of the num-
a sample of cfDNA or cfRNA from, e.g., a blood sample) is           ber of copies of a specific allele of a polymorphic locus. This
detected (or is capable of being detected). In some embodi-         quantitative measurement is referred to herein as allelic
ments, a mutation (such as an SNV or CNV) that is present           frequency data or measured genetic allelic data. Methods
in only 1 original DNA or RNA molecule (before amplifi-             using allelic data are sometimes referred to as quantitative
cation) in a sample (such as a sample of cfDNA or cfRNA 35 allelic methods; this is in contrast to quantitative methods
from, e.g., a blood sample) is detected (or is capable of being     which exclusively use quantitative data from non-polymor-
detected).                                                          phic loci, or from polymorphic loci but without regard to
   For example, if the limit of detection of a mutation (such       allelic identity. When the allelic data is measured using
as a single nucleotide variant (SNV)) is 0.1 %, a mutation          high-throughput sequencing, the allelic data typically
present at 0.01 % can be detected by dividing the fraction 40 include the number of reads of each allele mapping to the
into multiple, fractions such as 100 wells. Most of the wells       locus of interest.
have no copies of the mutation. For the few wells with the             In some embodiments, non-allelic data is obtained,
mutation, the mutation is at a much higher percentage of the        wherein the non-allelic data includes quantitative measure-
reads. In one example, there are 20,000 initial copies of           ment(s) indicative of the number of copies of a specific
DNA from the target locus, and two of those copies include 45 locus. The locus may be polymorphic or non-polymorphic.
a SNV of interest. If the sample is divided into 100 wells, 98      In some embodiments when the locus is non-polymorphic,
wells have the SNV, and 2 wells have the SNV at 0.5%. The           the non-allelic data does not contain information about the
DNA in each well can be barcoded, amplified, pooled with            relative or absolute quantity of the individual alleles that
DNA from the other wells, and sequenced. Wells without the          may be present at that locus. Methods using non-allelic data
SNV can be used to measure the background amplification/ 50 only (that is, quantitative data from non-polymorphic alleles,
sequencing error rate to determine if the signal from the           or quantitative data from polymorphic loci but without
outlier wells is above the background level of noise.               regard to the allelic identity of each fragment) are referred
   In some embodiments, the amplified products are detected         to as quantitative methods. Typically, quantitative measure-
using an array, such as an array especially a microarray with       ments are obtained for all possible alleles of the polymor-
probes to one or more chromosomes of interest (e.g., chro- 55 phic locus of interest, with one value associated with the
mosome 13, 18, 21, X, Y, or any combination thereof). It will       measured quantity for all of the alleles at that locus, in total.
be understood for example, that a commercially available            Non-allelic data for a polymorphic locus may be obtained by
SNP detection microarray could be used such as, for                 s=ing the quantitative allelic for each allele at that locus.
example, the Illumina (San Diego, Calif.) GoldenGate,               When the allelic data is measured using high-throughput
DASL, Infinium, or CytoSNP-12 genotyping assay, or a 60 sequencing, the non-allelic data typically includes the num-
SNP detection microarray product from Affymetrix, such as           ber of reads of mapping to the locus of interest. The
the OncoScan microarray. In some embodiments, phased                sequencing measurements could indicate the relative and/or
genetic data for one or both biological parents of the embryo       absolute number of each of the alleles present at the locus,
or fetus is used to increase the accuracy of analysis of array      and the non-allelic data includes the sum of the reads,
data from a single cell.                                         65 regardless of the allelic identity, mapping to the locus. In
   In some embodiments involving sequencing, the depth of           some embodiments the same set of sequencing measure-
read is the number of sequencing reads that map to a given          ments can be used to yield both allelic data and non-allelic




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data. In some embodiments, the allelic data is used as part           In some embodiments, reverse-transcriptase multiplex
of a method to determine copy number at a chromosome of            ligation-dependent probe amplification (RT-MLPA) is used
interest, and the produced non-allelic data can be used as         to amplify RNA. In some embodiments, each set of hybrid-
part of a different method to determine copy number at a           izing probes consists of two short synthetic oligonucleotides
chromosome of interest. In some embodiments, the two 5 spanning the SNP and one long oligonucleotide (Li et al.,
methods are statistically orthogonal, and are combined to          Arch Gynecol Obstet. "Development of noninvasive prena-
give a more accurate determination of the copy number at           tal diagnosis of trisomy 21 by RT-MLPA with a new set of
the chromosome of interest.                                        SNP markers," Jul. 5, 2013, DOI 10.1007/s00404-013-
   In some embodiments obtaining genetic data includes (i)         2926-5. Schouten et al. "Relative quantification of 40
                                                                10
acquiring DNA sequence information by laboratory tech-             nucleic acid sequences by multiplex ligation-dependent
niques, e.g., by the use of an automated high throughput           probe amplification." Nucleic Acids Res 30:e57, 2002; Deng
DNA sequencer, or (ii) acquiring information that had been         et al. (2011) "Non-invasive prenatal diagnosis oftrisomy 21
previously obtained by laboratory techniques, wherein the          by reverse transcriptase multiplex ligation-dependent probe
information is electronically transmitted, e.g., by a computer 15 amplification," Clin, Chem. Lab Med. 49:641-646, 2011,
over the internet or by electronic transfer from the sequenc-      which are each hereby incorporated by reference in its
ing device.                                                        entirety).
   Additional exemplary sample preparation, amplification,            In some embodiments, RNA is amplified with reverse-
and quantification methods are described in U.S. application       transcriptase PCR. In some embodiments, RNA is amplified
Ser. No. 13/683,604, filed Nov. 21, 2012 (U.S. Publication 20 with real-time reverse-transcriptase PCR, such as one-step
No. 2013/0123120 and U.S. Ser. No. 61/994,791, filed May           real-time reverse-transcriptase PCR with SYBR GREEN I
16, 2014, which is hereby incorporated by reference in its         as previously described (Li et al., Arch Gynecol Obstet.
entirety). These methods can be used for analysis of any of        "Development of noninvasive prenatal diagnosis of trisomy
the samples disclosed herein.                                      21 by RT-MLPA with a new set of SNP markers," Jul. 5,
Exemplary Quantification Methods for Cell-Free DNA              25 2013, DOI 10.1007/s00404-013-2926-5; Lo et al., "Plasma
   If desired, that amount or concentration of cfDNA or            placental RNA allelic ratio permits noninvasive prenatal
cfRNA can be measured using standard methods. In some              chromosomal aneuploidy detection," Nat Med 13:218-223,
embodiments, the amount or concentration of cell-free mito-        2007; Tsui et al., Systematic micro-array based identification
chondrial DNA (cfmDNA) is determined. In some embodi-              of placental mRNA in maternal plasma: towards non-inva-
ments, the amount or concentration of cell-free DNA that 30
                                                                   sive prenatal gene expression profiling. J Med Genet
originated from nuclear DNA (cf nDNA) is determined. In
                                                                   41:461-467, 2004; Gu et al., J. Neurochem. 122:641-649,
some embodiments, the amount or concentration of cf
                                                                   2012, which are each hereby incorporated by reference in its
mDNA and cf nDNA are determined simultaneously.
                                                                   entirety).
   In some embodiments, qPCR is used to measure cf nDNA
and/or cfm DNA (Kohler et al. "Levels of plasma circulating 35        In some embodiments, a microarray is used to detect
cell free nuclear and mitochondrial DNA as potential bio-          RNA.     For example, a human miRNA microarray from
markers for breast tumors." Mo! Cancer 8:105, 2009, 8:doi:         Agilent Technologies can be used according to the manu-
10.1186/1476-4598-8-105, which is hereby incorporated by           facturer's protocol. Briefly, isolated RNA is dephosphory-
reference in its entirety). For example, one or more loci from     lated and ligated with pCp-Cy3. Labeled RNA is purified
cf nDNA (such as Glyceraldehyd-3-phosphat-dehydroge- 40 and hybridized to miRNA arrays containing probes for
nase, GAPDH) and one or more loci from cf mDNA                     human mature miRNAs on the basis of Sanger miRBase
(ATPase 8, MTATP 8) can be measured using multiplex                release 14.0. The arrays is washed and scanned with use of
qPCR. In some embodiments, fluorescence-labelled PCR is            a microarray scanner (G2565BA, Agilent Technologies).
used to measure cf nDNA and/or cf mDNA (Schwarzenbach              The intensity of each hybridization signal is evaluated by
et al., "Evaluation of cell-free tumour DNA and RNA in 45 Agilent extraction software v9.5.3. The labeling, hybridiza-
patients with breast cancer and benign breast disease." Mo!        tion, and scanning may be performed according to the
Biosys 7:2848-2854, 2011, which is hereby incorporated by          protocols in the Agilent miRNA microarray system (Gu et
reference in its entirety). If desired, the normality distribu-    al., J. Neurochem. 122:641-649, 2012, which is hereby
tion of the data can be determined using standard methods,         incorporated by reference in its entirety).
such as the Shapiro-Wilk-Test. If desired, cf nDNA and 50             In some embodiments, a TaqMan assay is used to detect
mDNA levels can be compared using standard methods,                RNA. An exemplary assay is the TaqMan Array Human
such as the Mann-Whitney-U-Test. In some embodiments,              MicroRNA Panel vl.0 (Early Access) (Applied Biosys-
cf nDNA and/or mDNA levels are compared with other                 tems), which contains 157 TaqMan MicroRNA Assays,
established prognostic factors using standard methods, such        including the respective reverse-transcription primers, PCR
as the Mann-Whitney-U-Test or the Kruskal-Wallis-Test.          55 primers, and TaqMan probe (Chim et al., "Detection and
Exemplary RNA Amplification, Quantification, and Analy-            characterization of placental microRNAs in maternal
sis Methods                                                        plasma," Clin Chem. 54(3):482-90, 2008, which is hereby
   Any of the following exemplary methods may be used to           incorporated by reference in its entirety).
amplify and optionally quantify RNA, such as such as                  If desired, the mRNA splicing pattern of one or more
cfRNA, cellular RNA, cytoplasmic RNA, coding cytoplas- 60 mRNAs can be determined using standard methods (Fack-
mic RNA, non-coding cytoplasmic RNA, mRNA, miRNA,                  enthall and Godley, Disease Models & Mechanisms 1:
mitochondrial RNA, rRNA, or tRNA. In some embodi-                  37-42, 2008, doi:10.1242/dmm.000331, which is hereby
ments, the miRNA is any of the miRNA molecules listed in           incorporated by reference in its entirety). For example,
the miRBase database available at the world wide web at            high-density microarrays and/or high-throughput DNA
mirbase.org, which is hereby incorporated by reference in its 65 sequencing can be used to detect mRNA splice variants.
entirety. Exemplary miRNA molecules include miR-509;                  In some embodiments, whole transcriptome shotgun
miR-21, and miR-146a.                                              sequencing or an array is used to measure the transcriptomc.




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Exemplary Amplification Methods                                     number of nucleotides between the 3' end of the primer
   Improved PCR amplification methods have also been                binding site and the 5' end of the next downstream primer
developed that minimize or prevent interference due to the          binding site on the same strand.
amplification of nearby or adjacent target loci in the same             In some embodiments, a DNA polymerase is used pro-
reaction volume (such as part of the sample multiplex PCR 5 duce DNA amplicons using DNA as a template. In some
reaction that simultaneously amplifies all the target loci).        embodiments, a RNA polymerase is used produce RNA
These methods can be used to simultaneously amplify                 amplicons using DNA as a template. In some embodiments,
nearby or adjacent target loci, which is faster and cheaper         a reverse transcriptase is used produce cDNA amplicons
than having to separate nearby target loci into different           using RNA as a template.
reaction volumes so that they can be amplified separately to 10         In some embodiments, the low level of 5'----;.3' exonuclease
avoid interference.                                                 of the polymerase is less than 80, 70, 60, 50, 40, 30, 20, 10,
   In some embodiments, the amplification of target loci is         5, 1, or 0.1 % of the activity of the same amount of Thermus
performed using a polymerase (e.g., a DNA polymerase,               aquaticus polymerase ("Taq" polymerase, which is a com-
RNA polymerase, or reverse transcriptase) with low 5'----;.3'       monly used DNA polymerase from a thermophilic bacte-
exonuclease and/or low strand displacement activity. In 15 rium, PDB lBGX, EC 2.7.7.7, Murali et al., "Crystal
some embodiments, the low level of 5'----;.3' exonuclease           structure of Taq DNA polymerase in complex with an
reduces or prevents the degradation of a nearby primer (e.g.,       inhibitory Fab: the Fab is directed against an intermediate in
an unextended primer or a primer that has had one or more           the helix-coil dynamics of the enzyme," Proc. Natl. Acad.
nucleotides added to during primer extension). In some              Sci. USA 95:12562-12567, 1998, which is hereby incorpo-
embodiments, the low level of strand displacement activity 20 rated by reference in its entirety) under the same conditions.
reduces or prevents the displacement of a nearby primer             In some embodiments, the low level of strand displacement
(e.g., an unextended primer or a primer that has had one or         activity of the polymerase is less than 80, 70, 60, 50, 40, 30,
more nucleotides added to it during primer extension). In           20, 10, 5, 1, or 0.1 % of the activity of the same amount of
some embodiments, target loci that are adjacent to each             Taq polymerase under the same conditions.
other (e.g., no bases between the target loci) or nearby (e.g., 25      In some embodiments, the polymerase is a PUSHION
loci are within 50, 40, 30, 20, 15, 10, 9, 8, 7, 6, 5, 4, 3, 2,     DNA polymerase, such as PHUSION High Fidelity DNA
or 1 base) are amplified. In some embodiments, the 3' end of        polymerase (M0530S, New England BioLabs, Inc.) or PHU-
one locus is within 50, 40, 30, 20, 15, 10, 9, 8, 7, 6, 5, 4, 3,    SION Hot Start Flex DNA polymerase (M05355, New
2, or 1 base of the 5' end of next downstream locus.                England BioLabs, Inc.; Frey and Suppman BioChemica.
   In some embodiments, at least 100, 200, 500, 750, 1,000; 30 2:34-35, 1995; Chester and Marshak Analytical Biochemis-
2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;                try. 209:284-290, 1993, which are each hereby incorporated
40,000; 50,000; 75,000; or 100,000 different target loci are        by reference in its entirety). The PHUSION DNA poly-
amplified, such as by the simultaneous amplification in one         merase is a Pyrococcus-like enzyme fused with a proces-
reaction volume. In some embodiments, at least 50, 60, 70,          sivity-enhancing domain. PHUSION DNA polymerase pos-
80, 90, 95, 96, 97, 98, 99, or 99.5% of the amplified products 35 sesses 5'----;.3' polymerase activity and 3'----;.5' exonuclease
are target amplicons. In various embodiments, the amount of         activity, and generates blunt-ended products. PHUSION
amplified products that are target amplicons is between 50 to       DNA polymerase lacks 5'----;.3' exonuclease activity and
99.5%, such as between 60 to 99%, 70 to 98%, 80 to 98%,             strand displacement activity.
90 to 99.5%, or 95 to 99.5%, inclusive. In some embodi-                 In some embodiments, the polymerase is a Q5® DNA
ments, at least 50, 60, 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% 40 Polymerase, such as Q5® High-Fidelity DNA Polymerase
of the targeted loci are amplified (e.g., amplified at least 5,     (M0491S, New England BioLabs, Inc.) or Q5® Hot Start
10, 20, 30, 50, or 100-fold compared to the amount prior to         High-Fidelity DNA Polymerase (M0493 S, New England
amplification), such as by the simultaneous amplification in        BioLabs, Inc.). Q5® High-Fidelity DNA polymerase is a
one reaction volume. In various embodiments, the amount             high-fidelity, thermostable, DNA polymerase with 3'----;.5'
target loci that are amplified (e.g., amplified at least 5, 10, 45 exonuclease activity, fused to a processivity-enhancing
20, 30, 50, or 100-fold compared to the amount prior to             Sso7d domain. Q5® High-Fidelity DNA polymerase lacks
amplification) is between 50 to 99.5%, such as between 60           5'----;.3' exonuclease activity and strand displacement activity.
to 99%, 70 to 98%, 80 to 99%, 90 to 99.5%, 95 to 99.9%,                 In some embodiments, the polymerase is a T4 DNA
or 98 to 99.99% inclusive. In some embodiments, fewer               polymerase (M0203 S, New England BioLabs, Inc.; Tabor
non-target amplicons are produced, such as fewer amplicons 50 and Struh. (1989). "DNA-Dependent DNA Polymerases," In
formed from a forward primer from a first primer pair and           Ausebel et al. (Ed.), Current Protocols in Molecular Biol-
a reverse primer from a second primer pair. Such undesired          ogy. 3.5.10-3.5.12. New York: John Wiley & Sons, Inc.,
non-target amplicons can be produced using prior amplifi-           1989; Sambrook et al. Molecular Cloning: A Laboratory
cation methods if, e.g., the reverse primer from the first          Manual. (2nd ed.), 5.44-5.47. Cold Spring Harbor: Cold
primer pair and/or the forward primer from the second 55 Spring Harbor Laboratory Press, 1989, which are each
primer pair are degraded and/or displaced.                          hereby incorporated by reference in its entirety). T4 DNA
   In some embodiments, these methods allows longer                 Polymerase catalyzes the synthesis of DNA in the 5'----;.3'
extension times to be used since the polymerase bound to a          direction and requires the presence of template and primer.
primer being extended is less likely to degrade and/or              This enzyme has a 3'----;.5' exonuclease activity which is
displace a nearby primer (such as the next downstream 60 much more active than that found in DNA Polymerase I. T4
primer) given the low 5'----;.3' exonuclease and/or low strand      DNA polymerase lacks 5'----;.3' exonuclease activity and
displacement activity of the polymerase. In various embodi-         strand displacement activity.
ments, reaction conditions (such as the extension time and              In some embodiments, the polymerase is a Sulfolobus
temperature) are used such that the extension rate of the           DNA Polymerase IV (M0327S, New EnglandBioLabs, Inc.;
polymerase allows the number of nucleotides that are added 65 (Boudsocq, et al. (2001 ). Nucleic Acids Res., 29:4607-4616,
to a primer being extended to be equal to or greater than 80,       2001; McDonald, et al. (2006). Nucleic Acids Res., 34:1102-
90, 95, 100, 110, 120, 130, 140, 150, 175, or 200% of the           1111, 2006, which arc each hereby incorporated by reference




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in its entirety). Sulfolobus DNA Polymerase IV is a ther-          the percent of sequence reads that map to targeted loci. One
mostable Y-family lesion-bypass DNA Polymerase that effi-          way to identify the 'bad' primers is to look at the sequencing
ciently synthesizes DNA across a variety of DNA template           data of DNA that was amplified by targeted amplification;
lesions McDonald, J. P. et al. (2006). Nucleic Acids Res., 34,     those primer dimers that are seen with greatest frequency
1102-1111, which is hereby incorporated by reference in its        can be removed to give a primer library that is significantly
entirety). Sulfolobus DNA Polymerase IV lacks 5'----;.3' exo-      less likely to result in side product DNA that does not map
nuclease activity and strand displacement activity.                to the genome. There are also publicly available programs
   In some embodiments, if a primer binds a region with a          that can calculate the binding energy of various primer
SNP, the primer may bind and amplify the different alleles         combinations, and removing those with the highest binding
with different efficiencies or may only bind and amplify one 10 energy will also give a primer library that is significantly less
allele. For subjects who are heterozygous, one of the alleles      likely to result in side product DNA that does not map to the
may not be amplified by the primer. In some embodiments,           genome.
a primer is designed for each allele. For example, ifthere are        In some embodiments for selecting primers, an initial
two alleles (e.g., a biallelic SNP), then two primers can be       library of candidate primers is created by designing one or
used to bind the same location of a target locus (e.g., a 15 more primers or primer pairs to candidate target loci. A set
forward primer to bind the "A" allele and a forward primer         of candidate target loci (such as SNPs) can selected based on
to bind the "B" allele). Standard methods, such as the dbSNP       publicly available information about desired parameters for
database, can be used to determine the location of known           the target loci, such as frequency of the SNPs within a target
SNPs, such as SNP hot spots that have a high heterozygosity        population or the heterozygosity rate of the SNPs. In one
rate.                                                           20 embodiment, the PCR primers may be designed using the
   In some embodiments, the amplicons are similar in size.         Primer3 program (the worldwide web at primer3. source-
In some embodiments, the range of the length of the target         forge.net; libprimer3 release 2.2.3, which is hereby incor-
amplicons is less than 100, 75, 50, 25, 15, 10, or 5 nucleo-       porated by reference in its entirety). If desired, the primers
tides. In some embodiments (such as the amplification of           can be designed to anneal within a particular annealing
target loci in fragmented DNA or RNA), the length of the 25 temperature range, have a particular range of GC contents,
target amplicons is between 50 and 100 nucleotides, such as        have a particular size range, produce target amplicons in a
between 60 and 80 nucleotides, or 60 and 75 nucleotides,           particular size range, and/or have other parameter charac-
inclusive. In some embodiments (such as the amplification          teristics. Starting with multiple primers or primer pairs per
of multiple target loci throughout an exon or gene), the           candidate target locus increases the likelihood that a primer
length of the target amplicons is between 100 and 500 30 or prime pair will remain in the library for most or all of the
nucleotides, such as between 150 and 450 nucleotides, 200          target loci. In one embodiment, the selection criteria may
and 400 nucleotides, 200 and 300 nucleotides, or 300 and           require that at least one primer pair per target locus remains
400 nucleotides, inclusive.                                        in the library. That way, most or all of the target loci will be
   In some embodiments, multiple target loci are simultane-        amplified when using the final primer library. This is desir-
ously amplified using a primer pair that includes a forward 35 able for applications such as screening for deletions or
and reverse primer for each target locus to be amplified in        duplications at a large number of locations in the genome or
that reaction volume. In some embodiments, one round of            screening for a large number of sequences (such as poly-
PCR is performed with a single primer per target locus, and        morphisms or other mutations) associated with a disease or
then a second round of PCR is performed with a primer pair         an increased risk for a disease. If a primer pair from the
per target locus. For example, the first round of PCR may be 40 library would produces a target amplicon that overlaps with
performed with a single primer per target locus such that all      a target amplicon produced by another primer pair, one of
the primers bind the same strand (such as using a forward          the primer pairs may be removed from the library to prevent
primer for each target locus). This allows the PCR to amplify      interference.
in a linear manner and reduces or eliminates amplification            In some embodiments, an "undesirability score" (higher
bias between amplicons due to sequence or length differ- 45 score representing least desirability) is calculated (such as
ences. In some embodiments, the amplicons are then ampli-          calculation on a computer) for most or all of the possible
fied using a forward and reverse primer for each target locus.     combinations of two primers from a library of candidate
Exemplary Primer Design Methods                                    primers. In various embodiments, an undesirability score is
   If desired, multiplex PCR may be performed using prim-          calculated for at least 80, 90, 95, 98, 99, or 99.5% of the
ers with a decreased likelihood of forming primer dimers. In 50 possible combinations of candidate primers in the library.
particular, highly multiplexed PCR can often result in the         Each undesirability score is based at least in part on the
production of a very high proportion of product DNA that           likelihood of dimer formation between the two candidate
results from unproductive side reactions such as primer            primers. If desired, the undesirability score may also be
dimer formation. In an embodiment, the particular primers          based on one or more other parameters selected from the
that are most likely to cause unproductive side reactions may 55 group consisting of heterozygosity rate of the target locus,
be removed from the primer library to give a primer library        disease prevalence associated with a sequence (e.g., a poly-
that will result in a greater proportion of amplified DNA that     morphism) at the target locus, disease penetrance associated
maps to the genome. The step of removing problematic               with a sequence (e.g., a polymorphism) at the target locus,
primers, that is, those primers that are particularly likely to    specificity of the candidate primer for the target locus, size
firm dimers has unexpectedly enabled extremely high PCR 60 of the candidate primer, melting temperature of the target
multiplexing levels for subsequent analysis by sequencing.         amplicon, GC content of the target amplicon, amplification
   There are a number of ways to choose primers for a              efficiency of the target amplicon, size of the target amplicon,
library where the amount of non-mapping primer dimer or            and distance from the center of a recombination hotspot. In
other primer mischief products are minimized. Empirical            some embodiments, the specificity of the candidate primer
data indicate that a small number of 'bad' primers are 65 for the target locus includes the likelihood that the candidate
responsible for a large amount of non-mapping primer dimer         primer will mis-prime by binding and amplifying a locus
side reactions. Removing these 'bad' primers can increase          other than the target locus it was designed to amplify. In




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some embodiments, one or more or all the candidate primers      products. The size constraints of miniPCR may result in
that mis-prime are removed from the library. In some            further constraints. In an embodiment, it is possible to begin
embodiments to increase the number of candidate primers to      with a very large number of potential SNP targets (between
choose from, candidate primers that may mis-prime are not       about 500 to greater than 1 million) and attempt to design
removed from the library. If multiple factors are considered,   primers to amplify each SNP. Where primers can be
the undesirability score may be calculated based on a           designed it is possible to attempt to identify primer pairs
weighted average of the various parameters. The parameters      likely to form spurious products by evaluating the likelihood
may be assigned different weights based on their importance     of spurious primer duplex formation between all possible
for the particular application that the primers will be used    pairs of primers using published thermodynamic parameters
for. In some embodiments, the primer with the highest 10 for DNA duplex formation. Primer interactions may be
undesirability score is removed from the library. If the        ranked by a scoring function related to the interaction and
removed primer is a member of a primer pair that hybridizes     primers with the worst interaction scores are eliminated until
to one target locus, then the other member of the primer pair   the number of primers desired is met. In cases where SNPs
may be removed from the library. The process of removing        likely to be heterozygous are most useful, it is possible to
primers may be repeated as desired. In some embodiments, 15 also rank the list of assays and select the most heterozygous
the selection method is performed until the undesirability      compatible assays. Experiments have validated that primers
scores for the candidate primer combinations remaining in       with high interaction scores are most likely to form primer
the library are all equal to or below a minimum threshold. In   dimers. At high multiplexing it is not possible to eliminate
some embodiments, the selection method is performed until       all spurious interactions, but it is essential to remove the
the number of candidate primers remaining in the library is 20 primers or pairs of primers with the highest interaction
reduced to a desired number.                                    scores in silica as they can dominate an entire reaction,
   In various embodiments, after the undesirability scores      greatly limiting amplification from intended targets. We
are calculated, the candidate primer that is part of the        have performed this procedure to create multiplex primer
greatest number of combinations of two candidate primers        sets of up to and in some cases more than 10,000 primers.
with an undesirability score above a first minimum threshold 25 The improvement due to this procedure is substantial,
is removed from the library. This step ignores interactions     enabling amplification of more than 80%, more than 90%,
equal to or below the first minimum threshold since these       more than 95%, more than 98%, and even more than 99% on
interactions are less significant. If the removed primer is a   target products as determined by sequencing of all PCR
member of a primer pair that hybridizes to one target locus,    products, as compared to 10% from a reaction in which the
then the other member of the primer pair may be removed 30 worst primers were not removed. When combined with a
from the library. The process of removing primers may be        partial semi-nested approach as previously described, more
repeated as desired. In some embodiments, the selection         than 90%, and even more than 95% of amplicons may map
method is performed until the undesirability scores for the     to the targeted sequences.
candidate primer combinations remaining in the library are         Note that there are other methods for determining which
all equal to or below the first minimum threshold. If the 35 PCR probes are likely to form dimers. In an embodiment,
number of candidate primers remaining in the library is         analysis of a pool of DNA that has been amplified using a
higher than desired, the number of primers may be reduced       non-optimized set of primers may be sufficient to determine
by decreasing the first minimum threshold to a lower second     problematic primers. For example, analysis may be done
minimum threshold and repeating the process of removing         using sequencing, and those dimers which are present in the
primers. If the number of candidate primers remaining in the 40 greatest number are determined to be those most likely to
library is lower than desired, the method can be continued by   form dimers, and may be removed. In an embodiment, the
increasing the first minimum threshold to a higher second       method of primer design may be used in combination with
minimum threshold and repeating the process of removing         the mini-PCR method described herein.
primers using the original candidate primer library, thereby       The use of tags on the primers may reduce amplification
allowing more of the candidate primers to remain in the 45 and sequencing of primer dimer products. In some embodi-
library. In some embodiments, the selection method is           ments, the primer contains an internal region that forms a
performed until the undesirability scores for the candidate     loop structure with a tag. In particular embodiments, the
primer combinations remaining in the library are all equal to   primers include a 5' region that is specific for a target locus,
or below the second minimum threshold, or until the number      an internal region that is not specific for the target locus and
of candidate primers remaining in the library is reduced to 50 forms a loop structure, and a 3' region that is specific for the
a desired number.                                               target locus. In some embodiments, the loop region may lie
   If desired, primer pairs that produce a target amplicon that between two binding regions where the two binding regions
overlaps with a target amplicon produced by another primer      are designed to bind to contiguous or neighboring regions of
pair can be divided into separate amplification reactions.      template DNA. In various embodiments, the length of the 3'
Multiple PCR amplification reactions may be desirable for 55 region is at least 7 nucleotides. In some embodiments, the
applications in which it is desirable to analyze all of the     length of the 3' region is between 7 and 20 nucleotides, such
candidate target loci (instead of omitting candidate target     as between 7 to 15 nucleotides, or 7 to 10 nucleotides,
loci from the analysis due to overlapping target amplicons ).   inclusive. In various embodiments, the primers include a 5'
   These selection methods minimize the number of candi-        region that is not specific for a target locus (such as a tag or
date primers that have to be removed from the library to 60 a universal primer binding site) followed by a region that is
achieve the desired reduction in primer dimers. By removing     specific for a target locus, an internal region that is not
a smaller number of candidate primers from the library,         specific for the target locus and forms a loop structure, and
more (or all) of the target loci can be amplified using the     a 3' region that is specific for the target locus. Tag-primers
resulting primer library.                                       can be used to shorten necessary target-specific sequences to
   Multiplexing large numbers of primers imposes consid- 65 below 20, below 15, below 12, and even below 10 base
erable constraint on the assays that can be included. Assays    pairs. This can be serendipitous with standard primer design
that unintentionally interact result in spurious amplification  when the target sequence is fragmented within the primer




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binding site or, or it can be designed into the primer design.       sufficient primers are included in one or more libraries/pools
Advantages of this method include: it increases the number           such that the primers, in aggregate, enable the desired
of assays that can be designed for a certain maximal ampli-          disease load to be captured for the disease or disorder (e.g.,
con length, and it shortens the "non-informative" sequenc-           such as by detection of at least 80, 85, 90, 95, or 99% of the
ing of primer sequence. It may also be used in combination           disease load).
with internal tagging.                                               Exemplary Primer Libraries
   In an embodiment, the relative amount of nonproductive               In one aspect, the invention features libraries of primers,
products in the multiplexed targeted PCR amplification can           such as primers selected from a library of candidate primers
be reduced by raising the annealing temperature. In cases            using any of the methods of the invention. In some embodi-
where one is amplifying libraries with the same tag as the 10
                                                                     ments, the library includes primers that simultaneously
target specific primers, the annealing temperature can be
                                                                     hybridize (or are capable of simultaneously hybridizing) to
increased in comparison to the genomic DNA as the tags will
                                                                     or that simultaneously amplify (or are capable of simulta-
contribute to the primer binding. In some embodiments
reduced primer concentrations are used, optionally along             neously   amplifying) at least 100; 200; 500; 750; 1,000;
with longer annealing times. In some embodiments the 15 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
annealing times may be longer than 3 minutes, longer than            40,000; 50,000; 75,000; or 100,000 different target loci in
5 minutes, longer than 8 minutes, longer than 10 minutes,            one reaction volume. In various embodiments, the library
longer than 15 minutes, longer than 20 minutes, longer than          includes primers that simultaneously amplify (or are capable
30 minutes, longer than 60 minutes, longer than 120 min-             of simultaneously amplifying) between 100 to 500; 500 to
utes, longer than 240 minutes, longer than 480 minutes, and 20 1,000; 1,000 to 2,000; 2,000 to 5,000; 5,000 to 7,500; 7,500
even longer than 960 minutes. In certain illustrative embodi-        to 10,000; 10,000 to 20,000; 20,000 to 25,000; 25,000 to
ments, longer annealing times are used along with reduced            30,000; 30,000 to 40,000; 40,000 to 50,000; 50,000 to
primer concentrations. In various embodiments, longer than           75,000; or 75,000 to 100,000 different target loci in one
normal extension times are used, such as greater than 3, 5,          reaction volume, inclusive. In various embodiments, the
8, 10, or 15 minutes. In some embodiments, the primer 25 library includes primers that simultaneously amplify (or are
concentrations are as low as 50 nM, 20 nM, 10 nM, 5 nM,              capable of simultaneously amplifying) between 1,000 to
1 nM, and lower than 1 nM. This surprisingly results in              100,000 different target loci in one reaction volume, such as
robust performance for highly multiplexed reactions, for             between 1,000 to 50,000; 1,000 to 30,000; 1,000 to 20,000;
example 1,000-plex reactions, 2,000-plex reactions, 5,000-           1,000 to 10,000; 2,000 to 30,000; 2,000 to 20,000; 2,000 to
plex reactions, 10,000-plex reactions, 20,000-plex reactions, 30 10,000; 5,000 to 30,000; 5,000 to 20,000; or 5,000 to 10,000
50,000-plex reactions, and even 100,000-plex reactions. In           different target loci, inclusive. In some embodiments, the
an embodiment, the amplification uses one, two, three, four          library includes primers that simultaneously amplify (or are
or five cycles run with long annealing times, followed by            capable of simultaneously amplifying) the target loci in one
PCR cycles with more usual annealing times with tagged               reaction volume such that less than 60, 40, 30, 20, 10, 5, 4,
primers.                                                          35 3, 2, 1, 0.5, 0.25, 0.1, or 0.5% of the amplified products are
   To select target locations, one may start with a pool of          primer dimers. The various embodiments, the amount of
candidate primer pair designs and create a thermodynamic             amplified products that are primer dimers is between 0.5 to
model of potentially adverse interactions between primer             60%, such as between 0.1 to 40%, 0.1 to 20%, 0.25 to 20%,
pairs, and then use the model to eliminate designs that are          0.25 to 10%, 0.5 to 20%, 0.5 to 10%, 1 to 20%, or 1 to 10%,
incompatible with other the designs in the pool.                  40 inclusive. In some embodiments, the primers simultaneously
   In an embodiment, the invention features a method of              amplify (or are capable of simultaneously amplifying) the
decreasing the number of target loci (such as loci that may          target loci in one reaction volume such that at least 50, 60,
contain a polymorphism or mutation associated with a                 70, 80, 90, 95, 96, 97, 98, 99, or 99.5% of the amplified
disease or disorder or an increased risk for a disease or            products are target amplicons. In various embodiments, the
disorder such as cancer) and/or increasing the disease load 45 amount of amplified products that are target amplicons is
that is detected (e.g., increasing the number of polymor-            between 50 to 99.5%, such as between 60 to 99%, 70 to
phisms or mutations that are detected). In some embodi-              98%, 80 to 98%, 90 to 99.5%, or 95 to 99.5%, inclusive. In
ments, the method includes ranking (such as ranking from             some embodiments, the primers simultaneously amplify (or
highest to lowest) loci by frequency or reoccurrence of a            are capable of simultaneously amplifying) the target loci in
polymorphism or mutation (such as a single nucleotide 50 one reaction volume such that at least 50, 60, 70, 80, 90, 95,
variation, insertion, or deletion, or any of the other variations    96, 97, 98, 99, or 99.5% of the targeted loci are amplified
described herein) in each locus among subjects with the              (e.g., amplified at least 5, 10, 20, 30, 50, or 100-fold
disease or disorder such as cancer. In some embodiments,             compared to the amount prior to amplification). In various
PCR primers are designed to some or all of the loci. During          embodiments, the amount target loci that are amplified (e.g.,
selection of PCR primers for a library of primers, primers to 55 amplified at least 5, 10, 20, 30, 50, or 100-fold compared to
loci that have a higher frequency or reoccurrence (higher            the amount prior to amplification) is between 50 to 99.5%,
ranking loci) are favored over those with a lower frequency          such as between 60 to 99%, 70 to 98%, 80 to 99%, 90 to
or reoccurrence (lower ranking loci). In some embodiments,           99.5%, 95 to 99.9%, or 98 to 99.99% inclusive. In some
this parameter is included as one of the parameters in the           embodiments, the library of primers includes at least 100;
calculation of the undesirability scores described herein. If 60 200; 500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 20,000;
desired, primers (such as primers to high ranking loci) that         25,000; 30,000; 40,000; 50,000; 75,000; or 100,000 primer
are incompatible with other designs in the library can be            pairs, wherein each pair of primers includes a forward test
included in a different PCR library/pool. In some embodi-            primer and a reverse test primer where each pair of test
ments, multiple libraries/pools (such as 2, 3, 4, 5 or more)         primers hybridize to a target locus. In some embodiments,
are used in separate PCR reactions to enable amplification of 65 the library of primers includes at least 100; 200; 500; 750;
all (or a majority) of the loci represented by all the libraries/    1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
pools. In some embodiment, this method is continued until            40,000; 50,000; 75,000; or 100,000 individual primers that




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each hybridize to a different target locus, wherein the           methods and libraries can be used for analysis of any of the
individual primers are not part of primer pairs.                  samples disclosed herein and for use in any of the methods
   In various embodiments, the concentration of each primer       of the invention.
is less than 100, 75, 50, 25, 20, 10, 5, 2, or 1 nM, or less than Exemplary Primer Libraries for Detection of Recombination
500, 100, 10, or 1 uM. In various embodiments, the con-              In some embodiments, primers in the primer library are
centration of each primer is between 1 uM to 100 nM, such         designed to determine whether or not recombination
as between 1 uM to 1 nM, 1 to 75 nM, 2 to 50 nM or 5 to           occurred at one or more known recombination hotspots
50 nM, inclusive. In various embodiments, the GC content          (such as crossovers between homologous human chromo-
of the primers is between 30 to 80%, such as between 40 to        somes). Knowing what crossovers occurred between chro-
70%, or 50 to 60%, inclusive. In some embodiments, the 10
                                                                  mosomes allows more accurate phased genetic data to be
range of GC content of the primers is less than 30, 20, 10,
                                                                  determined for an individual. Recombination hotspots are
or 5%. In some embodiments, the range of GC content of the
                                                                  local regions of chromosomes in which recombination
primers is between 5 to 30%, such as 5 to 20% or 5 to 10%,
inclusive. In some embodiments, the melting temperature           events  tend to be concentrated. Often they are flanked by
(Tm) of the test primers is between 40 to 80° C., such as 50 15 "coldspots," regions of lower than average frequency of
to 70° C., 55 to 65° C., or 57 to 60.5° C., inclusive. In some    recombination. Recombination hotspots tend to share a
embodiments, the Tm is calculated using the Primer3 pro-          similar morphology and are approximately 1 to 2 kb in
gram (libprimer3 release 2.2.3) using the built-in SantaLucia     length. The hotspot distribution is positively correlated with
parameters (the world wide web at primer3 .sourceforge.net).      GC content and repetitive element distribution. A partially
In some embodiments, the range of melting temperature of 20 degenerated 13-mer motif CCNCCNTNNCCNC plays a
the primers is less than 15, 10, 5, 3, or 1° C. In some           role in some hotspot activity. It has been shown that the zinc
embodiments, the range of melting temperature of the prim-        finger protein called PRDM9 binds to this motif and initiates
ers is between 1 to 15° C., such as between 1 to 10° C., 1        recombination at its location. The average distance between
to 5° C., or 1 to 3° C., inclusive. In some embodiments, the      the centers of recombination hot spots is reported to be -80
length of the primers is between 15 to 100 nucleotides, such 25 kb. In some embodiments, the distance between the centers
as between 15 to 75 nucleotides, 15 to 40 nucleotides, 17 to      of recombination hot spots ranges between -3 kb to -100
35 nucleotides, 18 to 30 nucleotides, or 20 to 65 nucleotides,    kb. Public databases include a large number of known
inclusive. In some embodiments, the range of the length of        human recombination hotspots, such as the HUMHOT and
the primers is less than 50, 40, 30, 20, 10, or 5 nucleotides.    International HapMap Project databases (see, for example,
In some embodiments, the range of the length of the primers 30 Nishant et al., "HUMHOT: a database of human meiotic
is between 5 to 50 nucleotides, such as 5 to 40 nucleotides,      recombination hot spots," Nucleic Acids Research, 34: D25-
5 to 20 nucleotides, or 5 to 10 nucleotides, inclusive. In some   D28, 2006, Database issue; Mackiewicz et al., "Distribution
embodiments, the length of the target amplicons is between        of Recombination Hotspots in the Human Genome-A
50 and 100 nucleotides, such as between 60 and 80 nucleo-         Comparison of Computer Simulations with Real Data"
tides, or 60 to 75 nucleotides, inclusive. In some embodi- 35 PLoS ONE 8(6): e65272, doi: 10.1371/journal.pone.
ments, the range of the length of the target amplicons is less    0065272; and the world wide web at hapmap.ncbi.nlm.nih.
than 50, 25, 15, 10, or 5 nucleotides. In some embodiments,       gov/downloads/index.html.en, which are each hereby incor-
the range of the length of the target amplicons is between 5      porated by reference in its entirety).
to 50 nucleotides, such as 5 to 25 nucleotides, 5 to 15              In some embodiments, primers in the primer library are
nucleotides, or 5 to 10 nucleotides, inclusive. In some 40 clustered at or near recombination hotspots (such as known
embodiments, the library does not comprise a microarray. In       human recombination hotspots). In some embodiments, the
some embodiments, the library comprises a microarray.             corresponding amplicons are used to determine the sequence
   In some embodiments, some (such as at least 80, 90, or         within or near a recombination hotspot to determine whether
95%) or all of the adaptors or primers include one or more        or not recombination occurred at that particular hotspot
linkages between adjacent nucleotides other than a natu- 45 (such as whether the sequence of the amplicon is the
rally-occurring phosphodiester linkage. Examples of such          sequence expected if a recombination had occurred or the
linkages include phosphoramide, phosphorothioate, and             sequence expected if a recombination had not occurred). In
phosphorodithioate linkages. In some embodiments, some            some embodiments, primers are designed to amplify part or
(such as at least 80, 90, or 95%) or all of the adaptors or       all of a recombination hotspot (and optionally sequence
primers include a thiophosphate (such as a monothiophos- 50 flanking a recombination hotspot). In some embodiments,
phate) between the last 3' nucleotide and the second to last      long read sequencing (such as sequencing using the
3' nucleotide. In some embodiments, some (such as at least        Moleculo Technology developed by Illumina to sequence up
80, 90, or 95%) or all of the adaptors or primers include a       to -10 kb) or paired end sequencing is used to sequence part
thiophosphate (such as a monothiophosphate) between the           or all of a recombination hotspot. Knowledge of whether or
last 2, 3, 4, or 5 nucleotides at the 3' end. In some embodi- 55 not a recombination event occurred can be used to determine
ments, some (such as at least 80, 90, or 95%) or all of the       which haplotype blocks flank the hotspot. If desired, the
adaptors or primers include a thiophosphate (such as a            presence of particular haplotype blocks can be confirmed
monothiophosphate) between at least 1, 2, 3, 4, or 5 nucleo-      using primers specific to regions within the haplotype
tides out of the last 10 nucleotides at the 3' end. In some       blocks. In some embodiments, it is assumed there are no
embodiments, such primers are less likely to be cleaved or 60 crossovers between known recombination hotspots. In some
degraded. In some embodiments, the primers do not contain         embodiments, primers in the primer library are clustered at
an enzyme cleavage site (such as a protease cleavage site).       or near the ends of chromosomes. For example, such primers
   Additional exemplary multiplex PCR methods and librar-         can be used to determine whether or not a particular arm or
ies are described in U.S. application Ser. No. 13/683,604,        section at the end of a chromosome is present. In some
filed Nov. 21, 2012 (U.S. Publication No. 2013/0123120) 65 embodiments, primers in the primer library are clustered at
and U.S. Ser. No. 61/994,791, filed May 16, 2014, which are       or near recombination hotspots and at or near the ends of
each hereby incorporated by reference in its entirety). These     chromosomes.




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   In some embodiments, the primer library includes one or           tional chromosomes or chromosome segments. In some
more primers (such as at least 5; 10; 50; 100; 200; 500; 750;        embodiments, the kit includes instructions for using the
1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;          primer library to amplify the target loci, such as for detecting
40,000; or 50,000 different primers or different primer pairs)       one or more deletions and/or duplications of one or more
that are specific for a recombination hotspot (such as a             chromosome segments or entire chromosomes using any of
known human recombination hotspot) and/or are specific for           the methods described herein.
a region near a recombination hotspot (such as within 10, 8,            In certain embodiments, kits of the invention provide
5, 3, 2, 1, or 0.5 kb of the 5' or 3' end of a recombination         primer pairs for detecting chromosomal aneuploidy and
hotspot). In some embodiments, at least 1, 5, 10, 20, 40, 60,        CNV determination, such as primer pairs for massively
80, 100, or 150 different primer (or primer pairs) are specific 10 multiplex reactions for detecting chromosomal aneuploidy
for the same recombination hotspot, or are specific for the          such as CNV (CoNVERGe) (Copy Number Variant Events
same recombination hotspot or a region near the recombi-             Revealed Genotypically) and/or SNVs. In these embodi-
nation hotspot. In some embodiments, at least 1, 5, 10, 20,          ments, the kits can include between at least 100, 200, 250,
40, 60, 80, 100, or 150 different primer (or primer pairs) are       300, 500, 1000, 2000, 2500, 3000, 5000, 10,000, 20,000,
specific for a region between recombination hotspots (such 15 25,000, 28,000, 50,000, or 75,000 and at most 200, 250, 300,
as a region unlikely to have undergone recombination);               500, 1000, 2000, 2500, 3000, 5000, 10,000, 20,000, 25,000,
these primers can be used to confirm the presence of                 28,000, 50,000, 75,000, or 100,000 primer pairs that are
haplotype blocks (such as those that would be expected               shipped together. The primer pairs can be contained in a
depending on whether or not recombination has occurred).             single vessel, such as a single tube or box, or multiple tubes
In some embodiments, at least 10, 20, 30, 40, 50, 60, 70, 80, 20 or boxes. In certain embodiments, the primer pairs are
or 90% of the primers in the primer library are specific for         pre-qualified by a commercial provider and sold together,
a recombination hotspot and/or are specific for a region near        and in other embodiments, a customer selects custom gene
a recombination hotspot (such as within 10, 8, 5, 3, 2, 1, or        targets and/or primers and a commercial provider makes and
0.5 kb of the 5' or 3' end of the recombination hotspot). In         ships the primer pool to the customer neither in one tube or
some embodiments, the primer library is used to determine 25 a plurality of tubes. In certain exemplary embodiments, the
whether or not recombination has occurred at greater than or         kits include primers for detecting both CNVs and SNVs,
equal to 5; 10; 50; 100; 200; 500; 750; 1,000; 2,000; 5,000;         especially CNVs and SNVs known to be correlated to at
7,500; 10,000; 20,000; 25,000; 30,000; 40,000; or 50,000             least one type of cancer.
different recombination hotspots (such as known human                   Kits for circulating DNA detection according to some
recombination hotspots). In some embodiments, the regions 30 embodiments of the present invention, include standards
targeted by primers to a recombination hotspot or nearby             and/or controls for circulating DNA detection. For example,
region are approximately evenly spread out along that                in certain embodiments, the standards and/or controls are
portion of the genome. In some embodiments, at least 1, 5,           sold and optionally shipped and packaged together with
10, 20, 40, 60, 80, 100, or 150 different primer (or primer          primers used to perform the amplification reactions provided
pairs) are specific for the a region at or near the end of a 35 herein, such as primers for performing CoNVERGe. In
chromosome (such as a region within 20, 10, 5, 1, 0.5, 0.1,          certain embodiments, the controls include polynucleotides
0.01, or 0.001 mb from the end of a chromosome). In some             such as DNA, including isolated genomic DNA that exhibits
embodiments, at least 10, 20, 30, 40, 50, 60, 70, 80, or 90%         one or more chromosomal aneuploidies such as CNV and/or
of the primers in the primer library are specific for the a          includes one or more SNVs. In certain embodiments, the
region at or near the end of a chromosome (such as a region 40 standards and/or controls are called PlasmArt standards and
within 20, 10, 5, 1, 0.5, 0.1, 0.01, or 0.001 mb from the end        include polynucleotides having sequence identity to regions
of a chromosome). In some embodiments, at least 1, 5, 10,            of the genome known to exhibit CNV, especially in certain
20, 40, 60, 80, 100, or 150 different primer (or primer pairs)       inherited diseases, and in certain disease states such as
are specific for a region within a potential microdeletion in        cancer, as well as a size distribution that reflects that of
a chromosome. In some embodiments, at least 10, 20, 30, 40, 45 cfDNA fragments naturally found in plasma. Exemplary
50, 60, 70, 80, or 90% of the primers in the primer library          methods for making PlasmArt standards are provided in the
are specific for a region within a potential microdeletion in        examples herein. In general, genomic DNA from a source
a chromosome. In some embodiments, at least 10, 20, 30, 40,          known to include a chromosomal aneuoploidy is isolated,
50, 60, 70, 80, or 90% of the primers in the primer library          fragmented, purified and size selected.
are specific for a recombination hotspot, a region near a 50            Accordingly, artificial cfDNA polynucleotide standards
recombination hotspot, a region at or near the end of a              and/or controls can be made by spiking isolated polynucle-
chromosome, or a region within a potential microdeletion in          otide samples prepared as summarized above, into DNA
a chromosome.                                                        samples known not to exhibit a chromosomal aneuploidy
Exemplary Kits                                                       and/or SNVs, at concentrations similar to those observed for
   In one aspect, the invention features a kit, such as a kit for 55 cfDNA in vivo, such as between, for example, 0.01 % and
amplifying target loci in a nucleic acid sample for detecting        20%, 0.1 and 15%, or 0.4 and 10% of DNA in that fluid.
deletions and/or duplications of chromosome segments or              These standards/controls can be used as controls for assay
entire chromosomes using any of the methods described                design, characterization, development, and/or validation,
herein). In some embodiments, the kit can include any of the         and as quality control standards during testing, such as
primer libraries of the invention. In an embodiment, the kit 60 cancer testing performed in a CLIA lab and/or as standards
comprises a plurality of inner forward primers and option-           included in research use only or diagnostic test kits.
ally a plurality of inner reverse primers, and optionally outer      Exemplary Normalization/Correction Methods
forward primers and outer reverse primers, where each of                In some embodiments, measurements for different loci,
the primers is designed to hybridize to the region of DNA            chromosome segments, or chromosomes are adjusted for
immediately upstream and/or downstream from one of the 65 bias, such as bias due to differences in GC content or bias
target sites (e.g., polymorphic sites) on the target chromo-         due to other differences in amplification efficiency or
somc(s) or chromosome scgmcnt(s), and optionally addi-               adjusted for sequencing errors. In some embodiments, mca-




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surements for different alleles for the same locus are               25,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different
adjusted for differences in metabolism, apoptosis, histones,         polymorphic loci (such as SNPs) to produce a reaction
inactivation, and/or amplification between the alleles. In           mixture; and subjecting the reaction mixture to primer
some embodiments, measurements for different alleles for             extension reaction conditions to produce amplified products
the same locus in RNA are adjusted for differences in 5 that are measured with a high throughput sequencer to
transcription rates or stability between different RNA alleles.      produce sequencing data. In some embodiments, RNA (such
Exemplary Methods for Phasing Genetic Data                           as mRNA) is sequenced. Since mRNA contains only exons,
   In some embodiments, genetic data is phased using the             sequencing mRNA allows alleles to be determined for
methods described herein or any known method for phasing             polymorphic loci (such as SNPs) over a large distance in the
genetic data (see, e.g., PCT Pub!. No. WO2009/105531, 10 genome, such as a few megabases. In some embodiments, a
filed Feb. 9, 2009, and PCT Pub!. No. WO2010/017214,                 haplotype of an individual is determined by chromosome
filed Aug. 4, 2009; U.S. Pub!. No. 2013/0123120, Nov. 21,            sorting. An exemplary chromosome sorting method includes
2012; U.S. Pub!. No. 2011/0033862, filed Oct. 7, 201 0; U.S.         arresting cells at phase of mitosis when chromosomes are
Pub!. No. 2011/0033862, filedAug. 19, 2010; U.S. Pub!. No.           tight bundles and using microfluidics to put separate chro-
2011/0178719, filed Feb. 3, 2011; U.S. Pat. No. 8,515,679, 15 mosomes in separate wells. Another method involves col-
filed Mar. 17, 2008; U.S. Pub!. No. 2007/0184467, filed              lecting single chromosomes using FACS-mediated single
Nov. 22, 2006; U.S. Pub!. No. 2008/0243398, filed Mar. 17,           chromosome sorting. Standard methods (such as sequencing
2008, and U.S. Ser. No. 61/994,791, filed May 16, 2014,              or an array) can be used to identify the alleles on a single
which are each hereby incorporated by reference in its               chromosome to determine a haplotype of the individual.
entirety). In some embodiments, the phase is determined for 20          In some embodiments, a haplotype of an individual is
one or more regions that are known or suspected to contain           determined by long read sequencing, such as by using the
a CNV of interest. In some embodiments, the phase is also            Moleculo Technology developed by Illumina. In some
determined for one or more regions flanking the CNV                  embodiments, the library prep step involves shearing DNA
region(s) and/or for one or more reference regions. In one           into fragments, such as fragments of -10 kb size, diluting the
embodiment, genetic data of an individual (e.g., an indi- 25 fragments and placing them into wells (such that about 3,000
vidual being tested using the methods of the invention or a          fragments are in a single well), amplifying fragments in each
relative of a gestating fetus or embryo, such as a parent of         well by long-range PCR and cutting into short fragments and
the fetus or embryo) is phased by inference by measuring             barcoding the fragments, and pooling the barcoded frag-
tissue from the individual that is haploid, for example by           ments from each well together to sequence them all. After
measuring one or more sperm or eggs. In one embodiment, 30 sequencing, the computational steps involve separating the
an individual's genetic data is phased by inference using the        reads from each well based on the attached barcodes and
measured genotypic data of one or more first degree rela-            grouping them into fragments, assembling the fragments at
tives, such as the individual's parents (e.g., sperm from the        their overlapping heterozygous SNVs into haplotype blocks,
individual's father) or siblings.                                    and phasing the blocks statistically based on a phased
   In one embodiment, an individual's genetic data is phased 35 reference panel and producing long haplotype contigs.
by dilution where the DNA or RNA is diluted in one or a                 In some embodiments, a haplotype of the individual is
plurality of wells, such as by using digital PCR. In some            determined using data from a relative of the individual. In
embodiments, the DNA or RNA is diluted to the point where            some embodiments, a SNP array is used to determine the
there is expected to be no more than approximately one copy          presence of at least 100; 200; 500; 750; 1,000; 2,000; 5,000;
of each haplotype in each well, and then the DNA or RNA 40 7,500; 10,000; 20,000; 25,000; 30,000; 40,000; 50,000;
in the one or more wells is measured. In some embodiments,           75,000; or 100,000 different polymorphic loci in a DNA or
cells are arrested at phase of mitosis when chromosomes are          RNA sample from the individual and a relative of the
tight bundles, and microfluidics is used to put separate             individual. In some embodiments, the method involves
chromosomes in separate wells. Because the DNA or RNA                contacting a DNA sample from the individual and/or a
is diluted, it is unlikely that more than one haplotype is in the 45 relative of the individual with a library of primers that
same fraction (or tube). Thus, there may be effectively a            simultaneously hybridize to at least 100; 200; 500; 750;
single molecule of DNA in the tube, which allows the                 1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
haplotype on a single DNA or RNA molecule to be deter-               40,000; 50,000; 75,000; or 100,000 different polymorphic
mined. In some embodiments, the method includes dividing             loci (such as SNPs) to produce a reaction mixture; and
a DNA or RNA sample into a plurality of fractions such that 50 subjecting the reaction mixture to primer extension reaction
at least one of the fractions includes one chromosome or one         conditions to produce amplified products that are measured
chromosome segment from a pair of chromosomes, and                   with a high throughput sequencer to produce sequencing
genotyping (e.g., determining the presence of two or more            data.
polymorphic loci) the DNA or RNA sample in at least one                 In one embodiment, an individual's genetic data is phased
of the fractions, thereby determining a haplotype. In some 55 using a computer program that uses population based hap-
embodiments, the genotyping involves sequencing (such as             lotype frequencies to infer the most likely phase, such as
shotgun sequencing or single molecule sequencing), a SNP             HapMap-based phasing. For example, haploid data sets can
array to detect polymorphic loci, or multiplex PCR. In some          be deduced directly from diploid data using statistical meth-
embodiments, the genotyping involves use of a SNP array to           ods that utilize known haplotype blocks in the general
detect polymorphic loci, such as at least 100; 200; 500; 750; 60 population (such as those created for the public HapMap
1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;          Project and for the Perlegen Human Haplotype Project). A
40,000; 50,000; 75,000; or 100,000 different polymorphic             haplotype block is essentially a series of correlated alleles
loci. In some embodiments, the genotyping involves the use           that occur repeatedly in a variety of populations. Since these
of multiplex PCR. In some embodiments, the method                    haplotype blocks are often ancient and common, they may
involves contacting the sample in a fraction with a library of 65 be used to predict haplotypes from diploid genotypes. Pub-
primers that simultaneously hybridize to at least 100; 200;          licly available algorithms that accomplish this task include
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 20,000;                an imperfect phylogeny approach, Bayesian approaches




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based on conjugate priors, and priors from population genet-      probabilities of the haplotypes by avoiding the redundant
ics. Some of these algorithms use a hidden Markov model.          operations made in PHASE v2.1, and (2) overcome the
   In one embodiment, an individual's genetic data is phased      exponential aspect of the haplotypes inference problem by
using an algorithm that estimates haplotypes from genotype        the smart exploration of the most plausible pathways (i.e.,
data, such as an algorithm that uses localized haplotype 5 haplotypes) in the binary trees (see, e.g., Delaneau, Coulo-
clustering (see, e.g., Browning and Browning, "Rapid and          nges and Zagury, "Shape-IT: new rapid and accurate algo-
Accurate Haplotype Phasing and Missing-Data Inference for         rithm for haplotype inference," BMC Bioinformatics 9:540,
Whole-Genome Association Studies By Use of Localized              2008 doi:10.1186/1471-2105-9-540, which is hereby incor-
Haplotype Clustering" Am J Hum Genet. November 2007;              porated by reference in its entirety). An exemplary program
81(5): 1084-1097, which is hereby incorporated by refer- 10
                                                                  is SHAPEIT (available at the world wide web at mathgen.
ence in its entirety). An exemplary program is Beagle
                                                                  stats.ox.ac.uk/genetics software/shapeit/shapeit.html, which
version: 3.3.2 or version 4 (available at the world wide web
                                                                  is hereby incorporated by reference in its entirety).
at hfaculty.washington.edu/browning/beagle/beagle.html,
which is hereby incorporated by reference in its entirety).          In one embodiment, an individual's genetic data is phased
   In one embodiment, an individual's genetic data is phased 15 using an algorithm that estimates haplotypes from popula-
using an algorithm that estimates haplotypes from genotype        tion genotype data, such as an algorithm that uses haplotype-
data, such as an algorithm that uses the decay of linkage         fragment frequencies to obtain empirically based probabili-
disequilibrium with distance, the order and spacing of geno-      ties for longer haplotypes. In some embodiments, the
typed markers, missing-data imputation, recombination rate        algorithm reconstructs haplotypes so that they have maximal
estimates, or a combination thereof (see, e.g., Stephens and 20 local coherence (see, e.g., Eronen, Geerts, and Toivonen,
Scheet, "Accounting for Decay of Linkage Disequilibrium           "HaploRec: Efficient and accurate large-scale reconstruction
in Haplotype Inference and Missing-Data Imputation" Am.           ofhaplotypes," BMC Bioinformatics 7:542, 2006, which is
J. Hum. Genet. 76:449-462, 2005, which is hereby incor-           hereby incorporated by reference in its entirety). An exem-
porated by reference in its entirety). An exemplary program       plary program is HaploRec, such as HaploRec version 2.3.
is PHASE v.2.1 or v2.1.1. (available at the world wide web 25 (available at the world wide web at cs.helsinki.fi/group/
at stephenslab.uchicago.edu/software.html, which is hereby        genetics/haplotyping.html, which is hereby incorporated by
incorporated by reference in its entirety).                       reference in its entirety).
   In one embodiment, an individual's genetic data is phased         In one embodiment, an individual's genetic data is phased
using an algorithm that estimates haplotypes from popula-         using an algorithm that estimates haplotypes from popula-
tion genotype data, such as an algorithm that allows cluster 30 tion genotype data, such as an algorithm that uses a parti-
memberships to change continuously along the chromosome           tion-ligation strategy and an expectation-maximization-
according to a hidden Markov model. This approach is              based algorithm (see, e.g., Qin, Niu, and Liu, "Partition-
flexible, allowing for both "block-like" patterns of linkage      Ligation-Expectation-Maximization           Algorithm       for
disequilibrium and gradual decline in linkage disequilibrium      Haplotype Inference with Single-Nucleotide Polymor-
with distance (see, e.g., Scheet and Stephens, "A fast and 35 phisms," Am J Hum Genet. 71(5): 1242-1247, 2002, which
flexible statistical model for large-scale population genotype    is hereby incorporated by reference in its entirety). An
data: applications to inferring missing genotypes and hap-        exemplary program is PL-EM (available at the world wide
lotypic phase." Am J Hum Genet, 78:629-644, 2006, which           web at people.fas.harvard.edu/-junliu/plem/click.html,
is hereby incorporated by reference in its entirety). An          which is hereby incorporated by reference in its entirety).
exemplary program is fastPHASE (available at the world 40            In one embodiment, an individual's genetic data is phased
wide web at stephenslab.uchicago.edu/software.html, which         using an algorithm that estimates haplotypes from popula-
is hereby incorporated by reference in its entirety).             tion genotype data, such as an algorithm for simultaneously
   In one embodiment, an individual's genetic data is phased      phasing genotypes into haplotypes and block partitioning. In
using a genotype imputation method, such as a method that         some embodiments, an expectation-maximization algorithm
uses one or more of the following reference datasets: Hap- 45 is used (see, e.g., Kimmel and Shamir, "GERBIL: Genotype
Map dataset, datasets of controls genotyped on multiple           Resolution and Block Identification Using Likelihood," Pro-
SNP chips, and densely typed samples from the 1,000               ceedings of the National Academy of Sciences of the United
Genomes Project. An exemplary approach is a flexible              States of America (PNAS) 102: 158-162, 2005, which is
modelling framework that increases accuracy and combines          hereby incorporated by reference in its entirety). An exem-
information across multiple reference panels (see, e.g., 50 plary program is GERBIL, which is available as part of the
Howie, Donnelly, and Marchini (2009) "A flexible and              GEVALT version 2 program (available at the world wide
accurate genotype imputation method for the next genera-          web at acgt.cs.tau.ac.il/gevalt/, which is hereby incorporated
tion of genome-wide association studies." PLoS Genetics           by reference in its entirety).
5(6): e1000529, 2009, which is hereby incorporated by                In one embodiment, an individual's genetic data is phased
reference in its entirety). Exemplary programs are IMPUTE 55 using an algorithm that estimates haplotypes from popula-
or IMPUTE version 2 (also known as IMPUTE2) (available            tion genotype data, such as an algorithm that uses an EM
at the world wide web at mathgen.stats.ox.ac.uk/impute/           algorithm to calculate ML estimates of haplotype frequen-
impute_v2.html, which is hereby incorporated by reference         cies given genotype measurements which do not specify
in its entirety).                                                 phase. The algorithm also allows for some genotype mea-
   In one embodiment, an individual's genetic data is phased 60 surements to be missing (due, for example, to PCR failure).
using an algorithm that infers haplotypes, such as an algo-       It also allows multiple imputation of individual haplotypes
rithm that infers haplotypes under the genetic model of           (see, e.g., Clayton, D. (2002), "SNPHAP: A Program for
coalescence with recombination, such as that developed by         Estimating Frequencies of Large Haplotypes of SNPs",
Stephens in PHASE v2.1. The major algorithmic improve-            which is hereby incorporated by reference in its entirety). An
ments rely on the use of binary trees to represent the sets of 65 exemplary program is SNPHAP (available at the world wide
candidate haplotypes for each individual. These binary tree       web at gene.cimr.cam.ac.uk/clayton/software/snphap.txt,
representations: (1) speed up the computations of posterior       which is hereby incorporated by reference in its entirety).




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   In one embodiment, an individual's genetic data is phased       30, 40, 50, 60, 70, 80, 90, 95, 98, 99, or 100%). In some
using an algorithm that estimates haplotypes from popula-          embodiments, a sample (e.g., a maternal whole blood
tion genotype data, such as an algorithm for haplotype             sample, cells isolated from a maternal blood sample, mater-
inference based on genotype statistics collected for pairs of      nal plasma sample, maternal serum sample, anmiocentesis
SNPs. This software can be used for comparatively accurate         sample, placental tissue sample (e.g., chorionic villus,
phasing of large number of long genome sequences, e.g.             decidua, or placental membrane), cervical mucus sample,
obtained from DNA arrays. An exemplary program takes               fetal tissue after fetal demise, other sample from a fetus, or
genotype matrix as an input, and outputs the corresponding         another sample likely to contain mostly or only cells, DNA,
haplotype matrix (see, e.g., Brinza and Zelikovsky, "2SNP:         or RNA with a CNV of interest) from a fetus or the pregnant
scalable phasing based on 2-SNP haplotypes," Bioinformat- 10
                                                                   mother of a fetus is analyzed to determine the phase for one
ics. 22(3):371-3, 2006, which is hereby incorporated by
                                                                   or more regions that are known or suspected to contain a
reference in its entirety). An exemplary program is 2SNP
                                                                   CNV of interest (such as a deletion or duplication). In some
(available at the world wide web at alla.cs.gsu.edu/-soft-
ware/2SNP, which is hereby incorporated by reference in its        embodiments, the sample has a high fetal fraction (such as
entirety).                                                      15
                                                                   25, 30, 40, 50, 60, 70, 80, 90, 95, 98, 99, or 100%).
   In various embodiments, an individual's genetic data is            In some embodiments, the sample has a haplotypic imbal-
phased using data about the probability of chromosomes             ance or any aneuploidy. In some embodiments, the sample
crossing over at different locations in a chromosome or            includes any mixture of two types of DNA where the two
chromosome segment (such as using recombination data               types have different ratios of the two haplotypes, and share
such as may be found in the HapMap database to create a 20 at least one haplotype. For example, in the fetal-maternal
recombination risk score for any interval) to model depen-         case, the mother is 1:1 and the fetus is 1:0 (plus a paternal
dence between polymorphic alleles on the chromosome or             haplotype). For example, in the tumor case, the normal
chromosome segment. In some embodiments, allele counts             tissue is 1: 1, and the tumor tissue is 1:0 or 1:2, 1:3, 1:4, etc.
at the polymorphic loci are calculated on a computer based         In some embodiments, at least 10; 100; 500; 1,000; 2,000;
on sequencing data or SNP array data. In some embodi- 25 3,000; 5,000; 8,000; or 10,000 polymorphic loci are ana-
ments, a plurality of hypotheses each pertaining to a differ-      lyzed to determine the phase of alleles at some or all of the
ent possible state of the chromosome or chromosome seg-            loci. In some embodiments, a sample is from a cell or tissue
ment (such as an overrepresentation of the number of copies        that was treated to become aneuploidy, such as aneuploidy
of a first homologous chromosome segment as compared to            induced by prolonged cell culture.
a second homologous chromosome segment in the genome 30               In some embodiments, a large percent or all of the DNA
of one or more cells from an individual, a duplication of the
                                                                   or RNA in the sample has the CNV of interest. In some
first homologous chromosome segment, a deletion of the
                                                                   embodiments, the ratio of DNA or RNA from the one or
second homologous chromosome segment, or an equal
                                                                   more target cells that contain the CNV of interest to the total
representation of the first and second homologous chromo-
some segments) are created (such as creation on a com- 35 DNA or RNA in the sample is at least 80, 85, 90, 95, or
puter); a model (such as a joint distribution model) for the       100%. For samples with a deletion, only one haplotype is
expected allele counts at the polymorphic loci on the chro-        present for the cells (or DNA or RNA) with the deletion.
mosome is built (such as building on a computer) for each          This first haplotype can be determined using standard meth-
hypothesis; a relative probability of each of the hypotheses       ods to determine the identity of alleles present in the region
is determined (such as determination on a computer) using 40 of the deletion. In samples that only contain cells (or DNA
the joint distribution model and the allele counts; and the        or RNA) with the deletion, there will only be signal from the
hypothesis with the greatest probability is selected. In some      first haplotype that is present in those cells. In samples that
embodiments, building a joint distribution model for allele        also contain a small amount of cells (or DNA or RNA)
counts and the step of determining the relative probability of     without the deletion (such as a small amount of noncancer-
each hypothesis are done using a method that does not 45 ous cells), the weak signal from the second haplotype in
require the use of a reference chromosome.                         these cells (or DNA or RNA) can be ignored. The second
   In one embodiment, genetic data of an individual is             haplotype that is present in other cells, DNA, or RNA from
phased using genetic data of one or more relatives of the          the individual that lack the deletion can be determined by
individual (such as one or more parents, siblings, children,       inference. For example, if the genotype of cells from the
fetuses, embryos, grandparents, uncles, aunts, or cousins). In 50 individual without the deletion is (AB,AB) and the phased
one embodiment, genetic data of an individual is phased            data for the individual indicates that the first haplotype is
using genetic data of one or more genetic offspring of the         (A,A); then, the other haplotype can be inferred to be (B,B).
individual (e.g., 1, 2, 3, or more offspring), such as embryos,       For samples in which both cells (or DNA or RNA) with
fetuses, born children, or a sample of a miscarriage. In one       a deletion and cells (or DNA or RNA) without a deletion are
embodiment, genetic data of a parent (such as a parent of a 55 present, the phase can still be determined. For example, plots
gestating fetus or embryo) is phased using phased haplotypic       can be generated similar to FIG. 18 or 29 in which the x-axis
data for the other parent along with unphased genetic data of      represents the linear position of the individual loci along the
one or more genetic offspring of the parents.                      chromosome, and the y-axis represents the number of A
   In some embodiments, a sample (e.g., a biopsy such as a         allele reads as a fraction of the total (A+B) allele reads. In
tumor biopsy, blood sample, plasma sample, serum sample, 60 some embodiments for a deletion, the pattern includes two
or another sample likely to contain mostly or only cells,          central bands that represent SNPs for which the individual is
DNA, or RNA with a CNV of interest) from the individual            heterozygous (top band represents AB from cells without the
(such as an individual suspected of having cancer, a fetus, or     deletion and A from cells with the deletion, and bottom band
an embryo) is analyzed to determine the phase for one or           represents AB from cells without the deletion and B from
more regions that are known or suspected to contain a CNV 65 cells with the deletion). In some embodiments, the separa-
of interest (such as a deletion or duplication). In some           tion of these two bands increases as the fraction of cells,
embodiments, the sample has a high tumor fraction (such as         DNA, or RNA with the deletion increases. Thus, the identity




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of the A alleles can be used to determine the first haplotype,    for another subject. In some embodiments, phased data from
and the identity of the B alleles can be used to determine the    other subjects (such as prior subjects) is used to calculate
second haplotype.                                                 priors for possible haplotypes for another subject.
    For samples with a duplication, an extra copy of the             In some embodiments, probabilistic data may be used. For
haplotype is present for the cells (or DNA or RNA) with           example, due to the probabilistic nature of the representation
duplication. This haplotype of the duplicated region can be       of DNA molecules in a sample, as well as various amplifi-
determined using standard methods to determine the identity       cation and measurement biases, the relative number of
of alleles present at an increased amount in the region of the    molecules of DNA measured from two different loci, or from
duplication, or the haplotype of the region that is not           different alleles at a given locus, is not always representative
duplicated can be determined using standard methods to 10 of the relative number of molecules in the mixture, or in the
determine the identity of alleles present at an decreased         individual. If one were trying to determine the genotype of
amount. Once one haplotype is determined, the other hap-          a normal diploid individual at a given locus on an autosomal
lotype can be determined by inference.                            chromosome by sequencing DNA from the plasma of the
    For samples in which both cells (or DNA or RNA) with          individual, one would expect to either observe only one
a duplication and cells (or DNA or RNA) without a dupli- 15 allele (homozygous) or about equal numbers of two alleles
cation are present, the phase can still be determined using a     (heterozygous). If, at that allele, ten molecules of the A allele
method similar to that described above for deletions. For         were observed, and two molecules of the B allele were
example, plots can be generated similar to FIG. 18 or 29 in       observed, it would not be clear if the individual was
which the x-axis represents the linear position of the indi-      homozygous at the locus, and the two molecules of the B
vidual loci along the chromosome, and the y-axis represents 20 allele were due to noise or contamination, or if the individual
the number of A allele reads as a fraction of the total (A+B)     was heterozygous, and the lower number of molecules of the
allele reads. In some embodiments for a deletion, the pattern     B allele were due to random, statistical variation in the
includes two central bands that represent SNPs for which the      number of molecules of DNA in the plasma, amplification
individual is heterozygous (top band represents AB from           bias, contamination or any number of other causes. In this
cells without the duplication and AAB from cells with the 25 case, a probability that the individual was homozygous, and
duplication, and bottom band represents AB from cells             a corresponding probability that the individual was het-
without the duplication and ABB from cells with the dupli-        erozygous could be calculated, and these probabilistic geno-
cation). In some embodiments, the separation of these two         types could be used in further calculations.
bands increases as the fraction of cells, DNA, or RNA with           Note that for a given allele ratio, the likelihood that the
the duplication increases. Thus, the identity of the A alleles 30 ratio closely represents the ratio of the DNA molecules in the
can be used to determine the first haplotype, and the identity    individual is greater the greater the number of molecules that
of the B alleles can be used to determine the second              are observed. For example, if one were to measure 100
haplotype. In some embodiments, the phase of one or more          molecules of A and 100 molecules of B, the likelihood that
CNV region(s) (such as the phase of at least 50, 60, 70, 80,      the actual ratio was 50% is considerably greater than if one
90, 95, or 100% of the polymorphic loci in the region that 35 were to measure 10 molecules of A and 10 molecules of B.
were measured) is determined for a sample (such as a tumor        In one embodiment, one uses Bayesian theory combined
biopsy or plasma sample) from an individual known to have         with a detailed model of the data to determine the likelihood
cancer and is used for analysis of subsequent samples from        that a particular hypothesis is correct given an observation.
the same individual to monitor the progression of the cancer      For example, if one were considering two hypotheses----one
(such as monitoring for remission or reoccurrence of the 40 that corresponds to a trisomic individual and one that
cancer). In some embodiments, a sample with a high tumor          corresponds to a disomic individual-then the probability of
fraction (such as a tumor biopsy or a plasma sample from an       the disomic hypothesis being correct would be considerably
individual with a high tumor load) is used to obtain phased       higher for the case where 100 molecules of each of the two
data that is used for analysis of subsequent samples with a       alleles were observed, as compared to the case where 10
lower tumor fraction (such as a plasma sample from an 45 molecules of each of the two alleles were observed. As the
individual undergoing treatment for cancer or in remission).      data becomes noisier due to bias, contamination or some
    In another embodiment for prenatal diagnostics, phased        other source of noise, or as the number of observations at a
parental haplotypic data is to detect the presence of more        given locus goes down, the probability of the maximum
than one homolog from the father, implying that the genetic       likelihood hypothesis being true given the observed data
material from more than one fetus is present in a maternal 50 drops. In practice, it is possible to aggregate probabilities
blood sample. By focusing on chromosomes that are                 over many loci to increase the confidence with which the
expected to be euploid in a fetus, one could rule out the         maximum likelihood hypothesis may be determined to be
possibility that the fetus was afflicted with a trisomy. Also,    the correct hypothesis. In some embodiments, the probabili-
it is possible to determine if the fetal DNA is not from the      ties are simply aggregated without regard for recombination.
current father.                                                55 In some embodiments, the calculations take into account
    In some embodiments, two or more of the methods               cross-overs.
described herein are used to phase genetic data of an                In an embodiment, probabilistically phased data is used in
individual. In some embodiments, both a bioinformatics            the determination of copy number variation. In some
method (such as using population based haplotype frequen-         embodiments, the probabilistically phased data is population
cies to infer the most likely phase) and a molecular biology 60 based haplotype block frequency data from a data source
method (such as any of the molecular phasing methods              such as the HapMap data base. In some embodiments, the
disclosed herein to obtain actual phased data rather than         probabilistically phased data is haplotypic data obtained by
bioinformatics-based inferred phased data) are used. In           a molecular method, for example phasing by dilution where
some embodiments, phased data from other subjects (such           individual segments of chromosomes are diluted to a single
as prior subjects) is used to refine the population data. For 65 molecule per reaction, but where, due to stochastic noise the
example, phased data from other subjects can be added to          identities of the haplotypes may not be absolutely known. In
population data to calculate priors for possible haplotypcs       some embodiments, the probabilistically phased data is




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haplotypic data obtained by a molecular method, where the            If one were to use a method to determine the haplotype of
identities of the haplotypes may be known with a high             the individual at that chromosome segment, and were to find
degree of certainty.                                              that the haplotype for one of the two chromosomes was
   Imagine a hypothetical case where a doctor wanted to           (A,B,A,A,B,B), this would agree with the maximum likeli-
determine whether or not an individual had some cells in          hood hypothesis, and the calculated likelihood that the
their body which had a deletion at a particular chromosomal       individual has a deletion at that segment, and therefore may
segment by measuring the plasma DNA from the individual.          have cancerous or precancerous cells, would be consider-
The doctor could make use of the knowledge that if all of the     ably increased. On the other hand, if the individual were
cells from which the plasma DNA originated were diploid,          found to have the haplotype (A,A,A,A,A,A), then the like-
                                                               10 lihood that the individual has a deletion at that chromosome
and of the same genotype, then for heterozygous loci, the
                                                                  segment would be considerably decreased, and perhaps the
relative number of molecules of DNA observed for each of
                                                                  likelihood of the no-deletion hypothesis would be higher
the two alleles would fall into one distribution that was
                                                                  (the actual likelihood values would depend on other param-
centered at 50% A allele and 50% B allele. However, if a          eters such as the measured noise in the system, among
fraction of the cells from which the plasma DNA originated 15 others).
had a deletion at a particular chromosome segment, then for          There are many ways to determine the haplotype of the
heterozygous loci, one would expect that the relative num-        individual, many of which are described elsewhere in this
ber of molecules of DNA observed for each of the two              document. A partial list is given here, and is not meant to be
alleles would fall into two distributions, one centered at        exhaustive. One method is a biological method where indi-
above 50% A allele for the loci where there was a deletion 20 vidual DNA molecules are diluted until approximately one
of the chromosome segment containing the B allele, and one        molecule from each chromosomal region is in any given
centered at below 50% for the loci where there was a              reaction volume, and then methods such as sequencing are
deletion of the chromosome segment containing the A allele.       used to measure the genotype. Another method is informati-
The greater the proportion of the cells from which the            cally based where population data on various haplotypes
plasma DNA originated contained the deletion, the further 25 coupled with their frequency can be used in a probabilistic
from 50% these two distributions would be.                        manner. Another method is to measure the diploid data of the
   In this hypothetical case, imagine a clinician who wants       individual, along with one or a plurality ofrelated individu-
to determine if an individual had a deletion of a chromo-         als who are expected to share haplotype blocks with the
somal region in a proportion of cells in the individual's         individual and to infer the haplotype blocks. Another
body. The clinician may draw blood from the individual into 30 method would be to take a sample of tissue with a high
a vacutainer or other type of blood tube, centrifuge the          concentration of the deleted or duplicated segment, and
blood, and isolate the plasma layer. The clinician may isolate    determine the haplotype based on allelic imbalance, for
the DNA from the plasma, enrich the DNA at the targeted           example, genotype measurements from a sample of tumor
loci, possibly through targeted or other amplification, locus     tissue with a deletion can be used to determine the phased
capture techniques, size enrichment, or other enrichment 35 data for that deletion region, and this data can then be used
techniques. The clinician may analyze such as by measuring        to determine if the cancer has regrown post-resection.
the number of alleles at a set of SNPs, in other words               In practice, typically more than 20 SNPs, more than 50
generating allele frequency data, the enriched and/or ampli-      SNPs, more than 100 SNPs, more than 500 SNPs, more than
fied DNA using an assay such as qPCR, sequencing, a               1,000 SNPs, or more than 5,000 SNPs are measured on a
microarray, or other techniques that measure the quantity of 40 given chromosome segment.
DNA in a sample. We will consider data analysis for the case      Exemplary Methods for Phasing, Predicting Allele Ratios,
where the clinician amplified the cell-free plasma DNA            and Reconstructing Fetal Genetic Data
using a targeted amplification technique, and then sequenced         In one aspect, the invention features methods for deter-
the amplified DNA to give the following exemplary possible        mining one or more haplotypes of a fetus. In various
data at six SNPs found on a chromosome segment that is 45 embodiments, this method allows one to determine which
indicative of cancer, where the individual was heterozygotic      polymorphic loci (such as SNPs) were inherited by the fetus
at those SNPs:                                                    and to reconstruct which homologs (including recombina-
   SNP 1: 460 reads A allele; 540 reads B allele (46% A)          tion events) are present in the fetus (and thereby interpolate
   SNP 2: 530 reads A allele; 470 reads B allele (53% A)          the sequence between the polymorphic loci). If desired,
   SNP 3: 40 reads A allele; 60 reads B allele (40% A)         50 essentially the entire genome of the fetus can be recon-
   SNP 4: 46 reads A allele; 54 reads B allele (46% A)            structed. If there is some remaining ambiguity in the genome
   SNP 5: 520 reads A allele; 480 reads B allele (52% A)          of the fetus (such as in intervals with a crossover), this
   SNP 6: 200 reads A allele; 200 reads B allele (50% A)          ambiguity can be minimized if desired by analyzing addi-
   From this set of data, it may be difficult to differentiate    tional polymorphic loci. In various embodiments, the poly-
between the case where the individual is normal, with all 55 morphic loci are chosen to cover one or more of the
cells being disomic, or where the individual may have a           chromosomes at a density to reduce any ambiguity to a
cancer, with some portion of cells whose DNA contributed          desired level. This method has important applications for the
towards the cell-free DNA found in the plasma having a            detection of polymorphisms or other mutations of interest
deletion or duplication at the chromosome. For example, the       (such as deletions or duplications) in a fetus since it enables
two hypotheses with the maximum likelihood may be that 60 their detection based on linkage (such as the presence of
the individual has a deletion at this chromosome segment,         linked polymorphic loci in the fetal genome) rather than by
with a tumor fraction of 6%, and where the deleted segment        directing detecting the polymorphism or other mutation of
of the chromosome has the genotype over the six SNPs of           interest in the fetal genome. For example, if a parent is a
(A,B,A,A,B,B) or (A,B,A,A,B,A). In this representation of         carrier for a mutation associated with cystic fibrosis (CF), a
the individual's genotype over a set of SNPs, the first letter 65 nucleic acid sample that includes maternal DNA from the
in the parentheses corresponds to the genotype of the             mother of the fetus and fetal DNA from the fetus can be
haplotypc for SNP 1, the second to SNP 2, etc.                    analyzed to determine whether the fetal DNA include the




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haplotype containing the CF mutation. In particular, poly-        13/683,604, and U.S. application Ser. No. 13/780,022,
morphic loci can be analyzed to determine whether the fetal       which are each hereby incorporated by reference in its
DNA includes the haplotype containing the CF mutation             entirety).
without having to detect the CF mutation itself in the fetal         Assume a generalized example where the possible alleles
DNA. This is useful in screening for one or more mutations, 5 at one locus are A and B; assignment of the identity A or B
such as disease-linked mutations, without having to directly      to particular alleles is arbitrary. Parental genotypes for a
detect the mutations.                                             particular SNP, termed genetic contexts, are expressed as
   In some embodiments, the method involves determining           maternal genotypelpaternal genotype. Thus, if the mother is
a parental haplotype (e.g., a haplotype of the mother or          homozygous and the father is heterozygous, this would be
                                                               10 represented as AAIAB. Similarly, if both parents are
father of the fetus), such as by using any of the methods
                                                                  homozygous for the same allele, the parental genotypes
described herein. In some embodiments, this determination
                                                                  would be represented as AAIAA. Furthermore, the fetus
is made without using data from a relative of the mother or
                                                                  would never have AB or BB states and the number of
father. In some embodiments, a parental haplotype is deter-       sequence reads with the B allele will be low, and thus can be
mined using a dilution approach followed by SNP genotyp- 15 used to determine the noise responses of the assay and
ing or sequencing as described herein. In some embodi-            genotyping platform, including effects such as low level
ments, a haplotype of the mother (or father) is determined by     DNA contamination and sequencing errors; these noise
any of the methods described herein using data from a             responses are useful for modeling expected genetic data
relative of the mother (or father). In some embodiments, a        profiles. There are only five possible maternallpaternal
haplotype is determined for both the father and the mother. 20 genetic contexts: AAIAA, AAIAB, ABIAA, ABIAB, and
   This parental haplotype data can be used to determine if       AAIBB; other contexts are equivalent by symmetry. SNPs
the fetus inherited the parental haplotype. In some embodi-       where the parents are homozygous for the same allele are
ments, a nucleic acid sample that includes maternal DNA           only informative for determining noise and contamination
from the mother of the fetus and fetal DNA from the fetus         levels. SNPs where the parents are not homozygous for the
is analyzed using a SNP array to detect at least 100; 200; 25 same allele are informative in determining fetal fraction and
500; 750; 1,000; 2,000; 5,000; 7,500; 10,000; 20,000;             copy number count.
25,000; 30,000; 40,000; 50,000; 75,000; or 100,000 different         Let NA, and NB, represent the number of reads of each
polymorphic loci. ln some embodiments, a nucleic acid             allele at SNP i, a~d let Ci represent the parental genetic
sample that includes maternal DNA from the mother of the          context at that locus. The data set for a particular chromo-
                                                               30 some is represented by NAB={NA ,, NB,} i= 1 . . . N and
fetus and fetal DNA from the fetus is analyzed by contacting
                                                                  C={ C,}, i=l ... N. For reconstructing p~rt or all of the fetal
the sample with a library of primers that simultaneously
                                                                  genome, it can optionally be determined if the fetus has an
hybridize to at least 100; 200; 500; 750; 1,000; 2,000; 5,000;
                                                                  aneuploidy (such as a missing or extra copy of a chromo-
7,500; 10,000; 20,000; 25,000; 30,000; 40,000; 50,000;
                                                                  some or chromosome segment). For each individual chro-
75,000; or 100,000 different polymorphic loci (such as 35 mosome or chromosome under study, let H represent the set
SNPs) to produce a reaction mixture. In some embodiments,         of one or more hypotheses for the total number of chromo-
the reaction mixture is subjected to primer extension reac-       somes, the parental origin of each chromosome, and the
tion conditions to produce amplified products. In some            positions on the parent chromosomes where recombination
embodiments, the amplified products are measured with a           occurred during formation of the gametes that fertilized to
high throughput sequencer to produce sequencing data.          40 create the child. The probability of a hypothesis P(H) can be
   In various embodiments, a fetal haplotype is determined        computed using the data from the HapMap database and
using data about the probability of chromosomes crossing          prior information related to each of the ploidy states.
over at different locations in a chromosome or chromosome            Furthermore, let F represent the fetal cfDNA fraction in
segment (such as by using recombination data such as may          the sample. Given a set of possible H, C, and F, one can
be found in the HapMap database to create a recombination 45 compute the probability of NAB, P(NABIH,F,C) based on
risk score for any interval) to model dependence between          modeling the noise sources of the molecular assay and the
polymorphic alleles on the chromosome or chromosome               sequencing platform. The goal is to find the hypothesis H
segment as described above. In some embodiments, the              and the fetal fraction F that maximizes P(H,FINAB). Using
method takes into account physical distance of the SNPs           standard Bayesian statistical techniques, and assuming a
(such as SNPs flanking a gene or mutation of interest) and 50 uniform probability distribution for F from Oto 1, this can
recombination data from location specific recombination           be recast in terms of maximizing the probability of P(NABI H,
likelihoods and the data observed from the genetic measure-       F,C)P(H) over H and F, all of which can now be computed.
ments of the maternal plasma to obtain the most likely            The probability of all hypotheses associated with a particular
genotype of the fetus. Then PARENTAL SUPPORTfM may                copy number and fetal fraction, e.g., trisomy and F=10%,
be performed on the targeted sequencing or SPN array data 55 but covering all possible parental chromosome origins and
obtained from these SNPs to determine which homologs              crossover locations, are summed. The copy number hypoth-
were inherited by the fetus from both parents (see, e.g., U.S.    esis with the highest probability is selected as the test result,
application Ser. No. 11/603,406 (US Publication No.               the fetal fraction associated with that hypothesis reveals the
20070184467), U.S. application Ser. No. 12/076,348 (US            fetal fraction, and the probability associated with that
Publication No. 20080243398), U.S. application Ser. No. 60 hypothesis is the calculated accuracy of the result.
13/110,685 (U.S. Publication No. 2011/0288780), PCT                  In some embodiments, the algorithm uses in silica simu-
Application PCT/US09/52730 (PCT Publication No.                   lations to generate a very large number of hypothetical
WO/2010/017214), and PCT Application No. PCT/USl0/                sequencing data sets that could result from the possible fetal
050824 (PCT Publication No. WO/2011/041485), U.S.                 genetic inheritance patterns, sample parameters, and ampli-
application Ser. No. 13/300,235 (U.S. Publication No. 2012/ 65 fication and measurement artifacts of the method. More
0270212), U.S. application Ser. No. 13/335,043 (U.S. Pub-         specifically, the algorithm first utilizes parental genotypes at
lication No. 2012/0122701), U.S. application Ser. No.             a large number of SNPs and crossover frequency data from




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the HapMap database to predict possible fetal genotypes. It        ratios are calculated both using maternal phased data (the
then predicts expected data profiles for the sequencing data       knowledge that one haplotype is (A, A) and one is (B, B))
that would be measured from mixed samples originating              and without using the maternal phased data. Table 1 includes
from a mother carrying a fetus with each of the possible fetal     different hypotheses for the number of copies of the chro-
genotypes and taking into account a variety of parameters          mosome segment in the fetus from each parent.
including fetal fraction, expected read depth profile, fetal
genome equivalents present in the sample, expected ampli-                                         TABLE 1
fication bias at each of the SNPs, and a number of noise
parameters. A data model describes how the sequencing or                    Expected Genetic Data for Mixed Sample of Maternal and
SNP array data is expected to appear for each of these 10                                     Fetal Nucleic Acids
hypotheses given the particular parameter set. The hypoth-                                   Expected allele       Expected allele
esis with the best data fit between this modeled data and the      Copy Number               ratios when using     ratios when not using
measured data is selected.                                         Hypotbesis                maternal phased data maternal phased data
   If desired, expected allele ratios can be calculated for        Monosomy                  (0.444; 0.444)        (0.444; 0.444)
DNA or RNA from the fetus using the results of what 15 (maternal copy missing) (0.444; 0.555)                      (0.444; 0.555)
haplotypes were inherited by the fetus. The expected allele                                  (0.555; 0.444)        (0.555; 0.444)
ratios can also be calculated for a mixed sample containing                                  (0.555; 0.555)        (0.555; 0.555)
                                                                   Monosomy                  (0.444; 0.444)        (0.444; 0.444)
nucleic acids from both the mother and the fetus (these allele     (paternal copy missing)   (0.555; 0.555)        (0.444; 0.555)
ratios indicate what is expected for measurement of the total                                                      (0.555; 0.444)
amount of each allele, including the amount of the allele 20                                                       (0.555; 0.555)
from both maternal nucleic acids and fetal nucleic acids in        Disomy                    (0.40; 0.40)          (0.40; 0.40)
                                                                                             (0.40; 0.50)          (0.40; 0.50)
the sample). The expected allele ratios can be calculated for                                (0.50; 0.40)          (0.40; 0.60)
different hypotheses specifying the degree of overrepresen-                                  (0.50; 0.50)          (0.50; 0.40)
tation of the first homologous chromosome segment.                                           (0.50; 0.60)          (0.50; 0.50)
   In some embodiments, the method involves determining 25                                   (0.60; 0.50)          (0.50; 0.60)
                                                                                             (0.60; 0.60)          (0.60; 0.40)
whether the fetus has one or more of the following condi-                                                          (0.60; 0.50)
tions: cystic fibrosis, Huntington's disease, Fragile X, thal-                                                     (0.60; 0.60)
assemia, muscular dystrophy (such as Duchenne's muscular           Trisomy                   (0.36; 0.36)          (0.36; 0.36)
dystrophy), Alzheimer, Fanconi Anemia, Gaucher Disease,            (extra matching           (0.36; 0.45)          (0.36; 0.45)
Mucolipidosis IV, Niemann-Pick Disease, Tay-Sachs dis- 30 maternal copy)                     (0.45; 0.36)
                                                                                             (0.45; 0.45)
                                                                                                                   (0.36; 0.54)
                                                                                                                   (0.36; 0.63)
ease, Sickle cell anemia, Parkinson disease, Torsion Dysto-                                  (0.54; 0.54)          (0.45; 0.36)
nia, and cancer. In some embodiments, a fetal haplotype is                                   (0.54; 0.63)          (0.45; 0.45)
determined for one or more chromosomes taken from the                                        (0.63; 0.54)          (0.45; 0.54)
                                                                                             (0.63; 0.63)          (0.45; 0.63)
group consisting of chromosomes 13, 18, 21, X, and Y. In                                                           (0.54; 0.36)
some embodiments, a fetal haplotype is determined for all of 35                                                    (0.54; 0.45)
the fetal chromosomes. In various embodiments, the method                                                          (0.54; 0.54)
determines essentially the entire genome of the fetus. In                                                          (0.54; 0.63)
                                                                                                                   (0.63; 0.36)
some embodiments, the haplotype is determined for at least                                                         (0.63; 0.45)
30, 40, 50, 60, 70, 80, 90, or 95% of the genome of the fetus.                                                     (0.63; 0.54)
In some embodiments, the haplotype determination of the 40                                                         (0.63; 0.63)
fetus includes information about which allele is present for       Trisomy                   (0.45, 0.45)          (0.36; 0.36)
                                                                   (extra unmatching         (0.45; 0.54)          (0.36; 0.45)
at least 100; 200; 500; 750; 1,000; 2,000; 5,000; 7,500;           maternal copy)            (0.54; 0.45)          (0.36; 0.54)
10,000; 20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or                                   (0.54; 0.54)          (0.36; 0.63)
100,000 different polymorphic loci. In some embodiments,                                                           (0.45; 0.36)
this method is used to determine a haplotype or allele ratios 45                                                   (0.45; 0.45)
                                                                                                                   (0.45; 0.54)
for an embryo.                                                                                                     (0.45; 0.63)
Exemplary Methods for Predicting Allele Ratios                                                                     (0.54; 0.36)
   Exemplary methods are described below for calculating                                                           (0.54; 0.45)
expected allele ratios for a sample. Table 1 shows expected                                                        (0.54; 0.54)
                                                                                                                   (0.54; 0.63)
allele ratios for a mixed sample (such as a maternal blood 50                                                      (0.63; 0.36)
sample) containing nucleic acids from both the mother and                                                          (0.63; 0.45)
the fetus. These expected allele ratios indicate what is                                                           (0.63; 0.54)
expected for measurement of the total amount of each allele,                                                       (0.63; 0.63)
                                                                   Trisomy                   (0.36; 0.36)          (0.36; 0.36)
including the amount of the allele from both maternal              (extra matching           (0.36; 0.54)          (0.36; 0.45)
nucleic acids and fetal nucleic acids in the mixed sample. In 55 paternal copy)              (0.54; 0.36)          (0.36; 0.54)
an example, the mother is heterozygous at two neighboring                                    (0.54; 0.54)          (0.36; 0.63)
loci that are expected to co segregate (e.g., two loci for which                             (0.45; 0.45)          (0.45; 0.36)
                                                                                             (0.45; 0.63)          (0.45; 0.45)
no chromosome crossovers are expected between the loci).                                     (0.63; 0.45)          (0.45; 0.54)
Thus, the mother is (AB, AB). Now imagine that the phased                                    (0.63; 0.63)          (0.45; 0.63)
data for the mother indicates that for one haplotype she is (A, 60                                                 (0.54; 0.36)
A); thus, for the other haplotype one can infer that she is (B,                                                    (0.54; 0.45)
B). Table 1 gives the expected allele ratios for different                                                         (0.54; 0.54)
                                                                                                                   (0.54; 0.63)
hypotheses where the fetal fraction is 20%. For this
                                                                                                                   (0.63; 0.36)
example, no knowledge of the paternal data is assumed, and                                                         (0.63; 0.45)
the heterozygosity rate is assumed to be 50%. The expected 65                                                      (0.63; 0.54)
allele ratios are given in terms of (expected proportion of A                                                      (0.63; 0.63)
reads/total number of reads) for each of the two SNPs. These




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                      TABLE I-continued                                    Exemplary Mutations
                                                                              Exemplary mutations associated with a disease or disor-
         Expected Genetic Data for Mixed Sample of Maternal and            der such as cancer or an increased risk (such as an above
                             Fetal Nucleic Acids                           normal level of risk) for a disease or disorder such as cancer
                            Expected allele        Expected allele
                                                                           include single nucleotide variants (SNVs), multiple nucleo-
Copy Number                 ratios when using     ratios when not using    tide mutations, deletions (such as deletion of a 2 to 30
Hypotbesis                  maternal phased data maternal phased data      million base pair region), duplications, or tandem repeats. In
                                                                           some embodiments, the mutation is in DNA, such as
Trisomy (extra              (0.36; 0.36)           (0.36; 0.36)
                                                                           dDNA, cell-free mitochondrial DNA (cfmDNA), cell-free
unmatching                  (0.36; 0.45)           (0.36; 0.45)
paternal copy)              (0.36; 0.54)           (0.36; 0.54)
                                                                           DNA that originated from nuclear DNA (cf nDNA), cellular
                                                                        10
                            (0.36; 0.63)           (0.36; 0.63)            DNA, or mitochondrial DNA. In some embodiments, the
                            (0.45; 0.36)           (0.45; 0.36)            mutation is in RNA, such as cfRNA, cellular RNA, cyto-
                            (0.45; 0.45)           (0.45; 0.45)            plasmic RNA, coding cytoplasmic RNA, non-coding cyto-
                            (0.45; 0.54)           (0.45; 0.54)            plasmic RNA, mRNA, miRNA, mitochondrial RNA, rRNA,
                            (0.45; 0.63)           (0.45; 0.63)
                            (0.54; 0.36)           (0.54; 0.36)
                                                                           or tRNA. In some embodiments, the mutation is present at
                                                                        15 a higher frequency in subjects with a disease or disorder
                            (0.54; 0.45)           (0.54; 0.45)
                            (0.54; 0.54)           (0.54; 0.54)            (such as cancer) than subjects without the disease or disorder
                            (0.54; 0.63)           (0.54; 0.63)            (such as cancer). In some embodiments, the mutation is
                            (0.63; 0.36)           (0.63; 0.36)            indicative of cancer, such as a causative mutation. In some
                            (0.63; 0.45)           (0.63; 0.45)
                                                                           embodiments, the mutation is a driver mutation that has a
                            (0.63; 0.54)           (0.63; 0.54)
                            (0.63; 0.63)           (0.63; 0.63)         20 causative role in the disease or disorder. In some embodi-
                                                                           ments, the mutation is not a causative mutation. For
                                                                           example, in some cancers, multiple mutations accumulate
   In addition to the fact that using phased data reduces the              but some of them are not causative mutations. Mutations
number of possible expected allele ratios, it also changes the             (such as those that are present at a higher frequency in
prior likelihood of each of the expected allele ratios, such 25 subjects with a disease or disorder than subjects without the
that the maximum likelihood result is more likely to be                    disease or disorder) that are not causative can still be useful
correct. Eliminating expected allele ratios or hypotheses that             for diagnosing the disease or disorder. In some embodi-
are not possible increases the likelihood that the correct                 ments, the mutation is loss-of-heterozygosity (LOH) at one
hypothesis will be chosen. As an example, suppose the                      or more microsatellites.
measured allele ratios are (0.41, 0.59). Without using phased 30              In some embodiments, a subject is screened for one of
data, one might assume that the hypothesis with maximum                    more polymorphisms or mutations that the subject is known
likelihood is a disomy hypothesis (given the similarity of the             to have (e.g., to test for their presence, a change in the
measured allele ratios to expected allele ratios of (0.40, 0.60)           amount of cells, DNA, or RNA with these polymorphisms or
for disomy). However, using phased data, one can exclude                   mutations, or cancer remission or re-occurrence). In some
(0.40, 0.60) as expected allele ratios for the disomy hypoth- 35 embodiments, a subject is screened for one of more poly-
esis, and one can select a trisomy hypothesis as more likely.              morphisms or mutations that the subject is known to be at
                                                                           risk for (such as a subject who has a relative with the
   Assume the measured allele ratios are (0.4, 0.4). Without
                                                                           polymorphism or mutation). In some embodiments, a sub-
any haplotype information, the probability of a maternal
                                                                           ject is screened for a panel of polymorphisms or mutations
deletion at each SNP would be the 0.5xP(A deleted)+0.5x
                                                                        40 associated with a disease or disorder such as cancer (e.g., at
P(B deleted). Therefore, although it looks like A is deleted               least 5, 10, 50,100,200, 300, 500, 750, 1,000, 1,500, 2,000,
(missing in the fetus), the likelihood of deletion would be the            or 5,000 polymorphisms or mutations).
average of the two. For high enough fetal fraction, one can                   Many coding variants associated with cancer are
still determine the most likely hypothesis. For low enough                 described inAbaan et al., "The Exomes of the NCI-60 Panel:
fetal fraction, averaging may work in disfavor of the deletion 45 A Genomic Resource for Cancer Biology and Systems
hypothesis. However, with haplotype information, the prob-                 Pharmacology", Cancer Research, Jul. 15, 2013, and world
ability of homo log 1 being deleted, P (A deleted), is greater             wide      web     at    dtp.nci.nih.gov/branches/btb/characte-
and will fit the measured data better. lf desired, crossover               rizationNCI60.html, which are each hereby incorporated by
probabilities between the two loci can also be considered.                 reference in its entirety). The NCI-60 human cancer cell line
   In a further illustrative example of combining likelihoods 50 panel consists of 60 different cell lines representing cancers
using phased data, consider two consecutive SNPs s 1 and s2,               of the lung, colon, brain, ovary, breast, prostate, and kidney,
and Dl and D2 denote the allele data in these SNPs. Here we                as well as leukemia and melanoma. The genetic variations
provide an example on how to combine the likelihoods for                   that were identified in these cell lines consisted of two types:
these two SNPs. Let c denote the probability that two                      type I variants that are found in the normal population, and
consecutive heterozygous SNPs have the same allele in the 55 type II variants that are cancer-specific.
same homolog (i.e., both SNPs are AB or both SNPs are                         Exemplary polymorphisms or mutations (such as dele-
BA). Hence 1-c is the probability that one SNP is AB and the               tions or duplications) are in one or more of the following
other one is BA. For example, consider the hypothesis Hl0                  genes: TP53, PTEN, PIK3CA, APC, EGFR, NRAS, NF2,
and allelic imbalance value f. First, assume that all likeli-              FBXW7, ERBBs, ATAD5, KRAS, BRAF, VEGF, EGFR,
hoods are computed assuming that all SNPs are either AB or 60 HER2, ALK, p53, BRCA, BRCAl, BRCA2, SETD2,
BA. Then, we can combine the likelihoods in two consecu-                   LRPlB, PBRM, SPTAl, DNMT3A, ARIDlA, GRIN2A,
tive SNPs as follows:                                                      TRRAP, STAG2, EPHA3/5/7, POLE, SYNEl, C20orf80,
                                                                           CSMDl, CTNNBl, ERBB2. FBXW7, KIT, MUC4, ATM,
       Lik(D 1,D2 IH10J)~Lik(D 1 IH10J)xcxLik(D2 IH10J)+ Lik               CDHl, DDXll, DDX12, DSPP, EPPKl, FAM186A,
            (D 1 IH10J)x(l-c)xLik(D2 1H01 j).
                                                                        65 GNAS, HRNR, KRTAP4-11, MAP2K4, MLL3, NRAS,
   We can do this recursively to determine the joint likeli-               RBI, SMAD4, TTN, ABCC9, ACVRlB, ADAM29,
hood Lik(Di, ... , DNIH 10 , f) for all SNPs.                              ADAMTS19, AGAPl0, AKTl, AMBN, AMPD2,




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ANKRD30A, ANKRD40, APOBR, AR, BIRC6, BMP2,                     ciated with breast cancer. In some embodiments, one or
BRATl, BTNL8, C12orf4, C1QTNF7, C20orf186, CAP-                more polymorphisms or mutations are in BRAF, such as the
RIN2, CBWDl, CCDC30, CCDC93, CD5L, CDC27,                      V600E mutation. In some embodiments, one or more poly-
CDC42BPA, CDH9, CDKN2A, CHD8, CHEK2, CHRNA9,                   morphisms or mutations are in K-ras. In some embodiments,
CIZl, CLSPN, CNTN6, COL14Al, CREBBP, CROCC, 5 there is a combination of one or more polymorphisms or
CTSF, CYP1A2, DCLKl, DHDDS, DHX32, DKK2,                       mutations in K-ras andAPC. In some embodiments, there is
DLECl, DNAH14, DNAH5, DNAH9, DNASE1L3,                         a combination of one or more polymorphisms or mutations
DUSP16, DYNC2Hl, ECT2, EFHB, RRN3P2, TRIM49B,                  in K-ras and p53. In some embodiments, there is a combi-
TUBB8P5, EPHA7, ERBB3, ERCC6, FAM21A, FAM21C,                  nation of one or more polymorphisms or mutations in APC
FCGBP, FGFR2, FLG2, FLTl, FOLR2, FRYL, FSCB, 10 and p53. In some embodiments, there is a combination of
GABI, GABRA4, GABRP, GH2, GOLGA6Ll, GPHB5,                     one or more polymorphisms or mutations in K-ras, APC, and
GPR32, GPX5, GTF3C3, HECWl, HIST1H3B, HLA-A,                   p53. In some embodiments, there is a combination of one or
HRAS, HS3ST1, HS6ST1, HSPDl, IDHl, JAK2, KDM5B,                more polymorphisms or mutations in K-ras and EGFR.
KIAA0528, KRT15, KRT38, KRTAP21-1, KRTAP4-5,                   Exemplary polymorphisms or mutations are in one or more
KRTAP4-7, KRTAP5-4, KRTAP5-5, LAMA4, LATSl, 15 of the following microRNAs: miR-15a, miR-16-1, miR-23a,
LMFl, LPAR4, LPPR4, LRRFIPl, LUM, LYST, MAP2Kl,                miR-23b, miR-24-1, miR-24-2, miR-27a, miR-27b, miR-
MARCHI, MARCO, MB21D2, MEGFl0, MMP16,                          29b-2, miR-29c, miR-146, miR-155, miR-221, miR-222,
MORCl, MREllA, MTMR3, MUC12, MUC17, MUC2,                      and miR-223 (Calin et al. "A microRNA signature associ-
MUC20, NBPFl0, NBPF20, NEKl, NFE2L2, NLRP4,                    ated with prognosis and progression in chronic lymphocytic
NOTCH2, NRK, NUP93, OBSCN, ORllHl, OR2Bll, 20 leukemia." N Engl J Med 353:1793-801, 2005, which is
OR2M4, OR4Q3, OR5D13, OR812, OXSM, PIK3Rl,                     hereby incorporated by reference in its entirety).
PPP2R5C, PRAME, PRFl, PRG4, PRPF19, PTH2, PTPRC,                  In some embodiments, the deletion is a deletion of at least
PTPRJ, RACl, RAD50, RBM12, RGPD3, RGS22, RORI,                 0.01 kb, 0.1 kb, 1 kb, 10 kb, 100 kb, 1 mb, 2 mb, 3 mb, 5
RP11-671M22.1, RP13-996F3.4, RPlLl, RSBNlL, RYR3,              mb, 10 mb, 15 mb, 20 mb, 30 mb, or 40 mb. In some
SAMD3, SCN3A, SEC31A, SFl, SF3Bl, SLC25A2, 25 embodiments, the deletion is a deletion of between 1 kb to
SLC44Al, SLC4All, SMAD2, SPTAl, ST6GAL2, STKll,                40 mb, such as between 1 kb to 100 kb, 100 kb to 1 mb, 1
SZT2, TAFlL, TAXlBPl, TBP, TGFBI, TIFl, TMEM14B,               to 5 mb, 5 to 10 mb, 10 to 15 mb, 15 to 20 mb, 20 to 25 mb,
TMEM74, TPTE, TRAPPC8, TRPSl, TXNDC6, USP32,                   25 to 30 mb, or 30 to 40 mb, inclusive.
UTP20, VASN, VPS72, WASH3P, WWTRl, XPOl,                          In some embodiments, the duplication is a duplication of
ZFHX4, ZMIZl, ZNF167, ZNF436, ZNF492, ZNF598, 30 at least 0.01 kb, 0.1 kb, 1 kb, 10 kb, 100 kb, 1 mb, 2 mb, 3
ZRSR2, ABLl, AKT2, AKT3, ARAF, ARFRPl, ARID2,                  mb, 5 mb, 10 mb, 15 mb, 20 mb, 30 mb, or 40 mb. In some
ASXLl, ATR, ATRX, AURKA, AURKB, AXL, BAPl,                     embodiments, the duplication is a duplication of between 1
BARDl, BCL2, BCL2L2, BCL6, BCOR, BCORLl, BLM,                  kb to 40 mb, such as between 1 kb to 100 kb, 100 kb to 1
BRIPl, BTK, CARDll, CBFB, CBL, CCNDl, CCND2,                   mb, 1 to 5 mb, 5 to 10 mb, 10 to 15 mb, 15 to 20 mb, 20 to
CCND3, CCNEl, CD79A, CD79B, CDC73, CDK12, 35 25 mb, 25 to 30 mb, or 30 to 40 mb, inclusive.
CDK4, CDK6, CDK8, CDKNlB, CDKN2B, CDKN2C,                         In some embodiments, the tandem repeat is a repeat of
CEBPA, CHEKl, CIC, CRKL, CRLF2, CSFlR, CTCF,                   between 2 and 60 nucleotides, such as 2 to 6, 7 to 10, 10 to
CTNNAl, DAXX, DDR2, DOTlL, EMSY (Cllorf30),                    20, 20 to 30, 30 to 40, 40 to 50, or 50 to 60 nucleotides,
EP300, EPHA3, EPHA5, EPHBl, ERBB4, ERG, ESRl,                  inclusive. In some embodiments, the tandem repeat is a
EZH2, FAM123B (WTX), FAM46C, FANCA, FANCC, 40 repeat of 2 nucleotides (dinucleotide repeat). In some
FANCD2, FANCE, FANCF, FANCG, FANCL, FGFl0,                     embodiments, the tandem repeat is a repeat of 3 nucleotides
FGF14, FGF19, FGF23, FGF3, FGF4, FGF6, FGFRl,                  (trinucleotide repeat).
FGFR2, FGFR3, FGFR4, FLT3, FLT4, FOXL2, GATAl,                    In some embodiments, the polymorphism or mutation is
GATA2, GATA3, GID4 (C17orf39), GNAll, GNA13,                   prognostic. Exemplary prognostic mutations include K-ras
GNAQ, GNAS, GPR124, GSK3B, HGF, IDHl, IDH2, 45 mutations, such as K-ras mutations that are indicators of
IGFlR, IKBKE, IKZFl, IL7R, INHBA, IRF4, IRS2, JAKl,            post-operative disease recurrence in colorectal cancer (Ryan
JAK3, JUN, KAT6A (MYST3), KDM5A, KDM5C,                        et al." A prospective study of circulating mutant KRAS2 in
KDM6A, KDR, KEAPl, KLHL6, MAP2K2, MAP2K4,                      the serum of patients with colorectal neoplasia: strong
MAP3Kl, MCLI, MDM2, MDM4, MED12, MEF2B,                        prognostic indicator in postoperative follow up," Gut
MENl, MET, MITF, MLHl, MLL, MLL2, MPL, MSH2, 50 52:101-108, 2003; and Lecomte T et al. Detection of free-
MSH6, MTOR, MUTYH, MYC, MYCLl, MYCN,                           circulating tumor-associated DNA in plasma of colorectal
MYD88, NFl, NFKBIA, NKX2-1, NOTCHl, NPMl,                      cancer patients and its association with prognosis," Int J
NRAS, NTRKl, NTRK2, NTRK3, PAK3, PALB2, PAX5,                  Cancer 100:542-548, 2002, which are each hereby incorpo-
PBRMl, PDGFRA, PDGFRB, PDKl, PIK3CG, PIK3R2,                   rated by reference in its entirety).
PPP2R1A, PRDMl, PRKARlA, PRKDC, PTCHl, 55                         In some embodiments, the polymorphism or mutation is
PTPNll, RAD51, RAFI, RARA, RET, RICTOR, RNF43,                 associated with altered response to a particular treatment
RPTOR, RUNXl, SMARCA4, SMARCBl, SMO, SOCSl,                    (such as increased or decreased efficacy or side-effects).
SOXl0, SOX2, SPEN, SPOP, SRC, STAT4, SUFU, TET2,               Examples include K-ras mutations are associated with
TGFBR2, TNFAIP3, TNFRSF14, TOPI, TP53, TSCl,                   decreased response to EGFR-based treatments in non-small
TSC2, TSHR, VHL, WISP3, WTl, ZNF217, ZNF703, and 60 cell lung cancer (Wang et al. "Potential clinical significance
combinations thereof (Su et al., J Mo! Diagn 2011, 13:74-84;   of a plasma-based KRAS mutation analysis in patients with
DOI:10.1016/j.jmoldx.2010.11.010; and Abaan et al., "The       advanced non-small cell lung cancer," Clin Cane Res16:
Exomes of the NCI-60 Panel: A Genomic Resource for             1324-1330, 2010, which is hereby incorporated by reference
Cancer Biology and Systems Pharmacology", Cancer               in its entirety).
Research, Jul. 15, 2013, which are each hereby incorporated 65    K-ras is an oncogene that is activated in many cancers.
by reference in its entirety). In some embodiments, the        Exemplary K-ras mutations are mutations in codons 12, 13,
duplication is a chromosome 1p ("Chrl p") duplication asso-    and 61. K-ras cfDNA mutations have been identified in




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pancreatic, lung, colorectal, bladder, and gastric cancers          Increased cfDNA levels and LOH are associated with
(Fleischhacker & Sclnnidt "Circulating nucleic acids             decreased overall and disease-free survival. p53 mutations
(CNAs) and caner-a survey," Biochim Biophys Acta 1775:           (exons 5-8) are associated with decreased overall survival.
181-232, 2007, which is hereby incorporated by reference in      Decreased circulating HER2 cfDNA levels are associated
its entirety).                                                   with a better response to HER2-targeted treatment in HER2-
   p53 is a tumor suppressor that is mutated in many cancers     positive breast tumor subjects. An activating mutation in
and contributes to tumor progression (Levine & Oren "The         PIK3CA, a truncation ofMEDl, and a splicing mutation in
first 30 years of p53: growing ever more complex. Nature         GAS6 result in resistance to treatment.
Rev Cancer," 9:749-758, 2009, which is hereby incorporated          Exemplary polymorphisms or mutations associated with
by reference in its entirety). Many different codons can be 10 colorectal cancer include p53, APC, K-ras, and thymidylate
mutated, such as Ser249. p53 cfDNA mutations have been           synthase mutations and p16 gene methylation (Wang et al.
identified in breast, lung, ovarian, bladder, gastric, pancre-   "Molecular detection of APC, K-ras, and p53 mutations in
atic, colorectal, bowel, and hepatocellular cancers (Fleis-      the serum of colorectal cancer patients as circulating bio-
chhacker & Sclnnidt "Circulating nucleic acids (CNAs) and        markers," World J Surg 28:721-726, 2004; Ryan et al. "A
caner-a survey," Biochim Biophys Acta 1775:181-232, 15 prospective study of circulating mutant KRAS2 in the serum
2007, which is hereby incorporated by reference in its           of patients with colorectal neoplasia: strong prognostic
entirety).                                                       indicator in postoperative follow up," Gut 52:101-108,
   BRAF is an oncogene downstream of Ras. BRAF muta-             2003; Lecomte et al. "Detection of free-circulating tumor-
tions have been identified in glial neoplasm, melanoma,          associated DNA in plasma of colorectal cancer patients and
thyroid, and lung cancers (Dias-Santagata et al. BRAF 20 its association with prognosis," Int J Cancer 100:542-548,
V600E mutations are common in pleomorphic xanthoastro-           2002; Schwarzenbach et al. "Molecular analysis of the
cytoma: diagnostic and therapeutic implications. PLOS            polymorphisms of thymidylate synthase on cell-free circu-
ONE 2011; 6:el 7948, 2011; Shinozaki et al. Utility of           lating DNA in blood of patients with advanced colorectal
circulating B-RAF DNA mutation in serum for monitoring           carcinoma," Int J Cancer 127:881-888, 2009, which are each
melanoma patients receiving biochemotherapy. Clin Cane 25 hereby incorporated by reference in its entirety). Post-
Res 13:2068-2074, 2007; and Board et al. Detection of            operative detection of K-ras mutations in serum is a strong
BRAF mutations in the tumor and serum of patients enrolled       predictor of disease recurrence. Detection of K-ras muta-
in the AZD6244 (ARRY-142886) advanced melanoma                   tions and p16 gene methylation are associated with
phase II study. Brit J Cane 2009; I 01: 1724-1730, which are     decreased survival and increased disease recurrence. Detec-
each hereby incorporated by reference in its entirety). The 30 tion of K-ras, APC, and/or p53 mutations is associated with
BRAF V600E mutation occurs, e.g., in melanoma tumors,            recurrence and/or metastases. Polymorphisms (including
and is more common in advanced stages. The V600E                 LOH, SNPs, variable number tandem repeats, and deletion)
mutation has been detected in cfDNA.                             in the thymidylate synthase (the target of fluoropyrimidine-
   EGFR contributes to cell proliferation and is misregulated    based chemotherapies) gene using cfDNA may be associated
in many cancers (Downward J. Targeting RAS signaling 35 with treatment response.
pathways in cancer therapy. Nature Rev Cancer 3:11-22,              Exemplary polymorphisms or mutations associated with
2003; and Levine & Oren "The first 30 years of p53:              lung cancer (such as non-small cell lung cancer) include
growing ever more complex. Nature Rev Cancer," 9:749-            K-ras (such as mutations in codon 12) and EGFR mutations.
758, 2009, which is hereby incorporated by reference in its      Exemplary prognostic mutations include EGFR mutations
entirety). Exemplary EGFR mutations include those in 40 (exon 19 deletion or exon 21 mutation) associated with
exons 18-21, which have been identified in lung cancer           increased overall and progression-free survival and K-ras
patients. EGFR cfDNA mutations have been identified in           mutations (in codons 12 and 13) are associated with
lung cancer patients (Jia et al. "Prediction of epidermal        decreased progression-free survival (Jian et al. "Prediction
growth factor receptor mutations in the plasma/pleural effu-     of epidermal growth factor receptor mutations in the plasma/
sion to efficacy of gefitinib treatment in advanced non-small 45 pleural effusion to efficacy of gefitinib treatment in advanced
cell lung cancer," J Cane Res Clin Oneal 2010; 136:1341-         non-small cell lung cancer," J Cane Res Clin Oneal 136:
1347, 2010, which is hereby incorporated by reference in its     1341-1347, 2010; Wang et al. "Potential clinical significance
entirety).                                                       of a plasma-based KRAS mutation analysis in patients with
   Exemplary polymorphisms or mutations associated with          advanced non-small cell lung cancer," Clin Cane Res
breast cancer include LOH at microsatellites (Kohler et al. 50 16: 1324-1330, 2010, which are each hereby incorporated by
"Levels of plasma circulating cell free nuclear and mito-        reference in its entirety). Exemplary polymorphisms or
chondrial DNA as potential biomarkers for breast tumors,"        mutations indicative of response to treatment include EGFR
Mo! Cancer 8:doi: 10.1186/1476-4598-8-105, 2009, which is        mutations (exon 19 deletion or exon 21 mutation) that
hereby incorporated by reference in its entirety), p53 muta-     improve response to treatment and K-ras mutations (codons
tions (such as mutations in exons 5-8)(Garcia et al." Extra- 55 12 and 13) that decrease the response to treatment. A
cellular tumor DNA in plasma and overall survival in breast      resistance-conferring mutation in EFGR has been identified
cancer patients," Genes, Chromosomes & Cancer 45:692-            (Murtaza et al. "Non-invasive analysis of acquired resis-
701, 2006, which is hereby incorporated by reference in its      tance to cancer therapy by sequencing of plasma DNA,"
entirety), HER2 (Sorensen et al. "Circulating HER2 DNA           Nature doi:10.1038/nature12065, 2013, which is hereby
after trastuzumab treatment predicts survival and response in 60 incorporated by reference in its entirety).
breast cancer," Anticancer Res30:2463-2468, 2010, which is          Exemplary polymorphisms or mutations associated with
hereby incorporated by reference in its entirety), PIK3CA,       melanoma (such as uveal melanoma) include those in
MED 1, and GAS6 polymorphisms or mutations (Murtaza et           GNAQ, GNAll, BRAF, and p53. Exemplary GNAQ and
al. "Non-invasive analysis of acquired resistance to cancer      GNAll mutations include R183 and Q209 mutations. Q209
therapy by sequencing of plasma DNA," Nature 2013;doi: 65 mutations in GNAQ or GNAl 1 are associated with metas-
10.1038/nature12065, 2013, which is hereby incorporated          tases to bone. BRAF V600E mutations can be detected in
by reference in its entirety).                                   patients with metastatic/advanced stage melanoma. BRAF




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V600E is an indicator of invasive melanoma. The presence          that is associated with a disease or disorder such as cancer,
of the BRAF V600E mutation after chemotherapy is asso-            or an increased risk for a disease or disorder such as cancer.
ciated with a non-response to the treatment                       In some embodiments, there is a change in the methylation
   Exemplary polymorphisms or mutations associated with           pattern RNA or DNA that is associated with a disease or
pancreatic carcinomas include those in K-ras and p53 (such        disorder such as cancer, or an increased risk for with a
as p53 Ser249). p53 Ser249 is also associated with hepatitis      disease or disorder such as cancer (e.g., hypermethylation of
B infection and hepatocellular carcinoma, as well as ovarian      tumor suppressor genes). For example, methylation of the
cancer, and non-Hodgkin's lymphoma.                               CpG islands in the promoter region of tumor-suppressor
   Even polymorphisms or mutations that are present in low        genes has been suggested to trigger local gene silencing.
frequency in a sample can be detected with the methods of 10 Aberrant methylation of the p16 tumor suppressor gene
the invention. For example, a polymorphism or mutation            occurs in subjects with liver, lung, and breast cancer. Other
that is present at a frequency of 1 in a million can be           frequently methylated tumor suppressor genes, including
observed 10 times by performing 10 million sequencing             APC, Ras assocrnt10n domain family protein IA
reads. If desired, the number of sequencing reads can be          (RASSFlA), glutathione S-transferase Pl (GSTPl), and
altered depending of the level of sensitivity desired. In some 15 DAPK, have been detected in various type of cancers, for
embodiments, a sample is re-analyzed or another sample            example nasopharyngeal carcinoma, colorectal cancer, lung
from a subject is analyzed using a greater number of              cancer, esophageal cancer, prostate cancer, bladder cancer,
sequencing reads to improve the sensitivity. For example, if      melanoma, and acute leukemia. Methylation of certain
no or only a small number (such as 1, 2, 3, 4, or 5)              tumor-suppressor genes, such as pl 6, has been described as
polymorphisms or mutations that are associated with cancer 20 an early event in cancer formation, and thus is useful for
or an increased risk for cancer are detected, the sample is       early cancer screening.
re-analyzed or another sample is tested.                             In some embodiments, bisulphite conversion or a non-
   In some embodiments, multiple polymorphisms or muta-           bisulphite based strategy using methylation sensitive restric-
tions are required for cancer or for metastatic cancer. In such   tion enzyme digestion is used to determine the methylation
cases, screening for multiple polymorphisms or mutations 25 pattern (Hung et al., J Clin Pathol 62:308-313, 2009, which
improves the ability to accurately diagnose cancer or meta-       is hereby incorporated by reference in its entirety). On
static cancer. In some embodiments when a subject has a           bisulphite conversion, methylated cytosines remain as cyto-
subset of multiple polymorphisms or mutations that are            sines while unmethylated cytosines are converted to uracils.
required for cancer or for metastatic cancer, the subject can     Methylation-sensitive restriction enzymes (e.g., BstUI)
be re-screened later to see if the subject acquires additional 30 cleaves unmethylated DNA sequences at specific recogni-
mutations.                                                        tion sites (e.g., 5'-CG V CG-3' for BstUI), while methylated
   In some embodiments in which multiple polymorphisms            sequences remain intact. In some embodiments, the intact
or mutations are required for cancer or for metastatic cancer,    methylated sequences are detected. In some embodiments,
the frequency of each polymorphism or mutation can be             stem-loop primers are used to selectively amplify restriction
compared to see if they occur at similar frequencies. For 35 enzyme-digested unmethylated fragments without co-ampli-
example, if two mutations required for cancer (denoted "A"        fying the non-enzyme-digested methylated DNA.
and "B"), some cells will have none, some cells with A,           Exemplary Changes in mRNA Splicing
some with B, and some with A and B. If A and B are                   In some embodiments, a change in mRNA splicing is
observed at similar frequencies, the subject is more likely to    associated with a disease or disorder such as cancer, or an
have some cells with both A and B. If observer A and B at 40 increased risk for a disease or disorder such as cancer. In
dissimilar frequencies, the subject is more likely to have        some embodiments, the change in mRNA splicing is in one
different cell populations.                                       or more of the following nucleic acids associated with
   In some embodiments in which multiple polymorphisms            cancer or an increased risk for cancer: DNMT3B, BRCAl,
or mutations are required for cancer or for metastatic cancer,    KLF6, Ron, or Gemin5. In some embodiments, the detected
the number or identity of such polymorphisms or mutations 45 mRNA splice variant is associated with a disease or disorder,
that are present in the subject can be used to predict how        such as cancer. In some embodiments, multiple mRNA
likely or soon the subject is likely to have the disease or       splice variants are produced by healthy cells (such as
disorder. In some embodiments in which polymorphisms or           non-cancerous cells), but a change in the relative amounts of
mutations tend to occur in a certain order, the subject may       the mRNA splice variants is associated with a disease or
be periodically tested to see if the subject has acquired the 50 disorder, such as cancer. In some embodiments, the change
other polymorphisms or mutations.                                 in mRNA splicing is due to a change in the mRNA sequence
   In some embodiments, determining the presence or               (such as a mutation in a splice site), a change in splicing
absence of multiple polymorphisms or mutations (such as 2,        factor levels, a change in the amount of available splicing
3, 4, 5, 8, 10, 12, 15, or more) increases the sensitivity and/or factor (such as a decrease in the amount of available splicing
specificity of the determination of the presence or absence of 55 factor due to the binding of a splicing factor to a repeat),
a disease or disorder such as cancer, or an increased risk for    altered splicing regulation, or the tumor microenvironment.
with a disease or disorder such as cancer.                           The splicing reaction is carried out by a multi-protein/
   In some embodiments, the polymorphism(s) or muta-              RNA complex called the spliceosome (Fackenthall and
tion(s) are directly detected. In some embodiments, the           Godley, Disease Models & Mechanisms 1: 37-42, 2008,
polymorphism(s) or mutation(s) are indirectly detected by 60 doi:10.1242/dmm.000331, which is hereby incorporated by
detection of one or more sequences (e.g., a polymorphic           reference in its entirety). The spliceosome recognizes intron-
locus such as a SNP) that are linked to the polymorphism or       exon boundaries and removes intervening intrans via two
mutation.                                                         transesterification reactions that result in ligation of two
Exemplary Nucleic Acid Alterations                                adjacent exons. The fidelity of this reaction must be exqui-
   In some embodiments, there is a change to the integrity of 65 site, because if the ligation occurs incorrectly, normal pro-
RNA or DNA (such as a change in the size of fragmented            tein-encoding potential may be compromised. For example,
cfRNA or cfDNA or a change in nuclcosomc composition)             in cases where cxon-skipping preserves the reading frame of




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the triplet codons specifying the identity and order of amino     ng/mL, 100 to 150 ng/mL, 150 to 200 ng/mL, 200 to 300
acids during translation, the alternatively spliced mRNA          ng/mL, 300 to 400 ng/mgL, 400 to 600 ng/mL, 600 to 800
may specify a protein that lacks crucial amino acid residues.     ng/mL, 800 to 1,000 ng/mL, inclusive, or a total concentra-
More commonly, exon-skipping will disrupt the transla-            tion of cfDNA of more than 100 ng, mL, such as more than
tional reading frame, resulting in premature stop codons.         200, 300, 400, 500, 600, 700, 800, 900, or 1,000 ng/mL is
These mRNAs are typically degraded by at least 90%                indicative of cancer, an increased risk for cancer, an
through a process known as nonsense-mediated mRNA                 increased risk of a tumor being malignant rather than benign,
degradation, which reduces the likelihood that such defec-        a decreased probably of the cancer going into remission, or
tive messages will accumulate to generate truncated protein       a worse prognosis for the cancer. In some embodiments, the
products. If mis-spliced mRNAs escape this pathway, then 10 amount of a type of DNA (such as cfDNA cf mDNA, cf
truncated, mutated, or unstable proteins are produced.            nDNA, cellular DNA, or mitochondrial DNA) or RNA
   Alternative splicing is a means of expressing several or       (cfRNA, cellular RNA, cytoplasmic RNA, coding cytoplas-
many different transcripts from the same genomic DNA and          mic RNA, non-coding cytoplasmic RNA, mRNA, miRNA,
results from the inclusion of a subset of the available exons     mitochondrial RNA, rRNA, or tRNA) having one or more
for a particular protein. By excluding one or more exons, 15 polymorphisms/mutations (such as deletions or duplica-
certain protein domains may be lost from the encoded              tions) associated with a disease or disorder such as cancer or
protein, which can result in protein function loss or gain.       an increased risk for a disease or disorder such as cancer is
Several types of alternative splicing have been described:        at least 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 16, 18, 20, or 25%
exon skipping; alternative 5' or 3' splice sites; mutually        of the total amount of that type of DNA or RNA. In some
exclusive exons; and, much more rarely, intron retention. 20 embodiments, at least 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 16,
Others have compared the amount of alternative splicing in        18, 20, or 25% of the total amount of a type of DNA (such
cancer versus normal cells using a bioinformatic approach         as cfDNA cf mDNA, cf nDNA, cellular DNA, or mitochon-
and determined that cancers exhibit lower levels of alterna-      drial DNA) or RNA (cfRNA, cellular RNA, cytoplasmic
tive splicing than normal cells. Furthermore, the distribution    RNA, coding cytoplasmic RNA, non-coding cytoplasmic
of the types of alternative splicing events differed in cancer 25 RNA, mRNA, miRNA, mitochondrial RNA, rRNA, or
versus normal cells. Cancer cells demonstrated less exon          tRNA) has a particular polymorphism or mutation (such as
skipping, but more alternative 5' and 3' splice site selection    a deletion or duplication) associated with a disease or
and intron retention than normal cells. When the phenom-          disorder such as cancer or an increased risk for a disease or
enon of exonization (the use of sequences as exons that are       disorder such as cancer.
used predominantly by other tissues as intrans) was exam- 30         In some embodiments, the cfDNA is encapsulated. In
ined, genes associated with exonization in cancer cells were      some embodiments, the cfDNA is not encapsulated.
preferentially associated with mRNA processing, indicating           In some embodiments, the fraction of tumor DNA out of
a direct link between cancer cells and the generation of          total DNA (such as fraction of tumor cfDNA out of total
aberrant mRNA splice forms.                                       cfDNA or fraction of tumor cfDNA with a particular muta-
Exemplary Changes in DNA or RNA Levels                         35 tion out of total cfDNA) is determined. In some embodi-
   In some embodiments, there is a change in the total            ments, the fraction of tumor DNA may be determined for a
amount or concentration of one or more types of DNA (such         plurality of mutations, where the mutations can be single
as cfDNA cf mDNA, cf nDNA, cellular DNA, or mitochon-             nucleotide variants, copy number variants, differential meth-
drial DNA) or RNA (cfRNA, cellular RNA, cytoplasmic               ylation, or combinations thereof. In some embodiments, the
RNA, coding cytoplasmic RNA, non-coding cytoplasmic 40 average tumor fraction calculated for one or a set of muta-
RNA, mRNA, miRNA, mitochondrial RNA, rRNA, or                     tions with the highest calculated tumor fraction is taken as
tRNA). In some embodiments, there is a change in the              the actual tumor fraction in the sample. In some embodi-
amount or concentration of one or more specific DNA (such         ments, the average tumor fraction calculated for all of the
as cfDNA cf mDNA, cf nDNA, cellular DNA, or mitochon-             mutations is taken as the actual tumor fraction in the sample.
drial DNA) or RNA (cfRNA, cellular RNA, cytoplasmic 45 In some embodiments, this tumor fraction is used to stage a
RNA, coding cytoplasmic RNA, non-coding cytoplasmic               cancer (since higher tumor fractions can be associated with
RNA, mRNA, miRNA, mitochondrial RNA, rRNA, or                     more advanced stages of cancer). In some embodiments, the
tRNA) molecules. In some embodiments, one allele is               tumor fraction is used to size a cancer, since larger tumors
expressed more than another allele of a locus of interest.        may be correlated with the fraction of tumor DNA in the
Exemplary miRNAs are short 20-22 nucleotide RNA mol- 50 plasma. In some embodiments, the tumor fraction is used to
ecules that regulate the expression of a gene. In some            size the proportion of a tumor that is afflicted with a single
embodiments, there is a change in the transcriptome, such as      or plurality of mutations, since there may be a correlation
a change in the identity or amount of one or more RNA             between the measured tumor fraction in a plasma sample
molecules.                                                        and the size of tissue with a given mutation(s) genotype. For
   In some embodiments, an increase in the total amount or 55 example, the size of tissue with a given mutation(s) geno-
concentration of cfDNA or cfRNA is associated with a              type may be correlated with the fraction of tumor DNA that
disease or disorder such as cancer, or an increased risk for      may be calculated by focusing on that particular mutation(s).
a disease or disorder such as cancer. In some embodiments,        Exemplary Databases
the total concentration of a type of DNA (such as cfDNA cf           The invention also features databases containing one or
mDNA, cf nDNA, cellular DNA, or mitochondrial DNA) or 60 more results from a method of the invention. For example,
RNA (cfRNA, cellular RNA, cytoplasmic RNA, coding                 the database may include records with any of the following
cytoplasmic RNA, non-coding cytoplasmic RNA, mRNA,                information for one or more subjects: any polymorphisms/
miRNA, mitochondrial RNA, rRNA, or tRNA) increases by             mutations (such as CNV s) identified, any known association
at least 2, 3, 4, 5, 6, 7, 8, 9, 10-fold, or more compared to     of the polymorphisms/mutations with a disease or disorder
the total concentration of that type of DNA or RNA in 65 or an increased risk for a disease or disorder, effect of the
healthy (such as non-cancerous) subjects. In some embodi-         polymorphisms/mutations on the expression or activity level
ments, a total concentration of cfDNA between 75 to 100           of the encoded mRNA or protein, fraction of DNA, RNA, or




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cells associated with a disease or disorder (such as DNA,                  record is stored in the computer (iv) one or more compounds
RNA, or cells having polymorphism/mutation associated                      or other treatments useful for cancer with a polymorphism or
with a disease or disorder) out of the total DNA, RNA, or                  mutation whose record is stored in the computer, (v) one or
cells in sample, source of sample used to identify the                     more compounds that modulate the expression or activity of
polymorphisms/mutations (such as a blood sample or                         an mRNA or protein whose record is stored in the computer,
sample from a particular tissue), number of diseased cells,                and (vi) one or more mRNA molecules or proteins whose
results from later repeating the test (such as repeating the test          expression or activity is modulated by a compound whose
to monitor the progression or remission of the disease or                  record is stored in the computer. The internal components of
disorder), results of other tests for the disease or disorder,             the computer typically include a processor coupled to a
type of disease or disorder the subject was diagnosed with, 10 memory. The external components usually include a mass-
treatment( s) administered, response to such treatment( s),                storage device, e.g., a hard disk drive; user input devices,
side-effects of such treatment(s), symptoms (such as symp-                 e.g., a keyboard and a mouse; a display, e.g., a monitor; and
toms associated with the disease or disorder), length and                  optionally, a network link capable of connecting the com-
number of remissions, length of survival (such as length of                puter system to other computers to allow sharing of data and
time from initial test until death or length of time from 15 processing tasks. Programs may be loaded into the memory
diagnosis until death), cause of death, and combinations                   of this system during operation.
thereof.                                                                      In another aspect, the invention features a computer-
   In some embodiments, the database includes records with                 implemented process that includes one or more steps of any
any of the following information for one or more subjects:                 of the methods of the invention.
any polymorphisms/mutations identified, any known asso- 20 Exemplary Risk Factors
ciation of the polymorphisms/mutations with cancer or an                      In some embodiments, the subject is also evaluated for
increased risk for cancer, effect of the polymorphisms/                    one or more risk factors for a disease or disorder, such as
mutations on the expression or activity level of the encoded               cancer. Exemplary risk factors include family history for the
mRNA or protein, fraction of cancerous DNA, RNA or cells                   disease or disorder, lifestyle (such as smoking and exposure
out of the total DNA, RNA, or cells in sample, source of 25 to carcinogens) and the level of one or more hormones or
sample used to identify the polymorphisms/mutations (such                  serum proteins (such as alpha-fetoprotein (AFP) in liver
as a blood sample or sample from a particular tissue),                     cancer, carcinoembryonic antigen (CEA) in colorectal can-
number of cancerous cells, size of tumor(s), results from                  cer, or prostate-specific antigen (PSA) in prostate cancer). In
later repeating the test (such as repeating the test to monitor            some embodiments, the size and/or number of tumors is
the progression or remission of the cancer), results of other 30 measured and use in determining a subject's prognosis or
tests for cancer, type of cancer the subject was diagnosed                 selecting a treatment for the subject.
with, treatment(s) administered, response to such treat-                   Exemplary Screening Methods
ment(s), side-effects of such treatment(s), symptoms (such                    If desired, the presence or absence of a disease or disorder
as symptoms associated with cancer), length and number of                  such cancer can be confirmed, or the disease or disorder such
remissions, length of survival (such as length of time from 35 as cancer can be classified using any standard method. For
initial test until death or length of time from cancer diagnosis           example, a disease or disorder such as cancer can be
until death), cause of death, and combinations thereof. In                 detected in a number of ways, including the presence of
some embodiments, the response to treatment includes any                   certain signs and symptoms, tumor biopsy, screening tests,
of the following: reducing or stabilizing the size of a tumor              or medical imaging (such as a mammogram or an ultra-
(e.g., a benign or cancerous tumor), slowing or preventing 40 sound). Once a possible cancer is detected, it may be
an increase in the size of a tumor, reducing or stabilizing the            diagnosed by microscopic examination of a tissue sample. In
number of tumor cells, increasing the disease-free survival                some embodiments, a subject diagnosed undergoes repeat
time between the disappearance of a tumor and its reappear-                testing using a method of the invention or known testing for
ance, preventing an initial or subsequent occurrence of a                  the disease or disorder at multiple time points to monitor the
tumor, reducing or stabilizing an adverse symptom associ- 45 progression of the disease or disorder or the remission or
ated with a tumor, or combinations thereof. In some embodi-                reoccurrence of the disease or disorder.
ments, the results from one or more other tests for a disease              Exemplary Cancers
or disorder such as cancer are included, such as results from                 Exemplary cancers that can be diagnosed, prognosed,
screening tests, medical imaging, or microscopic examina-                  stabilized, treated, or prevented using any of the methods of
tion of a tissue sample.                                                50 the invention include solid tumors, carcinomas, sarcomas,
   In one such aspect, the invention features an electronic                lymphomas, leukemias, germ cell tumors, or blastomas. In
database including at least 5, 10, 102 , 103 , 104 , 105 , 10 6 , 107 ,    various embodiments, the cancer is an acute lymphoblastic
10 8 or more records. In some embodiments, the database has                leukemia, acute myeloid leukemia, adrenocortical carci-
records for at least 5, 10, 102 , 103 , 104 , 105 , 106 , 107 , 10 8 or    noma, AIDS-related cancer, AIDS-related lymphoma, anal
more different subjects.                                                55 cancer, appendix cancer, astrocytoma (such as childhood
   In another aspect, the invention features a computer                    cerebellar or cerebral astrocytoma), basal-cell carcinoma,
including a database of the invention and a user interface. In             bile duct cancer (such as extrahepatic bile duct cancer)
some embodiments, the user interface is capable of display-                bladder cancer, bone tumor (such as osteosarcoma or malig-
ing a portion or all of the information contained in one or                nant fibrous histiocytoma), brainstem glioma, brain cancer
more records. In some embodiments, the user interface is 60 (such as cerebellar astrocytoma, cerebral astrocytoma/ma-
capable of displaying (i) one or more types of cancer that                 lignant glioma, ependymo, medulloblastoma, supratentorial
have been identified as containing a polymorphism or muta-                 primitive neuroectodermal tumors, or visual pathway and
tion whose record is stored in the computer, (ii) one or more              hypothalamic glioma), glioblastoma, breast cancer, bron-
polymorphisms or mutations that have been identified in a                  chial adenoma or carcinoid, burkitt's lymphoma, carcinoid
particular type of cancer whose record is stored in the 65 tumor (such as a childhood or gastrointestinal carcinoid
computer, (iii) prognosis information for a particular type of             tumor), carcinoma central nervous system lymphoma, cer-
cancer or a particular a polymorphism or mutation whose                    ebellar astrocytoma or malignant glioma (such as childhood




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cerebellar astrocytoma or malignant glioma), cervical can-       thymic carcinoma, thyroid cancer (such as childhood thyroid
cer, childhood cancer, chronic lymphocytic leukemia,             cancer), trophoblastic tumor (such as gestational trophoblas-
chronic myelogenous leukemia, chronic myeloproliferative         tic tumor), unknown primary site carcinoma (such as adult
disorders, colon cancer, cutaneous t-cell lymphoma, desmo-       or childhood unknown primary site carcinoma), urethral
plastic small round cell tumor, endometrial cancer,              cancer (such as endometrial uterine cancer), uterine sar-
ependymoma, esophageal cancer, ewing's sarcoma, tumor            coma, vaginal cancer, visual pathway or hypothalamic
in the ewing family of tumors, extracranial germ cell tumor      glioma (such as childhood visual pathway or hypothalamic
(such as a childhood extracranial germ cell tumor), extrago-     glioma), vulvar cancer, waldenstriim macroglobulinemia, or
nadal germ cell tumor, eye cancer (such as intraocular           wilms tumor (such as childhood wilms tumor). In various
melanoma or retinoblastoma eye cancer), gallbladder can- 10 embodiments, the cancer has metastasized or has not metas-
cer, gastric cancer, gastrointestinal carcinoid tumor, gastro-   tasized.
intestinal stromal tumor, germ cell tumor (such as extracra-        The cancer may or may not be a hormone related or
nial, extragonadal, or ovarian germ cell tumor), gestational     dependent cancer (e.g., an estrogen or androgen related
trophoblastic tumor, glioma (such as brain stem, childhood       cancer). Benign tumors or malignant tumors may be diag-
cerebral astrocytoma, or childhood visual pathway and 15 nosed, prognosed, stabilized, treated, or prevented using the
hypothalamic glioma), gastric carcinoid, hairy cell leuke-       methods and/or compositions of the present invention.
mia, head and neck cancer, heart cancer, hepatocellular             In some embodiments, the subject has a cancer syndrome.
(liver) cancer, hodgkin lymphoma, hypopharyngeal cancer,         A cancer syndrome is a genetic disorder in which genetic
hypothalamic and visual pathway glioma (such as childhood        mutations in one or more genes predispose the affected
visual pathway glioma), islet cell carcinoma (such as endo- 20 individuals to the development of cancers and may also
crine or pancreas islet cell carcinoma), kaposi sarcoma,         cause the early onset of these cancers. Cancer syndromes
kidney cancer, laryngeal cancer, leukemia (such as acute         often show not only a high lifetime risk of developing
lymphoblastic, acute myeloid, chronic lymphocytic, chronic       cancer, but also the development of multiple independent
myelogenous, or hairy cell leukemia), lip or oral cavity         primary tumors. Many of these syndromes are caused by
cancer, liposarcoma, liver cancer (such as non-small cell or 25 mutations in tumor suppressor genes, genes that are
small cell cancer), lung cancer, lymphoma (such as AIDS-         involved in protecting the cell from turning cancerous. Other
related, burkitt, cutaneous T cell, Hodgkin, non-hodgkin, or     genes that may be affected are DNA repair genes, oncogenes
central nervous system lymphoma), macroglobulinemia              and genes involved in the production of blood vessels
(such as waldenstriim macroglobulinemia, malignant fibrous       (angiogenesis). Common examples of inherited cancer syn-
histiocytoma of bone or osteosarcoma, medulloblastoma 30 dromes are hereditary breast-ovarian cancer syndrome and
(such as childhood medulloblastoma), melanoma, merkel            hereditary non-polyposis colon cancer (Lynch syndrome).
cell carcinoma, mesothelioma (such as adult or childhood            In some embodiments, a subject with one or more poly-
mesothelioma), metastatic squamous neck cancer with              morphisms or mutations n K-ras, p53, BRA, EGFR, or
occult, mouth cancer, multiple endocrine neoplasia syn-          HER2 is administered a treatment that targets K-ras, p53,
drome (such as childhood multiple endocrine neoplasia 35 BRA, EGFR, or HER2, respectively.
syndrome), multiple myeloma or plasma cell neoplasm.                The methods of the invention can be generally applied to
mycosis fungoides, myelodysplastic syndrome, myelodys-           the treatment of malignant or benign tumors of any cell,
plastic or myeloproliferative disease, myelogenous leuke-        tissue, or organ type.
mia (such as chronic myelogenous leukemia), myeloid leu-         Exemplary Treatments
kemia (such as adult acute or childhood acute myeloid 40            If desired, any treatment for stabilizing, treating, or pre-
leukemia), myeloproliferative disorder (such as chronic          venting a disease or disorder such as cancer or an increased
myeloproliferative disorder), nasal cavity or paranasal sinus    risk for a disease or disorder such as cancer can be admin-
cancer, nasopharyngeal carcinoma, neuroblastoma, oral can-       istered to a subject (e.g., a subject identified as having cancer
cer, oropharyngeal cancer, osteosarcoma or malignant             or an increased risk for cancer using any of the methods of
fibrous histiocytoma of bone, ovarian cancer, ovarian epi- 45 the invention). In various embodiments, the treatment is a
thelial cancer, ovarian germ cell tumor, ovarian low malig-      known treatment or combination of treatments for a disease
nant potential tumor, pancreatic cancer (such as islet cell      or disorder such as cancer, such as cytotoxic agents, targeted
pancreatic cancer), paranasal sinus or nasal cavity cancer,      therapy, immunotherapy, hormonal therapy, radiation
parathyroid cancer, penile cancer, pharyngeal cancer,            therapy, surgical removal of cancerous cells or cells likely to
pheochromocytoma, pineal astrocytoma, pineal germinoma. 50 become cancerous, stem cell transplantation, bone marrow
pineoblastoma or supratentorial primitive neuroectodermal        transplantation, photodynamic therapy, palliative treatment,
tumor (such as childhood pineoblastoma or supratentorial         or a combination thereof. In some embodiments, a treatment
primitive neuroectodermal tumor), pituitary adenoma,             (such as a preventative medication) is used to prevent, delay,
plasma cell neoplasia, pleuropulmonary blastoma, primary         or reduce the severity of a disease or disorder such as cancer
central nervous system lymphoma, cancer, rectal cancer, 55 in a subject at increased risk for a disease or disorder such
renal cell carcinoma, renal pelvis or ureter cancer (such as     as cancer.
renal pelvis or ureter transitional cell cancer, retinoblastoma,    In some embodiments, the targeted therapy is a treatment
rhabdomyosarcoma (such as childhood rhabdomyosar-                that targets the cancer's specific genes, proteins, or the tissue
coma), salivary gland cancer, sarcoma (such as sarcoma in        environment that contributes to cancer growth and survival.
the ewing family of tumors, Kaposi, soft tissue, or uterine 60 This type of treatment blocks the growth and spread of
sarcoma), sezary syndrome, skin cancer (such as nonmela-         cancer cells while limiting damage to normal cells, usually
noma, melanoma, or merkel cell skin cancer), small intestine     leading to fewer side effects than other cancer medications.
cancer, squamous cell carcinoma, supratentorial primitive           One of the more successful approaches has been to target
neuroectodermal tumor (such as childhood supratentorial          angiogenesis, the new blood vessel growth around a tumor.
primitive neuroectodermal tumor), T-cell lymphoma (such 65 Targeted therapies such as bevacizumab (Avastin), lenalido-
as cutaneous T-cell lymphoma), testicular cancer, throat         mide (Revlimid), sorafenib (Nexavar), sunitinib (Sutent),
cancer, thymoma (such as childhood thymoma ), thymoma or         and thalidomide (Thalomid) interfere with angiogcncsis.




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Another example is the use of a treatment that targets HER2,       cladribine, clodronate, clofarabine, crisantaspase, cyclo-
such as trastuzumab or lapatinib, for cancers that overex-         phosphamide, cyproterone acetate, cyprostat, cytarabine,
press HER2 (such as some breast cancers). In some embodi-          cytoxan, dacarbozine, dactinomycin, dasatinib, daunorubi-
ments, a monoclonal antibody is used to block a specific           cin, dexamethasone, diethylstilbestrol, docetaxel, doxorubi-
target on the outside of cancer cells. Examples include            cin, drogenil, emcyt, epirubicin, eposin, Erbitux, erlotinib,
alemtuzumab (Campath-lH), bevacizumab, cetuximab (Er-              estracyte, estramustine, etopophos, etoposide, evoltra,
bitux), panitumumab (Vectibix), pertuzumab (Onmitarg),             exemestane, fareston, femara, filgrastim, fludara, fludara-
rituximab (Rituxan), and trastuzumab. In some embodi-              bine, fluorouracil, flutamide, gefinitib, gemcitabine, gemzar,
ments, the monoclonal antibody tositumomab (Bexxar) is             gleevec, glivec. gonapeptyl depot, goserelin, halaven, her-
used to deliver radiation to the tumor. In some embodiments, 10 ceptin, hycamptin, hydroxycarbamide, ibandronic acid, ibri-
an oral small molecule inhibits a cancer process inside of a       tumomab, idarubicin, ifosfomide, interferon, imatinib mesy-
cancer cell. Examples include dasatinib (Sprycel), erlotinib       late, iressa, irinotecan, jevtana, lanvis, lapatinib, letrozole,
(Tarceva), gefitinib (Iressa), imatinib (Gleevec), lapatinib       leukeran, leuprorelin, leustat, lomustine, mabcampath,
(Tykerb ), nilotinib (Tasigna), sorafenib, sunitinib, and tem-     mabthera, megace, megestrol, methotrexate, mitozantrone,
sirolimus (Torisel). In some embodiments, a proteasome 15 mitomycin, mutulane, myleran, navelbine, neulasta, neupo-
inhibitor (such as the multiple myeloma drug, bortezomib           gen, nexavar, nipent, nolvadex D, novantron, oncovin, pacli-
(Velcade )) interferes with specialized proteins called            taxel, pamidronate, PCV, pemetrexed, pentostatin, perj eta,
enzymes that break down other proteins in the cell.                procarbazine, provenge, prednisolone, prostrap, raltitrexed,
   In some embodiments, immunotherapy is designed to               rituximab, sprycel, sorafenib, soltamox, streptozocin, stil-
boost the body's natural defenses to fight the cancer. Exem- 20 boestrol, stimuvax, sunitinib, sutent, tabloid, tagamet,
plary types of immunotherapy use materials made either by          tamofen, tamoxifen, tarceva, taxol, taxotere, tegafur with
the body or in a laboratory to bolster, target, or restore         uracil, temodal, temozolomide, thalidomide, thioplex, thio-
immune system function.                                            tepa, tioguanine, tomudex, topotecan, toremifene,
   In some embodiments, hormonal therapy treats cancer by          trastuzumab, tretinoin, treosulfan, triethylenethiophorsphor-
lowering the amounts of hormones in the body. Several 25 amide, triptorelin, tyverb, uftoral, velcade, vepesid,
types of cancer, including some breast and prostate cancers,       vesanoid, vincristine, vinorelbine, xalkori, xeloda, yervoy,
only grow and spread in the presence of natural chemicals in       zactima, zanosar, zavedos, zevelin, zoladex, zoledronate,
the body called hormones. In various embodiments, hor-             zometa zoledronic acid, and zytiga.
monal therapy is used to treat cancers of the prostate, breast,       For subjects that express both a mutant form (e.g., a
thyroid, and reproductive system.                               30 cancer-related form) and a wild-type form (e.g., a form not
   In some embodiments, the treatment includes a stem cell         associated with cancer) of an mRNA or protein, the therapy
transplant in which diseased bone marrow is replaced by            preferably inhibits the expression or activity of the mutant
highly specialized cells, called hematopoietic stem cells.         form by at least 2, 5, 10, or 20-fold more than it inhibits the
Hematopoietic stem cells are found both in the bloodstream         expression or activity of the wild-type form. The simulta-
and in the bone marrow.                                         35 neous or sequential use of multiple therapeutic agents may
   In some embodiments, the treatment includes photody-            greatly reduce the incidence of cancer and reduce the
namic therapy, which uses special drugs, called photosen-          number of treated cancers that become resistant to therapy.
sitizing agents, along with light to kill cancer cells. The        In addition, therapeutic agents that are used as part of a
drugs work after they have been activated by certain kinds         combination therapy may require a lower dose to treat
of light.                                                       40 cancer than the corresponding dose required when the
   In some embodiments, the treatment includes surgical            therapeutic agents are used individually. The low dose of
removal of cancerous cells or cells likely to become can-          each compound in the combination therapy reduces the
cerous (such as a lumpectomy or a mastectomy). For                 severity of potential adverse side-effects from the com-
example, a woman with a breast cancer susceptibility gene          pounds.
mutation (BRCAl or BRCA2 gene mutation) may reduce 45                 In some embodiments, a subject identified as having an
her risk of breast and ovarian cancer with a risk reducing         increased risk of cancer may invention or any standard
salpingo-oophorectomy (removal of the fallopian tubes and          method), avoid specific risk factors, or make lifestyle
ovaries) and/or a risk reducing bilateral mastectomy (re-          changes to reduce any additional risk of cancer.
moval of both breasts). Lasers, which are very powerful,              In some embodiments, the polymorphisms, mutations,
precise beams of light, can be used instead of blades 50 risk factors, or any combination thereof are used to select a
(scalpels) for very careful surgical work, including treating      treatment regimen for the subject. In some embodiments, a
some cancers.                                                      larger dose or greater number of treatments is selected for a
   In addition to treatment to slow, stop, or eliminate the        subject at greater risk of cancer or with a worse prognosis.
cancer (also called disease-directed treatment), an important      Other Compounds for Inclusion in Individual or Combina-
part of cancer care is relieving a subject's symptoms and 55 tion Therapies
side effects, such as pain and nausea. It includes supporting         If desired, additional compounds for stabilizing, treating,
the subject with physical, emotional, and social needs, an         or preventing a disease or disorder such as cancer or an
approach called palliative or supportive care. People often        increased risk for a disease or disorder such as cancer may
receive disease-directed therapy and treatment to ease symp-       be identified from large libraries of both natural product or
toms at the same time.                                          60 synthetic (or semi-synthetic) extracts or chemical libraries
   Exemplary treatments include actinomycin D, adcetris,           according to methods known in the art. Those skilled in the
Adriamycin, aldesleukin, alemtuzumab, alimta, amsidine,            field or drug discovery and development will understand that
amsacrine, anastrozole, aredia, arimidex, aromasin, aspara-        the precise source of test extracts or compounds is not
ginase, avastin, bevacizumab, bicalutamide, bleomycin,             critical to the methods of the invention. Accordingly, virtu-
bondronat, bonefos, bortezomib, busilvex, busulphan, 65 ally any number of chemical extracts or compounds can be
campto, capecitabine, carboplatin, carmustine, casodex,            screened for their effect on cells from a particular type of
cctuximab, chimax, chlorambucil, cimctidinc, cisplatin,            cancer or from a particular subject or screened for their




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effect on the activity or expression of cancer related mol-        not, the dose of one or more compounds in the therapy can
ecules (such as cancer related molecules known to have             be altered to either increase or decrease the effect of the
altered activity or expression in a particular type of cancer).    therapy on the expression levels of the corresponding cancer
When a crude extract is found to modulate the activity or          related gene(s). In addition, this analysis can be used to
expression of a cancer related molecule, further fraction-         determine whether a therapy affects the expression of other
ation of the positive lead extract may be performed to isolate     genes (e.g., genes that are associated with adverse side-
chemical constituent responsible for the observed effect           effects ). If desired, the dose or composition of the therapy
using methods known in the art.                                    can be altered to prevent or reduce undesired side-effects.
Exemplary Assays and Animal Models for the Testing of              Exemplary Formulations and Methods of Administration
Therapies                                                       10    For stabilizing, treating, or preventing a disease or disor-
   If desired, one or more of the treatment disclosed herein       der such as cancer or an increased risk for a disease or
can be tested for their effect on a disease or disorder such as    disorder such as cancer, a composition may be formulated
cancer using a cell line (such as a cell line with one or more     and administered using any method known to those of skill
of the mutations identified in the subject who has been            in the art (see, e.g., U.S. Pat. Nos. 8,389,578 and 8,389,557,
diagnosed with cancer or an increased risk of cancer using 15 which are each hereby incorporated by reference in its
the methods of the invention) or an animal model of the            entirety). General techniques for formulation and adminis-
disease or disorder, such as a SCID mouse model (Jain et al.,      tration are found in "Remington: The Science and Practice
Tumor Models In Cancer Research, ed. Teicher, Humana               of Pharmacy," 21st Edition, Ed. David Troy, 2006, Lippin-
Press Inc., Totowa, N.J., pp. 647-671, 2001, which is hereby       cott Williams & Wilkins, Philadelphia, Pa., which is hereby
incorporated by reference in its entirety). Additionally, there 20 incorporated by reference in its entirety). Liquids, slurries,
are numerous standard assays and animal models that can be         tablets, capsules, pills, powders, granules, gels, ointments,
used to determine the efficacy of particular therapies for         suppositories, injections, inhalants, and aerosols are
stabilizing, treating, or preventing a disease or disorder such    examples of such formulations. By way of example, modi-
as cancer or an increased risk for a disease or disorder such      fied or extended release oral formulation can be prepared
as cancer. Therapies can also be tested in standard human 25 using additional methods known in the art. For example, a
clinical trials.                                                   suitable extended release form of an active ingredient may
   For the selection of a preferred therapy for a particular       be a matrix tablet or capsule composition. Suitable matrix
subject, compounds can be tested for their effect on the           forming materials include, for example, waxes (e.g., car-
expression or activity on one or more genes that are mutated       nauba, bees wax, paraffin wax, ceresin, shellac wax, fatty
in the subject. For example, the ability of a compound to 30 acids, and fatty alcohols), oils, hardened oils or fats (e.g.,
modulate the expression of particular mRNA molecules or            hardened rapeseed oil, castor oil, beef tallow, palm oil, and
proteins can be detected using standard Northern, Western,         soya bean oil), and polymers (e.g., hydroxypropyl cellulose,
or microarray analysis. In some embodiments, one or more           polyvinylpyrrolidone, hydroxypropyl methyl cellulose, and
compounds are selected that (i) inhibit the expression or          polyethylene glycol). Other suitable matrix tableting mate-
activity of mRNA molecules or proteins that promote cancer 35 rials are microcrystalline cellulose, powdered cellulose,
that are expressed at a higher than normal level or have a         hydroxypropyl cellulose, ethyl cellulose, with other carriers,
higher than normal level of activity in the subject (such as       and fillers. Tablets may also contain granulates, coated
in a sample from the subject) or (ii) promote the expression       powders, or pellets. Tablets may also be multi-layered.
or activity of mRNA molecules or proteins that inhibit             Optionally, the finished tablet may be coated or uncoated.
cancer that are expressed at a lower than normal level or 40          Typical routes of administering such compositions
have a lower than normal level of activity in the subject. An      include, without limitation, oral, sublingual, buccal, topical,
individual or combination therapy that (i) modulates the           transdermal, inhalation, parenteral (e.g., subcutaneous,
greatest number of mRNA molecules or proteins that have            intravenous, intramuscular, intrasternal injection, or infusion
mutations associated with cancer in the subject and (ii)           techniques), rectal, vaginal, and intranasal. In preferred
modulates the least number of mRNA molecules or proteins 45 embodiments, the therapy is administered using an extended
that do not have mutations associated with cancer in the           release device. Compositions of the invention are formu-
subject. In some embodiments, the selected individual or           lated so as to allow the active ingredient(s) contained therein
combination therapy has high drug efficacy and produces            to be bioavailable upon administration of the composition.
few, if any, adverse side-effects.                                 Compositions may take the form of one or more dosage
   As an alternative to the subject-specific analysis described 50 units. Compositions may contain 1, 2, 3, 4, or more active
above, DNA chips can be used to compare the expression of          ingredients and may optionally contain 1, 2, 3, 4, or more
mRNA molecules in a particular type of early or late-stage         inactive ingredients.
cancer (e.g., breast cancer cells) to the expression in normal
tissue (Marrack et al., Current Opinion in Immunology 12,                          ALTERNATE EMBODIMENTS
206-209, 2000; Harkin, Oncologist. 5:501-507, 2000; Peliz- 55
zari et al., Nucleic Acids Res. 28(22):4577-4581, 2000,               Any of the methods described herein may include the
which are each hereby incorporated by reference in its             output of data in a physical format, such as on a computer
entirety). Based on this analysis, an individual or combina-       screen, or on a paper printout. Any of the methods of the
tion therapy for subjects with this type of cancer can be          invention may be combined with the output of the actionable
selected to modulate the expression of the mRNA or proteins 60 data in a format that can be acted upon by a physician. Some
that have altered expression in this type of cancer.               of the embodiments described in the document for deter-
   In addition to being used to select a therapy for a             mining genetic data pertaining to a target individual may be
particular subject or group of subjects, expression profiling      combined with the notification of a potential chromosomal
can be used to monitor the changes in mRNA and/or protein          abnormality (such as a deletion or duplication), or lack
expression that occur during treatment. For example, expres- 65 thereof, with a medical professional, optionally combined
sion profiling can be used to determine whether the expres-        with the decision to abort, or to not abort, a fetus in the
sion of cancer related genes has returned to normal levels. If     context of prenatal diagnosis. Some of the embodiments




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described herein may be combined with the output of the           analysis platform X0S is providing information over net-
actionable data, and the execution of a clinical decision that    work X02, analysis platform X0S may be a server.
results in a clinical treatment, or the execution of a clinical      In an example embodiment, laboratory information sys-
decision to make no action.                                       tem X04 includes one or more public or private institutions
   In some embodiments, a method is disclosed herein for          that collect, manage, and/or store genetic data. A person
generating a report disclosing a result of any method of the      having skill in the relevant art(s) would understand that
invention (such as the presence or absence of a deletion or       methods and standards for securing genetic data are known
duplication). A report may be generated with a result from        and can be implemented using various information security
a method of the invention, and it may be sent to a physician      techniques and policies, e.g., usemame/password, Transport
electronically, displayed on an output device (such as a 10 Layer Security (TLS), Secure Sockets Layer (SSL), and/or
digital report), or a written report (such as a printed hard      other cryptographic protocols providing communication
copy of the report) may be delivered to the physician. In         security.
addition, the described methods may be combined with the             In an example embodiment, system architecture X00
actual execution of a clinical decision that results in a         operates as a service-oriented architecture and uses a client-
clinical treatment, or the execution of a clinical decision to 15 server model that would be understood by one of skill in the
make no action.                                                   relevant art(s) to enable various forms of interaction and
   In certain embodiments, the present invention provides         communication between LIS X04 and analysis platform
reagents, kits, and methods, and computer systems and             X0S. System architecture X00 may be distributed over
computer media with encoded instructions for performing           various types of networks X02 and/or may operate as cloud
such methods, for detecting both CNVs and SNVs from the 20 computing architecture. Cloud computing architecture may
same sample using the multiplex PCR methods disclosed             include any type of distributed network architecture. By way
herein. In certain preferred embodiments the sample is a          of example and not of limitation, cloud computing archi-
single cell sample or a plasma sample suspected of contain-       tecture is useful for providing software as a service (SaaS),
ing circulating tumor DNA. These embodiments take advan-          infrastructure as a service (IaaS), platform as a service
tage of the discovery that by interrogating DNA samples 25 (PaaS), network as a service (NaaS), data as a service
from single cells or plasma for CNVs and SNVs using the           (DaaS), database as a service (DBaaS), backend as a service
highly sensitive multiplex PCR methods disclosed herein,          (BaaS), test environment as a service (TEaaS), API as a
improved cancer detection can be achieved, versus interro-        service (APiaaS), integration platform as a service (IPaaS)
gating for either CNVs or SNVs alone, especially for              etc.
cancers exhibiting CNV such as breast, ovarian, and lung 30          In an example embodiment, LISs X04 and X06 each
cancer. The methods in certain illustrative embodiments for       include a computer, device, interface, etc. or any sub-system
analyzing CNVs interrogate for between 50 and 100,000 or          thereof. LISs X04 and X06 may include an operating system
50 and 10,000, or 50 and 1,000 SNPs and for SNVs                  (OS), applications installed to perform various functions
interrogate for between 50 and 1000 SNVs or for between 50        such as, for example, access to and/or navigation of data
and 500 SNVs or for between 50 and 250 SNVs. The 35 made accessible locally, in memory, and/or over network
methods provided herein for detecting CNVs and/or SNVs            X02. In an embodiment, LIS X04 accesses analysis platform
in plasma of subjects suspected of having cancer, including       X0S through an application programming interface ("API").
for example, cancers known to exhibit CNVs and SNVs,              LIS X04 may also include one or more native applications
such as breast, lung, and ovarian cancer, provide the advan-      that may operate independently of an APL
tage of detecting CNV s and/or SNVs from tumors that often 40        In an example embodiment, analysis platform X0S
are composed of heterogeneous cancer cell populations in          includes one or more of an input processor X12, a hypoth-
terms of genetic compositions. Thus, traditional methods,         esis manager X14, a modeler X16, an error correction unit
which focus on analyzing only certain regions of the tumors       X18, a machine learning unit X20, and an output processor
can often miss CNVs or SNVs that are present in cells in          X18. Input processor X12 receives and processes inputs
other regions of the tumor. The plasma samples act as liquid 45 from LISs X04 and/or X06. Processing may include but is
biopsies that can be interrogated to detect any of the CNVs       not limited to operations such as parsing, transcoding,
and/or SNVs that are present in only subpopulations of            translating, adapting, or otherwise handling any input
tumor cells.                                                      received from LISs X04 and/or X06. Inputs may be received
Example Computer Architecture                                     via one or more streams, feeds, databases, or other sources
   FIG. 69 shows an example system architecture X00 useful 50 of data, such as may be made accessible by LISs X04 and
for performing embodiments of the present invention. Sys-         X06. Data errors may be corrected by error correction unit
tem architecture X00 includes an analysis platform X0S            X18 through performance of the error correction mecha-
connected to one or more laboratory information systems           nisms described above.
("LISs") X04. As shown in FIG. 69, analysis platform X0S             In an example embodiment, hypothesis manager X14 is
may be connected to LIS X04 over a network X02. Network 55 configured to receive the inputs passed from input processor
X02 may include one or more networks of one or more               X12 in a form ready to be processed in accordance with
network types, including any combination of LAN, WAN,             hypotheses for genetic analysis that are represented as
the Internet, etc. Network X02 may encompass connections          models and/or algorithms. Such models and/or algorithms
between any or all components in system architecture X00.         may be used by modeler X16 to generate probabilities, for
Analysis platform X0S may alternatively or additionally be 60 example, based on dynamic, real-time, and/or historical
connected directly to LIS X06. In an embodiment, analysis         statistics or other indicators. Data used to derive and popu-
platform X0S analyzes genetic data provided by LIS X04 in         late such strategy models and/or algorithms are available to
a software-as-a-service model, where LIS X04 is a third-          hypothesis manager X14 via, for example, genetic data
party LIS, while analysis platform X0S analyzes genetic           source Xl0. Genetic data source XlO may include, for
data provided by LIS X06 in a full-service or in-house 65 example, a nucleic acid sequencer. Hypothesis manager X14
model, where LIS X06 and analysis platform X0S are                may be configured to formulate hypotheses based on, for
controlled by the same party. In an embodiment where              example, the variables required to populate its models




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and/or algorithms. Models and/or algorithms, once popu-            programs or other instructions to be loaded into computer
lated, may be used by modeler Xl 6 to generate one or more         system YOO. Such means may include, for example, a
hypotheses as described above. Hypothesis manager X14              removable storage unit Y70 and an interface (not shown).
may select a particular value, range of values, or estimate        Examples of such means may include a program cartridge
based on a most-likely hypothesis as an output as described        and cartridge interface (such as that found in video game
above. Modeler Xl 6 may operate in accordance with models          devices), a removable memory chip (such as an EPROM, or
and/or algorithms trained by machine learning unit X20. For        PROM) and associated socket, and other removable storage
example, machine learning unit X20 may develop such                units Y70 and interfaces which allow software and data to be
models and/or algorithms by applying a classification algo-        transferred from the removable storage unit Y70 to computer
rithm as described above to a training set database (not 10
                                                                   system YOO.
shown). In certain embodiments, the machine learning unit
                                                                      Computer system YOO may also include a memory con-
analyzes one or more control samples to generate training
                                                                   troller Y75. Memory controller Y75 controls data access to
data sets useful in SNV detections methods provided herein.
   Once hypothesis manager X14 has identified a particular         main memory Y30 and secondary memory Y40. In some
output, such output may be returned to the particular LIS 15 embodiments, memory controller Y75 may be external to
104 or 106 requesting the information by output processor          processor YlO, as shown in FIG. 70. In other embodiments,
X22.                                                               memory controller Y75 may also be directly part of proces-
   Various aspects of the disclosure can be implemented on         sor YlO. For example, many AMD™ and Intel™ processors
a computing device by software, firmware, hardware, or a           use integrated memory controllers that are part of the same
combination thereof. FIG. 70 illustrates an example com- 20 chip as processor YlO (not shown in FIG. 70).
puter system YOO in which the contemplated embodiments,               Computer system YOO may also include a communica-
or portions thereof, can be implemented as computer-read-          tions and network interface YSO. Communication and net-
able code. Various embodiments are described in terms of           work interface YSO allows software and data to be trans-
this example computer system YOO.                                  ferred between computer system YOO and external devices.
   Processing tasks in the embodiment of FIG. 70 are carried 25 Communications and network interface YSO may include a
out by one or more processors Y02. However, it should be           modem, a communications port, a PCMCIA slot and card, or
noted that various types of processing technology may be           the like. Software and data transferred via communications
used here, including programmable logic arrays (PLAs ),            and network interface Y80 are in the form of signals which
application-specific integrated circuits (AS ICs), multi-core      may be electronic, electromagnetic, optical, or other signals
processors, multiple processors, or distributed processors. 30 capable of being received by communication and network
Additional specialized processing resources such as graph-
                                                                   interface YSO. These signals are provided to communication
ics, multimedia, or mathematical processing capabilities
                                                                   and network interface YSO via a communication path Y85.
may also be used to aid in certain processing tasks. These
                                                                   Communication path Y85 carries signals and may be imple-
processing resources may be hardware, software, or an
appropriate combination thereof. For example, one or more 35 mented using wire or cable, fiber optics, a phone line, a
of processors Y02 may be a graphics-processing unit (GPU).         cellular phone link, an RF link or other communications
In an embodiment, a GPU is a processor that is a specialized       channels.
electronic circuit designed to rapidly process mathemati-             The communication and network interface YSO allows the
cally intensive applications on electronic devices. The GPU        computer system YOO to communicate over communication
may have a highly parallel structure that is efficient for 40 networks or mediums such as LANs, WANs the Internet, etc.
parallel processing of large blocks of data, such as math-         The communication and network interface YSO may inter-
ematically intensive data. Alternatively or in addition, one or    face with remote sites or networks via wired or wireless
more of processors Y02 may be a special parallel processing        connections.
without the graphics optimization, such parallel processors           In this document, the terms "computer program medium,"
performing the mathematically intensive functions 45 "computer-usable medium" and "non-transitory medium"
described herein. One or more of processors Y02 may                are used to generally refer to tangible media such as remov-
include a processing accelerator (e.g., DSP or other special-      able storage unit Y70, removable storage drive Y60, and a
purpose processor).                                                hard disk installed in hard disk drive YSO. Signals carried
   Computer system YOO also includes a main memory Y30,            over communication path Y85 can also embody the logic
and may also include a secondary memory Y40. Main 50 described herein. Computer program medium and computer
memory Y30 may be a volatile memory or non-volatile                usable medium can also refer to memories, such as main
memory, and divided into channels. Secondary memory Y 40           memory Y30 and secondary memory Y40, which can be
may include, for example, non-volatile memory such as a            memory semiconductors (e.g. DRAMs, etc.). These com-
hard disk drive YSO, a removable storage drive Y60, and/or         puter program products are means for providing software to
a memory stick. Removable storage drive Y60 may com- 55 computer system YOO.
prise a floppy disk drive, a magnetic tape drive, an optical          Computer programs (also called computer control logic)
disk drive, a flash memory, or the like. The removable             are stored in main memory Y30 and/or secondary memory
storage drive Y60 reads from and/or writes to a removable          Y 40. Computer programs may also be received via commu-
storage unit 470 in a well-known manner. Removable stor-           nication and network interface YSO. Such computer pro-
age unit Y70 may comprise a floppy disk, magnetic tape, 60 grams, when executed, enable computer system YOO to
optical disk, etc. which is read by and written to by remov-       implement embodiments as discussed herein. In particular,
able storage drive Y60. As will be appreciated by persons          the computer programs, when executed, enable processor
skilled in the relevant art(s), removable storage unit Y70         YlO to implement the disclosed processes. Accordingly,
includes a computer usable storage medium having stored            such computer programs represent controllers of the com-
therein computer software and/or data.                          65 puter system YOO. Where the embodiments are implemented
   In alternative implementations, secondary memory Y 40           using software, the software may be stored in a computer
may include other similar means for allowing computer              program product and loaded into computer system YOO




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using removable storage drive Y60, interfaces, hard drive        U.S. Ser. No. 61/994,791, filed May 16, 2014, which is
YSO or communication and network interface YSO, for              hereby incorporated by reference in its entirety. These
example.                                                         methods can be used for analysis of any of the samples
   The computer system YOO may also include input/output/        disclosed herein.
display devices Y90, such as keyboards, monitors, pointing          In one experiment, plasma samples were prepared and
devices, touchscreens, etc.                                      amplified using a hemi-nested 19,488-plex protocol. The
   It should be noted that the simulation, synthesis and/or      samples were prepared in the following way: up to 20 mL of
manufacture of various embodiments may be accomplished,          blood were centrifuged to isolate the buffy coat and the
in part, through the use of computer readable code, including    plasma. The genomic DNA in the blood sample was pre-
general prograrmning languages (such as C or C++ ), hard- 10 pared from the buffy coat. Genomic DNA can also be
ware description languages (HDL) such as, for example,           prepared from a saliva sample. Cell-free DNA in the plasma
Verilog HDL, VHDL, Altera HDL (AHDL), or other avail-            was isolated using the QIAGEN CIRCULATING
able programming tools. This computer readable code can          NUCLEIC ACID kit and eluted in 50 uL TE buffer accord-
be disposed in any known computer-usable medium includ-          ing to manufacturer's instructions. Universal ligation adapt-
ing a semiconductor, magnetic disk, optical disk (such as 15 ers were appended to the end of each molecule of 40 uL of
CD-ROM, DVD-ROM). As such, the code can be transmit-             purified plasma DNA and libraries were amplified for 9
ted over communication networks including the Internet.          cycles using adaptor specific primers. Libraries were puri-
   The embodiments are also directed to computer program         fied with AGENCOURT AMPURE beads and eluted in 50
products comprising software stored on any computer-us-          ul DNA suspension buffer.
able medium. Such software, when executed in one or more 20         6 ul of the DNA was amplified with 15 cycles of STAR
data processing devices, causes a data processing device(s)      1 (95° C. for 10 min for initial polymerase activation, then
to operate as described herein. Embodiments employ any           15 cycles of 96° C. for 30 s; 65° C. for 1 min; 58° C. for 6
computer-usable or -readable medium, and any computer-           min; 60° C. for 8 min; 65° C. for 4 min and 72° C. for 30
usable or -readable storage medium known now or in the           s; and a final extension at 72° C. for 2 min) using 7.5 nM
future. Examples of computer-usable or computer-readable 25 primer concentration of 19,488 target-specific tagged
mediums include, but are not limited to, primary storage         reverse primers and one library adaptor specific forward
devices (e.g., any type of random access memory), second-        primer at 500 nM.
ary storage devices (e.g., hard drives, floppy disks, CD            The hemi-nested PCR protocol involved a second ampli-
ROMS, ZIP disks, tapes, magnetic storage devices, optical        fication of a dilution of the STAR 1 product for 15 cycles
storage devices, MEMS, nano-technological storage 30 (STAR 2) (95° C. for 10 min for initial polymerase activa-
devices, etc.), and communication mediums (e.g., wired and       tion, then 15 cycles of 95° C. for 30 s; 65° C. for 1 min; 60°
wireless communications networks, local area networks,           C. for 5 min; 65° C. for 5 min and 72° C. for 30 s; and a final
wide area networks, intranets, etc.). Computer-usable or         extension at 72° C. for 2 min) using reverse tag concentra-
computer-readable mediums can include any form of tran-          tion of 1000 nM, and a concentration of 20 nM for each of
sitory (which include signals) or non-transitory media 35 19,488 target-specific forward primers.
(which exclude signals). Non-transitory media comprise, by          An aliquot of the STAR 2 products was then amplified by
way of non-limiting example, the aforementioned physical         standard PCR for 12 cycles with 1 uM of tag-specific
storage devices (e.g., primary and secondary storage             forward and barcoded reverse primers to generate barcoded
devices).                                                        sequencing libraries. An aliquot of each library was mixed
   It will be understood that any of the embodiments dis- 40 with libraries of different barcodes and purified using a spin
closed herein can be used in combination with any other          column.
embodiment disclosed herein.                                        In this way, 19,488 primers were used in the single-well
Experimental Section                                             reactions; the primers were designed to target SNPs found
   The presently disclosed embodiments are described in the      on chromosomes 1, 2, 13, 18, 21, X and Y. The amplicons
following Examples, which are set forth to aid in the 45 were then sequenced using an ILLUMINA GAIIX
understanding of the disclosure, and should not be construed     sequencer. If desired, the number of sequencing reads can be
to limit in any way the scope of the disclosure as defined in    increased to increase the number of targeted SNPs that are
the claims which follow thereafter. The following examples       amplified and sequenced.
are put forth so as to provide those of ordinary skill in the       Relevant genomic DNA samples amplified using a semi-
art with a complete disclosure and description of how to use 50 nested 19,488 outer forward primers and tagged reverse
the described embodiments, and is not intended to limit the      primers at 7.5 nM in the STAR 1. Thermocycling conditions
scope of the disclosure nor is it intended to represent that the and composition of STAR 2, and the barcoding PCR were
experiments below are all or the only experiments per-           the same as for the hemi-nested protocol.
formed. Efforts have been made to ensure accuracy with
respect to numbers used (e.g., amounts, temperature, etc.) 55                              Example 2
but some experimental errors and deviations should be
accounted for. Unless indicated otherwise, parts are parts by       Exemplary primer selection methods are described in U.S.
volume, and temperature is in degrees Centigrade. It should      application Ser. No. 13/683,604, filed Nov. 21, 2012 (U.S.
be understood that variations in the methods as described        Publication No. 2013/0123120) and U.S. Ser. No. 61/994,
may be made without changing the fundamental aspects that 60 791, filed May 16, 2014, which is hereby incorporated by
the experiments are meant to illustrate.                         reference in its entirety). These methods can be used for
                                                                 analysis of any of the samples disclosed herein.
                          Example 1                                 The following experiment illustrates an exemplary
                                                                 method for designing and selecting a library of primers that
   Exemplary sample preparation and amplification methods 65 can be used in any of the multiplexed PCR methods of the
are described in U.S. application Ser. No. 13/683,604, filed     invention. The goal is to select primers from an initial library
Nov. 21, 2012; U.S. Publication No. 2013/0123120, and            of candidate primers that can be used to simultaneously




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amplify a large number of target loci (or a subset of target      lihood of primer-dimers involving the two interacting prim-
loci) in a single reaction volume. For an initial set of          ers. The score was calculated as follows:
candidate target loci, primers did not have to be designed or
                                                                          interaction score~max(-deltaG_2,0.8* (-deltaG_1))
selected for each target locus. Preferably, primers are
designed and selected for a large portion of the most 5 where
desirable target loci.                                               deltaG_2=Gibbs energy (energy required to break the
Step 1                                                            dimer) for a dimer that is extensible by PCR on both ends,
   A set of candidate target loci (such as SNPs) were selected    i.e., the 3' end of each primer anneals to the other primer; and
based on publicly available information about desired                deltaG_l =Gibbs energy for a dimer that is extensible by
parameters for the target loci, such as frequency of the SNPs 10 PCR on at least one end.
within a target population or heterozygosity rate of the SNPs     Step 3:
(worldwide web at ncbi.nlm.nih.gov/projects/SNP/; Sherry             For each target locus, if there was more than one primer-
S T, Ward M H, Kholodov M, et al. dbSNP: the NCBI                 pair design, then one design was selected using the follow-
database of genetic variation. Nucleic Acids Res. 2001 Jan.       ing method:
1; 29(1 ):308-11, which are each incorporated by reference in 15     For each primer-pair design for the locus, find the worst-
its entirety). For each candidate locus, one or more PCR          case (highest) interaction score for the two primers in that
primer pairs were designed using the Primer3 program (the         design and all primers from all designs for all other target
worldwide web at primer3.sourceforge.net; libprimer3              loci. Pick the design with the best (lowest) worst-case
release 2.2.3, which is hereby incorporated by reference in       interaction score.
its entirety). If there were no feasible designs for PCR 20 Step 4
primers for a particular target locus, then that target locus        A graph was built such that each node represented one
was eliminated from further consideration.                        locus and its associated primer-pair design (e.g., a Maximal
   If desired, a "target locus score" (higher score represent-    Clique problem). One edge was created between every pair
ing higher desirability) can be calculated for most or all of     of nodes. A weight was assigned to each edge equal to the
the target loci, such as a target locus score calculated based 25 worst-case (highest) interaction score between the primers
on a weighted average of various desired parameters for the       associated with the two nodes connected by the edge.
target loci. The parameters may be assigned different             Step 5
weights based on their importance for the particular appli-          If desired, for every pair of designs for two different target
cation that the primers will be used for. Exemplary param-        loci where one of the primers from one design and one of the
eters include the heterozygosity rate of the target locus, the 30 primers from the other design would anneal to overlapping
disease prevalence associated with a sequence (e.g., a poly-      target regions, an additional edge was added between the
morphism) at the target locus, the disease penetrance asso-       nodes for the two design. The weight of these edges was set
ciated with a sequence (e.g., a polymorphism) at the target       equal to the highest weight assigned in Step 4. Thus, Step 5
locus, the specificity of the candidate primer(s) used to         prevents the library from having primers that would anneal
amplify the target locus, the size of the candidate primer(s) 35 to overlapping target regions, and thus interfere with each
used to amply the target locus, and the size of the target        other during a multiplex PCR reaction.
amplicon. In some embodiments, the specificity of the             Step 6
candidate primer for the target locus includes the likelihood        An initial interaction score threshold was calculated as
that the candidate primer will mis-prime by binding and           follows:
amplifying a locus other than the target locus it was designed 40
to amplify. In some embodiments, one or more or all the                   weight_threshold~max(edge_weight)-0.05*(max
                                                                               (edge_weight)-min( edge_weight))
candidate primers that mis-prime are removed from the
library.                                                          where
Step 2                                                               max(edge_weight) is the maximum edge weight in the
   A thermodynamic interaction score was calculated 45 graph; and
between each primer and all primers for all other target loci        min(edge_weight) is the minimum edge weight in the
from Step 1 (see, e.g., Allawi, H. T. & SantaLucia, J., Jr.       graph.
(1998), "Thermodynamics of Internal C-T Mismatches in             The initial bounds for the threshold were set as follows:
DNA", Nucleic Acids Res. 26, 2694-2701; Peyret, N., Sen-             max_weight_threshold=max(edge_weight)
eviratne, P. A., Allawi, H. T. & SantaLucia, J., Jr. (1999), 50      min_weight_threshold=min(edge_weight)
"Nearest-Neighbor Thermodynamics and NMR of DNA                   Step 7
Sequences with Internal A-A, C-C, G-G, and T-T Mis-                  A new graph was constructed consisting of the same set
matches", Biochemistry 38, 3468-3477; Allawi, H. T. &             of nodes as the graph from Step 5, only including edges with
SantaLucia, J., Jr. (1998), "Nearest-Neighbor Thermody-           weights that exceed weight_threshold. Thus, step ignores
namics of Internal A-C Mismatches in DNA: Sequence 55 interactions with scores equal to or below weight_threshold.
Dependence and pH Effects", Biochemistry 37, 9435-9444;           Step 8
Allawi, H. T. & SantaLucia, J., Jr. (1998), "Nearest Neigh-          Nodes (and all of the edges connected to the removed
bor Thermodynamic Parameters for Internal G-A Mis-                nodes) were removed from the graph of Step 7 until there
matches in DNA", Biochemistry 37, 2170-2179; andAllawi,           were no edges left. Nodes were removed by applying the
H. T. & SantaLucia, J., Jr. (1997), "Thermodynamics and 60 following procedure repeatedly:
NMR of Internal G-T Mismatches in DNA", Biochemistry                 1 Find the node with the highest degree (highest number
36, 10581-10594; MultiPLX 2.1 (Kaplinski L, Andreson R,                  of edges). If there is more than one then pick one
Puurand T, Remm M. MultiPLX: automatic grouping and                      arbitrarily.
evaluation of PCR primers. Bioinformatics. 2005 Apr. 15;             2 Define the set of nodes consisting of the node picked
21(8): 1701-2, which are each hereby incorporated by refer- 65           above and all of the nodes connected to it, but exclud-
ence in its entirety). This step resulted in a 2D matrix of              ing any nodes that have degree less than the node
interaction scores. The interaction score predicted the like-            picked above.




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   3 Choose the node from the set that has the lowest target       amounts DNA from the father cell line were mixed with
      locus score (lower score representing lower desirabil-       DNA from the daughter cell line. The total DNA input was
      ity) from Step 1. Remove that node from the graph.           approximately 75 ng (-25 k copies) of genomic DNA.
Step 9                                                             Approximately 3,456 SNPs were amplified using direct
   If the number of nodes remaining in the graph satisfies the     multiplex PCR for X and Y chromosome assays. The ampli-
required number of target loci for the multiplexed PCR pool        fied products were sequenced using 50 bp single run
(within an acceptable tolerance), then the method was con-         sequencing with 7 bp barcodes using the Rapid/HT mode.
tinued at Step 10.                                                 The number of reads was approximately !OK per SNP.
   If there were too many or too few nodes remaining in the           As shown in FIGS. 19A-19D, mosaicism from the
graph, then a binary search was performed to determine 10 father's DNA could be detected. These figures indicate that
what threshold values would result in the desired number of        chromosomes segments or entire chromosomes that are
nodes remaining in the graphs. If there were too many nodes        overrepresented can be detected.
in the graph then, the weight_threshold bounds were                   All patents, patent applications, and published references
adjusted as follows:                                               cited herein are hereby incorporated by reference in their
                                                                15 entirety. While the methods of the present disclosure have
       max_weight_threshold~weight_threshold
                                                                   been described in connection with the specific embodiments
   Otherwise (if there are two few nodes in the graph), then       thereof, it will be understood that it is capable of further
the weight_threshold bounds were adjusted as follows:              modification. Furthermore, this application is intended to
                                                                   cover any variations, uses, or adaptations of the methods of
       min_weight_threshold~weight_threshold
                                                                20 the present disclosure, including such departures from the
Then, the weight_threshold was adjusted follows:                   present disclosure as come within known or customary
                                                                   practice in the art to which the methods of the present
       weight_threshold~(max_weight_threshold+min_                 disclosure pertain, and as fall within the scope of the
            weight_threshold)/2
                                                                   appended claims. Any of the embodiments of the invention
Steps 7-9 were repeated.                                        25 can be performed by analyzing the DNA and/or RNA in a
Step 10                                                            sample. For example, any of the methods disclosed herein
   The primer-pair designs associated with the nodes               for DNA can be readily adapted for RNA, for example, by
remaining in the graph were selected for the library of            including a reverse transcription step to convert the RNA
primers. This primer library can be used in any of the             into DNA.
methods of the invention.                                       30
   If desired, this method of designing and selecting primers                                Example 4
can be performed for primer libraries in which only one
primer (instead of a primer pair) is used for amplification of        This example describes an exemplary method for non-
a target locus. In this case, a node presents one primer per       invasive cell-free tumor DNA-based detection of breast
target locus (rather than a primer pair).                       35 cancer-related copy number variations. Breast cancer
                                                                   screening involves mammography, which results in a high
                              Example 3                            false positive rate and misses some cancers. Analysis of
                                                                   tumor-derived circulating cell-free DNA (ctDNA) for can-
   If desired, methods of the invention can be tested to           cer-associated CNVs may allow for earlier, safer, and more
evaluate their ability to detect a deletion or duplication of a 40 accurate screening. A SNP-based massively multiplex PCR
chromosome or chromosome segment. The following                    (mmPCR) approach was used to screen for CNVs in ctDNA
experiment was performed to demonstrate the detection of           isolated from the plasma of breast cancer patients. The
an overrepresentation of the X chromosome or a segment             mmPCR assay was designed to target 3,168 SNPs on
from the X chromosome inherited from the father compared           chromosomes 1, 2, and 22, which often have CNVs in
to the X chromosome or X chromosome segment from the 45 cancer (e.g., 49% of breast cancer samples have a 22q
mother. This assay is designed to mimic a deletion or              deletion). Six plasma samples from breast cancer patients-
duplication of a chromosome or chromosome segment.                 one stage Ila, four stage Ilb, and one stage IIIb-were
Different amounts of DNA from a father (with XY sex                analyzed. Each sample had CNVs on one or more of the
chromosomes) were mixed with DNA from a daughter (with             targeted chromosomes. The assay identified CNVs in all six
XX sex chromosomes) of the father for analysis of the extra 50 plasma samples, including in one stage Ilb sample that was
amount ofX chromosome from the father (FIGS.19A-19D).              correctly called at a ctDNA fraction of 0.58% (FIGS. 30,
   DNA from father and daughter cells lines was extracted          318, 32A, 32B, and 33); detection only required 86 het-
and quantified using Qubit. Father cell line AG16782,              erozygous SNPs. A stage Ila sample was also corrected
cAG16782-2-F and daughter cell line AG16777,                       called at a ctDNA fraction of 4.33% using approximately
cAG16777-2-P were used. To determine the father's haplo- 55 636 heterozygous SNPs (FIGS. 29, 31A, and 32A). This
type for the X chromosome, SNPs were detected that are             demonstrates that focal or whole chromosome arm CNVs,
present on the X chromosome but not on the Y chromosome,           both common in cancer, can be readily detected.
so there would be a signal from the father's X chromosome             To further evaluate sensitivity, 22 artificial mixtures con-
but not Y chromosome. The daughter inherited this haplo-           taining a 3 Mb 22q CNV from a cancer cell line were mixed
type from the father. The haplotype from the other X 60 with DNA from a normal cell line (5:95) to simulate a
chromosome in the daughter was inherited from her mother.          ctDNA fraction of between 0.43% and 7.35% (FIGS. 28A-
This haplotype from the mother can be determined by                28C). The method correctly detected CNVs in 100% of these
assigning the SNPs in the DNA from the daughter cell line          samples. Thus, artificial cfDNA polynucleotide standards/
that were not inherited from the father to the haplotype from      controls can be made by spiking isolated polynucleotide
the mother.                                                     65 samples that include fragmented polynucleotide mixtures
   To determine whether an overrepresentation of the X             generated by non-cfDNA sources known to exhibit CNV,
chromosome from the father could be detected, different            such as tumor cell lines, into other DNA samples at con-




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centrations similar to those observed for cfDNA in vivo,              The second method (denoted "LOD-zs5.0" in FIGS. 34
such as between, for example, 0.01% and20%, 0.1 and 15%,           and 35) calculates the limit of detection based on the z-score.
or 0.4 and 10% of DNA in that fluid. These standards/              The Z-score is the number of standard deviations an
controls can be used as controls for assay design, charac-         observed error percentage is away from the background
terization, development, and/or validation, and as quality 5 mean error. If desired, outliers can be removed and the
control standards during testing, such as cancer testing           z-score can be recalculated and this process can be repeated.
performed in a CLIA lab and/or as standards included in            The final weighted mean and the standard deviation of the
research use only or diagnostic test kits. Significantly, in       error rate are used to calculate the z-score. The mean is
numerous cancers-including breast and ovarian-CNVs                 weighted by the DOR since the accuracy is higher when the
are more prevalent relative to point mutations. Together, this 10 DOR is higher.
supports that this SNP-based mmPCR approach offers a                  For the exemplary z-score calculation used for this
cost-effective, non-invasive method for detecting these can-       example, the background mean error and standard deviation
cers.                                                              were calculated from all the other samples of the same
                                                                   sequencing run weighted by their depth of read, for each
                          Example 5                             15 genomic locus and substitution type. Samples were not
                                                                   considered in the background distribution if they were 5
   This example describes an exemplary method for detec-           standard deviations away from the background mean. The
tion of copy number variations in breast cancer samples            orange lines in FIGS. 34 and 35 indicate SNVs for which the
using SNP-targeted massively multiplexed PCR. Evaluation           limit of detection is limited by the error rate. For these
of CNV in tumor tissues typically involves SNP microarray 20 SNV's enough reads were taken to reach the 5 read mini-
or aCGH. These methods have high whole-genome resolu-              mum, and the limit of detection was limited by the error rate.
tion, but require large amounts of input material, have high       If desired, the limit of detection can be improved by opti-
fixed costs, and do not work well on formaldehyde fixed-           mizing the assay to reduce the error rate.
paraffin embedded (FFPE) samples. For this example,                   The third method (denoted "LOD-zs5.0-mr5" in FIGS. 34
28,000-plex SNP-targeted PCR with next generation 25 and 35) calculates the limit of detection based on the
sequencing (NGS) was used to target lp, lq, 2p, 2q, 4p16,          maximum value of the above two metrics.
5p15, 7qll, 15q, 17p, 22qll, 22q13 and chromosomes 13,                For the analysis of a tumor sample shown in FIG. 34, the
18, 21 and X for detection of CNVs in breast cancer                mean limit of detection was 0.36%, and the median limit of
samples. Accuracy was validated on 96 samples with aneu-           detection was 0.28%. The number of DOR limited (gray
ploidies or microdeletions. Single-molecule sensitivity was 30 lines) SNVs was 934. The number of error rate limited
established by analyzing single cells. Of 17 breast cancer         (orange lines) SNVs was 738.
samples (15 fresh frozen and 2 FFPE tumor tissues, 5 pairs            For the analysis of cDNA in a plasma sample shown in
of matched tumor and normal cell lines) analyzed, 16               FIG. 35, the mean limit of detection was 0.24%, and the
(including both FFPEs) were observed with full or partial          median limit of detection was 0.09%. The number of DOR
CNVs in one to 15 targets (average: 7.8); evidence of tumor 35 limited (gray lines) SNVs was 732. The number of error rate
heterogeneity was observed. The three tissues with one CNV         limited (orange lines) SNVs was 921.
all had a lq duplication, the most frequent cytogenetic
abnormality in breast carcinoma. The most frequent regions                                   Example 7
with CNVs were lq, 7p, and 22ql. Only one tumor tissue
(with 9 CNVs) had a region with LOH; this LOH was also 40             This example illustrates the detection of CNV s and SNVs
detected in adjacent putatively normal tissue that lacked the      from the same single cell. The following primer libraries
other 8 CNVs. By contrast, 5 or more regions with LOH and          were used: a library of -28,000 primers for detecting CNVs,
a high total CNV incidence (average: 12.8) was detected in         a library of -3,000 primers for detecting CNVs, and library
cell lines. Thus, massively multiplexed PCR offers an eco-         of primers for detecting SNVs. For analysis of a single cell,
nomical high-throughput approach to investigate CNVs in a 45 cells were serial diluted until there were 3 or 4 cells per
targeted mamier, and is applicable to difficult-to-analyze         droplet. An individual cell was pipetted and placed into a
samples, such as FFPE tissues.                                     PCR tube. The cell was lysed using Protease K, salt, and
                                                                   DTT using the following conditions: 56° C. for 20 minutes,
                          Example 6                                95° C. for 10 minutes, and then a 4° C. hold. For analysis of
                                                                50 genomic DNA, DNA from the same cell line as the analyzed
   This example illustrates exemplary methods for calculat-        single cell was either purchased or obtained by growing the
ing the limit of detection for any of the methods of the           cells and extracting the DNA.
invention. These methods were used to calculate the limit of          For amplification with the library of -28,000 primers, the
detection for single nucleotide variants (SNVs) in a tumor         following PCR conditions were used: a 40 uL reaction
biopsy (FIG. 34) and a plasma sample (FIG. 35).                 55 volume, 7.5 nM of each primer, and 2x master mix (MM).
   The first method (denoted "LOD-mr5" in FIGS. 34 and             In some embodiments QIAGEN Multiplex PCR Kit is used
35) calculates the limit of detection based on a minimum of        for the master mix (QIAGEN catalog No. 206143; see, e.g.,
5 reads being chosen as the minimum number of times a              information available at the world wide web at qiagen.
SNV is observed in the sequencing data to have sufficient          com/products/catalog/assay-technologies/end-point-per-
confidence the SNV is actually present. The limit of detec- 60 and-rt-per-reagents/qiagen-multiplex-per-kit, is which is
tion is based on whether the observed the depth of read            hereby incorporated by reference in its entirety). The kit
(DOR) is above this minimum of 5. The gray lines in FIGS.          includes 2xQIAGEN Multiplex PCR Master Mix (providing
34 and 35 indicate SNVs for which the limit of detection is        a final concentration of 3 mM MgCl 2 , 3x0.85 ml), 5xQ-
limited by the DOR. In these cases, not enough reads were          Solution (lx2.0 ml), and RNase-Free Water (2xl.7 ml). The
measured to reach the error limit of the assay. If desired, the 65 QIAGEN Multiplex PCR Master Mix (MM) contains a
limit of detection can be improved (resulting in a lower           combination of KC! and (NH4 ) 2 SO4 as well as the PCR
numerical value) for these SNVs by increasing the DOR.             additive, Factor MP, which increases the local concentration




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of primers at the template. Factor MP stabilizes specifically       ther illustrates the development and use of "PlasmArt"
bound primers, allowing efficient primer extension by, e.g.,        standards for PCR of ctDNA samples. PlasmArt standards
HotStarTaq DNA Polymerase. HotStarTaq DNA Polymerase                include polynucleotides having sequence identity to regions
is a modified form of Taq DNA polymerase and has no                 of the genome known to exhibit CNV and a size distribution
polymerase activity at ambient temperatures. The following 5 that reflects that of cfDNA fragments naturally found in
thermocycling conditions were used for the first round of           plasma.
PCR: 95° C. for 10 minutes; 25 cycles of 96° C. for 30              Sample Collection
seconds, 65° C. for 29 minutes, and 72° C. for 30 seconds;             Human breast cancer cell lines (HCC38, HCC1143,
and then 72° C. for 2 minutes, and a 4° C. hold. For the            HCC1395, HCC1937, HCC1954, and HCC2218) and
second round of PCR a 10 ul reaction volume, 1xMM, and 10 matched normal cell lines (HCC38BL, HCC1143BL,
5 nM of each primer was used. The following thermocycling           HCC1395BL,           HCC1937BL,       HCC1954BL,        and
conditions were used: 95° C. for 15 minutes; 25 cycles of
                                                                    HCC2218BL) were obtained from the American Type Cul-
94° C. for 30 seconds, 65° C. for 1 minute, 60° C. for 5
                                                                    ture Collection (ATCC). Trisomy 21 B-lymphocyte
minutes, 65° C. for 5 minutes, and 72° C. for 30 seconds;
                                                                    (AG16777) and paired father/child DiGeorge Syndrome
and then 72° C. for 2 minutes, and a 4° C. hold.                 15
    For the library of -3,000 primers, exemplary reaction           (DGS)    cell lines (GM10383 and GM10382, respectively)
conditions include a 10 ul reaction volume, 2xMM, 70 mM             were from the Coriell Cell Repository (Camden, N.J.).
TMAC, and 2 nM primer of each primer. For the library of            GM! 0382 cells only have the paternal 22q 11.2 region.
primers for detecting SNVs, exemplary reaction conditions              We procured tumour tissues from 16 breast cancer
include a 10 ul reaction volume, 2xMM, 4 mM EDTA, and 20 patients, including 11 fresh frozen (FF) samples from
7 .5 nM primer of each primer. Exemplary thermocycling              Geneticist (Glendale, Calif.) and five formalin-fixed paraf-
conditions include 95° C. for 15 minutes, 20 cycles of 94°          fin-embedded (FFPE) samples from North Shore-LIJ (Man-
C. for 30 seconds, 65° C. for 15 minutes, and 72° C. for 30         hasset, N.Y.). We acquired matched buffy coat samples for
seconds; and then 72° C. for 2 minutes, and a 4° C. hold.           eight patients and matched plasma samples for nine patients.
    The amplified products were barcoded. One run of 25 FF tumour tissues and matched buffy coat and plasma
sequencing was performed with an approximately equal                samples from five ovarian cancer patients were from North
number of reads per sample.                                         Shore-LIJ. For eight breast tumour FF samples, tissue sub-
    FIGS. 36A and 36B show results from analysis of                 sections were resected for analysis. Institutional review
genomic DNA (FIG. 36A) or DNA from a single cell (FIG.              board approvals from Northshore/LIJ IRB and Kharkiv
36B) using a library of approximately 28,000 primers 30 National Medical University Ethics Committee were
designed to detect CNVs. Approximately 4 million reads              obtained for sample collection and informed consent was
were measured per sample. The presence of two central               obtained from all subjects.
bands instead of one central band indicates the presence of            Blood samples were collected into EDTA tubes. Circu-
a CNV. For three samples of DNA from a single cell, the             lating tumour DNA was isolated from 1 mL plasma using the
percent of mapped reads was 89.9%, 94.0%, and 93.4%, 35 QIAamp Circulating Nucleic Acid Kit (Qiagen, Valencia,
respectively. For two samples of genomic DNA the percent            Calif.).
of mapped reads was 99.1 % for each sample.                            To make the PlasmArt standards according to one exem-
    FIGS. 37A and 37B show results from analysis of                 plary method, first, 9 D106 cells were lysed with hypotonic
genomic DNA (FIG. 37A) or DNA from a single cell (FIG.              lysis buffer (20 mM Tris-Cl (pH 7.5), 10 mM NaCl, and 3
37B) using a library of approximately 3,000 primers 40 mM MgCl2) for 15 min on ice. Then, 10% IGEPAL CA-630
designed to detect CNVs. Approximately 1.2 million reads            (Sigma, St. Louis, Mo.) was added to a final concentration
were measured per sample. The presence of two central               of0.5%. After centrifugation at 3,000 g for 10 min at 4° C.,
bands instead of one central band indicates the presence of         pelleted nuclei were resuspended in 1x micrococcal nucle-
a CNV. For three samples of DNA from a single cell, the             ase (MNase) Buffer (New England BioLabs, Ipswich,
percent of mapped reads was 98.2%, 98.2%, and 97.9%, 45 Mass.) before adding 1000 U of MNase (New England
respectively. For two samples of genomic DNA the percent            BioLabs), and then incubated for 5 min at 37° C. Reactions
of mapped reads was 98.8% for each sample. FIG. 38                  were stopped by adding EDTA to a final concentration of 15
illustrates the uniformity in DOR for these -3,000 loci.            mM. Undigested chromatin was removed by centrifugation
    For calling SNVs, the call percent for true positive            at 2,000 g for 1 min. Fragmented DNA was purified with the
mutations was similar for DNA from a single cell and 50 DNA Clean & Concentrator™-500 kit (Zymo Research,
genomic DNA. A graph of call percent for true positive              Irvine, Calif.). Mononucleosomal DNA produced by MNase
mutations for single cells on the y-axis versus that for            digestion was also purified and size-selected using AMPure
genomic DNA on the x-axis yielded a curve fit of                    XP magnetic beads (Beckman Coulter, Brea, Calif.). DNA
y=l.0076x-0.3088 with R 2 =0.9834. FIG. 39 shows similar            fragments were sized and quantified with a Bioanalyzer
error call metrics for genomic DNA and DNA from a single 55 DNA 1000 chip (Agilent, Santa Clara, Calif.).
cell. FIG. 40 shows that the error rate for detecting transition       To model ctDNA at different concentrations, different
mutations was greater than for detecting transversion muta-         fractions of PlasmArts from HCC1954 andHCC2218 cancer
tions, indicating it may be desirable to select transversion        cells were mixed with those from the corresponding
mutations for detection rather than transition mutations            matched normal cell line (HCC1954BL and HCC2218BL,
when possible.                                                   60 respectively). Three samples at each concentration were
                                                                    analyzed. Similarly, to model allelic imbalances in plasma
                          Example 8                                 DNA in a focal 3 .5 Mb region, we generated PlasmArts from
                                                                    DNA mixtures containing different ratios of DNA from a
    This example further validates a massively multiplexed          child with a maternal 22q 11.2 deletion and DNA from the
PCR methodology for chromosomal aneuploidy and CNV 65 father. Samples containing only the father's DNA were used
determination disclosed herein, called CoNVERGe (Copy               as negative controls. Eight samples at each concentration
Number Variant Events Revealed Gcnotypically), and fur-             were analyzed.




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   Accordingly, to evaluate the sensitivity and reproducibil-      63e). Moreover, the maximum homolog ratios for CNVs
ity of CoNVERGe, especially when the proportion of abnor-          identified by CoNVERGe and CytoSNP-12 microarrays
mal DNA for a CNV, or average allelic imbalance (AAI), is          exhibited a strong linear correlation (R2=0.987, P<0.001)
low, we used it to detect CNVs in DNA mixtures comprised           (FIG. 63.1).
of a previously characterized abnormal sample titrated into 5         We next applied CoNVERGe to fresh-frozen (FF) (FIG.
a matched normal sample. The mixtures consisted of artifi-         64a) and formalin-fixed, paraffin-embedded (FFPE) breast
cial cfDNA, termed "PlasmArt", with fragment size distri-          tumour tissue samples (FIG. 64b, 64d). In both sample
bution approximating natural cfDNA (see above). FIG. 42            types, several arm-level and focal CNVs were present;
graphically displays the size distribution of an exemplary         however, no CNVs were detected in DNA from matched
PlasmArt prepared from a cancer cell line compared to the 10 buffy coat samples. CoNVERGe results were highly corre-
size distribution of cfDNA, looking at CNVs on chromo-             lated with those from microarray analyses of the same
some arms lp, lq, 2p, and 2q. In the first pair, a son's tumor     samples (FIG. 64e-h; R2=0.909, P<0.001 for CytoSNP-12
DNA sample having a 3 Mb Focal CNV deletion of the                 on FF; R2=0.992, P<0.001 for OncoScan on FFPE). CoN-
22q 11.2 region was titrated into a matched normal sample          VERGe also produces consistent results on small quantities
from the father at between 0-1.5% total cfDNA (FIG. 41a). 15 of DNA extracted from laser capture microdissection (LCM)
CoNVERGe reproducibly identified CNVs corresponding to             samples, for which microarray methods are not suitable.
the known abnormality with estimated AAI of >0.35% in              Detection of CNVs in Single Cells with CoNVERGe
mixtures of ;;,;0.5%+/-0.2% AAI, failed to detect the CNV in          To test the limits of the applicability of this mmPCR
6/8 replicates at 0.25% abnormal DNA, and reported a value         approach, we isolated single cells from the six aforemen-
of s0.05% for all eight negative control samples. The AAI 20 tioned cancer cell lines and from a B-lymphocyte cell line
values estimated by CoNVERGe showed high linearity                 that had no CNVs in the target regions. The CNV profiles
(R2=0.940) and reproducibility (error variance=0.087). The         from these single-cell experiments were consistent between
assay was sensitive to different levels of amplification within    three replicates and with those from genomic DNA (gDNA)
the same sample. Based on these data a conservative detec-         extracted from a bulk sample of about 20,000 cells (FIG.
tion threshold of 0.45% AAI could be used for subsequent 25 65). On the basis of the number ofSNPs with no sequencing
analyses. Using this cutoff another experiment was per-            reads, the average assay drop-out rate for bulk samples was
formed in which Plasmart synthetic ctDNA was spiked at             0.48% (range: 0.41-0.60%), which is attributable to either
known concentrations to create synthetic cancer plasma at          synthesis or assay design failure. For single cells, the
between around 0.5% and around 3.5%. Negative plasma               additional average assay drop-out rate observed was 0.39%
was also included as a control. All of the synthetic cancer 30 (range: 0.19-0.67%). For single cell assays that did not fail
plasma yielded estimates above 0.45% and the reading for           (i.e. no assay drop-out occurred), the average single ADO
the negative plasma was well below 0.45% (FIG. 43A-D).             rate calculated using heterozygous SNPs only was 0.05%
FIG. 43A shows the maximum likelihood of tumor, and FIG.           (range: 0.00-0.43%). Additionally, the percentage of SNPs
43B shows an estimate of DNA fraction results as an odds           with high confidence genotypes (i.e. SNP genotypes deter-
ratio plot. FIG. 43C is a plot for the detection oftransversion 35 mined with at least 98% confidence) was similar for both
events. FIG. 43D is a plot for the detection of Transition         single cell and bulk samples and the genotype in the single
events.                                                            cell samples matched those in the bulk sample (average
   Two additional PlasmArt titrations, prepared from pairs of      99.52%, range: 92.63-100.00%).
matched tumor and normal cell line samples and having                 In single cells, allele frequencies are expected to directly
CNVs on chromosome 1 or chromosome 2, were also 40 reflect chromosome copy numbers, unlike in tumour
evaluated (FIG. 41b, 41c). Among negative controls, all            samples where this may be confounded by TH and non-
values were <0.45%, and high linearity (R2=0.952 for               tumour cell contamination. BAFs of 1/n and (n-1 )/n indicate
HCC1954 lp, R2=0.993 for HCC1954 lq, R2=0.977 for                  n chromosome copies in a region. Chromosome copy num-
HCC2218 2p, R2=0.967 for HCC2218 2q) and reproduc-                 bers are indicated on the allele frequency plots for both
ibility (error variance=0.190 for HCC1954 lp, 0.029 for 45 single cells and matched gDNA samples (FIG. 65).
HCC1954 lq, 0.250 for HCC2218 2p, and 0.350 for                    Application of CoNVERGe to Plasma Samples
HCC2218 2q) were observed between the known input                     To investigate the ability ofCoNVERGe to detect CNVs
DNA amount and that calculated by CoNVERGe. The                    in real plasma samples, we applied our approach to cfDNA
difference in the slopes of the regressions for regions lp and     paired with a matched tumour biopsy from each of two stage
lq of one sample pair correlates with the relative difference 50 II breast cancer patients and five late-stage ovarian cancer.
in copy number observed in the B-allelic frequencies               In all seven patients, CNVs were detected in both FF tumour
(BAFs) of regions lp and lq of the same sample, demon-             tissues and in the corresponding plasma samples (FIG. 66).
strating the relative precision of the AAI estimate calculated     FIG. 67 provides a list of SNV breast cancer mutations. A
by CoNVERGe (FIG. 41c, 41d).                                       total of 32 CNVs, at a level of ;;,;0.45% AAI, were detected
   The workflow for processing samples is illustrated in FIG. 55 in the seven plasma samples (range: 0.48-12.993/oAAI) over
63. CoNVERge has application to a variety of sample                the five regions assayed, which represent about 20% of the
sources including FFPE, Fresh Frozen, Single Cell, Germ-           genome. Note that the presence of CNVs in plasma cannot
line control and cfDNA. We applied CoNVERGe to six                 be confirmed due to the lack of alternative orthogonal
human breast cancer cell lines and matched normal cell lines       methods.
to assess whether it can detect somatic CNVs. Arm-level and 60        Although AAI estimates may appear correlated with
focal CNVs were present in all six tumour cell lines, but          BAFs in tumour, direct proportionality should not necessar-
were absent from their matched normal cell lines, with the         ily be expected due to tumour heterogeneity. For example, in
exception of chromosome 2 in HCC1143 in which the                  sample BC5 (FIG. 66a), the ovals at the upper left area of
normal cell line exhibits a deviation from the 1: 1 homolog        FIG. 66a indicate regions that have BAFs compatible with
ratio (FIG. 63b). To validate these results on a different 65 N=ll; combining this with the AAI calculation from the
platform, we performed CytoSNP-12 microarray analyses,             plasma sample leads to estimates for c of 2.33% and 2.67%
which produced consistent results for all samples (FIG. 63d,       for the two regions. Estimating c using the other regions in




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the sample give values between 4.46% and 9.53%, which             fraction as erythrocytes are enucleated. Circulating tumor
clearly demonstrates the presence of tumor heterogeneity.         DNA was isolated from at least 1 mL plasma using the
   These data demonstrate that CNVs can be detected in            QIAamp Circulating Nucleic Acid Kit, Qia-Amp (Qiagen,
plasma in a substantial fraction of samples, and suggest that     Valencia, Calif.), according to the manufacture's protocol.
the more prevalent a CNV is within a tumour, the more          5 Plasma CNV Protocol for 3,168-plex for Chromosomes lp,
likely it is to be observed in cfDNA. Furthermore, CoN-           lq, 2p, 2q, and 22qll
VERGe detected CNVs from a liquid biopsy that may have               Plasma DNA libraries were prepared and amplified using
otherwise gone unobserved in a traditional tumour biopsy.         a mmPCR 3,168-plex protocol. The samples were prepared
                                                                  in the following way: Up to 20 mL of blood was centrifuged
                          Example 9                            10 to isolate the buffy coat and the plasma. Plasma extraction
                                                                  of cfDNA and library preparation was performed. DNA was
   This example provides details regarding certain exem-          eluted in 50 uL TE buffer. The input for mmPCR was 6.7 uL
plary sample preparation methods used for CoNVERGe                of amplified and purified Natera plasma library at an input
analysis of different types of samples.                           amount of approximately 1200 ng. The plasma DNA was
Single Cell CNV Protocol for 28,000-Plex PCR                   15 amplified in a 20 uL reaction volume containing Qiagen
   Multiplexed PCR allows simultaneous amplification of           mp-PCR master mix (2xMM final cone), 2 nM tagged
many targets in a single reaction. Target SNPs were identi-       primer cone. (total 12.7 uM) in 3,168-plex primer pools and
fied in each genomic region with 10% minimum population           PCR amplified: 95 C 10 min, 25x [96 C 30 sec, 65 C 20 min,
minor allele frequency (1000 Genomes Project data; Apr. 30,       72 C 30 sec], 72 C 2 min, 4 C hold. The amplification
2012 release). For each SNP, multiple primers, semi-nested, 20 product was diluted 1:2,000 in water and 1 ul added to the
were designed to have an amplicon length of a maximum             Barcoding-PCR in a 10 uL reaction volume. The barcodes
length of75 bp and a melting temperature between 54-60.5°         are attached to the amplification products via PCR amplifi-
C. Primer interaction scores for all possible combinations of     cation for 12 cycles using tag specific primers. Products of
primers were calculated; primers with high scores were            multiple samples are pooled and then purified with QIA-
eliminated to reduce the likelihood of primer dimer product 25 quick PCR Purification Kit (Qiagen) and eluted in 50 ul
formation. Candidate PCR assays were ranked and selected          DNA suspension buffer. Samples are sequenced by NGS as
on the basis of target SNP minor allele frequency, observed       described for the Single Cell CNV Protocol for 28,000-plex
heterozygosity rate (from dbSNP), presence in HapMap, and         PCR.
amplicon length.                                                  Breast Cancer Feasibility SNV Panel from Plasma
   In certain experiments, single cell samples were prepared 30      cfDNA from breast cancer patient blood samples was
and amplified using a mmPCR 28,000-plex protocol. The             prepared and amplified using 336 primer pairs that were
samples were prepared in the following way: For analysis of       distributed into four 84-plex pools. Natera plasma libraries
a single cell, cells were serial diluted until there were 3 or    were prepared as described for Plasma CNV Protocol for
4 cells per droplet. An individual cell was pipetted and          3,168-plex for Chromosomes lp, lq, 2p, 2q, and 22qll.
                                                                  DNA was eluted in 50 uL TE buffer. The input for mPCR
placed into a PCR tube. The cell was lysed using Protease K, 35
                                                                  was 2.5 uL of amplified and purified Natera plasma library
salt, and DTT using the following conditions: 56° C. for 20
                                                                  at an input amount of approximately 600 ng. FIG. 68A-B
minutes, 95° C. for 10 minutes, and then a 4° C. hold. For        represents the major and minor allele frequencies of the
analysis of genomic DNA, DNA from the same cell line as           SNPs used in a 3168 mmPCR reaction. The X-axis repre-
the analyzed single cell was either purchased or obtained by      sents the number of SNPs, from left to right, for chromo-
growing the cells and extracting the DNA. The DNA was 40 some lq, lp, 2q, 2p and 22q. SNPs were selected from the
amplified in a 40 uL reaction volume containing Qiagen            1000 Genomes map for Humans, Group 19 and dbSNP to
mp-PCR master mix (2xMM final cone), 7.5 nM primer                pick targets, but only SNPs from the 1000 Genomes were
cone. for 28K primer pairs having a hemi-nested Rev               used to screen for minor allele frequencies. The plasma
primers under the following conditions: 95 C 10 min, 25x          DNA was amplified in four parallel reactions of 84-plex
[96 C 30 sec, 65 C 29 min, 72 C 30 sec], 72 C 2 min, 4 C 45 primer pools, a 10 uL reaction volume containing Qiagen
hold. The amplification product was diluted 1:200 in water        mp-PCR master mix (2xMM final cone.), 4 mM EDTA, 7.5
and 2 ul added to STAR 2 (10 ul reaction volume) lxMM,            nM primer concentration (total 1.26 uM) and PCR ampli-
5 nM primer cone. and PCR was performed using hemi-               fied: 95 C 15 min, 25x [94 C 30 sec, 65 C 15 min, 72 C 30
nested inner Fwd primer and tag specific Rev primer: 95 C         sec], 72 C 2 min, 4 C hold. The amplification product of the
15 min, 25x [94 C 30 sec, 65 C 1 min, 60 C 5 min, 65 C 5 50 4 subpools were each diluted 1:200 in water and 1 ul added
min, 72 C 30 sec], 72 C 2 min, 4 C hold.                          to the Barcoding-PCR reaction in a 10 uL reaction volume
   Full sequence tags and barcodes were attached to the           containing Q5 HS HF master mix (1 xfinal), and 1 uM each
amplification products and amplified for 9 cycles using           barcoding primer and each of the pools were amplified in the
                                                                  following reaction: 98 C 1 min, 25x [98 C 10 sec, 70 C 10
adaptor specific primers. Prior to sequencing, the barcoded
                                                                  sec, 60 C 30 sec, 65 C 15 sec, 72 C 15 sec], 72 C 2 min, 4
library product were pooled, purified with the QIAquick 55
                                                                  C hold. Libraries were purified with QIAquick PCR Puri-
PCR Purification Kit (Qiagen), and quantified using the           fication Kit (Qiagen) and eluted in 50 ul DNA suspension
Qubit® dsDNA BR Assay Kit (Life Technologies). Ampli-             buffer. Samples were sequenced by paired end sequencing.
cons were sequenced using an Illumina HiSeq 2500
sequencer.                                                                                 Example 10
Extraction of DNA from a Blood/Plasma Sample                   60
   Blood samples were collected into EDTA tubes. The                 This example provides details regarding certain exem-
whole blood sample was centrifuged and separated into             plary methods for analyzing sequencing data to identify
three layers: the upper layer, 55% of the blood sample, was       SNVs.
plasma and contains cell-free DNA (cfDNA); the buffy coat            SNV Method 1:
middle layer contained leucocytes having DNA, <l % of 65             For this embodiment, a background error model was
total; and the bottom layer, 45% of the collected blood           constructed using normal plasma samples, which were
sample, contained erythrocytes, no DNA was present in this        sequenced on the same sequencing run to account for




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run-specific artifacts. In certain embodiments, 5, 10, 15, 20,         6+0.2 Algorithm
25, 30, 40, 50, 100, 150, 200, 250, or more than 250 normal            The algorithm starts by estimating the efficiency and error
plasma samples were analyzed on the same sequencing run.            rate per cycle using the training set. Let n denote the total
In certain illustrative embodiments, 20, 25, 40, or 50 normal       number of PCR cycles.
plasma samples are analyzed on the same sequencing run. 5              The number of reads Rb at each base b can be approxi-
Noisy positions with normal median variant allele frequency         mated by (l+pbr Xo, where Pb is the efficiency at base b.
greater than a cutoff are removed. For example this cutoff in       Then (RJX 0 ) 11n can be used to approximate l+pb. Then, we
certain embodiments is >0.1 %, 0.2%, 0.25%, 0.5%, 1%, 2%,           can determine the mean and the standard variation of Pb
5%, or 10%. In certain illustrative embodiments noisy               across all training samples, to estimate the parameters of the
positions with normal medial variant allele frequency 10
                                                                    probability distribution (such as normal, beta, or similar
greater than 0.5% are removed. Outlier samples were itera-
                                                                    distributions) for each base.
tively removed from the model to account for noise and
                                                                       Similarly, the number of error e reads R/ at each base b
contamination. In certain embodiments, samples with a Z
score of greater than 5, 6, 7, 8, 9, or 10 were removed from        can be used to estimate Pe· After determining the mean and
the data analysis. For each base substitution of every 15 the standard deviation of the error rate across all training
genomic loci, the depth of read weighted mean and standard          samples, we approximate its probability distribution (such as
deviation of the error were calculated. Tumor or cell-free          normal, beta, or similar distributions) whose parameters are
plasma samples' positions with at least 5 variant reads and         estimated using this mean and standard deviation values.
a Z-score of 10 against the background error model were                Next, for the testing data, we estimate the initial starting
called as a candidate mutation.                                  20 copy at each base as
   SNV Method 2:
   For this embodiment we aim to determine Single Nucleo-
tide Variants (SNVs) using plasma ctDNA data. We model                                       (1 Rb
the PCR process as a stochastic process, estimate the param-                                Jo (1 + PbJ" f(pb)dpb
eters using a training set and make the final SNV calls using 25
a separate testing set. The main idea is to determine the           where f(.) is an estimated distribution from the training set.
propagation of the error across multiple PCR cycles, calcu-
late the mean and the variance of the background error, and
differentiate the background error from real mutations.
   The following parameters are estimated for each base:         30
   p=efficiency (probability that each read is replicated in
      each cycle)
   Pe=error rate per cycle for mutation type e (probability         where f(.) is an estimated distribution from the training set.
      that an error of type e occurs)                                  Hence, we have estimated the parameters that will be used
   X 0 =initial number of molecules                              35 in the stochastic process. Then, by using these estimates, we
   As a read is replicated over the course of PCR process, the      can estimate the mean and the variance of the molecules
      more errors occur. Hence, the error profile of the reads      created at each cycle (note that we do this separately for
      is determined by the degrees of separation from the           normal molecules, error molecules, and mutation mol-
      original read. We refer to a read as k th generation if it    ecules).
      has gone through k replications until it has been gen- 40        Finally, by using a probabilistic method (such as maxi-
      erated.                                                       mum likelihood or similar methods), we can determine the
   Let us define the following variables for each base:             best fe value that fits the distribution of the error, mutation,
   Xij=number of generation i reads generated in the PCR            and normal molecules the best. More specifically, we esti-
      cycle j                                                       mate the expected ratio of the error molecules to total
   Yij=total number of generation i reads at the end of cycle 45 molecules for various fe values in the final reads, and
      j
                                                                    determine the likelihood of our data for each of these values,
   X/=number of generation i reads with mutation e gen-
                                                                    and then select the value with the highest likelihood.
      erated in the PCR cycle j
                                                                       In certain embodiments, Method 2 above is performed as
   Moreover, in addition to normal molecules X 0 , if there are
      additional feXo molecules with the mutation e at the 50 follows:
      beginning of the PCR process (hence f,/(1 +fe) will be           a) Estimate a PCR efficiency and a per cycle error rate
      the fraction of mutated molecules in the initial mix-         using a training data set;
      ture).                                                           b) Estimate a number of starting molecules for the testing
   Given the total number of generation i-1 reads at cycle          data set at each base using the distribution of the efficiency
      j-1, the number of generation i reads generated at cycle 55 estimated in step (a);
      j has a binomial distribution with a sample size of              c) If needed, update the estimate of the efficiency for the
      Yi-IJ-I and probability parameter of p. Hence, E(Xij,         testing data set using the starting number of molecules
       IYi-IJ-i, p)=p Yi-IJ-I and Var(Xij, IYi-IJ-i, p)=p(l-p)      estimated in step (b);
      yi-lj-1•              .                                          d) Estimate the mean and variance for the total number of
   We also have Y;j=Lk~fX;k• Hence, by recursion, simula- 60 molecules, background error molecules and real mutation
      tion or similar methods, we can determine E(Xij).             molecules (for a search space consisting of an initial per-
      Similarly, we can determine Var(Xij)=E(Var(Xij, Ip))+         centage of real mutation molecules) using testing set data
      Var(E(Xij, Ip)) using the distribution of p.                  and parameters estimated in steps (a), (b) and (c);
   finally, E(X/IYi-IJ-I' pJ=Pe Yi-IJ-I and Var(X/IYi-IJ-I'            e) Fit a distribution to the number of total error molecules
      p)=pe (1-pJ Yi-IJ-I' and we can use these to compute 65 (background error and real mutation) in the total molecules,
      E(X;/) and Var(X/).                                           and calculate the likelihood for each real mutation percent-
   20.                                                              age in the search space; and




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  f) Determine the most likely real mutation percentage and       alleles in biopsied samples due to tumor heterogeneity.
calculate the confidence using the data from in step (e).         TRACERx samples of three small cell lung cancer patient
                                                                  samples and one adenocarcinoma lung cancer patient sample
                          Example 11                              for which tumor biopsies and corresponding pre-operative
                                                                5 blood plasma samples had been collected were used for
   This example provides results using the multiplexed PCR        analysis of tumor heterogeneity. Samples were obtained
CoNVERGe methods provided herein, for the detection of
                                                                  from the Cancer Research UK Lung Cancer Centre of
cancer by detecting CNV in circulating DNA. The Plasma
                                                                  Excellence, University College London Cancer Institute,
CNV Protocol for 3,168-plex for Chromosomes lp, lq, 2p,
2q, and 22q 11 provided herein, was used. Plasma from 21          London WClE 6BT, UK. Samples were primary lung cancer
breast cancer patients (stage I-IIIB) was analyzed. The 10 samples for analysis of SNV mutations. Two to three biop-
results shown in FIG. 44 demonstrate that CNVs were               sies from various regions from the entire cancerous lung
detected in all samples using an AAI>=0.45% and required          were taken from each patient (FIG. 51A). Each biopsied
as few as 62 heterozygous SNPs. A similar protocol was            sample was assayed by whole exome sequencing (Illumina
used to analyze plasma from ovarian cancer patients. Using        HiSeq200; Illumina, San Diego, Calif.), followed by Amp-
a 0.45% cutoff, a 100% ovarian cancer detection rate was 15 liSeq® sequencing (Ion Torrent, South San Francisco,
achieved, as shown in FIG. 45. Each of the five samples also      Calif.) on a PGM® for identification of underlying clonal
had a matched tumor sample.                                       heterogeneity. Following sequencing and SNV analyses, the
                                                                  variant allele frequency (VAF) was determined for each
                          Example 12                              biopsy sample (FIG. 518).
                                                               20    Plasma samples from each of the four patients were used
   This example demonstrates that a dramatic improvement          to isolate ctDNA and identify both clonal and subclonal
in the ability to detect cancer is achieved by testing plasma     SNV mutations in plasma to overcome tumor heterogeneity
for the presence ofCNVs and SNVs. CNVs and SNVs were              (FIG. 52). Clonal populations had VAF allele calls in all
detected using the methods provided in the Examples above.        biopsied samples assayed and in plasma while subclonal
Samples were prepared according to the appropriate proto-
                                                               25 populations had VAF allele calls in at least one biopsy
cols in Example 9. SNVs were identified using SNV Method
                                                                  sample, but not all biopsy samples. The plasma was con-
1 above. As shown in FIG. 46, the sensitivity of detecting
                                                                  sidered to be a cumulative representative of the SNV's
breast and lung cancer are greatly improved by analyzing
plasma from Stage I-III cancer patients for both CNVs and         found in the ctDNA of each patient. Not all SNV's identified
SNVs versus testing for SNVs alone. Analyzing SNVs only,          by sequencing were able to have corresponding PCR assays
71 % of cancers were detected in plasma samples. However 30 designed.
by analyzing for the presence of SNVs and/or CNVs the                To compare the AmpliSeq (Swanton) and mmPCR/NGS
detection rate goes up to 83% for breast and 92% for lung         assay methods for identifying tumor heterogeneity, Natera
in the patient populations analyzed. If one considers all of      designed PCR assays for each SNV mutation for VAF
the SNVs and CNVs that have been identified in the TCGA           detection in both biopsied and corresponding ctDNA from
and COSMIC data sets, the expected diagnostic load would 35 plasma (FIG. 53). Blank cells represent no biopsy sample
be greater than 97% for breast cancer and >98% for lung           available and a zero value represents no VAF detected. The
cancer.                                                           following 11 genes were initially identified as a negative
   Further analysis was performed on samples from 41              (false VAF call) by the AmpliSeq FP or FN assays but were
patient samples with different stages of cancer using the         called correctly by the Natera TP or TN assays and mmPCR/
plasma sample prep methods provided in Example 9 and 40 NGS assay methods: L12: CYFIPl, FAT!, MLLT4, and
SNV Method 1 provided above. As shown in FIG. 47, when            RASAl; Ll3: HERC4, JAK2, MSH2, MTOR, and PLCG2;
assaying for CNVs and SNVs in circulating tumor DNA               L15: GABRGl; L17: TRIM67. Surprisingly, when theAmp-
from breast cancer patients 60% of Stage I, 88% of Stage II       liSeq raw sequencing data was re-examined these results
and 100% of Stage III breast cancers were detected using a
                                                                  were verified. The raw AmpliSeq data sequencing files
limit of quantification of 0.2% ctDNA for SNVs and 0.45%
                                                               45 revealed that the data fell below the PGM or Illumina
ctDNA for CNVs. As shown in FIG. 48, when assaying for
CNVs and SNVs in ctDNA and looking at 41 patient                  detectable threshold setting. The data identified 16/38 vari-
samples with different substages of breast cancer, 60% of         ants were detected in plasma and that there were several
Stage I, 100% of Stage II, 90% of Stage IIA, 80% of Stage         biopsy samples in the L12 patient samples that had pre-
IIB, and 100% of Stage III, IIIA, and IIIB breast cancers         dominant clonal SNV mutations: L12: BRIPl, CARS, FAT!,
were detected using a limit of quantification of 0.2% ctDNA 50 MLLT4, NFE2L2, TP53, TP53 as well as patients Ll3:
for SNVs and 0.45% ctDNA for CNVs. As shown in FIG.               EGFR, EGFR, TP53 and L15: KDM6A, ROSI. An addi-
49, when assaying for CNVs and SNVs in 24 circulating             tional two patients were found to have a total of four
tumor DNA from lung cancer patient samples 88% of Stage           subclonal variant mutations in plasma: L12: CIC, KDM6A
I, 100% of Stage II and 100% of Stage III lung cancers were       and L17; NF!, TRIM67. These results are summarized in
detected using a limit of quantification of 0.2% ctDNA for 55 FIG. 54A which is a whisker plot of the mean VAF for each
SNVs and 0.45% ctDNA for CNVs. As shown in FIG. 50,               sample listed in FIG. 53 by each assay method and FIG. 54B
when assaying for CNVs and SNVs in ctDNA and looking              is a direct comparison represented by a linear regression plot
at 24 patient samples with different sub stages oflung cancer,    of each assay's VAF sample mean.
100% detection rate was achieved for all sub stages except
that an 82% detection rate was achieved for the patients with 60                           Example 14
stage IB lung cancer using a limit of quantification of 0.2%
ctDNA for SNVs and 0.45% ctDNA for CNVs.                             This example demonstrates that by using low primer
                                                                  concentrations such that primer amount is the limiting
                          Example 13                              reactant in multiplex PCR in a workflow that is followed by
                                                               65 next generation sequencing, uniformity of density of reads,
   This example demonstrates that detection of SNV in             and therefore limits of detection, across a pool of amplifi-
ctDNA overcomes the limitations in identifying variant            cation reactions is improved. Some experiments were car-




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ried out for plasma CNV using the 3,168-plex panel accord-            Accordingly, in one aspect provided herein is a method of
ing to Example 9 above except that the total reaction volume       amplifying a plurality of target loci in a nucleic acid sample
was 10 uL instead of 20 uL. Furthermore, PCR was carried           that includes (i) contacting the nucleic acid sample with a
out for 15, 20, or 25 cycles. Other experiments were carried       library of primers and other primer extension reaction com-
out using the four 84-plex pools on breast cancer samples          ponents to provide a reaction mixture, wherein the relative
according to the protocol of Example 9 except that primer          amount of each primer in the reaction mixture compared to
concentrations were 2 nM and PCR amplification was                 the other primer extension reaction components creates a
carried out for 15, 20, or 25 cycles.                              reaction wherein the primers are present at a limiting con-
   Not to be limited by theory, it is believed that primer         centration, and wherein the primers hybridize to a plurality
limited multiplex PCR provides improved depth of read 10 of different target loci; and (ii) subjecting the reaction
uniformity for multiplex PCR before multi-read sequencing,         mixture to primer extension reaction conditions for sufficient
such as sequencing on an Illumina HiSeq or MiSeq system            number of cycles to consume or exhaust the primers in the
or an Ion Torrent PGM or Proton system, based on the               library of primers, to produce amplified products that
following considerations: If some of the amplifications in a       include target amplicons. For example, the plurality of
multiplex PCR have lower efficiencies than others, then with 15 different target loci can include at least 2, 3, 5, 10, 25, 50,
normal multiplex PCR we will end up with a wide range of           100, 200, 250, 500, 1,000; 2,000; 5,000; 7,500; 10,000;
depth of read ("DOR") values. However, if the amount of            20,000; 25,000; 30,000; 40,000; 50,000; 75,000; or 100,000
primer is limited, and the multiplex PCR is cycled more            different target loci, and at most, 50, 100, 200, 250, 500,
times than what it takes to exhaust the primers, then the more     1,000; 2,000; 5,000; 7,500; 10,000; 20,000; 25,000; 30,000;
efficient amplifications will stop doubling (because they 20 40,000; 50,000; 75,000; 100,000, 200,000, 250,000, 500,
have no more primers to use) and the less efficient ones will      000, and 1,000,000 different target loci to produce a reaction
continue to double; this will result in a more similar amount      mixture.
of amplification product for all of the amplification products.       The method in illustrative embodiments, includes deter-
This will translate into a much more uniform distribution of       mining an amount of primer that will be a rate limiting
the DOR.                                                        25 amount. This calculation typically includes estimating and/
   The following calculations are used to determine the            or determining the number of target molecules and involves
number of cycles that would exact a given amount of primer         analyzing and/or determining the number of amplification
and starting nucleic acid template:                                cycles performed. For example, in illustrative embodiments,
   assume a given starting DNA input level: 100 k copies of        the concentration of each primer is less than 100, 75, 50, 25,
      each target (10'5; this is easily achieved with using 30 10, 5, 2, 1, 0.5, 0.25, 0.2 or 0.1 nM. In various embodiments,
      amplified library)                                           the GC content of the primers is between 30 to 80%, such
   assume we use 2 nM of each primer as an exemplary               as between 40 to 70% or 50 to 60%, inclusive. In some
      concentration, although other concentrations such as,        embodiments, the range of GC content (e.g., the maximum
      for example, 0.2, 0.5, 1, 1.5, 2, 2.5, 5, or 10 nM could     GC content minus minimum GC content, such as 80%-
      work too.                                                 35 60%=a range of 20%) of the primers is less than 30, 20, 10,
   calculate the number of primer molecules for each primer:       or 5%. In some embodiments, the melting temperature (Tm)
      2*10'-9 (molar concentration, 2 nM)xlO*l0'-6 (reac-          of the primers is between 40 to 80° C., such as 50 to 70° C.,
      tion volume, 10 ul)x6* 10'23 (number of molecules per        55 to 65° C., or 57 to 60.5° C., inclusive. In some embodi-
      mole, Avogadro's number)=12*10'9                             ments, the range of melting temperatures of the primers is
   calculate the amplification fold needed to consume all 40 less than 20, 15, 10, 5, 3, or 1° C. In some embodiments, the
      primers: 12*10'9 (number of primer molecules)/10'5           length of the primers is between 15 to 100 nucleotides, such
      (number of copies of each target)=12*10'4                    as between 15 to 75 nucleotides, 15 to 40 nucleotides, 17 to
   calculate the number of cycles needed to achieve this           35 nucleotides, 18 to 30 nucleotides, 20 to 65 nucleotides,
      amplification fold, assuming 100% efficiency at each         inclusive. In some embodiments, the primers include a tag
      cycle: log 2(12*10'4)=17 cycles. (this is log 2 because 45 that is not target specific, such as a tag that forms an internal
      at each cycle, the number of copies doubles).                loop structure. In some embodiments, the tag is between two
   So for these conditions (100 k copies input, 2 nM primers,      DNA binding regions. In various embodiments, the primers
10 ul reaction volume, assuming 100% PCR efficiency at             include a 5' region that is specific for a target locus, an
each cycle), the primers would be consumed after 17 PCR            internal region that is not specific for the target locus and
cycles.                                                         50 forms a loop structure, and a 3' region that is specific for the
   However, the key assumption is that some of the products        target locus. In various embodiments, the length of the 3'
DO NOT have 100% efficiency, so without measuring their            region is at least 7 nucleotides. In some embodiments, the
efficiencies (which is only practicable for a small number of      length of the 3' region is between 7 and 20 nucleotides, such
them anyway), it would take more than 17 cycles to con-            as between 7 to 15 nucleotides, or 7 to 10 nucleotides,
sume them.                                                      55 inclusive. In various embodiments, the test primers include
   FIGS. 55-58 show results for the four 84-plex SNV PCR           a 5' region that is not specific for a target locus (such as a tag
primer pools. For each of the pools we observed improved           or a universal primer binding site) followed by a region that
DOR efficiency with increasing cycles from 15 to 20 to 25.         is specific for a target locus, an internal region that is not
Similar results were obtained for experiments using the            specific for the target locus and forms a loop structure, and
3,168-plex panel (FIGS. 59-61). The limit of detection 60 a 3' region that is specific for the target locus. In some
decreased (i.e. SNV sensitivity increased) with increasing         embodiments, the range of the length of the primers is less
depth of read. Furthermore, the sensitivity was consistently       than 50, 40, 30, 20, 10, or 5 nucleotides. In some embodi-
better when detecting transversion mutations than transition       ments, the length of the target amplicons is between 50 and
mutations. It is likely that additional increases in DOR           100 nucleotides, such as between 60 and 80 nucleotides, or
efficiency can be obtained with additional cycles when using 65 60 to 75 nucleotides, inclusive. In some embodiments, the
primer-limiting multiplex PCR before multi-read sequenc-           range of the length of the target amplicons is less than 100,
ing.                                                               75, 50, 25, 15, 10, or 5 nucleotides.




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   In various embodiments of any of the aspects of the              11. The method of claim 1, wherein the method further
invention, the primer extension reaction conditions are poly-    comprises performing barcoding PCR prior to the sequenc-
merase chain reaction conditions (PCR). In various embodi-       ing.
ments, the length of the annealing step is greater than 3, 5,       12. The method of claim 1, wherein the method further
8, 10, or 15 minutes but less than 240, 120, 60, or 30           comprises detecting recurrence and/or metastases of the
minutes. In various embodiments, the length of the exten-        cancer from the SNV mutations detected in the cell-free
sion step is greater than 3, 5, 8, 10, or 15 minutes but less    DNA.
than 240, 120, 60 or 30 minutes.                                    13. The method of claim 1, wherein the cancer is col-
                                                                 orectal cancer, lung cancer, bladder cancer, or breast cancer.
                          Example 15                          10
                                                                    14. A method for preparing a plasma sample of a subject
                                                                 having cancer or suspected of having cancer useful for
   This Example demonstrates the ability of the SNV detec-       detecting one or more single nucleotide variant (SNV)
tion methods of the present invention to identify mosaicism      mutations in the plasma sample, the method comprising:
in single cell analysis also referred to as single molecule         performing whole exome sequencing or whole genome
                                                              15
analysis. FIG. 62 shows multiplex PCR results from tumor              sequencing on a tumor sample of the subject to identify
cell genomic DNA and single cell/molecule inputs using the            a plurality of tumor-specific SNV mutations;
28K-plex primer set according to the 28K single cell method         performing targeted multiplex amplification to amplify 10
provided in Example 9. Using this method, greater than 85%            to 500 target loci each encompassing a different tumor-
of reads were mapped-over 4.7M reads (about 167 reads 20              specific SNV mutation from cell-free DNA isolated
per target). The lower portion of the figure shows that               from a plasma sample of the subject or DNA derived
mosaicism was observed among cells.                                   therefrom to obtain amplicons, wherein the target loci
                                                                      are amplified together in the same reaction volume; and
   What is claimed is:                                              sequencing the amplicons to obtain sequence reads, and
   1. A method for preparing a plasma sample of a subject 25          detecting one or more of the tumor-specific SNV muta-
having cancer or suspected of having cancer useful for                tions present in the cell-free DNA from the sequence
detecting one or more single nucleotide variant (SNV)                 reads, wherein the method is capable of detecting an
mutations in the plasma sample, the method comprising:                SNV mutation that is present in less than or equal to
   performing whole exome sequencing or whole genome                  0.015% of the cell-free DNA comprising the SNV
      sequencing on a tumor sample of the subject to identify 30      locus.
      a plurality of tumor-specific SNV mutations;
                                                                    15. The method of claim 14, wherein the sequencing has
   performing targeted multiplex amplification to amplify 10
                                                                 a depth of read of at least 50,000 per target locus.
      to 500 target loci each encompassing a different tumor-
                                                                    16. The method of claim 14, wherein the cell-free DNA
      specific SNV mutation from cell-free DNA isolated
      from a plasma sample of the subject or DNA derived 35 comprises circulating tumor DNA.
      therefrom to obtain amplicons having a length of              17. The method of claim 14, wherein the SNV mutations
      50-150 bases, wherein the target loci are amplified        comprise one or more clonal SNV mutations.
      together in the same reaction volume; and                     18. The method of claim 14, wherein the SNV mutations
   sequencing the amplicons to obtain sequence reads, and        comprise one or more subclonal SNV mutations.
      detecting one or more of the tumor-specific SNV muta- 40      19. The method of claim 14, wherein the SNV mutations
      tions present in the cell-free DNA from the sequence       comprise one or more clonal SNV mutations and one or
      reads, wherein the sequencing has a depth of read of at    more subclonal SNV mutations.
      least 50,000 per target locus.                                20. The method of claim 14, wherein the tumor sample of
   2. The method of claim 1, wherein the cell-free DNA           the subject is a tumor tissue sample.
comprises circulating tumor DNA.                              45    21. The method of claim 14, wherein the method further
   3. The method of claim 1, wherein the SNV mutations           comprises determining clonal heterogeneity of the tumor
comprise one or more clonal SNV mutations.                       sample.
   4. The method of claim 1, wherein the SNV mutations              22. The method of claim 14, wherein the targeted multi-
comprise one or more subclonal SNV mutations.                    plex amplification amplifies 20 to 50 target loci each encom-
   5. The method of claim 1, wherein the SNV mutations 50 passing a different tumor-specific SNV mutation.
comprise one or more clonal SNV mutations and one or                23. The method of claim 14, wherein the targeted multi-
more subclonal SNV mutations.                                    plex amplification amplifies 50 to 100 target loci each
   6. The method of claim 1, wherein the tumor sample of         encompassing a different tumor-specific SNV mutation.
the subject is a tumor tissue sample.                               24. The method of claim 14, wherein the method further
   7. The method of claim 1, wherein the method further 55 comprises designing PCR primers or hybrid capture probes
comprises determining clonal heterogeneity of the tumor          targeting the plurality of SNV mutations identified in the
sample.                                                          tumor sample.
   8. The method of claim 1, wherein the targeted multiplex         25. The method of claim 14, wherein the method further
amplification amplifies 20 to 50 target loci each encompass-     comprises performing barcoding PCR prior to the sequenc-
ing a different tumor-specific SNV mutation.                  60 ing.
   9. The method of claim 1, wherein the targeted multiplex         26. The method of claim 14, wherein the method further
amplification amplifies 50 to 100 target loci each encom-        comprises detecting recurrence and/or metastases of the
passing a different tumor-specific SNV mutation.                 cancer from the SNV mutations detected in the cell-free
   10. The method of claim 1, wherein the method further         DNA.
comprises designing PCR primers or hybrid capture probes 65         27. The method of claim 14, wherein the cancer is
targeting the plurality of SNV mutations identified in the       colorectal cancer, lung cancer, bladder cancer, or breast
tumor sample.                                                    cancer.




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   28. The method of claim 14, wherein the method is
capable of detecting an SNV mutation that is present in
0.005% to 0.015% of the cell-free DNA comprising the SNV
locus.
                    *   *    *    *   *




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